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           Exhibit C
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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA




IN RE: CENTURYLINK SALES                  MDL No. 17-2795 (MJD/KMM)
PRACTICES AND SECURITIES
LITIGATION




           Expert Report of Michael L. Hartzmark, Ph.D.

                         January 21, 2020
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I.       SCOPE OF ENGAGEMENT

         1.    I have been retained by Court-appointed Co-Lead Counsel (“Counsel”)1 for
the putative Class (the “Class”)2 in the matter of In re: CenturyLink Sales Practices and
Securities Litigation to determine whether certain publicly traded securities of
CenturyLink, Inc. (“CenturyLink” or the “Company”) — more specifically CenturyLink’s
common stock and 7.60% Senior Notes due September 15, 2039 (the “7.6% Note”)3 —
traded in open, well-developed and efficient markets (hereinafter referred to as “efficient
markets”)4 from March 1, 2013 to July 12, 2017, inclusive (the “Class Period”).5 I have
also been asked by Counsel to opine on whether the calculation of damages on a class-wide
basis is subject to a common methodology for all Class members in connection with their
claims under Section 10(b) of the Exchange Act of 1934 (the “Exchange Act”) and U.S.




1
     Bernstein Litowitz Berger & Grossmann LLP and Stoll Stoll Berne Lokting & Shlachter P.C.
2
     It is my understanding from Counsel that the proposed Class definition is: “[A]ll persons and
     entities that purchased or otherwise acquired publicly traded CenturyLink common stock or
     7.60% Senior Notes due September 15, 2039, during the period between March 1, 2013 to July
     12, 2017, inclusive, and who were damaged thereby,” subject to certain exclusions that are
     addressed in the Consolidated Securities Class Action Complaint dated June 25, 2018 (the
     “Complaint”), p. 2.
3
     In combination I refer to these two securities as the “CenturyLink securities.” The 7.6% Notes
     are defined in the Complaint at ¶27.
4
     The premise of the fraud-on-the-market presumption is that “‘the price of a security traded in
     an efficient market will reflect all publicly available information about a company,’ so that ‘a
     buyer of the security may be presumed to have relied on that information in purchasing the
     security.’” In re Bridgepoint Educ. Inc. Sec. Litig., No. 12-cv-1737, 2015 WL 224631, at *6
     (S.D. Cal. Jan. 15, 2015) (quoting Amgen, Inc. v. Conn. Ret. Plans & Trust Funds, 133 S.Ct.
     1184, 1190 (2013)).
     “The fraud on the market theory is based on the hypothesis that, in an open and developed
     securities market, the price of a company’s stock is determined by the available material
     information regarding the company and its business…. Misleading statements will therefore
     defraud purchasers of stock even if the purchasers do not directly rely on the misstatements.”
     Basic Inc. v. Levinson, 485 U.S. 224, 241-42 (1988) (“Basic”) (quoting Peil v. Speiser, 806
     F.2d 1154, 1160-1161 (3d Cir. 1986)).
5
     Complaint, p. 2.

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Securities & Exchange Commission (“SEC”) Rule 10b-5 adopted thereunder (collectively,
“Section 10(b)”).6

       2.    I have reviewed the Complaint and assume the allegations are true for
purposes of this report. I have made no independent investigation of the issues of liability
and loss causation in this case, nor have I been asked to calculate actual damages. My
report applies widely-accepted economic, financial and statistical analyses to determine
whether the securities discussed herein traded in an efficient market.

       3.    My report is organized as follows: In Section II, I present my qualifications
as an expert. In Section III, I summarize each of my opinions. In Section IV, I describe
the concept of market efficiency. In Section V, I offer empirical support for the conclusion
that CenturyLink common stock traded in an efficient market during the Class Period by
examining the “operational” factors for demonstrating market efficiency set forth in
Cammer v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) (“Cammer”) and Krogman v. Sterritt,
202 F.R.D. 467, 474-78 (N.D. Tex. 2001) (“Krogman”). In Section VI, I review the results
of statistical tests examining the behavior of CenturyLink common stock price on earnings
announcement and other dates collectively over the Class Period. These empirical analyses
demonstrate that CenturyLink common stock responded to new, material, Company-
specific information, which also supports the conclusion that CenturyLink stock traded in
an efficient market. In Section VII, I provide background on corporate bond pricing. In
Sections VIII and IX, I analyze the Cammer/Krogman operational and price-related factors
relevant for the 7.6% Note, which offer empirical support for the conclusion that
CenturyLink’s 7.6% Note traded in an efficient market during the Class Period. In Section
X, I show that the calculation of damages in this case can be done on a class-wide basis
subject to a common methodology for Plaintiffs’ claims under Section 10(b) of the
Exchange Act. Section XI provides a summary of my conclusions.




6
    See Complaint, ¶¶280-290.

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II.       QUALIFICATIONS

          4.    I am President of Hartzmark Economics Litigation Practice, LLC, and prior
to this I was a Principal and Director at Navigant Economics (formerly dba Chicago
Partners, LLC, a subsidiary of Navigant Consulting, Inc.). Both firms specialize in the
application of economics and finance to legal, commercial and regulatory issues, including
issues such as those addressed in this report. I also am currently engaged as an independent
contractor for the Office of the Attorney General of the State of New Jersey and was
previously engaged by the Office of the Attorney General of the State of New York, to
assist in investigations of the mortgage-backed securities market.7

          5.    I have served as a testifying and consulting expert in numerous securities class
actions. In addition, I have published scholarly articles on a multitude of issues in financial
economics including those associated with securities class actions, including the topic of
market efficiency. I have spent much of my time as an economic consultant evaluating
issues related to market efficiency, including its relation to the certification of securities
class actions. My primary focus has been on securities such as common stock, corporate
bonds, Treasury and energy futures, swaps, swaptions and options, and asset-backed
securities.     Recently, my expert reports, which concerned topics including market
efficiency, were cited with approval by the respective courts in In re Signet Jewelers
Limited Securities Litigation, in the United States District Court for the Southern District
of New York,8 Laurence Rougier, et al. v. Applied Optoelectronics, Inc., et al., in the




7
      “A residential mortgage-backed security (MBS) is an instrument whose cash flow depends on
      the cash flows of an underlying pool of mortgages.” Frank J. Fabozzi and Steven V. Mann, The
      Handbook of Fixed Income Securities, Seventh Edition, McGraw-Hill Education (2005), p. 16
      (“Handbook”).
8
      In re Signet Jewelers Limited Sec. Litig., 2019 WL 3001084 (S.D.NY. July 10, 2019) at *20
      (finding that “Plaintiff’s burden at this stage is simply to propose a methodology for calculating
      damages that corresponds to its theory of liability. It has done so here. Dr. Hartzmark’s
      [damages methodology] purports to ‘us[e] the results of an event study along with the
      disclosures of firm-specific information’ to measure ‘the level of artificial inflation in the prices
      of the CenturyLink common stock’ based upon ‘price reactions to disclosures revealing
      [Defendants’] alleged misstatements and omissions.’ . . . ‘From this, daily levels of inflation
      can be calculated by adjusting the inflation measure for each day throughout the Class Period.’

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United States District Court for the Southern District of Texas,9 and In re Cobalt
International Energy, Inc. Securities Litigation (including concerning the market
efficiency of corporate bonds in addition to stock), in the United States District Court for
the Southern District of Texas.10 In each of those cases, the district court cited my expert
reports in its order certifying a class of holders of common stock and, in the case of Cobalt,
corporate bonds.11 I also wrote a series of reports cited in the district court’s opinion
granting class certification of DVI common stock and corporate bonds in In re DVI, Inc.
Securities Litigation, 249 F.R.D. 196 (E.D. Pa. 2008), which was affirmed by the Third
Circuit. In re DVI, Inc. Securities Litigation, 639 F.3d 623 (3d Cir. 2011). Similarly, my
expert report in West Palm Beach Police Pension Fund, et al. v. DFC Global Corp., et al.
was cited with approval and as support in the DFC court’s order certifying the class.12 I
have also co-authored three law review publications discussing the commonly used
empirical tests applicable to securities class actions, including those that are appropriate
for corporate bonds.13




     This methodology, which applies on a class-wide basis, is capable of measuring the out-of-
     pocket losses suffered by the Class members.”).
9
     Laurence Rougier, et al. v. Applied Optoelectronics, Inc., et al., No. 4:17-cv-02399, ECF No.
     125 (S.D. Tex. Nov. 13, 2019) (“Dr. Hartzmark’s report provides sufficient information to
     support a finding of a causal relationship between the release of information and AOI stock
     price and supports a finding of market efficiency.”) (“Thus, Plaintiffs have demonstrated an
     accepted method for calculating Class Members’ out-of-pocket damages that are consistent
     with a fraud on the market theory of liability.”), recommendation adopted, ECF No. 131 (Dec.
     20, 2019).
10
     In re Cobalt Intl. Energy, Inc., Sec. Litig., 2017 WL 2608243 (S.D. Tex. 2017).
11
     In re Cobalt Intl. Energy, Inc., Sec. Litig., 2017 WL 2608243 (S.D. Tex. 2017) at *5 (finding
     that “Plaintiffs have provided expert testimony demonstrating, at this class certification stage,
     that the market for Cobalt Notes was adequately efficient to allow them to rely on the fraud-
     on-the market presumption of reliance.”).
12
     W. Palm Beach Police Pension Fund, et al. v. DFC Global Corp., et al., 2016 WL 4138613, at
     *13 (E.D. Pa. Aug. 4, 2016) (finding that “Dr. Hartzmark has data underlying his conclusions
     and [the defendants’ expert] just has noise”).
13
     Michael L. Hartzmark, Cindy A. Schipani, H. Nejat Seyhun, Fraud on the Market: Analysis
     of the Efficiency of the Corporate Bond Market, 2011 Colum. Bus. L. Rev. 654, 654-716
     (2011); Michael L. Hartzmark, H. Nejat Seyhun, The Curious Incident of the Dog That Didn’t
     Bark and Establishing Cause-and-Effect in Class Action Securities Litigation, 6 Va. L. & Bus.

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       6.    I earned my B.A. in economics from The University of Michigan and my
M.A. and Ph.D. in economics from The University of Chicago. I have taught economics
and financial economics in the Department of Economics at The University of Chicago and
jointly in the Michigan Business School (now the Ross School of Business) and the
Department of Economics at the University of Michigan.

       7.    At the University of Michigan, I created and taught courses on financial and
commodity futures markets. While an Assistant Professor at the University of Michigan,
I received a research grant from the University of Chicago Center for the Study of Futures
Prices, as well as the John M. Olin Faculty Fellowship to further my research in financial
markets. In addition, I published articles in peer-reviewed journals related to financial
markets. Prior to my tenure track appointment at the University of Michigan, I was
employed as a Financial Economist at the Commodity Futures Trading Commission,
Division of Economics and Education.

       8.    I have been a holder of the Series 7 and 63 registered representative licenses
and have served as a Financial Advisor at Fahnestock & Co., Inc. (now Oppenheimer &
Co., Inc.). I was also founder and President of DARMA, LLC, a wealth and asset advisory
company affiliated with Oppenheimer & Co., Inc.

       9.    My qualifications, publications, and expert engagements are summarized in
detail in my curriculum vitae, which is attached to this report as Appendix A. Hartzmark
Economics Litigation Practice, LLC is being compensated at a rate of $700 per hour for
my work in this matter. My compensation is not dependent on my opinions expressed in
this report or the outcome of this matter.

III.   SUMMARY OF OPINIONS

       10.   Based on my analysis to date, I have formed the following opinions:

       OPINION 1: Throughout the Class Period, CenturyLink common stock traded in
       an efficient market. This opinion is based on an analysis of a basket of factors,



   Rev., 415-66 (Winter 2012); Michael L. Hartzmark, H. Nejat Seyhun, Understanding the
   Efficiency of the Market for Preferred Stock, 8 Va. L. & Bus. Rev., 149-230 (Spring 2014).

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         including those set forth in Cammer and Krogman, which, consistent with the
         fundamental principles of economics and finance and academic research, indicate
         that CenturyLink common stock traded in an efficient market.

         OPINION 2: Throughout the Class Period, CenturyLink’s 7.6% Note traded in an
         efficient market. This opinion is based on an analysis of a basket of factors,
         including those set forth in Cammer and Krogman, which, consistent with the
         fundamental principles of economics and finance and academic research, indicate
         that CenturyLink’s 7.6% Note traded in an efficient market.

         OPINION 3: While I have not been asked to quantify actual damages, the
         calculations of damages for violations of Section 10(b) of the Exchange Act (and
         SEC Rule 10b-5) are subject to a common methodology and may be computed on
         a class-wide basis for both the common stock purchasers and the 7.6% Note
         purchasers.

         11.   In reaching these opinions, I have relied upon various materials, which are
listed in Appendix B and/or are otherwise cited in this report. The research and analysis
upon which my opinions are based has been conducted by me with the assistance of
personnel working under my direction and supervision. My conclusions are based on
information available to me as of the date of this report. I understand that discovery is
ongoing, and I may review, evaluate, and analyze relevant material that becomes available
to me in the future. I reserve the right to modify my conclusions based on additional
information.

IV.      BASIS FOR OPINIONS ON EFFICIENCY OF THE MARKET FOR
         CENTURYLINK SECURITIES

         A. Efficient Market Defined

         12.   A market is defined as being informationally efficient if prices of securities
trading in that market reflect all material, publicly available information.14 Further,


14
     See Eugene F. Fama, Efficient Capital Markets: A Review of Theory and Empirical Work, 25
     J. Fin. 383, 383 (1970) (“A market in which prices always ‘fully reflect’ available information
     is called ‘efficient’”); Eugene F. Fama, Efficient Capital Markets: II, 46 J. Fin. 1575, 1575

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informational efficiency means that prices of securities rapidly change to reflect new,
unanticipated, material, public information. The notion behind efficient markets is that the
competition among investors to discover new profit opportunities pushes security prices to
reflect all material, publicly available information.

         13.       The finance literature supports the concept of market efficiency. The father
of modern finance and Nobel Prize winner, Eugene Fama, wrote, “We shall conclude that,
with but a few exceptions, the efficient markets model stands up well,”15 and “[i]n short,
the evidence in support of the efficient markets model is extensive, and (somewhat
uniquely in economics) contradictory evidence is sparse.”16 In 1991, Professor Fama
updated his analysis and wrote, “The empirical literature on efficiency and asset-pricing
models passes the acid test of scientific usefulness.”17 Professor Fama also wrote that
“precise inferences about the degree of market efficiency are likely to remain impossible.
Nevertheless, judged on how it has improved our understanding of the behavior of security
returns, the past research on market efficiency is among the most successful in empirical
economics, with good prospects to remain so in the future.”18

         14.       The opinion in Cammer articulated five factors used by courts to evaluate
whether a market is efficient for the purposes of establishing the presumption of investor
reliance articulated by the Supreme Court in Basic Inc. v. Levinson, 485 U.S. 224 (1988).
The fundamental principles of economics and finance that underlie a large body of
academic research published over the past forty years support each factor as an indicator
of market efficiency. As explained below, it is important to understand that assessment of
market efficiency does not turn on any one single factor; rather, it is an assessment of all



     (1991) (“I take the market efficiency hypothesis to be the simple statement that security prices
     fully reflect all available information.”).
15
     Fama, Efficient Capital Markets: A Review of Theory and Empirical Work, 25 J. Fin. at 383.
16
     Id. at 416.
17
     Fama, Efficient Capital Markets: II, 46 J. Fin. at 1576.
18
     Id. at 1576. See also Eugene F. Fama, Market efficiency, long-term returns, and behavioral
     finance, 49 J. Fin. Econ. 283 (1998); G. William Schwert, Anomalies and Market Efficiency,
     in Handbook of the Economics of Finance (G. Constantinides et al., eds., 2003); and Burton G.
     Malkiel, The Efficient Market Hypothesis and Its Critics, 17 J. Econ. Perspectives 59 (2003).

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the factors together that allows one to reach the conclusion that a market for a security is
efficient. For ease of comprehension, the factors can be separated into two general
categories: “operational factors” and “price-related factors.”

            1.       Operational Factors Employed to Evaluate Whether a Security
                     Trades in an Efficient Market

         15.     The operational factors examine the trading and arbitrage activity in the
market, with the clear understanding that (a) an efficient market is one in which anyone
can buy and sell securities; (b) an efficient market is one that has a high level of trading
activity, and for which trading information is readily available; and (c) an efficient market
can be characterized as a liquid market that can absorb a reasonable amount of trading
volume at relatively low trading costs.19 As a result, the operational factors are used to
examine whether there is sufficient liquidity, trading and arbitrage activity, along with
widespread information dissemination, such that it can reasonably be expected that the
market price for the security is efficient in that it rapidly reflects new information.20

         16.     The operational factors set forth in Cammer are:

          (1)      average weekly turnover;21

          (2)      analyst coverage;22



19
     Economists often suggest that, “The common metrics of liquidity are turnover, bid-ask spread,
     and transactional size.” This is also consistent with the operational Cammer
     factors. Handbook, p. 363.
20
     “In an open and developed market, the dissemination of material misrepresentations or
     withholding of material information typically affects the price of the stock, and purchasers
     generally rely on the price of the stock as a reflection of its value.” Peil v. Speiser, 806 F.2d
     1154, 1161 (3d Cir. 1986).
     “Indeed, nearly every court that has considered the proposition has concluded that where
     materially misleading statements have been disseminated into an impersonal, well-developed
     market for securities, the reliance of individual plaintiffs on the integrity of the market price
     may be presumed.” Basic, 485 U.S. 244 at 247.
21
     “Turnover measured by average weekly trading of two percent or more of the outstanding
     shares would justify a strong presumption that the market for the security is an efficient one;
     one percent would justify a substantial presumption.” Cammer, 711 F. Supp. at 1286.
22
     “…[I]t would be persuasive to allege a significant number of securities analysts followed and
     reported on a company’s stock during the class period.” Id. See also Teamsters Local 445
     Freight Div. Pension Fund v. Bombardier, Inc., 546 F.3d 196, 205 (2d Cir. 2008) (“[T]he

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          (3)      number of market makers or dealers of the common stock, along with
                   arbitrageurs;23 and

          (4)      the issuer’s eligibility to file SEC Form S-3 and to incorporate by reference
                   other SEC Forms.24

         17.    The court in Krogman suggested three additional operational factors:

          (1)      the market capitalization of the security;25



     greater the number of securities analysts following and reporting on a company’s stock, the
     greater the likelihood that information released by a company is being relied upon by
     investors.”) (quoting In re Xcelera.com Sec. Litig., 430 F.3d 503, 514 (1st Cir. 2005)).
23
     “[I]t could be alleged the stock had numerous market makers. The existence of market makers
     and arbitrageurs would ensure completion of the market mechanism; these individuals would
     react swiftly to company news and reported financial results by buying or selling stock and
     driving it to a changed price level.” Cammer, 711 F. Supp. at 1286-87.
     Related to arbitrage activity, some courts have also suggested that other factors may be relevant
     to determining whether a market is efficient for class-certification purposes, including the
     activity and number of institutional investors. For example, in In re Enron Corporation
     Securities, Derivative & “ERISA” Litigation, 529 F. Supp. 2d 644, 756 (S.D. Tex. 2006), the
     court decided that the Enron bonds traded in efficient markets partially based on “data on
     institutional holdings . . . [that] there was active trading . . . during the Class Period, [and] there
     were a substantial number of institutional investors.”
     “Consistent with the efficiency indicators used recently by the courts, the inefficient firms have
     lower mean trading volume, fewer market makers, lower analyst following, and lower
     institutional ownership (number and percentage) than efficient firms.” Brad M. Barber, Paul
     A. Griffin, and Baruch Lev, The Fraud-on-the-Market Theory and the Indicators of Common
     Stocks’ Efficiency, 19 J. Corp. L., 285-312, 302 (Winter 1994) (footnote omitted and emphasis
     added).
24
     “… [I]t would be helpful to allege the Company was entitled to file an S-3 Registration
     Statement in connection with public offerings or, if ineligible, such ineligibility was only
     because of timing factors rather than because the minimum stock requirements set forth in the
     instructions to Form S-3 were not met.” Cammer, 711 F. Supp. at 1287. See also id. at 1271
     n.5 (“Generally speaking, it is the largest and most well-known companies which register
     equity securities on Form S-3”); id. at 1284 (quoting SEC Securities Act Release No. 6235, 45
     FR 63,693 (1980)) (“This form [S-3] is predicated on the Commission’s belief that the market
     operates efficiently for these companies, i.e., that the disclosure in Exchange Act reports and
     other communications by the registrant, such as press releases, has already been disseminated
     and accounted for by the market place.”) (Emphasis omitted).
25
     In Krogman, the court suggested that “[m]arket capitalization, calculated as the number of
     shares multiplied by the prevailing share price, may be an indicator of market efficiency
     because there is a greater incentive for stock purchasers to invest in more highly capitalized
     corporations.” 202 F.R.D. at 478.

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          (2)      the bid-ask price spread;26 and

          (3)      the float of the security (i.e., the amount of outstanding security not held
                   by insiders of the corporation).27

            2.       Price-Related Factors Employed to Evaluate Whether a Security
                     Trades in an Efficient Market

         18.     The price-related factors are used to examine whether the market price for the
security rapidly reflects unanticipated information about future Company cash flows as
would be expected in an efficient market.

         19.     To examine the market efficiency of CenturyLink’s securities, I test whether:

         (1)      there is a rapid price reaction to new information relevant to the valuation
                  of the securities;28 and

         (2)      there are certain statistical properties associated with security price
                  movements, such as the lack of economically meaningful autocorrelation.29




26
     See Krogman, 202 F.R.D. at 478 (“A large bid-ask spread is indicative of an inefficient market,
     because it suggests that the stock is too expensive to trade.”).
27
     Insiders cannot freely trade in the stock of their firm based on their privileged, nonpublic
     information. They are subject to both trading restrictions (blackout periods, and restrictions of
     Rule 10b-5 and Exchange Act Sections 16(b) and 16(c)) and the reporting requirements of
     Section 16(a). See 17 C.F.R. § 240.10b-5 (2011); 15 U.S.C. §§ 78p(b), 78p(c), 78p(a) (2011).
     “In determining efficiency, courts also consider the percentage of shares held by the public,
     rather than insiders.” Krogman, 202 F.R.D. at 478.
28
     “[I]t would be helpful to a plaintiff seeking to allege an efficient market to allege empirical
     facts showing a cause and effect relationship between unexpected corporate events or financial
     releases and an immediate response in the stock price.” Cammer, 711 F. Supp. at 1287.
29
     “Autocorrelation is usually found in time-series data. Economic time series often display a
     ‘memory’ in that variation is not independent from one period to the next.” William H. Greene,
     Econometric Analysis 358 (2d ed. 1993). In other words, autocorrelation is the measurement
     of the relationship between the security return at time t and the return of the same security at
     some fixed time in the past. First-order autocorrelation would be found when there is a
     statistically significant relationship between the common stock return today and the common
     stock return yesterday. Another way of looking at this concept is that if an observer can use
     the return from yesterday to predict with some level of certainty the return today, there exists
     autocorrelation. The absence of autocorrelation is an indicator of market efficiency. See
     Lehocky v. Tidel Techs., Inc., 220 F.R.D. 491, 506-507 n.20 (S.D. Tex. 2004) (noting that both
     parties’ experts agreed on the helpfulness of an autocorrelation analysis).

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            3.       Evaluating Operational and Price-Related Factors

          20.    Professor Fama’s conclusion that “precise inferences about the degree of
market efficiency are likely to remain impossible,” as well as other academic research in
economics and finance, support an approach whereby the above factors should be used as
a basket of indicators of the efficiency of the security, but—as previously noted—by no
means is it necessary that each factor in that basket specifically offer support in order for
efficiency to be demonstrated.          Judicial analysis of market efficiency reflects this
recognition. For instance, the Second Circuit recently held that market efficiency may be
demonstrated where the operational factors support that conclusion, even if the price-
related     factor   does    not.30      In   so    holding,    the    Second     Circuit    noted,
“The Cammer and Krogman factors are simply tools to help district courts analyze market
efficiency in determining whether the Basic presumption of reliance applies in class
certification decision–making. But they are no more than tools in arriving at that
conclusion, and certain factors will be more helpful than others in assessing particular
securities and particular markets for efficiency.”31

          21.    In forming my opinion that CenturyLink’s securities traded in efficient
markets throughout the Class Period, I have considered each of these operational and price-
related factors. Moreover, even though the Cammer/Krogman factors were initially



     Economically meaningful autocorrelation is serial correlation of security returns that is
     systematic and persistent over time and is large enough to enable a naïve investor to earn
     economic profits after accounting for transactions costs.
30
     Waggoner v. Barclays PLC, 875 F.3d 79, 98 (2d Cir. 2017), cert. denied, 138 S. Ct. 1702,
     (2018).
31
     Id. See also Carpenters Pension Trust Fund of St. Louis v. Barclays PLC, 310 F.R.D. 69, 83
     (S.D.N.Y. 2015) (“The vast majority of courts have used the Cammer factors as ‘an analytical
     tool rather than as a checklist.’ Indeed, not even the Cammer court considered the fifth factor
     necessary, stating only that ‘it would be helpful to a plaintiff seeking to allege an efficient
     market.’”) (emphasis in original, footnotes omitted).
     “Different contexts require courts to place greater importance on some factors than on others.
     No other court has adopted a per se rule that any one factor is dispositive. At the same time,
     courts have found market efficiency in the absence of an event study or where the event study
     was not definitive.” Id. at *34 (footnote omitted).
     “It is widely accepted that analysis of the Cammer and Krogman factors is a reliable and
     accepted methodology for establishing market efficiency.” Id. at *49 (footnote omitted).

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developed to evaluate the market for common stock, academics and courts have utilized
them to evaluate all types of financial instruments, including corporate bonds.32

V.       ANALYSIS OF OPERATIONAL FACTORS OF CENTURYLINK COMMON
         STOCK

         A. Background

         22.   In its Form 10-K filed for the fiscal year ended December 31, 2012,
CenturyLink described itself as follows:

               We are an integrated communications company engaged
               primarily in providing an array of communications services to
               our residential, business, governmental and wholesale
               customers. Our communications services include local and
               long-distance, network access, private line (including special
               access), public access, broadband, data, managed hosting
               (including cloud hosting), colocation, wireless and video
               services. In certain local and regional markets, we also provide
               local access and fiber transport services to competitive local
               exchange carriers (“CLECs”) and security monitoring. We
               strive to maintain our customer relationships by, among other
               things, bundling our service offerings to provide our customers
               with a complete offering of integrated communications
               services.

               Based on our 13.7 million of total access lines at December 31,
               2012, we were the third largest telecommunications company
               in the United States. We operate almost 75% of our total access
               lines in portions of Colorado, Washington, Arizona, Minnesota,
               Florida, North Carolina, Oregon, Iowa, Utah, New Mexico,
               Missouri and Nevada. We also provide local service in portions
               of Idaho, Ohio, Wisconsin, Virginia, Texas, Pennsylvania,
               Montana, Alabama, Nebraska, Indiana, Arkansas, Tennessee,
               Wyoming, New Jersey, North Dakota, South Dakota, Kansas,
               Michigan, Louisiana, South Carolina, Illinois, Georgia,
               Mississippi, Oklahoma and California. In the portion of these


32
     For example, for academic and court cites, see Michael L. Hartzmark, Cindy A. Schipani, H.
     Nejat Seyhun, Fraud on the Market: Analysis of the Efficiency of the Corporate Bond Market,
     2011 Colum. Bus. L. Rev., 654-716 (2011); Michael L. Hartzmark, H. Nejat Seyhun,
     Understanding the Efficiency of the Market for Preferred Stock, 8 Va. L. & Bus. Rev., 149-230
     (Spring 2014).

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               37 states where we have access lines, which we refer to as our
               local service area, we are the incumbent local telephone
               company. We also operate 54 data centers throughout North
               America, Europe and Asia. We define a data center as any
               facility where we market, sell and deliver either colocation
               services or multi-tenant managed services, or both.

               We were incorporated under the laws of the State of Louisiana
               in 1968.33

        23.   Throughout the Class Period, CenturyLink common stock was listed on the
New York Stock Exchange (“NYSE”) under the “CTL” trading symbol.34 As of March 1,
2013, the start of the Class Period, CenturyLink had between 609 million and 626 million
shares outstanding.35     The difference between these amounts was related to a share
repurchase program that had been authorized by the Board of Directors.36 Throughout the
Class Period, CenturyLink engaged in repurchases of its common stock, repurchasing over
45 million shares in 2013, over 18 million shares in 2014, and over 27 million shares in
2015.37 As of July 12, 2017, the end of the Class Period, there were approximately 549
million shares outstanding.38




33
     CenturyLink SEC Form 10-K filed March 1, 2013, p. 3.
34
     CenturyLink SEC Forms 10-K filed March 1, 2013 (p. 43) and February 23, 2017 (p. 44).
35
     CenturyLink SEC Form 10-K filed March 1, 2013, cover (“On February 15, 2013, 625,822,780
     shares of common stock were outstanding. The aggregate market value of the voting stock held
     by non-affiliates as of June 30, 2012 was $24.5 billion.”); CenturyLink SEC Form 10-Q filed
     May 10, 2013, cover (“On May 2, 2013, there were 609,046,043 shares of common stock
     outstanding.”).
36
     See, e.g., CenturyLink SEC Form 10-Q filed May 10, 2013, p. 18 (“In February 2013, the Board
     of Directors authorized us to repurchase up to $2 billion of our outstanding common stock.
     During the three months ended March 31, 2013, we repurchased 11.1 million shares of our
     outstanding common stock in the open market. These shares were repurchased for an aggregate
     market price of $386 million, or an average purchase price of $34.62 per share.”).
37
     CenturyLink SEC Forms 10-Q and 10-K covering periods during the Class Period.
38
     CenturyLink SEC Form 10-Q filed August 7, 2017, cover (“On July 27, 2017, there were
     549,609,275 shares of common stock outstanding.”); CenturyLink SEC Form 10-Q filed May
     5, 2017, cover (“On April 27, 2017, there were 548,812,063 shares of common stock
     outstanding.”).

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         B. Analysis of the Operational Factors

            1.       Cammer Factor I – Average Weekly Trading Volume

         24.     The first operational factor is the average weekly turnover of a security. As
discussed in the Cammer opinion: “Turnover measured by average weekly trading of two
percent or more of the outstanding shares would justify a strong presumption that the
market for the security is an efficient one; one percent would justify a substantial
presumption.”39 A high trading volume indicates substantial investor interest in the
security, and thus increases the likelihood that newly-available public and private
information will be rapidly incorporated in the security price through trading.40 In addition,
high volume suggests the possibility that investors will, all other factors staying constant,
be able to reap greater profits from any information they may possess because they can
more easily participate in the market. This greater profit opportunity from the information
they may possess then encourages investors to make greater investments in information
gathering and processing. This, in turn, will enhance the informational efficiency of the
market.41

         25.     To reliably determine whether the turnover fulfills the Cammer criterion, I
calculated average weekly turnover over the Class Period, which is equal to the average of
the ratio of weekly volume divided by the shares outstanding for that week.42 Exhibit I
contains the results of this analysis and shows that for the Class Period a total of 6.3 billion
shares traded hands with an average daily volume of 5.7 million shares. The ratio of the



39
     Cammer, 711 F. Supp. at 1286.
40
     Jonathan M. Karpoff, The Relation between Price Changes and Trading Volume: A Survey, 22
     J. of Fin. and Quantitative Analysis, 109, 112 (1987), surveys the literature on trading volume
     and absolute price changes. Karpoff documents that higher volume results in greater absolute
     stock price reactions. See also, Brad M. Barber, Paul A. Griffin, and Baruch Lev, The Fraud-
     on-the-Market Theory and the Indicators of Common Stocks’ Efficiency, 19 J. Corp. L. 285
     (Winter 1994).
41
     Larry Harris, Trading and Exchanges: Market Microstructure for Practitioners (Oxford
     University Press, 2003), pp. 70, 205, 215.
42
     The trading volume I utilize for the turnover analysis is the composite daily reported trading
     volume, which I obtained from Bloomberg. The source for shares outstanding is CenturyLink
     SEC filings.

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average weekly volume to shares outstanding was 4.9% – substantially more than the 2%
threshold that Cammer held “would justify a strong presumption that the market for the
security is an efficient one”43 – and the median was 4.2%.44 This analysis therefore
“justif[ies] a strong presumption that the market for the security is an efficient one.”45

         26.     Not only is CenturyLink’s average weekly turnover almost 2.5 times the level
that supports a “strong presumption” of efficiency under Cammer, but the average and
median weekly turnover measures here are greater than many of the turnover measures
calculated in other litigation where the courts found the common stock to trade in an
efficient market.46 The relatively high average weekly turnover of CenturyLink common
stock provides substantial evidence supporting the conclusion that CenturyLink common
stock traded in an efficient market throughout the Class Period.

            2.       Cammer Factor II – Analyst Coverage

         27.     The second operational factor is the number of security analysts who followed
and reported on CenturyLink’s common stock. As discussed in Cammer: “It would be
persuasive to allege a significant number of securities analysts followed and reported on a
company’s stock during the class period.”47 As more analysts follow and report on a
company’s securities, more information about the company is disseminated to a greater
number of investors. The presence of such professionals means that more information is




43
     Cammer, 711 F. Supp. at 1286.
44
     These figures include the entire weeks of the start date and end date of the Class Period. In
     Exhibit I, I also provide the analysis excluding the weeks that include the start and end dates
     of the Class Period, which results in similar average and median weekly turnover rates of 4.9%
     and 4.2%, respectively.
45
     Cammer, 711 F. Supp. at 1286.
46
     See, e.g., City of Ann Arbor Emps.’ Ret. Sys. v. Sonoco Prods. Co., 270 F.R.D. 247, 256 (D.S.C.
     2010) (finding a stock with a weekly trading volume of 2.61% to have traded in an efficient
     market); In re Mills Corp. Sec. Litig., 257 F.R.D. 101, 107 (E.D. Va. 2009) (finding an average
     weekly trading volume of 2-3.5% indicative of market efficiency).
47
     Cammer, 711 F. Supp. at 1286. See also In Re Xcelera.com Securities Litigation, 430 F.3d (1st
     Cir. 2005) at 514 (“[T]he greater the number of securities analysts following and reporting on
     a company’s stock, the greater the likelihood that information released by a company is being
     relied upon by investors.”).

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likely to be reflected in the price of these securities either through increased trading or
simply through revaluation of the securities by the market participants.48

         28.   As Exhibit II shows, as recorded by Bloomberg during the Class Period, there
were between 15 and 22 research analysts with an average of 19 analysts following the
Company. Further, there were between 12 and 22 research analysts that were part of the
Thomson Reuters I/B/E/S consensus EPS estimate for the current fiscal year.49 In-depth
research analyst coverage included the following entities, among others: Argus Research;
Barclays; BMO Capital Markets; Bank of America/Merrill Lynch; CFRA Equity Research
(S&P Capital IQ); Citigroup; Cowen & Company; D.A. Davidson; Deutsche Bank;
Evercore ISI; Gabelli & Co.; Gordon Haskett; Height Analytics; Jefferies; JP Morgan;
Macquarie Research; Morgan Stanley; Morningstar; Nomura; Oppenheimer; Piper Jaffray;
Raymond James; RBC Capital Markets; Stifel Nicolaus; SunTrust Robinson Humphrey;
UBS; and Wells Fargo Securities.50 CenturyLink was also covered by debt ratings agencies
such as Fitch, Moody’s and Standard & Poor’s Company.51 There were an additional 26
technical or other analyst firms that covered CenturyLink and reported results.52 Thus,


48
     See, for example, Jill E. Fisch, The Role and Regulation of the Research Analyst, Research
     Handbook on the Economics of Corporate Law, Edgar Elgar Publishing, 2002, pp. 315, 317.
     (“The role of the research analyst…is to provide information to the marketplace. Analysts
     enhance capital market efficiency by enabling stock prices to reflect information and by
     reducing the need for each investor individually to gather and analyze that information. …
     Research analysts collect information about specific firms and the overall market. They then
     package that information for use by investors in trading decisions.”).
     Michael J. Brennan, Narasimhan Jegadeesh, and Bhaskaran Swaminathan, Investment Analysis
     and the Adjustment of Stock Prices to Common Information, 6 Rev. of Fin. Stds. 799, 800
     (1993) (“Recent theory suggests that the number of analysts may have an effect on the speed
     of adjustment to new information…. this would suggest an association between the number of
     analysts and the speed of adjustment, if the number of analysts can be regarded as a proxy for
     the number of informed investors.”).
49
     Sources: Bloomberg and S&P Capital IQ.
50
     Based on reports available on the S&P Capital IQ and Thomson Eikon databases.
51
     For example, “S&P rates CenturyLink’s notes,” SNL Kagan Media & Communications Report,
     March 20, 2013; “Fitch Rates CenturyLink’s Senior Unsecured Notes Offering ‘BB+’; Outlook
     Stable,” Business Wire, March 18, 2013, 3:25 p.m.; “Moody’s lowers CenturyLink’s senior
     unsecured rating to Ba2; outlook stable,” Moody’s Investors Service Press Release, March 14,
     2013.
52
     Based on reports available on the S&P Capital IQ and Thomson Eikon databases.

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there were in excess of 50 analysts reporting on CenturyLink. See Exhibit III-A for a
listing of the number of reports each year from these analysts. This exhibit shows that
there were 228 reports published from March 1, 2013 to December 31, 2013; 284 reports
published in 2014; 284 reports published in 2015; 309 reports published in 2016 and 152
reports published from January 1, 2017 through July 12, 2017.53

         29. The substantial coverage of CenturyLink’s stock by analysts can also be
observed in analyst participation in conference calls held by CenturyLink. Many of these
analysts participated in the regular earnings calls CenturyLink hosted in conjunction with
the release of its quarterly financial results throughout the Class Period. CenturyLink held
17 conference calls during the Class Period.54 On these conference calls, analysts and other
investors were able to ask questions about CenturyLink, with an average of eight analysts
who actively asked questions on each call.55 See Exhibit III-B for a list of analysts who
asked questions on CenturyLink conference calls. There were also 38 investor conferences
hosted by analysts during the Class Period at which CenturyLink participated. See Exhibit
III-C for a list of analysts hosting investor conferences at which CenturyLink participated
during the Class Period.

         30.   The number of analysts following CenturyLink compares favorably to the
number following other defendant companies at issue in other cases where the courts
concluded that the common stock traded in efficient markets.56




53
     I exclude EVA Dimensions from this count, which issued 340 reports from March 1, 2013
     through December 31, 2013.
54
     During the Class Period, CenturyLink held earnings calls after each quarterly earnings release.
55
     Source for conference call transcripts: Bloomberg. The October 31, 2016 conference call on
     CenturyLink’s acquisition of Level3 also included the earnings results for both CenturyLink
     and Level3.
56
     See, e.g., Luis Aranaz and Jared Pereira et al., v. Catalyst Pharmaceutical Partners, Inc. et
     al., 302 F.R.D. 657, 669 (S.D. Fla. 2014) (finding at least four different securities analysts
     following Catalyst supported market efficiency); Billhofer v. Flamel Techs., S.A., 281 F.R.D.
     150, 153-54 (S.D.N.Y. 2012) (“Billhofer”) (finding that eight separate firms issuing reports
     about Flamel and four additional firms participating in investor conference and more than two
     dozen articles and press releases being published about Flamel was sufficient to favor a finding
     of market efficiency).

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         31.   In addition, I have examined the number of research analysts following all the
common stocks on the NYSE and NASDAQ at the end of December 2013, 2014, 2015 and
2016. For these companies the average and median number of research analysts covering
the companies was ten and seven respectively, to which those covering CenturyLink (i.e.,
which had, as noted above, an average and median of 19 analysts) compares favorably.
Further, as of December 31, 2013, 2014, 2015 and 2016, CenturyLink’s analyst coverage
was in the 86th, 85th, 84th, and 81st percentiles, respectively of all NYSE and NASDAQ
common stocks. This means that throughout the Class Period the number of analysts
following CenturyLink was greater than 80% of the common stocks on the NYSE and
NASDAQ.57

         32.   In addition to the analyst reports, there were numerous press releases, news
stories and other media coverage of CenturyLink throughout the 1,595-day Class Period
(1,100 trading days). (See Appendix C for a chronology of select information releases.)
Based on my search criteria, I found approximately 11,500 articles (including
approximately 4,500 articles from Bloomberg58 and 7,000 from Factiva59) that discussed
CenturyLink.

         33.   Finally, as a public company, CenturyLink was required to file numerous
information disclosures in SEC forms that contain new and possibly material information
(e.g., 10-K, 10-Q, Proxy and Registration forms) and others that were related to material
changes in the Company (e.g., 8-K).

         34.   The continuous coverage of CenturyLink by a substantial number of analysts,
investment professionals, public press, and financial institutions, along with regular and



57
     For this analysis, I compared CenturyLink’s analyst coverage to that of the common stocks on
     the NYSE or NASDAQ as of the year ended December 31, 2013, 2014, 2015 and 2016 that
     have a Bloomberg “Security Type” of “common stock” and “Primary Security Composite
     Exchange Code” of “US”. The Bloomberg data obtained for each member was “Total Analyst
     Recommendations.”
58
     Based on a search of Bloomberg News or Bloomberg First Word articles for ticker “CTL” with
     medium relevance.
59
     Factiva is a Dow Jones company. For Factiva, I searched all sources for the company code for
     “CenturyLink Inc.” See infra note 97.

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frequent disclosures by the Company in the form of press releases and SEC filings,
provides evidence supporting the conclusion that CenturyLink common stock traded in an
efficient market throughout the Class Period.

            3.       Cammer Factor III – Market Makers and Arbitrageurs

         35.     The next operational factor is the presence of market makers and arbitrageurs.
As discussed in Cammer, “[t]he existence of market makers and arbitrageurs would ensure
completion of the market mechanism; these individuals would react swiftly to company
news and reported financial results by buying or selling stock and driving it to a changed
price level.”60 This factor, as suggested by the Cammer court related to a stock that was
traded in the 1980’s over-the-counter market or on the early version of NASDAQ (which,
at the time, was not a national exchange, but instead was a reporting network in which
transactions in securities are reported to the National Association of Securities Dealers for
publication).61 The Cammer court understood that the market-making infrastructure of a
stock market is indicative of its efficiency.62

         36.     As explained below, consideration of this factor supports a finding of market
efficiency for CenturyLink stock because: (a) the stock was traded on the NYSE; (b) was
actively traded by a large group of sophisticated investors;63 and (c) there were
opportunities for arbitrage.64




60
     Cammer, 711 F. Supp. at 1286-87. See also In re Xcelera.com, 430 F.3d at 515 (quoting
     Black’s Law Dictionary (8th ed. 2004)) (“A market-maker is ‘one who helps establish a market
     for securities by reporting bid-and-asked quotations’ (the price a buyer will pay for a security
     and the price a seller will sell a security)” and a market-maker also “stands ready to buy or sell
     at these publicly quoted prices.”); Id. (quoting Lehocky v. Tidel Techs., Inc., 220 F.R.D. 491,
     508 n.24 (S.D. Tex. 2004)); In Re Polymedica Securities Litigation, 453 F. Supp. 2d 260, 268
     (D.C. Mass 2006) (“A market-maker is ‘[o]ne who helps establish a market for securities by
     reporting bid-and-asked quotations’ (the price a buyer will pay for a security and the price a
     seller will sell a security) . . . . A market-maker also ‘stand[s] ready to buy or sell at these
     publicly quoted prices.’”) (citations omitted).
61
     Cammer, 711 F. Supp. at 1271 n.24.
62
     See also supra note 23.
63
     Enron, 529 F. Supp. 2d at 756.
64
     PolyMedica, 453 F. Supp. 2d at 273.

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                 a)      Trading on the New York Stock Exchange (NYSE)
         37.     CenturyLink was listed on the NYSE during the Class Period. The NYSE
assigns a Designated Market Maker (DMM) to each security traded on the NYSE.65 The
NYSE uses these well-capitalized DMMs to facilitate fair and orderly trading.66 The
structure of the NYSE, including the DMM system, in combination with the requirements
for being listed,67 leads to the presumption by economists and the courts that common
stocks traded on the NYSE trade in an efficient market.68 As Cammer itself explained,



65
     According to the NYSE:
               The cornerstone of the NYSE market model is the Designated Market Maker
               (DMM). DMMs have obligations to maintain fair and orderly markets for their
               assigned securities. They operate both manually and electronically to facilitate
               price discovery during market opens, closes and during periods of trading
               imbalances or instability. This high touch approach is crucial for offering the
               best prices, dampening volatility, adding liquidity and enhancing value.
               DMMs apply their market experience and judgment of dynamic trading
               conditions, macroeconomic news and industry-specific intelligence, to inform
               their decisions. A valuable resource for our listed company community,
               DMMs offer insights, while making capital commitments, maintaining market
               integrity, and supporting price discovery.
     Designated Market Makers, https://www.nyse.com/market-model (last visited January 13,
     2020).
66
     According to the NYSE: “The NYSE’s unique market model combines leading technology
     with human judgment to prioritize price discovery and stability over speed for our listed
     companies. Coupled with our electronic markets, we believe nothing can take the place of
     human insight and accountability. It’s the human element at NYSE that results in lower
     volatility,  deeper   liquidity    and     improved      prices.”      Market    Model,
     https://www.nyse.com/market-model (last visited January 13, 2020).
67
     See 102.01 Minimum Numerical Standards-Domestic Companies-Equity Listings,
     https://nyseguide.srorules.com/listed-company-manual/document?treeNodeId=csh-da-
     filter!WKUS-TAL-DOCS-PHC-%7B0588BF4A-D3B5-4B91-94EA-BE9F17057DF0%7D--
     WKUS_TAL_5667%23teid-4 (last visited January 13, 2020).
68
     “[N]o argument could be made that the [NYSE] is not an efficient market.” Lapin v. Goldman
     Sachs & Co., 254 F.R.D. 168, 183 (S.D.N.Y.2008).
     “In most cases, evidence that a stock trades at high volumes on a large national market, such
     as the NYSE or NASDAQ, and is followed by a large number of analysts will be sufficient to
     satisfy the Basic presumption on class certification.” Barclays PLC, 310 F.R.D. at 83.
     “While other courts have been reluctant to conclude that a stock was traded efficiently solely
     because it was traded on the NYSE or NASDAQ, most courts agree that such listing is a good
     indicator of efficiency.” Carpenters Pension Trust Fund of St. Louis, et al. v. Barclays PLC,
     et al., 2015 U.S. Dist. LEXIS 110382 at *26. “[T]hat CSC has cited no case, and none has been

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                We think that, at a minimum, there should be a presumption –
                probably conditional for class determination – that certain
                markets are developed and efficient for virtually all the
                securities traded there: the New York and American Stock
                Exchanges, the Chicago Board Options Exchange and the
                NASDAQ National Market System.69

         38.   Therefore, the fact that CenturyLink was listed on the NYSE provides
evidence that CenturyLink common stock traded in an efficient market throughout the
Class Period.

                b)      Arbitrageurs and Institutional Holdings
         39.   As noted above, some courts have also considered the number and activity of
institutional investors, as well as the proportion of their holdings of the common stock as
evidence of market efficiency.70 Exhibit IV lists 1,668 institutions that filed SEC Form
13F and other documents, disclosing the combined sizes of their beneficial and non-
beneficial ownership positions of CenturyLink common stock during the Class Period.71



     found, holding that the NYSE is not an efficient market for shares of common stock traded, as
     here, in substantial volumes.” In re Computer Sciences Corp. Securities Litig., 288 F.R.D. 112,
     119 (E.D. Va. 2012). The court emphasized this point further: “It is not surprising that no other
     federal courts have concluded that common shares traded on the NYSE are not traded in an
     efficient market.” Id. at 120.
     “[T]he federal courts are unanimous in their agreement that a listing on the NASDAQ or a
     similar national market is a good indicator of efficiency.” Vinh Nguyen vs. Radient Pharm.
     Corp., 287 F.R.D. 563, 575 n.7 (C.D. Cal. 2012) (“Radient”) (internal quotations omitted).
69
     Cammer, 711 F. Supp. at 1292 (quoting Bromberg & Lowenfels, Securities Fraud and
     Commodities Fraud, § 8.6 (1988)).
70
     See, e.g., Enron, 529 F. Supp. 2d at 756.
71
     For securities traded on major U.S. exchanges, such as the NYSE, NASDAQ and AMEX, S&P
     Capital IQ gathers institutional ownership information via Form 13F filings and other sources.
     For 13F filings, the SEC’s rules state: “Institutional investment managers that use the United
     States mail (or other means or instrumentality of interstate commerce) in the course of their
     business and that exercise investment discretion over $100 million or more in Section 13(f)
     securities must file Form 13F. . . . An institutional investment manager is an entity that either
     invests in, or buys and sells, securities for its own account. For example, banks, insurance
     companies, and broker/dealers are institutional investment managers. So are corporations and
     pension funds that manage their own investment portfolios. An institutional investment
     manager is also a natural person or an entity that exercises investment discretion over the
     account of any other natural person or entity. For example, an investment adviser that manages
     private accounts, mutual fund assets, or pension plan assets is an institutional investment

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These data show that “there was active trading . . . during the Class Period, [and] there
were a substantial number of institutional investors,”72            including a large group of
sophisticated investors, institutional investors and investment advisors, who participated in
the market for CenturyLink common stock either on their own behalf or on behalf of other
beneficial owners. Further, the top 20 largest institutional holders of CenturyLink common
stock (in terms of relative size), as of either December 31, 2013, December 31, 2014,
December 31, 2015, or December 31, 2016, held a large proportion of the public float (I
also report the position relative to outstanding shares). See Exhibit V. This exhibit shows
that the aggregate positions of these 31 institutions held between 49% and 54% of the
public float (and between 49% and 53% of the outstanding shares) as of the listed dates.

         40.   The active trading by a large number of sophisticated institutional investors
and investment advisors, as well as the large proportion of the float they held offers further
evidence that CenturyLink common stock traded in an efficient market throughout the
Class Period.73

               c)       Arbitrage Opportunities and Short Interest
         41.   Some courts have also examined the issue of arbitrage opportunities by
considering whether there is an availability of shares to borrow in order to enter into a short
sale.74 Short selling enables market participants to trade on their perceived negative
information about the company even if they do not hold a long position in the stock. Thus,
short selling assists in arbitrage activity when it is believed by investors that the stock is
possibly mispriced and too high. Short selling activity can therefore impact market prices




     manager. So is the trust department of a bank. A trustee is an institutional investment manager,
     but a natural person who exercises investment discretion over his or her own account is not an
     institutional investment manager.” U.S. Securities and Exchange Commission: Division of
     Investment Management: Frequently Asked Questions About Form 13F, March 15, 2017,
     http://www.sec.gov/divisions/investment/13ffaq.htm (last visited January 13, 2020).
72
     See, e.g., Enron, 529 F. Supp. 2d at 756.
73
     See note 23. Other courts have noted the level of institutional investors in assessing market
     efficiency. See e.g., In re Alstom, 253 F.R.D. 266, 280 (S.D.N.Y. 2008); Ann Arbor, 270 F.R.D.
     at 251; Billhofer, 281 F.R.D. at 153.
74
     Polymedica Corp. Sec. Litig., 453 F. Supp. 2d at 273.

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and efficiency because it enables all traders who believe the price is going to decline, even
if they do not hold a long position, to sell and possibly affect market prices.

         42.      The amount of short interest in CenturyLink common stock during the Class
Period ranged from 24.1 million shares to 114.9 million shares, with an average short
interest of 47.3 million shares. As a percentage of shares outstanding, short interest ranged
from 4.2% to 20.9% and, as a percentage of public float, short interest ranged from 4.2%
to 21.1%. See Exhibit VI. This variation in the supply and demand of short interest
suggests that arbitrageurs and traders with negative views on CenturyLink were able to
remain active. The empirical results suggest that there was sufficient arbitrage and trading
activity, which offers further evidence that CenturyLink common stock traded in an
efficient market throughout the Class Period.

             4.       Cammer Factor IV – SEC Form S-3 Eligibility

         43.      Eligibility to register securities on SEC Form S-3 is another factor in the
analysis of market efficiency.75 To be eligible to register on Form S-3, an issuer must (a)
be current in its SEC filings for at least 12 months and (b) have a public float of $75
million.76

         44.      At all times throughout the Class Period, CenturyLink was current in its SEC
filings for at least 12 months. Moreover, the dollar value of CenturyLink’s public float
was almost 240 times the required threshold, easily meeting the SEC’s public float




75
     “Fourth, as discussed, it would be helpful to allege the Company was entitled to file an S-3
     Registration Statement in connection with public offerings or, if ineligible, such ineligibility
     was only because of timing factors rather than because the minimum stock requirements set
     forth in the instructions to Form S-3 were not met.” Cammer, 711 F. Supp. at 1285, 1287.
76
     SEC 1379, “Form S-3, Registration Statement under the Securities Act of 1933, General
     Instructions,” updated November 2018, at 3.
     The Form S-3ASR is an automatic shelf registration statement on Form S-3 filed by a
     CenturyLink, which by definition was a “Well-Known Seasoned Issuer.” SEC Securities Act
     Release No. 6235, 45 FR 63,693 (1980)), cited in Cammer 711 F. Supp. at 1284 (“This form
     [S-3] is predicated on the Commission’s belief that the market operates efficiently for these
     companies, i.e., that the disclosure in Exchange Act reports and other communications by the
     registrant, such as press releases, has already been disseminated and accounted for by the
     market place.”) (Emphasis omitted).

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requirement.77 Indeed, CenturyLink filed Forms S-3 on March 19, 2013, March 2, 2015
and July 18, 2016.78

        45.     Thus, this Cammer Factor offers further evidence supporting the conclusion
that CenturyLink common stock traded in an efficient market throughout the Class Period.

        C. Other Operational Factors to Weigh When Examining Market Efficiency

        46.     In addition to the operational Cammer factors evaluated above, I have also
considered additional operational factors that have sometimes been considered by courts.
As with the operational Cammer factors, these additional operational factors support my
conclusion that CenturyLink common stock traded in an efficient market throughout the
Class Period.

           1.       Krogman Factor I – Market Capitalization

        47.     In Krogman, the court stated that “[m]arket capitalization, calculated as the
number of shares multiplied by the prevailing share price, may be an indicator of market
efficiency because there is a greater incentive for stock purchasers to invest in more highly
capitalized corporations.”79

        48.     At the start of the Class Period, CenturyLink’s market capitalization was over
$21.8 billion, and it peaked at over $23.9 billion during the Class Period.80 Throughout the
Class Period the market capitalization of CenturyLink averaged approximately $17.9
billion. See Exhibit VII.

        49.     CenturyLink’s market capitalization compares favorably to the market
capitalization of defendant companies in other cases where courts have concluded that the
companies’ common stock traded in efficient markets. Indeed, courts have certified classes




77
     CenturyLink’s average public float was approximately $17.9 billion.
78
     Source: SEC EDGAR database (the specific forms filed were S-3D and S-3ASR).
79
     Krogman, 202 F.R.D. at 478.
80
     Based on the $34.89 closing price and approximately 625.8 million shares outstanding as of
     March 1, 2013; and the $41.81 closing price and approximately 570.7 million shares
     outstanding as of November 3, 2014.

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involving issuer-defendants with significantly lower market capitalizations than
CenturyLink.81

         50.   In addition, on average over the Class Period, CenturyLink’s market
capitalization as compared to other NYSE and NASDAQ listed common stocks placed it
in the 93rd percentile. This means that CenturyLink’s market capitalization was greater
than 93% of the common stocks on the NYSE and NASDAQ.82 On March 1, 2013, the
start of the Class Period, CenturyLink’s market capitalization as compared to other NYSE
and NASDAQ common stocks placed it in the 95th percentile.                       This means that
CenturyLink’s market capitalization was greater than 95% of the common stocks on the
NYSE and NASDAQ at that time.83 Further, for an additional comparison, on November
3, 2014, the peak of CenturyLink’s market capitalization, CenturyLink’s market
capitalization as compared to other NYSE and NASDAQ common stocks placed it in the
95th percentile. This means that CenturyLink’s market capitalization was greater than 95%
of the common stocks on the NYSE and NASDAQ at that time.84 Finally, on July 12,



81
     Certification has been granted in many class action securities matters where the market
     capitalization of defendant companies is far lower than the average market capitalization of
     CenturyLink. See, for example, In re DVI, Inc. Securities Litigation, 249 F.R.D. 196 (E.D. Pa.
     2008), which was affirmed by the Third Circuit. In re DVI, Inc. Securities Litigation, 639 F.3d
     623 (3d Cir. 2011), (“The market capitalization of DVI during the Class Period ranged between
     $300 million to $12 million, following DVI’s negative disclosures.”); Vinh Nguyen v. Radient
     Pharms. Corp., 287 F.R.D. 563, 574 (C.D. Cal. 2012) (“The value of stock held by non-
     affiliates ranged from $29.5 million to $73.1 million during the Class Period.”); In Re Netbank,
     Inc. Securities Litig., 259 F.R.D. 656, 672 (N.D. Ga. 2009), (“market capitalization rates range
     from $246,386,421.36 to $432,150,737.31”); The Pennsylvania Avenue Funds et al. against
     Inyx Inc., et al., 2011 WL 2732544, at *9 (S.D.N.Y July 5, 2011), (“the market capitalization
     was consistently in excess of $22.4 million throughout the Class Period.)
82
     For this analysis, I compared CenturyLink’s market capitalization to that of the common stocks
     on the NYSE or NASDAQ at the end of each year from 2013 through 2016 that have a
     Bloomberg “Security Type” of “common stock” and “Primary Security Composite Exchange
     Code” of “US” (the number of members range from 3,780 to 3,973). The Bloomberg data
     obtained for each member was “Current Market Cap.”
83
     For this analysis, I compared CenturyLink’s market capitalization to that of the 3,745 common
     stocks on the NYSE or NASDAQ as of DATE that have a Bloomberg “Security Type” of
     “common stock” and “Primary Security Composite Exchange Code” of “US.” The Bloomberg
     data obtained for each member was “Current Market Cap.”
84
     For this analysis, I compared CenturyLink’s market capitalization to that of the 3,959 common
     stocks on the NYSE or NASDAQ as of DATE that have a Bloomberg “Security Type” of

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2017, the end of the Class Period, CenturyLink’s market capitalization as compared to
other NYSE and NASDAQ common stocks placed it in the 89th percentile.85 This means
that CenturyLink’s market capitalization was greater than 89% of the common stocks on
the NYSE and NASDAQ at that time.

            2.       Krogman Factor II – The Size of the Float of CenturyLink
                     Common Stock

         51.     Float or public float refers to the number of shares of CenturyLink stock that
are not held by insiders of the corporation.86 Consequently, a larger float relative to the
total number of outstanding shares of CenturyLink stock indicates there are a large
proportion of CenturyLink shares that are available to non-insiders who can trade without
restrictions and profit by trading on new information to the marketplace.

         52.     On average, insiders held 2.5 million or 0.4% of the average shares
outstanding during the Class Period.87            The public float was thus, on average,
approximately 99.6% of CenturyLink’s shares during the Class Period. The fact that
almost 100% of CenturyLink shares were held by the public offers further support that
CenturyLink common stock traded in an efficient market throughout the Class Period.

            3.       Krogman Factor III – Bid-Ask Spread

         53.     The size of the bid-ask spread (i.e., ask quote minus bid quote) for a stock in
the market is an indication of the liquidity in the market, and courts have considered it as
a factor in determining whether the security trades in an efficient market. In Krogman, the




     “common stock” and “Primary Security Composite Exchange Code” of “US.” The Bloomberg
     data obtained for each member was “Current Market Cap.”
85
     For this analysis, I compared CenturyLink’s market capitalization to that of the 3,829 common
     stocks on the NYSE or NASDAQ as of DATE that have a Bloomberg “Security Type” of
     “common stock” and “Primary Security Composite Exchange Code” of “US.” The Bloomberg
     data obtained for each member was “Current Market Cap.”
86
     “In determining efficiency, courts also consider the percentage of shares held by the public,
     rather than insiders.” Krogman, 202 F.R.D. at 478.
87
     Insider holdings were obtained for directors and officers as a group from CenturyLink’s SEC
     DEF14A filings for 2012-2017.

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court stated that, “[a] large bid-ask spread is indicative of an inefficient market, because it
suggests that the stock is too expensive to trade.”88

         54.   Here, the low bid-ask spread for CenturyLink common stock supports market
efficiency. Using daily closing bid and ask quotes, I calculated the dollar and percentage
bid-ask spreads for CenturyLink common stock. The percentage bid-ask spread was
calculated as the dollar spread (defined as the ask quote less the bid quote) divided by the
average of the bid and ask common stock price quotes. Exhibit VIII contains the results
of the bid-ask spread analysis for each day of the Class Period. Over the Class Period, the
daily average spread expressed in dollars was one cent, which is the smallest “tick” size,
while the average daily percentage spread was 0.04% over the Class Period. This small
bid-ask spread during the Class Period clearly supports market efficiency, as the market
was highly liquid, open to all interested investors and well-developed.89

         55.   These numbers compare favorably to the findings of courts in other cases
where the courts concluded that the common stocks traded in efficient markets.90 Further,
they also compare favorably to academic research, which showed that, in 2009, the average
CRSP-based bid-ask spreads for all NYSE and AMEX stocks were 1.03%, while for all
NASDAQ stocks the average spread was 2.55%.91 By comparison, the average daily
percentage spread for CenturyLink common stock was approximately one twenty-fifth the
size of the NYSE spreads and one sixtieth the size of the NASDAQ spreads.



88
     Krogman, 202 F.R.D. at 478.
89
     Division of Market Regulation: Responses to Frequently Asked Questions Concerning Rule
     612 (Minimum Pricing Increment) of Regulation NMS. https://www.sec.gov/divisions/
     marketreg/subpenny612faq.htm (last visited January 9, 2020).
90
     See Radient 287 F.R.D. 563, 574 (finding a much larger bid-ask spread of 0.58 percent
     supported market efficiency); In re Scientific-Atlanta, 571 F. Supp. 2d 1315, 1339 (N.D. Ga.
     2007) (finding that a bid-ask spread that “never exceeded 1.9%” weighed heavily in favor of
     market efficiency); and Cheney v. Cyberguard Corp., 213 F.R.D. 484, 501 (S.D. Fla. 2003)
     (finding that average daily relative bid-ask spread of 2.44% weighed in favor of market
     efficiency).
91
     Kee H. Chung and Hao Zhang, A Simple Approximation of Intraday Spreads Using Daily Data,
     17 J. Fin. Markets, 94, Table 2 (2014). The paper compared data using closing CRSP (Center
     for Research in Security Prices) prices to intraday data and showed the spreads are very close.
     .

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        56.   In addition, I have examined the percentage bid-ask spreads over four years
from December 31, 2013 to December 30, 2016 for all the common stocks on the NYSE
and NASDAQ.          The mean percentage bid-ask spread for the four years for the
approximately 3,865 companies in that set was 0.70%, which was approximately 17 times
larger than CenturyLink’s percentage bid-ask spread during the Class Period. On average,
CenturyLink’s percentage bid-ask spread was in the 20th percentile of all NYSE and
NASDAQ common stocks over the Class Period, which means that CenturyLink’s
percentage bid-ask spread was narrower than 80% of the common stocks on the NYSE
and NASDAQ.92

        57.   The size of the bid-ask spread is further evidence offering further support for
the conclusion that CenturyLink common stock traded in an efficient market throughout
the Class Period.

VI.     THE PRICE-RELATED FACTORS DESCRIBING MARKET EFFICIENCY
        OF CENTURYLINK COMMON STOCK

        A. Background

        58.   What is often referred to as the fifth Cammer factor is “a cause and effect
relationship between unexpected corporate events or financial releases and an immediate
response in the stock price.”93 As stated in Cammer, “[o]ne of the most convincing ways
to demonstrate [market] efficiency would be to illustrate, over time, a cause and effect
relationship between company disclosures and resulting movements in stock price.”94 As
the Krogman court also noted, “in an efficient market, a stock’s price remains relatively




92
     For this analysis, I compared CenturyLink’s bid-ask spread to that of the common stocks on
     the NYSE or NASDAQ as of the end of each year during the Class Period from December 31,
     2013 through December 30, 2016 that have a Bloomberg “Security Type” of “common stock”
     and “Primary Security Composite Exchange Code” of “US” (the number of members ranged
     from 3,754 to 3,972). The Bloomberg data obtained for each member was daily closing “Bid
     Price” and “Ask Price.”
93
     Cammer, 711 F. Supp. at 1287.
94
     Cammer, 711 F. Supp. at 1291.

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stable in the absence of news, and changes very rapidly as the market receives new and
unexpected information.”95

        59.     Below I present empirical evidence that CenturyLink common stock exhibits
the type of cause and effect relationship described in Cammer and Krogman, which
supports a conclusion of market efficiency. First, I compare CenturyLink common stock
price movements on “news days” to movements on “no-news” days. Next, I demonstrate
that there is no statistically significant autocorrelation of CenturyLink common stock
abnormal returns. This demonstrates that CenturyLink’s common stock price reacted
quickly to all types of news. Finally, although not necessary to support my conclusions as
to the efficiency of the market for CenturyLink common stock, I also analyze whether
CenturyLink’s stock price reacted to the alleged corrective disclosures in a manner
consistent with the type of response that would be expected in an efficient market. It did,
which is also consistent with and further supports my conclusion that CenturyLink’s
common stock traded in an efficient market. The empirical results presented below support
the conclusion that CenturyLink common stock traded in an efficient market throughout
the Class Period.

        B. Price Reaction to Unexpected New Information

           1.       Event Study Methodology Used to Test for Cause and Effect

        60.     To detect whether the price of CenturyLink common stock rapidly reacted to
disclosures of important unanticipated information, I ran a series of empirical tests using
the results from an event study. Event studies are widely used in academia, securities
litigation matters and investment practices, and have been a standard statistical procedure
used by financial economists for over thirty years. They are generally used to measure the
reaction of stock price (and thus that of market participants) to the disclosure of new
information. In an event study, generally-accepted statistical methods are used to test
whether a stock price movement on a particular date is statistically significant – i.e., is of




95
     Krogman, 202 F.R.D. at 477.

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a large enough magnitude to allow a statistician to conclude it is not the consequence of
chance.

         61.   As is explained in detail in Appendix D, to determine whether the
CenturyLink stock price movement on any given date is statistically significant, I use
generally-accepted econometric methods and specify a regression model that removes the
outside influences on the stock price movement. I then compare the remaining or residual
firm-specific portion of the stock price movement on the date in question to the typical or
normal volatility of the company’s stock.

         62.   Finally, as is typical in event studies performed in the context of class
certification, I examine the relationship between the magnitudes of the abnormal returns,
the statistical significance of those abnormal returns and the unexpected news related to
the subject company. In Appendix C, I present a voluminous daily chronology including
CenturyLink common stock prices, returns, volumes, abnormal returns and levels of
statistical significance along with company news obtained via Factiva. This chronology
also demonstrates the depth of the media coverage of CenturyLink.96,97 The abnormal
returns and the measures of statistical significance are used in the analyses below.




96
     During the Class Period, numerous news stories about CenturyLink appeared in leading
     financial publications, including Bloomberg First Word, Bloomberg News, Associated Press
     Newswires, Benzinga.com, Business Wire, Canada NewsWire, Dow Jones Institutional News,
     Dow Jones Newswires, FinancialWire, Moody’s Investors Service Press Release, PR
     Newswire, Reuters News, Reuters Significant Developments, and The Wall Street Journal. As
     discussed above, the broad dissemination of information about CenturyLink though the media,
     analyst reports and regular SEC filings is itself evidence supporting the conclusion that
     CenturyLink common stock traded in an efficient market during the Class Period. See, e.g., In
     re HealthSouth Corp. Sec. Litig., 261 F.R.D. 616, 635 (N.D. Ala. 2009) (“The extensive
     coverage of HealthSouth in general and its bonds in particular by investment professionals,
     public media, and institutional investors reflects that HealthSouth notes traded in an efficient
     market.”).
97
     For the CenturyLink chronology, I compiled lists of SEC filings, analyst reports, and news
     articles. I compiled the list of all of CenturyLink’s SEC filings from March 1, 2013 to July 12,
     2017 from the SEC website. The list of analyst reports is based on reports available from the
     Thomson Eikon and Capital IQ electronic databases. While some other reports may exist, this
     is a reasonably comprehensive list of the analyst reports issued concerning CenturyLink. For
     news articles contained in the chronology, I searched Factiva. For Factiva, I searched all
     sources for the company code for “CenturyLink Inc.”

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            2.       Cause and Effect Analysis Examining Days with Earnings News
                     versus Days without Earnings-News – Background

         63.     In an efficient market, each disclosure of unanticipated material information
will be expected to have an impact on the security price. This is why the Cammer court
concluded, “[I]t would be helpful to a plaintiff seeking to allege an efficient market to
allege empirical facts showing a cause and effect relationship between unexpected
corporate events or financial releases and an immediate response in the stock price.”98 In
securities litigation, the event study for a single firm as described in detail in Appendix D
examines the impact on stock prices from a variety of different types of information that is
disclosed and disseminated. It is not unusual that over a class period the corporation will
announce earnings, dividends, discoveries, new products, management changes, new
issues of securities, lawsuits that it files, lawsuits filed against it, projections, regulatory
changes that impact its business, and more.

         64.     In an efficient market, academic research finds that there will be some large
price movements not associated with news,99 and conversely, that there will be news
without large price movements. For example, there will often be news without large price
movements when a company announces earnings that are in line with expectations. In
other words, the news may be important to investors, but the change in mix of information
is not sufficiently material to elicit a statistically significant stock price reaction. Similarly,



98
     Cammer, 711 F. Supp. at 1287.
99
     For example, in a 2002 study of the general stock market, Professor Fair observed that in the
     4,417 trading days for the S&P 500 Index there were 220 days with abnormal returns. Of these
     days with significant returns, only 69 days had identifiable events or news. Thus, only 31.4
     percent of the days had identifiable news, while 68.6 percent had no identifiable event or news.
     Notably, Prof. Fair did not conclude that the S&P 500 stocks traded in inefficient markets. See,
     Ray Fair, Events That Shook the Market, 75 Jnl. of Bus. 713, 714 (2002).
     This result is also consistent with other studies, including an analysis that examined return
     predictability following large price changes and information releases. In this study the authors
     looked at all common stocks traded on the NYSE and AMEX from 1990 to 1992 and observed
     23,459 events with large abnormal returns (i.e., days for one or more stocks with large price
     movements). After employing certain defined data filters, the final sample included 4,873
     events. They found, “Approximately one-third of the events had public announcements.”
     Mahesh Pritamani and Vijay Singal, Return Predictability Following Large Price Changes and
     Information Releases, 25 Jnl. of Banking & Fin. 631, 635-636 (2001) (“Pritamani and Singal”).

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when a company’s disclosure misleads investors by concealing important information and
therefore maintains the mix of information already in the market, that disclosure would
generally not result in a significant stock price movement, because the nature of the
information disclosed would simply (and misleadingly) confirm prior expectations.

          65.   Furthermore, there are unobserved factors that might lead to significant price
movements without news. These factors include, among others, unobserved changes in the
market’s expectations, imperfections in the statistical methods employed to evaluate the
systematic cause-and-effect relationships of a single firm over a given period of time, and
private trading activity — for example, insider trading, trading in advance of an offering
or portfolio rebalancing. These factors all might drive a large price response without a
publicly observed cause.

          66.   Below I present empirical evidence that demonstrates that CenturyLink
common stock exhibits the type of cause and effect relationship, described in Cammer and
Krogman, which supports a conclusion that CenturyLink common stock traded in an
efficient market. Specifically, I compare CenturyLink common stock price movements on
days when there are company earnings announcements (referred to below as “news” days)
to common stock price movements on days when there are no company earnings
announcements (referred to below as “no-news” days).

          67.   Earnings disclosures typically (although not always) communicate valuation-
relevant information. Such information may or may not be material or unanticipated.100
What is relevant for an event study is that the group of events as a whole is characterized
as having a greater likelihood of disclosure of material, unanticipated information as
compared to all other days. Indeed, in a collective event study, one would not necessarily
expect all of the individual days on which events occur to evince statistically significant




100
      There is a voluminous academic literature examining price responses to earnings releases. The
      pioneering work was completed by William H. Beaver, The Informational Content of Annual
      Earnings Announcements, 6 Jnl. of Acctg. Res. 67 (1968). See also Daniella Acker, Implied
      Standard Deviations and Post-Earnings Announcement Volatility, 29 Jnl. of Bus., Fin. and
      Acctg. 429 (2002).

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returns.101 In a collective event study, statistical tests are used to examine whether the
incidence rate of statistically significant returns is greater on “news days” – days that are
generally more likely to have high information flow – than the incidence rate on no-news
days, which are days that are less likely to have high information flow.

          68.    I use earnings disclosure dates as “news days” because a company’s financial
results and forecasts are among the most important considerations market participants
utilize in valuing the company’s stock.102             While not every earnings announcement
communicates new, unexpected, and material valuation information, the academic and
trade literature in finance notes that unanticipated material information is more frequently
and more systematically disclosed on such announcement dates rather than on other dates.
Indeed, earnings and revenue announcement dates are a highly studied area of the academic
research related to news and price movements. Numerous courts have credited similar
analyses using earnings disclosures dates as “news days.”

          69.    Accordingly, in order to objectively select “news dates” from the collection
of CenturyLink disclosures for use in my collective analysis, I examined dates on which
CenturyLink announced earnings, earnings guidance, and sales reports and compared




101
      See ¶64.
102
      As mentioned above, there are a confluence of different types of material, unanticipated
      information that a company discloses that can impact a stock price. There is a large body of
      academic literature that studies these different types of non-earnings-related information. In
      one of the earliest papers, the author states, “Other types of information available to investors
      may be important to their valuation of securities. For instance, the Wall Street Journal routinely
      reports company announcements of dividend increases, large product sales, earnings forecasts,
      acquisitions, construction projects, stock splits, labor strikes and quarterly earnings figures. Do
      these events affect the price, hence volatility, of companies’ securities?” Dale Morse, Wall
      Street Journal Announcements and the Securities Markets, 38 Fin. Analysts Jnl. 69, 69 (1982).
      See also, Pritamani and Singal, 644-645 and Table 4, in which the authors “divide the public
      announcement sample into several subsamples based on the type of news. . . . Seven distinct
      types of announcements are listed . . . .” They examine the price impact of seven categories of
      news, including: actual earnings announcements by management; forecast of earnings by
      management; analyst recommendations; capital structure related information (including
      stock/debt issues); restructuring related information; general business information (including
      product related information, business contracts, and joint ventures); and miscellaneous
      information.

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CenturyLink’s common stock price movement on those dates to its movement on all other
dates in the Class Period.103

             3.       Cause and Effect Analysis Examining Days with Earnings News
                      versus All Other Days

          70.     To begin, I have taken all 1,100 trading dates within the Class Period and
categorized each date based on: (i) the statistical significance/insignificance of the
abnormal returns on that day; and (ii) whether or not the date is an earnings or preliminary
earnings date. I calculate the number and percentage of days in each of these categories
based on CenturyLink news releases and the abnormal returns derived from the regression
results in Appendix E.

          71.     To minimize the possibility of including certain dates that might be
considered to distort my results, I start with the 1,100 days in the Class Period and eliminate
those dates when there are price impacts from alleged corrective disclosures.104 This leaves
me with 1,097 dates for my analysis of news dates versus non-news dates.

          72.     Of these 1,097 days, there are 17 days throughout the Class Period when there
are earnings-related announcements. I use this subset of dates as news dates where, as
explained above, my objective criteria suggest that there could have been — although not
necessarily that there would have been — announcements of unanticipated, material
news.105 Therefore, out of the 1,097 examined days within the Class Period, approximately
1.5% (=17/1,097) of the days have such news releases. In Appendix E, I have also
identified 79 dates with statistically significant abnormal returns during the Class Period
of which 77 are included in the 1,097 examined days. Therefore, 7.0% (=77/1,097) of the



103
      The use of such collective tests comparing price movements on news days to lesser or no-news
      days is widely used to assess market efficiency. See Paul A. Ferrillo, Frederick C. Dunbar, and
      David Tabak, The “Less Than” Efficient Capital Markets Hypothesis: Requiring More Proof
      from Plaintiffs in Fraud-on-the-Market Cases, 78 St. John’s L. Rev. 81 (2004).
104
      The dates excluded are June 16, 2017, June 19, 2017, and July 12, 2017 (Complaint, ¶¶154,
      160, 171).
105
      The impact dates of the 17 earnings dates are: 5/9/2013; 8/8/2013; 11/7/2013; 2/13/2014;
      5/8/2014; 8/7/2014; 11/6/2014; 2/12/2015; 5/6/2015; 8/6/2015; 11/5/2015; 2/11/2016;
      5/5/2016; 8/4/2016; 10/31/2016; 2/9/2017; and 5/4/2017.

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days have statistically significant abnormal returns. The information is summarized in
Exhibit IX, which shows that out of the 1,097 examined days in the Class Period, there
were 10 days with significant returns and news, and 67 days with significant returns and
no news that meets my objective criteria.106 There are only seven news days with non-
significant returns, leaving 1,013 days with insignificant returns and no news.

          73.   I first compare the proportions of significant abnormal returns on news days
to those on no-news days. This is done by applying a generally-accepted statistical tests to
determine whether there was a statistically significant difference between the observed
proportions of statistically significant abnormal returns on news days as compared to no-
news days. Here, CenturyLink’s common stock price exhibited a statistically significant
abnormal price reaction on 59% of news days (10 of 17), compared to just 6% of no-news
days (67 of 1,080). Thus, I observe significant price reactions on news days over nine
times more frequently than I observe significant movements on no-news days. The
difference between these two rates is highly statistically significant with a p-value of less
than 0.0001 using Fisher’s Exact Test.107 Thus, with over 99.99% confidence, I can reject
the hypothesis that CenturyLink’s stock price reacted no differently on news days (or those
dates with expected greater information flow) than on all other days.

          74.   Next, I utilize a generally-accepted statistical method and assume there is no
link between news and statistically significant returns (i.e., the relationship is randomly



106
      It is expected in an event study where there are limited disclosures that there will be dates with
      no disclosure and statistically significant abnormal return. As explained in Hartzmark and
      Seyhun (2012) at pp. 435-445, observing a significant abnormal return, but no news, is NOT
      evidence that the security trades in an inefficient market. For example, based on the
      fundamental properties of statistical models it is expected there will be approximately 5% of
      the dates with the bright line statistical significance of 5%. In this case the percentage is 7.0%
      or 77 dates (out of 1,097). However, CenturyLink disclosed news on only 17 dates based on
      the objective criteria, so the maximum number of dates with news is 17 days. Thus, in
      combination (a) the bright line statistical significance of 5% and thus 77 days with statistically
      significant returns; (b) the number of days in the Class Period after eliminating corrective
      disclosures of 1,097; and (c) the fixed number of potential news dates of 17, by the construction
      of the empirical test and simple math, a minimum of 60 (= 77 – 17) dates must have no
      disclosure and statistically significant abnormal returns.
107
      Fisher’s Exact Test is a statistical significance test used in the analysis of proportions such as
      the categories discussed above.

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determined. This test shows that there is virtually zero chance of observing 10 days with
statistically significant abnormal returns when there is news.108

          75.     Finally, I utilize a generally-accepted statistical test to ask and answer the
question of what number and percentage of days I would have expected to find matching
between news and a statistically significant abnormal return, if the two were unrelated.
Applying this test, I find that, if the news and the statistically significant abnormal returns
are unrelated, I would expect to observe only 1.2 days out of the 17 days when there is a
significant abnormal return associated with an identifiable earnings announcement. Thus,
the ten days I observe is over eight times the expected number of days if there were no
cause-and-effect relationship between stock returns and news.

          76.     These statistical findings related to the price movements of CenturyLink
common stock reject the hypothesis that, throughout the Class Period, CenturyLink stock
behaved no differently on news days than on all other days. The test results support my
conclusion that CenturyLink-specific information and large price movements of
CenturyLink stock during the Class Period were related and cannot be attributed to random
volatility, or to market or sector factors. This also clearly provides substantial support for
the conclusion that CenturyLink common stock traded in an efficient market throughout
the Class Period.

             4.       Cause and Effect Analysis Examining Autocorrelation Throughout
                      the Class Period

          77.     I have demonstrated above that CenturyLink stock reacted to earnings news,
as expected in an efficient market. Next, I demonstrate that it not only reacted as expected
to earnings news, but that CenturyLink’s common stock price reacted quickly to all types




108
      To test whether this hypothesis is a reasonable description of the actual world, I use a statistical
      method employing a generally-accepted approach called “bootstrap testing.” Using this
      method, I have created test statistics to determine whether the observed relationships between
      CenturyLink significant returns and news are likely to have been generated in a random
      fashion. If news is not linked to significant returns, then I would not expect there to be a
      statistically significant relationship that distinguishes those days when there is or is not news
      from those days when there are or are not significant returns. See Bradley Efron & Robert J.
      Tibshirani, An Introduction to the Bootstrap (CRC Press LLC, 2d ed.) (1993), 1.

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of news.        I demonstrate this by showing there is no persistent and systematic
autocorrelation of CenturyLink abnormal returns.

          78.   For this analysis, I conducted a statistical test to determine whether the daily
abnormal returns of CenturyLink common stock exhibit persistent and systematic
autocorrelation using returns and lagged returns.109 Autocorrelation is a statistical property
of the series of returns of a security wherein tomorrow’s security price movement can be
systematically predicted with a reasonable degree of statistical certainty based solely on
the security price movement today (or during some period in the past). Some have argued
that persistent and systematic statistically significant autocorrelation in the returns might
indicate a violation of market efficiency in that it suggests that the security price does not
react quickly, making available profit opportunities from naïve trading strategies that are
sustained over time.

          79.   My statistical analysis of CenturyLink abnormal stock returns for 1,100 days
of the Class Period shows there is no statistically significant autocorrelation. This supports
a conclusion of market efficiency. Here, I ran a standard statistical model by regressing
each trading day’s abnormal return on the abnormal return from the prior trading day.
Using this model, as I show in Exhibit X, I calculate a coefficient of 0.04, which represents
the measurement of the relationship between the abnormal current (i.e., today) and lagged
(i.e., yesterday) returns, and which has an associated t-statistic of 1.36. A t-statistic of 1.96
or above would indicate a statistically significant relationship, at the commonly-utilized
5% threshold for statistical significance, between yesterday’s and today’s abnormal
returns. Because the t-statistic I derive is well below that threshold, I conclude that there
is no statistically significant autocorrelation of CenturyLink abnormal stock returns during


109
      “Autocorrelation is usually found in time-series data. Economic time series often display a
      ‘memory’ in that variation is not independent from one period to the next.” Greene, supra note
      29. In other words, autocorrelation is the measurement of the relationship between the security
      return at time t and the return of the same security at some fixed time in the past. First-order
      autocorrelation would be found when there is a statistically significant relationship between the
      common stock return today and the common stock return yesterday. Another way of looking
      at this concept is that if an observer can use the return from yesterday to predict with some
      level of certainty the return today, there exists autocorrelation. See Lehocky, 220 F.R.D. at
      506-507 n.20 (noting that both parties’ experts agreed on the helpfulness of autocorrelation);
      PolyMedica, 453 F. Supp. 2d at 276–78.

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the Class Period. This finding again supports the conclusion that the market for
CenturyLink common stock traded in an efficient market throughout the Class Period.

            5.        Analysis Examining Corrective Disclosure Dates

         80.     I have been asked by Counsel to analyze whether CenturyLink’s stock price
reacted to the alleged corrective disclosures in a way that is consistent with the results of
my test of news versus no-news days and as would be expected of a stock that trades in an
efficient market. In Appendix C and Appendix E, I present empirical information related
to the calculation of all the abnormal returns throughout the Class Period, including the
three days when the Complaint alleges there were alleged corrective disclosures: Friday,
June 16, 2017; Monday, June 19, 2017; and July 12, 2017.110 The alleged stock-price
effects from these disclosures occurred on June 16, 2017, June 19, 2017, and July 12,
2017.111

                 a)     June 16, 2017
         81.     The alleged corrective information was disclosed on Friday, June 16, 2017 at
1:50 p.m. (Eastern Time) in a Bloomberg news story.112 As can be seen in Appendix C,
after 2:00 p.m., sources from my Factiva search began disseminating and discussing the
information. As shown in Chart 1, below, on June 16, 2017 CenturyLink’s stock price
reacted rapidly, and the abnormal return for the day of -4.82% is highly statistically
significant (with a p-value below 0.01, which denotes statistical significance with greater
than 99% confidence).




110
      Complaint ¶¶152, 158, 163.
111
      Complaint ¶¶154, 160, 171.
112
      “CenturyLink Is Accused of Running a Wells Fargo-Like Scheme,” Bloomberg News, June
      16, 2017, 1:50 p.m.

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                                               Chart 1




                b)       June 19, 2017
          82.   Over the weekend and throughout June 19, 2017, there were numerous news
stories, analyst reports and “reports of consumer class actions alleging systemic billing
misconduct,”113 many of which were related to the alleged corrective disclosure. As shown
in Chart 2, below, on June 19, 2017, CenturyLink’s stock price declined with an abnormal
return for the day of -2.31%. Although the p-value of 6.12% denotes statistical significance
above the commonly reported 5% level, it also indicates that the observed price decline is
different from zero with a 94% level of confidence.114 Moreover, the two-day abnormal
return over these contiguous alleged corrective disclosure dates is -7.01%, which is highly




113
      Complaint, ¶266.
114
      Academic researchers often indicate when estimated coefficients are statistically significant at
      the 10% level because they may consider the empirical results to be economically significant.

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statistically significant (with a p-value below 0.01, which denotes statistical significance
with greater than 99% confidence).

                                           Chart 2




               c)      July 12, 2017
         83.   The alleged corrective information was disclosed on July 12, 2017 at
approximately noon (Eastern Time), when the Complaint alleges that “the Minnesota
Attorney General announced that it had filed a lawsuit against CenturyLink alleging
violations of state consumer protection laws after a year-long investigation.”115 As shown
in Chart 3, below, CenturyLink’s stock price reacted rapidly. On that date the stock price
declined, with an abnormal return of -4.19%, which is also statistically significant with a
p-value below 0.01, denoting statistical significance with greater than 99% confidence.




115
      Complaint, ¶18. “*Minnesota AG Filed Suite vs CenturyLink on Billing Issues,” Bloomberg
      News, July 12, 2017, 12:04 p.m.

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                                        Chart 3




              d)     Summary
       84.   Overall, the price reactions for CenturyLink common stock on the corrective
disclosure dates are consistent with what an economist would expect when a security trades
in an efficient market.

       C. Conclusion Based on the Basket of Factors the Courts Evaluate

       85.   My empirical analyses in this section shows that the disclosure of
CenturyLink-specific news caused rapid and significant movements in the prices of
CenturyLink common stock. These analyses strongly support the conclusion that the
market for CenturyLink common stock was efficient, as Cammer explains: “[o]ne of the
most convincing ways to demonstrate [market] efficiency would be to illustrate, over time,
a cause and effect relationship between company disclosures and resulting movements in




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stock price.”116 Moreover, the empirical results for the evaluation of the seven operational
factors in Section V also presented strong support for my conclusion that CenturyLink
common stock traded in an efficient market throughout the Class Period.

         86.   Not only have I presented extensive evidence that CenturyLink common
stock traded in an efficient market, I note that the empirical analyses herein go well beyond
what the Supreme Court has required plaintiffs to demonstrate in Halliburton II. There,
the Court reaffirmed Basic:

                The Court in Basic acknowledged, however, the debate among
                economists about the efficiency of capital markets and refused
                to endorse “any particular theory of how quickly and
                completely publicly available information is reflected in market
                price.” The Court instead based the presumption of reliance on
                the fairly modest premise that “market professionals generally
                consider most publicly announced material statements about
                companies, thereby affecting stock market prices.” Moreover,
                in making the presumption rebuttable, Basic recognized that
                market efficiency is a matter of degree and accordingly made it
                a matter of proof.117

         87.   In conclusion, when examining the basket of factors that courts generally rely
upon for class certification decisions, which are also consistent with the fundamental
principles of economics and finance that academics rely upon to evaluate market
efficiency, the evidence strongly supports the conclusion that CenturyLink common stock
traded in an efficient market throughout the Class Period.

VII. INTRODUCTION TO CORPORATE BONDS AND BOND PRICING THEORY

         A. Background Information on Corporate Bonds

         88.   A corporate bond is a security issued in connection with a corporation’s
borrowing activity.      The borrower (the corporation) receives a lump sum payment
(generally denominated in $1,000 amounts per single bond) in return for a promise to make



116
      Cammer, 711 F. Supp. at 1291.
117
      Halliburton Co, et al. v. Erica P. John Fund, Inc., 134 S.Ct. 2398 at 2403 (2014) (quoting
      Basic, 485 U.S. at 247, 248, nn. 24 & 28).

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periodic payments to the lender in the future. These periodic payments typically include
semiannual payments of interest to lenders (called coupon payments), as well as a lump
sum payment at maturity (called principal payment).118

          89.   The corporate bond market is primarily an institutional market, meaning that
most of the participants are large institutions rather than retail clients. Furthermore, most
trading takes place over-the-counter, where the bond trader cannot observe quotes on a
centralized or electronic exchange.119 Instead, for quotes, the institution or customer
contacts one or more dealers or alternatively accesses through Bloomberg or other price
providers an electronic broadcast of a list of bonds and quotes.

          90.   The price of a bond is calculated as the present value of the expected future
cash flows it generates.120          In turn, the present-value calculation depends upon the
magnitude and timing of promised bond payments and the likelihood of repayment, as well
as the market interest rates for comparable securities.

          91.   The value of a corporate bond121 is then determined by six components:

          (1)      The expected rate of return on similar maturity, riskless debt (i.e., U.S.
                   government bonds);




118
      Corporate bonds frequently have covenants or terms whereby the bond may be put to the
      company by the investor or called by the company. They can also be convertible or secured
      by specified assets.
119
      Corporate bonds also trade on the NYSE, a centralized exchange where there are readily
      available price quotes. Estimates suggest that only a small proportion of all corporate bond
      trades are made on the NYSE.
120
      Corporate bonds are generally issued with a par value (which is also sometimes referred to as
      face value or original principal balance) of $1,000. Most corporate bonds (like the CenturyLink
      7.6% Note) have a par value, face value or original principal balance that is fixed and does not
      change over the life of the corporate bond. On the other hand, the market value of a bond will
      change based on the market price of the bond. Bond pricing convention is such that bonds are
      priced relative to $100 par value, face value or original principal balance. Therefore, a bond
      price of $96 represents a market value of a bond of $960 or 96% times $1,000.
121
      The value of a bond with a fixed coupon is expressed as a price relative to $100 par value. This
      price relative to par value is inversely related to its yield. This means that, all else constant, as
      the yield rises, the bond price falls.

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          (2)     The various provisions and restrictions associated with the particular bond
                  (e.g., call terms, convertibility features, seniority in the event of default,
                  maturity date, etc.);

          (3)     The default risk, or the probability that the company will be unable to satisfy
                  some or all of the indenture requirements given current and expected future
                  economic conditions;

          (4)     The likely recovery rate of the bonds in case of bankruptcy or liquidation
                  given current and expected future economic conditions;

          (5)     The tax considerations of the bond payments; and

          (6)     The likelihood of being able to sell the corporate bond in a liquid market.122

          92.   Changes in these variables explain most of the variation in the prices and
yields of corporate bonds. However, daily changes in corporate bond prices and yields are
most often a function of changes in risk-free rates of interest, in risk premia for similar-risk
bonds, and in the company’s likelihood of default on its obligations.123

          93.   Furthermore, because in the case of a non-convertible bond like the 7.6% Note
the bondholder receives only a return of principal, there is generally less upward movement
in a bond price than downward movement.124 In essence, unlike common stock, there can




122
      The first three components of the value of a corporate bond are discussed in detail in Robert C.
      Merton, On the Pricing of Corporate Debt: The Risk Structure of Interest Rates, 29 J. Fin., 449
      (1974). With respect to components (4) and (6) above and general discussions on factors
      affecting corporate bonds, see Edwin J. Elton, Martin J. Gruber, Deepak Agrawal, and
      Christopher Mann, Factors Affecting the Valuation of Corporate Bonds, 28 J. Banking and
      Fin., 2747-67 (2004); Merton H. Miller, Debt and Taxes, 32 J. Fin., 261-75 (1977); Merton H.
      Miller and Myron S. Scholes, Dividends and Taxes, 6 J. Fin. Econ., 333-64 (1978); Harry
      DeAngelo and Ronald W. Masulis, Leverage and Dividend Irrelevancy Under Corporate and
      Personal Taxation, 35 J. Fin., 453-64 (1980).
123
      Typically, tax, recovery rate, and liquidity factors are stable on a day-to-day basis, although
      the expected recovery rates might change with a corrective disclosure. Another variable that
      can affect the valuation of the bonds, the age of the bond, is deterministic (i.e., known in
      advance). Thus, while all of these factors affect bond prices, they will have only a small effect
      day-to-day.
124
      The 7.6% Note is a not a convertible bond.

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be an asymmetry of price movements – almost like something bumping up against a
ceiling.

           94.   While U.S. Government obligations are typically viewed as free from default
risk, the same is not true for corporate bonds. Corporations can and do default on their
promises to make future payments, or otherwise abide by the bond indentures and
covenants. Bond default risk, along with the expected loss given default, is often referred
to as credit risk. Credit risk is measured by various rating agencies, such as Moody’s
Investors Service, Standard and Poor’s Corporation, and Fitch Investors Service.125 Once
the agency assesses the relative degree of credit risk associated with the type of debt issued
by a company, they announce a credit rating grade, which in the case of Standard and
Poor’s Corporation, spans across 21 categories from AAA to C, or the least risky to the
most risky debt.126 The relative sensitivity of the price of a non-convertible bond to firm-
specific information will, all else constant, be greater as the bond moves toward C. On the
other hand, the relative sensitivity of the price of a non-convertible bond to economy-wide
information will, all else constant, be similar whether the bond is AAA or C. Because, as
described in Appendix J, there is continuum of ratings from AAA to C bonds, there is also
a continuum of responsiveness of bonds to different underlying economic factors and firm-
specific information. Finally, it is common for corporate bonds to trade less frequently
than stocks because outside influences and internal financial factors have less impact on
pricing.127




125
      See Appendix J for a description of the bond ratings provided by Moody’s Investors Service,
      Fitch Investors Service, and Standard and Poor’s Corporation.
126
      Certain bonds are not rated, and thus, for example have a grade of “NR” from Standard and
      Poor’s Corporation. The rating agencies charge fees to issuing firms to rate corporate bonds,
      therefore some corporations choose not to have their corporate bond offerings rated. According
      to data in the 2014 and 2017 Issue Information Corporate Bond Tables from the TRACE Fact
      Book, in 2013, 2014, 2015, 2016 and 2017, 22%, 25%, 25%, 67%, and 69% of the corporate
      bond issues (excluding convertible bonds and equity CUSIPs) were not rated.
      http://www.finra.org/filing-reporting/trace/trace-fact-book. A bond that is in default is graded
      “D” by Standard and Poor’s Corporation.
127
      Sriketan Mahanti, Amrut Nashikkar, Marti Subrahmanyam, George Chacko and Gaurav
      Mallik, Latent Liquidity: A New Measure of Liquidity, with an Application to Corporate Bonds,
      88 J. Fin. Econ. 272-298 (2008) (“Latent Liquidity”); see also Michael L. Hartzmark, Cindy A.

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          B. Bond and Stock Prices Often Move in Different Directions in an Efficient
             Market

          95.   Simon Kwan has explained why a company’s stock and bond prices may
move in opposite directions in response to new company-specific information:

                 Depending on the type of firm-specific information
                 disseminated over time, individual stocks and bonds can be
                 either positively or negatively correlated. Information about the
                 mean value of the firm’s underlying assets affects the values of
                 the firm’s stocks and bonds in similar directions, resulting in a
                 negative [positive] relationship between individual stock
                 returns and changes in individual bond yield [price]. On the
                 other hand, if we view equity as similar to a call option on the
                 firm’s underlying assets, then information about the variance of
                 the firm’s asset return has opposite effects on the values of the
                 firm’s stocks and bonds, resulting in a positive [negative]
                 relationship between individual stock returns and bond yield
                 [price] changes. Hence, examining the correlation between
                 individual stocks and bonds can reveal the dominant type of
                 firm-specific information that drives these investments.128



      Schipani and H. Nejat Seyhun, Fraud on the Market: Analysis of the Efficiency of the
      Corporate Bond Market, 3 Colum. Bus. L. Rev. 654, 674-675 (2011).
128
      Simon H. Kwan, Firm-Specific Information and the Correlation between Individual Stocks and
      Bonds, 40 J. Fin. Econ. 63-80, 64 (1996) (citations omitted). In general, then, two factors affect
      the value of stocks and bonds.
      Dr. Kwan asks, “What is the dominant type of firm-specific information that drives individual
      stocks and bonds?” (Id. at 65.) This is an understanding of the domination of one type over
      the other on average and does not conclude that if one type dominates the other on average that
      it always dominates. In other words, these factors include the business prospects of the firm
      and the business risks of the firm. Economists use the mean value (or level) of the firm’s assets
      to describe the business prospects of the firm. If the business prospects improve or the value
      of the assets increase generally, that means that the value of both the firm’s stock and bonds
      will rise. Economists use the variance of the firm’s assets to describe the business risks. If the
      business risks or the variance of the assets increase this may mean an increase in the value of
      the firm’s common stock (as the upside is enhanced, while the downside of zero dollars has not
      changed), while this may mean a decrease in the value of the firm’s corporate bonds as the
      likelihood of bankruptcy rises.
      Even if changes in the business prospects (or level of the assets) are more often the dominant
      type of firm-specific information, this does not preclude the changes in a firm’s business risks
      (or the variance of assets) as being an important factor determining the directional relationship
      between a firm’s stock and bond returns. For example, the changes in the business prospects
      (or the level of assets) might dominate the changes in the business risks (or the variance of
      assets) in six of ten events, and thus be “dominant,” such that one observes the prices of stocks

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          96.   In addition to the widely accepted theory of the relationship between stock
and bond returns being a function of the nature of the information, “[t]he wealth
redistribution hypothesis, which stems from the conflict of interests between bondholders
and stockholders, differs from the information content hypothesis by stating that an
increase (decrease) in the equity market value is accompanied by a decrease (increase) in
the debt market value.          Indeed, wealth can be redistributed from bondholders to
stockholders by increasing the risk of the outstanding bonds. Higher bond risk can result
from increasing the variance of the firm’s possible future values.”129 Thus, “the wealth
redistribution hypothesis predicts offsetting changes in the values of individual classes of
securities and no change in firm value.”130 This means that stock and bond returns will be
inversely related.

          97.   One of the more common examples of the wealth redistribution effect that is
important in examining the 7.6% Note, as well as why stock and bond returns may be
inversely related, is that:

                An increase in the corporation’s debt, keeping the total value of
                the corporation constant, will increase the probability of default
                and will thus reduce the market value of one of the
                corporation’s bonds. If the company changes its capital
                structure by issuing more bonds and using the proceeds to retire
                common stock, it will hurt the existing bond holders, and help
                the existing stockholders. The bond price will fall, and the
                stock price will rise. In this sense, changes in the capital
                structure of a firm may affect the price of its common stock.
                The price changes will occur when the change in the capital




      and bonds moving in the same direction on six of ten days. However, this does not preclude
      the business risks (or the variance of assets) from dominating the business prospects (or the
      level of assets) in the other four events and the prices of stocks and bonds moving in inverse
      relation on four of ten days.
129
      George Handjinicolaou and Avner Kalay, Wealth Redistributions or Changes in Firm Value:
      An Analysis of Returns to Bondholders and Stockholders around Dividend Announcements, 13
      J. Fin. Econ. 35, 38 (1984) (citations omitted) (“Wealth Redistributions”).
130
      Ronald W. Masulis, The Effects of Capital Structure Change on Security Prices, 8 J. Fin. Econ.
      139, 143 (1980).

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                structure becomes certain, not when the actual change takes
                place.131

          98.   Therefore, failing to account for the differential and complex interaction of
the level and variance of assets – or the business prospects versus the business risks – can
lead to misleading results.132 There does not need to be a corporate transaction or major
event for these differential effects to emerge. Every day there are both internal and external
factors that affect the business risk and prospects of a firm. Depending on the relative
impacts, stock and bond returns might move in tandem or inversely.

          C. Description of CenturyLink’s 7.6% Note

          99.   On September 21, 2009, CenturyLink “completed a public offering of $400
million aggregate principal amount of its 7.6% Senior Notes due September 15, 2039.”133
The amount outstanding of the 7.6% Senior Notes was doubled to $800 million on June 9,
2011, when the Notes were “reopened.”134 The 7.6% Note is redeemable.135 In May 2019,


131
      Fischer Black and Myron Scholes, The Pricing of Options and Corporate Liabilities, 81 J.
      Political Econ. 637, 650 (1973) (citations omitted).
132
      “In some combinations of wealth transfer and signaling effects, the suggested sign or
      correlation is ambiguous.” William F. Maxwell and Clifford P. Stephens, The Wealth Effects
      of Repurchases on Bondholders, 58 J. Fin. 895, 897 (2003).
133
      See, the attachment to CenturyLink SEC Form 8-K filed September 22, 2009. Fifth
      Supplemental Indenture, Dated as of September 21, 2009 to Indenture dated as of March 31,
      1994 by and between CenturyTel, Inc. and Regions Bank, as Trustee [for the] 7.60% Senior
      Notes, Series P, due 2039 [and] 6.15% Senior Notes, Series Q, due 2019 (the “5th Indenture”).
134
      See, Prospectus Supplement, dated June 9, 2011 (the “ProSupp”) (“CenturyLink, Inc. is
      offering the Series P Notes, the Series R Notes and the Series S Notes pursuant to this
      prospectus supplement. The Series P Notes will constitute a further issuance of, and will form
      a single fungible series with, the 7.60% Senior Notes, Series P, due 2039 that we issued on
      September 21, 2009 in the aggregate principal amount of $400 million. The Series P Notes will
      have the same CUSIP number and will trade interchangeably with the previously issued 7.60%
      Senior Notes, Series P, due 2039, immediately upon settlement.”).
      See also, ProSupp at p. S-8 (“We may ‘reopen’ any series of Notes at any time without the
      consent of the holders of that series of Notes and issue additional debt securities with the same
      terms (except the issue price and issue date), which will thereafter constitute a single fungible
      series with that series of Notes.”).
135
      ProSupp at p. S-7 (“We may redeem any series of the Notes, at any time in whole or from time
      to time in part, at a redemption price equal to the greater of (i) 100% of the principal amount
      of the Series P Notes, the Series R Notes or the Series S Notes to be redeemed and (ii) the sum
      of the present values of the remaining scheduled payments of principal and interest on the Notes

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CenturyLink repurchased some of the 7.6% Note in the open market and, as of November
22, 2019 the outstanding amount was $540.9 million.136 However, as of July 12, 2017, the
outstanding amount was still $800 million.137

          100. The 7.6% Note was also listed on foreign exchanges and, according to
Bloomberg, had minimal trading on the Frankfurt and Stuttgart exchanges in Germany.138
Throughout the Class Period, the agencies all continuously monitored all of CenturyLink’s
debt securities.

          101. At the start of the Class Period, the 7.6% Note had ratings of BB, Baa3, and
BB+ by S&P, Moody’s and Fitch, respectively.139 Moody’s rating was the lowest notch
for investment grade (of the fourth tier), S&P was the second notch (of the first tier) of
non-investment grade, and Fitch was the first notch (of the first tier) of non-investment
grade. Early in the Class Period, on March 14, 2013, Moody’s downgraded the 7.6% Note
to Ba2, the second notch of the first tier of non-investment grade. On this date, Moody’s
effectively downgraded its credit rating to similar levels as rated by S&P and Fitch. In
other words, Moody’s evaluation of the credit risk of the 7.6% Note was then comparable
to the level of credit risk previously disclosed by S&P, while Fitch’s rating remained one
notch higher still than S&P’s rating.



      being redeemed, discounted to the redemption date at the then current Treasury Rate applicable
      to each series of the Notes plus 50 basis points … together with, in each case, any accrued and
      unpaid interest to the redemption date.”).
136
      Source: Bloomberg.
137
      Source: Bloomberg.
138
      Source: Bloomberg. See also, ProSupp at p. S-8 (“The Notes will be issued in minimum
      denominations of $2,000 and any integral multiple of $1,000. The Notes of each series will be
      represented by one or more global Notes in fully registered form without interest coupons. The
      global Notes will be deposited with the trustee as custodian for The Depository Trust Company,
      which we refer to below as DTC, and registered in the name of a nominee of DTC in New
      York, New York for the accounts of participants in DTC. Beneficial interests in any of the
      Notes will be shown on, and transfers will be effected only through, records maintained by
      DTC or its nominee and any such interest may not be exchanged for certificated securities
      except in limited circumstances described in this prospectus supplement.”).
139
      For the credit ratings information I used as a source: Bloomberg. For a rating comparison chart,
      see, for example, https://www.fidelity.com/learning-center/investment-products/fixed-
      income-bonds/bond-ratings.

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          102. On March 15, 2016, Moody’s further downgraded the 7.6% Note from Ba2
to Ba3, which is the third notch of the first tier of non-investment grade. In other words,
Moody’s disclosed that there was a greater level of credit risk for the 7.6% Note than they
had previously assessed. Moreover, this increased credit risk was now greater than any of
the three major credit rating agencies had previously assessed.

          103. Finally, on October 31, 2016, each of the three credit rating agencies reacted
to negative information about CenturyLink and placed the 7.6% Note on negative credit
ratings watch.140 In other words, all three credit rating agencies contemporaneously
disclosed their evaluation that there was likely a greater level of credit risk for the 7.6%
Note than they had previously assessed.

VIII. ANALYSIS OF OPERATIONAL FACTORS FOR THE 7.6% NOTE

          104. Academic and trade research supports the conclusion that the prices of all of
CenturyLink’s securities would be highly dependent on the flow of information about the
performance of CenturyLink, and thus the efficiency of the prices of the 7.6% Note would
be enhanced based on the same basket of factors that determine the efficiency of
CenturyLink’s common stock — i.e., the basket of Cammer and Krogman factors
examined in Sections V and VI, above.141 Thus, whether the individuals are investors in
CenturyLink common stock or the 7.6% Note, they generally will have the same access to
the same information from the same sources (analysts, media, Company filings, etc.).
Therefore, to the extent that the CenturyLink share price reflects all publicly available



140
      After the end of the Class Period, on November 1, 2017, Fitch subsequently downgraded the
      7.6% Note to BB, the second notch of the first tier of non-investment grade. On November 1,
      2017, S&P subsequently downgraded the 7.6% Note to B+, the first notch of the second tier of
      non-investment grade. On October 31, 2107 Moody’s subsequently downgraded the 7.6%
      Note to B2, the second notch of the second tier of non-investment grade.
141
      This is consistent with, for example, Enron, 529 F. Supp. 2d at 754 (“The Court finds that Dr.
      Nye’s evidence applying the Cammer/Unger/Bell factors to the stock, is sufficient to trigger
      the fraud-on-the-market presumption for Plaintiffs' § 10(b) claims based on the options.”);
      Marcus v. J.C. Penney Co., Inc., 2016 U.S. Dist. LEXIS 115795, at *30 (E.D. Tex. 2016)
      (relying on “[t]he Court in Enron [which] found that an experts’ application of
      the Cammer factors to common stock was sufficient to trigger the presumption for options as
      well”), report and recommendation adopted, 2017 U.S. Dist. LEXIS 33257 (E.D. Tex. 2017).

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information about CenturyLink, and the share price rapidly adjusts to account for new,
material and unanticipated information, it would be expected that prices for the 7.6% Note
would also reflect all publicly available information about CenturyLink, and the 7.6% Note
prices would rapidly adjust to account for new, material and unanticipated information.
Therefore, to the extent that the Cammer Factors, such as analyst and media coverage, the
ability to file SEC Form S-3, and the fact that the common stock trades on a standardized
exchange, support the conclusion that CenturyLink common stock trades in an efficient
market — which they do as discussed above — these factors also support the conclusion
that CenturyLink’s 7.6% Note also trade in an efficient market. Even so, below I examine
the Cammer and Krogman factors and to the extent they are relevant apply them to the
7.6% Note.

         A. The Operational Factors Describing Market Efficiency

            1.      Cammer Factor I – Average Weekly Trading Volume

         105. The trading volume data I utilize for the turnover analysis of the 7.6% Note
come from FINRA’s TRACE data.142 FINRA produced the data in response to a subpoena
issued by Plaintiffs’ Counsel.143 The trading records in these data include, among other
information, the date and time of the transaction, the transaction price, the quantity of Notes
traded and whether the reporting dealer is a buyer or a seller.

         106. From the TRACE data, I aggregated the intra-day transactions to calculate
total daily volume of purchases and sales. For the purposes of calculating average weekly
turnover, there are specific data treatments that I undertook to account for certain indicators
in the records, as well as certain adjustments I made to ensure only bona fide publicly



142
      The Trade Reporting and Compliance Engine (TRACE) is a FINRA-developed vehicle that
      facilitates the mandatory reporting of over-the-counter (OTC) secondary market transactions
      in eligible fixed income securities. The system captures and disseminates consolidated
      information on secondary market transactions in publicly traded TRACE-eligible securities,
      including investment-grade, high-yield and convertible corporate debt. This information
      represents all OTC activity in these bonds. www.finra.org/industry/trace and
      www.finra.org/industry/trace/corporate-bond-data.
143
      Transaction data provided for the 7.6% Note spanned the period from July 1, 2012 through
      September 27, 2019.

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disseminated transactions were used in the analysis, including removal of cancelled or
reversed trades and trades not reported to the public. These data treatments and certain
other adjustments that were made to the raw data for various empirical analyses are
described in Appendix I.

          107. As shown in Exhibit XI, the 7.6% Note had an average weekly turnover level
of 2.5%, with a median of 1.8%.144 This relatively high level of turnover, especially for
corporate bonds, is above the 2% level found to support a “substantial presumption” that
the 7.6% Note trade in an open, well-developed and efficient market.145

                 a)      Transaction Size and Frequency
          108. In a paper I co-authored, my co-authors and I pointed out that, in general,
corporate bonds trade less frequently than stocks because of their different characteristics:

                 Corporate bonds will likely trade less frequently than stocks
                 because outside macro-economic and internal financial factors
                 generally both have smaller effects on bond pricing than on
                 stock pricing. Unlike common stocks, corporate bonds have
                 predictable cash flows, predictable terminal values, fixed
                 upside opportunities—namely, redemption at par value or $100
                 in our example—and a priority on the corporation’s assets.
                 …On the other hand, corporate equity does not have predictable
                 cash flows, predictable terminal values, fixed upside
                 opportunities, or priority on the corporate assets.146

          109. Therefore, given the risk-return trade-offs of corporate bonds and the
structure of the corporate bond market, it is common for corporate bonds to trade far less



144
      Aggregate weekly turnover is based on a weekly turnover series. For each week, turnover is
      computed as total dollar value traded during a week divided by the total par value outstanding
      at the end of the week. Excluding the first and last weeks of the Class Period, the average
      weekly turnover is 2.4% and the median remains 1.8%.
145
      “[A]verage weekly trading of two percent or more of the outstanding shares would justify a
      strong presumption that the market for the security is an efficient one; one percent would justify
      a substantial presumption.” Cammer, 711 F. Supp. at 1286. See also PolyMedica, 453 F. Supp.
      2d at 266 (quoting Krogman, 202 F.R.D. at 474) (“weekly trading volume has been called
      possibly ‘one of the most important’ of the Cammer factors”).
146
      Michael L. Hartzmark, Cindy A. Schipani, H. Nejat Seyhun, Fraud on the Market: Analysis
      of the Efficiency of the Corporate Bond Market, 3 Colum. Bus. L. Rev. 654, 676-677 (2011)
      (citations omitted).

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frequently than every minute of every day.147 I have examined the transactions volume
data from the transactions database to determine the activity of the 7.6% Note relative to a
sample of other bonds and notes. In Exhibits XII and XIII, I present summary statistics
describing the number of days between trades and frequency of trading of the 7.6% Note
relative to other comparable bonds. The set of data on the comparable corporate bonds
come from an academic publication by Sriketan Mahanti, et al., which used the State Street
Corporation custody-trades database.148

            110. I found that during the Class Period, the 7.6% Note traded on all possible
trading days, though not always within stock market trading hours. (see Exhibit XII). The
frequency of trading for the 7.6% Note is high when compared to the trading activity of
most other corporate bond issues, as presented in the Mahanti et al. paper, Latent
Liquidity.149 Exhibit XIII shows the percentile distribution of trades by time elapsed
between successive trading days for a sample of nearly 20,000 corporate bonds for the time
period 2003 through 2005, which shows that for the top decile of the most active corporate
bonds there was on average one day between each subsequent date with trading activity.
For the 7.6% Note, the average lapsed time is zero days (see Exhibit XIII). These results,
when comparing the trading activity of the 7.6% Note to the findings in the Mahanti et al.
paper, Latent Liquidity, are consistent with the relatively high average weekly turnover
shown in Exhibit XI.

            111. Yet another way to examine the liquidity of the market for the 7.6% Note is
by documenting the characteristics of typical transactions. These summary transaction




147
      Latent Liquidity, at pp. 272-98.
148
      Id.
149
      Possible trading days is defined as all days on which the U.S. stock market is open and
      excluding days that are “Recommended Full Close” by SIFMA (see Appendix I).
      I note that for Enron: “The number of transactions per issue during the Class Period ranged
      from 24 to 3,684 per issue, an average of 69, a median of 282. # 4390 at 38. The percentage of
      days on which the trades occurred and the issue was outstanding falls between 1% (11 days) to
      36% (132 days), with an average of 12.2% and a median of 9.71%.” Enron, 529 F. Supp. 2d
      at 756.

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statistics are shown in Exhibit XIV. In the Class Period, the average dollar transaction
size in par value for the 7.6% Note was approximately $97,735 per transaction.

          112. The large average size of the individual transactions, along with the analysis
of the bid-ask spreads below, suggests that the market for 7.6% Note had sufficient
liquidity to absorb large transactions, which is also consistent with the likelihood that large
institutions were generally participating in the market. As will be discussed below, this
suggests substantial participation of sophisticated institutional traders. The participation
of these institutional traders helps in price discovery and the efficiency of the market.

          113. Finally, the 7.6% Note had much higher trading volume and frequency than
the Just for Feet (“JFF”) unregistered bonds, Enron bonds, and DVI bonds that were all
found by their respective courts to have traded in efficient markets.150




150
      The JFF court concluded: “The market for these bonds was informationally efficient
      notwithstanding that on some days the trading volume was low and on others, there was no
      trading at all.” AAL High Yield Bond Fund v. Ruttenberg, 229 F.R.D. 676, 685 (N.D. Ala.
      2005). This was partially based on the following facts: “The trading volume of the JFF high
      yield bonds was not thin. They traded on at least 75 of the 140 days between the initial offering
      and the Chapter 11 bankruptcy filing on November 3, 1999. Excluding the first week of
      trading, the average daily trading amount of JFF bonds was $3,245,107....The total face amount
      purchased by investors over the 140 days was $138,205,000, and the total sales were
      $316,110,000.” Id. at 685 n.9.
      The Enron court noted: “The underwriter data reflect over 15,800 trades for Enron Registered
      Bonds during the Class Period. The number of transactions per issue during the Class Period
      ranged from 24 to 3,684 per issue, an average of 69, a median of 282….The percentage of days
      on which the trades occurred and the issue was outstanding falls between 1% (11 days) to 36%
      (132 days), with an average of 12.2% and a median of 9.71%.” 529 F. Supp. 2d at 756.
      The DVI court noted: “Based on verifiable trade volume data, the Senior Notes had an average
      weekly trading volume during the Class Period of 1.25%.” 249 F.R.D. 196, 214 (E.D. Pa.
      2008), aff’d, 639 F.3d 623 (3d Cir. 2011). In addition, the DVI court observed that “[t]he 1997
      Notes were in the top 10% of all corporate bonds in terms of the fewest average days between
      trades, ranging between 1.92 to 4.63 days during the Class Period....Though such trading
      volume would not likely support a finding of an efficient market for equities, it is sufficient to
      support such a finding for corporate bonds.” Id. at 215.
      I cannot report turnover and frequency of the HealthSouth and Cobalt Notes, as the reports in
      those matters were filed under seal.

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                b)      Transparency
         114. Corporate bond markets do not have the same pre-trade and post-trade
dissemination of pricing information that is often found in exchange-traded common stock
or even over-the-counter common stock. However, it would be wrong to conclude based
on this institutional feature that all corporate bonds trade in inefficient markets. This issue
is often referred to as “transparency”:

                [T]ransparency means that price and volume information is
                readily available to potential traders at a relatively low cost. For
                exchange-traded securities, exchanges collect and disseminate
                this information at a minimal cost to all interested parties. For
                over-the-counter traded bonds, price and volume information
                are not available at zero cost. At any given moment, however,
                this does not mean that interested investors are not
                communicating, or do not or cannot generate transparency
                (price and volume information for recently completed
                transactions or for future potential trades) ...[A]n efficient
                market does not require that price and volume information be
                available at zero cost. Emails or a simple telephone call, or, for
                that matter, twenty simultaneous emails or telephone calls from
                the trading floor or web access to the buy/sell offers on the
                Bloomberg Terminal151 will supply sufficient transparency.152

         115. For the 7.6% Note, competition among over 343 dealers and market makers
(see Exhibit XV) – who, minute-by-minute, day-by-day, risk their own capital and utilize
the most advanced information technology and sophisticated research teams – supports
transparency and, thus, market efficiency for the 7.6% Note.

         116. As shown in Exhibit XIV, the average dollar size of the trades during the
Class Period for the 7.6% Note was approximately $98,000. Hence, the cost of making a




151
      Citation from Hartzmark et al., infra note 152: “The Bloomberg Terminal is a computer system
      provided by Bloomberg L.P. that enables financial professionals to access the Bloomberg
      Professional service through which users can monitor and analyze real-time financial market
      data movements and place trades. See BLOOMBERG, http://www.bloomberg.com/professional/
      (last visited Dec. 1, 2011).”
152
      Michael L. Hartzmark, Cindy A. Schipani and H. Nejat Seyhun, Fraud on the Market: Analysis
      of the Efficiency of the Corporate Bond Market, 3 Colum. Bus. L. Rev., 654, 692-693 (2011).

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few or even twenty telephone calls relative to the dollar volume of these typical trades is
minuscule.

          117. It is important in a financial market where the security trades less frequently
than in the common stock market to realize the distinction between the ability to trade a
security and an actual trade in that security. Even when a bond does not trade, that does
not mean there are not interested parties sitting on the sideline ready to trade. These
interested investors can simply contact bond dealers and learn about dealers’ buying and
selling (bid and ask) prices and quantities. The fact that there may be no trade on a given
day does not mean that interested investors are not communicating or do not or cannot
generate transparency. Furthermore, an efficient market does not require that there be
trades every day, or every hour, or every minute. Unlike common stocks, corporate bonds
have predictable cash flows, predictable terminal values, and fixed upside opportunities.

          118. The courts have long recognized that simply because the over-the-counter
corporate bond markets lack some of the elements of transparency found in centralized
exchanges, that does not mean that the trading markets for corporate bonds are per se
inefficient. This was clearly the case in the Enron matter, where the court stated that “no-
cost efficiency, or for that matter transparency, has not been established as the standard for
an informationally efficient, over-the-counter bond market. Obviously ‘transparency’ is
relative, involving consideration of numerous factors.                  No standard of requisite
transparency has been established by the courts.”153 In HealthSouth, the court went even
further and suggested it was illogical to conclude that the market for corporate bonds was
not transparent.154



153
      Enron, 529 F. Supp. 2d. at 767.
154
      HealthSouth Corp. Sec. Litig., 261 F.R.D. at 638-39 (quoting Enron, 529 F. Supp. 2d. at 768)
      (“The Defendants then argue that, unlike stock, bonds do not trade on a formal, impersonal,
      centralized exchange, like the NYSE; that over-the-counter transactions are conducted over the
      phone or by computer; that an investor has to seek out a dealer to get a quote on a bond and
      may in fact receive different quotes from different dealers; and that an investor would thus have
      difficulty determining the prevailing price for a specific corporate bond....In effect, the
      Defendants argue that the market for all bonds is inefficient because it does not function like
      the stock market. If the court were to accept these challenges, it would be ‘denying application
      of fraud on the market to the bond market because it does not operate in the same way as a
      national exchange or trade in the same volume, frequency, or manner as equity on those

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       119. In fact, in my opinion, courts have rightly determined that the measurable
Cammer factors are appropriate benchmarks for both over-the-counter common stocks and
corporate bonds because no requisite measure of transparency has been established by
either judicial precedent or academic research to define when a security trades in an
efficient market.

               c)     Summary and Conclusion
       120. Thus, the relatively high frequency of trading of the 7.6% Note, the high
average weekly turnover and the large size of trading constitute substantial evidence
justifying a strong presumption that the 7.6% Note traded in an open, well-developed and
efficient market throughout the Class Period.

          2.        Cammer Factor II – Analyst Coverage

       121. In Section V above, I discussed the importance of analyst coverage for
disseminating information to traders of common stock, and found that, according to
Bloomberg, there were between 15 and 22 analysts who followed and made
recommendations on CenturyLink during the Class Period, with an average number of
analysts of 19 (see Exhibit II). Most analyst reports focused on CenturyLink common
stock, but these reports provide information directly useful for evaluating and valuing the
7.6% Note – and, indeed, all publicly-traded CenturyLink debt securities – and especially
for evaluating the credit risks of the 7.6% Note. Therefore, even analyst reports focused


   exchanges [and would be like] throwing out oranges because they are not apples. The Court
   finds that the issue is not whether the market for equity is more efficient than the market for
   debt securities, but whether the market for debt securities is adequately informationally
   efficient (whether the price reflect[s] all publicly available information) to trigger the fraud-
   on-the-market presumption of reliance.’ …Bond traders at large institutions who make
   transactions of six figures or more simply do not trade on insufficient information, or
   information perceived to be unreliable, or on less than all publicly available information. To
   argue that the investors in HealthSouth bonds did not have sufficient publicly available
   information in making their decisions about buying and/or selling HealthSouth bonds, and what
   would be a reasonable price for those bonds, defies logic and ignores the realities of the bond
   market in which billions of dollars trade hands.”) (emphasis in original). See also HealthSouth,
   261 F.R.D. at 639 (“Transparency has not to date been recognized as a requirement for an
   efficient market. In any event, transparency is relative and relative matters should be compared
   like to like. In terms of the bond market the court, therefore, concludes that the HealthSouth
   bond market traded on all the publicly available information and thus meets the test for
   informational efficiency.”); In re DVI, 249 F.R.D. at 214.

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exclusively on common stock provide useful financial information to debt investors.155 An
important concern to debt investors is the overall financial health of the firm, which
determines the ability of the firm to pay the promised series of coupons and the principal
amount. Equity reports provide information on many other financial factors, in addition to
the outlook for stock prices and earnings. Thus, equity reports provide vital information
on the overall health of the firm.156 While, as noted above, positive equity reports do not
necessarily imply higher prices for the 7.6% Note trading around par, negative equity
reports could imply lower Note prices. In particular, a substantial decline in stock prices
could serve as an early warning sign for the bondholders. To this extent, equity reports
provide important and useful information for CenturyLink debt investors.

          122. Moreover, during the Class Period, Fitch, S&P, and Moody’s monitored all
of CenturyLink’s debt securities and provided credit rating updates.

          123. For comparison purposes, in the DVI case, only 3 analysts provided
continuous coverage.157 This compares favorably here, as on average 19 analysts covered
CenturyLink during the Class Period (see Exhibit II).

          124. The continuous coverage of CenturyLink by credit rating agencies, analysts,
investment professionals, public press, and financial institutions, along with regular and
frequent disclosures by the Company in the form of press releases, teleconference earnings
calls and SEC filings and regulatory authorities, supports my conclusion that the 7.6% Note
traded in an open, well-developed, and efficient market throughout the Class Period.



155
      The idea that only analyst reports that analyze the individual securities that are being evaluated
      are relevant was dismissed in a court ruling where there were no analyst reports on the specific
      bonds, only general reports on the industry. See In re Dynex Capital, Inc. Sec. Litig., U.S. Dist.
      LEXIS 22484, at *13-14 (S.D.N.Y. 2011).
156
      See DVI, 249 F.R.D. at 215 (“Though equity analyst coverage is not a perfect substitute for
      debt analyst coverage, the equity reports nevertheless provided substantial information to the
      Senior Notes investors. Such information, particularly forecasts of DVI’s financial prospects
      and condition, would likewise have allowed bond investors to better understand DVI’s risk
      profile and its potential for default.”), aff’d, 639 F.3d 623 (3d Cir. 2011); see also HealthSouth,
      261 F.R.D. at 635 (“The coverage by analysts of HealthSouth’s equities also provided
      information of interest to the bond market when concerned with the overall financial health of
      the issuing firm.”).
157
      DVI, 249 F.R.D. at 209.

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Moreover, as discussed above, S&P, Moody’s and Fitch all continually monitored
CenturyLink’s debt securities.

             3.        Cammer Factor III – Market Makers and Arbitrageurs

                  a)     Market Makers
          125. As discussed above in Section V, the presence of many dealers or market
makers is another factor that supports the conclusion that securities trade in efficient
markets. These professional traders have significant advantages over small individual
investors in terms of the cost of gathering, processing and trading on information.

          126. Furthermore, many of the dealers trade for their own accounts.158 In Exhibit
XV, I have used the TRACE data to show that there were 343 separately identified
reporting market makers for the 7.6% Note throughout the Class Period. This is a
substantial number of market makers as compared to other matters where securities were
deemed to have traded in an efficient market.159

                  b)     Institutional Holdings
          127. The corporate bond market is dominated by large, sophisticated institutions.
Indeed, a paper by staff economists at the Board of Governors of the Federal Reserve stated
the following:

                  The market for the U.S. corporate bonds is large and dominated
                  by institutional investors. As of the end of 2010, institutional
                  investors held about three quarters of the $7.5 trillion (sic)
                  outstanding corporate bonds issued by U.S. firms. In addition,




158
      The Exchange Act defines market makers as follows: “The term ‘market maker’ means any
      specialist permitted to act as a dealer, any dealer acting in the capacity of block positioner, and
      any dealer who, with respect to a security, holds himself out (by entering quotations in an inter-
      dealer communications system or otherwise) as being willing to buy and sell such security for
      his own account on a regular or continuous basis.” 15 U.S.C. § 78c(a)(38).
159
      For instance, in the China MediaExpress Holdings, Inc. Shareholder Litigation, in which an
      investor class was certified, only an average of 20 market makers were identified. Moreover,
      the China MediaExpress court also cited to three other cases where the securities were deemed
      to have traded efficiently wherein only 6, 10, and 14 market makers were observed. See, In re
      China MediaExpress Holdings, Inc. S’holder Litig., 38 F. Supp. 3d 415, 432 (S.D.N.Y. 2014).

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                 institutional trades account for most of the dollar trading
                 volume of corporate bonds.160

         128. In Exhibit XVI, I show that between 50 and 73 individual institutions who
were required to report their trading activity who are generally considered to be the
sophisticated investors held 21% to 33% of the 7.6% Note as of the end of each year from
2013 to 2016. During the Class Period, over 120 institutions reported holdings of the 7.6%
Note.161 I obtained this data from Bloomberg and, per Bloomberg, the institutional data
“may not represent all institutions, if they are not required to publicly disclose their
holdings. Especially for fixed income securities, [Bloomberg] may not cover all holders,
since public disclosure is not generally required.” Thus, it is likely there are larger
institutional (and insurance company) holdings than are reflected in the data I was able to
obtain from Bloomberg.

         129. In conclusion, the participation of a relatively large number of dealers,
standing ready to buy or sell, made an active market in the 7.6% Note, along with the fact
that the 7.6% Note were held mostly by institutions, further supports my conclusion that
that the 7.6% Note traded in an efficient market throughout the Class Period.

            4.       Cammer Factor IV – SEC Form S-3 Eligibility

         130. In Section V above, I discussed the economic logic behind this Cammer
factor. The fact that CenturyLink was eligible to file on SEC Form S-3, and actually did
reference this form during the Class Period by using the S-3 to register multiple types of
securities, supports my conclusion that the 7.6% Note traded in an open, well-developed
and efficient market during the Class Period.

         131. As noted in the prospectus supplement for the 7.6% Note:

                 This prospectus supplement and the accompanying prospectus
                 are part of a registration statement that we filed with the
                 Securities and Exchange Commission (the “SEC”) using a


160
      Fang Cai, Song Han, and Dan Li, Institutional Herding in the Corporate Bond Market, Board
      of Governors of the Federal Reserve System, International Finance Discussion Papers, Number
      1071, December 2012, p. 3 (emphasis added, citations omitted).
161
      Source: Bloomberg.

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                 “shelf” registration process as a “well-known seasoned issuer.”
                 Under this process, the document we use to offer securities is
                 divided into two parts. The first part is this prospectus
                 supplement, which describes the specific terms of the offering
                 and also updates and supplements information contained in the
                 accompanying prospectus and the documents incorporated by
                 reference into this prospectus supplement and the
                 accompanying prospectus. The second part is the
                 accompanying prospectus, which provides you with a general
                 description of the securities we may offer. If the description of
                 the offering varies between this prospectus supplement and the
                 accompanying prospectus, you should rely on the information
                 in this prospectus supplement.162

         132. The eligibility and filing of the SEC Form S-3 was undertaken with respect
to unsecured senior or subordinated debt securities, preferred stock, common stock, and
other security types on March 2, 2015.163

         B. Other Operational Factors to Weigh When Examining Market Efficiency

            1.       Krogman Factor I – Market Value

         133. As discussed in Section V above, the Krogman court stated that “[m]arket
capitalization, calculated as the number of shares multiplied by the prevailing share price,
may be an indicator of market efficiency because there is a greater incentive for stock
purchasers to invest in more highly capitalized corporations.”164 In my opinion, all else
constant, the same “incentive ... to invest in more highly capitalized corporations” applies
with equal force to bondholders. In general, all else constant, the larger the size of the
security, the more attention it will receive from brokers, analysts, individuals, institutions
(especially if they have investment-size requirements), money managers, hedge funds and
other financial entities.




162
      ProSupp, p. S-1.
163
      SEC Form S-3ASR filed with the SEC on March 2, 2015. A similar filing was made on March
      2, 2012 (source: SEC EDGAR database).
164
      Krogman, 202 F.R.D. at 478.

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          134. During the Class Period, the aggregate face value of the 7.6% Note was $800
million, with the market value ranging from $587 million to $844 million.165 See Exhibits
XIV and XVII.

          135. As discussed above, in DVI and JFF the courts concluded that the bonds were
traded in efficient markets. For comparison purposes, the aggregate levels of notes in DVI
and JFF were only $155.0 million and $200.0 million in par value, respectively.166

          136. The 7.6% Note’s relatively large aggregate face value is evidence supporting
the conclusion that the 7.6% Note traded in an open, well-developed and efficient market
throughout the Class Period.

             2.      Krogman Factor II – The Size of the Float

          137. As discussed above in Section V, float refers to the amount of outstanding
securities that are not held by insiders of the corporation.167 While insiders are subject to
trading restrictions and disclosure requirements with respect to their stock trades, there are
no such restrictions or requirement on insiders with respect to publicly traded, non-
convertible debt issues (other than Section 10(b) and Rule 10b-5).

          138. Generally, insiders do not hold debt of the Company that they run. There is
no evidence in public reports, such as CenturyLink proxy statements or institutional
reporting data, that insiders in CenturyLink held any positions in the 7.6% Note. This


165
      According to CenturyLink’s SEC Form 10-K. p. 94 for the year ended December 31, 2016 and
      2015, the Company (excluding subsidiaries) had senior debt securities with face value of
      $8,975 million and $7,975 million, respectively. This magnitude suggests there is greater
      incentive for purchasers to invest in gathering information about CenturyLink senior debt
      securities than is reflected in the face value of the 7.6% Note alone. See Krogman, 202 F.R.D.
      at 478.
166
      “[DVI] issued two tranches of 9 7/8% senior notes: the first, issued in 1997, totaled $100
      million; the second, issued in 1998, totaled $55 million.” DVI, 639 F. 3d at 627.
      “On April 14, 1999, the Company completed the private placement of $200.0 million, 11.0%
      senior subordinated notes….” Just for Feet, SEC Form 10-K for the period ended January 30,
      1999, p. 39.
167
      Insiders cannot freely trade in the stock of their firm based on their privileged, nonpublic
      information. They are subject to both trading restrictions (blackout periods, and restrictions
      under Exchange Act Sections 10(b), 16(b) and 16(c)) and reporting requirements of Section
      16(a).

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supports my conclusion that the 7.6% Note traded in an efficient market throughout the
Class Period

            3.      Krogman Factor II – Bid-Ask Spread

         139. As discussed above in Section V, the size of the bid-ask spread in the market
is an indication of the liquidity in the market and is sometimes considered a factor in
determining whether the security trades in an efficient market. In Krogman, the court
suggested, “A large bid-ask spread is indicative of an inefficient market, because it suggests
that the stock is too expensive to trade.”168

         140. In corporate bond markets, there are no reported bid-ask spreads. I employ a
technique used by researchers in finance whereby I examine all customer trades with
reporting dealers using the TRACE database.169 As described in Appendix I, for each
customer purchase, I calculate the spread based on all customer sales within a +/-15-minute
window. I also calculate the spread for each customer sale based on all customer purchases
within a +/-15-minute window. Since these transactions are a) confined to a reasonably
narrow timeframe; and b) for transactions only with customers (as opposed to other
dealers), this approach computes a conservative estimate of the bid-ask spread. See
Appendix I for details.

         141. The results in Exhibit XVIII show that for trades between dealers and their
non-dealer customers (i.e., eliminating all dealer-to-dealer trades), the average bid-ask
spreads as a percentage of the spread mid-point was 2.48% (based on customer
transactions). The median bid-ask spread as a percentage of the spread mid-point range




168
      Krogman, 202 F.R.D. at 478.
169
      See, for example, Paul Schultz, Corporate Bond Trading Costs: A Peek Behind the Curtain, 56
      J. Fin. 677-98 (2001).

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was 2.55%.170 These are not dissimilar to liquid NASDAQ stock spreads which, based on
academic research averaged 2.55%.171

         142. In calculating the bid-ask spreads, above, I have eliminated dealer-to-dealer
trades, which are likely completed at substantially lower bid-ask spreads. I also calculated
the spreads realized by market makers for purchase and sale transactions made to either
customers or other brokers by the same market maker within +/-15 minutes. See Appendix
I for details.

         143.    The results in Exhibit XVIII show that for potential market-making trades
by specific dealers, the average bid-ask spread as a percentage of the spread mid-point
range was 1.09%. The median bid-ask spread as a percentage of the spread mid-point was
0.93%. These too are comparable to liquid NASDAQ stock spreads which, based on
academic research averaged 2.55%.172            Further, larger transactions generally have
substantially lower spreads than the average and I have not broken down the bid-ask
spreads by transaction size.

         144. The reasonably narrow bid-ask spread, suggesting that the 7.6% Note traded
in a liquid market, supports my conclusion that the 7.6% Note traded in an efficient market
throughout the Class Period.




170
      See, for example, Table 6, panel C in Michael A. Goldstein, Edith S. Hotchkiss and Erik R.
      Sirri, Transparency and Liquidity: A Controlled Experiment on Corporate Bonds, 20 Rev. of
      Finl. Studies, 235-273 (2007).
171
      Kee H. Chung and Hao Zhang, A Simple Approximation of Intraday Spreads Using Daily Data,
      17 J. Fin. Markets, 94, Table 2 (2014). The paper compared data using closing prices from
      CRSP (Center for Research in Security Prices) to intraday data and showed the spreads are
      very close. The average bid-ask spread for Nasdaq common stocks was 2.55% in 2009, the
      most recent year examined by the authors.
172
      Kee H. Chung and Hao Zhang, A Simple Approximation of Intraday Spreads Using Daily Data,
      17 J. Fin. Markets, 94, Table 2 (2014). The paper compared data using closing prices from
      CRSP (Center for Research in Security Prices) to intraday data and showed the spreads are
      very close.

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             4.      Summary of the Application of the Operational Factors to the 7.6%
                     Note

          145. Not only do those factors evaluated specifically for the 7.6% Note above
support the conclusion that the 7.6% Note trades in an efficient market, but it must be noted
that several Cammer/Krogman factors discussed above for CenturyLink common stock
apply uniformly or substantially similarly to the 7.6% Note, and thus support a finding of
market efficiency for both of CenturyLink’s securities at issue in this matter. First, the
benefits of the dissemination and processing of information about CenturyLink from
extensive analyst and credit rating coverage (Cammer-2) extends to both CenturyLink’s
securities and supports market efficiency. Second, the importance of the eligibility of
CenturyLink to file an SEC Form S-3 (Cammer-4) likewise extends to both CenturyLink’s
securities and supports market efficiency.           Third, the large market capitalization of
CenturyLink’s common stock, its debt securities and its 7.6% Note (Krogman-1) extends
to both CenturyLink’s securities and supports the conclusion that the 7.6% Note traded in
an efficient market.173 Finally, there is no evidence that any insiders held the 7.6% Note
(Krogman-2, the size of the float), which would also support the conclusion that the 7.6%
Note traded in an efficient market.           Thus, each of these features apply to both of
CenturyLink’s securities and are consistent with and support a conclusion of market
efficiency for both securities.

IX.       THE PRICE-RELATED FACTORS DESCRIBING MARKET EFFICIENCY
          FOR THE 7.6% NOTE

          A. Event Study for the 7.6% Note

          146. As discussed above in Section VI, to perform an event study, one begins by
separating the impact on security price movements of market- and industry-wide factors
from the impact of firm-specific factors. For bonds, an event study uses the same approach,
but a slightly different specification of the regression model. As with a single-issuer



173
      For bonds, courts have found that market capitalization for stocks is analogous to the total
      market value of the bonds calculated as the principal amount outstanding (the total face value)
      multiplied by the current price of the security.

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common stock, this approach uses a so-called market model to partition a single company’s
bond price movement on each trading day into various components. For common stock,
there are three parts: the movement caused by market-wide factors, or the “market effect”;
the movement caused by industry-wide factors, or the “industry effect”; and the movement
caused by the “firm-specific effect.” For bonds, these three components are relevant along
with two other elements discussed above in Section VII, namely the credit-risk effect and
the time-to-maturity effect.

        147. Furthermore, as discussed above, bond-pricing theory tells us that changes in
prices will take place based on changes in discounted cash flows of the company. Thus, in
addition to those factors that impact the common stock price there are these two other
factors, or:

        (1)     The expected rate of return on similar maturity, riskless debt (i.e., U.S.
                government bonds); and

         (2)     The default risk or the probability that the company will be unable to satisfy
                 some or all of the indenture requirements given current and expected future
                 economic conditions.

        148. Therefore, to run the market model I add explanatory variables to the market
model specification used for CenturyLink’s common stock that account for these two other
exogenous factors. Thus, the regression specification is as follows:

        Nt = a+ β1(Rmt) + β2(INDUSTRYt) + β3(CREDITt) + β4(MATURITYt) + et.

        149. In this equation, Nt is the daily return to the Note. As with my analysis of
CenturyLink’s common stock I use Rmt as a proxy for the daily market return, and
INDUSTRYt as a proxy for the daily industry return. I then add CREDITt, which is the
daily return of an index of comparably risky bonds, and MATURITYt, which is the daily
return of a treasury security with the same time-to-maturity as each of the 7.6% Note. In
each of the CenturyLink Note regressions, the explanatory variables are:

               Rmt: the S&P500 Total Return Index return (Bloomberg ticker
               “SPTR”);




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                INDUSTRYt: the S&P Composite 1500 Telecommunication
                Services Total Return Index (Bloomberg ticker “SPTRSC50”);

                CREDITt: the ICE BofAML 15+ Year BB Cash Pay High Yield
                Index (Bloomberg ticker “J8A1”); and

                MATURITYt: the return of a Treasury Note with due date
                closest to the maturity date of the 7.6% Note (Bloomberg ticker
                “912810QC5”).

          150. The return for INDUSTRYt is net of the S&P500 Total Return and the return
for CREDITt, is net of the Treasury Note returns.

          151. Econometric regression methods are used to estimate the parameters or
coefficients in the equation above, namely a, β1, β2, β3 and β4. For the 7.6% Note, the first
120 days of the 120-day regression period are estimated using data that pre-dates the
beginning of the Class Period, while I begin the subsequent 120-day rolling regressions
from that point onward. To estimate the parameters of the market model for the 7.6% Note
on each of the days, I also include “dummy” variables to account for possible anomalous
Note price reactions on the impact dates of corrective disclosure dates alleged in the
Complaint and days on which the Company announced earnings.174

          152. For the regressions I calculate Nt or the daily return to the 7.6% Note using
volume-weighted average prices (“VWAPs”) as explained in Appendix I. The VWAPs
of the 7.6% Note are based on transactions between 9:30 a.m. and 4:00 p.m. The 7.6%
Note has VWAPs on 99.9% of the days during the Class Period. For those dates without
VWAPs, I calculate multi-day returns for both the 7.6% Note and the related explanatory
variables.175




174
      The impact dates for the 21 earnings-related or alleged corrective disclosure dates are:
      11/8/2012, 2/14/2013, 5/9/2013, 8/8/2013, 11/7/2013, 2/13/2014, 5/8/2014, 8/7/2014,
      11/6/2014, 2/12/2015, 5/6/2015, 8/6/2015, 11/5/2015, 2/11/2016, 5/5/2016, 8/4/2016,
      10/31/2016, 2/9/2017, 5/4/2017, 6/16/2017, and 6/19/2017.
175
      By multi-day returns, I mean if the note has no VWAP on a day, then a two-day return is
      computed, as are the comparable variables used in the analysis.

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         B. Cammer Factor V – Price Reaction to Unexpected New Information

            1.        Cause and Effect Analysis Examining Days with Disclosures about
                      CenturyLink’s Credit Rating

         153. During the Class Period there were three dates when there were disclosures
about changes in CenturyLink’s credit ratings that possibly included material,
unanticipated information. First, early in the Class Period, on March 14, 2013, Moody’s
downgraded the 7.6% Note to Ba2.176             Although Moody’s lowered its rating from
investment grade to non-investment grade, it was basically catching up to S&P and Fitch
(the other two rating agencies), which had already rated CenturyLink as non-investment
grade as of the start of the Class Period. Second, on March 15, 2016, Moody’s downgraded
the 7.6% Note to Ba3 (while neither of the other rating agencies changed their ratings).177
Finally, on October 31, 2016, S&P, Fitch and Moody’s all put the 7.6% Note on negative
credit watch.178

                 a)     Multi-Day Returns
         154. Before I examine the price reactions to credit rating changes it is important to
remember that, as discussed above, corporate bonds do not generally trade as frequently as
common stocks. Therefore, it can often take longer for the bond price to respond to new
information. Second, by construction the volume-weighted average prices (VWAP) use
information from all transactions between 9:30 a.m. and 4:00 p.m. Therefore, when
disclosures are made in the middle of the trading day, VWAP combines transactions from
both before and after the disclosure. Thus, when examining cause-and-effect, this can
affect the empirical results, especially in the case when the post-disclosure transaction
volume is lower than the pre-disclosure transactions volume. Third, as discussed below,
academics and courts have often found that after a disclosure, dissemination and processing




176
      Source: Bloomberg. Also see “*DJ Moody’s Lowers Centurylink’s Senior Unsecured Rating
      To Ba2; Outlook Stable,” Dow Jones Newswires, March 14, 2013, 11:07 a.m.
177
      Source: Bloomberg. Also see “Moody’s downgrades CenturyLink’s CFR to Ba2; outlook
      stable,” Moody’s Investors Service Press Release, March 15, 2016 (“Moody’s … has
      downgraded CenturyLink, Inc.’s … senior unsecured debt rating to Ba3 from Ba2.”).
178
      Source: Bloomberg; see infra note 189.

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of complex information often can take more than a single trading day to be reflected in the
security price. In combination these issues justify using multi-day returns in my analyses.

          155. As mentioned above, using multi-day returns is common in securities
litigation. For example, in a recent Court decision, Monroe County Employees Retirement
System v. Southern Company, which focused on common stock, the Court made it clear
that it is not uncommon for a financial security to take longer than a single trading day to
absorb and reflect all publicly available information.179 The Monroe Court laid out the
arguments as follows:

                First, using exclusively one-day event windows does not
                change [] conclusion[s] concerning market efficiency. As a
                result, the debate about event windows in this case is largely
                academic. Second, there are many cases that find that multi-day
                event windows are appropriate for event study analysis in
                securities fraud class actions.180 Third, and more broadly, the
                Supreme Court has expressly refused to “adopt any particular
                theory of how quickly and completely publicly available
                information is reflected in market price.”181 Fourth, academic
                literature supports the use of two-day (or more) event
                windows.182 Fifth, the Court finds, in accordance with the


179
      Monroe Cty. Employees’ Ret. Sys. v. Southern Co., 332 F.R.D. 370, 391 (N.D. Ga. 2019)
      (“Monroe”).
180
      Monroe, 332 F.R.D at 391 (collecting cases); In re DVI, Inc. Sec. Litig., 639 F.3d 623, 635 (3rd
      Cir. 2011) (‘That some information took two days to affect the price does not undermine a
      finding of efficiency.’), abrogated on other grounds by Amgen Inc. v. Connecticut Retirement
      Plains and Trust Funds, 133 S. Ct. (2013); In re Xcelera.com Sec. Litig., 430 F.3d 503, 513
      n.11 (1st Cir. 2005) (rejecting argument that two-day window is inconsistent with efficient
      market); Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC, 310 F.R.D. 69, 96
      (S.D.N.Y. 2015) (“A two-to three-day window is common in event studies.”); In re Vivendi
      Universal, S.A., Sec. Litig., 634 F. Supp. 2d 352, 372 (S.D.N.Y. 2009) (using three-day
      window); Fogarazzo v. Lehman Bros., 263 F.R.D. 90, 104 (S.D.N.Y. 2009) (accepting event
      study with three-day window and rejecting argument that multi-day window only applied
      “where the timing of discrete events was [not] ascertainable”).
181
      Monroe, 332 F.R.D. at 391 (“Following its decision in Basic, the Supreme Court in Halliburton
      II reiterated that it would not enter the fray of academic debates about the speed at which
      information is impounded into a stock price, and reconfirmed that market efficiency is based
      on the fairly modest premise that market professionals generally consider most publicly
      announced material statements about companies, thereby affecting stock market prices.”
      (internal quotation marks and citations omitted)).
182
      Monroe, 332 F.R.D. at 391-392 (“For example, MacKinlay explains that two-day event
      windows are appropriate when analyzing earnings announcements. Professor Feinstein cited

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                academic literature, that when the particular facts and
                circumstances justify investigating multi-day event windows,
                such analysis is appropriate. Finally, the Court rejects
                Defendants’ suggestion that [multi-day] analysis should be
                disregarded because [it] did not analyze only one-day windows
                or only two-day windows. The Court is unaware of any rule,
                and Defendants cite none, requiring that one must commit at the
                outset, before analyzing the data, to investigate only one-day or
                only two-day event windows. [An] event study analysis is an
                investigation, and the results might compel you to look at a
                larger window.183

          156. It is clear from this decision and the approach that many other courts have
used that analyses based on multi-day returns is reliable for evaluating whether a security
trades in an efficient market. They have realized, like academics and the Enron Court, that
there is no such thing as a perfectly efficient market, and it might take more than a trading
day for news to be disseminated and digested (or processed) by interested parties.

                b)       March 14, 2013
          157. On March 14, 2013 at approximately 11:00 a.m. (Eastern Time), Moody’s
downgraded CenturyLink’s senior unsecured debt rating to Ba2 from Baa3.184 This two
notch drop in ratings to non-investment grade (second notch of highest tier) brought
Moody’s ratings in line with Standard & Poor’s rating of BB and one notch below Fitch’s
non-investment grade rating of BB+.185 In other words, Moody’s evaluation of the credit




      multiple other legal and academic papers endorsing the use of multi-day event windows and
      explaining that price reactions to news sometimes occur over two or more trading days,
      including a paper by David I. Tabak, who explains that ‘[i]n securities fraud cases, many
      experts have adopted the convention of looking at one-day, two-day, or five-day periods
      following an announcement.’ … Although stock price reactions generally begin quickly, this
      does not necessarily mean that stock price reactions always end quickly. Rather, as Professor
      Feinstein explained, ‘[i]t is not settled science that an efficient market price reaction is over
      within a matter of minutes.’” (emphasis in original)).
183
      Monroe, 332 F.R.D. at 393.
184
      “Moody’s lowers CenturyLink’s senior unsecured rating to Ba2; outlook stable,” Moody’s
      Investors Service Press Release, March 14, 2013; “*DJ Moody’s Lowers Centurylink’s Senior
      Unsecured Rating To Ba2; Outlook Stable,” Dow Jones Newswires, March 14, 2013, 11:07
      a.m.
185
      Source: Bloomberg.

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risk of the 7.6% Note was then comparable to the level of credit risk previously disclosed
by S&P, while Fitch’s rating remained one notch higher still than S&P’s rating.

         158. The 7.6% Note price declined 0.41% on March 14, 2013, with an abnormal
return of -0.28%. The decline is not statistically significant. Because the VWAP included
transactions both before and after the announcement of the reduction in the credit rating I
have also evaluated the decline on March 15, 2013, as well as the two-day abnormal return.
The 7.6% Note declined slightly on the following trading day of March 15, 2013, dropping
-0.16% with an abnormal return of 0.04%. The two-day decline is also not statistically
significant. See Exhibit XIX.

         159. It is likely the price decline was not statistically significant because it was not
“unanticipated,” because as mentioned above, Moody’s was simply bringing its credit
rating in line with S&P and Fitch. Therefore, even though the credit rating decline is
material information, because this particular event arguably incorporated no new
information about the credit risk of CenturyLink, it would not necessarily be expected to
cause a statistically significant reaction in an efficient market.

               c)      March 15, 2016
         160. At 3:45 p.m. on March 15, 2016, Moody’s downgraded CenturyLink’s senior
unsecured debt rating to Ba3 from Ba2.186 This single notch drop in ratings brought
Moody’s ratings one notch below Standard & Poor’s rating of BB and two notches below
Fitch’s non-investment grade rating of BB+.187 In other words, Moody’s disclosed their
evaluation that there was a greater level of credit risk for the 7.6% Note than they had
previously assessed. Moreover, this increased credit risk was now greater than any of the
three major credit rating agencies had previously assessed.




186
      “Moody’s downgrades CenturyLink’s CFR to Ba2; outlook stable,” Moody’s Investors Service
      Press Release, March 15, 2016, 3:45 p.m. (“Moody’s … has downgraded CenturyLink, Inc.’s
      … senior unsecured debt rating to Ba3 from Ba2.”).
187
      Source: Bloomberg.

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          161. The downgrade occurred very close to the market close.188 Given that there
were no transactions utilized in the calculation of VWAP for March 15, 2016 that occurred
after 3:45 p.m., the VWAP for this day represents the pre-announcement price. The daily
abnormal returns for the 7.6% Note on March 16, and 17, 2016 are -2.42% and -1.81%,
respectively. The March 16, 2016 abnormal return of -2.42% is considered insignificant
because its p-value is only at the 6% level. However, even though neither of the daily
returns on March 16 and 17, 2016 are statistically significant at the 5% significance level,
the two-day cumulative abnormal return for March 16-17, 2016 is statistically significant
at the 5% level. See Exhibit XIX.

          162. This two-day abnormal return is consistent with the conclusion that the
information about the credit rating decline was new, material, unanticipated information,
which resulted in a price decline for the 7.6% Note.

                 d)      October 31, 2016
          163. On October 31, 2016, all three credit rating agencies put CenturyLink on
negative creditwatch in conjunction with CenturyLink’s announcement that it would be
acquiring Level 3 Communications.189 In other words, all three credit rating agencies
contemporaneously disclosed their evaluation that there was likely a greater level of credit
risk for the 7.6% Note than they had previously assessed.




188
      Based on Bloomberg, the release was at 3:45 p.m. on March 15, 2016.
189
      “Moody’s Places Centurylink’s Ratings On Review For Downgrade Following Level 3
      Acquisition Announcement,” Dow Jones Institutional News, October 31, 2016, 12:14 p.m.;
      “*S&PGR Affirms CenturyLink ‘BB/B’ Rtgs On Level 2 Buy Plan,” Dow Jones Institutional
      News, October 31, 2016, 2:42 p.m. (“…we are placing our rating on CenturyLink’s senior
      unsecured debt on CreditWatch with negative implications…”); “*Fitch Places CenturyLink’s
      ‘BB+’ IDR on Negative Watch on Proposed LVLT Acquisition,” Dow Jones Institutional
      News, October 31, 2016, 2:54 p.m.
      CenturyLink also announced earnings the same day.
      I note that two trading days earlier, October 27, 2016, both CenturyLink’s common stock and
      the 7.6% Note had large positive returns that were statistically significant at the 1% significance
      level. There were multiple news reports that CenturyLink and Level 3 were in advanced merger
      talks.

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          164. The 7.6% Note price declined on both October 31, 2016 and November 1,
2016, with both abnormal returns being statistically significant at the 1% significance level.
Likewise, the cumulative two-day decline is statistically significant at the 1% level. See
Exhibit XIX.

          165. This is consistent with the conclusion that the information about the negative
creditwatch was new, material, unanticipated information, and resulted in a price decline
for the 7.6% Note.

                 e)      Summary
          166. Therefore, overall, even with only three credit-related events, the response of
the 7.6% Note to the credit-related information is consistent with and support the
conclusion that the 7.6% Note traded in an efficient market.190

           2.         Cause and Effect Analysis Examining the Relationship Between
                      Abnormal Returns and Volume

          167. As discussed above, in general there is much lower volatility of bond prices
and often less sensitivity of bond prices to new earnings-related information unless such
news affects the company’s credit risk.              For this reason, I use an academic-based
alternative, discussed below, to the “news/no-news” test to examine the relationship over
the Class Period between the flow of information and the returns to the 7.6% Note.

          168. Based on academic research and tests often employed in securities fraud
litigation, I examine the overall relationship between price volatility of the 7.6% Note and
common stock volume to empirically evaluate the impact of information flow on the price
of the 7.6% Note throughout the Class Period.191 The key is that stock volume and price



190
      Any time when there is a relatively short class period and courts have to evaluate whether a
      stock trades in an efficient market, generally, the courts find the event study analysis to be
      helpful. See, for example, Wilson v. LSB Indus., 2018 U.S. Dist. LEXIS 138832, at *36
      (S.D.N.Y. 2018) (accepting event study that used three news days); Todd v. STAAR Surgical
      Co., 2017 U.S. Dist. LEXIS 1919, at *25-31 (C.D. Cal. 2017) (accepting event study that used
      three news days; In re HealthSouth Corp. Sec. Litig., 257 F.R.D. 260, 282 n. 22 (N.D. Ala.
      2009) (accepting event study that used two dates).
191
      I and others have utilized this empirical test in our reports. I utilized it in my report that was
      cited recently in Applied Optoelectronics in the United States District Court for the Southern
      District of Texas, in which the class was certified. See No. 4:17-cv-02399, ECF No. 125 (“Dr.

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movements of the 7.6% Note should have common ties to the flow of new information
about CenturyLink. Numerous academic studies support the concept that common stock
volume is a good proxy for flow of information — particularly because, as set forth above,
the common stock is efficient (so its volume is generally responding to new
information).192

          169. Therefore, for my test I measure the flow of information into the market using
the daily volume of CenturyLink common stock. Common stock volume is likely a better
proxy for new information flow to use in this test than bond volume, for three reasons.
First, as discussed above, there is academic support to use common stock volume as a
proxy for the flow of information.            Second, the common stock volume should be
independent from any possible price pressures in the market for the 7.6% Note and thus
common stock volume addresses reverse causality concerns.193 And third, in my view, the
measure of common stock volume over time is a more reliable proxy than the volume of
the 7.6% Note, because bonds trade less frequently and less continuously.

          170. For these reasons I examine cause-and-effect for the 7.6% Note throughout
the Class Period using the empirical relationship between the 7.6% Note price volatility




      Hartzmark’s report provides sufficient information to support a finding of a causal relationship
      between the release of information and AOI stock price and supports a finding of market
      efficiency.”).
192
      This is consistent with Karpoff’s conclusion that: “Although one can question the asserted
      causality, numerous empirical findings support what will be called here a ‘positive volume-
      absolute price change correlation…’” and “[i]t is an old Wall Street adage that ‘It takes volume
      to make prices move.’” Jonathan M. Karpoff, The Relation between Price Changes and
      Trading Volume: A Survey, 22 J. of Fin. and Quantitative Analysis, 109-126, 112 (1987)
      (“Karpoff”).
      For example, all else constant, abnormal security returns are expected to generally be
      significantly more volatile on earnings release dates or other news dates than on other trading
      days – i.e., the abnormal returns are likely to be larger (in absolute magnitude) than average.
      Daniella Acker, Implied Standard Deviations and Post-Earnings Announcement Volatility, 29
      J. of Bus., Fin. and Accounting, 429-456, 452 (2002) finds that, “[t]he tests on volatility
      changes around [earnings] announcements indicate that announcements that are easy to
      interpret or announcements of good news are both associated with a volatility peak on the day
      of the announcement itself.”
193
      In other words, if supply and demand pressures as measured by the volume of the 7.6% Note
      are causing greater volatility, this might not be due to information.

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and the CenturyLink common stock volume. I test the relationship by regressing the daily
7.6% Note absolute abnormal returns on the log of daily trading volume of the common
stock over the Class Period. As shown in Exhibit XX, the relationship between the two
variables is positive and highly statistically significant. This suggests that the price of the
7.6% Note moves in response to the flow of new information, i.e., that there is a cause and
effect relationship between the flow of information and 7.6% Note price movements, which
supports the conclusion that the 7.6% Note traded in an efficient market throughout the
Class Period.

            3.      Cause and Effect Analysis Examining Autocorrelation

         171. In Section VI.B.4, I discussed the importance in the investigation of market
efficiency of evaluating autocorrelation. In this section I examine this property for the
abnormal returns of the 7.6% Note. However, to begin, I discuss how the extensive
academic research on the microstructure of financial markets applies to this analysis. This
research has been motivated by observed ‘anomalies’ in price movements of financial
instruments, especially those traded in the most efficient markets, such as the NYSE. Many
of these so-called return anomalies are explained by the accepted reality that securities
markets are not perfect. Whether securities are traded on the NYSE or the over-the-counter
markets, there are inevitable frictions and institutional structures that lead to bid-ask
spreads, different timing of trades and various measurement problems.194 Therefore, high
frequency transactions data comes along with certain caveats. To conduct a careful
analysis, it is mandatory that various market microstructure effects must be taken into
account in empirical analyses. These microstructure issues introduce a variety of statistical
problems that make autocorrelation analyses less robust for corporate bonds than common
stock, simply due to the construction of the return series.

         172. First, because there is less frequent trading of corporate bonds, I had to choose
a method to compute a representative price for each day and thereby a return for that day.
The approach I explained earlier in this report is based on constructing a time-series of


194
      For a discussion of how different trading and markets might impact price discovery, see, for
      example, Larry Harris, Trading and Exchanges: Market Microstructure for Practitioners
      (Oxford University Press, 2003).

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volume-weighted average prices and is supported by academic research and is the superior
method.195

          173. Second, and most critically for this report for testing for autocorrelation is the
issue often referred to in the academic literature as the “bid-ask bounce.” To explain, in
the trade and academia the “bid price” represents the price at which a dealer is willing to
buy a security, while the “ask price” represents the price at which a dealer is willing to sell
a security. Because, all else constant, the bid price is generally lower than the ask price,
the bid-ask spread represents the compensation the dealer earns by standing ready to
provide immediate execution services. This positive spread also offsets the costs the dealer
incurs for maintaining a large inventory of bonds and serves to compensate the dealer for
the risk of adverse price movements between the time the dealer acquires the bond and
subsequently sells it. The bid-ask spread also compensates the dealer for the value of its
time, specialized expertise and other opportunity costs.

          174. Bid-ask bounce occurs in all high-frequency transaction data as successive
trades tend to bounce randomly between buys and sells. Specifically, the bid-ask bounce
occurs when bond prices are relatively stable and orders arrive randomly.196 The bid-ask



195
      For example, see Hendrik Bessembinder, Kathleen M. Kahle, William F. Maxwell and Danielle
      Xu, Measuring Abnormal Bond Performance, 22 Rev. Finl Stds. 4219, 4219 (2009)
      (“Weighting individual trades by size while eliminating noninstitutional trades from the
      TRACE data also increases the power of the tests to detect abnormal performance, relative to
      using all trades or the last price of the day.”).
196
      Suppose that the value of a bond is $100. Also assume that the market is efficient, there is no
      firm-specific news, interest rates and bond spreads are constant, and there is negligible
      probability of default. Further assume that the bid-ask spread is one percent or $1.00. Hence,
      if a customer buy order arrives, the dealer executes that transaction at its ask price, or $100.50.
      If a customer sell order arrives, the dealer executes that transaction at its bid price, or $99.50.
      Assume now that buy and sell orders arrive in a completely random fashion. If a customer buy
      order is followed by a customer buy order, the price will remain unchanged at $100.50. If,
      however, a customer buy order is followed by a customer sell order, then price will appear to
      fall by $1.00 (from $100.50 to $99.50). Subsequently, if another buy order arrives, price will
      revert back to $100.50. Finally, if another sell order arrives, price will remain at $99.50.
      Given completely random arrival of customer buy and sell orders, a positive return will either
      be followed by zero return (50 percent likelihood) or negative return (50 percent likelihood),
      which average to be a negative return. Hence, statistically speaking, positive returns will tend
      to be followed by negative returns on average. Similarly, a negative return will either be
      followed by zero return (50 percent likelihood) or positive return (50 percent likelihood), which

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bounce can create the illusion of negative serial correlation in security returns when there
is none in reality. Hence, by ignoring the effect of the bid-ask bounce, an empiricist might
incorrectly conclude that the bond returns are predictable because of the observed negative
first-order serial correlation. However, this is an anomaly created by the trading activity
in the market; it is just an illusion. The negative first-order serial correlation is simply an
artifact of the bid-ask bounce, and because investors are unable to earn arbitrage profits
using the systematic, negative serial correlation of bond returns, the market is still
consistent with market efficiency.197

          175. My statistical analysis of abnormal returns for the 7.6% Note for 1,091 days
of the Class Period shows there is negative statistically significant autocorrelation, which
could simply represent bid-ask bounce. I derive a coefficient of -0.25 representing the
measurement of the relationship between the abnormal current (i.e., today) and lagged (i.e.,
yesterday) returns and a t-statistic of -8.34. A t-statistic in absolute value of 1.96 or above
would indicate a statistically significant relationship between yesterday’s and today’s
abnormal returns.

          176. Although there is statistically significant negative autocorrelation, as
measured by the coefficient on the lagged abnormal return, it is not economically
meaningful given the average and median bid-ask spreads of 2.48% and 2.55%,
respectively, I calculated in Section VIII.B.3, above. For there to be meaningful economic
profit opportunities from the measured daily autocorrelation, the predictable potential
profit from autocorrelation would need to be greater than normal transaction costs (e.g.,
the bid-ask spread).198 The regression coefficient of -0.25 means that the average



      average to be a positive return. Hence, again statistically speaking, negative returns will tend
      to be followed by positive returns on average. In this simple setting, even if the bond’s true
      value remains at $100, the observed transaction prices will bounce between $100.50 and $99.50
      and the time-series of returns to the bond will exhibit statistically significant first-order
      negative serial correlation of returns.
197
      See R. Roll, A simple implicit measure of the effective bid-ask spread in an efficient market, 39
      J. Fin., 1127 (1984); and L. Harris, Estimation of stock price variances and serial covariances
      from discrete observations, 25 Jnl. of Fin. and Quant. Analysis, 291 (1990).
198
      To earn profits the trader must both enter and exit the market, so he will have to pay the full
      bid-ask spread.

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predictable component of today’s abnormal return based on yesterday’s abnormal return
would be one-fourth of yesterday’s return. Thus, on average, for the predictable portion of
today’s return based on yesterday’s return to exceed the 2.5% bid-ask spread, the daily
abnormal return would have to exceed 10% in absolute value (since one fourth of 10% is
2.5%). In CenturyLink’s case, during the Class Period, there were no instances of an
abnormal return greater than 10% in magnitude, and only one instance of an abnormal
return greater than 5% in magnitude. Indeed, the average of the absolute value of the daily
abnormal returns is 0.65%, and thus one-fourth of this is approximately 0.16%. Relative
to a cost of 2.5%, it is clear there are no profitable naïve trading strategies available from
the statistically significant autocorrelation measured in the regression, as any gains from
trading would be more than erased by transactions costs.

         177. Therefore, while the 7.6% Note abnormal returns exhibit statistically
significant negative autocorrelation, that relationship can be explained by the bid-ask
bounce, and is thus not economically meaningful because it is too small to form the basis
of a profitable naïve trading strategy. Thus, this factor offers support for the conclusion
that the 7.6 % Note traded in an efficient market.

            4.      Analysis Examining Corrective Disclosure Dates

         178. I have been asked by Counsel to analyze whether the 7.6% Note prices reacted
to the alleged corrective disclosures in a way that is consistent with what would be expected
of a stock that trades in an efficient market.       In Exhibit XXI, I present empirical
information related to the abnormal returns for those days when the Complaint alleges there
were corrective disclosures. The Complaint alleges there were three corrective disclosures:
Friday, June 16, 2017; Monday, June 19, 2017; and July 12, 2017.199 Generally, all three
disclosures with potential impacts have the expected statistically significant price
responses.




199
      Complaint ¶¶152, 158, 163.

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               a)      Friday June 16, 2017
         179. Alleged corrective information was disclosed on Friday, June 16, 2017 at 1:50
p.m. (Eastern Time) in a Bloomberg news story.200 Given that there was a greater volume
of transactions in advance of the disclosure than took place afterwards I conservatively
utilize the VWAP for June 16, 2017 as the pre-announcement price. As shown in Exhibit
XXI the -2.65% abnormal return of the 7.6% Note on June 19, 2017 following this
disclosure is highly statistically significant (with a p-value at or below 0.01, which denotes
statistical significance with greater than 99% confidence).

               b)      Monday June 19, 2017
         180. For the alleged corrective disclosure over the weekend of June 17-18, 2017
and on June 19, 2017, I also utilize the VWAP for June 16, 2017 as the pre-announcement
price. As shown in Exhibit XXI, the abnormal returns are -2.65% and -2.46%,
respectively, on June 19, 2017 and June 20, 2017. Both these abnormal returns are highly
statistically significant (with p-values at or below 0.01, which denotes statistical
significance with greater than 99% confidence).

               c)      Wednesday July 12, 2017
         181. Alleged corrective information was disclosed on July 12, 2017 at
approximately noon (Eastern Time), when the Complaint alleges that “the Minnesota
Attorney General announced that it had filed a lawsuit against CenturyLink alleging
violations of state consumer protection laws after a year-long investigation.”201 Given that
there was a greater volume of transactions in advance of the disclosure than took place
afterwards I conservatively utilize the VWAP for July 12, 2017 as the pre-announcement
price. As shown in Exhibit XXI, the abnormal return following this disclosure on July 13,
2017 of -1.22% is a statistically significant (with a p-value at or below 0.05, which denotes
statistical significance with greater than 95% confidence).




200
      “CenturyLink Is Accused of Running a Wells Fargo-Like Scheme,” Bloomberg News, June
      16, 2017, 1:50 p.m.
201
      Complaint, ¶18. “*Minnesota AG Filed Suite vs CenturyLink on Billing Issues,” Bloomberg
      News, July 12, 2017, 12:04 p.m.

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                 d)     Summary
         182. Overall, the price reactions for CenturyLink’s 7.6% Note on the alleged
corrective disclosure dates are consistent with what an economist would expect when a
security trades in an efficient market.

         C. Conclusion Based on the Basket of Factors the Courts Evaluate

         183. My empirical analyses in this section shows that the disclosure of
CenturyLink-specific news caused reasonably rapid and significant movements in the
prices of the 7.6% Note. Moreover, the empirical results for the evaluation of the
operational factors I presented also support for my conclusion that the 7.6% Note traded in
an efficient market throughout the Class Period. In summary, when examining the basket
of factors that Courts generally rely upon for class certification decisions, which are also
consistent with the fundamental principles of economics and finance that academics rely
upon to evaluate market efficiency, the evidence supports the conclusion that the 7.6%
Note traded in an efficient market throughout the Class Period.

X.       ABILITY TO CALCULATE DAMAGES ON A CLASS-WIDE BASIS

         184. As set forth in the Complaint, Plaintiffs allege that Defendants violated
Section 10(b) of the Exchange Act. As explained below, damages for this claim can be
calculated on a class-wide basis using a common methodology for each of CenturyLink’s
publicly-traded securities.202

         A. Calculating Damages for Violation of § 10(b) of the Exchange Act for Both
            Common Stock and the 7.6% Note

            1.        Summary

         185. The calculation of class-wide damages for a violation of Section 10(b) of the
Exchange Act is subject to a common and broadly accepted methodology, which indeed is
routinely applied and has become a virtual standard in federal securities litigation just like
this CenturyLink matter. This class-wide damages methodology is generally referred to as


202
      As previously noted, I have not been asked to calculate or opine on the quantum of damages
      here.

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the “out-of-pocket” (“OOP”) method. Using the OOP method, damages suffered by Class
Members are measured based on the investors’ inflation losses.

         186. To implement the OOP method, which is based on a relatively
straightforward, standard and commonly-used formula, inputs are calculated. In the OOP
method, the inputs are the daily levels of artificial inflation in the prices for the CenturyLink
securities caused by Defendants’ alleged misrepresentations and/or omissions. Daily
levels of artificial inflation are calculated as the difference between the actual prices paid
on that day for the CenturyLink securities and the true or “but-for” values of the securities
absent the alleged misrepresentations and omissions (i.e., had the truth been disclosed the
price would have been the true value). Inflation losses are then calculated based on the
inflation on the date the Class Member acquires their securities less the inflation on the
date the Class member sells their securities (or if unsold, based on zero inflation following
the Class Period).

         187. This common methodology and the related inputs are applied on a class-wide
basis. In the end, the inputs or the daily levels of artificial inflation (i.e., the artificial
inflation ribbon) along with the actual trading activity of Class Members are used to
calculate individual damages in a mechanical and formulaic manner.203

            2.       Description of the OOP Method

         188. The common damages methodology I propose is almost universally applied
in federal securities litigation. One can think of the OOP method as a straightforward,
standard and commonly-used formula — for example, akin to the formula of the slope of
a line taught in sixth grade algebra; namely Y = a + bX. To solve this simple formula for
Y, one uses information to estimate a and b, and then simply inputs X into the formula to
solve for Y. To calculate the inputs for the OOP method or formula, an expert often begins
with the same type of event study I used above in Sections VI and IX to evaluate the price-




203
      In addition, the 90-day period following the end of the Class Period would also need to be
      examined. Under the Private Securities Litigation Reform Act of 1995 (“PSLRA”), a plaintiff
      may not recover more than the difference between the purchase price and the mean trading
      price of the stock during the 90-day look-back period. See 15 U.S.C. § 78u-4(e)(1).

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related factors. Using the results of the event study along with the disclosures of firm-
specific information, daily abnormal returns or price movements are calculated.

          189. The daily levels of artificial inflation—the inputs into the OOP formula—are
calculated and represented by what economists generally refer to as the “inflation ribbon.”
This ribbon represents an estimate of the daily level of artificial inflation in the prices of
the CenturyLink securities caused by the Defendants’ alleged misrepresentations and
omissions, which are based on the price reactions to disclosures either related to or
revealing the alleged misstatements and omissions.

          190. Calculating actual inputs into the OOP method by parsing and scaling the
abnormal returns (if it were required) requires an analysis of loss causation. But the
Supreme Court’s Halliburton I Opinion determined that loss causation is a common issue
that need not be analyzed at the class certification stage.204 Thus, for present purposes, one
need only realize that the above-described inputs (i.e., the inflation ribbon) will be common
to all class members and applied class-wide. Thus, the OOP method does not involve any
individualized issues.205 In other words, no matter which technique might be chosen at the
merits stage of this litigation to construct the inflation ribbon, the techniques used to
estimate the true price (and thus calculate artificial inflation) will be common to all putative
class members and will be applied on a class-wide basis.206

          191. Moreover, at the merits stage, when an expert identifies the level of artificial
inflation in the CenturyLink common stock attributable to the specific misrepresentations
and omissions ultimately established by Plaintiffs, this “but-for” price does not depend on
(and does not require consideration of) an individual investor’s risk tolerance or expected



204
      Erica P. John Fund, Inc. v. Halliburton Co, et al., 131 S.Ct. 2179 (2011) (“Halliburton I”).
205
      This is also consistent with the recent Signet Court’s conclusion that: “[Defendant’s expert’s]
      contention that Plaintiff’s methodology did not adequately isolate the impact … is simply a
      loss causation argument in disguise, because it tests the causal relationship between the
      alleged misstatements and the price decline. Such an argument ‘goes beyond the Rule 23
      inquiry.’” Signet at *20 (emphasis added and in original, citations omitted).
206
      See, for example, Nicholas I. Crew, Kevin L. Gold and Marnie A. Moore, Federal Securities
      Acts and Areas of Expert Analysis, Litigation Services Handbook: The Role of the Financial
      Expert, Fifth Edition, Wiley (2012), 24.11-24.14.

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returns. Rather it is common to all investors because it measures how the misrepresented
information affected CenturyLink’s common stock price, which is of course the essence of
the fraud-on-the-market presumption.

       192. The OOP methodology would also be applied to calculate Exchange Act
damages for the 7.6% Note.

XI.    CONCLUSIONS

       193. Based on the foregoing, my conclusions are as follows:

                    i. Throughout the Class Period, CenturyLink common stock traded in
                       an efficient market.

                   ii. Throughout the Class Period, the 7.6% Note traded in an efficient
                       market.

                  iii. The calculations of damages for violations of Section 10(b) of the
                       Exchange Act (and SEC Rule 10b-5) are subject to a common
                       methodology and may be computed on a class-wide basis for both
                       the common stock purchasers and the 7.6% Note purchasers.



I declare under penalty of perjury that the foregoing is true and correct.

RESPECTFULLY SUBMITTED THIS 21st DAY OF JANUARY 2020




______________________________________
Michael L. Hartzmark, Ph.D.




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                                                      Exhibit I
           Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
                                  During the Class Period
"Turnover measured by average weekly trading of 2% or more of the outstanding shares would justify a strong
presumption that the market for the security is an efficient one; 1% would justify a substantial presumption." [Cammer
v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) at 1293.]

                                Daily                   Weekly                 Shares                   Weekly
                               Volume                   Volume               Outstanding               Turnover

Summary Statistics of Trading Volume and Turnover
 Including All Days in the First and Last Weeks of the Class Period
   Total                  6,370,863,237         6,370,863,237
   Average                    5,760,274             27,820,363                567,191,383                 4.9%

    Minimum                       887,602               6,300,474                                         1.1%
    Median                      4,725,769              23,868,344                                         4.2%
    Maximum                    71,943,608             180,857,273                                        33.1%

Summary Statistics of Trading Volume and Turnover
 Excluding All Days in the First and Last Weeks of the Class Period
   Total                 6,286,435,475          6,286,435,475
   Average                    5,735,799            27,693,548                 567,009,960                 4.9%

    Minimum                       887,602               6,300,474                                         1.1%
    Median                      4,709,509              23,593,544                                         4.2%
    Maximum                    71,943,608             180,857,273                                        33.1%

Notes:
See Appendix F for daily and weekly statistics.
Total traded volume over the Class Period was 6,318,549,937 shares with average daily volume of 5,744,136 shares.
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                                      Exhibit II
                      Weekly Analyst Coverage of CenturyLink, Inc.

                [1]                      [2]                        [3]
                             Bloomberg Total Analyst   Number of Analysts in Thomson
               Date             Recommendations          Reuters I/B/E/S Consensus

        Average                          19                               17

        Minimum                          15                               12
        Median                           19                               16
        Maximum                          22                               22

     Note:
     See Appendix G for weekly statistics.
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                                                                     Exhibit III-A
                                     Numbers of Analyst Reports Issued for CenturyLink, Inc. During the Class Period
                                                      Class Period: March 1, 2013 - July 12, 2017

                                                 2013                 2014                 2015                 2016             2017
No. Analyst                                 (Mar 1 - Dec 31)       (Full Year)          (Full Year)          (Full Year)   (Jan 1 - July 12)   Total
1   Acquisdata Pty Ltd.                              0                    0                    0                    2                2             4
2   Argus Research Corporation                       3                    4                    5                    0                0            12
3   Atlantic Equities                                3                    2                    0                    0                0             5
4   Barclays                                         0                    0                    4                    9                6            19
5   BMO Capital Markets                              4                    6                    2                    0                0            12
6   BofA Merrill Lynch                              13                   15                   16                   16               10            70
7   BuySellSignals Research                          0                    4                    4                    5                2            15
8   CFRA Equity Research                             5                    5                    4                    3                4            21
9   Citigroup Inc                                    7                   12                   11                    8                0            38
10 Cowen and Company                                 0                    0                    1                   11                4            16
11 D.A. Davidson & Co.                               4                    6                   13                    9                0            32
12 Deutsche Bank                                     6                    2                    0                    7                3            18
13 EVA Dimensions                                  340                    0                    0                    0                0           340
14 Evercore ISI                                      0                    0                    0                    3                0             3
15 Fitch Ratings                                     0                    0                    1                    1                0             2
16 Gabelli & Company, Inc.                           1                    2                    6                    4                2            15
17 GlobalData                                        8                    8                    4                    4                2            26
18 Gordon Haskett                                    1                    9                    4                    3                3            20
19 Height Analytics,LLC                              0                    0                    2                    0                0             2
20 Hudson Square Research                            3                    0                    1                    0                0             4
21 Jefferies LLC                                     3                    8                    9                    8                4            32
22 Jefferson Research & Management                  44                   50                   50                   52               27           223
23 JP Morgan                                         4                    5                    6                    4                3            22
24 Macquarie Research                                3                    7                    5                    7                3            25
25 MarketLine                                       14                   16                    9                    3                1            43
26 MINKABU THE INOFONOID, Inc.                       0                    0                    0                    8                2            10
27 MoffettNathanson LLC                              0                    0                    0                    0                2             2
28 Moody’s                                          10                    2                    3                    7                2            24
29 Morgan Stanley                                    7                   12                   11                   10                7            47
30 Morningstar Inc.                                 13                   23                   22                   25               12            95
31 Nomura                                            6                    8                    1                    0                0            15
32 Oppenheimer & Co., Inc.                           3                    4                    4                    8                3            22
33 Pechala's Reports                                 0                    0                    1                    0                0             1
34 Piper Jaffray                                     3                    0                    0                    1                1             5
35 Pivotal Research Group                            1                    0                    0                    0                0             1
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                                                                             Exhibit III-A
                                             Numbers of Analyst Reports Issued for CenturyLink, Inc. During the Class Period
                                                              Class Period: March 1, 2013 - July 12, 2017

                                                          2013                   2014                  2015                  2016               2017
No. Analyst                                          (Mar 1 - Dec 31)         (Full Year)           (Full Year)           (Full Year)     (Jan 1 - July 12)   Total
36 Plunkett Research, Ltd.                                    2                      0                     0                     0                  0             2
37 Raymond James & Associates                                 3                      4                     6                     4                  0            17
38 RBC Capital Markets                                        3                      2                     1                     8                  2            16
39 S&P Global Compustat                                       9                     18                    12                    11                  7            57
40 S&P Global Market Intelligence                             2                      0                     0                     0                  0             2
41 S&P Global Ratings                                         5                      3                     4                     5                  1            18
42 Sabrient Systems, LLC                                      0                      1                     0                     0                  0             1
43 Sadif Analytics                                            5                      6                     7                     6                  6            30
44 Smart Insider                                              0                      1                     0                     0                  0             1
45 Stifel Nicolaus and Company, Incorporated                  5                      1                     0                     0                  0             6
46 SunTrust Robinson Humphrey, Inc.                           0                      0                     0                     0                  3             3
47 Tematica Research                                          0                      0                     0                     0                  1             1
48 The Economy Matters                                        0                      0                     0                     1                  1             2
49 UBS                                                        8                      9                     9                     7                  3            36
50 Validea                                                    0                      4                     3                     3                  2            12
51 ValuEngine, Inc.                                           0                      1                     8                     3                  2            14
52 Valu-Trac Investments                                      0                      0                     0                     2                  0             2
53 Vermilion Technical Research                               0                      0                     0                     0                  1             1
54 Wells Fargo Securities, LLC                               10                     13                    14                     9                  4            50
55 Wright Investors Service Inc.                              3                      8                     8                     8                  4            31
56 Zacks Investment Research Inc.                             4                      3                    13                    24                 10            54
    Total                                                   568                    284                   284                   309                152          1597

Note:
For analysts available on Thomson EIKON, I count reports only from Thomson EIKON; otherwise, I count reports available from Capital IQ.
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                                                 Exhibit III-B
                         Analyst Participation in CenturyLink, Inc. Conference Calls
                                 Class Period: March 1, 2013 - July 12, 2017

              [1]             [2]      [3]        [4]        [5]          [6]         [7]        [8]        [9] [10] [11] [12] [13] [14] [15] [16] [17] [18] [19]
                                                                                                               Conference Calls




                                                                                                                                                                                                        10/31/2016
                                                             11/6/2013

                                                                          2/12/2014




                                                                                                            11/5/2014

                                                                                                                        2/11/2015




                                                                                                                                                          11/4/2015

                                                                                                                                                                      2/10/2016
                           Count of




                                       5/8/2013

                                                  8/7/2013




                                                                                      5/7/2014

                                                                                                 8/6/2014




                                                                                                                                    5/5/2015

                                                                                                                                               8/5/2015




                                                                                                                                                                                  5/4/2016

                                                                                                                                                                                             8/3/2016



                                                                                                                                                                                                                     2/8/2017

                                                                                                                                                                                                                                5/3/2017
                          Conference
Analyst/Investor            Calls
Bank of America               17         x          x           x            x          x          x           x           x          x          x           x           x          x          x           x           x          x
Barclays                      7                                                                                                                              x           x          x          x           x           x          x
Citigroup                     9          x          x           x            x                                 x                      x                      x           x                     x
Credit Suisse                 1                                                                                                                                          x
D. A. Davidson                1                                                                                                                              x
Deutsche Bank                 6                     x                        x                                                                                                      x          x                       x          x
Gabelli & Company             1                                              x
Goldman Sachs                 6                                 x                                                          x                                             x                     x           x                      x
Jefferies                     10                                             x                     x           x           x          x          x           x           x                     x                                  x
JPMorgan                      12         x          x                        x          x          x           x           x                     x                                  x          x           x           x
Legal & General               1          x
Macquarie                     4                                              x                                 x                                                                               x                                  x
MoffetNathanson               1                                                                                                                                                                            x
Morgan Stanley                17         x          x           x            x          x          x           x           x          x          x           x           x          x          x           x           x          x
Morningstar                   1          x
Nomura Securities             2          x                                   x
Oppenheimer                   8                     x           x                                              x                                 x                                  x          x           x                      x
Raymond James                 14         x          x                        x                     x                       x          x          x           x           x          x          x           x           x          x
UBS                           16         x          x           x            x          x          x           x           x          x          x           x           x                     x           x           x          x
Wells Fargo                   2                                                                                                                              x           x




                                                                                                                                                                                                                                           p. 1 of 2
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                                                    Exhibit III-B
                            Analyst Participation in CenturyLink, Inc. Conference Calls
                                    Class Period: March 1, 2013 - July 12, 2017

Notes:
The October 31, 2016 regarding the acquisition of Level 3 Communications by CenturyLink also include earnings results released by
both CenturyLink and Level3.
 [1] Analyst/Investor identified as asking a question during a conference call.
 [2] Equals count of "x"s in [3] through [19].
 [3] "Q1 2013 Earnings Call," Bloomberg Transcripts, May 8, 2013.
[4] "Q2 2013 Earnings Call," Bloomberg Transcripts, August 7, 2013.
[5] "Q3 2013 Earnings Call," Bloomberg Transcripts, November 6, 2013.
[6] "Q4 2013 Earnings Call," Bloomberg Transcripts, February 12, 2014.
[7] "Q1 2014 Earnings Call," Bloomberg Transcripts, May 7, 2014.
[8] "Q2 2014 Earnings Call," Bloomberg Transcripts, August 6, 2014.
[9] "Q3 2014 Earnings Call," Bloomberg Transcripts, November 5, 2014.
[10] "Q4 2014 Earnings Call," Bloomberg Transcripts, February 11, 2015.
[11] "Q1 2015 Earnings Call," Bloomberg Transcripts, May 5, 2015.
[12] "Q2 2015 Earnings Call," Bloomberg Transcripts, August 5, 2015.
[13] "Q3 2015 Earnings Call," Bloomberg Transcripts, November 4, 2015.
[14] "Q4 2015 Earnings Call," Bloomberg Transcripts, February 10, 2016.
[15] "Q1 2016 Earnings Call," Bloomberg Transcripts, May 4, 2016.
[16] "Q2 2016 Earnings Call," Bloomberg Transcripts, August 3, 2016.
[17] "Acquistion of Level 3 Communications by CenturyLink Call," Bloomberg Transcripts, October 31, 2016.
[18] "Q4 2016 Earnings Call," Bloomberg Transcripts, February 8, 2017.
[19] "Q1 2017 Earnings Call," Bloomberg Transcripts, May 3, 2017.




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                                                    Exhibit III-C
                                      Investor Conferences Hosted by Analysts
                                     Class Period: March 1, 2013 - July 12, 2017

                                     Date       Analyst Firms
                         [1]        3/5/2013    Raymond James
                         [2]       5/16/2013    J.P. Morgan
                         [3]       8/14/2013    Oppenheimer
                         [4]       9/12/2013    Bank of America Merrill Lynch
                         [5]      12/10/2013    UBS
                         [6]        1/7/2014    Citi
                         [7]        3/3/2014    Raymond James
                         [8]        3/5/2014    Morgan Stanley
                         [9]       3/11/2014    Deutsche Bank
                        [10]       5/19/2014    J.P. Morgan
                        [11]        6/3/2014    Bank of America Merrill Lynch
                        [12]       6/12/2014    Morgan Stanley
                        [13]       9/11/2014    Goldman Sachs
                        [14]      11/12/2014    Wells Fargo
                        [15]       12/9/2014    UBS
                        [16]        1/6/2015    Citi
                        [17]        3/2/2015    Morgan Stanley
                        [18]        3/9/2015    Deutsche Bank
                        [19]       5/18/2015    J.P. Morgan
                        [20]        6/4/2015    Morgan Stanley
                        [21]       8/12/2015    Oppenheimer
                        [22]       9/10/2015    Bank of America Merrill Lynch
                        [23]       9/16/2015    Goldman Sachs
                        [24]       12/7/2015    UBS
                        [25]        1/6/2016    Citi
                        [26]        3/2/2016    Morgan Stanley
                        [27]        3/7/2016    Raymond James
                        [28]        3/8/2016    Deutsche Bank
                        [29]       8/10/2016    Oppenheimer
                        [30]       9/15/2016    Bank of America Merrill Lynch
                        [31]       9/21/2016    Goldman Sachs
                        [32]      11/10/2016    Wells Fargo
                        [33]      11/29/2016    Bank of America Merrill Lynch
                        [34]       12/5/2016    UBS
                        [35]        1/4/2017    Citi
                        [36]        3/1/2017    Morgan Stanley
                        [37]        3/7/2017    Deutsche Bank
                        [38]       5/22/2017    J.P. Morgan

Notes:
 [1] "Raymond James Institutional Investors Conference," Bloomberg EVTS, March 5, 2013.
 [2] "JPMorgan Global Technology, Media and Telecom Conference," Bloomberg EVTS, May 16, 2013.
 [3] "Oppenheimer Technology Conference," Bloomberg EVTS, August 14, 2013.
 [4] "Bank of America Merrill Lynch Media, Communications & Entertainment Conference," Bloomberg EVTS, September 12,
     2013.
 [5] "UBS Global Media and Communications Conference," Bloomberg EVTS, December 10, 2013.
 [6] "Citi Internet Media & Telecommunications Conference," Bloomberg EVTS, January 7, 2014.
 [7] "Raymond James Institutional Investor Conference," Bloomberg EVTS, March 3, 2014.
 [8] "Morgan Stanley Technology, Media & Telecom Conference," Bloomberg EVTS, March 5, 2014.
 [9] "Deutsche Bank Media, Internet & Telecom Conference," Bloomberg EVTS, March 11, 2014.


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                                                    Exhibit III-C
                                      Investor Conferences Hosted by Analysts
                                     Class Period: March 1, 2013 - July 12, 2017

[10] "J.P. Morgan Global Technology, Media and Telecom Conference," Bloomberg EVTS, May 19, 2014.
[11] "Bank of America Merrill Lynch Global Telecom & Media Conference," Bloomberg EVTS, June 3, 2014.
[12] "Morgan Stanley Leveraged Finance Conference," Bloomberg EVTS, June 12, 2014.
[13] "Goldman Sachs Communacopia Conference," Bloomberg EVTS, September 11, 2014.
[14] "Wells Fargo Technology, Media & Telecom Conference," Bloomberg EVTS, November 12, 2014.
[15] "UBS Global Media and Communications Conference," Bloomberg EVTS, December 9, 2014.
[16] "Citi Global Internet, Media & Telecommunications Conference," Bloomberg EVTS, January 6, 2015.
[17] "Morgan Stanley Technology Media & Telecom Conference," Bloomberg EVTS, March 2, 2015.
[18] "Deutsche Bank Media, Internet & Telecom Conference," Bloomberg EVTS, March 9, 2015.
[19] "JPMorgan Global Technology, Media and Telecom Conference," Bloomberg EVTS, May 18, 2015.
[20] "Morgan Stanley Leveraged Finance Conference," Bloomberg EVTS, June 4, 2015.
[21] "Oppenheimer Technology, Internet & Communications Conference," Bloomberg EVTS, August 12, 2015.
[22] "Bank of America Merrill Lynch Media, Communications & Entertainment Conference," Bloomberg EVTS, September 10,
     2015.
[23] "Goldman Sachs Communacopia Conference," Bloomberg EVTS, September 16, 2015.
[24] "UBS Global Media and Communications Conference," Bloomberg EVTS, December 7, 2015.
[25] "Citi Global Internet, Media and Telecommunications Conference," Bloomberg EVTS, January 6, 2016.
[26] "Morgan Stanley Technology, Media and Telecom Conference," Bloomberg EVTS, March 2, 2016.
[27] "Raymond James Institutional Investors Conference," Bloomberg EVTS, March 7, 2016.
[28] "Deutsche Bank Media, Internet and Telecom Conference," Bloomberg EVTS, March 8, 2016.
[29] "Oppenheimer Technology, Internet & Communications Conference," Bloomberg EVTS, August 10, 2016.
[30] "Bank of America Merrill Lynch Media, Communications & Entertainment Conference," Bloomberg EVTS, September 15,
     2016.
[31] "Goldman Sachs Communacopia Conference," Bloomberg EVTS, September 21, 2016.
[32] "Wells Fargo Technology, Media & Telecom Conference," Bloomberg EVTS, November 10, 2016.
[33] "Bank of America Merrill Lynch Leveraged Finance Conference," Bloomberg EVTS, November 29, 2016.
[34] "UBS Global Media & Communications Conference," Bloomberg EVTS, December 5, 2016.
[35] "Citi Global Internet, Media and Telecommunications Conference," Bloomberg EVTS, January 4, 2017.
[36] "Morgan Stanley Technology, Media & Telecom Conference," Bloomberg EVTS, March 1, 2017.
[37] "Deutsche Bank Media, Internet & Telecom Conference," Bloomberg EVTS, March 7, 2017.
[38] "J.P. Morgan Global Technology, Media and Telecom Conference," Bloomberg EVTS, May 22, 2017.




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                                                                          Exhibit IV
                                Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
No                                         Institution                         No                                         Institution
 1   1741 Asset Management AG                                                  42   AGF Investments LLC
 2   1832 Asset Management L.P.                                                43   AGF Management Limited (TSX:AGF.B)
 3   1919 Investment Counsel, LLC                                              44   AHL Partners LLP, Asset Management Arm
 4   361 Capital LLC                                                           45   Airain Ltd.
 5   42 Investment Advisory Group, LLC                                         46   Akros Capital, LLC
 6   A.R.T. Advisors, LLC                                                      47   Aktiva fonder i Sverige AB
 7   AB Trust & Investment Services Group                                      48   Alambic Investment Management, L.P.
 8   Abbey Life Assurance Co Ltd, Insurance Investments                        49   Alaska Retirement Management Board
 9   Aberdeen Asset Investments Limited                                        50   Alberta Investment Management Corporation
10   Aberdeen Asset Management PLC                                             51   Albion Financial Group
11   ABN AMRO Investment Solutions                                             52   Alexandria Capital, LLC
12   Absolute Return Capital, LLC                                              53   Alfred Berg Kapitalförvaltning AB
13   Acadian Asset Management LLC                                              54   Algert Global LLC
14   Achievement Asset Management LLC                                          55   Alkimis SGR S.p.A.
15   Achmea Investment Management B.V.                                         56   Allegis Investment Advisors, LLC
16   Acies Asset Management                                                    57   AllianceBernstein L.P.
17   Acorn Advisory Capital, L.P.                                              58   Allianz Asset Management AG
18   Acrospire Investment Management LLC                                       59   Allianz Global Investors Fund Management LLC
19   Act II Capital, LLC                                                       60   Allianz Investment Management LLC
20   ACTIAM N.V.                                                               61   Allra Asset Management S.A.
21   Active Niche Funds S.A.                                                   62   Allsquare Wealth Management LLC
22   Ada Investment Management LP                                              63   Allstate Investments, LLC
23   Adage Capital Management, L.P.                                            64   Allworth Financial
24   Adams Diversified Equity Fund, Inc. (NYSE:ADX)                            65   Alpha Centauri Finanz-Beratungsgesellschaft mbH
25   Addenda Capital Inc.                                                      66   Alpha Cubed Investments, LLC
26   Adell, Harriman & Carpenter, Inc.                                         67   Alpha Omega Investment Advisors
27   Adirondack Trust Company, Asset Management Arm                            68   Alpha Windward LLC
28   Aditya Birla Sun Life AMC Limited                                         69   AlphaGen Securities, LLC, Asset Management Arm
29   Administradora General de Fondos Security S.A.                            70   Alphamark Advisors, LLC
30   Advance Asset Management Limited                                          71   AlphaSimplex Group, LLC
31   Advantage Investment Management, LLC                                      72   Alpine Global Management, LLC
32   Advenis Investment Managers                                               73   ALPS Advisers, Inc.
33   Advent Capital Management, LLC                                            74   Alta Park Capital, LP
34   Advisor Partners, LLC                                                     75   Altrafin Advisory AG
35   Advisors Asset Management, Inc.                                           76   Americafirst Capital Management, LLC
36   AdvisorShares Investments, LLC                                            77   American Century Investment Management Inc.
37   Advisory Research, Inc.                                                   78   American National Insurance Company, Asset Management Arm
38   Advisory Services Network, LLC                                            79   American Research & Management Co.
39   Advocacy Wealth Management Services, Llc, Asset Management Arm            80   Ameritas Investment Partners Inc.
40   AE Wealth Management, LLC                                                 81   AMF Fonder AB
41   Affinity Investment Advisors, LLC                                         82   AMP Capital Investors Limited


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                                                                              Exhibit IV
                                    Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                           Institution                           No                                           Institution
 83   Amundi Asset Management                                                      124   Asset Planning Services Inc
 84   Analytic Investors, LLC                                                      125   Asset Planning Services, Ltd.
 85   Anchor Capital Advisors, LLC                                                 126   AssetMark, Inc.
 86   Ancora Advisors, LLC                                                         127   Associated Trust Company, National Association
 87   Anderson Hoagland & Co., Inc.                                                128   Aston Hill Asset Management Inc.
 88   Andromeda Capital Management LLC                                             129   Atria Investments LLC
 89   Antonetti Capital Management, LLC                                            130   Atrium Investimentos - Sociedade Financeira de Corretagem, S.A.
 90   AP Fonden 2                                                                  131   Atwood & Palmer, Inc.
 91   AP Fonden 4                                                                  132   Augustum Opus SIM S.p.A.
 92   AP Fonden 7                                                                  133   Aurora Investment Management L.L.C.
 93   Aperio Group, LLC                                                            134   Ausdal Financial Partners, Inc., Asset Management Arm
 94   Apollo Global Management, Inc. (NYSE:APO)                                    135   Auxier Asset Management LLC
 95   Apriem Advisors                                                              136   Avenue Investment Management Inc.
 96   AQR Capital Management, LLC                                                  137   Aviance Capital Management, LLC
 97   Arbor Point Advisors, LLC                                                    138   Aviva Investors Global Services Limited
 98   Arca Fondi S.P.A. Societa' Di Gestione Del Risparmio                         139   Avivasa Portföy Yönetimi A.S.
 99   Arca SGR S.p.A.                                                              140   AXA Equitable Funds Management Group, LLC
100   Archford Capital Strategies, LLC                                             141   AXA Investment Managers S.A.
101   Architas Multi-Manager Limited                                               142   Axxion S.A. (SNSE:AXXION)
102   Arden Asset Management LLC                                                   143   Ayalon Mutual Funds Ltd.
103   Arden Trust Company                                                          144   AZ Swiss & Partners S.A.
104   Arete Wealth Advisors, Llc                                                   145   B&T Capital Management, Incorporated
105   Argent Capital Management LLC                                                146   B. Riley Capital Management, LLC
106   Ariel Capital Advisors, LLC                                                  147   Bac Financial Partners, Llc
107   Aris Wealth Services, Inc.                                                   148   Badgley, Phelps and Bell, Inc.
108   Aristotle Capital Management, LLC                                            149   Baird Equity Asset Management
109   Arizona State Retirement System                                              150   Baldwin Brothers, Inc.
110   Arlington Capital Management, Inc.                                           151   Balestra Capital, Ltd.
111   Aronson+Johnson+Ortiz, LP                                                    152   Baloise Fund Invest Advico
112   Arrow Investment Advisors, LLC                                               153   Baltimore-Washington Financial Advisors Inc, Asset Management Arm.
113   Arrowgrass Capital Partners (US) LP                                          154   Balyasny Asset Management L.P.
114   Arrowstreet Capital, Limited Partnership                                     155   Banca Zarattini & Co. SA, Asset Management Arm
115   Artemis Investment Management LLP                                            156   Bank J. Safra Sarasin AG
116   Arvest Investments, Inc.                                                     157   Bank of America Corporation, Asset Management Arm
117   Ascend Capital, LLC                                                          158   Bank Of Nova SCOTIA Trust Co, Trust Investments
118   Aspiriant, LLC                                                               159   Bank Of Oklahoma, N.A., Asset Management Arm
119   Assenagon Asset Management S.A.                                              160   Bankinter Gestion de Activos, SGIIC
120   Asset Dedication, LLC                                                        161   Banque Pictet & Cie S.A., Asset Management Arm
121   Asset Management Group of Bank of Hawaii                                     162   Barclays Bank PLC, Securities Investments
122   Asset Management One Co., Ltd.                                               163   Barclays Bank PLC, Wealth and Investment Management Division
123   Asset Management, Inc.                                                       164   Barclays PLC Private Banking & Investment Banking Investment


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                                                                              Exhibit IV
                                    Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                          Institution                            No                                          Institution
165   Bardin Hill Investment Partners LP                                           206   BNP Paribas Arbitrage Sa, Asset Management Arm
166   Baring Asset Management Limited                                              207   BNP PARIBAS ASSET MANAGEMENT USA, Inc.
167   Barings LLC                                                                  208   BNP Paribas Securities Corp, Asset Management Arm
168   Barnett & Company Investment Counsel                                         209   BNPP Asset Management Holding
169   Barrett Asset Management, LLC                                                210   BNY Mellon Asset Management
170   Barrow, Hanley, Mewhinney & Strauss, Inc.                                    211   BNY Mellon Asset Management Canada, Ltd., Asset Management Arm
171   Bartlett Wealth Management                                                   212   BOCI - Prudential Asset Management Limited
172   BayernInvest Luxembourg S.A.                                                 213   Bogle Investment Management, L.P.
173   Bayesian Capital Management, LP                                              214   Boothbay Fund Management, LLC
174   Baystate Wealth Management, LLC                                              215   Bosera Asset Management Co., Ltd.
175   BB&T Asset Management, Inc.                                                  216   Boston Advisors, LLC
176   BBK Capital Partners, LLC                                                    217   Boston Partners Global Investors, Inc.
177   BBVA Asset Management, S.A., S.G.I.I.C.                                      218   Boston Private Bank & Trust Company, Asset Management Arm
178   BBVA Patrimonios Gestora, SGIIC,S.A.                                         219   Boston Private Wealth LLC
179   BCEE Asset Management                                                        220   Boston Research and Management, Inc.
180   BCV Asset Management                                                         221   Bourgeon Capital Management, LLC
181   Beach Investment Counsel, Inc.                                               222   Boussard & Gavaudan Asset Management, LP
182   Beacon Capital Management, Inc.                                              223   Boussard & Gavaudan Investment Management LLP
183   Beacon Trust Company                                                         224   Bowling Portfolio Management LLC
184   Beauregard Capital Ltd                                                       225   Boyd Watterson Asset Management, LLC
185   Beck, Mack & Oliver LLC                                                      226   Boyer & Corporon Wealth Management, Llc
186   Bell Rock Capital, LLC                                                       227   BP Investment Management Limited
187   Bellevue Asset Management AG                                                 228   BPV Capital Management, LLC
188   Bellwether Investment Group, Llc                                             229   Bradley Foster & Sargent, Inc.
189   Belmont Global Advisors, Inc.                                                230   Bragg Financial Advisors, Inc.
190   Belvedere Trading, LLC, Asset Management Arm                                 231   Bramshill Investments, LLC
191   Benjamin Edwards, Inc, Asset Management Arm                                  232   Brandywine Global Investment Management, LLC
192   Berson & Corrado Investment Advisors, LLC                                    233   Brave Asset Management, Inc.
193   Bessemer Investment Management LLC                                           234   BRC Investment Management LLC
194   Bexil Advisers LLC                                                           235   Brick & Kyle Associates, Inc.
195   Billings Capital Management, LLC                                             236   Bridgecreek Investment Management, LLC
196   Birinyi Associates, Inc., Asset Management Arm                               237   Bridgewater Associates, LP
197   BlackRock, Inc. (NYSE:BLK)                                                   238   Bridgeway Capital Management, Inc.
198   Blenheim Capital Management, LLC                                             239   Brighthouse Investment Advisers, LLC
199   Bloom Investment Counsel, Inc.                                               240   Brinker Capital Holdings, Inc.
200   BlueCrest Capital Management Limited                                         241   British Columbia Investment Management Corporation
201   Bluefin Trading, Llc, Asset Management Arm                                   242   Brompton Funds Limited
202   BlueMountain Capital Management LLC                                          243   Bronfman E.L. Rothschild, LP
203   Blume Capital Management                                                     244   Brookfield Asset Management Inc. (TSX:BAM.A)
204   BMO Asset Management (Holdings) plc                                          245   Brookfield Public Securities Group LLC
205   BMO Global Asset Management                                                  246   Brookstone Capital Management, LLC


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                                 Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                          Institution                         No                                           Institution
247   Brown Advisory Incorporated                                               288   Carderock Capital Management, Inc.
248   Brown Brothers Harriman & Co., Asset Management Arm                       289   Carlson Capital, L.P.
249   Bruderman Asset Management, LLC                                           290   Carnick & Kubik Group, LLC
250   BT Funds Management Limited                                               291   Carroll Financial Associates, Asset Management Arm
251   BTC Capital Management                                                    292   Carson Wealth Management Group
252   BTR Capital Management, Inc.                                              293   Cascade Investment Advisors, Inc.
253   Buffington Mohr McNeal                                                    294   Castlemaine LLC
254   Burnham Asset Management Corporation                                      295   Catalyst Capital Advisors LLC
255   Burns J W & Co. Inc.                                                      296   Catawba Capital Management, Inc.
256   Busey Trust Company                                                       297   Cavanal Hill Investment Management, Inc.
257   Butensky & Cohen Financial Security, Inc                                  298   Cavendish Asset Management Ltd
258   C.M. Bidwell & Associates, Ltd.                                           299   Caxton Associates LP
259   Cable Hill Partners, LLC                                                  300   Cedar Capital, LLC
260   Cadence Capital Management LLC                                            301   Cedar Wealth Management, LLC
261   CAI Capital Partners                                                      302   Central Trust Company
262   Caisse de dépôt et placement du Québec                                    303   Centre Asset Management, LLC
263   Caixabank Asset Management SGIIC, S.A                                     304   Centurion Investment Group, L.P.
264   Caixagest - Técnicas de Gestão de Fundos, SA                              305   Cerberus AB, Asset Management Arm
265   Calamos Advisors LLC                                                      306   Ceredex Value Advisors LLC
266   California Public Employees' Retirement System                            307   Cerity Partners LLC
267   Calvert Investment Management, Inc.                                       308   Certium Asset Management LLC
268   Cambria Investment Management, L.P.                                       309   Cetera Financial Holdings, Inc., Asset Management Arm
269   Cambridge Investment Research Advisors, Inc.                              310   Cetera Investment Advisers LLC
270   Campbell & Company, LP                                                    311   Charles Schwab Investment Management, Inc.
271   Canada Pension Plan Investment Board                                      312   Charter Oak Equity, LP
272   Canadian Imperial Bank of Commerce, Asset Management Arm                  313   Charter Trust Company
273   Candriam Belgium S.A.                                                     314   Chartwell Investment Partners, LLC
274   Candriam Luxembourg S.A.                                                  315   Checchi Capital Advisers, LLC
275   Cantab Capital Partners LLP                                               316   Chemical Bank (Midland, MI), Asset Management Arm
276   CapFinancial Partners, LLC, Asset Management Arm                          317   Chesapeake Partners Management Co., Inc.
277   Capital Advisors, Ltd. LLC                                                318   Chesley, Taft & Associates, LLC
278   Capital City Trust Company                                                319   Chicago Equity Partners LLC
279   Capital Fund Management S.A.                                              320   Chicago Partners Investment Group LLC
280   Capital Group International Inc.                                          321   Chilton Capital Management LLC
281   Capital Investment Advisors, LLC                                          322   Chiron Investment Management, LLC
282   Capital Management Associates, Inc.                                       323   Choate Investment Advisors LLC
283   Capital One Asset Management, LLC                                         324   CI Investments Inc.
284   Capital Research and Management Company                                   325   CIBC Asset Management Inc.
285   Capstone Financial Advisors, Inc.                                         326   CIBC Private Wealth Advisors, Inc.
286   Capstone Investment Advisors, LLC                                         327   CIBC World Markets Corp., Brokerage and Security Investments
287   CapWealth Advisors LLC                                                    328   Cicero Fonder AB


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                                  Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                           Institution                               No                                          Institution
329   CIGNA Investments, Inc.                                                          370   Consultinvest Asset Management S.p.A. SGR
330   Cipher Capital LP                                                                371   Convergence Investment Partners, LLC
331   Citadel Advisors, LLC                                                            372   Convergent Wealth Advisors, LLC
332   Citigroup Inc.,Banking and Securities Investments                                373   Coöperatieve Centrale Raiffeisen-Boerenleenbank B.A., Asset Management Arm
333   Citizens Bank, Asset Management Arm                                              374   Cordasco Financial Network, LLC
334   Citizens Investment Management Services                                          375   Corient Capital Partners, LLC
335   City Holding Co., Asset Management Arm                                           376   CornerCap Investment Counsel Inc.
336   City National Bank, Asset Management Arm                                         377   Cornerstone Advisors, Inc.
337   City National Rochdale, LLC                                                      378   Cornerstone Financial Partners, Inc.
338   Clark Capital Management Group, Inc                                              379   Cornerstone Investment Partners, LLC
339   Clear Perspective Advisors, LLC                                                  380   Corvex Management LP
340   ClearArc Capital, Inc.                                                           381   Counsel Portfolio Services Inc.
341   ClearBridge Investments, LLC                                                     382   Country Fund Management
342   Clinton Group, Inc                                                               383   Country Trust Bank
343   Cloud Capital LLC                                                                384   Cove Street Capital, LLC
344   CLS Investments, LLC                                                             385   Covéa Finance
345   CMI Asset Management (Luxembourg) S.A.                                           386   Covington Capital Management
346   CMT Capital Markets Trading GMBH                                                 387   Cowen Investment Management LLC
347   Coastline Trust Company                                                          388   C-QUADRAT Wealth Management GmbH
348   CoBiz Investment Management, LLC                                                 389   CR Intrinsic Investors, LLC
349   Coconut Grove Bank, Asset Management Arm                                         390   Cramer Rosenthal McGlynn, LLC
350   Cohen & Steers Capital Management, Inc.                                          391   Crawford Investment Counsel Inc.
351   Colonial First State Asset Management (Australia) Limited                        392   Creative Financial Designs Inc, Asset Management Arm
352   Columbia Management Investment Advisers, LLC                                     393   Creative Planning, Inc.
353   Columbia Partners, L.L.C. Investment Management                                  394   Credit Suisse Asset Management (Switzerland)
354   Comerica Bank, Banking Investments                                               395   Credit Suisse Fund Management S.A.
355   Commerce Investment Advisors, Inc.                                               396   Credit Suisse, Investment Banking and Securities Investments
356   Commerzbank AG, Asset Management Arm                                             397   Crescent Grove Advisors, LLC
357   Commonwealth Financial Services, LLC                                             398   Cribstone Capital Management, LLC
358   Community Bank, National Association (DeWitt, NY), Asset Management Arm          399   Croft Leominster Inc
359   Community Financial Services Group, LLC, Asset Management Arm                    400   Crossmark Global Investments, Inc.
360   Compass Asset Management                                                         401   Crow Point Partners, LLC
361   Compass Efficient Model Portfolios, LLC                                          402   CSat Investment Advisory, L.P.
362   Concannon Wealth Management, Llc, Asset Management Arm                           403   Ct Financial Advisors LLC
363   Concept Asset Management                                                         404   CTC Fund Management, L.L.C.
364   Concert Wealth Management Inc.                                                   405   Cubic Asset Management, LLC
365   Confluence Wealth Management LLC                                                 406   Cullinan Associates, Inc.
366   Conning Asset Management Co.                                                     407   Curian Capital, LLC
367   Connor, Clark & Lunn Investment Management Ltd.                                  408   Cutler Group LP, Asset Management Arm
368   Consolidated Investment Group, LLC                                               409   Cutter & Company, Inc., Asset Management Arm
369   Consulting Group Advisory Services LLC                                           410   Cypress Capital Group, Inc.


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                                   Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                         Institution                            No                                        Institution
411   D. E. Shaw & Co., L.P.                                                      452   Dr. Blumer & Partner Asset Management AG
412   D.L. Carlson Investment Group, Inc.                                         453   Dreman Value Management, L.L.C.
413   Dacheng Fund Management Company Limited                                     454   Driehaus Capital Management LLC
414   Daiwa Asset Management Co. Ltd.                                             455   Dubuque Bank & Trust, Asset Management Arm
415   Danske Bank A/S, Asset Management Arm                                       456   Duff & Phelps Investment Management Co.
416   Danske Capital AB                                                           457   Duncker, Streett & Co., LLC
417   Danske Capital AS                                                           458   Dunham & Associates Investment Counsel, Inc.
418   Dasym Managed Accounts B.V.                                                 459   Dunvegan Associates, Inc.
419   Davenport Asset Management                                                  460   DuPont Capital Management Corp.
420   Davidson & Garrard, Inc.                                                    461   Dynamic Advisors Solutions LLC
421   Davidson Investment Advisors, Inc.                                          462   Dynamic Capital Management LLC
422   Davidson Kempner Capital Management LP                                      463   Dynamic Technology Lab Pte Ltd
423   Day Hagan Asset Management                                                  464   DZ Bank AG, Asset Management Arm
424   DBX Advisors LLC                                                            465   E Fund Management Co., Ltd.
425   DBX Strategic Advisors LLC                                                  466   E*TRADE Asset Management, Inc.
426   Decatur Capital Management, Inc.                                            467   E. Öhman J:or Fonder AB
427   Degroof Petercam Asset Management                                           468   Eagle Asset Management, Inc.
428   Deka Investment GmbH                                                        469   EARNEST Partners, LLC
429   Deka Vermögensmanagement GmbH                                               470   East Capital Asset Management S.A.
430   Del Mar Asset Management, LP                                                471   East Coast Asset Management, LLC
431   Delphi Private Advisors, LLC                                                472   Eaton Vance Management
432   Delta Asset Management, LLC                                                 473   Ecofi Investissements
433   Delta Lloyd Asset Management N.V.                                           474   Edge Asset Management, Inc.
434   Deroy & Devereaux Private Investment Counsel, Inc.                          475   Edge Wealth Management, LLC
435   Deschaine & Company, LLC                                                    476   Edmond de Rothschild Asset Management SAS
436   Desjardins Global Asset Management Inc.                                     477   Edward Jones Trust Co.
437   Deutsche Asset & Wealth Management                                          478   EF Asset Management AD
438   Deutsche Bank, Private Banking and Investment Banking Investments           479   EFG Asset Management (Americas) Corp
439   Diamond Hill Capital Management, Inc.                                       480   EFG Private Bank SA, Asset Management Arm
440   Dierickx, Leys & Cie NV, Asset Management Arm                               481   Eidelman Virant Capital
441   Digilog Global Equity Llc                                                   482   Element Capital Management LLC
442   Dimensional Fund Advisors L.P.                                              483   Elite Wealth Management, Inc.
443   Dividend Assets Capital, LLC                                                484   Elkfork Partners LLC
444   Dixon, Hubard, Feinour, & Brown, Inc.                                       485   Elkhorn Investments, LLC
445   DJE Kapital AG                                                              486   Ellington Management Group, L.L.C.
446   DNB Asset Management AS                                                     487   Ellipsis Asset Management
447   Domini Impact Investments LLC                                               488   Empire Life Investments Inc.
448   Dominice Asset Management                                                   489   Empirical Finance, LLC
449   D'orazio & Associates, Inc.                                                 490   Employees Retirement System of Texas
450   Dorsey & Whitney Trust Company Llc,Asset Management Arm                     491   Endex Capital Management LLC
451   Douglas Lane & Associates, LLC                                              492   Energy Opportunities Capital Management, LLC


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                                    Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                            Institution                          No                                            Institution
493   Engine Capital Management, LP                                                534   Financial Advisors Network, Inc.
494   Engineers Gate Manager LP                                                    535   Financial Advisory Service, Inc.
495   Enigma Capital Markets, Ltd                                                  536   Financial Architects, Inc.
496   Eniso Partners AG                                                            537   Financial Management Professionals, Inc., Asset Management Arm
497   Enterprise Bank & Trust., Asset Management Arm                               538   Finemark Holdings Inc., Asset Management Arm
498   Envestnet Asset Management, Inc.                                             539   FinEx Capital Management LLP
499   Epoch Investment Partners, Inc.                                              540   First Allied Advisory Services, Inc.
500   Epsilon Mutual Funds Management (1991) Ltd.                                  541   First Asset Investment Management Inc.
501   Eqis Capital Management Inc.                                                 542   First Bank & Trust, Asset Management Arm
502   Equitec Group, LLC, Asset Management Arm                                     543   First Bankers Trust Company
503   Essex Financial Services, Inc.                                               544   First Citizens Investor Services, Inc.
504   ETFS Management (AUS) Limited                                                545   First City Capital Management, Inc.
505   Etoile Gestion                                                               546   First Command Advisory Services, Inc.
506   Eubel Brady & Suttman Asset Management Inc.                                  547   First Financial Bank, National Association, Asset Management Arm
507   Euclid Advisors LLC                                                          548   First Financial Equity Corporation, Asset Management Arm
508   Eurizon Capital S.A.                                                         549   First Foundation Advisors
509   Euro Pacific Asset Management, LLC                                           550   First Hawaiian Bank, Asset Management Arm
510   Evercore Wealth Management, LLC                                              551   First Heartland Consultants, Inc.
511   Everence Capital Management, Inc.                                            552   First Horizon National Corp.,Asset Management Arm
512   Evli Fund Management Company Ltd.                                            553   First Interstate Bank, Asset Management Arm
513   Exane Asset Management SAS                                                   554   First Manhattan Co.
514   Exchange Capital Management, Inc.                                            555   First Mercantile Trust Company, Asset Management Arm
515   Exchange Traded Concepts, LLC                                                556   First Midwest Bank Trust Division
516   ExxonMobil Investment Management Inc.                                        557   First National Bank Of Mount Dora, Asset Management Arm
517   F. L. Putnam Investment Management Company                                   558   First National Investment Services
518   Fairfield, Bush & Co                                                         559   First National Trust Company
519   Fayez Sarofim & Co.                                                          560   First Niagara Investment Advisors, Inc.
520   FCM Investments, LP                                                          561   First Personal Financial Services Inc.
521   FDO Partners, LLC                                                            562   First Premier Bank, Asset Management Arm
522   FDx Advisors, Inc.                                                           563   First Private Investment Management KAG mbH
523   Federated Investors, Inc. (NYSE:FII)                                         564   First Quadrant L.P.
524   Ferguson Wellman Capital Management, Inc.                                    565   First Republic Investment Management, Inc.
525   Ferris Capital, LLC                                                          566   First Securities Investment Trust Co., Ltd.
526   Fidelity National Financial Inc., Asset Management Arm                       567   First State Investment Management (UK) Limited
527   Fideuram Asset Management (Ireland) Limited                                  568   First Tennessee Bank National Association, Asset Management Arm
528   Fiduciary Management, Inc.                                                   569   First Trust Advisors L.P.
529   Fiduciary Trust Company                                                      570   First Washington Corporation, Asset Management Arm
530   Fiduciary Trust Company International                                        571   First Wilshire Securities Management, Inc.
531   Fiera Capital Corporation (TSX:FSZ)                                          572   FirstMerit Advisors, Inc.
532   FIL Limited                                                                  573   Flippin, Bruce & Porter, Inc.
533   Financial Advantage, Inc.                                                    574   Florida State Board of Administration


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                                  Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                         Institution                           No                                          Institution
575   FMR LLC                                                                    616   Gerstein, Fisher & Associates, Inc.
576   FNY Managed Accounts LLC                                                   617   Gesiuris Asset Management, SGIIC, S.A.
577   Focused Wealth Management, Inc.                                            618   Gestion Financière Privée (GEFIP)
578   Fonds de Réserve pour les Retraites                                        619   GFO Advisory Services, LLC
579   Footprints Asset Management & Research, Inc.                               620   GFS Advisors LLC
580   Foresters Investment Management Company, Inc.                              621   Gideon Capital Advisors, Inc.
581   Första AP-fonden                                                           622   Girard Partners Ltd., Asset Management Arm
582   Fort Washington Investment Advisors, Inc.                                  623   Glacier Peak Capital LLC
583   Founders Bank & Trust, Asset Management Arm                                624   Glassman Wealth Services, LLC
584   Foundry Partners, LLC                                                      625   Glen Harbor Capital Management LLC
585   Four Wood Capital Advisors, LLC                                            626   GLG LLC
586   Fox Run Management LLC                                                     627   GLG Partners, Inc.
587   Foxhaven Asset Management, LP                                              628   Global Retirement Partners Llc, Asset Management Arm
588   FP Financial Services, Inc                                                 629   Global X Management Company LLC
589   Frank Russell Company                                                      630   GLOBALT, Inc.
590   Franklin Resources, Inc. (NYSE:BEN)                                        631   Globevest Capital Ltd.
591   French Wolf & Farr, Inc.                                                   632   Gluskin Sheff + Associates Inc.
592   Front Street Capital Management, Inc.                                      633   Golden Capital Management, LLC
593   FrontFour Capital Group LLC                                                634   Goldman Sachs Asset Management Co.,Ltd.
594   Frontier Investment Management Co                                          635   Goldman Sachs Asset Management, L.P.
595   Frost Investment Advisors, LLC                                             636   Goldman Sachs Group, Investment Banking and Securities Investments
596   FSC Securities Corporation, Asset Management Arm                           637   Good Harbor Financial, LLC
597   FT Options, LLC                                                            638   Goss Wealth Management LLC
598   FTC Capital GmbH                                                           639   Gotham Asset Management, LLC
599   Fukoku Mutual Life Insurance Co., Asset Management Arm                     640   Gradient Investments, LLC
600   Fuller & Thaler Asset Management Inc.                                      641   Grantham Mayo Van Otterloo & Co. LLC
601   Fulton Financial Advisors, N.A.                                            642   Grassi Investment Management, LLC
602   Fusion Family Wealth LLC                                                   643   Graticule Asia Macro Advisors LLC
603   GAM Holding AG (SWX:GAM)                                                   644   Great Lakes Advisors, LLC
604   GAMCO Investors, Inc. (NYSE:GBL)                                           645   Great-West Capital Management, LLC
605   Gargoyle Investment Advisor L.L.C.                                         646   Green Century Capital Management, Inc.
606   Gary Goldberg Planning Services, Inc                                       647   Green Square Capital Advisors, LLC
607   Gateway Investment Advisers, LLC                                           648   Greenleaf Trust
608   Gemmer Asset Management LLC                                                649   Griffin Asset Management, Inc.
609   General Motors Investment Management Corporation                           650   Gripman Investment Advisors, LLC
610   Generali Investments Europe S.p.A. SGR                                     651   Groesbeck Investment Management Corporation
611   Genesis Wealth Advisors, LLC                                               652   Ground Swell Capital, LLC
612   Geneva Advisors, LLC                                                       653   Group One Trading LP, Asset Management Arm
613   Genovese Burford & Brothers                                                654   Groupama Asset Management Société anonyme
614   Geode Capital Management, LLC                                              655   GSA Capital Partners LLP
615   Gerald L. Ray & Associates, Ltd.                                           656   Guardian Capital LP


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                                 Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                         Institution                          No                                             Institution
657   Guardian Investor Services LLC                                            698   Highstreet Asset Management Inc.
658   Gudme Raaschou Asset Management                                           699   HighTower Advisors, LLC
659   Guggenheim Partners, LLC                                                  700   HighVista Strategies LLC
660   GuideStone Capital Management                                             701   Hilliard Lyons Capital Management, LLC
661   Guinness Atkinson Asset Management, Inc.                                  702   Hillsdale Investment Management Inc.
662   Gulf International Bank (UK) Limited                                      703   Hilltop Holdings Inc, Asset Management Arm
663   Gupta Wealth Management LLC                                               704   Hirtle, Callaghan & Co., LLC
664   Gustavia Fonder AB                                                        705   Hitachi Investment Management, Ltd.
665   Gutmann Kapitalanlageaktiengesellschaft                                   706   Holt Capital Advisors, L.L.C.
666   GVC Gaesco Gestión SGIIC, S.A.                                            707   Holt-Smith Advisors, Inc.
667   GW&K Investment Management, LLC                                           708   Homrich & Berg, Inc.
668   GWL Investment Management Ltd.                                            709   Horizon Advisers
669   Gyroscope Capital Management Group, LLC                                   710   Horizon Investments, LLC
670   Haberer Registered Investment Advisor, Inc.                               711   Howard Capital Management, Inc.
671   Hagin Capital, LLC                                                        712   Howe and Rusling, Inc.
672   Handelsbanken Asset Management                                            713   Hoxton Financial, Inc, Asset Management Arm
673   Hanseatic Management Services, Inc.                                       714   HSBC Global Asset Management (UK) Limited
674   Hanson & Doremus Investment Management, Inc.                              715   Hudock Capital Group, Llc
675   Hanwha Asset Management Co. Ltd.                                          716   Hudson Bay Capital Management LP
676   Harel Mutual Funds Ltd.                                                   717   Hudson Canyon Investment Counselors, LLC
677   Harfst And Associates, Inc.                                               718   Hunter Associates, Inc.
678   Hartford Financial Management, Inc.                                       719   Hutchens Investment Management, Inc.
679   Hartford Funds Management Company, LLC                                    720   Hutchin Hill Capital, LP
680   Hartford Investment Management Company                                    721   I.B.I Mutual Funds Management (1978) Ltd.
681   Harvest Management, L.L.C.                                                722   IAT Reinsurance Company Ltd, Asset Management Arm
682   Hatteras Capital Investment Management, LLC                               723   Ibercaja Gestión SGIIC S.A.
683   Hatteras Funds, LP                                                        724   IBM Retirement Fund
684   HBK Investments L.P.                                                      725   ICC Capital Management, Inc.
685   HBK Sorce Advisory LLC                                                    726   ID Management A/S
686   HCR Wealth Advisors                                                       727   ID-Sparinvest, Filial af Sparinvest S.A., Luxembourg
687   Hedeker Wealth LLC                                                        728   IFC Holdings, Inc., Securities Investments
688   Hennessy Advisors, Inc. (NasdaqCM:HNNA)                                   729   IFM Investors Pty Ltd
689   Herndon Capital Management, LLC                                           730   IG Investment Management, Ltd.
690   Hexavest Inc.                                                             731   Ignis Investment Services Limited
691   HGK Asset Management, Inc.                                                732   IHT Wealth Management LLC
692   High Point Bank & Trust Company, Asset Management Arm                     733   IKOS Asset Management Limited
693   Highbridge Capital Management, LLC                                        734   Impax Asset Management LLC
694   Highland Associates, Inc.                                                 735   IMS Capital Management, Inc.
695   Highland Capital Management Corp.                                         736   Independence Trust Company
696   Highland Capital Management, L.P.                                         737   Independent Financial Partners
697   Highmark Capital Management, Inc.                                         738   Independent Portfolio Consultants, Inc.


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                                  Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                          Institution                          No                                           Institution
739   Index Management Solutions, LLC                                            780   J.P. Morgan Asset Management, Inc.
740   Indiana Trust Wealth Management                                            781   J.P. Morgan Whitefriars LLC
741   Indices-Pac Research Corp.                                                 782   Jacobi Capital Management, LLC
742   Industrial Alliance Investment Management Inc.                             783   Jacobs Levy Equity Management Inc.
743   ING Groep NV, Insurance and Banking Investments                            784   Jaffetilchin Investment Partners, LLC
744   ING Investment Management Asia Pacific (Hong Kong) Limited                 785   James Investment Research, Inc.
745   Innovator Management LLC                                                   786   Jane Street Group, LLC, Asset Management Arm
746   Insiderfonder AB                                                           787   Jane Street Holding, LLC, Asset Management Arm
747   Institute For Wealth Management, LLC                                       788   Janney Montgomery Scott LLC, Asset Management Arm
748   Intact Investment Management Inc.                                          789   Janus Capital Management LLC
749   INTECH Investment Management LLC                                           790   Janus Henderson Group plc (NYSE:JHG)
750   Integral Derivatives, LLC, Asset Management Arm                            791   Jay A. Fishman, Ltd.
751   Integrated Wealth Counsel, LLC                                             792   Jefferies Group LLC, Asset Management Arm
752   Integrated Wealth Management                                               793   Jennison Associates LLC
753   Integre Asset Management, LLC                                              794   Jensen Investment Management Inc.
754   Intellectus Partners, LLC                                                  795   JFS Wealth Advisors, LLC
755   Interactive Financial Advisors, Inc.                                       796   JNB Advisors LLC
756   International Fund Management S.A.                                         797   Jnba Financial Advisors, Asset Management Arm
757   InterOcean Capital, LLC                                                    798   Joel Isaacson & Co., Inc.
758   Invesco Capital Management LLC                                             799   John Deere Pension Trust
759   Invesco Ltd. (NYSE:IVZ)                                                    800   Johnson Financial Group, Inc., Asset Management Arm
760   Invesco Specialized Products, LLC                                          801   Jolley Asset Management, LLC
761   Investeringsforeningen Sydinvest International                             802   JPMorgan Chase & Co, Brokerage and Securities Investments
762   Investment Centers of America Inc., Securities Investments                 803   JPMorgan Chase & Co, Private Banking and Investment Banking Investments
763   Investors Asset Management Of Georgia Inc.                                 804   Jump Trading, LLC, Asset Management Arm
764   Investors Capital Advisory Services                                        805   Juristernes Og Økonomernes Pensionskasse
765   Investors Trust Inc.                                                       806   K.S.M Sal Indices Certificates Ltd, Asset Management Arm
766   Invictus RG Pte. Ltd.                                                      807   K2 & Associates Investment Management Inc.
767   Ionic Capital Management, LLC                                              808   K2 Advisors, L.L.C.
768   IPM Informed Portfolio Management AB                                       809   Kalos Management, Inc.
769   Ipswich Investment Management Company, Inc.                                810   Kames Capital plc
770   Ireland Strategic Investment Fund                                          811   Kanaly Trust Company
771   Iridian Asset Management LLC                                               812   Karp Capital Management Corporation
772   Ironwood Financial, LLC, Asset Management Arm                              813   Karpas Strategies, LLC
773   Isthmus Partners, LLC                                                      814   Kavar Capital Partners, LLC
774   Itau Unibanco S.A., Asset Management Arm                                   815   Kavilco Incorporated
775   Itau USA Asset Management Inc.                                             816   KBC Asset Management NV
776   Ivory Investment Management, LLC                                           817   KBC Fund Management Limited
777   Ivy Investment Management Company                                          818   KCG Holdings Inc, Asset Management Arm
778   J O Hambro Capital Management Limited                                      819   Keeley Teton Advisors, LLC
779   J. Goldman & Co., L.P.                                                     820   Keen Wealth Advisors, LLC


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                                  Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                          Institution                          No                                            Institution
821   Kelman Lazarov Inc                                                         862   Level Four Advisory Services, LLC, Asset Management Arm
822   Kentucky Retirement Systems                                                863   LGL Partners, LLC
823   Kentucky Retirement Systems Insurance Trust Fund                           864   LGT Capital Partners AG
824   Kepler-Fonds KAG                                                           865   Liberty Capital Management Inc
825   Kernodle & Katon Asset Management Group, LLC                               866   Liberty Mutual Insurance Company, Asset Management Arm
826   Kessler Investment Group, LLC                                              867   Lifeplan Financial Group, Inc, Asset Management Arm
827   Keybank National Association, Asset Management Arm                         868   Lincoln Investment Advisors Corporation
828   Keystone Financial Planning, Inc.                                          869   Linde, Hansen & Co., LLC
829   Kinea Investimentos Ltda                                                   870   Lingohr & Partner Asset Management GmbH
830   Kistler-Tiffany Advisors, LLC                                              871   Litman Gregory Fund Advisors LLC
831   Kiwi Wealth Investments Limited Partnership                                872   Live Your Vision, LLC, Asset Management Arm
832   Klingman & Associates, LLC                                                 873   Livforsakringsaktiebolaget Skandia AB, Asset Management Arm
833   KLP Kapitalforvaltning AS                                                  874   LLB Fund Services Aktiengesellschaft
834   Kms Financial Services, Inc, Asset Management Arm                          875   LLB Invest Kapitalanlagegesellschaft m.b.H.
835   Knight Capital Group Inc., Asset Management Arm                            876   LMCG Investments, LLC
836   Knott Asset Management, LLC                                                877   LMR Partners LLP
837   Korea Investment Corporation                                               878   Lockwood Advisors, Inc.
838   Kovack Advisors, Inc., Asset Management Arm                                879   LoCorr Fund Management, LLC
839   Krilogy Financial LLC                                                      880   Lombard Odier Asset Management (Europe) Limited
840   Kutxabank Gestion, SGIIC , S.A.                                            881   Lombard Odier Asset Management (Switzerland) SA
841   LA Banque Postale Asset Management                                         882   Lombard Odier Darier Hentsch & Cie Asset Management
842   Ladenburg Thalmann Asset Management Inc.                                   883   Longer Financial, an affiliate of Prime Capital Investment Advisors
843   Laffer Investments Inc.                                                    884   Loomis, Sayles & Company L.P.
844   Landry Investment Management Inc.                                          885   Lord, Abbett & Co. LLC
845   Landscape Capital Management, LLC                                          886   Loring, Wolcott & Coolidge Fiduciary Advisors, LLP
846   Lansforsakringar Fondforvaltning AB                                        887   Los Angeles Capital
847   Laurion Capital Management LP                                              888   Loudon Investment Management, LLC
848   Lazard Asset Management LLC                                                889   Louisiana State Employees' Retirement System
849   LBA Wealth Management, LLC, Asset Management Arm                           890   LPL Financial Corporation, Asset Management Arm
850   LBBW Asset Management Investmentgesellschaft mbH                           891   LS Investment Advisors, LLC
851   LD Pensions                                                                892   LSV Asset Management
852   Lebenthal Asset Management LLC                                             893   Lucus Advisors LLC
853   Ledyard Financial Advisors                                                 894   Lux-Fund Advisory S.A.
854   Lee Capital Management LP                                                  895   Lyons Wealth Management, LLC
855   Legacy Advisors, LLC                                                       896   Lyxor International Asset Management S.A.
856   Legacy Private Trust Company                                               897   M Financial Investment Advisers, Inc.
857   Legal & General Investment Management Limited                              898   M&G Investment Management Limited
858   Lehman Financial Resources, Inc, Asset Management Arm                      899   M&T Bank Corp, Asset Management Arm
859   Lenox Wealth Management, Inc., Asset Management Arm                        900   Mackenzie Financial Corporation
860   Leumi Private Bank AG, Asset Management Arm                                901   Macquarie Capital Investment Management LLC
861   Leuthold Weeden Capital Management, LLC                                    902   Macquarie Investment Management Business Trust


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                                  Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
 No                                          Institution                          No                                          Institution
903   Macquarie Investment Management Limited                                    944   Mediolanum Asset Management Limited
904   MacroView Investment Management LLC                                        945   Meeder Asset Management, Inc.
905   Madden Advisory Services, Inc.                                             946   Meiji Yasuda Life Insurance Co., Asset Management Arm
906   Magnetar Capital, LLC                                                      947   Meitav DS Mutual Funds Ltd.
907   Malaga Cove Capital, LLC                                                   948   Mellon Investments Corporation
908   Man Investments AG                                                         949   Menta Capital LLC
909   Managed Account Advisors LLC                                               950   Mercer Investment Management, Inc.
910   Manchester Capital Management, LLC                                         951   Mercer Limited,Asset Management Arm
911   Manifold Fund Advisors, LLC                                                952   Merian Global Investors (UK) Limited
912   Manulife Asset Management                                                  953   Merit Investment Management, LLC
913   Manulife Asset Management (Japan) Limited                                  954   Meritage Portfolio Management, Inc.
914   Manulife Asset Management Accord (2015) Inc.                               955   Merrill Lynch & Co. Inc., Banking Investments
915   Maple Securities USA Inc., Asset Management Arm                            956   MetLife Investment Management, LLC
916   Marathon Asset Management, LLP                                             957   Michigan Department of Treasury, Bureau of Investments
917   March Asset Management, SGIIC, SA                                          958   Midas Management Corporation
918   Marco Investment Management, LLC                                           959   Mid-Continent Capital, LLC
919   Marietta Investment Partners, LLC                                          960   MidWest One Financial Group, Inc., Asset Management Arm
920   Mariner Wealth Advisors-San Diego, LLC                                     961   MIG Capital LLC
921   Mark Sheptoff Financial Planning, LLC                                      962   Migdal Mutual Funds Ltd.
922   Markston International LLC                                                 963   Migrosbank Asset Management
923   Marshall Wace LLP                                                          964   Millennium Management LLC
924   Marshwinds Advisory Company                                                965   Miller Howard Investments, Inc.
925   Martin Currie Limited                                                      966   Miller Value Partners, LLC
926   Martingale Asset Management, L.P.                                          967   Minichmacgregor Wealth Management, LLC
927   Maryland Capital Management, LLC                                           968   Mirador Capital Partners LP
928   Mascoma Wealth Management                                                  969   Mirae Asset Global Investments Co., Ltd
929   Mason Street Advisors, LLC                                                 970   Mission Wealth Management, LLC
930   Massachusetts Financial Services Company                                   971   Mitsubishi UFJ Kokusai Asset Management Co., Ltd.
931   Massey Quick Simon & Co., LLC                                              972   Mitsubishi UFJ Morgan Stanley Securities Co., Ltd., Securities & Investments Arm
932   Matarin Capital Management, LLC                                            973   Mitsubishi UFJ Securities Holdings Co., Ltd,Securities and brokerage Arm
933   Mayo Investment Advisers LLC                                               974   Mitsubishi UFJ Trust and Banking Corporation, Asset Management Arm
934   MB Financial Bank NA, Asset Management Arm                                 975   Mizuho Asset Management Co., Ltd.
935   McAdams Wright Ragen, Inc., Asset Management Arm                           976   Mml Investors Services, Llc, Brokerage Investments
936   MCF Advisors, LLC, Asset Management Arm                                    977   Mn Services Vermogensbeheer B.V.
937   McKinley Capital Management, LLC                                           978   Moisand Fitzgerald Tamayo, LLC
938   McMillion Capital Management Inc.                                          979   Món Andorra Gestió Agrícol-reig, Sau
939   Mcnamara Financial Services, Inc., Asset Management Arm                    980   Monetary Management Group, Inc.
940   McRae Capital Management, Inc.                                             981   Monroe Bank & Trust, Asset Management Arm
941   MD Financial Management Inc.                                               982   Montecito Bank & Trust, Asset Management Arm
942   Meadow Creek Investment Management LLC                                     983   Moody Aldrich Partners, LLC
943   MEAG MUNICH ERGO Kapitalanlagegesellschaft mbH                             984   Moore Capital Management, LP


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                                    Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
  No                                           Institution                          No                                          Institution
 985   Moors & Cabot, Inc., Asset Management Arm                                  1026   New York State Teachers' Retirement System
 986   Morgan Dempsey Capital Management, LLC                                     1027   Newfound Research LLC
 987   Morgan Stanley Investment Management Inc.                                  1028   Newman Dignan & Sheerar, Inc.
 988   Morgan Stanley, Investment Banking and Brokerage Investments               1029   NewSquare Capital, LLC
 989   Morningstar Investment Services, Inc.                                      1030   Nextam Partners Limited
 990   Mosaic Family Wealth, LLC                                                  1031   NFJ Investment Group LLC
 991   Motco, Inc.                                                                1032   Nicholas Company, Inc.
 992   Motus Advisory S.A.                                                        1033   Nikko Asset Management Co., Ltd.
 993   Mount Lucas Management Corporation                                         1034   Nine Chapters Capital Management, LLC
 994   Mountain Capital Investment Advisors, Inc                                  1035   NISA Investment Advisors, L.L.C.
 995   MPAM Credit Trading Partners L.P.                                          1036   Nissay Asset Management Corporation
 996   Mps-Loria Financial Planners, LLC, Asset Management Arm                    1037   NN Investment Partners International Holdings B.V.
 997   MU Investments Co., Ltd.                                                   1038   Nomura Asset Management Co., Ltd.
 998   MultiConcept Fund Management S.A.                                          1039   Nomura Asset Management Taiwan Limited
 999   Municipal Employees' Retirement System of Michigan                         1040   Nomura Holdings Inc, Securities & Investment Arm
1000   Mutual of America Capital Management LLC                                   1041   Nordea Investment Management AB
1001   MV Capital Management Inc                                                  1042   Norges Bank Investment Management
1002   myCIO Wealth Partners, LLC                                                 1043   Norinchukin-Zenkyoren Asset Management Co., Ltd.
1003   Narwhal Capital Management                                                 1044   Norrep Capital Management Ltd.
1004   National Asset Management, Inc.                                            1045   North Country Investment Advisers, Inc.
1005   National Bank Trust Inc., Asset Management Arm                             1046   North Star Asset Management, Inc.
1006   National Pension Service                                                   1047   North Star Investment Management Corporation
1007   National Planning Corporation, Securities Investments                      1048   Northern Trust Global Investments
1008   National Westminster Bank plc, Asset Management Arm                        1049   NorthPointe Capital, LLC
1009   Nations Financial Group, Inc., Asset Management Arm                        1050   Northrock Partners, LLC
1010   Nationwide Fund Advisors                                                   1051   Northwest Asset Management LLC
1011   Natixis Advisors, L.P.                                                     1052   Northwestern Mutual Investment Management Company, LLC
1012   Natixis Investment Managers Canada LP                                      1053   Northwestern Mutual Wealth Management Company
1013   Natixis, Investment Banking and Corporate Banking Investments              1054   Nottingham Advisors Inc.
1014   NBG Asset Management Mutual Fund Management Company                        1055   Numeric Investors LLC
1015   NCM Capital Management Group Inc.                                          1056   NumerixS Investment Technologies Inc.
1016   Nelson Capital Management, LLC                                             1057   Nuveen Investments, Inc.
1017   Neptune Investment Management Limited                                      1058   NuWave Investment Management, LLC
1018   Neuberger Berman BD LLC                                                    1059   NWI Management LP
1019   Neuberger Berman Breton Hill ULC                                           1060   NWQ Investment Management Company, LLC
1020   New Amsterdam Partners LLC                                                 1061   Nykredit Asset Management A/S
1021   New Century Investment Management, Incorporated                            1062   OakBrook Investments LLC
1022   New Jersey Division of Investment                                          1063   Oakworth Capital, Inc., Asset Management Arm
1023   New Mexico Educational Retirement Board                                    1064   OAM Köln GmbH
1024   New York Life Investment Management LLC                                    1065   Obermeyer Wood Investment Counsel
1025   New York State Common Retirement Fund                                      1066   ODDO BHF ASSET MANAGEMENT GmbH


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                                   Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
  No                                           Institution                         No                                           Institution
1067   OFI Advisors, LLC                                                         1108   Parallel Advisors LLC
1068   Ofi Asset Management                                                      1109   Parametric Portfolio Associates LLC
1069   Ogorek Wealth Management, LLC                                             1110   Park Avenue Institutional Advisers LLC
1070   Ohio National Investments, Inc.                                           1111   Park Circle Company
1071   Ohio Public Employees Retirement System                                   1112   Park National Bank, Asset Management Arm
1072   Old Mutual Customised Solutions (Pty) Limited                             1113   Park West Asset Management LLC
1073   Old National Bancorp., Banking Investments                                1114   Parkside Financial Bank & Trust, Asset Management Arm
1074   Old Point Trust and Financial Services, N.A.                              1115   Parkway Advisors, LP
1075   Old Second Bancorp Inc., Asset Management Arm                             1116   Parkwood Corporation, Asset Management Arm
1076   Oliver Luxxe Assets LLC                                                   1117   Parsons Capital Management, Inc.
1077   OLZ & Partners                                                            1118   PartnerRe Asset Management Corporation
1078   Omega Global Investors Pty Ltd                                            1119   Partnervest Advisory Services, LLC
1079   OMERS Administration Corp.                                                1120   Pathstone Federal Street
1080   Omnia Family Wealth, LLC                                                  1121   Patriot Financial Group
1081   OneFund, LLC                                                              1122   Patten Group, Inc.
1082   Ontario Teachers' Pension Plan Board                                      1123   Payden & Rygel
1083   OP Varainhoito Oy                                                         1124   PDT Partners, LLC
1084   Open Capital S.A.                                                         1125   PEAK6 Investments, L.P.
1085   Oppenheimer Asset Management Inc.                                         1126   PEH Wertpapier AG (DB:PEH)
1086   OppenheimerFunds, Inc.                                                    1127   Peilim Portfolio Management Company Ltd
1087   Optimum Investment Advisors, LLC                                          1128   Pekin Hardy Strauss, Inc.
1088   Opus Trading Fund, LLC, Asset Management Arm                              1129   Peloton Wealth Strategists, Inc.
1089   Orbitronix LP                                                             1130   Pendal Group Limited (ASX:PDL)
1090   Oregon Public Employees Retirement System                                 1131   Penn Security Bank and Trust Company, Asset Management Arm
1091   Orinda Asset Management LLC                                               1132   Pennsylvania Public School Employees' Retirement System
1092   Osborn Rohs Williams & Donohoe, LLC                                       1133   People's United Financial Inc., Wealth Management and Trust Division
1093   Oscan Associates Inc., Asset Management Arm                               1134   Perigon Wealth Management, LLC, Asset Management Arm
1094   O'Shaughnessy Asset Management, LLC                                       1135   Perkins Coie Trust Company LLC, Asset Management Arm
1095   Ostrum Asset Management                                                   1136   Perkins Investment Management LLC
1096   Pacer Advisors Inc                                                        1137   Perpetual Limited (ASX:PPT)
1097   Pacific Investment Management Company LLC                                 1138   Personal Capital Advisors Corp
1098   Pacific Life Fund Advisors LLC                                            1139   Peter B. Cannell & Co. Inc.
1099   Pacific Mutual Fund Bhd                                                   1140   Petrus Trust Company, LTA
1100   Palladium Registered Investment Advisors                                  1141   Pflug Koory, LLC
1101   PalmerDodge Advisors LLC                                                  1142   PFTC Trading, LLC ,Asset Management Arm
1102   Paloma Partners Management Co                                             1143   PGGM
1103   PanAgora Asset Management, Inc.                                           1144   PGIM, Inc.
1104   Paradigm Asset Management Co., LLC                                        1145   Philadelphia Investment Partners, LLC
1105   Paradigm Financial Advisors, L.L.C, Asset Management Arm                  1146   Phocas Financial Corporation
1106   Paragon Capital Management                                                1147   Pictet Asset Management Limited
1107   Parallax Volatility Advisers, L.P.                                        1148   Pictet Bank & Trust Limited, Asset Management Arm


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                                     Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
  No                                            Institution                          No                                           Institution
1149   Picton Mahoney Asset Management                                             1190   Prudential Investment Management Japan Company Limited
1150   Piedmont Investment Advisors, Inc.                                          1191   Prudential Trust Company, Trust Investments
1151   Piguet Galland & Cie S.A.                                                   1192   PSG Investment Advisors, LLC
1152   Pine River Capital Management L.P.                                          1193   Public Employees Retirement Association of Colorado
1153   PineBridge Investments LLC                                                  1194   Public Sector Pension Investment Board
1154   Pineview Asset Management                                                   1195   Punch & Associates, Inc.
1155   Pinkerton Retirement Specialists, LLC                                       1196   Purpose Investments Inc.
1156   Pinnacle Associates Ltd                                                     1197   Putnam LLC
1157   Pinnacle Bank, Asset Management Arm                                         1198   PVG Asset Management Corporation
1158   Pinnacle Financial Partners, Inc., Asset Management Arm                     1199   QCI Asset Management Inc.
1159   Pioneer Global Asset Management S.p.A.                                      1200   QCM Cayman, Ltd.
1160   Pitcairn                                                                    1201   QS Batterymarch Financial Management, Inc
1161   Placemark Investments, Inc.                                                 1202   QS Investors LLC
1162   Plante & Moran Financial Advisors                                           1203   Quadrant Partners
1163   PMG Fonds Management AG                                                     1204   Quadrature Capital Limited
1164   PNC Capital Advisors, LLC                                                   1205   Quadrature Capital LLP
1165   PNC Financial Services Group Inc., Banking Investments                      1206   Quaestio Capital Management SGR S.p.A Unipersonale
1166   Point View Financial Services Inc                                           1207   Quaestio Investments S.A.
1167   Point72 Asset Management, L.P.                                              1208   Quaker Funds, Inc.
1168   Polaris Wealth Advisers, Llc, Asset Management Arm                          1209   QUALCOMM Ventures
1169   Polianta Limited                                                            1210   Quantbot Technologies, LP
1170   Pomelo Capital LLC                                                          1211   Quantitative Investment Management, LLC
1171   Portfolio Solutions, LLC                                                    1212   Quantitative Systematic Strategies, LLC
1172   Pramerica SGR S.p.A.                                                        1213   Quantres Asset Management Ltd, Asset Management Arm
1173   Prelude Capital Management, LLC                                             1214   Quinn Opportunity Partners LLC
1174   Prentiss Smith & Company, Inc.                                              1215   Quoniam Asset Management GmbH
1175   Prigest S.A                                                                 1216   R&F Capital Advisors LP
1176   Princeton Alpha                                                             1217   R. Stewart Eads Investment Counsel, Inc.
1177   Principal Global Investors, LLC                                             1218   Raab & Moskowitz Asset Management LLC
1178   Private Advisor Group, LLC                                                  1219   Rafferty Asset Management, LLC
1179   Private Ocean, LLC                                                          1220   Raiffeisen Kapitalanlage-Gesellschaft m.b.H.
1180   Private Trust Co NA, Asset Management Arm                                   1221   RAM Active Investments S.A.
1181   Private Wealth Partners, LLC                                                1222   Rampart Investment Management Company, LLC
1182   Probity Advisors, Inc.                                                      1223   Ramsey Asset Management, LLC
1183   Proficio Capital Partners LLC                                               1224   Rational Advisors, Inc.
1184   Pro-Financial Asset Management Inc.                                         1225   Raymond James Financial Inc., Asset Management Arm
1185   ProFund Advisors LLC                                                        1226   Raymond James Financial Services Advisors, Inc.
1186   ProShare Advisors LLC                                                       1227   Raymond James Trust Company, Asset Management Arm
1187   Prospera Financial Services, Asset Management Arm                           1228   RBC Dominion Securities Inc., Asset Management Arm
1188   ProVise Management Group, LLC                                               1229   RBC Global Asset Management Inc.
1189   Prudential International Investments Advisers, LLC                          1230   RBC Private Counsel (USA) Inc.


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                                  Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
  No                                            Institution                           No                                           Institution
1231   RBC Trust Company (International) Limited, Asset Management Arm              1272   Rpg Investment Advisory, LLC
1232   RBO & Co., LLC                                                               1273   RS Investment Management Co. LLC
1233   Recon Capital Advisors, LLC                                                  1274   Rudman Capital Management, LLC
1234   Regal Investment Advisors LLC                                                1275   Ruggie Wealth Management
1235   RegentAtlantic Capital, LLC                                                  1276   Rushmore Investment Advisors, Inc.
1236   Regions Investment Management, Inc.                                          1277   Russell Investment Management, LLC
1237   Regis Management Company, LLC                                                1278   Russell Investments Limited
1238   Reilly Financial Advisors                                                    1279   RWC Partners Limited
1239   Reliance Trust Company                                                       1280   S. R. Schill & Associates Inc.
1240   Renaissance Technologies Corp.                                               1281   Saba Capital Management, L.P.
1241   Rench Wealth Management, Inc., Asset Management Arm                          1282   Sagara Financière
1242   Research Affiliates, LLC                                                     1283   SagePoint Financial Advisors, Inc., Securities Investments
1243   Resona Asset Management Co., Ltd.                                            1284   Saiers Capital, LLC
1244   Resources Investment Advisors, Inc.                                          1285   Salem Investment Counselors, Inc.
1245   Retirement Systems Of Alabama                                                1286   Samlyn Capital, LLC
1246   Reuss Private AG                                                             1287   Samsung Asset Management Co., Ltd.
1247   Reynolds Capital Management                                                  1288   San Francisco Sentry Investment Group
1248   Rhumbline Advisers Ltd Partnership                                           1289   Sanctuary Wealth Advisors, Llc, Asset Management Arm
1249   Richard Bernstein Advisors LLC                                               1290   Sandler Capital Management
1250   Riggs Asset Management Company, Inc.                                         1291   Sandy Spring Bank, Asset Management Arm
1251   Risk Paradigm Group, LLC                                                     1292   Sanlam Investment Management (Pty) Ltd.
1252   Riverhead Capital Management LLC                                             1293   Santa Barbara Asset Management, LLC
1253   RiverNorth Capital Management, LLC                                           1294   Santa Fe Partners LLC
1254   Riverpoint Capital Management, LLC                                           1295   Santander Asset Management UK Limited
1255   RNC Capital Management, LLC                                                  1296   Santander Asset Management, S.A., S.G.I.I.C.
1256   Robert W. Baird & Co. Incorporated, Asset Management Arm                     1297   Santander Private Banking Gestion, S.A., S.G.I.I.C.
1257   Robinson Value Management, Ltd.                                              1298   Sarasin & Partners LLP
1258   Rockefeller & Co. LLC                                                        1299   SAS Capital Management, LLC
1259   Ronald Blue & Co., LLC, Asset Management Arm                                 1300   SAVA INFOND, druzba za upravljanje, d.o.o.
1260   Ropes & Gray LLP, Private Client Group                                       1301   Savant Capital, LLC
1261   Ropes Wealth Advisors, LLC                                                   1302   Sawtooth Solutions, LLC
1262   Rotella Capital Management, Inc.                                             1303   Schiketanz Capital Advisors GmbH
1263   Rothschild & Co Asset Management US Inc.                                     1304   Schonfeld Strategic Advisors LLC
1264   Rothschild Investment Corporation                                            1305   Schooner Investment Group LLC
1265   Round Table Investment Management Company, LP                                1306   Schroder Investment Management Limited
1266   Rowland & Company                                                            1307   Schroder Investment Management North America Inc.
1267   Royal Alliance Associates, Inc., Securities Investments                      1308   Scotiabank Global Banking and Markets, Asset Management Division
1268   Royal Bank of Canada Trust Company (Bahamas) Limited, Asset Management Arm   1309   Sculptor Capital Management, Inc. (NYSE:SCU)
1269   Royal Bank of Canada, Banking & Securities Investments                       1310   Searle & Co., Asset Management Arm
1270   Royal London Asset Management Limited                                        1311   SEB Investment Management AB
1271   RPG Family Wealth Advisory, LLC                                              1312   SECOR Capital Advisors, LP


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                                      Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
  No                                            Institution                           No                                           Institution
1313   Securian Asset Management Inc.                                               1354   Smith Asset Management Group, LP
1314   Securities America Advisors, Inc.                                            1355   Smith Hayes Advisers, Inc.
1315   Security Investors, LLC                                                      1356   Smithfield Trust Company, Asset Management Arm
1316   Security Kapitalanlage AG                                                    1357   Snow Capital Management L.P.
1317   Security National Trust Company                                              1358   Sns Financial Group, Llc, Asset Management Arm
1318   Segall Bryant & Hamill, LLC                                                  1359   Societe Generale, Securities Investments
1319   SEI Investments Company (NasdaqGS:SEIC)                                      1360   Solaris Asset Management LLC
1320   Sella SGR S.p.A.                                                             1361   Solventis Gestión, SGC, Sociedad Anónima
1321   Semper Trust Company                                                         1362   Sonora Investment Management, LLC
1322   Sentinel Trust Company                                                       1363   South Dakota Investment Council
1323   Sentry Investment Management, L.L.C.                                         1364   South Georgia Capital, LLC
1324   Sequoia Financial Advisors, LLC                                              1365   Southport Capital, Inc.
1325   Seven Eight Capital, LLC                                                     1366   Sowell Financial Services LLC
1326   Seven Investment Management LLP                                              1367   Spängler IQAM Invest Asset Management GmbH
1327   Sevenbridge Financial Group, LLC                                             1368   Sparinvest S.A.
1328   SFMG Wealth Advisors                                                         1369   Spears Abacus Advisors LLC
1329   Sg3 Management, LLC                                                          1370   Sphere Investment Management Inc.
1330   Shamrock Asset Management LLC                                                1371   Spiderrock Trading Llc
1331   Sharkey, Howes & Javer, Inc.                                                 1372   Spirit of America Management Corp.
1332   Sheaff Brock Investment Advisors, LLC                                        1373   Spot Trading L.L.C., Asset Management Arm
1333   Shell Asset Management Company B.V.                                          1374   SPP Fonder AB
1334   Shepherd Kaplan Krochuk, LLC                                                 1375   Squarepoint Ops LLC
1335   Shinko Asset Management Co., Ltd.                                            1376   SSI Investment Management LLC
1336   Siemens Fonds Invest GmbH                                                    1377   SSN Advisory, Inc.
1337   Sigma Planning Corporation, Asset Management Arm                             1378   St. Galler Kantonalbank, Asset Management Arm
1338   Signal Iduna Asset Management Gmbh                                           1379   Stacey Braun Associates, Inc.
1339   Signator Financial Services, Inc, Advisory Investments                       1380   StanCorp Investment Advisers, Inc.
1340   Signature Estate & Investment Advisors, LLC                                  1381   Standard Life Investments Limited
1341   SignatureFD, LLC                                                             1382   Standish Mellon Asset Management Company LLC
1342   SII Investments, Inc., Securities Investments                                1383   Stanford Investment Group, Asset Management Arm
1343   Silvant Capital Management LLC                                               1384   Stanton Asset Management Inc.
1344   Silver Bridge Capital Management LLC                                         1385   StarCapital AG
1345   Silver Rock Financial LP                                                     1386   State Bank & Trust, Asset Management Arm
1346   Simplex Trading, LLC, Asset Management Arm                                   1387   State Farm Insurance Companies, Asset Management Arm
1347   SinoPac Securities Investment Trust Co. Limited                              1388   State Street Global Advisors, Inc.
1348   Sit Investment Associates, Inc.                                              1389   State Teachers Retirement System of Ohio
1349   Skandia Fonder AB                                                            1390   StellarOne Corporation, Asset Management Arm
1350   SkyBridge Capital II, LLC                                                    1391   Stephens Capital Management
1351   SM Investors, L.P.                                                           1392   Sterling Advisors
1352   SMH Asset Management                                                         1393   Sterling Capital Management LLC
1353   Smith & Howard Wealth Management, LLC                                        1394   Sterling Investment Advisors, Ltd.


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                                  Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
  No                                           Institution                        No                                           Institution
1395   Sterne Agee Asset Management, Inc.                                       1436   Sydbank, Asset Management Arm
1396   Sterneck Capital Management, LLC                                         1437   Symphony Asset Management LLC
1397   Stevens Capital Management LP                                            1438   Synovus Securities, Asset Management Arm
1398   Steward Partners Investment Advisory, Llc                                1439   Synovus Trust Company, National Association
1399   Stichting Bedrijfstakpensioenfonds voor de Media PNO                     1440   T&D Asset Management Co., Ltd.
1400   Stichting Pensioenfonds ABP                                              1441   T. Rowe Price Group, Inc. (NasdaqGS:TROW)
1401   Stifel Asset Management Corp.                                            1442   T.E. Investment Counsel Inc.
1402   Stillwater Capital Advisors, LLC                                         1443   Tailor Capital S.A.
1403   Stone Ridge Asset Management LLC                                         1444   Tangerine Investment Management Inc.
1404   Stonemark Wealth Management                                              1445   Tarbox Group, Inc., Asset Management Arm
1405   StoneRidge Investment Partners, LLC                                      1446   Taylor Frigon Capital Management LLC
1406   Storebrand Asset Management AS                                           1447   Taylor Wealth Management Partners LLC
1407   Storebrand Kapitalforvaltning As                                         1448   TCI Wealth Advisors, Inc., Asset Management Arm
1408   Strategic Advisers, Inc                                                  1449   TD Asset Management, Inc.
1409   Strategic Capital Alternatives LLC                                       1450   TD Capital Management LLC
1410   Strategic Global Advisors, LLC                                           1451   TDAM USA Inc.
1411   Strategic Wealth Advisors Group,Inc.                                     1452   Teacher Retirement System of Texas
1412   Strategisk Kapitalförvaltning Sverige AB                                 1453   Teachers Insurance and Annuity Association of America - College Retirement Equities Fund
1413   Strategy Asset Managers, LLC                                             1454   Teachers' Retirement System of the State of Kentucky
1414   Stratos Wealth Partners Ltd                                              1455   Tennessee Department of Treasury, Investment Division
1415   Structured Invest S.A.                                                   1456   Terrain- Und Finanzgesellschaft Basel
1416   Stux Capital Management, LLC                                             1457   Texan Capital Management, Inc.
1417   Sumitomo Mitsui DS Asset Management Company, Limited                     1458   Texas Education Agency, Endowment Arm
1418   Sumitomo Mitsui Trust Asset Management Co., Ltd.                         1459   TFS Capital LLC
1419   Summit Asset Management, LLC                                             1460   The Ayco Company, L.P.
1420   Summit Financial Of Louisiana, Inc.                                      1461   The Bank of Nova Scotia, Banking Investments
1421   Sun Life Assurance Company of Canada, Asset Management Arm               1462   The Blackstone Group Inc. (NYSE:BX)
1422   Sun Life Global Investments Inc.                                         1463   The Bollard Group, LLC
1423   SunAmerica Asset Management, LLC                                         1464   The Boston Company Asset Management, LLC
1424   SunTrust Advisory Services, Inc.                                         1465   The Boston Family Office, LLC
1425   SunTrust Banks Inc, Asset Management Arm                                 1466   The Bryn Mawr Trust Company, Asset Management Arm
1426   Susquehanna Fundamental Investments, LLC                                 1467   The Burney Company
1427   Susquehanna International Group, LLP, Asset Management Arm               1468   The California State Teachers Employees' Retirement System
1428   Swedbank Investeerimisfondid AS                                          1469   The Clark Estates, Inc.
1429   Swedbank Robur Fonder AB                                                 1470   The Colony Group, LLC
1430   Swiss Life Asset Management (France)                                     1471   The Dai-Ichi Life Insurance Company, Limited, Asset Management Arm
1431   Swiss Life Asset Management AG                                           1472   The Glenmede Trust Company, N.A.
1432   Swiss Life Asset Management Limited                                      1473   The Huntington Trust Company, National Association
1433   Swiss National Bank, Asset Management Arm                                1474   The MassMutual Trust Company, F.S.B. , Trust Investments
1434   Swisscanto Asset Management AG                                           1475   The Moneypaper Advisor, Inc.
1435   Syd Fund Management A/S                                                  1476   The Pacific Center For Financial Services


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                                                                             Exhibit IV
                                   Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
  No                                         Institution                              No                                         Institution
1477   The Pacific Financial Group, Inc.                                            1518   Transtrend BV
1478   The Philadelphia Trust Company                                               1519   Trexquant Investment LP
1479   The Privatebank and Trust Company, Asset Management Arm                      1520   Triad Hybrid Solutions, LLC
1480   The Royal Bank of Scotland N.V., London Branch, Asset Management Arm         1521   Triglav Skladi d. o. o.
1481   The Royal Bank Of Scotland plc, Asset Management Arm                         1522   TriOaks Capital Management L.P.
1482   The State of Wisconsin Investment Board                                      1523   True Private Wealth Advisors LLC, Asset Management Arm
1483   The TCW Group, Inc.                                                          1524   TrueNorth, Inc.
1484   The Trust Company                                                            1525   Trust Asset Management LLC
1485   The Trust Company of Oklahoma                                                1526   Trust Investment Advisors
1486   The Trust Company of Vermont                                                 1527   Trustmark Investment Advisors, Inc.
1487   The Trust Company, Asset Management Arm                                      1528   Trutina Financial, Asset Management Arm
1488   The Vanguard Group, Inc.                                                     1529   Tudor Investment Corporation
1489   THEAM SAS                                                                    1530   Turner Investments, LP
1490   Third Swedish National Pension Fund                                          1531   TWIN Capital Management, Inc.
1491   Thompson Davis Asset Management                                              1532   Twin Tree Management, L.P.
1492   Thompson, Siegel & Walmsley LLC                                              1533   Two Sigma Advisers, LP
1493   Thornburg Investment Management, Inc.                                        1534   Two Sigma Investments, LP
1494   Thrivent Investment Management, Inc.                                         1535   Tyers Asset Management LLC
1495   Tiedemann Wealth Management, LLC                                             1536   U.S. Bancorp Asset Management, Inc.
1496   Tiemann Investment Advisors, LLC                                             1537   U.S. Capital Advisors LLC
1497   Timber Hill LLC, Asset Management Arm                                        1538   U.S. Global Investors, Inc. (NasdaqCM:GROW)
1498   Titan Capital Management, LLC                                                1539   UBP Investments Co., Ltd.
1499   Tiverton Asset Management LLC                                                1540   UBS Asset Management
1500   TLP Group LLC                                                                1541   UBS O'Connor LLC
1501   TNB Financial Services, Inc.                                                 1542   UMB Financial Corporation, Asset Management Arm
1502   TOBAM                                                                        1543   UniCredit Bank AG, Asset Management Arm
1503   Tocqueville Asset Management LP                                              1544   Unigestion SA
1504   Tokio Marine Asset Management Co., Ltd.                                      1545   Union Asset Management Holding AG
1505   Tompkins Investment Services                                                 1546   Union Bancaire Privee, CBI-TDB, Asset Management Arm
1506   Torch Wealth Management LLC, Asset Management Arm                            1547   Union Investment Austria GmbH
1507   Toronto-Dominion Bank, Banking Investments                                   1548   Union Investment Luxembourg SA
1508   Toronto-Dominion Bank, Securities Investments                                1549   Union Investment Management Group
1509   Torray LLC                                                                   1550   Union Investment Privatfonds GmbH
1510   Tortoise Investment Management, LLC                                          1551   United Bank Inc., Asset Management Arm
1511   Tower Research Capital LLC                                                   1552   United Capital Financial Advisers LLC
1512   Tower Wealth Managers, Inc.                                                  1553   Universal-Investment-Gesellschaft mbH
1513   TradeLink Capital                                                            1554   US Financial Advisors Inc.
1514   Tradewinds Capital Management, LLC                                           1555   USA Financial Portformulas Corporation
1515   Tradewinds Global Investors, LLC                                             1556   USA Mutuals Advisors, Inc
1516   Tradeworx, Asset Management Arm                                              1557   USAA Investment Management Company
1517   Transamerica Asset Management, Inc.                                          1558   Utah Retirement Systems


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                                                                           Exhibit IV
                                 Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
  No                                           Institution                       No                                         Institution
1559   V Wealth Advisors, LLC                                                  1600   WBI Investments, Inc.
1560   Valley National Advisers, Inc.                                          1601   Wealth Enhancement Advisory Services, LLC
1561   Vantage Investment Advisors, LLC                                        1602   Wealthcare Advisory Partners LLC
1562   Veritable LP                                                            1603   Wealthfront Inc.
1563   Verition Fund Management LLC                                            1604   Wealthplan Partners
1564   Versant Capital Management, Inc.                                        1605   Wealthsource Partners, LLC
1565   Vertex One Asset Management Inc.                                        1606   Wealthtrust Fairport, LLC
1566   Vescore AG                                                              1607   WealthTrust-Arizona, LLC
1567   Victory Capital Management Inc.                                         1608   Webster Bank, N.A., Asset Management Arm
1568   Vident Investment Advisory, LLC                                         1609   Wedbush Asset Management, LLC
1569   Vigilant Capital Management, LLC                                        1610   WEDGE Capital Management L.L.P.
1570   Viking Fund Management, LLC                                             1611   Weiss Multi-Strategy Advisers, LLC
1571   Virginia Retirement System                                              1612   Wellington Management Group LLP
1572   Virtu Financial LLC, Asset Management Arm                               1613   Wellington Shields Capital Management, LLC
1573   Virtus Alternative Investment Advisers, Inc.                            1614   Wells Capital Management Incorporated
1574   Virtus Fund Advisers, LLC                                               1615   Wells Fargo & Company, Private Banking and Investment Banking Arm
1575   Virtus Investment Advisers, Inc.                                        1616   Wells Fargo & Company, Securities and Brokerage Investments
1576   Vision2020 Wealth Management Corp.                                      1617   Welzia Management SGIIC SA
1577   Visionary Asset Management, Inc.                                        1618   WesBanco Investment Department
1578   Visium Asset Management, LP                                             1619   WESPAC Advisors, L.L.C.
1579   Voloridge Investment Management, LLC                                    1620   West Oak Capital, LLC
1580   Vontobel Asset Management S.A.                                          1621   Westchester Capital Management, Inc.
1581   Vontobel Swiss Wealth Advisors AG                                       1622   Westchester Capital Management, LLC
1582   Voya Investment Management LLC                                          1623   Westfield Capital Management Company, L.P.
1583   VSR Financial Services, Inc., Asset Management Arm                      1624   Westover Capital Advisors, LLC
1584   W. H. Reaves & Co., Inc.                                                1625   Westport Resources, A Division Of United Capital
1585   W.E. Donoghue & Co., LLC                                                1626   Westside Investment Management, LLC
1586   Waddell & Reed Investment Management Co                                 1627   Wetherby Asset Management
1587   Wade Financial Group, Inc.                                              1628   WFG Advisors, LP
1588   Wagner Bowman Management Corp                                           1629   WhaleRock Point Partners, LLC
1589   Waldron Wealth Management, LLC, Asset Management Arm                    1630   White Bay Pt Llc, Asset Management Arm
1590   Walleye Trading Advisors, LLC                                           1631   Whittier Trust Company
1591   Walter Scott & Partners Limited                                         1632   Wilcoxson Wealth Management
1592   Waratah Capital Advisors Ltd.                                           1633   Wildermuth Advisory, LLC
1593   Warburg Invest AG                                                       1634   William Blair Investment Management, LLC
1594   Warren Averett Asset Management LLc                                     1635   Williams, Jones & Associates, LLC
1595   Wasatch Advisors Inc.                                                   1636   Willow Street Advisors LLC
1596   Washington Trust Bank, Asset Management Arm                             1637   Wilmington Funds Management Corporation
1597   Waters, Parkerson & Co., LLC                                            1638   Wilmington Trust Company, Banking & Trust Investments
1598   Wavelength Asset Management, LLC                                        1639   Wilmington Trust Investment Advisors, Inc.
1599   Waverton Investment Management Ltd.                                     1640   Wilmington Trust Investment Management, LLC


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                                                                                 Exhibit IV
                                       Institutions that Held CenturyLink, Inc. Common Stock at Some Point During the Class Period
  No                                          Institution                                             No                                        Institution
1641    Winch Financial, LLC, Asset Management Arm                                                  1655    Wright Investors' Service Inc.
1642    Windsor Capital Management, LLC                                                             1656    XACT Fonder AB
1643    Winfield Associates, Inc.                                                                   1657    Xact Kapitalförvaltning AB
1644    Winslow, Evans & Crocker, Inc., Asset Management Arm                                        1658    Yale Capital Corp.
1645    Winton Capital Group Limited                                                                1659    Yapi Kredi Portföy Yönetimi A.S.
1646    Winton Capital Management Limited                                                           1660    YorkBridge Wealth Partners, LLC
1647    Winton Capital US LLC                                                                       1661    Zacks Investment Management, Inc.
1648    Wolverine Asset Management, LLC                                                             1662    Zevin Asset Management Inc.
1649    Wolverine Trading LLC, Asset Management Arm                                                 1663    Ziegler Capital Management, LLC
1650    Woodbury Financial Services, Inc, Securities Investments                                    1664    Zimmer Partners, LP
1651    Woodmont Investment Counsel, LLC                                                            1665    Zions Capital Advisors, Inc.
1652    Woodstock Corporation                                                                       1666    ZKB Asset Management
1653    World Asset Management                                                                      1667    Zweig Advisers LLC
1654    WrapManager, Inc.                                                                           1668    Zweig-DiMenna Associates, Inc.

Note:
Institutions with positive holdings of CenturyLink, Inc common stock for quarters during the Class Period (3/31/2013 - 6/30/2017).
Source:
S&P Capital IQ.




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                                                                   Exhibit V
                             Positions of Large Institutions as of the End of Each Year during the Class Period

No.   Institution                                                                                            12/31/2013      12/31/2014      12/31/2015      12/31/2016
 1    ALPS Advisers, Inc.                                                                                       323,086      11,554,563         783,646       1,577,115
 2    American Century Investment Management Inc.                                                             9,103,555       4,075,348       6,518,459       1,468,336
 3    AQR Capital Management, LLC                                                                                 9,000         283,016         711,199       4,275,894
 4    Aronson+Johnson+Ortiz, LP                                                                                  52,500       5,096,070          44,770          30,212
 5    Arrowstreet Capital, Limited Partnership                                                                        0               0          43,000       7,037,432
 6    BlackRock, Inc. (NYSE:BLK)                                                                             34,932,443      37,399,532      37,790,183      41,643,280
 7    BNY Mellon Asset Management                                                                            13,987,227      13,952,825      18,348,912      21,821,287
 8    Capital Research and Management Company                                                                72,406,172      73,892,430      52,538,652      21,074,406
 9    Columbia Management Investment Advisers, LLC                                                            5,186,670      11,202,991       4,670,091       8,679,505
10    Dimensional Fund Advisors L.P.                                                                          4,509,891       4,955,831       6,818,705       9,390,568
11    First Trust Advisors L.P.                                                                                 966,518       1,221,692       1,381,247       3,734,318
12    FMR LLC                                                                                                10,035,676       2,281,238       4,212,027       3,621,836
13    Franklin Resources, Inc. (NYSE:BEN)                                                                     3,339,700       6,985,000          13,100               0
14    Geode Capital Management, LLC                                                                           4,294,596       4,262,356       5,054,807       6,108,770
15    Lazard Asset Management LLC                                                                             5,433,876         428,461          58,310             383
16    Managed Account Advisors LLC                                                                            1,016,864         810,171       7,395,358         432,201
17    Mellon Investments Corporation                                                                          7,751,603       7,200,966               0               0
18    Merrill Lynch & Co. Inc., Banking Investments                                                           4,792,582       4,880,039      11,464,343      10,236,833
19    Morgan Stanley, Investment Banking and Brokerage Investments                                            6,449,262       4,356,055       4,756,855       5,899,766
20    Northern Trust Global Investments                                                                       7,908,040       7,457,420       6,744,871       6,983,836
21    NWQ Investment Management Company, LLC                                                                  7,215,764               0               0         103,693
22    O'Shaughnessy Asset Management, LLC                                                                     2,171,307       4,148,807       3,199,684       4,007,716
23    Pictet Asset Management Limited                                                                         4,468,916         361,098         391,325         300,912
24    State Street Global Advisors, Inc.                                                                     34,401,538      32,962,823      30,545,540      30,869,623
25    Stichting Pensioenfonds ABP                                                                             6,433,929       5,525,857       4,922,679       4,896,292
26    SunAmerica Asset Management, LLC                                                                          302,228         250,047         269,361      15,730,506
27    T. Rowe Price Group, Inc. (NasdaqGS:TROW)                                                               7,272,171       7,756,481       7,355,482       6,886,370
28    Teachers Insurance and Annuity Association of America - College Retirement Equities Fund                3,431,881       4,416,546       3,899,037       4,406,048
29    The Vanguard Group, Inc.                                                                               28,653,369      32,057,504      34,532,950      39,167,308
30    Toronto-Dominion Bank, Banking Investments                                                              9,002,914       8,884,740       8,643,932       3,401,725
31    UBS Asset Management                                                                                    5,232,519       4,416,405       4,162,187       4,077,742
      Positions of the 31 Institutions on Each Date                                                         301,085,797     303,076,312     267,270,712     267,863,913
      Shares Outstanding                                                                                    583,637,000     568,517,000     543,800,000     546,545,000
          31 Institutional Positions as a % of Shares Outstanding                                                  52%             53%             49%             49%
      Public Float                                                                                          581,710,927     565,981,146     541,225,718     543,815,515
          31 Institutional Positions as a % of Public Float                                                        52%             54%             49%             49%

      Number of Institutions with Positive Positions on Each Date                                                    781             827             785           838

Note:
To be included in this list, the institution positions ranked in the top 20 of all institutional positions as of any of the four dates: 12/31/2013, 12/31/2014,
12/31/2015, or 12/31/2016.

Source:
S&P Capital IQ and SEC filings.
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                                                                                                Exhibit VI
                                                                     Short Interest Levels of CenturyLink, Inc. Common Stock and
                                                                   Short Interest as a Percent of Shares Outstanding and Public Float
                       140                                                                                                                                                       25.0%




                       120

                                                                                                                                                                                 20.0%


                       100
Short Interest (in Millions)




                                                                                                                                                                                 15.0%
                               80




                                                                                                                                                                                         Percent
                               60
                                                                                                                                                                                 10.0%



                               40


                                                                                                                                                                                 5.0%

                               20




                                0                                                                                                                                                0.0%




                                    Short Interest (in Millions)   Short Interest as a Percent of Shares Outstanding (Including Insiders)       Short Interest as a Percent of Public Float
                               Sources:
                               Bloomberg and SEC filings.
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                                                                     Exhibit VII
                                              Market Capitalization of CenturyLink, Inc. Common Stock
                 $30.0                                     March 1, 2013 - July 12, 2017




                 $25.0




                 $20.0
(in $Billions)




                 $15.0




                 $10.0




                  $5.0




                  $0.0




                                                                  Market Capitalization
                 Sources:
                 Bloomberg and SEC filings.
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                                                      Exhibit VIII
                                   Bid-Ask Spread in CenturyLink, Inc. Common Stock

          CenturyLink Common Stock Daily Bid-Ask        NYSE/AMEX Common Stocks                     NASDAQ Common Stocks

                    3/1/2013 - 7/12/2017              Monthly Data     Yearly Data              Monthly Data     Yearly Data
               $ Spread             % Spread               2009 CRSP % Spread                        2009 CRSP % Spread

Average          $0.01              0.04%                 1.03%               1.15%                2.55%               2.91%

Median           $0.01              0.03%                 0.35%               0.40%                0.69%               0.92%


Notes:
See Appendix H for CenturyLink daily statistics and methodology.
Statistics for 2009 CRSP spread for NYSE/AMEX and NASDAQ common stocks are obtained from Kee H. Chung and Hao Zhang, A Simple
Approximation of Intraday Spreads Using Daily Data, 17 J. Fin. Markets, 94, Table 2 (2014).
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                                                                             Exhibit IX
                                            Analysis of the Relationship between Earnings News and Abnormal Returns

                                                                                                                 EXPECTED                 RATIO OF ACTUAL
                                                                                     ACTUAL
                                                                                                               NUMBER OF DAYS               TO EXPECTED
                          Observation on a Date                                   NUMBER OF DAYS                                                                        Total
                                                                                                                    [A]                   NUMBER OF DAYS
                                                                               No-News [B]      News [B]     No-News [B]   News [B]     No-News [B]     News [B]
[1] Number of Days                                                                1,080           17            1,080         17           1.00           1.00          1,097
[2] No Statistically Significant Abnormal Return                                  1,013             7         1,004.20      15.80          1.01           0.44          1,020
[3] Statistically Significant Abnormal Return                                       67             10           75.80        1.20          0.88           8.36            77
[4] Percent of Statistically Significant Abnormal Return Days of Total Days       6.2%           58.8%          7.0%        7.0%                                        7.0%

Notes:
[A] Based on bootstrap results of 100,000 runs using Urn 1 with 17 "News" days and 1,080 "No-News" days; Urn 2 with 77 significant abnormal return days and 1,020 insignificant
    abnormal return days. Three alleged corrective disclosure dates are excluded from the analysis: 6/16/2017, 6/19/2017, and 7/12/2017.
[B] "News" date is defined as days with earnings release. News released after 4 pm based on the time stamps from PRNewswire is matched with the next trading day’s stock return.
    The impact date of the 17 news dates are: 5/9/2013, 8/8/2013, 11/7/2013, 2/13/2014, 5/8/2014, 8/7/2014, 11/6/2014, 2/12/2015, 5/6/2015, 8/6/2015, 11/5/2015, 2/11/2016,
    5/5/2016, 8/4/2016, 10/31/2016, 2/9/2017, and 5/4/2017.

[1] Number of trading days during the Class Period+, excluding those dates where there are corrective disclosures.
[2] Number of trading days without significant abnormal returns. Source: Appendix E.
[3] Number of trading days with significant abnormal returns. Source: Appendix E.
[4] = [3] / [1].
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                                                     Exhibit X
 Test for Autocorrelation in CenturyLink, Inc. Common Stock Daily Abnormal Returns

                Date Range               Coefficient             t-stat          Observations          R-Squared

         03/01/2013 - 07/12/2017             0.04                   1.36            1,100                  0.17%


Notes:
Based on regressions of daily abnormal returns on prior day's abnormal returns. See Appendix E for daily
abnormal returns.
For the purposes of the statistical test of autocorrelation, an extra rolling regression was run for 2/28/2013.
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                                          Exhibit XI
                      Weekly Trading Volume and Turnover of the 7.6% Note
"Turnover measured by average weekly trading of 2% or more of the outstanding shares would justify a strong
presumption that the market for the security is an efficient one; 1% would justify a substantial presumption."
[Cammer v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) at 1293.]


                              Daily                    Weekly                  Notes                 Weekly
                             Volume                    Volume                Outstanding            Turnover


Summary Statistics of Trading Volume and Turnover
 Including All Days in the First and Last Weeks of the Class Period

    Total                4,619,120,250              4,619,120,250
    Average                  4,206,849                 20,170,831             800,000,000               2.5%

    Minimum                      8,000                  1,356,000                                       0.2%
    Median                   2,166,000                 14,368,000                                       1.8%
    Maximum                 89,331,000                174,075,000                                      21.8%

Summary Statistics of Trading Volume and Turnover
 Excluding All Days in the First and Last Weeks of the Class Period

    Total                4,432,441,250              4,432,441,250
    Average                  4,073,935                 19,526,173             800,000,000               2.4%

    Minimum                      8,000                  1,356,000                                       0.2%
    Median                   2,139,000                 14,368,000                                       1.8%
    Maximum                 89,331,000                131,538,000                                      16.4%

Note:
See Appendix K for daily / weekly statistics.
Total traded volume over the Class Period was 4,465,669,250 in par value with average daily volume of 4,089,441
in par value.
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                                           Exhibit XII
                            Trade Frequency for CenturyLink 7.6% Note

                                               2013            2014            2015            2016           2017
Potential Bond Traded Days                      210             250             250             250             132
Actual Traded Days                              210             250             250             250             132
Annualized Actual Traded Days                   252             252             252             252             252

Percent of Actual Traded Days to
Potential Bond Traded Days                    100%            100%            100%            100%            100%

Source:
FINRA TRACE Data.

Notes:
Potential bond traded days is based on stock trading days, less any additional days considered as recommended full
close days by SIFMA (https://www.sifma.org/wp-content/uploads/2017/06/misc-us-historical-holiday-market-
recommendations-sifma.pdf). During the Class Period, SIFMA recommended the following full day close on
which the stock market traded (10/14/2013, 11/11/2013, 10/13/2014, 11/11/2014, 10/12/2015, 11/11/2015,
10/10/2016, and 11/11/2016).
Trading for year 2013 covers trading from 3/1/2013, the start of the Class Period, to 12/31/2013. Trading for year
2017 covers trading from 1/1/2017 to 7/12/2017, the end of the Class Period.
Annualized actual traded days is equal to actual traded days divided by potential bond traded days, multiplied by
252 trading days.
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                                      Exhibit XIII
                   Average Days Elapsed Between Trades for 7.6% Notes
                       as Compared to That from Academic Paper

 Panel A: Average Days Elapsed Between Trades for CenturyLink 7.6% Note

     2013*            2014            2015             2016           2017**
     0.000            0.000           0.000            0.000           0.000



 Panel B: Distribution of Time Elapsed between Trades in Academic Paper
 This table presents the distribution of time elapsed between trades (in days) in dollar-denominated US
 corporate bonds in the State Street Corporation custody trades database during the period from January
 2003 to December 2005. The time elapsed is defined as the number of days between successive trades of
 a given bond. Bonds that trade in a given year are sorted in the order of increasing time elapsed and the
 decile cut-off values are computed. The values shown are the average time elapsed of the bond for the
 given percentile range. For example, the data shows that the median trade had an elapsed time of 13 days
 in 2003 between successive trades and 12 days in 2005. (Mahanti et al., p. 282).


   Percentile         2003             2004            2005
      10                  1                1               1
      20                  2                2               2
      30                  4                4               4
      40                  7                8               8
      50                 13               13              12
      60                 24               23              21
      70                 42               40              39
      80                 82               79              78
      90                184              187             188

 Sources:
 FINRA TRACE Data; Bloomberg; and Sriketani Mahanti, Amrut Nashikkar, Marti Subrahmanyam,
 George Chacko and Gaurav Mallik, "Latent Liquidity: A New Measure of Liquidity, with an Application
 to Corporate Bonds," Journal of Financial Economics, Volume 88, Issue 2, pp. 272–298 (May 2008).

 Notes:
 * For 2013, the average statistics covers 3/1/2013, which is the start of the Class Period, to 12/31/2013.
 ** For 2017, the average statistics cover 1/1/2017 to 7/12/2017, the end of the Class Period.
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                                             Exhibit XIV
                             Market Efficiency Statistics for the 7.6% Note

 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

 3/1/2013     $10,982,692          79            $139,021    98.46            $800,000,000       $787,713,246
 3/4/2013      $3,472,678          54             $64,309    98.88            $800,000,000       $791,042,800
 3/5/2013     $14,099,006         133            $106,008    98.82            $800,000,000       $790,524,569
 3/6/2013      $2,503,791          73             $34,299    99.67            $800,000,000       $797,385,649
 3/7/2013      $2,172,405          62             $35,039    99.20            $800,000,000       $793,572,615
 3/8/2013     $12,564,680          60            $209,411    98.30            $800,000,000       $786,398,370
3/11/2013      $2,876,996          99             $29,061    98.90            $800,000,000       $791,198,554
3/12/2013      $2,456,849          92             $26,705    98.63            $800,000,000       $789,032,145
3/13/2013      $6,492,396         100             $64,924    97.70            $800,000,000       $781,627,814
3/14/2013     $11,018,570          92            $119,767    97.30            $800,000,000       $778,422,444
3/15/2013      $5,782,040          74             $78,136    97.14            $800,000,000       $777,155,866
3/18/2013      $2,698,851          92             $29,335    97.26            $800,000,000       $778,047,119
3/19/2013      $4,186,190          88             $47,570    97.53            $800,000,000       $780,277,746
3/20/2013      $2,554,774          55             $46,450    97.18            $800,000,000       $777,413,050
3/21/2013      $1,888,305          40             $47,208    97.94            $800,000,000       $783,529,232
3/22/2013      $3,286,993          27            $121,740    97.31            $800,000,000       $778,447,022
3/25/2013      $6,223,352          39            $159,573    97.12            $800,000,000       $776,947,759
3/26/2013      $2,367,806          29             $81,648    97.52            $800,000,000       $780,166,590
3/27/2013      $4,387,077          38            $115,449    97.64            $800,000,000       $781,139,857
3/28/2013      $7,185,677          34            $211,343    97.42            $800,000,000       $779,357,625
 4/1/2013      $6,266,718          57            $109,942    97.35            $800,000,000       $778,837,146
 4/2/2013      $2,607,370          51             $51,125    97.54            $800,000,000       $780,357,553
 4/3/2013     $15,252,108          50            $305,042    97.23            $800,000,000       $777,821,535
 4/4/2013      $7,626,888         105             $72,637    97.78            $800,000,000       $782,244,922
 4/5/2013     $28,119,194          68            $413,518    96.89            $800,000,000       $775,113,893
 4/8/2013     $11,280,595          75            $150,408    97.55            $800,000,000       $780,393,952
 4/9/2013      $2,087,487          53             $39,387    98.51            $800,000,000       $788,102,671
4/10/2013     $11,532,360         108            $106,781    99.13            $800,000,000       $793,010,824
4/11/2013     $16,275,574          56            $290,635    99.35            $800,000,000       $794,802,759
4/12/2013      $1,269,557          34             $37,340   100.76            $800,000,000       $806,067,892
4/15/2013     $10,166,334          23            $442,015   100.10            $800,000,000       $800,814,036
4/16/2013      $5,070,630          40            $126,766   100.53            $800,000,000       $804,223,596
4/17/2013      $2,141,980          66             $32,454   101.28            $800,000,000       $810,205,302
4/18/2013     $20,216,080          74            $273,190   100.37            $800,000,000       $802,942,296
4/19/2013      $8,203,458          37            $221,715   100.05            $800,000,000       $800,435,022
4/22/2013      $1,432,622          27             $53,060   100.46            $800,000,000       $803,714,794
4/23/2013      $3,154,581          48             $65,720   100.79            $800,000,000       $806,282,702
4/24/2013     $30,250,390          73            $414,389   101.18            $800,000,000       $809,456,207
4/25/2013     $13,273,425          89            $149,140   101.76            $800,000,000       $814,070,830
4/26/2013      $9,432,879          42            $224,592   101.61            $800,000,000       $812,916,459
4/29/2013     $15,003,336          87            $172,452   102.64            $800,000,000       $821,088,318
4/30/2013     $25,647,775          74            $346,592   103.36            $800,000,000       $826,847,458
 5/1/2013     $11,880,596          95            $125,059   103.65            $800,000,000       $829,216,247
 5/2/2013     $54,736,609          76            $720,219   103.53            $800,000,000       $828,260,177
 5/3/2013      $1,721,662          37             $46,531   104.09            $800,000,000       $832,726,534



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

 5/6/2013      $7,483,918          28            $267,283   104.10            $800,000,000       $832,818,841
 5/7/2013      $4,022,562          58             $69,355   104.62            $800,000,000       $836,943,884
 5/8/2013      $3,334,000          72             $46,306   104.68            $800,000,000       $837,425,529
 5/9/2013     $18,792,384          66            $284,733   105.52            $800,000,000       $844,127,310
5/10/2013     $15,803,714         105            $150,512   105.22            $800,000,000       $841,742,402
5/13/2013      $3,295,494          31            $106,306   104.79            $800,000,000       $838,281,361
5/14/2013      $4,438,796          34            $130,553   104.32            $800,000,000       $834,556,321
5/15/2013      $1,812,163          46             $39,395   103.97            $800,000,000       $831,744,399
5/16/2013      $2,474,026          44             $56,228   104.04            $800,000,000       $832,304,649
5/17/2013      $2,879,909          23            $125,213   103.82            $800,000,000       $830,543,276
5/20/2013      $1,038,316          34             $30,539   104.35            $800,000,000       $834,827,039
5/21/2013      $3,369,280          49             $68,761   103.70            $800,000,000       $829,616,537
5/22/2013      $6,287,875          37            $169,943   103.13            $800,000,000       $825,045,120
5/23/2013     $12,840,480          52            $246,932   101.97            $800,000,000       $815,721,761
5/24/2013        $854,174          19             $44,957   102.30            $800,000,000       $818,370,443
5/28/2013      $1,051,550          34             $30,928   102.49            $800,000,000       $819,922,066
5/29/2013      $1,944,401          43             $45,219   102.39            $800,000,000       $819,126,300
5/30/2013      $1,851,148          53             $34,927   100.55            $800,000,000       $804,409,610
5/31/2013      $3,177,582          40             $79,440   100.18            $800,000,000       $801,407,749
 6/3/2013      $1,336,776          38             $35,178    99.91            $800,000,000       $799,267,934
 6/4/2013     $13,657,171         120            $113,810    98.44            $800,000,000       $787,554,009
 6/5/2013      $6,853,563          99             $69,228    96.99            $800,000,000       $775,948,220
 6/6/2013      $8,936,661          72            $124,120    97.69            $800,000,000       $781,518,232
 6/7/2013      $2,573,410          42             $61,272   100.09            $800,000,000       $800,749,934
6/10/2013      $1,234,378          20             $61,719    99.07            $800,000,000       $792,538,055
6/11/2013      $1,710,252          22             $77,739    98.23            $800,000,000       $785,871,155
6/12/2013      $1,707,485          20             $85,374    98.70            $800,000,000       $789,588,370
6/13/2013      $3,075,413          43             $71,521    98.57            $800,000,000       $788,567,537
6/14/2013        $961,731          25             $38,469    98.84            $800,000,000       $790,734,964
6/17/2013        $926,596          22             $42,118    99.53            $800,000,000       $796,215,467
6/18/2013      $1,485,538          29             $51,225    99.63            $800,000,000       $797,069,194
6/19/2013      $2,180,811          21            $103,848    98.90            $800,000,000       $791,223,782
6/20/2013      $5,279,853          35            $150,853    96.84            $800,000,000       $774,739,941
6/21/2013        $560,378          21             $26,685    97.12            $800,000,000       $776,953,416
6/24/2013        $675,988          18             $37,555    94.68            $800,000,000       $757,409,860
6/25/2013      $1,941,387          65             $29,867    94.38            $800,000,000       $755,036,086
6/26/2013      $6,316,791          42            $150,400    94.56            $800,000,000       $756,501,957
6/27/2013      $2,792,057          27            $103,410    96.15            $800,000,000       $769,161,570
6/28/2013        $828,961          20             $41,448    96.62            $800,000,000       $772,924,289
 7/1/2013      $3,109,485          20            $155,474    95.56            $800,000,000       $764,470,682
 7/2/2013        $839,423          36             $23,317    96.26            $800,000,000       $770,112,541
 7/3/2013        $708,193          12             $59,016    95.83            $800,000,000       $766,650,068
 7/5/2013        $325,793          11             $29,618    94.16            $800,000,000       $753,278,613
 7/8/2013        $452,941          19             $23,839    95.56            $800,000,000       $764,457,300
 7/9/2013      $7,204,149         104             $69,271    94.56            $800,000,000       $756,440,338



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

7/10/2013      $1,724,569          80             $21,557    95.54            $800,000,000       $764,351,867
7/11/2013      $3,988,788          30            $132,960    96.25            $800,000,000       $770,036,264
7/12/2013      $1,293,016          46             $28,109    97.07            $800,000,000       $776,586,186
7/15/2013      $5,423,302          26            $208,589    96.17            $800,000,000       $769,399,119
7/16/2013      $7,915,521          92             $86,038    97.03            $800,000,000       $776,269,329
7/17/2013      $2,477,542          47             $52,714    97.58            $800,000,000       $780,635,554
7/18/2013      $4,234,357          48             $88,216    97.93            $800,000,000       $783,414,862
7/19/2013      $3,750,994          29            $129,345    98.40            $800,000,000       $787,196,988
7/22/2013      $1,191,585          18             $66,199    98.72            $800,000,000       $789,782,966
7/23/2013      $2,294,760          57             $40,259    98.11            $800,000,000       $784,868,645
7/24/2013      $2,304,148          48             $48,003    96.61            $800,000,000       $772,879,715
7/25/2013      $2,803,633          49             $57,217    95.98            $800,000,000       $767,855,744
7/26/2013      $3,134,097          63             $49,748    95.90            $800,000,000       $767,220,832
7/29/2013        $384,809          25             $15,392    95.96            $800,000,000       $767,698,254
7/30/2013        $785,010          28             $28,036    95.97            $800,000,000       $767,735,932
7/31/2013        $572,621          12             $47,718    94.80            $800,000,000       $758,438,874
 8/1/2013      $3,731,258          24            $155,469    94.30            $800,000,000       $754,360,970
 8/2/2013      $3,973,040          16            $248,315    94.55            $800,000,000       $756,409,405
 8/5/2013        $123,854           4             $30,963    93.83            $800,000,000       $750,627,273
 8/6/2013        $993,388          32             $31,043    93.10            $800,000,000       $744,807,970
 8/7/2013        $691,520          21             $32,930    93.07            $800,000,000       $744,570,153
 8/8/2013        $696,223          17             $40,954    93.45            $800,000,000       $747,621,691
 8/9/2013      $1,350,009          19             $71,053    91.59            $800,000,000       $732,704,885
8/12/2013        $629,231          20             $31,462    91.86            $800,000,000       $734,868,847
8/13/2013        $831,410          35             $23,755    90.77            $800,000,000       $726,122,227
8/14/2013      $2,510,803          17            $147,694    90.61            $800,000,000       $724,879,899
8/15/2013        $702,188          21             $33,438    89.79            $800,000,000       $718,351,100
8/16/2013      $1,633,213          24             $68,051    89.64            $800,000,000       $717,107,837
8/19/2013        $534,925          33             $16,210    88.71            $800,000,000       $709,685,506
8/20/2013        $764,248          48             $15,922    89.18            $800,000,000       $713,417,410
8/21/2013      $1,064,802          20             $53,240    87.93            $800,000,000       $703,420,195
8/22/2013        $506,800          13             $38,985    88.91            $800,000,000       $711,297,811
8/23/2013        $918,472          31             $29,628    88.23            $800,000,000       $705,838,040
8/26/2013      $1,746,468          23             $75,933    89.52            $800,000,000       $716,132,281
8/27/2013      $2,558,062          35             $73,087    90.20            $800,000,000       $721,597,084
8/28/2013      $1,055,527          30             $35,184    90.76            $800,000,000       $726,071,814
8/29/2013      $2,496,621          44             $56,741    90.75            $800,000,000       $726,025,686
8/30/2013        $942,747          27             $34,917    91.17            $800,000,000       $729,397,679
 9/3/2013      $1,194,304          32             $37,322    90.55            $800,000,000       $724,369,340
 9/4/2013      $1,964,735          33             $59,537    90.08            $800,000,000       $720,673,086
 9/5/2013        $302,434          20             $15,122    90.55            $800,000,000       $724,392,934
 9/6/2013        $389,423          19             $20,496    90.14            $800,000,000       $721,154,259
 9/9/2013      $3,115,298          22            $141,604    90.12            $800,000,000       $720,925,207
9/10/2013      $1,938,037          26             $74,540    90.10            $800,000,000       $720,794,957
9/11/2013        $897,944          26             $34,536    90.34            $800,000,000       $722,691,268



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  [1]              [2]             [3]             [4]         [5]               [6]                 [7]
             $ Value Traded # of Transactions    Average                     Notes             Market Value of
 Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

 9/12/2013        $966,922          20             $48,346    91.05            $800,000,000       $728,378,230
 9/13/2013        $614,082          13             $47,237    90.44            $800,000,000       $723,512,884
 9/16/2013      $2,578,208          32             $80,569    91.62            $800,000,000       $732,966,036
 9/17/2013        $883,274          42             $21,030    91.25            $800,000,000       $729,978,760
 9/18/2013        $743,537          26             $28,598    91.12            $800,000,000       $728,957,353
 9/19/2013     $19,909,967          49            $406,326    92.39            $800,000,000       $739,151,408
 9/20/2013        $153,242           9             $17,027    94.01            $800,000,000       $752,105,521
 9/23/2013        $331,388          18             $18,410    92.57            $800,000,000       $740,531,777
 9/24/2013        $502,930          18             $27,941    92.45            $800,000,000       $739,603,515
 9/25/2013      $3,000,522          48             $62,511    90.87            $800,000,000       $726,958,755
 9/26/2013        $933,001          22             $42,409    91.83            $800,000,000       $734,646,457
 9/27/2013        $733,893          18             $40,772    90.60            $800,000,000       $724,832,552
 9/30/2013        $772,137          24             $32,172    89.99            $800,000,000       $719,941,166
 10/1/2013      $1,650,778          20             $82,539    89.47            $800,000,000       $715,784,438
 10/2/2013      $1,089,455          26             $41,902    90.64            $800,000,000       $725,095,082
 10/3/2013      $1,216,989          39             $31,205    91.23            $800,000,000       $729,828,606
 10/4/2013      $1,385,989          29             $47,793    91.24            $800,000,000       $729,947,897
 10/7/2013      $1,667,704          28             $59,561    91.28            $800,000,000       $730,247,947
 10/8/2013        $298,544          17             $17,561    90.74            $800,000,000       $725,942,371
 10/9/2013        $758,554          18             $42,142    91.06            $800,000,000       $728,503,433
10/10/2013        $781,885          19             $41,152    92.09            $800,000,000       $736,758,078
10/11/2013      $2,839,244          28            $101,402    90.91            $800,000,000       $727,311,874
10/15/2013        $602,990          28             $21,535    92.63            $800,000,000       $741,001,290
10/16/2013      $3,142,303          35             $89,780    91.64            $800,000,000       $733,112,429
10/17/2013      $1,124,635          44             $25,560    93.49            $800,000,000       $747,886,750
10/18/2013        $682,259          19             $35,908    94.50            $800,000,000       $755,965,429
10/21/2013      $1,631,769          28             $58,277    94.43            $800,000,000       $755,448,723
10/22/2013      $3,440,778          40             $86,019    93.98            $800,000,000       $751,877,203
10/23/2013        $584,827          18             $32,490    93.87            $800,000,000       $750,982,022
10/24/2013      $1,638,587          20             $81,929    94.23            $800,000,000       $753,806,459
10/25/2013        $492,476           8             $61,560    94.16            $800,000,000       $753,309,415
10/28/2013      $1,059,250          21             $50,440    94.16            $800,000,000       $753,244,693
10/29/2013      $6,964,084          38            $183,265    93.88            $800,000,000       $751,047,096
10/30/2013        $630,030          18             $35,002    93.89            $800,000,000       $751,153,800
10/31/2013      $1,504,890          25             $60,196    93.30            $800,000,000       $746,380,454
 11/1/2013      $4,747,464          53             $89,575    94.31            $800,000,000       $754,463,878
 11/4/2013      $1,807,934          28             $64,569    92.71            $800,000,000       $741,716,628
 11/5/2013        $789,298          32             $24,666    93.19            $800,000,000       $745,499,882
 11/6/2013        $732,113          20             $36,606    93.50            $800,000,000       $748,007,867
 11/7/2013      $4,518,081          27            $167,336    92.60            $800,000,000       $740,820,840
 11/8/2013      $2,394,829          24             $99,785    91.62            $800,000,000       $732,923,841
11/12/2013        $514,632          18             $28,591    91.25            $800,000,000       $729,974,003
11/13/2013      $1,212,908          31             $39,126    90.25            $800,000,000       $721,969,311
11/14/2013        $637,468          15             $42,498    90.68            $800,000,000       $725,426,071
11/15/2013        $614,621          22             $27,937    90.79            $800,000,000       $726,287,516



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  [1]              [2]             [3]             [4]         [5]               [6]                 [7]
             $ Value Traded # of Transactions    Average                     Notes             Market Value of
 Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

11/18/2013     $10,139,351          39           $259,983     90.30            $800,000,000       $722,433,238
11/19/2013      $2,729,926          38             $71,840    90.60            $800,000,000       $724,839,349
11/20/2013        $756,301          41             $18,446    91.12            $800,000,000       $728,964,569
11/21/2013      $3,538,105          64             $55,283    90.79            $800,000,000       $726,323,835
11/22/2013      $2,709,171          43             $63,004    90.70            $800,000,000       $725,589,699
11/25/2013      $2,126,672          38             $55,965    91.98            $800,000,000       $735,872,727
11/26/2013      $7,339,543          33           $222,410     90.67            $800,000,000       $725,340,902
11/27/2013      $1,349,115          35             $38,546    90.30            $800,000,000       $722,417,885
11/29/2013        $547,726          18             $30,429    90.53            $800,000,000       $724,265,653
 12/2/2013      $6,651,314          24           $277,138     90.75            $800,000,000       $726,026,912
 12/3/2013        $632,576          18             $35,143    92.21            $800,000,000       $737,697,493
 12/4/2013      $1,328,653          33             $40,262    90.26            $800,000,000       $722,093,977
 12/5/2013      $2,219,620          42             $52,848    89.72            $800,000,000       $717,743,053
 12/6/2013      $1,347,441          33             $40,832    90.07            $800,000,000       $720,556,717
 12/9/2013        $878,596          21             $41,838    90.86            $800,000,000       $726,862,925
12/10/2013      $4,405,351          33           $133,495     90.51            $800,000,000       $724,117,699
12/11/2013      $3,898,603          60             $64,977    90.67            $800,000,000       $725,321,456
12/12/2013        $780,479          25             $31,219    90.33            $800,000,000       $722,665,573
12/13/2013      $7,132,232          17           $419,543     90.01            $800,000,000       $720,063,803
12/16/2013      $3,682,445          17           $216,614     90.23            $800,000,000       $721,871,169
12/17/2013      $3,282,415          30           $109,414     90.28            $800,000,000       $722,203,615
12/18/2013        $971,068          34             $28,561    89.83            $800,000,000       $718,643,898
12/19/2013        $537,425          21             $25,592    90.17            $800,000,000       $721,375,839
12/20/2013      $1,761,931          40             $44,048    90.12            $800,000,000       $720,994,772
12/23/2013      $1,407,337          33             $42,647    89.81            $800,000,000       $718,487,142
12/24/2013        $121,882           5             $24,376    88.96            $800,000,000       $711,718,891
12/26/2013      $1,200,479          40             $30,012    89.92            $800,000,000       $719,388,255
12/27/2013      $1,237,184          31             $39,909    88.88            $800,000,000       $711,025,130
12/30/2013        $724,583          23             $31,504    89.68            $800,000,000       $717,409,010
12/31/2013        $377,950          15             $25,197    89.35            $800,000,000       $714,799,291
  1/2/2014      $1,330,174           9            $147,797    90.49            $800,000,000       $723,904,000
  1/3/2014        $326,712          12             $27,226    90.25            $800,000,000       $722,015,867
  1/6/2014     $21,103,816          21          $1,004,944    89.17            $800,000,000       $713,358,390
  1/7/2014        $352,960          18             $19,609    89.13            $800,000,000       $713,049,838
  1/8/2014        $425,811          24             $17,742    89.83            $800,000,000       $718,668,000
  1/9/2014      $9,159,188          22            $416,327    89.85            $800,000,000       $718,790,482
 1/10/2014      $1,342,115          14             $95,865    89.83            $800,000,000       $718,669,505
 1/13/2014      $1,427,363          19             $75,124    90.40            $800,000,000       $723,173,340
 1/14/2014      $2,222,885          34             $65,379    91.78            $800,000,000       $734,231,204
 1/15/2014      $1,890,538          33             $57,289    90.76            $800,000,000       $726,082,677
 1/16/2014      $1,366,832          35             $39,052    90.04            $800,000,000       $720,332,845
 1/17/2014      $3,977,806          34            $116,994    90.90            $800,000,000       $727,204,082
 1/21/2014      $1,240,171          46             $26,960    90.66            $800,000,000       $725,246,064
 1/22/2014      $1,550,559          29             $53,468    90.94            $800,000,000       $727,535,005
 1/23/2014      $1,608,227          45             $35,738    90.05            $800,000,000       $720,370,405



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

1/24/2014      $1,408,112          20             $70,406    90.03            $800,000,000       $720,261,790
1/27/2014        $413,069          15             $27,538    89.80            $800,000,000       $718,380,000
1/28/2014        $890,550          40             $22,264    89.50            $800,000,000       $716,020,406
1/29/2014        $272,205          20             $13,610    89.84            $800,000,000       $718,692,990
1/30/2014      $3,137,833          50             $62,757    89.99            $800,000,000       $719,892,756
1/31/2014      $2,284,714          14            $163,194    89.49            $800,000,000       $715,930,817
 2/3/2014        $255,355           6             $42,559    89.60            $800,000,000       $716,784,646
 2/4/2014        $842,031          21             $40,097    89.58            $800,000,000       $716,622,485
 2/5/2014        $251,271          15             $16,751    90.06            $800,000,000       $720,490,609
 2/6/2014      $1,307,173          16             $81,698    89.23            $800,000,000       $713,814,471
 2/7/2014      $3,550,482          34            $104,426    90.41            $800,000,000       $723,296,501
2/10/2014        $873,358          24             $36,390    90.79            $800,000,000       $726,285,610
2/11/2014     $30,579,745          68            $449,702    90.17            $800,000,000       $721,326,735
2/12/2014      $1,124,686          40             $28,117    91.29            $800,000,000       $730,315,578
2/13/2014      $6,249,379          28            $223,192    90.52            $800,000,000       $724,145,941
2/14/2014        $767,167          29             $26,454    91.55            $800,000,000       $732,379,236
2/18/2014     $19,203,182          30            $640,106    90.90            $800,000,000       $727,221,099
2/19/2014      $1,759,064          42             $41,882    91.76            $800,000,000       $734,090,454
2/20/2014      $3,353,690          43             $77,993    92.03            $800,000,000       $736,265,666
2/21/2014      $2,036,897          30             $67,897    93.09            $800,000,000       $744,752,075
2/24/2014      $4,646,179          47             $98,855    93.37            $800,000,000       $746,974,084
2/25/2014      $3,378,041          37             $91,298    94.12            $800,000,000       $752,976,622
2/26/2014      $1,437,359          18             $79,853    94.56            $800,000,000       $756,504,681
2/27/2014      $2,720,153          25            $108,806    94.91            $800,000,000       $759,288,930
2/28/2014      $2,235,328          25             $89,413    94.96            $800,000,000       $759,669,672
 3/3/2014     $12,401,956          57            $217,578    94.58            $800,000,000       $756,678,242
 3/4/2014      $4,370,349          31            $140,979    94.99            $800,000,000       $759,895,431
 3/5/2014      $9,409,236          44            $213,846    95.17            $800,000,000       $761,342,009
 3/6/2014      $3,941,951          42             $93,856    95.24            $800,000,000       $761,913,670
 3/7/2014        $534,574          17             $31,446    95.29            $800,000,000       $762,315,304
3/10/2014        $930,224          19             $48,959    94.92            $800,000,000       $759,366,824
3/11/2014      $2,182,765          24             $90,949    95.03            $800,000,000       $760,214,210
3/12/2014      $2,288,479          28             $81,731    95.23            $800,000,000       $761,874,144
3/13/2014      $1,186,103          23             $51,570    94.96            $800,000,000       $759,713,697
3/14/2014      $1,701,142          16            $106,321    95.04            $800,000,000       $760,286,793
3/17/2014      $1,575,341          17             $92,667    94.56            $800,000,000       $756,466,199
3/18/2014      $2,210,638          40             $55,266    95.33            $800,000,000       $762,617,628
3/19/2014      $4,273,224          36            $118,701    95.47            $800,000,000       $763,757,592
3/20/2014      $1,151,236          29             $39,698    96.04            $800,000,000       $768,291,023
3/21/2014        $610,252          17             $35,897    95.65            $800,000,000       $765,206,771
3/24/2014      $1,919,261          16            $119,954    95.06            $800,000,000       $760,479,929
3/25/2014        $778,164          25             $31,127    95.36            $800,000,000       $762,906,127
3/26/2014      $1,023,763          32             $31,993    96.04            $800,000,000       $768,302,176
3/27/2014      $1,510,929          36             $41,970    96.18            $800,000,000       $769,410,108
3/28/2014      $3,823,202          23            $166,226    95.32            $800,000,000       $762,543,493



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

3/31/2014      $2,961,055          23            $128,742    95.21            $800,000,000       $761,686,175
 4/1/2014      $1,405,169          33             $42,581    96.38            $800,000,000       $771,011,907
 4/2/2014      $8,182,633          58            $141,080    95.44            $800,000,000       $763,483,387
 4/3/2014      $8,339,262          40            $208,482    95.90            $800,000,000       $767,181,460
 4/4/2014      $1,590,802          20             $79,540    95.60            $800,000,000       $764,808,748
 4/7/2014      $2,336,530          22            $106,206    96.07            $800,000,000       $768,595,478
 4/8/2014      $2,919,110          20            $145,956    95.87            $800,000,000       $766,925,508
 4/9/2014      $1,532,163          35             $43,776    96.24            $800,000,000       $769,931,126
4/10/2014      $2,962,914          35             $84,655    96.89            $800,000,000       $775,124,683
4/11/2014      $3,651,080          40             $91,277    97.10            $800,000,000       $776,825,591
4/14/2014      $5,747,947          55            $104,508    96.88            $800,000,000       $775,047,625
4/15/2014      $2,398,052          32             $74,939    97.17            $800,000,000       $777,326,481
4/16/2014      $2,450,088          46             $53,263    97.19            $800,000,000       $777,497,057
4/17/2014        $469,072          10             $46,907    97.32            $800,000,000       $778,542,971
4/21/2014      $1,541,923          39             $39,536    97.34            $800,000,000       $778,749,178
4/22/2014      $2,309,715          51             $45,289    98.20            $800,000,000       $785,617,296
4/23/2014      $1,941,185          44             $44,118    98.29            $800,000,000       $786,302,975
4/24/2014      $2,153,128          45             $47,847    98.50            $800,000,000       $787,969,962
4/25/2014        $703,327          27             $26,049    98.37            $800,000,000       $786,938,853
4/28/2014     $16,914,831          70            $241,640    98.28            $800,000,000       $786,279,198
4/29/2014      $1,901,829          23             $82,688    98.08            $800,000,000       $784,663,979
4/30/2014     $11,079,699          46            $240,863    98.27            $800,000,000       $786,142,754
 5/1/2014      $2,560,662          71             $36,066    98.34            $800,000,000       $786,685,687
 5/2/2014      $2,030,583          50             $40,612    99.05            $800,000,000       $792,422,790
 5/5/2014      $3,976,429          39            $101,960    98.99            $800,000,000       $791,920,219
 5/6/2014      $4,980,378          52             $95,776    99.23            $800,000,000       $793,843,802
 5/7/2014      $6,565,255          57            $115,180    99.34            $800,000,000       $794,704,821
 5/8/2014      $2,554,664          27             $94,617    99.83            $800,000,000       $798,644,486
 5/9/2014      $2,709,276          43             $63,006    99.79            $800,000,000       $798,313,464
5/12/2014      $3,203,126          33             $97,064   100.00            $800,000,000       $800,031,371
5/13/2014      $4,964,331          47            $105,624   100.29            $800,000,000       $802,316,121
5/14/2014      $1,569,640          37             $42,423   100.49            $800,000,000       $803,912,988
5/15/2014      $3,242,501          57             $56,886    99.86            $800,000,000       $798,891,570
5/16/2014      $1,145,667          43             $26,643   100.50            $800,000,000       $803,976,851
5/19/2014      $5,175,689          63             $82,154    99.92            $800,000,000       $799,334,131
5/20/2014      $3,304,087          69             $47,885    99.70            $800,000,000       $797,606,914
5/21/2014      $2,288,752          48             $47,682    99.60            $800,000,000       $796,780,654
5/22/2014     $17,043,397          33            $516,467    99.56            $800,000,000       $796,513,490
5/23/2014        $755,938          32             $23,623    99.20            $800,000,000       $793,636,039
5/27/2014        $700,106          28             $25,004    99.87            $800,000,000       $798,979,949
5/28/2014      $3,059,992          40             $76,500    99.97            $800,000,000       $799,736,434
5/29/2014      $2,738,553          22            $124,480   100.53            $800,000,000       $804,274,038
5/30/2014      $2,209,543          32             $69,048   100.85            $800,000,000       $806,770,541
 6/2/2014      $1,895,680          26             $72,911   100.89            $800,000,000       $807,101,624
 6/3/2014     $15,668,018          52            $301,308   101.12            $800,000,000       $808,932,835



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

 6/4/2014      $1,044,262          34             $30,714   100.70            $800,000,000       $805,602,276
 6/5/2014      $2,577,829          42             $61,377   100.97            $800,000,000       $807,780,258
 6/6/2014      $6,599,193          67             $98,495   102.17            $800,000,000       $817,364,063
 6/9/2014      $1,961,500          33             $59,439   102.06            $800,000,000       $816,441,186
6/10/2014      $2,176,606          38             $57,279   101.90            $800,000,000       $815,208,348
6/11/2014      $1,000,458          26             $38,479   101.88            $800,000,000       $815,036,855
6/12/2014      $1,663,617          27             $61,615   101.87            $800,000,000       $814,998,947
6/13/2014      $1,328,417          28             $47,443   102.26            $800,000,000       $818,116,859
6/16/2014      $2,216,284          23             $96,360   101.80            $800,000,000       $814,436,119
6/17/2014      $1,734,149          45             $38,537   102.13            $800,000,000       $817,031,190
6/18/2014        $330,167          12             $27,514   101.59            $800,000,000       $812,719,409
6/19/2014      $2,698,187          12            $224,849   101.86            $800,000,000       $814,854,572
6/20/2014      $7,154,114          25            $286,165   101.62            $800,000,000       $812,967,466
6/23/2014      $1,499,060          24             $62,461   101.63            $800,000,000       $813,049,356
6/24/2014        $536,572          18             $29,810   102.01            $800,000,000       $816,079,468
6/25/2014      $7,123,986          42            $169,619   101.16            $800,000,000       $809,313,951
6/26/2014     $32,889,369          21          $1,566,160   100.80            $800,000,000       $806,408,459
6/27/2014     $29,151,470          44            $662,533   100.65            $800,000,000       $805,178,002
6/30/2014        $938,183          32             $29,318   100.45            $800,000,000       $803,582,612
 7/1/2014        $531,148          26             $20,429   100.60            $800,000,000       $804,769,485
 7/2/2014      $3,219,189          24            $134,133   100.13            $800,000,000       $801,042,414
 7/3/2014        $679,645          12             $56,637   101.29            $800,000,000       $810,306,408
 7/7/2014      $1,469,354          42             $34,985   101.06            $800,000,000       $808,447,956
 7/8/2014        $773,879          22             $35,176   100.24            $800,000,000       $801,946,632
 7/9/2014      $1,337,614          22             $60,801   100.27            $800,000,000       $802,167,032
7/10/2014      $3,297,502          41             $80,427    99.83            $800,000,000       $798,668,292
7/11/2014        $448,015          19             $23,580   101.59            $800,000,000       $812,726,349
7/14/2014      $2,121,843          23             $92,254    99.90            $800,000,000       $799,187,439
7/15/2014      $4,041,875          36            $112,274    99.26            $800,000,000       $794,081,464
7/16/2014        $735,778          25             $29,431    99.70            $800,000,000       $797,591,274
7/17/2014      $3,564,734          41             $86,945   100.08            $800,000,000       $800,613,970
7/18/2014      $2,617,414          24            $109,059    99.03            $800,000,000       $792,255,528
7/21/2014      $4,282,708          29            $147,680    98.73            $800,000,000       $789,803,294
7/22/2014      $1,465,064          33             $44,396    98.99            $800,000,000       $791,926,270
7/23/2014        $676,929          27             $25,071    99.40            $800,000,000       $795,217,680
7/24/2014        $954,926          31             $30,804    99.37            $800,000,000       $794,943,201
7/25/2014      $3,237,348          34             $95,216    99.21            $800,000,000       $793,710,775
7/28/2014      $1,553,710          35             $44,392    99.98            $800,000,000       $799,850,631
7/29/2014     $12,376,175          41            $301,858   101.28            $800,000,000       $810,224,221
7/30/2014      $2,482,174          32             $77,568   100.86            $800,000,000       $806,883,166
7/31/2014      $1,252,086          30             $41,736    99.37            $800,000,000       $794,975,060
 8/1/2014      $3,540,748          22            $160,943    99.01            $800,000,000       $792,113,611
 8/4/2014      $1,681,755          32             $52,555    99.34            $800,000,000       $794,686,219
 8/5/2014      $3,465,647          27            $128,357    99.90            $800,000,000       $799,226,717
 8/6/2014      $1,688,245          34             $49,654    99.60            $800,000,000       $796,811,988



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

 8/7/2014        $743,036          26             $28,578   100.00            $800,000,000       $800,038,385
 8/8/2014        $906,306          22             $41,196   100.37            $800,000,000       $802,929,302
8/11/2014        $520,372          16             $32,523    99.88            $800,000,000       $799,035,363
8/12/2014      $2,023,058          32             $63,221   100.60            $800,000,000       $804,796,917
8/13/2014      $2,557,561          43             $59,478   100.26            $800,000,000       $802,057,391
8/14/2014      $2,947,956          31             $95,095   101.90            $800,000,000       $815,196,827
8/15/2014      $6,976,046          31            $225,034   102.21            $800,000,000       $817,705,049
8/18/2014      $2,047,191          33             $62,036   102.00            $800,000,000       $816,020,209
8/19/2014        $882,881          37             $23,862   101.95            $800,000,000       $815,594,248
8/20/2014      $8,253,770          47            $175,612   102.24            $800,000,000       $817,913,569
8/21/2014      $7,109,842          20            $355,492   102.36            $800,000,000       $818,870,340
8/22/2014      $3,521,162          20            $176,058   102.27            $800,000,000       $818,161,324
8/25/2014      $2,661,203          29             $91,766   103.23            $800,000,000       $825,819,271
8/26/2014      $4,387,628          49             $89,543   101.68            $800,000,000       $813,465,294
8/27/2014      $7,008,686          58            $120,839   102.39            $800,000,000       $819,130,576
8/28/2014      $2,247,540          36             $62,432   102.25            $800,000,000       $818,030,810
8/29/2014        $863,593          29             $29,779   102.20            $800,000,000       $817,602,746
 9/2/2014      $5,678,177          33            $172,066   101.94            $800,000,000       $815,537,153
 9/3/2014        $763,534          23             $33,197   102.76            $800,000,000       $822,108,964
 9/4/2014      $1,268,773          27             $46,992   101.26            $800,000,000       $810,070,391
 9/5/2014        $255,064          11             $23,188   101.22            $800,000,000       $809,727,651
 9/8/2014        $546,009          14             $39,001   100.74            $800,000,000       $805,917,554
 9/9/2014      $3,543,313          33            $107,373    99.98            $800,000,000       $799,844,870
9/10/2014      $2,335,428          34             $68,689    98.00            $800,000,000       $784,029,526
9/11/2014        $372,559          13             $28,658   100.15            $800,000,000       $801,201,140
9/12/2014      $7,079,666          29            $244,126    99.13            $800,000,000       $793,017,701
9/15/2014        $306,225          10             $30,622    98.46            $800,000,000       $787,716,270
9/16/2014      $7,965,615          29            $274,676    98.24            $800,000,000       $785,951,142
9/17/2014        $903,641          25             $36,146    99.08            $800,000,000       $792,667,886
9/18/2014     $24,889,462          30            $829,649    99.68            $800,000,000       $797,419,679
9/19/2014        $911,813          24             $37,992    99.54            $800,000,000       $796,342,795
9/22/2014        $373,178          19             $19,641    98.46            $800,000,000       $787,709,763
9/23/2014      $1,351,415          15             $90,094   100.93            $800,000,000       $807,417,382
9/24/2014        $890,168          15             $59,345    99.79            $800,000,000       $798,356,972
9/25/2014      $1,131,461          26             $43,518    99.78            $800,000,000       $798,208,818
9/26/2014        $324,618          16             $20,289    99.58            $800,000,000       $796,608,447
9/29/2014        $989,870          26             $38,072    98.69            $800,000,000       $789,527,242
9/30/2014      $1,665,060          35             $47,573    99.82            $800,000,000       $798,589,799
10/1/2014      $5,953,335          28            $212,619    99.17            $800,000,000       $793,381,307
10/2/2014      $1,349,000          29             $46,517    99.34            $800,000,000       $794,698,162
10/3/2014        $708,806          14             $50,629    99.55            $800,000,000       $796,410,899
10/6/2014        $743,713          17             $43,748   100.50            $800,000,000       $804,013,622
10/7/2014      $1,509,394          22             $68,609    99.76            $800,000,000       $798,093,166
10/8/2014        $750,871          16             $46,929   100.12            $800,000,000       $800,929,057
10/9/2014        $780,930          18             $43,385    99.35            $800,000,000       $794,839,501



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  [1]              [2]             [3]             [4]         [5]               [6]                 [7]
             $ Value Traded # of Transactions    Average                     Notes             Market Value of
 Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

10/10/2014        $688,362          21             $32,779    99.62            $800,000,000       $796,945,787
10/14/2014      $4,426,804          15            $295,120    98.13            $800,000,000       $785,068,343
10/15/2014        $329,775          17             $19,399    98.44            $800,000,000       $787,523,343
10/16/2014        $286,937          19             $15,102    98.27            $800,000,000       $786,127,707
10/17/2014        $491,748          18             $27,319    99.75            $800,000,000       $797,967,838
10/20/2014        $500,741          20             $25,037    99.95            $800,000,000       $799,586,501
10/21/2014        $840,244          19             $44,223   100.27            $800,000,000       $802,142,625
10/22/2014        $843,489          14             $60,249   101.63            $800,000,000       $813,001,457
10/23/2014     $10,864,123          29            $374,625   100.48            $800,000,000       $803,856,711
10/24/2014     $10,305,109          24            $429,380   101.15            $800,000,000       $809,195,854
10/27/2014      $1,249,246          22             $56,784   100.42            $800,000,000       $803,373,826
10/28/2014        $590,554          11             $53,687   100.78            $800,000,000       $806,216,382
10/29/2014      $1,781,320          20             $89,066   100.70            $800,000,000       $805,571,532
10/30/2014        $761,054          20             $38,053   101.20            $800,000,000       $809,631,968
10/31/2014        $637,743          13             $49,057   101.23            $800,000,000       $809,832,305
 11/3/2014        $370,220          22             $16,828   100.88            $800,000,000       $807,019,292
 11/4/2014      $1,303,568          25             $52,143   101.37            $800,000,000       $810,928,624
 11/5/2014      $2,441,082          41             $59,539   102.18            $800,000,000       $817,440,759
 11/6/2014      $1,229,707          18             $68,317   101.97            $800,000,000       $815,726,089
 11/7/2014      $3,018,056          24            $125,752   101.45            $800,000,000       $811,578,071
11/10/2014      $1,116,659          27             $41,358   102.35            $800,000,000       $818,815,362
11/12/2014      $1,328,973          41             $32,414   101.60            $800,000,000       $812,827,547
11/13/2014        $596,307          17             $35,077   102.46            $800,000,000       $819,666,254
11/14/2014      $1,602,891          33             $48,572   102.09            $800,000,000       $816,759,628
11/17/2014      $1,056,813          12             $88,068   100.94            $800,000,000       $807,498,170
11/18/2014        $856,288          23             $37,230   100.15            $800,000,000       $801,205,279
11/19/2014      $2,047,587          37             $55,340   100.08            $800,000,000       $800,620,390
11/20/2014        $403,252          10             $40,325   100.56            $800,000,000       $804,492,536
11/21/2014        $178,838           7             $25,548   101.04            $800,000,000       $808,308,971
11/24/2014        $364,627          16             $22,789   100.17            $800,000,000       $801,377,407
11/25/2014        $726,600          13             $55,892   100.50            $800,000,000       $803,983,712
11/26/2014        $310,207           9             $34,467   100.07            $800,000,000       $800,534,354
 12/1/2014      $2,722,139          11            $247,467   100.34            $800,000,000       $802,694,994
 12/2/2014        $341,688          17             $20,099   100.50            $800,000,000       $803,971,031
 12/3/2014        $294,942          14             $21,067    99.98            $800,000,000       $799,843,119
 12/4/2014        $569,146          16             $35,572    99.85            $800,000,000       $798,800,842
 12/5/2014        $157,791           6             $26,299    99.24            $800,000,000       $793,918,994
 12/8/2014        $124,142           5             $24,828    99.31            $800,000,000       $794,506,880
 12/9/2014      $1,408,939          25             $56,358    99.08            $800,000,000       $792,651,861
12/10/2014      $3,459,829          25            $138,393    97.60            $800,000,000       $780,779,441
12/11/2014      $2,708,531          18            $150,474    97.36            $800,000,000       $778,872,926
12/12/2014        $488,220          15             $32,548    95.92            $800,000,000       $767,339,415
12/15/2014        $997,736          18             $55,430    94.75            $800,000,000       $758,014,207
12/16/2014      $3,302,204          12            $275,184    95.30            $800,000,000       $762,413,622
12/17/2014        $419,504          12             $34,959    94.91            $800,000,000       $759,282,715



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  [1]              [2]             [3]             [4]         [5]               [6]                 [7]
             $ Value Traded # of Transactions    Average                     Notes             Market Value of
 Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

12/18/2014        $991,465          13             $76,267    97.20            $800,000,000       $777,619,608
12/19/2014      $3,808,661          15            $253,911    98.82            $800,000,000       $790,588,749
12/22/2014        $912,549          15             $60,837    98.34            $800,000,000       $786,680,246
12/23/2014        $637,821          20             $31,891    98.89            $800,000,000       $791,095,628
12/24/2014        $664,409          16             $41,526    99.02            $800,000,000       $792,141,520
12/26/2014        $436,290          19             $22,963    99.16            $800,000,000       $793,255,000
12/29/2014        $864,187          16             $54,012    99.10            $800,000,000       $792,832,517
12/30/2014        $128,925          12             $10,744   100.72            $800,000,000       $805,778,250
12/31/2014        $102,605           6             $17,101    98.66            $800,000,000       $789,269,231
  1/2/2015        $201,852          11             $18,350    98.95            $800,000,000       $791,574,510
  1/5/2015        $424,665          14             $30,333    99.22            $800,000,000       $793,766,467
  1/6/2015      $3,973,876          22            $180,631    98.71            $800,000,000       $789,642,460
  1/7/2015        $195,306           7             $27,901    97.65            $800,000,000       $781,223,552
  1/8/2015      $2,749,844          27            $101,846    99.16            $800,000,000       $793,319,505
  1/9/2015      $5,742,407          18            $319,023    99.44            $800,000,000       $795,484,907
 1/12/2015        $674,915          15             $44,994    99.99            $800,000,000       $799,899,828
 1/13/2015      $1,518,195          20             $75,910    98.71            $800,000,000       $789,698,560
 1/14/2015     $13,589,460          20            $679,473    99.19            $800,000,000       $793,545,084
 1/15/2015      $5,145,416          17            $302,672    99.27            $800,000,000       $794,198,847
 1/16/2015        $375,006          13             $28,847    98.43            $800,000,000       $787,414,430
 1/20/2015        $489,621          16             $30,601    98.91            $800,000,000       $791,306,586
 1/21/2015      $1,744,888          19             $91,836    98.97            $800,000,000       $791,781,418
 1/22/2015        $306,700          22             $13,941    99.58            $800,000,000       $796,623,117
 1/23/2015     $16,443,673          17            $967,275    99.39            $800,000,000       $795,100,514
 1/26/2015        $754,936          13             $58,072    99.60            $800,000,000       $796,765,699
 1/27/2015      $1,659,697          13            $127,669   100.95            $800,000,000       $807,638,331
 1/28/2015      $4,943,221          55             $89,877   100.92            $800,000,000       $807,385,999
 1/29/2015     $29,456,010          90            $327,289   100.97            $800,000,000       $807,733,178
 1/30/2015     $13,525,398          82            $164,944   101.58            $800,000,000       $812,641,249
  2/2/2015     $14,925,739          70            $213,225   101.50            $800,000,000       $812,008,937
  2/3/2015      $1,441,203          31             $46,490   102.36            $800,000,000       $818,865,603
  2/4/2015        $601,226          17             $35,366   101.05            $800,000,000       $808,371,380
  2/5/2015      $2,112,049          20            $105,602   101.69            $800,000,000       $813,499,717
  2/6/2015      $1,301,388          17             $76,552   102.31            $800,000,000       $818,482,804
  2/9/2015      $2,720,126          42             $64,765   102.57            $800,000,000       $820,550,715
 2/10/2015      $3,412,223          38             $89,795   102.96            $800,000,000       $823,711,157
 2/11/2015     $10,657,966          28            $380,642   102.82            $800,000,000       $822,532,623
 2/12/2015      $2,802,062          31             $90,389   102.64            $800,000,000       $821,116,947
 2/13/2015      $1,259,907          30             $41,997   102.02            $800,000,000       $816,134,235
 2/17/2015     $43,314,137          53            $817,248   102.35            $800,000,000       $818,812,110
 2/18/2015      $1,231,325          30             $41,044   102.10            $800,000,000       $816,799,098
 2/19/2015        $671,028          33             $20,334   103.24            $800,000,000       $825,880,384
 2/20/2015     $22,647,103          27            $838,782   103.10            $800,000,000       $824,768,164
 2/23/2015      $4,787,167          20            $239,358   102.84            $800,000,000       $822,713,919
 2/24/2015      $9,635,670          50            $192,713   102.90            $800,000,000       $823,209,766



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

2/25/2015      $1,937,341          26             $74,513   102.78            $800,000,000       $822,213,751
2/26/2015        $771,370          12             $64,281   103.96            $800,000,000       $831,666,092
2/27/2015        $430,132          11             $39,103   102.90            $800,000,000       $823,219,024
 3/2/2015      $3,758,087          35            $107,374   103.90            $800,000,000       $831,205,375
 3/3/2015      $1,492,976          18             $82,943   103.03            $800,000,000       $824,279,259
 3/4/2015     $14,829,911           8          $1,853,739   102.87            $800,000,000       $822,969,524
 3/5/2015      $1,256,610          18             $69,812   103.25            $800,000,000       $826,037,929
 3/6/2015      $6,014,844          26            $231,340   101.67            $800,000,000       $813,366,342
 3/9/2015        $581,711          21             $27,701   101.52            $800,000,000       $812,161,536
3/10/2015      $5,079,269          21            $241,870   100.14            $800,000,000       $801,146,464
3/11/2015      $2,219,180          20            $110,959   100.46            $800,000,000       $803,686,557
3/12/2015        $599,426          33             $18,164   101.43            $800,000,000       $811,405,090
3/13/2015        $831,373          20             $41,569   100.04            $800,000,000       $800,359,374
3/16/2015      $3,754,164          32            $117,318   100.84            $800,000,000       $806,696,428
3/17/2015        $336,782          15             $22,452   100.83            $800,000,000       $806,662,557
3/18/2015        $804,200          16             $50,263   101.28            $800,000,000       $810,277,267
3/19/2015         $70,270           3             $23,423   101.84            $800,000,000       $814,721,391
3/20/2015      $2,472,715          14            $176,622   101.01            $800,000,000       $808,076,714
3/23/2015      $5,355,236           9            $595,026   101.14            $800,000,000       $809,100,745
3/24/2015        $466,858          23             $20,298   100.62            $800,000,000       $804,928,422
3/25/2015      $2,489,765          12            $207,480   101.96            $800,000,000       $815,647,862
3/26/2015      $4,315,798          18            $239,767   101.67            $800,000,000       $813,342,354
3/27/2015      $3,090,348          17            $181,785   101.82            $800,000,000       $814,589,364
3/30/2015      $3,488,710          22            $158,578   102.79            $800,000,000       $822,324,118
3/31/2015      $7,103,218          62            $114,568   102.69            $800,000,000       $821,537,462
 4/1/2015     $11,133,958          20            $556,698   103.20            $800,000,000       $825,578,506
 4/2/2015         $96,063           8             $12,008   103.29            $800,000,000       $826,350,968
 4/6/2015        $746,872          27             $27,662   103.73            $800,000,000       $829,857,339
 4/7/2015        $795,787          14             $56,842   102.68            $800,000,000       $821,458,017
 4/8/2015      $2,642,740          23            $114,902   103.19            $800,000,000       $825,533,885
 4/9/2015        $568,260          15             $37,884   102.95            $800,000,000       $823,565,935
4/10/2015      $2,797,903          24            $116,579   102.75            $800,000,000       $822,006,154
4/13/2015        $271,241          11             $24,658   103.13            $800,000,000       $825,068,368
4/14/2015        $441,631          19             $23,244   101.99            $800,000,000       $815,945,866
4/15/2015      $2,011,998          33             $60,970   102.81            $800,000,000       $822,482,637
4/16/2015        $461,203          20             $23,060   102.72            $800,000,000       $821,742,825
4/17/2015        $837,031          15             $55,802   103.46            $800,000,000       $827,718,892
4/20/2015        $428,312          14             $30,594   102.22            $800,000,000       $817,778,751
4/21/2015        $164,809           5             $32,962   103.01            $800,000,000       $824,044,375
4/22/2015      $6,233,706          60            $103,895   101.69            $800,000,000       $813,534,219
4/23/2015        $589,050          12             $49,088   101.21            $800,000,000       $809,690,790
4/24/2015      $4,643,787          16            $290,237   101.13            $800,000,000       $809,022,132
4/27/2015        $542,055          21             $25,812   102.08            $800,000,000       $816,655,367
4/28/2015      $1,886,211          19             $99,274   100.81            $800,000,000       $806,503,808
4/29/2015        $342,452          13             $26,342   101.32            $800,000,000       $810,538,106



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

4/30/2015        $759,873          18             $42,215   100.65            $800,000,000       $805,163,136
 5/1/2015      $1,321,716          24             $55,071   100.74            $800,000,000       $805,924,328
 5/4/2015      $1,759,400          39             $45,113   100.25            $800,000,000       $802,005,516
 5/5/2015        $659,052          14             $47,075   100.93            $800,000,000       $807,414,726
 5/6/2015        $813,900          19             $42,837    99.26            $800,000,000       $794,049,127
 5/7/2015      $2,015,480          24             $83,978    99.19            $800,000,000       $793,496,063
 5/8/2015        $571,328          14             $40,809    99.71            $800,000,000       $797,665,690
5/11/2015        $833,701          12             $69,475    99.49            $800,000,000       $795,895,543
5/12/2015      $1,135,432          37             $30,687    98.99            $800,000,000       $791,931,643
5/13/2015      $7,073,745          42            $168,423    99.73            $800,000,000       $797,828,306
5/14/2015        $621,675          13             $47,821    99.79            $800,000,000       $798,298,427
5/15/2015        $452,918          18             $25,162    99.32            $800,000,000       $794,592,158
5/18/2015        $446,374          12             $37,198    99.86            $800,000,000       $798,880,072
5/19/2015      $1,391,843          21             $66,278    98.43            $800,000,000       $787,463,960
5/20/2015      $6,263,610          96             $65,246    97.41            $800,000,000       $779,298,252
5/21/2015        $864,839          27             $32,031    97.94            $800,000,000       $783,546,072
5/22/2015        $233,086          11             $21,190    98.77            $800,000,000       $790,120,339
5/26/2015        $489,338          28             $17,476    97.48            $800,000,000       $779,822,139
5/27/2015      $5,454,607          33            $165,291    97.11            $800,000,000       $776,871,198
5/28/2015        $899,371          34             $26,452    97.86            $800,000,000       $782,912,338
5/29/2015      $4,403,084          25            $176,123    97.56            $800,000,000       $780,515,582
 6/1/2015      $1,861,648          13            $143,204    98.34            $800,000,000       $786,750,512
 6/2/2015        $727,952          12             $60,663    97.97            $800,000,000       $783,798,022
 6/3/2015      $1,019,163          53             $19,229    96.51            $800,000,000       $772,092,988
 6/4/2015        $331,136          18             $18,396    96.82            $800,000,000       $774,587,018
 6/5/2015        $777,264          17             $45,721    96.32            $800,000,000       $770,521,864
 6/8/2015      $1,623,386          42             $38,652    95.44            $800,000,000       $763,497,392
 6/9/2015        $638,006          32             $19,938    95.08            $800,000,000       $760,663,014
6/10/2015      $6,495,159          30            $216,505    94.74            $800,000,000       $757,894,921
6/11/2015      $3,573,052          14            $255,218    94.23            $800,000,000       $753,808,541
6/12/2015         $85,908           6             $14,318    95.45            $800,000,000       $763,627,673
6/15/2015        $408,907          20             $20,445    94.44            $800,000,000       $755,486,561
6/16/2015      $1,697,116          38             $44,661    93.30            $800,000,000       $746,395,207
6/17/2015      $9,815,519          44            $223,080    93.18            $800,000,000       $745,435,265
6/18/2015     $13,305,243          38            $350,138    93.25            $800,000,000       $745,966,364
6/19/2015        $976,251          19             $51,382    93.78            $800,000,000       $750,240,634
6/22/2015      $3,815,906          28            $136,282    93.46            $800,000,000       $747,667,193
6/23/2015        $523,262          11             $47,569    94.28            $800,000,000       $754,251,620
6/24/2015      $1,077,089          27             $39,892    94.56            $800,000,000       $756,515,361
6/25/2015      $1,236,898          31             $39,900    93.28            $800,000,000       $746,243,401
6/26/2015      $2,152,424          19            $113,285    91.79            $800,000,000       $734,302,502
6/29/2015      $1,330,390          42             $31,676    91.75            $800,000,000       $734,008,141
6/30/2015      $2,958,581          46             $64,317    92.00            $800,000,000       $735,965,406
 7/1/2015        $931,081          10             $93,108    91.37            $800,000,000       $730,976,565
 7/2/2015        $303,054          17             $17,827    91.83            $800,000,000       $734,676,721



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

 7/6/2015        $756,238          22             $34,374    92.00            $800,000,000       $735,998,336
 7/7/2015      $2,242,994          16            $140,187    91.33            $800,000,000       $730,616,857
 7/8/2015        $127,735           9             $14,193    91.24            $800,000,000       $729,916,286
 7/9/2015        $258,234          13             $19,864    91.90            $800,000,000       $735,185,204
7/10/2015      $2,420,720          16            $151,295    91.00            $800,000,000       $728,036,162
7/13/2015        $337,522           9             $37,502    91.22            $800,000,000       $729,777,297
7/14/2015        $380,401          10             $38,040    91.66            $800,000,000       $733,303,227
7/15/2015        $718,237          22             $32,647    91.85            $800,000,000       $734,768,813
7/16/2015      $1,835,545          55             $33,374    92.24            $800,000,000       $737,907,646
7/17/2015        $719,460          21             $34,260    92.83            $800,000,000       $742,668,466
7/20/2015      $4,493,773          36            $124,827    91.37            $800,000,000       $730,991,982
7/21/2015        $641,984          21             $30,571    91.32            $800,000,000       $730,565,099
7/22/2015        $673,080          11             $61,189    89.74            $800,000,000       $717,951,893
7/23/2015        $971,636          24             $40,485    90.47            $800,000,000       $723,751,252
7/24/2015        $948,193          22             $43,100    89.20            $800,000,000       $713,597,508
7/27/2015        $384,198          13             $29,554    88.73            $800,000,000       $709,833,971
7/28/2015      $3,792,701          26            $145,873    88.59            $800,000,000       $708,750,421
7/29/2015      $5,425,856          63             $86,125    89.64            $800,000,000       $717,112,994
7/30/2015        $921,712          24             $38,405    90.54            $800,000,000       $724,331,993
7/31/2015        $694,967          32             $21,718    89.79            $800,000,000       $718,312,014
 8/3/2015        $140,112           6             $23,352    89.82            $800,000,000       $718,524,841
 8/4/2015      $2,319,223          11            $210,838    89.68            $800,000,000       $717,470,293
 8/5/2015        $177,706          13             $13,670    90.21            $800,000,000       $721,649,178
 8/6/2015        $773,545          37             $20,907    87.31            $800,000,000       $698,460,165
 8/7/2015        $265,299          17             $15,606    85.31            $800,000,000       $682,441,543
8/10/2015        $740,439          34             $21,778    84.24            $800,000,000       $673,891,914
8/11/2015        $472,776          14             $33,770    84.42            $800,000,000       $675,393,839
8/12/2015      $5,455,103          44            $123,980    84.02            $800,000,000       $672,121,124
8/13/2015        $879,236          30             $29,308    84.62            $800,000,000       $676,986,122
8/14/2015        $510,415          32             $15,950    85.21            $800,000,000       $681,688,857
8/17/2015      $4,141,412          26            $159,285    85.23            $800,000,000       $681,854,210
8/18/2015      $4,900,961          32            $153,155    85.43            $800,000,000       $683,417,948
8/19/2015        $608,437          20             $30,422    84.86            $800,000,000       $678,870,228
8/20/2015      $1,061,404          30             $35,380    85.60            $800,000,000       $684,776,722
8/21/2015      $4,553,902          23            $197,996    84.49            $800,000,000       $675,903,894
8/24/2015        $266,842          13             $20,526    81.60            $800,000,000       $652,824,930
8/25/2015      $2,781,270          15            $185,418    83.95            $800,000,000       $671,601,611
8/26/2015        $427,751          18             $23,764    83.87            $800,000,000       $670,981,998
8/27/2015        $172,719          14             $12,337    85.08            $800,000,000       $680,664,788
8/28/2015      $4,035,971          18            $224,221    84.65            $800,000,000       $677,176,351
8/31/2015        $400,597          13             $30,815    85.60            $800,000,000       $684,780,961
 9/1/2015        $347,961          14             $24,854    84.66            $800,000,000       $677,295,864
 9/2/2015      $1,140,289          19             $60,015    84.65            $800,000,000       $677,231,768
 9/3/2015        $231,378           5             $46,276    87.31            $800,000,000       $698,500,981
 9/4/2015        $176,552           9             $19,617    86.12            $800,000,000       $688,981,674



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  [1]              [2]             [3]             [4]         [5]               [6]                 [7]
             $ Value Traded # of Transactions    Average                     Notes             Market Value of
 Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

  9/8/2015        $353,068           9             $39,230    86.11            $800,000,000       $688,912,878
  9/9/2015        $763,598          13             $58,738    87.47            $800,000,000       $699,746,243
 9/10/2015        $621,620          10             $62,162    86.70            $800,000,000       $693,578,577
 9/11/2015      $1,202,113          15             $80,141    87.11            $800,000,000       $696,877,110
 9/14/2015        $360,364          15             $24,024    86.42            $800,000,000       $691,345,592
 9/15/2015      $1,218,476          19             $64,130    85.81            $800,000,000       $686,465,549
 9/16/2015      $1,711,965          25             $68,479    83.67            $800,000,000       $669,389,857
 9/17/2015      $2,482,466          15            $165,498    83.19            $800,000,000       $665,540,566
 9/18/2015        $399,043          12             $33,254    83.13            $800,000,000       $665,071,250
 9/21/2015        $578,856          10             $57,886    83.17            $800,000,000       $665,351,860
 9/22/2015        $545,111          14             $38,937    82.59            $800,000,000       $660,740,754
 9/23/2015        $283,389          10             $28,339    82.38            $800,000,000       $659,044,767
 9/24/2015        $449,174          27             $16,636    79.78            $800,000,000       $638,257,712
 9/25/2015        $332,897          16             $20,806    78.70            $800,000,000       $629,591,801
 9/28/2015        $985,309          16             $61,582    75.68            $800,000,000       $605,412,843
 9/29/2015      $2,266,081           9            $251,787    75.41            $800,000,000       $603,282,862
 9/30/2015      $1,350,610          25             $54,024    76.48            $800,000,000       $611,827,654
 10/1/2015        $798,104          21             $38,005    76.30            $800,000,000       $610,404,551
 10/2/2015        $860,009          17             $50,589    75.04            $800,000,000       $600,355,037
 10/5/2015      $1,083,761          27             $40,139    78.48            $800,000,000       $627,812,310
 10/6/2015        $141,238          10             $14,124    79.35            $800,000,000       $634,778,651
 10/7/2015        $629,793          19             $33,147    81.26            $800,000,000       $650,108,436
 10/8/2015      $2,369,030          19            $124,686    81.47            $800,000,000       $651,727,596
 10/9/2015      $2,077,211          14            $148,372    82.53            $800,000,000       $660,218,186
10/13/2015      $3,111,271          25            $124,451    82.40            $800,000,000       $659,167,516
10/14/2015      $2,226,064          24             $92,753    82.60            $800,000,000       $660,798,316
10/15/2015      $2,222,750          38             $58,493    81.69            $800,000,000       $653,509,632
10/16/2015        $725,186          12             $60,432    82.03            $800,000,000       $656,277,195
10/19/2015         $87,660           9              $9,740    82.70            $800,000,000       $661,584,906
10/20/2015        $443,343          12             $36,945    82.87            $800,000,000       $662,942,655
10/21/2015      $1,976,611          25             $79,064    85.27            $800,000,000       $682,178,164
10/22/2015        $976,329           9            $108,481    86.10            $800,000,000       $688,767,923
10/23/2015      $4,182,094          17            $246,006    86.64            $800,000,000       $693,116,804
10/26/2015      $1,258,139          23             $54,702    86.83            $800,000,000       $694,624,596
10/27/2015        $206,085           9             $22,898    87.32            $800,000,000       $698,594,507
10/28/2015        $585,476          10             $58,548    87.65            $800,000,000       $701,168,378
10/29/2015        $229,828          12             $19,152    87.06            $800,000,000       $696,447,545
10/30/2015        $287,961          14             $20,569    87.79            $800,000,000       $702,342,890
 11/2/2015        $798,532           6            $133,089    86.61            $800,000,000       $692,869,414
 11/3/2015        $555,603          11             $50,509    86.41            $800,000,000       $691,262,960
 11/4/2015        $742,299          13             $57,100    85.52            $800,000,000       $684,146,305
 11/5/2015        $426,743          14             $30,482    85.69            $800,000,000       $685,530,281
 11/6/2015          $8,313           1              $8,313    83.13            $800,000,000       $665,040,000
 11/9/2015        $661,903          11             $60,173    83.26            $800,000,000       $666,065,811
11/10/2015        $253,814          10             $25,381    83.49            $800,000,000       $667,932,374



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  [1]              [2]             [3]             [4]         [5]               [6]                 [7]
             $ Value Traded # of Transactions    Average                     Notes             Market Value of
 Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

11/12/2015      $1,180,349          16             $73,772    81.40            $800,000,000       $651,227,092
11/13/2015      $1,859,451          24             $77,477    80.46            $800,000,000       $643,687,091
11/16/2015        $346,120          20             $17,306    79.57            $800,000,000       $636,542,933
11/17/2015      $2,026,542          29             $69,881    81.35            $800,000,000       $650,836,395
11/18/2015        $941,178          13             $72,398    81.49            $800,000,000       $651,897,852
11/19/2015      $4,173,401          30            $139,113    81.12            $800,000,000       $648,925,295
11/20/2015         $77,724           7             $11,103    80.96            $800,000,000       $647,699,042
11/23/2015        $383,098          19             $20,163    79.98            $800,000,000       $639,830,119
11/24/2015        $300,418          12             $25,035    79.90            $800,000,000       $639,186,915
11/25/2015        $193,146          14             $13,796    79.81            $800,000,000       $638,499,174
11/27/2015         $42,085           4             $10,521    79.41            $800,000,000       $635,245,736
11/30/2015        $707,805          19             $37,253    79.80            $800,000,000       $638,380,840
 12/1/2015      $2,321,334          22            $105,515    80.13            $800,000,000       $641,031,219
 12/2/2015        $720,838          32             $22,526    80.27            $800,000,000       $642,171,679
 12/3/2015        $558,543          17             $32,855    79.23            $800,000,000       $633,808,068
 12/4/2015      $1,013,258          18             $56,292    78.43            $800,000,000       $627,404,508
 12/7/2015        $690,821          31             $22,285    78.06            $800,000,000       $624,471,101
 12/8/2015     $18,607,287          34            $547,273    76.09            $800,000,000       $608,727,810
 12/9/2015        $675,838          20             $33,792    76.02            $800,000,000       $608,177,800
12/10/2015      $1,907,047          29             $65,760    75.71            $800,000,000       $605,652,179
12/11/2015     $24,927,357          23          $1,083,798    75.50            $800,000,000       $604,024,997
12/14/2015        $666,020          16             $41,626    74.33            $800,000,000       $594,660,398
12/15/2015      $1,078,205          39             $27,646    73.55            $800,000,000       $588,379,121
12/16/2015      $4,363,298          18            $242,405    75.82            $800,000,000       $606,540,087
12/17/2015        $989,306          18             $54,961    76.51            $800,000,000       $612,099,762
12/18/2015        $195,440          13             $15,034    76.94            $800,000,000       $615,559,250
12/21/2015        $508,810          17             $29,930    76.17            $800,000,000       $609,353,491
12/22/2015        $118,717          13              $9,132    76.59            $800,000,000       $612,731,520
12/23/2015      $9,830,657          45            $218,459    76.26            $800,000,000       $610,078,768
12/24/2015         $81,969           4             $20,492    78.07            $800,000,000       $624,527,619
12/28/2015        $487,765          14             $34,840    75.86            $800,000,000       $606,860,993
12/29/2015        $801,936          23             $34,867    76.74            $800,000,000       $613,922,223
12/30/2015        $405,329          15             $27,022    75.90            $800,000,000       $607,234,501
12/31/2015        $154,855          14             $11,061    76.66            $800,000,000       $613,288,455
  1/4/2016        $695,232          10             $69,523    75.98            $800,000,000       $607,853,412
  1/5/2016      $1,528,656          15            $101,910    76.43            $800,000,000       $611,462,280
  1/6/2016        $960,561          13             $73,889    76.66            $800,000,000       $613,287,208
  1/7/2016      $2,053,558          12            $171,130    76.11            $800,000,000       $608,912,561
  1/8/2016        $833,489          15             $55,566    76.68            $800,000,000       $613,423,468
 1/11/2016      $4,749,318          13            $365,332    76.05            $800,000,000       $608,399,359
 1/12/2016      $8,461,120          24            $352,547    76.29            $800,000,000       $610,305,285
 1/13/2016      $1,731,409          11            $157,401    76.11            $800,000,000       $608,847,102
 1/14/2016      $2,257,329          23             $98,145    75.70            $800,000,000       $605,587,842
 1/15/2016        $704,505          19             $37,079    74.55            $800,000,000       $596,406,304
 1/19/2016         $69,005           2             $34,503    74.20            $800,000,000       $593,591,398



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

1/20/2016        $300,277          16             $18,767    73.96            $800,000,000       $591,678,148
1/21/2016      $8,043,437          12            $670,286    74.15            $800,000,000       $593,228,523
1/22/2016        $553,338          10             $55,334    74.98            $800,000,000       $599,823,881
1/25/2016        $318,474          11             $28,952    74.94            $800,000,000       $599,480,565
1/26/2016        $177,494          10             $17,749    73.34            $800,000,000       $586,756,337
1/27/2016      $8,637,214          18            $479,845    75.50            $800,000,000       $604,000,976
1/28/2016        $240,470          17             $14,145    75.62            $800,000,000       $604,955,283
1/29/2016        $266,596           7             $38,085    75.52            $800,000,000       $604,184,023
 2/1/2016        $275,944          13             $21,226    77.30            $800,000,000       $618,360,784
 2/2/2016      $1,614,438          20             $80,722    75.87            $800,000,000       $606,931,585
 2/3/2016        $456,266          10             $45,627    75.92            $800,000,000       $607,342,102
 2/4/2016        $515,021          13             $39,617    76.87            $800,000,000       $614,950,030
 2/5/2016        $196,770           6             $32,795    76.86            $800,000,000       $614,904,831
 2/8/2016        $460,896          17             $27,112    76.31            $800,000,000       $610,458,630
 2/9/2016        $529,710          20             $26,485    74.29            $800,000,000       $594,344,489
2/10/2016        $387,530          16             $24,221    75.54            $800,000,000       $604,335,096
2/11/2016      $1,278,996          21             $60,905    74.36            $800,000,000       $594,881,674
2/12/2016        $431,677          12             $35,973    74.30            $800,000,000       $594,392,083
2/16/2016        $895,620          39             $22,965    76.03            $800,000,000       $608,230,775
2/17/2016      $8,226,833          35            $235,052    76.49            $800,000,000       $611,887,940
2/18/2016      $5,471,524          27            $202,649    77.38            $800,000,000       $619,038,192
2/19/2016      $4,189,258          29            $144,457    77.36            $800,000,000       $618,911,572
2/22/2016      $1,250,916          20             $62,546    78.08            $800,000,000       $624,677,367
2/23/2016      $4,772,630          42            $113,634    78.30            $800,000,000       $626,432,182
2/24/2016        $856,705          14             $61,193    78.24            $800,000,000       $625,903,106
2/25/2016        $472,427          19             $24,865    79.40            $800,000,000       $635,196,230
2/26/2016      $1,720,899          18             $95,605    81.44            $800,000,000       $651,547,150
2/29/2016        $270,974          12             $22,581    81.37            $800,000,000       $650,987,508
 3/1/2016        $287,291          18             $15,961    83.27            $800,000,000       $666,183,142
 3/2/2016        $398,584          14             $28,470    83.04            $800,000,000       $664,307,295
 3/3/2016      $9,360,820          32            $292,526    83.83            $800,000,000       $670,605,892
 3/4/2016      $4,817,900          19            $253,574    84.45            $800,000,000       $675,603,920
 3/7/2016      $1,041,660          20             $52,083    84.41            $800,000,000       $675,306,005
 3/8/2016        $399,618          13             $30,740    83.95            $800,000,000       $671,627,331
 3/9/2016      $1,032,865          16             $64,554    87.16            $800,000,000       $697,292,868
3/10/2016        $436,621          11             $39,693    84.78            $800,000,000       $678,246,623
3/11/2016      $1,448,848          17             $85,226    85.48            $800,000,000       $683,821,857
3/14/2016        $305,004          11             $27,728    84.96            $800,000,000       $679,675,543
3/15/2016        $810,050          25             $32,402    85.18            $800,000,000       $681,430,458
3/16/2016      $1,180,166          24             $49,174    83.23            $800,000,000       $665,820,220
3/17/2016      $1,807,497          29             $62,327    83.10            $800,000,000       $664,826,462
3/18/2016      $1,077,612          21             $51,315    83.47            $800,000,000       $667,769,038
3/21/2016      $4,816,495          22            $218,932    83.34            $800,000,000       $666,758,232
3/22/2016      $1,386,334          27             $51,346    83.01            $800,000,000       $664,111,899
3/23/2016        $469,283          17             $27,605    83.35            $800,000,000       $666,832,225



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

3/24/2016         $96,847           6             $16,141    83.49            $800,000,000       $667,910,345
3/28/2016        $576,663          20             $28,833    82.15            $800,000,000       $657,165,463
3/29/2016      $2,484,529          54             $46,010    83.40            $800,000,000       $667,211,667
3/30/2016     $13,550,341          31            $437,108    82.63            $800,000,000       $661,032,544
3/31/2016      $2,080,875          22             $94,585    82.84            $800,000,000       $662,699,037
 4/1/2016        $136,301           9             $15,145    84.14            $800,000,000       $673,092,144
 4/4/2016        $444,905          12             $37,075    83.79            $800,000,000       $670,290,635
 4/5/2016        $257,502          16             $16,094    83.07            $800,000,000       $664,521,732
 4/6/2016        $244,426           7             $34,918    82.58            $800,000,000       $660,611,481
 4/7/2016        $187,978          10             $18,798    83.18            $800,000,000       $665,408,204
 4/8/2016         $84,757           6             $14,126    83.92            $800,000,000       $671,341,964
4/11/2016        $215,190          13             $16,553    83.08            $800,000,000       $664,679,537
4/12/2016        $330,694          10             $33,069    83.51            $800,000,000       $668,067,778
4/13/2016      $1,094,759          41             $26,701    84.73            $800,000,000       $677,869,463
4/14/2016        $171,458          13             $13,189    83.64            $800,000,000       $669,105,951
4/15/2016        $222,339          13             $17,103    84.22            $800,000,000       $673,754,697
4/18/2016      $1,270,278          10            $127,028    83.46            $800,000,000       $667,688,848
4/19/2016        $550,608           7             $78,658    84.06            $800,000,000       $672,497,893
4/20/2016        $636,053          20             $31,803    84.36            $800,000,000       $674,856,995
4/21/2016      $2,970,373          25            $118,815    84.70            $800,000,000       $677,587,233
4/22/2016      $1,406,802          38             $37,021    86.15            $800,000,000       $689,186,754
4/25/2016        $418,545          14             $29,896    85.94            $800,000,000       $687,547,549
4/26/2016        $612,739          31             $19,766    85.94            $800,000,000       $687,505,195
4/27/2016        $538,038          12             $44,837    86.78            $800,000,000       $694,243,085
4/28/2016        $230,976          17             $13,587    87.16            $800,000,000       $697,286,448
4/29/2016        $224,863          12             $18,739    86.82            $800,000,000       $694,558,610
 5/2/2016        $377,818          24             $15,742    87.66            $800,000,000       $701,286,200
 5/3/2016      $1,387,099           9            $154,122    86.37            $800,000,000       $690,958,324
 5/4/2016        $740,249          27             $27,417    86.48            $800,000,000       $691,821,710
 5/5/2016      $1,307,093          16             $81,693    84.77            $800,000,000       $678,128,775
 5/6/2016      $1,011,249          28             $36,116    84.69            $800,000,000       $677,553,769
 5/9/2016        $293,686          20             $14,684    83.43            $800,000,000       $667,468,636
5/10/2016      $3,896,939          17            $229,232    83.99            $800,000,000       $671,885,976
5/11/2016      $6,559,992          28            $234,285    83.51            $800,000,000       $668,108,715
5/12/2016      $1,174,622          21             $55,934    83.19            $800,000,000       $665,508,410
5/13/2016        $232,697           7             $33,242    83.11            $800,000,000       $664,849,743
5/16/2016        $638,114          19             $33,585    83.20            $800,000,000       $665,569,179
5/17/2016        $324,797          21             $15,467    84.80            $800,000,000       $678,428,010
5/18/2016        $556,864          21             $26,517    84.12            $800,000,000       $672,947,331
5/19/2016      $4,290,804           9            $476,756    82.55            $800,000,000       $660,377,619
5/20/2016        $444,697          25             $17,788    82.81            $800,000,000       $662,490,592
5/23/2016      $2,144,101           8            $268,013    82.31            $800,000,000       $658,457,180
5/24/2016     $12,642,109          22            $574,641    82.41            $800,000,000       $659,258,682
5/25/2016        $401,112          19             $21,111    82.53            $800,000,000       $660,266,433
5/26/2016        $170,491           7             $24,356    84.40            $800,000,000       $675,210,359



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

5/27/2016        $435,523           8             $54,440    82.64            $800,000,000       $661,135,560
5/31/2016      $2,382,251          15            $158,817    82.46            $800,000,000       $659,674,797
 6/1/2016        $188,844           7             $26,978    82.11            $800,000,000       $656,850,069
 6/2/2016        $787,436           8             $98,429    82.20            $800,000,000       $657,566,430
 6/3/2016      $1,600,729          12            $133,394    81.55            $800,000,000       $652,360,098
 6/6/2016        $564,552          21             $26,883    82.30            $800,000,000       $658,369,784
 6/7/2016      $1,186,425           9            $131,825    81.82            $800,000,000       $654,579,034
 6/8/2016      $1,186,984          18             $65,944    82.60            $800,000,000       $660,812,409
 6/9/2016        $528,918          14             $37,780    82.90            $800,000,000       $663,220,589
6/10/2016        $190,074          13             $14,621    82.28            $800,000,000       $658,265,981
6/13/2016      $3,487,106          43             $81,095    81.67            $800,000,000       $653,322,043
6/14/2016      $1,644,558          28             $58,734    81.58            $800,000,000       $652,602,560
6/15/2016        $623,311          24             $25,971    82.01            $800,000,000       $656,116,653
6/16/2016      $1,432,319          18             $79,573    81.38            $800,000,000       $651,054,205
6/17/2016        $491,490          22             $22,340    81.37            $800,000,000       $650,979,603
6/20/2016      $2,140,424          27             $79,275    83.64            $800,000,000       $669,143,769
6/21/2016      $4,914,050          24            $204,752    84.19            $800,000,000       $673,503,505
6/22/2016        $580,490          20             $29,024    84.74            $800,000,000       $677,944,335
6/23/2016        $655,795          28             $23,421    84.62            $800,000,000       $676,949,729
6/24/2016      $3,962,990           6            $660,498    83.12            $800,000,000       $664,931,208
6/27/2016      $1,098,360          18             $61,020    82.77            $800,000,000       $662,161,133
6/28/2016      $3,280,847          26            $126,186    83.61            $800,000,000       $668,878,160
6/29/2016        $220,510          14             $15,751    84.16            $800,000,000       $673,312,557
6/30/2016      $3,014,234          25            $120,569    84.93            $800,000,000       $679,455,497
 7/1/2016        $339,477          14             $24,248    86.60            $800,000,000       $692,809,898
 7/5/2016      $1,333,778          16             $83,361    86.44            $800,000,000       $691,524,459
 7/6/2016        $209,106          15             $13,940    85.70            $800,000,000       $685,594,951
 7/7/2016        $397,326          26             $15,282    86.19            $800,000,000       $689,503,021
 7/8/2016        $614,204          19             $32,327    86.75            $800,000,000       $694,015,819
7/11/2016      $1,845,528          36             $51,265    87.97            $800,000,000       $703,728,519
7/12/2016      $4,987,216          52             $95,908    89.06            $800,000,000       $712,459,407
7/13/2016        $227,268          10             $22,727    89.12            $800,000,000       $712,996,078
7/14/2016      $2,910,359          54             $53,896    89.06            $800,000,000       $712,450,176
7/15/2016      $6,371,663          23            $277,029    89.97            $800,000,000       $719,758,547
7/18/2016      $7,057,538          36            $196,043    89.13            $800,000,000       $713,062,656
7/19/2016        $571,142          17             $33,597    90.37            $800,000,000       $722,964,494
7/20/2016      $1,189,063          32             $37,158    90.08            $800,000,000       $720,644,024
7/21/2016        $741,321          27             $27,456    91.30            $800,000,000       $730,365,522
7/22/2016        $633,621          27             $23,467    90.00            $800,000,000       $720,024,166
7/25/2016      $1,157,643          25             $46,306    90.51            $800,000,000       $724,092,403
7/26/2016      $1,347,521          16             $84,220    90.68            $800,000,000       $725,448,560
7/27/2016        $476,493          22             $21,659    90.42            $800,000,000       $723,328,471
7/28/2016      $1,416,129          10            $141,613    89.35            $800,000,000       $714,765,300
7/29/2016        $841,832          20             $42,092    90.81            $800,000,000       $726,500,462
 8/1/2016        $571,633          22             $25,983    90.74            $800,000,000       $725,883,606



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 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

 8/2/2016      $2,285,625          32             $71,426    91.32            $800,000,000       $730,523,219
 8/3/2016        $780,161          25             $31,206    90.40            $800,000,000       $723,208,297
 8/4/2016      $2,362,537          26             $90,867    89.93            $800,000,000       $719,463,004
 8/5/2016      $5,704,328          24            $237,680    90.36            $800,000,000       $722,867,499
 8/8/2016      $4,423,976          44            $100,545    90.75            $800,000,000       $725,985,863
 8/9/2016      $1,000,579          22             $45,481    90.88            $800,000,000       $727,032,952
8/10/2016        $872,151          28             $31,148    91.23            $800,000,000       $729,833,067
8/11/2016      $5,388,037          37            $145,623    91.54            $800,000,000       $732,319,046
8/12/2016      $3,209,814          47             $68,294    92.42            $800,000,000       $739,375,470
8/15/2016      $2,465,969          34             $72,528    92.81            $800,000,000       $742,482,123
8/16/2016      $4,859,624          65             $74,763    93.10            $800,000,000       $744,770,000
8/17/2016      $4,367,647          41            $106,528    92.83            $800,000,000       $742,639,160
8/18/2016     $19,541,441          42            $465,272    91.84            $800,000,000       $734,709,679
8/19/2016      $1,554,390          39             $39,856    92.47            $800,000,000       $739,745,471
8/22/2016      $2,895,958          49             $59,101    92.29            $800,000,000       $738,293,879
8/23/2016      $1,262,901          26             $48,573    92.38            $800,000,000       $739,078,814
8/24/2016      $4,958,900          43            $115,323    91.70            $800,000,000       $733,565,052
8/25/2016        $831,136          16             $51,946    91.03            $800,000,000       $728,268,127
8/26/2016      $3,491,927          22            $158,724    91.10            $800,000,000       $728,813,379
8/29/2016      $1,098,406          20             $54,920    91.76            $800,000,000       $734,105,744
8/30/2016      $3,088,368          40             $77,209    91.97            $800,000,000       $735,763,727
8/31/2016      $1,608,728          28             $57,455    91.93            $800,000,000       $735,418,510
 9/1/2016        $996,492          28             $35,589    91.59            $800,000,000       $732,714,397
 9/2/2016        $913,368          19             $48,072    91.06            $800,000,000       $728,509,113
 9/6/2016      $3,446,130          33            $104,428    91.82            $800,000,000       $734,586,835
 9/7/2016      $1,918,890          16            $119,931    91.81            $800,000,000       $734,503,395
 9/8/2016      $2,163,077          25             $86,523    91.66            $800,000,000       $733,246,385
 9/9/2016      $3,236,428          18            $179,802    90.76            $800,000,000       $726,063,522
9/12/2016      $5,284,024          37            $142,811    90.33            $800,000,000       $722,601,535
9/13/2016        $676,381          17             $39,787    89.35            $800,000,000       $714,801,881
9/14/2016      $1,757,235          40             $43,931    89.56            $800,000,000       $716,507,613
9/15/2016      $2,273,387          33             $68,891    88.32            $800,000,000       $706,569,308
9/16/2016        $457,783          28             $16,349    88.55            $800,000,000       $708,368,433
9/19/2016      $1,144,201          11            $104,018    88.97            $800,000,000       $711,789,350
9/20/2016        $449,403          19             $23,653    88.47            $800,000,000       $707,720,709
9/21/2016      $1,378,665          25             $55,147    88.26            $800,000,000       $706,102,348
9/22/2016        $623,940          21             $29,711    89.26            $800,000,000       $714,094,249
9/23/2016        $916,511          22             $41,660    88.98            $800,000,000       $711,853,414
9/26/2016      $1,144,161          25             $45,766    89.39            $800,000,000       $715,100,594
9/27/2016      $2,870,424          31             $92,594    87.57            $800,000,000       $700,530,650
9/28/2016        $685,584          33             $20,775    88.23            $800,000,000       $705,877,972
9/29/2016      $1,257,474          37             $33,986    88.37            $800,000,000       $706,942,645
9/30/2016      $1,904,163          38             $50,110    88.03            $800,000,000       $704,267,573
10/3/2016        $368,917          23             $16,040    88.68            $800,000,000       $709,456,346
10/4/2016      $6,714,730          36            $186,520    88.04            $800,000,000       $704,311,505



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  [1]              [2]             [3]             [4]         [5]               [6]                 [7]
             $ Value Traded # of Transactions    Average                     Notes             Market Value of
 Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

 10/5/2016      $3,627,498          33            $109,924    88.20            $800,000,000       $705,567,313
 10/6/2016      $6,948,941          45            $154,421    87.60            $800,000,000       $700,763,025
 10/7/2016        $875,801          31             $28,252    87.67            $800,000,000       $701,342,270
10/11/2016      $3,412,767          34            $100,376    87.73            $800,000,000       $701,854,408
10/12/2016        $357,076          21             $17,004    87.95            $800,000,000       $703,597,990
10/13/2016        $408,742          15             $27,249    89.05            $800,000,000       $712,403,590
10/14/2016      $3,114,524          10            $311,452    88.33            $800,000,000       $706,641,963
10/17/2016      $1,067,437          20             $53,372    88.22            $800,000,000       $705,743,702
10/18/2016        $463,227          12             $38,602    88.91            $800,000,000       $711,289,090
10/19/2016      $1,000,906          19             $52,679    88.81            $800,000,000       $710,492,259
10/20/2016        $632,396          27             $23,422    89.07            $800,000,000       $712,559,065
10/21/2016        $767,279          19             $40,383    89.43            $800,000,000       $715,412,115
10/24/2016      $3,241,634          14            $231,545    88.96            $800,000,000       $711,664,887
10/25/2016        $966,920          25             $38,677    89.61            $800,000,000       $716,901,200
10/26/2016        $679,544          21             $32,359    89.06            $800,000,000       $712,497,248
10/27/2016     $42,745,685          50            $854,914    94.97            $800,000,000       $759,737,583
10/28/2016     $33,517,671         164            $204,376    95.06            $800,000,000       $760,447,440
10/31/2016      $4,216,923          63             $66,935    91.81            $800,000,000       $734,495,672
 11/1/2016      $8,622,831          58            $148,669    88.14            $800,000,000       $705,127,729
 11/2/2016     $13,592,906          37            $367,376    86.84            $800,000,000       $694,756,238
 11/3/2016     $10,442,744          22            $474,670    87.35            $800,000,000       $698,803,460
 11/4/2016      $3,131,286          21            $149,109    88.30            $800,000,000       $706,437,854
 11/7/2016      $5,409,913          60             $90,165    88.38            $800,000,000       $707,062,647
 11/8/2016      $3,087,941          70             $44,113    88.81            $800,000,000       $710,483,990
 11/9/2016      $2,115,544          45             $47,012    88.15            $800,000,000       $705,181,184
11/10/2016      $8,618,605          61            $141,289    86.92            $800,000,000       $695,399,280
11/14/2016      $1,172,653          45             $26,059    84.97            $800,000,000       $679,799,101
11/15/2016      $4,910,617          37            $132,719    86.08            $800,000,000       $688,605,322
11/16/2016        $402,249          17             $23,662    86.13            $800,000,000       $689,078,116
11/17/2016      $1,463,628          28             $52,272    85.09            $800,000,000       $680,757,292
11/18/2016      $1,112,823          40             $27,821    84.56            $800,000,000       $676,488,024
11/21/2016        $689,431          25             $27,577    84.39            $800,000,000       $675,085,660
11/22/2016      $1,921,288          36             $53,369    84.71            $800,000,000       $677,703,044
11/23/2016      $3,982,462          21            $189,641    85.53            $800,000,000       $684,271,839
11/25/2016         $84,970           4             $21,242    84.13            $800,000,000       $673,027,406
11/28/2016        $250,667          10             $25,067    85.26            $800,000,000       $682,088,408
11/29/2016      $1,250,689          19             $65,826    85.02            $800,000,000       $680,184,375
11/30/2016        $884,347          31             $28,527    85.69            $800,000,000       $685,540,419
 12/1/2016      $1,481,660          27             $54,876    85.10            $800,000,000       $680,831,770
 12/2/2016        $749,644          15             $49,976    84.80            $800,000,000       $678,410,656
 12/5/2016        $692,219          21             $32,963    85.14            $800,000,000       $681,150,407
 12/6/2016      $2,517,918          16            $157,370    84.92            $800,000,000       $679,370,793
 12/7/2016      $8,831,431          33            $267,619    85.16            $800,000,000       $681,240,474
 12/8/2016      $1,847,846          15            $123,190    85.87            $800,000,000       $686,931,691
 12/9/2016        $407,170          13             $31,321    86.63            $800,000,000       $693,054,568



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  [1]              [2]             [3]             [4]         [5]               [6]                 [7]
             $ Value Traded # of Transactions    Average                     Notes             Market Value of
 Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

12/12/2016      $8,772,620          35            $250,646    86.03            $800,000,000       $688,251,070
12/13/2016      $4,809,643          42            $114,515    86.69            $800,000,000       $693,531,743
12/14/2016      $9,222,070          28            $329,360    86.75            $800,000,000       $693,975,749
12/15/2016     $11,674,227          55            $212,259    85.51            $800,000,000       $684,103,522
12/16/2016      $1,102,653          29             $38,023    85.94            $800,000,000       $687,546,920
12/19/2016      $3,336,141          43             $77,585    86.01            $800,000,000       $688,041,490
12/20/2016      $5,235,426          33            $158,649    85.93            $800,000,000       $687,402,047
12/21/2016      $1,859,250          35             $53,121    86.28            $800,000,000       $690,208,635
12/22/2016      $4,335,827          18            $240,879    86.05            $800,000,000       $688,363,150
12/23/2016        $238,666           9             $26,518    86.47            $800,000,000       $691,784,522
12/27/2016      $4,606,739          25            $184,270    87.00            $800,000,000       $696,013,478
12/28/2016      $2,255,320          55             $41,006    88.06            $800,000,000       $704,512,425
12/29/2016      $1,035,026          26             $39,809    87.94            $800,000,000       $703,500,947
12/30/2016        $677,114          19             $35,638    88.74            $800,000,000       $709,948,718
  1/3/2017      $3,156,424          29            $108,842    88.19            $800,000,000       $705,543,146
  1/4/2017      $7,128,406          72             $99,006    88.60            $800,000,000       $708,765,157
  1/5/2017      $4,243,469          49             $86,601    89.34            $800,000,000       $714,689,469
  1/6/2017      $7,119,610          27            $263,689    89.42            $800,000,000       $715,358,933
  1/9/2017      $1,070,115          37             $28,922    90.23            $800,000,000       $721,831,197
 1/10/2017      $2,801,000          51             $54,922    89.60            $800,000,000       $716,826,729
 1/11/2017      $2,476,984          23            $107,695    89.58            $800,000,000       $716,668,132
 1/12/2017        $705,752          27             $26,139    90.25            $800,000,000       $721,997,136
 1/13/2017      $6,884,853          19            $362,361    88.05            $800,000,000       $704,422,816
 1/17/2017        $979,619          47             $20,843    89.79            $800,000,000       $718,327,039
 1/18/2017      $1,706,407          37             $46,119    90.24            $800,000,000       $721,906,712
 1/19/2017      $1,027,829          26             $39,532    90.08            $800,000,000       $720,651,078
 1/20/2017        $672,651          19             $35,403    89.93            $800,000,000       $719,413,005
 1/23/2017      $1,123,320          35             $32,095    89.72            $800,000,000       $717,776,281
 1/24/2017      $3,610,059          33            $109,396    90.30            $800,000,000       $722,373,033
 1/25/2017      $1,838,755          34             $54,081    90.94            $800,000,000       $727,499,399
 1/26/2017      $1,125,381          28             $40,192    92.55            $800,000,000       $740,382,565
 1/27/2017      $5,906,014          59            $100,102    92.43            $800,000,000       $739,407,104
 1/30/2017      $2,313,537          29             $79,777    91.92            $800,000,000       $735,331,692
 1/31/2017      $1,707,360          40             $42,684    91.94            $800,000,000       $735,534,604
  2/1/2017      $1,558,693          17             $91,688    91.63            $800,000,000       $733,071,511
  2/2/2017      $1,550,233          44             $35,233    92.11            $800,000,000       $736,890,339
  2/3/2017      $2,028,460          28             $72,445    92.29            $800,000,000       $738,293,114
  2/6/2017      $1,643,353          44             $37,349    91.86            $800,000,000       $734,870,095
  2/7/2017      $3,172,079          23            $137,916    92.62            $800,000,000       $740,923,674
  2/8/2017     $12,277,785          44            $279,041    92.17            $800,000,000       $737,349,128
  2/9/2017      $2,291,794          19            $120,621    91.56            $800,000,000       $732,495,198
 2/10/2017      $8,017,012          31            $258,613    91.22            $800,000,000       $729,731,451
 2/13/2017      $1,223,969          31             $39,483    91.20            $800,000,000       $729,638,748
 2/14/2017      $1,990,336          37             $53,793    91.47            $800,000,000       $731,741,151
 2/15/2017      $2,138,502          31             $68,984    91.43            $800,000,000       $731,424,284



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                                             Exhibit XIV
                             Market Efficiency Statistics for the 7.6% Note

 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

2/16/2017        $622,790          17             $36,635    91.72            $800,000,000       $733,773,325
2/17/2017        $692,207          21             $32,962    91.44            $800,000,000       $731,526,411
2/21/2017      $1,581,960          23             $68,781    91.65            $800,000,000       $733,237,688
2/22/2017      $1,491,198          32             $46,600    91.94            $800,000,000       $735,485,997
2/23/2017      $2,356,208          22            $107,100    92.04            $800,000,000       $736,314,884
2/24/2017        $498,847          11             $45,350    92.04            $800,000,000       $736,305,875
2/27/2017        $646,670          22             $29,394    92.12            $800,000,000       $736,945,425
2/28/2017      $6,076,398          34            $178,718    91.68            $800,000,000       $733,421,615
 3/1/2017      $4,514,858          29            $155,685    92.37            $800,000,000       $738,929,331
 3/2/2017      $1,635,797          29             $56,407    92.16            $800,000,000       $737,260,665
 3/3/2017        $240,840          10             $24,084    91.92            $800,000,000       $735,388,419
 3/6/2017        $717,190          25             $28,688    92.30            $800,000,000       $738,419,408
 3/7/2017      $1,450,533          28             $51,805    90.77            $800,000,000       $726,174,051
 3/8/2017      $1,213,135          23             $52,745    90.33            $800,000,000       $722,641,876
 3/9/2017        $711,204          25             $28,448    89.01            $800,000,000       $712,094,578
3/10/2017        $544,949          16             $34,059    89.04            $800,000,000       $712,351,242
3/13/2017      $7,476,527          25            $299,061    88.86            $800,000,000       $710,865,409
3/14/2017        $507,176          18             $28,176    88.36            $800,000,000       $706,865,770
3/15/2017      $4,326,049          36            $120,168    89.12            $800,000,000       $712,987,039
3/16/2017        $253,800           5             $50,760    90.64            $800,000,000       $725,144,000
3/17/2017        $993,842          22             $45,175    90.10            $800,000,000       $720,828,098
3/20/2017        $599,423          28             $21,408    90.14            $800,000,000       $721,109,883
3/21/2017      $6,973,901          38            $183,524    89.21            $800,000,000       $713,716,401
3/22/2017      $5,402,176          44            $122,777    88.91            $800,000,000       $711,280,522
3/23/2017      $2,159,698          51             $42,347    88.55            $800,000,000       $708,388,077
3/24/2017      $2,366,894          23            $102,908    88.95            $800,000,000       $711,580,188
3/27/2017      $2,342,833          27             $86,772    88.61            $800,000,000       $708,875,454
3/28/2017      $2,125,874          33             $64,420    88.43            $800,000,000       $707,445,661
3/29/2017      $6,894,998          28            $246,250    88.32            $800,000,000       $706,545,221
3/30/2017      $2,830,442          33             $85,771    88.18            $800,000,000       $705,406,031
3/31/2017      $6,675,407          27            $247,237    88.60            $800,000,000       $708,829,999
 4/3/2017        $500,700          26             $19,258    88.93            $800,000,000       $711,474,700
 4/4/2017      $1,346,895          32             $42,090    89.26            $800,000,000       $714,059,536
 4/5/2017      $2,386,259          27             $88,380    88.81            $800,000,000       $710,460,308
 4/6/2017      $5,847,097          39            $149,926    88.77            $800,000,000       $710,137,822
 4/7/2017      $1,048,139          32             $32,754    89.05            $800,000,000       $712,413,641
4/10/2017        $527,398          17             $31,023    89.39            $800,000,000       $715,115,525
4/11/2017        $633,338          18             $35,185    89.08            $800,000,000       $712,616,076
4/12/2017        $789,381          16             $49,336    89.20            $800,000,000       $713,564,610
4/13/2017      $1,750,175          22             $79,553    89.07            $800,000,000       $712,539,573
4/17/2017      $1,777,152          25             $71,086    89.39            $800,000,000       $715,151,871
4/18/2017      $1,060,630          25             $42,425    90.11            $800,000,000       $720,903,776
4/19/2017      $1,110,496          25             $44,420    90.73            $800,000,000       $725,814,588
4/20/2017        $756,803          25             $30,272    91.07            $800,000,000       $728,570,465
4/21/2017      $1,965,298          22             $89,332    92.31            $800,000,000       $738,486,828



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                                             Exhibit XIV
                             Market Efficiency Statistics for the 7.6% Note

 [1]              [2]             [3]             [4]         [5]               [6]                 [7]
            $ Value Traded # of Transactions    Average                     Notes             Market Value of
Date        (Market Hours) (Market Hours)      Trade Size   Price         Outstanding        Notes Outstanding

4/24/2017      $2,531,734          23            $110,075    92.98            $800,000,000       $743,807,283
4/25/2017     $21,475,362          43            $499,427    92.39            $800,000,000       $739,159,730
4/26/2017      $8,545,069          45            $189,890    92.73            $800,000,000       $741,839,970
4/27/2017      $2,911,948          41             $71,023    93.18            $800,000,000       $745,458,655
4/28/2017      $6,100,486          46            $132,619    93.82            $800,000,000       $750,598,035
 5/1/2017      $4,328,885          24            $180,370    93.92            $800,000,000       $751,379,525
 5/2/2017     $11,390,456          16            $711,903    93.83            $800,000,000       $750,668,466
 5/3/2017      $3,386,541          47             $72,054    93.73            $800,000,000       $749,856,855
 5/4/2017      $1,002,548          27             $37,131    93.09            $800,000,000       $744,696,602
 5/5/2017      $2,158,968          35             $61,685    92.30            $800,000,000       $738,424,296
 5/8/2017      $2,416,029          58             $41,656    92.53            $800,000,000       $740,261,521
 5/9/2017      $3,411,223          62             $55,020    92.45            $800,000,000       $739,560,535
5/10/2017      $6,559,054          62            $105,791    92.19            $800,000,000       $737,490,238
5/11/2017      $4,417,336          46             $96,029    92.30            $800,000,000       $738,376,257
5/12/2017      $2,056,534          34             $60,486    92.47            $800,000,000       $739,760,477
5/15/2017      $4,676,293          54             $86,598    92.80            $800,000,000       $742,416,085
5/16/2017      $1,403,534          27             $51,983    94.07            $800,000,000       $752,565,067
5/17/2017      $2,560,132          36             $71,115    93.40            $800,000,000       $747,211,199
5/18/2017      $1,408,648          39             $36,119    93.54            $800,000,000       $748,285,626
5/19/2017      $4,133,834          28            $147,637    94.08            $800,000,000       $752,632,468
5/22/2017        $850,988          24             $35,458    93.62            $800,000,000       $748,944,378
5/23/2017      $3,197,463          29            $110,257    94.63            $800,000,000       $757,019,906
5/24/2017        $953,310          36             $26,481    94.39            $800,000,000       $755,097,386
5/25/2017      $2,438,421          49             $49,764    94.59            $800,000,000       $756,686,095
5/26/2017        $291,826          19             $15,359    94.75            $800,000,000       $757,988,723
5/30/2017      $3,450,013          47             $73,405    94.47            $800,000,000       $755,753,012
5/31/2017      $7,833,627          33            $237,383    94.55            $800,000,000       $756,415,441
 6/1/2017      $7,040,363          66            $106,672    95.20            $800,000,000       $761,634,953
 6/2/2017      $4,886,415          82             $59,590    96.34            $800,000,000       $770,727,883
 6/5/2017      $8,765,234          64            $136,957    97.15            $800,000,000       $777,232,018
 6/6/2017      $3,633,457          82             $44,310    96.94            $800,000,000       $775,551,198
 6/7/2017      $2,084,396          32             $65,137    97.31            $800,000,000       $778,485,804
 6/8/2017     $11,331,855          32            $354,120    97.24            $800,000,000       $777,952,794
 6/9/2017      $1,390,982          37             $37,594    97.89            $800,000,000       $783,100,397
6/12/2017      $1,475,673          30             $49,189    97.21            $800,000,000       $777,693,402
6/13/2017      $8,148,104          78            $104,463    97.88            $800,000,000       $783,000,939
6/14/2017     $11,791,357          94            $125,440    97.98            $800,000,000       $783,869,500
6/15/2017      $5,110,456          60             $85,174    97.83            $800,000,000       $782,612,014
6/16/2017      $4,888,723          62             $78,850    98.11            $800,000,000       $784,864,178
6/19/2017      $3,278,020          38             $86,264    95.74            $800,000,000       $765,892,500
6/20/2017      $1,806,936          60             $30,116    93.14            $800,000,000       $745,128,144
6/21/2017      $4,281,846          40            $107,046    93.45            $800,000,000       $747,594,177
6/22/2017      $6,214,021          73             $85,124    93.25            $800,000,000       $745,980,963
6/23/2017      $1,577,172          40             $39,429    93.38            $800,000,000       $747,032,554
6/26/2017      $1,449,999          43             $33,721    94.96            $800,000,000       $759,659,096



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                                                      Exhibit XIV
                                      Market Efficiency Statistics for the 7.6% Note

       [1]                 [2]              [3]               [4]               [5]                 [6]                   [7]
                   $ Value Traded # of Transactions        Average                               Notes             Market Value of
      Date         (Market Hours) (Market Hours)          Trade Size          Price            Outstanding        Notes Outstanding

     6/27/2017        $11,187,173            67             $166,973           94.31             $800,000,000          $754,488,119
     6/28/2017         $3,468,394            32             $108,387           93.89             $800,000,000          $751,140,998
     6/29/2017         $1,650,602            34              $48,547           93.84             $800,000,000          $750,700,075
     6/30/2017         $1,937,458            26              $74,518           93.55             $800,000,000          $748,414,559
      7/3/2017            $29,145             4               $7,286           94.02             $800,000,000          $752,123,613
      7/5/2017         $1,294,729            29              $44,646           93.55             $800,000,000          $748,398,104
      7/6/2017           $990,649            35              $28,304           93.02             $800,000,000          $744,149,852
      7/7/2017         $1,716,551            29              $59,191           92.74             $800,000,000          $741,891,276
     7/10/2017         $1,382,913            24              $57,621           92.75             $800,000,000          $742,005,800
     7/11/2017         $3,115,728            15             $207,715           92.65             $800,000,000          $741,178,333
     7/12/2017         $2,383,968            37              $64,432           92.47             $800,000,000          $739,788,470

   Minimum                 $8,313             1                $7,286                                                  $586,756,337
   Average             $3,014,440            29               $97,735                                                  $738,687,334
   Maximum            $54,736,609           164            $1,853,739                                                  $844,127,310

Source:
FINRA TRACE Data.
Notes:
[1] Dates on which the bond traded during stock trading hours. During the Class Period, there is only one day, November 28, 2014, that
the 7.6% Note had no trading during stock trading hours.
[2] Total value ($) traded during stock market hours. Source: FINRA TRACE Data.
[3] Number of transactions during stock market hours. Source: FINRA TRACE Data.
[4] Calculated as ([2] / [3]).
[5] Calculated as the Volume Weighted Average Price (VWAP) between 9:30 am and 4:00 pm. See Appendix I for methodology to
compute the VWAP. Source: FINRA TRACE Data.
[6] Amount of the 7.6% Notes issued (in par value). Source: Bloomberg.
[7] Calculated as ([5] x [6])/100.




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                                             Exhibit XV
                Brokers for CenturyLink 7.6% Note at Some Point during the Class Period

         # Broker            # Broker            # Broker            # Broker       # Broker         # Broker
       [1] AALC           [59] CGCM          [117] FISA          [175] JPMS     [233] PACK       [291] SSIN
       [2] ABAI           [60] CGDN          [118] FISB          [176] JSCA     [234] PARI       [292] SSLL
       [3] ACAD           [61] CGWM          [119] FLOU          [177] JVBG     [235] PASQ       [293] SSPR
       [4] ACTI           [62] CHAS          [120] FLTL          [178] KART     [236] PATR       [294] STCM
       [5] ADCP           [63] CHUB          [121] FMAT          [179] KRTH     [237] PAUL       [295] STCS
       [6] ADSO           [64] CICI          [122] FNET          [180] KWCC     [238] PERS       [296] STFL
       [7] AEFA           [65] CISI          [123] FNIC          [181] LAKE     [239] PICE       [297] STOS
       [8] AFGL           [66] CIST          [124] FORE          [182] LASS     [240] PINA       [298] STOV
       [9] AGIS           [67] CITI          [125] FSCS          [183] LBWA     [241] PJEF       [299] STSE
      [10] AIGF           [68] CLCI          [126] FSRP          [184] LFRO     [242] PNCC       [300] STTT
      [11] AJCO           [69] CLSI          [127] FSWC          [185] LIIS     [243] PNCM       [301] SUFI
      [12] AKCA           [70] CMCA          [128] FTSC          [186] LISI     [244] POLI       [302] SUMT
      [13] ALAC           [71] CMMW          [129] GARB          [187] LMAR     [245] POOH       [303] SWST
      [14] AMMS           [72] CNFI          [130] GATS          [188] LSCF     [246] PPSL       [304] TAFI
      [15] ANDB           [73] CNSI          [131] GENW          [189] LTCO     [247] PRBC       [305] TAMT
      [16] AOFG           [74] COAS          [132] GFIG          [190] MACC     [248] PURB       [306] TDAR
      [17] APFS           [75] CPFS          [133] GKST          [191] MADV     [249] PWJC       [307] TITL
      [18] ARCH           [76] CREW          [134] GMSG          [192] MAMA     [250] PWPR       [308] TMBR
      [19] ARGA           [77] CSAI          [135] GRPS          [193] MAXC     [251] QUET       [309] TMCC
      [20] ASLB           [78] CSCA          [136] GRST          [194] MAXM     [252] RAAI       [310] TORI
      [21] AZAD           [79] CSMI          [137] GSCO          [195] MCBT     [253] RAFI       [311] TPCD
      [22] BANK           [80] CSTI          [138] HAFS          [196] MESF     [254] RAJA       [312] TREX
      [23] BARD           [81] CTLA          [139] HBCO          [197] MIAM     [255] RAJC       [313] TRID
      [24] BBGC           [82] CTNL          [140] HDVS          [198] MKTX     [256] RAYG       [314] TRIP
      [25] BBNT           [83] DADA          [141] HENY          [199] MLCO     [257] RBCD       [315] UBSW
      [26] BCAP           [84] DAVW          [142] HFPC          [200] MLMA     [258] RBIM       [316] ULAT
      [27] BCCS           [85] DBKS          [143] HJSC          [201] MLWM     [259] RDCG       [317] UNTD
      [28] BCMI           [86] DCSD          [144] HLIX          [202] MOLO     [260] REGR       [318] USAA
      [29] BCPI           [87] DEAN          [145] HORW          [203] MORA     [261] RGLS       [319] USFS
      [30] BDDK           [88] DENI          [146] HRBF          [204] MSCO     [262] RIED       [320] VABD
      [31] BDTR           [89] DLAE          [147] HSBC          [205] MSII     [263] RJFI       [321] VENE
      [32] BECM           [90] DMKC          [148] HSBK          [206] MSPW     [264] RJFS       [322] VGRD
      [33] BFEC           [91] DNWL          [149] HTDX          [207] MSRO     [265] ROAR       [323] VMEX
      [34] BGCF           [92] DOTC          [150] HTJP          [208] MULT     [266] RREZ       [324] VNDM
      [35] BGCX           [93] EAMG          [151] IATS          [209] MURF     [267] RSSE       [325] VSLP
      [36] BGIS           [94] EBKR          [152] IBCO          [210] MWMS     [268] RWCI       [326] WAYN
      [37] BHII           [95] EDFC          [153] IBKR          [211] MYLG     [269] RWPS       [327] WBFS
      [38] BIGG           [96] EDJO          [154] ICCP          [212] MZHO     [270] SABS       [328] WBLR
      [39] BKCM           [97] EFGC          [155] ICEN          [213] NAPK     [271] SALI       [329] WCHV
      [40] BKFC           [98] ESPO          [156] ICMI          [214] NATL     [272] SCSI       [330] WCSC
      [41] BLNI           [99] ETRS          [157] IESC          [215] NBCS     [273] SEEL       [331] WEDB
      [42] BLTK          [100] EXCS          [158] IESI          [216] NBLB     [274] SEIC       [332] WEGE
      [43] BNDS          [101] FALC          [159] IMPC          [217] NESC     [275] SEID       [333] WELD
      [44] BOFA          [102] FARS          [160] INGS          [218] NEXT     [276] SEVN       [334] WHCG
      [45] BOKI          [103] FAST          [161] INPR          [219] NFSC     [277] SFCO       [335] WING
      [46] BOSC          [104] FATS          [162] INSC          [220] NHWI     [278] SGAS       [336] WISI
      [47] BRCY          [105] FBCO          [163] IPGR          [221] NITE     [279] SGFC       [337] WMBU
      [48] BRGE          [106] FBLT          [164] IRMD          [222] NMRA     [280] SIGS       [338] WRET
      [49] BTSS          [107] FBPC          [165] ISCN          [223] NORT     [281] SIIW       [339] WTKR
      [50] BWEL          [108] FBSB          [166] ISFA          [224] NTBC     [282] SMPR       [340] WYNS
      [51] CALT          [109] FBTI          [167] ITCC          [225] NTRC     [283] SMRD       [341] YLPL
      [52] CAPM          [110] FCCP          [168] IVEX          [226] NWML     [284] SORE       [342] ZDIB
      [53] CART          [111] FCST          [169] JANY          [227] OAKR     [285] SOUZ       [343] ZDNF
      [54] CATE          [112] FFEC          [170] JEFF          [228] ODEO     [286] SPAC
      [55] CBIN          [113] FFSI          [171] JEFM          [229] ODNC     [287] SPGS
      [56] CERS          [114] FIBS          [172] JHDR          [230] OMSL     [288] SPHN
      [57] CFCO          [115] FINT          [173] JMLS          [231] OPCO     [289] SSCO
      [58] CFSC          [116] FINX          [174] JNFS          [232] OXPS     [290] SSIC

   Source:
   FINRA TRACE Data.

   Notes:
   See Appendix I for methodology for determining the brokers.
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                                                      Exhibit XVI
                                   Institution Positions in CenturyLink 7.6% Note

                                                                12/31/2013        12/31/2014       12/31/2015        12/31/2016
Positions of All Institutions                               $171,609,000       $260,362,000     $254,846,000     $224,789,000
Institution Positions as a % of Notes Outstanding                   21%                33%              32%              28%
Number of Institutions with Positive Positions                        50                 59               63               73

Source:
Bloomberg.

Notes:
Positions of institutions are in par value. Institution positions as a % of notes outstanding is computed as positions of all
institutions divided by $800,000,000. Per Bloomberg, the institution data "may not represent all institutions, if they are not
required to publicly disclose their holdings. Especially for fixed income securities, [Bloomberg] may not cover all holders,
since public disclosure is not generally required."
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                                                                         Exhibit XVII
                                                                 Market Value of the 7.6% Note
                 $1,000


                  $900


                  $800


                  $700


                  $600
(in $Millions)




                  $500


                  $400


                  $300


                  $200


                  $100


                    $0



                 Sources:
                 FINRA TRACE Data and Bloomberg. See Exhibit XIV for daily market value.
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                                         Exhibit XVIII
                   CenturyLink 7.6% Note Bid-Ask Spread during the Class Period

                               Customer-Based Bid-Ask Spreads                    Broker-Based Bid-Ask Spreads
                               Mean      Median        Daily                   Mean       Median        Daily
           Note                 %          %       Observations                 %           %        Observations
                                2.48%      2.55%        286                     1.09%       0.93%        323

Sources:
FINRA TRACE Data.

Notes:
See Appendix I for methodology to compute the bid-ask spreads. "Daily observations" counts each day only once.
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                                       Exhibit XIX
                      7.6% Note Reaction to Changes in Credit Ratings

         [1]                  [2]             [3]            [4]             [5]               [6]

                             Note            Note        Abnormal
        Date                 Price          Return         Return           t-stat           p-value

         3/13/2013             97.70
         3/14/2013             97.30         -0.41%          -0.28%           -0.30          76.32%
         3/15/2013             97.14         -0.16%           0.04%            0.05          96.31%
        Cumulative [7]                       -0.57%          -0.24%           -0.18          85.69%

         3/15/2016 [A]         85.18
         3/16/2016             83.23         -2.29%          -2.42%           -1.91           5.83%
         3/17/2016             83.10         -0.15%          -1.81%           -1.40          16.30%
        Cumulative [7]                       -2.44%          -4.18%           -2.35           2.08% *

        10/28/2016             95.06
        10/31/2016             91.81         -3.41%          -2.80%           -2.97            0.36% **
         11/1/2016             88.14         -4.00%          -3.29%           -3.48            0.07% **
        Cumulative [7]                       -7.27%          -5.99%           -4.56            0.00% **

  Notes:
  [1] Dates with changes in credit ratings. Source: Bloomberg.
  [2] to [6] See Appendix L.
  * indicates that abnormal return is statistically significant at the 5% level. ** Indicates that abnormal
  return is statistically significant at the 1% level.
  [7] For cumulative statistics, return and abnormal return are computed as compounded daily returns; t-
  statistic is the sum of daily t-statistics divided by the squared root of number of days with bond
  returns; p-value is computed based on the degrees of freedom for the market model estimated for the
  first impact date.
  [A] Based on Bloomberg, Moody's ratings change was released at 3:45 p.m. on March 15, 2016. The
  volume weighted average price for March 15, 2016 is entirely composed of transactions that occurred
  before 3:45 p.m.
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                                         Exhibit XX
       Relationship Between Stock Volume and CenturyLink 7.6% Note Abnormal Returns

               Date Range                 Coefficient             t-Stat            Observations          R-Squared

         03/01/2013 - 07/12/2017              0.00                   2.85             1,090                   0.74%



Note:
Based on a regression of absolute value of daily abnormal returns for CenturyLink 7.6% Note on the natural log of daily
trading volume of CenturyLink common stock, where single day abnormal return is available during the Class Period.
Multiday returns are excluded from the analysis.
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                                  Exhibit XXI
    7.6% Note Reaction on Alleged Partial Corrective Disclosures in Complaint

         [1]                  [2]            [3]             [4]             [5]               [6]

                             Note           Note         Abnormal
        Date                 Price         Return          Return          t-stat           p-value

         6/16/2017 [A]         98.11
         6/19/2017             95.74         -2.42%         -2.65%            -4.42           0.00% **

        6/16/2017              98.11
        6/19/2017              95.74         -2.42%         -2.65%            -4.42           0.00% **
        6/20/2017              93.14         -2.71%         -2.46%            -4.10           0.01% **
      Cumulative [7]                         -5.06%         -5.05%            -6.02           0.00% **

         7/12/2017 [B]         92.47
         7/13/2017             91.50         -1.05%         -1.22%            -2.16           3.30% *

  Notes:
  [1] Alleged partial corrective disclosure dates. Source: Complaint, ¶¶152-171.
  [2] to [6] See Appendix L.
  * indicates that abnormal return is statistically significant at the 5% level. ** Indicates that abnormal
  return is statistically significant at the 1% level.
  [7] For cumulative statistics, return and abnormal return are computed as compounded daily returns; t-
  statistic is the sum of daily t-statistics divided by the squared root of number of days with bond
  returns; p-value is computed based on the degrees of freedom for the market model estimated for the
  first impact date.

  [A] The volume weighted average price for June 16, 2017 includes 26 transactions and $2,698,000 of
  volume (in par value) that took place from 9:30 a.m. to 1:50 p.m. and 36 transactions and $2,285,000
  of volume (in par value) after 1:50 p.m. until 4:00 p.m.
  [B] The volume weighted average price for July 12, 2017 includes 24 transactions and $1,745,000 of
  volume (in par value) that took place from 9:30 a.m. to 12:04 p.m. and 13 transactions and $833,000
  of volume (in par value) after 12:04 p.m. until 4:00 p.m.
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                             APPENDIX A
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PRESENT POSITIONS

  HARTZMARK ECONOMICS LITIGATION PRACTICE, LLC
           President (2013 - present)
           Specializing in the application of economic, financial and accounting principles to
           securities, complex commercial, investment, intellectual property, antitrust and
           automotive litigation and regulatory matters
  OFFICE OF THE ATTORNEY GENERAL – STATE OF NEW JERSEY
           Independent Contractor (2015 - present)
  MDA FINANCIAL, INC.
           President (1981 - present)
  FINRA (fka NATIONAL ASSOCIATION OF SECURITY DEALERS) Dispute Resolution
           Member Arbitrator (2005 - present)


EDUCATION

  Ph.D.      Department of Economics, the University of Chicago, 1984
             (Doctoral Exams in Industrial Organization and Regulation; Public Finance)
  M.A.       Department of Economics, the University of Chicago, 1982
  B.A.       The University of Michigan (Economics, High Honors and Phi Beta Kappa), 1978


ACADEMIC HONORS AND FELLOWSHIPS

  John M. Olin Faculty Fellowship, (George Stigler, Director) (1986 - 1987)
  PEW Teaching Fellow, the University of Chicago (1980 - 1981)
  Phi Beta Kappa, the University of Michigan (1978)
  Parker Prize, in Labor Economics, University of Michigan (1978) -- Given for the best
  graduate or undergraduate paper in Labor Economics


GRANTS

  Grant from the University of Chicago (1984). Center for the Study of Futures Prices: grant to
  analyze margin regulation for the Chicago Board of Trade Studies.




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PROFESSIONAL EXPERIENCE

  OFFICE OF THE ATTORNEY GENERAL – STATE OF NEW YORK
           Independent Contractor (2013 - 2019)
  CRA INTERNATIONAL, INC.
           Independent Contractor (2015)
  NAVIGANT ECONOMICS (FORMERLY CHICAGO PARTNERS, LLC)
           Academic Affiliate (2012 - 2013)
           Principal/Director (2008 - 2012)
           Vice President (2004 - 2007)
  DARMA, LLC
           President (2005 - 2008)
  PACIFIC BIOMETRICS, INC.
           Interim Chief Financial Officer (2004 - 2006)
  CRAGAR INDUSTRIES, INC.
           Chairman, CEO, President and Treasurer (1993 - 2004)
  MDA FINANCIAL, INC.
           President (1981 - present)
  FAHNESTOCK & Co., Inc. (now Oppenheimer & Co., Inc.)
           Financial Consultant (Series 7 and Series 63) (2001 - 2003)
  ECONOHIO CORPORATION
           President (1989 - 1992)
  LEXECON INC.
           Senior Economist (1987 - 1989)
  UNIVERSITY OF CHICAGO, Center for the Study of the Economy and the State, and the
           Graduate School of Business (now the Chicago Booth School of Business)
           John M. Olin Visiting Scholar (1986 - 1987)
  UNIVERSITY OF MICHIGAN, Joint with Michigan Business School (now the Stephen M.
           Ross School of Business) and Department of Economics
           Assistant Professor (1984 - 1988)
           Lecturer (1984)
  COMMODITY FUTURES TRADING COMMISSION, Division of Economics and
           Education, Washington, D.C.
           Financial Economist (1982 -1983)
  UNIVERSITY OF CHICAGO, Department of Economics
           Instructor for Economic Analysis (1981)
           Research Assistant for A. C. Harberger (1982)
           Research Assistant for Sam Peltzman (1981 - 1982)
  U. S. DEPARTMENT OF THE TREASURY, Office of Tax Analysis, Washington, D.C.
           Research Assistant (1981)




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  “An Economist's View of Amgen,” Law360, May 2, 2013.
             http://www.law360.com/articles/438303/an-economist-s-view-of-amgen.
  “The Curious Incident of the Dog that Didn’t Bark and Establishing Cause-and-Effect in
             Class Action Securities Litigation,” (with H. Nejat Seyhun), Virginia Law &
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  “Fraud on the Market: Analysis of the Efficiency of the Corporate Bond Market,” (with
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             Number 3, Volume 2011.
  “Luck Versus Forecast Ability: Determinants of Trader Performance in Futures Markets,”
             Journal of Business, January 1991. Also reprinted in Classic Futures: Lessons
             from the Past for the Electronic Age, by Lester Telser, Risk Books, March 2000.
  “Business Valuations for the Personal Lawyer,” Law and Fact, September 1991.
  “Is Risk Aversion a Theoretical Diversion?” The Review of Futures Markets, Volume 7,
             Number 1, 1988.
  “Returns to Individual Traders of Futures: Aggregate Results,” Journal of Political Economy,
             December 1987.
  “Regulating Futures Margin Requirements,” Review of Research on Futures Markets,
             Volume 5, Number 3, 1986.
  “The Effects of Changing Margin Levels on Futures Market Activity, the Composition of
             Traders in the Market, and Price Performance,” Journal of Business, April 1986.
  “Individual Income Taxation, 1947-1979,” (with Eugene Steuerle), National Tax Journal,
             June 1981.


BOARDS

  POWHATAN BUILDING CORPORATION, Director, Treasurer, (2010 - 2016)
  MIDTOWN EDUCATIONAL FOUNDATION, Auxiliary Board Member, (2009 - 2013)
  GLOBAL ENTERTAINMENT CORPORATION (Formerly AMEX: GEE, currently not
           listed); Director, Audit Committee Member (2004 - 2008);
  THE BOARD INSTITUTE (private software company), Financial Advisory Board (2004 -
           2006)
  SHAKER INVESTMENTS, Financial Advisory Board (1992 - 2005)
  PACIFIC BIOMETRICS, INC. (OTC BB: PBMC currently not listed and renamed as Pacific
           Biomarkers), Director and Chairman of Audit Committee (2002 - 2004)
  CRAGAR INDUSTRIES, INC. (Formerly OTC BB: CRGR, company sold);
           Director and Chairman of the Board (1993 - 2004)




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EXPERT REPORTS, DECLARATIONS AND DISCLOSURES PAST FOUR YEARS

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    Report (5/12/2017).
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    California; Report (8/14/2017); Deposition (9/14/2017); Rebuttal Report (11/3/2017);
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    Court for the Southern District of New York; Report (10/30/2017); Deposition (11/16/2017);
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Christopher S. Porrino, Attorney General of New Jersey on behalf of Amy G. Kopleton, Deputy Chief
    of the New Jersey Bureau of Securities v. Credit Suisse Securities (USA) LLC, et al. Superior Court
    of New Jersey, Chancery Division Mercer County; Report (12/1/2017);
    Opposition Report (5/14/2018); Reply Report (7/16/2018); Deposition (2/13/2019).
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    Deutsche Bank Trust Company Americas. Superior Court of California in and for the County of
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    Deutsche Bank Trust Company Americas. U.S. District Court for the Southern District of New York;
    Report (1/26/2018); Deposition (3/13/2018); Rebuttal Report (4/16/2018).
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    for the Northern District of Illinois Eastern Division; Report (4/1/2008).
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    York; Report (7/30/2018); Updated Report (8/17/2018); Reply Report (11/1/2018).
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    Court of Chancery of the State of Delaware; Report (11/9/2018).


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    Company. U.S. District Court District of Nebraska; Report (1/24/2019); Reply Report (2/14/2019);
    Deposition (3/4/2019).
In Re HD Supply Holdings, Inc. Securities Litigation. U.S. District Court for the Northern District of
    Georgia; Report (3/1/2019); Deposition (5/2/2019).
In Re Signet Jewelers Limited Securities Litigation. U.S. District Court for the Southern District of New
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    Damages Report (9/20/2019); Damages Rebuttal Report (11/13/2019).
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    Affidavit (4/5/2019).
In Re U.S. Steel Consolidated Cases. U.S. District Court for the Western District of Pennsylvania;
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Timber Hill LLC. v. Kraft Heinz Company et al. U.S. District Court for the Northern District of Illinois;
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    District of Texas; Report (5/28/2019); Supplemental Report (8/26/2019).
Lord Abbett Affiliated Fund, Inc., et al, v Navient Corporation, et al. U.S. District Court for the District
    of Delaware; Report (9/6/2019); Deposition (10/23/2019); Reply Report (12/20/2019).
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                                                     Appendix B
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          3/11/2014; 5/7/2014; 5/19/2014; 6/3/2014; 6/12/2014; 8/6/2014; 9/11/2014; 11/5/2014; 12/9/2014; 2/11/2015;
          3/2/2015; 3/9/2015; 5/5/2015; 5/18/2015; 6/4/2015; 6/24/2015; 8/5/2015; 8/12/2015; 9/10/2015; 11/4/2015;
          12/7/2015; 1/13/2016; 2/10/2016; 3/2/2016; 3/7/2016; 3/8/2016; 5/4/2016; 8/3/2016; 8/10/2016; 9/15/2016;
          9/21/2016; 10/31/2016; 11/10/2016; 11/29/2016; 12/5/2016; 1/4/2017; 2/8/2017; 3/3/2017; 3/7/2017; 5/3/2017;
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In re Bridgepoint Educ. Inc. Sec. Litig., 2015 WL 224631, (S.D. Cal. Jan. 15, 2015).
In re China MediaExpress Holdings, Inc. S’holder Litig., 38 F. Supp. 3d 415 (S.D.N.Y. 2014).
In re Cobalt Intl. Energy, Inc., Sec. Litig., 2017 WL 2608243 (S.D. Tex. 2017).
In re Computer Sciences Corp. Securities Litig., 288 F.R.D. 112 (E.D. Va. 2012).
In re Diamond Foods, Inc., 295 F.R.D. 240 (N.D. Cal. 2013).
In re DVI, Inc. Sec. Litig., 249 F.R.D. 196 (E.D. Pa. 2008).
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In re Dynex Capital, Inc. Sec. Litig., U.S. Dist. LEXIS 22484 (S.D.N.Y. Mar. 7, 2011).
In re Enron Corp. Sec. Derivative & “ERISA” Litig., 529 F. Supp. 2d 644 (S.D. Tex. 2006).
In re Groupon, Inc. Sec. Litig., 2015 WL 1043321 (N.D. Ill. 2015).
In re HealthSouth Corp. Sec. Litig., 257 F.R.D. 260 (N.D. Ala. 2009).
In re HealthSouth Corp. Sec. Litig., 261 F.R.D. 616 (N.D. Ala. 2009).
In re Mills Corp. Sec. Litig., 257 F.R.D. 101 (E.D. Va. 2009).
In re Netbank, Inc. Securities Litig., 259 F.R.D. 656 (N.D. Ga. 2009).
In re PolyMedica Corp. Sec. Litig., 453 F. Supp. 2d 260 (D. Mass. 2006).
In re Scientific-Atlanta, 571 F. Supp. 2d 1315 (N.D. Ga. 2007).
In re Signet Jewelers Limited Sec. Litig., 2019 WL 3001084 (S.D.NY. July 10, 2019).
In re Vivendi Universal, S.A., Sec. Litig., 634 F. Supp. 2d 352 (S.D.N.Y. 2009).
In re Xcelera.com Sec. Litig., 430 F.3d 503 (1st Cir. 2005).
Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001).
Lapin v. Goldman Sachs & Co., 254 F.R.D. 168 (S.D.N.Y.2008).
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         Diversified Telecom Services Industry GICS Level 3 Total Return Index (S5DITETR INDEX, data on non-total
         return version of this index (S5DIVT INDEX) before 6/27/2013), S&P Composite 1500 Telecommunication
         Services (Sector) Total Return Index (SPTRSC50 INDEX), S&P Supercomposite Diversified Telecom Services
         Industry GICS Level 3 Total Return Index (STRDIVT INDEX, data on non-total return version of this index
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         Index (S5DITETR INDEX), S&P Composite 1500 Telecommunication Services (Sector) Total Return Index
         (SPTRSC50 INDEX), S&P Supercomposite Diversified Telecom Services Industry GICS Level 3 Total Return
         Index (STRDIVT INDEX), and S&P Supercomposite Alternative Carriers Sub Industry Total Return Index
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Bloomberg bid and ask prices for CenturyLink Inc. common stock, February 2013 – July 2017.
Bloomberg total analyst recommendations for CenturyLink Inc. common stock, February 2013 – July 2017.
Number of analysts providing consensus I/B/E/S estimates for CenturyLink Inc. common stock, March 2013 – July 2017,
         from S&P Capital IQ.
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All other specific materials and information otherwise described or set forth in the body of this Report, Exhibits or
         Appendices.




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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
3/1/2013 Fri   6,545,795   $34.89      $0.00   0.63%   0.23%   0.18%   0.22%     0.42%      0.56 57.96%       $0.14    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/01/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/01/2013)
                                                                                                                       GlobalData Analyst Report (Capital IQ - Manual Entry, 03/01/2013)
                                                                                                                       GlobalData Analyst Report (Eikon - Manual Entry, 03/01/2013)
                                                                                                                       Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/01/2013)
                                                                                                                       LIBERTY OR DEATH (Corporate Counsel - Factiva, 03/01/2013)
                                                                                                                       Pivotal Research Group Analyst Report (Capital IQ - Manual Entry, 03/01/2013)
                                                                                                                       Pivotal Research Group Analyst Report (Eikon - Manual Entry, 03/01/2013)
                                                                                                                       Savvis launches hosting service for SAP's new hit database software (St. Louis Business Journal
                                                                                                                       Online - Factiva, 03/01/2013)
3/2/2013 Sat                                                                                                           CenturyLink, Inc. CenturyLink revises capital allocation strategy (Investment Weekly News -
                                                                                                                       Factiva, 03/02/2013)
                                                                                                                       Fitch Ratings; Fitch Downgrades CenturyLink's IDR to 'BB+'; Outlook Stable (Investment Weekly
                                                                                                                       News - Factiva, 03/02/2013)
3/3/2013 Sun
3/4/2013 Mon   5,474,546   $35.11      $0.00   0.63%   0.46%   0.39%   0.47%     0.16%      0.22 82.81%       $0.06    CenturyLink Declares Dividend (Wireless News - Factiva, 03/04/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/04/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/04/2013)
                                                                                                                       FORM 8-K: MERRILL LYNCH DEPOSITOR FILES CURRENT REPORT (US Fed News -
                                                                                                                       Factiva, 03/04/2013)
                                                                                                                       IDAHO -- Proposal rejecting PUC revised service restoration rule clears Senate (TR's State
                                                                                                                       NewsWire - Factiva, 03/04/2013)
                                                                                                                       CenturyLink breaks ground on Technology Center of Excellence (PR Newswire (U.S.) - Factiva,
                                                                                                                       03/04/2013 02:58 PM)
                                                                                                                       PRESS RELEASE: CenturyLink breaks ground on Technology Center of Excellence (Dow Jones
                                                                                                                       Newswires - Factiva, 03/04/2013 02:58 PM)
                                                                                                                       *DJ CenturyLink (CTL) Mkt On Close Sell Imbalance: Shrs 68000 (Dow Jones Newswires - Factiva,
                                                                                                                       03/04/2013 03:45 PM)
                                                                                                                       CenturyLink (CTL) Mkt On Close Sell Imbalance: Shrs 68000 (Dow Jones News Service - Factiva,
                                                                                                                       03/04/2013 03:45 PM)
3/5/2013 Tue   5,383,057   $35.23      $0.00   0.34%   0.96%   0.36%   0.77%    -0.43%     -0.57 56.92%       -$0.15   CenturyLink, Inc. at Raymond James Institutional Investors Conference - Final (CQ FD Disclosure -
                                                                                                                       Factiva, 03/05/2013)
                                                                                                                       CenturyLink's new Technology Centre of Excellence at Louisiana launched (M2 EquityBites -
                                                                                                                       Factiva, 03/05/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/05/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/05/2013)
                                                                                                                       FCC SEEKS MORE DATA FROM CenturyLink FOR FORBEARANCE REQUEST (TR Daily -
                                                                                                                       Factiva, 03/05/2013)
                                                                                                                       MarketLine Analyst Report (Eikon - Manual Entry, 03/05/2013)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/05/2013)
                                                                                                                       Savvis Responds to European Demand with Expansion of London Data Centre Footprint (Canada
                                                                                                                       NewsWire - Factiva, 03/05/2013 07:00 AM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                   [13]
                                                            Excess                                            Abnormal
                                                    Market Industry Predicted Abnormal                          Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                Events
                                                                                                                         Savvis Responds to European Demand with Expansion of London Data Centre Footprint (PR
                                                                                                                         Newswire (U.S.) - Factiva, 03/05/2013 07:00 AM)
                                                                                                                         Savvis Responds to European Demand with Expansion of London Data Centre Footprint (PR
                                                                                                                         Newswire Asia - Factiva, 03/05/2013 07:00 AM)
                                                                                                                         Savvis Responds to European Demand with Expansion of London Data Centre Footprint (PR
                                                                                                                         Newswire Europe - Factiva, 03/05/2013 07:00 AM)
                                                                                                                         SAVVIS RESPONDS TO EUROPEAN DEMAND WITH EXPANSION OF LONDON DATA
                                                                                                                         CENTRE FOOTPRINT (Press Association National Newswire - Factiva, 03/05/2013 07:00 AM)
                                                                                                                         PRESS RELEASE: Savvis Responds to European Demand with Expansion of London Data Centre
                                                                                                                         Footprint (Dow Jones Newswires - Factiva, 03/05/2013 07:01 AM)
                                                                                                                         CenturyLink Consumer Tips for Online Safety (PR Newswire (U.S.) - Factiva, 03/05/2013 10:21 AM)

                                                                                                                         Death Crosses Over The Past Trading Week (50 SMA Crossed Below 200 SMA) (Benzinga.com -
                                                                                                                         Factiva, 03/05/2013 01:10 PM)
3/6/2013 Wed   6,010,606   $35.60      $0.00   1.05%   0.14%   -0.76%   -0.28%    1.33%      1.77   7.98%       $0.47    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/06/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/06/2013)
                                                                                                                         Savvis expands London data centre to meet demands for services (M2 EquityBites - Factiva,
                                                                                                                         03/06/2013)
                                                                                                                         Savvis expands London data centre to meet demands for services (Worldwide Computer Products
                                                                                                                         News - Factiva, 03/06/2013)
                                                                                                                         SAVVIS opens data center in London (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         03/06/2013)
                                                                                                                         Unified Messaging signs licensing agreement with With CenturyLink (MarketLine (a Datamonitor
                                                                                                                         Company), Financial Deals Tracker - Factiva, 03/06/2013)
                                                                                                                         Acacia Subsidiary Enters into License Agreement with CenturyLink, Inc. (Business Wire - Factiva,
                                                                                                                         03/06/2013 06:00 AM)
                                                                                                                         PRESS RELEASE: Acacia Subsidiary Enters into License Agreement with CenturyLink, Inc. (Dow
                                                                                                                         Jones Newswires - Factiva, 03/06/2013 06:00 AM)
                                                                                                                         DJ Analysts' Ratings: Fixed Line Telecom (Dow Jones Newswires - Factiva, 03/06/2013 08:27 AM)

                                                                                                                         *DJ CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 200800 (Dow Jones Newswires -
                                                                                                                         Factiva, 03/06/2013 03:45 PM)
                                                                                                                         CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 200800 (Dow Jones News Service - Factiva,
                                                                                                                         03/06/2013 03:45 PM)
3/7/2013 Thu   7,543,741   $34.53      $0.54 -1.49%    0.19%   0.17%    0.21%    -1.70%     -2.24   2.72% *     -$0.61   CenturyLink APPOINTMENT (TR Daily - Factiva, 03/07/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/07/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/07/2013)
                                                                                                                         IOWA -- Telcos press IUB to revoke AventureÃ¢â‚¬â„¢s operating authority in state (TR's State
                                                                                                                         NewsWire - Factiva, 03/07/2013)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 03/07/2013)
                                                                                                                         *DJ CenturyLink Names Kevin McCarter Central Region Pres (Dow Jones Newswires - Factiva,
                                                                                                                         03/07/2013 01:00 PM)
                                                                                                                         CenturyLink Names Kevin McCarter Central Region Pres (Dow Jones News Service - Factiva,
                                                                                                                         03/07/2013 01:00 PM)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events

                                                                                                                         CenturyLink names Kevin McCarter Central Region president (PR Newswire (U.S.) - Factiva,
                                                                                                                         03/07/2013 01:00 PM)
                                                                                                                         PRESS RELEASE: CenturyLink names Kevin McCarter Central Region president (Dow Jones
                                                                                                                         Newswires - Factiva, 03/07/2013 01:00 PM)
                                                                                                                         *DJ CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 86000 (Dow Jones Newswires - Factiva,
                                                                                                                         03/07/2013 03:45 PM)
                                                                                                                         CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 86000 (Dow Jones News Service - Factiva,
                                                                                                                         03/07/2013 03:45 PM)
 3/8/2013 Fri   6,309,524   $34.39      $0.00 -0.41%    0.46%   0.49%    0.49%    -0.90%     -1.17 24.60%       -$0.31   CenturyLink names Kevin McCarter as President, Central Region (M2 EquityBites - Factiva,
                                                                                                                         03/08/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/08/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/08/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/08/2013)
                                                                                                                         Moody Nolan filling pipeline as projects move to construction (Business First of Columbus Online -
                                                                                                                         Factiva, 03/08/2013)
                                                                                                                         *DJ CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 169100 (Dow Jones Newswires -
                                                                                                                         Factiva, 03/08/2013 03:45 PM)
                                                                                                                         CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 169100 (Dow Jones News Service - Factiva,
                                                                                                                         03/08/2013 03:45 PM)
 3/9/2013 Sat
3/10/2013 Sun
3/11/2013 Mon   7,968,952   $34.43      $0.00   0.12%   0.33%   -0.47%   -0.01%    0.13%      0.17 86.61%       $0.05    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/11/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/11/2013)
                                                                                                                         OREGON -- Supreme Court denies CenturyTel appeal of tax court decision (TR's State NewsWire -
                                                                                                                         Factiva, 03/11/2013)
                                                                                                                         XRS names Reidy COO (American Shipper - Factiva, 03/11/2013)
                                                                                                                         *DJ CenturyLink Launches New Advertising Campaign (Dow Jones Newswires - Factiva, 03/11/2013
                                                                                                                         06:00 AM)
                                                                                                                         CenturyLink Launches New Advertising Campaign (Dow Jones News Service - Factiva, 03/11/2013
                                                                                                                         06:00 AM)
                                                                                                                         CenturyLink Launches New Advertising Campaign (PR Newswire (U.S.) - Factiva, 03/11/2013 06:00
                                                                                                                         AM)
                                                                                                                         Dividend Stocks: Early Morning Insight into Windstream, CenturyLink, Frontier
                                                                                                                         Communications, and France Telecom (PR Newswire (U.S.) - Factiva, 03/11/2013 08:01 AM)
                                                                                                                         Death Crosses Over The Past Trading Week (50 SMA Cross Below 200 SMA) (Benzinga.com -
                                                                                                                         Factiva, 03/11/2013 03:28 PM)
3/12/2013 Tue   5,299,420   $34.57      $0.00   0.41% -0.24%    0.72%    0.15%     0.25%      0.33 74.54%       $0.09    ARIZONA -- North County wants court to invalidate ICA with CenturyLink (TR's State NewsWire -
                                                                                                                         Factiva, 03/12/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/12/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/12/2013)
                                                                                                                         Plunkett Research, Ltd. Analyst Report (Capital IQ - Manual Entry, 03/12/2013)
                                                                                                                         XRS names Brendan Reidy as new President and COO (M2 EquityBites - Factiva, 03/12/2013)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                  [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
3/13/2013 Wed   3,320,152   $34.72      $0.00   0.43%   0.17%   -0.57%   -0.13%    0.57%      0.73 46.42%       $0.20    Level 3 Communications at Piper Jaffray Technology, Media and Telecommunications Conference -
                                                                                                                         Final (CQ FD Disclosure - Factiva, 03/13/2013)
                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 03/13/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/13/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/13/2013)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/13/2013)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/13/2013)
                                                                                                                         Innovations, Personnel Changes Draw Competition Toward with Major Players - Research Report
                                                                                                                         on CenturyLink, Windstream, Cincinnati Bell, BCE and Frontier Communications (PR Newswire
                                                                                                                         (U.S.) - Factiva, 03/13/2013 08:01 AM)
                                                                                                                         DJ Analysts' Ratings: Fixed Line Telecom (Dow Jones Newswires - Factiva, 03/13/2013 08:27 AM)

                                                                                                                         Bank of America Reiterates Buy Rating, $38 PT on CenturyLink on Wireline Stocks (Benzinga.com -
                                                                                                                         Factiva, 03/13/2013 11:01 AM)
                                                                                                                         EMC, VMware Contemplate Spin Off of Software Companies (Dow Jones Top News & Commentary -
                                                                                                                         Factiva, 03/13/2013 01:02 PM)
3/14/2013 Thu   4,360,604   $34.75      $0.00   0.09%   0.56%   0.40%    0.52%    -0.43%     -0.56 57.48%       -$0.15   COLORADO -- PUC denies CenturyLink second appeal of deregulation order (TR's State NewsWire
                                                                                                                         - Factiva, 03/14/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/14/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/14/2013)
                                                                                                                         Moody's lowers CenturyLink's senior unsecured rating to Ba2; outlook stable (Moody's Investors
                                                                                                                         Service Press Release - Factiva, 03/14/2013)
                                                                                                                         *DJ Moody's Lowers Centurylink's Senior Unsecured Rating To Ba2; Outlook Stable (Dow Jones
                                                                                                                         Newswires - Factiva, 03/14/2013 11:07 AM)
                                                                                                                         *DJ CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 135900 (Dow Jones Newswires -
                                                                                                                         Factiva, 03/14/2013 03:45 PM)
                                                                                                                         CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 135900 (Dow Jones News Service - Factiva,
                                                                                                                         03/14/2013 03:45 PM)
3/15/2013 Fri   8,856,862   $34.37      $0.00 -1.09% -0.16%     -0.94%   -0.49%   -0.60%     -0.79 43.39%       -$0.21   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/15/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/15/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/15/2013)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 03/15/2013)
                                                                                                                         *DJ CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 513200 (Dow Jones Newswires -
                                                                                                                         Factiva, 03/15/2013 03:45 PM)
                                                                                                                         CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 513200 (Dow Jones News Service - Factiva,
                                                                                                                         03/15/2013 03:45 PM)
                                                                                                                         AT&T Signals It May Sell Assets to Fund Dividends, Buybacks (Dow Jones News Service - Factiva,
                                                                                                                         03/15/2013 06:01 PM)
                                                                                                                         DJ AT&T Signals It May Sell Assets to Fund Dividends, Buybacks (Dow Jones Newswires - Factiva,
                                                                                                                         03/15/2013 06:01 PM)
3/16/2013 Sat                                                                                                            CenturyLink appoints president for central region (MarketLine (a Datamonitor Company), Company
                                                                                                                         News - Factiva, 03/16/2013 10:46 AM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
3/17/2013 Sun                                                                                                           Contract Award: Qwest Communications International Wins Federal Contract for "Competitive
                                                                                                                        Inquiry 517110" (US Fed News - Factiva, 03/17/2013)
3/18/2013 Mon   5,225,833   $34.20      $0.00 -0.49% -0.55%    0.51%   -0.11%    -0.38%      -0.5 62.02%       -$0.13   CenturyLink deploys Ciena 100G technology (Total Telecom Plus - Factiva, 03/18/2013)
                                                                                                                        CenturyLink Inc Prices $1.0 Billion Of Debt Securities (Reuters Significant Developments - Factiva,
                                                                                                                        03/18/2013)
                                                                                                                        CenturyLink PREPS BOND SALE (TR Daily - Factiva, 03/18/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/18/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/18/2013)
                                                                                                                        Moodyâ€™s Analyst Report (Capital IQ - Manual Entry, 03/18/2013)
                                                                                                                        Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/18/2013)
                                                                                                                        Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/18/2013)
                                                                                                                        Moody's lowers CenturyLink ratings (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                        03/18/2013)
                                                                                                                        Moody's rates CenturyLink new notes Ba2 (Moody's Investors Service Press Release - Factiva,
                                                                                                                        03/18/2013)
                                                                                                                        S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 03/18/2013)
                                                                                                                        CenturyLink Deploys Ciena 100G Packet Optical Technology Across Global Network (Business
                                                                                                                        Wire - Factiva, 03/18/2013 09:00 AM)
                                                                                                                        PRESS RELEASE: CenturyLink Deploys Ciena 100G Packet Optical Technology Across Global
                                                                                                                        Network (Dow Jones Newswires - Factiva, 03/18/2013 09:00 AM)
                                                                                                                        Death Crosses Over The Past Trading Week (50 SMA Cross Below 200 SMA); BTU, COF, CTL
                                                                                                                        (Benzinga.com - Factiva, 03/18/2013 12:06 PM)
                                                                                                                        *DJ Fitch Rates CenturyLink's Senior Unsecured Notes Offering 'BB+'; Outlook Stable (Dow Jones
                                                                                                                        Newswires - Factiva, 03/18/2013 03:12 PM)
                                                                                                                        *DJ Moody's Rates Centurylink New Notes Ba2 (Dow Jones Newswires - Factiva, 03/18/2013 03:17
                                                                                                                        PM)
                                                                                                                        Fitch Rates CenturyLink's Senior Unsecured Notes Offering 'BB+'; Outlook Stable (Business Wire -
                                                                                                                        Factiva, 03/18/2013 03:25 PM)
                                                                                                                        CenturyLink prices $1.0 billion of Debt Securities (PR Newswire (U.S.) - Factiva, 03/18/2013 05:27
                                                                                                                        PM)
                                                                                                                        PRESS RELEASE: CenturyLink prices $1.0 billion of Debt Securities (Dow Jones Newswires -
                                                                                                                        Factiva, 03/18/2013 05:27 PM)
                                                                                                                        *DJ S&P Assigns CenturyLink's Senior Notes 'BB' Rtg (Recovery: 4) (Dow Jones Newswires -
                                                                                                                        Factiva, 03/18/2013 05:34 PM)
                                                                                                                        *DJ Internet Providers Persuade FCC Panel Against Cybersecurity Recommendations (Dow Jones
                                                                                                                        Newswires - Factiva, 03/18/2013 07:09 PM)
                                                                                                                        Savvis Strengthens Asian Operations with Additions of Osamu Numata and Tan Teng Cheong (PR
                                                                                                                        Newswire Asia - Factiva, 03/18/2013 09:00 PM)
                                                                                                                        Savvis Strengthens Asian Operations with Additions of Osamu Numata and Tan Teng Cheong (PR
                                                                                                                        Newswire Asia - Factiva, 03/18/2013 09:00 PM)
                                                                                                                        Internet Providers Persuade FCC Panel Against Cybersecurity Recommendations (The Wall Street
                                                                                                                        Journal Online - Factiva, 03/18/2013 10:09 PM)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
3/19/2013 Tue    4,380,525   $34.25      $0.00   0.15% -0.24%    0.43%    0.03%     0.11%      0.15 88.49%       $0.04    CALIFORNIA -- CLECs want to file briefs in Qwest discrimination case (TR's State NewsWire -
                                                                                                                          Factiva, 03/19/2013)
                                                                                                                          CenturyLink deploys Ciena 100G packet optical technology across global network (Internet Business
                                                                                                                          News - Factiva, 03/19/2013)
                                                                                                                          CenturyLink PRICES $1 BILLION BOND OFFERING (TR Daily - Factiva, 03/19/2013)
                                                                                                                          CenturyLink prices $1B debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                          03/19/2013)
                                                                                                                          Centurylink teams with AARP for free tax help (Phoenix Business Journal Online - Factiva,
                                                                                                                          03/19/2013)
                                                                                                                          CenturyLink to offer USD1.0bn in senior notes (M2 EquityBites - Factiva, 03/19/2013)
                                                                                                                          CienaÃ¢â‚¬â„¢s 100G packet optical technology deployed by CenturyLink (M2 EquityBites -
                                                                                                                          Factiva, 03/19/2013)
                                                                                                                          CienaÃ¢â‚¬â„¢s 100G packet optical technology deployed by CenturyLink (Worldwide Computer
                                                                                                                          Products News - Factiva, 03/19/2013)
                                                                                                                          Corporate News: Internet Providers Persuade FCC Panel Against Cybersecurity Recommendations
                                                                                                                          (The Wall Street Journal - Factiva, 03/19/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/19/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/19/2013)
                                                                                                                          MISSOURI -- Muni tax lawsuit against CenturyLink remanded to circuit court (TR's State
                                                                                                                          NewsWire - Factiva, 03/19/2013)
                                                                                                                          Moody's raises CenturyLink rating (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                          03/19/2013)
                                                                                                                          Savvis names Osamu Numata and Tan Teng Cheong to lead Asian operations (M2 EquityBites -
                                                                                                                          Factiva, 03/19/2013)
                                                                                                                          WSJ BLOG: Internet Providers Persuade FCC Panel Against Cybersecurity Recommendations
                                                                                                                          (Dow Jones News Service - Factiva, 03/19/2013 10:31 AM)
                                                                                                                          WSJ BLOG: Internet Providers Persuade FCC Panel Against Cybersecurity Recommendations
                                                                                                                          (Dow Jones Newswires - Factiva, 03/19/2013 10:31 AM)
3/20/2013 Wed   10,043,379   $34.58      $0.00   0.96%   0.67%   -0.59%   0.16%     0.81%      1.06 28.96%       $0.28    CENTURYLINK REPORTS MULTIPLE TRANSACTIONS BY CEO POST (Louisiana) (US Fed
                                                                                                                          News - Factiva, 03/20/2013)
                                                                                                                          CENTURYLINK REPORTS MULTIPLE TRANSACTIONS BY EXECUTIVE VP PUCKETT
                                                                                                                          (Louisiana) (US Fed News - Factiva, 03/20/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/20/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/20/2013)
                                                                                                                          Fitch rates CenturyLink debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                          03/20/2013)
                                                                                                                          FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 03/20/2013)
                                                                                                                          S&P rates CenturyLink's notes (SNL Kagan Media & Communications Report - Factiva, 03/20/2013)

                                                                                                                          DJ Analysts' Ratings: Fixed Line Telecom (Dow Jones Newswires - Factiva, 03/20/2013 08:27 AM)

                                                                                                                          *DJ CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 99000 (Dow Jones Newswires - Factiva,
                                                                                                                          03/20/2013 03:45 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 99000 (Dow Jones News Service - Factiva,
                                                                                                                        03/20/2013 03:45 PM)
3/21/2013 Thu   5,477,392   $34.49      $0.00 -0.26% -0.83%    0.62%   -0.24%    -0.02%     -0.02 98.10%       -$0.01   BUREAU APPROVES CenturyLinkÃ¢â‚¬â„¢s FORBEARANCE PETITION WITHDRAWAL
                                                                                                                        (TR Daily - Factiva, 03/21/2013)
                                                                                                                        CenturyLink allows shareholders to buy shares (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 03/21/2013)
                                                                                                                        CenturyLink Launches Ciena 100G Packet Optical Technology Across Global Network
                                                                                                                        (Manufacturing Close-Up - Factiva, 03/21/2013)
                                                                                                                        CENTURYLINK REPORTS DISPOSITION BY SENIOR VP CORPORATE STRATEGY AND
                                                                                                                        PRODUCT DEVELOPMENT BEAL (Louisiana) (US Fed News - Factiva, 03/21/2013)
                                                                                                                        CENTURYLINK REPORTS DISPOSITION BY SENIOR VP NETWORK SERVICES MOREAU
                                                                                                                        (Louisiana) (US Fed News - Factiva, 03/21/2013)
                                                                                                                        CENTURYLINK REPORTS MULTIPLE TRANSACTIONS BY EXECUTIVE VP EWING
                                                                                                                        (Louisiana) (US Fed News - Factiva, 03/21/2013)
                                                                                                                        CENTURYLINK REPORTS MULTIPLE TRANSACTIONS BY EXECUTIVE VP GOFF
                                                                                                                        (Louisiana) (US Fed News - Factiva, 03/21/2013)
                                                                                                                        CENTURYLINK REPORTS MULTIPLE TRANSACTIONS BY PRESIDENT WHOLESALE
                                                                                                                        OPERATIONS CHEEK (Louisiana) (US Fed News - Factiva, 03/21/2013)
                                                                                                                        CENTURYLINK REPORTS MULTIPLE TRANSACTIONS BY SENIOR VP COLE (Louisiana)
                                                                                                                        (US Fed News - Factiva, 03/21/2013)
                                                                                                                        CenturyLink UNIT CEO (TR Daily - Factiva, 03/21/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/21/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/21/2013)
                                                                                                                        Fitch Rates CenturyLink's Senior Unsecured Notes Offering 'BB+'; Outlook Stable (Entertainment
                                                                                                                        Close-Up - Factiva, 03/21/2013)
                                                                                                                        Fitch Rates CenturyLink's Senior Unsecured Notes Offering 'BB+'; Outlook Stable (Wireless News -
                                                                                                                        Factiva, 03/21/2013)
                                                                                                                        Savvis CEO Jim Ousley to retire (St. Louis Business Journal Online - Factiva, 03/21/2013)
                                                                                                                        CenturyLink announces executive retirement (Canada NewsWire - Factiva, 03/21/2013 12:58 PM)
                                                                                                                        CenturyLink announces executive retirement (PR Newswire (U.S.) - Factiva, 03/21/2013 12:58 PM)

                                                                                                                        CenturyLink announces executive retirement (PR Newswire Asia - Factiva, 03/21/2013 12:58 PM)
                                                                                                                        CenturyLink announces executive retirement (PR Newswire Europe - Factiva, 03/21/2013 12:58 PM)

                                                                                                                        CENTURYLINK ANNOUNCES EXECUTIVE RETIREMENT (Press Association National
                                                                                                                        Newswire - Factiva, 03/21/2013 12:58 PM)
                                                                                                                        PRESS RELEASE: CenturyLink announces executive retirement (Dow Jones Newswires - Factiva,
                                                                                                                        03/21/2013 12:58 PM)
                                                                                                                        PRESS RELEASE: CenturyLink announces executive retirement (Dow Jones Newswires - Factiva,
                                                                                                                        03/21/2013 12:59 PM)
                                                                                                                        CenturyLink's Savvis CEO to Retire (Dow Jones News Service - Factiva, 03/21/2013 01:24 PM)
                                                                                                                        CenturyLink's Savvis CEO to Retire (Dow Jones Top News & Commentary - Factiva, 03/21/2013
                                                                                                                        01:24 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                Events
                                                                                                                        DJ CenturyLink's Savvis CEO to Retire (Dow Jones Newswires - Factiva, 03/21/2013 01:24 PM)
                                                                                                                        CenturyLink's Savvis CEO to Retire (Dow Jones Global News Select - Factiva, 03/21/2013 01:39 PM)

3/22/2013 Fri   6,278,765   $35.03      $0.00   1.57%   0.72%   0.20%   0.55%     1.02%      1.33 18.49%       $0.35    CenturyLink announces retirement of Savvis CEO (M2 EquityBites - Factiva, 03/22/2013)
                                                                                                                        CenturyLink unit names new leadership in Asia (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 03/22/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/22/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/22/2013)
                                                                                                                        FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 03/22/2013)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/22/2013)
                                                                                                                        SAVVIS CEO to retire (SNL Kagan Media & Communications Report - Factiva, 03/22/2013)
                                                                                                                        *DJ CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 141400 (Dow Jones Newswires -
                                                                                                                        Factiva, 03/22/2013 03:45 PM)
                                                                                                                        CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 141400 (Dow Jones News Service - Factiva,
                                                                                                                        03/22/2013 03:45 PM)
3/23/2013 Sat                                                                                                           CenturyLink, Inc. CenturyLink Consumer Tips for Online Safety (Investment Weekly News -
                                                                                                                        Factiva, 03/23/2013)
3/24/2013 Sun
3/25/2013 Mon   4,910,880   $34.99      $0.00 -0.11% -0.33%     0.13%   -0.12%    0.01%      0.01 99.22%       $0.00    CenturyLink completes $1B debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                        03/25/2013)
                                                                                                                        CenturyLink Introduces Ciena 100G Packet Optical Technology Across Global Network
                                                                                                                        (Professional Services Close-Up - Factiva, 03/25/2013)
                                                                                                                        Contract Award: CenturyLink Wins Federal Contract for "Local Exchange Service for 347 RCS
                                                                                                                        Milwaukee (IL Sites)" (US Fed News - Factiva, 03/25/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/25/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/25/2013)
                                                                                                                        Fitch Rates CenturyLink's Senior Unsecured Notes Offering 'BB+'; Outlook Stable (Entertainment
                                                                                                                        Close-Up - Factiva, 03/25/2013)
3/26/2013 Tue   4,088,242   $35.20      $0.00   0.60%   0.81%   0.20%   0.66%    -0.06%     -0.07 94.06%       -$0.02   CenturyLink Notes Retirement of Jim Ousley (Wireless News - Factiva, 03/26/2013)
                                                                                                                        CENTURYLINK REPORTS ACQUISITION BY DIRECTOR ROBERTS (Louisiana) (US Fed
                                                                                                                        News - Factiva, 03/26/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/26/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/26/2013)
                                                                                                                        Fitch Rates CenturyLink's Senior Unsecured Notes Offering 'BB+'; Outlook Stable (Wireless News -
                                                                                                                        Factiva, 03/26/2013)
                                                                                                                        FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 03/26/2013)
                                                                                                                        CenturyLink deploys Ciena's converged optical platform for network upgrade (MarketLine (a
                                                                                                                        Datamonitor Company), Company News - Factiva, 03/26/2013 03:15 AM)
                                                                                                                        PRESS RELEASE: Savvis Drives Collaboration, Interconnectivity with Introduction of Savvis
                                                                                                                        ClientConnect (Dow Jones Newswires - Factiva, 03/26/2013 09:00 AM)
                                                                                                                        Savvis Drives Collaboration, Interconnectivity with Introduction of Savvis ClientConnect (PR
                                                                                                                        Newswire (U.S.) - Factiva, 03/26/2013 09:00 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]         [11]        [12]                                                   [13]
                                                             Excess                                              Abnormal
                                                     Market Industry Predicted Abnormal                            Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat      p-Value   Reaction                                                Events
                                                                                                                            Savvis Drives Collaboration, Interconnectivity with Introduction of Savvis ClientConnect (PR
                                                                                                                            Newswire Asia - Factiva, 03/26/2013 09:00 AM)
                                                                                                                            Savvis Drives Collaboration, Interconnectivity with Introduction of Savvis ClientConnect (PR
                                                                                                                            Newswire Europe - Factiva, 03/26/2013 09:00 AM)
                                                                                                                            SAVVIS DRIVES COLLABORATION, INTERCONNECTIVITY WITH INTRODUCTION OF
                                                                                                                            SAVVIS CLIENTCONNECT (Press Association National Newswire - Factiva, 03/26/2013 09:00 AM)

                                                                                                                            PRESS RELEASE: Savvis Drives Collaboration, Interconnectivity with Introduction of Savvis
                                                                                                                            ClientConnect (Dow Jones Newswires - Factiva, 03/26/2013 09:01 AM)
                                                                                                                            Savvis Drives Collaboration, Interconnectivity with Introduction of Savvis ClientConnect (Canada
                                                                                                                            NewsWire - Factiva, 03/26/2013 09:01 AM)
3/27/2013 Wed   3,570,542   $35.12      $0.00 -0.23% -0.05%     -0.56%   -0.23%    0.00%            0 99.87%       $0.00    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/27/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/27/2013)
                                                                                                                            Telephone Communications; Qwest Communications International Inc. Files SEC Form 10-K,
                                                                                                                            Annual Report [Section 13 And 15(D), Not S-K Item 405] (Mar. 12, 2013) (Telecommunications
                                                                                                                            Weekly - Factiva, 03/27/2013)
                                                                                                                            DJ Analysts' Ratings: Fixed Line Telecom (Dow Jones Newswires - Factiva, 03/27/2013 08:27 AM)

                                                                                                                            CenturyLink Schedules First Quarter 2013 Earnings Conference Call (PR Newswire (U.S.) - Factiva,
                                                                                                                            03/27/2013 11:15 AM)
                                                                                                                            PRESS RELEASE: CenturyLink Schedules First Quarter 2013 Earnings Conference Call (Dow
                                                                                                                            Jones Newswires - Factiva, 03/27/2013 11:15 AM)
3/28/2013 Thu   4,865,173   $35.13      $0.00   0.03%   0.41%   0.14%    0.39%    -0.37%     -0.54 59.35%          -$0.13   CenturyLink Notes Retirement of Jim Ousley (Entertainment Close-Up - Factiva, 03/28/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/28/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 03/28/2013)
                                                                                                                            IDAHO -- Proposal rejecting PUC revised service restoration rule clears House (TR's State
                                                                                                                            NewsWire - Factiva, 03/28/2013)
                                                                                                                            NEW MEXICO -- PRC grants CenturyLink waiver of LITAP rule (TR's State NewsWire - Factiva,
                                                                                                                            03/28/2013)
                                                                                                                            Nomura Analyst Report (Eikon - Manual Entry, 03/28/2013)
                                                                                                                            *DJ CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 206100 (Dow Jones Newswires -
                                                                                                                            Factiva, 03/28/2013 03:45 PM)
                                                                                                                            CenturyLink (CTL) Mkt On Close Buy Imbalance: Shrs 206100 (Dow Jones News Service - Factiva,
                                                                                                                            03/28/2013 03:45 PM)
3/29/2013 Fri                                                                                                               Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/29/2013)
                                                                                                                            MarketLine Analyst Report (Eikon - Manual Entry, 03/29/2013)
                                                                                                                            Justices rule phone consortium Syringa can pursue claim against Idaho over Qwest contract
                                                                                                                            (Associated Press Newswires - Factiva, 03/29/2013 05:26 PM)
3/30/2013 Sat
3/31/2013 Sun
 4/1/2013 Mon   4,201,694   $34.86      $0.00 -0.77% -0.44%     1.15%    0.24%    -1.01%     -1.49 14.01%          -$0.36   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/01/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/01/2013)
                                                                                                                            MONTANA -- PSC launches inquiry into broadband availability (TR's State NewsWire - Factiva,
                                                                                                                            04/01/2013)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                            Excess                                                Abnormal
                                                    Market Industry Predicted Abnormal                              Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat       p-Value    Reaction                                                  Events

                                                                                                                             Idaho contracts under scrutiny following Supreme Court ruling, state report (Associated Press
                                                                                                                             Newswires - Factiva, 04/01/2013 07:49 PM)
                                                                                                                             Former Qwest CEO Nacchio trims prison time, now due to be released in September (Associated
                                                                                                                             Press Newswires - Factiva, 04/01/2013 10:30 PM)
4/2/2013 Tue   5,338,554   $35.18      $0.00   0.92%   0.52%   0.38%    0.53%     0.38%      0.56 57.79%            $0.13    CenturyLink seeks school tech grant applications (Idaho State Journal - Factiva, 04/02/2013)
                                                                                                                             EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/02/2013)
                                                                                                                             EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/02/2013)
                                                                                                                             KANSAS -- KCC agrees to maintain current price cap formula for one year (TR's State NewsWire -
                                                                                                                             Factiva, 04/02/2013)
                                                                                                                             Nacchio enters halfway house; Qwest ex-CEO is completing four-year prison term in New York
                                                                                                                             reentry program (The Denver Post - Factiva, 04/02/2013)
                                                                                                                             WITNESSES SET FOR RURAL COMMUNICATIONS HEARING (TR Daily - Factiva, 04/02/2013)

4/3/2013 Wed   6,475,866   $35.06      $0.00 -0.34% -1.04%     -0.15%   -0.70%    0.36%      0.53 59.78%            $0.13    Ciena Corporation; CenturyLink Deploys Ciena 100G Packet Optical Technology Across Global
                                                                                                                             Network (Journal of Engineering - Factiva, 04/03/2013)
                                                                                                                             EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/03/2013)
                                                                                                                             EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/03/2013)
                                                                                                                             GlobalData Analyst Report (Capital IQ - Manual Entry, 04/03/2013)
                                                                                                                             GlobalData Analyst Report (Eikon - Manual Entry, 04/03/2013)
                                                                                                                             Low-income residents eligible for high-speed Internet (Belleville News-Democrat (IL) - Factiva,
                                                                                                                             04/03/2013)
                                                                                                                             PRICE CAP TELCOS URGE RELEASE OF CAF PHASE I FUNDING (TR Daily - Factiva,
                                                                                                                             04/03/2013)
                                                                                                                             DJ CEO POST III Surrenders 19,841 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                             Factiva, 04/03/2013 05:09 PM)
                                                                                                                             DJ COO PUCKETT Surrenders 5,968 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                             Factiva, 04/03/2013 05:11 PM)
                                                                                                                             DJ CFO EWING JR Surrenders 5,383 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                             Factiva, 04/03/2013 05:12 PM)
                                                                                                                             DJ VP GOFF Surrenders 3,404 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                             04/03/2013 05:12 PM)
                                                                                                                             DJ VP COLE Surrenders 3,491 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                             04/03/2013 05:13 PM)
                                                                                                                             DJ Officer CHEEK Surrenders 1,765 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                             Factiva, 04/03/2013 05:14 PM)
                                                                                                                             DJ VP BEAL Surrenders 610 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                             04/03/2013 05:18 PM)
                                                                                                                             DJ VP MOREAU Surrenders 521 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                             04/03/2013 05:22 PM)
4/4/2013 Thu   6,688,770   $36.02      $0.00   2.74%   0.41%   0.97%    0.71%     2.03%            3   0.34% **     $0.71    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/04/2013)
                                                                                                                             EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/04/2013)
                                                                                                                             JP Morgan Analyst Report (Capital IQ - Manual Entry, 04/04/2013)




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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                       JP Morgan Analyst Report (Capital IQ - Manual Entry, 04/04/2013)
                                                                                                                       JP Morgan Analyst Report (Eikon - Manual Entry, 04/04/2013)
                                                                                                                       S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 04/04/2013)
                                                                                                                       Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 04/04/2013)
                                                                                                                       WYOMING -- PSC slates hearing to discuss CenturyLink USF audit (TR's State NewsWire - Factiva,
                                                                                                                       04/04/2013)
                                                                                                                       Benzinga's Top Upgrades (Benzinga.com - Factiva, 04/04/2013 07:34 AM)
                                                                                                                       DJ CenturyLink Raised to Overweight From Neutral by JPMorgan >CTL (Dow Jones Chinese
                                                                                                                       Newswires English Content - Factiva, 04/04/2013 08:13 AM)
                                                                                                                       UPDATE: CenturyLink Upgraded at JP Morgan, Dividend Yield Believed to be Sustainable
                                                                                                                       (Benzinga.com - Factiva, 04/04/2013 08:16 AM)
                                                                                                                       MW Thursday's movers: Facebook, CenturyLink (MarketWatch - Factiva, 04/04/2013 08:29 AM)
                                                                                                                       PRESS RELEASE: RIA Resources enters into arrangement agreement with Qwest Diversified
                                                                                                                       Capital Corp. (Dow Jones Newswires - Factiva, 04/04/2013 01:25 PM)
4/5/2013 Fri   4,075,107   $36.11      $0.00   0.25% -0.43%    0.72%   0.10%     0.15%      0.22 82.68%       $0.06    CALIFORNIA -- Qwest drops Broadwing from discrimination case (TR's State NewsWire - Factiva,
                                                                                                                       04/05/2013)
                                                                                                                       CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 04/05/2013)
                                                                                                                       CFRA Equity Research Analyst Report (Eikon - Manual Entry, 04/05/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/05/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/05/2013)
                                                                                                                       IDAHO -- Legislature adopts proposal rejecting PUC revised service restoration (TR's State
                                                                                                                       NewsWire - Factiva, 04/05/2013)
                                                                                                                       Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/05/2013)
                                                                                                                       JPMorgan upgrades CenturyLink (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                       04/05/2013)
                                                                                                                       Sadif Analytics Analyst Report (Eikon - Manual Entry, 04/05/2013)
                                                                                                                       WASHINGTON -- CenturyLink proposes new AFOR plan (TR's State NewsWire - Factiva,
                                                                                                                       04/05/2013)
                                                                                                                       Otter defends buddy, former Administration director following Idaho Supreme Court critique
                                                                                                                       (Associated Press Newswires - Factiva, 04/05/2013 08:54 AM)
4/6/2013 Sat                                                                                                           Fitch Ratings; Fitch Rates CenturyLink's Senior Unsecured Notes Offering 'BB+'; Outlook Stable
                                                                                                                       (Investment Weekly News - Factiva, 04/06/2013)
                                                                                                                       Investment Companies; CenturyLink prices $1.0 billion of Debt Securities (Investment Weekly News
                                                                                                                       - Factiva, 04/06/2013)
4/7/2013 Sun                                                                                                           Program provides affordable broadband (The Register-Mail - Factiva, 04/07/2013)
                                                                                                                       The Register-Mail (The Register-Mail - Factiva, 04/07/2013)
4/8/2013 Mon   3,033,848   $36.16      $0.00   0.14%   0.66%   0.06%   0.56%    -0.42%     -0.59 55.34%       -$0.15   CFRA Equity Research Analyst Report (Eikon - Manual Entry, 04/08/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/08/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/08/2013)
                                                                                                                       IDAHO -- Supreme Court says Syringa Networks can sue state over bidding process (TR's State
                                                                                                                       NewsWire - Factiva, 04/08/2013)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
 4/9/2013 Tue   3,452,652   $36.35      $0.00   0.53%   0.35%   -0.04%   0.29%     0.23%      0.33 74.02%       $0.08    CENTURYLINK SEEKING APPLICANTS FOR GRANTS (Idaho State Journal - Factiva,
                                                                                                                         04/09/2013)
                                                                                                                         Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 04/09/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/09/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/09/2013)
                                                                                                                         RURAL CARRIERS TELL SENATORS STEPS NEEDED TO PROMOTE RURAL
                                                                                                                         BROADBAND (TR Daily - Factiva, 04/09/2013)
                                                                                                                         DJ CenturyLink Started at Hold by Deutsche Bank >CTL (Dow Jones Chinese Newswires English
                                                                                                                         Content - Factiva, 04/09/2013 07:59 AM)
                                                                                                                         Technical Briefing on Frontier Comm., Windstream, CenturyLink, France Telecom, and Nippon
                                                                                                                         Telegraph & Telephone (PR Newswire (U.S.) - Factiva, 04/09/2013 08:01 AM)
                                                                                                                         UPDATE: Deutsche Bank Initiates CenturyLink with Hold on Current Valuation (Benzinga.com -
                                                                                                                         Factiva, 04/09/2013 09:44 AM)
                                                                                                                         Access to broadband is the central issue in rural communications today (PR Newswire (U.S.) -
                                                                                                                         Factiva, 04/09/2013 11:00 AM)
                                                                                                                         PRESS RELEASE: Access to broadband is the central issue in rural communications today (Dow
                                                                                                                         Jones Newswires - Factiva, 04/09/2013 11:00 AM)
                                                                                                                         DJ Dir NICHOLS Gifts 266 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                         04/09/2013 05:36 PM)
4/10/2013 Wed   5,814,105   $36.95      $0.00   1.65%   1.23%   0.24%    1.02%     0.63%       0.9 36.90%       $0.23    CenturyLink exec testifies in Senate hearing (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         04/10/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/10/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/10/2013)
                                                                                                                         Govt approves foreign loans for Airtel, Pacific Telecom (Telecompaper Asia - Factiva, 04/10/2013)

                                                                                                                         Petraeus emerges from wilderness (Intelligence Online - Factiva, 04/10/2013)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Wireless Digital Video Recorders--
                                                                                                                         Content Sharing Systems and Methods (Electronics Newsweekly - Factiva, 04/10/2013)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Wireless Digital Video Recorders--
                                                                                                                         Content Sharing Systems and Methods (Telecommunications Weekly - Factiva, 04/10/2013)
                                                                                                                         CenturyLink Awarded 2012 Partner of the Year by Ciena (PR Newswire (U.S.) - Factiva, 04/10/2013
                                                                                                                         09:00 AM)
                                                                                                                         DJ VP MOREAU Surrenders 410 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                         04/10/2013 09:07 AM)
4/11/2013 Thu   4,436,164   $37.26      $0.00   0.84%   0.36%   0.74%    0.65%     0.19%      0.28 78.37%       $0.07    CenturyLink board recommends voting against 4 shareholder proposals (SNL Kagan Media &
                                                                                                                         Communications Report - Factiva, 04/11/2013)
                                                                                                                         Deutsche Bank initiates coverage on 3 telcos (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         04/11/2013)
                                                                                                                         EDMC names new CFO, EVP (Pittsburgh Business Times Online - Factiva, 04/11/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/11/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/11/2013)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 04/11/2013)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
4/12/2013 Fri   4,297,917   $37.22      $0.00 -0.11% -0.28%    0.50%    0.09%    -0.19%     -0.28 78.23%       -$0.07   CALIFORNIA -- Qwest disputes motion to f ile briefs in discrimination case (TR's State NewsWire -
                                                                                                                        Factiva, 04/12/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/12/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/12/2013)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/12/2013)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Wireless Digital Video Recorders--
                                                                                                                        Content Sharing Systems and Methods (Entertainment Newsweekly - Factiva, 04/12/2013)
                                                                                                                        Six months after contract expired, CenturyLink, workers in stalemate (Denver Business Journal -
                                                                                                                        Factiva, 04/12/2013)
                                                                                                                        Iowa Supreme Court upholds law that taxes traditional phone providers more than wireless
                                                                                                                        (Associated Press Newswires - Factiva, 04/12/2013 07:15 PM)
4/13/2013 Sat                                                                                                           CENTURYLINK REPORTS DISPOSITION BY SENIOR VP NETWORK SERVICES MOREAU
                                                                                                                        (Louisiana) (US Fed News - Factiva, 04/13/2013)
                                                                                                                        Court upholds phone company tax law (The Hawk Eye - Factiva, 04/13/2013)
                                                                                                                        Iowa high court upholds phone company tax law (Telegraph Herald - Factiva, 04/13/2013)
4/14/2013 Sun
4/15/2013 Mon   5,090,312   $36.69      $0.00 -1.42% -2.30%    1.01%   -1.17%    -0.26%     -0.37 71.15%       -$0.10   BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 04/15/2013)
                                                                                                                        CenturyLink Garners Recognition as 2012 Partner of the Year by Ciena (Wireless News - Factiva,
                                                                                                                        04/15/2013)
                                                                                                                        CenturyLink to Sponsor Lemonade Day Louisiana in Monroe/West Monroe area (India Investment
                                                                                                                        News - Factiva, 04/15/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/15/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/15/2013)
                                                                                                                        IOWA -- Supreme Court rules property of ILECs, CLECs can be taxed differently (TR's State
                                                                                                                        NewsWire - Factiva, 04/15/2013)
                                                                                                                        WASHINGTON -- UTC seeks comment on how Pac-West bankruptcy affects case (TR's State
                                                                                                                        NewsWire - Factiva, 04/15/2013)
                                                                                                                        CenturyLink to sponsor Lemonade Day Louisiana in Monroe/West Monroe area (PR Newswire
                                                                                                                        (U.S.) - Factiva, 04/15/2013 07:00 AM)
                                                                                                                        Analyst Firm Recognizes Savvis as an Industry Leader for Managed Hosting in North America
                                                                                                                        (Canada NewsWire - Factiva, 04/15/2013 08:59 AM)
                                                                                                                        Analyst Firm Recognizes Savvis as an Industry Leader for Managed Hosting in North America (PR
                                                                                                                        Newswire (U.S.) - Factiva, 04/15/2013 08:59 AM)
                                                                                                                        Analyst Firm Recognizes Savvis as an Industry Leader for Managed Hosting in North America (PR
                                                                                                                        Newswire Asia - Factiva, 04/15/2013 08:59 AM)
                                                                                                                        Analyst Firm Recognizes Savvis as an Industry Leader for Managed Hosting in North America (PR
                                                                                                                        Newswire Europe - Factiva, 04/15/2013 08:59 AM)
                                                                                                                        PRESS RELEASE: Analyst Firm Recognizes Savvis as an Industry Leader for Managed Hosting in
                                                                                                                        North America (Dow Jones Newswires - Factiva, 04/15/2013 08:59 AM)
                                                                                                                        ANALYST FIRM RECOGNIZES SAVVIS AS AN INDUSTRY LEADER FOR MANAGED
                                                                                                                        HOSTING IN NORTH AMERICA (Press Association National Newswire - Factiva, 04/15/2013 09:59
                                                                                                                        AM)
                                                                                                                        Transmode Appoints Ronald R. Thornton and Helena Nordman-Knutson as Board Members to
                                                                                                                        Consolidate Global Expansion (Thomson Reuters ONE - Factiva, 04/15/2013 02:00 PM)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

4/16/2013 Tue   7,114,122   $37.16      $0.00   1.28%   1.43%   -0.89%   0.78%     0.50%      0.72 47.54%       $0.18    COLORADO -- BullsEye allowed more time to respond to Qwest motion (TR's State NewsWire -
                                                                                                                         Factiva, 04/16/2013)
                                                                                                                         COLORADO -- PUC allows CenturyLink more time to finalize PAP agreement (TR's State
                                                                                                                         NewsWire - Factiva, 04/16/2013)
                                                                                                                         Dish-Sprint deal could amp up state (The Denver Post - Factiva, 04/16/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/16/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/16/2013)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 04/16/2013)
                                                                                                                         S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 04/16/2013)
                                                                                                                         S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 04/16/2013)
                                                                                                                         Transmode appoints 2 board members (Telecompaper World - Factiva, 04/16/2013)
4/17/2013 Wed   3,996,064   $36.76      $0.00 -1.08% -1.43%     -0.08%   -0.99%   -0.08%     -0.12 90.41%       -$0.03   COLORADO -- CenturyLink, home builders reach agreement over dispute (TR's State NewsWire -
                                                                                                                         Factiva, 04/17/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/17/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/17/2013)
                                                                                                                         US West retirees group intends to dissolve (Denver Business Journal Online - Factiva, 04/17/2013)

4/18/2013 Thu   3,669,660   $36.85      $0.00   0.24% -0.67%    1.54%    0.18%     0.06%      0.09 92.71%       $0.02    A village within a village: QWest aims to create a complete community from once-private space
                                                                                                                         (Postmedia Breaking News - Factiva, 04/18/2013)
                                                                                                                         A village within a village: QWest aims to create a complete community from once-private space
                                                                                                                         (Postmedia Breaking News - Factiva, 04/18/2013)
                                                                                                                         Contract Award: Qwest Government Services Wins Federal Contract for "Telecommunication
                                                                                                                         Services for Des Moines ANGB, IA (E911)" (US Fed News - Factiva, 04/18/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/18/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/18/2013)
                                                                                                                         MONTANA -- PSC says it received 200 responses to broadband survey so far (TR's State NewsWire -
                                                                                                                         Factiva, 04/18/2013)
4/19/2013 Fri   4,072,343   $37.17      $0.00   0.87%   0.89%   1.12%    1.18%    -0.31%     -0.45 65.54%       -$0.11   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/19/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/19/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/19/2013)
                                                                                                                         Transmode appoints two new directors to support global expansion (Optical Networks Daily -
                                                                                                                         Factiva, 04/19/2013)
4/20/2013 Sat                                                                                                            A village within a village; QWest aims to create a complete community from once-private space
                                                                                                                         (Ottawa Citizen - Factiva, 04/20/2013)
                                                                                                                         Contract Award: CenturyLink Wins Federal Contract for Communication Services (US Fed News -
                                                                                                                         Factiva, 04/20/2013)
4/21/2013 Sun
4/22/2013 Mon   3,975,632   $37.35      $0.00   0.48%   0.47%   0.20%    0.51%    -0.03%     -0.04 96.64%       -$0.01   AT&T PITCHES IP TRANSITION PLAN, OFFERS FEW NEW DETAILS (TR Daily - Factiva,
                                                                                                                         04/22/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/22/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/22/2013)




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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink recycling program tops 70 million pounds (PR Newswire (U.S.) - Factiva, 04/22/2013
                                                                                                                          08:00 AM)
                                                                                                                          PRESS RELEASE: CenturyLink recycling program tops 70 million pounds (Dow Jones Newswires -
                                                                                                                          Factiva, 04/22/2013 08:00 AM)
4/23/2013 Tue    4,056,604   $37.89      $0.00   1.45%   1.04%   -0.20%   0.79%     0.66%      0.97 33.42%       $0.25    CenturyLink Inc Wins Defense Research And Engineering Network III Contract (Reuters
                                                                                                                          Significant Developments - Factiva, 04/23/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/23/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/23/2013)
                                                                                                                          NATIONAL -- AT&T pitches IP transition plan, offers few new details (TR's State NewsWire -
                                                                                                                          Factiva, 04/23/2013)
                                                                                                                          *DJ CenturyLink Wins Defense Research & Engineering Network III Contract (Dow Jones
                                                                                                                          Newswires - Factiva, 04/23/2013 09:00 AM)
                                                                                                                          CenturyLink wins Defense Research & Engineering Network III contract (PR Newswire (U.S.) -
                                                                                                                          Factiva, 04/23/2013 09:00 AM)
4/24/2013 Wed   14,627,256   $37.10      $0.00 -2.08%    0.01%   -2.93%   -0.98%   -1.11%     -1.62 10.77%       -$0.42   CenturyLink awarded Defence Research and Engineering Network III contract (M2 EquityBites -
                                                                                                                          Factiva, 04/24/2013)
                                                                                                                          CenturyLink wins DREN III contract (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                          04/24/2013)
                                                                                                                          CenturyLink, Inc. CenturyLink Awarded 2012 Partner of the Year by Ciena (Journal of Engineering -
                                                                                                                          Factiva, 04/24/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/24/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/24/2013)
4/25/2013 Thu    5,142,827   $37.53      $0.00   1.16%   0.41%   1.43%    1.01%     0.15%      0.22 82.79%       $0.06    CenturyLink Reports Recycling Program (Professional Services Close-Up - Factiva, 04/25/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/25/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/25/2013)
                                                                                                                          Event Brief of Q1 2013 Level 3 Communications Earnings Conference Call - Final (CQ FD
                                                                                                                          Disclosure - Factiva, 04/25/2013)
                                                                                                                          Q1 2013 Level 3 Communications Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                          04/25/2013)
                                                                                                                          Insider Trading Buzz for SUPERVALU, Zynga, MetroPCS, Cree, CenturyLink, and Dow Chemical
                                                                                                                          (PR Newswire (U.S.) - Factiva, 04/25/2013 08:31 AM)
4/26/2013 Fri    3,907,301   $37.15      $0.00 -1.01% -0.18%     -0.04%   -0.08%   -0.94%     -1.37 17.35%       -$0.35   CenturyLink Receives Defense Research & Engineering Network III Contract (Professional Services
                                                                                                                          Close-Up - Factiva, 04/26/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/26/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/26/2013)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/26/2013)
                                                                                                                          NEW MEXICO -- CenturyLink calls for oral argument in response to ruling (TR's State NewsWire -
                                                                                                                          Factiva, 04/26/2013)
                                                                                                                          Syringa pursues Idaho officials after justices reinvigorated IEN lawsuit last month (Associated Press
                                                                                                                          Newswires - Factiva, 04/26/2013 07:21 PM)
4/27/2013 Sat
4/28/2013 Sun




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
4/29/2013 Mon   3,681,299   $37.45      $0.00   0.81%   0.72%   -0.21%   0.54%     0.27%      0.39 69.63%       $0.10    CenturyLink: Access to Broadband is the Central Issue in Rural Communications Today (India
                                                                                                                         Retail News - Factiva, 04/29/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/29/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/29/2013)
                                                                                                                         FOURTH CIRCUIT AFFIRMS RUILING ON DISPUTE OVER SPRINT-CenturyLink
                                                                                                                         INTERCONNECTION PACT (TR Daily - Factiva, 04/29/2013)
                                                                                                                         Government.(Movers+Shakers)(John Paul Hammerschmidt and Jeff Jones awarded.)(Brief article)
                                                                                                                         (Arkansas Business - Factiva, 04/29/2013)
                                                                                                                         VIRGINIA -- Fourth Circuit affirms ruling on Sprint-CenturyLink ICA dispute (TR's State
                                                                                                                         NewsWire - Factiva, 04/29/2013)
                                                                                                                         WYOMING -- Supreme Court remands contested USF case to PSC for hearings (TR's State
                                                                                                                         NewsWire - Factiva, 04/29/2013)
4/30/2013 Tue   3,936,668   $37.57      $0.00   0.32%   0.25%   0.30%    0.41%    -0.09%     -0.13 89.94%       -$0.03   CenturyLink expands fiber optics to Jacksonville data centers (Jacksonville Business Journal Online -
                                                                                                                         Factiva, 04/30/2013)
                                                                                                                         CenturyLink Gets Defense Research & Engineering Network III Contract (Manufacturing Close-Up -
                                                                                                                         Factiva, 04/30/2013)
                                                                                                                         CenturyLink Updates on Recycling Program (Manufacturing Close-Up - Factiva, 04/30/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/30/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 04/30/2013)
                                                                                                                         SOUTH DAKOTA -- PUC clarifies ETC certification requirements (TR's State NewsWire - Factiva,
                                                                                                                         04/30/2013)
                                                                                                                         WYOMING -- PSC directs CenturyLink to provide data in service quality review (TR's State
                                                                                                                         NewsWire - Factiva, 04/30/2013)
                                                                                                                         CenturyLink extends fiber network to data centers and businesses in Jacksonville, Fla. (PR
                                                                                                                         Newswire (U.S.) - Factiva, 04/30/2013 08:30 AM)
                                                                                                                         PRESS RELEASE: CenturyLink extends fiber network to data centers and businesses in
                                                                                                                         Jacksonville, Fla. (Dow Jones Newswires - Factiva, 04/30/2013 08:30 AM)
                                                                                                                         PRESS RELEASE: RIA Resources and Qwest Diversified Capital Corp. Amend Terms of
                                                                                                                         Arrangement Agreement (Dow Jones Newswires - Factiva, 04/30/2013 07:47 PM)
 5/1/2013 Wed   3,768,244   $37.19      $0.00 -1.01% -0.93%     -0.29%   -0.78%   -0.23%     -0.34 73.34%       -$0.09   CenturyLink TO DEPLOY GIGABIT PILOT IN OMAHA (TR Daily - Factiva, 05/01/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/01/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/01/2013)
                                                                                                                         NEBRASKA -- CenturyLink to deploy gigabit pilot in Omaha (TR's State NewsWire - Factiva,
                                                                                                                         05/01/2013)
                                                                                                                         Top 10 taxpayers shift with times (Missoulian - Factiva, 05/01/2013)
                                                                                                                         CenturyLink to make Omaha one of the fastest broadband cities in America (PR Newswire (U.S.) -
                                                                                                                         Factiva, 05/01/2013 07:00 AM)
                                                                                                                         PRESS RELEASE: CenturyLink to make Omaha one of the fastest broadband cities in America
                                                                                                                         (Dow Jones Institutional News - Factiva, 05/01/2013 07:00 AM)
 5/2/2013 Thu   4,073,012   $37.04      $0.00 -0.40%    0.95%   -0.48%   0.60%    -1.01%     -1.47 14.49%       -$0.37   CenturyLink deploying 1-Gbps broadband in Omaha, Neb. (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 05/02/2013)
                                                                                                                         CenturyLink to offer new high-speed fibre network in Omaha (M2 EquityBites - Factiva, 05/02/2013)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                        COLORADO -- CenturyLink pushes against changes to state high-cost fund (TR's State NewsWire -
                                                                                                                        Factiva, 05/02/2013)
                                                                                                                        COLORADO -- PUC allows CenturyLink more time to finalize PAP agreement (TR's State
                                                                                                                        NewsWire - Factiva, 05/02/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/02/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/02/2013)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 05/02/2013)
5/3/2013 Fri   4,638,878   $37.14      $0.00   0.27%   1.06%   -0.82%   0.51%    -0.24%     -0.36 72.32%       -$0.09   CenturyLink Expands Fiber Network to Data Centers and Businesses in Jacksonville, Fla. (Wireless
                                                                                                                        News - Factiva, 05/03/2013)
                                                                                                                        Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 05/03/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/03/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/03/2013)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/03/2013)
                                                                                                                        CenturyLink wins DREN III contract sponsored by DoD HPCMP (MarketLine (a Datamonitor
                                                                                                                        Company), Company News - Factiva, 05/03/2013 06:04 AM)
5/4/2013 Sat
5/5/2013 Sun                                                                                                            CenturyLink Rolls Out Fiber Network to Data Centers and Businesses in Jacksonville, Fla.
                                                                                                                        (Entertainment Close-Up - Factiva, 05/05/2013)
                                                                                                                        Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/05/2013)
5/6/2013 Mon   3,274,569   $37.05      $0.00 -0.24%    0.19%   -0.86%   -0.21%   -0.03%     -0.05 96.14%       -$0.01   Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 05/06/2013)
                                                                                                                        Deutsche Bank Analyst Report (Eikon - Manual Entry, 05/06/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/06/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/06/2013)
                                                                                                                        Moodyâ€™s Analyst Report (Eikon - Manual Entry, 05/06/2013)
                                                                                                                        Moodyâ€™s Analyst Report (Eikon - Manual Entry, 05/06/2013)
                                                                                                                        Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/06/2013)
5/7/2013 Tue   4,654,524   $37.06      $0.00   0.03%   0.53%   0.88%    0.92%    -0.89%     -1.33 18.53%       -$0.33   CenturyLink, Inc. CenturyLink wins Defense Research & Engineering Network III contract
                                                                                                                        (Information Technology Newsweekly - Factiva, 05/07/2013)
                                                                                                                        Emergency Communications; CenturyLink advises preparedness (The Register-Mail - Factiva,
                                                                                                                        05/07/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/07/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/07/2013)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/07/2013)
5/8/2013 Wed   7,440,484   $37.30      $0.00   0.65%   0.46%   0.50%    0.66%    -0.01%     -0.02 98.54%       $0.00    BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/08/2013)
                                                                                                                        BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/08/2013)
                                                                                                                        CenturyLink Inc Issues Q2 2013 Guidance In Line With Analysts' Estimates; Reaffirms FY 2013
                                                                                                                        Revenue Guidance; Raises FY 2013 EPS Guidance (Reuters Significant Developments - Factiva,
                                                                                                                        05/08/2013)
                                                                                                                        CenturyLink REPORTS 2% REVENUE DECLINE, HIGHER PROFIT (TR Daily - Factiva,
                                                                                                                        05/08/2013)




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[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                Events
                                                                                                           CenturyLink, Inc. CenturyLink wins Defense Research & Engineering Network III contract
                                                                                                           (Journal of Engineering - Factiva, 05/08/2013)
                                                                                                           D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 05/08/2013)
                                                                                                           D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 05/08/2013)
                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/08/2013)
                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/08/2013)
                                                                                                           Event Brief of Q1 2013 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                                           Factiva, 05/08/2013)
                                                                                                           Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 05/08/2013)
                                                                                                           Q1 2013 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                           05/08/2013)
                                                                                                           Stifel Nicolaus and Company, Incorporated Analyst Report (Eikon - Manual Entry, 05/08/2013)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/08/2013)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/08/2013)
                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 05/08/2013)
                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 05/08/2013)
                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 05/08/2013)
                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 05/08/2013)
                                                                                                           Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/08/2013)
                                                                                                           Analyst Estimates for U.S. Earnings Wednesday (Dow Jones News Service - Factiva, 05/08/2013 05:55
                                                                                                           AM)
                                                                                                           DJ Analyst Estimates for U.S. Earnings Wednesday (Dow Jones Newswires - Factiva, 05/08/2013
                                                                                                           05:55 AM)
                                                                                                           DJ NYSE New 52-Week Highs And Lows -2- (Dow Jones Chinese Newswires English Content -
                                                                                                           Factiva, 05/08/2013 10:21 AM)
                                                                                                           DJ NYSE New 52-Week Highs And Lows -2- (Dow Jones Chinese Financial Wire - Factiva, 05/08/2013
                                                                                                           10:21 AM)
                                                                                                           CenturyLink Reports First Quarter 2013 Earnings (PR Newswire (U.S.) - Factiva, 05/08/2013 04:17
                                                                                                           PM)
                                                                                                           DJ CenturyLink Files 8K - Operations And Financial Condition >CTL (Dow Jones Newswires -
                                                                                                           Factiva, 05/08/2013 04:29 PM)
                                                                                                           CenturyLink 1st-Quarter Profit Up 49% Amid Lower Costs (Dow Jones News Service - Factiva,
                                                                                                           05/08/2013 04:46 PM)
                                                                                                           DJ CenturyLink 1st-Quarter Profit Up 49% Amid Lower Costs (Dow Jones Newswires - Factiva,
                                                                                                           05/08/2013 04:46 PM)
                                                                                                           CenturyLink 1st-Quarter Profit Up 49% Amid Lower Costs (Dow Jones Top North American
                                                                                                           Equities Stories - Factiva, 05/08/2013 05:00 PM)
                                                                                                           CenturyLink 1st-Quarter Profit Up 49% Amid Lower Costs (Dow Jones Global News Select -
                                                                                                           Factiva, 05/08/2013 05:01 PM)
                                                                                                           CenturyLink 1st-Quarter Profit Up 49% Amid Lower Costs (Dow Jones Newswires - Factiva,
                                                                                                           05/08/2013 05:01 PM)




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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
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                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                       DJ CenturyLink 1st-Quarter Profit Up 49% Amid Lower Costs (Dow Jones Chinese Newswires
                                                                                                                       English Content - Factiva, 05/08/2013 05:57 PM)
                                                                                                                       DJ CenturyLink 1st-Quarter Profit Up 49% Amid Lower Costs (Dow Jones Chinese Financial Wire -
                                                                                                                       Factiva, 05/08/2013 05:57 PM)
                                                                                                                       Quintiles Announces Pricing of Initial Public Offering (Business Wire - Factiva, 05/08/2013 07:40
                                                                                                                       PM)
5/9/2013 Thu   8,874,180   $37.24      $0.00 -0.16% -0.32%   -0.76%   -0.56%     0.40%      0.59 55.60%       $0.15    Atlantic Equities Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       CenturyLink income rises YOY in Q1 (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                       05/09/2013)
                                                                                                                       CenturyLink's net income up to USD298m in Q1 2013 (M2 EquityBites - Factiva, 05/09/2013)
                                                                                                                       CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       Deutsche Bank Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       Hudson Square Research Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       Jefferies LLC Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       JP Morgan Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       JP Morgan Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       JP Morgan Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       Macquarie Research Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       Nomura Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       Piper Jaffray Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       Piper Jaffray Analyst Report (Eikon - Manual Entry, 05/09/2013)
                                                                                                                       Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 05/09/2013)
                                                                                                                       WASHINGTON -- UTC slates hearing in CenturyLink AFOR proceeding (TR's State NewsWire -
                                                                                                                       Factiva, 05/09/2013)
                                                                                                                       DJ US HOT STOCKS TO WATCH: CTL (Dow Jones Chinese Newswires English Content - Factiva,
                                                                                                                       05/09/2013 07:14 AM)
                                                                                                                       DJ US HOT STOCKS TO WATCH: CTL (Dow Jones Chinese Financial Wire - Factiva, 05/09/2013
                                                                                                                       07:14 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         New York Stock Exchange's 10 most active stocks at 1 p.m. (Associated Press Newswires - Factiva,
                                                                                                                         05/09/2013 01:21 PM)
5/10/2013 Fri   4,113,664   $37.62      $0.00   1.02%   0.43%   -0.06%   0.38%     0.64%      0.95 34.20%       $0.24    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/10/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/10/2013)
                                                                                                                         FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 05/10/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/10/2013)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 05/10/2013)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/10/2013)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/10/2013)
                                                                                                                         RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 05/10/2013)
                                                                                                                         RBC Capital Markets Analyst Report (Eikon - Manual Entry, 05/10/2013)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 05/10/2013)
                                                                                                                         Saregama Appoints Keshaw Sinha As Its CTO (MediaNama - Factiva, 05/10/2013)
                                                                                                                         CenturyLink extends fiber network into metro Jacksonville, Florida (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 05/10/2013 03:36 AM)
                                                                                                                         Quintiles Celebrates IPO on the New York Stock Exchange (Business Wire - Factiva, 05/10/2013
                                                                                                                         12:04 PM)
5/11/2013 Sat
5/12/2013 Sun
5/13/2013 Mon   3,094,749   $37.68      $0.00   0.16%   0.01%   -0.86%   -0.31%    0.47%      0.69 49.02%       $0.18    CenturyLink Reports 1Q 2013 Earnings (Professional Services Close-Up - Factiva, 05/13/2013)
                                                                                                                         Correction to Text, March 14, 2013 Release: Moody's lowers CenturyLink's senior unsecured
                                                                                                                         rating to Ba2; outlook stable (Moody's Investors Service Press Release - Factiva, 05/13/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/13/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/13/2013)
                                                                                                                         CenturyLink upgrades fiber architecture in west Omaha, Nebraska (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 05/13/2013 07:31 AM)
5/14/2013 Tue   3,954,905   $37.74      $0.00   0.16%   1.04%   0.25%    1.00%    -0.84%     -1.25 21.31%       -$0.32   Business briefs (The Courier-Tribune - Factiva, 05/14/2013)
                                                                                                                         CenturyLinkÃ¢â‚¬â„¢s QWEST UNIT SELLING $750M OF BONDS (TR Daily - Factiva,
                                                                                                                         05/14/2013)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 05/14/2013)
                                                                                                                         Moody's rates Qwest Corp. new notes Baa3; raises CenturyLink's SGL rating (Moody's Investors
                                                                                                                         Service Press Release - Factiva, 05/14/2013)
                                                                                                                         Piper Jaffray Analyst Report (Capital IQ - Manual Entry, 05/14/2013)
                                                                                                                         Piper Jaffray Analyst Report (Eikon - Manual Entry, 05/14/2013)
                                                                                                                         Portland's tax hike on landline phones is upheld (The Oregonian - Factiva, 05/14/2013)
                                                                                                                         *DJ Moody's Rates Qwest Corp. New Notes Baa3; Raises Centurylink's Sgl Rating (Dow Jones
                                                                                                                         Newswires - Factiva, 05/14/2013 01:52 PM)
                                                                                                                         *DJ Fitch Rates Qwest Corporation's Proposed Senior Unsecured Notes Offering 'BBB-' (Dow
                                                                                                                         Jones Newswires - Factiva, 05/14/2013 02:13 PM)
                                                                                                                         Fitch Rates Qwest Corporation's Proposed Senior Unsecured Notes Offering 'BBB-' (Business Wire -
                                                                                                                         Factiva, 05/14/2013 02:22 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         *DJ S&P Rates Qwest Corp.'s Senior Notes 'BBB-' (Recovery: 1) (Dow Jones Newswires - Factiva,
                                                                                                                         05/14/2013 03:29 PM)
                                                                                                                         *DJ Qwest Corp Agrees To Sell Debt Securities (Dow Jones Newswires - Factiva, 05/14/2013 06:02
                                                                                                                         PM)
                                                                                                                         Qwest Corp Agrees To Sell Debt Securities (Dow Jones News Service - Factiva, 05/14/2013 06:02 PM)

                                                                                                                         Qwest Corporation Agrees To Sell Debt Securities (PR Newswire (U.S.) - Factiva, 05/14/2013 06:02
                                                                                                                         PM)
5/15/2013 Wed   4,935,656   $37.85      $0.00   0.29%   0.54%   0.35%    0.68%    -0.39%     -0.59 55.86%       -$0.15   CenturyLink, Inc. CenturyLink to make Omaha one of the fastest broadband cities in America
                                                                                                                         (Electronics Newsweekly - Factiva, 05/15/2013)
                                                                                                                         CenturyLink, Inc. CenturyLink to make Omaha one of the fastest broadband cities in America
                                                                                                                         (Journal of Engineering - Factiva, 05/15/2013)
                                                                                                                         CenturyLink: Qwest Corporation Agrees to Sell Debt Securities (India Investment News - Factiva,
                                                                                                                         05/15/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/15/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/15/2013)
                                                                                                                         Moody's raises CenturyLink's liquidity rating (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 05/15/2013)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/15/2013)
                                                                                                                         NEW MEXICO -- Audit shows Qwest underreported USF revenues (TR's State NewsWire - Factiva,
                                                                                                                         05/15/2013)
                                                                                                                         Qwest to sell debt securities (Telecompaper Americas - Factiva, 05/15/2013)
                                                                                                                         Merck Serono and Quintiles Announce Innovative Clinical Development Partnership (Business
                                                                                                                         Wire - Factiva, 05/15/2013 08:00 AM)
                                                                                                                         UPDATE: Piper Jaffray Raises PT on CenturyLink Following 1Q13 Results (Benzinga.com -
                                                                                                                         Factiva, 05/15/2013 11:17 AM)
                                                                                                                         DJ CenturyLink Files 8K - Other Events >CTL (Dow Jones Newswires - Factiva, 05/15/2013 12:12
                                                                                                                         PM)
5/16/2013 Thu   5,488,264   $37.45      $0.00 -1.06% -0.50%     -0.22%   -0.41%   -0.64%     -0.96 33.96%       -$0.24   CenturyLink APPOINTMENTS (TR Daily - Factiva, 05/16/2013)
                                                                                                                         CenturyLink, Inc. at JPMorgan Global Technology, Media and Telecom Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 05/16/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/16/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/16/2013)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/16/2013)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/16/2013)
                                                                                                                         Qwest selling $750M in debt (SNL Kagan Media & Communications Report - Factiva, 05/16/2013)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/16/2013)
                                                                                                                         CenturyLink announces new regional sales leaders (PR Newswire (U.S.) - Factiva, 05/16/2013 09:00
                                                                                                                         AM)
                                                                                                                         PRESS RELEASE: CenturyLink announces new regional sales leaders (Dow Jones Newswires -
                                                                                                                         Factiva, 05/16/2013 09:00 AM)
                                                                                                                         Enterprise software company Marketo prices IPO at $13/shr - source (Reuters News - Factiva,
                                                                                                                         05/16/2013 06:30 PM)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

5/17/2013 Fri   5,211,826   $37.67      $0.00   0.59%   1.03%   -0.43%   0.70%    -0.11%     -0.17 86.38%       -$0.04   CenturyLink names five new regional sales vice presidents (M2 EquityBites - Factiva, 05/17/2013)

                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/17/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/17/2013)
                                                                                                                         Fitch Rates Qwest Corporation's Proposed Senior Unsecured Notes Offering (Wireless News -
                                                                                                                         Factiva, 05/17/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/17/2013)
                                                                                                                         MINNESOTA -- CenturyLink nearly satisfies broadband commitment in state (TR's State
                                                                                                                         NewsWire - Factiva, 05/17/2013)
                                                                                                                         Qwest Corp. to Sell Debt Securities (Wireless News - Factiva, 05/17/2013)
                                                                                                                         WHEELER OUTLINES DIVESTMENTS, PLANS TO QUIT CORPORATE BOARDS (TR Daily -
                                                                                                                         Factiva, 05/17/2013)
5/18/2013 Sat
5/19/2013 Sun                                                                                                            Local Business (The Register-Mail - Factiva, 05/19/2013)
                                                                                                                         Qwest execs forged ahead (The Denver Post - Factiva, 05/19/2013)
5/20/2013 Mon   3,629,909   $37.63      $0.00 -0.11% -0.07%     -0.77%   -0.34%    0.24%      0.36 72.25%       $0.09    CFRA Equity Research Analyst Report (Eikon - Manual Entry, 05/20/2013)
                                                                                                                         DHS ENLISTING ISPs TO DEPLOY SYSTEM TO PROTECT NETWORKS, LAWMAKERS
                                                                                                                         TOLD (IP Network Policy Report - Factiva, 05/20/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/20/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/20/2013)
                                                                                                                         DJ Blog: Highest-Paying Industries: Telecom, Tech and Media Stand Out (Dow Jones Chinese
                                                                                                                         Newswires English Content - Factiva, 05/20/2013 10:22 PM)
5/21/2013 Tue   5,313,643   $37.23      $0.00 -1.06%    0.18%   -0.77%   -0.15%   -0.91%     -1.37 17.20%       -$0.34   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/21/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/21/2013)
                                                                                                                         Zeldes Haeggquist & Eck, LLP Announces Investigation Of CenturyLink Inc (Reuters Significant
                                                                                                                         Developments - Factiva, 05/21/2013)
                                                                                                                         Quintiles Rated Industry Leader and Highest in Service Quality in Phase II/III Clinical Research
                                                                                                                         (Business Wire - Factiva, 05/21/2013 08:30 AM)
                                                                                                                         Zeldes Haeggquist & Eck, LLP Announces Investigation of CenturyLink, Inc. (Business Wire -
                                                                                                                         Factiva, 05/21/2013 09:02 AM)
5/22/2013 Wed   5,604,768   $37.02      $0.00 -0.56% -0.82%     -0.65%   -0.91%    0.35%      0.52 60.17%       $0.13    Argus Research Corporation Analyst Report (Eikon - Manual Entry, 05/22/2013)
                                                                                                                         CenturyLink Inc Declares Quarterly Cash Dividend (Reuters Significant Developments - Factiva,
                                                                                                                         05/22/2013)
                                                                                                                         CenturyLink TO EXTEND BROADBAND DISCOUNTS UINDER CONSENT DECREE WITH
                                                                                                                         FCC (TR Daily - Factiva, 05/22/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/22/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/22/2013)
                                                                                                                         CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 05/22/2013 03:46
                                                                                                                         PM)
                                                                                                                         PRESS RELEASE: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Newswires -
                                                                                                                         Factiva, 05/22/2013 03:46 PM)




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                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                         CenturyLink to receive additional Connect America Funds (PR Newswire (U.S.) - Factiva,
                                                                                                                         05/22/2013 05:42 PM)
                                                                                                                         PRESS RELEASE: CenturyLink to receive additional Connect America Funds (Dow Jones
                                                                                                                         Newswires - Factiva, 05/22/2013 05:42 PM)
5/23/2013 Thu   13,496,713   $37.43      $0.00   1.11% -0.28%   0.67%    0.18%     0.92%       1.4 16.57%       $0.34    CenturyLink to pay quarterly dividend of USD0.54 per share (M2 EquityBites - Factiva, 05/23/2013)

                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/23/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/23/2013)
                                                                                                                         CenturyLink reports higher Q1 net income, provides outlook for Q2 (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 05/23/2013 03:08 AM)
                                                                                                                         DJ CenturyLink Files 8K - Other Events >CTL (Dow Jones Newswires - Factiva, 05/23/2013 02:56
                                                                                                                         PM)
                                                                                                                         DJ Holder ZIMMEL FAMILY FOUNDATION Registers 5,000 Of CENTURYLINK INC >CTL
                                                                                                                         (Dow Jones Newswires - Factiva, 05/23/2013 10:24 PM)
5/24/2013 Fri   11,070,804   $37.27      $0.00 -0.43% -0.05%    -0.24%   -0.08%   -0.35%     -0.52 60.54%       -$0.13   Access to broadband is the central issue in rural communications today.(MARKET
                                                                                                                         INTELLIGENCE) (Fiber Optics Weekly Update - Factiva, 05/24/2013)
                                                                                                                         CenturyLink eligible to receive FCC funds to boost rural broadband (SNL Kagan Media &
                                                                                                                         Communications Report - Factiva, 05/24/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/24/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/24/2013)
                                                                                                                         IOWA -- IXCs urge IUB not to abandon findings in Aventure proceeding (TR's State NewsWire -
                                                                                                                         Factiva, 05/24/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/24/2013)
                                                                                                                         Qwest sells $775M in notes (SNL Kagan Media & Communications Report - Factiva, 05/24/2013)
5/25/2013 Sat                                                                                                            Company names new employee (Sauk Valley Newspapers - Factiva, 05/25/2013)
                                                                                                                         Special Offer for Shareholders of CTL, RAD, CHK and MDLZ (NoticiasFinancieras - Factiva,
                                                                                                                         05/25/2013)
5/26/2013 Sun
5/27/2013 Mon
5/28/2013 Tue   13,091,869   $37.07      $0.00 -0.54%   0.64%   -1.71%   -0.29%   -0.25%     -0.37 71.35%       -$0.09   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/28/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/28/2013)
                                                                                                                         IOWA -- IUB grants Telrite petition for limited ETC designation (TR's State NewsWire - Factiva,
                                                                                                                         05/28/2013)
                                                                                                                         PRESS RELEASE: Savvis Expands Data Center Presence in Nine Global Markets (Dow Jones
                                                                                                                         Newswires - Factiva, 05/28/2013 06:55 AM)
                                                                                                                         Savvis Expands Data Center Presence in Nine Global Markets (PR Newswire (U.S.) - Factiva,
                                                                                                                         05/28/2013 06:55 AM)
                                                                                                                         Savvis Expands Data Center Presence in Nine Global Markets (PR Newswire Asia - Factiva,
                                                                                                                         05/28/2013 06:55 AM)
                                                                                                                         Savvis Expands Data Center Presence in Nine Global Markets (PR Newswire Europe - Factiva,
                                                                                                                         05/28/2013 06:55 AM)
                                                                                                                         PRESS RELEASE: Savvis Expands Data Center Presence in Nine Global Markets (Dow Jones
                                                                                                                         Newswires - Factiva, 05/28/2013 06:56 AM)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                 Events
                                                                                                                         Savvis Expands Data Center Presence in Nine Global Markets (Canada NewsWire - Factiva,
                                                                                                                         05/28/2013 06:56 AM)
                                                                                                                         SAVVIS EXPANDS DATA CENTER PRESENCE IN NINE GLOBAL MARKETS (Press
                                                                                                                         Association National Newswire - Factiva, 05/28/2013 07:55 AM)
                                                                                                                         DJ Dir BOULET Sells 3,007 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                         05/28/2013 06:19 PM)
5/29/2013 Wed   8,728,778   $36.17      $0.00 -2.43% -0.69%    -0.97%   -0.99%   -1.44%     -2.18   3.16% *     -$0.53   Level 3 Communications at Cowen Technology, Media & Telecom Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 05/29/2013)
                                                                                                                         BMO Capital Markets Analyst Report (Eikon - Manual Entry, 05/29/2013)
                                                                                                                         CenturyLink Declares Quarterly Cash Dividend (Manufacturing Close-Up - Factiva, 05/29/2013)
                                                                                                                         CenturyLink Eligible for Additional Connect America Funds (Wireless News - Factiva, 05/29/2013)

                                                                                                                         CenturyLink Reports Eligibility for Additional Connect America Funds (Manufacturing Close-Up -
                                                                                                                         Factiva, 05/29/2013)
                                                                                                                         CenturyLink stockholders approve proxy access proposal (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 05/29/2013)
                                                                                                                         CenturyLink to Declare Quarterly Cash Dividend (Wireless News - Factiva, 05/29/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/29/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/29/2013)
                                                                                                                         Savvis expands data centre presence in nine markets (M2 EquityBites - Factiva, 05/29/2013)
                                                                                                                         Savvis expands data centre presence in nine markets (Worldwide Computer Products News - Factiva,
                                                                                                                         05/29/2013)
                                                                                                                         SAVVIS to complete Hong Kong data center in November (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 05/29/2013)
                                                                                                                         Telephone Communications; Qwest Communications International Inc. Files SEC Form 10-Q,
                                                                                                                         Quarterly Report [Sections 13 Or 15(D)] (May. 15, 2013) (Telecommunications Weekly - Factiva,
                                                                                                                         05/29/2013)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 10-Q, Quarterly Report [Sections 13 Or
                                                                                                                         15(D)] (May. 13, 2013) (Telecommunications Weekly - Factiva, 05/29/2013)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 424B5, Prospectus [Rule 424(B)(5)]
                                                                                                                         (May. 14, 2013) (Telecommunications Weekly - Factiva, 05/29/2013)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 424B5, Prospectus [Rule 424(B)(5)]
                                                                                                                         (May. 15, 2013) (Telecommunications Weekly - Factiva, 05/29/2013)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form FWP, Filing Under Securities Act Rules
                                                                                                                         163/433 of Free Writing Prospectuses (May. 14, 2013) (Telecommunications Weekly - Factiva,
                                                                                                                         05/29/2013)
                                                                                                                         UTAH -- CenturyLink wants to be relieved service quality, reporting rules (TR's State NewsWire -
                                                                                                                         Factiva, 05/29/2013)
5/30/2013 Thu   6,585,577   $35.23      $0.54 -1.11%   0.38%   -1.07%   -0.23%   -0.88%     -1.31 19.21%        -$0.32   CenturyLink Inc Lowers FY 2013 Revenue Guidance-Conference Call (Reuters Significant
                                                                                                                         Developments - Factiva, 05/30/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/30/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/30/2013)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/30/2013)




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                                                              Excess                                             Abnormal
                                                      Market Industry Predicted Abnormal                           Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                  Events
                                                                                                                            Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/30/2013)
                                                                                                                            NATIONAL -- States, RLECs dispute FCC power to take steps in USF/ICC order (TR's State
                                                                                                                            NewsWire - Factiva, 05/30/2013)
                                                                                                                            STATES, RURAL CARRIERS DISPUTE FCC AUTHORITY TO TAKE STEPS IN USF/ICC
                                                                                                                            ORDER (TR Daily - Factiva, 05/30/2013)
                                                                                                                            DJ CenturyLink Started at Outperform by BMO >CTL (Dow Jones Chinese Newswires English
                                                                                                                            Content - Factiva, 05/30/2013 08:52 AM)
                                                                                                                            UPDATE: BMO Capital Markets Initiates CenturyLink at Outperform on Significant Opex
                                                                                                                            Leverage (Benzinga.com - Factiva, 05/30/2013 11:23 AM)
5/31/2013 Fri   12,839,955   $34.15      $0.00 -3.07% -1.43%     -0.30%   -1.31%   -1.76%     -2.65   0.92% **     -$0.62   BMO Capital initiates coverage on telecom (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                            05/31/2013)
                                                                                                                            BMO Capital Markets Corp. initiates coverage of CenturyLink Inc. at 'outperform' (SNL Kagan
                                                                                                                            Media & Communications Report - Factiva, 05/31/2013)
                                                                                                                            CenturyLink employees, communities participate in food drive (Hickory Daily Record - Factiva,
                                                                                                                            05/31/2013)
                                                                                                                            CenturyLink extends fiber network to data centers and businesses in Jacksonville, Fla.(SERVICES)
                                                                                                                            (Fiber Optics Weekly Update - Factiva, 05/31/2013)
                                                                                                                            CenturyLink to make Omaha one of the fastest broadband cities in America.(FTTX) (Fiber Optics
                                                                                                                            Weekly Update - Factiva, 05/31/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/31/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 05/31/2013)
                                                                                                                            NASUCA, N.J. RATE COUNSEL URGE FCC TO REVERSE FORBEARANCE (TR Daily - Factiva,
                                                                                                                            05/31/2013)
                                                                                                                            NATIONAL - NASUCA, New Jersey rate counsel urge FCC to reverse forbearance (TR's State
                                                                                                                            NewsWire - Factiva, 05/31/2013)
                                                                                                                            Quintiles Releases Perspectives on Early Phase Oncology and Hematology Biomarkers (Business
                                                                                                                            Wire - Factiva, 05/31/2013 08:00 AM)
 6/1/2013 Sat                                                                                                               CenturyLink, Inc. Qwest Corporation Agrees To Sell Debt Securities (Investment Weekly News -
                                                                                                                            Factiva, 06/01/2013)
                                                                                                                            Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/01/2013)
 6/2/2013 Sun                                                                                                               Contract Award: Qwest Government Services Wins Federal Contract for "TELEPHONE
                                                                                                                            SERVICES" (US Fed News - Factiva, 06/02/2013)
 6/3/2013 Mon    6,059,090   $34.47      $0.00   0.94%   0.60%   -0.24%   0.42%     0.52%      0.76 44.73%         $0.18    CenturyLink launches Prism TV in Phoenix (ENP Newswire - Factiva, 06/03/2013)
                                                                                                                            Contract Award: Qwest Government Services Wins Federal Contract for Information
                                                                                                                            Technology/Telecommunications Services (US Fed News - Factiva, 06/03/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/03/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/03/2013)
                                                                                                                            CenturyLink's legal team takes home top honors at INTA conference (PR Newswire (U.S.) - Factiva,
                                                                                                                            06/03/2013 08:00 AM)
 6/4/2013 Tue    6,115,357   $34.76      $0.00   0.84% -0.55%    1.29%    0.31%     0.53%      0.78 43.75%         $0.18    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/04/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/04/2013)
                                                                                                                            Savvis expands cloud database service to Asia (St. Louis Business Journal Online - Factiva,
                                                                                                                            06/04/2013)




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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                Events
                                                                                                                        SOUTH DAKOTA -- YMax withdraws application for ETC designation (TR's State NewsWire -
                                                                                                                        Factiva, 06/04/2013)
                                                                                                                        Savvis Extends Cloud-Based Application Database to Asia (PR Newswire (U.S.) - Factiva, 06/04/2013
                                                                                                                        07:01 AM)
                                                                                                                        Savvis Extends Cloud-Based Application Database to Asia (PR Newswire Asia - Factiva, 06/04/2013
                                                                                                                        07:01 AM)
                                                                                                                        Savvis Extends Cloud-Based Application Database to Asia (PR Newswire Europe - Factiva,
                                                                                                                        06/04/2013 07:01 AM)
                                                                                                                        PRESS RELEASE: Savvis Extends Cloud-Based Application Database to Asia (Dow Jones
                                                                                                                        Newswires - Factiva, 06/04/2013 07:02 AM)
                                                                                                                        PRESS RELEASE: Savvis Extends Cloud-Based Application Database to Asia (Dow Jones
                                                                                                                        Newswires - Factiva, 06/04/2013 07:02 AM)
                                                                                                                        Savvis Extends Cloud-Based Application Database to Asia (Canada NewsWire - Factiva, 06/04/2013
                                                                                                                        07:02 AM)
                                                                                                                        Quintiles Receives Award from Patient-Centered Outcomes Research Institute to Compare the
                                                                                                                        Effectiveness of Uterine Fibroid Treatments in Real-World Practice (Business Wire - Factiva,
                                                                                                                        06/04/2013 08:00 AM)
                                                                                                                        SAVVIS EXTENDS CLOUD-BASED APPLICATION DATABASE TO ASIA (Press Association
                                                                                                                        National Newswire - Factiva, 06/04/2013 08:01 AM)
                                                                                                                        DJ CEO POST III Surrenders 8,214 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                        Factiva, 06/04/2013 05:02 PM)
                                                                                                                        DJ CFO EWING JR Surrenders 2,778 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                        Factiva, 06/04/2013 05:03 PM)
                                                                                                                        DJ COO PUCKETT Surrenders 3,584 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                        Factiva, 06/04/2013 05:03 PM)
                                                                                                                        DJ VP GOFF Surrenders 2,061 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                        06/04/2013 05:03 PM)
                                                                                                                        DJ VP COLE Surrenders 2,061 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                        06/04/2013 05:04 PM)
                                                                                                                        DJ VP BEAL Surrenders 771 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                        06/04/2013 05:05 PM)
                                                                                                                        DJ VP MOREAU Surrenders 771 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                        06/04/2013 05:05 PM)
                                                                                                                        DJ Dir MELVILLE JR Sells 983 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                        06/04/2013 05:06 PM)
                                                                                                                        DJ Officer CHEEK Surrenders 617 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                        Factiva, 06/04/2013 05:06 PM)
6/5/2013 Wed   7,853,308   $34.93      $0.00   0.49% -1.35%   -0.13%   -1.22%    1.71%       2.5   1.38% *     $0.59    CenturyLink, Inc. CenturyLink to receive additional Connect America Funds (Electronics
                                                                                                                        Newsweekly - Factiva, 06/05/2013)
                                                                                                                        CenturyLink, Inc. CenturyLink to receive additional Connect America Funds (Journal of
                                                                                                                        Engineering - Factiva, 06/05/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/05/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/05/2013)
                                                                                                                        GlobalData Analyst Report (Capital IQ - Manual Entry, 06/05/2013)




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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                        GlobalData Analyst Report (Eikon - Manual Entry, 06/05/2013)
                                                                                                                        NATIONAL -- CenturyLink to sell Blue Ridge Networks solutions (TR's State NewsWire - Factiva,
                                                                                                                        06/05/2013)
                                                                                                                        Savvis announces expansion of Cloud-Based Application Database to Asia (M2 EquityBites - Factiva,
                                                                                                                        06/05/2013)
                                                                                                                        Scott+Scott, Attorneys at Law, LLP Files Class Action Lawsuit Against CenturyLink Inc on Behalf
                                                                                                                        of Investors (Reuters Significant Developments - Factiva, 06/05/2013)
                                                                                                                        Telephone Communications; Qwest Corp. Files SEC Form 8-A12B, Registration of Securities
                                                                                                                        [Section 12(B)] (May. 22, 2013) (Telecommunications Weekly - Factiva, 06/05/2013)
                                                                                                                        Telephone Communications; Qwest Corp. Files SEC Form CERTNYS, Certification By The New
                                                                                                                        York Stock Exchange Approving Securities For Listing (May. 22, 2013) (Telecommunications
                                                                                                                        Weekly - Factiva, 06/05/2013)
                                                                                                                        New Growth Strategies and Strong Earnings in the Telecom Space - Research Report on AT&T,
                                                                                                                        CenturyLink, Windstream, Bell, and Chunghwa Telecom (PR Newswire (U.S.) - Factiva, 06/05/2013
                                                                                                                        08:01 AM)
                                                                                                                        *DJ CenturyLink Launches Government Sales Agreement With Blue Ridge Networks (Dow Jones
                                                                                                                        Newswires - Factiva, 06/05/2013 09:00 AM)
                                                                                                                        CenturyLink Launches Government Sales Agreement with Blue Ridge Networks (PR Newswire
                                                                                                                        (U.S.) - Factiva, 06/05/2013 09:01 AM)
                                                                                                                        Shareholder Alert: Scott+Scott, Attorneys at Law, LLP Files Class Action Lawsuit Against
                                                                                                                        CenturyLink, Inc. on Behalf of Investors -- CTL (GlobeNewswire - Factiva, 06/05/2013 03:42 PM)
                                                                                                                        Qwest Diversified Capital Corporation Announces Closing Of RIA Resources Corp. Acquisition
                                                                                                                        (Filing Services Canada - Factiva, 06/05/2013 09:10 PM)
6/6/2013 Thu   5,079,912   $35.50      $0.00   1.63%   0.86%   1.64%    1.74%    -0.10%     -0.15 88.12%       -$0.04   CenturyLink authorised to sell Blue Ridge Networks cybersecurity solutions under new agreement
                                                                                                                        (M2 EquityBites - Factiva, 06/06/2013)
                                                                                                                        CENTURYLINK HOLDS FOOD DRIVE AT GRAND TETON MALL IN I.F. (Idaho State Journal -
                                                                                                                        Factiva, 06/06/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/06/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/06/2013)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 06/06/2013)
6/7/2013 Fri   5,187,098   $35.43      $0.00 -0.20%    1.28%   -1.23%   0.41%    -0.61%     -0.88 38.25%       -$0.22   CenturyLink announces new regional sales leaders.(BUSINESS) (Fiber Optics Weekly Update -
                                                                                                                        Factiva, 06/07/2013)
                                                                                                                        CenturyLink to receive additional Connect America Funds.(BUSINESS) (Fiber Optics Weekly
                                                                                                                        Update - Factiva, 06/07/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/07/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/07/2013)
                                                                                                                        FCC DIVISION DISMISSES QWEST-SANCOM DISPUTE (TR Daily - Factiva, 06/07/2013)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/07/2013)
                                                                                                                        Quintiles Infosario(R) Wins Informatica Innovation Award for Enterprise Data Integration
                                                                                                                        (Business Wire - Factiva, 06/07/2013 08:00 AM)
                                                                                                                        SHAREHOLDER ALERT: Brower Piven Encourages Investors Who Have Losses in Excess of
                                                                                                                        $300,000 From Investment in CenturyLink, Inc. to Contact Brower Piven Before the August 5, 2013
                                                                                                                        Lead Plaintiff Deadline -- CTL (GlobeNewswire - Factiva, 06/07/2013 04:21 PM)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        Faruqi & Faruqi, LLP Encourages Investors Who Suffered Losses In Excess Of $100,000 Investing
                                                                                                                        In CenturyLink, Inc. To Contact The Firm (PR Newswire (U.S.) - Factiva, 06/07/2013 08:45 PM)

                                                                                                                        DJ Dir MELVILLE JR Registers 983 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                        Factiva, 06/07/2013 10:48 PM)
 6/8/2013 Sat                                                                                                           Faruqi & Faruqi, LLP Encourages Investors Who Suffered Losses In Excess Of $100,000 Investing
                                                                                                                        In CenturyLink Inc To Contact Firm (Reuters Significant Developments - Factiva, 06/08/2013)

 6/9/2013 Sun
6/10/2013 Mon   3,194,525   $35.62      $0.00   0.54% -0.03%    0.89%   0.55%    -0.01%     -0.02 98.77%       $0.00    Cloud telecom startup IntelePeer raises $15M more (Silicon Valley/San Jose Business Journal Online -
                                                                                                                        Factiva, 06/10/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/10/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/10/2013)
6/11/2013 Tue   9,925,177   $35.49      $0.00 -0.36% -1.01%     0.22%   -0.67%    0.31%      0.44 65.87%       $0.11    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/11/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/11/2013)
6/12/2013 Wed   4,738,218   $35.39      $0.00 -0.28% -0.81%     0.11%   -0.56%    0.28%      0.41 68.54%       $0.10    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/12/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/12/2013)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Transparent Network Traffic
                                                                                                                        Inspection (Journal of Engineering - Factiva, 06/12/2013)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Transparent Network Traffic
                                                                                                                        Inspection (Telecommunications Weekly - Factiva, 06/12/2013)
                                                                                                                        CenturyLink appoints five new regional sales vice presidents (MarketLine (a Datamonitor Company),
                                                                                                                        Company News - Factiva, 06/12/2013 03:21 AM)
6/13/2013 Thu   3,302,196   $35.93      $0.00   1.53%   1.49%   0.65%   1.62%    -0.10%     -0.14 88.96%       -$0.03   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/13/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/13/2013)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Transparent Network Traffic
                                                                                                                        Inspection (Computer Weekly News - Factiva, 06/13/2013)
                                                                                                                        Improved Products and New Partnerships Work to Deliver Enhanced User Experience - Research
                                                                                                                        Report on CenturyLink, IGT, Tangoe, Ruckus Wireless, and Diebold Incorporated (PR Newswire
                                                                                                                        (U.S.) - Factiva, 06/13/2013 08:02 AM)
6/14/2013 Fri   4,272,929   $36.04      $0.00   0.31% -0.59%    0.24%   -0.29%    0.60%      0.87 38.54%       $0.21    CenturyLink Enhances Savvis Cloud Suite With Acquisition of AppFog, Inc. (India Investment News
                                                                                                                        - Factiva, 06/14/2013)
                                                                                                                        CenturyLink Inc Enhances Savvis Cloud Suite With Acquisition Of AppFog, Inc (Reuters Significant
                                                                                                                        Developments - Factiva, 06/14/2013)
                                                                                                                        CenturyLink launches government sales agreement with Blue Ridge
                                                                                                                        Networks.(PARTNERSHIPS)(Company overview) (Fiber Optics Weekly Update - Factiva,
                                                                                                                        06/14/2013)
                                                                                                                        CenturyLink launches IPTV service in Omaha (Telecompaper Americas - Factiva, 06/14/2013)
                                                                                                                        CenturyLink to acquire AppFog (MarketLine (a Datamonitor Company), Financial Deals Tracker -
                                                                                                                        Factiva, 06/14/2013)
                                                                                                                        Citycell seeks investment partner for switch to GSM (Telecompaper Asia - Factiva, 06/14/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/14/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/14/2013)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                         Investors group to sell AppFog to CenturyLink (MarketLine (a Datamonitor Company), Financial
                                                                                                                         Deals Tracker - Factiva, 06/14/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/14/2013)
                                                                                                                         CenturyLink Acquires Cloud Software Startup AppFog (VentureWire - Factiva, 06/14/2013 11:42
                                                                                                                         AM)
                                                                                                                         *DJ CenturyLink Enhances Savvis Cloud Suite With Acquisition Of AppFog, Inc. >CTL (Dow
                                                                                                                         Jones Newswires - Factiva, 06/14/2013 12:39 PM)
                                                                                                                         CenturyLink enhances Savvis Cloud suite with acquisition of AppFog, Inc. (Canada NewsWire -
                                                                                                                         Factiva, 06/14/2013 12:40 PM)
                                                                                                                         CenturyLink enhances Savvis Cloud suite with acquisition of AppFog, Inc. (PR Newswire (U.S.) -
                                                                                                                         Factiva, 06/14/2013 12:40 PM)
                                                                                                                         PRESS RELEASE: CenturyLink enhances Savvis Cloud suite with acquisition of AppFog, Inc.
                                                                                                                         (Dow Jones Newswires - Factiva, 06/14/2013 12:40 PM)
                                                                                                                         CenturyLink enhances Savvis Cloud suite with acquisition of AppFog, Inc. (PR Newswire Europe -
                                                                                                                         Factiva, 06/14/2013 12:53 PM)
                                                                                                                         CenturyLink enhances Savvis Cloud suite with acquisition of AppFog, Inc. (PR Newswire Asia -
                                                                                                                         Factiva, 06/14/2013 01:29 PM)
                                                                                                                         CENTURYLINK ENHANCES SAVVIS CLOUD SUITE WITH ACQUISITION OF APPFOG,
                                                                                                                         INC. (Press Association National Newswire - Factiva, 06/14/2013 01:53 PM)
6/15/2013 Sat
6/16/2013 Sun
6/17/2013 Mon   3,642,002   $35.99      $0.00 -0.14%    0.76%   -1.12%   -0.05%   -0.09%     -0.13 89.56%       -$0.03   CenturyLink acquires AppFog for undisclosed sum to enhance Savvis Cloud suite (M2 EquityBites -
                                                                                                                         Factiva, 06/17/2013)
                                                                                                                         CenturyLink acquires AppFog for undisclosed sum to enhance Savvis Cloud suite (Worldwide
                                                                                                                         Computer Products News - Factiva, 06/17/2013)
                                                                                                                         CenturyLink confirms AppFog purchase (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         06/17/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/17/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/17/2013)
                                                                                                                         Report: CenturyLink buying PaaS firm (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         06/17/2013)
                                                                                                                         Report: US agencies, companies swap sensitive data (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 06/17/2013)
                                                                                                                         Shareholder Alert: Scott+Scott, Attorneys at Law, LLP Reminds CenturyLink, Inc. Investors of
                                                                                                                         Upcoming Lead Plaintiff Deadline in CenturyLink Class Action Lawsuit -- CTL (GlobeNewswire -
                                                                                                                         Factiva, 06/17/2013 01:57 PM)
6/18/2013 Tue   2,884,387   $36.24      $0.00   0.69%   0.78%   0.81%    1.16%    -0.47%     -0.69 49.27%       -$0.17   COLORADO -- PUC approves new PAP for CenturyLink (TR's State NewsWire - Factiva,
                                                                                                                         06/18/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/18/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/18/2013)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 06/18/2013)
                                                                                                                         Quintiles Named a "Best Place to Work in IT" by Computerworld for Fifth Time (Business Wire -
                                                                                                                         Factiva, 06/18/2013 08:32 AM)




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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
6/19/2013 Wed   4,798,351   $35.33      $0.00 -2.51% -1.38%     -1.76%   -2.12%   -0.40%     -0.58 56.39%        -$0.14   CENTURYLINK REPORTS ACQUISITION BY DIRECTOR ROBERTS (Louisiana) (US Fed
                                                                                                                          News - Factiva, 06/19/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/19/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/19/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Protection against Unauthorized
                                                                                                                          Wireless Access Points (Electronics Newsweekly - Factiva, 06/19/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Protection against Unauthorized
                                                                                                                          Wireless Access Points (Journal of Engineering - Factiva, 06/19/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Protection against Unauthorized
                                                                                                                          Wireless Access Points (Telecommunications Weekly - Factiva, 06/19/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for System Development Planning Tool
                                                                                                                          (Journal of Engineering - Factiva, 06/19/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for System Development Planning Tool
                                                                                                                          (Telecommunications Weekly - Factiva, 06/19/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Systems and Methods for Advertising
                                                                                                                          Using Pay-Per-Call (Journal of Engineering - Factiva, 06/19/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Systems and Methods for Advertising
                                                                                                                          Using Pay-Per-Call (Telecommunications Weekly - Factiva, 06/19/2013)
                                                                                                                          CenturyLink and Blue Ridge Networks sign sales agreement (MarketLine (a Datamonitor Company),
                                                                                                                          Company News - Factiva, 06/19/2013 05:25 AM)
6/20/2013 Thu   6,233,174   $34.13      $0.00 -3.40% -2.49%     -0.55%   -2.26%   -1.13%     -1.66   9.99%       -$0.40   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/20/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/20/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for System Development Planning Tool
                                                                                                                          (Computer Weekly News - Factiva, 06/20/2013)
6/21/2013 Fri   8,513,623   $34.18      $0.00   0.15%   0.27%   0.44%    0.53%    -0.39%     -0.56 57.74%        -$0.13   CenturyLink Inc Reminds Shareholders With Losses On Investment In CenturyLink, Inc. Of Class
                                                                                                                          Action Lawsuit Investigation (Reuters Significant Developments - Factiva, 06/21/2013)
                                                                                                                          CenturyLink, Inc. CenturyLink's legal team takes home top honors at INTA conference (Economics
                                                                                                                          Week - Factiva, 06/21/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/21/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/21/2013)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/21/2013)
                                                                                                                          Reporter page: Sprint spinoffs go supernova in KC startup galaxy (Kansas City Business Journal -
                                                                                                                          Factiva, 06/21/2013)
                                                                                                                          Quintiles Transforms Laboratory Management for Investigator Sites with Quintiles Infosario(R)
                                                                                                                          Platform (Business Wire - Factiva, 06/21/2013 08:00 AM)
                                                                                                                          SHAREHOLDER ALERT: Pomerantz Law Firm Reminds Shareholders With Losses on their
                                                                                                                          Investment in CenturyLink, Inc. of Class Action Lawsuit Investigation - CTL (PR Newswire (U.S.) -
                                                                                                                          Factiva, 06/21/2013 11:02 AM)
                                                                                                                          SHAREHOLDER ALERT: Levi & Korsinsky Notifies Investors With Losses on Their Investment
                                                                                                                          in CenturyLink, Inc. of Class Action Lawsuit and Deadline of August 5, 2013 to Seek Lead Plaintiff
                                                                                                                          Position -- CTL (GlobeNewswire - Factiva, 06/21/2013 03:03 PM)
6/22/2013 Sat                                                                                                             CenturyLink, Inc. CenturyLink's legal team takes home top honors at INTA conference (Investment
                                                                                                                          Weekly News - Factiva, 06/22/2013)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                Events
                                                                                                                         Qwest Communications International Inc. Patent Issued for Systems and Methods for Advertising
                                                                                                                         Using Pay-Per-Call (Marketing Weekly News - Factiva, 06/22/2013)
6/23/2013 Sun
6/24/2013 Mon   5,296,647   $33.99      $0.00 -0.56% -1.21%     0.26%   -0.81%    0.26%      0.37 70.95%        $0.09    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/24/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/24/2013)
                                                                                                                         TEXAS -- Sen. Carona says CenturyLink lawsuit 'contravenes' new law (TR's State NewsWire -
                                                                                                                         Factiva, 06/24/2013)
                                                                                                                         Litigations, 4G LTE Network Rankings, and M&A deals for Strategic Growth - Research Report
                                                                                                                         on Sprint, AT&T, Vodafone Group, CenturyLink, and T-Mobile (PR Newswire (U.S.) - Factiva,
                                                                                                                         06/24/2013 08:01 AM)
                                                                                                                         DJ KKR to Pay $1.3 billion for PRA International - Sources (Dow Jones Chinese Newswires English
                                                                                                                         Content - Factiva, 06/24/2013 05:21 PM)
6/25/2013 Tue   5,657,303   $34.96      $0.00   2.85%   0.96%   1.32%   1.65%     1.20%      1.74   8.53%       $0.41    BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 06/25/2013)
                                                                                                                         COLORADO -- CenturyLink asks PUC to reclassify wire centers after court ruling (TR's State
                                                                                                                         NewsWire - Factiva, 06/25/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/25/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/25/2013)
                                                                                                                         NEW MEXICO -- PRC will not hold oral argument in response to ruling (TR's State NewsWire -
                                                                                                                         Factiva, 06/25/2013)
                                                                                                                         Nomura Analyst Report (Eikon - Manual Entry, 06/25/2013)
6/26/2013 Wed   3,820,848   $34.85      $0.00 -0.31%    0.98%   0.12%   0.95%    -1.27%     -1.81   7.22%       -$0.44   COLORADO -- State Supreme Court affirms tax assessment challenged by Qwest (TR's State
                                                                                                                         NewsWire - Factiva, 06/26/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/26/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/26/2013)
                                                                                                                         IDAHO -- PUC approves Qwest broadband tax credit (TR's State NewsWire - Factiva, 06/26/2013)
                                                                                                                         NATO SEEKNG COMMON DATA FEEDS FOR CYBER THREAT DATA EXCHANGE Curtis
                                                                                                                         Levinson, U.S. liaison-cybersecurity to the North Atlantic Treaty Organization and a former chief
                                                                                                                         security offer at Qwest Communications International, Inc., said today that NATO is working on
                                                                                                                         setting up Ã¢â‚¬Å“common data feedsÃ¢â‚¬Â from each of NATOÃ¢â‚¬â„¢s 28 member countries
                                                                                                                         in exchanging cyber threat data. (TR Daily - Factiva, 06/26/2013)
                                                                                                                         Savvis Acknowledged by Analyst Firm as an Industry Leader for Managed Hosting in Europe (PR
                                                                                                                         Newswire (U.S.) - Factiva, 06/26/2013 05:00 AM)
                                                                                                                         Savvis Acknowledged by Analyst Firm as an Industry Leader for Managed Hosting in Europe (PR
                                                                                                                         Newswire Asia - Factiva, 06/26/2013 05:00 AM)
                                                                                                                         Savvis Acknowledged by Analyst Firm as an Industry Leader for Managed Hosting in Europe (PR
                                                                                                                         Newswire Europe - Factiva, 06/26/2013 05:00 AM)
                                                                                                                         PRESS RELEASE: Savvis Acknowledged by Analyst Firm as an Industry Leader for Managed
                                                                                                                         Hosting in Europe (Dow Jones Newswires - Factiva, 06/26/2013 05:01 AM)
                                                                                                                         Savvis Acknowledged by Analyst Firm as an Industry Leader for Managed Hosting in Europe
                                                                                                                         (Canada NewsWire - Factiva, 06/26/2013 05:01 AM)
                                                                                                                         SAVVIS ACKNOWLEDGED BY ANALYST FIRM AS AN INDUSTRY LEADER FOR
                                                                                                                         MANAGED HOSTING IN EUROPE (Press Association National Newswire - Factiva, 06/26/2013
                                                                                                                         06:00 AM)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         CenturyLink Schedules Second Quarter 2013 Earnings Conference Call (PR Newswire (U.S.) -
                                                                                                                         Factiva, 06/26/2013 04:43 PM)
                                                                                                                         PRESS RELEASE: CenturyLink Schedules Second Quarter 2013 Earnings Conference Call (Dow
                                                                                                                         Jones Newswires - Factiva, 06/26/2013 04:43 PM)
6/27/2013 Thu   3,755,633   $35.27      $0.00   1.21%   0.63%   0.52%    0.90%     0.30%      0.43 66.67%       $0.11    Business briefs (The Courier-Tribune - Factiva, 06/27/2013)
                                                                                                                         CenturyLink wins five awards at Cisco Partner Summit 2013 (ENP Newswire - Factiva, 06/27/2013)

                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/27/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/27/2013)
                                                                                                                         OREGON -- PUC closes telco pole attachment waiver proceeding (TR's State NewsWire - Factiva,
                                                                                                                         06/27/2013)
                                                                                                                         SHAREHOLDER ALERT: Pomerantz Law Firm Has Filed a Class Action Against CenturyLink,
                                                                                                                         Inc. and Certain Officers - CTL (GlobeNewswire - Factiva, 06/27/2013 06:02 PM)
6/28/2013 Fri   4,649,488   $35.35      $0.00   0.23% -0.43%    -0.42%   -0.60%    0.82%      1.17 24.51%       $0.29    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/28/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 06/28/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/28/2013)
                                                                                                                         Nicholas Koluncich III, LLC Announces Investigation Of CenturyLink, Inc. (Reuters Significant
                                                                                                                         Developments - Factiva, 06/28/2013)
                                                                                                                         S&P Global Market Intelligence Analyst Report (Capital IQ - Manual Entry, 06/28/2013)
                                                                                                                         UTAH - PSC waives service quality rules for CenturyLink (TR's State NewsWire - Factiva,
                                                                                                                         06/28/2013)
                                                                                                                         Quintiles Named a Best Workplace in Europe (Business Wire - Factiva, 06/28/2013 08:00 AM)
                                                                                                                         The Law Offices of Nicholas Koluncich III, LLC Announces Investigation of CenturyLink, Inc.
                                                                                                                         ("CTL") (Business Wire - Factiva, 06/28/2013 09:30 AM)
                                                                                                                         CenturyLink, Inc. Investor Alert: Scott+Scott, Attorneys at Law, LLP Notifies Investors of
                                                                                                                         Upcoming Deadline in CenturyLink Class Action Lawsuit -- CTL (GlobeNewswire - Factiva,
                                                                                                                         06/28/2013 12:58 PM)
6/29/2013 Sat
6/30/2013 Sun                                                                                                            All OK with exec pay if companies do well (The Denver Post - Factiva, 06/30/2013)
 7/1/2013 Mon   2,583,345   $35.15      $0.00 -0.57%    0.55%   -0.46%   0.21%    -0.77%     -1.09 27.70%       -$0.27   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/01/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/01/2013)
                                                                                                                         Law firm sues CenturyLink over allegedly misleading statements (SNL Kagan Media &
                                                                                                                         Communications Report - Factiva, 07/01/2013)
                                                                                                                         NATO SEEKNG COMMON DATA FEEDS FOR CYBER THREAT DATA EXCHANGE (IP
                                                                                                                         Network Policy Report - Factiva, 07/01/2013)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 07/01/2013)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 07/01/2013)
                                                                                                                         SECTION 304 CLAW BACKS: Can Negligence Qualify as 'Misconduct?' (Financial Executive -
                                                                                                                         Factiva, 07/01/2013)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 07/01/2013)
                                                                                                                         Quintiles' Second Quarter 2013 Earnings Call Scheduled for Thursday, August 1(st) (Business Wire -
                                                                                                                         Factiva, 07/01/2013 08:00 AM)




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                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
 7/2/2013 Tue   4,076,082   $35.24      $0.00   0.26% -0.03%    0.58%    0.40%    -0.14%      -0.2 84.05%       -$0.05   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/02/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/02/2013)
                                                                                                                         Top 4 Large-Cap Stocks In The Telecom Services-Domestic Industry With The Highest Cash
                                                                                                                         (Benzinga.com - Factiva, 07/02/2013 04:19 AM)
 7/3/2013 Wed   1,778,305   $35.27      $0.00   0.09%   0.08%   0.44%    0.40%    -0.31%     -0.44 66.01%       -$0.11   Business briefs (The Courier-Tribune - Factiva, 07/03/2013)
                                                                                                                         COLORADO: Property Tax: Unitary Valuation of Telecommunications Company Property
                                                                                                                         Upheld (State Tax Review - Factiva, 07/03/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/03/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/03/2013)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 07/03/2013)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 07/03/2013)
 7/4/2013 Thu                                                                                                            S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 07/04/2013)
 7/5/2013 Fri   1,952,476   $35.44      $0.00   0.48%   1.02%   -0.17%   0.76%    -0.28%      -0.4 69.22%       -$0.10   Contract Award: Qwest Government Services Wins Federal Modification Contract for "3KHZ
                                                                                                                         COMMERCIAL BUSINESS LINE at FE WARREN AFB, WY" (US Fed News - Factiva, 07/05/2013)

                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/05/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/05/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/05/2013)
                                                                                                                         Need for Internet speed fuels fiber-optic boom in U.S., Jacksonville (Jacksonville Business Journal -
                                                                                                                         Factiva, 07/05/2013)
 7/6/2013 Sat
 7/7/2013 Sun
 7/8/2013 Mon   2,876,758   $35.35      $0.00 -0.25%    0.56%   0.21%    0.62%    -0.88%     -1.24 21.82%       -$0.31   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/08/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/08/2013)
 7/9/2013 Tue   2,869,190   $35.39      $0.00   0.11%   0.72%   -0.64%   0.18%    -0.07%      -0.1 92.11%       -$0.03   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/09/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/09/2013)
                                                                                                                         MINNESOTA - CenturyLink asks PUC to close DTI complaint proceeding (TR's State NewsWire -
                                                                                                                         Factiva, 07/09/2013)
7/10/2013 Wed   3,012,272   $35.46      $0.00   0.20%   0.02%   -0.45%   -0.26%    0.46%      0.65 52.01%       $0.16    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/10/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/10/2013)
                                                                                                                         KANSAS -- KCC approves new price cap formula (TR's State NewsWire - Factiva, 07/10/2013)
                                                                                                                         Transformative Transactions, Loyalty Programs, and Web Platforms - Research Report on Sprint,
                                                                                                                         CenturyLink, Rogers, NII Holdings, and Telefonica, and (PR Newswire (U.S.) - Factiva, 07/10/2013
                                                                                                                         08:01 AM)
                                                                                                                         SHAREHOLDER ALERT: Levi & Korsinsky Notifies Investors with Losses on Their Investment in
                                                                                                                         CenturyLink, Inc. of Class Action Lawsuit and Deadline of August 5, 2013 to Seek Lead Plaintiff
                                                                                                                         Position (PR Newswire (U.S.) - Factiva, 07/10/2013 01:33 PM)
7/11/2013 Thu   2,819,280   $36.01      $0.00   1.55%   1.37%   0.47%    1.45%     0.10%      0.14 88.65%       $0.04    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/11/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/11/2013)
7/12/2013 Fri   3,255,564   $36.24      $0.00   0.64%   0.31%   -0.83%   -0.28%    0.92%      1.29 20.08%       $0.33    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/12/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/12/2013)




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                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/12/2013)
                                                                                                                         Pomerantz Law Firm Reminds Shareholders With Losses on Their Investment in CenturyLink Inc
                                                                                                                         Of Class Action Lawsuit And Upcoming Deadline (Reuters Significant Developments - Factiva,
                                                                                                                         07/12/2013)
                                                                                                                         SHAREHOLDER ALERT: Levi & Korsinsky Notifies Investors with Losses on Their Investment in
                                                                                                                         CenturyLink, Inc. of Class Action Lawsuit and Deadline of August 5, 2013 to Seek Lead Plaintiff
                                                                                                                         Position (India Investment News - Factiva, 07/12/2013)
                                                                                                                         SHAREHOLDER ALERT: Pomerantz Law Firm Reminds Shareholders With Losses on Their
                                                                                                                         Investment in CenturyLink, Inc. of Class Action Lawsuit and Upcoming Deadline -- CTL
                                                                                                                         (GlobeNewswire - Factiva, 07/12/2013 07:21 PM)
7/13/2013 Sat                                                                                                            Pomerantz Grossman Hufford Dahlstrom & Gross Llp; SHAREHOLDER ALERT: Pomerantz
                                                                                                                         Law Firm Reminds Shareholders With Losses on their Investment in CenturyLink, Inc. of Class
                                                                                                                         Action Lawsuit Investigation - CTL (Investment Weekly News - Factiva, 07/13/2013)
7/14/2013 Sun
7/15/2013 Mon   3,642,826   $36.24      $0.00   0.00%   0.14%   -0.73%   -0.33%    0.33%      0.46 64.31%       $0.12    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/15/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/15/2013)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 07/15/2013)
7/16/2013 Tue   3,790,946   $36.27      $0.00   0.08% -0.37%    0.94%    0.34%    -0.26%     -0.36 72.07%       -$0.09   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/16/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/16/2013)
                                                                                                                         The 40-Year Club: America's Longest-Serving Directors; Board Colleagues Say They Provide
                                                                                                                         Useful Context, While Activist Investors Question Independence (The Wall Street Journal Online -
                                                                                                                         Factiva, 07/16/2013 07:45 PM)
7/17/2013 Wed   3,505,092   $36.11      $0.00 -0.44%    0.29%   0.33%    0.48%    -0.92%     -1.28 20.24%       -$0.33   America's Longest Serving Directors --- Board Memers Who Sit for 40 Years: Asets or Liabilities?
                                                                                                                         (The Wall Street Journal - Factiva, 07/17/2013)
                                                                                                                         COLORADO -- Initial PUC order approves Strata Networks ETC application (TR's State NewsWire
                                                                                                                         - Factiva, 07/17/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/17/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/17/2013)
                                                                                                                         IOWA -- IUB initiates refund phase of 'traffic pumping' case (TR's State NewsWire - Factiva,
                                                                                                                         07/17/2013)
                                                                                                                         Qwest Communications International Inc. "Passive Suction Base" in Patent Application Approval
                                                                                                                         Process (Telecommunications Weekly - Factiva, 07/17/2013)
                                                                                                                         Qwest Communications International Inc. Agency Reviews Patent Application Approval Request
                                                                                                                         for "Camera Barrel Mechanism" (Telecommunications Weekly - Factiva, 07/17/2013)
                                                                                                                         Qwest Communications International Inc. Agency Reviews Patent Application Approval Request
                                                                                                                         for "Elastomeric Chassis Suspension for Electronic Devices" (Electronics Newsweekly - Factiva,
                                                                                                                         07/17/2013)
                                                                                                                         Qwest Communications International Inc. Agency Reviews Patent Application Approval Request
                                                                                                                         for "Elastomeric Chassis Suspension for Electronic Devices" (Telecommunications Weekly - Factiva,
                                                                                                                         07/17/2013)
                                                                                                                         Qwest Communications International Inc. Agency Reviews Patent Application Approval Request
                                                                                                                         for "Magnetic Docking Base for Handset" (Telecommunications Weekly - Factiva, 07/17/2013)
                                                                                                                         Qwest Communications International Inc. Patent Application Titled "Charging Contact System"
                                                                                                                         Published Online (Telecommunications Weekly - Factiva, 07/17/2013)




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                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Qwest Communications International Inc. Researchers Submit Patent Application, "Integrated
                                                                                                                         Magnetic Tablet Stand", for Approval (Telecommunications Weekly - Factiva, 07/17/2013)
                                                                                                                         CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 07/17/2013 11:11
                                                                                                                         AM)
7/18/2013 Thu   4,903,620   $35.81      $0.00 -0.83%    0.51%   -1.20%   -0.32%   -0.51%     -0.71 47.91%       -$0.19   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/18/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/18/2013)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 07/18/2013)
                                                                                                                         Qwest Communications International Inc. "Passive Suction Base" in Patent Application Approval
                                                                                                                         Process (Politics & Government Week - Factiva, 07/18/2013)
                                                                                                                         Qwest Communications International Inc. Agency Reviews Patent Application Approval Request
                                                                                                                         for "Camera Barrel Mechanism" (Computer Weekly News - Factiva, 07/18/2013)
                                                                                                                         Qwest Communications International Inc. Agency Reviews Patent Application Approval Request
                                                                                                                         for "Elastomeric Chassis Suspension for Electronic Devices" (Politics & Government Week - Factiva,
                                                                                                                         07/18/2013)
                                                                                                                         Qwest Communications International Inc. Agency Reviews Patent Application Approval Request
                                                                                                                         for "Magnetic Docking Base for Handset" (Politics & Government Week - Factiva, 07/18/2013)
                                                                                                                         Qwest Communications International Inc. Patent Application Titled "Charging Contact System"
                                                                                                                         Published Online (Computer Weekly News - Factiva, 07/18/2013)
                                                                                                                         Qwest Communications International Inc. Researchers Submit Patent Application, "Integrated
                                                                                                                         Magnetic Tablet Stand", for Approval (Computer Weekly News - Factiva, 07/18/2013)
                                                                                                                         CenturyLinks bilingual call center marks anniversary (Hispanic PR Wire - Factiva, 07/18/2013 08:05
                                                                                                                         PM)
7/19/2013 Fri   3,644,991   $35.98      $0.00   0.47%   0.16%   0.03%    0.18%     0.29%      0.41 68.58%       $0.11    ESHOO, OTHER DEMS ASK CARRIERS TO EXPLAIN Ã¢â‚¬ËœBELOW-THE-LINEÃ¢â‚¬â„¢
                                                                                                                         FEES (TR Daily - Factiva, 07/19/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/19/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/19/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/19/2013)
                                                                                                                         Levi & Korsinsky Notifies Investors With Losses On Their Investment In Centurylink, Inc. Of
                                                                                                                         Class Action Lawsuit And Deadline (Reuters Significant Developments - Factiva, 07/19/2013)
                                                                                                                         Morning Research: CenturyLink, Integrated Device Technology, LG Display, and Cray (PR
                                                                                                                         Newswire (U.S.) - Factiva, 07/19/2013 08:13 AM)
                                                                                                                         SHAREHOLDER ALERT: Levi & Korsinsky Notifies Investors with Losses on Their Investment in
                                                                                                                         CenturyLink, Inc. of Class Action Lawsuit and Deadline of August 5, 2013 to Seek Lead Plaintiff
                                                                                                                         Position (Business Wire - Factiva, 07/19/2013 01:17 PM)
7/20/2013 Sat                                                                                                            CenturyLink Inc Receives Approval for Trademark CENTURYLINK (India Trademark News -
                                                                                                                         Factiva, 07/20/2013)
7/21/2013 Sun                                                                                                            Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 07/21/2013)
7/22/2013 Mon   3,532,214   $35.92      $0.00 -0.17%    0.21%   -0.17%   0.09%    -0.26%     -0.35 72.52%       -$0.09   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/22/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/22/2013)
                                                                                                                         Top 4 Large-Cap Stocks In The Telecom Services-Domestic Industry With The Highest Dividend
                                                                                                                         Yield (Benzinga.com - Factiva, 07/22/2013 05:22 AM)
                                                                                                                         CenturyLink's bilingual call center marks anniversary (PR Newswire (U.S.) - Factiva, 07/22/2013
                                                                                                                         08:00 AM)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
7/23/2013 Tue   13,298,269   $35.94      $0.00 0.06% -0.19%       0.52%    0.21%   -0.15%     -0.21 83.18%       -$0.06
7/24/2013 Wed    2,944,325   $35.87      $0.00 -0.19% -0.38%     -0.32%   -0.49%    0.29%      0.41 68.42%        $0.11   CenturyLink Inc Receives Approval for Trademark CENTURYLINK (India Trademark News -
                                                                                                                          Factiva, 07/24/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Mobile Caching and Data Relay
                                                                                                                          Vectoring Systems and Methods (Journal of Engineering - Factiva, 07/24/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Mobile Caching and Data Relay
                                                                                                                          Vectoring Systems and Methods (Telecommunications Weekly - Factiva, 07/24/2013)
7/25/2013 Thu    3,214,116   $35.83      $0.00 -0.11%    0.26%   -0.07%   0.20%    -0.31%     -0.43 66.78%       -$0.11   CenturyLink's Bilingual Call Center Celebrates Anniversary (Professional Services Close-Up -
                                                                                                                          Factiva, 07/25/2013)
                                                                                                                          CenturyLink's Bilingual Call Center Marks 29 Year Anniversary01021000 (Entertainment Close-Up -
                                                                                                                          Factiva, 07/25/2013)
                                                                                                                          CenturyLink's Bilingual Call Center Reaches 29th Anniversary (Wireless News - Factiva,
                                                                                                                          07/25/2013)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Mobile Caching and Data Relay
                                                                                                                          Vectoring Systems and Methods (Computer Weekly News - Factiva, 07/25/2013)
                                                                                                                          UTAH - CenturyLink seeks approval of Google pole-attachment pact (TR's State NewsWire - Factiva,
                                                                                                                          07/25/2013)
                                                                                                                          Health Care Executives Say Collaboration Improves Outcomes, But Find Success Elusive (Business
                                                                                                                          Wire - Factiva, 07/25/2013 08:00 AM)
                                                                                                                          PRESS RELEASE: Savvis launches Cloud Data Center services (Dow Jones Newswires - Factiva,
                                                                                                                          07/25/2013 09:01 AM)
                                                                                                                          PRESS RELEASE: Savvis launches Cloud Data Center services (Dow Jones Newswires - Factiva,
                                                                                                                          07/25/2013 09:01 AM)
                                                                                                                          Savvis launches Cloud Data Center services (Canada NewsWire - Factiva, 07/25/2013 09:01 AM)
                                                                                                                          Savvis launches Cloud Data Center services (PR Newswire (U.S.) - Factiva, 07/25/2013 09:01 AM)
                                                                                                                          Savvis launches Cloud Data Center services (PR Newswire Asia - Factiva, 07/25/2013 09:01 AM)
                                                                                                                          Savvis launches Cloud Data Center services (PR Newswire Europe - Factiva, 07/25/2013 09:25 AM)

                                                                                                                          SAVVIS LAUNCHES CLOUD DATA CENTER SERVICES (Press Association National Newswire -
                                                                                                                          Factiva, 07/25/2013 09:25 AM)
7/26/2013 Fri    2,757,887   $36.03      $0.00   0.56%   0.08%   0.36%    0.33%     0.23%      0.31 75.38%       $0.08    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/26/2013)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/26/2013)
                                                                                                                          MobileHelp Appoints Senior VP of Sales and Marketing (Health & Beauty Close-Up - Factiva,
                                                                                                                          07/26/2013)
                                                                                                                          MobileHelp Expands Executive Team with New SVP of Sales and Marketing (Entertainment Close-
                                                                                                                          Up - Factiva, 07/26/2013)
                                                                                                                          Savvis' Cloud Data Centre services now available globally (M2 EquityBites - Factiva, 07/26/2013)
                                                                                                                          SAVVIS cloud data services go global (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                          07/26/2013)
                                                                                                                          Telecom Growth Reflected Through Strong Earnings, Expansions, Appointments, and Joint
                                                                                                                          Ventures - Research Report on AT&T, CenturyLink, Bell, EarthLink, and Alaska Communications
                                                                                                                          (PR Newswire (U.S.) - Factiva, 07/26/2013 08:01 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                         SHAREHOLDER ALERT: Pomerantz Law Firm Reminds Shareholders With Losses on Their
                                                                                                                         Investment in CenturyLink, Inc. of Class Action Lawsuit and Upcoming Deadline -- CTL
                                                                                                                         (GlobeNewswire - Factiva, 07/26/2013 07:07 PM)
7/27/2013 Sat
7/28/2013 Sun
7/29/2013 Mon   2,519,767   $36.15      $0.00   0.33% -0.37%    0.96%    0.35%    -0.02%     -0.03 97.85%       -$0.01   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/29/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/29/2013)
                                                                                                                         NEW YORK -- Qwest seeks to withdraw 'unfiled tariffs' complaint (TR's State NewsWire - Factiva,
                                                                                                                         07/29/2013)
                                                                                                                         SHAREHOLDER ALERT: Levi & Korsinsky Notifies Investors with Losses on Their Investment in
                                                                                                                         CenturyLink, Inc. of Class Action Lawsuit and Deadline of August 5, 2013 to Seek Lead Plaintiff
                                                                                                                         Position (Business Wire - Factiva, 07/29/2013 05:05 PM)
                                                                                                                         Scott+Scott, Attorneys at Law, LLP Notifies Investors That Only 7 Days Remain Before Lead
                                                                                                                         Plaintiff Deadline in CenturyLink Class Action Lawsuit -- CTL (GlobeNewswire - Factiva,
                                                                                                                         07/29/2013 06:11 PM)
7/30/2013 Tue   4,545,076   $35.72      $0.00 -1.19%    0.04%   -1.49%   -0.87%   -0.32%     -0.45 65.34%       -$0.12   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/30/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/30/2013)
                                                                                                                         Qwest Communications International Inc Files Patent Application for Family Chat (Indian Patent
                                                                                                                         News - Factiva, 07/30/2013)
                                                                                                                         Qwest Communications International Inc Files Patent Application for Video Call Handling (Indian
                                                                                                                         Patent News - Factiva, 07/30/2013)
                                                                                                                         WASHINGTON -- CenturyLink wants Sprint dismissed from AFOR proceeding (TR's State
                                                                                                                         NewsWire - Factiva, 07/30/2013)
                                                                                                                         CenturyLink and CWA reach agreement in contract negotiations (PR Newswire (U.S.) - Factiva,
                                                                                                                         07/30/2013 11:46 PM)
7/31/2013 Wed   4,625,270   $35.85      $0.00   0.36%   0.00%   -1.04%   -0.63%    0.99%       1.4 16.46%       $0.36    CenturyLink, union announce tentative contract deal (Denver Business Journal Online - Factiva,
                                                                                                                         07/31/2013)
                                                                                                                         CWA REPORTS TENTATIVE DEAL WITH CenturyLink (TR Daily - Factiva, 07/31/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/31/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 07/31/2013)
                                                                                                                         Event Brief of Q2 2013 Level 3 Communications Earnings Conference Call - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 07/31/2013)
                                                                                                                         MobileHelp Names Jeffrey Hilton as SVP of Sales and Marketing (Wireless News - Factiva,
                                                                                                                         07/31/2013)
                                                                                                                         MobileHelp Names Senior VP of Sales and Marketing (Professional Services Close-Up - Factiva,
                                                                                                                         07/31/2013)
                                                                                                                         Pavilion to split leadership duties (Argus Leader - Factiva, 07/31/2013)
                                                                                                                         Q2 2013 Level 3 Communications Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                         07/31/2013)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Methods, Systems and Apparatus for
                                                                                                                         Selectively Distributing Urgent Public Information (Journal of Engineering - Factiva, 07/31/2013)

                                                                                                                         Qwest Communications International Inc. Patent Issued for Methods, Systems and Apparatus for
                                                                                                                         Selectively Distributing Urgent Public Information (Telecommunications Weekly - Factiva,
                                                                                                                         07/31/2013)



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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                                       PRESS RELEASE: CenturyLink and CWA reach agreement in contract negotiations (Dow Jones
                                                                                                                       Newswires - Factiva, 07/31/2013 05:54 AM)
                                                                                                                       CenturyLink reaches deal with union workers in 13 states; 1st agreement since buying Qwest
                                                                                                                       (Associated Press Newswires - Factiva, 07/31/2013 03:20 PM)
8/1/2013 Thu   3,251,816   $36.32      $0.00   1.31%   1.26%   0.23%   1.24%     0.07%       0.1 91.92%       $0.03    CenturyLink, CWA reach contract agreement (SNL Kagan Media & Communications Report -
                                                                                                                       Factiva, 08/01/2013)
                                                                                                                       CenturyLink, union reach tentative agreement (Omaha World-Herald - Factiva, 08/01/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/01/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/01/2013)
                                                                                                                       Quintiles Transnational Holdings Inc Issues FY 2013 Guidance; EPS Guidance Above Analysts'
                                                                                                                       Estimates (Reuters Significant Developments - Factiva, 08/01/2013)
                                                                                                                       S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 08/01/2013)
                                                                                                                       Quintiles Reports Second Quarter 2013 Results and Full Year 2013 Guidance (Business Wire -
                                                                                                                       Factiva, 08/01/2013 06:00 AM)
                                                                                                                       DJ Quintiles Transnational: Beneficio por acciÃƒÂ³n ajustado US$0,5 en 2t (Dow Jones Spanish
                                                                                                                       Newswire - Factiva, 08/01/2013 06:03 AM)
                                                                                                                       Investor Alert: Scott+Scott, Attorneys at Law, LLP Notifies Investors That Only 4 Days Remain
                                                                                                                       Before Lead Plaintiff Deadline in CenturyLink Class Action Lawsuit -- CTL (GlobeNewswire -
                                                                                                                       Factiva, 08/01/2013 07:29 PM)
8/2/2013 Fri   3,140,465   $36.11      $0.00 -0.58%    0.17%   0.15%   0.27%    -0.85%      -1.2 23.32%       -$0.31   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/02/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/02/2013)
                                                                                                                       Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/02/2013)
                                                                                                                       Qwest Communications International Inc. Patent Issued for Methods, Systems and Apparatus for
                                                                                                                       Selectively Distributing Urgent Public Information (Entertainment Newsweekly - Factiva, 08/02/2013)

8/3/2013 Sat                                                                                                           CenturyLink labor deal settles two-year battle (The News-Star - Factiva, 08/03/2013)
                                                                                                                       CenturyLink labor deal settles two-year battle (The News-Star - Factiva, 08/03/2013)
                                                                                                                       CenturyLink, labor reach deal (The News-Star - Factiva, 08/03/2013)
                                                                                                                       Phone company aims to reduce broadband costs (Sauk Valley Newspapers - Factiva, 08/03/2013)
8/4/2013 Sun
8/5/2013 Mon   3,583,586   $36.09      $0.00 -0.06% -0.14%     0.12%   -0.02%   -0.04%     -0.05 96.01%       -$0.01   CenturyLink and CWA Form Tentative Agreement in Contract Negotiations (Wireless News -
                                                                                                                       Factiva, 08/05/2013)
                                                                                                                       Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 08/05/2013)
                                                                                                                       Contract Award: Qwest Government Services Wins Federal Modification Contract for
                                                                                                                       "Commercial business line at Mountain Home AFB" (US Fed News - Factiva, 08/05/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/05/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/05/2013)
                                                                                                                       FLORIDA - PSC submits annual report on competition in telecom industry (TR's State NewsWire -
                                                                                                                       Factiva, 08/05/2013)
                                                                                                                       Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/05/2013)
                                                                                                                       UTAH - CenturyLink petitions PSC for changes to performance plans (TR's State NewsWire -
                                                                                                                       Factiva, 08/05/2013)




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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
8/6/2013 Tue   3,197,999   $36.18      $0.00   0.25% -0.57%   -0.03%   -0.48%    0.73%      1.02 30.77%       $0.26    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/06/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/06/2013)
                                                                                                                       IDAHO - PUC waives mandated two-year network improvement filings (TR's State NewsWire -
                                                                                                                       Factiva, 08/06/2013)
                                                                                                                       Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 08/06/2013)
                                                                                                                       Savvis; Savvis launches Cloud Data Center services (Information Technology Newsweekly - Factiva,
                                                                                                                       08/06/2013)
                                                                                                                       Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 08/06/2013)
                                                                                                                       CenturyLink and CWA reach tentative contract agreement (MarketLine (a Datamonitor Company),
                                                                                                                       Company News - Factiva, 08/06/2013 02:04 AM)
                                                                                                                       Research and Markets: Communication & Networking Equipment Manufacturers (Global) -
                                                                                                                       Analysis of The Top 100 Companies Including Verizon Communications, Qwest Communications
                                                                                                                       International, Technicolor, And Others (Business Wire - Factiva, 08/06/2013 06:32 AM)

                                                                                                                       Mobile Retailing, Agreements, and Earnings Reflect Growth Trend of Telecom Providers -
                                                                                                                       Research Report on AT&T, CenturyLink, NII Holdings, EarthLink, and Telefonica (PR Newswire
                                                                                                                       (U.S.) - Factiva, 08/06/2013 08:02 AM)
8/7/2013 Wed   4,624,033   $36.39      $0.00   0.58% -0.35%   0.17%    -0.15%    0.73%      1.03 30.56%       $0.27    BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                       CenturyLink Inc Issues Q3 2013 Guidance; EPS Guidance Below Analysts' Estimates; Lowers FY
                                                                                                                       2013 Revenue Guidance; Narrows FY 2013 EPS Guidance To A Range Below Analysts' Estimates
                                                                                                                       (Reuters Significant Developments - Factiva, 08/07/2013)
                                                                                                                       CenturyLink REPORTS 1.7% REVENUE DECLINE (TR Daily - Factiva, 08/07/2013)
                                                                                                                       Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                       D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                       D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                       Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                       Deutsche Bank Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                       EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                       Event Brief of Q2 2013 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                                                       Factiva, 08/07/2013)
                                                                                                                       MarketLine Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                       MobileHelp; MobileHelp Expands Executive Team with Senior Vice President of Sales and
                                                                                                                       Marketing (Journal of Engineering - Factiva, 08/07/2013)
                                                                                                                       Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                       Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                       Q2 2013 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                       08/07/2013)
                                                                                                                       Savvis; Savvis launches Cloud Data Center services (Journal of Engineering - Factiva, 08/07/2013)
                                                                                                                       Stifel Nicolaus and Company, Incorporated Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/07/2013)




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    [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]         [12]                                                   [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
   Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                Events

                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                          UBS Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                          UBS Analyst Report (Capital IQ - Manual Entry, 08/07/2013)
                                                                                                                          UBS Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                          UBS Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                          Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                          Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 08/07/2013)
                                                                                                                          Analyst Estimates for U.S. Earnings Wednesday (Dow Jones News Service - Factiva, 08/07/2013 05:55
                                                                                                                          AM)
                                                                                                                          DJ Analyst Estimates for U.S. Earnings Wednesday (Dow Jones Institutional News - Factiva,
                                                                                                                          08/07/2013 05:55 AM)
                                                                                                                          CenturyLink Reports Second Quarter 2013 Earnings (PR Newswire (U.S.) - Factiva, 08/07/2013
                                                                                                                          04:05 PM)
                                                                                                                          DJ CenturyLink 2Q Adj EPS 69c >CTL (Dow Jones Chinese Newswires English Content - Factiva,
                                                                                                                          08/07/2013 04:05 PM)
                                                                                                                          DJ CenturyLink Files 8K - Operations And Financial Condition >CTL (Dow Jones Newswires -
                                                                                                                          Factiva, 08/07/2013 04:08 PM)
                                                                                                                          CenturyLink Second-Quarter Net Soars on Prior-Year Debt Impact (Dow Jones News Service -
                                                                                                                          Factiva, 08/07/2013 04:51 PM)
                                                                                                                          DJ CenturyLink Second-Quarter Net Soars on Prior-Year Debt Impact (Dow Jones Newswires -
                                                                                                                          Factiva, 08/07/2013 04:51 PM)
                                                                                                                          CenturyLink Second-Quarter Net Soars on Prior-Year Debt Impact (Dow Jones Top News &
                                                                                                                          Commentary - Factiva, 08/07/2013 04:54 PM)
                                                                                                                          CenturyLink Second-Quarter Net Soars on Prior-Year Debt Impact (Dow Jones Global News Select -
                                                                                                                          Factiva, 08/07/2013 05:06 PM)
                                                                                                                          CenturyLink Second-Quarter Net Soars on Prior-Year Debt Impact (Dow Jones Newswires - Factiva,
                                                                                                                          08/07/2013 05:06 PM)
                                                                                                                          DJ CenturyLink Second-Quarter Net Soars on Prior-Year Debt Impact (Dow Jones Chinese
                                                                                                                          Financial Wire - Factiva, 08/07/2013 05:28 PM)
                                                                                                                          DJ CenturyLink Second-Quarter Net Soars on Prior-Year Debt Impact (Dow Jones Chinese
                                                                                                                          Newswires English Content - Factiva, 08/07/2013 05:28 PM)
                                                                                                                          CenturyLink says 2nd-quarter net income grew, but tempers outlook; shares fall aftermarket
                                                                                                                          (Associated Press Newswires - Factiva, 08/07/2013 05:52 PM)
8/8/2013 Thu   16,527,825   $34.36      $0.00 -5.58%   0.41%   -0.99%   -0.25%   -5.33%     -7.46   0.00% **     -$1.94   Atlantic Equities Analyst Report (Eikon - Manual Entry, 08/08/2013)
                                                                                                                          BMO Capital Markets Analyst Report (Eikon - Manual Entry, 08/08/2013)
                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                          CenturyLink income soars as special items boost Q2 results (SNL Kagan Media & Communications
                                                                                                                          Report - Factiva, 08/08/2013)
                                                                                                                          CenturyLink posts net income of USD269m in Q2 2013 (M2 EquityBites - Factiva, 08/08/2013)
                                                                                                                          CenturyLink's 2nd-quarter profit grows (The News-Star - Factiva, 08/08/2013)
                                                                                                                          CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                          Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 08/08/2013)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                        Deutsche Bank Analyst Report (Eikon - Manual Entry, 08/08/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                        FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 08/08/2013)
                                                                                                                        Hudson Square Research Analyst Report (Eikon - Manual Entry, 08/08/2013)
                                                                                                                        JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                        JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                        JP Morgan Analyst Report (Eikon - Manual Entry, 08/08/2013)
                                                                                                                        Macquarie Research Analyst Report (Eikon - Manual Entry, 08/08/2013)
                                                                                                                        Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                        Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/08/2013)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/08/2013)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/08/2013)
                                                                                                                        Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                        RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 08/08/2013)
                                                                                                                        US Patent Issued to Qwest Communications International on Aug. 6 for "Systems and methods for
                                                                                                                        providing redundant back-up to a video transmission system" (Nebraska, Colorado, Utah
                                                                                                                        Inventors) (US Fed News - Factiva, 08/08/2013)
                                                                                                                        CenturyLink skids after lowering revenue estimate for 2013 and forecasting decline in 2014
                                                                                                                        (Associated Press Newswires - Factiva, 08/08/2013 03:49 PM)
                                                                                                                        Lowe's, Groupon, Orbitz, Crocs and Tesla are big market movers (Associated Press Newswires -
                                                                                                                        Factiva, 08/08/2013 04:28 PM)
 8/9/2013 Fri   8,025,526   $33.89      $0.00 -1.37% -0.34%   -0.69%   -0.70%    -0.67%     -0.98 33.06%       -$0.23   CenturyLink's 2nd-quarter profit grows (The News-Star - Factiva, 08/09/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/09/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/09/2013)
                                                                                                                        Insiders.hk: Learn Insider Trading in Facebook, Green Mountain Coffee Roasters, Walter Energy,
                                                                                                                        CenturyLink, Yahoo, and Marathon Oil (India Banking News - Factiva, 08/09/2013)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/09/2013)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/09/2013)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/09/2013)
                                                                                                                        RBC Capital Markets Analyst Report (Eikon - Manual Entry, 08/09/2013)
                                                                                                                        Stifel Nicolaus and Company, Incorporated Analyst Report (Eikon - Manual Entry, 08/09/2013)
                                                                                                                        Quintiles Named Preferred Provider in Phase I Market Report (Business Wire - Factiva, 08/09/2013
                                                                                                                        08:00 AM)
                                                                                                                        Learn Insider Trading in Facebook, Green Mountain Coffee Roasters, Walter Energy,
                                                                                                                        CenturyLink, Yahoo, and Marathon Oil (PR Newswire (U.S.) - Factiva, 08/09/2013 08:55 AM)
8/10/2013 Sat                                                                                                           Community helps collect food, funds (Sauk Valley Newspapers - Factiva, 08/10/2013)
                                                                                                                        MobileHelp; MobileHelp Expands Executive Team with Senior Vice President of Sales and
                                                                                                                        Marketing (Marketing Weekly News - Factiva, 08/10/2013)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events
8/11/2013 Sun
8/12/2013 Mon   4,550,973   $34.08      $0.00   0.56% -0.11%   0.45%    0.18%     0.38%      0.59 55.72%       $0.13    CALIFORNIA - PUC agrees to dismiss CLECs from Qwest discrimination case (TR's State
                                                                                                                        NewsWire - Factiva, 08/12/2013)
                                                                                                                        CenturyLink sees more landline losses in 2013 (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 08/12/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/12/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/12/2013)
                                                                                                                        Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 08/12/2013)
8/13/2013 Tue   4,346,033   $33.88      $0.00 -0.59%   0.30%   -0.86%   -0.31%   -0.27%     -0.43 66.92%       -$0.09   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/13/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/13/2013)
                                                                                                                        FCC slashes prison call rates (SNL Kagan Media & Communications Report - Factiva, 08/13/2013)

                                                                                                                        Jefferies LLC Analyst Report (Eikon - Manual Entry, 08/13/2013)
                                                                                                                        WASHINGTON -- Sprint wants IP interconnection addressed in AFOR case (TR's State NewsWire -
                                                                                                                        Factiva, 08/13/2013)
                                                                                                                        Savvis strengthens European presence with three executive appointments (PR Newswire Europe -
                                                                                                                        Factiva, 08/13/2013 05:00 AM)
                                                                                                                        SAVVIS STRENGTHENS EUROPEAN PRESENCE WITH THREE EXECUTIVE
                                                                                                                        APPOINTMENTS (Press Association National Newswire - Factiva, 08/13/2013 05:00 AM)
                                                                                                                        DJ Dir MELVILLE JR Sells 400 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                        08/13/2013 11:09 AM)
                                                                                                                        DJ Dir MELVILLE JR Registers 400 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                        Factiva, 08/13/2013 10:25 PM)
8/14/2013 Wed   4,280,600   $33.73      $0.00 -0.44% -0.50%    0.20%    -0.31%   -0.14%     -0.22 82.92%       -$0.05   CenturyLink lets students give grants (Idaho State Journal - Factiva, 08/14/2013)
                                                                                                                        CenturyLink, Inc. at Oppenheimer Technology, Internet & Communications Conference - Final
                                                                                                                        (CQ FD Disclosure - Factiva, 08/14/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/14/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/14/2013)
                                                                                                                        Quintiles Transnational Holdings Inc Acquires Novella Clinical (Reuters Significant Developments -
                                                                                                                        Factiva, 08/14/2013)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/14/2013)
                                                                                                                        CenturyLink reports higher Q2 net income, provides outlook for Q3 (MarketLine (a Datamonitor
                                                                                                                        Company), Company News - Factiva, 08/14/2013 02:30 AM)
                                                                                                                        Technology Sector Companies Announce Second Quarter Financial Results - Research Report on
                                                                                                                        CenturyLink, Frontier Communications, BCE, Windstream, and tw telecom (PR Newswire (U.S.) -
                                                                                                                        Factiva, 08/14/2013 08:01 AM)
                                                                                                                        Quintiles to Acquire Novella Clinical (Business Wire - Factiva, 08/14/2013 08:30 AM)
8/15/2013 Thu   4,304,927   $33.47      $0.00 -0.77% -1.41%    0.06%    -1.15%    0.38%      0.59 55.33%       $0.13    CFRA Equity Research Analyst Report (Eikon - Manual Entry, 08/15/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/15/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/15/2013)
                                                                                                                        IDAHO - CenturyLink seeks to replace service quality performance plan (TR's State NewsWire -
                                                                                                                        Factiva, 08/15/2013)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                         Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 08/15/2013)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 08/15/2013)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 08/15/2013)
                                                                                                                         Seahawks' Sherman signs deal with CenturyLink (Puget Sound Business Journal Online - Factiva,
                                                                                                                         08/15/2013)
                                                                                                                         Seahawks cornerback Richard Sherman signs endorsement deal with CenturyLink (PR Newswire
                                                                                                                         (U.S.) - Factiva, 08/15/2013 12:06 AM)
                                                                                                                         Drug Innovations, Higher Margins and Improving Standards of Clinical Research - Research
                                                                                                                         Report on Quest Diagnostics, Trius, WuXi, Quintiles, and ICON (PR Newswire (U.S.) - Factiva,
                                                                                                                         08/15/2013 08:01 AM)
                                                                                                                         PRESS RELEASE: Seahawks cornerback Richard Sherman signs endorsement deal with
                                                                                                                         CenturyLink (Dow Jones Newswires - Factiva, 08/15/2013 08:01 AM)
8/16/2013 Fri   5,853,782   $32.92      $0.00 -1.64% -0.33%     -0.75%   -0.75%   -0.89%     -1.41 16.01%       -$0.30   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/16/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/16/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/16/2013)
                                                                                                                         Seahawks cornerback Richard Sherman signs endorsement deal with CenturyLink.(CONTRACTS)
                                                                                                                         (Fiber Optics Weekly Update - Factiva, 08/16/2013)
                                                                                                                         DJ Dir NICHOLS Sells 3,070 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                         08/16/2013 01:00 PM)
8/17/2013 Sat                                                                                                            Levi & Korsinsky, LLP; SHAREHOLDER ALERT: Levi & Korsinsky Notifies Investors with
                                                                                                                         Losses on Their Investment in CenturyLink, Inc. of Class Action Lawsuit and Deadline of August 5,
                                                                                                                         2013 to Seek Lead Plaintiff Position (Investment Weekly News - Factiva, 08/17/2013)
8/18/2013 Sun
8/19/2013 Mon   4,647,503   $32.56      $0.00 -1.09% -0.58%     -0.37%   -0.73%   -0.36%     -0.57 56.70%       -$0.12   ATIS VP (TR Daily - Factiva, 08/19/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/19/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/19/2013)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 08/19/2013)
                                                                                                                         DJ Dir NICHOLS Registers 3,070 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                         08/19/2013 10:21 PM)
8/20/2013 Tue   3,407,718   $32.58      $0.00   0.06%   0.39%   0.27%    0.46%    -0.40%     -0.63 52.74%       -$0.13   CenturyLink Gains Endorsement of Seahawks Cornerback Richard Sherman (Travel & Leisure
                                                                                                                         Close-Up - Factiva, 08/20/2013)
                                                                                                                         COLORADO -- PUC agrees to modify classification of CenturyLink wire centers (TR's State
                                                                                                                         NewsWire - Factiva, 08/20/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/20/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/20/2013)
                                                                                                                         Former Qwest CEO Nacchio wants $18M tax refund (Denver Business Journal Online - Factiva,
                                                                                                                         08/20/2013)
                                                                                                                         Stifel Nicolaus and Company, Incorporated Analyst Report (Eikon - Manual Entry, 08/20/2013)
                                                                                                                         CenturyLink to accept $54 million in Connect America Funds (PR Newswire (U.S.) - Factiva,
                                                                                                                         08/20/2013 09:01 AM)
                                                                                                                         Former Qwest CEO Nacchio, convicted of insider trading, seeking $18 million tax refund
                                                                                                                         (Associated Press Newswires - Factiva, 08/20/2013 08:09 PM)
8/21/2013 Wed   4,057,167   $32.32      $0.00 -0.80% -0.57%     -0.76%   -0.98%    0.18%      0.29 77.18%       $0.06    Argus Research Corporation Analyst Report (Eikon - Manual Entry, 08/21/2013)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events

                                                                                                                           CenturyLink to receive FCC funds to boost rural broadband (SNL Kagan Media & Communications
                                                                                                                           Report - Factiva, 08/21/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/21/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/21/2013)
                                                                                                                           Qwest Communications International Inc. Patent Issued for Systems and Methods for Providing
                                                                                                                           Redundant Back-Up to a Video Transmission System (Journal of Engineering - Factiva, 08/21/2013)

                                                                                                                           Qwest Communications International Inc. Patent Issued for Systems and Methods for Providing
                                                                                                                           Redundant Back-Up to a Video Transmission System (Telecommunications Weekly - Factiva,
                                                                                                                           08/21/2013)
                                                                                                                           Report: NSA, FBI monitored all emails, texts during Salt Lake Olympics (The Salt Lake Tribune -
                                                                                                                           Factiva, 08/21/2013)
                                                                                                                           SUNRISE: Colorado marijuana patients to protest privacy breaches (The Gazette - Factiva,
                                                                                                                           08/21/2013)
                                                                                                                           TAXES; Ex-CEO wants big refund (Houston Chronicle - Factiva, 08/21/2013)
                                                                                                                           WYOMING -- PSC: CenturyLink owes customers $7M in USF funds (TR's State NewsWire -
                                                                                                                           Factiva, 08/21/2013)
                                                                                                                           Critical Alerts For American Express, Verizon Communications, GlaxoSmithKline, Archer Daniels
                                                                                                                           Midland, and Quintiles Released By InvestorsObserver (PR Newswire (U.S.) - Factiva, 08/21/2013
                                                                                                                           09:31 AM)
                                                                                                                           DJ NYSE New 52-Week Highs And Lows -2- (Dow Jones Chinese Newswires English Content -
                                                                                                                           Factiva, 08/21/2013 04:21 PM)
                                                                                                                           DJ NYSE New 52-Week Highs And Lows -2- (Dow Jones Chinese Financial Wire - Factiva, 08/21/2013
                                                                                                                           04:21 PM)
                                                                                                                           DJ Dir ZIMMEL Sells 11,344 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                           08/21/2013 04:27 PM)
8/22/2013 Thu   22,122,025   $32.58      $0.00   0.80%   0.86%   -0.23%   0.51%     0.29%      0.46 64.67%        $0.09    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/22/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/22/2013)
                                                                                                                           Nomura Analyst Report (Eikon - Manual Entry, 08/22/2013)
                                                                                                                           Before the Bell Scans: CenturyLink Inc., Integrated Device Technology Inc., LG Display Co. Ltd,
                                                                                                                           and Cray Inc. (PR Newswire (U.S.) - Factiva, 08/22/2013 08:00 AM)
                                                                                                                           New York Stock Exchange's 10 most active stocks at the close of trading (Associated Press
                                                                                                                           Newswires - Factiva, 08/22/2013 06:03 PM)
                                                                                                                           Top 10 New York Stock Exchange-traded stocks posting largest volume increases (Associated Press
                                                                                                                           Newswires - Factiva, 08/22/2013 06:03 PM)
8/23/2013 Fri   15,350,867   $33.30      $0.00   2.21%   0.41%   1.09%    1.00%     1.21%      1.91   5.80%       $0.40    CenturyLink to accept $54 million in connect America Funds.(BUSINESS) (Fiber Optics Weekly
                                                                                                                           Update - Factiva, 08/23/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/23/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/23/2013)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/23/2013)
                                                                                                                           UTAH -- PSC approves CenturyLink-Google pole attachment agreement (TR's State NewsWire -
                                                                                                                           Factiva, 08/23/2013)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        WASHINGTON -- Parties agree on terms of CenturyLink AFOR plan (TR's State NewsWire -
                                                                                                                        Factiva, 08/23/2013)
                                                                                                                        *DJ CenturyLink Inc Raised to Neutral From Reduce by Nomura (Dow Jones Newswires - Factiva,
                                                                                                                        08/23/2013 01:08 AM)
                                                                                                                        CenturyLink Inc Raised to Neutral From Reduce by Nomura (Dow Jones Global Equities News -
                                                                                                                        Factiva, 08/23/2013 01:08 AM)
8/24/2013 Sat                                                                                                           FORM 8-K: MERRILL LYNCH DEPOSITOR FILES CURRENT REPORT (US Fed News -
                                                                                                                        Factiva, 08/24/2013)
8/25/2013 Sun                                                                                                           CenturyLink Gains Endorsement of Seahawks Cornerback Richard Sherman (Entertainment Close-
                                                                                                                        Up - Factiva, 08/25/2013)
8/26/2013 Mon   3,356,395   $33.14      $0.00 -0.48% -0.40%   -1.01%   -1.02%     0.53%      0.83 40.61%       $0.18    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/26/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/26/2013)
                                                                                                                        Permission, please (Deseret News - Factiva, 08/26/2013)
                                                                                                                        WASHINGTON -- UTC to vote on CenturyLink AFOR agreement this fall (TR's State NewsWire -
                                                                                                                        Factiva, 08/26/2013)
                                                                                                                        Diversified Communication Services Industry Announces Network Enhancements, New Contracts
                                                                                                                        and Offerings, and Financial Results - Research Report on AT&T, CenturyLink, Sprint, Level 3,
                                                                                                                        and Gogo (PR Newswire (U.S.) - Factiva, 08/26/2013 08:00 AM)
                                                                                                                        Quintiles Infosario Receives Computerworld Data+ Editor's Choice Award (Business Wire - Factiva,
                                                                                                                        08/26/2013 08:00 AM)
                                                                                                                        PRESS RELEASE: Savvis and VMware to expand VMware vCloudÃ‚Â® Hybrid Service locations
                                                                                                                        and deliver complementary hybrid cloud solutions (Dow Jones Newswires - Factiva, 08/26/2013 01:05
                                                                                                                        PM)
                                                                                                                        Savvis and VMware to expand VMware vCloud(R) Hybrid Service(TM) locations and deliver
                                                                                                                        complementary hybrid cloud solutions (PR Newswire (U.S.) - Factiva, 08/26/2013 01:05 PM)
                                                                                                                        Savvis and VMware to Expand VMware vCloud(R) Hybrid Service(TM) Locations and Deliver
                                                                                                                        Complementary Hybrid Cloud Solutions (PR Newswire Asia - Factiva, 08/26/2013 01:05 PM)
                                                                                                                        Savvis and VMware to expand VMware vCloudÃ‚Â® Hybrid ServiceÃ¢â€žÂ¢ locations and deliver
                                                                                                                        complementary hybrid cloud solutions (Canada NewsWire - Factiva, 08/26/2013 01:05 PM)
                                                                                                                        Savvis and VMware to expand VMware vCloudÃ‚Â® Hybrid ServiceÃ¢â€žÂ¢ locations and deliver
                                                                                                                        complementary hybrid cloud solutions (PR Newswire Europe - Factiva, 08/26/2013 01:36 PM)

                                                                                                                        SAVVIS AND VMWARE TO EXPAND VMWARE VCLOUDÃ‚Â® HYBRID SERVICEÃ¢â€žÂ¢
                                                                                                                        LOCATIONS AND DELIVER COMPLEMENTARY HYBRID CLOUD SOLUTIONS (Press
                                                                                                                        Association National Newswire - Factiva, 08/26/2013 01:36 PM)
8/27/2013 Tue   3,796,417   $32.94      $0.00 -0.60% -1.59%    0.91%   -0.71%     0.11%      0.18 85.97%       $0.04    CenturyLink Inc Declares Quarterly Cash Dividend (Reuters Significant Developments - Factiva,
                                                                                                                        08/27/2013)
                                                                                                                        CenturyLink secures labor agreement (Shreveport Times - Factiva, 08/27/2013)
                                                                                                                        CenturyLink secures labor agreement (The News-Star - Factiva, 08/27/2013)
                                                                                                                        CenturyLink secures labor agreement (The News-Star - Factiva, 08/27/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/27/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/27/2013)
                                                                                                                        Monroe company's second quarter profits rose (Shreveport Times - Factiva, 08/27/2013)
                                                                                                                        Monroe company's second quarter profits rose (The News-Star - Factiva, 08/27/2013)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events

                                                                                                                         Savvis and VMware to expand VMware vCloud Hybrid Service locations and deliver
                                                                                                                         complementary hybrid cloud solutions (ENP Newswire - Factiva, 08/27/2013)
                                                                                                                         CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 08/27/2013 04:15
                                                                                                                         PM)
                                                                                                                         PRESS RELEASE: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Newswires -
                                                                                                                         Factiva, 08/27/2013 04:15 PM)
                                                                                                                         DJ Holder ZIMMEL JOSEPH R REVOCABLE TRUST Registers 11,344 Of CENTURYLINK
                                                                                                                         >CTL (Dow Jones Newswires - Factiva, 08/27/2013 10:59 PM)
8/28/2013 Wed   2,789,114   $32.71      $0.00 -0.70%    0.29%   -0.68%   -0.23%   -0.47%     -0.78 43.99%       -$0.16   CenturyLinkÃ¢â‚¬â„¢s board declares USD0.54 quarterly cash dividend (M2 EquityBites - Factiva,
                                                                                                                         08/28/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/28/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/28/2013)
                                                                                                                         MINNESOTA -- PUC seeks comment on CenturyLink petition for revised PAP (TR's State
                                                                                                                         NewsWire - Factiva, 08/28/2013)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Location Based Information for
                                                                                                                         Emergency Services Systems and Methods (Journal of Engineering - Factiva, 08/28/2013)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Location Based Information for
                                                                                                                         Emergency Services Systems and Methods (Telecommunications Weekly - Factiva, 08/28/2013)
                                                                                                                         Telephone Communications; Qwest Communications International Inc. Files SEC Form 10-Q,
                                                                                                                         Quarterly Report [Sections 13 Or 15(D)] (Aug. 14, 2013) (Telecommunications Weekly - Factiva,
                                                                                                                         08/28/2013)
8/29/2013 Thu   4,556,286   $33.10      $0.00   1.19%   0.21%   1.03%    0.89%     0.31%      0.51 61.10%       $0.10    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/29/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/29/2013)
                                                                                                                         NEW MEXICO -- PRC finds some CenturyLink services subject to competition (TR's State
                                                                                                                         NewsWire - Factiva, 08/29/2013)
                                                                                                                         NSA may have nabbed phone records too during Salt Lake Olympics (The Salt Lake Tribune -
                                                                                                                         Factiva, 08/29/2013)
                                                                                                                         TEXAS -- Telcos question whether state USF reports should be made public (TR's State NewsWire -
                                                                                                                         Factiva, 08/29/2013)
                                                                                                                         Quintiles Executives to Present at Morgan Stanley Global Healthcare Conference (Business Wire -
                                                                                                                         Factiva, 08/29/2013 08:00 AM)
                                                                                                                         NM regulators move toward phone deregulation for CenturyLink's bundled services (Associated
                                                                                                                         Press Newswires - Factiva, 08/29/2013 09:56 AM)
8/30/2013 Fri   5,665,680   $33.12      $0.00   0.06% -0.31%    0.03%    -0.23%    0.29%      0.49 62.78%       $0.10    CenturyLink Declares Dividend (Professional Services Close-Up - Factiva, 08/30/2013)
                                                                                                                         COMMENT SOUGHT ON CenturyLink SERVICE DISCONTINUATION (TR Daily - Factiva,
                                                                                                                         08/30/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/30/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 08/30/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/30/2013)
                                                                                                                         NEW MEXICO -- Prehearing to address Phase II of CenturyLink proceeding (TR's State NewsWire -
                                                                                                                         Factiva, 08/30/2013)
                                                                                                                         Orlando Magic selects CenturyLink's video service (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 08/30/2013)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Savvis and VMware expand partnership for VMware vCloud Hybrid Service (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 08/30/2013 04:32 AM)
                                                                                                                         Quintiles Executives to Present at Baird Healthcare Conference (Business Wire - Factiva, 08/30/2013
                                                                                                                         08:00 AM)
8/31/2013 Sat                                                                                                            CenturyLink, Inc. Seahawks cornerback Richard Sherman signs endorsement deal with
                                                                                                                         CenturyLink (Marketing Weekly News - Factiva, 08/31/2013)
 9/1/2013 Sun
 9/2/2013 Mon
 9/3/2013 Tue   7,474,313   $32.91      $0.00 -0.63%    0.42%   -2.13%   -1.14%    0.50%      0.84 40.49%       $0.17    CenturyLink Declares Quarterly Cash Dividend (Health & Beauty Close-Up - Factiva, 09/03/2013)

                                                                                                                         CenturyLink Declares Quarterly Cash Dividend (Wireless News - Factiva, 09/03/2013)
                                                                                                                         CenturyLink Reports Quarterly Cash Dividend (Entertainment Close-Up - Factiva, 09/03/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/03/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/03/2013)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 09/03/2013)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 09/03/2013)
                                                                                                                         Telecoms Announce Service Availability, Multi-Year Partnerships, Tender Offer Updates, and
                                                                                                                         Philanthropic Initiatives - Research Report on AT&T, CenturyLink, Windstream, TW, and Bell
                                                                                                                         (PR Newswire (U.S.) - Factiva, 09/03/2013 08:01 AM)
                                                                                                                         CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 09/03/2013 04:41
                                                                                                                         PM)
                                                                                                                         PRESS RELEASE: CenturyLink to Participate in Analyst Conference (Dow Jones Newswires -
                                                                                                                         Factiva, 09/03/2013 04:43 PM)
 9/4/2013 Wed   7,055,655   $32.50      $0.54   0.40%   0.83%   0.84%    1.27%    -0.87%     -1.45 14.88%       -$0.29   CenturyLink, Inc. CenturyLink to accept $54 million in Connect America Funds (Journal of
                                                                                                                         Engineering - Factiva, 09/04/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/04/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/04/2013)
                                                                                                                         NEW MEXICO -- CenturyLink files petition to reclassify Albuquerque wire center (TR's State
                                                                                                                         NewsWire - Factiva, 09/04/2013)
                                                                                                                         PRESS RELEASE: SIX Financial Information Expands Hosting Presence with Savvis (Dow Jones
                                                                                                                         Newswires - Factiva, 09/04/2013 08:00 AM)
                                                                                                                         SIX Financial Information Expands Hosting Presence with Savvis (PR Newswire (U.S.) - Factiva,
                                                                                                                         09/04/2013 08:00 AM)
                                                                                                                         SIX Financial Information Expands Hosting Presence with Savvis (PR Newswire Asia - Factiva,
                                                                                                                         09/04/2013 08:00 AM)
                                                                                                                         SIX Financial Information Expands Hosting Presence with Savvis (PR Newswire Europe - Factiva,
                                                                                                                         09/04/2013 08:00 AM)
                                                                                                                         SIX FINANCIAL INFORMATION EXPANDS HOSTING PRESENCE WITH SAVVIS (Press
                                                                                                                         Association National Newswire - Factiva, 09/04/2013 08:00 AM)
                                                                                                                         PRESS RELEASE: SIX Financial Information Expands Hosting Presence with Savvis (Dow Jones
                                                                                                                         Newswires - Factiva, 09/04/2013 08:01 AM)
                                                                                                                         SIX Financial Information Expands Hosting Presence with Savvis (Canada NewsWire - Factiva,
                                                                                                                         09/04/2013 08:01 AM)
 9/5/2013 Thu   3,960,555   $32.13      $0.00 -1.14%    0.12%   -0.85%   -0.48%   -0.66%      -1.1 27.56%       -$0.21   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/05/2013)



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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events

                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/05/2013)
                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 09/05/2013)
                                                                                                                          Savvis selected by SIX Financial Information to expand hosting presence to Chicago (M2
                                                                                                                          EquityBites - Factiva, 09/05/2013)
                                                                                                                          SOUTH DAKOTA -- CenturyLink seeks process to update wire center list (TR's State NewsWire -
                                                                                                                          Factiva, 09/05/2013)
                                                                                                                          UTAH -- PSC approves CenturyLink petition for changes to performance plans (TR's State
                                                                                                                          NewsWire - Factiva, 09/05/2013)
                                                                                                                          DJ Dir MELVILLE JR Sells 599 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                          09/05/2013 11:38 AM)
                                                                                                                          DJ Dir MCCRAY Sells 7,755 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                          09/05/2013 05:11 PM)
 9/6/2013 Fri    6,892,358   $31.90      $0.00 -0.72%    0.02%   -0.05%   -0.03%   -0.69%     -1.14 25.51%       -$0.22   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/06/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/06/2013)
                                                                                                                          HOUSE JUDICIARY PANEL SETS STELA HEARING WITNESSES (TR Daily - Factiva,
                                                                                                                          09/06/2013)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/06/2013)
                                                                                                                          Savvis: SIX Financial Information Expands Hosting Presence with Savvis (India Banking News -
                                                                                                                          Factiva, 09/06/2013)
 9/7/2013 Sat
 9/8/2013 Sun
 9/9/2013 Mon    5,716,016   $32.02      $0.00   0.38%   1.01%   -0.44%   0.51%    -0.13%     -0.22 82.50%       -$0.04   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/09/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/09/2013)
                                                                                                                          INDUSTRY PRESSES FCC ON 911 RELIABILITY RULES (TR Daily - Factiva, 09/09/2013)
                                                                                                                          IOWA -- Two parties seek hearing 'traffic pumping' refunds case (TR's State NewsWire - Factiva,
                                                                                                                          09/09/2013)
                                                                                                                          NATIONAL -- Industry presses FCC on 911 reliability rules (TR's State NewsWire - Factiva,
                                                                                                                          09/09/2013)
                                                                                                                          WASHINGTON -- UTC suspends schedule due to settlement in CenturyLink case (TR's State
                                                                                                                          NewsWire - Factiva, 09/09/2013)
                                                                                                                          Quintiles Named to InformationWeek 500 for Fifth Consecutive Year (Business Wire - Factiva,
                                                                                                                          09/09/2013 10:00 AM)
                                                                                                                          DJ Dir MELVILLE JR Registers 599 Of CENTURYLINK INC >CTL (Dow Jones Newswires -
                                                                                                                          Factiva, 09/09/2013 10:17 PM)
                                                                                                                          DJ Dir MCCRAY Registers 7,755 Of CENTURYLINK INC >CTL (Dow Jones Newswires - Factiva,
                                                                                                                          09/09/2013 10:30 PM)
9/10/2013 Tue   14,418,742   $32.62      $0.00   1.87%   0.74%   0.60%    1.00%     0.87%      1.44 15.40%       $0.28    CALIFORNIA -- CLECs want Qwest to disclose contracts in dispute case (TR's State NewsWire -
                                                                                                                          Factiva, 09/10/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/10/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/10/2013)
                                                                                                                          IOWA -- CenturyLink files amended petition to update Des Moines wire center (TR's State
                                                                                                                          NewsWire - Factiva, 09/10/2013)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                  Events
                                                                                                                         Wireless Communication and Telecom Companies Announce Dividends, Divestures, Product
                                                                                                                         Launches, and Partnerships - Research Report on Verizon, Vodafone, AT&T, CenturyLink, and
                                                                                                                         America Movil (PR Newswire (U.S.) - Factiva, 09/10/2013 08:01 AM)
                                                                                                                         Outdated video retransmission rules inhibit pay TV competition, hurt consumers (PR Newswire
                                                                                                                         (U.S.) - Factiva, 09/10/2013 08:30 AM)
                                                                                                                         CenturyLink gives Seahawks fans the ultimate home seat advantage (PR Newswire (U.S.) - Factiva,
                                                                                                                         09/10/2013 08:45 AM)
                                                                                                                         PRESS RELEASE: CenturyLink gives Seahawks fans the ultimate home seat advantage (Dow Jones
                                                                                                                         Newswires - Factiva, 09/10/2013 08:45 AM)
9/11/2013 Wed   3,411,141   $32.59      $0.00 -0.09%   0.32%   -0.16%   0.14%    -0.23%     -0.38 70.25%        -$0.08   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/11/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/11/2013)
                                                                                                                         Insider Trading Tips for Cisco, EMC, CenturyLink, J.C. Penney, United Continental Holdings, and
                                                                                                                         Advanced Micro Devices (PR Newswire (U.S.) - Factiva, 09/11/2013 08:30 AM)
9/12/2013 Thu   3,685,639   $32.38      $0.00 -0.64% -0.31%    1.31%    0.66%    -1.30%     -2.15   3.40% *     -$0.42   Level 3 Communications at Bank of America Merrill Lynch Media, Communications &
                                                                                                                         Entertainment Conference - Final (CQ FD Disclosure - Factiva, 09/12/2013)
                                                                                                                         CenturyLink GETS CLOUD HOSTING CONTRACT FROM FCC (TR Daily - Factiva, 09/12/2013)

                                                                                                                         CenturyLink Inc Wins FCC cloud contract (Reuters Significant Developments - Factiva, 09/12/2013)

                                                                                                                         CenturyLink, Inc. at Bank of America Merrill Lynch Media, Communications & Entertainment
                                                                                                                         Conference - Final (CQ FD Disclosure - Factiva, 09/12/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/12/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/12/2013)
                                                                                                                         IOWA -- IUB calls for responses to refund calculations in 'traffic pumping' case (TR's State
                                                                                                                         NewsWire - Factiva, 09/12/2013)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 09/12/2013)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 09/12/2013)
                                                                                                                         PRESS RELEASE: Savvis Adds Aquis Exchange to Global Network of Venues (Dow Jones
                                                                                                                         Newswires - Factiva, 09/12/2013 08:00 AM)
                                                                                                                         PRESS RELEASE: Savvis Adds Aquis Exchange to Global Network of Venues (Dow Jones
                                                                                                                         Newswires - Factiva, 09/12/2013 08:00 AM)
                                                                                                                         Savvis Adds Aquis Exchange to Global Network of Venues (Canada NewsWire - Factiva, 09/12/2013
                                                                                                                         08:00 AM)
                                                                                                                         Savvis Adds Aquis Exchange to Global Network of Venues (PR Newswire (U.S.) - Factiva, 09/12/2013
                                                                                                                         08:00 AM)
                                                                                                                         Savvis Adds Aquis Exchange to Global Network of Venues (PR Newswire Asia - Factiva, 09/12/2013
                                                                                                                         08:00 AM)
                                                                                                                         Savvis Adds Aquis Exchange to Global Network of Venues (PR Newswire Europe - Factiva,
                                                                                                                         09/12/2013 08:00 AM)
                                                                                                                         SAVVIS ADDS AQUIS EXCHANGE TO GLOBAL NETWORK OF VENUES (Press Association
                                                                                                                         National Newswire - Factiva, 09/12/2013 08:00 AM)
                                                                                                                         Distribution Agreements, Company Reorganizations, Collaborations, Contract Approvals, and
                                                                                                                         Notes Offerings - Research Report on AT&T, Crown Castle, CenturyLink, Frontier, and Bell (PR
                                                                                                                         Newswire (U.S.) - Factiva, 09/12/2013 08:01 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         *DJ CenturyLink Wins FCC Cloud Contract (Dow Jones Newswires - Factiva, 09/12/2013 09:00 AM)

                                                                                                                         CenturyLink wins FCC cloud contract (PR Newswire (U.S.) - Factiva, 09/12/2013 09:00 AM)
                                                                                                                         CenturyLink Wins FCC Cloud Contract (Benzinga.com - Factiva, 09/12/2013 09:02 AM)
9/13/2013 Fri   2,966,766   $32.34      $0.00 -0.12%    0.27%   0.01%    0.20%    -0.32%     -0.52 60.22%       -$0.10   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/13/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/13/2013)
                                                                                                                         FCC awards cloud hosting contract to CenturyLink (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 09/13/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/13/2013)
                                                                                                                         Low-income consumers in CenturyLink service areas may qualify for assistance programs (The
                                                                                                                         News & Advance - Factiva, 09/13/2013)
                                                                                                                         Savvis Adds Aquis Exchange to Global Network of Venues (ENP Newswire - Factiva, 09/13/2013)
                                                                                                                         Savvis expands with addition of Aquis Exchange to network of venues (M2 EquityBites - Factiva,
                                                                                                                         09/13/2013)
9/14/2013 Sat                                                                                                            CenturyLink, Inc. CenturyLink Declares Quarterly Cash Dividend (Investment Weekly News -
                                                                                                                         Factiva, 09/14/2013)
9/15/2013 Sun                                                                                                            Programs help link homes to Internet (The Arizona Republic - Factiva, 09/15/2013)
9/16/2013 Mon   3,519,170   $32.27      $0.00 -0.22%    0.57%   0.44%    0.73%    -0.94%     -1.54 12.67%       -$0.31   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/16/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/16/2013)
                                                                                                                         Quintiles Transnational Holdings Inc Completes Acquisition of Novella Clinical Inc (Reuters
                                                                                                                         Significant Developments - Factiva, 09/16/2013)
                                                                                                                         Telecoms Announce Network Expansions, Contests, Completion of Tender Offers, and Increased
                                                                                                                         4G Coverage - Research Report on Verizon, CenturyLink, TW Telecom, Windstream, and Orange
                                                                                                                         (PR Newswire (U.S.) - Factiva, 09/16/2013 08:01 AM)
                                                                                                                         Quintiles Completes Acquisition of Novella Clinical (Business Wire - Factiva, 09/16/2013 04:15 PM)

9/17/2013 Tue   2,456,657   $32.43      $0.00   0.50%   0.42%   0.24%    0.47%     0.03%      0.05 96.25%       $0.01    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/17/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/17/2013)
                                                                                                                         Plunkett Research, Ltd. Analyst Report (Capital IQ - Manual Entry, 09/17/2013)
                                                                                                                         Collaborative Projects, Divestitures, Expanded Coverage, Solutions Deployment and New
                                                                                                                         Contracts - Research Report on QUALCOMM, Verizon, AT&T, Ciena, and CenturyLink (PR
                                                                                                                         Newswire (U.S.) - Factiva, 09/17/2013 08:01 AM)
                                                                                                                         Doug Mow Joins Courion as Chief Marketing Officer (Press Association National Newswire - Factiva,
                                                                                                                         09/17/2013 09:43 AM)
9/18/2013 Wed   5,094,935   $32.55      $0.00   0.37%   1.22%   -0.38%   0.69%    -0.32%     -0.52 60.37%       -$0.10   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/18/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/18/2013)
9/19/2013 Thu   3,666,097   $32.71      $0.00   0.49% -0.17%    -0.20%   -0.31%    0.80%      1.29 20.01%       $0.26    AT&T, VERIZON TOP PPI LIST OF Ã¢â‚¬ËœINVESTMENT HEROESÃ¢â‚¬â„¢ (TR Daily -
                                                                                                                         Factiva, 09/19/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/19/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/19/2013)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 09/19/2013)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        CenturyLink wins cloud hosting contract from FCC (MarketLine (a Datamonitor Company), Company
                                                                                                                        News - Factiva, 09/19/2013 03:05 AM)
9/20/2013 Fri   5,997,935   $32.28      $0.00 -1.31% -0.72%   -0.87%   -1.20%    -0.12%     -0.19 84.78%       -$0.04   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/20/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/20/2013)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/20/2013)
                                                                                                                        OREGON -- PUC agrees to relieve CenturyLink of DSL reporting requirement (TR's State
                                                                                                                        NewsWire - Factiva, 09/20/2013)
                                                                                                                        US Patent Issued to Qwest Communications International on Sept. 17 for "Systems and methods
                                                                                                                        for creating network architecture planning tools" (Colorado Inventor) (US Fed News - Factiva,
                                                                                                                        09/20/2013)
9/21/2013 Sat                                                                                                           Savvis; SIX Financial Information Expands Hosting Presence with Savvis (Investment Weekly News -
                                                                                                                        Factiva, 09/21/2013)
9/22/2013 Sun                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 09/22/2013)
9/23/2013 Mon   3,655,468   $32.24      $0.00 -0.12% -0.47%    0.41%   -0.11%    -0.01%     -0.02 98.40%       $0.00    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/23/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/23/2013)
                                                                                                                        Ex-Qwest CEO Joe Nacchio now a free man (Denver Business Journal Online - Factiva, 09/23/2013)

                                                                                                                        NEW MEXICO -- PRC stays CenturyLink 'effective competition' case (TR's State NewsWire -
                                                                                                                        Factiva, 09/23/2013)
                                                                                                                        The Zacks Analyst Blog Highlights:Sprint, Costco Wholesale, Verizon Communications,
                                                                                                                        CenturyLink and Vera Bradley (India Banking News - Factiva, 09/23/2013)
                                                                                                                        UBS Analyst Report (Eikon - Manual Entry, 09/23/2013)
                                                                                                                        US Patent Issued to Qwest Communications International on Sept. 17 for "Configurable network
                                                                                                                        interface device and systems and methods for its use" (Colorado Inventors) (US Fed News - Factiva,
                                                                                                                        09/23/2013)
                                                                                                                        US Patent Issued to Qwest Communications International on Sept. 17 for "Network management
                                                                                                                        system and graphical user interface" (Minnesota Inventors) (US Fed News - Factiva, 09/23/2013)

                                                                                                                        TNCI appoints VP of sales and marketing (MarketLine (a Datamonitor Company), Company News -
                                                                                                                        Factiva, 09/23/2013 08:39 AM)
                                                                                                                        The Zacks Analyst Blog Highlights:Sprint, Costco Wholesale, Verizon Communications,
                                                                                                                        CenturyLink and Vera Bradley (PR Newswire (U.S.) - Factiva, 09/23/2013 09:30 AM)
9/24/2013 Tue   3,905,540   $32.17      $0.00 -0.22% -0.25%   -0.58%   -0.63%     0.42%      0.68 49.71%       $0.13    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/24/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/24/2013)
                                                                                                                        Former Qwest president new Denver Chamber public affairs head (Denver Business Journal Online -
                                                                                                                        Factiva, 09/24/2013)
                                                                                                                        Quintiles Advances New Approach to Speed Biomarker-Targeted Therapies to Cancer Patients
                                                                                                                        (Business Wire - Factiva, 09/24/2013 08:00 AM)
                                                                                                                        Critical Alerts For Canadian Solar, Allergan, Mobile Telesystems, Halliburton, and Quintiles
                                                                                                                        Released By InvestorsObserver (PR Newswire (U.S.) - Factiva, 09/24/2013 09:31 AM)
                                                                                                                        CenturyLink Wholesale Receives Five "Best-in-Class" Awards (PR Newswire (U.S.) - Factiva,
                                                                                                                        09/24/2013 01:00 PM)
                                                                                                                        CenturyLink Schedules Third Quarter 2013 Earnings Conference Call (PR Newswire (U.S.) -
                                                                                                                        Factiva, 09/24/2013 04:30 PM)



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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events

                                                                                                                         Press Release: CenturyLink Schedules Third Quarter 2013 Earnings Conference Call (Dow Jones
                                                                                                                         Newswires - Factiva, 09/24/2013 04:30 PM)
9/25/2013 Wed   3,563,460   $32.00      $0.00 -0.53% -0.27%     -0.03%   -0.28%   -0.25%     -0.42 67.40%       -$0.08   Level 3 Communications at Goldman Sachs Communacopia Conference - Final (CQ FD Disclosure -
                                                                                                                         Factiva, 09/25/2013)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR ROBERTS (Louisiana) (US Fed
                                                                                                                         News - Factiva, 09/25/2013)
                                                                                                                         CenturyLink, Inc. Outdated video retransmission rules inhibit pay TV competition, hurt
                                                                                                                         consumers (Journal of Engineering - Factiva, 09/25/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/25/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/25/2013)
                                                                                                                         MONTANA -- PSC: CenturyLink fulfills broadband deployment commitment (TR's State NewsWire
                                                                                                                         - Factiva, 09/25/2013)
                                                                                                                         Dividends and Recognitions Affirming Strong Returns to Shareholders- Research Report on
                                                                                                                         Merck, AbbVie, HealthSouth, Quintiles, and Ensign (PR Newswire (U.S.) - Factiva, 09/25/2013 08:01
                                                                                                                         AM)
                                                                                                                         Courion appoints chief marketing officer (MarketLine (a Datamonitor Company), Company News -
                                                                                                                         Factiva, 09/25/2013 08:59 AM)
9/26/2013 Thu   2,496,826   $32.11      $0.00   0.34%   0.37%   0.73%    0.73%    -0.39%     -0.66 51.21%       -$0.12   CenturyLink, Inc. CenturyLink wins FCC cloud contract (Politics & Government Week - Factiva,
                                                                                                                         09/26/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/26/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/26/2013)
9/27/2013 Fri   3,471,455   $31.78      $0.00 -1.03% -0.40%     -0.67%   -0.81%   -0.22%     -0.37 71.11%       -$0.07   DBJ Special Report: Qwest's Joseph Nacchio and his path to prison (Denver Business Journal Online -
                                                                                                                         Factiva, 09/27/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/27/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/27/2013)
                                                                                                                         IDAHO -- PUC approves revised service quality plan for CenturyLink (TR's State NewsWire -
                                                                                                                         Factiva, 09/27/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/27/2013)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 09/27/2013)
                                                                                                                         Wall Street Journal interviews 'unrecognizable' Joe Nacchio (Denver Business Journal Online -
                                                                                                                         Factiva, 09/27/2013)
                                                                                                                         Executives Who Were Part of Government Crackdowns; Read more about former executives who
                                                                                                                         were part of a government crackdown on white-collar crime in the past decade, including former
                                                                                                                         Qwest Communications executive Joseph Nacchio. (The Wall Street Journal Online - Factiva,
                                                                                                                         09/27/2013 04:49 PM)
                                                                                                                         DJ Ex-CEO Exits Prison With A New Set Of Pals (Dow Jones Newswires - Factiva, 09/27/2013 07:17
                                                                                                                         PM)
9/28/2013 Sat                                                                                                            Ex-CEO Exits Prison With a New Set of Pals (The Wall Street Journal - Factiva, 09/28/2013)
                                                                                                                         Nacchio TRUSTED pRISON PEERS MORE THAN QWEST STAFF (The Denver Post - Factiva,
                                                                                                                         09/28/2013)
9/29/2013 Sun                                                                                                            DJ Former Qwest CEO Joseph Nacchio: Tales From a White-Collar Prison Sentence -- All Things
                                                                                                                         D (Dow Jones Institutional News - Factiva, 09/29/2013 12:17 AM)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                         Former Qwest CEO Joseph Nacchio: Tales From a White-Collar Prison Sentence -- All Things D
                                                                                                                         (Dow Jones News Service - Factiva, 09/29/2013 12:17 AM)
                                                                                                                         DJ Former Qwest CEO Joseph Nacchio: Tales From a White-Collar Prison Sentence -- All Things
                                                                                                                         D (Dow Jones Institutional News - Factiva, 09/29/2013 12:52 AM)
                                                                                                                         Former Qwest CEO Joseph Nacchio: Tales From a White-Collar Prison Sentence -- All Things D
                                                                                                                         (Dow Jones News Service - Factiva, 09/29/2013 12:52 AM)
9/30/2013 Mon   5,619,988   $31.38      $0.00 -1.26% -0.60%     -0.12%   -0.61%   -0.65%     -1.11 27.03%       -$0.21   CWA: CenturyLink EMPLOYEES REJECT CONTRACT TERMS (TR Daily - Factiva, 09/30/2013)

                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/30/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 09/30/2013)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 09/30/2013)
                                                                                                                         Morning Research: CenturyLink Inc., Integrated Device Technology Inc., LG Display Co. Ltd, and
                                                                                                                         Cray Inc. (PR Newswire (U.S.) - Factiva, 09/30/2013 08:19 AM)
                                                                                                                         Press Release: CenturyLink Deploys Calix in Omaha Gigabit Network Pilot (Dow Jones Newswires -
                                                                                                                         Factiva, 09/30/2013 08:25 AM)
                                                                                                                         Stocks Hitting 52-Week Lows (Benzinga.com - Factiva, 09/30/2013 10:32 AM)
                                                                                                                         Former Qwest CEO Joseph Nacchio: Tales From a White-Collar Prison Sentence; In Postprison
                                                                                                                         Interview, Nacchio Talks of Friends 'Spoonie' and 'Juice,' and Using Tuna Fish as Currency (The
                                                                                                                         Wall Street Journal Online - Factiva, 09/30/2013 11:57 AM)
10/1/2013 Tue   5,556,554   $31.76      $0.00   1.21%   0.81%   0.09%    0.64%     0.57%      0.97 33.20%       $0.18    A CEO who resisted NSA spying is out of prison. And he feels 'vindicated' by Snowden leaks. ; The
                                                                                                                         NSA programs revealed by Snowden and Qwest are different in nature, if not in content.
                                                                                                                         (Washington Post.com - Factiva, 10/01/2013)
                                                                                                                         CalixÃ¢â‚¬â„¢s solutions deployed by CenturyLink in Omaha gigabit network pilot (M2
                                                                                                                         EquityBites - Factiva, 10/01/2013)
                                                                                                                         CalixÃ¢â‚¬â„¢s solutions deployed by CenturyLink in Omaha gigabit network pilot (Worldwide
                                                                                                                         Computer Products News - Factiva, 10/01/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/01/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/01/2013)
                                                                                                                         Executives Behind Bars: Ex-CEO Exits Prison With a New Set of Pals (The Wall Street Journal
                                                                                                                         Europe - Factiva, 10/01/2013)
                                                                                                                         Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 10/01/2013)
                                                                                                                         Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 10/01/2013)
                                                                                                                         Savvis to build data center in Shakopee // The CenturyLink subsidiary didnÃ¢â‚¬â„¢t disclose how
                                                                                                                         many jobs will be created at the new cloud computing center. (Star-Tribune - Factiva, 10/01/2013)

                                                                                                                         Quintiles' Third Quarter 2013 Earnings Call Scheduled for Thursday, October 31(st) (Business
                                                                                                                         Wire - Factiva, 10/01/2013 08:00 AM)
                                                                                                                         Press Release: Savvis to expand North American footprint with 2014 data center launch in
                                                                                                                         Minneapolis-St. Paul area (Dow Jones Newswires - Factiva, 10/01/2013 09:00 AM)
                                                                                                                         Savvis to expand North American footprint with 2014 data center launch in Minneapolis-St. Paul
                                                                                                                         area (PR Newswire (U.S.) - Factiva, 10/01/2013 09:00 AM)
                                                                                                                         Press Release: Savvis to expand North American footprint with 2014 data center launch in
                                                                                                                         Minneapolis-St. Paul area (Dow Jones Newswires - Factiva, 10/01/2013 09:01 AM)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        Savvis to expand North American footprint with 2014 data center launch in Minneapolis-St. Paul
                                                                                                                        area (Canada NewsWire - Factiva, 10/01/2013 09:01 AM)
10/2/2013 Wed   4,283,450   $31.61      $0.00 -0.47% -0.05%   -0.32%   -0.31%    -0.16%     -0.28 78.11%       -$0.05   CENTURY LINK OFFERING LOW-INCOME ASSISTANCE (Idaho State Journal - Factiva,
                                                                                                                        10/02/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/02/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/02/2013)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 10/02/2013)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Configurable Network Interface
                                                                                                                        Device and Systems and Methods for Its Use (Electronics Newsweekly - Factiva, 10/02/2013)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Configurable Network Interface
                                                                                                                        Device and Systems and Methods for Its Use (Journal of Engineering - Factiva, 10/02/2013)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Configurable Network Interface
                                                                                                                        Device and Systems and Methods for Its Use (Telecommunications Weekly - Factiva, 10/02/2013)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Systems and Methods for Creating
                                                                                                                        Network Architecture Planning Tools (Journal of Engineering - Factiva, 10/02/2013)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Systems and Methods for Creating
                                                                                                                        Network Architecture Planning Tools (Telecommunications Weekly - Factiva, 10/02/2013)
                                                                                                                        SAVVIS plans new data center in Minneapolis-St. Paul, Minn. (SNL Kagan Media &
                                                                                                                        Communications Report - Factiva, 10/02/2013)
                                                                                                                        Savvis to expand footprint with opening of data centre in Minneapolis-St. Paul area in spring 2014
                                                                                                                        (M2 EquityBites - Factiva, 10/02/2013)
                                                                                                                        Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 10/02/2013)
                                                                                                                        XRS Corp . names Brendan Reidy as Chief Technology Officer (Theflyonthewall.com - Factiva,
                                                                                                                        10/02/2013)
10/3/2013 Thu   4,214,069   $31.19      $0.00 -1.33% -0.90%    0.25%   -0.61%    -0.72%     -1.21 22.90%       -$0.23   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/03/2013)
                                                                                                                        EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/03/2013)
                                                                                                                        IOWA -- IUB slates hearing on CenturyLink wire center petition (TR's State NewsWire - Factiva,
                                                                                                                        10/03/2013)
                                                                                                                        Savvis to expand North American footprint with 2014 data center launch in Minneapolis-St. Paul
                                                                                                                        area (ENP Newswire - Factiva, 10/03/2013)
                                                                                                                        CenturyLink wins cloud hosting contract from FCC (MarketLine (a Datamonitor Company), Company
                                                                                                                        News - Factiva, 10/03/2013 02:24 AM)
                                                                                                                        CenturyLink deploys Calix's E7-2 and 700GE ONTs in Omaha (MarketLine (a Datamonitor
                                                                                                                        Company), Company News - Factiva, 10/03/2013 07:19 AM)
                                                                                                                        Global Savvis study finds business growth driving enterprises to hybrid IT outsourcing models (PR
                                                                                                                        Newswire Asia - Factiva, 10/03/2013 09:00 AM)
                                                                                                                        Global Savvis study finds business growth driving enterprises to hybrid IT outsourcing models (PR
                                                                                                                        Newswire Europe - Factiva, 10/03/2013 09:00 AM)
                                                                                                                        GLOBAL SAVVIS STUDY FINDS BUSINESS GROWTH DRIVING ENTERPRISES TO
                                                                                                                        HYBRID IT OUTSOURCING MODELS (Press Association National Newswire - Factiva, 10/03/2013
                                                                                                                        09:00 AM)
                                                                                                                        Global Savvis study finds business growth driving enterprises to hybrid IT outsourcing models
                                                                                                                        (Canada NewsWire - Factiva, 10/03/2013 09:01 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         Global Savvis study finds business growth driving enterprises to hybrid IT outsourcing models (PR
                                                                                                                         Newswire (U.S.) - Factiva, 10/03/2013 09:01 AM)
                                                                                                                         Press Release: Global Savvis study finds business growth driving enterprises to hybrid IT
                                                                                                                         outsourcing models (Dow Jones Newswires - Factiva, 10/03/2013 09:01 AM)
                                                                                                                         Press Release: Global Savvis study finds business growth driving enterprises to hybrid IT
                                                                                                                         outsourcing models (Dow Jones Newswires - Factiva, 10/03/2013 09:01 AM)
                                                                                                                         Savvis plans to open new data center in Minneapolis-Saint Paul area (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 10/03/2013 09:13 AM)
10/4/2013 Fri   3,263,308   $31.20      $0.00   0.03%   0.71%   -0.26%   0.34%    -0.30%     -0.51 60.99%       -$0.10   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/04/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/04/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/04/2013)
10/5/2013 Sat                                                                                                            US Patent Issued to Qwest Communications International on Oct. 1 for "Systems and methods for
                                                                                                                         tracking the reliability of communications networks" (Colorado Inventor) (US Fed News - Factiva,
                                                                                                                         10/05/2013)
10/6/2013 Sun
10/7/2013 Mon   3,576,159   $31.41      $0.00   0.67% -0.85%    1.18%    0.06%     0.62%      1.04 30.04%       $0.19    Bloom Energy to install 500 kW of fuel cell systems for CenturyLink (SeeNews Renewables - Factiva,
                                                                                                                         10/07/2013)
                                                                                                                         Centurylink to Power California Data Center with Bloom Energy Servers (India Energy News -
                                                                                                                         Factiva, 10/07/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/07/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/07/2013)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 10/07/2013)
                                                                                                                         CenturyLink to power California data center with Bloom Energy Servers (PR Newswire (U.S.) -
                                                                                                                         Factiva, 10/07/2013 07:00 AM)
                                                                                                                         Press Release: CenturyLink to power California data center with Bloom Energy Servers (Dow Jones
                                                                                                                         Newswires - Factiva, 10/07/2013 07:00 AM)
10/8/2013 Tue   4,449,659   $31.28      $0.00 -0.41% -1.20%     -0.55%   -1.37%    0.96%      1.61 11.04%       $0.30    CenturyLink to deploy Bloom Energy fuel cells to power California data centre (M2 EquityBites -
                                                                                                                         Factiva, 10/08/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/08/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/08/2013)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 10/08/2013)
                                                                                                                         OREGON -- CenturyLink seeks approval of replacement PAP (TR's State NewsWire - Factiva,
                                                                                                                         10/08/2013)
                                                                                                                         TEXAS -- PUC releases schedule in USF transparency proceeding (TR's State NewsWire - Factiva,
                                                                                                                         10/08/2013)
                                                                                                                         The Executives' Club of Chicago: Sprint Chief Executive Officer to Address the Future of Wireless
                                                                                                                         at the Executives' Club of Chicago Global Leaders Luncheon (India Investment News - Factiva,
                                                                                                                         10/08/2013)
                                                                                                                         Quintiles Selected by Muscular Dystrophy Association to Develop U.S. Disease Registry (Business
                                                                                                                         Wire - Factiva, 10/08/2013 08:00 AM)
                                                                                                                         CenturyLink to power California data center with Bloom Energy fuel cells (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 10/08/2013 08:40 AM)
                                                                                                                         Savvis extends IT infrastructure capabilities to include integrated solutions that power businesses
                                                                                                                         (PR Newswire Asia - Factiva, 10/08/2013 09:01 AM)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]         [12]                                                     [13]
                                                              Excess                                             Abnormal
                                                      Market Industry Predicted Abnormal                           Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                  Events

                                                                                                                            Savvis extends IT infrastructure capabilities to include integrated solutions that power businesses
                                                                                                                            (PR Newswire Europe - Factiva, 10/08/2013 09:01 AM)
                                                                                                                            SAVVIS EXTENDS IT INFRASTRUCTURE CAPABILITIES TO INCLUDE INTEGRATED
                                                                                                                            SOLUTIONS THAT POWER BUSINESSES (Press Association National Newswire - Factiva,
                                                                                                                            10/08/2013 09:01 AM)
                                                                                                                            Press Release: Savvis extends IT infrastructure capabilities to include integrated solutions that
                                                                                                                            power businesses (Dow Jones Newswires - Factiva, 10/08/2013 09:02 AM)
                                                                                                                            Savvis extends IT infrastructure capabilities to include integrated solutions that power businesses
                                                                                                                            (PR Newswire (U.S.) - Factiva, 10/08/2013 09:02 AM)
                                                                                                                            Press Release: Savvis extends IT infrastructure capabilities to include integrated solutions that
                                                                                                                            power businesses (Dow Jones Newswires - Factiva, 10/08/2013 09:03 AM)
                                                                                                                            Savvis extends IT infrastructure capabilities to include integrated solutions that power businesses
                                                                                                                            (Canada NewsWire - Factiva, 10/08/2013 09:03 AM)
 10/9/2013 Wed   7,853,078   $32.19      $0.00   2.91%   0.07%   1.09%    0.74%     2.17%      3.62   0.04% **     $0.68    CenturyLink TO EXPAND GIGABIT PILOT TO LAS VEGAS (TR Daily - Factiva, 10/09/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/09/2013)
                                                                                                                            EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/09/2013)
                                                                                                                            IOWA -- CenturyLink seeks IUB approval of replacement PAP (TR's State NewsWire - Factiva,
                                                                                                                            10/09/2013)
                                                                                                                            NEVADA -- CenturyLink to expand gigabit pilot to Las Vegas (TR's State NewsWire - Factiva,
                                                                                                                            10/09/2013)
                                                                                                                            Public Service Commissioner Taps Utility Industry for Campaign Contributions (Roll Call - Factiva,
                                                                                                                            10/09/2013)
                                                                                                                            Savvis enhances IT infrastructure services with addition of new capabilities (M2 EquityBites -
                                                                                                                            Factiva, 10/09/2013)
                                                                                                                            Savvis enhances IT infrastructure services with addition of new capabilities (Worldwide Computer
                                                                                                                            Products News - Factiva, 10/09/2013)
                                                                                                                            Savvis expands e-commerce, business services (St. Louis Business Journal Online - Factiva,
                                                                                                                            10/09/2013)
                                                                                                                            CenturyLink installs Bloom Energy's fuel cells at California data center (MarketLine (a Datamonitor
                                                                                                                            Company), Company News - Factiva, 10/09/2013 03:43 AM)
                                                                                                                            CenturyLink brings 1 gigabit fiber service to Las Vegas (PR Newswire (U.S.) - Factiva, 10/09/2013
                                                                                                                            03:10 PM)
                                                                                                                            Press Release: CenturyLink brings 1 gigabit fiber service to Las Vegas (Dow Jones Newswires -
                                                                                                                            Factiva, 10/09/2013 03:10 PM)
10/10/2013 Thu   8,815,816   $33.34      $0.00   3.57%   2.20%   -0.17%   1.51%     2.06%      3.28   0.14% **     $0.66    Ã¢â‚¬ËœSin City to Gig City' as CenturyLink intros faster internet (The Las Vegas Review-Journal -
                                                                                                                            Factiva, 10/10/2013)
                                                                                                                            Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                            Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 10/10/2013)

                                                                                                                            Business briefs (The Courier-Tribune - Factiva, 10/10/2013)
                                                                                                                            CenturyLink deploying 1-Gbps broadband in Las Vegas (SNL Kagan Media & Communications
                                                                                                                            Report - Factiva, 10/10/2013)
                                                                                                                            CenturyLink to launch 1-gigabit fibre service in Las Vegas in autumn (M2 EquityBites - Factiva,
                                                                                                                            10/10/2013)




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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink to Provide Power to California Data Center with Bloom Energy Servers (Wireless
                                                                                                                          News - Factiva, 10/10/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/10/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/10/2013)
                                                                                                                          WASHINGTON -- UTC seeks public comment on CenturyLink AFOR settlement (TR's State
                                                                                                                          NewsWire - Factiva, 10/10/2013)
10/11/2013 Fri   4,051,609   $33.22      $0.00 -0.36%   0.63%   -0.03%   0.48%    -0.84%     -1.28 20.34%        -$0.28   CenturyLink brings 1 gigabit fiber service to Las Vegas.(BUSINESS) (Fiber Optics Weekly Update -
                                                                                                                          Factiva, 10/11/2013)
                                                                                                                          CenturyLink connects first business customer with 100 Gbps service.(BUSINESS) (Fiber Optics
                                                                                                                          Weekly Update - Factiva, 10/11/2013)
                                                                                                                          DigitalGlobe takes first crack at 100 gigabit-per-second service (Denver Business Journal - Factiva,
                                                                                                                          10/11/2013)
                                                                                                                          Elevator Pitch: Maha Ibrahim of Canaan Partners (Contra Costa Times - Factiva, 10/11/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/11/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/11/2013)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/11/2013)
10/12/2013 Sat                                                                                                            CenturyLink, union reach tentative agreement (Denver Business Journal Online - Factiva, 10/12/2013)

10/13/2013 Sun                                                                                                            CANAAN PARTNER SEES MORE DIVERSITY IN VALLEY (San Jose Mercury News - Factiva,
                                                                                                                          10/13/2013)
                                                                                                                          Centurylink to Power California Data Center with Bloom Energy Servers (India Energy News -
                                                                                                                          Factiva, 10/13/2013)
10/14/2013 Mon   4,474,771   $32.68      $0.00 -1.63%   0.41%   -0.86%   -0.32%   -1.30%     -1.98   4.98% *     -$0.43   BroadSoft appoints Pearl as VP, Carrier Sales, North America (Telecompaper Americas - Factiva,
                                                                                                                          10/14/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/14/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/14/2013)
                                                                                                                          Jefferies LLC Analyst Report (Eikon - Manual Entry, 10/14/2013)
                                                                                                                          CenturyLink connects first business customer with 100 Gbps service (PR Newswire (U.S.) - Factiva,
                                                                                                                          10/14/2013 08:01 AM)
                                                                                                                          Press Release: CenturyLink connects first business customer with 100 Gbps service (Dow Jones
                                                                                                                          Newswires - Factiva, 10/14/2013 08:01 AM)
                                                                                                                          Quintiles Wins Society for Clinical Research Sites' 2013 Eagle Award (Business Wire - Factiva,
                                                                                                                          10/14/2013 08:27 AM)
10/15/2013 Tue   3,875,693   $32.53      $0.00 -0.46% -0.71%    -0.24%   -0.78%    0.32%      0.48 63.28%        $0.10    Business News (Telecommunications Reports - Factiva, 10/15/2013)
                                                                                                                          CenturyLink announces launch of first, dedicated 100 Gbps service for customers (M2 EquityBites -
                                                                                                                          Factiva, 10/15/2013)
                                                                                                                          COURT AFFIRMS LOWER COURT IN TRAFFIC EXCHANGE CASE (TR Daily - Factiva,
                                                                                                                          10/15/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/15/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/15/2013)
                                                                                                                          NATIONAL -- Supreme Court declines to review CenturyLink-Sprint dispute (TR's State NewsWire
                                                                                                                          - Factiva, 10/15/2013)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink expands fiber network services to Las Vegas (MarketLine (a Datamonitor Company),
                                                                                                                          Company News - Factiva, 10/15/2013 04:21 AM)
                                                                                                                          Financial Results, Business Expansions, Acquisitions, and New Products - Research Report on
                                                                                                                          Micron, CenturyLink, Equinix, Intuit, and Advanced Micro Devices (PR Newswire (U.S.) - Factiva,
                                                                                                                          10/15/2013 08:02 AM)
10/16/2013 Wed   3,559,743   $32.92      $0.00   1.20%   1.39%   0.81%   1.68%    -0.48%     -0.72 47.33%        -$0.16   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/16/2013)
                                                                                                                          Press Release: Savvis appoints Ash Mathur managing director for Canadian operations (Dow Jones
                                                                                                                          Newswires - Factiva, 10/16/2013 09:00 AM)
                                                                                                                          Savvis appoints Ash Mathur managing director for Canadian operations (PR Newswire (U.S.) -
                                                                                                                          Factiva, 10/16/2013 09:00 AM)
                                                                                                                          Press Release: Savvis appoints Ash Mathur managing director for Canadian operations (Dow Jones
                                                                                                                          Newswires - Factiva, 10/16/2013 09:01 AM)
                                                                                                                          Savvis appoints Ash Mathur managing director for Canadian operations (Canada NewsWire -
                                                                                                                          Factiva, 10/16/2013 09:01 AM)
10/17/2013 Thu   3,572,553   $33.25      $0.00   1.00%   0.68%   1.50%   1.61%    -0.61%     -0.92 36.21%        -$0.20   CenturyLink Launches 1st 100 Gbps Service for DigitalGlobe (Manufacturing Close-Up - Factiva,
                                                                                                                          10/17/2013)
                                                                                                                          CenturyLink Launches First Dedicated 100 Gbps Data Networking Circuit (Wireless News - Factiva,
                                                                                                                          10/17/2013)
                                                                                                                          CenturyLink Updates on Connection of First Business Customer with 100 Gbps service
                                                                                                                          (Entertainment Close-Up - Factiva, 10/17/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/17/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/17/2013)
                                                                                                                          Four stocks short fund Ranger Equity Bear expects to fall (latimes.com - Factiva, 10/17/2013)
                                                                                                                          Savvis names Ash Mathur as managing director for Canadian operations (M2 EquityBites - Factiva,
                                                                                                                          10/17/2013)
                                                                                                                          TIME WARNER CABLE SVP (TR Daily - Factiva, 10/17/2013)
                                                                                                                          Carbon Trust awards certification to all Savvis UK data centres (PR Newswire (U.S.) - Factiva,
                                                                                                                          10/17/2013 07:00 AM)
                                                                                                                          Carbon Trust awards certification to all Savvis UK data centres (PR Newswire Europe - Factiva,
                                                                                                                          10/17/2013 07:00 AM)
                                                                                                                          CARBON TRUST AWARDS CERTIFICATION TO ALL SAVVIS UK DATA CENTRES (Press
                                                                                                                          Association National Newswire - Factiva, 10/17/2013 07:00 AM)
                                                                                                                          Press Release: Carbon Trust awards certification to all Savvis UK data centres (Dow Jones
                                                                                                                          Institutional News - Factiva, 10/17/2013 07:00 AM)
                                                                                                                          Carbon Trust awards certification to all Savvis UK data centres (Canada NewsWire - Factiva,
                                                                                                                          10/17/2013 07:01 AM)
                                                                                                                          Press Release: Carbon Trust awards certification to all Savvis UK data centres (Dow Jones
                                                                                                                          Institutional News - Factiva, 10/17/2013 07:01 AM)
                                                                                                                          DigitalGlobe selects CenturyLink's 100Gbps optical wavelength service (MarketLine (a Datamonitor
                                                                                                                          Company), Company News - Factiva, 10/17/2013 11:50 PM)
10/18/2013 Fri   3,695,018   $33.01      $0.00 -0.72%    0.66%   0.66%   0.95%    -1.67%     -2.51   1.35% *     -$0.56   CenturyLink launches 1st 100 Gbps service for DigitalGlobe.(NETWORKS) (Fiber Optics Weekly
                                                                                                                          Update - Factiva, 10/18/2013)
                                                                                                                          CenturyLink launches first dedicated 100 Gbps data networking circuit.(NETWORKS) (Fiber
                                                                                                                          Optics Weekly Update - Factiva, 10/18/2013)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/18/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/18/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/18/2013)
                                                                                                                         SavvisÃ¢â‚¬â„¢ UK data centres awarded certification by Carbon Trust for energy efficient
                                                                                                                         practices (M2 EquityBites - Factiva, 10/18/2013)
                                                                                                                         SavvisÃ¢â‚¬â„¢ UK data centres awarded certification by Carbon Trust for energy efficient
                                                                                                                         practices (Worldwide Computer Products News - Factiva, 10/18/2013)
                                                                                                                         TEXAS -- Staff says PUC can get AG opinion in USF transparency case (TR's State NewsWire -
                                                                                                                         Factiva, 10/18/2013)
                                                                                                                         WASHINGTON -- CenturyLink seeks approval of replacement PAP (TR's State NewsWire - Factiva,
                                                                                                                         10/18/2013)
10/19/2013 Sat
10/20/2013 Sun
10/21/2013 Mon   3,656,342   $32.99      $0.00 -0.06%    0.01%   1.21%   0.81%    -0.88%     -1.28 20.33%       -$0.29   EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/21/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/21/2013)
                                                                                                                         NEW MEXICO -- CenturyLink seeks approval of replacement PAP (TR's State NewsWire - Factiva,
                                                                                                                         10/21/2013)
                                                                                                                         UPDATE: D.A. Davidson Lowers PT on CenturyLink Ahead of Expected Tough Quarter &
                                                                                                                         Further Downside (Benzinga.com - Factiva, 10/21/2013 09:31 AM)
                                                                                                                         CenturyLink Started at Buy by Ameriprise Financial >CTL (Dow Jones Newswires Chinese (English)
                                                                                                                         - Factiva, 10/21/2013 12:27 PM)
10/22/2013 Tue   3,628,492   $33.42      $0.00   1.30%   0.57%   0.10%   0.45%     0.86%      1.25 21.52%       $0.28    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/22/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/22/2013)
                                                                                                                         USTelecom BOARD CHAIRMAN (TR Daily - Factiva, 10/22/2013)
                                                                                                                         *Telstra Global And CenturyLink Partner To Extend Network Offerings In The United States
                                                                                                                         (Dow Jones Institutional News - Factiva, 10/22/2013 09:00 AM)
                                                                                                                         Press Release: Savvis Introduces Big Data Solutions (Dow Jones Institutional News - Factiva,
                                                                                                                         10/22/2013 09:00 AM)
                                                                                                                         Press Release: Savvis Introduces Big Data Solutions (Dow Jones Institutional News - Factiva,
                                                                                                                         10/22/2013 09:00 AM)
                                                                                                                         Savvis Introduces Big Data Solutions (Canada NewsWire - Factiva, 10/22/2013 09:00 AM)
                                                                                                                         Savvis Introduces Big Data Solutions (PR Newswire (U.S.) - Factiva, 10/22/2013 09:00 AM)
                                                                                                                         Savvis Introduces Big Data Solutions (PR Newswire Asia - Factiva, 10/22/2013 09:00 AM)
                                                                                                                         Savvis Introduces Big Data Solutions (PR Newswire Europe - Factiva, 10/22/2013 09:00 AM)
                                                                                                                         SAVVIS INTRODUCES BIG DATA SOLUTIONS (Press Association National Newswire - Factiva,
                                                                                                                         10/22/2013 09:00 AM)
                                                                                                                         Telstra Global and CenturyLink partner to extend network offerings in the United States (PR
                                                                                                                         Newswire (U.S.) - Factiva, 10/22/2013 09:01 AM)
                                                                                                                         Quintiles Named a Best Multinational Workplace for Third Consecutive Year (Business Wire -
                                                                                                                         Factiva, 10/22/2013 12:39 PM)
10/23/2013 Wed   3,397,083   $33.39      $0.00 -0.09% -0.47%     0.06%   -0.37%    0.28%      0.41 68.56%       $0.09    CenturyLink, Inc. CenturyLink brings 1 gigabit fiber service to Las Vegas (Journal of Engineering -
                                                                                                                         Factiva, 10/23/2013)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                          CenturyLink, Inc. CenturyLink to power California data center with Bloom Energy Servers
                                                                                                                          (Journal of Engineering - Factiva, 10/23/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/23/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/23/2013)
                                                                                                                          Telstra Global and CenturyLink sign agreement to extend network offerings in the US (M2
                                                                                                                          EquityBites - Factiva, 10/23/2013)
                                                                                                                          The Executives' Club of Chicago; Sprint Chief Executive Officer to Address the Future of Wireless
                                                                                                                          at The Executives' Club of Chicago Global Leaders Luncheon (Journal of Engineering - Factiva,
                                                                                                                          10/23/2013)
                                                                                                                          The Executives' Club of Chicago; Sprint Chief Executive Officer to Address the Future of Wireless
                                                                                                                          at The Executives' Club of Chicago Global Leaders Luncheon (Telecommunications Weekly - Factiva,
                                                                                                                          10/23/2013)
                                                                                                                          Under AAAResearchReports.com Microscope: CenturyLink Inc., Integrated Device Technology
                                                                                                                          Inc., LG Display Co. Ltd, and Cray Inc. (PR Newswire (U.S.) - Factiva, 10/23/2013 11:27 AM)
10/24/2013 Thu   3,284,482   $33.22      $0.00 -0.51%    0.33%   -1.18%   -0.60%    0.09%      0.13 89.30%       $0.03    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 10/24/2013)

                                                                                                                          CenturyLink partners with Randolph CIS for food drive (The Courier-Tribune - Factiva, 10/24/2013)

                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/24/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/24/2013)
                                                                                                                          Clinical Study Results, Financial Results, Prestigious Awards, and Regulatory Approvals -
                                                                                                                          Research Report on Abbott, Opko, Varian Medical Systems, ICU Medical and Quintiles (PR
                                                                                                                          Newswire (U.S.) - Factiva, 10/24/2013 08:02 AM)
10/25/2013 Fri   3,589,224   $33.27      $0.00   0.15%   0.44%   0.74%    0.81%    -0.66%     -0.95 34.30%       -$0.22   CenturyLink, Inc. CenturyLink to power California data center with Bloom Energy Servers
                                                                                                                          (Energy Weekly News - Factiva, 10/25/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/25/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/25/2013)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/25/2013)
10/26/2013 Sat                                                                                                            Union workers ratify CenturyLink contract (Denver Business Journal Online - Factiva, 10/26/2013)

10/27/2013 Sun                                                                                                            CenturyLink reaches contract with former Qwest unions covering 11,000 workers in 13 states
                                                                                                                          (Associated Press Newswires - Factiva, 10/27/2013 02:22 PM)
10/28/2013 Mon   3,844,839   $33.52      $0.00   0.75%   0.13%   0.36%    0.31%     0.44%      0.64 52.32%       $0.15    CenturyLink, ex-Qwest union agree to new contract (St. Louis Business Journal Online - Factiva,
                                                                                                                          10/28/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/28/2013)
                                                                                                                          EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/28/2013)
                                                                                                                          WYOMING -- PSC calls for briefs in CenturyLink service quality case (TR's State NewsWire -
                                                                                                                          Factiva, 10/28/2013)
                                                                                                                          Virtela Sale to NTT for $525M Continues Good Year for Norwest (VentureWire - Factiva, 10/28/2013
                                                                                                                          08:13 AM)
10/29/2013 Tue   4,926,083   $33.81      $0.00   0.87%   0.56%   1.07%    1.14%    -0.28%      -0.4 68.72%       -$0.09   CenturyLink, Inc. CenturyLink connects first business customer with 100 Gbps service (Information
                                                                                                                          Technology Newsweekly - Factiva, 10/29/2013)
                                                                                                                          Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 10/29/2013)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events

                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/29/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/29/2013)
                                                                                                                           Savvis Introduces Big Data Solutions (ThomasNet News - Factiva, 10/29/2013)
10/30/2013 Wed   2,943,781   $33.53      $0.00 -0.83% -0.48%     -0.16%   -0.52%   -0.30%     -0.44 65.73%        -$0.10   CenturyLink, Inc. CenturyLink connects first business customer with 100 Gbps service (Journal of
                                                                                                                           Engineering - Factiva, 10/30/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/30/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/30/2013)
                                                                                                                           Event Brief of Q3 2013 Level 3 Communications Earnings Conference Call - Final (CQ FD
                                                                                                                           Disclosure - Factiva, 10/30/2013)
                                                                                                                           GlobalData Analyst Report (Eikon - Manual Entry, 10/30/2013)
                                                                                                                           Q3 2013 Level 3 Communications Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                           10/30/2013)
10/31/2013 Thu   4,128,752   $33.86      $0.00   0.98% -0.38%    0.13%    -0.25%    1.24%      1.81   7.27%       $0.41    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/31/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 10/31/2013)
                                                                                                                           GlobalData Analyst Report (Capital IQ - Manual Entry, 10/31/2013)
                                                                                                                           IOWA -- Sprint, others dispute Qwest's calculation of damages (TR's State NewsWire - Factiva,
                                                                                                                           10/31/2013)
                                                                                                                           MarketLine Analyst Report (Eikon - Manual Entry, 10/31/2013)
                                                                                                                           MarketLine Analyst Report (Eikon - Manual Entry, 10/31/2013)
                                                                                                                           Quintiles Transnational Holdings Inc Announces Resignation Of John Ratliff As President And
                                                                                                                           Chief Operating Officer-Form 8-K (Reuters Significant Developments - Factiva, 10/31/2013)
                                                                                                                           Quintiles Transnational Holdings Inc Narrows FY 2013 Revenue Guidance To A Range In Line
                                                                                                                           With Analysts' Estimates; Raises FY 2013 EPS Guidance (Reuters Significant Developments - Factiva,
                                                                                                                           10/31/2013)
                                                                                                                           Quintiles President & COO John Ratliff to Leave Company at End of 2013 (Business Wire - Factiva,
                                                                                                                           10/31/2013 05:30 AM)
                                                                                                                           Quintiles Reports Third Quarter 2013 Results (Business Wire - Factiva, 10/31/2013 06:00 AM)
 11/1/2013 Fri   3,978,389   $33.58      $0.00 -0.83%    0.29%   -0.25%   0.00%    -0.83%     -1.21 23.03%        -$0.28   BMO Capital Markets Analyst Report (Eikon - Manual Entry, 11/01/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 11/01/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 11/01/2013)
                                                                                                                           IOWA -- Sprint, others dispute Qwest's calculation of damages (TR's State NewsWire - Factiva,
                                                                                                                           11/01/2013)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/01/2013)
                                                                                                                           Benzinga Weekly Preview: Central Banks Back In The Spotlight (Benzinga.com - Factiva,
                                                                                                                           11/01/2013 04:19 PM)
 11/2/2013 Sat
 11/3/2013 Sun
 11/4/2013 Mon   3,476,054   $33.76      $0.00   0.54%   0.36%   0.54%    0.62%    -0.08%     -0.12 90.51%        -$0.03   Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 11/04/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 11/04/2013)
                                                                                                                           EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 11/04/2013)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                         WASHINGTON -- UTC seeks responses to CenturyLink PAP petition (TR's State NewsWire -
                                                                                                                         Factiva, 11/04/2013)
                                                                                                                         Stock Price Movement Update, Recognitions, and Financial Results - Research Report on Ariad
                                                                                                                         Pharmaceuticals, Quintiles, Molina Healthcare, Exelixis, and Masimo (PR Newswire (U.S.) - Factiva,
                                                                                                                         11/04/2013 08:02 AM)
11/5/2013 Tue   5,697,242   $33.38      $0.00 -1.13% -0.27%     -1.72%   -1.49%    0.36%      0.53 60.06%       $0.12    EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 11/05/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 11/05/2013)
                                                                                                                         Press Release: Savvis appoints Fiona Cullen as new EMEA managing director (Dow Jones
                                                                                                                         Institutional News - Factiva, 11/05/2013 06:00 AM)
                                                                                                                         Savvis appoints Fiona Cullen as new EMEA managing director (PR Newswire (U.S.) - Factiva,
                                                                                                                         11/05/2013 06:00 AM)
                                                                                                                         Savvis appoints Fiona Cullen as new EMEA managing director (PR Newswire Europe - Factiva,
                                                                                                                         11/05/2013 06:00 AM)
                                                                                                                         SAVVIS APPOINTS FIONA CULLEN AS NEW EMEA MANAGING DIRECTOR (Press
                                                                                                                         Association National Newswire - Factiva, 11/05/2013 06:00 AM)
                                                                                                                         Press Release: Savvis appoints Fiona Cullen as new EMEA managing director (Dow Jones
                                                                                                                         Institutional News - Factiva, 11/05/2013 06:01 AM)
                                                                                                                         Savvis appoints Fiona Cullen as new EMEA managing director (Canada NewsWire - Factiva,
                                                                                                                         11/05/2013 06:01 AM)
                                                                                                                         Emerald Networks and CenturyLink Sign Agreement for Trans-Atlantic Capacity (PR Newswire
                                                                                                                         (U.S.) - Factiva, 11/05/2013 02:00 PM)
11/6/2013 Wed   4,634,868   $33.89      $0.00   1.53%   0.48%   0.58%    0.74%     0.79%      1.15 25.40%       $0.26    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 11/06/2013)

                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/06/2013)
                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/06/2013)
                                                                                                                         CenturyLink Inc Issues Q4 2013 Guidance; EPS Guidance Below Analysts' Estimates (Reuters
                                                                                                                         Significant Developments - Factiva, 11/06/2013)
                                                                                                                         Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 11/06/2013)
                                                                                                                         Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 11/06/2013)
                                                                                                                         Deutsche Bank Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 11/06/2013)
                                                                                                                         EVA Dimensions Analyst Report (Capital IQ - Manual Entry, 11/06/2013)
                                                                                                                         Event Brief of Q3 2013 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                                                         Factiva, 11/06/2013)
                                                                                                                         MONTANA -- CenturyLink seeks approval of replacement PAP (TR's State NewsWire - Factiva,
                                                                                                                         11/06/2013)
                                                                                                                         Nomura Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                         Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 11/06/2013)
                                                                                                                         Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                         Q3 2013 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                         11/06/2013)
                                                                                                                         Stifel Nicolaus and Company, Incorporated Analyst Report (Eikon - Manual Entry, 11/06/2013)




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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                 Events

                                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 11/06/2013)
                                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 11/06/2013)
                                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                           Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                           Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                           Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 11/06/2013)
                                                                                                                           Quintiles' Women Inspired Network Wins Healthcare Businesswomen's Association ACE Award
                                                                                                                           (Business Wire - Factiva, 11/06/2013 08:00 AM)
                                                                                                                           CenturyLink 3Q Adj EPS 63c >CTL (Dow Jones Newswires Chinese (English) - Factiva, 11/06/2013
                                                                                                                           04:07 PM)
                                                                                                                           CenturyLink Reports Third Quarter 2013 Results (PR Newswire (U.S.) - Factiva, 11/06/2013 04:08
                                                                                                                           PM)
                                                                                                                           CenturyLink Swings to 3rd-Quarter Loss on $1.1 Billion Charge (Dow Jones Institutional News -
                                                                                                                           Factiva, 11/06/2013 04:36 PM)
                                                                                                                           CenturyLink takes a loss after taking $1.1B charge to write down value of data housing unit
                                                                                                                           (Associated Press Newswires - Factiva, 11/06/2013 04:45 PM)
                                                                                                                           CenturyLink Swings to 3rd-Quarter Loss on $1.1 Billion Charge (Dow Jones Institutional News -
                                                                                                                           Factiva, 11/06/2013 04:51 PM)
11/7/2013 Thu   13,537,330   $31.81      $0.00 -6.14% -1.30%   -0.71%   -1.54%    -4.59%     -6.65   0.00% **     -$1.56   Atlantic Equities Analyst Report (Eikon - Manual Entry, 11/07/2013)
                                                                                                                           BMO Capital Markets Analyst Report (Eikon - Manual Entry, 11/07/2013)
                                                                                                                           BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/07/2013)
                                                                                                                           CenturyLink POSTS 1.2% QUARTERLY REVENUE DECLINE (TR Daily - Factiva, 11/07/2013)
                                                                                                                           CenturyLink sinks into red due to $1.1B impairment charge (SNL Kagan Media & Communications
                                                                                                                           Report - Factiva, 11/07/2013)
                                                                                                                           CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 11/07/2013)
                                                                                                                           Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 11/07/2013)
                                                                                                                           Deutsche Bank Analyst Report (Eikon - Manual Entry, 11/07/2013)
                                                                                                                           FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 11/07/2013)
                                                                                                                           Hudson Square Research Analyst Report (Eikon - Manual Entry, 11/07/2013)
                                                                                                                           JP Morgan Analyst Report (Capital IQ - Manual Entry, 11/07/2013)
                                                                                                                           JP Morgan Analyst Report (Capital IQ - Manual Entry, 11/07/2013)
                                                                                                                           JP Morgan Analyst Report (Eikon - Manual Entry, 11/07/2013)
                                                                                                                           Moodyâ€™s Analyst Report (Eikon - Manual Entry, 11/07/2013)
                                                                                                                           Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 11/07/2013)
                                                                                                                           Morgan Stanley Analyst Report (Eikon - Manual Entry, 11/07/2013)
                                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 11/07/2013)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 11/07/2013)



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                                                               Excess                                             Abnormal
                                                       Market Industry Predicted Abnormal                           Price
     Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                Events

                                                                                                                             Morningstar Inc. Analyst Report (Eikon - Manual Entry, 11/07/2013)
                                                                                                                             Nomura Analyst Report (Eikon - Manual Entry, 11/07/2013)
                                                                                                                             Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 11/07/2013)
                                                                                                                             US HOT STOCKS TO WATCH: MDLZ (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                                             11/07/2013 06:53 AM)
                                                                                                                             US HOT STOCKS TO WATCH: CLR (Dow Jones Newswires Chinese (English) - Factiva, 11/07/2013
                                                                                                                             06:54 AM)
                                                                                                                             US HOT STOCKS TO WATCH: CTL (Dow Jones Newswires Chinese (English) - Factiva, 11/07/2013
                                                                                                                             06:59 AM)
                                                                                                                             US HOT STOCKS TO WATCH: CBS (Dow Jones Newswires Chinese (English) - Factiva, 11/07/2013
                                                                                                                             07:12 AM)
 11/8/2013 Fri   10,077,843   $31.33      $0.00 -1.51%    1.34%   -0.86%   0.38%    -1.89%     -2.73   0.72% **     -$0.60   IOWA -- Qwest files to dismiss claims against Superior Telephone, Great Lakes (TR's State
                                                                                                                             NewsWire - Factiva, 11/08/2013)
                                                                                                                             Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/08/2013)
                                                                                                                             LR firm slumps on profit drop-off Shares dip 5.7% for Windstream (The Arkansas Democrat
                                                                                                                             Gazette - Factiva, 11/08/2013)
                                                                                                                             RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 11/08/2013)
                                                                                                                             RBC Capital Markets Analyst Report (Eikon - Manual Entry, 11/08/2013)
 11/9/2013 Sat
11/10/2013 Sun
11/11/2013 Mon    3,244,043   $31.51      $0.00   0.57%   0.07%   -0.40%   -0.29%    0.86%      1.21 22.93%         $0.27    CenturyLink debuts TV service in Denver area (Denver Business Journal Online - Factiva,
                                                                                                                             11/11/2013)
                                                                                                                             CenturyLink thanks veterans for service to country (ENP Newswire - Factiva, 11/11/2013)
                                                                                                                             Financial Results, Declared Dividends, and Stake Sale Agreements - Research Report on
                                                                                                                             CenturyLink, T-Mobile, Windstream, VimpelCom, and Telefonica (PR Newswire (U.S.) - Factiva,
                                                                                                                             11/11/2013 08:02 AM)
11/12/2013 Tue    5,193,576   $31.43      $0.00 -0.25% -0.23%     0.51%    0.16%    -0.41%     -0.58 56.27%         -$0.13   CenturyLink launches Prism TV in Highlands Ranch (ENP Newswire - Factiva, 11/12/2013)
                                                                                                                             CFRA Equity Research Analyst Report (Eikon - Manual Entry, 11/12/2013)
                                                                                                                             Press Release: Savvis appoints Gery Messer managing director for Asia Pacific (Dow Jones
                                                                                                                             Institutional News - Factiva, 11/12/2013 05:00 AM)
                                                                                                                             Press Release: Savvis appoints Gery Messer managing director for Asia Pacific (Dow Jones
                                                                                                                             Institutional News - Factiva, 11/12/2013 05:00 AM)
                                                                                                                             Savvis appoints Gery Messer managing director for Asia Pacific (Canada NewsWire - Factiva,
                                                                                                                             11/12/2013 05:00 AM)
                                                                                                                             Savvis appoints Gery Messer managing director for Asia Pacific (PR Newswire (U.S.) - Factiva,
                                                                                                                             11/12/2013 05:00 AM)
                                                                                                                             Savvis appoints Gery Messer managing director for Asia Pacific (PR Newswire Asia - Factiva,
                                                                                                                             11/12/2013 05:00 AM)
                                                                                                                             CenturyLink reports net loss for Q3, provides guidance for Q4 (MarketLine (a Datamonitor
                                                                                                                             Company), Company News - Factiva, 11/12/2013 06:38 AM)
                                                                                                                             Healthcare Companies Report Financial Results, Scheduled Presentations, Marketing Clearance
                                                                                                                             and Recognitions - Research Report on Air Methods, NeuroMetrix, Quintiles, Auxilium, and
                                                                                                                             Cynosure (PR Newswire (U.S.) - Factiva, 11/12/2013 08:03 AM)




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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                          CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 11/12/2013 05:26
                                                                                                                          PM)
                                                                                                                          Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                          Factiva, 11/12/2013 05:26 PM)
11/13/2013 Wed   4,161,553   $31.48      $0.00   0.16%   0.84%   -0.74%   0.04%     0.12%      0.17 86.28%       $0.04    CenturyLink launches Prism TV in Highlands Ranch, Colo. (SNL Kagan Media & Communications
                                                                                                                          Report - Factiva, 11/13/2013)
                                                                                                                          CenturyLink working to fix severed cable in San Juan Islands (SNL Kagan Media & Communications
                                                                                                                          Report - Factiva, 11/13/2013)
                                                                                                                          IOWA -- CenturyLink, OCA file wire center settlement (TR's State NewsWire - Factiva, 11/13/2013)

                                                                                                                          Qwest Communications International Inc. Patent Issued for Optical Cable Connector
                                                                                                                          (Telecommunications Weekly - Factiva, 11/13/2013)
                                                                                                                          Savvis names Gery Messer as MD for Asia Pacific (M2 EquityBites - Factiva, 11/13/2013)
                                                                                                                          Savvis Appoints Gery Messer Managing Director for Asia Pacific (ACN Newswire - Factiva,
                                                                                                                          11/13/2013 03:02 AM)
                                                                                                                          Quintiles Advances Risk-based Monitoring with the Launch of Data-driven Trial Execution
                                                                                                                          Powered by Infosario(TM) Clinical (Business Wire - Factiva, 11/13/2013 08:00 AM)
11/14/2013 Thu   4,252,132   $31.84      $0.00   1.14%   0.50%   0.08%    0.38%     0.76%      1.07 28.51%       $0.24    CenturyLink Inc Prices $750 Million Of Debt Securities (Reuters Significant Developments - Factiva,
                                                                                                                          11/14/2013)
                                                                                                                          CenturyLink Plans $500M HY Sale (High Yield Report - Factiva, 11/14/2013)
                                                                                                                          CenturyLink PLANS BOND SALE, BUYBACK (TR Daily - Factiva, 11/14/2013)
                                                                                                                          IOWA -- Great Lakes urges IUB to close investigation (TR's State NewsWire - Factiva, 11/14/2013)

                                                                                                                          Moodyâ€™s Analyst Report (Capital IQ - Manual Entry, 11/14/2013)
                                                                                                                          Moodyâ€™s Analyst Report (Eikon - Manual Entry, 11/14/2013)
                                                                                                                          Moodyâ€™s Analyst Report (Eikon - Manual Entry, 11/14/2013)
                                                                                                                          Moody's rates CenturyLink's new notes Ba2 (Moody's Investors Service Press Release - Factiva,
                                                                                                                          11/14/2013)
                                                                                                                          S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 11/14/2013)
                                                                                                                          *IEX Group Selects Savvis For Hosting New Alternative Trading System (Dow Jones Institutional
                                                                                                                          News - Factiva, 11/14/2013 08:00 AM)
                                                                                                                          IEX Group selects Savvis for hosting new alternative trading system (PR Newswire (U.S.) - Factiva,
                                                                                                                          11/14/2013 08:00 AM)
                                                                                                                          IEX Group selects Savvis for hosting new alternative trading system (PR Newswire Europe - Factiva,
                                                                                                                          11/14/2013 08:00 AM)
                                                                                                                          IEX GROUP SELECTS SAVVIS FOR HOSTING NEW ALTERNATIVE TRADING SYSTEM
                                                                                                                          (Press Association National Newswire - Factiva, 11/14/2013 08:00 AM)
                                                                                                                          Quintiles Issues Perspectives on Diabetes Drug Development (Business Wire - Factiva, 11/14/2013
                                                                                                                          08:00 AM)
                                                                                                                          IEX Group selects Savvis for hosting new alternative trading system (Canada NewsWire - Factiva,
                                                                                                                          11/14/2013 08:01 AM)
                                                                                                                          Press Release: IEX Group selects Savvis for hosting new alternative trading system (Dow Jones
                                                                                                                          Institutional News - Factiva, 11/14/2013 08:01 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                         *CenturyLink Commences Debt Tender Offer And Concurrent Debt Offering (Dow Jones
                                                                                                                         Institutional News - Factiva, 11/14/2013 09:30 AM)
                                                                                                                         CenturyLink Commences Debt Tender Offer And Concurrent Debt Offering (PR Newswire (U.S.) -
                                                                                                                         Factiva, 11/14/2013 09:30 AM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 11/14/2013
                                                                                                                         10:23 AM)
                                                                                                                         *Fitch Rates CenturyLink's Proposed Senior Unsecured Notes Offering 'BB+' (Dow Jones
                                                                                                                         Institutional News - Factiva, 11/14/2013 01:51 PM)
                                                                                                                         Fitch Rates CenturyLink's Proposed Senior Unsecured Notes Offering 'BB+' (Business Wire -
                                                                                                                         Factiva, 11/14/2013 02:14 PM)
                                                                                                                         *S&P Rates CenturyLink's Proposed Senior Notes 'BB' (Recov: 4) (Dow Jones Institutional News -
                                                                                                                         Factiva, 11/14/2013 02:34 PM)
                                                                                                                         Today's Research: CenturyLink Inc., Integrated Device Technology Inc., LG Display Co. Ltd, and
                                                                                                                         Cray Inc. (PR Newswire (U.S.) - Factiva, 11/14/2013 06:30 PM)
                                                                                                                         *CenturyLink Prices $750 M Of Debt Securities (Dow Jones Institutional News - Factiva, 11/14/2013
                                                                                                                         07:00 PM)
                                                                                                                         CenturyLink Prices $750 Million of Debt Securities (PR Newswire (U.S.) - Factiva, 11/14/2013 07:00
                                                                                                                         PM)
11/15/2013 Fri   3,779,806   $32.10      $0.00   0.82%   0.42%   0.20%   0.42%     0.40%      0.56 57.76%       $0.13    CenturyLink launches offering to retire Qwest debt (Telecompaper Americas - Factiva, 11/15/2013)

                                                                                                                         CenturyLink plans debt offering; unit offers to repurchase $800M in notes (SNL Kagan Media &
                                                                                                                         Communications Report - Factiva, 11/15/2013)
                                                                                                                         CenturyLink SELLING $750M OF BONDS (TR Daily - Factiva, 11/15/2013)
                                                                                                                         CenturyLink Sells $750M in Bonds (High Yield Report - Factiva, 11/15/2013)
                                                                                                                         FORM 8-K: CENTURYLINK, QWEST COMMUNICATIONS INTERNATIONAL FILE
                                                                                                                         CURRENT REPORT (US Fed News - Factiva, 11/15/2013)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/15/2013)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Optical Cable Connector (Economics
                                                                                                                         Week - Factiva, 11/15/2013)
                                                                                                                         Savvis selected by IEX Group for hosting new alternative trading system (M2 EquityBites - Factiva,
                                                                                                                         11/15/2013)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 11/15/2013
                                                                                                                         06:02 AM)
11/16/2013 Sat                                                                                                           FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 11/16/2013)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Optical Cable Connector (Investment
                                                                                                                         Weekly News - Factiva, 11/16/2013)
11/17/2013 Sun
11/18/2013 Mon   4,607,338   $32.19      $0.00   0.28% -0.36%    0.86%   0.32%    -0.04%     -0.05 96.01%       -$0.01   CenturyLink acquires Tier 3 (MarketLine (a Datamonitor Company), Financial Deals Tracker - Factiva,
                                                                                                                         11/18/2013)
                                                                                                                         CenturyLink prices $750M debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         11/18/2013)
                                                                                                                         Consortium of investors sell Tier 3 to CenturyLink (MarketLine (a Datamonitor Company), Financial
                                                                                                                         Deals Tracker - Factiva, 11/18/2013)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                         TEXAS -- Carriers seek hearing in USF transparency case (TR's State NewsWire - Factiva,
                                                                                                                         11/18/2013)
                                                                                                                         CenturyLink selects Emerald Networks's undersea cable system (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 11/18/2013 06:11 AM)
                                                                                                                         Promotion, Dividend, Recognition, Quarterly Report, and Donation - Research Report on AT&T,
                                                                                                                         CenturyLink, Frontier, magicJack VocalTec, and Bell (PR Newswire (U.S.) - Factiva, 11/18/2013
                                                                                                                         08:02 AM)
                                                                                                                         Press Release: Savvis responds to IT demand in Canada with 2014 data center launch in Toronto
                                                                                                                         area (Dow Jones Institutional News - Factiva, 11/18/2013 09:01 AM)
                                                                                                                         Savvis responds to IT demand in Canada with 2014 data center launch in Toronto area (Canada
                                                                                                                         NewsWire - Factiva, 11/18/2013 09:01 AM)
                                                                                                                         Savvis responds to IT demand in Canada with 2014 data center launch in Toronto area (PR
                                                                                                                         Newswire (U.S.) - Factiva, 11/18/2013 09:01 AM)
                                                                                                                         Press Release: Savvis responds to IT demand in Canada with 2014 data center launch in Toronto
                                                                                                                         area (Dow Jones Institutional News - Factiva, 11/18/2013 09:03 AM)
11/19/2013 Tue   4,567,618   $32.01      $0.00 -0.56% -0.19%    0.26%    0.01%    -0.57%     -0.81 41.76%       -$0.18   CenturyLink ACQUIRES CLOUD SERVICES PROVIDER TIER 3 (TR Daily - Factiva, 11/19/2013)

                                                                                                                         CenturyLink Acquires Tier 3 to Accelerate Cloud Platform Strategy (India Investment News -
                                                                                                                         Factiva, 11/19/2013)
                                                                                                                         CenturyLink buys cloud services firm Tier 3 (M&A Navigator - Factiva, 11/19/2013)
                                                                                                                         CenturyLink buys Tier 3 of Bellevue (Puget Sound Business Journal Online - Factiva, 11/19/2013)

                                                                                                                         CenturyLink Posts Debt Tender Offer And Concurrent Debt Offering (Wireless News - Factiva,
                                                                                                                         11/19/2013)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 11/19/2013)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 11/19/2013)
                                                                                                                         CenturyLink acquires Tier 3 to accelerate cloud platform strategy (PR Newswire (U.S.) - Factiva,
                                                                                                                         11/19/2013 08:30 AM)
                                                                                                                         CenturyLink acquires Tier 3 to accelerate cloud platform strategy (PR Newswire Asia - Factiva,
                                                                                                                         11/19/2013 08:30 AM)
                                                                                                                         CenturyLink acquires Tier 3 to accelerate cloud platform strategy (PR Newswire Europe - Factiva,
                                                                                                                         11/19/2013 08:30 AM)
                                                                                                                         CENTURYLINK ACQUIRES TIER 3 TO ACCELERATE CLOUD PLATFORM STRATEGY
                                                                                                                         (Press Association National Newswire - Factiva, 11/19/2013 08:30 AM)
                                                                                                                         CenturyLink acquires Tier 3 to accelerate cloud platform strategy (Canada NewsWire - Factiva,
                                                                                                                         11/19/2013 08:31 AM)
                                                                                                                         Press Release: CenturyLink acquires Tier 3 to accelerate cloud platform strategy (Dow Jones
                                                                                                                         Institutional News - Factiva, 11/19/2013 08:31 AM)
                                                                                                                         BRIEF-CenturyLink acquires Tier 3 to accelerate cloud platform strategy (Reuters News - Factiva,
                                                                                                                         11/19/2013 08:42 AM)
                                                                                                                         CenturyLink boosts cloud offerings with Tier 3 buy (Reuters News - Factiva, 11/19/2013 01:26 PM)

                                                                                                                         CenturyLink Acquires Managed-Cloud Service Provider Tier 3 (VentureWire - Factiva, 11/19/2013
                                                                                                                         03:06 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                   [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                 Events
                                                                                                                          Vietnam Ministry of Health and Quintiles Collaborate to Advance Clinical Trial Excellence
                                                                                                                          (Business Wire - Factiva, 11/19/2013 09:00 PM)
11/20/2013 Wed   5,437,589   $31.80      $0.00 -0.66% -0.36%    -0.61%   -0.69%    0.04%      0.05 95.93%        $0.01    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 11/20/2013)

                                                                                                                          CenturyLink acquires public cloud services provider (SNL Kagan Media & Communications Report -
                                                                                                                          Factiva, 11/20/2013)
                                                                                                                          CenturyLink acquires Tier 3 for undisclosed sum; Tier 3 forms foundation of CenturyLink Cloud
                                                                                                                          (M2 EquityBites - Factiva, 11/20/2013)
                                                                                                                          CenturyLink Prices $750 Million of Debt Securities (Wireless News - Factiva, 11/20/2013)
                                                                                                                          D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 11/20/2013)
                                                                                                                          D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 11/20/2013)
                                                                                                                          IOWA -- IUB approves CenturyLink, OCA wire center settlement (TR's State NewsWire - Factiva,
                                                                                                                          11/20/2013)
                                                                                                                          KPN agrees to pay Ã¢â€šÂ¬50M to settle KPNQwest dispute (SNL Kagan Media & Communications
                                                                                                                          Report - Factiva, 11/20/2013)
                                                                                                                          S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 11/20/2013)
                                                                                                                          Savvis; Savvis appoints Fiona Cullen as new EMEA managing director (Journal of Engineering -
                                                                                                                          Factiva, 11/20/2013)
                                                                                                                          Financing, Special Reports, and Clinical Trial Updates - Research Report on PDL, DexCom,
                                                                                                                          Quintiles, KYTHERA, and Nektar (PR Newswire (U.S.) - Factiva, 11/20/2013 08:01 AM)
                                                                                                                          *S&PBulletin: CenturyLink Inc. Rating Off Criteria Observation (Dow Jones Institutional News -
                                                                                                                          Factiva, 11/20/2013 11:20 AM)
11/21/2013 Thu   5,369,796   $31.08      $0.54 -0.57%   0.82%   -0.72%   0.05%    -0.61%      -0.9 37.04%        -$0.20   D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 11/21/2013)
                                                                                                                          D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 11/21/2013)
                                                                                                                          CenturyLink launches Prism TV in Highlands Ranch, Colorado (MarketLine (a Datamonitor
                                                                                                                          Company), Company News - Factiva, 11/21/2013 05:39 AM)
11/22/2013 Fri   4,877,614   $30.67      $0.00 -1.32%   0.51%   -0.35%   0.08%    -1.40%     -2.05   4.29% *     -$0.44   CenturyLink Purchases Tier 3 to Accelerate Cloud Platform Strategy (Entertainment Close-Up -
                                                                                                                          Factiva, 11/22/2013)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/22/2013)
                                                                                                                          MONTANA -- CenturyLink seeks waiver of tariff-filing requirement (TR's State NewsWire - Factiva,
                                                                                                                          11/22/2013)
                                                                                                                          US Patent Issued to Qwest Communications International on Nov. 19 for "Wireless digital video
                                                                                                                          recorder" (Colorado Inventor) (US Fed News - Factiva, 11/22/2013)
                                                                                                                          Quintiles Named Best CRO at SCRIP Awards, Quintiles Infosario Safety System Wins Best
                                                                                                                          Technological Development (Business Wire - Factiva, 11/22/2013 08:00 AM)
11/23/2013 Sat
11/24/2013 Sun
11/25/2013 Mon   5,265,951   $30.70      $0.00   0.10% -0.12%   -0.20%   -0.29%    0.38%      0.56 57.48%        $0.12    Gordon Haskett Analyst Report (Eikon - Manual Entry, 11/25/2013)
                                                                                                                          Macquarie Research Analyst Report (Eikon - Manual Entry, 11/25/2013)
11/26/2013 Tue   6,665,553   $30.68      $0.00 -0.07%   0.03%   -0.02%   -0.05%   -0.02%     -0.02 98.23%        $0.00    Ex-Qwest, CenturyLink exec to run XO Communications (Denver Business Journal Online - Factiva,
                                                                                                                          11/26/2013)
                                                                                                                          Macquarie raises CenturyLink on valuation (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                          11/26/2013)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                          New Products, Stock Price Movements, and Acquisitions - Research Report on IBM, SanDisk,
                                                                                                                          Autodesk, CenturyLink, and Imperva (PR Newswire (U.S.) - Factiva, 11/26/2013 08:01 AM)
11/27/2013 Wed   4,176,527   $30.72      $0.00   0.13%   0.27%   -0.09%   0.08%     0.05%      0.07 94.44%       $0.01    APPEALS COURT: PUC ORDER ON QWEST RATES SHOULD BE REVERSED (TR Daily -
                                                                                                                          Factiva, 11/27/2013)
                                                                                                                          Argus Research Corporation Analyst Report (Eikon - Manual Entry, 11/27/2013)
                                                                                                                          CenturyLink COMPLETES $750M BOND SALE (TR Daily - Factiva, 11/27/2013)
                                                                                                                          CenturyLink Prices $750 Million of Debt Securities (Professional Services Close-Up - Factiva,
                                                                                                                          11/27/2013)
                                                                                                                          CenturyLink Reports Debt Tender Offer And Concurrent Debt Offering (Professional Services
                                                                                                                          Close-Up - Factiva, 11/27/2013)
                                                                                                                          GlobalData Analyst Report (Capital IQ - Manual Entry, 11/27/2013)
                                                                                                                          GlobalData Analyst Report (Eikon - Manual Entry, 11/27/2013)
                                                                                                                          MINNESOTA -- Court: Entire PUC order on Qwest rates should be reversed (TR's State NewsWire -
                                                                                                                          Factiva, 11/27/2013)
                                                                                                                          NORTH DAKOTA -- PSC seeks comment on CenturyLink revised PAP (TR's State NewsWire -
                                                                                                                          Factiva, 11/27/2013)
                                                                                                                          Telephone Communications; Qwest Communications International Inc. Files SEC Form 10-Q,
                                                                                                                          Quarterly Report [Sections 13 Or 15(D)] (Nov. 13, 2013) (Telecommunications Weekly - Factiva,
                                                                                                                          11/27/2013)
                                                                                                                          XO Communications appoints Ancell as CEO (Telecompaper Americas - Factiva, 11/27/2013)
                                                                                                                          *CenturyLink Completes Debt Offering And Initial Settlement Of Qwest Commun Debt Tender
                                                                                                                          Offer (Dow Jones Institutional News - Factiva, 11/27/2013 04:15 PM)
                                                                                                                          CenturyLink Completes Debt Offering And Initial Settlement Of Qwest Communications Debt
                                                                                                                          Tender Offer, And Issues Notice Of Redemption Of All Remaining Qwest Communications Notes
                                                                                                                          Due 2018 (PR Newswire (U.S.) - Factiva, 11/27/2013 04:15 PM)
                                                                                                                          CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 11/27/2013
                                                                                                                          04:31 PM)
11/28/2013 Thu                                                                                                            CenturyLink announces debt offering completion and initial settlement of Qwest
                                                                                                                          CommunicationsÃ¢â‚¬â„¢ debt tender offer; Issues notice of redemption of all remaining Qwest
                                                                                                                          notes due 2018 (M2 EquityBites - Factiva, 11/28/2013)
                                                                                                                          CenturyLink closes $750M debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                          11/28/2013)
                                                                                                                          CenturyLink completes debt offering, initiates buy-backs (Telecompaper Americas - Factiva,
                                                                                                                          11/28/2013)
                                                                                                                          FORM 8-K: CENTURYLINK, QWEST COMMUNICATIONS INTERNATIONAL FILE
                                                                                                                          CURRENT REPORT (US Fed News - Factiva, 11/28/2013)
                                                                                                                          FORM 8-K: CENTURYLINK, QWEST COMMUNICATIONS INTERNATIONAL FILE
                                                                                                                          CURRENT REPORT (US Fed News - Factiva, 11/28/2013)
                                                                                                                          New Research Arrangements, Investor Conference Schedules, Reimbursement Agreements, and
                                                                                                                          NDA Acceptances - Research Report on Quintiles, Insys, HeartWare, Given Imaging, and Nektar
                                                                                                                          (PR Newswire (U.S.) - Factiva, 11/28/2013 08:01 AM)
11/29/2013 Fri   2,340,625   $30.70      $0.00 -0.07% -0.07%     -0.50%   -0.46%    0.39%      0.57 56.81%       $0.12    CenturyLink to connect teachers with technology by offering $135K in grants (The News-Star -
                                                                                                                          Factiva, 11/29/2013)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                  Events
                                                                                                                           CenturyLink to connect teachers with technology by offering $135K in grants (The News-Star -
                                                                                                                           Factiva, 11/29/2013)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/29/2013)
                                                                                                                           MarketLine Analyst Report (Eikon - Manual Entry, 11/29/2013)
                                                                                                                           MarketLine Analyst Report (Eikon - Manual Entry, 11/29/2013)
                                                                                                                           Chinook Financial Ltd. Press Release under the Early Warning System (Filing Services Canada -
                                                                                                                           Factiva, 11/29/2013 05:14 PM)
11/30/2013 Sat                                                                                                             CenturyLink Prices $750 Million of Debt Securities (Professional Services Close-Up - Factiva,
                                                                                                                           11/30/2013)
                                                                                                                           Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 11/30/2013)
 12/1/2013 Sun
 12/2/2013 Mon   5,119,533   $30.30      $0.00 -1.30% -0.27%    -0.65%   -0.70%   -0.60%     -0.89 37.80%         -$0.19   CenturyLink Inc signs federal government sales agreement with Uplogix (Reuters Significant
                                                                                                                           Developments - Factiva, 12/02/2013)
                                                                                                                           CenturyLink Intellectual Property LLC; Patent Application Titled "System and Method for Secure
                                                                                                                           Machine-To-Machine Communications" Published Online (Internet Weekly News - Factiva,
                                                                                                                           12/02/2013)
                                                                                                                           *CenturyLink Signs Federal Government Sales Agreement With Uplogix (Dow Jones Institutional
                                                                                                                           News - Factiva, 12/02/2013 09:00 AM)
                                                                                                                           CenturyLink signs federal government sales agreement with Uplogix (PR Newswire (U.S.) - Factiva,
                                                                                                                           12/02/2013 09:00 AM)
 12/3/2013 Tue   5,753,197   $30.37      $0.00   0.23% -0.31%   0.44%    0.02%     0.21%       0.3 76.12%         $0.06    Analysts' Corner Releases Research Report on IBM, SanDisk, Autodesk, CenturyLink, and
                                                                                                                           Imperva (Wireless News - Factiva, 12/03/2013)
                                                                                                                           CenturyLink to sell Uplogix management solution to federal agencies (M2 EquityBites - Factiva,
                                                                                                                           12/03/2013)
                                                                                                                           CenturyLink to sell Uplogix management solution to federal agencies (Worldwide Computer Products
                                                                                                                           News - Factiva, 12/03/2013)
                                                                                                                           NEW MEXICO -- Prehearing scheduled in CenturyLink AFOR proceeding (TR's State NewsWire -
                                                                                                                           Factiva, 12/03/2013)
                                                                                                                           Piper Jaffray Analyst Report (Capital IQ - Manual Entry, 12/03/2013)
                                                                                                                           Piper Jaffray Analyst Report (Eikon - Manual Entry, 12/03/2013)
 12/4/2013 Wed   6,800,435   $30.84      $0.00   1.55% -0.10%   -0.33%   -0.37%    1.92%       2.8   0.60% **     $0.58    CenturyLink Reports Completion of Debt Offering and Initial Settlement of Qwest
                                                                                                                           Communications Debt Tender Offer, and Issues Notice if Redemption of all Remaining Qwest
                                                                                                                           Communications Notes Due 2018 (Wireless News - Factiva, 12/04/2013)
                                                                                                                           CenturyLink, Inc. CenturyLink acquires Tier 3 to accelerate cloud platform strategy (Journal of
                                                                                                                           Engineering - Factiva, 12/04/2013)
                                                                                                                           NEBRASKA -- PSC approves CenturyLink replacement PAP (TR's State NewsWire - Factiva,
                                                                                                                           12/04/2013)
                                                                                                                           Qwest Communications International Inc. Patent Issued for Custom Information for Wireless
                                                                                                                           Subscribers Based on Proximity (Journal of Engineering - Factiva, 12/04/2013)
                                                                                                                           Qwest Communications International Inc. Patent Issued for Custom Information for Wireless
                                                                                                                           Subscribers Based on Proximity (Telecommunications Weekly - Factiva, 12/04/2013)
                                                                                                                           Qwest Communications International Inc. Patent Issued for Wireless Digital Video Recorder
                                                                                                                           (Electronics Newsweekly - Factiva, 12/04/2013)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                      [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                   Events
                                                                                                                           Qwest Communications International Inc. Patent Issued for Wireless Digital Video Recorder
                                                                                                                           (Telecommunications Weekly - Factiva, 12/04/2013)
 12/5/2013 Thu   5,890,680   $30.65      $0.00 -0.62% -0.43%     -0.61%   -0.79%    0.17%      0.25 80.55%        $0.05    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/05/2013)

                                                                                                                           CenturyLink Intellectual Property LLC; Patent Application Titled "System and Method for Secure
                                                                                                                           Machine-To-Machine Communications" Published Online (Computer Weekly News - Factiva,
                                                                                                                           12/05/2013)
                                                                                                                           Comcast Business appoints director of Mountain Region (Telecompaper Americas - Factiva,
                                                                                                                           12/05/2013)
                                                                                                                           NATIONAL -- Bureau authorizes $255M in price cap CAF support (TR's State NewsWire - Factiva,
                                                                                                                           12/05/2013)
                                                                                                                           Qwest Communications International Inc. Patent Issued for Custom Information for Wireless
                                                                                                                           Subscribers Based on Proximity (Computer Weekly News - Factiva, 12/05/2013)
                                                                                                                           S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 12/05/2013)
                                                                                                                           S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 12/05/2013)
                                                                                                                           Availability of New Tests, Completed Acquisitions, Public Offering Plans, and Prestigious Awards -
                                                                                                                           Research Report on LabCorp, Teleflex, Orexigen, HeartWare and Quintiles (PR Newswire (U.S.) -
                                                                                                                           Factiva, 12/05/2013 08:02 AM)
                                                                                                                           CenturyLink signs sales agreement with Uplogix (MarketLine (a Datamonitor Company), Company
                                                                                                                           News - Factiva, 12/05/2013 08:56 AM)
 12/6/2013 Fri   5,759,019   $31.07      $0.00   1.37%   1.13%   0.23%    0.95%     0.42%       0.6 55.19%        $0.13    BUREAU AUTHORIZES $255M IN PRICE CAP CAF SUPPORT (TR Daily - Factiva, 12/06/2013)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/06/2013)
                                                                                                                           Qwest Communications International Inc. Patent Issued for Wireless Digital Video Recorder
                                                                                                                           (Entertainment Newsweekly - Factiva, 12/06/2013)
                                                                                                                           S&P Global Market Intelligence Analyst Report (Capital IQ - Manual Entry, 12/06/2013)
 12/7/2013 Sat
 12/8/2013 Sun                                                                                                             Analysts' Corner Rolls Out Research Report on IBM, SanDisk, Autodesk, CenturyLink, and
                                                                                                                           Imperva (Professional Services Close-Up - Factiva, 12/08/2013)
                                                                                                                           Make room for the Mavs! (Omaha World-Herald - Factiva, 12/08/2013)
 12/9/2013 Mon   5,799,462   $31.52      $0.00   1.45%   0.19%   0.15%    0.20%     1.24%      1.77   7.99%       $0.39    Charter Review; Member says panel took job seriously; William Gaughan says itÃ¢â‚¬â„¢s unfair
                                                                                                                           of Stothert to criticize a lack of action on two items she backed. (Omaha World-Herald - Factiva,
                                                                                                                           12/09/2013)
                                                                                                                           CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 12/09/2013 11:37
                                                                                                                           AM)
12/10/2013 Tue   6,332,872   $31.51      $0.00 -0.03% -0.32%     -0.63%   -0.71%    0.68%      0.95 34.53%        $0.21    CenturyLink, Inc. at UBS Global Media and Communications Conference - Final (CQ FD
                                                                                                                           Disclosure - Factiva, 12/10/2013)
                                                                                                                           Insider trading in St. Louis Nov. 22 to Dec. 2 (St. Louis Business Journal Online - Factiva, 12/10/2013)

                                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 12/10/2013)
                                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 12/10/2013)
                                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 12/10/2013)
                                                                                                                           Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 12/10/2013)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
                                                                                                                           Domestic Telecoms Service Industry Announce Acquisitions, Signed Agreements and Awards -
                                                                                                                           Research Report on Verizon, CenturyLink, Windstream, BCE, and TW Telecom (PR Newswire
                                                                                                                           (U.S.) - Factiva, 12/10/2013 08:01 AM)
                                                                                                                           Daily Technical Summary:CenturyLink, Integrated Device Technology, Cray and LG Display
                                                                                                                           Company (PR Newswire (U.S.) - Factiva, 12/10/2013 12:23 PM)
12/11/2013 Wed   7,108,730   $30.71      $0.00 -2.54% -1.12%     -0.47%   -1.08%   -1.46%     -2.06   4.13% *     -$0.46   Communications providers get Connect America Fund disbursements (SNL Kagan Media &
                                                                                                                           Communications Report - Factiva, 12/11/2013)
                                                                                                                           Egnyte secures $29.5 million in Series D funding (MarketLine (a Datamonitor Company), Financial
                                                                                                                           Deals Tracker - Factiva, 12/11/2013)
                                                                                                                           Qwest Communications International Inc. Patent Issued for System, Method and Apparatus for
                                                                                                                           Automatic Location-Based Silencing of Wireless Transceivers (Electronics Newsweekly - Factiva,
                                                                                                                           12/11/2013)
                                                                                                                           Qwest Communications International Inc. Patent Issued for System, Method and Apparatus for
                                                                                                                           Automatic Location-Based Silencing of Wireless Transceivers (Journal of Engineering - Factiva,
                                                                                                                           12/11/2013)
                                                                                                                           Qwest Communications International Inc. Patent Issued for System, Method and Apparatus for
                                                                                                                           Automatic Location-Based Silencing of Wireless Transceivers (Telecommunications Weekly - Factiva,
                                                                                                                           12/11/2013)
                                                                                                                           Young professional finds opportunity in Sioux Falls (Argus Leader - Factiva, 12/11/2013)
                                                                                                                           CenturyLink enters sales agreement with Uplogix management solution (MarketLine (a Datamonitor
                                                                                                                           Company), Company News - Factiva, 12/11/2013 04:27 AM)
12/12/2013 Thu   5,381,300   $30.76      $0.00   0.16% -0.35%    -0.12%   -0.35%    0.51%      0.72 47.50%        $0.16    CenturyLink enters into sales agreement with Uplogix management solution (MarketLine (a
                                                                                                                           Datamonitor Company), Company News - Factiva, 12/12/2013 04:49 AM)
                                                                                                                           Quintiles Appoints Scott Evangelista to Lead Integrated Commercial Services and Solutions
                                                                                                                           (Business Wire - Factiva, 12/12/2013 08:00 AM)
12/13/2013 Fri   6,050,410   $30.73      $0.00 -0.10% -0.01%     -0.26%   -0.20%    0.10%      0.14 88.55%        $0.03    CenturyLink COMPLETES $614M BOND REPURCHASE (TR Daily - Factiva, 12/13/2013)
                                                                                                                           CenturyLink completes debt tender offer for Qwest (Telecompaper Americas - Factiva, 12/13/2013)

                                                                                                                           IOWA - Board approves changes to CenturyLink performance plan (TR's State NewsWire - Factiva,
                                                                                                                           12/13/2013)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/13/2013)
                                                                                                                           NEW MEXICO - AFOR stay requested as CenturyLink seeks new law (TR's State NewsWire -
                                                                                                                           Factiva, 12/13/2013)
                                                                                                                           Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 12/13/2013)
                                                                                                                           *CenturyLink Announces Completion Of Debt Tender Offer For Qwest Commun Notes Due 2018
                                                                                                                           (Dow Jones Institutional News - Factiva, 12/13/2013 08:45 AM)
                                                                                                                           CenturyLink Announces Completion Of Debt Tender Offer For Qwest Communications Notes Due
                                                                                                                           2018 (PR Newswire (U.S.) - Factiva, 12/13/2013 08:45 AM)
                                                                                                                           CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 12/13/2013
                                                                                                                           10:49 AM)
12/14/2013 Sat                                                                                                             FORM 8-K: CENTURYLINK, QWEST COMMUNICATIONS INTERNATIONAL FILE
                                                                                                                           CURRENT REPORT (US Fed News - Factiva, 12/14/2013)
12/15/2013 Sun
12/16/2013 Mon   5,267,531   $30.95      $0.00   0.72%   0.63%   0.22%    0.56%     0.15%      0.22 82.82%        $0.05    EXECUTIVE SNAPSHOT: Jeff Oberschelp (Las Vegas Business Press - Factiva, 12/16/2013)




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                                                                            CenturyLink, Inc. News Chronology with Daily Statistics
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                                                               Excess                                             Abnormal
                                                       Market Industry Predicted Abnormal                           Price
     Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                    Events
                                                                                                                             FORM 8-K: CENTURYLINK, QWEST COMMUNICATIONS INTERNATIONAL FILE
                                                                                                                             CURRENT REPORT (US Fed News - Factiva, 12/16/2013)
                                                                                                                             Qwest's debt tender offer expires (SNL Kagan Media & Communications Report - Factiva, 12/16/2013)

12/17/2013 Tue    6,368,693   $31.44      $0.00   1.58% -0.31%    -0.70%   -0.70%    2.28%      3.25   0.15% **     $0.71    BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 12/17/2013)
                                                                                                                             Insider trading in St. Louis: Dec. 2-Dec. 10 (St. Louis Business Journal Online - Factiva, 12/17/2013)

                                                                                                                             NEW MEXICO -- PRC cancels prehearing CenturyLink AFOR case (TR's State NewsWire - Factiva,
                                                                                                                             12/17/2013)
                                                                                                                             New Leaders, Quarterly Dividends, Positive Clinical Results, and Data Presentations - Research
                                                                                                                             Report on Quintiles, CR Bard, Theravance, Immunomedics and Progenics Pharmaceuticals (PR
                                                                                                                             Newswire (U.S.) - Factiva, 12/17/2013 08:01 AM)
                                                                                                                             Richard Relyea Elected to the Quintiles Transnational Holdings Inc. Board of Directors (Business
                                                                                                                             Wire - Factiva, 12/17/2013 04:33 PM)
12/18/2013 Wed    7,107,339   $31.84      $0.00   1.27%   1.67%   0.46%    1.43%    -0.16%     -0.22 82.46%         -$0.05   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                             Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/18/2013)

                                                                                                                             CenturyLink Completes Debt Tender Offer for Qwest Communications Notes Due 2018
                                                                                                                             (Professional Services Close-Up - Factiva, 12/18/2013)
                                                                                                                             Director Harvey P. Perry sees -12.3% return at CenturyLink (News Bites - People in Business -
                                                                                                                             Factiva, 12/18/2013)
                                                                                                                             Domestic Telecom Services Industry Announce Acquisitions, Completion of Debt Tender Offer,
                                                                                                                             and New Programs - Research Report on Verizon, CenturyLink, Windstream, Frontier
                                                                                                                             Corporation, and BCE (PR Newswire (U.S.) - Factiva, 12/18/2013 08:01 AM)
                                                                                                                             CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 12/18/2013 05:00
                                                                                                                             PM)
                                                                                                                             Press Release: CenturyLink to Participate in Analyst Conference (Dow Jones Institutional News -
                                                                                                                             Factiva, 12/18/2013 05:04 PM)
12/19/2013 Thu   13,236,801   $31.36      $0.00 -1.51% -0.04%     0.18%    0.08%    -1.58%     -2.17   3.17% *      -$0.50   CenturyLink, Inc. CenturyLink signs federal government sales agreement with Uplogix (Politics &
                                                                                                                             Government Week - Factiva, 12/19/2013)
                                                                                                                             OREGON -- PUC approves replacement PAP for CenturyLink (TR's State NewsWire - Factiva,
                                                                                                                             12/19/2013)
                                                                                                                             Savvis to change name in 2014 (St. Louis Business Journal Online - Factiva, 12/19/2013)
12/20/2013 Fri    9,155,762   $31.04      $0.00 -1.02%    0.48%   -0.87%   -0.22%   -0.80%     -1.08 28.26%         -$0.25   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/20/2013)
                                                                                                                             MONTANA -- PSC approves replacement PAP for CenturyLink (TR's State NewsWire - Factiva,
                                                                                                                             12/20/2013)
                                                                                                                             NEW MEXICO -- PRC agrees to stay CenturyLink AFOR case pending legislation (TR's State
                                                                                                                             NewsWire - Factiva, 12/20/2013)
                                                                                                                             SAVVIS to change name next year (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                             12/20/2013)
12/21/2013 Sat                                                                                                               Director Gregory J. McCray sees -16.1% return at CenturyLink (News Bites - People in Business -
                                                                                                                             Factiva, 12/21/2013)
12/22/2013 Sun                                                                                                               in brief (The Register-Mail - Factiva, 12/22/2013)
12/23/2013 Mon    5,691,073   $31.36      $0.00   1.03%   0.55%   0.68%    0.79%     0.24%      0.32 75.11%         $0.07    Level 3 Files 8K - Other Events >LVLT (Dow Jones Institutional News - Factiva, 12/23/2013 08:44
                                                                                                                             AM)



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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

12/24/2013 Tue   2,965,928   $31.69      $0.00   1.05%   0.30%   0.55%    0.55%     0.50%      0.68 50.07%       $0.16
12/25/2013 Wed                                                                                                            FDA Drug Approvals, Newly Elected Board of Directors, and Stock Price Updates on Healthcare
                                                                                                                          Companies - Research Report on Theravance, Quintiles, Ironwood, Progenics, and Immunomedics
                                                                                                                          (PR Newswire (U.S.) - Factiva, 12/25/2013 08:00 AM)
12/26/2013 Thu   3,547,160   $31.85      $0.00   0.50%   0.47%   0.18%    0.44%     0.07%      0.09 92.81%       $0.02    Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 12/26/2013)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 12/26/2013)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 12/26/2013)
12/27/2013 Fri   3,690,852   $32.01      $0.00   0.50% -0.01%    0.06%    0.02%     0.48%      0.65 51.81%       $0.15    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/27/2013)
                                                                                                                          Patience can bring suite reward (Denver Business Journal - Factiva, 12/27/2013)
12/28/2013 Sat
12/29/2013 Sun
12/30/2013 Mon   4,185,689   $31.96      $0.00 -0.16% -0.01%     0.05%    0.02%    -0.18%     -0.24 80.86%       -$0.06   Share Price Updates, Transparency Reports, Acquisitions, Recognitions, and Conferences -
                                                                                                                          Research Report on AT&T, Verizon, CenturyLink, Windstream, and Frontier Communications
                                                                                                                          (PR Newswire (U.S.) - Factiva, 12/30/2013 08:01 AM)
12/31/2013 Tue   5,122,758   $31.85      $0.00 -0.34%    0.40%   -0.33%   0.06%    -0.41%     -0.55 58.51%       -$0.13   MarketLine Analyst Report (Eikon - Manual Entry, 12/31/2013)
                                                                                                                          NYSE New 52-Week Highs And Lows -3- (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                                          12/31/2013 05:37 PM)
  1/1/2014 Wed                                                                                                            Qwest Communications International Inc. "Multiple-Enclosure Residential Gateways" in Patent
                                                                                                                          Application Approval Process (Electronics Newsweekly - Factiva, 01/01/2014)
                                                                                                                          Qwest Communications International Inc. "Multiple-Enclosure Residential Gateways" in Patent
                                                                                                                          Application Approval Process (Telecommunications Weekly - Factiva, 01/01/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Wireless Digital Video Recorder
                                                                                                                          Manager (Electronics Newsweekly - Factiva, 01/01/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Wireless Digital Video Recorder
                                                                                                                          Manager (Telecommunications Weekly - Factiva, 01/01/2014)
  1/2/2014 Thu   4,446,283   $31.65      $0.00 -0.63% -0.87%     0.01%    -0.61%   -0.02%     -0.02 98.22%       -$0.01   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 01/02/2014)

                                                                                                                          FCC SEEKS INPUT ON CenturyLink COMPLIANCE PLAN (TR Daily - Factiva, 01/02/2014)
                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 01/02/2014)
                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 01/02/2014)
  1/3/2014 Fri   2,137,339   $31.60      $0.00 -0.16% -0.03%     -0.63%   -0.46%    0.30%      0.41 68.21%       $0.10    ARIZONA -- Court affirms ruling in CenturyLink-North County ICA dispute (TR's State NewsWire
                                                                                                                          - Factiva, 01/03/2014)
                                                                                                                          CenturyLink gives Prism TV customers anywhere access to live TV programming (ENP Newswire -
                                                                                                                          Factiva, 01/03/2014)
                                                                                                                          CenturyLink gives Prism[TM] TV customers anywhere access to live TV
                                                                                                                          programming.(SERVICES) (Fiber Optics Weekly Update - Factiva, 01/03/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/03/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Wireless Digital Video Recorder
                                                                                                                          Manager (Entertainment Newsweekly - Factiva, 01/03/2014)
  1/4/2014 Sat
  1/5/2014 Sun
  1/6/2014 Mon   2,925,125   $31.67      $0.00   0.22% -0.25%    0.65%    0.25%    -0.03%     -0.04 96.95%       -$0.01   CenturyLink pumps Prism TV app (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                          01/06/2014)




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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          WASHINGTON -- UTC approves changes to CenturyLink PAP (TR's State NewsWire - Factiva,
                                                                                                                          01/06/2014)
                                                                                                                          CenturyLink launches new version of Prism TV app (MarketLine (a Datamonitor Company),
                                                                                                                          Company News - Factiva, 01/06/2014 12:49 AM)
                                                                                                                          Quintiles Executive to Present at J.P. Morgan Healthcare Conference (Business Wire - Factiva,
                                                                                                                          01/06/2014 08:00 AM)
                                                                                                                          CenturyLink Schedules Fourth Quarter 2013 Earnings Conference Call (PR Newswire (U.S.) -
                                                                                                                          Factiva, 01/06/2014 05:31 PM)
                                                                                                                          Press Release: CenturyLink Schedules Fourth Quarter 2013 Earnings Conference Call (Dow Jones
                                                                                                                          Institutional News - Factiva, 01/06/2014 05:31 PM)
 1/7/2014 Tue   5,040,813   $31.41      $0.00 -0.82%    0.61%   0.23%    0.56%    -1.38%     -1.87   6.36%       -$0.44   Business briefs (The Courier-Tribune - Factiva, 01/07/2014)
                                                                                                                          CenturyLink, Inc. at Citi Internet Media & Telecommunications Conference - Final (CQ FD
                                                                                                                          Disclosure - Factiva, 01/07/2014)
                                                                                                                          NEW MEXICO -- CenturyLink urges PRC to approve replacement PAP (TR's State NewsWire -
                                                                                                                          Factiva, 01/07/2014)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 01/07/2014)
                                                                                                                          Quintiles and The Medical Affairs Company Sign Agreement Enhancing Respective Commercial
                                                                                                                          Solutions Capabilities (Business Wire - Factiva, 01/07/2014 08:00 AM)
                                                                                                                          Quintiles' Fourth Quarter 2013 Earnings Call Scheduled for Thursday, February 13(th) (Business
                                                                                                                          Wire - Factiva, 01/07/2014 08:30 AM)
                                                                                                                          CenturyLink to demonstrate Prism TV applications on new LG Smart TV products at the 2014
                                                                                                                          International Consumer Electronics Show (PR Newswire (U.S.) - Factiva, 01/07/2014 09:00 AM)
 1/8/2014 Wed   4,356,803   $31.24      $0.00 -0.54%    0.01%   -0.62%   -0.43%   -0.11%     -0.15 88.41%        -$0.03   Level 3 Communications at Citi Internet Media & Telecommunications Conference - Final (CQ FD
                                                                                                                          Disclosure - Factiva, 01/08/2014)
                                                                                                                          MarketLine Analyst Report (Eikon - Manual Entry, 01/08/2014)
                                                                                                                          Patients Get Safety Information, Pill Reminders with New Mobile App from Quintiles (Business
                                                                                                                          Wire - Factiva, 01/08/2014 08:00 AM)
 1/9/2014 Thu   4,052,169   $30.79      $0.00 -1.44%    0.03%   -1.88%   -1.26%   -0.18%     -0.24 80.85%        -$0.06   Business briefs (The Courier-Tribune - Factiva, 01/09/2014)
                                                                                                                          CenturyLink To Demonstrate Prism TV Applications On New LG Smart TV Products At The 2014
                                                                                                                          International Consumer Electronics Show (EFYtimes.com - Factiva, 01/09/2014)
                                                                                                                          GlobalData Analyst Report (Eikon - Manual Entry, 01/09/2014)
                                                                                                                          Companies Scheduled to Present at the 32nd Annual J.P. Morgan Healthcare Conference -
                                                                                                                          Research Report on InterMune, Cyberonics, Volcano, Quintiles, and Orexigen (PR Newswire (U.S.) -
                                                                                                                          Factiva, 01/09/2014 08:01 AM)
1/10/2014 Fri   3,666,234   $31.02      $0.00   0.75%   0.23%   0.21%    0.28%     0.47%      0.63 52.93%        $0.14    GlobalData Analyst Report (Capital IQ - Manual Entry, 01/10/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/10/2014)
                                                                                                                          RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 01/10/2014)
                                                                                                                          RBC Capital Markets Analyst Report (Eikon - Manual Entry, 01/10/2014)
1/11/2014 Sat                                                                                                             Datacentres.com: CenturyLink will consider acquisitions (News Bites - Private Companies - Factiva,
                                                                                                                          01/11/2014)
1/12/2014 Sun                                                                                                             Telstra Retreats From Struggling Directory Business; Australian Telecom in Deal to Sell 70%
                                                                                                                          Stake in Sensis to U.S. Firm Platinum Equity Retreats From Struggling Directory Business;
                                                                                                                          Australian Telecom in Deal to Sell 70% Stake in Sensis to U.S. Firm (The Wall Street Journal Online -
                                                                                                                          Factiva, 01/12/2014 08:54 PM)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                  Events

1/13/2014 Mon    4,951,794   $30.87      $0.00 -0.48% -1.25%    -0.27%   -1.04%    0.56%      0.75 45.26%         $0.17
1/14/2014 Tue    5,584,896   $30.69      $0.00 -0.58% 1.08%     -0.23%    0.55%   -1.13%     -1.52 13.25%        -$0.35   BUREAU SEEKS COMMENT ON CenturyLink FORBEARANCE, WAIVER PETITIONS (TR
                                                                                                                          Daily - Factiva, 01/14/2014)
                                                                                                                          Corporate News: Corporate Watch (The Wall Street Journal Asia - Factiva, 01/14/2014)
                                                                                                                          NATIONAL -- FCC seeks comment on CenturyLink forbearance, waiver petitions (TR's State
                                                                                                                          NewsWire - Factiva, 01/14/2014)
                                                                                                                          Quintiles Receives Technology Security Award from IDG's CSO Magazine (Business Wire - Factiva,
                                                                                                                          01/14/2014 08:00 AM)
1/15/2014 Wed   11,731,354   $30.53      $0.00 -0.52%   0.52%   1.22%    1.15%    -1.67%     -2.23   2.78% *     -$0.51   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 01/15/2014)

                                                                                                                          NEW MEXICO -- PRC calls for staff response to CenturyLink replacement PAP (TR's State
                                                                                                                          NewsWire - Factiva, 01/15/2014)
                                                                                                                          Wright Investors Service Inc. Analyst Report (Capital IQ - Manual Entry, 01/15/2014)
1/16/2014 Thu    4,404,416   $30.33      $0.00 -0.66% -0.13%    0.55%    0.24%    -0.90%     -1.17 24.42%        -$0.27   MINNESOTA -- Settlement resolves some issues in Qwest marketing complaint (TR's State
                                                                                                                          NewsWire - Factiva, 01/16/2014)
                                                                                                                          Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 01/16/2014)
1/17/2014 Fri    6,213,716   $30.00      $0.00 -1.09% -0.39%    -0.22%   -0.43%   -0.66%     -0.85 39.52%        -$0.20   Denver firm's branding work to be highlighted in AFC, NFC championships (Denver Business
                                                                                                                          Journal Online - Factiva, 01/17/2014)
                                                                                                                          IOWA -- CenturyLink says it has met merger obligation (TR's State NewsWire - Factiva, 01/17/2014)

                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/17/2014)
1/18/2014 Sat
1/19/2014 Sun
1/20/2014 Mon
1/21/2014 Tue    6,060,770   $29.85      $0.00 -0.50%   0.28%   -0.88%   -0.43%   -0.07%     -0.09 93.16%        -$0.02   CALIFORNIA -- Qwest seeks to dismiss some CLECs from discrimination case (TR's State
                                                                                                                          NewsWire - Factiva, 01/21/2014)
                                                                                                                          CenturyLink announces Savvis name change (Telecompaper Americas - Factiva, 01/21/2014)
                                                                                                                          CenturyLink REPORTS SAVVIS NAME CHANGE (TR Daily - Factiva, 01/21/2014)
                                                                                                                          Savvis loses name but keeps growth prospects; Business (St. Louis Post-Dispatch - Factiva,
                                                                                                                          01/21/2014)
                                                                                                                          *CenturyLink Announces Savvis Name Change (Dow Jones Institutional News - Factiva, 01/21/2014
                                                                                                                          09:00 AM)
                                                                                                                          CenturyLink announces Savvis name change (PR Newswire (U.S.) - Factiva, 01/21/2014 09:00 AM)

                                                                                                                          CenturyLink announces Savvis name change (PR Newswire Asia - Factiva, 01/21/2014 09:00 AM)
                                                                                                                          CenturyLink announces Savvis name change (PR Newswire Europe - Factiva, 01/21/2014 09:00 AM)

                                                                                                                          CENTURYLINK ANNOUNCES SAVVIS NAME CHANGE (Press Association National Newswire -
                                                                                                                          Factiva, 01/21/2014 09:00 AM)
                                                                                                                          CenturyLink announces Savvis name change (Canada NewsWire - Factiva, 01/21/2014 09:01 AM)
                                                                                                                          Press Release: CenturyLink announces Savvis name change (Dow Jones Institutional News - Factiva,
                                                                                                                          01/21/2014 09:01 AM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        CenturyLink Renames Data Hosting Segment (Dow Jones Institutional News - Factiva, 01/21/2014
                                                                                                                        09:23 AM)
                                                                                                                        CenturyLink Renames Data Hosting Segment (Dow Jones Institutional News - Factiva, 01/21/2014
                                                                                                                        09:38 AM)
                                                                                                                        Stocks Hitting 52-Week Lows (Benzinga.com - Factiva, 01/21/2014 11:51 AM)
1/22/2014 Wed   4,476,142   $29.50      $0.00 -1.17%   0.07%   -0.72%   -0.46%   -0.71%     -0.92 35.73%       -$0.21   CenturyLink changes SavvisÃ¢â‚¬â„¢ name to CenturyLink Technology Solutions (M2 EquityBites -
                                                                                                                        Factiva, 01/22/2014)
                                                                                                                        CenturyLink renames data hosting segment (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                        01/22/2014)
                                                                                                                        CenturyLink, Inc. CenturyLink to demonstrate Prism TV applications on new LG Smart TV
                                                                                                                        products at the 2014 International Consumer Electronics Show (Electronics Newsweekly - Factiva,
                                                                                                                        01/22/2014)
                                                                                                                        CenturyLink, Inc. CenturyLink to demonstrate Prism TV applications on new LG Smart TV
                                                                                                                        products at the 2014 International Consumer Electronics Show (Telecommunications Weekly -
                                                                                                                        Factiva, 01/22/2014)
                                                                                                                        NEW MEXICO -- PRC staff recommends OK of CenturyLink replacement PAP (TR's State
                                                                                                                        NewsWire - Factiva, 01/22/2014)
                                                                                                                        Savvis is no more as CenturyLink unifies business brands (Total Telecom Plus - Factiva, 01/22/2014)

                                                                                                                        TechFlash: 7 things you need to know 01.22.14 (St. Louis Business Journal Online - Factiva,
                                                                                                                        01/22/2014)
                                                                                                                        CenturyLink Launches Managed Office, a Fully Managed IT Services Solution For Small And
                                                                                                                        Medium-Sized Businesses (PR Newswire (U.S.) - Factiva, 01/22/2014 09:00 AM)
                                                                                                                        Press Release: CenturyLink Launches Managed Office, a Fully Managed IT Services Solution For
                                                                                                                        Small And Medium-Sized Businesses (Dow Jones Institutional News - Factiva, 01/22/2014 09:00 AM)

1/23/2014 Thu   6,166,990   $29.45      $0.00 -0.17% -0.89%    1.65%    0.47%    -0.64%     -0.83 40.73%       -$0.19   1801 California picks up leasing velocity (Denver Business Journal Online - Factiva, 01/23/2014)
                                                                                                                        CenturyLink will sell OP buildings, move 575 jobs to New Century (Kansas City Business Journal
                                                                                                                        Online - Factiva, 01/23/2014)
                                                                                                                        CenturyLink announces name change of Savvis (MarketLine (a Datamonitor Company), Company
                                                                                                                        News - Factiva, 01/23/2014 01:19 AM)
                                                                                                                        Stocks Hitting 52-Week Lows (Benzinga.com - Factiva, 01/23/2014 10:23 AM)
1/24/2014 Fri   6,080,409   $29.15      $0.00 -1.02% -2.09%    0.43%    -1.14%    0.12%      0.15 87.79%       $0.03    CenturyLink making big move within KC area (Wichita Business Journal Online - Factiva,
                                                                                                                        01/24/2014)
                                                                                                                        CenturyLink, Inc. CenturyLink to demonstrate Prism TV applications on new LG Smart TV
                                                                                                                        products at the 2014 International Consumer Electronics Show (Entertainment Newsweekly - Factiva,
                                                                                                                        01/24/2014)
                                                                                                                        Data hosting company Savvis changes name to CenturyLink Technology Solutions (Optical
                                                                                                                        Networks Daily - Factiva, 01/24/2014)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/24/2014)
                                                                                                                        CenturyLink to Participate in Analyst Conferences (PR Newswire (U.S.) - Factiva, 01/24/2014 04:30
                                                                                                                        PM)
1/25/2014 Sat
1/26/2014 Sun                                                                                                           Axion Health Welcomes New Board Member (India Pharma News - Factiva, 01/26/2014)
1/27/2014 Mon   7,468,250   $29.08      $0.00 -0.24% -0.48%    0.46%    -0.08%   -0.17%     -0.22 83.00%       -$0.05



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
1/28/2014 Tue   6,378,807   $28.95      $0.00 -0.45%    0.61%   -0.37%   0.09%    -0.53%      -0.7 48.78%        -$0.16   CenturyLink launches new IT services and communications solution (MarketLine (a Datamonitor
                                                                                                                          Company), Company News - Factiva, 01/28/2014 04:19 AM)
1/29/2014 Wed   7,570,471   $28.59      $0.00 -1.24% -1.01%     0.25%    -0.56%   -0.68%     -0.89 37.66%        -$0.20   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 01/29/2014)

                                                                                                                          CenturyLink enters strategic agreement with IO (Telecompaper Americas - Factiva, 01/29/2014)
                                                                                                                          CenturyLink uses IO technology to open data centers in Phoenix market (Theflyonthewall.com -
                                                                                                                          Factiva, 01/29/2014)
                                                                                                                          NEW MEXICO -- PRC seeks comment on CenturyLink replacement PAP (TR's State NewsWire -
                                                                                                                          Factiva, 01/29/2014)
                                                                                                                          The Executives' Club of Chicago: a Discussion on "CEO as Salesman in Chief" at the Executives'
                                                                                                                          Club of Chicago CEO Breakfast (India Banking News - Factiva, 01/29/2014)
                                                                                                                          CenturyLink Technology Solutions uses IO technology to open multi-megawatt data centers in
                                                                                                                          Phoenix market (Canada NewsWire - Factiva, 01/29/2014 07:59 AM)
                                                                                                                          CenturyLink Technology Solutions uses IO technology to open multi-megawatt data centers in
                                                                                                                          Phoenix market (PR Newswire (U.S.) - Factiva, 01/29/2014 07:59 AM)
                                                                                                                          CenturyLink Technology Solutions uses IO technology to open multi-megawatt data centers in
                                                                                                                          Phoenix market (PR Newswire Asia - Factiva, 01/29/2014 07:59 AM)
                                                                                                                          CenturyLink Technology Solutions uses IO technology to open multi-megawatt data centers in
                                                                                                                          Phoenix market (PR Newswire Europe - Factiva, 01/29/2014 07:59 AM)
                                                                                                                          CENTURYLINK TECHNOLOGY SOLUTIONS USES IO TECHNOLOGY TO OPEN MULTI-
                                                                                                                          MEGAWATT DATA CENTERS IN PHOENIX MARKET (Press Association National Newswire -
                                                                                                                          Factiva, 01/29/2014 07:59 AM)
                                                                                                                          Press Release: CenturyLink Technology Solutions uses IO technology to open multi-megawatt data
                                                                                                                          centers in Phoenix market (Dow Jones Institutional News - Factiva, 01/29/2014 07:59 AM)
                                                                                                                          Press Release: CenturyLink Technology Solutions uses IO technology to open multi-megawatt data
                                                                                                                          centers in Phoenix market (Dow Jones Institutional News - Factiva, 01/29/2014 07:59 AM)
                                                                                                                          *CenturyLink in Pact With IO (Dow Jones Institutional News - Factiva, 01/29/2014 08:00 AM)
                                                                                                                          (PR) CenturyLink Technology Solutions uses IO technology to open multi-megawatt data centers in
                                                                                                                          Phoenix market (PR Newswire (U.S.) - Factiva, 01/29/2014 08:01 AM)
                                                                                                                          Steve McMillan named The Associated Press's news editor for Virginia, West Virginia (Associated
                                                                                                                          Press Newswires - Factiva, 01/29/2014 04:54 PM)
                                                                                                                          FCC to Vote on Scrapping Telecom Landlines (The Wall Street Journal Online - Factiva, 01/29/2014
                                                                                                                          07:05 PM)
                                                                                                                          Steve McMillan named The Associated Press's news editor for Virginia, West Virginia (Associated
                                                                                                                          Press Newswires - Factiva, 01/29/2014 07:19 PM)
1/30/2014 Thu   7,070,543   $29.16      $0.00   1.99%   1.13%   -0.63%   0.26%     1.73%      2.27   2.52% *     $0.50    AP names Va., W.Va. news editor (Charleston Gazette - Factiva, 01/30/2014)
                                                                                                                          CenturyLink Technology Solutions to use IO technology to open data centres in Phoenix, Arizona
                                                                                                                          (M2 EquityBites - Factiva, 01/30/2014)
                                                                                                                          CenturyLink Technology Solutions to use IO technology to open data centres in Phoenix, Arizona
                                                                                                                          (Worldwide Computer Products News - Factiva, 01/30/2014)
                                                                                                                          Corporate News: FCC to Vote on Scrapping Telecom Landlines (The Wall Street Journal - Factiva,
                                                                                                                          01/30/2014)
                                                                                                                          FCC considers cutting telecom landlines (Kansas City Business Journal Online - Factiva, 01/30/2014)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                         FCC considers cutting telecom landlines (Silicon Valley/San Jose Business Journal Online - Factiva,
                                                                                                                         01/30/2014)
                                                                                                                         Moody's withdraws all ratings for Qwest Capital Funding, Inc. (Moody's Investors Service Press
                                                                                                                         Release - Factiva, 01/30/2014)
                                                                                                                         Qwest Communications International Inc. - Company News (NewsTrak Daily - Factiva, 01/30/2014)

                                                                                                                         FCC to Vote on Scrapping Telecom Landlines (Dow Jones Top News & Commentary - Factiva,
                                                                                                                         01/30/2014 12:01 AM)
                                                                                                                         FCC to Vote on Scrapping Telecom Landlines (Dow Jones Top Global Market Stories - Factiva,
                                                                                                                         01/30/2014 12:49 AM)
                                                                                                                         FCC to Vote on Scrapping Telecom Landlines (Dow Jones Top North American Equities Stories -
                                                                                                                         Factiva, 01/30/2014 06:24 AM)
1/31/2014 Fri   6,519,118   $28.86      $0.00 -1.03% -0.65%     0.64%    -0.14%   -0.89%     -1.15 25.38%       -$0.26   CenturyLink Technology Solutions uses IO technology to open Phoenix datacentres (News Bites -
                                                                                                                         Private Companies - Factiva, 01/31/2014)
                                                                                                                         FCC to vote on retiring landlines (SNL Kagan Media & Communications Report - Factiva, 01/31/2014)

                                                                                                                         IO, CenturyLink form pact to bring more data centers to Phoenix (Phoenix Business Journal Online -
                                                                                                                         Factiva, 01/31/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/31/2014)
                                                                                                                         KNJ Selects CenturyLink Technology Solutions For Data Center Colocation Services
                                                                                                                         (EFYtimes.com - Factiva, 01/31/2014)
 2/1/2014 Sat                                                                                                            Datacentres.com: KNJ selects CenturyLink Technology Solutions for colocation (News Bites -
                                                                                                                         Private Companies - Factiva, 02/01/2014)
 2/2/2014 Sun                                                                                                            Telecom-driven employers (Omaha World-Herald - Factiva, 02/02/2014)
 2/3/2014 Mon   6,612,993   $28.13      $0.00 -2.53% -2.28%     -2.18%   -3.01%    0.48%      0.62 53.96%       $0.14    NIRI's Rocky Mountain Chapter Presents: It All Comes Down to Trust (Business Wire - Factiva,
                                                                                                                         02/03/2014 09:00 AM)
 2/4/2014 Tue   5,374,941   $28.09      $0.00 -0.14%    0.77%   0.66%    0.83%    -0.98%     -1.25 21.30%       -$0.27   Brian Wilcove joins Artiman Ventures team (Silicon Valley/San Jose Business Journal Online -
                                                                                                                         Factiva, 02/04/2014)
                                                                                                                         CenturyLink selects IO's Intelligent Control technology platform (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 02/04/2014 04:05 AM)
 2/5/2014 Wed   4,115,641   $28.27      $0.00   0.64% -0.17%    -0.57%   -0.53%    1.17%       1.5 13.74%       $0.33    CenturyLink, Inc. CenturyLink announces Savvis name change (Journal of Engineering - Factiva,
                                                                                                                         02/05/2014)
                                                                                                                         Event Brief of Q4 2013 Level 3 Communications Earnings Conference Call - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 02/05/2014)
                                                                                                                         Q4 2013 Level 3 Communications Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                         02/05/2014)
                                                                                                                         Telephone Communications; Qwest Capital Funding Inc. Files SEC Form 15-12B, Securities
                                                                                                                         Registration Termination [Section 12(B)] (Jan. 21, 2014) (Telecommunications Weekly - Factiva,
                                                                                                                         02/05/2014)
                                                                                                                         UTAH - PSC approves corporate restructuring of CenturyLink affiliates (TR's State NewsWire -
                                                                                                                         Factiva, 02/05/2014)
 2/6/2014 Thu   8,104,686   $28.30      $0.00   0.11%   1.30%   -0.81%   0.35%    -0.24%      -0.3 76.15%       -$0.07   Legal Notice - NOTICE TO THE PUBLIC OF AN APPLICATION BY QWEST
                                                                                                                         COMMUNICATIONS COMPANY, LLC (The Roanoke Times - Factiva, 02/06/2014)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 02/06/2014)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 02/06/2014)
                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 02/06/2014)
                                                                                                                          Health Care Executives Set Sights on Treatment Value (Business Wire - Factiva, 02/06/2014 08:00
                                                                                                                          AM)
                                                                                                                          CenturyLink delivers up to 1 gigabit fiber service for Salt Lake City business customers located in
                                                                                                                          multi-tenant unit office buildings (PR Newswire (U.S.) - Factiva, 02/06/2014 09:00 AM)
                                                                                                                          Press Release: CenturyLink delivers up to 1 gigabit fiber service for Salt Lake City business
                                                                                                                          customers located in multi-tenant unit office buildings (Dow Jones Institutional News - Factiva,
                                                                                                                          02/06/2014 09:00 AM)
 2/7/2014 Fri   4,059,261   $28.79      $0.00   1.73%   1.33%   -0.21%   0.70%     1.03%       1.3 19.47%        $0.29    CenturyLink offers 1-gigabit-per-second fiber service to Salt Lake City biz customers (SNL Kagan
                                                                                                                          Media & Communications Report - Factiva, 02/07/2014)
                                                                                                                          CenturyLinkÃ¢â‚¬â„¢s one gigabit fibre service available for Salt Lake City business customers
                                                                                                                          located in multi-tenant unit office buildings (M2 EquityBites - Factiva, 02/07/2014)
                                                                                                                          CenturyLinkÃ¢â‚¬â„¢s one gigabit fibre service available for Salt Lake City business customers
                                                                                                                          located in multi-tenant unit office buildings (Worldwide Computer Products News - Factiva,
                                                                                                                          02/07/2014)
                                                                                                                          Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 02/07/2014)
                                                                                                                          FORM 8-K: CTI GROUP (HOLDINGS) FILES CURRENT REPORT (US Fed News - Factiva,
                                                                                                                          02/07/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/07/2014)
                                                                                                                          PHONE RULES; CenturyLink seeks Legislature's OK for less regulation (Albuquerque Journal -
                                                                                                                          Factiva, 02/07/2014)
                                                                                                                          The Bank of New York Mellon, as Trustee: Notice of the Underlying Securities Guarantor Ceasing
                                                                                                                          to be a Reporting Company and the Subsequent Trust Termination to the Certificateholders for
                                                                                                                          PreferredPLUS Trust Series QWS-1 (CUSIP No. 740434873)* (India Investment News - Factiva,
                                                                                                                          02/07/2014)
 2/8/2014 Sat
 2/9/2014 Sun                                                                                                             Iowa checks worth nearly $7 million go uncashed (Associated Press Newswires - Factiva, 02/09/2014
                                                                                                                          02:45 PM)
2/10/2014 Mon   4,284,328   $28.93      $0.00   0.49%   0.16%   0.28%    0.19%     0.29%      0.37 71.29%        $0.08    BUREAU SEEKS INPUT ON CenturyLink BID TO SHIFT TO PRICE CAPS (TR Daily - Factiva,
                                                                                                                          02/10/2014)
                                                                                                                          D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 02/10/2014)
                                                                                                                          D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 02/10/2014)
                                                                                                                          FORM 8-K: MERRILL LYNCH DEPOSITOR FILES CURRENT REPORT (US Fed News -
                                                                                                                          Factiva, 02/10/2014)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 02/10/2014)
                                                                                                                          Nearly $7 million in checks go uncashed (The Hawk Eye - Factiva, 02/10/2014)
                                                                                                                          State-issued checks worth nearly $7 million go uncashed (Telegraph Herald - Factiva, 02/10/2014)

                                                                                                                          *Fitch Affirms CenturyLink's IDR at 'BB+'; Outlook Stable (Dow Jones Institutional News - Factiva,
                                                                                                                          02/10/2014 03:42 PM)
                                                                                                                          Fitch Affirms CenturyLink's IDR at 'BB+'; Outlook Stable (Business Wire - Factiva, 02/10/2014
                                                                                                                          04:08 PM)
2/11/2014 Tue   8,416,882   $29.73      $0.00   2.77%   1.11%   0.43%    0.94%     1.83%      2.31   2.28% *     $0.53    BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/11/2014)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]       [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                 Events
                                                                                                                         CenturyLink Reports Salt Lake City Service (Wireless News - Factiva, 02/11/2014)
                                                                                                                         Macquarie Research Analyst Report (Eikon - Manual Entry, 02/11/2014)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 02/11/2014)
                                                                                                                         CenturyLink unveils internet speed of one gigabit per second in Salt Lake City (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 02/11/2014 01:39 AM)
                                                                                                                         UPDATE: Morgan Stanley Reiterates on CenturyLink on 4Q13 Preview (Benzinga.com - Factiva,
                                                                                                                         02/11/2014 10:22 AM)
2/12/2014 Wed   8,307,185   $30.19      $0.00   1.55%   0.02%   0.17%   0.06%     1.48%      1.83   6.97%       $0.44    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 02/12/2014)

                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/12/2014)
                                                                                                                         Breaking Brad (Omaha World-Herald - Factiva, 02/12/2014)
                                                                                                                         Brookfield, Denver leaders celebrate revamped 1801 California tower (Slideshow) (Denver Business
                                                                                                                         Journal Online - Factiva, 02/12/2014)
                                                                                                                         CenturyLink Inc gives Q1, FY 2014 guidance; EPS guidance below analysts' estimates (Reuters
                                                                                                                         Significant Developments - Factiva, 02/12/2014)
                                                                                                                         CenturyLink REPORTS 0.8% QUARTERLY REVENUE DECLINE (TR Daily - Factiva,
                                                                                                                         02/12/2014)
                                                                                                                         CenturyLink upgraded at Macquarie (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         02/12/2014)
                                                                                                                         CenturyLink, Inc. CenturyLink Technology Solutions uses IO technology to open multi-megawatt
                                                                                                                         data centers in Phoenix market (Journal of Engineering - Factiva, 02/12/2014)
                                                                                                                         Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 02/12/2014)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 02/12/2014)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 02/12/2014)
                                                                                                                         Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 02/12/2014)
                                                                                                                         Deutsche Bank Analyst Report (Eikon - Manual Entry, 02/12/2014)
                                                                                                                         Event Brief of Q4 2013 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                                                         Factiva, 02/12/2014)
                                                                                                                         Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 02/12/2014)
                                                                                                                         Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 02/12/2014)
                                                                                                                         Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 02/12/2014)
                                                                                                                         Q4 2013 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                         02/12/2014)
                                                                                                                         Stifel Nicolaus and Company, Incorporated Analyst Report (Eikon - Manual Entry, 02/12/2014)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 02/12/2014)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 02/12/2014)
                                                                                                                         UBS Analyst Report (Capital IQ - Manual Entry, 02/12/2014)
                                                                                                                         UBS Analyst Report (Capital IQ - Manual Entry, 02/12/2014)
                                                                                                                         UBS Analyst Report (Eikon - Manual Entry, 02/12/2014)
                                                                                                                         UBS Analyst Report (Eikon - Manual Entry, 02/12/2014)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 02/12/2014)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 02/12/2014)
                                                                                                                         Analyst Estimates for U.S. Earnings Wednesday (Dow Jones Institutional News - Factiva, 02/12/2014
                                                                                                                         05:55 AM)
                                                                                                                         CenturyLink's Profit Rises Despite Another Revenue Decline; Legacy Businesses Affected by
                                                                                                                         Access-Line Losses, Lower Access Revenue (The Wall Street Journal Online - Factiva, 02/12/2014
                                                                                                                         12:00 PM)
                                                                                                                         CenturyLink 4Q Adj EPS 68c >CTL (Dow Jones Newswires Chinese (English) - Factiva, 02/12/2014
                                                                                                                         04:05 PM)
                                                                                                                         CenturyLink Reports Strong Fourth Quarter 2013 Results (PR Newswire (U.S.) - Factiva, 02/12/2014
                                                                                                                         04:05 PM)
                                                                                                                         CenturyLink's Profit Rises Despite Another Revenue Decline (Dow Jones Institutional News - Factiva,
                                                                                                                         02/12/2014 05:00 PM)
                                                                                                                         CenturyLink's Profit Rises Despite Another Revenue Decline (Dow Jones Institutional News - Factiva,
                                                                                                                         02/12/2014 05:15 PM)
2/13/2014 Thu   12,193,083   $30.77      $0.00   1.92%   0.59%   0.57%   0.71%     1.21%      1.47 14.31%       $0.37    Atlantic Equities Analyst Report (Eikon - Manual Entry, 02/13/2014)
                                                                                                                         BMO Capital Markets Analyst Report (Eikon - Manual Entry, 02/13/2014)
                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/13/2014)
                                                                                                                         CenturyLink Q4'13 profits increase, revenues decline YOY (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 02/13/2014)
                                                                                                                         Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 02/13/2014)
                                                                                                                         Deutsche Bank Analyst Report (Eikon - Manual Entry, 02/13/2014)
                                                                                                                         Fitch Affirms CenturyLink's IDR at 'BB+'; Outlook Stable (Entertainment Close-Up - Factiva,
                                                                                                                         02/13/2014)
                                                                                                                         FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 02/13/2014)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 02/13/2014)
                                                                                                                         JP Morgan Analyst Report (Capital IQ - Manual Entry, 02/13/2014)
                                                                                                                         JP Morgan Analyst Report (Capital IQ - Manual Entry, 02/13/2014)
                                                                                                                         JP Morgan Analyst Report (Eikon - Manual Entry, 02/13/2014)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 02/13/2014)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 02/13/2014)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/13/2014)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/13/2014)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/13/2014)
                                                                                                                         Nomura Analyst Report (Eikon - Manual Entry, 02/13/2014)
                                                                                                                         Quintiles Transnational Holdings Inc issues FY 2014 guidance above analysts' estimates (Reuters
                                                                                                                         Significant Developments - Factiva, 02/13/2014)
                                                                                                                         Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 02/13/2014)
                                                                                                                         Renovated downtown tower shows its power; $58 million remake of 1801 California unveiled (The
                                                                                                                         Denver Post - Factiva, 02/13/2014)
                                                                                                                         Quintiles Reports Fourth Quarter 2013 Results (Business Wire - Factiva, 02/13/2014 06:00 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
                                                                                                                          Quintiles Transnational 4Q EPS 55c >CTL (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                                          02/13/2014 06:00 AM)
                                                                                                                          US HOT STOCKS TO WATCH: CTL (Dow Jones Newswires Chinese (English) - Factiva, 02/13/2014
                                                                                                                          09:20 AM)
                                                                                                                          Morgan Stanley Feels Confident in CenturyLink Following Strong Results Across the Board
                                                                                                                          (Benzinga.com - Factiva, 02/13/2014 09:31 AM)
2/14/2014 Fri   6,944,649   $30.65      $0.00 -0.39%    0.49%   -1.39%   -0.48%    0.09%      0.11 91.48%        $0.03    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/14/2014)
                                                                                                                          Validea Analyst Report (Eikon - Manual Entry, 02/14/2014)
2/15/2014 Sat
2/16/2014 Sun
2/17/2014 Mon                                                                                                             CenturyLink offers one Gbps Internet to area business (Enterprise - Factiva, 02/17/2014)
                                                                                                                          MarketLine Analyst Report (Eikon - Manual Entry, 02/17/2014)
2/18/2014 Tue   5,995,099   $30.95      $0.00   0.98%   0.13%   -1.06%   -0.52%    1.50%      1.85   6.73%       $0.46    CenturyLink Builds Strategic IT Outsourcing Relationship with Procter & Gamble (India Banking
                                                                                                                          News - Factiva, 02/18/2014)
                                                                                                                          CenturyLink enlisted by Procter & Gamble for IT services (Theflyonthewall.com - Factiva,
                                                                                                                          02/18/2014)
                                                                                                                          CenturyLink Updates on Salt Lake City Service (Professional Services Close-Up - Factiva,
                                                                                                                          02/18/2014)
                                                                                                                          CenturyLink, Inc. CenturyLink delivers up to 1 gigabit fiber service for Salt Lake City business
                                                                                                                          customers located in multi-tenant unit office buildings (Information Technology Newsweekly -
                                                                                                                          Factiva, 02/18/2014)
                                                                                                                          CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 02/18/2014)
                                                                                                                          Proctor & Gamble selects CenturyLink IT services (Telecompaper Americas - Factiva, 02/18/2014)

                                                                                                                          Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 02/18/2014)
                                                                                                                          Sadif Analytics Analyst Report (Eikon - Manual Entry, 02/18/2014)
                                                                                                                          CenturyLink reports higher Q4 net income, provides outlook for Q1 (MarketLine (a Datamonitor
                                                                                                                          Company), Company News - Factiva, 02/18/2014 12:58 AM)
                                                                                                                          *CenturyLink in Pact With Procter & Gamble (Dow Jones Institutional News - Factiva, 02/18/2014
                                                                                                                          09:00 AM)
                                                                                                                          CenturyLink builds strategic IT outsourcing relationship with Procter & Gamble (PR Newswire
                                                                                                                          (U.S.) - Factiva, 02/18/2014 09:00 AM)
                                                                                                                          CenturyLink builds strategic IT outsourcing relationship with Procter & Gamble (PR Newswire
                                                                                                                          Asia - Factiva, 02/18/2014 09:00 AM)
                                                                                                                          CenturyLink builds strategic IT outsourcing relationship with Procter & Gamble (PR Newswire
                                                                                                                          Europe - Factiva, 02/18/2014 09:00 AM)
                                                                                                                          CENTURYLINK BUILDS STRATEGIC IT OUTSOURCING RELATIONSHIP WITH
                                                                                                                          PROCTER & GAMBLE (Press Association National Newswire - Factiva, 02/18/2014 09:00 AM)
                                                                                                                          CenturyLink builds strategic IT outsourcing relationship with Procter & Gamble (Canada
                                                                                                                          NewsWire - Factiva, 02/18/2014 09:01 AM)
                                                                                                                          Press Release: CenturyLink builds strategic IT outsourcing relationship with Procter & Gamble
                                                                                                                          (Dow Jones Institutional News - Factiva, 02/18/2014 09:01 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
2/19/2014 Wed   4,886,465   $30.90      $0.00 -0.16% -0.65%     0.94%    -0.01%   -0.15%     -0.18 85.67%       -$0.05   CenturyLink, Inc. CenturyLink delivers up to 1 gigabit fiber service for Salt Lake City business
                                                                                                                         customers located in multi-tenant unit office buildings (Journal of Engineering - Factiva, 02/19/2014)

                                                                                                                         CenturyLinkÃ¢â‚¬â„¢s Technology Solutions division selected by Procter & Gamble to provide IT
                                                                                                                         outsourcing solutions (M2 EquityBites - Factiva, 02/19/2014)
                                                                                                                         CenturyTel, Inc. - Company News (NewsTrak Daily - Factiva, 02/19/2014)
                                                                                                                         Contract Award: Qwest Government Services Wins Federal Contract for Information Technology
                                                                                                                         Services, including Telecommunications Services (US Fed News - Factiva, 02/19/2014)

                                                                                                                         Liberty Interactive unit to make semiannual payment on debentures (SNL Kagan Media &
                                                                                                                         Communications Report - Factiva, 02/19/2014)
                                                                                                                         Qwest Communications International Inc. - Company News (NewsTrak Daily - Factiva, 02/19/2014)

                                                                                                                         CenturyLink Technology Solutions appoints Ras Scollay as Sales Director for Southeast Asia (ACN
                                                                                                                         Newswire - Factiva, 02/19/2014 04:24 AM)
2/20/2014 Thu   3,587,917   $31.12      $0.00   0.71%   0.62%   1.60%    1.23%    -0.52%     -0.63 53.16%       -$0.16   Qwest Communications International Inc. - Company News (NewsTrak Daily - Factiva, 02/20/2014)

2/21/2014 Fri   6,094,501   $31.09      $0.00 -0.10% -0.18%     -1.25%   -0.79%    0.70%      0.84 40.00%       $0.22    For those about to rock: Rock School is salute to Dave SimonÃ¢â‚¬â„¢s family and teaching (St.
                                                                                                                         Louis Business Journal - Factiva, 02/21/2014)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 02/21/2014)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 02/21/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/21/2014)
                                                                                                                         Macquarie Research Analyst Report (Eikon - Manual Entry, 02/21/2014)
                                                                                                                         United States : CENTURYLINK to modify IT services operating method (Mena Report - Factiva,
                                                                                                                         02/21/2014)
                                                                                                                         KPN Reaches Final Agreement on KPNQwest Settlement (Daily Bankruptcy Review - Factiva,
                                                                                                                         02/21/2014 04:52 AM)
                                                                                                                         CenturyLink Files 8K - Entry Into Definitive Agreement >CTL (Dow Jones Institutional News -
                                                                                                                         Factiva, 02/21/2014 03:58 PM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 02/21/2014
                                                                                                                         03:58 PM)
                                                                                                                         CenturyLink offers online tips to reduce computer infections, phishing and to strengthen security
                                                                                                                         (Hispanic PR Wire - Factiva, 02/21/2014 11:54 PM)
2/22/2014 Sat                                                                                                            FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 02/22/2014)
2/23/2014 Sun
2/24/2014 Mon   4,717,215   $31.19      $0.00   0.32%   0.62%   -1.78%   -0.44%    0.76%      0.92 35.86%       $0.24    CenturyLink expands high-speed Internet service to customers in the Roanoke Valley (ENP
                                                                                                                         Newswire - Factiva, 02/24/2014)
                                                                                                                         CenturyLink Inc announces additional $1 bln stock repurchase program; declares quarterly cash
                                                                                                                         dividend (Reuters Significant Developments - Factiva, 02/24/2014)
                                                                                                                         CenturyLink will enhance customer experience with Ericsson service agility (Reuters Significant
                                                                                                                         Developments - Factiva, 02/24/2014)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        CenturyLink will enhance customer experience with Ericsson Service Agility; Ericsson delivers
                                                                                                                        Service Agility based on Service Innovation Framework, a catalog-driven OSS/BSS software suite;
                                                                                                                        Service Agility will enable CenturyLink to quickly deliver new enterprise applications; Significant
                                                                                                                        milestone in EricssonÃ¢â‚¬â„¢s mission to support operators in becoming agile and successfully
                                                                                                                        differentiating themselves in a competitive marketplace (M2 Presswire - Factiva, 02/24/2014)

                                                                                                                        Centurylink, Ericsson to enhance customer experience (Indiainfoline News Service - Factiva,
                                                                                                                        02/24/2014)
                                                                                                                        Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 02/24/2014)
                                                                                                                        Jefferies LLC Analyst Report (Eikon - Manual Entry, 02/24/2014)
                                                                                                                        Moodyâ€™s Analyst Report (Eikon - Manual Entry, 02/24/2014)
                                                                                                                        Moody's changes CenturyLink's outlook to negative after share repurchase announcement
                                                                                                                        (Moody's Investors Service Press Release - Factiva, 02/24/2014)
                                                                                                                        Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 02/24/2014)
                                                                                                                        Morgan Stanley Analyst Report (Eikon - Manual Entry, 02/24/2014)
                                                                                                                        CenturyLink will enhance customer experience with Ericsson Service Agility (Thomson Reuters
                                                                                                                        ONE - Factiva, 02/24/2014 02:40 AM)
                                                                                                                        CenturyLink will enhance customer experience with Ericsson Service Agility (GlobeNewswire -
                                                                                                                        Factiva, 02/24/2014 02:52 AM)
                                                                                                                        *CenturyLink Announces Additional $1 Billion Stock Repurchase Program; Declares Quarterly
                                                                                                                        Cash Dividend >CTL (Dow Jones Institutional News - Factiva, 02/24/2014 08:30 AM)
                                                                                                                        CenturyLink Announces Additional $1 Billion Stock Repurchase Program; Declares Quarterly
                                                                                                                        Cash Dividend (PR Newswire (U.S.) - Factiva, 02/24/2014 08:30 AM)
                                                                                                                        CenturyLink offers online tips to reduce computer infections, phishing and to strengthen security
                                                                                                                        (PR Newswire (U.S.) - Factiva, 02/24/2014 09:00 AM)
                                                                                                                        Press Release: CenturyLink offers online tips to reduce computer infections, phishing and to
                                                                                                                        strengthen security (Dow Jones Institutional News - Factiva, 02/24/2014 09:00 AM)
                                                                                                                        CenturyLink Board Authorizes $1 Billion Buyback Plan (Dow Jones Institutional News - Factiva,
                                                                                                                        02/24/2014 10:24 AM)
2/25/2014 Tue   5,218,198   $31.14      $0.00 -0.16% -0.13%   -0.16%   -0.21%     0.05%      0.06 95.29%       $0.02    CenturyLink announces $1 billion stock buyback (The News-Star - Factiva, 02/25/2014)
                                                                                                                        CenturyLink OKs $1B stock buyback plan (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                        02/25/2014)
                                                                                                                        CenturyLink will enhance customer experience with Ericsson Service Agility (ENP Newswire -
                                                                                                                        Factiva, 02/25/2014)
                                                                                                                        CenturyLinkÃ¢â‚¬â„¢s board approves additional USD1.0bn stock repurchase programme and
                                                                                                                        declares USD0.54 quarterly cash dividend (M2 EquityBites - Factiva, 02/25/2014)
                                                                                                                        CenturyTel, Inc. - Company News (NewsTrak Daily - Factiva, 02/25/2014)
                                                                                                                        Moody's changes outlook on CenturyLink after $1B stock buyback plan (SNL Kagan Media &
                                                                                                                        Communications Report - Factiva, 02/25/2014)
                                                                                                                        Sweden : CenturyLink will enhance customer experience with Ericsson Service Agility (Mena
                                                                                                                        Report - Factiva, 02/25/2014)
                                                                                                                        Procter & Gamble selects CenturyLink for hybrid IT infrastructure services (MarketLine (a
                                                                                                                        Datamonitor Company), Company News - Factiva, 02/25/2014 03:50 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
2/26/2014 Wed   5,624,604   $30.80      $0.00 -1.09%    0.02%   -0.31%   -0.17%   -0.93%     -1.12 26.62%       -$0.29   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 02/26/2014)

                                                                                                                         CenturyLink expands HIS service in Roanoke Valley (MarketLine (a Datamonitor Company),
                                                                                                                         Company News - Factiva, 02/26/2014 06:06 AM)
                                                                                                                         CenturyLink Cloud delivers Hyperscale service for web-scale workloads, big data and cloud-native
                                                                                                                         apps (PR Newswire (U.S.) - Factiva, 02/26/2014 08:01 AM)
                                                                                                                         CenturyLink Cloud delivers Hyperscale service for web-scale workloads, big data and cloud-native
                                                                                                                         apps (PR Newswire Asia - Factiva, 02/26/2014 08:01 AM)
                                                                                                                         CenturyLink Cloud delivers Hyperscale service for web-scale workloads, big data and cloud-native
                                                                                                                         apps (PR Newswire Europe - Factiva, 02/26/2014 08:01 AM)
                                                                                                                         CENTURYLINK CLOUD DELIVERS HYPERSCALE SERVICE FOR WEB-SCALE
                                                                                                                         WORKLOADS, BIG DATA AND CLOUD-NATIVE APPS (Press Association National Newswire -
                                                                                                                         Factiva, 02/26/2014 08:01 AM)
                                                                                                                         Press Release: CenturyLink Cloud delivers Hyperscale service for web-scale workloads, big data
                                                                                                                         and cloud-native apps (Dow Jones Institutional News - Factiva, 02/26/2014 08:01 AM)
                                                                                                                         CenturyLink Cloud delivers Hyperscale service for web-scale workloads, big data and cloud-native
                                                                                                                         apps (Canada NewsWire - Factiva, 02/26/2014 08:02 AM)
                                                                                                                         Press Release: CenturyLink Cloud delivers Hyperscale service for web-scale workloads, big data
                                                                                                                         and cloud-native apps (Dow Jones Institutional News - Factiva, 02/26/2014 08:02 AM)
2/27/2014 Thu   6,072,859   $31.08      $0.00   0.91%   0.51%   1.33%    0.95%    -0.04%     -0.05 96.15%       -$0.01   Contract Award: Qwest Government Services Wins Federal Modification Contract for "3KH
                                                                                                                         VOICE UNLIMITED/FLAT-RATE BUSINESS LINE at FAA RCAG SITE; PRINEVILLE, OR
                                                                                                                         97754" (US Fed News - Factiva, 02/27/2014)
                                                                                                                         Equinix expands cloud ecosystem to EMEA (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         02/27/2014)
                                                                                                                         CenturyLink Files 8K - Changes To Articles >CTL (Dow Jones Institutional News - Factiva,
                                                                                                                         02/27/2014 04:15 PM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 02/27/2014
                                                                                                                         04:15 PM)
2/28/2014 Fri   5,197,792   $31.26      $0.00   0.58%   0.28%   -0.46%   -0.04%    0.62%      0.75 45.39%       $0.19    CenturyLink launches Hyperscale cloud.(NETWORKS) (Fiber Optics Weekly Update - Factiva,
                                                                                                                         02/28/2014)
                                                                                                                         CenturyTel, Inc. - Company News (NewsTrak Daily - Factiva, 02/28/2014)
                                                                                                                         FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 02/28/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/28/2014)
                                                                                                                         Nomura Analyst Report (Eikon - Manual Entry, 02/28/2014)
                                                                                                                         Qwest Communications International Inc. - Company News (NewsTrak Daily - Factiva, 02/28/2014)

                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 02/28/2014)
                                                                                                                         CenturyLink announces availability of Hyperscale service through cloud platform (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 02/28/2014 12:47 AM)
                                                                                                                         On the Day World Recognizes 350m Rare Disease Sufferers, Quintiles Publishes Insights in
                                                                                                                         Tackling the Challenges (Business Wire - Factiva, 02/28/2014 08:00 AM)
 3/1/2014 Sat                                                                                                            Internet users reminded of safety tips (Sauk Valley Newspapers - Factiva, 03/01/2014)




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    [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
   Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                         The Bank of New York Mellon, as Trustee; Notice of the Underlying Securities Guarantor Ceasing
                                                                                                                         to be a Reporting Company and the Subsequent Trust Termination to the Certificateholders for
                                                                                                                         PreferredPLUS Trust Series QWS-1 CUSIP No. 740434873* (Investment Weekly News - Factiva,
                                                                                                                         03/01/2014)
3/2/2014 Sun
3/3/2014 Mon    5,041,610   $31.11      $0.00 -0.48% -0.73%     0.15%    -0.50%    0.02%      0.02 98.18%       $0.01    CenturyLink Cloud Rolls Out Hyperscale Service (Entertainment Close-Up - Factiva, 03/03/2014)
                                                                                                                         Moodyâ€™s Analyst Report (Capital IQ - Manual Entry, 03/03/2014)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/03/2014)
                                                                                                                         Seventh Circuit Holds Attorney Is Bound To $3.54m Class Settlement Fee Agreement He Did Not
                                                                                                                         Sign (Mondaq Business Briefing - Factiva, 03/03/2014)
                                                                                                                         McKay Brothers Delivers Status Update on 2014 US Microwave Roadmap (PR Newswire (U.S.) -
                                                                                                                         Factiva, 03/03/2014 05:00 AM)
                                                                                                                         CenturyLink names Vernon Irvin vice president of sales for small and midsized business customers
                                                                                                                         (PR Newswire (U.S.) - Factiva, 03/03/2014 09:01 AM)
                                                                                                                         Press Release: CenturyLink names Vernon Irvin vice president of sales for small and midsized
                                                                                                                         business customers (Dow Jones Institutional News - Factiva, 03/03/2014 09:01 AM)
3/4/2014 Tue    4,637,747   $31.53      $0.00   1.35%   1.53%   0.10%    1.14%     0.21%      0.25 80.42%       $0.06    Argus Research Corporation Analyst Report (Eikon - Manual Entry, 03/04/2014)
                                                                                                                         BRIEFLY (The Register-Mail - Factiva, 03/04/2014)
                                                                                                                         CenturyLink appoints Vernon Irvin as VP of Sales (M2 EquityBites - Factiva, 03/04/2014)
                                                                                                                         FedRAMP Cloud Security Approval: Look Who Applied (CMP TechWeb - Factiva, 03/04/2014)
                                                                                                                         CenturyLink names new VP of sales within Business Solutions Group (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 03/04/2014 01:35 AM)
                                                                                                                         CORRECTED-Guggenheim Securities hires tech banker from Evercore (Reuters News - Factiva,
                                                                                                                         03/04/2014 05:23 PM)
                                                                                                                         UPDATE 1-Guggenheim Securities hires tech banker from Evercore (Reuters News - Factiva,
                                                                                                                         03/04/2014 05:54 PM)
3/5/2014 Wed   10,214,777   $31.86      $0.00   1.05%   0.01%   -0.60%   -0.29%    1.33%      1.62 10.73%       $0.42    Level 3 Communications at Morgan Stanley Technology, Media & Telecom Conference - Final (CQ
                                                                                                                         FD Disclosure - Factiva, 03/05/2014)
                                                                                                                         CenturyLink, Inc. at Morgan Stanley Technology, Media & Telecom Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 03/05/2014)
                                                                                                                         CenturyLink, Inc. CenturyLink builds strategic IT outsourcing relationship with Procter &
                                                                                                                         Gamble (Journal of Engineering - Factiva, 03/05/2014)
                                                                                                                         Qwest Communications International Inc. "System, Method and Apparatus for Automatic
                                                                                                                         Location-Based Silencing of Wireless Transceivers" in Patent Application Approval Process
                                                                                                                         (Electronics Newsweekly - Factiva, 03/05/2014)
                                                                                                                         Qwest Communications International Inc. "System, Method and Apparatus for Automatic
                                                                                                                         Location-Based Silencing of Wireless Transceivers" in Patent Application Approval Process
                                                                                                                         (Telecommunications Weekly - Factiva, 03/05/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Method and System of Implementing a
                                                                                                                         Radio Network in Unlicensed Spectrum (Telecommunications Weekly - Factiva, 03/05/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Method for Replacing a Network
                                                                                                                         Interface Device (Journal of Engineering - Factiva, 03/05/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Method for Replacing a Network
                                                                                                                         Interface Device (Telecommunications Weekly - Factiva, 03/05/2014)




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                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/05/2014)
 3/6/2014 Thu   6,461,975   $31.19      $0.54 -0.41%    0.19%   0.29%    0.24%    -0.65%     -0.78 43.73%        -$0.21   OREGON - Qwest wins signaling case against North County (TR's State NewsWire - Factiva,
                                                                                                                          03/06/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Method for Replacing a Network
                                                                                                                          Interface Device (Computer Weekly News - Factiva, 03/06/2014)
                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 03/06/2014)
                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 03/06/2014)
 3/7/2014 Fri   4,463,090   $31.32      $0.00   0.42%   0.06%   -0.09%   -0.01%    0.43%      0.52 60.63%        $0.13    CenturyLink VP (TR Daily - Factiva, 03/07/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/07/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Method and System of Implementing a
                                                                                                                          Radio Network in Unlicensed Spectrum (Economics Week - Factiva, 03/07/2014)
 3/8/2014 Sat                                                                                                             Build a Dougie statue.; And donÃ¢â‚¬â„¢t wait. Build it now. ...; The makings of a legend (Omaha
                                                                                                                          World-Herald - Factiva, 03/08/2014)
                                                                                                                          CenturyTel, Inc. - Company News (NewsTrak Daily - Factiva, 03/08/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Method and System of Implementing a
                                                                                                                          Radio Network in Unlicensed Spectrum (Investment Weekly News - Factiva, 03/08/2014)
 3/9/2014 Sun
3/10/2014 Mon   4,681,172   $30.83      $0.00 -1.56% -0.04%     -0.19%   -0.12%   -1.44%     -1.74   8.42%       -$0.45   Level 3 Communications at Deutsche Bank Media, Internet and Telecom Conference - Final (CQ
                                                                                                                          FD Disclosure - Factiva, 03/10/2014)
                                                                                                                          CenturyLink director Virginia Boulet sells (News Bites - People in Business - Factiva, 03/10/2014)

                                                                                                                          CFRA Equity Research Analyst Report (Eikon - Manual Entry, 03/10/2014)
3/11/2014 Tue   4,331,872   $30.69      $0.00 -0.45% -0.50%     -0.36%   -0.55%    0.10%      0.11 90.96%        $0.03    CenturyLink, Inc. at Deutsche Bank Media, Internet and Telecom Conference - Final (CQ FD
                                                                                                                          Disclosure - Factiva, 03/11/2014)
                                                                                                                          PUBLIC NOTICE (Laramie Boomerang - Factiva, 03/11/2014)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/11/2014)
                                                                                                                          Quintiles Honored as 'Best CRO in Asia' for 3(rd) Time in Four Years (Business Wire - Factiva,
                                                                                                                          03/11/2014 10:30 PM)
3/12/2014 Wed   3,206,400   $30.68      $0.00 -0.03%    0.06%   -0.23%   -0.08%    0.05%      0.05 95.71%        $0.01    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 03/12/2014)

                                                                                                                          CenturyLink, Inc. CenturyLink Cloud delivers Hyperscale service for web-scale workloads, big
                                                                                                                          data and cloud-native apps (Journal of Engineering - Factiva, 03/12/2014)
                                                                                                                          Contract Award: Qwest Government Services Wins Federal Modification Contract for
                                                                                                                          "UNLIMITED/FLATRATED BUSINESS LINE SERVICE for FAA ARTCC; MESA CO." (US Fed
                                                                                                                          News - Factiva, 03/12/2014)
                                                                                                                          Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 03/12/2014)
                                                                                                                          MarketLine Analyst Report (Eikon - Manual Entry, 03/12/2014)
                                                                                                                          Qwest Communications International Inc. - Company News (NewsTrak Daily - Factiva, 03/12/2014)

                                                                                                                          Quarterly Dividends and Approved Share Repurchase Programs, Investment Updates, Executive
                                                                                                                          Appointments, and New Facilities - Analyst Notes on Verizon, AT&T, CenturyLink, Windstream,
                                                                                                                          and Frontier (PR Newswire (U.S.) - Factiva, 03/12/2014 08:00 AM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
3/13/2014 Thu   3,516,550   $30.49      $0.00 -0.62% -1.16%     0.42%   -0.68%    0.06%      0.07 94.66%       $0.02    CenturyLink, Inc. CenturyLink offers online tips to reduce computer infections, phishing and to
                                                                                                                        strengthen security (Computer Weekly News - Factiva, 03/13/2014)
                                                                                                                        Qwest Communications International Inc. - Company News (NewsTrak Daily - Factiva, 03/13/2014)

                                                                                                                        Qwest Corporation - Company News (NewsTrak Daily - Factiva, 03/13/2014)
3/14/2014 Fri   4,715,718   $30.62      $0.00   0.43% -0.28%    0.49%   0.00%     0.43%      0.52 60.63%       $0.13    Former Qwest CEO Could Score $18 Million Tax Refund For Forfeited Insider Trading Profits
                                                                                                                        (Forbes.com - Factiva, 03/14/2014)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/14/2014)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 03/14/2014)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 03/14/2014)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 03/14/2014)
                                                                                                                        S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 03/14/2014)
                                                                                                                        S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 03/14/2014)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 03/14/2014)
                                                                                                                        Basho Technologies Names New CEO and CTO (VentureWire - Factiva, 03/14/2014 03:13 PM)
3/15/2014 Sat                                                                                                           CenturyLink, Inc. CenturyLink Announces Additional $1 Billion Stock Repurchase Program;
                                                                                                                        Declares Quarterly Cash Dividend (Investment Weekly News - Factiva, 03/15/2014)
3/16/2014 Sun
3/17/2014 Mon   3,353,245   $30.84      $0.00   0.72%   0.96%   0.27%   0.81%    -0.09%     -0.11 91.19%       -$0.03
3/18/2014 Tue   4,314,222   $31.40      $0.00   1.82%   0.72%   0.14%   0.58%     1.24%      1.49 13.98%        $0.38   Former Qwest CEO's Forfeited Insider Trading Gains May Be Tax Deductible (Accounting Today -
                                                                                                                        Factiva, 03/18/2014)
                                                                                                                        PUBLIC NOTICE (Laramie Boomerang - Factiva, 03/18/2014)
                                                                                                                        FDA Approvals, Definitve Agreements, Prestigious Recognitions, and Stock Summaries - Analyst
                                                                                                                        Notes on Mallinckrodt, Novo Nordisk, Charles River Laboratories, Cerner, and Quintiles (PR
                                                                                                                        Newswire (U.S.) - Factiva, 03/18/2014 08:01 AM)
3/19/2014 Wed   5,326,396   $31.25      $0.00 -0.48% -0.61%     0.01%   -0.46%   -0.02%     -0.03 97.96%       -$0.01   CenturyLink Inc wins Marine Corps Base Quantico contract (Reuters Significant Developments -
                                                                                                                        Factiva, 03/19/2014)
                                                                                                                        CenturyLink, Inc. CenturyLink names Vernon Irvin vice president of sales for small and midsized
                                                                                                                        business customers (Telecommunications Weekly - Factiva, 03/19/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Bandwidth Reservation for
                                                                                                                        Authenticated Applications (Journal of Engineering - Factiva, 03/19/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Bandwidth Reservation for
                                                                                                                        Authenticated Applications (Telecommunications Weekly - Factiva, 03/19/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Systems and Methods for Location
                                                                                                                        Based Image Telegraphy (Electronics Newsweekly - Factiva, 03/19/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Systems and Methods for Location
                                                                                                                        Based Image Telegraphy (Telecommunications Weekly - Factiva, 03/19/2014)
                                                                                                                        CenturyLink wins Marine Corps Base Quantico contract (PR Newswire (U.S.) - Factiva, 03/19/2014
                                                                                                                        09:00 AM)
                                                                                                                        Press Release: CenturyLink wins Marine Corps Base Quantico contract (Dow Jones Institutional
                                                                                                                        News - Factiva, 03/19/2014 09:00 AM)
3/20/2014 Thu   5,199,373   $31.37      $0.00   0.38%   0.61%   2.13%   1.42%    -1.03%     -1.23 22.02%       -$0.32   CenturyLink awarded USD8.5m voice and data network Marine Corps base contract (M2
                                                                                                                        EquityBites - Factiva, 03/20/2014)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]       [11]        [12]                                                   [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                 Events
                                                                                                                          CenturyLink wins $8.5M contract for voice, data services (SNL Kagan Media & Communications
                                                                                                                          Report - Factiva, 03/20/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Systems and Methods for Location
                                                                                                                          Based Image Telegraphy (Computer Weekly News - Factiva, 03/20/2014)
                                                                                                                          CenturyLink wins contract for data network services from US Marine Corps (MarketLine (a
                                                                                                                          Datamonitor Company), Company News - Factiva, 03/20/2014 08:40 AM)
3/21/2014 Fri   10,315,935   $31.34      $0.00 -0.10% -0.29%     0.20%   -0.14%    0.05%      0.05 95.75%        $0.01    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/21/2014)
                                                                                                                          United States : CenturyLink Inc CTL to offer voice, data network and telecommunications
                                                                                                                          infrastructure SERVICES (Mena Report - Factiva, 03/21/2014)
3/22/2014 Sat
3/23/2014 Sun                                                                                                             Want to be a rock star? Dave Simon can teach you how (Upstart Business Journal Online - Factiva,
                                                                                                                          03/23/2014)
3/24/2014 Mon    5,063,542   $31.54      $0.00   0.64% -0.49%    0.65%   -0.09%    0.73%      0.86 38.89%        $0.23    CenturyLink wins Marine Corps Base Quantico contract (ENP Newswire - Factiva, 03/24/2014)
                                                                                                                          Deducting the Costs of a Government Settlement (NYT Blogs - Factiva, 03/24/2014)
3/25/2014 Tue    4,344,756   $31.91      $0.00   1.17%   0.45%   0.25%   0.44%     0.74%      0.87 38.44%        $0.23    CenturyLink to expand data center presence, tech stocks tank: TechFlash 7 things (St. Louis
                                                                                                                          Business Journal Online - Factiva, 03/25/2014)
                                                                                                                          County OKs $105K worth of work at judicial building (The Pueblo Chieftain (MCT) - Factiva,
                                                                                                                          03/25/2014)
                                                                                                                          Deducting Settlements (The New York Times - Factiva, 03/25/2014)
                                                                                                                          Tuesday business briefs March 25 (The Courier-Tribune - Factiva, 03/25/2014)
                                                                                                                          CenturyLink expands global data center presence in eight markets (PR Newswire (U.S.) - Factiva,
                                                                                                                          03/25/2014 09:00 AM)
                                                                                                                          CenturyLink expands global data center presence in eight markets (PR Newswire Asia - Factiva,
                                                                                                                          03/25/2014 09:00 AM)
                                                                                                                          CenturyLink expands global data center presence in eight markets (PR Newswire Europe - Factiva,
                                                                                                                          03/25/2014 09:00 AM)
                                                                                                                          CENTURYLINK EXPANDS GLOBAL DATA CENTER PRESENCE IN EIGHT MARKETS
                                                                                                                          (Press Association National Newswire - Factiva, 03/25/2014 09:00 AM)
                                                                                                                          Press Release: CenturyLink expands global data center presence in eight markets (Dow Jones
                                                                                                                          Institutional News - Factiva, 03/25/2014 09:00 AM)
                                                                                                                          CenturyLink expands global data center presence in eight markets (Canada NewsWire - Factiva,
                                                                                                                          03/25/2014 09:01 AM)
                                                                                                                          Press Release: CenturyLink expands global data center presence in eight markets (Dow Jones
                                                                                                                          Institutional News - Factiva, 03/25/2014 09:01 AM)
                                                                                                                          Health Care Equities Movers and Shakers -- Research on Quintiles Transnational, PerkinElmer,
                                                                                                                          PAREXEL Intl., and Charles River Laboratories Intl. (PR Newswire (U.S.) - Factiva, 03/25/2014
                                                                                                                          10:06 AM)
3/26/2014 Wed    7,412,896   $32.29      $0.00   1.19% -0.70%    0.11%   -0.44%    1.63%      1.93   5.57%       $0.52    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 03/26/2014)

                                                                                                                          BUREAU APPROVES CenturyLink COMPLIANCE PLAN (TR Daily - Factiva, 03/26/2014)
                                                                                                                          CenturyLink expands global data center presence in 8 markets (Optical Networks Daily - Factiva,
                                                                                                                          03/26/2014)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                         CenturyLink Inc wins Defense Information Systems Agency contract (Reuters Significant
                                                                                                                         Developments - Factiva, 03/26/2014)
                                                                                                                         CenturyLink to expand in 8 markets (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         03/26/2014)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 03/26/2014)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 03/26/2014)
                                                                                                                         Quintiles Transnational Holdings announces exercise of underwriters' option to purchase
                                                                                                                         additional secondary shares (Reuters Significant Developments - Factiva, 03/26/2014)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 10-K, Annual Report [Section 13 And
                                                                                                                         15(D), Not S-K Item 405] (Mar. 7, 2014) (Telecommunications Weekly - Factiva, 03/26/2014)
                                                                                                                         CenturyLink wins Defense Information Systems Agency contract (PR Newswire (U.S.) - Factiva,
                                                                                                                         03/26/2014 09:00 AM)
                                                                                                                         Press Release: CenturyLink wins Defense Information Systems Agency contract (Dow Jones
                                                                                                                         Institutional News - Factiva, 03/26/2014 09:00 AM)
                                                                                                                         CenturyLink Schedules First Quarter 2014 Earnings Conference Call (PR Newswire (U.S.) - Factiva,
                                                                                                                         03/26/2014 04:10 PM)
                                                                                                                         Press Release: CenturyLink Schedules First Quarter 2014 Earnings Conference Call (Dow Jones
                                                                                                                         Institutional News - Factiva, 03/26/2014 04:10 PM)
                                                                                                                         Quintiles Announces Exercise of the Underwriters' Option to Purchase Additional Secondary
                                                                                                                         Shares (Business Wire - Factiva, 03/26/2014 04:42 PM)
3/27/2014 Thu   5,043,274   $32.59      $0.00   0.93% -0.17%    1.30%    0.47%     0.46%      0.53 59.51%       $0.15    CenturyLink awarded Defence Information Systems Agency contract with a potential USD1.7m
                                                                                                                         value (M2 EquityBites - Factiva, 03/27/2014)
                                                                                                                         CenturyLink wins Defense Information Systems Agency contract (ENP Newswire - Factiva,
                                                                                                                         03/27/2014)
                                                                                                                         DISA awards contract to CenturyLink (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         03/27/2014)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 03/27/2014)
                                                                                                                         United States : CenturyLink granted DISA a deal contract with a expected value of USD1.7m (Mena
                                                                                                                         Report - Factiva, 03/27/2014)
                                                                                                                         Quintiles Appoints Dr. Stella Blackburn to Lead Global Risk Management for Real-World & Late
                                                                                                                         Phase Research (Business Wire - Factiva, 03/27/2014 08:00 AM)
3/28/2014 Fri   4,094,012   $32.68      $0.00   0.28%   0.47%   -0.36%   0.19%     0.08%       0.1 92.37%       $0.03    CenturyLink announces expansion of global data centre presence in eight markets (M2 EquityBites -
                                                                                                                         Factiva, 03/28/2014)
                                                                                                                         CenturyLink expands global data center presence in eight markets.(NETWORKS) (Fiber Optics
                                                                                                                         Weekly Update - Factiva, 03/28/2014)
                                                                                                                         CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 03/28/2014)
                                                                                                                         CenturyLink wins Defense Information Systems Agency contract.(CONTRACTS) (Fiber Optics
                                                                                                                         Weekly Update - Factiva, 03/28/2014)
                                                                                                                         Former Qwest CEO Nacchio says jail was NSA reprisal (The Denver Post - Factiva, 03/28/2014)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 03/28/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/28/2014)
                                                                                                                         CenturyLink to expand data center presence in eight new markets during 2014 (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 03/28/2014 03:04 AM)




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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         CenturyLink wins $1.7 million contract from DISA (MarketLine (a Datamonitor Company), Company
                                                                                                                         News - Factiva, 03/28/2014 03:22 AM)
                                                                                                                         Scanning Telecommunication Services Equities -- Research on Telefonica Brasil, CenturyLink,
                                                                                                                         CincinnatiBell, and BCE Inc. (PR Newswire (U.S.) - Factiva, 03/28/2014 03:57 AM)
3/29/2014 Sat
3/30/2014 Sun                                                                                                            CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 03/30/2014)
3/31/2014 Mon   5,962,182   $32.84      $0.00   0.49%   0.80%   -0.31%   0.45%     0.04%      0.05 95.94%       $0.01    CenturyLink Sets Date for First Quarter 2014 Earnings Conference Call (Professional Services Close-
                                                                                                                         Up - Factiva, 03/31/2014)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 03/31/2014)
                                                                                                                         SOUTH CAROLINA - PSC approves Qwest, CenturyLink restructuring (TR's State NewsWire -
                                                                                                                         Factiva, 03/31/2014)
 4/1/2014 Tue   6,720,547   $33.08      $0.00   0.73%   0.71%   -0.18%   0.45%     0.28%      0.33 74.27%       $0.09    Clinical Trial Initiation, Executive Appointments, Priced Offering, FDA Clearance, and Upcoming
                                                                                                                         Conferences - Analyst Notes on Cytokinetics, Quintiles, Kindred, Volcano, and Novadaq (PR
                                                                                                                         Newswire (U.S.) - Factiva, 04/01/2014 08:00 AM)
 4/2/2014 Wed   4,334,427   $33.18      $0.00   0.30%   0.30%   0.27%    0.36%    -0.06%     -0.07 94.45%       -$0.02   Acacia Research reaches patent license settlement with CenturyTel and Qwest (Theflyonthewall.com
                                                                                                                         - Factiva, 04/02/2014)
                                                                                                                         Acacia subsidiary enters into settlement and license agreement with CenturyTel Broadband
                                                                                                                         Services and Qwest Corporation (Reuters Significant Developments - Factiva, 04/02/2014)
                                                                                                                         CenturyLink, Inc. CenturyLink wins Marine Corps Base Quantico contract (Journal of Engineering -
                                                                                                                         Factiva, 04/02/2014)
                                                                                                                         CenturyLink, Inc. CenturyLink wins Marine Corps Base Quantico contract (Telecommunications
                                                                                                                         Weekly - Factiva, 04/02/2014)
                                                                                                                         *Acacia Subsidiary Enters Into Settlement And License Agreement With CenturyTel Broadband
                                                                                                                         Services And Qwest Corp (Dow Jones Institutional News - Factiva, 04/02/2014 06:00 AM)

                                                                                                                         Acacia Subsidiary Enters into Settlement and License Agreement with CenturyTel Broadband
                                                                                                                         Services and Qwest Corporation (Business Wire - Factiva, 04/02/2014 06:00 AM)
                                                                                                                         New R&D Facility, Quarterly Dividends, Upcoming Earnings, Expanded Partnerships, and
                                                                                                                         Reduced Communication Rates - Analyst Notes on Verizon, AT&T, CenturyLink, Frontier, and
                                                                                                                         BCE (PR Newswire (U.S.) - Factiva, 04/02/2014 08:01 AM)
 4/3/2014 Thu   5,926,083   $33.49      $0.00   0.93% -0.11%    0.71%    0.21%     0.73%      0.89 37.57%       $0.24    Acacia subsidiary enters settlement, patent license agreement with CenturyTel Broadband Services
                                                                                                                         and Qwest Corp (Dion News Service - Factiva, 04/03/2014)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 04/03/2014)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 04/03/2014)
 4/4/2014 Fri   5,022,768   $33.69      $0.00   0.60% -1.25%    0.60%    -0.52%    1.12%      1.41 16.23%       $0.38    AT&T Inc. (NYSE:T), Corning Inc.orporated (NYSE:GLW), Suncor Energy (NYSE:SU),
                                                                                                                         CenturyLink, Inc. (NYSE:CTL) (Financial Services Monitor Worldwide - Factiva, 04/04/2014)
                                                                                                                         Ex-colleague rejects Nacchio's NSA claim; Former Qwest oÃ¢Ë†Å¾cial says retaliation for denied
                                                                                                                         access didn't happen (The Denver Post - Factiva, 04/04/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/04/2014)
 4/5/2014 Sat
 4/6/2014 Sun
 4/7/2014 Mon   4,694,698   $33.54      $0.00 -0.45% -1.07%     0.70%    -0.33%   -0.12%     -0.15 88.12%       -$0.04   Cloud service provider plays developer card (Business Times Singapore - Factiva, 04/07/2014)
 4/8/2014 Tue   4,382,875   $33.94      $0.00   1.19%   0.41%   0.72%    0.58%     0.62%      0.78 43.53%       $0.21    CenturyLink, Inc. CenturyLink wins Defense Information Systems Agency contract (Information
                                                                                                                         Technology Newsweekly - Factiva, 04/08/2014)




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                                       CASE 0:18-cv-00296-MJD-JFD                               Doc. 191-3               Filed 01/21/20                 Page 261 of 691


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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
 4/9/2014 Wed   7,824,025   $33.80      $0.00 -0.41%    1.10%   -1.43%   0.15%    -0.56%     -0.71 48.03%       -$0.19   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 04/09/2014)

                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 04/09/2014)
                                                                                                                         CenturyLink, Inc. CenturyLink expands global data center presence in eight markets (Journal of
                                                                                                                         Engineering - Factiva, 04/09/2014)
                                                                                                                         CenturyLink, Inc. CenturyLink wins Defense Information Systems Agency contract (Defense &
                                                                                                                         Aerospace Week - Factiva, 04/09/2014)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 04/09/2014)
                                                                                                                         Quintiles' First Quarter 2014 Earnings Call Scheduled for Thursday, May 1(st) (Business Wire -
                                                                                                                         Factiva, 04/09/2014 08:00 AM)
4/10/2014 Thu   5,103,068   $33.43      $0.00 -1.09% -2.09%     1.11%    -0.77%   -0.33%     -0.42 67.74%       -$0.11   WASHINGTON - UTC to launch probe into statewide 911 service outage (TR's State NewsWire -
                                                                                                                         Factiva, 04/10/2014)
4/11/2014 Fri   4,443,069   $33.35      $0.00 -0.24% -0.94%     0.27%    -0.44%    0.20%      0.25 80.33%       $0.07    GlobalData Analyst Report (Capital IQ - Manual Entry, 04/11/2014)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 04/11/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/11/2014)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 04/11/2014)
                                                                                                                         WASHINGTON STATE PROBING 911 OUTAGES (TR Daily - Factiva, 04/11/2014)
4/12/2014 Sat                                                                                                            CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 04/12/2014)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 04/12/2014)
4/13/2014 Sun
4/14/2014 Mon   5,027,993   $33.88      $0.00   1.59%   0.82%   -0.05%   0.55%     1.04%      1.34 18.45%       $0.35    CENTURYLINK INC. PRO BONO (The National Law Journal - Factiva, 04/14/2014)
                                                                                                                         CenturyLink program recycled more than 3.5 million pounds (PR Newswire (U.S.) - Factiva,
                                                                                                                         04/14/2014 08:00 AM)
                                                                                                                         Press Release: CenturyLink program recycled more than 3.5 million pounds (Dow Jones
                                                                                                                         Institutional News - Factiva, 04/14/2014 08:00 AM)
                                                                                                                         CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 04/14/2014 04:33
                                                                                                                         PM)
                                                                                                                         CenturyLink: 4,500 calls failed during 911 outage (Associated Press Newswires - Factiva, 04/14/2014
                                                                                                                         11:00 PM)
4/15/2014 Tue   5,488,825   $34.05      $0.00   0.50%   0.68%   -0.35%   0.34%     0.16%       0.2 84.06%       $0.05    CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 04/15/2014)
                                                                                                                         CenturyLink program recycled more than 3.5 million pounds (ENP Newswire - Factiva, 04/15/2014)

                                                                                                                         CenturyLinkÃ¢â‚¬â„¢s Von Deylen sells 20,000 shares (St. Louis Business Journal Online - Factiva,
                                                                                                                         04/15/2014)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 04/15/2014)
                                                                                                                         Health Care Equities under Review -- Research on PerkinElmer, Quintiles Transnational Holdings,
                                                                                                                         WuXi PharmaTech Cayman, and ICON (PR Newswire (U.S.) - Factiva, 04/15/2014 12:54 PM)

4/16/2014 Wed   4,915,918   $34.74      $0.00   2.03%   1.05%   0.13%    0.79%     1.24%      1.59 11.48%       $0.42    Acacia Research Corporation; Acacia Subsidiary Enters into Settlement and License Agreement
                                                                                                                         with CenturyTel Broadband Services and Qwest Corporation (Journal of Engineering - Factiva,
                                                                                                                         04/16/2014)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
4/17/2014 Thu   4,831,992   $34.43      $0.00 -0.89%    0.14%   0.37%    0.32%    -1.22%     -1.54 12.52%       -$0.42   CenturyLink offer 'Lifeline' to those in need (News Journal, Mansfield, Ohio - Factiva, 04/17/2014)

                                                                                                                         CenturyLink opposes shareholder proposal on equity retention (SNL Kagan Media &
                                                                                                                         Communications Report - Factiva, 04/17/2014)
                                                                                                                         Quintiles Recognized as Industry Leader in Phase II/III Research for Second Year in a Row
                                                                                                                         (Business Wire - Factiva, 04/17/2014 08:00 AM)
4/18/2014 Fri                                                                                                            Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/18/2014)
4/19/2014 Sat                                                                                                            Acacia Research Corporation; Acacia Subsidiary Enters into Settlement and License Agreement
                                                                                                                         with CenturyTel Broadband Services and Qwest Corporation (Investment Weekly News - Factiva,
                                                                                                                         04/19/2014)
4/20/2014 Sun
4/21/2014 Mon   2,181,744   $34.49      $0.00   0.17%   0.38%   0.20%    0.40%    -0.22%     -0.28 78.14%       -$0.08   Awaiting authorization; Companies pursuing JAB authorization (Federal Times - Factiva,
                                                                                                                         04/21/2014)
                                                                                                                         Nomura Analyst Report (Eikon - Manual Entry, 04/21/2014)
4/22/2014 Tue   3,171,599   $34.45      $0.00 -0.12% 0.41%       0.00%    0.33%   -0.45%     -0.56 57.34%       -$0.15
4/23/2014 Wed   5,545,716   $34.61      $0.00 0.46% -0.21%      -2.07%   -0.99%    1.45%      1.83 7.03%         $0.50   CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 04/23/2014)
                                                                                                                         Construction woes ahead for Johnson County (Global Data Point - Factiva, 04/23/2014)
                                                                                                                         Analysts View on Diversified Telecommunication Equities -- Research on CenturyLink, Cincinnati
                                                                                                                         Bell, BCE Inc., and China Unicom Hong Kong (PR Newswire (U.S.) - Factiva, 04/23/2014 12:53 PM)

4/24/2014 Thu   4,216,363   $34.63      $0.00   0.06%   0.17%   -1.88%   -0.55%    0.61%      0.76 45.03%       $0.21    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 04/24/2014)

                                                                                                                         CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 04/24/2014)
                                                                                                                         Quintiles and Biogen Idec Announce Comprehensive Clinical Development Partnership (Business
                                                                                                                         Wire - Factiva, 04/24/2014 08:00 AM)
4/25/2014 Fri   3,758,085   $34.76      $0.00   0.38% -0.81%    0.11%    -0.41%    0.79%      0.98 33.13%       $0.27    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/25/2014)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 04/25/2014)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 04/25/2014)
4/26/2014 Sat
4/27/2014 Sun                                                                                                            BMO Capital Markets Analyst Report (Eikon - Manual Entry, 04/27/2014)
4/28/2014 Mon   4,895,210   $34.64      $0.00 -0.35%    0.33%   1.28%    0.76%    -1.10%     -1.37 17.20%       -$0.38   Benzinga's Top Downgrades (Benzinga.com - Factiva, 04/28/2014 07:52 AM)
                                                                                                                         Scheduled Conferences, Earnings Results, Expansions, and Partnerships - Analyst Notes on AT&T,
                                                                                                                         CenturyLink, Windstream, Frontier Communications and TW Telecom (PR Newswire (U.S.) -
                                                                                                                         Factiva, 04/28/2014 08:01 AM)
                                                                                                                         UPDATE: BMO Capital Downgrades CenturyLink (Benzinga.com - Factiva, 04/28/2014 03:24 PM)
4/29/2014 Tue   3,407,922   $34.80      $0.00   0.46%   0.48%   0.35%    0.50%    -0.03%     -0.04 96.69%       -$0.01   Dish hands over content role (C21 Media - Factiva, 04/29/2014)
                                                                                                                         Dish Network appoints Swain as SVP of programming (ICT Monitor Worldwide - Factiva,
                                                                                                                         04/29/2014)
4/30/2014 Wed   3,440,614   $34.91      $0.00   0.32%   0.30%   0.19%    0.33%    -0.01%     -0.02 98.73%       $0.00    Event Brief of Q1 2014 Level 3 Communications Earnings Conference Call - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 04/30/2014)
                                                                                                                         Jury trial set in Bountiful child porn case (Standard-Examiner (MCT) - Factiva, 04/30/2014)
                                                                                                                         MONTANA -- Hearing slated on CenturyLink waiver petition (TR's State NewsWire - Factiva,
                                                                                                                         04/30/2014)



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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
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                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                       NEW MEXICO -- tw telecom urges PRC to reconsider CenturyLink ruling (TR's State NewsWire -
                                                                                                                       Factiva, 04/30/2014)
                                                                                                                       Q1 2014 Level 3 Communications Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                       04/30/2014)
5/1/2014 Thu   2,702,517   $34.96      $0.00   0.14% -0.01%    0.41%   0.20%    -0.06%     -0.07 94.21%       -$0.02   CenturyLink CASE CITED IN ABRITRATION REPORT (TR Daily - Factiva, 05/01/2014)
                                                                                                                       CenturyLink enters cloud computing price war with major reductions (V3 - Factiva, 05/01/2014)
                                                                                                                       Know Your Audience Through Marketing Science (DMNews - Factiva, 05/01/2014)
                                                                                                                       S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 05/01/2014)
                                                                                                                       S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 05/01/2014)
                                                                                                                       Quintiles Reports First Quarter 2014 Results (Business Wire - Factiva, 05/01/2014 06:00 AM)
                                                                                                                       Quintiles Transnational 1Q EPS 68c >CTL (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                                       05/01/2014 06:00 AM)
5/2/2014 Fri   3,654,508   $34.83      $0.00 -0.37% -0.14%     0.05%   -0.01%   -0.36%     -0.46 64.77%       -$0.13   BUREAU SEEKS INPUT ON BIRCH DEALS (TR Daily - Factiva, 05/02/2014)
                                                                                                                       Centurylink Cuts Prices, Doubles Cloud Capacity (InformationWeek - Factiva, 05/02/2014)
                                                                                                                       CenturyLink, Inc. CenturyLink program recycled more than 3.5 million pounds (Ecology,
                                                                                                                       Environment & Conservation - Factiva, 05/02/2014)
                                                                                                                       FCC's Wheeler wants to eliminate municipal broadband barriers (ICT Monitor Worldwide - Factiva,
                                                                                                                       05/02/2014)
                                                                                                                       INTEGRA TELECOM BOARD (TR Daily - Factiva, 05/02/2014)
                                                                                                                       Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/02/2014)
                                                                                                                       AHRQ Publishes Third Edition of Quintiles-Led Registries User's Guide (Business Wire - Factiva,
                                                                                                                       05/02/2014 08:00 AM)
5/3/2014 Sat
5/4/2014 Sun                                                                                                           Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 05/04/2014)
                                                                                                                       Pearson's Credibility Damaged With FCAT Computer Glitch (The Ledger - Factiva, 05/04/2014)
5/5/2014 Mon   3,302,088   $34.84      $0.00   0.03%   0.19%   0.35%   0.30%    -0.27%     -0.34 73.74%       -$0.09   Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 05/05/2014)
                                                                                                                       Jefferies LLC Analyst Report (Eikon - Manual Entry, 05/05/2014)
                                                                                                                       Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/05/2014)
                                                                                                                       CenturyLink to Participate in Analyst Conferences (PR Newswire (U.S.) - Factiva, 05/05/2014 04:05
                                                                                                                       PM)
                                                                                                                       Press Release: CenturyLink to Participate in Analyst Conferences (Dow Jones Institutional News -
                                                                                                                       Factiva, 05/05/2014 04:05 PM)
5/6/2014 Tue   4,692,085   $34.46      $0.00 -1.09% -0.90%     0.30%   -0.45%   -0.64%     -0.84 40.38%       -$0.22   CENTURYLINK REPORTS DISPOSITION BY PRESIDENT DATA HOSTING OPERATIONS
                                                                                                                       VONDEYLEN (Louisiana) (US Fed News - Factiva, 05/06/2014)
                                                                                                                       CenturyLink to Participate in Analyst Conferences (ENP Newswire - Factiva, 05/06/2014)
                                                                                                                       Energy hub; Kleinfelder consolidates oÃ¢Ë†Å¾ces in CenturyLink Tower downtown to attract
                                                                                                                       younger workers from all corners of the metro area (The Denver Post - Factiva, 05/06/2014)
                                                                                                                       Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/06/2014)
                                                                                                                       Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/06/2014)
                                                                                                                       Quintiles Executive to Present at Bank of America Merrill Lynch 2014 Health Care Conference
                                                                                                                       (Business Wire - Factiva, 05/06/2014 08:00 AM)




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                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
5/7/2014 Wed   6,623,396   $34.65      $0.00   0.55%   0.60%   0.58%   0.65%    -0.10%     -0.13 90.00%       -$0.03   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                       Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 05/07/2014)

                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       CenturyLink Inc gives Q2 2014 guidance in line with analysts' estimates (Reuters Significant
                                                                                                                       Developments - Factiva, 05/07/2014)
                                                                                                                       CenturyLink POSTS 0.6% QUARTERLY REVENUE GROWTH (TR Daily - Factiva, 05/07/2014)
                                                                                                                       CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       Event Brief of Q1 2014 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure -
                                                                                                                       Factiva, 05/07/2014)
                                                                                                                       Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       Jefferies LLC Analyst Report (Eikon - Manual Entry, 05/07/2014)
                                                                                                                       JP Morgan Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       JP Morgan Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 05/07/2014)
                                                                                                                       Q1 2014 CenturyLink, Inc. Earnings Conference Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                       05/07/2014)
                                                                                                                       Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/07/2014)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/07/2014)
                                                                                                                       UBS Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       UBS Analyst Report (Capital IQ - Manual Entry, 05/07/2014)
                                                                                                                       UBS Analyst Report (Eikon - Manual Entry, 05/07/2014)
                                                                                                                       UBS Analyst Report (Eikon - Manual Entry, 05/07/2014)
                                                                                                                       Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/07/2014)
                                                                                                                       Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/07/2014)
                                                                                                                       Analyst Estimates for U.S. Earnings Wednesday (Dow Jones Institutional News - Factiva, 05/07/2014
                                                                                                                       05:55 AM)
                                                                                                                       Press Release: Public-private partnerships help America combat cyberthreats (Dow Jones
                                                                                                                       Institutional News - Factiva, 05/07/2014 01:30 PM)
                                                                                                                       Public-private partnerships help America combat cyberthreats (PR Newswire (U.S.) - Factiva,
                                                                                                                       05/07/2014 01:30 PM)
                                                                                                                       CenturyLink 1Q Adj EPS 66c >CTL (Dow Jones Newswires Chinese (English) - Factiva, 05/07/2014
                                                                                                                       04:05 PM)
                                                                                                                       CenturyLink Reports Strong First Quarter 2014 Results (PR Newswire (U.S.) - Factiva, 05/07/2014
                                                                                                                       04:05 PM)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                             Abnormal
                                                      Market Industry Predicted Abnormal                           Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                Events
                                                                                                                            CenturyLink 1st Quarter Earnings Fall, but Company Reversed Downward Revenue Trend (Dow
                                                                                                                            Jones Institutional News - Factiva, 05/07/2014 04:50 PM)
                                                                                                                            CenturyLink 1st Quarter Earnings Fall, but Company Reversed Downward Revenue (Dow Jones
                                                                                                                            Top News & Commentary - Factiva, 05/07/2014 04:56 PM)
                                                                                                                            CenturyLink 1st Quarter Earnings Fall, but Company Reversed Downward Revenue Trend (Dow
                                                                                                                            Jones Institutional News - Factiva, 05/07/2014 05:05 PM)
 5/8/2014 Thu   21,617,627   $36.86      $0.00   6.38% -0.11%    1.28%    0.36%     6.01%      7.84   0.00% **     $2.08    Level 3 Communications at Jefferies Global Technology, Media & Telecom Conference - Final (CQ
                                                                                                                            FD Disclosure - Factiva, 05/08/2014)
                                                                                                                            Atlantic Equities Analyst Report (Eikon - Manual Entry, 05/08/2014)
                                                                                                                            BMO Capital Markets Analyst Report (Eikon - Manual Entry, 05/08/2014)
                                                                                                                            CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 05/08/2014)
                                                                                                                            CenturyLink Q1 profits decline as revenue flattens (SNL Kagan Media & Communications Report -
                                                                                                                            Factiva, 05/08/2014)
                                                                                                                            CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 05/08/2014)
                                                                                                                            CFRA Equity Research Analyst Report (Eikon - Manual Entry, 05/08/2014)
                                                                                                                            FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 05/08/2014)
                                                                                                                            JP Morgan Analyst Report (Eikon - Manual Entry, 05/08/2014)
                                                                                                                            Macquarie Research Analyst Report (Eikon - Manual Entry, 05/08/2014)
                                                                                                                            Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/08/2014)
                                                                                                                            Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/08/2014)
                                                                                                                            Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/08/2014)
                                                                                                                            Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/08/2014)
                                                                                                                            Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/08/2014)
                                                                                                                            Nomura Analyst Report (Eikon - Manual Entry, 05/08/2014)
                                                                                                                            Fiber network company Zayo taps banks for IPO (Reuters News - Factiva, 05/08/2014 07:34 PM)
 5/9/2014 Fri    7,794,610   $36.56      $0.00 -0.81%    0.17%   0.03%    0.19%    -1.01%     -1.31 19.39%         -$0.37   CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 05/09/2014)
                                                                                                                            Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 05/09/2014)
                                                                                                                            Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/09/2014)
                                                                                                                            Top 4 NYSE Stocks In The Telecom Services-Domestic Industry With The Highest Revenue
                                                                                                                            (Benzinga.com - Factiva, 05/09/2014 04:38 AM)
5/10/2014 Sat
5/11/2014 Sun
5/12/2014 Mon    5,464,724   $36.74      $0.00   0.49%   0.97%   -0.79%   0.48%     0.01%      0.01 99.18%         $0.00    Quintiles Transnational Holdings Inc announces agreement to acquire Encore Health Resources
                                                                                                                            (Reuters Significant Developments - Factiva, 05/12/2014)
                                                                                                                            VIRGINIA -- SCC agrees to eliminate certain CenturyLink merger conditions (TR's State NewsWire
                                                                                                                            - Factiva, 05/12/2014)
                                                                                                                            New Product Launches, Preliminary Results Releases, Stock Price Movements, and Earnings
                                                                                                                            Release Schedules - Analyst Notes on ServiceNow, ARRIS, NetApp, CenturyLink and Palo Alto
                                                                                                                            Networks (PR Newswire (U.S.) - Factiva, 05/12/2014 08:01 AM)
                                                                                                                            Quintiles Announces Agreement to Acquire Encore Health Resources (Business Wire - Factiva,
                                                                                                                            05/12/2014 08:30 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]         [11]        [12]                                                    [13]
                                                             Excess                                              Abnormal
                                                     Market Industry Predicted Abnormal                            Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat      p-Value   Reaction                                                  Events
5/13/2014 Tue   6,557,744   $36.97      $0.00   0.63%   0.07%   -0.82%   -0.14%    0.77%            1 32.13%       $0.28    CenturyLink chief financial officer R. Stewart Ewing Jr. sells 13 May 2014 (News Bites - People in
                                                                                                                            Business - Factiva, 05/13/2014)
                                                                                                                            CenturyLink launches mitigation appliance for DDoS service (Telecompaper Americas - Factiva,
                                                                                                                            05/13/2014)
                                                                                                                            FLORIDA -- Sprint files lawsuit against CenturyLink, FairPoint over billing (TR's State NewsWire -
                                                                                                                            Factiva, 05/13/2014)
                                                                                                                            IOWA -- Sprint files to dismiss claims against Wayland Telephone (TR's State NewsWire - Factiva,
                                                                                                                            05/13/2014)
                                                                                                                            Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 05/13/2014)
                                                                                                                            Sadif Analytics Analyst Report (Eikon - Manual Entry, 05/13/2014)
                                                                                                                            CenturyLink reports lower Q1 net income, provides outlook for Q2 (MarketLine (a Datamonitor
                                                                                                                            Company), Company News - Factiva, 05/13/2014 08:43 AM)
                                                                                                                            CenturyLink announces mitigation appliance option for DDoS Mitigation Service (PR Newswire
                                                                                                                            (U.S.) - Factiva, 05/13/2014 08:59 AM)
                                                                                                                            CenturyLink announces mitigation appliance option for DDoS Mitigation Service (PR Newswire
                                                                                                                            Asia - Factiva, 05/13/2014 08:59 AM)
                                                                                                                            CenturyLink announces mitigation appliance option for DDoS Mitigation Service (PR Newswire
                                                                                                                            Europe - Factiva, 05/13/2014 08:59 AM)
                                                                                                                            CENTURYLINK ANNOUNCES MITIGATION APPLIANCE OPTION FOR DDOS
                                                                                                                            MITIGATION SERVICE (Press Association National Newswire - Factiva, 05/13/2014 08:59 AM)
                                                                                                                            Press Release: CenturyLink announces mitigation appliance option for DDoS Mitigation Service
                                                                                                                            (Dow Jones Institutional News - Factiva, 05/13/2014 08:59 AM)
                                                                                                                            CenturyLink announces mitigation appliance option for DDoS Mitigation Service (Canada
                                                                                                                            NewsWire - Factiva, 05/13/2014 09:00 AM)
                                                                                                                            Press Release: CenturyLink announces mitigation appliance option for DDoS Mitigation Service
                                                                                                                            (Dow Jones Institutional News - Factiva, 05/13/2014 09:00 AM)
5/14/2014 Wed   7,681,031   $37.66      $0.00   1.87% -0.45%    0.70%    -0.06%    1.93%      2.49     1.44% *     $0.71    CenturyLink chief operating officer and executive vice president Puckett Karen A sells 14 May
                                                                                                                            2014 (News Bites - People in Business - Factiva, 05/14/2014)
                                                                                                                            CenturyLink launches mitigation appliance for DDoS service (ICT Monitor Worldwide - Factiva,
                                                                                                                            05/14/2014)
                                                                                                                            MINNESOTA -- CenturyLink nearly satisfies broadband commitment in state (TR's State
                                                                                                                            NewsWire - Factiva, 05/14/2014)
                                                                                                                            Qwest Communications International Inc. Patent Issued for Systems and Methods for Providing
                                                                                                                            Television Signals Using a Network Interface Device (Journal of Engineering - Factiva, 05/14/2014)

                                                                                                                            Qwest Communications International Inc. Patent Issued for Systems and Methods for Providing
                                                                                                                            Television Signals Using a Network Interface Device (Telecommunications Weekly - Factiva,
                                                                                                                            05/14/2014)
                                                                                                                            Health Care Sector Equities Technical Analysis -- Research on CombiMatrix, Quintiles
                                                                                                                            Transnational Holdings, Pfizer, and GW Pharma (PR Newswire (U.S.) - Factiva, 05/14/2014 11:27
                                                                                                                            AM)
5/15/2014 Thu   8,250,336   $37.83      $0.00   0.45% -0.92%    0.74%    -0.31%    0.76%      0.96 33.80%          $0.29    CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 05/15/2014)
                                                                                                                            Qwest Corporation - Company News (NewsTrak Daily - Factiva, 05/15/2014)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Diversified Telecommunication Equities under the Scanner -- Research on AT&T, Verizon
                                                                                                                         Communications, CenturyLink, and BCE Inc. (PR Newswire (U.S.) - Factiva, 05/15/2014 11:14 AM)

5/16/2014 Fri   4,521,544   $38.18      $0.00   0.93%   0.38%   1.20%    0.69%     0.23%      0.29 77.22%       $0.09    CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 05/16/2014)
                                                                                                                         CenturyLink Unveils Mitigation Appliance Option for DDoS Mitigation Service (Wireless News -
                                                                                                                         Factiva, 05/16/2014)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 05/16/2014)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 05/16/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/16/2014)
                                                                                                                         Liberty Interactive unit to pay debenture holders (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 05/16/2014)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/16/2014)
                                                                                                                         NEW MEXICO -- Hearing examiner OKs CenturyLink wire center reclassification (TR's State
                                                                                                                         NewsWire - Factiva, 05/16/2014)
                                                                                                                         FDA Drug Approvals, Board Elections, and Agreed and Completed Acquisitions - Analyst Notes on
                                                                                                                         Quintiles, ICON, Alere, WuXi and Novadaq (PR Newswire (U.S.) - Factiva, 05/16/2014 07:00 AM)

5/17/2014 Sat
5/18/2014 Sun
5/19/2014 Mon   7,759,823   $37.97      $0.00 -0.55%    0.39%   -0.59%   0.18%    -0.73%     -0.92 35.88%       -$0.28   CenturyLink, Inc. at JPMorgan Global Technology, Media and Telecom Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 05/19/2014)
                                                                                                                         Gordon Haskett Analyst Report (Eikon - Manual Entry, 05/19/2014)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 05/19/2014)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/19/2014)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/19/2014)
                                                                                                                         US Patent Issued to Qwest Communications International on May 13 for "User defined location
                                                                                                                         based notification for a mobile communications device systems and methods" (Colorado Inventor)
                                                                                                                         (US Fed News - Factiva, 05/19/2014)
                                                                                                                         Quintiles Executive to Present at Jefferies 2014 Global Healthcare Conference (Business Wire -
                                                                                                                         Factiva, 05/19/2014 08:00 AM)
5/20/2014 Tue   5,862,582   $37.58      $0.00 -1.03% -0.65%     -1.26%   -0.71%   -0.32%     -0.41 68.23%       -$0.12   CenturyLink announces opening of new data centre in Minneapolis-St Paul (FinancialWire - Factiva,
                                                                                                                         05/20/2014)
                                                                                                                         CenturyLink Brings Out Mitigation Appliance Option for DDoS Mitigation Service (Health &
                                                                                                                         Beauty Close-Up - Factiva, 05/20/2014)
                                                                                                                         CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 05/20/2014)
                                                                                                                         Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 05/20/2014)
                                                                                                                         Macquarie Research Analyst Report (Eikon - Manual Entry, 05/20/2014)
                                                                                                                         Innovative Products, Research Reports, Recognitions, and Acquisitions - Analyst Notes on Sprint,
                                                                                                                         CenturyLink, FireEye, Cognizant and Accenture (PR Newswire (U.S.) - Factiva, 05/20/2014 08:50
                                                                                                                         AM)
                                                                                                                         CenturyLink opens new Minneapolis-St. Paul data center (PR Newswire (U.S.) - Factiva, 05/20/2014
                                                                                                                         09:01 AM)
                                                                                                                         Press Release: CenturyLink opens new Minneapolis-St. Paul data center (Dow Jones Institutional
                                                                                                                         News - Factiva, 05/20/2014 09:01 AM)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                Events

                                                                                                                          CenturyLink opens new Minneapolis-St. Paul data center (Canada NewsWire - Factiva, 05/20/2014
                                                                                                                          09:02 AM)
                                                                                                                          Press Release: CenturyLink opens new Minneapolis-St. Paul data center (Dow Jones Institutional
                                                                                                                          News - Factiva, 05/20/2014 09:02 AM)
5/21/2014 Wed   5,438,413   $37.17      $0.00 -1.09%    0.83%   -0.40%   0.53%    -1.63%     -2.09   3.91% *     -$0.61   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 05/21/2014)

                                                                                                                          CenturyLink announces new data centre opening in Minneapolis-St. Paul (FinancialWire - Factiva,
                                                                                                                          05/21/2014)
                                                                                                                          Compass Datacenters and Balfour Beatty Complete First Data Center in Minneapolis Metro Area
                                                                                                                          Despite Mother Nature (India Banking News - Factiva, 05/21/2014)
                                                                                                                          ItÃ¢â‚¬â„¢s Your Business: CenturyLink grants include education foundation in Collier (Naples
                                                                                                                          Daily News - Factiva, 05/21/2014)
                                                                                                                          Jefferies LLC Analyst Report (Eikon - Manual Entry, 05/21/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/21/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/21/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/21/2014)
                                                                                                                          Compass Datacenters And Balfour Beatty Complete First Data Center In Minneapolis Metro Area
                                                                                                                          Despite Mother Nature (PR Newswire (U.S.) - Factiva, 05/21/2014 07:55 AM)
5/22/2014 Thu   5,594,294   $37.15      $0.00 -0.05%    0.25%   0.36%    0.36%    -0.42%     -0.53 60.04%        -$0.15   CenturyLink opens new Minneapolis-St. Paul data center (ENP Newswire - Factiva, 05/22/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/22/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/22/2014)
                                                                                                                          US Patent Issued to Qwest Communications International on May 20 for "System, method, and
                                                                                                                          apparatus for automatic scheduled silencing of wireless transmitters" (Colorado Inventors) (US Fed
                                                                                                                          News - Factiva, 05/22/2014)
5/23/2014 Fri   3,384,959   $37.28      $0.00   0.35%   0.43%   -0.02%   0.36%    -0.01%     -0.01 99.39%        $0.00    CenturyLink opens Minneapolis data center.(NETWORKS) (Fiber Optics Weekly Update - Factiva,
                                                                                                                          05/23/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/23/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/23/2014)
                                                                                                                          Validea Analyst Report (Eikon - Manual Entry, 05/23/2014)
5/24/2014 Sat
5/25/2014 Sun                                                                                                             CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 05/25/2014)
                                                                                                                          Qwest Corporation - Company News (NewsTrak Daily - Factiva, 05/25/2014)
5/26/2014 Mon                                                                                                             Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 05/26/2014)
5/27/2014 Tue   3,685,572   $37.32      $0.00   0.11%   0.60%   -0.65%   0.27%    -0.16%     -0.21 83.62%        -$0.06   CenturyLink Inc. - Company News (NewsTrak Daily - Factiva, 05/27/2014)
                                                                                                                          Compass Datacenters and Balfour Beatty Complete Minneapolis Data Center (Wireless News -
                                                                                                                          Factiva, 05/27/2014)
                                                                                                                          Quintiles CEO Tom Pike to Present at Goldman Sachs 35th Annual Global Healthcare Conference
                                                                                                                          (Business Wire - Factiva, 05/27/2014 08:00 AM)
5/28/2014 Wed   4,083,051   $37.80      $0.00   1.29% -0.10%    0.44%    0.16%     1.12%      1.42 15.70%        $0.42    Level 3 Communications at Cowen Technology, Media & Telecom Conference - Final (CQ FD
                                                                                                                          Disclosure - Factiva, 05/28/2014)
                                                                                                                          Argus Research Corporation Analyst Report (Eikon - Manual Entry, 05/28/2014)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        CenturyLink declares quarterly cash dividend (Reuters Significant Developments - Factiva,
                                                                                                                        05/28/2014)
                                                                                                                        CENTURYLINK REPORTS DISPOSITION BY EXECUTIVE VP HUMAN RESOURCES
                                                                                                                        TREZISE (Louisiana) (US Fed News - Factiva, 05/28/2014)
                                                                                                                        CenturyLink, Inc. CenturyLink announces mitigation appliance option for DDoS Mitigation
                                                                                                                        Service (Journal of Engineering - Factiva, 05/28/2014)
                                                                                                                        KANSAS -- KCC approves CenturyLink price cap update (TR's State NewsWire - Factiva,
                                                                                                                        05/28/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for User Defined Location Based
                                                                                                                        Notification for a Mobile Communications Device Systems and Methods (Journal of Engineering -
                                                                                                                        Factiva, 05/28/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for User Defined Location Based
                                                                                                                        Notification for a Mobile Communications Device Systems and Methods (Telecommunications
                                                                                                                        Weekly - Factiva, 05/28/2014)
                                                                                                                        Unrepentant Joe Nacchio says blame feds, not me (The Denver Post - Factiva, 05/28/2014)
                                                                                                                        CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 05/28/2014 04:48
                                                                                                                        PM)
                                                                                                                        Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                        Factiva, 05/28/2014 04:48 PM)
5/29/2014 Thu   4,049,970   $37.68      $0.00 -0.32%   0.55%   -0.33%   0.35%    -0.67%     -0.84 40.25%       -$0.25   CenturyLinkÃ¢â‚¬â„¢s board declares USD0.54 quarterly cash dividend (FinancialWire - Factiva,
                                                                                                                        05/29/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for User Defined Location Based
                                                                                                                        Notification for a Mobile Communications Device Systems and Methods (Computer Weekly News -
                                                                                                                        Factiva, 05/29/2014)
                                                                                                                        CenturyLink opens new data center in Minneapolis-St. Paul (MarketLine (a Datamonitor Company),
                                                                                                                        Company News - Factiva, 05/29/2014 05:52 AM)
5/30/2014 Fri   3,946,026   $37.67      $0.00 -0.03%   0.19%   0.24%    0.27%    -0.30%     -0.38 70.20%       -$0.11   8 Ways Women Can Reach the Corner Office (Credit Union Times - Factiva, 05/30/2014)
                                                                                                                        CENTURYLINK REPORTS DISPOSITION BY DIRECTOR NICHOLS (Louisiana) (US Fed News
                                                                                                                        - Factiva, 05/30/2014)
                                                                                                                        Compass Datacenters and Balfour Beatty Finish Construction of Minneapolis Data Center
                                                                                                                        (Entertainment Close-Up - Factiva, 05/30/2014)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/30/2014)
                                                                                                                        Dividend Authorizations, Leadership Appointments, and Scheduled Conferences - Analyst Notes on
                                                                                                                        Thermo Fisher, PAREXEL, Quintiles, Alere and PerkinElmer (PR Newswire (U.S.) - Factiva,
                                                                                                                        05/30/2014 05:00 AM)
                                                                                                                        Expansion Plans, Repurchase Programs, New Products and Promotional offers - Analyst Notes on
                                                                                                                        Verizon, JDSU, CenturyLink, T-Mobile and Sprint (PR Newswire (U.S.) - Factiva, 05/30/2014 06:10
                                                                                                                        AM)
                                                                                                                        CenturyLink recognized in Magic Quadrant for Cloud Infrastructure as a Service (PR Newswire
                                                                                                                        (U.S.) - Factiva, 05/30/2014 11:54 AM)
                                                                                                                        CenturyLink recognized in Magic Quadrant for Cloud Infrastructure as a Service (Canada
                                                                                                                        NewsWire - Factiva, 05/30/2014 11:55 AM)
                                                                                                                        Press Release: CenturyLink recognized in Magic Quadrant for Cloud Infrastructure as a Service
                                                                                                                        (Dow Jones Institutional News - Factiva, 05/30/2014 11:55 AM)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                Events
                                                                                                                         CenturyLink recognized in Magic Quadrant for Cloud Infrastructure as a Service (PR Newswire
                                                                                                                         Europe - Factiva, 05/30/2014 12:05 PM)
                                                                                                                         CENTURYLINK RECOGNIZED IN MAGIC QUADRANT FOR CLOUD INFRASTRUCTURE
                                                                                                                         AS A SERVICE (Press Association National Newswire - Factiva, 05/30/2014 12:05 PM)
                                                                                                                         CenturyLink recognized in Magic Quadrant for Cloud Infrastructure as a Service (PR Newswire
                                                                                                                         Asia - Factiva, 05/30/2014 12:16 PM)
5/31/2014 Sat
 6/1/2014 Sun                                                                                                            CenturyLink declares dividend (The News-Star - Factiva, 06/01/2014)
                                                                                                                         Former Qwest CEO Could Qualify for Tax Refund From Forfeited Insider Trading Gain (Journal
                                                                                                                         of Accountancy - Factiva, 06/01/2014)
                                                                                                                         CenturyLink declares dividend (Associated Press Newswires - Factiva, 06/01/2014 09:18 AM)
 6/2/2014 Mon   2,658,269   $37.62      $0.00 -0.13%   0.08%   -0.05%   0.12%    -0.25%     -0.32 75.17%        -$0.09   CenturyLink recognized in Magic Quadrant for Cloud Infrastructure as a Service (ENP Newswire -
                                                                                                                         Factiva, 06/02/2014)
                                                                                                                         BC-LA-MS--Louisiana-Mississippi News Digest,ADVISORY, LA (Associated Press Newswires -
                                                                                                                         Factiva, 06/02/2014 03:02 AM)
                                                                                                                         Quintiles Named to the Fortune 500 (Business Wire - Factiva, 06/02/2014 09:45 AM)
                                                                                                                         CenturyLink Files 8K - Changes Exec Mgmt >CTL (Dow Jones Institutional News - Factiva,
                                                                                                                         06/02/2014 12:36 PM)
                                                                                                                         CenturyLink Files 8K - Changes To Articles >CTL (Dow Jones Institutional News - Factiva,
                                                                                                                         06/02/2014 12:36 PM)
 6/3/2014 Tue   4,630,207   $38.03      $0.00   1.09% -0.03%   -1.02%   -0.27%    1.36%      1.74   8.53%       $0.51    CENTURYLINK REPORTS ACQUISITION BY DIRECTOR BOULET (Louisiana) (US Fed News -
                                                                                                                         Factiva, 06/03/2014)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR BROWN (Louisiana) (US Fed News -
                                                                                                                         Factiva, 06/03/2014)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR GEPHARDT (Louisiana) (US Fed
                                                                                                                         News - Factiva, 06/03/2014)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR MCCRAY (Illinois) (US Fed News -
                                                                                                                         Factiva, 06/03/2014)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR MELVILLE (Louisiana) (US Fed
                                                                                                                         News - Factiva, 06/03/2014)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR NICHOLS (Texas) (US Fed News -
                                                                                                                         Factiva, 06/03/2014)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR OWENS (Louisiana) (US Fed News -
                                                                                                                         Factiva, 06/03/2014)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR ROBERTS (Louisiana) (US Fed
                                                                                                                         News - Factiva, 06/03/2014)
                                                                                                                         CenturyLink, Inc. at Bank of America Merrill Lynch Global Telecom & Media Conference - Final
                                                                                                                         (CQ FD Disclosure - Factiva, 06/03/2014)
                                                                                                                         Compass Datacenters and Balfour Beatty Complete First Data Center in Minneapolis Metro Area
                                                                                                                         Despite Mother Nature 21 May 2014 (News Bites - Private Companies - Factiva, 06/03/2014)
                                                                                                                         FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 06/03/2014)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 06/03/2014)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 06/03/2014)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 06/03/2014)



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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                        *CenturyLink Wins Marine Corps Community Services Headquarters Contract (Dow Jones
                                                                                                                        Institutional News - Factiva, 06/03/2014 09:00 AM)
                                                                                                                        CenturyLink wins Marine Corps Community Services headquarters contract (PR Newswire (U.S.) -
                                                                                                                        Factiva, 06/03/2014 09:00 AM)
                                                                                                                        CenturyLink: Marine Corps contract up to $3.5M (Associated Press Newswires - Factiva, 06/03/2014
                                                                                                                        11:47 AM)
6/4/2014 Wed   3,978,489   $38.03      $0.00   0.00%   0.21%   -0.44%   0.08%    -0.08%      -0.1 92.27%       -$0.03   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 06/04/2014)

                                                                                                                        CENTURYLINK REPORTS ACQUISITION BY DIRECTOR HANKS (Louisiana) (US Fed News -
                                                                                                                        Factiva, 06/04/2014)
                                                                                                                        CENTURYLINK REPORTS ACQUISITION BY DIRECTOR SIEGEL (Louisiana) (US Fed News -
                                                                                                                        Factiva, 06/04/2014)
                                                                                                                        CENTURYLINK REPORTS ACQUISITION BY DIRECTOR ZIMMEL (Louisiana) (US Fed News
                                                                                                                        - Factiva, 06/04/2014)
                                                                                                                        CenturyLink to hold food drive (Bristol Herald Courier - Factiva, 06/04/2014)
                                                                                                                        CenturyLink wins Marine Corps contract (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                        06/04/2014)
                                                                                                                        Compass Datacenters; Compass Datacenters And Balfour Beatty Complete First Data Center In
                                                                                                                        Minneapolis Metro Area Despite Mother Nature (Journal of Engineering - Factiva, 06/04/2014)
                                                                                                                        Garnter Ranks CenturyLink in Magic Quadrant for Cloud Infrastructure as a Service (Wireless
                                                                                                                        News - Factiva, 06/04/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for System, Method, and Apparatus for
                                                                                                                        Automatic Scheduled Silencing of Wireless Transmitters (Electronics Newsweekly - Factiva,
                                                                                                                        06/04/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for System, Method, and Apparatus for
                                                                                                                        Automatic Scheduled Silencing of Wireless Transmitters (Journal of Engineering - Factiva,
                                                                                                                        06/04/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for System, Method, and Apparatus for
                                                                                                                        Automatic Scheduled Silencing of Wireless Transmitters (Telecommunications Weekly - Factiva,
                                                                                                                        06/04/2014)
                                                                                                                        Saturday business briefs 6-7 (The Courier-Tribune - Factiva, 06/04/2014)
6/5/2014 Thu   5,007,248   $37.18      $0.54 -0.82%    0.66%   -0.22%   0.42%    -1.23%     -1.58 11.78%       -$0.47   CENTURYLINK REPORTS DISPOSITION BY EXECUTIVE VP OPERATIONS SUPPORT
                                                                                                                        COLE (Louisiana) (US Fed News - Factiva, 06/05/2014)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 06/05/2014)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 06/05/2014)
                                                                                                                        Quintiles Executive to Present at the 2014 Wells Fargo Healthcare Conference (Business Wire -
                                                                                                                        Factiva, 06/05/2014 08:00 AM)
6/6/2014 Fri   3,785,554   $36.91      $0.00 -0.73%    0.48%   -0.29%   0.27%    -1.00%     -1.29 19.92%       -$0.37   CenturyLink funnels $110K to classrooms for technology projects (Phoenix Business Journal Online -
                                                                                                                        Factiva, 06/06/2014)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/06/2014)
                                                                                                                        Quintiles Honored for IT Innovation, Named to 2014 CIO 100 (Business Wire - Factiva, 06/06/2014
                                                                                                                        08:00 AM)
                                                                                                                        Quintiles Named a Best Workplace in Europe (Business Wire - Factiva, 06/06/2014 08:30 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
 6/7/2014 Sat
 6/8/2014 Sun
 6/9/2014 Mon   3,488,328   $36.87      $0.00 -0.11%    0.10%   0.09%    0.15%    -0.26%     -0.33 73.87%       -$0.10   Fortune finds heroes in Colorado (Denver Business Journal Online - Factiva, 06/09/2014)
                                                                                                                         Clinical Trial Results, Portfolio Sale Completion, Recognitions, and Conference Schedule - Analyst
                                                                                                                         Notes on Medivation, Endo, Quintiles, Pacira and Lannett (PR Newswire (U.S.) - Factiva, 06/09/2014
                                                                                                                         05:10 AM)
                                                                                                                         Quintiles Named 'Overwhelming Leader' in Phase I Market Report (Business Wire - Factiva,
                                                                                                                         06/09/2014 08:00 AM)
6/10/2014 Tue   3,444,107   $36.93      $0.00   0.16% -0.02%    -0.11%   0.02%     0.14%      0.18 85.79%       $0.05    BuySellSignals Research Analyst Report (Eikon - Manual Entry, 06/10/2014)
                                                                                                                         Garnter Names CenturyLink to Magic Quadrant for Cloud Infrastructure as a Service
                                                                                                                         (Entertainment Close-Up - Factiva, 06/10/2014)
                                                                                                                         Quintiles Transnational Holdings Inc and American Physical Therapy Association announces plans
                                                                                                                         to develop new outcomes registry (Reuters Significant Developments - Factiva, 06/10/2014)
                                                                                                                         Quintiles and American Physical Therapy Association Announce Plans to Develop New Outcomes
                                                                                                                         Registry (Business Wire - Factiva, 06/10/2014 08:00 AM)
                                                                                                                         Technical Summary on Life Sciences Tools and Services Stocks -- Research on Agilent
                                                                                                                         Technologies, Thermo Fisher Scientific, PerkinElmer, and Quintiles Transnational Holdings (PR
                                                                                                                         Newswire (U.S.) - Factiva, 06/10/2014 08:01 AM)
6/11/2014 Wed   3,854,123   $36.43      $0.00 -1.35% -0.34%     -0.14%   -0.17%   -1.18%     -1.52 13.11%       -$0.44   Contract Award: Qwest Government Services Wins Federal Contract for "128K ISDN BRI at
                                                                                                                         COLORADO SPRINGS, CO." (US Fed News - Factiva, 06/11/2014)
                                                                                                                         Direct Edge Trading Notice #14-21: BATS / Direct Edge Integration Test And Member
                                                                                                                         Certification Schedule (Exchange News Direct - Factiva, 06/11/2014)
                                                                                                                         Quintiles Transnational Holdings Inc gives FY 2014 EPS guidance - Conference call (Reuters
                                                                                                                         Significant Developments - Factiva, 06/11/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Camera Barrel Mechanism (Journal of
                                                                                                                         Engineering - Factiva, 06/11/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Camera Barrel Mechanism
                                                                                                                         (Telecommunications Weekly - Factiva, 06/11/2014)
                                                                                                                         Seattle, the New Center of a Tech Boom (NYT Blogs - Factiva, 06/11/2014)
                                                                                                                         Wednesday business briefs June 11 (The Courier-Tribune - Factiva, 06/11/2014)
                                                                                                                         CenturyLink to provide virtual private network services to US MCCS (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 06/11/2014 03:38 AM)
6/12/2014 Thu   2,960,166   $36.39      $0.00 -0.11% -0.68%     0.16%    -0.32%    0.21%      0.27 78.75%       $0.08    Level 3 Communications Inc at Morgan Stanley Finance Leveraged Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 06/12/2014)
                                                                                                                         CenturyLink, Inc. at Morgan Stanley Finance Leveraged Conference - Final (CQ FD Disclosure -
                                                                                                                         Factiva, 06/12/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Camera Barrel Mechanism (Computer
                                                                                                                         Weekly News - Factiva, 06/12/2014)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 06/12/2014)
                                                                                                                         Technical Analysis on Diversified Telecommunication Equities -- Research on magicJack VocalTec,
                                                                                                                         CenturyLink, Cincinnati Bell, and BCE Inc. (PR Newswire (U.S.) - Factiva, 06/12/2014 07:49 AM)

6/13/2014 Fri   3,458,077   $36.95      $0.00   1.54%   0.32%   0.38%    0.34%     1.20%      1.56 12.13%       $0.44    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/13/2014)
6/14/2014 Sat
6/15/2014 Sun



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
6/16/2014 Mon   2,710,018   $37.06      $0.00   0.30%   0.08%   0.14%    0.16%     0.14%      0.19 85.33%        $0.05    Level 3 Communications Inc to Acquire tw telecom Inc Conference Call - Final (CQ FD Disclosure -
                                                                                                                          Factiva, 06/16/2014)
                                                                                                                          Event Brief of Level 3 Communications Inc to Acquire tw telecom Inc Conference Call - Final (CQ
                                                                                                                          FD Disclosure - Factiva, 06/16/2014)
6/17/2014 Tue   3,192,739   $36.62      $0.00 -1.19%    0.22%   -0.14%   0.16%    -1.35%      -1.8   7.53%       -$0.50   CenturyLink SAYS ACTIONS TAKEN TO PREVENT ANOTHER 911 OUTAGE (TR Daily -
                                                                                                                          Factiva, 06/17/2014)
                                                                                                                          MarketLine Analyst Report (Eikon - Manual Entry, 06/17/2014)
                                                                                                                          NATIONAL -- CenturyLink says actions taken to prevent another 911 outage (TR's State NewsWire -
                                                                                                                          Factiva, 06/17/2014)
6/18/2014 Wed   2,257,863   $36.93      $0.00   0.85%   0.77%   0.04%    0.53%     0.32%      0.42 67.83%        $0.12    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 06/18/2014)

                                                                                                                          BITAG PLANS REPORT ON INTERNET INTERCONNECTION (TR Daily - Factiva, 06/18/2014)
                                                                                                                          CenturyLink, Inc. CenturyLink recognized in Magic Quadrant for Cloud Infrastructure as a
                                                                                                                          Service (Journal of Engineering - Factiva, 06/18/2014)
                                                                                                                          MarketLine Analyst Report (Eikon - Manual Entry, 06/18/2014)
                                                                                                                          (PR) CenturyLink brings pay-by-the-hour managed services to CenturyLink Cloud platform (PR
                                                                                                                          Newswire (U.S.) - Factiva, 06/18/2014 09:00 AM)
                                                                                                                          CenturyLink brings pay-by-the-hour managed services to CenturyLink Cloud platform (PR
                                                                                                                          Newswire Asia - Factiva, 06/18/2014 09:00 AM)
                                                                                                                          CenturyLink brings pay-by-the-hour managed services to CenturyLink Cloud platform (PR
                                                                                                                          Newswire Europe - Factiva, 06/18/2014 09:00 AM)
                                                                                                                          CENTURYLINK BRINGS PAY-BY-THE-HOUR MANAGED SERVICES TO CENTURYLINK
                                                                                                                          CLOUD PLATFORM (Press Association National Newswire - Factiva, 06/18/2014 09:00 AM)
                                                                                                                          CenturyLink brings pay-by-the-hour managed services to CenturyLink Cloud platform; Self-
                                                                                                                          service, on-demand managed services now paired with cloud utility for increased flexibility (Canada
                                                                                                                          NewsWire - Factiva, 06/18/2014 09:00 AM)
                                                                                                                          Press Release: CenturyLink brings pay-by-the-hour managed services to CenturyLink Cloud
                                                                                                                          platform (Dow Jones Institutional News - Factiva, 06/18/2014 09:00 AM)
                                                                                                                          CenturyLink brings pay-by-the-hour managed services to CenturyLink Cloud platform (Canada
                                                                                                                          NewsWire - Factiva, 06/18/2014 09:01 AM)
                                                                                                                          Press Release: CenturyLink brings pay-by-the-hour managed services to CenturyLink Cloud
                                                                                                                          platform (Dow Jones Institutional News - Factiva, 06/18/2014 09:01 AM)
                                                                                                                          FCC Report on Broadband Speeds: DSL Lags Behind Cable and Fiber; FCC Says Broadband
                                                                                                                          Providers Close to Advertised Speeds Most of the Time (The Wall Street Journal Online - Factiva,
                                                                                                                          06/18/2014 11:27 AM)
                                                                                                                          FCC Report On Broadband Speeds: DSL Lags Behind Cable, Fiber (Dow Jones Top News &
                                                                                                                          Commentary - Factiva, 06/18/2014 01:30 PM)
                                                                                                                          FCC Report on Broadband Speeds: DSL Lags Behind Cable and Fiber (Dow Jones Top North
                                                                                                                          American Equities Stories - Factiva, 06/18/2014 02:04 PM)
                                                                                                                          NYSE New 52-Week Highs And Lows -2- (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                                          06/18/2014 04:23 PM)
                                                                                                                          NYSE New 52-Week Highs And Lows -2- (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                                          06/18/2014 05:39 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
6/19/2014 Thu   2,700,975   $37.29      $0.00   0.97%   0.14%   0.16%    0.19%     0.79%      1.04 30.20%        $0.29    Quintiles and Modern Marketing Concepts collaborate to launch innovative marketing analytics
                                                                                                                          platform (Reuters Significant Developments - Factiva, 06/19/2014)
                                                                                                                          WSJ.D Technology: FCC Finds DSL Speeds Aren't Keeping Up With Cable, Fiber-Optic
                                                                                                                          Broadband (The Wall Street Journal - Factiva, 06/19/2014)
                                                                                                                          Quintiles and Modern Marketing Concepts Collaborate to Launch Innovative Marketing Analytics
                                                                                                                          Platform (Business Wire - Factiva, 06/19/2014 08:00 AM)
6/20/2014 Fri   5,038,562   $36.70      $0.00 -1.58%    0.17%   -0.14%   0.12%    -1.70%     -2.23   2.76% *     -$0.64   IOWA -- CenturyLink urges IUB to dismiss Intrado complaint (TR's State NewsWire - Factiva,
                                                                                                                          06/20/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/20/2014)
                                                                                                                          Pre-market Buzz: BlackBerry Ltd (NASDAQ:BBRY), Juniper Networks (NYSE:JNPR), Coca-Cola
                                                                                                                          Enterprises Inc (NYSE:CCE), CenturyLink (NYSE:CTL), Abraxas Petroleum Corp.
                                                                                                                          (NASDAQ:AXAS) (Energy Monitor Worldwide - Factiva, 06/20/2014)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 06/20/2014)
                                                                                                                          Citigroup: Rackspace Could Be 'Good Fit' For CenturyLink (Benzinga.com - Factiva, 06/20/2014
                                                                                                                          09:05 AM)
6/21/2014 Sat
6/22/2014 Sun
6/23/2014 Mon   2,348,210   $36.73      $0.00   0.08% -0.01%    0.36%    0.15%    -0.06%     -0.08 93.42%        -$0.02   CenturyLink to open data center here (The Arizona Republic - Factiva, 06/23/2014)
                                                                                                                          Qwest Wireless, L.L.C. - Company Overview (GlobalData Company Profiles - Factiva, 06/23/2014)
                                                                                                                          Qwest Wireless, L.L.C. - Key Employees (GlobalData Company Profiles - Factiva, 06/23/2014)
                                                                                                                          Qwest Wireless, L.L.C. - Key Facts (GlobalData Company Profiles - Factiva, 06/23/2014)
                                                                                                                          Qwest Wireless, L.L.C. - Major Products and Services (GlobalData Company Profiles - Factiva,
                                                                                                                          06/23/2014)
                                                                                                                          Quintiles Named a Best IT Workplace by Computerworld (Business Wire - Factiva, 06/23/2014 08:00
                                                                                                                          AM)
6/24/2014 Tue   2,644,880   $36.36      $0.00 -1.01% -0.63%     -0.18%   -0.38%   -0.62%      -0.8 42.55%        -$0.23   Rackspace eyed by another suitor (San Antonio Business Journal Online - Factiva, 06/24/2014)
6/25/2014 Wed   3,883,852   $36.15      $0.00 -0.58%    0.49%   -0.20%   0.28%    -0.86%      -1.1 27.42%        -$0.31   Qwest Communications International Inc. Patent Issued for Content Syndication to Set Top Box
                                                                                                                          through IP Network (Journal of Engineering - Factiva, 06/25/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Content Syndication to Set Top Box
                                                                                                                          through IP Network (Telecommunications Weekly - Factiva, 06/25/2014)
                                                                                                                          Report: CenturyLink likely to bid for Rackspace (SNL Kagan Media & Communications Report -
                                                                                                                          Factiva, 06/25/2014)
                                                                                                                          CenturyLink Schedules Second Quarter 2014 Earnings Conference Call (PR Newswire (U.S.) -
                                                                                                                          Factiva, 06/25/2014 04:21 PM)
                                                                                                                          Press Release: CenturyLink Schedules Second Quarter 2014 Earnings Conference Call (Dow Jones
                                                                                                                          Institutional News - Factiva, 06/25/2014 04:21 PM)
6/26/2014 Thu   2,913,857   $36.16      $0.00   0.03% -0.10%    -0.12%   -0.06%    0.09%      0.11 91.28%        $0.03    CenturyLink Schedules Second Quarter 2014 Earnings Conference Call (ENP Newswire - Factiva,
                                                                                                                          06/26/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Content Syndication to Set Top Box
                                                                                                                          through IP Network (Computer Weekly News - Factiva, 06/26/2014)
                                                                                                                          CenturyLink launches managed services on CenturyLink Cloud platform (MarketLine (a
                                                                                                                          Datamonitor Company), Company News - Factiva, 06/26/2014 04:40 AM)
6/27/2014 Fri   4,245,253   $35.78      $0.00 -1.05%    0.20%   0.21%    0.22%    -1.27%     -1.62 10.78%        -$0.46   Glen F. Post of CenturyLink in top quartile of NYSE CEO Scorecard for past quarter (News Bites -
                                                                                                                          People in Business - Factiva, 06/27/2014)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
6/28/2014 Sat
6/29/2014 Sun
6/30/2014 Mon   2,820,478   $36.20      $0.00   1.17% -0.03%    -0.37%   -0.10%    1.27%      1.61 11.01%       $0.46    NEW MEXICO -- PRC OKs CenturyLink wire center reclassification (TR's State NewsWire -
                                                                                                                         Factiva, 06/30/2014)
                                                                                                                         New Laws, Pricing of Offering, Recognitions, Donations, and Upcoming Conference Calls - Analyst
                                                                                                                         Notes on Hospira, Prothena, Quintiles, Sirona and Covance (PR Newswire (U.S.) - Factiva,
                                                                                                                         06/30/2014 05:40 AM)
                                                                                                                         Quintiles' Second Quarter 2014 Earnings Call Scheduled for Thursday, July 31(st) (Business Wire -
                                                                                                                         Factiva, 06/30/2014 08:00 AM)
                                                                                                                         Frost & Sullivan Recognizes NetCracker as BSS Leader in 2014 Asia Pacific ICT Awards (Business
                                                                                                                         Wire - Factiva, 06/30/2014 09:00 PM)
                                                                                                                         NetCracker Wins Frost & Sullivan's OSS Leadership in Asia Pacific ICT Award (Business Wire -
                                                                                                                         Factiva, 06/30/2014 09:00 PM)
 7/1/2014 Tue   2,351,079   $36.32      $0.00   0.33%   0.69%   0.16%    0.51%    -0.17%     -0.22 82.58%       -$0.06   Quintiles Transnational Holdings Inc completes acquisition of Encore Health Resources (Reuters
                                                                                                                         Significant Developments - Factiva, 07/01/2014)
                                                                                                                         Frost & Sullivan Recognizes NetCracker as BSS Leader in 2014 Asia Pacific ICT Awards (Business
                                                                                                                         Wire - Factiva, 07/01/2014 09:00 AM)
                                                                                                                         NetCracker Wins Frost & Sullivan's OSS Leadership in Asia Pacific ICT Award (Business Wire -
                                                                                                                         Factiva, 07/01/2014 09:00 AM)
                                                                                                                         Quintiles Completes Acquisition of Encore Health Resources (Business Wire - Factiva, 07/01/2014
                                                                                                                         04:15 PM)
 7/2/2014 Wed   4,105,462   $35.94      $0.00 -1.05%    0.07%   0.48%    0.24%    -1.28%     -1.62 10.77%       -$0.47   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 07/02/2014)

                                                                                                                         CenturyLink, Inc. CenturyLink brings pay-by-the-hour managed services to CenturyLink Cloud
                                                                                                                         platform (Journal of Engineering - Factiva, 07/02/2014)
                                                                                                                         Hewlett-Packard (HP) may acquire Rackspace (MarketLine (a Datamonitor Company), Financial
                                                                                                                         Deals Tracker - Factiva, 07/02/2014)
                                                                                                                         INTRADO SAYS SOME 911 ISSUES UNAVOIDABLE, VOWS TO WORK WITH PSAPs (TR
                                                                                                                         Daily - Factiva, 07/02/2014)
                                                                                                                         Peter C. Brown starts sixth year as CenturyLink Director 01 July 2014 (News Bites - People in
                                                                                                                         Business - Factiva, 07/02/2014)
                                                                                                                         Rackspace buyout hopes dwindle (SNL Kagan Media & Communications Report - Factiva, 07/02/2014)

                                                                                                                         Richard A. Gephardt starts sixth year as CenturyLink Director 01 July 2014 (News Bites - People in
                                                                                                                         Business - Factiva, 07/02/2014)
                                                                                                                         Trademarks; An Application for the Trademark "PREFERREDCHOICE" Has Been Filed by
                                                                                                                         Qwest Communications International (Telecommunications Weekly - Factiva, 07/02/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "ONE PAGE
                                                                                                                         DIRECT" Filed (Telecommunications Weekly - Factiva, 07/02/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                         BUSINESS SOLUTIONS" Filed (Telecommunications Weekly - Factiva, 07/02/2014)
                                                                                                                         Trademarks; Trademark Application for "ONLINE CALL ALERT" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 07/02/2014)
                                                                                                                         Trademarks; Trademark Application for "SMARTSET" Filed by Qwest Communications
                                                                                                                         International (Telecommunications Weekly - Factiva, 07/02/2014)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                   [13]
                                                            Excess                                            Abnormal
                                                    Market Industry Predicted Abnormal                          Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events

                                                                                                                         William A. Owens starts sixth year as CenturyLink Chairman 01 July 2014 (News Bites - People in
                                                                                                                         Business - Factiva, 07/02/2014)
                                                                                                                         UPDATE 1-Fiber network company Zayo Group files for IPO (Reuters News - Factiva, 07/02/2014
                                                                                                                         05:44 PM)
7/3/2014 Thu   2,071,595   $36.08      $0.00   0.39%   0.55%   -0.06%   0.36%     0.03%      0.04 96.84%        $0.01    CenturyLink may acquire Rackspace (MarketLine (a Datamonitor Company), Financial Deals Tracker -
                                                                                                                         Factiva, 07/03/2014)
                                                                                                                         Cisco Systems may acquire Rackspace (MarketLine (a Datamonitor Company), Financial Deals Tracker
                                                                                                                         - Factiva, 07/03/2014)
                                                                                                                         Dell may acquire Rackspace (MarketLine (a Datamonitor Company), Financial Deals Tracker - Factiva,
                                                                                                                         07/03/2014)
                                                                                                                         EMC may acquire Rackspace (MarketLine (a Datamonitor Company), Financial Deals Tracker -
                                                                                                                         Factiva, 07/03/2014)
                                                                                                                         International Business (IBM) may acquire Rackspace (MarketLine (a Datamonitor Company),
                                                                                                                         Financial Deals Tracker - Factiva, 07/03/2014)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 07/03/2014)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 07/03/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                         BUSINESS SOLUTIONS" Filed (Computer Weekly News - Factiva, 07/03/2014)
                                                                                                                         Zayo Group files for IPO Ã¢â‚¬â€œ Reuters (PeHUB - Factiva, 07/03/2014)
                                                                                                                         Software Releases, Quarterly Dividends, and Upcoming Financial Results - Analyst Notes on
                                                                                                                         Verizon, AT&T, CenturyLink, Frontier and Windstream (PR Newswire (U.S.) - Factiva, 07/03/2014
                                                                                                                         06:40 AM)
7/4/2014 Fri                                                                                                             Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/04/2014)
7/5/2014 Sat
7/6/2014 Sun
7/7/2014 Mon   2,077,144   $36.12      $0.00   0.11% -0.39%    0.51%    -0.06%    0.17%      0.21 83.37%        $0.06    IOWA -- IUB allows E911 boards to intervene in Intrado-CenturyLink dispute (TR's State
                                                                                                                         NewsWire - Factiva, 07/07/2014)
7/8/2014 Tue   3,767,060   $36.50      $0.00   1.05% -0.68%    -0.03%   -0.37%    1.42%      1.79   7.61%       $0.51    GlobalData Analyst Report (Capital IQ - Manual Entry, 07/08/2014)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 07/08/2014)
                                                                                                                         PARTIES DEBATE MARKET DEFINITION FOR CenturyLink ENTERPRISE BROADBAND
                                                                                                                         SERVICES (TR Daily - Factiva, 07/08/2014)
7/9/2014 Wed   4,921,591   $36.59      $0.00   0.25%   0.47%   -0.02%   0.34%    -0.10%     -0.12 90.48%        -$0.03   COLORADO -- PUC slates prehearing on CenturyLink declaration petition (TR's State NewsWire -
                                                                                                                         Factiva, 07/09/2014)
                                                                                                                         Frustrated with slow speeds, Santa Fe launches muni broadband project (ICT Monitor Worldwide -
                                                                                                                         Factiva, 07/09/2014)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 07/09/2014)
                                                                                                                         Trademarks; An Application for the Trademark "PREFERREDCHOICE" Has Been Filed by
                                                                                                                         Qwest Communications International (Telecommunications Weekly - Factiva, 07/09/2014)
                                                                                                                         Trademarks; An Application for the Trademark "SMARTSET" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 07/09/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                         FIELD" Filed (Telecommunications Weekly - Factiva, 07/09/2014)
                                                                                                                         Trademarks; Trademark Application for "ONLINE CALL ALERT" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 07/09/2014)



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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                        Trademarks; Trademark Application for "QWEST HOME NETWORKING" Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 07/09/2014)
7/10/2014 Thu   3,474,103   $36.78      $0.00   0.52% -0.41%    1.09%   0.12%     0.40%      0.51 61.10%       $0.15    CenturyLink Inc wins 10-year NIH colocation contract (Reuters Significant Developments - Factiva,
                                                                                                                        07/10/2014)
                                                                                                                        CenturyLink WINS CONTRACT WITH NIH (TR Daily - Factiva, 07/10/2014)
                                                                                                                        Contract Award: Centurytel Of Michigan Wins Federal Modification Contract for
                                                                                                                        "COMMERCIAL BUSINESS LINE in NEWPORT, MI 48166" (US Fed News - Factiva, 07/10/2014)

                                                                                                                        SOUTH DAKOTA -- PUC OKs CenturyLink additions to wire center list (TR's State NewsWire -
                                                                                                                        Factiva, 07/10/2014)
                                                                                                                        Trademarks; Trademark Application for "QWEST HOME NETWORKING" Filed by Qwest
                                                                                                                        Communications International (Computer Weekly News - Factiva, 07/10/2014)
                                                                                                                        CenturyLink wins 10-year NIH colocation contract (PR Newswire (U.S.) - Factiva, 07/10/2014 09:00
                                                                                                                        AM)
                                                                                                                        Press Release: CenturyLink wins 10-year NIH colocation contract (Dow Jones Institutional News -
                                                                                                                        Factiva, 07/10/2014 09:00 AM)
7/11/2014 Fri   1,672,723   $36.77      $0.00 -0.03%    0.16%   0.68%   0.38%    -0.40%     -0.51 60.86%       -$0.15   CenturyLink awarded 10-year colocation contract by National Institutes of Health (FinancialWire -
                                                                                                                        Factiva, 07/11/2014)
                                                                                                                        CenturyLink inks colocation contract with National Institutes of Health (SNL Kagan Media &
                                                                                                                        Communications Report - Factiva, 07/11/2014)
                                                                                                                        CenturyLink wins 10-year NIH colocation contract (Dion News Service - Factiva, 07/11/2014)
                                                                                                                        CenturyLink wins 10-year NIH colocation contract (ENP Newswire - Factiva, 07/11/2014)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/11/2014)
                                                                                                                        Provide colocation, network connectivity and disaster recovery services (Mena Report - Factiva,
                                                                                                                        07/11/2014)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                        FIELD" Filed (Entertainment Newsweekly - Factiva, 07/11/2014)
7/12/2014 Sat
7/13/2014 Sun
7/14/2014 Mon   2,284,000   $36.89      $0.00   0.33%   0.48%   0.04%   0.39%    -0.06%     -0.08 93.55%       -$0.02   CenturyLink wins 10-year NIH colocation contract (Internet Business News - Factiva, 07/14/2014)

                                                                                                                        Netflix Won't Back Down In Claiming Verizon Delivers Slow Speeds (Benzinga.com - Factiva,
                                                                                                                        07/14/2014 12:44 PM)
7/15/2014 Tue   4,163,555   $36.99      $0.00   0.27% -0.19%    0.78%   0.19%     0.08%      0.11 91.54%       $0.03    BuySellSignals Research Analyst Report (Eikon - Manual Entry, 07/15/2014)
                                                                                                                        Parties Debate Enterprise Broadband Market (Telecommunications Reports - Factiva, 07/15/2014)

                                                                                                                        (PR) CenturyLink recognized as leader in Magic Quadrant for Cloud-Enabled Managed Hosting,
                                                                                                                        Europe (PR Newswire (U.S.) - Factiva, 07/15/2014 03:29 AM)
                                                                                                                        CenturyLink recognized as leader in Magic Quadrant for Cloud-Enabled Managed Hosting,
                                                                                                                        Europe (Canada NewsWire - Factiva, 07/15/2014 03:29 AM)
                                                                                                                        CenturyLink recognized as leader in Magic Quadrant for Cloud-Enabled Managed Hosting,
                                                                                                                        Europe (PR Newswire Europe - Factiva, 07/15/2014 03:29 AM)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                         CENTURYLINK RECOGNIZED AS LEADER IN MAGIC QUADRANT FOR CLOUD-
                                                                                                                         ENABLED MANAGED HOSTING, EUROPE (Press Association National Newswire - Factiva,
                                                                                                                         07/15/2014 03:29 AM)
                                                                                                                         Press Release: CenturyLink recognized as leader in Magic Quadrant for Cloud-Enabled Managed
                                                                                                                         Hosting, Europe (Dow Jones Institutional News - Factiva, 07/15/2014 03:29 AM)
7/16/2014 Wed   4,220,308   $37.12      $0.00   0.35%   0.43%   0.29%    0.44%    -0.08%     -0.11 91.30%       -$0.03   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 07/16/2014)

                                                                                                                         CenturyLink recognized as leader in Magic Quadrant for Cloud-Enabled Managed Hosting,
                                                                                                                         Europe (ENP Newswire - Factiva, 07/16/2014)
                                                                                                                         FCC PROMISES TO HOLD 911 PROVIDERS ACCOUNTABLE FOR OUTAGES (TR Daily -
                                                                                                                         Factiva, 07/16/2014)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 07/16/2014)
                                                                                                                         NATIONAL -- Simpson: FCC will hold 911 providers accountable for outages (TR's State NewsWire
                                                                                                                         - Factiva, 07/16/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "FAXLINE"
                                                                                                                         Filed (Telecommunications Weekly - Factiva, 07/16/2014)
                                                                                                                         Trademarks; Trademark Application for "QWEST GATE" Filed by Qwest Communications
                                                                                                                         International (Telecommunications Weekly - Factiva, 07/16/2014)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 07/16/2014)
                                                                                                                         CenturyLink receives 10-year contract from NIH to provide colocation services (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 07/16/2014 05:22 AM)
7/17/2014 Thu   1,906,272   $36.72      $0.00 -1.08% -1.17%     -0.40%   -0.69%   -0.38%      -0.5 62.04%       -$0.14
7/18/2014 Fri   2,058,629   $36.95      $0.00 0.63% 1.03%       -0.04%    0.71%   -0.08%     -0.11 91.35%       -$0.03   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/18/2014)
                                                                                                                         Telecommunication Services Stocks under Review -- CenturyLink, BCE Inc., Cincinnati Bell,
                                                                                                                         VimpelCom, and Mobile Telesystems (PR Newswire (U.S.) - Factiva, 07/18/2014 08:00 AM)
                                                                                                                         Identiv appoints new director (MarketLine (a Datamonitor Company), Company News - Factiva,
                                                                                                                         07/18/2014 08:17 AM)
7/19/2014 Sat                                                                                                            Phone company donates food (Sauk Valley Newspapers - Factiva, 07/19/2014)
                                                                                                                         Will Santa Fe Strategy Be a Message to Munis? (ICT Monitor Worldwide - Factiva, 07/19/2014)
7/20/2014 Sun
7/21/2014 Mon   3,000,413   $37.02      $0.00   0.19% -0.23%    -0.18%   -0.08%    0.27%      0.35 72.50%       $0.10    OPEN INTERNET COMMENTS CONTINUE: NARUC, L.A., CHARTER, CTL, FRONTIER (TR
                                                                                                                         Daily - Factiva, 07/21/2014)
                                                                                                                         Quintiles Named Britain's Healthiest Large Workplace (Business Wire - Factiva, 07/21/2014 08:00
                                                                                                                         AM)
7/22/2014 Tue   2,846,177   $37.31      $0.00   0.78%   0.50%   -0.03%   0.41%     0.38%      0.49 62.62%       $0.14    CenturyLink, Inc. CenturyLink wins 10-year NIH colocation contract (Information Technology
                                                                                                                         Newsweekly - Factiva, 07/22/2014)
                                                                                                                         COLORADO -- Comcast, TWC urge PUC to approve merger without hearing (TR's State NewsWire
                                                                                                                         - Factiva, 07/22/2014)
                                                                                                                         FSF URGES FCC TO GRANT CenturyLink FORBEARANCE (TR Daily - Factiva, 07/22/2014)
                                                                                                                         Identiv appoints new director (MarketLine (a Datamonitor Company), Company News - Factiva,
                                                                                                                         07/22/2014 09:35 AM)
7/23/2014 Wed   3,176,761   $37.57      $0.00   0.70%   0.18%   -0.27%   0.16%     0.54%       0.7 48.25%       $0.20    CenturyLink, Inc. CenturyLink wins 10-year NIH colocation contract (Journal of Engineering -
                                                                                                                         Factiva, 07/23/2014)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                             Abnormal
                                                      Market Industry Predicted Abnormal                           Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                 Events
                                                                                                                            Trademarks; An Application for the Trademark "Q QWEST CENTER OMAHA" Has Been Filed
                                                                                                                            by Qwest Communications International (Telecommunications Weekly - Factiva, 07/23/2014)

                                                                                                                            Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                            CENTER OMAHA" Filed (Telecommunications Weekly - Factiva, 07/23/2014)
                                                                                                                            Trademarks; Trademark Application for "PENNY PLUS" Filed by Qwest Communications
                                                                                                                            International (Telecommunications Weekly - Factiva, 07/23/2014)
7/24/2014 Thu    2,263,214   $37.68      $0.00 0.29% 0.05%       -0.29%   0.07%     0.23%       0.3 76.65%          $0.08
7/25/2014 Fri    2,122,589   $37.58      $0.00 -0.27% -0.48%      0.58%   0.03%    -0.29%     -0.39 69.62%         -$0.11   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/25/2014)
7/26/2014 Sat
7/27/2014 Sun
7/28/2014 Mon    3,858,663   $37.71      $0.00   0.35%   0.03%   0.44%    0.26%     0.09%      0.12 90.72%         $0.03    Contract Award: Centurylink Wins Federal Contract for "Telecommunication Services for Avon
                                                                                                                            Park AFR, FL" (US Fed News - Factiva, 07/28/2014)
                                                                                                                            Financial Results, Election to Board, Upcoming Conference Call, and Recognitions - Research
                                                                                                                            Reports on Thermo Fisher, Quest Diagnostics, LabCorp, PAREXEL International and Quintiles
                                                                                                                            (PR Newswire (U.S.) - Factiva, 07/28/2014 08:20 AM)
                                                                                                                            Windstream Cleared to Cut Taxes by Forming a REIT; IRS Allows Firm to Classify Its Phone
                                                                                                                            Lines as Real Estate (The Wall Street Journal Online - Factiva, 07/28/2014 08:01 PM)
7/29/2014 Tue   51,803,366   $39.90      $0.00   5.81% -0.45%    2.32%    0.50%     5.31%      7.14   0.00% **     $2.00    Event Brief of Q2 2014 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                                            Factiva, 07/29/2014)
                                                                                                                            Gordon Haskett Analyst Report (Eikon - Manual Entry, 07/29/2014)
                                                                                                                            Nomura Analyst Report (Eikon - Manual Entry, 07/29/2014)
                                                                                                                            Q2 2014 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 07/29/2014)

                                                                                                                            WASHINGTON -- Carriers notify UTC of 'force majeure' event due to wildfires (TR's State
                                                                                                                            NewsWire - Factiva, 07/29/2014)
                                                                                                                            Windstream shares surge on planned split (The Deal - Factiva, 07/29/2014)
                                                                                                                            BUZZ-Windstream Holdings Inc: Plans to spin off assets into REIT (Reuters News - Factiva,
                                                                                                                            07/29/2014 10:08 AM)
                                                                                                                            WindstreamÃ¢â‚¬â„¢s surge sparks a rally in rivals (MarketWatch - Factiva, 07/29/2014 11:31 AM)

                                                                                                                            BUZZ-U.S. telecom stocks: Rise on Windstream's REIT plans (Reuters News - Factiva, 07/29/2014
                                                                                                                            12:58 PM)
                                                                                                                            UPDATE 1-US telecom shares rise after Windstream gets REIT approval (Reuters News - Factiva,
                                                                                                                            07/29/2014 01:22 PM)
                                                                                                                            Herbalife sinks on disappointing results; Darden gains; Plug Power rallies on Wal-Mart order
                                                                                                                            (MarketWatch - Factiva, 07/29/2014 03:16 PM)
                                                                                                                            Corning and Windstream are big market movers (Associated Press Newswires - Factiva, 07/29/2014
                                                                                                                            04:34 PM)
                                                                                                                            Corning, Windstream, CenturLink, HealthSouth, and Plug Power are big market movers (The
                                                                                                                            Canadian Press - Factiva, 07/29/2014 04:34 PM)
7/30/2014 Wed    8,045,896   $39.77      $0.00 -0.33%    0.02%   -0.60%   -0.10%   -0.23%     -0.26 79.38%         -$0.09   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                            Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 07/30/2014)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        CenturyLink, Inc. CenturyLink recognized as leader in Magic Quadrant for Cloud-Enabled
                                                                                                                        Managed Hosting, Europe (Journal of Engineering - Factiva, 07/30/2014)
                                                                                                                        CoinTerra selects CenturyLink IncTechnology Solutions as data center provider (Reuters Significant
                                                                                                                        Developments - Factiva, 07/30/2014)
                                                                                                                        eResearch Highlights NYSE Volume Leaders for Tuesday, July 29 (ACCESSWIRE - Factiva,
                                                                                                                        07/30/2014)
                                                                                                                        MACK-CALI REPORTS DROP IN LEASING (The Record - Factiva, 07/30/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Detection of Unauthorized Wireless
                                                                                                                        Access Points (Electronics Newsweekly - Factiva, 07/30/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Detection of Unauthorized Wireless
                                                                                                                        Access Points (Journal of Engineering - Factiva, 07/30/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Detection of Unauthorized Wireless
                                                                                                                        Access Points (Telecommunications Weekly - Factiva, 07/30/2014)
                                                                                                                        Trademarks; An Application for the Trademark "QWEST CENTER OMAHA" Has Been Filed by
                                                                                                                        Qwest Communications International (Telecommunications Weekly - Factiva, 07/30/2014)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "PENNY PLUS"
                                                                                                                        Filed (Telecommunications Weekly - Factiva, 07/30/2014)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                        CHOICE ONLINE" Filed (Telecommunications Weekly - Factiva, 07/30/2014)
                                                                                                                        Trademarks; Trademark Application for "Q QWEST CENTER OMAHA" Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 07/30/2014)
                                                                                                                        US Patent Issued to Qwest Communications International on July 29 for "Transmission of utility
                                                                                                                        data" (Colorado Inventors) (US Fed News - Factiva, 07/30/2014)
                                                                                                                        (PR) CoinTerra selects CenturyLink Technology Solutions as data center provider (PR Newswire
                                                                                                                        (U.S.) - Factiva, 07/30/2014 09:00 AM)
                                                                                                                        CoinTerra selects CenturyLink Technology Solutions as data center provider (PR Newswire Europe -
                                                                                                                        Factiva, 07/30/2014 09:00 AM)
                                                                                                                        COINTERRA SELECTS CENTURYLINK TECHNOLOGY SOLUTIONS AS DATA CENTER
                                                                                                                        PROVIDER (Press Association National Newswire - Factiva, 07/30/2014 09:00 AM)
                                                                                                                        CoinTerra selects CenturyLink Technology Solutions as data center provider; -- Large-scale
                                                                                                                        Bitcoin mining operations to be hosted across multiple CenturyLink locations (PR Newswire Asia -
                                                                                                                        Factiva, 07/30/2014 09:00 AM)
                                                                                                                        CoinTerra selects CenturyLink Technology Solutions as data center provider; Large-scale Bitcoin
                                                                                                                        mining operations to be hosted across multiple CenturyLink locations (Canada NewsWire - Factiva,
                                                                                                                        07/30/2014 09:00 AM)
                                                                                                                        Press Release: CoinTerra selects CenturyLink Technology Solutions as data center provider (Dow
                                                                                                                        Jones Institutional News - Factiva, 07/30/2014 09:00 AM)
                                                                                                                        IRS Blesses Telecom's REIT Turn (Dow Jones Top Global Market Stories - Factiva, 07/30/2014 11:38
                                                                                                                        PM)
7/31/2014 Thu   8,057,352   $39.24      $0.00 -1.33% -1.99%   -0.93%   -1.28%    -0.05%     -0.06 95.02%       -$0.02   CenturyLink employees, communities raise 666,204 pounds of food and $767,219 in national food
                                                                                                                        drive (ENP Newswire - Factiva, 07/31/2014)
                                                                                                                        CenturyLink selected by CoinTerra as data centre provider (FinancialWire - Factiva, 07/31/2014)
                                                                                                                        CenturyLink selected by CoinTerra as data centre provider (Worldwide Computer Products News -
                                                                                                                        Factiva, 07/31/2014)




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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                        CoinTerra selects CenturyLink Technology Solutions as data center provider (ENP Newswire -
                                                                                                                        Factiva, 07/31/2014)
                                                                                                                        Mack-Cali details NJ leasing activity (SNL Real Estate Securities Daily: North America Edition -
                                                                                                                        Factiva, 07/31/2014)
                                                                                                                        stocks of local interest (News Journal, Mansfield, Ohio - Factiva, 07/31/2014)
                                                                                                                        Quintiles Reports 2nd Quarter 2014 Results (Business Wire - Factiva, 07/31/2014 06:00 AM)
                                                                                                                        IRS Blesses Telecom's REIT Turn (Dow Jones Top North American Equities Stories - Factiva,
                                                                                                                        07/31/2014 06:18 AM)
8/1/2014 Fri   4,679,242   $39.06      $0.00 -0.46% -0.29%     -0.75%   -0.33%   -0.13%     -0.15 88.06%       -$0.05   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/01/2014)
                                                                                                                        Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 08/01/2014)
                                                                                                                        Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/01/2014)
                                                                                                                        SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                        APPLICATION OF QWEST COMMUNICATIONS COMPANY (US Fed News - Factiva,
                                                                                                                        08/01/2014)
                                                                                                                        Anniversary Celebrations, Exchange Offers, Spin Offs, Earnings Releases, and Approvals -
                                                                                                                        Research Reports on CenturyLink, Verizon, Windstream, Baidu and Frontier (PR Newswire (U.S.) -
                                                                                                                        Factiva, 08/01/2014 09:00 AM)
                                                                                                                        The Zacks Analyst Blog Highlights: Windstream Holdings, CenturyLink, Cincinnati Bell,
                                                                                                                        MandalayDigital Group and Level 3 Communications (PR Newswire (U.S.) - Factiva, 08/01/2014
                                                                                                                        09:30 AM)
8/2/2014 Sat
8/3/2014 Sun
8/4/2014 Mon   3,985,921   $39.46      $0.00   1.02%   0.72%   0.05%    0.54%     0.49%      0.56 57.55%       $0.19    Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 08/04/2014)
                                                                                                                        CoinTerra Names CenturyLink Technology Solutions as Data Center Provider (Wireless News -
                                                                                                                        Factiva, 08/04/2014)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 08/04/2014)
8/5/2014 Tue   3,797,639   $39.29      $0.00 -0.43% -0.96%     -0.18%   -0.35%   -0.08%     -0.09 92.70%       -$0.03   CenturyLink expands fiber network to Columbia, Jefferson City (St. Louis Business Journal Online -
                                                                                                                        Factiva, 08/05/2014)
                                                                                                                        CenturyLink EXPANDS GIGABIT SERVICE IN 16 CITIES (TR Daily - Factiva, 08/05/2014)
                                                                                                                        CenturyLink makes Denver a 'Gig city' with ultra-fast Internet offering (Denver Business Journal
                                                                                                                        Online - Factiva, 08/05/2014)
                                                                                                                        CenturyLink rolls out 1-gigabit Internet service in Twin Cities (Minneapolis/St. Paul Business Journal
                                                                                                                        Online - Factiva, 08/05/2014)
                                                                                                                        CenturyLink unveils fiber Internet service in Portland (Portland Business Journal Online - Factiva,
                                                                                                                        08/05/2014)
                                                                                                                        REGIONAL -- CenturyLink expands gigabit service in 16 cities (TR's State NewsWire - Factiva,
                                                                                                                        08/05/2014)
                                                                                                                        Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 08/05/2014)
                                                                                                                        Sadif Analytics Analyst Report (Eikon - Manual Entry, 08/05/2014)
                                                                                                                        *CenturyLink Expands Its Gigabit Service To 16 Cities (Dow Jones Institutional News - Factiva,
                                                                                                                        08/05/2014 07:00 AM)
                                                                                                                        CenturyLink expands its gigabit service to 16 cities, delivering broadband speeds up to 1 gigabit
                                                                                                                        per second (PR Newswire (U.S.) - Factiva, 08/05/2014 07:00 AM)




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    [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                       CenturyLink launches Seattle gigabit network, delivering speeds up to 1 gigabit per second (PR
                                                                                                                       Newswire (U.S.) - Factiva, 08/05/2014 07:01 AM)
                                                                                                                       Press Release: CenturyLink launches Seattle gigabit network, delivering speeds up to 1 gigabit per
                                                                                                                       second (Dow Jones Institutional News - Factiva, 08/05/2014 07:01 AM)
8/6/2014 Wed   3,467,618   $38.77      $0.00 -1.32%   0.03%   -1.31%   -0.44%   -0.88%     -1.05 29.76%       -$0.35   BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/06/2014)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/06/2014)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/06/2014)
                                                                                                                       CenturyLink expands 1-Gbps service (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                       08/06/2014)
                                                                                                                       CenturyLink expands its gigabit service to 16 cities, delivering broadband speeds up to 1 gigabit
                                                                                                                       per second (ENP Newswire - Factiva, 08/06/2014)
                                                                                                                       CenturyLink Inc gives Q3 2014 outlook in line with analysts' estimates (Reuters Significant
                                                                                                                       Developments - Factiva, 08/06/2014)
                                                                                                                       CenturyLink Q2 Adj. Profit Tops View - Quick Facts (RTT News - Factiva, 08/06/2014)
                                                                                                                       CenturyLink REPORTS 0.2% QUARTERLY REVENUE GROWTH (TR Daily - Factiva,
                                                                                                                       08/06/2014)
                                                                                                                       CenturyLink speeds up Twin CitiesÃ¢â‚¬â„¢ Internet // The legacy land-line service provider says
                                                                                                                       the 1-gigabit service is available in selected parts of the metro area. (Star-Tribune - Factiva,
                                                                                                                       08/06/2014)
                                                                                                                       D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 08/06/2014)
                                                                                                                       D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 08/06/2014)
                                                                                                                       Event Brief of Q2 2014 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                       08/06/2014)
                                                                                                                       Gordon Haskett Analyst Report (Eikon - Manual Entry, 08/06/2014)
                                                                                                                       JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/06/2014)
                                                                                                                       JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/06/2014)
                                                                                                                       Q2 2014 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 08/06/2014)
                                                                                                                       Qwest Communications International Inc. "Optical Cable Connector" in Patent Application
                                                                                                                       Approval Process (Telecommunications Weekly - Factiva, 08/06/2014)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/06/2014)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/06/2014)
                                                                                                                       Trademarks; An Application for the Trademark "MOVEIN MINUTES" Has Been Filed by Qwest
                                                                                                                       Communications International (Telecommunications Weekly - Factiva, 08/06/2014)
                                                                                                                       Trademarks; An Application for the Trademark "QWEST" Has Been Filed by Qwest
                                                                                                                       Communications International (Telecommunications Weekly - Factiva, 08/06/2014)
                                                                                                                       Trademarks; Qwest Communications International's Trademark Application for "ONLINE CALL
                                                                                                                       ALERT" Filed (Telecommunications Weekly - Factiva, 08/06/2014)
                                                                                                                       Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                       CHOICE ONLINE" Filed (Telecommunications Weekly - Factiva, 08/06/2014)
                                                                                                                       Trademarks; Trademark Application for "Q QWEST CENTER OMAHA" Filed by Qwest
                                                                                                                       Communications International (Telecommunications Weekly - Factiva, 08/06/2014)
                                                                                                                       Trademarks; Trademark Application for "QWEST DSL PRO DELUXE" Filed by Qwest
                                                                                                                       Communications International (Telecommunications Weekly - Factiva, 08/06/2014)



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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
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                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                       UBS Analyst Report (Capital IQ - Manual Entry, 08/06/2014)
                                                                                                                       UBS Analyst Report (Capital IQ - Manual Entry, 08/06/2014)
                                                                                                                       UBS Analyst Report (Eikon - Manual Entry, 08/06/2014)
                                                                                                                       UBS Analyst Report (Eikon - Manual Entry, 08/06/2014)
                                                                                                                       Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 08/06/2014)
                                                                                                                       CenturyLink 2Q Adj EPS 72c >CTL (Dow Jones Newswires Chinese (English) - Factiva, 08/06/2014
                                                                                                                       04:05 PM)
                                                                                                                       CenturyLink Reports Strong Second Quarter 2014 Results (PR Newswire (U.S.) - Factiva, 08/06/2014
                                                                                                                       04:05 PM)
                                                                                                                       CenturyLink's Second-Quarter Profit Falls on Higher Costs (Dow Jones Institutional News - Factiva,
                                                                                                                       08/06/2014 04:53 PM)
                                                                                                                       CenturyLink's Second-Quarter Profit Falls on Higher Costs (Dow Jones Institutional News - Factiva,
                                                                                                                       08/06/2014 05:08 PM)
8/7/2014 Thu   4,882,082   $38.95      $0.00   0.46% -0.53%   -0.70%   -0.44%    0.90%      1.07 28.88%       $0.35    BMO Capital Markets Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                       CenturyLink expects sequential drop in Q3 revenue as Q2 profits decline 28.3% YOY (SNL Kagan
                                                                                                                       Media & Communications Report - Factiva, 08/07/2014)
                                                                                                                       CenturyLink Reports Strong Second Quarter 2014 Results (ENP Newswire - Factiva, 08/07/2014)

                                                                                                                       CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                       CFRA Equity Research Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                       Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                       CoinTerra Taps CenturyLink Technology Solutions as Data Center Provider (Professional Services
                                                                                                                       Close-Up - Factiva, 08/07/2014)
                                                                                                                       FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 08/07/2014)
                                                                                                                       Gordon Haskett Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                       Jefferies LLC Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       JP Morgan Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                       Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                       Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       Nomura Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                       Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 08/07/2014)
                                                                                                                       Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                       S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 08/07/2014)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events

                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 08/07/2014)
                                                                                                                          Trademarks; Trademark Application for "QWEST DSL PRO DELUXE" Filed by Qwest
                                                                                                                          Communications International (Computer Weekly News - Factiva, 08/07/2014)
                                                                                                                          D.A. Davidson Raises CentruyLink Price Target on 'Better Than Expected Results' (Benzinga.com -
                                                                                                                          Factiva, 08/07/2014 09:14 AM)
                                                                                                                          CenturyLink to Participate in Analyst Conferences (PR Newswire (U.S.) - Factiva, 08/07/2014 04:07
                                                                                                                          PM)
 8/8/2014 Fri   5,045,437   $39.86      $0.00   2.34%   1.16%   -0.40%   0.46%     1.87%       2.2   2.95% *     $0.73    CenturyLink to Participate in Analyst Conferences (ENP Newswire - Factiva, 08/08/2014)
                                                                                                                          Faster Internet in metro Denver will propel innovators (Denver Business Journal - Factiva,
                                                                                                                          08/08/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/08/2014)
                                                                                                                          New tax illegal, lawsuit charges (The Register Guard (MCT) - Factiva, 08/08/2014)
                                                                                                                          Qwest Communications International Inc. "Optical Cable Connector" in Patent Application
                                                                                                                          Approval Process (Economics Week - Factiva, 08/08/2014)
                                                                                                                          CenturyLink signs data center deal with CoinTerra (MarketLine (a Datamonitor Company), Company
                                                                                                                          News - Factiva, 08/08/2014 06:04 AM)
                                                                                                                          ComEd's Smart Ideas(R) Program Provides CenturyLink an Energy Solution that Saves Energy
                                                                                                                          and Advances Green Commitments (Business Wire - Factiva, 08/08/2014 12:00 PM)
                                                                                                                          Press Release: ComEd's Smart Ideas(R) Program Provides CenturyLink an Energy Solution that
                                                                                                                          Saves Energy and Advances Green Commitments (Dow Jones Institutional News - Factiva, 08/08/2014
                                                                                                                          12:00 PM)
 8/9/2014 Sat                                                                                                             Qwest Communications International Inc. "Optical Cable Connector" in Patent Application
                                                                                                                          Approval Process (Investment Weekly News - Factiva, 08/09/2014)
                                                                                                                          Recreation and Sports News (The Hibbing Daily Tribune - Factiva, 08/09/2014)
                                                                                                                          United States : ComEd s Smart Ideas Program Provides CenturyLink an Energy Solution that
                                                                                                                          Saves Energy and Advances Green Commitments (Mena Report - Factiva, 08/09/2014)
8/10/2014 Sun
8/11/2014 Mon   5,237,163   $40.27      $0.00   1.03%   0.29%   -0.16%   0.20%     0.82%      0.96 33.84%        $0.33    ComEd reducing CenturyLink's Chicago datacentre energy use 11 August 2014 (News Bites -
                                                                                                                          Private Companies - Factiva, 08/11/2014)
                                                                                                                          ComEdÃ¢â‚¬â„¢s Smart Ideas Program Provides CenturyLink an Energy Solution that Saves
                                                                                                                          Energy and Advances Green Commitments (ENP Newswire - Factiva, 08/11/2014)
                                                                                                                          Macquarie Research Analyst Report (Eikon - Manual Entry, 08/11/2014)
                                                                                                                          T-MOBILE SEEKS 700 MHz BAND LICENSES (TR Daily - Factiva, 08/11/2014)
                                                                                                                          Telecom Services Announce Upcoming Conferences, Quarterly Dividend, and Quarterly Financial
                                                                                                                          Results - Research Reports on AT&T, CenturyLink, Windstream, Frontier and BCE (PR Newswire
                                                                                                                          (U.S.) - Factiva, 08/11/2014 09:00 AM)
8/12/2014 Tue   5,161,187   $40.77      $0.00   1.24% -0.16%    0.52%    0.33%     0.92%      1.06 28.93%        $0.37    S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 08/12/2014)
                                                                                                                          (PR) CenturyLink releases Panamax open-source Docker management platform (PR Newswire
                                                                                                                          (U.S.) - Factiva, 08/12/2014 09:00 AM)
                                                                                                                          CenturyLink releases Panamax open-source Docker management platform (PR Newswire Europe -
                                                                                                                          Factiva, 08/12/2014 09:00 AM)
                                                                                                                          CENTURYLINK RELEASES PANAMAX OPEN-SOURCE DOCKER MANAGEMENT
                                                                                                                          PLATFORM (Press Association National Newswire - Factiva, 08/12/2014 09:00 AM)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         CenturyLink releases Panamax open-source Docker management platform; -- New community
                                                                                                                         resource for creating complex Docker architectures (PR Newswire Asia - Factiva, 08/12/2014 09:00
                                                                                                                         AM)
                                                                                                                         CenturyLink releases Panamax open-source Docker management platform; New community
                                                                                                                         resource for creating complex Docker architectures (Canada NewsWire - Factiva, 08/12/2014 09:00
                                                                                                                         AM)
                                                                                                                         Press Release: CenturyLink releases Panamax open-source Docker management platform (Dow
                                                                                                                         Jones Institutional News - Factiva, 08/12/2014 09:00 AM)
8/13/2014 Wed   5,806,201   $40.47      $0.00 -0.74%    0.70%   -0.30%   0.35%    -1.09%     -1.26 21.06%       -$0.44   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 08/13/2014)

                                                                                                                         CenturyLink, Inc. CoinTerra selects CenturyLink Technology Solutions as data center provider
                                                                                                                         (Journal of Engineering - Factiva, 08/13/2014)
                                                                                                                         IOWA -- IUB moves forward with CenturyLink-Intrado dispute over ALI (TR's State NewsWire -
                                                                                                                         Factiva, 08/13/2014)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/13/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Transmission of Utility Data
                                                                                                                         (Electronics Newsweekly - Factiva, 08/13/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Transmission of Utility Data (Journal
                                                                                                                         of Engineering - Factiva, 08/13/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Transmission of Utility Data
                                                                                                                         (Telecommunications Weekly - Factiva, 08/13/2014)
                                                                                                                         Trademarks; An Application for the Trademark "PREFERREDCHOICE" Has Been Filed by
                                                                                                                         Qwest Communications International (Telecommunications Weekly - Factiva, 08/13/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "MOVEIN
                                                                                                                         MINUTES" Filed (Telecommunications Weekly - Factiva, 08/13/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST" Filed
                                                                                                                         (Telecommunications Weekly - Factiva, 08/13/2014)
                                                                                                                         Trademarks; Trademark Application for "ONLINE CALL ALERT" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 08/13/2014)
                                                                                                                         Trademarks; Trademark Application for "QWEST DSL PRO DELUXE" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 08/13/2014)
                                                                                                                         Post-Earnings Coverage - CenturyLink (PR Newswire (U.S.) - Factiva, 08/13/2014 08:20 AM)
                                                                                                                         Quarterly Earnings Releases, Technical Updates, Renewed Agreements, and Strategic Tie-Up -
                                                                                                                         Research Reports on Cummins, Zynga, Vodafone, CenturyLink and CSC (PR Newswire (U.S.) -
                                                                                                                         Factiva, 08/13/2014 08:50 AM)
                                                                                                                         AT&T Yields More Than CenturyLink, But Not For Long -- Morgan Stanley -- Barron's Blog (Dow
                                                                                                                         Jones Institutional News - Factiva, 08/13/2014 04:54 PM)
8/14/2014 Thu   3,504,532   $40.51      $0.00   0.10%   0.44%   0.08%    0.40%    -0.30%     -0.35 72.71%       -$0.12   Fundraising uneven for ed hopefuls (Wyoming Tribune-Eagle (MCT) - Factiva, 08/14/2014)
                                                                                                                         NATIONAL -- State officials urge continued interconnection regulation in IP world (TR's State
                                                                                                                         NewsWire - Factiva, 08/14/2014)
                                                                                                                         STATE OFFICIALS URGE CONTINUED INTERCONNECTION REGULATION IN IP WORLD
                                                                                                                         (TR Daily - Factiva, 08/14/2014)
                                                                                                                         State superintendent candidates see funding splits (Laramie Boomerang - Factiva, 08/14/2014)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Trademarks; Trademark Application for "QWEST DSL PRO DELUXE" Filed by Qwest
                                                                                                                         Communications International (Computer Weekly News - Factiva, 08/14/2014)
8/15/2014 Fri   3,481,143   $40.40      $0.00 -0.27%    0.01%   -0.39%   -0.08%   -0.19%     -0.22 82.74%       -$0.08   ACA, COMPTEL, CTIA URGE CONTINUED REGULATORY OVERSIGHT OF
                                                                                                                         INTERCONNECTION PACTS (TR Daily - Factiva, 08/15/2014)
                                                                                                                         CenturyLink Expands Gigabit Service in 16 Cities (Telecommunications Reports - Factiva,
                                                                                                                         08/15/2014)
                                                                                                                         CenturyLink Updates on Panamax Contribution (Wireless News - Factiva, 08/15/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/15/2014)
8/16/2014 Sat
8/17/2014 Sun
8/18/2014 Mon   2,704,021   $40.42      $0.00   0.05%   0.86%   -0.67%   0.17%    -0.12%     -0.13 89.32%       -$0.05   FORBEARANCE DECISION, TITLE II RECLASSIFICATION SHOULD BE SIMULTANEOUS,
                                                                                                                         CBITÃ¢â‚¬â„¢s CAMPBELL SAYS (TR Daily - Factiva, 08/18/2014)
                                                                                                                         Liberty Interactive unit paying interest on debentures (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 08/18/2014)
8/19/2014 Tue   2,027,596   $40.66      $0.00   0.59%   0.52%   -0.65%   0.03%     0.57%      0.66 50.93%       $0.23    CenturyLink Inc declares quarterly cash dividend (Reuters Significant Developments - Factiva,
                                                                                                                         08/19/2014)
                                                                                                                         CenturyLink Updates on Panamax Contribution (Professional Services Close-Up - Factiva,
                                                                                                                         08/19/2014)
                                                                                                                         Expression Analysis Announces 2014 Grant Program (Business Wire - Factiva, 08/19/2014 08:00 AM)

                                                                                                                         CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 08/19/2014 11:51
                                                                                                                         AM)
                                                                                                                         Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                         Factiva, 08/19/2014 11:51 AM)
8/20/2014 Wed   3,056,329   $40.79      $0.00   0.32%   0.25%   0.03%    0.29%     0.03%      0.04 97.18%       $0.01    CenturyLink targets enterprises with hosted private cloud services (V3 - Factiva, 08/20/2014)
                                                                                                                         CenturyLink, Inc. CenturyLink launches Seattle gigabit network, delivering speeds up to 1 gigabit
                                                                                                                         per second (Journal of Engineering - Factiva, 08/20/2014)
                                                                                                                         CenturyLinkÃ¢â‚¬Ëœs board declares USD0.54 quarterly cash dividend (FinancialWire - Factiva,
                                                                                                                         08/20/2014)
                                                                                                                         Digital Realty and CenturyLink Hong Kong datacentre obtains Tier III certification 20 August
                                                                                                                         2014 (News Bites - Private Companies - Factiva, 08/20/2014)
                                                                                                                         FCC SETS PLEADING CYCLE FOR T-MOBILE/CenturyLink SPECTRUM DEAL (TR Daily -
                                                                                                                         Factiva, 08/20/2014)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 08/20/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Cross-Platform Support for a Variety
                                                                                                                         of Media Types (Journal of Engineering - Factiva, 08/20/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Cross-Platform Support for a Variety
                                                                                                                         of Media Types (Telecommunications Weekly - Factiva, 08/20/2014)
                                                                                                                         Trademarks; An Application for the Trademark "CUSTOMCHOICE COMPLETE" Has Been
                                                                                                                         Filed by Qwest Communications International (Telecommunications Weekly - Factiva, 08/20/2014)

                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "FAXLINE"
                                                                                                                         Filed (Telecommunications Weekly - Factiva, 08/20/2014)
                                                                                                                         Trademarks; Trademark Application for "PREFERREDCHOICE" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 08/20/2014)



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                                                             Excess                                              Abnormal
                                                     Market Industry Predicted Abnormal                            Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat      p-Value   Reaction                                                 Events

                                                                                                                            WASHINGTON -- Staff recommends CenturyLink be penalized for service outage (TR's State
                                                                                                                            NewsWire - Factiva, 08/20/2014)
                                                                                                                            (PR) CenturyLink launches new, globally available Private Cloud service in 57 data centers (PR
                                                                                                                            Newswire (U.S.) - Factiva, 08/20/2014 07:00 AM)
                                                                                                                            CenturyLink launches new, globally available Private Cloud service in 57 data centers (PR
                                                                                                                            Newswire Europe - Factiva, 08/20/2014 07:00 AM)
                                                                                                                            CENTURYLINK LAUNCHES NEW, GLOBALLY AVAILABLE PRIVATE CLOUD SERVICE
                                                                                                                            IN 57 DATA CENTERS (Press Association National Newswire - Factiva, 08/20/2014 07:00 AM)
                                                                                                                            CenturyLink launches new, globally available Private Cloud service in 57 data centers; Federation
                                                                                                                            with CenturyLink public cloud dramatically simplifies hybrid deployments (Canada NewsWire -
                                                                                                                            Factiva, 08/20/2014 07:00 AM)
                                                                                                                            CenturyLink launches new, globally available Private Cloud service in 57 data centers; --
                                                                                                                            Federation with CenturyLink public cloud dramatically simplifies hybrid deployments (PR
                                                                                                                            Newswire Asia - Factiva, 08/20/2014 07:00 AM)
                                                                                                                            Press Release: CenturyLink launches new, globally available Private Cloud service in 57 data
                                                                                                                            centers (Dow Jones Institutional News - Factiva, 08/20/2014 07:00 AM)
                                                                                                                            Quintiles CEO to Present at the Morgan Stanley Global Healthcare Conference (Business Wire -
                                                                                                                            Factiva, 08/20/2014 08:00 AM)
8/21/2014 Thu   3,367,515   $40.91      $0.00   0.29%   0.30%   0.00%    0.29%     0.00%            0 99.64%       $0.00    CenturyLink Declares Quarterly Cash Dividend (ENP Newswire - Factiva, 08/21/2014)
                                                                                                                            CenturyLink launches new, globally available Private Cloud service in 57 data centers (ENP
                                                                                                                            Newswire - Factiva, 08/21/2014)
                                                                                                                            Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/21/2014)
                                                                                                                            Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/21/2014)
                                                                                                                            Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/21/2014)
                                                                                                                            CenturyLink expands gigabit service to 16 US cities (MarketLine (a Datamonitor Company), Company
                                                                                                                            News - Factiva, 08/21/2014 07:05 AM)
                                                                                                                            CenturyLink reports lower Q2 net income, provides outlook for Q3 (MarketLine (a Datamonitor
                                                                                                                            Company), Company News - Factiva, 08/21/2014 10:01 AM)
8/22/2014 Fri   1,860,889   $40.80      $0.00 -0.27% -0.19%     -0.24%   -0.07%   -0.20%     -0.23 82.03%          -$0.08   Clarifire restructures as data center revamps labor needs (Tampa Bay Business Journal Online -
                                                                                                                            Factiva, 08/22/2014)
                                                                                                                            DISH Names Steve Swain CFO - Quick Facts (RTT News - Factiva, 08/22/2014)
                                                                                                                            DISH Network Appoints Steve Swain To Succeed Robert Olson As CFO - Update (RTT News -
                                                                                                                            Factiva, 08/22/2014)
                                                                                                                            Dish Network CFO retiring (Denver Business Journal Online - Factiva, 08/22/2014)
                                                                                                                            United States : CENTURYLINK launches new private cloud service (Mena Report - Factiva,
                                                                                                                            08/22/2014)
                                                                                                                            Dish Network appoints Steve Swain as new CFO (24 Ore Radiocor-Newswire International Edition -
                                                                                                                            Factiva, 08/22/2014 08:43 AM)
                                                                                                                            The Zacks Analyst Blog Highlights:Verizon Communications, Apple, Google, Cincinnati Bell and
                                                                                                                            CenturyLink (PR Newswire (U.S.) - Factiva, 08/22/2014 10:16 AM)
                                                                                                                            Google Fiber Is Fast, but Is It Fair?; The Company Provides Neighborhoods With Faster and
                                                                                                                            Cheaper Service, but Are Some Being Left Behind? (The Wall Street Journal Online - Factiva,
                                                                                                                            08/22/2014 10:21 AM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        Google Fuels Internet Access, Plus Debate on 'Digital Divide' (Dow Jones Top Global Market Stories -
                                                                                                                        Factiva, 08/22/2014 02:22 PM)
                                                                                                                        Google Fuels Internet Access, Plus Debate on 'Digital Divide' (Dow Jones Top North American
                                                                                                                        Equities Stories - Factiva, 08/22/2014 02:22 PM)
                                                                                                                        Will Telecom Bundling Eventually Kill Cable? (Benzinga.com - Factiva, 08/22/2014 05:08 PM)
8/23/2014 Sat                                                                                                           DISH Network Appoints Steve Swain To Succeed Robert Olson As CFO (ICT Monitor Worldwide -
                                                                                                                        Factiva, 08/23/2014)
                                                                                                                        Google Fiber Rollouts Stoke Debate --- Select Neighborhoods Get Faster and Cheaper Internet
                                                                                                                        Service, but Are Others Being Left Behind? (The Wall Street Journal - Factiva, 08/23/2014)
8/24/2014 Sun                                                                                                           Ultrafast Internet has 1st area customer (The Arizona Republic - Factiva, 08/24/2014)
8/25/2014 Mon   3,472,700   $41.27      $0.00   1.15%   0.48%   0.25%   0.50%     0.65%      0.76 45.08%       $0.26    DISH announces retirement of CFO; Steve Swain to serve as new CFO (FinancialWire - Factiva,
                                                                                                                        08/25/2014)
                                                                                                                        Google Fiber Is Fast, but Fires Up Fairness Debate (The Wall Street Journal Asia - Factiva,
                                                                                                                        08/25/2014)
                                                                                                                        JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/25/2014)
                                                                                                                        JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/25/2014)
                                                                                                                        JP Morgan Analyst Report (Eikon - Manual Entry, 08/25/2014)
8/26/2014 Tue   2,574,155   $41.14      $0.00 -0.31%    0.11%   0.02%   0.20%    -0.52%     -0.61 54.63%       -$0.21   Comcast is fighting CenturyLink's Prism TV service, the telecom tells FCC (Denver Business
                                                                                                                        Journal Online - Factiva, 08/26/2014)
                                                                                                                        GlobalData Analyst Report (Capital IQ - Manual Entry, 08/26/2014)
                                                                                                                        Gordon Haskett Analyst Report (Eikon - Manual Entry, 08/26/2014)
                                                                                                                        Quarterly Earnings, Product Launches, Technical Updates, and New Milestones - Research Reports
                                                                                                                        on 58.com, CenturyLinK, Adobe, Western Digital and NVIDIA (PR Newswire (U.S.) - Factiva,
                                                                                                                        08/26/2014 09:00 AM)
8/27/2014 Wed   2,306,702   $40.76      $0.54   0.39%   0.03%   0.56%   0.48%    -0.09%     -0.11 91.55%       -$0.04   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 08/27/2014)

                                                                                                                        CenturyLink, Inc. CenturyLink releases Panamax open-source Docker management platform
                                                                                                                        (Journal of Engineering - Factiva, 08/27/2014)
                                                                                                                        ComEd; ComEd's Smart Ideas(R) Program Provides CenturyLink an Energy Solution that Saves
                                                                                                                        Energy and Advances Green Commitments (Journal of Engineering - Factiva, 08/27/2014)
                                                                                                                        Gordon Haskett Analyst Report (Eikon - Manual Entry, 08/27/2014)
                                                                                                                        Happening: CenturyLink opens data centre in Markham (Queen's Park Briefing - Factiva,
                                                                                                                        08/27/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Systems and Methods for Video
                                                                                                                        Transmission (Journal of Engineering - Factiva, 08/27/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Systems and Methods for Video
                                                                                                                        Transmission (Telecommunications Weekly - Factiva, 08/27/2014)
                                                                                                                        Telephone Communications; Qwest Corp. Files SEC Form 10-Q, Quarterly Report [Sections 13 Or
                                                                                                                        15(D)] (Aug. 8, 2014) (Telecommunications Weekly - Factiva, 08/27/2014)
                                                                                                                        Trademarks; An Application for the Trademark "FAXLINE" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 08/27/2014)
                                                                                                                        Trademarks; Trademark Application for "CUSTOMCHOICE COMPLETE" Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 08/27/2014)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                         (PR) CenturyLink opens second data center in Toronto market (PR Newswire (U.S.) - Factiva,
                                                                                                                         08/27/2014 09:00 AM)
                                                                                                                         CenturyLink opens second data center in Toronto market; Tier III-certified facility built to support
                                                                                                                         5 megawatts of IT load, 100,000 square feet of raised floor (Canada NewsWire - Factiva, 08/27/2014
                                                                                                                         09:00 AM)
                                                                                                                         Press Release: CenturyLink opens second data center in Toronto market (Dow Jones Institutional
                                                                                                                         News - Factiva, 08/27/2014 09:00 AM)
8/28/2014 Thu   2,738,159   $40.86      $0.00   0.25% -0.16%    0.08%    0.11%     0.13%      0.16 87.50%       $0.05    CenturyLink announces opening of second data centre in Toronto (FinancialWire - Factiva,
                                                                                                                         08/28/2014)
                                                                                                                         CenturyLink opens second data center in Toronto market (ENP Newswire - Factiva, 08/28/2014)
                                                                                                                         IOWA -- Intrado seeks extension in ALI dispute case with CenturyLink (TR's State NewsWire -
                                                                                                                         Factiva, 08/28/2014)
8/29/2014 Fri   2,500,622   $40.99      $0.00   0.32%   0.34%   0.51%    0.61%    -0.29%     -0.35 73.06%       -$0.12   CenturyLink expands with a second data center in Toronto (St. Louis Business Journal Online -
                                                                                                                         Factiva, 08/29/2014)
                                                                                                                         ComEd; ComEd's Smart Ideas(R) Program Provides CenturyLink an Energy Solution that Saves
                                                                                                                         Energy and Advances Green Commitments (Energy Weekly News - Factiva, 08/29/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/29/2014)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 08/29/2014)
                                                                                                                         Validea Analyst Report (Eikon - Manual Entry, 08/29/2014)
                                                                                                                         ComEd partners with CenturyLink for multi-year energy efficiency project (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 08/29/2014 03:36 AM)
8/30/2014 Sat
8/31/2014 Sun
 9/1/2014 Mon                                                                                                            Big data has a growing appetite; Electric power usage doubles in five years, rivaling steel industry
                                                                                                                         (Crain's Chicago Business - Factiva, 09/01/2014)
 9/2/2014 Tue   3,422,613   $40.86      $0.00 -0.32% -0.05%     -0.19%   0.02%    -0.34%      -0.4 68.64%       -$0.14   SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         CENTURYLINK FOR AUTHORITY TO DISCONTINUE FRAME RELAY AND
                                                                                                                         ASYNCHRONOUS TRANSFER MODE 'ATM' SERVICE FILED WITH FEDERAL
                                                                                                                         COMMUNICATIONS COMMISSION (US Fed News - Factiva, 09/02/2014)
                                                                                                                         CenturyLink announces availability of CenturyLink Private Cloud (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 09/02/2014 07:49 AM)
 9/3/2014 Wed   2,855,259   $41.02      $0.00   0.39% -0.06%    0.32%    0.30%     0.09%      0.11 91.53%       $0.04    Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 09/03/2014)
                                                                                                                         IOWA -- IUB grants filing extension in CenturyLink-Intrado ALI dispute case (TR's State
                                                                                                                         NewsWire - Factiva, 09/03/2014)
                                                                                                                         MONTANA -- PSC slates hearing on CenturyLink waiver request (TR's State NewsWire - Factiva,
                                                                                                                         09/03/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Converged Voice Services (Journal of
                                                                                                                         Engineering - Factiva, 09/03/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Converged Voice Services
                                                                                                                         (Telecommunications Weekly - Factiva, 09/03/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Optical Cable Connector
                                                                                                                         (Telecommunications Weekly - Factiva, 09/03/2014)
                                                                                                                         Trademarks; An Application for the Trademark "QWEST CHOICE ONLINE" Has Been Filed by
                                                                                                                         Qwest Communications International (Telecommunications Weekly - Factiva, 09/03/2014)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                            Excess                                            Abnormal
                                                    Market Industry Predicted Abnormal                          Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST DSL
                                                                                                                         256" Filed (Telecommunications Weekly - Factiva, 09/03/2014)
                                                                                                                         Trademarks; Trademark Application for "CUSTOMCHOICE COMPLETE" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 09/03/2014)
9/4/2014 Thu   3,624,736   $41.06      $0.00   0.10% -0.15%    -0.09%   0.03%     0.06%      0.08 93.92%        $0.03    Argus Research Corporation Analyst Report (Eikon - Manual Entry, 09/04/2014)
                                                                                                                         Contract Award: Qwest Wins Federal Contract for "TELEPHONE SERVICES - RIRIE DAM"
                                                                                                                         (US Fed News - Factiva, 09/04/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Converged Voice Services (Computer
                                                                                                                         Weekly News - Factiva, 09/04/2014)
                                                                                                                         Telephone services - ririe dam (Mena Report - Factiva, 09/04/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST DSL
                                                                                                                         256" Filed (Computer Weekly News - Factiva, 09/04/2014)
9/5/2014 Fri   3,061,319   $41.47      $0.00   1.00%   0.51%   0.21%    0.50%     0.50%      0.59 55.32%        $0.20    IDAHO -- PUC approves CenturyLink broadband tax credit (TR's State NewsWire - Factiva,
                                                                                                                         09/05/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/05/2014)
                                                                                                                         Qwest Communications International Inc. Patent Issued for Optical Cable Connector (Economics
                                                                                                                         Week - Factiva, 09/05/2014)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 09/05/2014)
9/6/2014 Sat                                                                                                             Qwest Communications International Inc. Patent Issued for Optical Cable Connector (Investment
                                                                                                                         Weekly News - Factiva, 09/06/2014)
9/7/2014 Sun                                                                                                             CenturyLink seeks to acquire Rackspace, expanding cloud services -Bloomberg (Reuters News -
                                                                                                                         Factiva, 09/07/2014 05:40 PM)
                                                                                                                         Market Chatter- Corporate finance press digest (Reuters News - Factiva, 09/07/2014 11:46 PM)
9/8/2014 Mon   7,919,078   $40.58      $0.00 -2.15% -0.29%     -0.32%   -0.16%   -1.98%     -2.37   1.95% *     -$0.82   Analyst: Rackspace merger would create managed hosting powerhouse (Austin Business Journal
                                                                                                                         Online - Factiva, 09/08/2014)
                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 09/08/2014)
                                                                                                                         CenturyLink expands global data center team with seasoned industry executive (ENP Newswire -
                                                                                                                         Factiva, 09/08/2014)
                                                                                                                         CenturyLink in talks over Rackspace takeover - report (M&A Navigator - Factiva, 09/08/2014)
                                                                                                                         CenturyLink reportedly pursuing Rackspace acquisition (San Antonio Business Journal Online -
                                                                                                                         Factiva, 09/08/2014)
                                                                                                                         CenturyLink reportedly pursuing Rackspace Hosting acquisition (Austin Business Journal Online -
                                                                                                                         Factiva, 09/08/2014)
                                                                                                                         CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 09/08/2014)
                                                                                                                         Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 09/08/2014)
                                                                                                                         Gordon Haskett Analyst Report (Eikon - Manual Entry, 09/08/2014)
                                                                                                                         HFT vendor Perseus makes two hires (FOI - Factiva, 09/08/2014)
                                                                                                                         M&A Analysis - CenturyLink Cloud Strategy To Pay Off (BMI Industry Insights -
                                                                                                                         Telecommunications, Americas - Factiva, 09/08/2014)
                                                                                                                         Macquarie Research Analyst Report (Eikon - Manual Entry, 09/08/2014)
                                                                                                                         Rackspace merger would create managed hosting powerhouse (San Antonio Business Journal Online -
                                                                                                                         Factiva, 09/08/2014)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                Events
                                                                                                                        RBC Capital Markets Analyst Report (Eikon - Manual Entry, 09/08/2014)
                                                                                                                        Reports: CenturyLink Mulls Acquisition Of Cloud Vendor Rackspace (RTT News - Factiva,
                                                                                                                        09/08/2014)
                                                                                                                        UBS Analyst Report (Capital IQ - Manual Entry, 09/08/2014)
                                                                                                                        UBS Analyst Report (Eikon - Manual Entry, 09/08/2014)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 09/08/2014)
                                                                                                                        RPT-Market Chatter- Corporate finance press digest (Reuters News - Factiva, 09/08/2014 02:01 AM)

                                                                                                                        BUZZ-Rackspace Hosting Inc: Buyout report (Reuters News - Factiva, 09/08/2014 07:44 AM)
                                                                                                                        Ford Drops On Morgan Stanley Downgrade; Multimedia Games Shares Jump (Benzinga.com -
                                                                                                                        Factiva, 09/08/2014 12:36 PM)
                                                                                                                        Campbell Soup and Twitter are big market movers (Associated Press Newswires - Factiva,
                                                                                                                        09/08/2014 04:32 PM)
 9/9/2014 Tue   6,052,736   $39.99      $0.00 -1.45% -0.65%    -0.67%   -0.57%   -0.89%     -1.04 29.82%       -$0.36   Gordon Haskett Analyst Report (Eikon - Manual Entry, 09/09/2014)
                                                                                                                        Rackspace eyed by CenturyLink ; Louisiana firm reportedly a possible buyer (San Antonio Express-
                                                                                                                        News - Factiva, 09/09/2014)
                                                                                                                        Report: CenturyLink discussed acquisition with Rackspace (SNL Kagan Media & Communications
                                                                                                                        Report - Factiva, 09/09/2014)
9/10/2014 Wed   3,905,173   $39.69      $0.00 -0.75%   0.37%   -0.44%   0.04%    -0.79%     -0.92 35.80%       -$0.31   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 09/10/2014)

                                                                                                                        CenturyLink, Inc. CenturyLink opens second data center in Toronto market (Journal of Engineering -
                                                                                                                        Factiva, 09/10/2014)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 09/10/2014)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 09/10/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Integrated Multi-Modal Chat (Journal
                                                                                                                        of Engineering - Factiva, 09/10/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Integrated Multi-Modal Chat
                                                                                                                        (Telecommunications Weekly - Factiva, 09/10/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for IPTV Follow Me Content System and
                                                                                                                        Method (Electronics Newsweekly - Factiva, 09/10/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for IPTV Follow Me Content System and
                                                                                                                        Method (Telecommunications Weekly - Factiva, 09/10/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Socially Networked Television
                                                                                                                        Experience (Journal of Engineering - Factiva, 09/10/2014)
                                                                                                                        Qwest Communications International Inc. Patent Issued for Socially Networked Television
                                                                                                                        Experience (Telecommunications Weekly - Factiva, 09/10/2014)
                                                                                                                        Trademarks; An Application for the Trademark "MOVEIN MINUTES" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 09/10/2014)
                                                                                                                        Trademarks; An Application for the Trademark "QWEST DSL 256" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 09/10/2014)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "QWEST DSL
                                                                                                                        PRO DELUXE" Filed (Telecommunications Weekly - Factiva, 09/10/2014)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "QWEST" Filed
                                                                                                                          (Telecommunications Weekly - Factiva, 09/10/2014)
                                                                                                                          Trademarks; Trademark Application for "CUSTOMCHOICE COMPLETE" Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 09/10/2014)
                                                                                                                          Trademarks; Trademark Application for "QWEST CHOICE ONLINE" Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 09/10/2014)
9/11/2014 Thu   5,115,581   $40.38      $0.00   1.74%   0.12%   0.46%    0.50%     1.24%      1.47 14.56%        $0.49    CenturyLink Inc at Goldman Sachs Communacopia Conference - Final (CQ FD Disclosure - Factiva,
                                                                                                                          09/11/2014)
                                                                                                                          Dish Network adds ex-Qwest executive to its board (Denver Business Journal Online - Factiva,
                                                                                                                          09/11/2014)
                                                                                                                          DISH NETWORK BOARD (TR Daily - Factiva, 09/11/2014)
                                                                                                                          FORM 8-K: DISH NETWORK FILES CURRENT REPORT (US Fed News - Factiva, 09/11/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Integrated Multi-Modal Chat
                                                                                                                          (Computer Weekly News - Factiva, 09/11/2014)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 09/11/2014)
                                                                                                                          Trademarks; An Application for the Trademark "QWEST DSL 256" Has Been Filed by Qwest
                                                                                                                          Communications International (Computer Weekly News - Factiva, 09/11/2014)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "QWEST DSL
                                                                                                                          PRO DELUXE" Filed (Computer Weekly News - Factiva, 09/11/2014)
                                                                                                                          Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 09/11/2014)
                                                                                                                          Appointments, Upcoming Conferences, Technology Deployment, and Technical Updates - Research
                                                                                                                          Reports on CenturyLink, Palo Alto Networks, Nokia Corp., Activision Blizzard and America Movil
                                                                                                                          (PR Newswire (U.S.) - Factiva, 09/11/2014 08:30 AM)
9/12/2014 Fri   5,540,258   $39.54      $0.00 -2.08% -0.59%     -0.70%   -0.65%   -1.43%     -1.68   9.64%       -$0.58   BUREAU SEEKS MORE DATA FROM CenturyLink ON FORBEARANCE PLEA (TR Daily -
                                                                                                                          Factiva, 09/12/2014)
                                                                                                                          Buyout rumors have Rackspace back in the news (San Antonio Business Journal - Factiva, 09/12/2014)

                                                                                                                          Dish Network adds former Qwest president Mohebbi to board (Telecompaper Americas - Factiva,
                                                                                                                          09/12/2014)
                                                                                                                          Gordon Haskett Analyst Report (Eikon - Manual Entry, 09/12/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/12/2014)
                                                                                                                          NATIONAL -- Bureau seeks more data from CenturyLink on forbearance plea (TR's State
                                                                                                                          NewsWire - Factiva, 09/12/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for IPTV Follow Me Content System and
                                                                                                                          Method (Entertainment Newsweekly - Factiva, 09/12/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Socially Networked Television
                                                                                                                          Experience (Entertainment Newsweekly - Factiva, 09/12/2014)
                                                                                                                          CenturyLink appoints global vice president of colocation sales (MarketLine (a Datamonitor
                                                                                                                          Company), Company News - Factiva, 09/12/2014 09:07 AM)
                                                                                                                          Quintiles Launches New Customer Solution to Meet the Unique Needs of Emerging
                                                                                                                          Biopharmaceutical Companies (Business Wire - Factiva, 09/12/2014 10:36 AM)
9/13/2014 Sat                                                                                                             CenturyLink, Inc. CenturyLink opens second data center in Toronto market (Investment Weekly
                                                                                                                          News - Factiva, 09/13/2014)
9/14/2014 Sun



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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]       [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                  Events
9/15/2014 Mon   3,200,475   $39.64      $0.00   0.25% -0.07%    0.41%   0.38%    -0.13%     -0.15 88.21%        -$0.05   UPDATE: JP Morgan Downgrades Rackspace Hosting, Inc., Skeptical On Potential CenturyLink,
                                                                                                                         Inc. Deal (Benzinga.com - Factiva, 09/15/2014 11:29 AM)
9/16/2014 Tue   4,007,351   $39.60      $0.00 -0.10%    0.75%   0.31%   0.73%    -0.83%     -0.97 33.48%        -$0.33   IOWA -- Intrado withdraws complaint against CenturyLink over ALI services (TR's State
                                                                                                                         NewsWire - Factiva, 09/16/2014)
                                                                                                                         MINNESOTA -- PUC denies Digital Telecommunications' claims against Qwest (TR's State
                                                                                                                         NewsWire - Factiva, 09/16/2014)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 09/16/2014)
9/17/2014 Wed   4,773,923   $40.35      $0.00   1.89%   0.13%   0.29%   0.37%     1.52%      1.78   7.74%       $0.60    D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 09/17/2014)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 09/17/2014)
                                                                                                                         Duly Noted: Umami Burger's 'guerrilla marketing' makes some hungry, others upset (Video)
                                                                                                                         (Chicago Business Journal Online - Factiva, 09/17/2014)
                                                                                                                         Duly Noted: Vignelli's subway 'Graphic Standards Manual' available via Kickstarter (Video) (New
                                                                                                                         York Business Journal Online - Factiva, 09/17/2014)
                                                                                                                         IOWA -- OCA opposes withdrawal of Intrado's complaint against CenturyLink (TR's State
                                                                                                                         NewsWire - Factiva, 09/17/2014)
                                                                                                                         MINNESOTA -- CenturyLink, CLECs file final settlement agreement (TR's State NewsWire -
                                                                                                                         Factiva, 09/17/2014)
                                                                                                                         No Parting of the Cloud for Rackspace (The Wall Street Journal Online - Factiva, 09/17/2014 10:27
                                                                                                                         AM)
9/18/2014 Thu   2,372,517   $40.52      $0.00   0.42%   0.50%   0.38%   0.65%    -0.23%     -0.26 79.20%        -$0.09   IOWA -- 911 boards oppose withdrawal of Intrado-CenturyLink dispute (TR's State NewsWire -
                                                                                                                         Factiva, 09/18/2014)
                                                                                                                         No Parting of the Cloud for Rackspace (Dow Jones Top North American Equities Stories - Factiva,
                                                                                                                         09/18/2014 06:39 AM)
9/19/2014 Fri   3,482,965   $40.75      $0.00   0.57% -0.05%    1.09%   0.86%    -0.30%     -0.34 73.31%        -$0.12   David Sternberg watches over BrookfieldÃ¢â‚¬â„¢s skyscrapers (Denver Business Journal - Factiva,
                                                                                                                         09/19/2014)
                                                                                                                         IOWA -- IUB directs Intrado to respond to opposition to withdrawing complaint (TR's State
                                                                                                                         NewsWire - Factiva, 09/19/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/19/2014)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 09/19/2014)
9/20/2014 Sat
9/21/2014 Sun
9/22/2014 Mon   2,778,036   $40.79      $0.00   0.10% -0.80%    0.38%   -0.05%    0.15%      0.18 86.12%        $0.06    CenturyLinkÃ¢â‚¬â„¢s QWEST UNIT PREPARING BOND SALE (TR Daily - Factiva, 09/22/2014)

                                                                                                                         Moody's rates Qwest Corp. new notes Baa3 (Moody's Investors Service Press Release - Factiva,
                                                                                                                         09/22/2014)
                                                                                                                         Qwest Corp agrees to sell debt securities (Reuters Significant Developments - Factiva, 09/22/2014)

                                                                                                                         *S&P Rates Qwest's $250M Proposed Sr Nts 'BBB-' (Recovery: 1) (Dow Jones Institutional News -
                                                                                                                         Factiva, 09/22/2014 02:45 PM)
                                                                                                                         *Fitch Rates Qwest Corporation's Proposed Senior Unsecured Note Offering 'BBB-'; Outlook
                                                                                                                         Stable (Dow Jones Institutional News - Factiva, 09/22/2014 03:45 PM)
                                                                                                                         Fitch Rates Qwest Corporation's Proposed Senior Unsecured Note Offering 'BBB-'; Outlook Stable
                                                                                                                         (Reuters News - Factiva, 09/22/2014 03:45 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        Fitch Rates Qwest Corporation's Proposed Senior Unsecured Note Offering 'BBB-'; Outlook Stable
                                                                                                                        (Business Wire - Factiva, 09/22/2014 03:54 PM)
                                                                                                                        Press Release: Qwest Corporation Agrees To Sell Debt Securities (Dow Jones Institutional News -
                                                                                                                        Factiva, 09/22/2014 05:50 PM)
                                                                                                                        Qwest Corporation Agrees To Sell Debt Securities (PR Newswire (U.S.) - Factiva, 09/22/2014 05:50
                                                                                                                        PM)
9/23/2014 Tue   2,646,435   $40.46      $0.00 -0.81% -0.57%    -0.21%   -0.35%   -0.46%     -0.54 59.34%       -$0.19   CenturyLinkÃ¢â‚¬â„¢s QWEST UNIT SELLING $500M OF BONDS (TR Daily - Factiva,
                                                                                                                        09/23/2014)
                                                                                                                        Data centres are a booming business in Canada (Postmedia Breaking News - Factiva, 09/23/2014)
                                                                                                                        IOWA -- Intrado, CenturyLink dispute public safety concerns raised in complaint case (TR's State
                                                                                                                        NewsWire - Factiva, 09/23/2014)
                                                                                                                        MINNESOTA -- Digital Telecommunications seeks reconsideration of PUC order (TR's State
                                                                                                                        NewsWire - Factiva, 09/23/2014)
                                                                                                                        Qwest agrees to sell debt securities (Telecompaper Americas - Factiva, 09/23/2014)
                                                                                                                        Qwest to sell USD 500m of notes (Internet Business News - Factiva, 09/23/2014)
                                                                                                                        SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                        CENTURYLINK FOR AUTHORITY TO DISCONTINUE FRAME RELAY AND
                                                                                                                        ASYNCHRONOUS TRANSFER MODE 'ATM' SERVICE FILED WITH THE FEDERAL
                                                                                                                        COMMUNICATIONS COMMISSION (US Fed News - Factiva, 09/23/2014)
                                                                                                                        CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 09/23/2014
                                                                                                                        12:10 PM)
9/24/2014 Wed   3,452,837   $40.44      $0.00 -0.05%   0.79%   -0.19%   0.37%    -0.42%     -0.49 62.54%       -$0.17   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 09/24/2014)

                                                                                                                        FORM 8-K: CENTURYLINK, QWEST FILE CURRENT REPORT (US Fed News - Factiva,
                                                                                                                        09/24/2014)
                                                                                                                        Qwest to sell debt securities (SNL Kagan Media & Communications Report - Factiva, 09/24/2014)
                                                                                                                        Qwest Unit Agrees to USD 500m Notes Sale (M2 EquityBites - Factiva, 09/24/2014)
                                                                                                                        Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 09/24/2014)
                                                                                                                        Sadif Analytics Analyst Report (Eikon - Manual Entry, 09/24/2014)
                                                                                                                        Telecommunication Companies; Patent Issued for Methods and Systems for Providing Video on
                                                                                                                        Demand (Journal of Engineering - Factiva, 09/24/2014)
                                                                                                                        Telecommunication Companies; Patent Issued for Methods and Systems for Providing Video on
                                                                                                                        Demand (Telecommunications Weekly - Factiva, 09/24/2014)
                                                                                                                        Trademarks; Trademark Application for "QWEST LINK" Filed by Qwest Communications
                                                                                                                        International (Telecommunications Weekly - Factiva, 09/24/2014)
                                                                                                                        Wednesday business briefs 9-24 (The Courier-Tribune - Factiva, 09/24/2014)
                                                                                                                        CenturyLink Schedules Third Quarter 2014 Earnings Conference Call (PR Newswire (U.S.) -
                                                                                                                        Factiva, 09/24/2014 04:15 PM)
                                                                                                                        Press Release: CenturyLink Schedules Third Quarter 2014 Earnings Conference Call (Dow Jones
                                                                                                                        Institutional News - Factiva, 09/24/2014 04:15 PM)
9/25/2014 Thu   2,857,294   $39.91      $0.00 -1.31% -1.62%    0.15%    -0.66%   -0.65%     -0.75 45.25%       -$0.26   CenturyLink Schedules Third Quarter 2014 Earnings Conference Call (ENP Newswire - Factiva,
                                                                                                                        09/25/2014)
                                                                                                                        Qwest Corporation Agrees To Sell Debt Securities (ENP Newswire - Factiva, 09/25/2014)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                    Events

                                                                                                                         Trademarks; Trademark Application for "QWEST LINK" Filed by Qwest Communications
                                                                                                                         International (Computer Weekly News - Factiva, 09/25/2014)
9/26/2014 Fri   2,785,176   $40.31      $0.00   1.00%   0.88%   -0.16%   0.46%     0.54%      0.62 53.53%       $0.21    Comcast eyes gigabit Internet for Denver area, too (Denver Business Journal Online - Factiva,
                                                                                                                         09/26/2014)
                                                                                                                         FORM 8-K: CENTURYLINK, QWEST FILE CURRENT REPORT (US Fed News - Factiva,
                                                                                                                         09/26/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/26/2014)
                                                                                                                         Telecommunication Services Equities Technical Updates - Oi S.A., CenturyLink, Windstream
                                                                                                                         Holdings, Mobile Telesystems, and Tim Participacoes (PR Newswire (U.S.) - Factiva, 09/26/2014
                                                                                                                         09:30 AM)
                                                                                                                         Company Profile for Quintiles (Business Wire - Factiva, 09/26/2014 10:40 AM)
                                                                                                                         Company Profile for Quintiles (Business Wire - Factiva, 09/26/2014 01:14 PM)
9/27/2014 Sat
9/28/2014 Sun
9/29/2014 Mon   3,763,075   $40.40      $0.00   0.22% -0.25%    0.11%    0.02%     0.21%      0.24 81.05%       $0.08    CenturyLink expands Prism pay-TV service to Douglas County cities (The Denver Post - Factiva,
                                                                                                                         09/29/2014)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 09/29/2014
                                                                                                                         02:06 PM)
                                                                                                                         (PR) CenturyLink expands its managed hosting availability into China (PR Newswire (U.S.) -
                                                                                                                         Factiva, 09/29/2014 05:00 PM)
                                                                                                                         CenturyLink expands its managed hosting availability into China (Canada NewsWire - Factiva,
                                                                                                                         09/29/2014 05:00 PM)
                                                                                                                         CenturyLink expands its managed hosting availability into China (PR Newswire Europe - Factiva,
                                                                                                                         09/29/2014 05:00 PM)
                                                                                                                         CENTURYLINK EXPANDS ITS MANAGED HOSTING AVAILABILITY INTO CHINA (Press
                                                                                                                         Association National Newswire - Factiva, 09/29/2014 05:00 PM)
                                                                                                                         CenturyLink expands its managed hosting availability into China; - Extends services to better serve
                                                                                                                         multinational corporations in Asia-Pacific region (PR Newswire Asia - Factiva, 09/29/2014 05:00 PM)

                                                                                                                         Press Release: CenturyLink expands its managed hosting availability into China (Dow Jones
                                                                                                                         Institutional News - Factiva, 09/29/2014 05:00 PM)
                                                                                                                         Press Release: CenturyLink expands its managed hosting availability into China (Dow Jones
                                                                                                                         Institutional News - Factiva, 09/29/2014 05:00 PM)
9/30/2014 Tue   3,303,817   $40.89      $0.00   1.21% -0.27%    0.47%    0.26%     0.95%       1.1 27.22%       $0.39    Briefs (The Denver Post - Factiva, 09/30/2014)
                                                                                                                         BuySellSignals Research Analyst Report (Eikon - Manual Entry, 09/30/2014)
                                                                                                                         CenturyLink provides managed hosting service in China (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 09/30/2014)
                                                                                                                         CenturyLink unit sells $500M of notes (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         09/30/2014)
                                                                                                                         FORM 8-K: CENTURYLINK, QWEST FILE CURRENT REPORT (US Fed News - Factiva,
                                                                                                                         09/30/2014)
                                                                                                                         CenturyLink announces availability of managed hosting services in China (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 09/30/2014 07:21 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Quintiles' Third Quarter 2014 Earnings Call Scheduled for Thursday, October 30(th) (Business
                                                                                                                         Wire - Factiva, 09/30/2014 08:00 AM)
10/1/2014 Wed   2,943,935   $40.42      $0.00 -1.15% -1.32%     -0.11%   -0.74%   -0.41%     -0.48 63.55%       -$0.17   CenturyLink expands its managed hosting availability into China (ENP Newswire - Factiva,
                                                                                                                         10/01/2014)
                                                                                                                         COLORADO -- PUC seeks more information from CenturyLink on declaration petition (TR's State
                                                                                                                         NewsWire - Factiva, 10/01/2014)
                                                                                                                         Critical Facilities Summit; Critical Facilities Summit to Feature Session Led by Google's Joe Kava
                                                                                                                         and Data Center Site Selection Discussion Led by Virginia's Director of Economic Development
                                                                                                                         (Journal of Engineering - Factiva, 10/01/2014)
                                                                                                                         Suddenlink adds Revolt TV (SNL Kagan Media & Communications Report - Factiva, 10/01/2014)
                                                                                                                         CenturyLink highlights National Cyber Security Month as cyberthreats increase (PR Newswire
                                                                                                                         (U.S.) - Factiva, 10/01/2014 07:00 AM)
                                                                                                                         Press Release: CenturyLink highlights National Cyber Security Month as cyberthreats increase
                                                                                                                         (Dow Jones Institutional News - Factiva, 10/01/2014 07:00 AM)
                                                                                                                         CenturyLink Goes East, Expands Managed Hosting to China (Benzinga.com - Factiva, 10/01/2014
                                                                                                                         06:57 PM)
10/2/2014 Thu   2,542,464   $40.76      $0.00   0.84%   0.01%   -0.12%   0.01%     0.83%      0.96 33.98%       $0.34    CenturyLink highlights National Cyber Security Month as cyberthreats increase (ENP Newswire -
                                                                                                                         Factiva, 10/02/2014)
                                                                                                                         Viaero Wireless names new president of sales, marketing (The Hays Daily News - Factiva,
                                                                                                                         10/02/2014)
                                                                                                                         Critical Alerts For AT&T, NewLink Genetics, Acuity Brands, Quintiles and Finish Line Released
                                                                                                                         By InvestorsObserver (PR Newswire (U.S.) - Factiva, 10/02/2014 09:31 AM)
10/3/2014 Fri   2,497,727   $41.00      $0.00   0.59%   1.12%   0.23%    0.87%    -0.28%     -0.32 74.79%       -$0.11   CenturyLink expands its managed hosting availability into China (ICT Monitor Worldwide - Factiva,
                                                                                                                         10/03/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/03/2014)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 10/03/2014)
10/4/2014 Sat
10/5/2014 Sun
10/6/2014 Mon   3,092,155   $40.68      $0.00 -0.78% -0.15%     0.58%    0.44%    -1.22%     -1.41 16.02%       -$0.50   Sabrient Systems, LLC Analyst Report (Capital IQ - Manual Entry, 10/06/2014)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 10/06/2014)
                                                                                                                         Microsoft(R) Office 365 is now included in CenturyLink's business bundles (PR Newswire (U.S.) -
                                                                                                                         Factiva, 10/06/2014 02:00 PM)
                                                                                                                         Press Release: Microsoft(R) Office 365 is now included in CenturyLink's business bundles (Dow
                                                                                                                         Jones Institutional News - Factiva, 10/06/2014 02:00 PM)
10/7/2014 Tue   2,993,803   $40.08      $0.00 -1.47% -1.51%     0.38%    -0.41%   -1.06%     -1.22 22.53%       -$0.43   CenturyLink bundles offer Microsoft Office 365 (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 10/07/2014)
                                                                                                                         EXPERTS DEBATE WHETHER FCC SHOULD ADOPT OPEN INTERNET RULES (TR Daily -
                                                                                                                         Factiva, 10/07/2014)
                                                                                                                         Microsoft Office 365 is now included in CenturyLinkÃ¢â‚¬â„¢s business bundles (ENP Newswire -
                                                                                                                         Factiva, 10/07/2014)
                                                                                                                         NATIONAL -- Experts debate whether FCC should adopt open Internet rules (TR's State NewsWire -
                                                                                                                         Factiva, 10/07/2014)
10/8/2014 Wed   3,066,336   $40.82      $0.00   1.85%   1.78%   -0.04%   0.95%     0.90%      1.04 30.26%       $0.36    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 10/08/2014)




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      [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                         Contract Award: Qwest Government Services Wins Federal Modification Contract for "R3 LEC
                                                                                                                         Consolidation - Centurylink" (US Fed News - Factiva, 10/08/2014)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 424B5, Prospectus [Rule 424(B)(5)]
                                                                                                                         (Sept. 22, 2014) (Telecommunications Weekly - Factiva, 10/08/2014)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 424B5, Prospectus [Rule 424(B)(5)]
                                                                                                                         (Sept. 23, 2014) (Telecommunications Weekly - Factiva, 10/08/2014)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form FWP, Filing Under Securities Act Rules
                                                                                                                         163/433 of Free Writing Prospectuses (Sept. 22, 2014) (Telecommunications Weekly - Factiva,
                                                                                                                         10/08/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST" Filed
                                                                                                                         (Telecommunications Weekly - Factiva, 10/08/2014)
 10/9/2014 Thu   3,002,769   $39.73      $0.00 -2.67% -2.06%   -0.38%   -1.34%    -1.33%     -1.54 12.63%       -$0.54   CenturyLink receives five Wholesale Provider Excellence Awards from ATLANTIC-ACM (ENP
                                                                                                                         Newswire - Factiva, 10/09/2014)
10/10/2014 Fri   3,339,596   $39.13      $0.00 -1.51% -1.13%    0.15%   -0.53%    -0.98%     -1.13 26.24%       -$0.39   Fred R. Nichols of CenturyLink in top 10% of NYSE Director Scorecard for past year (News Bites -
                                                                                                                         People in Business - Factiva, 10/10/2014)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/10/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST" Filed
                                                                                                                         (Economics Week - Factiva, 10/10/2014)
10/11/2014 Sat                                                                                                           CenturyLink, Inc. Qwest Corporation Agrees To Sell Debt Securities (Investment Weekly News -
                                                                                                                         Factiva, 10/11/2014)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST" Filed
                                                                                                                         (Investment Weekly News - Factiva, 10/11/2014)
10/12/2014 Sun
10/13/2014 Mon   4,048,675   $38.41      $0.00 -1.84% -1.65%   -0.08%   -1.07%    -0.77%     -0.88 37.96%       -$0.30
10/14/2014 Tue   3,825,142   $38.83      $0.00 1.09% 0.16%     -0.11%    0.04%     1.05%      1.23 22.07%        $0.40   CenturyLink, Inc. CenturyLink expands its managed hosting availability into China (China Weekly
                                                                                                                         News - Factiva, 10/14/2014)
                                                                                                                         COLORADO -- Parties ask PUC to consolidate recent CenturyLink tariff updates (TR's State
                                                                                                                         NewsWire - Factiva, 10/14/2014)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 10/14/2014)
                                                                                                                         Quintiles Wins Society for Clinical Research Sites' 2014 Eagle Award (Business Wire - Factiva,
                                                                                                                         10/14/2014 08:00 AM)
10/15/2014 Wed   4,023,846   $38.61      $0.00 -0.57% -0.80%    0.32%   -0.22%    -0.34%     -0.41 68.46%       -$0.13   CenturyLink Inc opens Cloud Development Center in Seattle (Reuters Significant Developments -
                                                                                                                         Factiva, 10/15/2014)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 10/15/2014)
                                                                                                                         Gregory J. McCray of CenturyLink in top quartile of NYSE Director Scorecard for past year (News
                                                                                                                         Bites - People in Business - Factiva, 10/15/2014)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 8-A12B, Registration of Securities
                                                                                                                         [Section 12(B)] (Sept. 26, 2014) (Telecommunications Weekly - Factiva, 10/15/2014)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form CERTNYS, Certification By The New
                                                                                                                         York Stock Exchange Approving Securities For Listing (Sept. 29, 2014) (Telecommunications
                                                                                                                         Weekly - Factiva, 10/15/2014)
                                                                                                                         Trademarks; An Application for the Trademark "MOVE IN MINUTES" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 10/15/2014)
                                                                                                                         (PR) CenturyLink opens Cloud Development Center in Seattle (PR Newswire (U.S.) - Factiva,
                                                                                                                         10/15/2014 09:00 AM)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                  [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events

                                                                                                                          CenturyLink opens Cloud Development Center in Seattle (Canada NewsWire - Factiva, 10/15/2014
                                                                                                                          09:00 AM)
                                                                                                                          CenturyLink opens Cloud Development Center in Seattle (PR Newswire Europe - Factiva, 10/15/2014
                                                                                                                          09:00 AM)
                                                                                                                          CENTURYLINK OPENS CLOUD DEVELOPMENT CENTER IN SEATTLE (Press Association
                                                                                                                          National Newswire - Factiva, 10/15/2014 09:00 AM)
                                                                                                                          CenturyLink opens Cloud Development Center in Seattle; -- New home for cloud platform
                                                                                                                          development and innovation adds to year of significant CenturyLink Cloud milestones (PR
                                                                                                                          Newswire Asia - Factiva, 10/15/2014 09:00 AM)
                                                                                                                          Press Release: CenturyLink opens Cloud Development Center in Seattle (Dow Jones Institutional
                                                                                                                          News - Factiva, 10/15/2014 09:00 AM)
                                                                                                                          Press Release: CenturyLink opens Cloud Development Center in Seattle (Dow Jones Institutional
                                                                                                                          News - Factiva, 10/15/2014 09:00 AM)
10/16/2014 Thu   4,020,397   $38.30      $0.00 -0.80%    0.02%   -0.48%   -0.42%   -0.38%     -0.45 65.01%       -$0.15   CenturyLink opens Cloud Development Center in Seattle (ENP Newswire - Factiva, 10/16/2014)
                                                                                                                          Harvey P. Perry of CenturyLink in top quartile of NYSE Director Scorecard for past year (News
                                                                                                                          Bites - People in Business - Factiva, 10/16/2014)
                                                                                                                          CenturyLink opens cloud development center in Seattle (MarketLine (a Datamonitor Company),
                                                                                                                          Company News - Factiva, 10/16/2014 03:48 AM)
10/17/2014 Fri   3,894,947   $38.86      $0.00   1.46%   1.29%   0.17%    1.13%     0.33%       0.4 69.03%       $0.13    COLORADO -- PUC consolidates recent CenturyLink tariff updates (TR's State NewsWire - Factiva,
                                                                                                                          10/17/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/17/2014)
                                                                                                                          Joseph R. Zimmel of CenturyLink in top quartile of NYSE Director Scorecard for past year (News
                                                                                                                          Bites - People in Business - Factiva, 10/17/2014)
10/18/2014 Sat
10/19/2014 Sun                                                                                                            Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 10/19/2014)
10/20/2014 Mon   2,033,907   $39.28      $0.00   1.08%   0.92%   0.13%    0.83%     0.25%       0.3 76.54%       $0.10    Laurie A. Siegel of CenturyLink in top quartile of NYSE Director Scorecard for past year (News
                                                                                                                          Bites - People in Business - Factiva, 10/20/2014)
10/21/2014 Tue   2,490,502   $39.70      $0.00   1.07%   1.96%   -0.58%   0.88%     0.19%      0.23 82.14%       $0.07    CenturyLink, Inc. Microsoft(R) Office 365 is now included in CenturyLink's business bundles
                                                                                                                          (Information Technology Newsweekly - Factiva, 10/21/2014)
                                                                                                                          COLORADO -- ALJ OKs CenturyLink petition to provide service in rural territories (TR's State
                                                                                                                          NewsWire - Factiva, 10/21/2014)
                                                                                                                          IOWA -- IUB allows Intrado complaint against CenturyLink over ALI services (TR's State
                                                                                                                          NewsWire - Factiva, 10/21/2014)
                                                                                                                          Press Release: CenturyLink and Switch SUPERNAP ink strategic agreement (Dow Jones
                                                                                                                          Institutional News - Factiva, 10/21/2014 08:59 AM)
                                                                                                                          (PR) CenturyLink and Switch SUPERNAP ink strategic agreement (PR Newswire (U.S.) - Factiva,
                                                                                                                          10/21/2014 09:00 AM)
                                                                                                                          *CenturyLink And Switch SUPERNAP In Strategic Agreement (Dow Jones Institutional News -
                                                                                                                          Factiva, 10/21/2014 09:00 AM)
                                                                                                                          CenturyLink and Switch SUPERNAP ink strategic agreement (Canada NewsWire - Factiva,
                                                                                                                          10/21/2014 09:00 AM)
                                                                                                                          CenturyLink and Switch SUPERNAP ink strategic agreement (PR Newswire Europe - Factiva,
                                                                                                                          10/21/2014 09:00 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                   [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                 Events
                                                                                                                          CenturyLink and Switch SUPERNAP ink strategic agreement; -- CenturyLink extends its data
                                                                                                                          center reach into Las Vegas; -- Switch customers gain access to CenturyLink's global hosting
                                                                                                                          portfolio and data center footprint (PR Newswire Asia - Factiva, 10/21/2014 09:00 AM)
10/22/2014 Wed   2,118,129   $40.09      $0.00   0.98% -0.72%   -0.07%   -0.57%    1.56%      1.88   6.21%       $0.62    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 10/22/2014)

                                                                                                                          CenturyLink and Switch SUPERNAP ink strategic agreement (ENP Newswire - Factiva, 10/22/2014)

                                                                                                                          CenturyLink, Inc. Microsoft(R) Office 365 is now included in CenturyLink's business bundles
                                                                                                                          (Journal of Engineering - Factiva, 10/22/2014)
                                                                                                                          Telecommunication Companies; Patent Issued for Creation and Transmission of Rich Content
                                                                                                                          Media (Journal of Engineering - Factiva, 10/22/2014)
                                                                                                                          Telecommunication Companies; Patent Issued for Creation and Transmission of Rich Content
                                                                                                                          Media (Telecommunications Weekly - Factiva, 10/22/2014)
                                                                                                                          Telecommunication Companies; Patent Issued for Providing Enhanced Wireline Services
                                                                                                                          (Electronics Newsweekly - Factiva, 10/22/2014)
                                                                                                                          Telecommunication Companies; Patent Issued for Providing Enhanced Wireline Services
                                                                                                                          (Telecommunications Weekly - Factiva, 10/22/2014)
                                                                                                                          CenturyLink and Switch partner to establish new data center in Las Vegas (MarketLine (a
                                                                                                                          Datamonitor Company), Company News - Factiva, 10/22/2014 06:58 AM)
                                                                                                                          Synacor Files 8K - Entry Into Definitive Agreement >SYNC (Dow Jones Institutional News - Factiva,
                                                                                                                          10/22/2014 07:04 AM)
10/23/2014 Thu   2,035,652   $39.94      $0.00 -0.37%   1.23%   -1.93%   -1.04%    0.67%      0.79 42.84%        $0.27    PBGC Appointment to Represent General Public (Plan Sponsor - Factiva, 10/23/2014)
                                                                                                                          Telecommunication Companies; Patent Issued for Providing Enhanced Wireline Services
                                                                                                                          (Computer Weekly News - Factiva, 10/23/2014)
10/24/2014 Fri   2,660,126   $39.93      $0.00 -0.03%   0.71%   0.38%    0.96%    -0.99%     -1.18 24.12%        -$0.39   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/24/2014)
                                                                                                                          SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES ORDER REGARDING
                                                                                                                          CENTURYLINK FOR AUTHORITY TO DISCONTINUE FRAME RELAY AND
                                                                                                                          ASYNCHRONOUS TRANSFER MODE (US Fed News - Factiva, 10/24/2014)
                                                                                                                          Telecommunication Companies; Patent Issued for Creation and Transmission of Rich Content
                                                                                                                          Media (Entertainment Newsweekly - Factiva, 10/24/2014)
                                                                                                                          CenturyLink to Participate in Analyst Conferences (PR Newswire (U.S.) - Factiva, 10/24/2014 10:47
                                                                                                                          AM)
                                                                                                                          Press Release: CenturyLink to Participate in Analyst Conferences (Dow Jones Institutional News -
                                                                                                                          Factiva, 10/24/2014 11:02 AM)
10/25/2014 Sat                                                                                                            CenturyLink, Inc. Microsoft(R) Office 365 is now included in CenturyLink's business bundles
                                                                                                                          (Marketing Weekly News - Factiva, 10/25/2014)
10/26/2014 Sun
10/27/2014 Mon   2,150,164   $40.40      $0.00   1.18% -0.15%   1.14%    1.08%     0.09%      0.11 91.05%        $0.04    CenturyLink to Participate in Analyst Conferences (ENP Newswire - Factiva, 10/27/2014)
                                                                                                                          Glen F. Post of CenturyLink in top quartile of NYSE CEO Scorecard for past year (News Bites -
                                                                                                                          People in Business - Factiva, 10/27/2014)
                                                                                                                          Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 10/27/2014)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 10/27/2014)
                                                                                                                          Nomura Analyst Report (Eikon - Manual Entry, 10/27/2014)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                          PBGC Adds New Member To Advisory Committee (Money Management Intelligence - Factiva,
                                                                                                                          10/27/2014)
                                                                                                                          Morgan Stanley Sees CenturyLink Inching Towards Revenue Stability (Benzinga.com - Factiva,
                                                                                                                          10/27/2014 09:55 AM)
10/28/2014 Tue   1,930,936   $41.03      $0.00   1.56%   1.19%   0.17%    1.09%     0.47%      0.56 57.96%       $0.19    M-LAB BLAMES Ã¢â‚¬ËœISP BUSINESS RELATIONSHIPÃ¢â‚¬â„¢ FOR POOR
                                                                                                                          BROADBAND PERFORMANCE (TR Daily - Factiva, 10/28/2014)
                                                                                                                          William A. Owens of CenturyLink in top quartile of NYSE Chairman Scorecard for past year
                                                                                                                          (News Bites - People in Business - Factiva, 10/28/2014)
                                                                                                                          *CenturyLink Announces Aamir Hussain As Company's Chief Technology Officer (Dow Jones
                                                                                                                          Institutional News - Factiva, 10/28/2014 08:00 AM)
                                                                                                                          CenturyLink announces Aamir Hussain as company's chief technology officer (PR Newswire (U.S.) -
                                                                                                                          Factiva, 10/28/2014 08:00 AM)
                                                                                                                          Encore Ranked in Top 10 of Modern Healthcare's 100 Best Places to Work in Healthcare (Business
                                                                                                                          Wire - Factiva, 10/28/2014 08:00 AM)
10/29/2014 Wed   1,918,300   $40.99      $0.00 -0.10% -0.13%     0.05%    0.03%    -0.13%     -0.16 87.67%       -$0.05   CenturyLink announces Aamir Hussain as companyÃ¢â‚¬â„¢s chief technology officer (ENP
                                                                                                                          Newswire - Factiva, 10/29/2014)
                                                                                                                          CenturyLink names tech chief (SNL Kagan Media & Communications Report - Factiva, 10/29/2014)

                                                                                                                          MONTANA -- PSC approves CenturyLink request to waive tariff filing rules (TR's State NewsWire -
                                                                                                                          Factiva, 10/29/2014)
                                                                                                                          Cramer Shares Opinion On CenturyLink And Yelp (Benzinga.com - Factiva, 10/29/2014 06:55 AM)

                                                                                                                          CenturyLink builds next generation IP core network with Alcatel-Lucent (PR Newswire (U.S.) -
                                                                                                                          Factiva, 10/29/2014 08:00 AM)
                                                                                                                          Press Release: CenturyLink builds next generation IP core network with Alcatel-Lucent (Dow Jones
                                                                                                                          Institutional News - Factiva, 10/29/2014 08:00 AM)
                                                                                                                          CenturyLink Builds Next Generation IP Core Network With Alcatel-Lucent (Benzinga.com -
                                                                                                                          Factiva, 10/29/2014 08:27 AM)
10/30/2014 Thu   1,933,926   $41.49      $0.00   1.22%   0.63%   -0.18%   0.35%     0.87%      1.04 29.85%       $0.36    CenturyLink and Alcatel-Lucent build next generation IP core network (FinancialWire - Factiva,
                                                                                                                          10/30/2014)
                                                                                                                          CenturyLink and Alcatel-Lucent build next generation IP core network (Worldwide Computer
                                                                                                                          Products News - Factiva, 10/30/2014)
                                                                                                                          CenturyLink builds next generation IP core network with Alcatel-Lucent (ENP Newswire - Factiva,
                                                                                                                          10/30/2014)
                                                                                                                          CenturyLink appoints executive vice president and chief technology officer (MarketLine (a
                                                                                                                          Datamonitor Company), Company News - Factiva, 10/30/2014 03:38 AM)
                                                                                                                          Quintiles Reports 3rd Quarter 2014 Results (Business Wire - Factiva, 10/30/2014 06:00 AM)
10/31/2014 Fri   3,770,735   $41.48      $0.00 -0.02%    1.17%   0.07%    1.01%    -1.03%     -1.24 21.90%       -$0.43   France,United States : CenturyLink builds next generation IP core network with Alcatel-Lucent
                                                                                                                          (Arab News - Factiva, 10/31/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/31/2014)
                                                                                                                          MarketLine Analyst Report (Eikon - Manual Entry, 10/31/2014)
                                                                                                                          Canadian company to buy Rumford, Maine paper mill (Associated Press Newswires - Factiva,
                                                                                                                          10/31/2014 10:16 AM)
 11/1/2014 Sat




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
11/2/2014 Sun                                                                                                            Ceballos emphasizes leadership in superintendent run (The Riverton Ranger - Factiva, 11/02/2014)

                                                                                                                         Sunday business briefs 11-2 (The Courier-Tribune - Factiva, 11/02/2014)
11/3/2014 Mon   2,222,062   $41.81      $0.00   0.80% -0.01%    0.16%    0.22%     0.58%       0.7 48.80%       $0.24    Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 11/03/2014)
                                                                                                                         COLORADO -- CenturyLink wants PUC to dismiss investigation into tariffs (TR's State NewsWire -
                                                                                                                         Factiva, 11/03/2014)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         CENTURYLINK COMMUNICATIONS FOR APPROVAL OF INTERNAL CORPORATE
                                                                                                                         RESTRUCTURING (US Fed News - Factiva, 11/03/2014)
                                                                                                                         TITLE II RECLASSIFICATION CRITICS CONTINUE TO HAMMER FORBEARANCE (TR
                                                                                                                         Daily - Factiva, 11/03/2014)
                                                                                                                         CenturyLink deploys Alcatel-Lucent's 7950 XRS core router (MarketLine (a Datamonitor Company),
                                                                                                                         Company News - Factiva, 11/03/2014 02:34 AM)
11/4/2014 Tue   1,894,544   $41.63      $0.00 -0.43% -0.28%     0.04%    -0.11%   -0.33%      -0.4 69.22%       -$0.14   CenturyLink to connect teachers with technology by offering $10,000 in grants in Louisiana (Bossier
                                                                                                                         Press-Tribune - Factiva, 11/04/2014)
                                                                                                                         Yellowstone, other U.S. parks urged to reconsider wireless upgrades (Reuters News - Factiva,
                                                                                                                         11/04/2014 08:39 PM)
11/5/2014 Wed   2,699,032   $41.65      $0.00   0.05%   0.60%   -0.20%   0.28%    -0.24%     -0.29 77.33%       -$0.10   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 11/05/2014)

                                                                                                                         BMO Capital Markets Analyst Report (Eikon - Manual Entry, 11/05/2014)
                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/05/2014)
                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/05/2014)
                                                                                                                         CenturyLink Inc gives Q4 2014 guidance in line with analysts' estimates (Reuters Significant
                                                                                                                         Developments - Factiva, 11/05/2014)
                                                                                                                         CenturyLink Posts Profit; Outlook Weak (RTT News - Factiva, 11/05/2014)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 11/05/2014)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 11/05/2014)
                                                                                                                         Event Brief of Q3 2014 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                         11/05/2014)
                                                                                                                         Event Brief of Q3 2014 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                                         Factiva, 11/05/2014)
                                                                                                                         Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 11/05/2014)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 11/05/2014)
                                                                                                                         JP Morgan Analyst Report (Capital IQ - Manual Entry, 11/05/2014)
                                                                                                                         JP Morgan Analyst Report (Capital IQ - Manual Entry, 11/05/2014)
                                                                                                                         Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 11/05/2014)
                                                                                                                         Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 11/05/2014)
                                                                                                                         Q3 2014 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 11/05/2014)
                                                                                                                         Q3 2014 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 11/05/2014)




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     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]         [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                 Events
                                                                                                                          Telecommunication Companies; Patent Issued for Protective Telecommunications Enclosure
                                                                                                                          Systems and Methods (Journal of Engineering - Factiva, 11/05/2014)
                                                                                                                          Telecommunication Companies; Patent Issued for Protective Telecommunications Enclosure
                                                                                                                          Systems and Methods (Telecommunications Weekly - Factiva, 11/05/2014)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 11/05/2014)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 11/05/2014)
                                                                                                                          Trademarks; Trademark Application for "YOU CAN" Filed by Qwest Communications
                                                                                                                          International (Telecommunications Weekly - Factiva, 11/05/2014)
                                                                                                                          UBS Analyst Report (Capital IQ - Manual Entry, 11/05/2014)
                                                                                                                          UBS Analyst Report (Eikon - Manual Entry, 11/05/2014)
                                                                                                                          Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 11/05/2014)
                                                                                                                          Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 11/05/2014)
                                                                                                                          Yellowstone, other U.S. parks urged to reconsider wireless upgrades (Reuters News - Factiva,
                                                                                                                          11/05/2014 09:24 AM)
                                                                                                                          CenturyLink 3Q Adj EPS 63c >CTL (Dow Jones Newswires Chinese (English) - Factiva, 11/05/2014
                                                                                                                          04:05 PM)
                                                                                                                          CenturyLink Reports Solid Third Quarter 2014 Results (PR Newswire (U.S.) - Factiva, 11/05/2014
                                                                                                                          04:05 PM)
                                                                                                                          CenturyLink Swings to Profit, Adds Internet Customers (Dow Jones Institutional News - Factiva,
                                                                                                                          11/05/2014 04:40 PM)
                                                                                                                          CenturyLink Swings to Profit, Adds Internet Customers (Dow Jones Top News & Commentary -
                                                                                                                          Factiva, 11/05/2014 04:41 PM)
                                                                                                                          CenturyLink Swings to Profit, Adds Internet Customers (Dow Jones Institutional News - Factiva,
                                                                                                                          11/05/2014 04:55 PM)
11/6/2014 Thu   8,155,493   $39.00      $0.00 -6.36%   0.41%   -0.79%   -0.46%   -5.90%     -7.21   0.00% **     -$2.46   BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/06/2014)
                                                                                                                          CenturyLink swings to profit in Q3 2014 (FinancialWire - Factiva, 11/06/2014)
                                                                                                                          CenturyTel REPORTS SLIGHT REVENUE DECLINE (TR Daily - Factiva, 11/06/2014)
                                                                                                                          CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 11/06/2014)
                                                                                                                          CFRA Equity Research Analyst Report (Eikon - Manual Entry, 11/06/2014)
                                                                                                                          Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 11/06/2014)
                                                                                                                          Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 11/06/2014)
                                                                                                                          Jefferies LLC Analyst Report (Eikon - Manual Entry, 11/06/2014)
                                                                                                                          JP Morgan Analyst Report (Eikon - Manual Entry, 11/06/2014)
                                                                                                                          Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 11/06/2014)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 11/06/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 11/06/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 11/06/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 11/06/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 11/06/2014)
                                                                                                                          Nomura Analyst Report (Eikon - Manual Entry, 11/06/2014)
                                                                                                                          Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 11/06/2014)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events

                                                                                                                          Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 11/06/2014)
                                                                                                                          Expert Briefing on Integrated Telecommunication Services Stocks - AT&T, Oi S.A., Windstream
                                                                                                                          Holdings, CenturyLink, and Telefonica Brasil (PR Newswire (U.S.) - Factiva, 11/06/2014 08:35 AM)

                                                                                                                          UPDATE: D.A. Davidson Reiterates On CenturyLink Following Q3 Earnings (Benzinga.com -
                                                                                                                          Factiva, 11/06/2014 11:06 AM)
                                                                                                                          CenturyLink reports Q3 net income, provides outlook for Q4 (MarketLine (a Datamonitor Company),
                                                                                                                          Company News - Factiva, 11/06/2014 11:18 AM)
                                                                                                                          Worst Performing Industries For November 6, 2014 (Benzinga.com - Factiva, 11/06/2014 11:39 AM)

 11/7/2014 Fri   6,073,176   $39.43      $0.00   1.10%   0.05%   0.78%    0.90%     0.20%      0.25 80.38%       $0.08    FCC EXTENDS FORBEARANCE REVIEW (TR Daily - Factiva, 11/07/2014)
                                                                                                                          FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 11/07/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/07/2014)
                                                                                                                          Macquarie Research Analyst Report (Eikon - Manual Entry, 11/07/2014)
                                                                                                                          Quintiles CEO to Present at the Credit Suisse 2014 Healthcare Conference (Business Wire - Factiva,
                                                                                                                          11/07/2014 08:00 AM)
                                                                                                                          Worst Performing Industries For November 7, 2014 (Benzinga.com - Factiva, 11/07/2014 11:49 AM)

 11/8/2014 Sat
 11/9/2014 Sun
11/10/2014 Mon   3,590,710   $39.84      $0.00   1.04%   0.32%   -0.03%    0.25%    0.79%      0.96 33.75%       $0.31
11/11/2014 Tue   2,487,437   $39.97      $0.00   0.33%   0.07%   -0.15%   -0.04%    0.37%      0.45 65.19%       $0.15    CenturyLink Inc declares quarterly cash dividend (Reuters Significant Developments - Factiva,
                                                                                                                          11/11/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 11/11/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 11/11/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 11/11/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 11/11/2014)
                                                                                                                          CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 11/11/2014 11:25
                                                                                                                          AM)
                                                                                                                          Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                          Factiva, 11/11/2014 11:25 AM)
11/12/2014 Wed   3,113,603   $40.50      $0.00   1.33% -0.04%    0.77%    0.86%     0.47%      0.58 56.25%       $0.19    CenturyLink Declares Quarterly Cash Dividend (ENP Newswire - Factiva, 11/12/2014)
                                                                                                                          CenturyLink, Inc. CenturyLink announces Aamir Hussain as company's chief technology officer
                                                                                                                          (Electronics Newsweekly - Factiva, 11/12/2014)
                                                                                                                          CenturyLink, Inc. CenturyLink announces Aamir Hussain as company's chief technology officer
                                                                                                                          (Journal of Engineering - Factiva, 11/12/2014)
                                                                                                                          CenturyLinkÃ¢â‚¬â„¢s board declares USD0.54 per share quarterly cash dividend (FinancialWire -
                                                                                                                          Factiva, 11/12/2014)
                                                                                                                          EDITORIAL: Justice Department Should Probe Broadband Deal (The Times-News (MCT) - Factiva,
                                                                                                                          11/12/2014)
                                                                                                                          Fred R. Nichols of CenturyLink in top quartile of NYSE Director Scorecard for past year (News
                                                                                                                          Bites - People in Business - Factiva, 11/12/2014)
                                                                                                                          OTI BLAMES ISPs FOR CONSUMER FRUSTRATIONS (TR Daily - Factiva, 11/12/2014)




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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                          Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 11/12/2014)
                                                                                                                          Sadif Analytics Analyst Report (Eikon - Manual Entry, 11/12/2014)
                                                                                                                          Trademarks; An Application for the Trademark "QWEST TOTAL ADVANTAGE" Has Been
                                                                                                                          Filed by Qwest Communications International (Telecommunications Weekly - Factiva, 11/12/2014)

                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "SELECT" Filed
                                                                                                                          (Telecommunications Weekly - Factiva, 11/12/2014)
                                                                                                                          Trademarks; Trademark Application for "QWEST" Filed by Qwest Communications
                                                                                                                          International (Telecommunications Weekly - Factiva, 11/12/2014)
                                                                                                                          BCBG Max Azria Group, LLC, fashion boutiques chooses CenturyLink's advanced retail
                                                                                                                          networking solution (PR Newswire (U.S.) - Factiva, 11/12/2014 08:00 AM)
                                                                                                                          Press Release: BCBG Max Azria Group, LLC, fashion boutiques chooses CenturyLink's advanced
                                                                                                                          retail networking solution (Dow Jones Institutional News - Factiva, 11/12/2014 08:00 AM)

11/13/2014 Thu   2,607,747   $40.92      $0.00   1.04%   0.06%   0.67%    0.84%     0.20%      0.24 80.76%       $0.08    CenturyLink director C. G. Melville sells 12 November 2014 (News Bites - People in Business -
                                                                                                                          Factiva, 11/13/2014)
                                                                                                                          CenturyLink executive vice president-network services Maxine L. Moreau sells 13 November 2014
                                                                                                                          (News Bites - People in Business - Factiva, 11/13/2014)
                                                                                                                          CenturyLink PROPOSES BUSINESS-FOCUSED VoIP TECH TRANSITION TRIAL (TR Daily -
                                                                                                                          Factiva, 11/13/2014)
                                                                                                                          CenturyLink's retail networking solution selected by BCBG Max Azria Group (FinancialWire -
                                                                                                                          Factiva, 11/13/2014)
                                                                                                                          CenturyLink's retail networking solution selected by BCBG Max Azria Group (Worldwide
                                                                                                                          Computer Products News - Factiva, 11/13/2014)
                                                                                                                          NATIONAL -- CenturyLink proposes business-focused VoIP tech transition trial (TR's State
                                                                                                                          NewsWire - Factiva, 11/13/2014)
                                                                                                                          SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                          CENTURYLINK, GULF LONG DISTANCE AND EMBARQ COMMUNICATION (US Fed News -
                                                                                                                          Factiva, 11/13/2014)
                                                                                                                          SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES ORDER REGARDING
                                                                                                                          CENTURYLINK COMMUNICATIONS TO CANCEL THEIR CERTIFICATES - PETITION OF
                                                                                                                          QWEST COMMUNICATIONS COMPANY (US Fed News - Factiva, 11/13/2014)
11/14/2014 Fri   2,203,142   $40.79      $0.00 -0.32%    0.04%   0.69%    0.84%    -1.16%     -1.43 15.50%       -$0.48   BCBG Max Azria Group, LLC, fashion boutiques chooses CenturyLink's advanced retail
                                                                                                                          networking solution (Emirates News Agency (WAM) - Factiva, 11/14/2014)
                                                                                                                          Elk Grove Village data center expands (Chicago Daily Herald - Factiva, 11/14/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/14/2014)
                                                                                                                          Wave Broadband plots Gigabit broadband for Seattle neighborhoods (New Vision - Factiva,
                                                                                                                          11/14/2014)
                                                                                                                          Wells Fargo CEO Stumpf sells over $17 million in stock: insider trading for Nov. 5-11 (St. Louis
                                                                                                                          Business Journal Online - Factiva, 11/14/2014)
11/15/2014 Sat                                                                                                            CenturyLink to add 30 dispatch jobs (Argus Leader - Factiva, 11/15/2014)
                                                                                                                          PSC investigates reports of poor quality (Missoulian - Factiva, 11/15/2014)
11/16/2014 Sun
11/17/2014 Mon   2,548,045   $40.95      $0.00   0.39%   0.08%   -0.25%   -0.14%    0.53%      0.66 51.36%       $0.22    Infinera Corp and CenturyLink Inc to deliver terabit capacity at super computing 2014 (Reuters
                                                                                                                          Significant Developments - Factiva, 11/17/2014)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events

                                                                                                                           Smart Insider Analyst Report (Capital IQ - Manual Entry, 11/17/2014)
                                                                                                                           Smart Insider Analyst Report (Eikon - Manual Entry, 11/17/2014)
11/18/2014 Tue   2,211,575   $41.09      $0.00   0.34%   0.53%   -0.59%   -0.13%    0.47%      0.58 56.19%        $0.19    CenturyLink and Infinera to provide 1 Tb/s capacity to support SCinet network at the SC14
                                                                                                                           international conference (FinancialWire - Factiva, 11/18/2014)
                                                                                                                           CenturyLink and Infinera to provide 1 Tb/s capacity to support SCinet network at the SC14
                                                                                                                           international conference (Worldwide Computer Products News - Factiva, 11/18/2014)
                                                                                                                           CenturyLink office complex in OP hits the market (Kansas City Business Journal Online - Factiva,
                                                                                                                           11/18/2014)
                                                                                                                           CenturyLink proposes TDM-to-IP transition trial in Las Vegas (Emirates News Agency (WAM) -
                                                                                                                           Factiva, 11/18/2014)
                                                                                                                           Quintiles Named a Best Workplace in South Korea (Business Wire - Factiva, 11/18/2014 11:00 PM)

11/19/2014 Wed   2,649,839   $41.12      $0.00   0.07% -0.14%    -1.02%   -1.08%    1.16%      1.42 15.90%        $0.47    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 11/19/2014)

                                                                                                                           CenturyLink to open (Argus Leader - Factiva, 11/19/2014)
11/20/2014 Thu   2,756,297   $40.50      $0.54 -0.19%    0.20%   -0.52%   -0.26%    0.07%      0.08 93.36%        $0.03    CenturyLink executives sell more than $4 million worth of stock: insider trading for Nov. 11-18 (St.
                                                                                                                           Louis Business Journal Online - Factiva, 11/20/2014)
                                                                                                                           M&A Analysis - Assessing Net Neutrality & The Comcast-TWC Merger (BMI Industry Insights -
                                                                                                                           Telecommunications, Americas - Factiva, 11/20/2014)
                                                                                                                           Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 11/20/2014)
11/21/2014 Fri   3,902,001   $40.47      $0.00 -0.07%    0.54%   -0.23%   0.24%    -0.32%      -0.4 69.03%        -$0.13   INPUT SOUGHT ON CenturyLinkÃ¢â‚¬â„¢s VoIP TECH TRANSITION PROPOSAL (TR Daily -
                                                                                                                           Factiva, 11/21/2014)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/21/2014)
                                                                                                                           United States : CenturyLink and Infinera to Deliver Terabit Capacity at Super Computing 2014
                                                                                                                           (Saudi Press Agency - Factiva, 11/21/2014)
                                                                                                                           WASHINGTON -- UTC issues complaint against CenturyLink for service outage (TR's State
                                                                                                                           NewsWire - Factiva, 11/21/2014)
11/22/2014 Sat
11/23/2014 Sun
11/24/2014 Mon   2,767,932   $40.28      $0.00 -0.47%    0.29%   -1.60%   -1.40%    0.94%      1.17 24.41%        $0.38    BCBG Max Azria selects CenturyLink's retail networking solution (MarketLine (a Datamonitor
                                                                                                                           Company), Company News - Factiva, 11/24/2014 05:53 AM)
                                                                                                                           10 stocks that may revisit their highs as the year ends; A seasonal pattern suggests winners will gain
                                                                                                                           even more in the weeks ahead (MarketWatch - Factiva, 11/24/2014 10:30 AM)
                                                                                                                           CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 11/24/2014 04:58
                                                                                                                           PM)
11/25/2014 Tue   4,870,020   $39.69      $0.00 -1.46% -0.10%     -0.01%   0.00%    -1.46%     -1.84   6.86%       -$0.59   COLORADO -- PUC staff: Deregulation law doesn't completely eliminate tariffs (TR's State
                                                                                                                           NewsWire - Factiva, 11/25/2014)
11/26/2014 Wed   2,565,847   $40.57      $0.00   2.22%   0.30%   0.98%    1.31%     0.91%      1.14 25.81%        $0.36    CenturyLink, Inc. BCBG Max Azria Group, LLC, fashion boutiques chooses CenturyLink's
                                                                                                                           advanced retail networking solution (Journal of Engineering - Factiva, 11/26/2014)
                                                                                                                           Telephone Communications; Qwest Corp. Files SEC Form 10-Q, Quarterly Report [Sections 13 Or
                                                                                                                           15(D)] (Nov. 7, 2014) (Telecommunications Weekly - Factiva, 11/26/2014)
                                                                                                                           Trademarks; An Application for the Trademark "QWEST.NET" Has Been Filed by Qwest
                                                                                                                           Communications International (Telecommunications Weekly - Factiva, 11/26/2014)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                     [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                  Events
11/27/2014 Thu
11/28/2014 Fri   1,337,844   $40.77      $0.00   0.49% -0.25%   1.06%    0.98%    -0.49%     -0.61 54.50%        -$0.20   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/28/2014)
11/29/2014 Sat
11/30/2014 Sun
 12/1/2014 Mon   3,648,241   $41.10      $0.00   0.81% -0.68%   -0.60%   -1.07%    1.88%      2.32   2.19% *     $0.77    CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 12/01/2014)
                                                                                                                          CFRA Equity Research Analyst Report (Eikon - Manual Entry, 12/01/2014)
                                                                                                                          Marc USA Chicago adds senior staff as client roster grows (Chicago Business Journal Online -
                                                                                                                          Factiva, 12/01/2014)
                                                                                                                          Quintiles Launches Marketed Product Maintenance Offering to Better Manage Established
                                                                                                                          Products (Business Wire - Factiva, 12/01/2014 08:11 AM)
 12/2/2014 Tue   4,086,908   $40.72      $0.00 -0.92%   0.64%   -2.25%   -1.59%    0.66%      0.81 41.97%        $0.27    Argus Research Corporation Analyst Report (Eikon - Manual Entry, 12/02/2014)
                                                                                                                          BRIEF: CenturyLink reveals new structure, leadership (Ocala Star-Banner (Tribune Content Agency)
                                                                                                                          - Factiva, 12/02/2014)
                                                                                                                          GlobalData Analyst Report (Capital IQ - Manual Entry, 12/02/2014)
                                                                                                                          GlobalData Analyst Report (Eikon - Manual Entry, 12/02/2014)
                                                                                                                          Uptime Institute to Certify All of CenturyLink's 57 Data Centers for Management and Operations
                                                                                                                          (M&O) Excellence (PR Newswire (U.S.) - Factiva, 12/02/2014 09:00 AM)
 12/3/2014 Wed   4,758,746   $40.06      $0.00 -1.62%   0.40%   -1.01%   -0.52%   -1.11%     -1.35 18.09%        -$0.45   Level 3 Communications Inc at Bank of America Merrill Lynch Leveraged Finance Conference -
                                                                                                                          Final (CQ FD Disclosure - Factiva, 12/03/2014)
                                                                                                                          Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/03/2014)

                                                                                                                          Qwest Communications International Inc. Patent Issued for Integrated Magnetic Tablet Stand
                                                                                                                          (Journal of Engineering - Factiva, 12/03/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Integrated Magnetic Tablet Stand
                                                                                                                          (Telecommunications Weekly - Factiva, 12/03/2014)
                                                                                                                          Trademarks; An Application for the Trademark "SPIRIT OF SERVICE" Has Been Filed by
                                                                                                                          Qwest Communications International (Telecommunications Weekly - Factiva, 12/03/2014)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "BRNA" Filed
                                                                                                                          (Telecommunications Weekly - Factiva, 12/03/2014)
 12/4/2014 Thu   3,527,638   $40.05      $0.00 -0.02% -0.11%    -0.09%   -0.07%    0.05%      0.06 95.43%        $0.02    CenturyLink SAYS HIGHER SPEED MANDATE IN CAF PHASE II WILL REQUIRE OTHER
                                                                                                                          CHANGES (TR Daily - Factiva, 12/04/2014)
                                                                                                                          Contract Award: Qwest Government Services Wins Federal Modification Contract for
                                                                                                                          "UNLIMITED/FLAT-RATED BUSINESS LINE SERVICE to FAA BOOTLEGGER RIDGE; J-77;
                                                                                                                          GREAT FALLS, MT 59404" (US Fed News - Factiva, 12/04/2014)
                                                                                                                          Express Scripts executives sell over $2.8 million worth of stock: Insider trading for Nov. 19-Dec. 1
                                                                                                                          (St. Louis Business Journal Online - Factiva, 12/04/2014)
                                                                                                                          Qwest Communications International Inc. Patent Issued for Integrated Magnetic Tablet Stand
                                                                                                                          (Computer Weekly News - Factiva, 12/04/2014)
                                                                                                                          Quintiles Named Best Contract Research Organization at SCRIP Awards for Third Consecutive
                                                                                                                          Year (Business Wire - Factiva, 12/04/2014 08:00 AM)
                                                                                                                          CenturyLink adds cloud data center service to its GSA Networx contract (PR Newswire (U.S.) -
                                                                                                                          Factiva, 12/04/2014 09:00 AM)
                                                                                                                          Press Release: CenturyLink adds cloud data center service to its GSA Networx contract (Dow Jones
                                                                                                                          Institutional News - Factiva, 12/04/2014 09:00 AM)



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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

12/5/2014 Fri   3,106,620   $39.68      $0.00 -0.92%   0.17%   -0.23%   0.01%    -0.94%     -1.14 25.79%       -$0.38   CenturyLink adds cloud data center service to its GSA Networx contract (New Vision - Factiva,
                                                                                                                        12/05/2014)
                                                                                                                        CenturyLink offers $15,000 in teacher grants (The Island Packet - Factiva, 12/05/2014)
                                                                                                                        CenturyLink to Offer 1Gbps Broadband Speed for Businesses (Emirates News Agency (WAM) -
                                                                                                                        Factiva, 12/05/2014)
                                                                                                                        CenturyLink to Offer 1Gbps Broadband Speed for Businesses (New Vision - Factiva, 12/05/2014)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 12/05/2014)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 12/05/2014)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/05/2014)
                                                                                                                        Validea Analyst Report (Eikon - Manual Entry, 12/05/2014)
                                                                                                                        CenturyLink adds cloud data center service to GSA's Networx universal contract (MarketLine (a
                                                                                                                        Datamonitor Company), Company News - Factiva, 12/05/2014 10:32 AM)
                                                                                                                        CenturyLink Files 8K - Direct Or Off-Balance Sheet Financial Obligation >CTL (Dow Jones
                                                                                                                        Institutional News - Factiva, 12/05/2014 12:21 PM)
                                                                                                                        CenturyLink Files 8K - Entry Into Definitive Agreement >CTL (Dow Jones Institutional News -
                                                                                                                        Factiva, 12/05/2014 12:21 PM)
12/6/2014 Sat
12/7/2014 Sun
12/8/2014 Mon   2,721,614   $39.77      $0.00   0.23% -0.71%   0.55%    0.08%     0.14%      0.18 86.01%       $0.06    CenturyLink extends credit facility's maturity date (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 12/08/2014)
                                                                                                                        CenturyLink GETS DHS EINSTEIN 3 CONTRACT (TR Daily - Factiva, 12/08/2014)
                                                                                                                        CenturyLink Inc gets task order from the U.S. Department (Reuters Significant Developments -
                                                                                                                        Factiva, 12/08/2014)
                                                                                                                        CenturyLink awarded new DHS EINSTEIN 3 Accelerated task order (PR Newswire (U.S.) - Factiva,
                                                                                                                        12/08/2014 09:00 AM)
                                                                                                                        Press Release: CenturyLink awarded new DHS EINSTEIN 3 Accelerated task order (Dow Jones
                                                                                                                        Institutional News - Factiva, 12/08/2014 09:00 AM)
                                                                                                                        Life Sciences Tools and Services Equities Coverage - Agilent Technologies, Thermo Fisher
                                                                                                                        Scientific, Bruker, Quintiles Transnational, and Covance (PR Newswire (U.S.) - Factiva, 12/08/2014
                                                                                                                        09:05 AM)
                                                                                                                        *Fitch Publishes Rating Navigators for 18 North America Telecom Companies (Dow Jones
                                                                                                                        Institutional News - Factiva, 12/08/2014 05:25 PM)
                                                                                                                        Fitch Publishes Rating Navigators for 18 North America Telecom Companies (Reuters News -
                                                                                                                        Factiva, 12/08/2014 05:25 PM)
                                                                                                                        Fitch Publishes Rating Navigators for 18 North America Telecom Companies (Business Wire -
                                                                                                                        Factiva, 12/08/2014 05:39 PM)
                                                                                                                        Quintiles Named 2014 Frost & Sullivan Asia-Pacific CRO of the Year (Business Wire - Factiva,
                                                                                                                        12/08/2014 11:15 PM)
12/9/2014 Tue   3,224,288   $39.10      $0.00 -1.68% -0.02%    -3.19%   -2.97%    1.29%      1.57 11.95%       $0.51    CenturyLink announces award of new DHS EINSTEIN 3 Accelerated task order under IDIQ by US
                                                                                                                        Department of Homeland Security (FinancialWire - Factiva, 12/09/2014)
                                                                                                                        CenturyLink announces award of new DHS EINSTEIN 3 Accelerated task order under IDIQ by US
                                                                                                                        Department of Homeland Security (Worldwide Computer Products News - Factiva, 12/09/2014)




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      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                          CenturyLink hired to provide cybersecurity services to government agencies (M2 EquityBites -
                                                                                                                          Factiva, 12/09/2014)
                                                                                                                          CenturyLink Inc at UBS Global Media and Communications Conference - Final (CQ FD Disclosure -
                                                                                                                          Factiva, 12/09/2014)
                                                                                                                          CenturyLink to provide cybersecurity services to government agencies (Internet Business News -
                                                                                                                          Factiva, 12/09/2014)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 12/09/2014)
                                                                                                                          UBS Analyst Report (Capital IQ - Manual Entry, 12/09/2014)
                                                                                                                          UBS Analyst Report (Eikon - Manual Entry, 12/09/2014)
                                                                                                                          Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 12/09/2014)
12/10/2014 Wed   2,901,101   $38.40      $0.00 -1.79% -1.63%     -0.31%   -1.39%   -0.40%     -0.48 63.04%       -$0.16   Level 3 Communications Inc at UBS Global Media and Communications Conference - Final (CQ
                                                                                                                          FD Disclosure - Factiva, 12/10/2014)
                                                                                                                          BMO Capital Markets Analyst Report (Eikon - Manual Entry, 12/10/2014)
                                                                                                                          CenturyLink acquires DataGardens (MarketLine (a Datamonitor Company), Financial Deals Tracker -
                                                                                                                          Factiva, 12/10/2014)
                                                                                                                          Fitch Publishes Rating Navigators for 18 North America Telecom Companies (Thai News Service -
                                                                                                                          Factiva, 12/10/2014)
                                                                                                                          Trademarks; Trademark Application for "SELECT ADVANTAGE" Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 12/10/2014)
12/11/2014 Thu   2,042,830   $38.80      $0.00   1.04%   0.48%   0.26%    0.72%     0.33%       0.4 68.87%       $0.12    CenturyLink acquires Cognilytics (Reuters Significant Developments - Factiva, 12/11/2014)
                                                                                                                          CenturyLink ACQUIRES COGNILYTICS (TR Daily - Factiva, 12/11/2014)
                                                                                                                          CenturyLink Acquires Cognilytics to Extend Its IT services, Big Data, Advanced Predictive
                                                                                                                          Analytics Capabilities (India Investment News - Factiva, 12/11/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 12/11/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 12/11/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 12/11/2014)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 12/11/2014)
                                                                                                                          Sprint chief financial officer Euteneuer Joseph J awarded Non-Qualified Stock Option (right to
                                                                                                                          buy) (News Bites - People in Business - Factiva, 12/11/2014)
                                                                                                                          (PR) CenturyLink acquires Cognilytics to extend its IT services, Big Data and advanced predictive
                                                                                                                          analytics capabilities (PR Newswire (U.S.) - Factiva, 12/11/2014 04:30 PM)
                                                                                                                          *CenturyLink Acquires Cognilytics To Extend Its IT Services, Big Data And Advanced Predictive
                                                                                                                          Analytics Capabilities >CTL (Dow Jones Institutional News - Factiva, 12/11/2014 04:30 PM)

                                                                                                                          CenturyLink acquires Cognilytics to extend its IT services, Big Data and advanced predictive
                                                                                                                          analytics capabilities (Canada NewsWire - Factiva, 12/11/2014 04:30 PM)
                                                                                                                          CenturyLink acquires Cognilytics to extend its IT services, Big Data and advanced predictive
                                                                                                                          analytics capabilities (PR Newswire Asia - Factiva, 12/11/2014 04:30 PM)
                                                                                                                          CenturyLink acquires Cognilytics to extend its IT services, Big Data and advanced predictive
                                                                                                                          analytics capabilities (PR Newswire Europe - Factiva, 12/11/2014 04:30 PM)
                                                                                                                          CENTURYLINK ACQUIRES COGNILYTICS TO EXTEND ITS IT SERVICES, BIG DATA AND
                                                                                                                          ADVANCED PREDICTIVE ANALYTICS CAPABILITIES (Press Association National Newswire -
                                                                                                                          Factiva, 12/11/2014 04:30 PM)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                   Events
                                                                                                                           Press Release: CenturyLink acquires Cognilytics to extend its IT services, Big Data and advanced
                                                                                                                           predictive analytics capabilities (Dow Jones Institutional News - Factiva, 12/11/2014 04:30 PM)

12/12/2014 Fri   3,533,777   $37.58      $0.00 -3.14% -1.62%     -0.70%   -1.74%   -1.40%     -1.73   8.57%       -$0.54   CenturyLink acquires Cognilytics (Internet Business News - Factiva, 12/12/2014)
                                                                                                                           CenturyLink Acquires Cognilytics (M&A Navigator - Factiva, 12/12/2014)
                                                                                                                           CenturyLink buys Cognilytics (M2 EquityBites - Factiva, 12/12/2014)
                                                                                                                           CenturyLink buys predictive analytics company (SNL Kagan Media & Communications Report -
                                                                                                                           Factiva, 12/12/2014)
                                                                                                                           CenturyLink extends IT services, Big Data and advanced predictive analytics capabilities with
                                                                                                                           acquisition of Cognilytics (FinancialWire - Factiva, 12/12/2014)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/12/2014)
                                                                                                                           WASHINGTON -- UTC slates prehearing on CenturyLink complaint case (TR's State NewsWire -
                                                                                                                           Factiva, 12/12/2014)
12/13/2014 Sat
12/14/2014 Sun                                                                                                             CBJ: Personnel (The Daily Progress - Factiva, 12/14/2014)
12/15/2014 Mon   3,685,440   $37.78      $0.00   0.53% -0.63%    0.39%    -0.04%    0.58%       0.7 48.28%        $0.22    CenturyLink acquires Cognilytics (MarketLine (a Datamonitor Company), Financial Deals Tracker -
                                                                                                                           Factiva, 12/15/2014)
                                                                                                                           Personnel File (The Daily Progress - Factiva, 12/15/2014)
                                                                                                                           Phone-company workers hold reunions for 17 years (The Daily News (Tribune Content Agency) -
                                                                                                                           Factiva, 12/15/2014)
                                                                                                                           Rackspace racked up change in 2014 (San Antonio Business Journal Online - Factiva, 12/15/2014)

12/16/2014 Tue   3,856,590   $37.89      $0.00   0.29% -0.85%    0.62%    0.00%     0.29%      0.35 72.43%        $0.11    MarketLine Analyst Report (Eikon - Manual Entry, 12/16/2014)
                                                                                                                           Dividend stocks for solid income while U.S. interest rates remain low; Here are companies paying
                                                                                                                           good dividends with plenty of room to raise payouts (MarketWatch - Factiva, 12/16/2014 07:38 AM)

12/17/2014 Wed   2,894,587   $38.69      $0.00   2.11%   2.04%   0.48%    2.20%    -0.09%     -0.11 91.01%        -$0.04   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/17/2014)

                                                                                                                           LITIGATION OVER IntraMTA CHARGES CONSOLIDATED IN TEXAS (TR Daily - Factiva,
                                                                                                                           12/17/2014)
                                                                                                                           Trademarks; An Application for the Trademark "INFOQWEST" Has Been Filed by Qwest
                                                                                                                           Communications International (Telecommunications Weekly - Factiva, 12/17/2014)
                                                                                                                           Trademarks; Trademark Application for "QWEST VOICE ADVANTAGE" Filed by Qwest
                                                                                                                           Communications International (Telecommunications Weekly - Factiva, 12/17/2014)
                                                                                                                           Wed business briefs 12-17 (The Courier-Tribune - Factiva, 12/17/2014)
                                                                                                                           Quintiles CEO Tom Pike to Present at J.P. Morgan Healthcare Conference (Business Wire - Factiva,
                                                                                                                           12/17/2014 08:00 AM)
12/18/2014 Thu   3,127,366   $39.48      $0.00   2.04%   2.42%   0.22%    2.29%    -0.25%     -0.31 75.85%        -$0.10   CenturyLink, Inc. CenturyLink adds cloud data center service to its GSA Networx contract (Politics
                                                                                                                           & Government Week - Factiva, 12/18/2014)
                                                                                                                           Molson Coors leases three floors at 1801 California (The Denver Post - Factiva, 12/18/2014)
                                                                                                                           NTUA names new general manager for wireless service (Kuwait News Agency (KUNA) - Factiva,
                                                                                                                           12/18/2014)




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                                                                                                Appendix C
                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                    Events
                                                                                                                          TEXAS -- Litigation over IntraMTA charges consolidated (TR's State NewsWire - Factiva,
                                                                                                                          12/18/2014)
                                                                                                                          ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 12/18/2014)
                                                                                                                          (PR) CenturyLink recognized as a visionary in Gartner's Magic Quadrant for Cloud-Enabled
                                                                                                                          Managed Hosting, Asia Pacific (PR Newswire (U.S.) - Factiva, 12/18/2014 09:00 PM)
                                                                                                                          CenturyLink recognized as a visionary in Gartner's Magic Quadrant for Cloud-Enabled Managed
                                                                                                                          Hosting, Asia Pacific (Canada NewsWire - Factiva, 12/18/2014 09:00 PM)
                                                                                                                          CenturyLink recognized as a visionary in Gartner's Magic Quadrant for Cloud-Enabled Managed
                                                                                                                          Hosting, Asia Pacific (PR Newswire Asia - Factiva, 12/18/2014 09:00 PM)
                                                                                                                          CenturyLink recognized as a visionary in Gartner's Magic Quadrant for Cloud-Enabled Managed
                                                                                                                          Hosting, Asia Pacific (PR Newswire Europe - Factiva, 12/18/2014 09:00 PM)
                                                                                                                          CENTURYLINK RECOGNIZED AS A VISIONARY IN GARTNER'S MAGIC QUADRANT FOR
                                                                                                                          CLOUD-ENABLED MANAGED HOSTING, ASIA PACIFIC (Press Association National Newswire -
                                                                                                                          Factiva, 12/18/2014 09:00 PM)
                                                                                                                          Press Release: CenturyLink recognized as a visionary in Gartner's Magic Quadrant for Cloud-
                                                                                                                          Enabled Managed Hosting, Asia Pacific (Dow Jones Institutional News - Factiva, 12/18/2014 09:00
                                                                                                                          PM)
12/19/2014 Fri   4,133,051   $39.70      $0.00   0.56%   0.46%   -0.29%   0.23%     0.33%      0.42 67.87%       $0.13    Briefs (The Denver Post - Factiva, 12/19/2014)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/19/2014)
                                                                                                                          Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 12/19/2014)
                                                                                                                          Sadif Analytics Analyst Report (Eikon - Manual Entry, 12/19/2014)
                                                                                                                          The Zacks Analyst Blog Highlights: T-Mobile US, Vodafone Group, Sprint, CenturyLink and
                                                                                                                          Frontier Communications (PR Newswire (U.S.) - Factiva, 12/19/2014 09:30 AM)
12/20/2014 Sat                                                                                                            CenturyLink strikes cable TV deal with Portland; service could begin in 2015 (The Oregonian
                                                                                                                          (Tribune Content Agency) - Factiva, 12/20/2014)
12/21/2014 Sun                                                                                                            CenturyLink makes a play for cable subscribers (The Oregonian - Factiva, 12/21/2014)
12/22/2014 Mon   2,419,168   $40.19      $0.00   1.23%   0.40%   0.76%    1.15%     0.09%      0.11 91.43%       $0.03    CenturyLink recognized as a visionary in GartnerÃ¢â‚¬â„¢s Magic Quadrant for Cloud-Enabled
                                                                                                                          Managed Hosting, Asia Pacific (ENP Newswire - Factiva, 12/22/2014)
12/23/2014 Tue   1,615,878   $40.23      $0.00 0.10% 0.18%        0.29%   0.56%    -0.46%      -0.6 55.13%       -$0.19
12/24/2014 Wed     887,602   $40.18      $0.00 -0.12% -0.01%     -0.05%   0.09%    -0.22%     -0.28 78.20%       -$0.09   CenturyLink, Inc. CenturyLink acquires Cognilytics to extend its IT services, Big Data and
                                                                                                                          advanced predictive analytics capabilities (Journal of Engineering - Factiva, 12/24/2014)
                                                                                                                          Puckett Karen A completes fifth year as CenturyLink COO 23 December 2014 (News Bites - People
                                                                                                                          in Business - Factiva, 12/24/2014)
                                                                                                                          Stacey W. Goff completes fifth year as CenturyLink Executive Vice President 23 December 2014
                                                                                                                          (News Bites - People in Business - Factiva, 12/24/2014)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                          FUSION" Filed (Telecommunications Weekly - Factiva, 12/24/2014)
                                                                                                                          CenturyLink receives task order to provide EINSTEIN cybersecurity services (MarketLine (a
                                                                                                                          Datamonitor Company), Company News - Factiva, 12/24/2014 08:56 AM)
12/25/2014 Thu                                                                                                            CenturyLink, Inc. CenturyLink awarded new DHS EINSTEIN 3 Accelerated task order (Computer
                                                                                                                          Weekly News - Factiva, 12/25/2014)
                                                                                                                          CenturyLink, Inc. CenturyLink awarded new DHS EINSTEIN 3 Accelerated task order (Politics &
                                                                                                                          Government Week - Factiva, 12/25/2014)
12/26/2014 Fri   1,377,826   $40.48      $0.00   0.75%   0.33%   0.31%    0.71%     0.04%      0.05 96.10%       $0.02    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/26/2014)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink Schedules Fourth Quarter 2014 Earnings Conference Call (PR Newswire (U.S.) -
                                                                                                                          Factiva, 12/26/2014 04:15 PM)
                                                                                                                          Press Release: CenturyLink Schedules Fourth Quarter 2014 Earnings Conference Call (Dow Jones
                                                                                                                          Institutional News - Factiva, 12/26/2014 04:15 PM)
12/27/2014 Sat                                                                                                            General manager named for Choice NTUA Wireless on reservation (The Gallup Independent -
                                                                                                                          Factiva, 12/27/2014)
12/28/2014 Sun
12/29/2014 Mon   2,047,890   $40.53      $0.00   0.12%   0.10%   -0.44%   -0.19%    0.32%      0.41 68.06%       $0.13    CenturyLink Schedules Fourth Quarter 2014 Earnings Conference Call (ENP Newswire - Factiva,
                                                                                                                          12/29/2014)
12/30/2014 Tue   1,870,680   $40.09      $0.00 -1.09% -0.48%     0.00%    -0.26%   -0.83%     -1.08 28.12%       -$0.34   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/30/2014)

                                                                                                                          BuySellSignals Research Analyst Report (Eikon - Manual Entry, 12/30/2014)
12/31/2014 Wed   1,695,636   $39.58      $0.00 -1.27% -1.03%     -0.53%   -1.21%   -0.06%     -0.08 93.95%       -$0.02   Trademarks; An Application for the Trademark "GEOMAX" Has Been Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 12/31/2014)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "Q QWEST
                                                                                                                          ARENA" Filed (Telecommunications Weekly - Factiva, 12/31/2014)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "SPIRIT OF
                                                                                                                          SERVICE" Filed (Telecommunications Weekly - Factiva, 12/31/2014)
                                                                                                                          Verso to sell 2 paper mills in order to buy NewPage (Associated Press Newswires - Factiva,
                                                                                                                          12/31/2014 02:29 PM)
                                                                                                                          BC-ME--Maine News Digest 6 pm, ME (Associated Press Newswires - Factiva, 12/31/2014 06:02 PM)

  1/1/2015 Thu                                                                                                            S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 01/01/2015)
  1/2/2015 Fri   2,203,929   $39.59      $0.00   0.03% -0.02%    0.58%    0.68%    -0.65%     -0.86 39.43%       -$0.26   C. G. Melville starts forty-eighth year as CenturyLink Director 01 January 2015 (News Bites -
                                                                                                                          People in Business - Factiva, 01/02/2015)
                                                                                                                          Glen F. Post brings an eight bagger value to CenturyLink 01 January 2015 (News Bites - People in
                                                                                                                          Business - Factiva, 01/02/2015)
                                                                                                                          Harvey P. Perry brings an eight bagger value to CenturyLink 01 January 2015 (News Bites - People
                                                                                                                          in Business - Factiva, 01/02/2015)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/02/2015)
                                                                                                                          Joseph R. Zimmel brings three bagger value to CenturyLink 01 January 2015 (News Bites - People
                                                                                                                          in Business - Factiva, 01/02/2015)
                                                                                                                          Laurie A. Siegel brings three bagger value to CenturyLink 01 January 2015 (News Bites - People in
                                                                                                                          Business - Factiva, 01/02/2015)
                                                                                                                          R. Stewart Ewing Jr. starts thirty-third year as CenturyLink CFO 01 January 2015 (News Bites -
                                                                                                                          People in Business - Factiva, 01/02/2015)
                                                                                                                          Virginia Boulet brings an eight bagger value to CenturyLink 01 January 2015 (News Bites - People
                                                                                                                          in Business - Factiva, 01/02/2015)
                                                                                                                          W. Bruce Hanks brings an eight bagger value to CenturyLink 01 January 2015 (People in Business -
                                                                                                                          Factiva, 01/02/2015)
  1/3/2015 Sat
  1/4/2015 Sun
  1/5/2015 Mon   3,036,874   $38.75      $0.00 -2.12% -1.82%     0.25%    -1.14%   -0.98%     -1.29 20.13%       -$0.39   CenturyLink appoints SVP, GM of CenturyLink Government (Telecompaper Americas - Factiva,
                                                                                                                          01/05/2015)




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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink SVP (TR Daily - Factiva, 01/05/2015)
                                                                                                                          WASHINGTON -- UTC reschedules prehearing on CenturyLink complaint case (TR's State
                                                                                                                          NewsWire - Factiva, 01/05/2015)
                                                                                                                          Press Release: Tim Meehan named SVP and GM of CenturyLink Government (Dow Jones
                                                                                                                          Institutional News - Factiva, 01/05/2015 09:00 AM)
                                                                                                                          Tim Meehan named SVP and GM of CenturyLink Government (PR Newswire (U.S.) - Factiva,
                                                                                                                          01/05/2015 09:00 AM)
 1/6/2015 Tue   4,186,158   $38.27      $0.00 -1.24% -0.89%     1.01%    0.33%    -1.57%     -2.04   4.41% *     -$0.61   CenturyLink Inc at Citi Global Internet, Media & Telecommunications Conference - Final (CQ FD
                                                                                                                          Disclosure - Factiva, 01/06/2015)
                                                                                                                          CenturyLink names Tim Meehan as SVP and GM of CenturyLink Government (FinancialWire -
                                                                                                                          Factiva, 01/06/2015)
                                                                                                                          MarketLine Analyst Report (Eikon - Manual Entry, 01/06/2015)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 01/06/2015)
 1/7/2015 Wed   3,642,759   $38.47      $0.00   0.52%   1.19%   -1.04%   0.21%     0.31%       0.4 68.84%        $0.12    Level 3 Communications Inc at Citi Global Internet, Media & Telecommunications Conference -
                                                                                                                          Final (CQ FD Disclosure - Factiva, 01/07/2015)
 1/8/2015 Thu   2,882,255   $38.86      $0.00   1.01%   1.79%   0.38%    2.05%    -1.04%     -1.33 18.75%        -$0.40   Verso acquires larger rival NewPage, affecting 2 Maine mills (Associated Press Newswires - Factiva,
                                                                                                                          01/08/2015 06:12 PM)
 1/9/2015 Fri   2,180,248   $38.40      $0.00 -1.18% -0.84%     -0.05%   -0.65%   -0.53%     -0.67 50.17%        -$0.21   GlobalData Analyst Report (Capital IQ - Manual Entry, 01/09/2015)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/09/2015)
1/10/2015 Sat
1/11/2015 Sun
1/12/2015 Mon   2,586,849   $38.65      $0.00 0.65% -0.81%      1.12%    0.42%     0.23%      0.29 76.98%         $0.09
1/13/2015 Tue   3,282,626   $38.60      $0.00 -0.13% -0.25%     0.33%    0.20%    -0.33%     -0.41 68.05%        -$0.13   Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/13/2015)
                                                                                                                          Judge to rule on union's lawsuit against Maine mill sale (Associated Press Newswires - Factiva,
                                                                                                                          01/13/2015 06:23 PM)
1/14/2015 Wed   2,607,390   $38.31      $0.00 -0.75% -0.58%     0.00%    -0.40%   -0.35%     -0.44 65.91%        -$0.13   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 01/14/2015)

                                                                                                                          CenturyLink shakes up Denver leadership (Denver Business Journal Online - Factiva, 01/14/2015)

                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "YOUR
                                                                                                                          QWEST" Filed (Telecommunications Weekly - Factiva, 01/14/2015)
                                                                                                                          Review on Diversified Telecommunication Stocks - CenturyLink, Telefonica Brasil, Oi S.A., Vonage
                                                                                                                          Holdings, and Globalstar (PR Newswire (U.S.) - Factiva, 01/14/2015 08:50 AM)
1/15/2015 Thu   3,149,255   $38.30      $0.00 -0.03% -0.92%     0.61%    -0.15%    0.12%      0.15 87.97%        $0.05    Trademarks; Qwest Communications International's Trademark Application for "YOUR
                                                                                                                          QWEST" Filed (Computer Weekly News - Factiva, 01/15/2015)
                                                                                                                          Expression Analysis Announces 2014 Grant Winners (Business Wire - Factiva, 01/15/2015 08:00 AM)

1/16/2015 Fri   4,558,435   $38.40      $0.00   0.26%   1.34%   0.84%    2.04%    -1.78%     -2.26   2.55% *     -$0.68   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/16/2015)
                                                                                                                          More on the cover story: CenturyLink's Prism TV is 'closer' in Denver, but not here yet (Denver
                                                                                                                          Business Journal Online - Factiva, 01/16/2015)
                                                                                                                          United States : CENTURYLINK acquires two companies to profit in the future (All Iraq News
                                                                                                                          Agency - Factiva, 01/16/2015)
1/17/2015 Sat                                                                                                             State consumer advocate offers rooftop solar advice (The Arizona Republic - Factiva, 01/17/2015)




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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                   Events
1/18/2015 Sun
1/19/2015 Mon                                                                                                             Super Mover: a closer look behind a prominent promotion.(Movers + Shakers) (Arkansas Business -
                                                                                                                          Factiva, 01/19/2015)
                                                                                                                          CenturyLink names senior vice president of CenturyLink Government (MarketLine (a Datamonitor
                                                                                                                          Company), Company News - Factiva, 01/19/2015 03:28 AM)
                                                                                                                          Quintiles' Fourth Quarter 2014 Earnings Call Scheduled for Thursday, February 12th (Business
                                                                                                                          Wire - Factiva, 01/19/2015 08:00 AM)
1/20/2015 Tue   2,498,302   $38.74      $0.00   0.89%   0.16%   0.30%    0.49%     0.39%      0.49 62.33%        $0.15    Alteva to study options after activist's push (The Deal - Factiva, 01/20/2015)
                                                                                                                          Company Up For Sale | Alteva Inc. (The Deal - Factiva, 01/20/2015)
                                                                                                                          MarketLine Analyst Report (Eikon - Manual Entry, 01/20/2015)
1/21/2015 Wed   3,483,161   $38.63      $0.00 -0.28%    0.49%   -0.11%   0.39%    -0.67%     -0.96 33.90%        -$0.26   CenturyLink, Inc. Tim Meehan named SVP and GM of CenturyLink Government (Journal of
                                                                                                                          Engineering - Factiva, 01/21/2015)
                                                                                                                          Trademarks; Trademark Application for "SPIRIT OF SERVICE" Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 01/21/2015)
                                                                                                                          ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 01/21/2015)
1/22/2015 Thu   3,538,262   $39.37      $0.00   1.92%   1.53%   -1.67%   0.16%     1.76%      2.51   1.34% *     $0.68    CenturyLink director C. G. Melville sells 21 January 2015 (News Bites - People in Business - Factiva,
                                                                                                                          01/22/2015)
                                                                                                                          CenturyLink, Inc. Tim Meehan named SVP and GM of CenturyLink Government (Politics &
                                                                                                                          Government Week - Factiva, 01/22/2015)
                                                                                                                          Trademarks; Trademark Application for "SPIRIT OF SERVICE" Filed by Qwest
                                                                                                                          Communications International (Computer Weekly News - Factiva, 01/22/2015)
                                                                                                                          Investigator Initiated Trials is Topic of New Handbook Sponsored by Quintiles (Business Wire -
                                                                                                                          Factiva, 01/22/2015 10:00 PM)
1/23/2015 Fri   2,984,939   $39.24      $0.00 -0.33% -0.55%     -0.85%   -1.03%    0.70%      0.98 32.93%        $0.27    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/23/2015)
                                                                                                                          TELCO MVPDs WANT RETRANS FEES ADDRESSED; FSF WANTS VIDEO-SPECIFIC
                                                                                                                          APPROACH ENDED (TR Daily - Factiva, 01/23/2015)
                                                                                                                          Tim Meehan named SVP and GM of CenturyLink Government.(BUSINESS) (Fiber Optics Weekly
                                                                                                                          Update - Factiva, 01/23/2015)
1/24/2015 Sat
1/25/2015 Sun
1/26/2015 Mon   2,556,616   $39.00      $0.00 -0.61%    0.26%   -0.57%   -0.10%   -0.51%     -0.71 47.76%        -$0.20   ACA, NTCA CALL FOR RETRANS CONSENT CHANGES IN RESPONSES TO HOUSE E&C
                                                                                                                          WHITE PAPER (TR Daily - Factiva, 01/26/2015)
                                                                                                                          Mariner nabs RubinBrown partner to lead its local tax business (Kansas City Business Journal Online
                                                                                                                          - Factiva, 01/26/2015)
1/27/2015 Tue   3,018,176   $38.79      $0.00 -0.54% -1.34%     -0.25%   -1.33%    0.79%       1.1 27.21%        $0.31    Google to Phoenix: No fiber for you (Phoenix Business Journal Online - Factiva, 01/27/2015)
                                                                                                                          Telecommunication Companies; Patent Issued for Location Based Access to Financial Information
                                                                                                                          Systems and Methods (Information Technology Newsweekly - Factiva, 01/27/2015)
1/28/2015 Wed   2,758,673   $38.35      $0.00 -1.13% -1.34%     0.36%    -0.90%   -0.23%     -0.32 74.95%        -$0.09   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 01/28/2015)

                                                                                                                          Telecommunication Companies; Patent Issued for Location Based Access to Financial Information
                                                                                                                          Systems and Methods (Journal of Engineering - Factiva, 01/28/2015)
                                                                                                                          Telecommunication Companies; Patent Issued for Location Based Access to Financial Information
                                                                                                                          Systems and Methods (Telecommunications Weekly - Factiva, 01/28/2015)




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                                                             Excess                                             Abnormal
                                                     Market Industry Predicted Abnormal                           Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                 Events
                                                                                                                           Trademarks; An Application for the Trademark "Q QWEST ARENA" Has Been Filed by Qwest
                                                                                                                           Communications International (Telecommunications Weekly - Factiva, 01/28/2015)
1/29/2015 Thu   5,231,057   $37.50      $0.00 -2.22%    0.96%   -0.19%   0.78%    -3.00%     -4.19   0.01% **     -$1.15   BMO Capital Markets Analyst Report (Eikon - Manual Entry, 01/29/2015)
                                                                                                                           WASHINGTON -- UTC to hold hearing on 2013 CenturyLink outage (TR's State NewsWire -
                                                                                                                           Factiva, 01/29/2015)
1/30/2015 Fri   7,269,765   $37.17      $0.00 -0.88% -1.30%     0.34%    -0.87%   -0.01%     -0.02 98.63%         $0.00    Fred R. Nichols of CenturyLink in top quartile of NYSE Director Scorecard for past year (News
                                                                                                                           Bites - People in Business - Factiva, 01/30/2015)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/30/2015)
                                                                                                                           William A. Owens of CenturyLink in top quartile of NYSE Chairman Scorecard for past year
                                                                                                                           (News Bites - People in Business - Factiva, 01/30/2015)
1/31/2015 Sat
 2/1/2015 Sun
 2/2/2015 Mon   4,684,915   $38.22      $0.00   2.82%   1.30%   1.55%    2.14%     0.68%      0.91 36.25%         $0.25    BRIEFS. (NewsInc - Factiva, 02/02/2015)
 2/3/2015 Tue   5,637,870   $39.59      $0.00   3.58%   1.45%   1.14%    2.03%     1.55%      2.08   3.97% *      $0.59    CenturyLink has low-income assistance programs (Bristol Herald Courier - Factiva, 02/03/2015)
                                                                                                                           D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 02/03/2015)
                                                                                                                           D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 02/03/2015)
 2/4/2015 Wed   3,856,682   $39.41      $0.00 -0.45% -0.39%     0.38%    -0.05%   -0.41%     -0.54 59.23%         -$0.16   CenturyLink, pursuing cable TV in Portland, already looking toward suburbs (The Oregonian
                                                                                                                           (Tribune Content Agency) - Factiva, 02/04/2015)
                                                                                                                           Event Brief of Q4 2014 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                                           Factiva, 02/04/2015)
                                                                                                                           Gigabit arrives without Google (The Oregonian - Factiva, 02/04/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/04/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/04/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/04/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/04/2015)
                                                                                                                           Q4 2014 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 02/04/2015)

                                                                                                                           Trademarks; An Application for the Trademark "DOMESTIC NETWORK DIVERSITY" Has
                                                                                                                           Been Filed by Qwest Communications International (Telecommunications Weekly - Factiva,
                                                                                                                           02/04/2015)
                                                                                                                           Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 02/04/2015)
 2/5/2015 Thu   5,445,432   $38.43      $0.00 -2.49%    1.05%   -0.28%   0.75%    -3.24%     -4.33   0.00% **     -$1.28   Janet K. Cooper - Toro Company updates director's profile 05 February 2015 (News Bites - People
                                                                                                                           in Business - Factiva, 02/05/2015)
                                                                                                                           S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 02/05/2015)
 2/6/2015 Fri   3,626,682   $38.56      $0.00   0.34% -0.32%    2.13%    1.27%    -0.94%     -1.16 24.71%         -$0.36   BRIEF: Idaho Campaigns Benefit from Broadband Contractors' Largesse (The Times-News
                                                                                                                           (Tribune Content Agency) - Factiva, 02/06/2015)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/06/2015)
                                                                                                                           Dr. John Leonard Elected to Quintiles Transnational Holdings Inc. Board of Directors (Business
                                                                                                                           Wire - Factiva, 02/06/2015 08:00 AM)
                                                                                                                           Quintiles Continues Governance Transition Plan (Business Wire - Factiva, 02/06/2015 08:00 AM)

 2/7/2015 Sat                                                                                                              Morgan Stanley Analyst Report (Eikon - Manual Entry, 02/07/2015)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]         [12]                                                    [13]
                                                              Excess                                             Abnormal
                                                      Market Industry Predicted Abnormal                           Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                  Events
 2/8/2015 Sun
 2/9/2015 Mon   11,608,076   $39.67      $0.00   2.88% -0.42%    -0.13%   -0.46%    3.34%      4.13   0.01% **     $1.29    Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 02/09/2015)
                                                                                                                            MW UPDATE: Hasbro, Qualcomm rally; Abercrombie, Alcoa retreat (MarketWatch - Factiva,
                                                                                                                            02/09/2015 10:38 AM)
2/10/2015 Tue    5,651,826   $40.18      $0.00   1.29%   1.07%   0.06%    0.96%     0.32%      0.38 70.82%         $0.13    Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 02/10/2015)
                                                                                                                            CenturyLink launches 1 gigabit fiber service for Southern Utah business customers (PR Newswire
                                                                                                                            (U.S.) - Factiva, 02/10/2015 07:00 AM)
                                                                                                                            Press Release: CenturyLink launches 1 gigabit fiber service for Southern Utah business customers
                                                                                                                            (Dow Jones Institutional News - Factiva, 02/10/2015 07:00 AM)
                                                                                                                            Quintiles Works with NFL to Track Injuries and Understand Trends (Business Wire - Factiva,
                                                                                                                            02/10/2015 08:00 AM)
2/11/2015 Wed    5,111,313   $40.52      $0.00   0.85%   0.03%   -0.26%   -0.13%    0.98%      1.13 25.96%         $0.39    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                            Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 02/11/2015)

                                                                                                                            BMO Capital Markets Analyst Report (Eikon - Manual Entry, 02/11/2015)
                                                                                                                            BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/11/2015)
                                                                                                                            BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/11/2015)
                                                                                                                            CenturyLink Inc gives Q1 2015 guidance; EPS guidance below analysts' estimates; gives FY 2015
                                                                                                                            guidance in line with analysts' estimates (Reuters Significant Developments - Factiva, 02/11/2015)

                                                                                                                            CenturyLink Q4 Results Miss Estimates (RTT News - Factiva, 02/11/2015)
                                                                                                                            CenturyLink REPORTS SLIGHT QUARTERLY REVENUE DECLINE (TR Daily - Factiva,
                                                                                                                            02/11/2015)
                                                                                                                            CenturyLinkÃ¢â‚¬â„¢s 1 Gb/s fibre service now available for Southern Utah businesses
                                                                                                                            (FinancialWire - Factiva, 02/11/2015)
                                                                                                                            Event Brief of Q4 2014 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                            02/11/2015)
                                                                                                                            Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 02/11/2015)
                                                                                                                            Jefferies LLC Analyst Report (Eikon - Manual Entry, 02/11/2015)
                                                                                                                            JP Morgan Analyst Report (Capital IQ - Manual Entry, 02/11/2015)
                                                                                                                            JP Morgan Analyst Report (Capital IQ - Manual Entry, 02/11/2015)
                                                                                                                            Q4 2014 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 02/11/2015)
                                                                                                                            Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 02/11/2015)
                                                                                                                            Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 02/11/2015)
                                                                                                                            UBS Analyst Report (Capital IQ - Manual Entry, 02/11/2015)
                                                                                                                            UBS Analyst Report (Capital IQ - Manual Entry, 02/11/2015)
                                                                                                                            UBS Analyst Report (Eikon - Manual Entry, 02/11/2015)
                                                                                                                            UBS Analyst Report (Eikon - Manual Entry, 02/11/2015)
                                                                                                                            Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 02/11/2015)
                                                                                                                            Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 02/11/2015)
                                                                                                                            Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 02/11/2015)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]         [12]                                                    [13]
                                                              Excess                                             Abnormal
                                                      Market Industry Predicted Abnormal                           Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                  Events
                                                                                                                            CenturyLink 4Q Adj EPS 60c >CTL (Dow Jones Newswires Chinese (English) - Factiva, 02/11/2015
                                                                                                                            04:05 PM)
                                                                                                                            CenturyLink Reports Fourth Quarter And Full-Year 2014 Results (PR Newswire (U.S.) - Factiva,
                                                                                                                            02/11/2015 04:05 PM)
                                                                                                                            CenturyLink Adds High-Speed Internet, Prism TV Subscribers; Revenue Slips (Dow Jones
                                                                                                                            Institutional News - Factiva, 02/11/2015 07:27 PM)
                                                                                                                            CenturyLink Adds High-Speed Internet, Prism TV Subscribers; Revenue Slips (Dow Jones
                                                                                                                            Institutional News - Factiva, 02/11/2015 07:42 PM)
2/12/2015 Thu   12,709,861   $39.29      $0.00 -3.04%    0.99%   -0.62%   0.43%    -3.46%     -3.99   0.01% **     -$1.40   CenturyLink core revenues dip 1.5% (Internet Business News - Factiva, 02/12/2015)
                                                                                                                            CenturyLink core revenues down 1.5% (M2 EquityBites - Factiva, 02/12/2015)
                                                                                                                            CenturyLink expects to reach revenue stability in 2015 (SNL Financial Extra - Factiva, 02/12/2015)

                                                                                                                            CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 02/12/2015)
                                                                                                                            CFRA Equity Research Analyst Report (Eikon - Manual Entry, 02/12/2015)
                                                                                                                            Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 02/12/2015)
                                                                                                                            FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 02/12/2015)
                                                                                                                            Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 02/12/2015)
                                                                                                                            Jefferies LLC Analyst Report (Eikon - Manual Entry, 02/12/2015)
                                                                                                                            JP Morgan Analyst Report (Eikon - Manual Entry, 02/12/2015)
                                                                                                                            Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 02/12/2015)
                                                                                                                            Morgan Stanley Analyst Report (Eikon - Manual Entry, 02/12/2015)
                                                                                                                            Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/12/2015)
                                                                                                                            Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/12/2015)
                                                                                                                            Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/12/2015)
                                                                                                                            Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/12/2015)
                                                                                                                            Nomura Analyst Report (Eikon - Manual Entry, 02/12/2015)
                                                                                                                            Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 02/12/2015)
                                                                                                                            Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 02/12/2015)
                                                                                                                            Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 02/12/2015)
                                                                                                                            ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 02/12/2015)
                                                                                                                            Quintiles 4th Quarter 2014 Results and 2015 Guidance (Business Wire - Factiva, 02/12/2015 06:00
                                                                                                                            AM)
                                                                                                                            Integrated Telecommunication Services Stocks Technical Data -- Frontier Communications,
                                                                                                                            Windstream Holdings, CenturyLink, Telefonica, and Orange (PR Newswire (U.S.) - Factiva,
                                                                                                                            02/12/2015 09:01 AM)
2/13/2015 Fri    4,680,862   $39.46      $0.00   0.43%   0.42%   -0.44%   0.08%     0.36%      0.41 68.35%         $0.14    CenturyLink Reports Fourth Quarter And Full-Year 2014 Results (ENP Newswire - Factiva,
                                                                                                                            02/13/2015)
                                                                                                                            Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/13/2015)
                                                                                                                            River Ranch developer lands project near CenturyLink HQ (The Acadiana Advocate - Factiva,
                                                                                                                            02/13/2015)




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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                  Events
                                                                                                                           CenturyLink to Participate in Analyst Conferences (PR Newswire (U.S.) - Factiva, 02/13/2015 04:15
                                                                                                                           PM)
2/14/2015 Sat
2/15/2015 Sun                                                                                                              HIGH SCHOOL BROADBAND PLAN NEEDS 'RESET' (The Spokesman-Review - Factiva,
                                                                                                                           02/15/2015)
                                                                                                                           The Spokesman-Review, Spokane, Wash., Eye on Boise column (The Spokesman-Review (Tribune
                                                                                                                           Content Agency) - Factiva, 02/15/2015)
2/16/2015 Mon                                                                                                              CenturyLink reports lower Q4 net income, provides outlook for 2015 (MarketLine (a Datamonitor
                                                                                                                           Company), Company News - Factiva, 02/16/2015 09:28 AM)
                                                                                                                           IBM, CenturyLink and State of Louisiana create innovative model to drive high-value skills for the
                                                                                                                           Digital Economy (PR Newswire (U.S.) - Factiva, 02/16/2015 04:00 PM)
                                                                                                                           Press Release: IBM, CenturyLink and State of Louisiana create innovative model to drive high-
                                                                                                                           value skills for the Digital Economy (Dow Jones Institutional News - Factiva, 02/16/2015 04:00 PM)

2/17/2015 Tue    4,018,714   $39.23      $0.00 -0.58%   0.18%   -0.19%   0.05%    -0.63%     -0.72 47.13%         -$0.25   BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/17/2015)
                                                                                                                           IBM, CenturyLink and State of Louisiana create innovative model to drive high-value skills for the
                                                                                                                           Digital Economy (ENP Newswire - Factiva, 02/17/2015)
                                                                                                                           IBM, CenturyLink and State of Louisiana create innovative model to drive high-value skills for the
                                                                                                                           Digital Economy (ENP Newswire - Factiva, 02/17/2015)
                                                                                                                           IBM, CenturyLink and State of Louisiana create innovative model to drive high-value skills for the
                                                                                                                           Digital Economy (ENP Newswire - Factiva, 02/17/2015)
                                                                                                                           Idaho lawmakers, school officials move to replace troubled broadband network (New Vision -
                                                                                                                           Factiva, 02/17/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/17/2015)
                                                                                                                           Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 02/17/2015)
                                                                                                                           Sadif Analytics Analyst Report (Eikon - Manual Entry, 02/17/2015)
                                                                                                                           School broadband leads Idaho lawmakers' agenda (The Spokesman-Review (Tribune Content Agency)
                                                                                                                           - Factiva, 02/17/2015)
                                                                                                                           SCHOOL BROADBAND ON AGENDA Lawmakers looking for waysto keep service functioning
                                                                                                                           (The Spokesman-Review - Factiva, 02/17/2015)
                                                                                                                           IBM and CenturyLink announce 10-year business transformation agreement (MarketLine (a
                                                                                                                           Datamonitor Company), Company News - Factiva, 02/17/2015 10:26 AM)
2/18/2015 Wed   10,148,625   $37.51      $0.00 -4.38% -0.03%    -0.57%   -0.39%   -3.99%     -4.57   0.00% **     -$1.57   BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/18/2015)
                                                                                                                           Cloudera Hadoop Partner Ecosystem Increases by more than 75% in the Past Year (ENP Newswire -
                                                                                                                           Factiva, 02/18/2015)
                                                                                                                           IBM, CenturyLink team up to create jobs in Louisiana (SNL Kagan Media & Communications Report
                                                                                                                           - Factiva, 02/18/2015)
                                                                                                                           Liberty Interactive unit reports semiannual payment on debentures (SNL Kagan Media &
                                                                                                                           Communications Report - Factiva, 02/18/2015)
                                                                                                                           Macquarie Research Analyst Report (Eikon - Manual Entry, 02/18/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/18/2015)
                                                                                                                           Trademarks; An Application for the Trademark "I INCREDIBLE INTERNET" Has Been Filed by
                                                                                                                           Qwest Communications International (Telecommunications Weekly - Factiva, 02/18/2015)




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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                   Events
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "Q SELF
                                                                                                                          SERVICE" Filed (Telecommunications Weekly - Factiva, 02/18/2015)
                                                                                                                          United States : Cloudera Hadoop partner ecosystem increases by more than 75% in the past year
                                                                                                                          (Cihan News Agency (CNA) - Factiva, 02/18/2015)
2/19/2015 Thu   4,837,612   $37.59      $0.00   0.21% -0.09%    -0.49%   -0.44%    0.66%      0.69 48.89%        $0.25    Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/19/2015)
                                                                                                                          Quintiles Named to FORTUNE Magazine's 2015 List of "World's Most Admired Companies"
                                                                                                                          (Business Wire - Factiva, 02/19/2015 10:31 AM)
                                                                                                                          Morgan Stanley's Windstream Preview: 'The REIT Path Forward?' (Benzinga.com - Factiva,
                                                                                                                          02/19/2015 04:11 PM)
2/20/2015 Fri   6,748,371   $37.02      $0.00 -1.52%    0.63%   -0.25%   0.34%    -1.85%     -1.95   5.35%       -$0.70   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/20/2015)
2/21/2015 Sat
2/22/2015 Sun
2/23/2015 Mon   4,678,707   $36.63      $0.00 -1.05% -0.03%     -0.51%   -0.42%   -0.64%     -0.66 51.04%        -$0.24   CenturyLink Declares Quarterly Cash Dividend (M2 Presswire - Factiva, 02/23/2015)
                                                                                                                          CenturyLink successfully delivers terabit speeds in central Florida field trial (M2 Presswire -
                                                                                                                          Factiva, 02/23/2015)
                                                                                                                          CenturyLink successfully delivers terabit speeds in central Florida field trial (M2 Presswire -
                                                                                                                          Factiva, 02/23/2015)
                                                                                                                          CenturyLink successfully delivers terabit speeds in central Florida field trial (PR Newswire (U.S.) -
                                                                                                                          Factiva, 02/23/2015 08:00 AM)
                                                                                                                          Press Release: CenturyLink successfully delivers terabit speeds in central Florida field trial (Dow
                                                                                                                          Jones Institutional News - Factiva, 02/23/2015 08:00 AM)
                                                                                                                          CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 02/23/2015 05:53
                                                                                                                          PM)
                                                                                                                          Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                          Factiva, 02/23/2015 05:53 PM)
2/24/2015 Tue   3,960,731   $37.06      $0.00   1.17%   0.28%   0.40%    0.50%     0.68%       0.7 48.50%        $0.25    CenturyLink announces USD0.54 dividend (Internet Business News - Factiva, 02/24/2015)
                                                                                                                          CenturyLink Declares Quarterly Cash Dividend (ENP Newswire - Factiva, 02/24/2015)
                                                                                                                          CenturyLink declares USD0.54 dividend (M2 EquityBites - Factiva, 02/24/2015)
                                                                                                                          CenturyLink director C. G. Melville sells 23 February 2015 (People in Business - Factiva, 02/24/2015)

                                                                                                                          CenturyLink partners with Ciena to successfully deliver terabit speeds in field trial in central
                                                                                                                          Florida (FinancialWire - Factiva, 02/24/2015)
                                                                                                                          CenturyLink successfully delivers terabit speeds in central Florida field trial (ENP Newswire -
                                                                                                                          Factiva, 02/24/2015)
                                                                                                                          CenturyLinkÃ¢â‚¬â„¢s board declares USD0.54 per share quarterly cash dividend (FinancialWire -
                                                                                                                          Factiva, 02/24/2015)
                                                                                                                          COLORADO - PUC adopts temporary rules for 911 location information (TR's State NewsWire -
                                                                                                                          Factiva, 02/24/2015)
                                                                                                                          Gerald Ã¢â‚¬ËœBuck' Hilton Sr. 1933-2015 (The Register-Mail - Factiva, 02/24/2015)
                                                                                                                          Moodyâ€™s Analyst Report (Eikon - Manual Entry, 02/24/2015)
                                                                                                                          United States : CenturyLink successfully delivers terabit speeds in central Florida field trial (Saudi
                                                                                                                          Press Agency - Factiva, 02/24/2015)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
2/25/2015 Wed   3,045,561   $37.30      $0.00   0.65% -0.06%   0.23%    0.10%     0.55%      0.57 57.31%       $0.20    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 02/25/2015)

2/26/2015 Thu   4,527,963   $37.40      $0.00   0.27% -0.13%   0.56%    0.28%    -0.02%     -0.02 98.63%       -$0.01   Cut on CenturyLink cable leads to northern Arizona outage (SNL Financial Extra - Factiva,
                                                                                                                        02/26/2015)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/26/2015)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/26/2015)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/26/2015)
2/27/2015 Fri   4,971,031   $37.86      $0.00   1.23% -0.29%   0.39%    0.02%     1.21%      1.25 21.45%       $0.45    County grants license to CenturyLink (The Salt Lake Tribune - Factiva, 02/27/2015)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/27/2015)
                                                                                                                        Technology. (Fiber Optics Weekly Update - Factiva, 02/27/2015)
2/28/2015 Sat                                                                                                           CenturyLink, Inc. CenturyLink launches 1 gigabit fiber service for Southern Utah business
                                                                                                                        customers (Investment Weekly News - Factiva, 02/28/2015)
                                                                                                                        ISG Technology Welcomes New Vice President Matt Brickey (Kuwait News Agency (KUNA) -
                                                                                                                        Factiva, 02/28/2015)
 3/1/2015 Sun
 3/2/2015 Mon   4,453,160   $37.63      $0.00 -0.61%   0.62%   -0.27%   0.30%    -0.90%     -0.93 35.52%       -$0.34   Level 3 Communications Inc at Morgan Stanley Technology, Media & Telecom Conference - Final
                                                                                                                        (CQ FD Disclosure - Factiva, 03/02/2015)
                                                                                                                        D.A. Davidson & Co. raises CenturyLink Inc. to 'neutral' (SNL Financial Extra - Factiva, 03/02/2015)

                                                                                                                        GlobalData Analyst Report (Capital IQ - Manual Entry, 03/02/2015)
                                                                                                                        GlobalData Analyst Report (Eikon - Manual Entry, 03/02/2015)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/02/2015)
                                                                                                                        Who is Colorado's top billionaire? (Slideshow) (Denver Business Journal Online - Factiva, 03/02/2015)

 3/3/2015 Tue   3,602,311   $37.68      $0.00   0.13% -0.45%   0.15%    -0.27%    0.40%      0.42 67.82%       $0.15    Benchmark names new VP of government sales for Infinera (Internet Business News - Factiva,
                                                                                                                        03/03/2015)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 03/03/2015)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 03/03/2015)
                                                                                                                        Entergy names 2 new board members (SNL Financial Extra - Factiva, 03/03/2015)
                                                                                                                        PRESS RELEASE: Entergy Corporation Names Two New Members to its Board of Directors
                                                                                                                        Accounting, Organizational Health Expertise Added (Platts Commodity News - Factiva, 03/03/2015)

                                                                                                                        PRESS RELEASE: UPDATE: Entergy Corporation Names Two New Members to its Board of
                                                                                                                        Directors (Platts Commodity News - Factiva, 03/03/2015)
                                                                                                                        VP of government sales appointed for Infinera (M2 EquityBites - Factiva, 03/03/2015)
 3/4/2015 Wed   6,490,233   $36.25      $0.54 -2.36% -0.42%    -0.75%   -0.89%   -1.48%     -1.53 12.89%       -$0.56   BUREAU SEEKS INFORMATION ON INTERNET INTERCONNECTION FOR COMCAST-
                                                                                                                        TWC REVIEW (TR Daily - Factiva, 03/04/2015)
                                                                                                                        Entergy names 2 new board members (SNL Daily Coal Report - Factiva, 03/04/2015)
                                                                                                                        Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                        for "CENTRAFLEX" Filed (Telecommunications Weekly - Factiva, 03/04/2015)
                                                                                                                        Telecommunication Companies; Trademark Application for "EBILL COMPANION" Filed by
                                                                                                                        Qwest Communications International (Telecommunications Weekly - Factiva, 03/04/2015)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                Events

 3/5/2015 Thu   4,595,649   $36.13      $0.00 -0.33%   0.12%   -0.15%   -0.01%   -0.32%     -0.33 74.55%       -$0.11   Argus Research Corporation Analyst Report (Eikon - Manual Entry, 03/05/2015)
                                                                                                                        Entergy Corporation Names Two New Members to its Board of Directors (ENP Newswire - Factiva,
                                                                                                                        03/05/2015)
                                                                                                                        IBM; IBM, CenturyLink and State of Louisiana create innovative model to drive high-value skills
                                                                                                                        for the Digital Economy (Computer Weekly News - Factiva, 03/05/2015)
                                                                                                                        M&A Opportunity | FairPoint Communications Inc. (The Deal - Factiva, 03/05/2015)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 03/05/2015)
                                                                                                                        Entergy elects two new board members (MarketLine (a Datamonitor Company), Company News -
                                                                                                                        Factiva, 03/05/2015 01:19 AM)
                                                                                                                        Pre-market Equity Watch on Telecommunication Services Sector - AT&T, Verizon
                                                                                                                        Communications, CenturyLink, Cincinnati Bell, and BCE Inc. (PR Newswire (U.S.) - Factiva,
                                                                                                                        03/05/2015 08:55 AM)
 3/6/2015 Fri   3,920,300   $35.42      $0.00 -1.97% -1.40%    -0.48%   -1.52%   -0.44%     -0.46 64.76%       -$0.16   COLORADO -- Draft order rejects CenturyLink attempt to eliminate tariffs (TR's State NewsWire -
                                                                                                                        Factiva, 03/06/2015)
                                                                                                                        IBM; IBM, CenturyLink and State of Louisiana create innovative model to drive high-value skills
                                                                                                                        for the Digital Economy (Economics Week - Factiva, 03/06/2015)
                                                                                                                        Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                        for "CENTRAFLEX" Filed (Economics Week - Factiva, 03/06/2015)
                                                                                                                        Telecommunication Companies; Trademark Application for "EBILL COMPANION" Filed by
                                                                                                                        Qwest Communications International (Economics Week - Factiva, 03/06/2015)
 3/7/2015 Sat                                                                                                           IBM; IBM, CenturyLink and State of Louisiana create innovative model to drive high-value skills
                                                                                                                        for the Digital Economy (Investment Weekly News - Factiva, 03/07/2015)
                                                                                                                        Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                        for "CENTRAFLEX" Filed (Investment Weekly News - Factiva, 03/07/2015)
                                                                                                                        Telecommunication Companies; Trademark Application for "EBILL COMPANION" Filed by
                                                                                                                        Qwest Communications International (Investment Weekly News - Factiva, 03/07/2015)
 3/8/2015 Sun
 3/9/2015 Mon   3,639,731   $35.23      $0.00 -0.54%   0.40%   -0.52%   -0.06%   -0.48%      -0.5 62.14%       -$0.17   Entergy names 2 new board members (SNL Coal Report - Factiva, 03/09/2015)
                                                                                                                        MINNESOTA -- Judge green lights Qwest's fight against conferencing companies (TR's State
                                                                                                                        NewsWire - Factiva, 03/09/2015)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/09/2015)
                                                                                                                        ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 03/09/2015)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 03/09/2015)
3/10/2015 Tue   3,482,898   $35.13      $0.00 -0.28% -1.69%    -0.42%   -1.70%    1.42%      1.48 14.24%       $0.50
3/11/2015 Wed   3,019,831   $35.29      $0.00 0.46% -0.18%      0.13%   -0.04%    0.50%      0.51 60.77%       $0.17    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 03/11/2015)

                                                                                                                        Gordon Haskett Analyst Report (Eikon - Manual Entry, 03/11/2015)
                                                                                                                        ISG Technology; ISG Technology Welcomes New Vice President Matt Brickey (Journal of
                                                                                                                        Engineering - Factiva, 03/11/2015)
                                                                                                                        ISG Technology; ISG Technology Welcomes New Vice President Matt Brickey (Telecommunications
                                                                                                                        Weekly - Factiva, 03/11/2015)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                   Events
                                                                                                                         Trademarks; Trademark Application for "MOTA?VATE. EDAÃ…Â¡CATE.
                                                                                                                         ELAÃ¢â‚¬Â°VATE." Filed by Qwest Communications International (Telecommunications Weekly -
                                                                                                                         Factiva, 03/11/2015)
3/12/2015 Thu   4,003,351   $35.21      $0.00 -0.23%   1.29%   1.03%    1.75%    -1.97%     -2.06   4.13% *     -$0.70   CenturyLink PRICES $500M BOND OFFERING (TR Daily - Factiva, 03/12/2015)
                                                                                                                         CenturyLink proposes debt offering (SNL Financial Extra - Factiva, 03/12/2015)
                                                                                                                         Moodyâ€™s Analyst Report (Capital IQ - Manual Entry, 03/12/2015)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/12/2015)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/12/2015)
                                                                                                                         Moody's rates CenturyLink's new notes Ba2 (Moody's Investors Service Press Release - Factiva,
                                                                                                                         03/12/2015)
                                                                                                                         S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 03/12/2015)
                                                                                                                         stocks of local interest (News Journal, Mansfield, Ohio - Factiva, 03/12/2015)
                                                                                                                         CenturyLink to Offer NFV-Enhanced Services to Enterprise and SMB Customers with Cyan's Blue
                                                                                                                         Planet (Business Wire - Factiva, 03/12/2015 08:00 AM)
                                                                                                                         CenturyLink Announces Private Offering Of Senior Notes (PR Newswire (U.S.) - Factiva, 03/12/2015
                                                                                                                         09:01 AM)
                                                                                                                         Press Release: CenturyLink Announces Private Offering Of Senior Notes (Dow Jones Institutional
                                                                                                                         News - Factiva, 03/12/2015 09:01 AM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 03/12/2015
                                                                                                                         11:44 AM)
                                                                                                                         *Fitch Rates CenturyLink Senior Unsecured Note Offering 'BB+'; Outlook Stable (Dow Jones
                                                                                                                         Institutional News - Factiva, 03/12/2015 12:16 PM)
                                                                                                                         Fitch Rates CenturyLink Senior Unsecured Note Offering 'BB+'; Outlook Stable (Reuters News -
                                                                                                                         Factiva, 03/12/2015 12:16 PM)
                                                                                                                         *S&P Rates CenturyLink's Proposed Sr Unscd Notes 'BB' (Recov:4) (Dow Jones Institutional News -
                                                                                                                         Factiva, 03/12/2015 12:20 PM)
                                                                                                                         Fitch Rates CenturyLink Senior Unsecured Note Offering 'BB+'; Outlook Stable (Business Wire -
                                                                                                                         Factiva, 03/12/2015 12:28 PM)
                                                                                                                         *CenturyLink Announces Pricing Of Private Offering Of Senior Notes (Dow Jones Institutional
                                                                                                                         News - Factiva, 03/12/2015 04:42 PM)
                                                                                                                         CenturyLink Announces Pricing of Private Offering of Senior Notes (PR Newswire (U.S.) - Factiva,
                                                                                                                         03/12/2015 04:42 PM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 03/12/2015
                                                                                                                         05:22 PM)
3/13/2015 Fri   7,162,632   $34.42      $0.00 -2.24% -0.61%    -0.03%   -0.50%   -1.74%     -1.79   7.66%       -$0.61   CenturyLink plans USD500m private offering of senior notes (FinancialWire - Factiva, 03/13/2015)

                                                                                                                         CenturyLink plans USD500m senior notes offering (Internet Business News - Factiva, 03/13/2015)

                                                                                                                         CenturyLink prices $500M debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         03/13/2015)
                                                                                                                         CenturyLink prices USD500m private offering of senior notes (FinancialWire - Factiva, 03/13/2015)

                                                                                                                         CenturyLink to raise $500 million in private offering of notes (MarketLine (a Datamonitor Company),
                                                                                                                         Financial Deals Tracker - Factiva, 03/13/2015)



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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events

                                                                                                                         Cyan supplies its Blue Planet solution to CenturyLink to enable offering of NFV-enhanced services
                                                                                                                         (FinancialWire - Factiva, 03/13/2015)
                                                                                                                         Cyan supplies its Blue Planet solution to CenturyLink to enable offering of NFV-enhanced services
                                                                                                                         (Worldwide Computer Products News - Factiva, 03/13/2015)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 03/13/2015)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 03/13/2015)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 03/13/2015)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 03/13/2015)
                                                                                                                         FCC MUNI BROADBAND PREEMPTION ORDER COULD YIELD COOPERATIVE EFFORTS,
                                                                                                                         PANELISTS SAY (TR Daily - Factiva, 03/13/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/13/2015)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 03/13/2015)
                                                                                                                         NATIONAL -- Muni broadband order could yield cooperative efforts, panelists say (TR's State
                                                                                                                         NewsWire - Factiva, 03/13/2015)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 03/13/2015)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 03/13/2015)
                                                                                                                         Validea Analyst Report (Eikon - Manual Entry, 03/13/2015)
3/14/2015 Sat                                                                                                            NETWORK VENDORS SEEK BACK PAY FROM IDAHO Two say state owes on education
                                                                                                                         contract (The Spokesman-Review - Factiva, 03/14/2015)
3/15/2015 Sun                                                                                                            Richard C. Notebaert - American Electric Power updates director's profile 13 March 2015 (People
                                                                                                                         in Business - Factiva, 03/15/2015)
3/16/2015 Mon   5,760,632   $34.50      $0.00   0.23%   1.36%   -0.02%   1.01%    -0.77%     -0.78 43.47%       -$0.27   CenturyLink FORBEARANCE PLEA Ã¢â‚¬ËœDEEMED GRANTEDÃ¢â‚¬â„¢ (TR Daily - Factiva,
                                                                                                                         03/16/2015)
3/17/2015 Tue   6,148,021   $35.13      $0.00 1.83% -0.33%      -0.26%   -0.48%    2.31%      2.34 2.12% *       $0.80
3/18/2015 Wed   7,454,842   $35.12      $0.00 -0.03% 1.22%       0.84%    1.46%   -1.49%     -1.48 14.28%       -$0.52   CenturyLink Cloud Now Available In Asia Pacific - Quick Facts (RTT News - Factiva, 03/18/2015)

                                                                                                                         Electric Utility Companies; Entergy Corporation Names Two New Members to its Board of
                                                                                                                         Directors Accounting, Organizational Health Expertise Added (Telecommunications Weekly -
                                                                                                                         Factiva, 03/18/2015)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 03/18/2015)
                                                                                                                         Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 03/18/2015)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 10-K, Annual Report [Section 13 And
                                                                                                                         15(D), Not S-K Item 405] (Feb. 27, 2015) (Telecommunications Weekly - Factiva, 03/18/2015)
                                                                                                                         Trademarks; An Application for the Trademark "DATA-BACKER" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 03/18/2015)
                                                                                                                         (PR) CenturyLink expands its public cloud platform to Asia-Pacific region (PR Newswire (U.S.) -
                                                                                                                         Factiva, 03/18/2015 12:01 AM)
                                                                                                                         CenturyLink expands its public cloud platform to Asia-Pacific region (Canada NewsWire - Factiva,
                                                                                                                         03/18/2015 12:01 AM)
                                                                                                                         CenturyLink expands its public cloud platform to Asia-Pacific region (PR Newswire Europe -
                                                                                                                         Factiva, 03/18/2015 12:01 AM)
                                                                                                                         CENTURYLINK EXPANDS ITS PUBLIC CLOUD PLATFORM TO ASIA-PACIFIC REGION
                                                                                                                         (Press Association National Newswire - Factiva, 03/18/2015 12:01 AM)



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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                         CenturyLink expands its public cloud platform to Asia-Pacific region; -- Launches CenturyLink
                                                                                                                         Cloud node in Singapore, explores additional international expansion (PR Newswire Asia - Factiva,
                                                                                                                         03/18/2015 12:01 AM)
                                                                                                                         Press Release: CenturyLink expands its public cloud platform to Asia-Pacific region (Dow Jones
                                                                                                                         Institutional News - Factiva, 03/18/2015 12:01 AM)
                                                                                                                         Press Release: CenturyLink expands its public cloud platform to Asia-Pacific region (Dow Jones
                                                                                                                         Institutional News - Factiva, 03/18/2015 12:01 AM)
3/19/2015 Thu   3,239,140   $34.86      $0.00 -0.74% -0.49%     -0.49%   -0.71%   -0.03%     -0.03 97.72%       -$0.01   CenturyLinkÃ¢â‚¬â„¢s public cloud platform expands to Asia-Pacific region (FinancialWire -
                                                                                                                         Factiva, 03/19/2015)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 03/19/2015)
                                                                                                                         CenturyLink announces availability of public cloud platform in Asia Pacific (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 03/19/2015 12:25 PM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 03/19/2015
                                                                                                                         02:25 PM)
3/20/2015 Fri   9,318,013   $35.30      $0.00   1.26%   0.90%   -0.20%   0.51%     0.75%      0.74 46.11%       $0.26    CenturyLink closes $500M debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         03/20/2015)
                                                                                                                         CenturyLink invites Elko businesses to public forum (Elko Daily Free Press - Factiva, 03/20/2015)
                                                                                                                         Electric Utility Companies; Entergy Corporation Names Two New Members to its Board of
                                                                                                                         Directors Accounting, Organizational Health Expertise Added (Energy Weekly News - Factiva,
                                                                                                                         03/20/2015)
                                                                                                                         FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 03/20/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/20/2015)
3/21/2015 Sat                                                                                                            Michael J. Roberts - W.W. Grainger updates director's profile 16 March 2015 (People in Business -
                                                                                                                         Factiva, 03/21/2015)
                                                                                                                         Richard A. Gephardt - Spirit AeroSystems Holdings updates director's profile 20 March 2015
                                                                                                                         (People in Business - Factiva, 03/21/2015)
3/22/2015 Sun                                                                                                            R. David Hoover - Ball updates director's profile 18 March 2015 (People in Business - Factiva,
                                                                                                                         03/22/2015)
3/23/2015 Mon   5,637,183   $35.32      $0.00 0.06% -0.17%       0.29%    0.03%    0.03%      0.03 97.81%       $0.01
3/24/2015 Tue   3,342,190   $35.19      $0.00 -0.37% -0.61%     -0.11%   -0.56%    0.19%      0.19 85.22%       $0.07    CenturyLink director Roberts Michael James awarded Phantom Stocks 24 March 2015 (People in
                                                                                                                         Business - Factiva, 03/24/2015)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 03/24/2015)
                                                                                                                         Sonus Networks Slashes Guidance, to Review Cost Structure; Communications company says it no
                                                                                                                         longer expects to receive some orders that it had expected (The Wall Street Journal Online - Factiva,
                                                                                                                         03/24/2015 10:48 AM)
                                                                                                                         CenturyLink officially opens Technology Center of Excellence (PR Newswire (U.S.) - Factiva,
                                                                                                                         03/24/2015 04:00 PM)
                                                                                                                         Press Release: CenturyLink officially opens Technology Center of Excellence (Dow Jones
                                                                                                                         Institutional News - Factiva, 03/24/2015 04:00 PM)
                                                                                                                         CenturyLink Schedules First Quarter 2015 Earnings Conference Call (PR Newswire (U.S.) - Factiva,
                                                                                                                         03/24/2015 04:15 PM)
                                                                                                                         Press Release: CenturyLink Schedules First Quarter 2015 Earnings Conference Call (Dow Jones
                                                                                                                         Institutional News - Factiva, 03/24/2015 04:15 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
3/25/2015 Wed   2,830,852   $34.64      $0.00 -1.56% -1.45%    -0.44%   -1.41%   -0.15%     -0.15 88.03%       -$0.05   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 03/25/2015)

                                                                                                                        CenturyLink opens technology center (Internet Business News - Factiva, 03/25/2015)
                                                                                                                        CenturyLink opens technology center at corporate HQ (M2 EquityBites - Factiva, 03/25/2015)
                                                                                                                        Cyan; CenturyLink to Offer NFV-Enhanced Services to Enterprise and SMB Customers with
                                                                                                                        Cyan's Blue Planet (Journal of Engineering - Factiva, 03/25/2015)
                                                                                                                        S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 03/25/2015)
                                                                                                                        S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 03/25/2015)
                                                                                                                        Trademarks; An Application for the Trademark "QWEST FOUNDATION" Has Been Filed by
                                                                                                                        Qwest Communications International (Telecommunications Weekly - Factiva, 03/25/2015)
                                                                                                                        USTelecom files protective petition to seek review of FCC's open Internet order (SNL Kagan Media
                                                                                                                        & Communications Report - Factiva, 03/25/2015)
                                                                                                                        Sonus Networks Slashes Guidance, to Review Cost Structure (Dow Jones Top North American
                                                                                                                        Equities Stories - Factiva, 03/25/2015 06:54 AM)
3/26/2015 Thu   4,242,063   $34.56      $0.00 -0.23% -0.24%    0.12%    -0.14%   -0.09%     -0.09 93.10%       -$0.03   Cyan; CenturyLink to Offer NFV-Enhanced Services to Enterprise and SMB Customers with
                                                                                                                        Cyan's Blue Planet (Computer Weekly News - Factiva, 03/26/2015)
                                                                                                                        CenturyLink opens Technology Center of Excellence in Monroe, Louisiana (MarketLine (a
                                                                                                                        Datamonitor Company), Company News - Factiva, 03/26/2015 12:27 PM)
                                                                                                                        CenturyLink to offer NFV-enhanced services with Cyan's Blue Planet (MarketLine (a Datamonitor
                                                                                                                        Company), Company News - Factiva, 03/26/2015 01:31 PM)
3/27/2015 Fri   3,463,433   $34.10      $0.00 -1.33%   0.26%   -0.10%   0.08%    -1.41%      -1.4 16.54%       -$0.49   COLORADO -- CenturyLink files exceptions to order denying its request to remove tariffs (TR's
                                                                                                                        State NewsWire - Factiva, 03/27/2015)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 03/27/2015)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 03/27/2015)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/27/2015)
                                                                                                                        Neustar Loses Major Contract To Ericsson Unit (Investor's Business Daily - Factiva, 03/27/2015)
                                                                                                                        Newsmaker: GoogleÃ¢â‚¬â„¢s KC exec searches for ways to make a difference (Kansas City
                                                                                                                        Business Journal - Factiva, 03/27/2015)
3/28/2015 Sat                                                                                                           CenturyLink, Inc. CenturyLink Announces Private Offering Of Senior Notes (Investment Weekly
                                                                                                                        News - Factiva, 03/28/2015)
                                                                                                                        Karen A. Puckett - Entergy updates director's profile 23 March 2015 (People in Business - Factiva,
                                                                                                                        03/28/2015)
3/29/2015 Sun                                                                                                           Betsy J. Bernard - Zimmer Holdings updates director's profile 25 March 2015 (People in Business -
                                                                                                                        Factiva, 03/29/2015)
3/30/2015 Mon   4,788,006   $34.06      $0.00 -0.12%   1.23%   0.09%    0.92%    -1.04%     -1.02 30.90%       -$0.35   BUREAU MAKES FINAL DETERMINATIONS ON CHALLENGED CAF PHASE II CENSUS
                                                                                                                        BLOCKS (TR Daily - Factiva, 03/30/2015)
                                                                                                                        NATIONAL -- Bureau makes final determinations on challenged CAF Phase II census blocks (TR's
                                                                                                                        State NewsWire - Factiva, 03/30/2015)
                                                                                                                        No Collateral Estoppel In Subsequent Case Where Decision In Earlier Case Subject To Multiple
                                                                                                                        Possible Theories (Mondaq Business Briefing - Factiva, 03/30/2015)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 03/30/2015)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                   Events
                                                                                                                         *Fitch Affirms CenturyLink's IDR at 'BB+'; Outlook Stable (Dow Jones Institutional News - Factiva,
                                                                                                                         03/30/2015 03:51 PM)
                                                                                                                         Fitch Affirms CenturyLink's IDR at 'BB+'; Outlook Stable (Reuters News - Factiva, 03/30/2015
                                                                                                                         03:51 PM)
                                                                                                                         Fitch Affirms CenturyLink's IDR at 'BB+'; Outlook Stable (Business Wire - Factiva, 03/30/2015
                                                                                                                         04:19 PM)
3/31/2015 Tue   6,882,939   $34.55      $0.00   1.44% -0.87%   -0.45%   -0.99%    2.43%      2.38   1.88% *     $0.83    BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 03/31/2015)
                                                                                                                         BuySellSignals Research Analyst Report (Eikon - Manual Entry, 03/31/2015)
                                                                                                                         CenturyLink, Inc. CenturyLink expands its public cloud platform to Asia-Pacific region (China
                                                                                                                         Weekly News - Factiva, 03/31/2015)
                                                                                                                         Turnaround Tuesday: Out of Bankruptcy, Dex Media Show New Signs of Struggle; The company's
                                                                                                                         accountant has raised doubts about its future (Mergers & Acquisitions - Factiva, 03/31/2015)

 4/1/2015 Wed   8,262,141   $35.50      $0.00   2.75% -0.38%   1.06%    0.37%     2.38%      2.28   2.44% *     $0.82    CenturyLink Plea 'Deemed Granted' (Telecommunications Reports - Factiva, 04/01/2015)
                                                                                                                         Trademarks; An Application for the Trademark "CONNECT. SIMPLIFY. ENHANCE." Has Been
                                                                                                                         Filed by Qwest Communications International (Telecommunications Weekly - Factiva, 04/01/2015)

                                                                                                                         Trademarks; An Application for the Trademark "QMOE" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 04/01/2015)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "ASIALINK"
                                                                                                                         Filed (Telecommunications Weekly - Factiva, 04/01/2015)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "EASYTOUCH"
                                                                                                                         Filed (Telecommunications Weekly - Factiva, 04/01/2015)
                                                                                                                         Trademarks; Trademark Application for "BLUE CARPET CONCIERGE SERVICES" Filed by
                                                                                                                         Qwest Communications International (Telecommunications Weekly - Factiva, 04/01/2015)
                                                                                                                         ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 04/01/2015)
 4/2/2015 Thu   3,660,458   $35.43      $0.00 -0.20%   0.36%   0.73%    0.72%    -0.92%     -0.86 38.94%        -$0.33   CenturyLink PUBLIC POLICY SVP (TR Daily - Factiva, 04/02/2015)
                                                                                                                         John Jones named SVP of Public Policy and Government Relations (PR Newswire (U.S.) - Factiva,
                                                                                                                         04/02/2015 09:00 AM)
                                                                                                                         Press Release: John Jones named SVP of Public Policy and Government Relations (Dow Jones
                                                                                                                         Institutional News - Factiva, 04/02/2015 09:00 AM)
 4/3/2015 Fri                                                                                                            CenturyLink names John Jones as SVP of Public Policy and Government Relations (FinancialWire -
                                                                                                                         Factiva, 04/03/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/03/2015)
                                                                                                                         The Washington Daybook - General News Events (Washington Daybook - Factiva, 04/03/2015)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "ASIALINK"
                                                                                                                         Filed (Economics Week - Factiva, 04/03/2015)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "EASYTOUCH"
                                                                                                                         Filed (Economics Week - Factiva, 04/03/2015)
                                                                                                                         Trademarks; Trademark Application for "BLUE CARPET CONCIERGE SERVICES" Filed by
                                                                                                                         Qwest Communications International (Economics Week - Factiva, 04/03/2015)
                                                                                                                         Utility urges calling 811 before digging (Jefferson City News-Tribune - Factiva, 04/03/2015)
 4/4/2015 Sat                                                                                                            James H. Gallegos - Alliant Energy updates general counsel and senior vice president's profile 30
                                                                                                                         March 2015 (People in Business - Factiva, 04/04/2015)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                         Saturday business briefs 4-4 (The Courier-Tribune - Factiva, 04/04/2015)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "ASIALINK"
                                                                                                                         Filed (Investment Weekly News - Factiva, 04/04/2015)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "EASYTOUCH"
                                                                                                                         Filed (Investment Weekly News - Factiva, 04/04/2015)
                                                                                                                         Trademarks; Trademark Application for "BLUE CARPET CONCIERGE SERVICES" Filed by
                                                                                                                         Qwest Communications International (Investment Weekly News - Factiva, 04/04/2015)
 4/5/2015 Sun
 4/6/2015 Mon   3,339,699   $35.38      $0.00 -0.14%    0.66%   0.00%    0.41%    -0.55%     -0.52 60.29%       -$0.20   CenturyLink TO PAY $16M, INTRADO $1.4M TO CLOSE PROBE INTO HUGE 911 OUTAGE
                                                                                                                         (TR Daily - Factiva, 04/06/2015)
                                                                                                                         CenturyLink, Colorado's Intrado fined by FCC over 911 outage (Denver Business Journal Online -
                                                                                                                         Factiva, 04/06/2015)
                                                                                                                         NATIONAL -- CenturyLink to pay $16M, Intrado $1.4M, to close probe into 911 outage (TR's State
                                                                                                                         NewsWire - Factiva, 04/06/2015)
                                                                                                                         CenturyLink names SVP of public policy and government relations (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 04/06/2015 03:43 PM)
 4/7/2015 Tue   2,367,259   $35.41      $0.00   0.08% -0.20%    -0.46%   -0.45%    0.53%       0.5 61.79%       $0.19    Telecom ETFs Gaining Attention (Benzinga.com - Factiva, 04/07/2015 08:36 AM)
 4/8/2015 Wed   3,214,111   $35.50      $0.00   0.25%   0.31%   0.18%    0.31%    -0.05%     -0.05 96.07%       -$0.02   FCC settles 911 outage probe with CenturyLink, Intrado (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 04/08/2015)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 04/08/2015)
                                                                                                                         Telecommunication Companies; An Application for the Trademark "GEOPLUS" Has Been Filed
                                                                                                                         by Qwest Communications International (Telecommunications Weekly - Factiva, 04/08/2015)

                                                                                                                         Telecommunication Companies; Patent Issued for Handset Registration in a Dual-Mode
                                                                                                                         Environment (Journal of Engineering - Factiva, 04/08/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Handset Registration in a Dual-Mode
                                                                                                                         Environment (Telecommunications Weekly - Factiva, 04/08/2015)
                                                                                                                         Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                         for "QWEST WIRELESS" Filed (Telecommunications Weekly - Factiva, 04/08/2015)
                                                                                                                         Telecommunication Companies; Trademark Application for "FAVORITE" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 04/08/2015)
                                                                                                                         Telecommunication Companies; Trademark Application for "SECURITY SCREEN" Filed by
                                                                                                                         Qwest Communications International (Telecommunications Weekly - Factiva, 04/08/2015)
                                                                                                                         Karen Puckett named one of Top 50 Most Powerful Women in Technology by National Diversity
                                                                                                                         Council (PR Newswire (U.S.) - Factiva, 04/08/2015 09:00 AM)
 4/9/2015 Thu   2,593,883   $35.87      $0.00   1.04%   0.45%   -0.38%   0.02%     1.03%      0.97 33.22%       $0.36    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 04/09/2015)

                                                                                                                         Telecommunication Companies; Patent Issued for Handset Registration in a Dual-Mode
                                                                                                                         Environment (Computer Weekly News - Factiva, 04/09/2015)
                                                                                                                         Boku Launches Direct Carrier Billing with All Major Carriers in Taiwan (Business Wire - Factiva,
                                                                                                                         04/09/2015 11:00 AM)
4/10/2015 Fri   2,779,706   $35.82      $0.00 -0.14%    0.52%   -0.01%   0.32%    -0.46%     -0.43 66.77%       -$0.16   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/10/2015)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          Perella Weinberg Poaches Top Telecom Banker From Lazard (The New York Times - Factiva,
                                                                                                                          04/10/2015)
                                                                                                                          Active Equities to Watch in the Telecommunication Services Sector - AT&T, Verizon
                                                                                                                          Communications, CenturyLink, Cincinnati Bell, and BCE Inc. (PR Newswire (U.S.) - Factiva,
                                                                                                                          04/10/2015 09:15 AM)
4/11/2015 Sat
4/12/2015 Sun                                                                                                             Anthony Welters - Loews updates director's profile 07 April 2015 (People in Business - Factiva,
                                                                                                                          04/12/2015)
4/13/2015 Mon   1,819,545   $35.58      $0.00 -0.67% -0.45%     0.20%    -0.14%   -0.53%      -0.5 61.92%        -$0.19   CenturyLink marks Earth Day by commissioning Bloom Energy fuel cells (PR Newswire (U.S.) -
                                                                                                                          Factiva, 04/13/2015 09:00 AM)
                                                                                                                          Press Release: CenturyLink marks Earth Day by commissioning Bloom Energy fuel cells (Dow
                                                                                                                          Jones Institutional News - Factiva, 04/13/2015 09:00 AM)
4/14/2015 Tue   2,081,951   $35.68      $0.00   0.28%   0.16%   -0.22%   -0.05%    0.33%      0.31 75.39%        $0.12
4/15/2015 Wed   4,197,279   $36.19      $0.00   1.43%   0.51%    0.13%    0.39%    1.04%      0.98 32.69%        $0.37    CenturyLink expands gigabit service to La Crosse, delivering fiber-enabled broadband speeds up to
                                                                                                                          1 gigabit per second (M2 Presswire - Factiva, 04/15/2015)
                                                                                                                          CenturyLink to Pay $16M, Intrado $1.4M to Close 911 Outage Probe (Telecommunications Reports -
                                                                                                                          Factiva, 04/15/2015)
                                                                                                                          CenturyLink, Inc. John Jones named SVP of Public Policy and Government Relations (Journal of
                                                                                                                          Engineering - Factiva, 04/15/2015)
                                                                                                                          CenturyLink, Inc. John Jones named SVP of Public Policy and Government Relations
                                                                                                                          (Telecommunications Weekly - Factiva, 04/15/2015)
                                                                                                                          IOWA -- CenturyLink settles with RLEC over 'traffic pumping' claims (TR's State NewsWire -
                                                                                                                          Factiva, 04/15/2015)
4/16/2015 Thu   4,617,211   $35.28      $0.00 -2.51% -0.08%     -0.25%   -0.21%   -2.31%     -2.17   3.18% *     -$0.83   CenturyLink expands gigabit service to La Crosse, delivering fiber-enabled broadband speeds up to
                                                                                                                          1 gigabit per second (ENP Newswire - Factiva, 04/16/2015)
                                                                                                                          Hudson Square Research Analyst Report (Eikon - Manual Entry, 04/16/2015)
                                                                                                                          Oren G. Shaffer - XPO Logistics updates director's profile 16 April 2015 (People in Business -
                                                                                                                          Factiva, 04/16/2015)
4/17/2015 Fri   3,851,620   $34.68      $0.00 -1.70% -1.13%     -0.05%   -0.77%   -0.93%     -0.87 38.80%        -$0.33   CenturyLink JOINS FIELD APPEALING OPEN INTERNET ORDER (TR Daily - Factiva,
                                                                                                                          04/17/2015)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/17/2015)
                                                                                                                          NATIONAL -- CenturyLink joins field appealing open Internet order (TR's State NewsWire -
                                                                                                                          Factiva, 04/17/2015)
                                                                                                                          CenturyLink expands gigabit service to La Crosse, Wisconsin (MarketLine (a Datamonitor Company),
                                                                                                                          Company News - Factiva, 04/17/2015 09:39 AM)
4/18/2015 Sat
4/19/2015 Sun                                                                                                             Teresa A. Taylor - NiSource updates director's profile 15 April 2015 (People in Business - Factiva,
                                                                                                                          04/19/2015)
4/20/2015 Mon   2,640,006   $35.22      $0.00   1.56%   0.93%   0.50%    0.88%     0.68%      0.63 52.87%        $0.24    Centurylink Acquires Orchestrate ot Enhance Cloud Platform with New Database Capabilities
                                                                                                                          (India Investment News - Factiva, 04/20/2015)
                                                                                                                          CenturyLink buys database firm (SNL Financial Extra - Factiva, 04/20/2015)
                                                                                                                          Monday, Media & Comm edition (SNL Financial Extra - Factiva, 04/20/2015)
                                                                                                                          CenturyLink helps UETN deliver 1 terabit of combined bandwidth to more than 1,400 Utah schools
                                                                                                                          and colleges (PR Newswire (U.S.) - Factiva, 04/20/2015 09:00 AM)




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                                                                                              Appendix C
                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                 Events
                                                                                                                          Press Release: CenturyLink helps UETN deliver 1 terabit of combined bandwidth to more than
                                                                                                                          1,400 Utah schools and colleges (Dow Jones Institutional News - Factiva, 04/20/2015 09:00 AM)
                                                                                                                          CenturyLink acquires Orchestrate to enhance cloud platform with new database capabilities
                                                                                                                          (Canada NewsWire - Factiva, 04/20/2015 06:20 PM)
                                                                                                                          Press Release: CenturyLink acquires Orchestrate to enhance cloud platform with new database
                                                                                                                          capabilities (Dow Jones Institutional News - Factiva, 04/20/2015 06:20 PM)
                                                                                                                          (PR) CenturyLink acquires Orchestrate to enhance cloud platform with new database capabilities
                                                                                                                          (PR Newswire (U.S.) - Factiva, 04/20/2015 06:21 PM)
                                                                                                                          Press Release: CenturyLink acquires Orchestrate to enhance cloud platform with new database
                                                                                                                          capabilities (Dow Jones Institutional News - Factiva, 04/20/2015 06:21 PM)
                                                                                                                          CenturyLink acquires Orchestrate to enhance cloud platform with new database capabilities (PR
                                                                                                                          Newswire Europe - Factiva, 04/20/2015 06:25 PM)
                                                                                                                          CENTURYLINK ACQUIRES ORCHESTRATE TO ENHANCE CLOUD PLATFORM WITH
                                                                                                                          NEW DATABASE CAPABILITIES (Press Association National Newswire - Factiva, 04/20/2015 06:25
                                                                                                                          PM)
                                                                                                                          CenturyLink acquires Orchestrate to enhance cloud platform with new database capabilities; --
                                                                                                                          Adds cloud-based NoSQL solution, experienced data services team (PR Newswire Asia - Factiva,
                                                                                                                          04/20/2015 06:46 PM)
4/21/2015 Tue   5,934,759   $36.30      $0.00   3.07% -0.15%   -0.23%   -0.28%    3.35%      3.11   0.23% **     $1.18    CenturyLink Acquires Cloud Database Service Orchestrate (M&A Navigator - Factiva, 04/21/2015)

                                                                                                                          CenturyLink Acquires Cloud Database Service Orchestrate (M&A Navigator - Factiva, 04/21/2015)

                                                                                                                          CenturyLink acquires Orchestrate (MarketLine (a Datamonitor Company), Financial Deals Tracker -
                                                                                                                          Factiva, 04/21/2015)
                                                                                                                          CenturyLink helps bring terabit of bandwidth to Utah schools, colleges (M2 EquityBites - Factiva,
                                                                                                                          04/21/2015)
                                                                                                                          CenturyLink helps deliver terabit of bandwidth to Utah schools, colleges (Internet Business News -
                                                                                                                          Factiva, 04/21/2015)
                                                                                                                          CenturyLink sues FCC over net neutrality rules (SNL Kagan Media & Communications Report -
                                                                                                                          Factiva, 04/21/2015)
                                                                                                                          CONSUMERS UNION: CARRIER ACTIONS TO CURB ROBOCALLS ARE INSUFFICIENT
                                                                                                                          (TR Daily - Factiva, 04/21/2015)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 04/21/2015)
                                                                                                                          Orchestrate acquired by CenturyLink (MarketLine (a Datamonitor Company), Financial Deals Tracker
                                                                                                                          Factiva, 04/21/2015)
                                                                                                                          US CenturyLink wraps up acquisition of Orchestrate to enhance cloud platform (SeeNews Latin
                                                                                                                          America - Factiva, 04/21/2015)
                                                                                                                          CenturyLink Acquires Database Startup Orchestrate (VentureWire - Factiva, 04/21/2015 01:31 PM)

4/22/2015 Wed   3,602,493   $36.27      $0.00 -0.08%   0.51%   0.35%    0.55%    -0.63%     -0.56 57.40%         -$0.23   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 04/22/2015)

                                                                                                                          CenturyLink, Inc. Karen Puckett named one of Top 50 Most Powerful Women in Technology by
                                                                                                                          National Diversity Council (Journal of Engineering - Factiva, 04/22/2015)
                                                                                                                          MarketLine Analyst Report (Capital IQ - Manual Entry, 04/22/2015)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 04/22/2015)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 04/22/2015)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 04/22/2015)
                                                                                                                         School given $4,600 to buy iPads (The Monroe Evening News - Factiva, 04/22/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Doodle-In-Chat-Context (Journal of Engineering -
                                                                                                                         Factiva, 04/22/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Doodle-In-Chat-Context (Telecommunications
                                                                                                                         Weekly - Factiva, 04/22/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Location Based Authorization of Financial Card
                                                                                                                         Transactions Systems and Methods (Journal of Engineering - Factiva, 04/22/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Location Based Authorization of Financial Card
                                                                                                                         Transactions Systems and Methods (Telecommunications Weekly - Factiva, 04/22/2015)
4/23/2015 Thu   3,093,413   $36.66      $0.00   1.08%   0.25%   2.06%    1.47%    -0.39%     -0.35 72.55%       -$0.14   Telecommunication Companies; Patent Issued for Doodle-In-Chat-Context (Computer Weekly News
                                                                                                                         - Factiva, 04/23/2015)
                                                                                                                         Thursday business briefs 4-23 (The Courier-Tribune - Factiva, 04/23/2015)
4/24/2015 Fri   2,542,099   $36.41      $0.00 -0.68%    0.23%   -0.49%   -0.19%   -0.49%     -0.44 66.04%       -$0.18   CenturyLink, Inc. Karen Puckett named one of Top 50 Most Powerful Women in Technology by
                                                                                                                         National Diversity Council (Economics Week - Factiva, 04/24/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/24/2015)
                                                                                                                         ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 04/24/2015)
4/25/2015 Sat                                                                                                            CenturyLink, Inc. Karen Puckett named one of Top 50 Most Powerful Women in Technology by
                                                                                                                         National Diversity Council (Investment Weekly News - Factiva, 04/25/2015)
                                                                                                                         J. Stephen Vanderwoude - First Midwest Bancorp updates director's profile 21 April 2015 (People
                                                                                                                         in Business - Factiva, 04/25/2015)
                                                                                                                         Name (News Journal, Mansfield, Ohio - Factiva, 04/25/2015)
4/26/2015 Sun
4/27/2015 Mon   3,908,251   $36.29      $0.00 -0.33% -0.41%     0.31%    -0.09%   -0.24%     -0.21 83.25%       -$0.09   John A. Kelley - Polycom updates director's profile 20 April 2015 (People in Business - Factiva,
                                                                                                                         04/27/2015)
                                                                                                                         (PR) CenturyLink extends global data center footprint into Australia (PR Newswire (U.S.) - Factiva,
                                                                                                                         04/27/2015 06:57 PM)
                                                                                                                         CenturyLink extends global data center footprint into Australia (Canada NewsWire - Factiva,
                                                                                                                         04/27/2015 06:57 PM)
                                                                                                                         Press Release: CenturyLink extends global data center footprint into Australia (Dow Jones
                                                                                                                         Institutional News - Factiva, 04/27/2015 06:57 PM)
                                                                                                                         Press Release: CenturyLink extends global data center footprint into Australia (Dow Jones
                                                                                                                         Institutional News - Factiva, 04/27/2015 06:57 PM)
                                                                                                                         CenturyLink extends global data center footprint into Australia (PR Newswire Europe - Factiva,
                                                                                                                         04/27/2015 07:07 PM)
                                                                                                                         CENTURYLINK EXTENDS GLOBAL DATA CENTER FOOTPRINT INTO AUSTRALIA (Press
                                                                                                                         Association National Newswire - Factiva, 04/27/2015 07:07 PM)
                                                                                                                         CenturyLink extends global data center footprint into Australia; - Offers managed hybrid IT
                                                                                                                         services to regional and multinational corporations across five Australia locations (PR Newswire
                                                                                                                         Asia - Factiva, 04/27/2015 07:25 PM)
4/28/2015 Tue   3,517,736   $36.78      $0.00   1.35%   0.29%   1.38%    1.04%     0.31%      0.28 77.93%       $0.11    CenturyLink moves into Australia with global data center footprint (M2 EquityBites - Factiva,
                                                                                                                         04/28/2015)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                                        CenturyLink offers full suite of managed hybrid IT services in Australia (FinancialWire - Factiva,
                                                                                                                        04/28/2015)
                                                                                                                        CenturyLink steps into Australia with global data center footprint (Internet Business News - Factiva,
                                                                                                                        04/28/2015)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 04/28/2015)
4/29/2015 Wed   2,965,257   $36.31      $0.00 -1.28% -0.37%    0.13%   -0.18%    -1.10%     -0.99 32.67%       -$0.40   CenturyLink extends Australian data center footprint (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 04/29/2015)
                                                                                                                        CPR Cell Phone Repair Opens a New Mobile Device Repair Franchise Store in Centennial, CO.
                                                                                                                        (PR.com (Press Releases) - Factiva, 04/29/2015)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 04/29/2015)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 04/29/2015)
                                                                                                                        Event Brief of Q1 2015 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                                        Factiva, 04/29/2015)
                                                                                                                        Joe Nacchio speaks out on prison, 'broken' justice system (Video) (Denver Business Journal Online -
                                                                                                                        Factiva, 04/29/2015)
                                                                                                                        M&A Analysis - Telx Sale Of Interest To European, Asian Datacentre Players (BMI Industry
                                                                                                                        Insights - Telecommunications, Americas - Factiva, 04/29/2015)
                                                                                                                        Q1 2015 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 04/29/2015)

                                                                                                                        SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                        PROCEEDING TO ESTABLISH GUIDELINES FOR INTRASTATE UNIVERSAL SERVICE
                                                                                                                        FUND (US Fed News - Factiva, 04/29/2015)
                                                                                                                        Trademarks; An Application for the Trademark "PHONE BACKER" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 04/29/2015)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "CONNECT.
                                                                                                                        SIMPLIFY. ENHANCE." Filed (Telecommunications Weekly - Factiva, 04/29/2015)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "QWEST 411"
                                                                                                                        Filed (Telecommunications Weekly - Factiva, 04/29/2015)
                                                                                                                        Trademarks; Trademark Application for "DIGICOM" Filed by Qwest Communications
                                                                                                                        International (Telecommunications Weekly - Factiva, 04/29/2015)
                                                                                                                        Trademarks; Trademark Application for "QWEST PASSPORT" Filed by Qwest Communications
                                                                                                                        International (Telecommunications Weekly - Factiva, 04/29/2015)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 04/29/2015)
4/30/2015 Thu   4,176,729   $35.96      $0.00 -0.96% -1.01%    0.42%   -0.41%    -0.55%     -0.49 62.31%       -$0.20   COLORADO -- PUC upholds order denying CenturyLink's request to remove tariffs (TR's State
                                                                                                                        NewsWire - Factiva, 04/30/2015)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "CONNECT.
                                                                                                                        SIMPLIFY. ENHANCE." Filed (Computer Weekly News - Factiva, 04/30/2015)
                                                                                                                        WASHINGTON -- Parties reach settlement in CenturyLink outage investigation (TR's State
                                                                                                                        NewsWire - Factiva, 04/30/2015)
                                                                                                                        CenturyLink Network Operations Center receives TL 9000 certification (PR Newswire (U.S.) -
                                                                                                                        Factiva, 04/30/2015 09:00 AM)
                                                                                                                        Press Release: CenturyLink Network Operations Center receives TL 9000 certification (Dow Jones
                                                                                                                        Institutional News - Factiva, 04/30/2015 09:00 AM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
5/1/2015 Fri   2,471,710   $36.14      $0.00   0.50%   1.09%   -0.99%   0.03%     0.47%      0.42 67.41%       $0.17    BROADBAND PROVIDERS ASK FCC TO STAY TITLE II RECLASSIFICATION, GENERAL
                                                                                                                        CONDUCT STANDARD (TR Daily - Factiva, 05/01/2015)
                                                                                                                        CenturyLink director Gregory J. McCray sells 30 April 2015 (People in Business - Factiva,
                                                                                                                        05/01/2015)
                                                                                                                        CenturyLink network operations center certified for TL 9000 (M2 EquityBites - Factiva, 05/01/2015)

                                                                                                                        CenturyLink network operations center gets TL 9000 certification (Internet Business News - Factiva,
                                                                                                                        05/01/2015)
                                                                                                                        CenturyLink, Inc. CenturyLink marks Earth Day by commissioning Bloom Energy fuel cells
                                                                                                                        (Ecology, Environment & Conservation - Factiva, 05/01/2015)
                                                                                                                        CenturyLink, Inc. CenturyLink marks Earth Day by commissioning Bloom Energy fuel cells
                                                                                                                        (Energy Weekly News - Factiva, 05/01/2015)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/01/2015)
                                                                                                                        U.S. Avoids Trial On Ex-Qwest CEO's NSA Claims With $18 Million Tax Refund Deal (Forbes.com -
                                                                                                                        Factiva, 05/01/2015)
                                                                                                                        U.S. Avoids Trial On Ex-Qwest CEO's NSA Claims With $18 Million Tax Refund Deal (Forbes.com -
                                                                                                                        Factiva, 05/01/2015)
                                                                                                                        U.S. telecom groups, AT&T seek to block new Internet rules (Saudi Press Agency - Factiva,
                                                                                                                        05/01/2015)
                                                                                                                        U.S. telecom groups, AT&T seek to block new Internet rules (Reuters News - Factiva, 05/01/2015
                                                                                                                        02:37 PM)
                                                                                                                        UPDATE 1-U.S. telecom groups, AT&T seek to block new Internet rules (Reuters News - Factiva,
                                                                                                                        05/01/2015 02:46 PM)
                                                                                                                        U.S. telecom groups, AT&T seek to block new Internet rules (Reuters News - Factiva, 05/01/2015
                                                                                                                        04:20 PM)
                                                                                                                        CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 05/01/2015 04:30
                                                                                                                        PM)
                                                                                                                        Press Release: CenturyLink to Participate in Analyst Conference (Dow Jones Institutional News -
                                                                                                                        Factiva, 05/01/2015 04:30 PM)
                                                                                                                        UPDATE 2-AT&T, U.S. telecom groups seek to block new Internet rules (Reuters News - Factiva,
                                                                                                                        05/01/2015 04:59 PM)
5/2/2015 Sat
5/3/2015 Sun                                                                                                            Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/03/2015)
5/4/2015 Mon   2,613,384   $36.02      $0.00 -0.33%    0.29%   0.13%    0.24%    -0.57%     -0.51 61.01%       -$0.21   AT&T Inc. (NYSE:T) Joins Hands With The Other U.S. Telecom Companies To Thwart Proposed
                                                                                                                        Internet Rules (Emirates News Agency (WAM) - Factiva, 05/04/2015)
                                                                                                                        AT&T, CenturyLink, others seek FCC stay on Title II (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 05/04/2015)
                                                                                                                        Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 05/04/2015)
                                                                                                                        Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/04/2015)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/04/2015)
5/5/2015 Tue   3,976,129   $35.51      $0.00 -1.42% -1.17%     -0.75%   -1.28%   -0.14%     -0.12 90.36%       -$0.05   BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/05/2015)
                                                                                                                        BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/05/2015)
                                                                                                                        CenturyLink Inc gives Q2 2015 guidance below analysts' estimates (Reuters Significant Developments
                                                                                                                        - Factiva, 05/05/2015)



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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                    [13]
                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                  Events

                                                                                                                        CenturyLink Q1 Profit Decreases - Quick Facts (RTT News - Factiva, 05/05/2015)
                                                                                                                        CenturyLink, Inc. CenturyLink acquires Orchestrate to enhance cloud platform with new database
                                                                                                                        capabilities (Information Technology Newsweekly - Factiva, 05/05/2015)
                                                                                                                        Event Brief of Q1 2015 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                        05/05/2015)
                                                                                                                        FishNet Security, Accuvant hire first CIO (Kansas City Business Journal Online - Factiva, 05/05/2015)

                                                                                                                        Kathryn Winters (Waycross Journal-Herald - Factiva, 05/05/2015)
                                                                                                                        Q1 2015 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 05/05/2015)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/05/2015)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/05/2015)
                                                                                                                        UBS Analyst Report (Capital IQ - Manual Entry, 05/05/2015)
                                                                                                                        UBS Analyst Report (Eikon - Manual Entry, 05/05/2015)
                                                                                                                        CenturyLink collaborates with NEXTDC to expand managed IT services portfolio (MarketLine (a
                                                                                                                        Datamonitor Company), Company News - Factiva, 05/05/2015 06:30 AM)
                                                                                                                        CenturyLink Reports First Quarter 2015 Results (PR Newswire (U.S.) - Factiva, 05/05/2015 04:05
                                                                                                                        PM)
                                                                                                                        CenturyLink Posts TV, High-Speed Internet Customer Growth (Dow Jones Institutional News -
                                                                                                                        Factiva, 05/05/2015 04:40 PM)
5/6/2015 Wed   9,386,969   $34.53      $0.00 -2.76% -0.41%   -0.81%   -0.83%    -1.93%     -1.74   8.48%       -$0.69   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 05/06/2015)

                                                                                                                        BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                        CenturyLink REPORTS 1.9% QUARTERLY REVENUE DECLINE (TR Daily - Factiva,
                                                                                                                        05/06/2015)
                                                                                                                        CenturyLink, Inc. CenturyLink acquires Orchestrate to enhance cloud platform with new database
                                                                                                                        capabilities (Journal of Engineering - Factiva, 05/06/2015)
                                                                                                                        CenturyLink, Inc. CenturyLink helps UETN deliver 1 terabit of combined bandwidth to more than
                                                                                                                        1,400 Utah schools and colleges (Journal of Engineering - Factiva, 05/06/2015)
                                                                                                                        CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                        CFRA Equity Research Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                        Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                        FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 05/06/2015)
                                                                                                                        Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                        Jefferies LLC Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                        JP Morgan Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                        JP Morgan Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                        JP Morgan Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                        Kathryn K.Winters (Waycross Journal-Herald - Factiva, 05/06/2015)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                         Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                         Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                         Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 05/06/2015)
                                                                                                                         Trademarks; An Application for the Trademark "INQUIRE" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 05/06/2015)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "E-CARE" Filed
                                                                                                                         (Telecommunications Weekly - Factiva, 05/06/2015)
                                                                                                                         Trademarks; Trademark Application for "ELPASOTEL BRINGING IT TOGETHER" Filed by
                                                                                                                         Qwest Communications International (Telecommunications Weekly - Factiva, 05/06/2015)
                                                                                                                         USTelecom BOARD (TR Daily - Factiva, 05/06/2015)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/06/2015)
                                                                                                                         CenturyLink delivers on its promise to bring 1 gigabit per second Internet speeds to Utah
                                                                                                                         customers (PR Newswire (U.S.) - Factiva, 05/06/2015 04:00 AM)
                                                                                                                         Press Release: CenturyLink delivers on its promise to bring 1 gigabit per second Internet speeds to
                                                                                                                         Utah customers (Dow Jones Institutional News - Factiva, 05/06/2015 04:00 AM)
 5/7/2015 Thu   3,863,268   $34.65      $0.00   0.35%   0.40%   -0.22%   0.06%     0.29%      0.26 79.69%       $0.10    CenturyLink Technology Solutions - The organizational chart displays its 7 executives, including
                                                                                                                         Brian Klingbeil and Gery Messer (TheOfficialBoard - Factiva, 05/07/2015)
                                                                                                                         Husch Blackwell lands experienced energy industry attorney (Kansas City Business Journal Online -
                                                                                                                         Factiva, 05/07/2015)
                                                                                                                         OPEN INTERNET CHALLENGERS ASK TO EXCEED PAGE LENGTH FOR STAY MOTION
                                                                                                                         (TR Daily - Factiva, 05/07/2015)
                                                                                                                         PAI: ISP STATEMENTS PROVE INTERNET ORDER IS SLOWING BROADBAND
                                                                                                                         DEPLOYMENT (TR Daily - Factiva, 05/07/2015)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 05/07/2015)
 5/8/2015 Fri   3,481,238   $34.95      $0.00   0.87%   1.35%   0.00%    0.81%     0.05%      0.05 96.15%       $0.02    Apptio provides comprehensive view of cloud costs (Internet Business News - Factiva, 05/08/2015)
                                                                                                                         Apptio provides view of cloud costs (M2 EquityBites - Factiva, 05/08/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/08/2015)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 05/08/2015)
 5/9/2015 Sat
5/10/2015 Sun
5/11/2015 Mon   4,344,684   $34.40      $0.00 -1.57% -0.49%     -0.27%   -0.55%   -1.02%     -0.92 36.02%       -$0.36   Macquarie Research Analyst Report (Eikon - Manual Entry, 05/11/2015)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/11/2015)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 05/11/2015)
                                                                                                                         Title II challenges rise (SNL Kagan Media & Communications Report - Factiva, 05/11/2015)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                   Events
5/12/2015 Tue   4,783,766   $35.00      $0.00   1.74% -0.29%   0.17%   -0.16%     1.90%      1.71   8.96%       $0.66    Level 3 Communications Inc at Jefferies Global Technology, Media and Telecom (TMT)
                                                                                                                         Conference - Final (CQ FD Disclosure - Factiva, 05/12/2015)
                                                                                                                         CenturyLink tests fiber broadband television service, Prism TV, in Seattle (Puget Sound Business
                                                                                                                         Journal Online - Factiva, 05/12/2015)
                                                                                                                         CenturyLink, Inc. CenturyLink extends global data center footprint into Australia (China Weekly
                                                                                                                         News - Factiva, 05/12/2015)
                                                                                                                         FCC rejects stay requests on Title II (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         05/12/2015)
                                                                                                                         Plain Dealing High wins CenturyLink grant (Bossier Press-Tribune - Factiva, 05/12/2015)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 05/12/2015)
5/13/2015 Wed   5,368,066   $34.35      $0.00 -1.86% -0.01%    0.31%    0.12%    -1.98%     -1.76   8.09%       -$0.69   CenturyLink Prism cable TV Q&A: How does it match up to Comcast? (The Oregonian (Tribune
                                                                                                                         Content Agency) - Factiva, 05/13/2015)
                                                                                                                         CenturyLink takes aim at Comcast with cable rollout in 12 Portland neighborhoods (Portland
                                                                                                                         Business Journal Online - Factiva, 05/13/2015)
                                                                                                                         Gregory J. McCray starts eleventh year as CenturyLink Director 12 May 2015 (People in Business -
                                                                                                                         Factiva, 05/13/2015)
                                                                                                                         Hydro-Electric DC Fuels CenturyLink Growth (Investing.com - Factiva, 05/13/2015)
                                                                                                                         NATIONAL -- Groups, AT&T, CenturyLink ask court to stay open Internet order (TR's State
                                                                                                                         NewsWire - Factiva, 05/13/2015)
                                                                                                                         TRADE GROUPS, AT&T, CenturyLink ASK COURT TO STAY OPEN INTERNET ORDER (TR
                                                                                                                         Daily - Factiva, 05/13/2015)
                                                                                                                         Trademarks; Trademark Application for "CONSULTLINE" Filed by Qwest Communications
                                                                                                                         International (Telecommunications Weekly - Factiva, 05/13/2015)
                                                                                                                         Trademarks; Trademark Application for "QWEST.NET" Filed by Qwest Communications
                                                                                                                         International (Telecommunications Weekly - Factiva, 05/13/2015)
                                                                                                                         (PR) CenturyLink adds hydro-electric-powered data center services in central Washington (PR
                                                                                                                         Newswire (U.S.) - Factiva, 05/13/2015 09:00 AM)
                                                                                                                         CenturyLink adds hydro-electric-powered data center services in central Washington (Canada
                                                                                                                         NewsWire - Factiva, 05/13/2015 09:00 AM)
                                                                                                                         CenturyLink adds hydro-electric-powered data center services in central Washington (PR Newswire
                                                                                                                         Europe - Factiva, 05/13/2015 09:00 AM)
                                                                                                                         CENTURYLINK ADDS HYDRO-ELECTRIC-POWERED DATA CENTER SERVICES IN
                                                                                                                         CENTRAL WASHINGTON (Press Association National Newswire - Factiva, 05/13/2015 09:00 AM)

                                                                                                                         CenturyLink adds hydro-electric-powered data center services in central Washington; -- New
                                                                                                                         facility offers global enterprises low-cost power and high resiliency services ideal for cloud and
                                                                                                                         disaster recovery solutions (PR Newswire Asia - Factiva, 05/13/2015 09:00 AM)
                                                                                                                         Press Release: CenturyLink adds hydro-electric-powered data center services in central
                                                                                                                         Washington (Dow Jones Institutional News - Factiva, 05/13/2015 09:00 AM)
                                                                                                                         Press Release: CenturyLink adds hydro-electric-powered data center services in central
                                                                                                                         Washington (Dow Jones Institutional News - Factiva, 05/13/2015 09:00 AM)
                                                                                                                         CenturyLink launches Prism(TM) TV in Portland (PR Newswire (U.S.) - Factiva, 05/13/2015 10:12
                                                                                                                         AM)
                                                                                                                         Press Release: CenturyLink launches Prism(TM) TV in Portland (Dow Jones Institutional News -
                                                                                                                         Factiva, 05/13/2015 10:12 AM)



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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

5/14/2015 Thu   2,715,694   $34.34      $0.00 -0.03%    1.09%   -0.18%   0.51%    -0.54%     -0.48 63.41%       -$0.19   CenturyLink announces Prism TV availability in Portland (FinancialWire - Factiva, 05/14/2015)
                                                                                                                         CenturyLink Opens Hydro-Electric Powered Data Center (Mehr News Agency - Factiva, 05/14/2015)

                                                                                                                         Domtar ideal candidate for pension shift; Transfer of plans to insurance firms an increasingly
                                                                                                                         popular decision (Montreal Gazette - Factiva, 05/14/2015)
                                                                                                                         IOWA -- CenturyLink settles with RLEC over 'traffic pumping' claims (TR's State NewsWire -
                                                                                                                         Factiva, 05/14/2015)
                                                                                                                         Pension risk transfers on the upswing; Insurance firms (National Post - Factiva, 05/14/2015)
                                                                                                                         Rural central Washington sprouts another data center as CenturyLink comes to town (Puget Sound
                                                                                                                         Business Journal Online - Factiva, 05/14/2015)
                                                                                                                         Title II opponents jointly file stay request in appeals court (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 05/14/2015)
                                                                                                                         Diversified Telecommunication Stocks Technical Report - AT&T, CenturyLink, Globalstar, Level 3
                                                                                                                         Communications, and Vonage Holdings (PR Newswire (U.S.) - Factiva, 05/14/2015 08:45 AM)

5/15/2015 Fri   2,711,912   $34.50      $0.00   0.47%   0.09%   0.11%    0.03%     0.44%      0.38 70.25%       $0.15    And the next REIT out of telecom will be... (SNL Financial Extra - Factiva, 05/15/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/15/2015)
                                                                                                                         Pai: ISP Statements Prove Order Slowing Deployment (Telecommunications Reports - Factiva,
                                                                                                                         05/15/2015)
5/16/2015 Sat
5/17/2015 Sun
5/18/2015 Mon   2,817,213   $34.40      $0.00 -0.29%    0.31%   0.36%    0.33%    -0.62%     -0.55 58.40%       -$0.22   CenturyLink expands fiber network in S. Phoenix (The Arizona Republic - Factiva, 05/18/2015)
                                                                                                                         CenturyLink fiber Internet expansion announced for businesses in greater Triangle area (Triangle
                                                                                                                         Business Journal Online - Factiva, 05/18/2015)
                                                                                                                         CenturyLink Inc at JPMorgan Global Technology, Media and Telecom Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 05/18/2015)
                                                                                                                         CenturyLink rolls out gigabit-speed Internet to more Colorado cities (Denver Business Journal
                                                                                                                         Online - Factiva, 05/18/2015)
                                                                                                                         CenturyLink SAYS 1 GIGABTIT FIBER SERVICE AVAILABLE IN 17 STATES (TR Daily -
                                                                                                                         Factiva, 05/18/2015)
                                                                                                                         Liberty Interactive unit to make semiannual payment on debentures (SNL Kagan Media &
                                                                                                                         Communications Report - Factiva, 05/18/2015)
                                                                                                                         Speeding up: CenturyLink expands gigabit Internet service across Arizona (Phoenix Business
                                                                                                                         Journal Online - Factiva, 05/18/2015)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/18/2015)
                                                                                                                         (PR) CenturyLink's 1 Gbps fiber now available to nearly 490,000 SMB locations in 17 states,
                                                                                                                         delivering enterprise-class IP networking, VoIP and cloud capabilities (PR Newswire (U.S.) - Factiva,
                                                                                                                         05/18/2015 07:00 AM)
                                                                                                                         CenturyLink's 1 Gbps fiber now available to nearly 490,000 SMB locations in 17 states, delivering
                                                                                                                         enterprise-class IP networking, VoIP and cloud capabilities (Canada NewsWire - Factiva, 05/18/2015
                                                                                                                         07:00 AM)
                                                                                                                         Press Release: CenturyLink's 1 Gbps fiber now available to nearly 490,000 SMB locations in 17
                                                                                                                         states, delivering enterprise-class IP networking, VoIP and cloud capabilities (Dow Jones
                                                                                                                         Institutional News - Factiva, 05/18/2015 07:00 AM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        Press Release: CenturyLink's 1 Gbps fiber now available to nearly 490,000 SMB locations in 17
                                                                                                                        states, delivering enterprise-class IP networking, VoIP and cloud capabilities (Dow Jones
                                                                                                                        Institutional News - Factiva, 05/18/2015 07:00 AM)
                                                                                                                        CenturyLink's 1 Gbps fiber service now reaches more than 49,000 Southern Nevada business
                                                                                                                        locations (PR Newswire (U.S.) - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        CenturyLink's 1 Gbps service is now available to 33,000 business locations in Oregon (PR Newswire
                                                                                                                        (U.S.) - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        CenturyLink's 1 Gbps service is now available to 4,400 business locations in Iowa (PR Newswire
                                                                                                                        (U.S.) - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        CenturyLink's 1 Gbps service is now available to 5,100 business locations in Idaho (PR Newswire
                                                                                                                        (U.S.) - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        CenturyLink's 1 Gbps service is now available to an additional 8,200 business locations in
                                                                                                                        Minnesota (PR Newswire (U.S.) - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        CenturyLink's 1 Gbps service is now available to more than 19,700 business locations in Utah (PR
                                                                                                                        Newswire (U.S.) - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        CenturyLink's 1 Gbps service is now available to more than 3,400 business locations in Ohio (PR
                                                                                                                        Newswire (U.S.) - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        CenturyLink's 1 Gbps service is now available to more than 64,000 business locations in the state of
                                                                                                                        Washington (PR Newswire (U.S.) - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        Press Release: CenturyLink's 1 Gbps fiber service now reaches more than 49,000 Southern Nevada
                                                                                                                        business locations (Dow Jones Institutional News - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        Press Release: CenturyLink's 1 Gbps service is now available to 33,000 business locations in Oregon
                                                                                                                        (Dow Jones Institutional News - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        Press Release: CenturyLink's 1 Gbps service is now available to 4,400 business locations in Iowa
                                                                                                                        (Dow Jones Institutional News - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        Press Release: CenturyLink's 1 Gbps service is now available to 5,100 business locations in Idaho
                                                                                                                        (Dow Jones Institutional News - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        Press Release: CenturyLink's 1 Gbps service is now available to an additional 8,200 business
                                                                                                                        locations in Minnesota (Dow Jones Institutional News - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        Press Release: CenturyLink's 1 Gbps service is now available to more than 19,700 business
                                                                                                                        locations in Utah (Dow Jones Institutional News - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        Press Release: CenturyLink's 1 Gbps service is now available to more than 3,400 business locations
                                                                                                                        in Ohio (Dow Jones Institutional News - Factiva, 05/18/2015 07:15 AM)
                                                                                                                        Press Release: CenturyLink's 1 Gbps service is now available to more than 64,000 business
                                                                                                                        locations in the state of Washington (Dow Jones Institutional News - Factiva, 05/18/2015 07:15 AM)

5/19/2015 Tue   5,358,563   $33.96      $0.00 -1.28% -0.04%   -0.77%   -0.61%    -0.67%     -0.59 55.89%       -$0.23   CenturyLink announces availability of one Gb/s fibre available to nearly 490,000 SMB locations in
                                                                                                                        17 US states (FinancialWire - Factiva, 05/19/2015)
                                                                                                                        CenturyLink announces availability of one Gb/s service to over 19,700 business locations in Utah
                                                                                                                        (FinancialWire - Factiva, 05/19/2015)
                                                                                                                        CenturyLink's 1 gbps service now available locally (Northwest Florida Daily News (Tribune Content
                                                                                                                        Agency) - Factiva, 05/19/2015)
                                                                                                                        MECA; Leaders get raises in year of change; Nonprofit that runs arena and ballpark works to
                                                                                                                        retain talent as more venues are built in area (Omaha World-Herald - Factiva, 05/19/2015)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        MINNESOTA -- SAWT motion for reconsideration on PUC agenda (TR's State NewsWire - Factiva,
                                                                                                                        05/19/2015)
                                                                                                                        NATIONAL -- VoIP entrepreneur seeks stay of entire open Internet order (TR's State NewsWire -
                                                                                                                        Factiva, 05/19/2015)
                                                                                                                        VoIP ENTREPRENEUR SEEKS STAY OF ENTIRE OPEN INTERNET ORDER (TR Daily -
                                                                                                                        Factiva, 05/19/2015)
                                                                                                                        CenturyLink reports lower Q1 net income, provides outlook for Q2 (MarketLine (a Datamonitor
                                                                                                                        Company), Company News - Factiva, 05/19/2015 06:11 AM)
                                                                                                                        (PR) CenturyLink receives recognition in Gartner Magic Quadrant for Cloud Infrastructure as a
                                                                                                                        Service, Worldwide (PR Newswire (U.S.) - Factiva, 05/19/2015 04:01 PM)
                                                                                                                        CenturyLink receives recognition in Gartner Magic Quadrant for Cloud Infrastructure as a
                                                                                                                        Service, Worldwide (Canada NewsWire - Factiva, 05/19/2015 04:01 PM)
                                                                                                                        CenturyLink receives recognition in Gartner Magic Quadrant for Cloud Infrastructure as a
                                                                                                                        Service, Worldwide (PR Newswire Asia - Factiva, 05/19/2015 04:01 PM)
                                                                                                                        CenturyLink receives recognition in Gartner Magic Quadrant for Cloud Infrastructure as a
                                                                                                                        Service, Worldwide (PR Newswire Europe - Factiva, 05/19/2015 04:01 PM)
                                                                                                                        CENTURYLINK RECEIVES RECOGNITION IN GARTNER MAGIC QUADRANT FOR
                                                                                                                        CLOUD INFRASTRUCTURE AS A SERVICE, WORLDWIDE (Press Association National
                                                                                                                        Newswire - Factiva, 05/19/2015 04:01 PM)
                                                                                                                        Press Release: CenturyLink receives recognition in Gartner Magic Quadrant for Cloud
                                                                                                                        Infrastructure as a Service, Worldwide (Dow Jones Institutional News - Factiva, 05/19/2015 04:01 PM)

5/20/2015 Wed   4,611,412   $34.36      $0.00   1.18% -0.08%   0.50%    0.17%     1.01%      0.88 37.81%       $0.34    CenturyLink APPOINTMENT (TR Daily - Factiva, 05/20/2015)
                                                                                                                        CenturyLink Inc to declare quarterly cash dividend (Reuters Significant Developments - Factiva,
                                                                                                                        05/20/2015)
                                                                                                                        CenturyLink, Inc. CenturyLink delivers on its promise to bring 1 gigabit per second Internet
                                                                                                                        speeds to Utah customers (Journal of Engineering - Factiva, 05/20/2015)
                                                                                                                        COLORADO -- CenturyLink challenges PUC order rejecting its attempt to eliminate tariffs (TR's
                                                                                                                        State NewsWire - Factiva, 05/20/2015)
                                                                                                                        Qwest Communications Interatnational Inc. Patent Issued for Simultaneous Multi-Mode WiFi
                                                                                                                        Differentiated by SSID (Electronics Newsweekly - Factiva, 05/20/2015)
                                                                                                                        Qwest Communications Interatnational Inc. Patent Issued for Simultaneous Multi-Mode WiFi
                                                                                                                        Differentiated by SSID (Journal of Engineering - Factiva, 05/20/2015)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "MYQWEST"
                                                                                                                        Filed (Telecommunications Weekly - Factiva, 05/20/2015)
                                                                                                                        Winning Forida 'Teachers & Technology' Classroom Innovation Projects Awarded by
                                                                                                                        CenturyLink (New Vision - Factiva, 05/20/2015)
                                                                                                                        CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 05/20/2015 04:15
                                                                                                                        PM)
                                                                                                                        Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                        Factiva, 05/20/2015 04:15 PM)
5/21/2015 Thu   4,288,353   $34.25      $0.00 -0.32%   0.25%   0.62%    0.48%    -0.80%      -0.7 48.28%       -$0.28   CenturyLinkÃ¢â‚¬â„¢s board declares USD0.54 quarterly cash dividend (FinancialWire - Factiva,
                                                                                                                        05/21/2015)
                                                                                                                        Internet speed war coming to Colorado: Comcast to debut 2-gig service (Denver Business Journal
                                                                                                                        Online - Factiva, 05/21/2015)




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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
5/22/2015 Fri   4,925,861   $33.95      $0.00 -0.88% -0.22%     -0.63%   -0.64%   -0.23%     -0.21 83.69%       -$0.08   CenturyLink expands business gig service in 17 states.(BUSINESS) (Fiber Optics Weekly Update -
                                                                                                                         Factiva, 05/22/2015)
                                                                                                                         Sprint names marketing chief (SNL Kagan Media & Communications Report - Factiva, 05/22/2015)

                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "MYQWEST"
                                                                                                                         Filed (Economics Week - Factiva, 05/22/2015)
                                                                                                                         CenturyLink Files 8K - Changes Exec Mgmt >CTL (Dow Jones Institutional News - Factiva,
                                                                                                                         05/22/2015 10:09 AM)
5/23/2015 Sat                                                                                                            Trademarks; Qwest Communications International's Trademark Application for "MYQWEST"
                                                                                                                         Filed (Investment Weekly News - Factiva, 05/23/2015)
5/24/2015 Sun
5/25/2015 Mon                                                                                                            CenturyLink Tests Power-Saving Tech at Irvine Facility (Orange County Business Journal - Factiva,
                                                                                                                         05/25/2015)
                                                                                                                         FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 05/25/2015)
5/26/2015 Tue   4,141,901   $33.60      $0.00 -1.03% -1.03%     0.38%    -0.52%   -0.52%     -0.46 64.96%       -$0.18   Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 05/26/2015)
5/27/2015 Wed   3,260,169   $33.94      $0.00   1.01%   0.93%   0.09%    0.54%     0.47%      0.42 67.53%       $0.16    Level 3 Communications Inc at Cowen Technology, Media & Telecom Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 05/27/2015)
                                                                                                                         Audit changes are good news. But the U.S. is holding Canada back; ThereÃ¢â‚¬â„¢s an
                                                                                                                         international movement to beef up auditorÃ¢â‚¬â„¢s reports for investorsÃ¢â‚¬â„¢ benefit. The
                                                                                                                         issue, however, is that Canada is not yet on board. And the problem, as it often is, is the United
                                                                                                                         States (The Globe and Mail (Breaking News) - Factiva, 05/27/2015)
                                                                                                                         CenturyLink chairman and director Owens William Arthur awarded shares 27 May 2015 (People in
                                                                                                                         Business - Factiva, 05/27/2015)
                                                                                                                         CenturyLink director Boulet Virginia awarded shares 26 May 2015 (People in Business - Factiva,
                                                                                                                         05/27/2015)
                                                                                                                         CenturyLink director Brown Peter C awarded shares 27 May 2015 (People in Business - Factiva,
                                                                                                                         05/27/2015)
                                                                                                                         CenturyLink director Gephardt Richard A awarded shares 27 May 2015 (People in Business -
                                                                                                                         Factiva, 05/27/2015)
                                                                                                                         CenturyLink director Hanks William Bruce awarded shares 27 May 2015 (People in Business -
                                                                                                                         Factiva, 05/27/2015)
                                                                                                                         CenturyLink director Mccray Gregory James awarded shares 26 May 2015 (People in Business -
                                                                                                                         Factiva, 05/27/2015)
                                                                                                                         CenturyLink director Melville C G Jr awarded shares 26 May 2015 (People in Business - Factiva,
                                                                                                                         05/27/2015)
                                                                                                                         CenturyLink director Perry Harvey P awarded shares 27 May 2015 (People in Business - Factiva,
                                                                                                                         05/27/2015)
                                                                                                                         CenturyLink director Roberts Michael James awarded shares 26 May 2015 (People in Business -
                                                                                                                         Factiva, 05/27/2015)
                                                                                                                         CenturyLink director Siegel Laurie awarded shares 27 May 2015 (People in Business - Factiva,
                                                                                                                         05/27/2015)
                                                                                                                         CenturyLink director Zimmel Joseph awarded shares 27 May 2015 (People in Business - Factiva,
                                                                                                                         05/27/2015)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR HANKS (Louisiana) (US Fed News -
                                                                                                                         Factiva, 05/27/2015)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        CENTURYLINK REPORTS ACQUISITION BY DIRECTOR MELVILLE (Louisiana) (US Fed
                                                                                                                        News - Factiva, 05/27/2015)
                                                                                                                        CENTURYLINK REPORTS ACQUISITION BY DIRECTOR PERRY (Louisiana) (US Fed News -
                                                                                                                        Factiva, 05/27/2015)
                                                                                                                        CenturyLink, Inc. CenturyLink launches Prism(TM) TV in Portland (Journal of Engineering -
                                                                                                                        Factiva, 05/27/2015)
                                                                                                                        Telephone Communications; Qwest Corp. Files SEC Form 10-Q, Quarterly Report [Sections 13 Or
                                                                                                                        15(D)] (May. 11, 2015) (Telecommunications Weekly - Factiva, 05/27/2015)
                                                                                                                        Trademarks; An Application for the Trademark "COMPLETE-A-CALL" Has Been Filed by
                                                                                                                        Qwest Communications International (Telecommunications Weekly - Factiva, 05/27/2015)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for
                                                                                                                        "ADAPTIVEBUILD" Filed (Telecommunications Weekly - Factiva, 05/27/2015)
                                                                                                                        Trademarks; Trademark Application for "ANYWHERE VOICE MAIL" Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 05/27/2015)
                                                                                                                        Upgrade (Naples Daily News - Factiva, 05/27/2015)
                                                                                                                        CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 05/27/2015 04:30
                                                                                                                        PM)
                                                                                                                        CenturyLink opens new data center in central Washington (MarketLine (a Datamonitor Company),
                                                                                                                        Company News - Factiva, 05/27/2015 11:48 PM)
5/28/2015 Thu   3,972,262   $34.06      $0.00   0.35% -0.11%   -0.19%   -0.32%    0.68%       0.6 54.71%       $0.23    Audit changes are good news. But the U.S. is holding Canada back (The Globe and Mail - Factiva,
                                                                                                                        05/28/2015)
                                                                                                                        CENTURYLINK REPORTS DISPOSITION BY CEO POST (Louisiana) (US Fed News - Factiva,
                                                                                                                        05/28/2015)
                                                                                                                        CENTURYLINK REPORTS DISPOSITION BY EXECUTIVE VP EWING (Louisiana) (US Fed
                                                                                                                        News - Factiva, 05/28/2015)
                                                                                                                        CenturyLink unveils Prism TV in Portland (MarketLine (a Datamonitor Company), Company News -
                                                                                                                        Factiva, 05/28/2015 12:00 AM)
5/29/2015 Fri   5,441,963   $33.24      $0.54 -0.82% -0.63%    0.00%    -0.53%   -0.29%     -0.26 79.39%       -$0.10   3D technology to welcome students in August (The Sidney Daily News - Factiva, 05/29/2015)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 05/29/2015)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 05/29/2015)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/29/2015)
5/30/2015 Sat                                                                                                           Low income can mean lower CenturyLink prices (The Lebanon Daily Record - Factiva, 05/30/2015)

5/31/2015 Sun                                                                                                           MIDMISSOURI; CenturyLink launching food drive (Jefferson City News-Tribune - Factiva,
                                                                                                                        05/31/2015)
 6/1/2015 Mon   4,816,788   $32.87      $0.00 -1.11%   0.22%   -0.63%   -0.37%   -0.74%     -0.66 50.88%       -$0.25   CoStar Group names Becky Carr Chief Marketing Officer (Theflyonthewall.com - Factiva,
                                                                                                                        06/01/2015)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 06/01/2015)
                                                                                                                        CenturyLink announces 1Gbps service to additional business locations in Oregon (MarketLine (a
                                                                                                                        Datamonitor Company), Company News - Factiva, 06/01/2015 05:31 AM)
                                                                                                                        CenturyLink unveils 1Gbps service to additional business locations in Minnesota (MarketLine (a
                                                                                                                        Datamonitor Company), Company News - Factiva, 06/01/2015 05:34 AM)
                                                                                                                        CenturyLink unveils 1Gbps service to new business locations in Southern Nevada (MarketLine (a
                                                                                                                        Datamonitor Company), Company News - Factiva, 06/01/2015 05:38 AM)



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                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events

                                                                                                                       CenturyLink announces 1Gbps service to additional business locations in Utah (MarketLine (a
                                                                                                                       Datamonitor Company), Company News - Factiva, 06/01/2015 05:40 AM)
                                                                                                                       CenturyLink unveils 1Gbps service at more than 3,400 business locations in Ohio (MarketLine (a
                                                                                                                       Datamonitor Company), Company News - Factiva, 06/01/2015 08:22 AM)
                                                                                                                       CenturyLink unveils 1Gbps service at 5,600 new business locations in Washington (MarketLine (a
                                                                                                                       Datamonitor Company), Company News - Factiva, 06/01/2015 08:25 AM)
                                                                                                                       CenturyLink unveils 1Gbps service at approximately 4,400 locations in Iowa (MarketLine (a
                                                                                                                       Datamonitor Company), Company News - Factiva, 06/01/2015 08:36 AM)
                                                                                                                       CenturyLink unveils 1Gbps service at about 5,100 select locations in Idaho (MarketLine (a
                                                                                                                       Datamonitor Company), Company News - Factiva, 06/01/2015 08:38 AM)
6/2/2015 Tue   4,601,140   $32.96      $0.00   0.27% -0.10%    0.07%   -0.14%    0.41%      0.37 71.50%       $0.13    CenturyLink RETIREMENT (TR Daily - Factiva, 06/02/2015)
                                                                                                                       stocks of local interest (News Journal, Mansfield, Ohio - Factiva, 06/02/2015)
                                                                                                                       CenturyLink announces retirement of Karen Puckett, CenturyLink's President of Global Markets
                                                                                                                       (PR Newswire (U.S.) - Factiva, 06/02/2015 08:45 AM)
                                                                                                                       Press Release: CenturyLink announces retirement of Karen Puckett, CenturyLink's President of
                                                                                                                       Global Markets (Dow Jones Institutional News - Factiva, 06/02/2015 08:45 AM)
6/3/2015 Wed   4,347,221   $32.99      $0.00   0.09%   0.23%   0.74%   0.51%    -0.42%     -0.37 70.91%       -$0.14   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                       Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 06/03/2015)

                                                                                                                       CenturyLink, Inc. CenturyLink's 1 Gbps fiber now available to nearly 490,000 SMB locations in 17
                                                                                                                       states, delivering enterprise-class IP networking, VoIP and cloud capabilities (Journal of Engineering
                                                                                                                       - Factiva, 06/03/2015)
                                                                                                                       CenturyLink, Inc. CenturyLink's 1 Gbps fiber service now reaches more than 49,000 Southern
                                                                                                                       Nevada business locations (Journal of Engineering - Factiva, 06/03/2015)
                                                                                                                       CenturyLink, Inc. CenturyLink's 1 Gbps service is now available to 33,000 business locations in
                                                                                                                       Oregon (Journal of Engineering - Factiva, 06/03/2015)
                                                                                                                       CenturyLink, Inc. CenturyLink's 1 Gbps service is now available to 5,100 business locations in
                                                                                                                       Idaho (Journal of Engineering - Factiva, 06/03/2015)
                                                                                                                       CenturyLink, Inc. CenturyLink's 1 Gbps service is now available to an additional 8,200 business
                                                                                                                       locations in Minnesota (Journal of Engineering - Factiva, 06/03/2015)
                                                                                                                       CenturyLink, Inc. CenturyLink's 1 Gbps service is now available to more than 19,700 business
                                                                                                                       locations in Utah (Journal of Engineering - Factiva, 06/03/2015)
                                                                                                                       CenturyLink, Inc. CenturyLink's 1 Gbps service is now available to more than 3,400 business
                                                                                                                       locations in Ohio (Journal of Engineering - Factiva, 06/03/2015)
                                                                                                                       CenturyLink, Inc. CenturyLink's 1 Gbps service is now available to more than 64,000 business
                                                                                                                       locations in the state of Washington (Journal of Engineering - Factiva, 06/03/2015)
                                                                                                                       CenturyLinkÃ¢â‚¬â„¢s President of Global Markets to retire (FinancialWire - Factiva, 06/03/2015)

                                                                                                                       CenturyLink's global markets president to retire (SNL Kagan Media & Communications Report -
                                                                                                                       Factiva, 06/03/2015)
                                                                                                                       GlobalData Analyst Report (Capital IQ - Manual Entry, 06/03/2015)
                                                                                                                       GlobalData Analyst Report (Eikon - Manual Entry, 06/03/2015)
                                                                                                                       Trademarks; Trademark Application for "GET IN THE LOOP" Filed by Qwest Communications
                                                                                                                       International (Telecommunications Weekly - Factiva, 06/03/2015)




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    [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                       CenturyLink president of global markets to retire (Associated Press Newswires - Factiva, 06/03/2015
                                                                                                                       04:15 AM)
6/4/2015 Thu   4,776,906   $32.83      $0.00 -0.48% -0.86%    -0.25%   -0.87%    0.38%      0.34 73.24%       $0.13    CenturyLink Inc at Morgan Stanley Leveraged Finance Conference - Final (CQ FD Disclosure -
                                                                                                                       Factiva, 06/04/2015)
                                                                                                                       S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 06/04/2015)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 06/04/2015)
                                                                                                                       Madrona Closes Sixth Fund at $300M (VentureWire - Factiva, 06/04/2015 03:29 AM)
                                                                                                                       CenturyLink launches Prism(R) TV in Salt Lake City (PR Newswire (U.S.) - Factiva, 06/04/2015
                                                                                                                       02:00 PM)
                                                                                                                       Press Release: CenturyLink launches Prism(R) TV in Salt Lake City (Dow Jones Institutional News -
                                                                                                                       Factiva, 06/04/2015 02:00 PM)
6/5/2015 Fri   3,876,891   $32.18      $0.00 -1.98% -0.14%    -1.69%   -1.32%   -0.66%     -0.59 55.70%       -$0.22   Argus Research Corporation Analyst Report (Eikon - Manual Entry, 06/05/2015)
                                                                                                                       Cox, CenturyLink see Internet customer satisfaction rankings plunge (Phoenix Business Journal
                                                                                                                       Online - Factiva, 06/05/2015)
                                                                                                                       FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 06/05/2015)
                                                                                                                       Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/05/2015)
6/6/2015 Sat                                                                                                           Saturday business briefs 6-6 (The Courier-Tribune - Factiva, 06/06/2015)
6/7/2015 Sun                                                                                                           CenturyLink donates $20,000 to disaster relief efforts (Athens Daily Review - Factiva, 06/07/2015)

6/8/2015 Mon   3,782,990   $32.22      $0.00   0.12% -0.63%   0.69%    -0.07%    0.20%      0.18 86.12%       $0.06    IOWA -- AT&T settles with RLEC over 'traffic pumping' claims (TR's State NewsWire - Factiva,
                                                                                                                       06/08/2015)
                                                                                                                       USTelecom, OTHERS ARGUE FOR RIGHT TO INTERVENE IN FSNÃ¢â‚¬â„¢s OPEN
                                                                                                                       INTERNET APPEAL (TR Daily - Factiva, 06/08/2015)
                                                                                                                       (PR) CenturyLink and LGS Innovations deliver high-speed supercomputing network to U.S.
                                                                                                                       Department of Defense researchers (PR Newswire (U.S.) - Factiva, 06/08/2015 09:00 AM)
                                                                                                                       CenturyLink and LGS Innovations deliver high-speed supercomputing network to U.S. Department
                                                                                                                       of Defense researchers (Business Wire - Factiva, 06/08/2015 09:00 AM)
                                                                                                                       Press Release: CenturyLink and LGS Innovations deliver high-speed supercomputing network to
                                                                                                                       U.S. Department of Defense researchers (Dow Jones Institutional News - Factiva, 06/08/2015 09:00
                                                                                                                       AM)
6/9/2015 Tue   3,086,660   $32.07      $0.00 -0.47%   0.04%   -0.24%   -0.24%   -0.22%      -0.2 84.23%       -$0.07   CenturyLink and LGS Innovations upgrade US DoD supercomputing network (FinancialWire -
                                                                                                                       Factiva, 06/09/2015)
                                                                                                                       CenturyLink Names Richard Warley New EMEA Managing Director - Quick Facts (RTT News -
                                                                                                                       Factiva, 06/09/2015)
                                                                                                                       Telecommunication Companies; Patent Issued for Dynamic Modem Bandwidth Checking
                                                                                                                       (Information Technology Newsweekly - Factiva, 06/09/2015)
                                                                                                                       WASHINGTON -- Parties file settlement in CenturyLink outage investigation (TR's State NewsWire
                                                                                                                       - Factiva, 06/09/2015)
                                                                                                                       (PR) CenturyLink appoints Richard Warley as new EMEA managing director (PR Newswire (U.S.) -
                                                                                                                       Factiva, 06/09/2015 04:00 AM)
                                                                                                                       CenturyLink appoints Richard Warley as new EMEA managing director (Canada NewsWire -
                                                                                                                       Factiva, 06/09/2015 04:00 AM)
                                                                                                                       CenturyLink appoints Richard Warley as new EMEA managing director (PR Newswire Europe -
                                                                                                                       Factiva, 06/09/2015 04:00 AM)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events

                                                                                                                         CENTURYLINK APPOINTS RICHARD WARLEY AS NEW EMEA MANAGING DIRECTOR
                                                                                                                         (Press Association National Newswire - Factiva, 06/09/2015 04:00 AM)
                                                                                                                         Press Release: CenturyLink appoints Richard Warley as new EMEA managing director (Dow Jones
                                                                                                                         Institutional News - Factiva, 06/09/2015 04:00 AM)
                                                                                                                         Press Release: CenturyLink appoints Richard Warley as new EMEA managing director (Dow Jones
                                                                                                                         Institutional News - Factiva, 06/09/2015 04:00 AM)
                                                                                                                         CenturyLink Announces Financial Analyst Day (PR Newswire (U.S.) - Factiva, 06/09/2015 04:14 PM)

                                                                                                                         Press Release: CenturyLink Announces Financial Analyst Day (Dow Jones Institutional News -
                                                                                                                         Factiva, 06/09/2015 04:14 PM)
6/10/2015 Wed   3,191,806   $32.26      $0.00   0.59%   1.21%   -0.28%   0.45%     0.14%      0.13 90.01%       $0.04    CenturyLink names managing director for EMEA (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 06/10/2015)
                                                                                                                         CenturyLink names Richard Warley as MD of EMEA operations (FinancialWire - Factiva,
                                                                                                                         06/10/2015)
                                                                                                                         HOUSE APPROPRIATIONS BILL WOULD STAY OPEN INTERNET ORDER
                                                                                                                         IMPLEMENTATION (TR Daily - Factiva, 06/10/2015)
                                                                                                                         NATIONAL -- House Appropriations bill would stay Open Internet Order implementation (TR's
                                                                                                                         State NewsWire - Factiva, 06/10/2015)
                                                                                                                         SOUTH DAKOTA -- Court upholds judgment against Qwest in 'access stimulation' case (TR's State
                                                                                                                         NewsWire - Factiva, 06/10/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Dynamic Modem Bandwidth Checking
                                                                                                                         (Electronics Newsweekly - Factiva, 06/10/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Dynamic Modem Bandwidth Checking
                                                                                                                         (Telecommunications Weekly - Factiva, 06/10/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Multi-Line Telephone Calling (Journal of
                                                                                                                         Engineering - Factiva, 06/10/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Multi-Line Telephone Calling
                                                                                                                         (Telecommunications Weekly - Factiva, 06/10/2015)
6/11/2015 Thu   3,713,250   $32.73      $0.00   1.46%   0.20%   0.38%    0.25%     1.21%      1.09 27.64%       $0.39    Level 3 Communications Inc at Barclays High Yield Bond & Syndicated Loan Conference - Final
                                                                                                                         (CQ FD Disclosure - Factiva, 06/11/2015)
                                                                                                                         Court Denies Requests to Keep New Net Neutrality Rules From Taking Effect on Friday (NYT
                                                                                                                         Blogs - Factiva, 06/11/2015)
                                                                                                                         VanTrust buys CenturyLink buildings along I-435 (Kansas City Business Journal Online - Factiva,
                                                                                                                         06/11/2015)
                                                                                                                         Telecoms Climb in Line With Broader Market -- Telecoms Roundup (Dow Jones Institutional News -
                                                                                                                         Factiva, 06/11/2015 04:39 PM)
6/12/2015 Fri   3,084,436   $32.56      $0.00 -0.52% -0.69%     -0.40%   -0.81%    0.29%      0.26 79.21%       $0.10    CenturyLink and LGS Innovations deliver high-speed supercomputing network to U.S. Department
                                                                                                                         of Defense researchers.(CONTRACTS) (Fiber Optics Weekly Update - Factiva, 06/12/2015)

                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 06/12/2015)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 06/12/2015)
                                                                                                                         INTER QWEST CO.,LTD. (NICE Korea SME Company Profiles - Factiva, 06/12/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/12/2015)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
6/13/2015 Sat                                                                                                            Broadband providers' 1 Gig rollouts drive consumer 'halo effect' in speed tiers (New Vision -
                                                                                                                         Factiva, 06/13/2015)
6/14/2015 Sun
6/15/2015 Mon   2,984,948   $32.37      $0.00 -0.58% -0.46%     -0.31%   -0.60%    0.01%      0.01 99.03%       $0.00    ILLINOIS COMMERCE COMMISSION DAILY TARIFF FILINGS, JUNE 15 (US Fed News -
                                                                                                                         Factiva, 06/15/2015)
                                                                                                                         On the Move (Telecommunications Reports - Factiva, 06/15/2015)
                                                                                                                         USTelecom Claims Right To Intervene in FSN Appeal (Telecommunications Reports - Factiva,
                                                                                                                         06/15/2015)
6/16/2015 Tue   3,404,984   $32.22      $0.00 -0.46%    0.57%   0.45%    0.51%    -0.97%     -0.88 38.23%       -$0.31   CenturyLink announces availability of Prism TV service in Salt Lake City (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 06/16/2015 01:58 AM)
                                                                                                                         CenturyLink announces retirement of president of global markets (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 06/16/2015 06:46 AM)
6/17/2015 Wed   3,219,182   $32.21      $0.00 -0.03%    0.20%   -0.11%   -0.09%    0.06%      0.06 95.42%       $0.02    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 06/17/2015)

                                                                                                                         CenturyLink, Inc. CenturyLink announces retirement of Karen Puckett, CenturyLink's President
                                                                                                                         of Global Markets (Journal of Engineering - Factiva, 06/17/2015)
                                                                                                                         Telecommunication Companies; An Application for the Trademark "TNR" Has Been Filed by
                                                                                                                         Qwest Communications International (Telecommunications Weekly - Factiva, 06/17/2015)
                                                                                                                         Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                         for "QWEST FOR EDUCATION" Filed (Telecommunications Weekly - Factiva, 06/17/2015)
                                                                                                                         Telecommunication Companies; Trademark Application for "IPR" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 06/17/2015)
                                                                                                                         CenturyLink appoints new managing director for EMEA operations (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 06/17/2015 05:39 AM)
6/18/2015 Thu   3,734,092   $32.36      $0.00   0.47% 1.00%      0.19%    0.56%   -0.10%     -0.09 92.91%       -$0.03
6/19/2015 Fri   4,133,694   $32.46      $0.00   0.31% -0.53%    -0.01%   -0.45%    0.76%      0.69 49.34%        $0.25   CenturyLink director Roberts Michael James awarded Phantom Stocks 18 June 2015 (People in
                                                                                                                         Business - Factiva, 06/19/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/19/2015)
                                                                                                                         Validea Analyst Report (Eikon - Manual Entry, 06/19/2015)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 06/19/2015)
6/20/2015 Sat
6/21/2015 Sun                                                                                                            Morgan Stanley Analyst Report (Eikon - Manual Entry, 06/21/2015)
6/22/2015 Mon   3,486,763   $32.65      $0.00   0.59%   0.61%   -0.21%   0.08%     0.50%      0.45 65.07%       $0.16    Aon director Notebaert Richard C awarded shares 22 June 2015 (People in Business - Factiva,
                                                                                                                         06/22/2015)
                                                                                                                         COLORADO -- PUC upholds order denying CenturyLink's request to remove tariffs (TR's State
                                                                                                                         NewsWire - Factiva, 06/22/2015)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 06/22/2015)
6/23/2015 Tue   5,070,518   $32.55      $0.00 -0.31%    0.07%   1.37%    0.77%    -1.08%     -0.97 33.22%       -$0.35   Digital Realty Houses Big Data (Investor's Business Daily - Factiva, 06/23/2015)
                                                                                                                         Gordon Haskett Analyst Report (Eikon - Manual Entry, 06/23/2015)
                                                                                                                         ILLINOIS COMMERCE COMMISSION DAILY TARIFF FILINGS, JUNE 23 (US Fed News -
                                                                                                                         Factiva, 06/23/2015)
                                                                                                                         Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 06/23/2015)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 06/23/2015)



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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                  Events

6/24/2015 Wed   11,369,663   $31.88      $0.00 -2.06% -0.73%   -0.23%   -0.69%    -1.37%     -1.23 22.21%         -$0.44   BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 06/24/2015)
                                                                                                                           CenturyLink Inc Financial Analyst Day - Final (CQ FD Disclosure - Factiva, 06/24/2015)
                                                                                                                           Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 06/24/2015)
                                                                                                                           LGS Innovations and CenturyLink, Inc. CenturyLink and LGS Innovations deliver high-speed
                                                                                                                           supercomputing network to U.S. Department of Defense researchers (Defense & Aerospace Week -
                                                                                                                           Factiva, 06/24/2015)
                                                                                                                           LGS Innovations and CenturyLink, Inc. CenturyLink and LGS Innovations deliver high-speed
                                                                                                                           supercomputing network to U.S. Department of Defense researchers (Journal of Engineering -
                                                                                                                           Factiva, 06/24/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 06/24/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 06/24/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 06/24/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 06/24/2015)
                                                                                                                           Telecommunication Companies; Patent Issued for Optical Cable Connector (Journal of Engineering -
                                                                                                                           Factiva, 06/24/2015)
                                                                                                                           Telecommunication Companies; Patent Issued for Optical Cable Connector (Telecommunications
                                                                                                                           Weekly - Factiva, 06/24/2015)
                                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 06/24/2015)
                                                                                                                           Trademarks; Trademark Application for "FLEXMAIL" Filed by Qwest Communications
                                                                                                                           International (Telecommunications Weekly - Factiva, 06/24/2015)
                                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 06/24/2015)
                                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 06/24/2015)
                                                                                                                           Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 06/24/2015)
                                                                                                                           CenturyLink Schedules Second Quarter 2015 Earnings Conference Call (PR Newswire (U.S.) -
                                                                                                                           Factiva, 06/24/2015 04:10 PM)
                                                                                                                           Press Release: CenturyLink Schedules Second Quarter 2015 Earnings Conference Call (Dow Jones
                                                                                                                           Institutional News - Factiva, 06/24/2015 04:10 PM)
6/25/2015 Thu   16,783,618   $29.92      $0.00 -6.15% -0.29%    0.87%    0.21%    -6.36%     -5.68   0.00% **     -$2.03   D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 06/25/2015)
                                                                                                                           D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 06/25/2015)
                                                                                                                           For The Record (Investor's Business Daily - Factiva, 06/25/2015)
                                                                                                                           Gordon Haskett Analyst Report (Eikon - Manual Entry, 06/25/2015)
                                                                                                                           Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 06/25/2015)
                                                                                                                           Jefferies LLC Analyst Report (Eikon - Manual Entry, 06/25/2015)
                                                                                                                           JP Morgan Analyst Report (Capital IQ - Manual Entry, 06/25/2015)
                                                                                                                           JP Morgan Analyst Report (Capital IQ - Manual Entry, 06/25/2015)
                                                                                                                           JP Morgan Analyst Report (Eikon - Manual Entry, 06/25/2015)
                                                                                                                           Macquarie Research Analyst Report (Eikon - Manual Entry, 06/25/2015)
                                                                                                                           Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 06/25/2015)
                                                                                                                           Morgan Stanley Analyst Report (Eikon - Manual Entry, 06/25/2015)
                                                                                                                           Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 06/25/2015)




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                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                         *CenturyLink Inc. Cut to Neutral From Overweight by JPMorgan (Dow Jones Institutional News -
                                                                                                                         Factiva, 06/25/2015 06:28 AM)
                                                                                                                         Stocks Hitting 52-Week Lows (Benzinga.com - Factiva, 06/25/2015 10:20 AM)
                                                                                                                         U.S. RESEARCH ROUNDUP-Amazon.Com, Eli Lilly, Boston Properties (Reuters News - Factiva,
                                                                                                                         06/25/2015 06:29 PM)
6/26/2015 Fri   15,536,278   $29.99      $0.00   0.23% -0.02%   0.05%    -0.18%    0.42%      0.33 74.08%       $0.13    ISPs sign pact for energy efficient modems, routers (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 06/26/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/26/2015)
6/27/2015 Sat
6/28/2015 Sun
6/29/2015 Mon    6,761,620   $29.53      $0.00 -1.53% -2.08%    -0.05%   -1.44%   -0.10%     -0.08 93.82%       -$0.03   Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 06/29/2015)
                                                                                                                         Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 06/29/2015)
                                                                                                                         Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 06/29/2015)
                                                                                                                         Benzinga's Top Upgrades (Benzinga.com - Factiva, 06/29/2015 10:22 AM)
6/30/2015 Tue    5,479,010   $29.38      $0.00 -0.51%   0.27%   -0.60%   -0.33%   -0.18%     -0.14 88.68%       -$0.05
 7/1/2015 Wed    4,763,077   $29.57      $0.00 0.65%    0.72%    0.02%    0.23%    0.41%      0.33 74.36%        $0.12   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 07/01/2015)

                                                                                                                         CenturyLink VP (TR Daily - Factiva, 07/01/2015)
                                                                                                                         Telecommunication Companies; An Application for the Trademark "CENTRON" Has Been Filed
                                                                                                                         by Qwest Communications International (Telecommunications Weekly - Factiva, 07/01/2015)

                                                                                                                         Telecommunication Companies; Trademark Application for "QHOME" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 07/01/2015)
                                                                                                                         Telecommunications; Corvisa Announces Three Executive Appointments (Journal of Engineering -
                                                                                                                         Factiva, 07/01/2015)
                                                                                                                         Telecommunications; Corvisa Announces Three Executive Appointments (Telecommunications
                                                                                                                         Weekly - Factiva, 07/01/2015)
                                                                                                                         (PR) CenturyLink names Jason Bobb vice president, global sales, for U.S. East region (PR Newswire
                                                                                                                         (U.S.) - Factiva, 07/01/2015 09:00 AM)
                                                                                                                         CenturyLink names Jason Bobb vice president, global sales, for U.S. East region (Canada NewsWire -
                                                                                                                         Factiva, 07/01/2015 09:00 AM)
                                                                                                                         Press Release: CenturyLink names Jason Bobb vice president, global sales, for U.S. East region
                                                                                                                         (Dow Jones Institutional News - Factiva, 07/01/2015 09:00 AM)
                                                                                                                         Press Release: CenturyLink names Jason Bobb vice president, global sales, for U.S. East region
                                                                                                                         (Dow Jones Institutional News - Factiva, 07/01/2015 09:00 AM)
 7/2/2015 Thu    3,657,952   $29.61      $0.00   0.14% -0.03%   0.35%    -0.01%    0.15%      0.12 90.71%       $0.04    CenturyLink appoints Jason Bobb as VP, Global sales, for US East region (FinancialWire - Factiva,
                                                                                                                         07/02/2015)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 07/02/2015)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 07/02/2015)
                                                                                                                         Telecommunications; Corvisa Announces Three Executive Appointments (Computer Weekly News -
                                                                                                                         Factiva, 07/02/2015)
 7/3/2015 Fri                                                                                                            Independence Day closures; PUBLIC SERVICES (The Arizona Republic - Factiva, 07/03/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/03/2015)



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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events

                                                                                                                        Telecommunication Companies; An Application for the Trademark "QORA" Has Been Filed by
                                                                                                                        Qwest Communications International (Telecommunications Weekly - Factiva, 07/03/2015)
                                                                                                                        Telecommunication Companies; Trademark Application for "UNISTAR" Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 07/03/2015)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 07/03/2015)
7/4/2015 Sat
7/5/2015 Sun
7/6/2015 Mon   4,921,684   $29.45      $0.00 -0.54% -0.38%     -0.09%   -0.44%   -0.10%     -0.08 93.59%       -$0.03   MarketLine Analyst Report (Capital IQ - Manual Entry, 07/06/2015)
                                                                                                                        MarketLine Analyst Report (Eikon - Manual Entry, 07/06/2015)
7/7/2015 Tue   4,530,105   $29.88      $0.00   1.46%   0.61%   0.02%    0.18%     1.28%      1.02 31.04%       $0.38    (PR) CenturyLink positioned as a leader in Magic Quadrant for Cloud-Enabled Managed Hosting,
                                                                                                                        Europe (PR Newswire (U.S.) - Factiva, 07/07/2015 04:30 AM)
                                                                                                                        CenturyLink positioned as a leader in Magic Quadrant for Cloud-Enabled Managed Hosting,
                                                                                                                        Europe (Canada NewsWire - Factiva, 07/07/2015 04:30 AM)
                                                                                                                        CenturyLink positioned as a leader in Magic Quadrant for Cloud-Enabled Managed Hosting,
                                                                                                                        Europe (PR Newswire Europe - Factiva, 07/07/2015 04:30 AM)
                                                                                                                        CENTURYLINK POSITIONED AS A LEADER IN MAGIC QUADRANT FOR CLOUD-
                                                                                                                        ENABLED MANAGED HOSTING, EUROPE (Press Association National Newswire - Factiva,
                                                                                                                        07/07/2015 04:30 AM)
                                                                                                                        Press Release: CenturyLink positioned as a leader in Magic Quadrant for Cloud-Enabled Managed
                                                                                                                        Hosting, Europe (Dow Jones Institutional News - Factiva, 07/07/2015 04:30 AM)
                                                                                                                        (PR) CenturyLink launches big data, cloud and security forums for IT executives (PR Newswire
                                                                                                                        (U.S.) - Factiva, 07/07/2015 09:00 AM)
                                                                                                                        CenturyLink launches big data, cloud and security forums for IT executives (Canada NewsWire -
                                                                                                                        Factiva, 07/07/2015 09:00 AM)
                                                                                                                        CenturyLink launches big data, cloud and security forums for IT executives (PR Newswire Europe -
                                                                                                                        Factiva, 07/07/2015 09:00 AM)
                                                                                                                        CENTURYLINK LAUNCHES BIG DATA, CLOUD AND SECURITY FORUMS FOR IT
                                                                                                                        EXECUTIVES (Press Association National Newswire - Factiva, 07/07/2015 09:00 AM)
                                                                                                                        CenturyLink Launches Big Data, Cloud and Security Forums for IT Executives; -- Multi-city
                                                                                                                        forums designed to help enterprises meet IT demands of global marketplace (PR Newswire Asia -
                                                                                                                        Factiva, 07/07/2015 09:00 AM)
                                                                                                                        Press Release: CenturyLink launches big data, cloud and security forums for IT executives (Dow
                                                                                                                        Jones Institutional News - Factiva, 07/07/2015 09:00 AM)
                                                                                                                        Press Release: CenturyLink launches big data, cloud and security forums for IT executives (Dow
                                                                                                                        Jones Institutional News - Factiva, 07/07/2015 09:00 AM)
7/8/2015 Wed   6,600,843   $29.49      $0.00 -1.31% -1.64%     0.22%    -1.02%   -0.29%     -0.23 81.95%       -$0.09   CALIFORNIA -- PUC draft decision finds CLECs didn't discriminate against Qwest (TR's State
                                                                                                                        NewsWire - Factiva, 07/08/2015)
                                                                                                                        CenturyLink appoints VP of global sales, for US East region (MarketLine (a Datamonitor Company),
                                                                                                                        Company News - Factiva, 07/08/2015 12:19 PM)
7/9/2015 Thu   4,324,932   $29.49      $0.00   0.00%   0.23%   -1.00%   -0.55%    0.55%      0.43 66.49%       $0.16    BuySellSignals Research Analyst Report (Eikon - Manual Entry, 07/09/2015)
                                                                                                                        CenturyLink to expand cable TV service to more Oregon cities (SNL Kagan Media &
                                                                                                                        Communications Report - Factiva, 07/09/2015)
                                                                                                                        CenturyLink, Inc. CenturyLink names Jason Bobb vice president, global sales, for U.S. East region
                                                                                                                        (Journal of Engineering - Factiva, 07/09/2015)




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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
                                                                                                                          CNMI disconnected (Pacific Daily News, Hagatna - Factiva, 07/09/2015)
                                                                                                                          Limited communications restored to CNMI (Radio New Zealand News International - Factiva,
                                                                                                                          07/09/2015)
                                                                                                                          Trademarks; An Application for the Trademark "YOUR QWEST" Has Been Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 07/09/2015)
                                                                                                                          WASHINGTON -- King County executive: Recent 911 outages are 'troubling' (TR's State NewsWire -
                                                                                                                          Factiva, 07/09/2015)
7/10/2015 Fri   3,685,707   $29.76      $0.00   0.92%   1.23%   0.41%    0.78%     0.14%      0.11 91.36%        $0.04    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/10/2015)
                                                                                                                          WASHINGTON -- Responses to letter about 911 outages due by July 17, UTC says (TR's State
                                                                                                                          NewsWire - Factiva, 07/10/2015)
7/11/2015 Sat
7/12/2015 Sun
7/13/2015 Mon   3,926,853   $30.00      $0.00 0.81%     1.12%   -0.16%   0.45%     0.36%      0.29 77.60%         $0.11
7/14/2015 Tue   4,625,674   $29.98      $0.00 -0.07%    0.45%    0.26%   0.24%    -0.31%     -0.25 80.63%        -$0.09   WASHINGTON -- CenturyLink says it's working with Intrado to improve 911 (TR's State
                                                                                                                          NewsWire - Factiva, 07/14/2015)
7/15/2015 Wed   5,574,729   $29.67      $0.00 -1.03% -0.07%     -0.60%   -0.51%   -0.53%     -0.42 67.57%        -$0.16   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 07/15/2015)

7/16/2015 Thu   5,894,343   $30.49      $0.00   2.76%   0.80%   0.67%    0.67%     2.09%      1.69   9.45%       $0.62    CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Secure Machine-
                                                                                                                          To-Machine Communications (Computer Weekly News - Factiva, 07/16/2015)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Secure Machine-
                                                                                                                          To-Machine Communications (Journal of Engineering - Factiva, 07/16/2015)
                                                                                                                          White House launches broadband pilot program for low-income households (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 07/16/2015)
                                                                                                                          Hybrid IT solutions from CenturyLink available to HP customers (Canada NewsWire - Factiva,
                                                                                                                          07/16/2015 09:00 AM)
                                                                                                                          Hybrid IT solutions from CenturyLink available to HP customers (PR Newswire (U.S.) - Factiva,
                                                                                                                          07/16/2015 09:00 AM)
                                                                                                                          Press Release: Hybrid IT solutions from CenturyLink available to HP customers (Dow Jones
                                                                                                                          Institutional News - Factiva, 07/16/2015 09:00 AM)
                                                                                                                          Press Release: Hybrid IT solutions from CenturyLink available to HP customers (Dow Jones
                                                                                                                          Institutional News - Factiva, 07/16/2015 09:00 AM)
7/17/2015 Fri   9,012,500   $30.94      $0.00   1.48%   0.11%   -0.48%   -0.42%    1.90%      1.51 13.35%        $0.58    CenturyLink employees, communities collect 2.23 million pounds of food and raise $1.8 million in
                                                                                                                          national food drive (The Evening News - Factiva, 07/17/2015)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/17/2015)
7/18/2015 Sat
7/19/2015 Sun
7/20/2015 Mon   5,489,999   $30.50      $0.00 -1.42%    0.08%   0.36%    0.11%    -1.54%     -1.21 22.80%        -$0.48   CenturyLink continues open-source momentum with contribution of Docker, Chef and vSphere
                                                                                                                          projects (Canada NewsWire - Factiva, 07/20/2015 09:00 AM)
                                                                                                                          CenturyLink continues open-source momentum with contribution of Docker, Chef and vSphere
                                                                                                                          projects (PR Newswire (U.S.) - Factiva, 07/20/2015 09:00 AM)
                                                                                                                          CenturyLink continues open-source momentum with contribution of Docker, Chef and vSphere
                                                                                                                          projects (PR Newswire Europe - Factiva, 07/20/2015 09:00 AM)
                                                                                                                          CENTURYLINK CONTINUES OPEN-SOURCE MOMENTUM WITH CONTRIBUTION OF
                                                                                                                          DOCKER, CHEF AND VSPHERE PROJECTS (Press Association National Newswire - Factiva,
                                                                                                                          07/20/2015 09:00 AM)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                        CenturyLink continues open-source momentum with contribution of Docker, Chef and vSphere
                                                                                                                        projects; - New tools allow Chef provisioning of vSphere, improve Docker usability (PR Newswire
                                                                                                                        Asia - Factiva, 07/20/2015 09:00 AM)
                                                                                                                        Press Release: CenturyLink continues open-source momentum with contribution of Docker, Chef
                                                                                                                        and vSphere projects (Dow Jones Institutional News - Factiva, 07/20/2015 09:00 AM)
                                                                                                                        Press Release: CenturyLink continues open-source momentum with contribution of Docker, Chef
                                                                                                                        and vSphere projects (Dow Jones Institutional News - Factiva, 07/20/2015 09:00 AM)
7/21/2015 Tue   4,644,316   $29.72      $0.00 -2.56% -0.42%   -1.38%   -1.27%    -1.29%     -1.01 31.47%       -$0.39   CenturyLink receives FTTH Council award for gigabit fiber service deployments (ENP Newswire -
                                                                                                                        Factiva, 07/21/2015)
                                                                                                                        IOWA -- AT&T settles with RLECs over 'traffic pumping' claims (TR's State NewsWire - Factiva,
                                                                                                                        07/21/2015)
                                                                                                                        Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 07/21/2015)
                                                                                                                        Sadif Analytics Analyst Report (Eikon - Manual Entry, 07/21/2015)
                                                                                                                        ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 07/21/2015)
                                                                                                                        CenturyLink celebrates economic, community benefits of 1 Gbps service with #HereForGood
                                                                                                                        campaign in Salt Lake (PR Newswire (U.S.) - Factiva, 07/21/2015 10:00 AM)
                                                                                                                        Press Release: CenturyLink celebrates economic, community benefits of 1 Gbps service with
                                                                                                                        #HereForGood campaign in Salt Lake (Dow Jones Institutional News - Factiva, 07/21/2015 10:00 AM)

7/22/2015 Wed   4,721,124   $29.19      $0.00 -1.78% -0.23%   -0.83%   -0.87%    -0.92%     -0.72 47.55%       -$0.27   CenturyLink employees, communities collect 2.23 million pounds of food and raise $1.8 million in
                                                                                                                        national food drive (ENP Newswire - Factiva, 07/22/2015)
                                                                                                                        NATIONAL -- State AGs urge phone companies to offer call-blocking technology (TR's State
                                                                                                                        NewsWire - Factiva, 07/22/2015)
                                                                                                                        STATE AGs URGE PHONE COMPANIES TO OFFER CALL-BLOCKING TECHNOLOGIES
                                                                                                                        (TR Daily - Factiva, 07/22/2015)
                                                                                                                        Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 07/22/2015)
                                                                                                                        Market demand drives CenturyLink global data center expansions (Canada NewsWire - Factiva,
                                                                                                                        07/22/2015 09:00 AM)
                                                                                                                        Market demand drives CenturyLink global data center expansions (PR Newswire (U.S.) - Factiva,
                                                                                                                        07/22/2015 09:00 AM)
                                                                                                                        Market demand drives CenturyLink global data center expansions (PR Newswire Asia - Factiva,
                                                                                                                        07/22/2015 09:00 AM)
                                                                                                                        Market demand drives CenturyLink global data center expansions (PR Newswire Europe - Factiva,
                                                                                                                        07/22/2015 09:00 AM)
                                                                                                                        MARKET DEMAND DRIVES CENTURYLINK GLOBAL DATA CENTER EXPANSIONS (Press
                                                                                                                        Association National Newswire - Factiva, 07/22/2015 09:00 AM)
                                                                                                                        Press Release: Market demand drives CenturyLink global data center expansions (Dow Jones
                                                                                                                        Institutional News - Factiva, 07/22/2015 09:00 AM)
                                                                                                                        Press Release: Market demand drives CenturyLink global data center expansions (Dow Jones
                                                                                                                        Institutional News - Factiva, 07/22/2015 09:00 AM)
                                                                                                                        MARKET DEMAND DRIVES CENTURYLINK GLOBAL DATA CENTER EXPANSIONS (Press
                                                                                                                        Association National Newswire - Factiva, 07/22/2015 09:26 AM)
                                                                                                                        U.S. states tell phone companies: Stop robocalls (Reuters News - Factiva, 07/22/2015 02:21 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          UPDATE 1-U.S. states tell phone companies: Stop robocalls (Reuters News - Factiva, 07/22/2015
                                                                                                                          04:27 PM)
7/23/2015 Thu   5,870,222   $28.96      $0.00 -0.79% -0.56%     -0.15%   -0.64%   -0.15%     -0.12 90.60%        -$0.04   CenturyLink expands global data centre to meet market demands (FinancialWire - Factiva,
                                                                                                                          07/23/2015)
                                                                                                                          Freeport-McMoRan, CenturtyLink, Apple among the large holdings of Donald Trump (Phoenix
                                                                                                                          Business Journal Online - Factiva, 07/23/2015)
                                                                                                                          'intrusive' Robocalls Under Pressure To Be Silenced (Buffalo News - Factiva, 07/23/2015)
                                                                                                                          Maine aligns itself with national effort against robocalls ; U.S. attorneys general urge phone
                                                                                                                          companies to offer blocking technology. (Portland Press Herald - Factiva, 07/23/2015)
                                                                                                                          Northern Trust Elects Thomas E Richards to board of directors (Institutional Asset Manager -
                                                                                                                          Factiva, 07/23/2015)
                                                                                                                          Telecommunication Companies; Patent Issued for Magnetic Docking Base for Handset (Journal of
                                                                                                                          Engineering - Factiva, 07/23/2015)
                                                                                                                          Telecommunication Companies; Patent Issued for Magnetic Docking Base for Handset
                                                                                                                          (Telecommunications Weekly - Factiva, 07/23/2015)
                                                                                                                          Telecommunication Companies; Patent Issued for System, Method and Apparatus for Automatic
                                                                                                                          Location-Based Silencing of Wireless Transceivers (Electronics Newsweekly - Factiva, 07/23/2015)

                                                                                                                          Telecommunication Companies; Patent Issued for System, Method and Apparatus for Automatic
                                                                                                                          Location-Based Silencing of Wireless Transceivers (Journal of Engineering - Factiva, 07/23/2015)

                                                                                                                          Telecommunication Companies; Patent Issued for System, Method and Apparatus for Automatic
                                                                                                                          Location-Based Silencing of Wireless Transceivers (Telecommunications Weekly - Factiva,
                                                                                                                          07/23/2015)
                                                                                                                          Trademarks; An Application for the Trademark "EXCURSION" Has Been Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 07/23/2015)
                                                                                                                          United States : Northern Trust Elects Thomas E. Richards to Board of Directors (National News
                                                                                                                          Agency Lebanon - Factiva, 07/23/2015)
7/24/2015 Fri   6,520,639   $28.03      $0.00 -3.21% -1.07%     0.75%    -0.39%   -2.83%     -2.24   2.68% *     -$0.82   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/24/2015)
                                                                                                                          National Press Club Newsmaker Program: Will NSA Surveillance Reform Protect Public? (PR
                                                                                                                          Newswire (U.S.) - Factiva, 07/24/2015 12:34 PM)
7/25/2015 Sat
7/26/2015 Sun
7/27/2015 Mon   5,833,184   $28.12      $0.00   0.32% -0.58%    0.22%    -0.49%    0.81%      0.63 52.84%        $0.23    Northern Trust appoints new board member (MarketLine (a Datamonitor Company), Company News -
                                                                                                                          Factiva, 07/27/2015 04:39 AM)
                                                                                                                          CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 07/27/2015 04:05
                                                                                                                          PM)
                                                                                                                          Press Release: CenturyLink to Participate in Analyst Conference (Dow Jones Institutional News -
                                                                                                                          Factiva, 07/27/2015 04:05 PM)
7/28/2015 Tue   4,480,178   $28.22      $0.00   0.36%   1.24%   -0.72%   0.21%     0.15%      0.12 90.74%        $0.04    Broncos' Sanders to tout CenturyLink in Denver (Denver Business Journal Online - Factiva,
                                                                                                                          07/28/2015)
                                                                                                                          Fryar Law Firm Announces: Jury Awards $19 Million to Investors in Houston Space Teleport
                                                                                                                          (Jpost.com (The Jerusalem Post online edition) - Factiva, 07/28/2015)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 07/28/2015)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                Events
                                                                                                                        Denver Broncos Wide Receiver Emmanuel Sanders signs endorsement deal with CenturyLink (PR
                                                                                                                        Newswire (U.S.) - Factiva, 07/28/2015 07:30 AM)
                                                                                                                        Press Release: Denver Broncos Wide Receiver Emmanuel Sanders signs endorsement deal with
                                                                                                                        CenturyLink (Dow Jones Institutional News - Factiva, 07/28/2015 07:30 AM)
                                                                                                                        Press Release: Seahawks Defensive End Cliff Avril signs endorsement deal with CenturyLink (Dow
                                                                                                                        Jones Institutional News - Factiva, 07/28/2015 07:30 AM)
                                                                                                                        Seahawks Defensive End Cliff Avril signs endorsement deal with CenturyLink (PR Newswire (U.S.) -
                                                                                                                        Factiva, 07/28/2015 07:30 AM)
7/29/2015 Wed   6,479,041   $28.16      $0.00 -0.21%    0.74%   0.51%   0.51%    -0.72%     -0.57 56.86%       -$0.20   CALIFORNIA -- ALJ withdraws draft decision in Qwest discrimination case (TR's State NewsWire -
                                                                                                                        Factiva, 07/29/2015)
                                                                                                                        Event Brief of Q2 2015 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                                        Factiva, 07/29/2015)
                                                                                                                        Ex-Qwest CEO: Likely the NSA snatched emails, calls during Salt Lake Olympics (The Salt Lake
                                                                                                                        Tribune - Factiva, 07/29/2015)
                                                                                                                        Q2 2015 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 07/29/2015)

                                                                                                                        The Washington Daybook - General News Events (Washington Daybook - Factiva, 07/29/2015)
                                                                                                                        CenturyLink announces availability of hybrid IT solutions to HP customers (MarketLine (a
                                                                                                                        Datamonitor Company), Company News - Factiva, 07/29/2015 07:22 AM)
                                                                                                                        Iowa Communications Network announces CenturyLink as its unified communications-as-a-service
                                                                                                                        provider for government voice services (PR Newswire (U.S.) - Factiva, 07/29/2015 08:00 AM)

                                                                                                                        Press Release: Iowa Communications Network announces CenturyLink as its unified
                                                                                                                        communications-as-a-service provider for government voice services (Dow Jones Institutional News -
                                                                                                                        Factiva, 07/29/2015 08:00 AM)
                                                                                                                        US Federal Judicial Process On Par with Totalitarian Regimes - Corporate Whistleblower (Sputnik
                                                                                                                        News Service - Factiva, 07/29/2015 08:21 PM)
7/30/2015 Thu   5,565,390   $28.16      $0.00   0.00%   0.01%   0.29%   -0.06%    0.06%      0.05 96.34%       $0.02    CenturyLink named as Iowa Communications NetworksÃ¢â‚¬â„¢ unified communications-as-a-
                                                                                                                        service provider for government voice services (FinancialWire - Factiva, 07/30/2015)
                                                                                                                        CenturyLink to provide communications services to Iowa government (SNL Kagan Media &
                                                                                                                        Communications Report - Factiva, 07/30/2015)
                                                                                                                        CenturyLink, Inc. CenturyLink celebrates economic, community benefits of 1 Gbps service with
                                                                                                                        #HereForGood campaign in Salt Lake (Journal of Engineering - Factiva, 07/30/2015)
                                                                                                                        Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 07/30/2015)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 07/30/2015)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 07/30/2015)
                                                                                                                        Ex-Qwest CEO: Likely the NSA snatched emails, calls during Salt Lake Olympics (The Salt Lake
                                                                                                                        Tribune - Factiva, 07/30/2015)
                                                                                                                        JIP panel discussion on 'Political Prosecutions and the Danger to Democracy'; AP Planner; Future
                                                                                                                        News Item; Justice Integrity Project (AP Planner - Factiva, 07/30/2015)
                                                                                                                        Northern Trust Corporation; Northern Trust Elects Thomas E. Richards to Board of Directors
                                                                                                                        (Investment Weekly News - Factiva, 07/30/2015)
                                                                                                                        Trademarks; An Application for the Trademark "DIGIT-1" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 07/30/2015)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                Events
                                                                                                                        Trademarks; An Application for the Trademark "VALUECHOICE" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 07/30/2015)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "EXACT
                                                                                                                        BILLING" Filed (Telecommunications Weekly - Factiva, 07/30/2015)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "LCI
                                                                                                                        ALTERNATIVE" Filed (Telecommunications Weekly - Factiva, 07/30/2015)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "VOICE
                                                                                                                        MESSAGING LINK" Filed (Telecommunications Weekly - Factiva, 07/30/2015)
                                                                                                                        Trademarks; Trademark Application for "FRAMEPLUS" Filed by Qwest Communications
                                                                                                                        International (Telecommunications Weekly - Factiva, 07/30/2015)
                                                                                                                        Trademarks; Trademark Application for "QWEST LOYAL ADVANTAGE" Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 07/30/2015)
                                                                                                                        Trademarks; Trademark Application for "TOTAL PACKAGE" Filed by Qwest Communications
                                                                                                                        International (Telecommunications Weekly - Factiva, 07/30/2015)
                                                                                                                        (PR) CenturyLink named a leader in research report on DDoS services providers (PR Newswire
                                                                                                                        (U.S.) - Factiva, 07/30/2015 09:00 AM)
                                                                                                                        CenturyLink named a leader in research report on DDoS services providers (Canada NewsWire -
                                                                                                                        Factiva, 07/30/2015 09:00 AM)
                                                                                                                        CenturyLink named a leader in research report on DDoS services providers (PR Newswire Europe -
                                                                                                                        Factiva, 07/30/2015 09:00 AM)
                                                                                                                        CENTURYLINK NAMED A LEADER IN RESEARCH REPORT ON DDOS SERVICES
                                                                                                                        PROVIDERS (Press Association National Newswire - Factiva, 07/30/2015 09:00 AM)
                                                                                                                        CenturyLink named a leader in research report on DDoS services providers; -- Report mentions
                                                                                                                        CenturyLink's DDoS attack response capabilities (PR Newswire Asia - Factiva, 07/30/2015 09:00 AM)

                                                                                                                        Press Release: CenturyLink named a leader in research report on DDoS services providers (Dow
                                                                                                                        Jones Institutional News - Factiva, 07/30/2015 09:00 AM)
7/31/2015 Fri   6,924,981   $28.60      $0.00   1.56% -0.23%   0.30%    -0.21%    1.77%      1.43 15.61%       $0.50    Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 07/31/2015)
                                                                                                                        Jefferies LLC Analyst Report (Eikon - Manual Entry, 07/31/2015)
                                                                                                                        Benzinga's Top Upgrades (Benzinga.com - Factiva, 07/31/2015 09:03 AM)
                                                                                                                        CenturyLink announces expansion of global data center (MarketLine (a Datamonitor Company),
                                                                                                                        Company News - Factiva, 07/31/2015 09:25 AM)
 8/1/2015 Sat
 8/2/2015 Sun
 8/3/2015 Mon   6,371,921   $28.90      $0.00   1.05% -0.28%   0.38%    -0.21%    1.26%      1.04 29.94%       $0.36    Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 08/03/2015)
                                                                                                                        Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/03/2015)
                                                                                                                        NATIONAL -- Open Internet order oral argument set for December (TR's State NewsWire - Factiva,
                                                                                                                        08/03/2015)
                                                                                                                        OPEN INTERNET ORAL ARGUMENT SET FOR DECEMBER (TR Daily - Factiva, 08/03/2015)
 8/4/2015 Tue   5,086,260   $28.43      $0.00 -1.63% -0.22%    -0.27%   -0.49%   -1.13%     -0.93 35.23%       -$0.33   Acxiom closes sale of IT outsourcing biz to Charlesbank Capital, M/C Partners (SNL Financial
                                                                                                                        Services Daily - Factiva, 08/04/2015)
                                                                                                                        CenturyLink offers tips to avoid phishing scams (ENP Newswire - Factiva, 08/04/2015)
                                                                                                                        COLORADO -- PUC grants request for extension to allow for settlement of high-cost issues (TR's
                                                                                                                        State NewsWire - Factiva, 08/04/2015)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
    [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
   Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
8/5/2015 Wed    5,688,886   $28.56      $0.00   0.46%   0.35%   -0.28%   -0.14%    0.60%      0.49 62.24%       $0.17    BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/05/2015)
                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/05/2015)
                                                                                                                         CenturyLink Profit Misses Estimates; Cuts FY Guidance (RTT News - Factiva, 08/05/2015)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 08/05/2015)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 08/05/2015)
                                                                                                                         Event Brief of Q2 2015 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                         08/05/2015)
                                                                                                                         JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/05/2015)
                                                                                                                         JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/05/2015)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/05/2015)
                                                                                                                         On The Fly: After Hours Movers (Theflyonthewall.com - Factiva, 08/05/2015)
                                                                                                                         Q2 2015 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 08/05/2015)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/05/2015)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/05/2015)
                                                                                                                         UBS Analyst Report (Capital IQ - Manual Entry, 08/05/2015)
                                                                                                                         UBS Analyst Report (Capital IQ - Manual Entry, 08/05/2015)
                                                                                                                         UBS Analyst Report (Eikon - Manual Entry, 08/05/2015)
                                                                                                                         UBS Analyst Report (Eikon - Manual Entry, 08/05/2015)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 08/05/2015)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 08/05/2015)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 08/05/2015)
                                                                                                                         Analyst Estimates for U.S. Earnings Wednesday (Dow Jones Institutional News - Factiva, 08/05/2015
                                                                                                                         05:55 AM)
                                                                                                                         *CenturyLink 2Q Adj EPS 55c >CTL (Dow Jones Institutional News - Factiva, 08/05/2015 04:05 PM)

                                                                                                                         CenturyLink 2Q Adj EPS 55c >CTL (Dow Jones Newswires Chinese (English) - Factiva, 08/05/2015
                                                                                                                         04:05 PM)
                                                                                                                         CenturyLink Reports Second Quarter 2015 Results (PR Newswire (U.S.) - Factiva, 08/05/2015 04:05
                                                                                                                         PM)
                                                                                                                         CenturyLink's Earnings Disappoint, Shares Down (Dow Jones Top News & Commentary - Factiva,
                                                                                                                         08/05/2015 04:05 PM)
                                                                                                                         CenturyLink's Earnings Disappoint, Shares Down (Dow Jones Institutional News - Factiva,
                                                                                                                         08/05/2015 04:51 PM)
                                                                                                                         CenturyLink's Earnings Disappoint, Shares Down (Dow Jones Institutional News - Factiva,
                                                                                                                         08/05/2015 05:06 PM)
                                                                                                                         CenturyLink Glen F. Post, III on Q2 2015 Results -- Earnings Call Transcript >CTL (Dow Jones
                                                                                                                         Institutional News - Factiva, 08/05/2015 10:07 PM)
8/6/2015 Thu   13,508,550   $27.93      $0.00 -2.21% -0.75%     -0.05%   -0.76%   -1.45%      -1.2 23.25%       -$0.41   BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                         CenturyLink entering OTT market, plans to keep IPTV offering (SNL Financial Extra - Factiva,
                                                                                                                         08/06/2015)
                                                                                                                         CenturyLink operating revenues down YoY (Internet Business News - Factiva, 08/06/2015)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink REPORTS 2% QUARTERLY REVENUE DECLINE (TR Daily - Factiva, 08/06/2015)

                                                                                                                          CenturyLink, Inc. Iowa Communications Network announces CenturyLink as its unified
                                                                                                                          communications-as-a-service provider for government voice services (Internet Weekly News -
                                                                                                                          Factiva, 08/06/2015)
                                                                                                                          CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 08/06/2015)
                                                                                                                          Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          Jefferies LLC Analyst Report (Eikon - Manual Entry, 08/06/2015)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          JP Morgan Analyst Report (Eikon - Manual Entry, 08/06/2015)
                                                                                                                          Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/06/2015)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/06/2015)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/06/2015)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/06/2015)
                                                                                                                          Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 08/06/2015)
                                                                                                                          Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 08/06/2015)
                                                                                                                          U.S. Hot Stocks: Hot Stocks to Watch (Dow Jones Institutional News - Factiva, 08/06/2015 09:20 AM)

                                                                                                                          U.S. Hot Stocks: Hot Stocks to Watch (Dow Jones Institutional News - Factiva, 08/06/2015 09:35 AM)

 8/7/2015 Fri   7,704,879   $27.65      $0.00 -1.00% -0.28%     -0.11%   -0.47%   -0.53%     -0.44 66.41%        -$0.15   CFRA Equity Research Analyst Report (Eikon - Manual Entry, 08/07/2015)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/07/2015)
                                                                                                                          WASHINGTON -- Hearing slated to consider CenturyLink 911 outage settlement (TR's State
                                                                                                                          NewsWire - Factiva, 08/07/2015)
 8/8/2015 Sat                                                                                                             CenturyLink to cut 1,000 jobs; Colorado impact unclear (Denver Business Journal Online - Factiva,
                                                                                                                          08/08/2015)
                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 08/08/2015)
 8/9/2015 Sun                                                                                                             Macquarie Research Analyst Report (Eikon - Manual Entry, 08/09/2015)
8/10/2015 Mon   5,873,043   $28.76      $0.00   4.01%   1.28%   0.90%    1.13%     2.89%      2.38   1.88% *     $0.80    7 things to know about today, plus CenturyLink cutting jobs (Orlando Business Journal Online -
                                                                                                                          Factiva, 08/10/2015)
                                                                                                                          CenturyLink receives award for gigabit fiber service deployments (The Daily Reflector - Factiva,
                                                                                                                          08/10/2015)
                                                                                                                          CenturyLink to cut 1,000 jobs; local impact unclear (Phoenix Business Journal Online - Factiva,
                                                                                                                          08/10/2015)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         Sprint shares rise most in 19 months (The Kansas City Star - Factiva, 08/10/2015)
                                                                                                                         UTAH - PSC OKs CenturyLink adds to non-impaired wire center list (TR's State NewsWire -
                                                                                                                         Factiva, 08/10/2015)
                                                                                                                         ICN adds CenturyLink's UCaaS solutions to product portfolio (MarketLine (a Datamonitor
                                                                                                                         Company), Company News - Factiva, 08/10/2015 10:59 AM)
8/11/2015 Tue   4,552,756   $28.24      $0.00 -1.81% -0.94%     0.80%    -0.44%   -1.37%     -1.15 25.13%       -$0.39   Level 3 Communications Inc at Oppenheimer Technology, Internet & Communications Conference
                                                                                                                         - Final (CQ FD Disclosure - Factiva, 08/11/2015)
                                                                                                                         CenturyLink director C. G. Melville sells 10 August 2015 (People in Business - Factiva, 08/11/2015)

                                                                                                                         CENTURYLINK REPORTS DISPOSITION BY DIRECTOR MELVILLE (Louisiana) (US Fed
                                                                                                                         News - Factiva, 08/11/2015)
                                                                                                                         CenturyLink to slash 1,000 jobs (SNL Kagan Media & Communications Report - Factiva, 08/11/2015)

                                                                                                                         DEQ, QWEST CORPORATION AGREE TO RESOLVE UNDERGROUND STORAGE TANK
                                                                                                                         ACT VIOLATIONS (US Fed News - Factiva, 08/11/2015)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 08/11/2015)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/11/2015)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 08/11/2015)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 08/11/2015)
                                                                                                                         Samuel Goldman & Associates Helps SkyComm Investors Secure $19.9 Million Jury Verdict in
                                                                                                                         Houston Securities Fraud Case (Cihan News Agency (CNA) - Factiva, 08/11/2015)
8/12/2015 Wed   5,320,177   $28.53      $0.00   1.03%   0.12%   -0.78%   -0.49%    1.52%      1.28 20.43%       $0.43    Level 3 Communications Inc at Cowen Communications Infrastructure Summit - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 08/12/2015)
                                                                                                                         CenturyLink Inc at Oppenheimer Technology, Internet & Communications Conference - Final (CQ
                                                                                                                         FD Disclosure - Factiva, 08/12/2015)
                                                                                                                         Morgan Stanley to hold a conference (Theflyonthewall.com - Factiva, 08/12/2015)
                                                                                                                         Oppenheimer to hold a conference (Theflyonthewall.com - Factiva, 08/12/2015)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/12/2015)
8/13/2015 Thu   5,846,258   $27.97      $0.00 -1.96% -0.11%     -0.40%   -0.43%   -1.53%     -1.29 20.08%       -$0.44   Build-A-BearÃ¢â‚¬â„¢s Maxine Clark sells over $4 million worth of stock: insider trading for Aug.
                                                                                                                         3-11 (St. Louis Business Journal Online - Factiva, 08/13/2015)
                                                                                                                         Ex-con former Qwest CEO Nacchio sells Florida mansion for millions (Denver Business Journal
                                                                                                                         Online - Factiva, 08/13/2015)
                                                                                                                         Felon and former Qwest CEO sells Jupiter mansion for $13M (South Florida Business Journal Online -
                                                                                                                         Factiva, 08/13/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for End-To-End Application Tracking Framework
                                                                                                                         (USPTO 9098612) (Computer Weekly News - Factiva, 08/13/2015)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 08/13/2015)
8/14/2015 Fri   3,816,293   $28.27      $0.00   1.07%   0.39%   0.03%    0.16%     0.92%      0.77 44.46%       $0.26    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 08/14/2015)

                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/14/2015)
8/15/2015 Sat
8/16/2015 Sun




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
8/17/2015 Mon    3,293,200   $28.42      $0.00   0.53%   0.54%   0.05%    0.28%     0.25%      0.21 83.59%       $0.07    EX-QWEST EXEC AND EX-CON SELLS JUPITER ESTATE (Broward Daily Business Review -
                                                                                                                          Factiva, 08/17/2015)
                                                                                                                          EX-QWEST EXEC AND EX-CON SELLS JUPITER ESTATE (Miami Daily Business Review -
                                                                                                                          Factiva, 08/17/2015)
                                                                                                                          EX-QWEST EXEC AND EX-CON SELLS JUPITER ESTATE (Palm Beach Daily Business Review -
                                                                                                                          Factiva, 08/17/2015)
                                                                                                                          In CenturyLink Takeover of Qwest, Consumer Focus Seen in Mostly Positive Light
                                                                                                                          (Communications Daily - Factiva, 08/17/2015)
                                                                                                                          In CenturyLink Takeover of Qwest, Consumer Focus Seen in Mostly Positive Light (Warren's
                                                                                                                          Washington Internet Daily - Factiva, 08/17/2015)
8/18/2015 Tue    4,753,409   $28.12      $0.00 -1.06% -0.24%     0.21%    -0.28%   -0.78%     -0.65 51.50%       -$0.22   COLORADO -- PUC slates workshops on proposed emergency service rules (TR's State NewsWire -
                                                                                                                          Factiva, 08/18/2015)
                                                                                                                          Liberty Interactive unit discloses semiannual payment on debentures (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 08/18/2015)
                                                                                                                          CenturyLink launches Prism(R) TV in Seattle (PR Newswire (U.S.) - Factiva, 08/18/2015 08:00 AM)

                                                                                                                          Press Release: CenturyLink launches Prism(R) TV in Seattle (Dow Jones Institutional News - Factiva,
                                                                                                                          08/18/2015 08:00 AM)
8/19/2015 Wed    3,766,344   $28.37      $0.00   0.89% -0.82%    0.53%    -0.61%    1.50%      1.25 21.23%       $0.42    CenturyLink introduces Prism TV in parts of Seattle (FinancialWire - Factiva, 08/19/2015)
                                                                                                                          CenturyLink launches Prism TV in Seattle (ENP Newswire - Factiva, 08/19/2015)
8/20/2015 Thu    3,760,743   $27.71      $0.00 -2.33% -2.11%     0.14%    -1.79%   -0.54%     -0.45 65.30%       -$0.15   COLORADO -- PUC staff plans to file settlement of high-cost issues today (TR's State NewsWire -
                                                                                                                          Factiva, 08/20/2015)
                                                                                                                          GlobalData Analyst Report (Capital IQ - Manual Entry, 08/20/2015)
                                                                                                                          Telephone Communications; Qwest Corp. Files SEC Form 10-Q, Quarterly Report [Sections 13 Or
                                                                                                                          15(D)] (Aug. 7, 2015) (Telecommunications Weekly - Factiva, 08/20/2015)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "MOE" Filed
                                                                                                                          (Telecommunications Weekly - Factiva, 08/20/2015)
8/21/2015 Fri    5,755,065   $27.11      $0.00 -2.17% -3.17%     0.48%    -2.57%    0.40%      0.34 73.74%       $0.11    CenturyLink debuts prism TV on gigabit network.(CONTRACTS) (Fiber Optics Weekly Update -
                                                                                                                          Factiva, 08/21/2015)
                                                                                                                          COLORADO -- Settlement resolves high-cost distributions, CenturyLink's court appeal (TR's State
                                                                                                                          NewsWire - Factiva, 08/21/2015)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/21/2015)
8/22/2015 Sat                                                                                                             CenturyLink reports lower Q2 net income, reports guidance for Q3 (MarketLine (a Datamonitor
                                                                                                                          Company), Company News - Factiva, 08/22/2015 08:58 AM)
8/23/2015 Sun                                                                                                             Osborne named director sales, marketing (Sioux City Journal - Factiva, 08/23/2015)
                                                                                                                          Pechala's Reports Analyst Report (Capital IQ - Manual Entry, 08/23/2015)
8/24/2015 Mon   10,127,938   $25.86      $0.00 -4.61% -3.94%     -0.37%   -3.52%   -1.09%     -0.92 36.16%       -$0.30
8/25/2015 Tue    7,079,980   $25.17      $0.00 -2.67% -1.35%     -1.30%   -1.86%   -0.81%     -0.68 49.69%       -$0.21   Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 08/25/2015)
                                                                                                                          CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 08/25/2015 04:15
                                                                                                                          PM)
                                                                                                                          Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                          Factiva, 08/25/2015 04:15 PM)
                                                                                                                          BC-Dividends (Associated Press Newswires - Factiva, 08/25/2015 04:42 PM)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
8/26/2015 Wed   8,906,206   $26.37      $0.00   4.77%   3.91%   0.55%    3.43%     1.34%      1.13 26.24%       $0.34    CenturyLink announces USD0.54 dividend (Internet Business News - Factiva, 08/26/2015)
                                                                                                                         CenturyLink Declares Quarterly Cash Dividend (ENP Newswire - Factiva, 08/26/2015)
                                                                                                                         CenturyLink director Harvey P. Perry buys 25 August 2015 (People in Business - Factiva,
                                                                                                                         08/26/2015)
                                                                                                                         CENTURYLINK REPORTS ACQUISITION BY DIRECTOR PERRY (Louisiana) (US Fed News -
                                                                                                                         Factiva, 08/26/2015)
                                                                                                                         MarketLine Analyst Report (Capital IQ - Manual Entry, 08/26/2015)
                                                                                                                         (PR) CenturyLink honored in 2015 North America SIP Trunking Leadership Scorecard (PR
                                                                                                                         Newswire (U.S.) - Factiva, 08/26/2015 04:15 PM)
                                                                                                                         CenturyLink honored in 2015 North America SIP Trunking Leadership Scorecard (Canada
                                                                                                                         NewsWire - Factiva, 08/26/2015 04:15 PM)
                                                                                                                         Press Release: CenturyLink honored in 2015 North America SIP Trunking Leadership Scorecard
                                                                                                                         (Dow Jones Institutional News - Factiva, 08/26/2015 04:15 PM)
8/27/2015 Thu   7,642,378   $26.74      $0.00   1.40%   2.44%   0.65%    2.34%    -0.93%     -0.78 43.75%       -$0.25   ACCEPTED CAF PHASE II SUPPORT TOTALS MORE THAN $1.5B; VERIZON ACCEPTS
                                                                                                                         ONLY FOR SYSTEMS TO BE SOLD TO FRONTIER (TR Daily - Factiva, 08/27/2015)
                                                                                                                         Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 08/27/2015)

                                                                                                                         CALIFORNIA -- PUC finds CLECs didn't discriminate by entering 'off-tariff' agreements (TR's
                                                                                                                         State NewsWire - Factiva, 08/27/2015)
                                                                                                                         CenturyLink cuts jobs in Colorado (Denver Business Journal Online - Factiva, 08/27/2015)
                                                                                                                         Charter director sells over $462,000 worth of stock: Insider trading (St. Louis Business Journal
                                                                                                                         Online - Factiva, 08/27/2015)
                                                                                                                         Fresh off the OPM breach, federal technology officers discuss threats with cybersecurity leaders
                                                                                                                         (Washington Business Journal Online - Factiva, 08/27/2015)
                                                                                                                         NATIONAL -- Accepted CAF Phase II support totals more than $1.5B (TR's State NewsWire -
                                                                                                                         Factiva, 08/27/2015)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 08/27/2015)
                                                                                                                         CenturyLink to bring broadband to 1.2 million rural households in 33 states (PR Newswire (U.S.) -
                                                                                                                         Factiva, 08/27/2015 08:00 AM)
                                                                                                                         Press Release: CenturyLink to bring broadband to 1.2 million rural households in 33 states (Dow
                                                                                                                         Jones Institutional News - Factiva, 08/27/2015 08:00 AM)
                                                                                                                         Technical Issues Hit ITG's Dark Pool (Dow Jones Top Global Market Stories - Factiva, 08/27/2015
                                                                                                                         02:16 PM)
                                                                                                                         Technical Issues Hit ITG's Dark Pool (Dow Jones Top North American Equities Stories - Factiva,
                                                                                                                         08/27/2015 02:16 PM)
                                                                                                                         Technical Issues Hit ITG's Dark Pool (Dow Jones Top North American Financial Services Stories -
                                                                                                                         Factiva, 08/27/2015 02:16 PM)
8/28/2015 Fri   4,785,218   $27.04      $0.00   1.12%   0.07%   -0.34%   -0.25%    1.37%      1.14 25.61%       $0.37    Argus Research Corporation Analyst Report (Eikon - Manual Entry, 08/28/2015)
                                                                                                                         AROUND NEW MEXICO (Albuquerque Journal - Factiva, 08/28/2015)
                                                                                                                         AT&T, CenturyLink snag federal funds to expand Internet in N.C. (Triangle Business Journal Online
                                                                                                                         - Factiva, 08/28/2015)
                                                                                                                         BUREAU AUTHORIZES CAF PHASE II PAYMENTS (TR Daily - Factiva, 08/28/2015)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        CenturyLink accepts USD500m from CAF to bring broadband to 1.2 million rural households in 33
                                                                                                                        states (FinancialWire - Factiva, 08/28/2015)
                                                                                                                        CenturyLink to bring broadband to 1.2 million rural households in 33 states (ENP Newswire -
                                                                                                                        Factiva, 08/28/2015)
                                                                                                                        CenturyLink to bring broadband to 1.2 million rural households in 33 states (New Vision - Factiva,
                                                                                                                        08/28/2015)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/28/2015)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/28/2015)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/28/2015)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/28/2015)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/28/2015)
                                                                                                                        NATIONAL -- Bureau authorizes CAF II distributions (TR's State NewsWire - Factiva, 08/28/2015)

                                                                                                                        CenturyLink unveils Prism TV service in Seattle (MarketLine (a Datamonitor Company), Company
                                                                                                                        News - Factiva, 08/28/2015 07:54 AM)
                                                                                                                        ITG says open for business following issues at data center (Reuters News - Factiva, 08/28/2015 09:43
                                                                                                                        AM)
8/29/2015 Sat
8/30/2015 Sun
8/31/2015 Mon   5,508,933   $27.04      $0.00   0.00% -0.83%   0.33%    -0.79%    0.79%      0.66 51.26%       $0.21    Hoeven Announces $5.6 Million in Federal Funding Annually to Increase High-Speed Internet
                                                                                                                        Access for Rural North Dakotans; Sen. John Hoeven (R-ND) News Release (Congressional
                                                                                                                        Documents and Publications - Factiva, 08/31/2015)
                                                                                                                        CenturyLink selected to provide statewide voice service for the Texas Health and Human Services
                                                                                                                        Commission (PR Newswire (U.S.) - Factiva, 08/31/2015 08:15 AM)
                                                                                                                        Press Release: CenturyLink selected to provide statewide voice service for the Texas Health and
                                                                                                                        Human Services Commission (Dow Jones Institutional News - Factiva, 08/31/2015 08:15 AM)
                                                                                                                        CenturyLink accepts federal funds to expand Internet access (Associated Press Newswires - Factiva,
                                                                                                                        08/31/2015 03:53 PM)
                                                                                                                        CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 08/31/2015 05:49
                                                                                                                        PM)
 9/1/2015 Tue   6,195,489   $25.90      $0.00 -4.22% -2.95%    -0.53%   -3.08%   -1.14%     -0.95 34.44%       -$0.31   AT&T, CenturyLink snag federal funds to expand Internet in rural N.C. (Charlotte Business Journal
                                                                                                                        Online - Factiva, 09/01/2015)
                                                                                                                        AT&T, CenturyLink snag federal funds to expand Internet in rural N.C. (Triad Business Journal
                                                                                                                        Online - Factiva, 09/01/2015)
                                                                                                                        BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 09/01/2015)
                                                                                                                        CenturyLink anticipates incremental impact from FCC funding (SNL Financial Extra - Factiva,
                                                                                                                        09/01/2015)
                                                                                                                        CenturyLink names Duane Ring senior vice president of global field operations (ENP Newswire -
                                                                                                                        Factiva, 09/01/2015)
                                                                                                                        CenturyLink selected to provide state-wide voice service for the Texas Health and Human Services
                                                                                                                        Commission (FinancialWire - Factiva, 09/01/2015)
                                                                                                                        CenturyLink selected to provide state-wide voice service for the Texas Health and Human Services
                                                                                                                        Commission (Worldwide Computer Products News - Factiva, 09/01/2015)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                           CenturyLink to provide managed, IP-based voice service for Texas state agency (M2 EquityBites -
                                                                                                                           Factiva, 09/01/2015)
                                                                                                                           CenturyLink to provide managed, IP-based voice service for Texas's largest state agency (Internet
                                                                                                                           Business News - Factiva, 09/01/2015)
                                                                                                                           GlobalData Analyst Report (Capital IQ - Manual Entry, 09/01/2015)
                                                                                                                           GlobalData Analyst Report (Eikon - Manual Entry, 09/01/2015)
                                                                                                                           Omega Protein appoints Mark Livingston as Chief Accounting Officer (Theflyonthewall.com -
                                                                                                                           Factiva, 09/01/2015)
                                                                                                                           WASHINGTON -- UTC said it supports CenturyLink's broadband expansion efforts (TR's State
                                                                                                                           NewsWire - Factiva, 09/01/2015)
 9/2/2015 Wed   10,175,406   $27.00      $0.00   4.25%   1.85%   0.17%    1.68%     2.56%      2.16   3.32% *     $0.66    CenturyLink, Inc. CenturyLink launches Prism(R) TV in Seattle (Journal of Engineering - Factiva,
                                                                                                                           09/02/2015)
                                                                                                                           Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 09/02/2015)
                                                                                                                           FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 09/02/2015)
                                                                                                                           Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 09/02/2015)
 9/3/2015 Thu    5,027,407   $26.77      $0.54   1.15%   0.12%   0.76%    0.36%     0.79%      0.66 51.26%        $0.21    CenturyLink offers to exchange $500M in notes (SNL Kagan Media & Communications Report -
                                                                                                                           Factiva, 09/03/2015)
                                                                                                                           D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 09/03/2015)
                                                                                                                           D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 09/03/2015)
                                                                                                                           FORM 8-K: OMEGA PROTEIN FILES CURRENT REPORT (US Fed News - Factiva, 09/03/2015)
                                                                                                                           S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 09/03/2015)
                                                                                                                           Telecommunication Companies; Patent Issued for Providing Enhanced Wireline Services (USPTO
                                                                                                                           9119048) (Computer Weekly News - Factiva, 09/03/2015)
 9/4/2015 Fri    5,944,914   $26.18      $0.00 -2.20% -1.52%     -0.64%   -1.95%   -0.25%     -0.21 83.48%        -$0.07   ETCs NOT REQUIRED TO SEEK PRO-RATA LIFELINE SUPPORT (TR Daily - Factiva,
                                                                                                                           09/04/2015)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/04/2015)
 9/5/2015 Sat
 9/6/2015 Sun
 9/7/2015 Mon                                                                                                              CenturyLink to use federal funds for rural Utah Internet (Enterprise - Factiva, 09/07/2015)
                                                                                                                           CenturyLink, Inc. CenturyLink to bring broadband to 1.2 million rural households in 33 states
                                                                                                                           (Journal of Engineering - Factiva, 09/07/2015)
 9/8/2015 Tue    9,591,788   $26.96      $0.00   2.98% 2.52%      0.34%    2.58%    0.40%      0.34 73.38%        $0.11
 9/9/2015 Wed    5,811,184   $26.97      $0.00   0.04% -1.38%    -0.10%   -1.60%    1.63%      1.39 16.67%        $0.44    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 09/09/2015)

                                                                                                                           Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 09/09/2015)
                                                                                                                           Trademarks; An Application for the Trademark "STAND-BY LINE" Has Been Filed by Qwest
                                                                                                                           Communications International (Telecommunications Weekly - Factiva, 09/09/2015)
                                                                                                                           Trademarks; Qwest Communications International's Trademark Application for "U S WEST"
                                                                                                                           Filed (Telecommunications Weekly - Factiva, 09/09/2015)
9/10/2015 Thu    7,831,290   $26.78      $0.00 -0.70%    0.54%   -0.33%   0.26%    -0.96%     -0.81 41.86%        -$0.26   Level 3 Communications Inc at Bank Of America Merrill Lynch Media, Communications &
                                                                                                                           Entertainment Conference - Final (CQ FD Disclosure - Factiva, 09/10/2015)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                 Events
                                                                                                                         CenturyLink Inc at Bank Of America Merrill Lynch Media, Communications & Entertainment
                                                                                                                         Conference - Final (CQ FD Disclosure - Factiva, 09/10/2015)
                                                                                                                         CenturyLink PREPS QWEST BOND SALE (TR Daily - Factiva, 09/10/2015)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 09/10/2015)
                                                                                                                         Moody's rates Qwest Corp. new notes Baa3 (Moody's Investors Service Press Release - Factiva,
                                                                                                                         09/10/2015)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 09/10/2015)
                                                                                                                         New CenturyLink report reveals Canadian banks concerned about falling behind in mobile
                                                                                                                         technology (Canada NewsWire - Factiva, 09/10/2015 06:00 AM)
                                                                                                                         Press Release: New CenturyLink report reveals Canadian banks concerned about falling behind in
                                                                                                                         mobile technology (Dow Jones Institutional News - Factiva, 09/10/2015 06:00 AM)
                                                                                                                         CenturyLink unveils broadband in 33 states across US (MarketLine (a Datamonitor Company),
                                                                                                                         Company News - Factiva, 09/10/2015 09:11 AM)
                                                                                                                         *S&P Rates Qwest Corp.'s Proposed Sr Notes 'BBB-' (Recovery: 1) (Dow Jones Institutional News -
                                                                                                                         Factiva, 09/10/2015 02:55 PM)
                                                                                                                         *Fitch Rates Qwest Corporation's Senior Unsecured Note Offering 'BBB-'; Outlook Stable (Dow
                                                                                                                         Jones Institutional News - Factiva, 09/10/2015 06:00 PM)
                                                                                                                         Fitch Rates Qwest Corporation's Senior Unsecured Note Offering 'BBB-'; Outlook Stable (Business
                                                                                                                         Wire - Factiva, 09/10/2015 06:08 PM)
                                                                                                                         Press Release: Qwest Corporation Agrees To Sell Debt Securities (Dow Jones Institutional News -
                                                                                                                         Factiva, 09/10/2015 07:08 PM)
                                                                                                                         Qwest Corporation Agrees To Sell Debt Securities (PR Newswire (U.S.) - Factiva, 09/10/2015 07:08
                                                                                                                         PM)
9/11/2015 Fri   6,059,335   $26.28      $0.00 -1.87%   0.48%   -0.14%   0.28%    -2.15%     -1.81   7.22%       -$0.58   CENTURYLINK REPORTS DISPOSITION BY DIRECTOR MELVILLE (Louisiana) (US Fed
                                                                                                                         News - Factiva, 09/11/2015)
                                                                                                                         CenturyLink TO PAY $2.85M TO SETTLE INVESTIGATION INTO 2014 911 OUTAGE (TR
                                                                                                                         Daily - Factiva, 09/11/2015)
                                                                                                                         CenturyLinkÃ¢â‚¬â„¢s Qwest subsidiary to sell USD400m of debt securities (FinancialWire -
                                                                                                                         Factiva, 09/11/2015)
                                                                                                                         CenturyLink's Qwest to sell more debt securities (Telecompaper Americas - Factiva, 09/11/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/11/2015)
                                                                                                                         QWEST TO SELL $400 MILLION OF NEW NOTES (TR Daily - Factiva, 09/11/2015)
                                                                                                                         Stocks Coverage on the Technology Sector -- CenturyLink, Windstream Holdings, Telefonica,
                                                                                                                         EarthLink Holdings, and Orange (PR Newswire (U.S.) - Factiva, 09/11/2015 09:20 AM)
9/12/2015 Sat                                                                                                            FORM 8-K: CENTURYLINK, QWEST FILE CURRENT REPORT (US Fed News - Factiva,
                                                                                                                         09/12/2015)
9/13/2015 Sun
9/14/2015 Mon   3,701,220   $26.07      $0.00 -0.80% -0.40%    -0.09%   -0.59%   -0.21%     -0.17 86.17%        -$0.06   CenturyLink unit to commence debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         09/14/2015)
                                                                                                                         CenturyLink, Inc. CenturyLink selected to provide statewide voice service for the Texas Health and
                                                                                                                         Human Services Commission (Journal of Engineering - Factiva, 09/14/2015)
                                                                                                                         Harte Hanks Appoints Karen Puckett As New CEO - Quick Facts (RTT News - Factiva, 09/14/2015)

                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 09/14/2015)



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                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events

                                                                                                                         BUZZ-Harte Hanks Inc: Former CenturyLink CFO Karen Puckett named CEO (Reuters News -
                                                                                                                         Factiva, 09/14/2015 11:05 AM)
9/15/2015 Tue   5,446,677   $26.47      $0.00   1.53%   1.28%   0.40%    1.36%     0.17%      0.14 88.55%       $0.05    Accepted CAF Phase II Support Totals More Than $1.5B; Verizon Accepts Only for Systems to Be
                                                                                                                         Sold to Frontier (Telecommunications Reports - Factiva, 09/15/2015)
                                                                                                                         Barclays Analyst Report (Capital IQ - Manual Entry, 09/15/2015)
                                                                                                                         Barclays Analyst Report (Eikon - Manual Entry, 09/15/2015)
                                                                                                                         Barclays Analyst Report (Eikon - Manual Entry, 09/15/2015)
                                                                                                                         CenturyLink expands gigabit Internet service across Phoenix (Phoenix Business Journal Online -
                                                                                                                         Factiva, 09/15/2015)
                                                                                                                         ETCs Not Required to Seek Pro Rata Lifeline Support (Telecommunications Reports - Factiva,
                                                                                                                         09/15/2015)
                                                                                                                         FORM 8-K: HARTE HANKS FILES CURRENT REPORT (US Fed News - Factiva, 09/15/2015)
                                                                                                                         Former CenturyLink exec joins Harte-Hanks as CEO (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 09/15/2015)
                                                                                                                         Harte Hanks names Karen Puckett as president and CEO (FinancialWire - Factiva, 09/15/2015)
                                                                                                                         Short view ; Harte Hanks selects new CEO (San Antonio Express-News - Factiva, 09/15/2015)
                                                                                                                         CenturyLink positioned as an industry leader in residential gigabit deployment (PR Newswire (U.S.)
                                                                                                                         - Factiva, 09/15/2015 08:00 AM)
                                                                                                                         Press Release: CenturyLink positioned as an industry leader in residential gigabit deployment
                                                                                                                         (Dow Jones Institutional News - Factiva, 09/15/2015 08:00 AM)
                                                                                                                         CenturyLink appoints SVP of global field operations (MarketLine (a Datamonitor Company),
                                                                                                                         Company News - Factiva, 09/15/2015 09:51 AM)
                                                                                                                         CenturyLink wins contract from HHSC to provide managed IP-based voice service (MarketLine (a
                                                                                                                         Datamonitor Company), Company News - Factiva, 09/15/2015 09:54 AM)
9/16/2015 Wed   4,934,663   $26.13      $0.00 -1.28%    0.87%   -0.72%   0.31%    -1.59%     -1.33 18.66%       -$0.42   CenturyLink expanding its high-speed gigabit Internet service in metro Phoenix (The Arizona
                                                                                                                         Republic - Factiva, 09/16/2015)
                                                                                                                         Media & Comm director moves through Sept. 15 (SNL Financial Extra - Factiva, 09/16/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Method of Producing a High-Altitude
                                                                                                                         Electromagnetic Pulse Protected Enclosure (USPTO 9124956) (Telecommunications Weekly -
                                                                                                                         Factiva, 09/16/2015)
9/17/2015 Thu   5,639,564   $26.04      $0.00 -0.34% -0.24%     -0.92%   -0.96%    0.62%      0.51 61.00%       $0.16    CAF, LOW-COST OFFERINGS MAKING DENTS IN DIGITAL DIVIDE, BUT MORE ACTION
                                                                                                                         SEEN NEEDED (TR Daily - Factiva, 09/17/2015)
                                                                                                                         CenturyLink director C. G. Melville sells 16 September 2015 (People in Business - Factiva,
                                                                                                                         09/17/2015)
                                                                                                                         CENTURYLINK REPORTS DISPOSITION BY DIRECTOR MELVILLE (Louisiana) (US Fed
                                                                                                                         News - Factiva, 09/17/2015)
                                                                                                                         Isle of Capri directors sell nearly $800,000 worth of stock: Insider trading for Sept. 1-15 (St. Louis
                                                                                                                         Business Journal Online - Factiva, 09/17/2015)
                                                                                                                         NATIONAL -- CAF, low-cost offerings making dents in digital divide (TR's State NewsWire -
                                                                                                                         Factiva, 09/17/2015)
                                                                                                                         MW Telecommunications services sector tops S&P 500 losers (MarketWatch - Factiva, 09/17/2015
                                                                                                                         11:22 AM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
9/18/2015 Fri   8,333,746   $25.63      $0.00 -1.57% -1.62%    0.08%   -1.69%     0.12%       0.1 92.20%       $0.03    Level 3 Communications Inc at Goldman Sachs Communacopia Conference - Final (CQ FD
                                                                                                                        Disclosure - Factiva, 09/18/2015)
                                                                                                                        CenturyLink, Inc. Qwest Corporation Agrees To Sell Debt Securities (Investment Weekly News -
                                                                                                                        Factiva, 09/18/2015)
                                                                                                                        COLORADO -- PUC poses questions about high-cost distributions settlement (TR's State NewsWire -
                                                                                                                        Factiva, 09/18/2015)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/18/2015)
9/19/2015 Sat                                                                                                           CenturyLink bringing high-speed Internet to rural Missouri (Jefferson City News-Tribune - Factiva,
                                                                                                                        09/19/2015)
9/20/2015 Sun
9/21/2015 Mon   4,148,755   $25.88      $0.00 0.98% 0.46%     -0.05%    0.29%     0.68%      0.57 57.02%        $0.17
9/22/2015 Tue   5,241,863   $25.38      $0.00 -1.93% -1.23%   -0.12%   -1.48%    -0.46%     -0.39 69.76%       -$0.12   FORM 8-K: CENTURYLINK, QWEST FILE CURRENT REPORT (US Fed News - Factiva,
                                                                                                                        09/22/2015)
                                                                                                                        Level 3 Communications, Cogent Rated Outperform (Investor's Business Daily - Factiva, 09/22/2015)

                                                                                                                        RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 09/22/2015)
                                                                                                                        Benzinga's Top Initiations (Benzinga.com - Factiva, 09/22/2015 09:00 AM)
                                                                                                                        CenturyLink Business Communicator application enables mobile access to unified communications
                                                                                                                        tools (Canada NewsWire - Factiva, 09/22/2015 09:15 AM)
                                                                                                                        CenturyLink Business Communicator application enables mobile access to unified communications
                                                                                                                        tools (PR Newswire (U.S.) - Factiva, 09/22/2015 09:15 AM)
                                                                                                                        Press Release: CenturyLink Business Communicator application enables mobile access to unified
                                                                                                                        communications tools (Dow Jones Institutional News - Factiva, 09/22/2015 09:15 AM)
                                                                                                                        Press Release: CenturyLink Business Communicator application enables mobile access to unified
                                                                                                                        communications tools (Dow Jones Institutional News - Factiva, 09/22/2015 09:15 AM)
9/23/2015 Wed   4,049,395   $25.15      $0.00 -0.91% -0.20%   -0.45%   -0.63%    -0.28%     -0.25 80.68%       -$0.07   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 09/23/2015)

                                                                                                                        CenturyLink Business Communicator application enables mobile access to unified communications
                                                                                                                        tools (Emirates News Agency (WAM) - Factiva, 09/23/2015)
                                                                                                                        CenturyLink Business Communicator application enables mobile access to unified communications
                                                                                                                        tools (New Vision - Factiva, 09/23/2015)
                                                                                                                        CenturyLink chairman: Politics in America gets in the way of Chinese partnerships (Puget Sound
                                                                                                                        Business Journal Online - Factiva, 09/23/2015)
                                                                                                                        CenturyLink positioned as an industry leader in residential gigabit deployment (ENP Newswire -
                                                                                                                        Factiva, 09/23/2015)
                                                                                                                        RBC Capital Markets LLC initiates coverage of CenturyLink Inc. at 'sector perform' (SNL Kagan
                                                                                                                        Media & Communications Report - Factiva, 09/23/2015)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "VERSANET"
                                                                                                                        Filed (Telecommunications Weekly - Factiva, 09/23/2015)
                                                                                                                        Trademarks; Trademark Application for "INTRACALL" Filed by Qwest Communications
                                                                                                                        International (Telecommunications Weekly - Factiva, 09/23/2015)
                                                                                                                        Analysts Admit They Were Wrong To Doubt Data Center Stocks (Benzinga.com - Factiva,
                                                                                                                        09/23/2015 09:26 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         CenturyLink Schedules Third Quarter 2015 Earnings Conference Call (PR Newswire (U.S.) -
                                                                                                                         Factiva, 09/23/2015 04:12 PM)
                                                                                                                         Press Release: CenturyLink Schedules Third Quarter 2015 Earnings Conference Call (Dow Jones
                                                                                                                         Institutional News - Factiva, 09/23/2015 04:12 PM)
9/24/2015 Thu   6,792,079   $25.02      $0.00 -0.52% -0.34%     0.17%    -0.42%   -0.09%     -0.08 93.50%       -$0.02   CenturyLink director Roberts Michael James awarded Phantom Stocks 23 September 2015 (People
                                                                                                                         in Business - Factiva, 09/24/2015)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "BROADBAND
                                                                                                                         BY QWEST" Filed (Computer Weekly News - Factiva, 09/24/2015)
                                                                                                                         Youth Dynamics connects its 22 locations with CenturyLink's Managed Office (PR Newswire (U.S.) -
                                                                                                                         Factiva, 09/24/2015 09:15 AM)
9/25/2015 Fri   5,740,636   $25.36      $0.00   1.36% -0.05%    0.54%    0.09%     1.27%      1.11 26.82%       $0.32    CenturyLink employees celebrate companyÃ¢â‚¬â„¢s 85th anniversary through volunteerism (ENP
                                                                                                                         Newswire - Factiva, 09/25/2015)
                                                                                                                         CenturyLink's Managed Office deployed by Youth Dynamics at 22 locations (FinancialWire -
                                                                                                                         Factiva, 09/25/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/25/2015)
                                                                                                                         MarketLine Analyst Report (Capital IQ - Manual Entry, 09/25/2015)
                                                                                                                         Validea Analyst Report (Eikon - Manual Entry, 09/25/2015)
                                                                                                                         Youth Dynamics connects with CenturyLink (Internet Business News - Factiva, 09/25/2015)
9/26/2015 Sat
9/27/2015 Sun
9/28/2015 Mon   6,898,404   $24.61      $0.00 -2.96% -2.54%     0.32%    -2.61%   -0.35%      -0.3 76.40%       -$0.09   CALIFORNIA -- Qwest appeals PUC's denial of its complaint against CLECs (TR's State NewsWire -
                                                                                                                         Factiva, 09/28/2015)
                                                                                                                         CenturyLink, Inc. CenturyLink positioned as an industry leader in residential gigabit deployment
                                                                                                                         (Journal of Engineering - Factiva, 09/28/2015)
                                                                                                                         Trademarks; Trademark Application for "IQWEST TECHNOLOGIES INC" Filed by Qwest
                                                                                                                         Communications International (Journal of Engineering - Factiva, 09/28/2015)
                                                                                                                         CenturyLink unveils gigabit service in six new states (MarketLine, Company News - Factiva,
                                                                                                                         09/28/2015 10:37 AM)
9/29/2015 Tue   5,279,938   $24.69      $0.00   0.33%   0.13%   -0.06%   -0.06%    0.39%      0.34 73.50%       $0.10    Level 3 Communications Inc at Deutsche Bank Leveraged Finance Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 09/29/2015)
                                                                                                                         CALIFORNIA -- CLECs call for clarification of order in Qwest complaint case (TR's State
                                                                                                                         NewsWire - Factiva, 09/29/2015)
                                                                                                                         The daily On the Move feature includes news about hires, promotions,... (Argus Leader - Factiva,
                                                                                                                         09/29/2015)
9/30/2015 Wed   5,522,854   $25.12      $0.00   1.74%   1.91%   -0.32%   1.63%     0.11%      0.09 92.56%       $0.03    MarketLine Analyst Report (Capital IQ - Manual Entry, 09/30/2015)
                                                                                                                         MarketLine Analyst Report (Eikon - Manual Entry, 09/30/2015)
                                                                                                                         Telecommunication Companies; Patent Issued for Converged Voice Services (USPTO 9137380)
                                                                                                                         (Telecommunications Weekly - Factiva, 09/30/2015)
                                                                                                                         CenturyLink, Seattle Seahawks and Cliff Avril to award fans exhibiting goodwill (PR Newswire
                                                                                                                         (U.S.) - Factiva, 09/30/2015 08:00 AM)
                                                                                                                         Press Release: CenturyLink, Seattle Seahawks and Cliff Avril to award fans exhibiting goodwill
                                                                                                                         (Dow Jones Institutional News - Factiva, 09/30/2015 08:00 AM)
                                                                                                                         CenturyLink unveils new Business Communicator application (MarketLine, Company News -
                                                                                                                         Factiva, 09/30/2015 09:29 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
10/1/2015 Thu   4,458,221   $24.60      $0.00 -2.07%    0.20%   -0.83%   -0.44%   -1.63%     -1.42 15.76%       -$0.41   CAF, Low-Cost Offerings Making Dents In Digital Divide, but More Action Seen Needed
                                                                                                                         (Telecommunications Reports - Factiva, 10/01/2015)
                                                                                                                         E-911 fee lawsuit against phone companies allowed to move froward (The Dothan Eagle - Factiva,
                                                                                                                         10/01/2015)
                                                                                                                         FORM 8-K: CENTURYLINK, QWEST FILE CURRENT REPORT (US Fed News - Factiva,
                                                                                                                         10/01/2015)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 10/01/2015)
                                                                                                                         CenturyLink to offer $1.4 million in Teachers and Technology grants in local markets across the
                                                                                                                         country (PR Newswire (U.S.) - Factiva, 10/01/2015 03:00 PM)
                                                                                                                         4 Telecom Stocks Northland Analyst Believes Will Outperform (Benzinga.com - Factiva, 10/01/2015
                                                                                                                         03:14 PM)
10/2/2015 Fri   4,971,312   $24.65      $0.00   0.20%   1.44%   -0.84%   0.79%    -0.59%     -0.51 61.08%       -$0.14   AT&T, VZ Shine; High-Yield Spreads Lurk, Report Says (Investor's Business Daily - Factiva,
                                                                                                                         10/02/2015)
                                                                                                                         CenturyLink initiates preparedness efforts ahead of Hurricane Joaquin, encourages local residents
                                                                                                                         to be prepared (ENP Newswire - Factiva, 10/02/2015)
                                                                                                                         CenturyLink offering USD1.4m in teachers and technology grants (Internet Business News - Factiva,
                                                                                                                         10/02/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/02/2015)
10/3/2015 Sat
10/4/2015 Sun
10/5/2015 Mon   4,026,633   $25.64      $0.00   4.02%   1.83%   1.40%    2.62%     1.39%      1.21 22.96%       $0.34    CenturyLink initiates preparedness efforts ahead of Hurricane Joaquin, encourages local residents
                                                                                                                         to be prepared (ENP Newswire - Factiva, 10/05/2015)
                                                                                                                         CenturyLink URGES FCC TO REJECT CALLS FOR SPECIAL ACCESS RE-REGULATION (TR
                                                                                                                         Daily - Factiva, 10/05/2015)
                                                                                                                         CenturyLink; Youth Dynamics connects its 22 locations with CenturyLink's Managed Office
                                                                                                                         (Journal of Engineering - Factiva, 10/05/2015)
                                                                                                                         NATIONAL - CenturyLink urges FCC to nix special access re-regulation (TR's State NewsWire -
                                                                                                                         Factiva, 10/05/2015)
                                                                                                                         CenturyLink highlights safety tips for National Cyber Security Awareness Month (PR Newswire
                                                                                                                         (U.S.) - Factiva, 10/05/2015 01:00 PM)
                                                                                                                         Press Release: CenturyLink highlights safety tips for National Cyber Security Awareness Month
                                                                                                                         (Dow Jones Institutional News - Factiva, 10/05/2015 01:00 PM)
10/6/2015 Tue   5,358,222   $25.62      $0.00 -0.08% -0.36%     0.09%    -0.50%    0.42%      0.36 71.89%       $0.11    ARIZONA -- Court upholds ruling finding Qwest's tariffs limit liability (TR's State NewsWire -
                                                                                                                         Factiva, 10/06/2015)
                                                                                                                         CenturyLink highlights safety tips for National Cyber Security Awareness Month (ENP Newswire -
                                                                                                                         Factiva, 10/06/2015)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 10/06/2015)
10/7/2015 Wed   3,938,851   $26.06      $0.00   1.72%   0.84%   0.33%    0.95%     0.77%      0.68 50.06%       $0.20    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 10/07/2015)

                                                                                                                         COLORADO -- PUC slates hearing to consider high-cost distribution settlement (TR's State
                                                                                                                         NewsWire - Factiva, 10/07/2015)
                                                                                                                         Steelheads add three more for training camp (The Idaho Statesman - Factiva, 10/07/2015)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 8-A12B, Registration of Securities
                                                                                                                         [Section 12(B)] (Sept. 21, 2015) (Telecommunications Weekly - Factiva, 10/07/2015)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events

                                                                                                                           Telephone Communications; Qwest Corp. Files SEC Form CERTNYS, Certification By The New
                                                                                                                           York Stock Exchange Approving Securities For Listing (Sept. 21, 2015) (Telecommunications
                                                                                                                           Weekly - Factiva, 10/07/2015)
 10/8/2015 Thu   3,675,315   $26.51      $0.00   1.73%   0.88%   0.30%    0.98%     0.75%      0.66 51.30%        $0.20    IDAHO -- PUC approves broadband tax credit for CenturyLink (TR's State NewsWire - Factiva,
                                                                                                                           10/08/2015)
                                                                                                                           CenturyLink Announces Extension of Exchange Offer (PR Newswire (U.S.) - Factiva, 10/08/2015
                                                                                                                           06:48 PM)
                                                                                                                           Press Release: CenturyLink Announces Extension of Exchange Offer (Dow Jones Institutional News -
                                                                                                                           Factiva, 10/08/2015 06:48 PM)
                                                                                                                           Uber's Probe of Data Breach Focuses on Lyft Executive (Dow Jones Top Global Market Stories -
                                                                                                                           Factiva, 10/08/2015 09:36 PM)
                                                                                                                           Uber's Probe of Data Breach Focuses on Lyft Executive (Dow Jones Top North American Equities
                                                                                                                           Stories - Factiva, 10/08/2015 09:36 PM)
 10/9/2015 Fri   5,020,656   $25.72      $0.00 -2.98%    0.08%   -0.57%   -0.46%   -2.52%      -2.2   2.97% *     -$0.67   D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 10/09/2015)
                                                                                                                           D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 10/09/2015)
                                                                                                                           FCC SETS NANC MEMBERSHIP (TR Daily - Factiva, 10/09/2015)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/09/2015)
                                                                                                                           NATIONAL -- FCC sets NANC membership (TR's State NewsWire - Factiva, 10/09/2015)
                                                                                                                           Uber's Probe of Breach Looks at Lyft Executive (VentureWire - Factiva, 10/09/2015 03:16 AM)
10/10/2015 Sat
10/11/2015 Sun
10/12/2015 Mon   3,541,776   $25.86      $0.00   0.54%   0.13%   0.32%    0.17%     0.37%      0.33 74.12%        $0.10    CenturyLink extends exchange offer (Internet Business News - Factiva, 10/12/2015)
                                                                                                                           CenturyLink extends exchange offer for senior notes (SNL Kagan Media & Communications Report -
                                                                                                                           Factiva, 10/12/2015)
                                                                                                                           CenturyLink, Inc. CenturyLink to offer $1.4 million in Teachers and Technology grants in local
                                                                                                                           markets across the country (Journal of Engineering - Factiva, 10/12/2015)
                                                                                                                           CenturyLink, Inc. CenturyLink, Seattle Seahawks and Cliff Avril to award fans exhibiting goodwill
                                                                                                                           (Journal of Engineering - Factiva, 10/12/2015)
                                                                                                                           CenturyLink, Transamerica to share signage atop 1801 California skyscraper (Denver Business
                                                                                                                           Journal Online - Factiva, 10/12/2015)
                                                                                                                           FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 10/12/2015)
10/13/2015 Tue   3,339,504   $25.78      $0.00 -0.31% -0.67%     0.41%    -0.59%    0.28%      0.25 80.08%        $0.07    Barclays Analyst Report (Eikon - Manual Entry, 10/13/2015)
                                                                                                                           CenturyLink, Verizon, AT&T Web Hosting Sales Eyed (Investor's Business Daily - Factiva,
                                                                                                                           10/13/2015)
                                                                                                                           Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 10/13/2015)
                                                                                                                           Benzinga's Top Initiations (Benzinga.com - Factiva, 10/13/2015 10:08 AM)
10/14/2015 Wed   3,472,320   $26.18      $0.00   1.55% -0.47%    0.02%    -0.66%    2.21%      1.98   5.04%       $0.57    Benefit plans for retirees must be clear, understandable (The Oklahoman - Factiva, 10/14/2015)
                                                                                                                           CenturyLink (Investor's Business Daily - Factiva, 10/14/2015)
                                                                                                                           Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 10/14/2015)
                                                                                                                           Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 10/14/2015)
10/15/2015 Thu   4,160,844   $26.98      $0.00   3.06%   1.49%   0.23%    1.57%     1.49%      1.31 19.16%        $0.39    BuySellSignals Research Analyst Report (Eikon - Manual Entry, 10/15/2015)




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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
                                                                                                                           CALIFORNIA -- CLECs call on PUC to maintain order denying Qwest complaint (TR's State
                                                                                                                           NewsWire - Factiva, 10/15/2015)
                                                                                                                           CenturyLink Opposes Special Access Reregulation (Telecommunications Reports - Factiva,
                                                                                                                           10/15/2015)
                                                                                                                           CKBR PARTNER (TR Daily - Factiva, 10/15/2015)
                                                                                                                           Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 10/15/2015)
                                                                                                                           Telecommunication Companies; Patent Issued for Charging Contact System (USPTO 9152194)
                                                                                                                           (Computer Weekly News - Factiva, 10/15/2015)
10/16/2015 Fri   4,096,342   $26.81      $0.00 -0.63%    0.46%   0.23%    0.51%    -1.14%          -1 31.94%      -$0.31   BUREAU ORDERS PROBE OF SPECIAL ACCESS TARIFFS FILED BY AT&T, CenturyLink,
                                                                                                                           FRONTIER, VERIZON (TR Daily - Factiva, 10/16/2015)
                                                                                                                           CENTURYLINK REPORTS DISPOSITION BY DIRECTOR MELVILLE (Louisiana) (US Fed
                                                                                                                           News - Factiva, 10/16/2015)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/16/2015)
                                                                                                                           NATIONAL -- Bureau orders probe of special access tariffs (TR's State NewsWire - Factiva,
                                                                                                                           10/16/2015)
                                                                                                                           Should Comcast Woo Unhappy AT&T DSL Subscribers? (Investor's Business Daily - Factiva,
                                                                                                                           10/16/2015)
                                                                                                                           Former Vanguard CEO elected chairman of Notre Dame's board (Associated Press Newswires -
                                                                                                                           Factiva, 10/16/2015 12:01 PM)
                                                                                                                           FCC Opens Probe Into 'Special Access' Market (Dow Jones Top News & Commentary - Factiva,
                                                                                                                           10/16/2015 04:58 PM)
                                                                                                                           FCC probes four U.S. telcos over anticompetitive practices (Reuters News - Factiva, 10/16/2015 06:35
                                                                                                                           PM)
                                                                                                                           UPDATE 1-FCC probes four U.S. telcos over anticompetitive practices (Reuters News - Factiva,
                                                                                                                           10/16/2015 07:23 PM)
10/17/2015 Sat
10/18/2015 Sun                                                                                                             FCC Opens Probe Into Ã¢â‚¬ËœSpecial AccessÃ¢â‚¬â„¢ Market; AT&T, Verizon, CenturyLink
                                                                                                                           and Frontier dominate the market (The Wall Street Journal Online - Factiva, 10/18/2015 06:45 PM)

                                                                                                                           FCC Opens Probe Into 'Special Access' Market (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                                           10/18/2015 10:37 PM)
10/19/2015 Mon   4,432,493   $26.92      $0.00   0.41%   0.03%   -0.27%   -0.34%    0.75%      0.66 51.21%        $0.20    Business News: FCC Opens Probe Into 'Special Access' Market (The Wall Street Journal - Factiva,
                                                                                                                           10/19/2015)
                                                                                                                           CenturyLink PLANS TO COMPLETE NETWORK VIRTUALIZATION BY 2018 (TR Daily -
                                                                                                                           Factiva, 10/19/2015)
                                                                                                                           NATIONAL - Responses in special access probe due Dec. 18 (TR's State NewsWire - Factiva,
                                                                                                                           10/19/2015)
                                                                                                                           RESPONSES IN SPECIAL ACCESS PROBE DUE DEC. 18; ANALYST SEES NO BROAD
                                                                                                                           PRICE REGULATION ON HORIZON (TR Daily - Factiva, 10/19/2015)
                                                                                                                           CenturyLink announces virtualization plans as it continues integrating its network into the cloud
                                                                                                                           (PR Newswire (U.S.) - Factiva, 10/19/2015 07:00 AM)
                                                                                                                           Press Release: CenturyLink announces virtualization plans as it continues integrating its network
                                                                                                                           into the cloud (Dow Jones Institutional News - Factiva, 10/19/2015 07:00 AM)
10/20/2015 Tue   2,694,768   $27.25      $0.00   1.23% -0.14%    0.93%    0.43%     0.79%      0.69 49.02%        $0.21    AT&T, Verizon face FCC probe over business data services (SNL Kagan Media & Communications
                                                                                                                           Report - Factiva, 10/20/2015)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                          FCC targets AT&T, others in special access market probe after complaints from Sprint,
                                                                                                                          competitors (Dallas Business Journal Online - Factiva, 10/20/2015)
                                                                                                                          Medibank nicks ANZ exec to lead IT operations (Emirates News Agency (WAM) - Factiva,
                                                                                                                          10/20/2015)
10/21/2015 Wed   3,069,854   $27.20      $0.00 -0.18% -0.57%     -0.27%   -0.96%    0.78%      0.67 50.13%       $0.21    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 10/21/2015)

                                                                                                                          JP Morgan Analyst Report (Capital IQ - Manual Entry, 10/21/2015)
                                                                                                                          JP Morgan Analyst Report (Capital IQ - Manual Entry, 10/21/2015)
                                                                                                                          JP Morgan Analyst Report (Eikon - Manual Entry, 10/21/2015)
                                                                                                                          WASHINGTON -- CenturyLink to pay fine for service outage in San Juan Islands (TR's State
                                                                                                                          NewsWire - Factiva, 10/21/2015)
                                                                                                                          CenturyLink's 1 Gbps service is now available to select business locations in Utah's Lehi and Park
                                                                                                                          City (PR Newswire (U.S.) - Factiva, 10/21/2015 09:10 AM)
                                                                                                                          Press Release: CenturyLink's 1 Gbps service is now available to select business locations in Utah's
                                                                                                                          Lehi and Park City (Dow Jones Institutional News - Factiva, 10/21/2015 09:10 AM)
                                                                                                                          CenturyLink report reveals Australian organisations increasingly adopting hybrid IT (PR Newswire
                                                                                                                          Asia - Factiva, 10/21/2015 09:00 PM)
10/22/2015 Thu   4,140,675   $27.91      $0.00   2.61%   1.67%   0.58%    2.07%     0.54%      0.47 64.12%       $0.15    CenturyLink announces availability of 1 Gb/s service to select business locations in Utah's Lehi and
                                                                                                                          Park City (FinancialWire - Factiva, 10/22/2015)
                                                                                                                          Height Analytics,LLC Analyst Report (Eikon - Manual Entry, 10/22/2015)
                                                                                                                          WITNESSES SET FOR HEARING ON BROADBAND DEPLOYMENT BARRIERS (TR Daily -
                                                                                                                          Factiva, 10/22/2015)
10/23/2015 Fri   3,547,696   $28.02      $0.00   0.39%   1.10%   -0.73%   0.43%    -0.04%     -0.03 97.48%       -$0.01   CenturyLink report reveals Australian organisations increasingly adopting hybrid IT (ENP
                                                                                                                          Newswire - Factiva, 10/23/2015)
                                                                                                                          CORRECTION: SPECIAL ACCESS IN ATLANTA (TR Daily - Factiva, 10/23/2015)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/23/2015)
10/24/2015 Sat
10/25/2015 Sun
10/26/2015 Mon   4,220,261   $28.32      $0.00   1.07% -0.19%    0.17%    -0.19%    1.26%       1.1 27.47%       $0.35    CenturyLink becomes U.S. Bank Stadium founding partner (Minneapolis/St. Paul Business Journal
                                                                                                                          Online - Factiva, 10/26/2015)
                                                                                                                          COLORADO -- Commission allows disbursement of interim high-cost support (TR's State
                                                                                                                          NewsWire - Factiva, 10/26/2015)
                                                                                                                          OREGON -- PUC OKs CenturyLink, CenturyTel request to price list business bundles (TR's State
                                                                                                                          NewsWire - Factiva, 10/26/2015)
                                                                                                                          ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 10/26/2015)
                                                                                                                          CenturyLink named Founding Partner of U.S. Bank Stadium and exclusive communications
                                                                                                                          provider for Minnesota Vikings (PR Newswire (U.S.) - Factiva, 10/26/2015 09:00 AM)
                                                                                                                          Press Release: CenturyLink named Founding Partner of U.S. Bank Stadium and exclusive
                                                                                                                          communications provider for Minnesota Vikings (Dow Jones Institutional News - Factiva, 10/26/2015
                                                                                                                          09:00 AM)
10/27/2015 Tue   3,632,853   $27.64      $0.00 -2.40% -0.26%     -0.78%   -1.05%   -1.36%     -1.18 24.12%       -$0.38   Former CenturyLink exec joins Harte-Hanks (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                          10/27/2015)




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                                                              Excess                                              Abnormal
                                                      Market Industry Predicted Abnormal                            Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat      p-Value   Reaction                                                  Events
                                                                                                                             Frontier mulls usage-based broadband to manage network costs (Emirates News Agency (WAM) -
                                                                                                                             Factiva, 10/27/2015)
                                                                                                                             Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 10/27/2015)
                                                                                                                             CenturyLink announces 1Gbps service to select business locations in Utah (MarketLine, Company
                                                                                                                             News - Factiva, 10/27/2015 11:15 AM)
10/28/2015 Wed   3,089,091   $28.12      $0.00   1.74%   1.19%   0.19%    1.28%     0.45%      0.39 69.58%          $0.13    Event Brief of Q3 2015 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                                             Factiva, 10/28/2015)
                                                                                                                             Q3 2015 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 10/28/2015)

10/29/2015 Thu   3,035,016   $28.08      $0.00 -0.14% -0.03%     0.03%    -0.14%    0.00%            0 99.70%       $0.00    CenturyLink, Inc. CenturyLink announces virtualization plans as it continues integrating its
                                                                                                                             network into the cloud (Computer Weekly News - Factiva, 10/29/2015)
                                                                                                                             Monsanto executives sell over $2 million worth of stock: Insider trading for Oct. 1-26 (St. Louis
                                                                                                                             Business Journal Online - Factiva, 10/29/2015)
                                                                                                                             Qwest Communication International Inc. Patent Issued for Camera Barrel Mechanism (USPTO
                                                                                                                             9167141) (Politics & Government Week - Factiva, 10/29/2015)
                                                                                                                             Trademarks; Qwest Communications International's Trademark Application for "IQWEST
                                                                                                                             TECHNOLOGIES INC" Filed (Computer Weekly News - Factiva, 10/29/2015)
10/30/2015 Fri   3,720,764   $28.21      $0.00   0.46% -0.48%    0.78%    0.04%     0.42%      0.36 71.80%          $0.12    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/30/2015)
                                                                                                                             CenturyLink fiber network backbone now connects to 12 CyrusOne data centers (Canada NewsWire
                                                                                                                             - Factiva, 10/30/2015 08:15 AM)
                                                                                                                             CenturyLink fiber network backbone now connects to 12 CyrusOne data centers (PR Newswire
                                                                                                                             (U.S.) - Factiva, 10/30/2015 08:15 AM)
                                                                                                                             Press Release: CenturyLink fiber network backbone now connects to 12 CyrusOne data centers
                                                                                                                             (Dow Jones Institutional News - Factiva, 10/30/2015 08:15 AM)
                                                                                                                             Press Release: CenturyLink fiber network backbone now connects to 12 CyrusOne data centers
                                                                                                                             (Dow Jones Institutional News - Factiva, 10/30/2015 08:15 AM)
10/31/2015 Sat
 11/1/2015 Sun                                                                                                               Bureau Orders Probe of Special Access Tariffs Filed by AT&T, CenturyLink, Frontier, Verizon
                                                                                                                             (Telecommunications Reports - Factiva, 11/01/2015)
                                                                                                                             MarketLine Analyst Report (Capital IQ - Manual Entry, 11/01/2015)
                                                                                                                             MarketLine Analyst Report (Capital IQ - Manual Entry, 11/01/2015)
                                                                                                                             MarketLine Analyst Report (Eikon - Manual Entry, 11/01/2015)
                                                                                                                             MarketLine Analyst Report (Eikon - Manual Entry, 11/01/2015)
 11/2/2015 Mon   4,808,394   $28.41      $0.00   0.71%   1.19%   -0.59%   0.61%     0.10%      0.09 93.04%          $0.03    CenturyLink connects to 12 CyrusOne data centers (Internet Business News - Factiva, 11/02/2015)

                                                                                                                             CenturyLink, Inc. CenturyLink report reveals Australian organisations increasingly adopting
                                                                                                                             hybrid IT (Journal of Engineering - Factiva, 11/02/2015)
                                                                                                                             CenturyLinkÃ¢â‚¬â„¢s fibre network backbone connected to five new CyrusOne data centres
                                                                                                                             (FinancialWire - Factiva, 11/02/2015)
                                                                                                                             CenturyLinkÃ¢â‚¬â„¢s fibre network backbone connected to five new CyrusOne data centres
                                                                                                                             (Worldwide Computer Products News - Factiva, 11/02/2015)
                                                                                                                             Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 11/02/2015)
                                                                                                                             Morgan Stanley Analyst Report (Eikon - Manual Entry, 11/02/2015)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink and Emmanuel Sanders promote Mile High United Way's toy drive for annual
                                                                                                                          holiday party (PR Newswire (U.S.) - Factiva, 11/02/2015 08:00 AM)
11/3/2015 Tue   4,474,698   $28.49      $0.00   0.28%   0.27%   -0.61%   -0.36%    0.65%      0.57 56.72%        $0.18    CenturyLink CIO Wins Breakaway Leadership Award (ENP Newswire - Factiva, 11/03/2015)
                                                                                                                          COLORADO -- Comcast says HCSM settlement likely to be appealed (TR's State NewsWire -
                                                                                                                          Factiva, 11/03/2015)
11/4/2015 Wed   6,207,471   $28.02      $0.00 -1.65% -0.32%     -0.32%   -0.72%   -0.93%     -0.82 41.20%        -$0.26   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 11/04/2015)

                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          CenturyLink, Inc. Q3 Profit Climbs 9% (RTT News - Factiva, 11/04/2015)
                                                                                                                          Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          Event Brief of Q3 2015 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                          11/04/2015)
                                                                                                                          Fitch Ratings Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          JP Morgan Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          JP Morgan Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 11/04/2015)
                                                                                                                          Q3 2015 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 11/04/2015)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 11/04/2015)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 11/04/2015)
                                                                                                                          UBS Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          UBS Analyst Report (Capital IQ - Manual Entry, 11/04/2015)
                                                                                                                          UBS Analyst Report (Eikon - Manual Entry, 11/04/2015)
                                                                                                                          UBS Analyst Report (Eikon - Manual Entry, 11/04/2015)
                                                                                                                          *CenturyLink 3Q Rev $4.55B >CTL (Dow Jones Institutional News - Factiva, 11/04/2015 04:16 PM)

                                                                                                                          CenturyLink Reports Third Quarter 2015 Results (PR Newswire - Factiva, 11/04/2015 04:16 PM)
                                                                                                                          CenturyLink Profit Rises on Higher Business Network Sales (Dow Jones Institutional News - Factiva,
                                                                                                                          11/04/2015 07:00 PM)
                                                                                                                          CenturyLink Profit Rises on Higher Business Network Sales (Dow Jones Institutional News - Factiva,
                                                                                                                          11/04/2015 07:15 PM)
11/5/2015 Thu   7,444,523   $28.71      $0.00   2.46% -0.09%    -0.13%   -0.33%    2.79%      2.48   1.45% *     $0.78    Barclays Analyst Report (Capital IQ - Manual Entry, 11/05/2015)
                                                                                                                          Barclays Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                          By selling data centers, CenturyLink could invest in software innovation (The Deal - Factiva,
                                                                                                                          11/05/2015)
                                                                                                                          CenturyLink Data Centers For Sale; Is Verizon Next? (Investor's Business Daily - Factiva,
                                                                                                                          11/05/2015)




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     [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                      [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                   Events
                                                                                                                         CenturyLink mulls sale, other options for data centers (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 11/05/2015)
                                                                                                                         CenturyLink working on OTT offering (SNL Financial Extra - Factiva, 11/05/2015)
                                                                                                                         CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 11/05/2015)
                                                                                                                         CFRA Equity Research Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         Company Up For Sale | CenturyLink Inc. - data center business (The Deal - Factiva, 11/05/2015)
                                                                                                                         Cowen and Company Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 11/05/2015)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         Gordon Haskett Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 11/05/2015)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         JP Morgan Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 11/05/2015)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 11/05/2015)
                                                                                                                         S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 11/05/2015)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 11/05/2015)
                                                                                                                         *S&PBulletin: CenturyLink Rtg Same On Data Ctr Strategic Review (Dow Jones Institutional News -
                                                                                                                         Factiva, 11/05/2015 03:30 PM)
                                                                                                                         *Fitch: CenturyLink's Rating Unaffected After Data Center Business Announcement (Dow Jones
                                                                                                                         Institutional News - Factiva, 11/05/2015 03:48 PM)
                                                                                                                         Fitch: CenturyLink's Rating Unaffected After Data Center Business Announcement (Reuters News -
                                                                                                                         Factiva, 11/05/2015 03:48 PM)
                                                                                                                         Fitch: CenturyLink's Rating Unaffected After Data Center Business Announcement (Business Wire -
                                                                                                                         Factiva, 11/05/2015 04:00 PM)
11/6/2015 Fri   5,289,408   $28.57      $0.00 -0.49% -0.02%    -0.65%   -0.70%    0.22%      0.19 84.89%        $0.06    CenturyLink to sell data centers (Investor's Business Daily - Factiva, 11/06/2015)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/06/2015)
                                                                                                                         Media & Comm, most read (SNL Financial Extra - Factiva, 11/06/2015)
                                                                                                                         RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 11/06/2015)
                                                                                                                         RBC Capital Markets Analyst Report (Eikon - Manual Entry, 11/06/2015)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 11/06/2015)
11/7/2015 Sat
11/8/2015 Sun                                                                                                            Macquarie Research Analyst Report (Eikon - Manual Entry, 11/08/2015)
                                                                                                                         Veterans Day closings; GOVERNMENT OFFICES (The Arizona Republic - Factiva, 11/08/2015)
11/9/2015 Mon   4,413,995   $28.81      $0.00   0.84% -0.96%   -0.25%   -1.35%    2.19%      1.94   5.45%       $0.63    Verizon explores sale of enterprise assets - report (SeeNews Latin America - Factiva, 11/09/2015)
                                                                                                                         CenturyLink Geting Down With OTT (Multichannel News - Factiva, 11/09/2015)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                          CenturyLink, Inc. CenturyLink named Founding Partner of U.S. Bank Stadium and exclusive
                                                                                                                          communications provider for Minnesota Vikings (Journal of Engineering - Factiva, 11/09/2015)
                                                                                                                          Report: Verizon exploring enterprise asset sale (SNL Kagan Media & Communications Report -
                                                                                                                          Factiva, 11/09/2015)
                                                                                                                          United States : CenturyLink to sell massive data center fleet (Investing.com - Factiva, 11/09/2015)

                                                                                                                          Verizon likely to field questions about unit's strategic direction (The Deal - Factiva, 11/09/2015)
                                                                                                                          Veterans Day closings; GOVERNMENT OFFICES (The Arizona Republic - Factiva, 11/09/2015)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 11/09/2015)
11/10/2015 Tue   3,269,265   $28.60      $0.00 -0.73%    0.18%   -0.40%   -0.24%   -0.49%     -0.43 66.97%       -$0.14   BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/10/2015)
                                                                                                                          CenturyLink declares quarterly cash dividend (Reuters Significant Developments - Factiva,
                                                                                                                          11/10/2015)
                                                                                                                          GlobalData Analyst Report (Capital IQ - Manual Entry, 11/10/2015)
                                                                                                                          Nuage Networks SDN technology selected for CenturyLink's network architecture (M2 Presswire -
                                                                                                                          Factiva, 11/10/2015)
                                                                                                                          CenturyLink announces network platform with SDN and NFV capabilities (MarketLine, Company
                                                                                                                          News - Factiva, 11/10/2015 01:40 AM)
                                                                                                                          Conga Brings in New Leadership (VentureWire - Factiva, 11/10/2015 02:19 AM)
                                                                                                                          Nuage Networks SDN technology selected for CenturyLink's network architecture (PR Newswire
                                                                                                                          (U.S.) - Factiva, 11/10/2015 09:30 AM)
                                                                                                                          Nuage Networks SDN technology selected for CenturyLink's network architecture (PR Newswire
                                                                                                                          Europe - Factiva, 11/10/2015 09:30 AM)
                                                                                                                          Press Release: Nuage Networks SDN technology selected for CenturyLink's network architecture
                                                                                                                          (Dow Jones Institutional News - Factiva, 11/10/2015 09:30 AM)
                                                                                                                          CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 11/10/2015 06:43
                                                                                                                          PM)
                                                                                                                          Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                          Factiva, 11/10/2015 06:43 PM)
11/11/2015 Wed   3,853,388   $28.43      $0.00 -0.59% -0.32%     0.59%    0.08%    -0.68%     -0.59 55.35%       -$0.19   CenturyLink announces USD0.54 dividend (Internet Business News - Factiva, 11/11/2015)
                                                                                                                          Veterans Day closings; GOVERNMENT OFFICES (The Arizona Republic - Factiva, 11/11/2015)
11/12/2015 Thu   3,658,788   $28.00      $0.00 -1.51% -1.38%     0.08%    -1.49%   -0.02%     -0.02 98.56%       -$0.01   Nuage Networks SDN technology selected for CenturyLinkÃ¢â‚¬â„¢s network architecture (ENP
                                                                                                                          Newswire - Factiva, 11/12/2015)
                                                                                                                          Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 11/12/2015)
                                                                                                                          Sadif Analytics Analyst Report (Eikon - Manual Entry, 11/12/2015)
                                                                                                                          United States : Nuage Networks SDN technology selected for CenturyLink s network architecture
                                                                                                                          (National News Agency Lebanon - Factiva, 11/12/2015)
11/13/2015 Fri   4,480,416   $27.70      $0.00 -1.07% -1.12%     -0.46%   -1.67%    0.60%      0.52 60.08%       $0.17    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/13/2015)
                                                                                                                          CenturyLink unveils fiber connectivity at five additional CyrusOne data centers (MarketLine,
                                                                                                                          Company News - Factiva, 11/13/2015 08:31 AM)
11/14/2015 Sat
11/15/2015 Sun
11/16/2015 Mon   3,367,070   $28.48      $0.00   2.82%   1.51%   1.05%    2.39%     0.42%      0.37 71.18%       $0.12    CenturyLink BOARD (TR Daily - Factiva, 11/16/2015)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
                                                                                                                           Former U.S. Senator Mary Landrieu joins CenturyLink Board of Directors (PR Newswire - Factiva,
                                                                                                                           11/16/2015 04:30 PM)
                                                                                                                           Press Release: Former U.S. Senator Mary Landrieu joins CenturyLink Board of Directors (Dow
                                                                                                                           Jones Institutional News - Factiva, 11/16/2015 04:30 PM)
                                                                                                                           CenturyLink Files 8K - Changes Exec Mgmt >CTL (Dow Jones Institutional News - Factiva,
                                                                                                                           11/16/2015 04:58 PM)
                                                                                                                           (PR) CenturyLink recognized as a leader in Gartner's 2015 Magic Quadrant for Cloud-Enabled
                                                                                                                           Managed Hosting, Asia Pacific (PR Newswire (U.S.) - Factiva, 11/16/2015 05:00 PM)
                                                                                                                           CenturyLink recognized as a leader in Gartner's 2015 Magic Quadrant for Cloud-Enabled
                                                                                                                           Managed Hosting, Asia Pacific (Canada NewsWire - Factiva, 11/16/2015 05:00 PM)
                                                                                                                           CenturyLink recognized as a leader in Gartner's 2015 Magic Quadrant for Cloud-Enabled
                                                                                                                           Managed Hosting, Asia Pacific (PR Newswire Asia - Factiva, 11/16/2015 05:00 PM)
                                                                                                                           Press Release: CenturyLink recognized as a leader in Gartner's 2015 Magic Quadrant for Cloud-
                                                                                                                           Enabled Managed Hosting, Asia Pacific (Dow Jones Institutional News - Factiva, 11/16/2015 05:00
                                                                                                                           PM)
11/17/2015 Tue   4,105,958   $28.13      $0.00 -1.23% -0.11%     0.47%    0.19%    -1.42%     -1.24 21.59%        -$0.40   CenturyLink director C. G. Melville sells 16 November 2015 (People in Business - Factiva,
                                                                                                                           11/17/2015)
                                                                                                                           CENTURYLINK REPORTS DISPOSITION BY DIRECTOR MELVILLE (Louisiana) (US Fed
                                                                                                                           News - Factiva, 11/17/2015)
                                                                                                                           Liberty Interactive unit sets semiannual payment on debentures (SNL Kagan Media &
                                                                                                                           Communications Report - Factiva, 11/17/2015)
                                                                                                                           CenturyLink reports higher Q3 net income, provides outlook for Q4 (MarketLine News and
                                                                                                                           Comment - Factiva, 11/17/2015 01:13 AM)
                                                                                                                           CenturyLink selects Nuage's SDN technology (MarketLine, Company News - Factiva, 11/17/2015
                                                                                                                           07:01 AM)
11/18/2015 Wed   3,789,396   $28.49      $0.00   1.28%   1.62%   -0.30%   1.37%    -0.09%     -0.07 94.05%        -$0.02   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 11/18/2015)

                                                                                                                           CenturyLink adds Landrieu to its board (The Daily Advertiser - Factiva, 11/18/2015)
                                                                                                                           FORM 8-K: CENTURYLINK FILES CURRENT REPORT (US Fed News - Factiva, 11/18/2015)
                                                                                                                           Landrieu joins board at CenturyLink (The News-Star - Factiva, 11/18/2015)
                                                                                                                           Landrieu joins CenturyLink board (Daily World - Factiva, 11/18/2015)
                                                                                                                           Landrieu joins CenturyLink board (Shreveport Times - Factiva, 11/18/2015)
11/19/2015 Thu   3,828,402   $28.47      $0.00 -0.07% -0.11%     0.59%    0.28%    -0.35%     -0.31 75.98%        -$0.10   Ahead of the news: An executive summary of The DealÃ¢â‚¬â„¢s daily coverage (The Deal - Factiva,
                                                                                                                           11/19/2015)
                                                                                                                           CenturyLink engages Wells Fargo , Morgan Stanley for sale of data centers (The Deal - Factiva,
                                                                                                                           11/19/2015)
                                                                                                                           Monsanto exec sells nearly $500,000 worth of stock: Insider trading for Nov. 10-17 (St. Louis
                                                                                                                           Business Journal Online - Factiva, 11/19/2015)
                                                                                                                           UMED Holdings, Inc. Announces Appointment of Myron J. Goins to Advisory Board (Kuwait News
                                                                                                                           Agency (KUNA) - Factiva, 11/19/2015)
11/20/2015 Fri   5,796,100   $27.23      $0.54 -2.46%    0.40%   -0.56%   -0.14%   -2.32%     -2.02   4.54% *     -$0.66   COLORADO -- PUC allows Viaero, denies CenturyLink interim high-cost support (TR's State
                                                                                                                           NewsWire - Factiva, 11/20/2015)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/20/2015)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                          Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 11/20/2015)
                                                                                                                          Sadif Analytics Analyst Report (Eikon - Manual Entry, 11/20/2015)
                                                                                                                          Infinera and CenturyLink to deliver 1.5 Tb/s of transmission capacity (MarketLine, Company News -
                                                                                                                          Factiva, 11/20/2015 08:23 AM)
11/21/2015 Sat
11/22/2015 Sun
11/23/2015 Mon   4,148,986   $27.31      $0.00   0.29% -0.12%    -0.59%   -0.76%    1.05%       0.9 36.79%       $0.29    Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 11/23/2015)
                                                                                                                          'Pool' Of Buyers Seen Small For Telecom Data Centers (Investor's Business Daily - Factiva,
                                                                                                                          11/23/2015)
                                                                                                                          Real estate roundup (The Columbian - Factiva, 11/23/2015)
                                                                                                                          CenturyLink appoints new board member (MarketLine News and Comment - Factiva, 11/23/2015
                                                                                                                          05:29 AM)
                                                                                                                          CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 11/23/2015 04:30
                                                                                                                          PM)
                                                                                                                          Press Release: CenturyLink to Participate in Analyst Conference (Dow Jones Institutional News -
                                                                                                                          Factiva, 11/23/2015 04:30 PM)
11/24/2015 Tue   3,570,348   $27.23      $0.00 -0.29%    0.12%   0.03%    0.04%    -0.33%     -0.29 77.53%       -$0.09   CenturyLink and Cogent enter into interconnection agreement (Reuters Significant Developments -
                                                                                                                          Factiva, 11/24/2015)
                                                                                                                          CenturyLink URGES LAWMAKERS TO EXTEND BONUS DEPRECIATION (TR Daily - Factiva,
                                                                                                                          11/24/2015)
                                                                                                                          CenturyLink, COGENT INK INTERCONNECTION PACT (TR Daily - Factiva, 11/24/2015)
                                                                                                                          CenturyLink and Cogent enter into interconnection agreement (PR Newswire (U.S.) - Factiva,
                                                                                                                          11/24/2015 07:00 AM)
                                                                                                                          Press Release: CenturyLink and Cogent enter into interconnection agreement (Dow Jones
                                                                                                                          Institutional News - Factiva, 11/24/2015 07:00 AM)
11/25/2015 Wed   2,970,836   $26.98      $0.00 -0.92%    0.00%   -0.17%   -0.26%   -0.66%     -0.57 57.28%       -$0.18   CenturyLink, Cogent strike interconnection deal (SNL Kagan Media & Communications Report -
                                                                                                                          Factiva, 11/25/2015)
                                                                                                                          SOUTH DAKOTA -- Proceedings related to Qwest's PAP closed by commission (TR's State
                                                                                                                          NewsWire - Factiva, 11/25/2015)
                                                                                                                          Trademarks; An Application for the Trademark "CENTRON 50" Has Been Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 11/25/2015)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "Q QWEST
                                                                                                                          CENTER OMAHA" Filed (Telecommunications Weekly - Factiva, 11/25/2015)
                                                                                                                          Trademarks; Trademark Application for "Q.UNIVERSAL COLLECT" Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 11/25/2015)
11/26/2015 Thu
11/27/2015 Fri   1,631,430   $27.06      $0.00   0.30%   0.08%   0.46%    0.35%    -0.05%     -0.04 96.43%       -$0.01   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/27/2015)
11/28/2015 Sat
11/29/2015 Sun
11/30/2015 Mon   4,595,274   $26.93      $0.00 -0.48% -0.46%     0.69%    -0.03%   -0.45%     -0.39 70.04%       -$0.12   Trademarks; Trademark Application for "BROADBAND BY QWEST" Filed by Qwest
                                                                                                                          Communications International (Journal of Engineering - Factiva, 11/30/2015)
                                                                                                                          Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 11/30/2015)
 12/1/2015 Tue   5,543,083   $27.03      $0.00   0.37%   1.08%   -0.28%   0.79%    -0.42%     -0.36 71.84%       -$0.11   MarketLine Analyst Report (Capital IQ - Manual Entry, 12/01/2015)
                                                                                                                          MarketLine Analyst Report (Capital IQ - Manual Entry, 12/01/2015)




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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
12/2/2015 Wed   4,266,607   $26.47      $0.00 -2.07% -1.08%     -0.29%   -1.52%   -0.56%     -0.48 63.46%        -$0.15   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/02/2015)

                                                                                                                          Trademarks; An Application for the Trademark "CENTRON 50" Has Been Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 12/02/2015)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "Q QWEST
                                                                                                                          CENTER OMAHA" Filed (Telecommunications Weekly - Factiva, 12/02/2015)
                                                                                                                          Trademarks; Trademark Application for "Q.UNIVERSAL COLLECT" Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 12/02/2015)
12/3/2015 Thu   6,509,011   $26.46      $0.00 -0.04% -1.43%     -0.09%   -1.75%    1.72%      1.47 14.31%        $0.45    Level 3 Communications Inc at Bank of America Merrill Lynch Leveraged Finance Conference -
                                                                                                                          Final (CQ FD Disclosure - Factiva, 12/03/2015)
                                                                                                                          GlobalData Analyst Report (Eikon - Manual Entry, 12/03/2015)
                                                                                                                          S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 12/03/2015)
                                                                                                                          Telecommunication Companies; Patent Issued for Converged Voice Mail Services (USPTO
                                                                                                                          9197756) (Computer Weekly News - Factiva, 12/03/2015)
                                                                                                                          Telecommunication Companies; Patent Issued for Integrated Magnetic Tablet Stand (USPTO
                                                                                                                          9195263) (Computer Weekly News - Factiva, 12/03/2015)
12/4/2015 Fri   5,513,408   $26.71      $0.00   0.94%   2.05%   1.31%    3.12%    -2.17%     -1.85   6.71%       -$0.57   Argus Research Corporation Analyst Report (Eikon - Manual Entry, 12/04/2015)
                                                                                                                          Argus Research Corporation Analyst Report (Eikon - Manual Entry, 12/04/2015)
                                                                                                                          BUREAU GRANTS MOTION ON CONFIDENTIAL SPECIAL ACCESS DATA (TR Daily -
                                                                                                                          Factiva, 12/04/2015)
                                                                                                                          GlobalData Analyst Report (Capital IQ - Manual Entry, 12/04/2015)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/04/2015)
12/5/2015 Sat
12/6/2015 Sun
12/7/2015 Mon   5,394,426   $27.13      $0.00   1.57% -0.69%    1.00%    -0.08%    1.65%      1.39 16.60%        $0.44    CenturyLink Inc at UBS Global Media and Communications Conference - Final (CQ FD Disclosure -
                                                                                                                          Factiva, 12/07/2015)
                                                                                                                          Verizon's data centers draw interest (The Deal - Factiva, 12/07/2015)
                                                                                                                          CenturyLink says it needs more guidance to measure broadband service performance (New Vision -
                                                                                                                          Factiva, 12/07/2015)
                                                                                                                          CenturyLink WINS EINSTEIN 3 CONTRACT EXPANSION (TR Daily - Factiva, 12/07/2015)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 12/07/2015)
                                                                                                                          UBS Analyst Report (Capital IQ - Manual Entry, 12/07/2015)
                                                                                                                          UBS Analyst Report (Eikon - Manual Entry, 12/07/2015)
                                                                                                                          ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 12/07/2015)
                                                                                                                          CenturyLink awarded DHS EINSTEIN 3 Accelerated service expansion contract (PR Newswire
                                                                                                                          (U.S.) - Factiva, 12/07/2015 09:00 AM)
                                                                                                                          Press Release: CenturyLink awarded DHS EINSTEIN 3 Accelerated service expansion contract
                                                                                                                          (Dow Jones Institutional News - Factiva, 12/07/2015 09:00 AM)
12/8/2015 Tue   6,476,982   $26.54      $0.00 -2.17% -0.64%     -0.42%   -1.13%   -1.05%     -0.88 38.30%        -$0.28   Level 3 Communications Inc at UBS Global Media and Communications Conference - Final (CQ
                                                                                                                          FD Disclosure - Factiva, 12/08/2015)
                                                                                                                          CenturyLink announces DHS EINSTEIN 3 Accelerated service expansion contract award by US
                                                                                                                          DHS (FinancialWire - Factiva, 12/08/2015)




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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                 Events
                                                                                                                           COLORADO -- Viaero seeks interim HCSM support for third quarter (TR's State NewsWire -
                                                                                                                           Factiva, 12/08/2015)
 12/9/2015 Wed   5,283,927   $26.38      $0.00 -0.60% -0.77%    -0.26%   -1.14%    0.54%      0.45 65.55%         $0.14    CenturyLink director C. G. Melville sells 08 December 2015 (People in Business - Factiva,
                                                                                                                           12/09/2015)
                                                                                                                           CenturyLink offers grants for teachers (The Robesonian - Factiva, 12/09/2015)
                                                                                                                           Telecommunication Companies; Patent Issued for Elastomeric Chassis Suspension for Electronic
                                                                                                                           Devices (USPTO 9197274) (Telecommunications Weekly - Factiva, 12/09/2015)
                                                                                                                           Trademarks; An Application for the Trademark "USWEST" Has Been Filed by Qwest
                                                                                                                           Communications International (Telecommunications Weekly - Factiva, 12/09/2015)
12/10/2015 Thu   5,108,870   $25.99      $0.00 -1.48%   0.24%   -0.02%   0.09%    -1.57%     -1.31 19.21%         -$0.41   AT&T, CenturyLink, FRONTIER, VERIZON WANT MORE TIME TO RESPOND TO TARIFF
                                                                                                                           PROBE (TR Daily - Factiva, 12/10/2015)
                                                                                                                           CenturyLink director Roberts Michael James awarded Phantom Stocks 09 December 2015 (People
                                                                                                                           in Business - Factiva, 12/10/2015)
                                                                                                                           Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 12/10/2015)
                                                                                                                           Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 12/10/2015)
                                                                                                                           Height Analytics,LLC Analyst Report (Eikon - Manual Entry, 12/10/2015)
                                                                                                                           CenturyLink joins GSA's Mentor ProtÃƒÂ©gÃƒÂ© Program (PR Newswire (U.S.) - Factiva,
                                                                                                                           12/10/2015 09:00 AM)
                                                                                                                           Press Release: CenturyLink joins GSA's Mentor ProtÃƒÂ©gÃƒÂ© Program (Dow Jones
                                                                                                                           Institutional News - Factiva, 12/10/2015 09:00 AM)
12/11/2015 Fri   5,951,692   $24.91      $0.00 -4.16% -1.93%    -0.13%   -2.24%   -1.92%      -1.6 11.34%         -$0.50   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/11/2015)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 12/11/2015)
                                                                                                                           Novelly buys more than $340,000 worth of World Point stock: Insider trading for Dec. 4-8 (St. Louis
                                                                                                                           Business Journal Online - Factiva, 12/11/2015)
                                                                                                                           Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 12/11/2015)
12/12/2015 Sat                                                                                                             CenturyLink director Laurie A. Siegel sells 11 December 2015 (People in Business - Factiva,
                                                                                                                           12/12/2015)
                                                                                                                           CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 12/12/2015)
12/13/2015 Sun
12/14/2015 Mon   6,389,968   $24.38      $0.00 -2.13%   0.48%   0.84%    1.10%    -3.23%     -2.67   0.87% **     -$0.80   CENTURYLINK REPORTS MULTIPLE TRANSACTIONS BY DIRECTOR SIEGEL (Louisiana)
                                                                                                                           (US Fed News - Factiva, 12/14/2015)
                                                                                                                           CenturyLink wins service expansion contract from US DHS to provide E3A services (MarketLine,
                                                                                                                           Company News - Factiva, 12/14/2015 03:59 AM)
                                                                                                                           Frost & Sullivan honors CenturyLink with Company of the Year Award for the North American
                                                                                                                           Cloud Industry (Canada NewsWire - Factiva, 12/14/2015 04:15 PM)
                                                                                                                           Frost & Sullivan honors CenturyLink with Company of the Year Award for the North American
                                                                                                                           Cloud Industry (PR Newswire (U.S.) - Factiva, 12/14/2015 04:15 PM)
                                                                                                                           Frost & Sullivan honors CenturyLink with Company of the Year Award for the North American
                                                                                                                           Cloud Industry (PR Newswire Asia - Factiva, 12/14/2015 04:15 PM)
                                                                                                                           Frost & Sullivan honors CenturyLink with Company of the Year Award for the North American
                                                                                                                           Cloud Industry (PR Newswire Europe - Factiva, 12/14/2015 04:15 PM)
                                                                                                                           FROST & SULLIVAN HONORS CENTURYLINK WITH COMPANY OF THE YEAR AWARD
                                                                                                                           FOR THE NORTH AMERICAN CLOUD INDUSTRY (Press Association National Newswire -
                                                                                                                           Factiva, 12/14/2015 04:15 PM)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events

                                                                                                                           Press Release: Frost & Sullivan honors CenturyLink with Company of the Year Award for the
                                                                                                                           North American Cloud Industry (Dow Jones Institutional News - Factiva, 12/14/2015 04:15 PM)
12/15/2015 Tue   7,013,139   $25.34      $0.00   3.94%   1.06%   -0.24%   0.73%     3.21%      2.58   1.11% *     $0.78    CenturyLink Urges Lawmakers To Extend Bonus Depreciation (Telecommunications Reports -
                                                                                                                           Factiva, 12/15/2015)
                                                                                                                           Congress May Reinstate Telecom Capex Tax Break (Investor's Business Daily - Factiva, 12/15/2015)

12/16/2015 Wed   6,804,045   $26.12      $0.00   3.08%   1.46%   1.04%    2.42%     0.66%      0.59 55.90%        $0.17    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/16/2015)

                                                                                                                           Telco capex tax break redux? (Investor's Business Daily - Factiva, 12/16/2015)
                                                                                                                           Trademarks; An Application for the Trademark "GET IN THE LOOP" Has Been Filed by Qwest
                                                                                                                           Communications International (Telecommunications Weekly - Factiva, 12/16/2015)
                                                                                                                           Trademarks; Trademark Application for "ENTRA EN ONDA" Filed by Qwest Communications
                                                                                                                           International (Telecommunications Weekly - Factiva, 12/16/2015)
12/17/2015 Thu   4,374,411   $25.40      $0.00 -2.76% -1.49%     0.06%    -1.58%   -1.18%     -1.04 29.83%        -$0.31   CenturyLink Technology Solutions - Business Description (GlobalData Company Profiles - Factiva,
                                                                                                                           12/17/2015)
                                                                                                                           CenturyLink Technology Solutions - Company Locations and Subsidiaries (GlobalData Company
                                                                                                                           Profiles - Factiva, 12/17/2015)
                                                                                                                           CenturyLink Technology Solutions - Company Overview (GlobalData Company Profiles - Factiva,
                                                                                                                           12/17/2015)
                                                                                                                           CenturyLink Technology Solutions - History (GlobalData Company Profiles - Factiva, 12/17/2015)

                                                                                                                           CenturyLink Technology Solutions - Key Employee Biographies (GlobalData Company Profiles -
                                                                                                                           Factiva, 12/17/2015)
                                                                                                                           CenturyLink Technology Solutions - Key Employees (GlobalData Company Profiles - Factiva,
                                                                                                                           12/17/2015)
                                                                                                                           CenturyLink Technology Solutions - Key Facts (GlobalData Company Profiles - Factiva, 12/17/2015)

                                                                                                                           CenturyLink Technology Solutions - Major Products and Services (GlobalData Company Profiles -
                                                                                                                           Factiva, 12/17/2015)
                                                                                                                           CenturyLink Technology Solutions - SWOT Analysis (GlobalData Company Profiles - Factiva,
                                                                                                                           12/17/2015)
                                                                                                                           CenturyLink Technology Solutions - Top Competitors (GlobalData Company Profiles - Factiva,
                                                                                                                           12/17/2015)
                                                                                                                           CenturyLink, Inc. CenturyLink awarded DHS EINSTEIN 3 Accelerated service expansion contract
                                                                                                                           (Computer Weekly News - Factiva, 12/17/2015)
                                                                                                                           CenturyLink, Inc. CenturyLink joins GSA's Mentor Protege Program (Politics & Government Week -
                                                                                                                           Factiva, 12/17/2015)
                                                                                                                           Business briefs, 12-17 (The Courier-Tribune - Factiva, 12/17/2015)
                                                                                                                           CenturyLink director C. G. Melville sells 16 December 2015 (People in Business - Factiva,
                                                                                                                           12/17/2015)
                                                                                                                           CENTURYLINK REPORTS DISPOSITION BY DIRECTOR MELVILLE (Louisiana) (US Fed
                                                                                                                           News - Factiva, 12/17/2015)
                                                                                                                           Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 12/17/2015)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]        [11]       [12]                                                    [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                           Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 12/17/2015)
12/18/2015 Fri   8,752,339   $25.11      $0.00 -1.14% -1.78%     -0.07%   -2.07%    0.93%      0.82 41.25%        $0.24    Centene CEO exercises options for over $5 million worth of stock: Insider trading for Dec. 8-10 (St.
                                                                                                                           Louis Business Journal Online - Factiva, 12/18/2015)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/18/2015)
                                                                                                                           Wells Fargo CEO sells over $1.6 million worth of stock: Insider trading for Dec. 11-15 (St. Louis
                                                                                                                           Business Journal Online - Factiva, 12/18/2015)
                                                                                                                           CenturyLink to Participate in Analyst Conference (PR Newswire (U.S.) - Factiva, 12/18/2015 04:30
                                                                                                                           PM)
12/19/2015 Sat
12/20/2015 Sun
12/21/2015 Mon   5,599,663   $25.16      $0.00   0.20%   0.79%   0.62%    1.33%    -1.13%          -1 31.80%      -$0.28   CenturyLink SEEKS WAIVER OF FCC RULES TO FACILITATE RESTRUCTURING OF ILEC
                                                                                                                           UNITS (TR Daily - Factiva, 12/21/2015)
                                                                                                                           NATIONAL -- CenturyLink seeks waiver to facilitate restructuring of ILEC units (TR's State
                                                                                                                           NewsWire - Factiva, 12/21/2015)
12/22/2015 Tue   5,261,592   $25.18      $0.00   0.08%   0.89%   0.37%    1.18%    -1.10%     -0.97 33.34%        -$0.28
12/23/2015 Wed   4,069,073   $26.02      $0.00   3.34%   1.25%   0.48%    1.65%     1.69%      1.48 14.10%         $0.43   INPUT SOUGHT ON CenturyLink PETITION (TR Daily - Factiva, 12/23/2015)
                                                                                                                           Trademarks; Qwest Communications International's Trademark Application for "ONEFLEX"
                                                                                                                           Filed (Telecommunications Weekly - Factiva, 12/23/2015)
                                                                                                                           Trademarks; Trademark Application for "PROMET" Filed by Qwest Communications
                                                                                                                           International (Telecommunications Weekly - Factiva, 12/23/2015)
                                                                                                                           Synacor Files 8K - Entry Into Definitive Agreement >SYNC (Dow Jones Institutional News - Factiva,
                                                                                                                           12/23/2015 04:17 PM)
12/24/2015 Thu   1,582,890   $25.87      $0.00 -0.58% -0.16%     -0.27%   -0.53%   -0.05%     -0.04 96.59%        -$0.01
12/25/2015 Fri                                                                                                             Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/25/2015)
12/26/2015 Sat
12/27/2015 Sun
12/28/2015 Mon   3,228,909   $25.84      $0.00 -0.12% -0.22%     0.31%    -0.04%   -0.07%     -0.06 94.97%        -$0.02   CenturyLink, Inc. Frost & Sullivan honors CenturyLink with Company of the Year Award for the
                                                                                                                           North American Cloud Industry (Journal of Engineering - Factiva, 12/28/2015)
                                                                                                                           CIOs Say Focus on Customer Is Paramount (Dow Jones Top News & Commentary - Factiva,
                                                                                                                           12/28/2015 08:02 AM)
12/29/2015 Tue   3,457,660   $25.88      $0.00 0.15% 1.08%        0.00%    1.03%   -0.88%     -0.76 44.61%        -$0.23
12/30/2015 Wed   2,772,415   $25.38      $0.00 -1.93% -0.71%     -0.28%   -1.14%   -0.79%     -0.69 49.40%        -$0.20   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/30/2015)

                                                                                                                           Trademarks; Qwest Communications International's Trademark Application for "ONEFLEX"
                                                                                                                           Filed (Telecommunications Weekly - Factiva, 12/30/2015)
                                                                                                                           Trademarks; Trademark Application for "PROMET" Filed by Qwest Communications
                                                                                                                           International (Telecommunications Weekly - Factiva, 12/30/2015)
                                                                                                                           CenturyLink Schedules Fourth Quarter 2015 Earnings Conference Call (PR Newswire (U.S.) -
                                                                                                                           Factiva, 12/30/2015 04:30 PM)
                                                                                                                           Press Release: CenturyLink Schedules Fourth Quarter 2015 Earnings Conference Call (Dow Jones
                                                                                                                           Institutional News - Factiva, 12/30/2015 04:30 PM)
12/31/2015 Thu   3,276,651   $25.16      $0.00 -0.87% -0.94%     -0.35%   -1.47%    0.60%      0.52 60.17%        $0.15    BuySellSignals Research Analyst Report (Eikon - Manual Entry, 12/31/2015)
                                                                                                                           Technology Sector Movers: Broadcom Corp. (BRCM), International Business Machines
                                                                                                                           Corporation (IBM), CenturyLink, Inc. (CTL), Seagate Technology Public Limited Company (STX),
                                                                                                                           Activision Blizzard, Inc. (ATVI) (New Vision - Factiva, 12/31/2015)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events

 1/1/2016 Fri                                                                                                           DSL providers trail cable, FTTH in delivering advertised broadband speeds (New Vision - Factiva,
                                                                                                                        01/01/2016)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/01/2016)
                                                                                                                        Validea Analyst Report (Eikon - Manual Entry, 01/01/2016)
 1/2/2016 Sat                                                                                                           Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 01/02/2016)
 1/3/2016 Sun
 1/4/2016 Mon   4,938,951   $25.11      $0.00 -0.20% -1.51%     0.45%   -1.26%    1.06%      0.92 35.71%       $0.27    In our view: Flipping the Channel (The Columbian - Factiva, 01/04/2016)
 1/5/2016 Tue   4,283,455   $24.99      $0.00 -0.48%    0.20%   0.92%   1.03%    -1.51%     -1.31 19.31%       -$0.38   MarketLine Analyst Report (Capital IQ - Manual Entry, 01/05/2016)
                                                                                                                        MarketLine Analyst Report (Eikon - Manual Entry, 01/05/2016)
 1/6/2016 Wed   4,083,396   $24.72      $0.00 -1.08% -1.28%     0.36%   -1.10%    0.02%      0.02 98.49%       $0.01    CenturyLink Inc at Citi Internet, Media & Telecommunications Conference - Final (CQ FD
                                                                                                                        Disclosure - Factiva, 01/06/2016)
                                                                                                                        Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 01/06/2016)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 01/06/2016)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "800
                                                                                                                        CONNECT" Filed (Telecommunications Weekly - Factiva, 01/06/2016)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 01/06/2016)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/06/2016)
 1/7/2016 Thu   4,902,768   $24.22      $0.00 -2.02% -2.37%     0.34%   -2.27%    0.25%      0.21 83.14%       $0.06    Level 3 Communications Inc at Citi Internet, Media & Telecommunications Conference - Final
                                                                                                                        (CQ FD Disclosure - Factiva, 01/07/2016)
                                                                                                                        Business briefs, 1-7 (The Courier-Tribune - Factiva, 01/07/2016)
                                                                                                                        MONTANA -- CenturyLink to consolidate two ordering, billing systems (TR's State NewsWire -
                                                                                                                        Factiva, 01/07/2016)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/07/2016)
 1/8/2016 Fri   4,337,629   $23.97      $0.00 -1.03% -1.08%     0.29%   -0.98%   -0.06%     -0.05 96.08%       -$0.01   Ex-con, ex-Qwest CEO Joe Nacchio wins $14M lawsuit (Denver Business Journal Online - Factiva,
                                                                                                                        01/08/2016)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/08/2016)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/08/2016)
 1/9/2016 Sat                                                                                                           Obituary - Sally DeLauis Chandler (Bossier Press-Tribune - Factiva, 01/09/2016)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 01/09/2016)
1/10/2016 Sun                                                                                                           MarketLine Analyst Report (Capital IQ - Manual Entry, 01/10/2016)
                                                                                                                        MarketLine Analyst Report (Eikon - Manual Entry, 01/10/2016)
1/11/2016 Mon   4,971,370   $24.12      $0.00   0.63%   0.09%   0.75%   0.71%    -0.08%     -0.07 94.33%       -$0.02   D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 01/11/2016)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 01/11/2016)
                                                                                                                        Former Qwest Communications CEO wins $14.2M verdict against Goldman unit (SNL Financial
                                                                                                                        Services Daily - Factiva, 01/11/2016)
                                                                                                                        Former Qwest Communications CEO wins $14.2M verdict against Goldman unit (SNL Kagan
                                                                                                                        Media & Communications Report - Factiva, 01/11/2016)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/11/2016)
                                                                                                                        (PR) EXPIM selects CenturyLink Cloud platform to support businesses in Israel (PR Newswire
                                                                                                                        (U.S.) - Factiva, 01/11/2016 06:00 AM)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                 Events
                                                                                                                         EXPIM selects CenturyLink Cloud platform to support businesses in Israel (Canada NewsWire -
                                                                                                                         Factiva, 01/11/2016 06:00 AM)
                                                                                                                         EXPIM selects CenturyLink Cloud platform to support businesses in Israel (PR Newswire Asia -
                                                                                                                         Factiva, 01/11/2016 06:00 AM)
                                                                                                                         EXPIM selects CenturyLink Cloud platform to support businesses in Israel (PR Newswire Europe -
                                                                                                                         Factiva, 01/11/2016 06:00 AM)
                                                                                                                         EXPIM SELECTS CENTURYLINK CLOUD PLATFORM TO SUPPORT BUSINESSES IN
                                                                                                                         ISRAEL (Press Association National Newswire - Factiva, 01/11/2016 06:00 AM)
                                                                                                                         Press Release: EXPIM selects CenturyLink Cloud platform to support businesses in Israel (Dow
                                                                                                                         Jones Institutional News - Factiva, 01/11/2016 06:00 AM)
                                                                                                                         Press Release: EXPIM selects CenturyLink Cloud platform to support businesses in Israel (Dow
                                                                                                                         Jones Institutional News - Factiva, 01/11/2016 06:00 AM)
1/12/2016 Tue   6,017,563   $23.40      $0.00 -2.99%   0.78%   -0.83%   -0.13%   -2.86%     -2.54   1.24% *     -$0.69   CenturyLinkÃ¢â‚¬â„¢s Cloud platform selected by EXPIM to support businesses in Israel
                                                                                                                         (FinancialWire - Factiva, 01/12/2016)
                                                                                                                         COLORADO -- Settlement resolving high-cost distributions, competition areas approved (TR's
                                                                                                                         State NewsWire - Factiva, 01/12/2016)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 01/12/2016)
                                                                                                                         EXPIM chooses CenturyLink Cloud platform in Israel (Internet Business News - Factiva, 01/12/2016)

                                                                                                                         EXPIM picks CenturyLink Cloud platform in Israel (M2 EquityBites - Factiva, 01/12/2016)
                                                                                                                         CenturyLink opens retail store for residential and small business customers in Portland (PR
                                                                                                                         Newswire (U.S.) - Factiva, 01/12/2016 01:19 PM)
                                                                                                                         Press Release: CenturyLink opens retail store for residential and small business customers in
                                                                                                                         Portland (Dow Jones Institutional News - Factiva, 01/12/2016 01:19 PM)
1/13/2016 Wed   6,916,639   $23.02      $0.00 -1.62% -2.49%    0.48%    -2.16%    0.54%      0.47 64.04%        $0.13    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 01/13/2016)

                                                                                                                         CenturyLink announces new retail store opening in Portland (FinancialWire - Factiva, 01/13/2016)

                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 01/13/2016)
                                                                                                                         OREGON: Utilities Tax: Portland ULF Not A Privilege Tax (State Tax Review - Factiva, 01/13/2016)

                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "SMARTER
                                                                                                                         PHONES" Filed (Telecommunications Weekly - Factiva, 01/13/2016)
                                                                                                                         (PR) CenturyLink wins 2015 Data Center Excellence Award for operational excellence, innovation
                                                                                                                         and certification achievements (PR Newswire (U.S.) - Factiva, 01/13/2016 09:00 AM)
                                                                                                                         CenturyLink wins 2015 Data Center Excellence Award for operational excellence, innovation and
                                                                                                                         certification achievements (Canada NewsWire - Factiva, 01/13/2016 09:00 AM)
                                                                                                                         CenturyLink wins 2015 Data Center Excellence Award for operational excellence, innovation and
                                                                                                                         certification achievements (PR Newswire Asia - Factiva, 01/13/2016 09:00 AM)
                                                                                                                         CenturyLink wins 2015 Data Center Excellence Award for operational excellence, innovation and
                                                                                                                         certification achievements (PR Newswire Europe - Factiva, 01/13/2016 09:00 AM)
                                                                                                                         CENTURYLINK WINS 2015 DATA CENTER EXCELLENCE AWARD FOR OPERATIONAL
                                                                                                                         EXCELLENCE, INNOVATION AND CERTIFICATION ACHIEVEMENTS (Press Association
                                                                                                                         National Newswire - Factiva, 01/13/2016 09:00 AM)



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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events

                                                                                                                          Press Release: CenturyLink wins 2015 Data Center Excellence Award for operational excellence,
                                                                                                                          innovation and certification achievements (Dow Jones Institutional News - Factiva, 01/13/2016 09:00
                                                                                                                          AM)
1/14/2016 Thu   7,178,695   $23.89      $0.00   3.78%   1.67%   0.58%    2.14%     1.64%      1.42 15.84%        $0.38    Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/14/2016)
1/15/2016 Fri   6,894,063   $23.29      $0.00 -2.51% -2.16%     0.40%    -1.81%   -0.70%     -0.62 53.89%        -$0.17   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/15/2016)
                                                                                                                          Kocialski named PATENT OFFICE CHIEF (The Denver Post - Factiva, 01/15/2016)
1/16/2016 Sat                                                                                                             CenturyLink director C. G. Melville sells 15 January 2016 (People in Business - Factiva, 01/16/2016)

1/17/2016 Sun
1/18/2016 Mon                                                                                                             Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/18/2016)
1/19/2016 Tue   4,501,110   $23.22      $0.00 -0.30%    0.05%   1.20%    1.27%    -1.57%     -1.38 17.00%        -$0.36   CONSUMERS UNION URGES BABY BELLS TO ENABLE ROBOCALL-FILTERING TOOL
                                                                                                                          (TR Daily - Factiva, 01/19/2016)
                                                                                                                          CenturyLink ends call center operations in Sioux City (Sioux City Journal - Factiva, 01/19/2016)
1/20/2016 Wed   8,295,865   $22.24      $0.00 -4.22% -1.15%     -0.73%   -2.09%   -2.14%     -1.87   6.44%       -$0.50   Entergy board includes more women than most in S&P 500 (The Advocate - Factiva, 01/20/2016)
                                                                                                                          CenturyLink closes Sioux City call center (The Newton Daily News - Factiva, 01/20/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 01/20/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 01/20/2016)
                                                                                                                          Trademarks; Trademark Application for "CHARGE GUARD" Filed by Qwest Communications
                                                                                                                          International (Telecommunications Weekly - Factiva, 01/20/2016)
                                                                                                                          WISeKey, CenturyLink INK IoT COLLABORATION PACT (TR Daily - Factiva, 01/20/2016)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/20/2016)
                                                                                                                          Press Release: WISeKey and CenturyLink Sign Collaboration Agreement to Explore Analytics
                                                                                                                          Cybersecurity Solutions for Internet of Things Providers (Dow Jones Institutional News - Factiva,
                                                                                                                          01/20/2016 06:00 AM)
                                                                                                                          WISeKey and CenturyLink Sign Collaboration Agreement to Explore Analytics Cybersecurity
                                                                                                                          Solutions for Internet of Things Providers (Business Wire - Factiva, 01/20/2016 06:00 AM)
                                                                                                                          CenturyLink closes Sioux City call center (Associated Press Newswires - Factiva, 01/20/2016 08:46
                                                                                                                          AM)
                                                                                                                          CenturyLink announces global premium supplier partnership agreement with SAP for SAP
                                                                                                                          HANA(R) Enterprise Cloud service (PR Newswire (U.S.) - Factiva, 01/20/2016 09:00 AM)
                                                                                                                          CenturyLink announces global premium supplier partnership agreement with SAP for SAP
                                                                                                                          HANAÃ‚Â® Enterprise Cloud service (Canada NewsWire - Factiva, 01/20/2016 09:00 AM)
                                                                                                                          CenturyLink announces global premium supplier partnership agreement with SAP for SAP
                                                                                                                          HANAÃ‚Â® Enterprise Cloud service (PR Newswire Asia - Factiva, 01/20/2016 09:00 AM)
                                                                                                                          CenturyLink announces global premium supplier partnership agreement with SAP for SAP
                                                                                                                          HANAÃ‚Â® Enterprise Cloud service (PR Newswire Europe - Factiva, 01/20/2016 09:00 AM)
                                                                                                                          CENTURYLINK ANNOUNCES GLOBAL PREMIUM SUPPLIER PARTNERSHIP
                                                                                                                          AGREEMENT WITH SAP FOR SAP HANAÃ‚Â® ENTERPRISE CLOUD SERVICE (Press
                                                                                                                          Association National Newswire - Factiva, 01/20/2016 09:00 AM)
                                                                                                                          Press Release: CenturyLink announces global premium supplier partnership agreement with SAP
                                                                                                                          for SAP HANA(R) Enterprise Cloud service (Dow Jones Institutional News - Factiva, 01/20/2016
                                                                                                                          09:00 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]       [11]        [12]                                                     [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                   Events
                                                                                                                          Press Release: CenturyLink announces global premium supplier partnership agreement with SAP
                                                                                                                          for SAP HANAÃ‚Â® Enterprise Cloud service (Dow Jones Institutional News - Factiva, 01/20/2016
                                                                                                                          09:00 AM)
1/21/2016 Thu   10,569,765   $22.62      $0.00   1.71%   0.52%   2.02%   2.68%    -0.97%     -0.84 40.30%        -$0.22   CenturyLink signs global premium supplier partnership agreement with SAP for SAP HANA
                                                                                                                          Enterprise Cloud service (FinancialWire - Factiva, 01/21/2016)
                                                                                                                          CenturyLink signs global premium supplier partnership agreement with SAP for SAP HANA
                                                                                                                          Enterprise Cloud service (Worldwide Computer Products News - Factiva, 01/21/2016)
                                                                                                                          CSCC OFFICERS (TR Daily - Factiva, 01/21/2016)
                                                                                                                          Panera, Caleres executives sell shares: Insider trading for Jan. 6-19 (St. Louis Business Journal
                                                                                                                          Online - Factiva, 01/21/2016)
                                                                                                                          United States : CenturyLink becomes global premium supplier for SAP HANA Enterprise Cloud
                                                                                                                          (Jpost.com (The Jerusalem Post online edition) - Factiva, 01/21/2016)
1/22/2016 Fri    6,316,063   $23.80      $0.00   5.22%   2.03%   0.96%   2.97%     2.24%      1.94   5.47%       $0.51    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/22/2016)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                          HOSTING...CHOICE-DRIVEN SOLUTIONS" Filed (Investment Weekly News - Factiva,
                                                                                                                          01/22/2016)
                                                                                                                          United States : CenturyLink, WISeKey to provide cybersecurity services for IoT vendors
                                                                                                                          (Investing.com - Factiva, 01/22/2016)
1/23/2016 Sat                                                                                                             Morningstar Inc. Analyst Report (Eikon - Manual Entry, 01/23/2016)
1/24/2016 Sun
1/25/2016 Mon    7,626,686   $23.76      $0.00 -0.17% -1.56%     0.76%   -0.95%    0.78%      0.67 50.57%        $0.19    CenturyLink Inc agrees to sell debt securities (Reuters Significant Developments - Factiva,
                                                                                                                          01/25/2016)
                                                                                                                          Moody's rates Qwest Corp. new notes Baa3 (Moody's Investors Service Press Release - Factiva,
                                                                                                                          01/25/2016)
                                                                                                                          CenturyLink unit to sell $235M in notes (SNL Financial Extra - Factiva, 01/25/2016)
                                                                                                                          CenturyLinkÃ¢â‚¬â„¢s QWEST UNIT SELLING $235M OF BONDS (TR Daily - Factiva,
                                                                                                                          01/25/2016)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 01/25/2016)
                                                                                                                          CenturyLink signs global premium supplier partnership agreement with SAP (MarketLine,
                                                                                                                          Company News - Factiva, 01/25/2016 04:22 AM)
                                                                                                                          *S&P Rates Qwest Corp.'s Proposed Sr Notes 'BBB-' (Recovery: 1) (Dow Jones Institutional News -
                                                                                                                          Factiva, 01/25/2016 02:12 PM)
                                                                                                                          *Fitch Rates Qwest Corp.'s Senior Unsecured Note Offering 'BBB-'; Outlook Stable (Dow Jones
                                                                                                                          Institutional News - Factiva, 01/25/2016 02:42 PM)
                                                                                                                          Fitch Rates Qwest Corp.'s Senior Unsecured Note Offering 'BBB-'; Outlook Stable (Reuters News -
                                                                                                                          Factiva, 01/25/2016 02:42 PM)
                                                                                                                          Fitch Rates Qwest Corp.'s Senior Unsecured Note Offering 'BBB-'; Outlook Stable (Business Wire -
                                                                                                                          Factiva, 01/25/2016 02:48 PM)
                                                                                                                          Qwest Corporation Agrees To Sell Debt Securities (PR Newswire (U.S.) - Factiva, 01/25/2016 04:21
                                                                                                                          PM)
                                                                                                                          Press Release: Qwest Corporation Agrees To Sell Debt Securities (Dow Jones Institutional News -
                                                                                                                          Factiva, 01/25/2016 04:21 PM)
                                                                                                                          CenturyLink announces changes to board of directors (PR Newswire - Factiva, 01/25/2016 05:07 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        Press Release: CenturyLink announces changes to board of directors (Dow Jones Institutional News -
                                                                                                                        Factiva, 01/25/2016 05:07 PM)
                                                                                                                        CenturyLink Files 8K - Changes Exec Mgmt >CTL (Dow Jones Institutional News - Factiva,
                                                                                                                        01/25/2016 05:16 PM)
                                                                                                                        CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 01/25/2016
                                                                                                                        05:26 PM)
1/26/2016 Tue   5,288,742   $24.56      $0.00   3.37%   1.41%   0.94%   2.38%     0.99%      0.85 39.81%       $0.23    Bad Ã¢â‚¬ËœchemistryÃ¢â‚¬â„¢ leads to board shake-up at CenturyLink (St. Louis Business
                                                                                                                        Journal Online - Factiva, 01/26/2016)
                                                                                                                        BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 01/26/2016)
                                                                                                                        CenturyLink announces board changes (FinancialWire - Factiva, 01/26/2016)
                                                                                                                        CenturyLink BOARD (TR Daily - Factiva, 01/26/2016)
                                                                                                                        CenturyLink board member ousted over bad 'chemistry' (Denver Business Journal Online - Factiva,
                                                                                                                        01/26/2016)
                                                                                                                        CenturyLinkÃ¢â‚¬â„¢s Qwest subsidiary to sell USD235m in debt securities (FinancialWire -
                                                                                                                        Factiva, 01/26/2016)
                                                                                                                        CenturyLink's Qwest offers USD 235 mln worth of notes (Telecompaper Americas - Factiva,
                                                                                                                        01/26/2016)
                                                                                                                        Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 01/26/2016)
                                                                                                                        (PR) CenturyLink launches new Relational DB Service on CenturyLink Cloud platform (PR
                                                                                                                        Newswire (U.S.) - Factiva, 01/26/2016 08:59 AM)
                                                                                                                        CenturyLink launches new Relational DB Service on CenturyLink Cloud platform (PR Newswire
                                                                                                                        Europe - Factiva, 01/26/2016 08:59 AM)
                                                                                                                        CENTURYLINK LAUNCHES NEW RELATIONAL DB SERVICE ON CENTURYLINK CLOUD
                                                                                                                        PLATFORM (Press Association National Newswire - Factiva, 01/26/2016 08:59 AM)
                                                                                                                        CenturyLink launches new Relational DB Service on CenturyLink Cloud platform; MySQL-
                                                                                                                        compatible database-as-a-service powered by high-performance Hyperscale cloud service (Canada
                                                                                                                        NewsWire - Factiva, 01/26/2016 08:59 AM)
                                                                                                                        CenturyLink launches new Relational DB Service on CenturyLink Cloud platform; MySQL-
                                                                                                                        compatible database-as-a-service powered by high-performance Hyperscale cloud service (PR
                                                                                                                        Newswire Asia - Factiva, 01/26/2016 08:59 AM)
                                                                                                                        Press Release: CenturyLink launches new Relational DB Service on CenturyLink Cloud platform
                                                                                                                        (Dow Jones Institutional News - Factiva, 01/26/2016 08:59 AM)
1/27/2016 Wed   6,426,987   $24.63      $0.00   0.29% -1.08%    1.56%   0.49%    -0.21%     -0.18 85.92%       -$0.05   CenturyLink, Inc . CenturyLink opens retail store for residential and small business customers in
                                                                                                                        Portland (Telecommunications Weekly - Factiva, 01/27/2016)
                                                                                                                        Moody's: Wireline telcos will slowly decline without higher capital investment (Moody's Investors
                                                                                                                        Service Press Release - Factiva, 01/27/2016)
                                                                                                                        Qwest Corporation to sell debt securities due 2056 (Internet Business News - Factiva, 01/27/2016)

                                                                                                                        Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 01/27/2016)

                                                                                                                        CenturyLink announces changes to board of directors (Internet Business News - Factiva, 01/27/2016)

                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/27/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         WISeKey and CenturyLink sign collaboration agreement for IoT providers (MarketLine, Company
                                                                                                                         News - Factiva, 01/27/2016 01:03 AM)
                                                                                                                         CenturyLink wins DISA network fair opportunity awards (PR Newswire (U.S.) - Factiva, 01/27/2016
                                                                                                                         09:00 AM)
                                                                                                                         Press Release: CenturyLink wins DISA network fair opportunity awards (Dow Jones Institutional
                                                                                                                         News - Factiva, 01/27/2016 09:00 AM)
1/28/2016 Thu   4,887,040   $24.82      $0.00   0.77%   0.56%   -0.33%   0.08%     0.69%       0.6 55.21%       $0.17    Qwest Communications International Inc. Patent Issued for Streaming of Telepresence Video
                                                                                                                         Content (USPTO 9241130) (Computer Weekly News - Factiva, 01/28/2016)
1/29/2016 Fri   4,860,059   $25.42      $0.00   2.42%   2.48%   0.11%    2.60%    -0.19%     -0.16 87.30%       -$0.05   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/29/2016)
                                                                                                                         CenturyLink appoints new board member (MarketLine News and Comment - Factiva, 01/29/2016
                                                                                                                         03:30 AM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 01/29/2016
                                                                                                                         12:23 PM)
                                                                                                                         CenturyLink announces availability of Relational Database Service (MarketLine, Company News -
                                                                                                                         Factiva, 01/29/2016 01:12 PM)
1/30/2016 Sat
1/31/2016 Sun
 2/1/2016 Mon   4,773,288   $25.90      $0.00   1.89% -0.04%    0.92%    0.85%     1.03%      0.89 37.36%       $0.26    CenturyLink unit completes $235M debt offering (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 02/01/2016)
                                                                                                                         WISeKey; WISeKey and CenturyLink Sign Collaboration Agreement to Explore Analytics
                                                                                                                         Cybersecurity Solutions for Internet of Things Providers (Journal of Engineering - Factiva,
                                                                                                                         02/01/2016)
                                                                                                                         CenturyLink expands Prism(R) TV into St. Paul and 19 nearby cities (PR Newswire (U.S.) - Factiva,
                                                                                                                         02/01/2016 08:00 AM)
                                                                                                                         Press Release: CenturyLink expands Prism(R) TV into St. Paul and 19 nearby cities (Dow Jones
                                                                                                                         Institutional News - Factiva, 02/01/2016 08:00 AM)
 2/2/2016 Tue   4,314,759   $25.21      $0.00 -2.66% -1.87%     0.19%    -1.87%   -0.80%     -0.69 48.93%       -$0.21   CenturyLink to offer Prism TV service in St Paul and 19 nearby cities (FinancialWire - Factiva,
                                                                                                                         02/02/2016)
                                                                                                                         Cowen and Company Analyst Report (Eikon - Manual Entry, 02/02/2016)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 02/02/2016)
 2/3/2016 Wed   4,881,086   $26.08      $0.00   3.45%   0.53%    1.25%    1.84%    1.61%      1.41 16.10%       $0.41
 2/4/2016 Thu   5,722,189   $26.54      $0.00   1.76%   0.17%   -0.28%   -0.31%    2.08%      1.83 7.03%        $0.54    CKBR ATTORNEY (TR Daily - Factiva, 02/04/2016)
                                                                                                                         Event Brief of Q4 2015 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                                         Factiva, 02/04/2016)
                                                                                                                         Q4 2015 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 02/04/2016)

                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 02/04/2016)
 2/5/2016 Fri   8,633,755   $26.61      $0.00   0.26% -1.84%    1.98%    0.31%    -0.04%     -0.04 96.90%       -$0.01   CenturyLink, Inc. Qwest Corporation Agrees To Sell Debt Securities (Investment Weekly News -
                                                                                                                         Factiva, 02/05/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/05/2016)
                                                                                                                         MarketLine Analyst Report (Capital IQ - Manual Entry, 02/05/2016)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 02/05/2016)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 02/05/2016)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 02/05/2016)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                     [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                   Events

                                                                                                                          CenturyLink unveils Prism TV service in select portions of Saint Paul (MarketLine, Company News -
                                                                                                                          Factiva, 02/05/2016 01:09 AM)
 2/6/2016 Sat
 2/7/2016 Sun
 2/8/2016 Mon    9,290,128   $25.63      $0.00 -3.68% -1.41%    0.66%    -0.79%   -2.89%     -2.52   1.30% *     -$0.77   CenturyLink, Inc . CenturyLink announces changes to board of directors (Journal of Engineering -
                                                                                                                          Factiva, 02/08/2016)
                                                                                                                          D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 02/08/2016)
                                                                                                                          D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 02/08/2016)
                                                                                                                          Fund to pump millions into faster broadband connections in rural Wisconsin (Jpost.com (The
                                                                                                                          Jerusalem Post online edition) - Factiva, 02/08/2016)
                                                                                                                          Property-tax bills in county total $437.7M Charges rise for real estate, business, drop for cars,
                                                                                                                          boats (The Arkansas Democrat Gazette - Factiva, 02/08/2016)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 02/08/2016)
                                                                                                                          CenturyLink launches Houston metro fiber network for business customers (PR Newswire (U.S.) -
                                                                                                                          Factiva, 02/08/2016 10:00 AM)
                                                                                                                          Press Release: CenturyLink launches Houston metro fiber network for business customers (Dow
                                                                                                                          Jones Institutional News - Factiva, 02/08/2016 10:00 AM)
                                                                                                                          Over $570M to be used for faster Internet in rural Wisconsin (Associated Press Newswires - Factiva,
                                                                                                                          02/08/2016 03:27 PM)
 2/9/2016 Tue   10,292,095   $24.81      $0.00 -3.20% -0.05%    -1.02%   -1.36%   -1.84%     -1.57 11.97%        -$0.47   CenturyLink, Inc. CenturyLink wins DISA network fair opportunity awards (Information
                                                                                                                          Technology Newsweekly - Factiva, 02/09/2016)
                                                                                                                          $570M to help rural Wis. broadband (St. Paul Pioneer Press - Factiva, 02/09/2016)
                                                                                                                          CenturyLink announces launch of Houston metro fibre network for business customers
                                                                                                                          (FinancialWire - Factiva, 02/09/2016)
                                                                                                                          CenturyLink announces launch of Houston metro fibre network for business customers (Worldwide
                                                                                                                          Computer Products News - Factiva, 02/09/2016)
                                                                                                                          Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 02/09/2016)
                                                                                                                          Jefferies LLC Analyst Report (Eikon - Manual Entry, 02/09/2016)
                                                                                                                          STATE TO GET $570M FOR BROADBAND FROM FCC (The Capital Times & Wisconsin State
                                                                                                                          Journal - Factiva, 02/09/2016)
                                                                                                                          Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 02/09/2016)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 02/09/2016)
2/10/2016 Wed    7,047,261   $24.59      $0.00 -0.89%   0.02%   -0.40%   -0.61%   -0.28%     -0.23 81.58%        -$0.07   AT&T, CenturyLink, Frontier get FCC funds for rural broadband in Wisconsin (SNL Kagan Media
                                                                                                                          & Communications Report - Factiva, 02/10/2016)
                                                                                                                          CenturyLink, Inc. Reports 57% Increase In Q4 Earnings (RTT News - Factiva, 02/10/2016)
                                                                                                                          Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 02/10/2016)

                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/10/2016)
                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/10/2016)
                                                                                                                          CENTURYLINK (Investor's Business Daily - Factiva, 02/10/2016)
                                                                                                                          CenturyLink Issues 2016 Guidance (RTT News - Factiva, 02/10/2016)




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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                           CenturyLink REPORTS SMALL QUARTERLY REVENUE GROWTH (TR Daily - Factiva,
                                                                                                           02/10/2016)
                                                                                                           Corrections & Amplifications (The Wall Street Journal - Factiva, 02/10/2016)
                                                                                                           D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 02/10/2016)
                                                                                                           D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 02/10/2016)
                                                                                                           Event Brief of Q4 2015 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                           02/10/2016)
                                                                                                           GlobalData Analyst Report (Capital IQ - Manual Entry, 02/10/2016)
                                                                                                           MarketLine Analyst Report (Capital IQ - Manual Entry, 02/10/2016)
                                                                                                           Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 02/10/2016)
                                                                                                           Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 02/10/2016)
                                                                                                           Q4 2015 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 02/10/2016)
                                                                                                           Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 02/10/2016)
                                                                                                           Telecommunication Companies; Patent Issued for End-To-End Application Tracking Framework
                                                                                                           (USPTO 9244749) (Telecommunications Weekly - Factiva, 02/10/2016)
                                                                                                           Telephone Communications; Qwest Corp. Files SEC Form 424B5, Prospectus [Rule 424(B)(5)]
                                                                                                           (Jan. 25, 2016) (Telecommunications Weekly - Factiva, 02/10/2016)
                                                                                                           Telephone Communications; Qwest Corp. Files SEC Form 424B5, Prospectus [Rule 424(B)(5)]
                                                                                                           (Jan. 26, 2016) (Telecommunications Weekly - Factiva, 02/10/2016)
                                                                                                           Telephone Communications; Qwest Corp. Files SEC Form FWP, Filing Under Securities Act Rules
                                                                                                           163/433 of Free Writing Prospectuses (Jan. 25, 2016) (Telecommunications Weekly - Factiva,
                                                                                                           02/10/2016)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 02/10/2016)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 02/10/2016)
                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 02/10/2016)
                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 02/10/2016)
                                                                                                           Analyst Estimates for U.S. Earnings Wednesday (Dow Jones Institutional News - Factiva, 02/10/2016
                                                                                                           05:55 AM)
                                                                                                           *CenturyLink 4Q Rev $4.48B >CTL (Dow Jones Institutional News - Factiva, 02/10/2016 04:19 PM)

                                                                                                           CenturyLink Reports Fourth Quarter And Full-Year 2015 Results (PR Newswire - Factiva,
                                                                                                           02/10/2016 04:19 PM)
                                                                                                           CenturyLink appoints two top executives (PR Newswire - Factiva, 02/10/2016 04:26 PM)
                                                                                                           Press Release: CenturyLink appoints two top executives (Dow Jones Institutional News - Factiva,
                                                                                                           02/10/2016 04:26 PM)
                                                                                                           CenturyLink Shares Rise as Profit Guidance Tops Expectations (Dow Jones Institutional News -
                                                                                                           Factiva, 02/10/2016 04:53 PM)
                                                                                                           CenturyLink Shares Rise as Profit Guidance Tops Expectations (Dow Jones Institutional News -
                                                                                                           Factiva, 02/10/2016 05:08 PM)
                                                                                                           Corrections & Amplifications (The Wall Street Journal Online - Factiva, 02/10/2016 11:20 PM)
                                                                                                           Centurylink's CEO Glen Post on Q4 2015 Results -- Earnings Call Transcript >CTL (Dow Jones
                                                                                                           Institutional News - Factiva, 02/10/2016 11:31 PM)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]         [12]                                                   [13]
                                                              Excess                                             Abnormal
                                                      Market Industry Predicted Abnormal                           Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                 Events
2/11/2016 Thu   15,041,048   $27.29      $0.00 10.98% -1.21%     0.06%    -1.38%   12.36%    10.49    0.00% **     $3.04    Barclays Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            Barclays Analyst Report (Eikon - Manual Entry, 02/11/2016)
                                                                                                                            BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            CenturyLink announces two senior executive appointments (FinancialWire - Factiva, 02/11/2016)
                                                                                                                            CenturyLink Appoints Two New Execs (Kuwait News Agency (KUNA) - Factiva, 02/11/2016)
                                                                                                                            CenturyLink appoints two top executives (Kuwait News Agency (KUNA) - Factiva, 02/11/2016)
                                                                                                                            CenturyLink names new marketing chief, sales exec (SNL Kagan Media & Communications Report -
                                                                                                                            Factiva, 02/11/2016)
                                                                                                                            CenturyLink posts GAAP net income of USD878m in full year 2015 (FinancialWire - Factiva,
                                                                                                                            02/11/2016)
                                                                                                                            CEO: CenturyLink in talks for possible data center sale amid focus on core business (SNL Financial
                                                                                                                            Extra - Factiva, 02/11/2016)
                                                                                                                            CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            CFRA Equity Research Analyst Report (Eikon - Manual Entry, 02/11/2016)
                                                                                                                            Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            Cowen and Company Analyst Report (Eikon - Manual Entry, 02/11/2016)
                                                                                                                            Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            Jefferies LLC Analyst Report (Eikon - Manual Entry, 02/11/2016)
                                                                                                                            JP Morgan Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            JP Morgan Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            JP Morgan Analyst Report (Eikon - Manual Entry, 02/11/2016)
                                                                                                                            Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            Morgan Stanley Analyst Report (Eikon - Manual Entry, 02/11/2016)
                                                                                                                            Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/11/2016)
                                                                                                                            Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/11/2016)
                                                                                                                            Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/11/2016)
                                                                                                                            Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 02/11/2016)
2/12/2016 Fri   10,674,957   $28.61      $0.00   4.84%   1.96%   -0.22%   1.65%     3.18%      2.69   0.82% **     $0.87    Book 87% Winners Trading Telecom: T, VZ, FTR and CTL (ACCESSWIRE - Factiva, 02/12/2016)

                                                                                                                            CenturyLink 2015 revenues dip YoY (Internet Business News - Factiva, 02/12/2016)
                                                                                                                            CenturyLink attracts potential buyers for data centres (Telecompaper Americas - Factiva,
                                                                                                                            02/12/2016)
                                                                                                                            CenturyLink Makes Relational Database Service Available In the Cloud (Information Management -
                                                                                                                            Factiva, 02/12/2016)
                                                                                                                            Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/12/2016)
                                                                                                                            RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 02/12/2016)
                                                                                                                            RBC Capital Markets Analyst Report (Eikon - Manual Entry, 02/12/2016)
                                                                                                                            Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 02/12/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
                                                                                                                          CenturyLink announces management changes (MarketLine News and Comment - Factiva, 02/12/2016
                                                                                                                          04:34 AM)
                                                                                                                          CenturyLink unveils 1Gbps service for select Houston-area business customers (MarketLine,
                                                                                                                          Company News - Factiva, 02/12/2016 06:22 AM)
2/13/2016 Sat
2/14/2016 Sun
2/15/2016 Mon                                                                                                             Contract Award: Qwest Government Services Wins Federal Contract for "PRI-DID Circuit Line
                                                                                                                          Telecommunications Infrastructure" (US Fed News - Factiva, 02/15/2016)
                                                                                                                          Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 02/15/2016)
                                                                                                                          Sadif Analytics Analyst Report (Eikon - Manual Entry, 02/15/2016)
2/16/2016 Tue   5,918,759   $28.92      $0.00   1.08%   1.69%   -0.67%   0.97%     0.12%       0.1 92.34%        $0.03    BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/16/2016)
                                                                                                                          CenturyLink Q4 net income increases (MarketLine News and Comment - Factiva, 02/16/2016 04:36
                                                                                                                          AM)
                                                                                                                          CenturyLink launches government cloud product (PR Newswire (U.S.) - Factiva, 02/16/2016 09:00
                                                                                                                          AM)
2/17/2016 Wed   7,100,608   $29.73      $0.00   2.80%   1.66%   -0.91%   0.67%     2.13%      1.75   8.26%       $0.62    APT makes bid for digital convergence KEEPING THE EDGE:Asia-Pacific Telecom cannot afford
                                                                                                                          to stay idle while other major telecom companies operate digital convergence services, the
                                                                                                                          companys chairman said (Taipei Times - Factiva, 02/17/2016)
                                                                                                                          Liberty Interactive unit reveals semiannual payment on debentures (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 02/17/2016)
                                                                                                                          Trademarks; An Application for the Trademark "YOU SERVE THE NATION. WE SERVE
                                                                                                                          YOU." Has Been Filed by Qwest Communications International (Telecommunications Weekly -
                                                                                                                          Factiva, 02/17/2016)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "GET QWEST.
                                                                                                                          GET NIMBLE." Filed (Telecommunications Weekly - Factiva, 02/17/2016)
2/18/2016 Thu   8,243,833   $30.32      $0.00   1.98% -0.46%    1.32%    0.82%     1.17%      0.95 34.41%        $0.35    Olin executives purchased more than $700,000 worth of stock: Insider trading for Feb. 9-16 (St.
                                                                                                                          Louis Business Journal Online - Factiva, 02/18/2016)
2/19/2016 Fri   6,510,894   $29.73      $0.00 -1.95%    0.01%   -0.68%   -0.87%   -1.08%     -0.87 38.56%        -$0.33   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/19/2016)
2/20/2016 Sat                                                                                                             CenturyLink executive vice president-network services Maxine L. Moreau sells 19 February 2016
                                                                                                                          (People in Business - Factiva, 02/20/2016)
2/21/2016 Sun
2/22/2016 Mon   5,476,039   $29.99      $0.00   0.87%   1.45%   -0.28%   1.25%    -0.37%     -0.31 76.08%        -$0.11   CenturyLink, Inc. CenturyLink launches Houston metro fiber network for business customers
                                                                                                                          (Journal of Engineering - Factiva, 02/22/2016)
                                                                                                                          WASHINGTON UTC FINES CenturyLink $2.85M FOR APRIL 2014 911 OUTAGE (TR Daily -
                                                                                                                          Factiva, 02/22/2016)
2/23/2016 Tue   6,814,060   $29.25      $0.00 -2.47% -1.24%     0.41%    -1.09%   -1.38%     -1.13 25.88%        -$0.41   CenturyLink, Inc . CenturyLink appoints two top executives (Information Technology Newsweekly -
                                                                                                                          Factiva, 02/23/2016)
                                                                                                                          Verizon will purchase fiber-optic network (The Denver Post - Factiva, 02/23/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/23/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/23/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/23/2016)
                                                                                                                          CenturyLink adds government cloud solution to hybrid IT services portfolio (MarketLine, Company
                                                                                                                          News - Factiva, 02/23/2016 02:15 AM)




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                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink Declares Quarterly Cash Dividend (PR Newswire (U.S.) - Factiva, 02/23/2016 05:05
                                                                                                                          PM)
                                                                                                                          Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                          Factiva, 02/23/2016 05:05 PM)
2/24/2016 Wed   7,120,802   $30.01      $0.00   2.60%   0.45%   0.48%    0.96%     1.64%      1.35 18.11%        $0.48    T-Mobile Seen With Ã¢â‚¬ËœStrategic AppealÃ¢â‚¬â„¢ And AT&T Best Positioning (Investor's
                                                                                                                          Business Daily - Factiva, 02/24/2016)
                                                                                                                          Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 02/24/2016)

                                                                                                                          CenturyLinkÃ¢â‚¬â„¢s board declares USD0.54 per share quarterly cash dividend (FinancialWire -
                                                                                                                          Factiva, 02/24/2016)
                                                                                                                          Trademarks; An Application for the Trademark "TELECHOICE" Has Been Filed by Qwest
                                                                                                                          Communications International (Telecommunications Weekly - Factiva, 02/24/2016)
                                                                                                                          Trademarks; Qwest Communications International's Trademark Application for "U.S. SOUTH
                                                                                                                          ONLINE" Filed (Telecommunications Weekly - Factiva, 02/24/2016)
                                                                                                                          CenturyLink to Participate in Analyst Conferences (PR Newswire (U.S.) - Factiva, 02/24/2016 04:20
                                                                                                                          PM)
                                                                                                                          Press Release: CenturyLink to Participate in Analyst Conferences (Dow Jones Institutional News -
                                                                                                                          Factiva, 02/24/2016 04:22 PM)
2/25/2016 Thu   4,701,352   $30.41      $0.00   1.33%   1.16%   -0.16%   1.05%     0.29%      0.23 81.69%        $0.09    CenturyLink, Inc. CenturyLink launches government cloud product (Politics & Government Week -
                                                                                                                          Factiva, 02/25/2016)
                                                                                                                          CenturyLink announces USD0.54 quarterly dividend (Internet Business News - Factiva, 02/25/2016)

                                                                                                                          Deutsche Bank analyst starts coverage on 10 US telecom companies (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 02/25/2016)
                                                                                                                          Olin CEO purchases nearly $1 million worth of stock: Insider trading for Feb. 16-22 (St. Louis
                                                                                                                          Business Journal Online - Factiva, 02/25/2016)
                                                                                                                          Telecommunication Companies; Patent Issued for Providing Enhanced Wireline Services (USPTO
                                                                                                                          9264871) (Computer Weekly News - Factiva, 02/25/2016)
                                                                                                                          UMB exec named chairman of Colorado Black Chamber of Commerce (Denver Business Journal
                                                                                                                          Online - Factiva, 02/25/2016)
                                                                                                                          (PR) CenturyLink launches enhanced Managed Security Services Suite to help organizations detect,
                                                                                                                          prevent and respond to cyberattacks (PR Newswire (U.S.) - Factiva, 02/25/2016 08:59 AM)
                                                                                                                          CenturyLink launches enhanced Managed Security Services Suite to help organizations detect,
                                                                                                                          prevent and respond to cyberattacks (Canada NewsWire - Factiva, 02/25/2016 08:59 AM)
                                                                                                                          Press Release: CenturyLink launches enhanced Managed Security Services Suite to help
                                                                                                                          organizations detect, prevent and respond to cyberattacks (Dow Jones Institutional News - Factiva,
                                                                                                                          02/25/2016 08:59 AM)
                                                                                                                          Press Release: CenturyLink launches enhanced Managed Security Services Suite to help
                                                                                                                          organizations detect, prevent and respond to cyberattacks (Dow Jones Institutional News - Factiva,
                                                                                                                          02/25/2016 08:59 AM)
2/26/2016 Fri   4,829,897   $30.17      $0.00 -0.79% -0.18%     -0.17%   -0.55%   -0.24%     -0.19 84.71%        -$0.07   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/26/2016)
2/27/2016 Sat
2/28/2016 Sun
2/29/2016 Mon   6,387,755   $30.59      $0.00   1.39% -0.80%    0.05%    -1.02%    2.42%      1.99   4.94% *     $0.73    INPUT SOUGHT ON EXCHANGE TRANSFER IN SOUTH DAKOTA (TR Daily - Factiva,
                                                                                                                          02/29/2016)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                        CenturyLink secures GSA Networx contract extension (PR Newswire (U.S.) - Factiva, 02/29/2016
                                                                                                                        09:00 AM)
                                                                                                                        Press Release: CenturyLink secures GSA Networx contract extension (Dow Jones Institutional News -
                                                                                                                        Factiva, 02/29/2016 09:00 AM)
                                                                                                                        CenturyLink enhances managed security services suite (MarketLine, Company News - Factiva,
                                                                                                                        02/29/2016 12:29 PM)
                                                                                                                        CenturyLink Files 8K - Changes To Articles >CTL (Dow Jones Institutional News - Factiva,
                                                                                                                        02/29/2016 12:35 PM)
                                                                                                                        CenturyLink Files 8K - Entry Into Definitive Agreement >CTL (Dow Jones Institutional News -
                                                                                                                        Factiva, 02/29/2016 12:35 PM)
                                                                                                                        CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 02/29/2016
                                                                                                                        12:35 PM)
3/1/2016 Tue   6,917,669   $31.12      $0.00   1.73%   2.39%   -0.28%   2.29%    -0.56%     -0.45 65.34%       -$0.17   Ad of the Day: Paul Giamatti Battles a Family of Movie Buffs in His First Ads Ever (ADWEEK -
                                                                                                                        Factiva, 03/01/2016)
                                                                                                                        BROADBAND PROVIDERS, CONSUMER GROUPS URGE FCC TO ADJUST ASPECTS OF
                                                                                                                        LIFELINE PROGRAM (TR Daily - Factiva, 03/01/2016)
                                                                                                                        CenturyLink amends bylaws to comply with new La. law (SNL Kagan Media & Communications
                                                                                                                        Report - Factiva, 03/01/2016)
                                                                                                                        CenturyLink launches enhanced managed security services suite (Internet Business News - Factiva,
                                                                                                                        03/01/2016)
                                                                                                                        CenturyLink secures GSA Networx contract extension (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 03/01/2016)
3/2/2016 Wed   6,450,364   $31.15      $0.54   1.83%   0.43%   0.81%    1.33%     0.51%      0.41 68.36%       $0.16    CenturyLink Inc at Morgan Stanley Technology, Media & Telecom Conference - Final (CQ FD
                                                                                                                        Disclosure - Factiva, 03/02/2016)
                                                                                                                        GlobalData Analyst Report (Eikon - Manual Entry, 03/02/2016)
                                                                                                                        S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 03/02/2016)
                                                                                                                        S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 03/02/2016)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/02/2016)
                                                                                                                        Trademarks; An Application for the Trademark "USLD" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 03/02/2016)
                                                                                                                        Trademarks; Trademark Application for "FAMILYLINE" Filed by Qwest Communications
                                                                                                                        International (Telecommunications Weekly - Factiva, 03/02/2016)
                                                                                                                        Trademarks; Trademark Application for "US LONG DISTANCE" Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 03/02/2016)
                                                                                                                        Wireline (Communications Daily - Factiva, 03/02/2016)
3/3/2016 Thu   5,372,360   $31.37      $0.00   0.71%   0.36%   0.01%    0.28%     0.42%      0.35 73.04%       $0.13    Level 3 Communications Inc at Morgan Stanley Technology, Media & Telecom Conference - Final
                                                                                                                        (CQ FD Disclosure - Factiva, 03/03/2016)
                                                                                                                        CenturyLink executive sells nearly $400,000 worth of stock: Insider trading for Feb. 24-29 (St. Louis
                                                                                                                        Business Journal - Factiva, 03/03/2016)
                                                                                                                        CenturyLink soft-launches OTT offering (SNL Financial Extra - Factiva, 03/03/2016)
                                                                                                                        GlobalData Analyst Report (Capital IQ - Manual Entry, 03/03/2016)
                                                                                                                        (PR) CenturyLink Development Center opens in St. Louis (PR Newswire (U.S.) - Factiva, 03/03/2016
                                                                                                                        08:59 AM)




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    [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                  [13]
                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                Events
                                                                                                                        CenturyLink Development Center opens in St. Louis (Canada NewsWire - Factiva, 03/03/2016 08:59
                                                                                                                        AM)
                                                                                                                        CenturyLink Development Center opens in St. Louis (PR Newswire Europe - Factiva, 03/03/2016
                                                                                                                        08:59 AM)
                                                                                                                        CENTURYLINK DEVELOPMENT CENTER OPENS IN ST. LOUIS (Press Association National
                                                                                                                        Newswire - Factiva, 03/03/2016 08:59 AM)
                                                                                                                        CenturyLink Development Center opens in St. Louis; Site focuses on automating and developing
                                                                                                                        managed services (PR Newswire Asia - Factiva, 03/03/2016 08:59 AM)
                                                                                                                        Press Release: CenturyLink Development Center opens in St. Louis (Dow Jones Institutional News -
                                                                                                                        Factiva, 03/03/2016 08:59 AM)
                                                                                                                        Press Release: CenturyLink Development Center opens in St. Louis (Dow Jones Institutional News -
                                                                                                                        Factiva, 03/03/2016 08:59 AM)
3/4/2016 Fri   6,292,744   $31.59      $0.00   0.70%   0.33%   -0.41%   -0.25%    0.95%      0.78 43.80%       $0.30    GTT Communications Gets Boost From Enterprise Shift To Cloud (Investor's Business Daily -
                                                                                                                        Factiva, 03/04/2016)
                                                                                                                        CenturyLink announces opening of new Development Centre opens in St. Louis (FinancialWire -
                                                                                                                        Factiva, 03/04/2016)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/04/2016)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 03/04/2016)
                                                                                                                        Telecommunication Companies; Patent Issued for Socially Networked Television Experience
                                                                                                                        (USPTO 9271020) (Entertainment Newsweekly - Factiva, 03/04/2016)
3/5/2016 Sat
3/6/2016 Sun
3/7/2016 Mon   5,096,593   $31.77      $0.00   0.57%   0.10%   0.63%    0.75%    -0.18%     -0.15 88.36%       -$0.06   CenturyLink Inc at Raymond James Institutional Investors Conference - Final (CQ FD Disclosure -
                                                                                                                        Factiva, 03/07/2016)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/07/2016)
                                                                                                                        Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 03/07/2016)
3/8/2016 Tue   5,550,512   $31.51      $0.00 -0.82% -1.11%     0.81%    -0.46%   -0.36%      -0.3 76.45%       -$0.12   CenturyLink Inc at Deutsche Bank Media, Internet & Telecom Conference - Final (CQ FD
                                                                                                                        Disclosure - Factiva, 03/08/2016)
                                                                                                                        Contract Award: Qwest Government Services Wins Federal Contract for "TELEPHONE
                                                                                                                        SERVICE for WFRC CRRL" (US Fed News - Factiva, 03/08/2016)
                                                                                                                        Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 03/08/2016)
                                                                                                                        Deutsche Bank Analyst Report (Eikon - Manual Entry, 03/08/2016)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/08/2016)
3/9/2016 Wed   4,207,328   $31.53      $0.00   0.06%   0.52%   -0.64%   -0.25%    0.31%      0.26 79.79%       $0.10    Trademarks; An Application for the Trademark "EL CENTRO DE QWEST" Has Been Filed by
                                                                                                                        Qwest Communications International (Telecommunications Weekly - Factiva, 03/09/2016)
                                                                                                                        Trademarks; An Application for the Trademark "QWAVE" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 03/09/2016)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "Q" Filed
                                                                                                                        (Telecommunications Weekly - Factiva, 03/09/2016)
                                                                                                                        Trademarks; Trademark Application for "QCONTROL" Filed by Qwest Communications
                                                                                                                        International (Telecommunications Weekly - Factiva, 03/09/2016)
                                                                                                                        Trademarks; Trademark Application for "U.S. LONG DISTANCE" Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 03/09/2016)




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                                                             Excess                                             Abnormal
                                                     Market Industry Predicted Abnormal                           Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                  Events
                                                                                                                           CenturyLink secures three-year GSA Networx contract extension (MarketLine, Company News -
                                                                                                                           Factiva, 03/09/2016 01:02 AM)
                                                                                                                           CenturyLink opens new development center in St. Louis, Missouri (MarketLine, Company News -
                                                                                                                           Factiva, 03/09/2016 07:42 AM)
3/10/2016 Thu   6,562,117   $31.71      $0.00   0.57%   0.02%   0.42%    0.42%     0.15%      0.12 90.09%         $0.05    CenturyLink, Inc. CenturyLink secures GSA Networx contract extension (Politics & Government
                                                                                                                           Week - Factiva, 03/10/2016)
                                                                                                                           Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 03/10/2016)
                                                                                                                           Express Scripts director sells over $1.2 million worth of stock: Insider trading for Feb. 29 - March
                                                                                                                           9 (St. Louis Business Journal - Factiva, 03/10/2016)
                                                                                                                           MarketLine Analyst Report (Capital IQ - Manual Entry, 03/10/2016)
                                                                                                                           MarketLine Analyst Report (Eikon - Manual Entry, 03/10/2016)
3/11/2016 Fri   4,128,254   $31.87      $0.00   0.50%   1.67%   -0.76%   1.00%    -0.50%     -0.41 67.99%         -$0.16   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/11/2016)
                                                                                                                           Streaming options grow in Colorado (Denver Business Journal - Factiva, 03/11/2016)
3/12/2016 Sat
3/13/2016 Sun
3/14/2016 Mon   3,527,400   $31.95      $0.00   0.25% -0.12%    0.02%    -0.23%    0.48%       0.4 68.97%         $0.15    CenturyLink, Inc. CenturyLink Development Center opens in St. Louis (Journal of Engineering -
                                                                                                                           Factiva, 03/14/2016)
                                                                                                                           Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 03/14/2016)

3/15/2016 Tue   5,593,898   $31.32      $0.00 -1.97% -0.18%     0.38%    0.12%    -2.09%     -1.75   8.36%        -$0.67   Moody's downgrades CenturyLink's CFR to Ba2; outlook stable (Moody's Investors Service Press
                                                                                                                           Release - Factiva, 03/15/2016)
                                                                                                                           Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/15/2016)
                                                                                                                           Providers, Consumers Seek Lifeline Adjustments (Telecommunications Reports - Factiva, 03/15/2016)

                                                                                                                           Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 03/15/2016)
3/16/2016 Wed   5,314,404   $32.17      $0.00   2.71%   0.57%   0.53%    1.18%     1.54%      1.27 20.78%         $0.48    CenturyLink downgraded at Moody's (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                           03/16/2016)
                                                                                                                           Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/16/2016)
                                                                                                                           Telephone Communications; Qwest Corp. Files SEC Form 10-K, Annual Report [Section 13 And
                                                                                                                           15(D), Not S-k Item 405] (Mar. 1, 2016) (Telecommunications Weekly - Factiva, 03/16/2016)
3/17/2016 Thu   7,928,385   $31.30      $0.00 -2.70%    0.66%   0.39%    1.14%    -3.85%     -3.15   0.21% **     -$1.24   Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 03/17/2016)
                                                                                                                           Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 03/17/2016)
                                                                                                                           Jefferies LLC Analyst Report (Eikon - Manual Entry, 03/17/2016)
                                                                                                                           Jefferies Sees Secular Challenges Unlikely To Abate, Downgrades CenturyLink To Underperform
                                                                                                                           (Benzinga.com - Factiva, 03/17/2016 11:13 AM)
3/18/2016 Fri   7,913,671   $31.70      $0.00   1.28%   0.44%   -1.30%   -1.15%    2.42%       1.9   5.95%        $0.76    Verizon, CenturyLink awarded $150M for network services in Virginia (Washington Business
                                                                                                                           Journal Online - Factiva, 03/18/2016)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/18/2016)
                                                                                                                           MarketLine Analyst Report (Capital IQ - Manual Entry, 03/18/2016)
                                                                                                                           MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 03/18/2016)
                                                                                                                           Data Center Market: Design (19%) and Colocation (12% CAGR) Segments Forecast to 2020 (PR
                                                                                                                           Newswire - Factiva, 03/18/2016 12:45 PM)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events

                                                                                                                         Data Center Market: Design (19%) and Colocation (12% CAGR) Segments Forecast to 2020 (PR
                                                                                                                         Newswire Europe - Factiva, 03/18/2016 12:45 PM)
3/19/2016 Sat
3/20/2016 Sun                                                                                                            Sound of eggs (The Columbian - Factiva, 03/20/2016)
3/21/2016 Mon   3,569,607   $31.70      $0.00   0.00%   0.10%   0.53%    0.57%    -0.57%     -0.44 65.77%       -$0.18   PRESS RELEASE: CenturyLink continues to invest in data center expansion and secure Uptime
                                                                                                                         Institute certifications across global footpr (Platts Commodity News - Factiva, 03/21/2016)
                                                                                                                         CenturyLink continues to invest in data center expansion and secure Uptime Institute certifications
                                                                                                                         across global footprint (Canada NewsWire - Factiva, 03/21/2016 09:03 AM)
                                                                                                                         CenturyLink continues to invest in data center expansion and secure Uptime Institute certifications
                                                                                                                         across global footprint (PR Newswire (U.S.) - Factiva, 03/21/2016 09:03 AM)
                                                                                                                         CenturyLink continues to invest in data center expansion and secure Uptime Institute certifications
                                                                                                                         across global footprint (PR Newswire Europe - Factiva, 03/21/2016 09:03 AM)
                                                                                                                         CENTURYLINK CONTINUES TO INVEST IN DATA CENTER EXPANSION AND SECURE
                                                                                                                         UPTIME INSTITUTE CERTIFICATIONS ACROSS GLOBAL FOOTPRINT (Press Association
                                                                                                                         National Newswire - Factiva, 03/21/2016 09:03 AM)
                                                                                                                         CenturyLink continues to invest in data center expansion and secure Uptime Institute certifications
                                                                                                                         across global footprint; CenturyLink adds 14MW of new capacity in eight facilities and several
                                                                                                                         Uptime Institute certifications for operational excellence (PR Newswire Asia - Factiva, 03/21/2016
                                                                                                                         09:03 AM)
                                                                                                                         Press Release: CenturyLink continues to invest in data center expansion and secure Uptime
                                                                                                                         Institute certifications across global footprint (Dow Jones Institutional News - Factiva, 03/21/2016
                                                                                                                         09:03 AM)
                                                                                                                         Press Release: CenturyLink continues to invest in data center expansion and secure Uptime
                                                                                                                         Institute certifications across global footprint (Dow Jones Institutional News - Factiva, 03/21/2016
                                                                                                                         09:03 AM)
3/22/2016 Tue   4,077,925   $31.62      $0.00 -0.25% -0.07%     -0.49%   -0.75%    0.49%      0.38 70.32%       $0.16    Moody's rates CenturyLink's new notes Ba3 (Moody's Investors Service Press Release - Factiva,
                                                                                                                         03/22/2016)
                                                                                                                         Moodyâ€™s Analyst Report (Capital IQ - Manual Entry, 03/22/2016)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/22/2016)
                                                                                                                         S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 03/22/2016)
                                                                                                                         *Fitch Affirms CenturyLink's IDR; Rates Senior Unsecured Notes 'BB+/RR4'; Outlook Stable
                                                                                                                         (Dow Jones Institutional News - Factiva, 03/22/2016 01:41 PM)
                                                                                                                         Fitch Affirms CenturyLink's IDR; Rates Senior Unsecured Notes 'BB+/RR4'; Outlook Stable
                                                                                                                         (Reuters News - Factiva, 03/22/2016 01:42 PM)
                                                                                                                         Fitch Affirms CenturyLink's IDR; Rates Senior Unsecured Notes 'BB+/RR4'; Outlook Stable
                                                                                                                         (Business Wire - Factiva, 03/22/2016 01:47 PM)
                                                                                                                         *S&P Rates CenturyLink Sr Unscd Notes 'BB' (Recovery Rating: 4) (Dow Jones Institutional News -
                                                                                                                         Factiva, 03/22/2016 03:00 PM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 03/22/2016
                                                                                                                         05:25 PM)
                                                                                                                         CenturyLink Agrees To Sell $1.0 Billion Of Debt Securities (PR Newswire (U.S.) - Factiva,
                                                                                                                         03/22/2016 05:38 PM)
                                                                                                                         Press Release: CenturyLink Agrees To Sell $1.0 Billion Of Debt Securities (Dow Jones Institutional
                                                                                                                         News - Factiva, 03/22/2016 05:38 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
3/23/2016 Wed   5,105,004   $31.02      $0.00 -1.90% -0.64%     0.00%    -0.88%   -1.02%     -0.79 43.07%       -$0.32   CenturyLink director Michael J. Roberts awarded Phantom Stocks 22 March 2016 (People in
                                                                                                                         Business - Factiva, 03/23/2016)
                                                                                                                         CenturyLink investing in data center expansion (Internet Business News - Factiva, 03/23/2016)
                                                                                                                         CenturyLink Schedules First Quarter 2016 Earnings Conference Call (PR Newswire (U.S.) - Factiva,
                                                                                                                         03/23/2016 04:20 PM)
                                                                                                                         Press Release: CenturyLink Schedules First Quarter 2016 Earnings Conference Call (Dow Jones
                                                                                                                         Institutional News - Factiva, 03/23/2016 04:20 PM)
3/24/2016 Thu   5,416,762   $31.16      $0.00   0.45% -0.04%    1.06%    0.98%    -0.52%      -0.4 68.65%       -$0.16   CenturyLink offering $1B in newly issued senior notes (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 03/24/2016)
                                                                                                                         CenturyLink to sell USD1.0bn of debt securities (Internet Business News - Factiva, 03/24/2016)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 03/24/2016)
3/25/2016 Fri                                                                                                            Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 03/25/2016)

                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/25/2016)
                                                                                                                         MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 03/25/2016)
3/26/2016 Sat
3/27/2016 Sun
3/28/2016 Mon   3,158,558   $31.08      $0.00 -0.26%    0.06%   0.10%    0.06%    -0.31%     -0.24 80.88%       -$0.10   Enrollment open for Marana online summer program (The Arizona Daily Star - Factiva, 03/28/2016)

                                                                                                                         RIMS 2016; San Diego insidersÃ¢â‚¬â„¢ recommendations (Business Insurance - Factiva,
                                                                                                                         03/28/2016)
3/29/2016 Tue   3,393,052   $31.59      $0.00   1.64%   0.90%   0.58%    1.56%     0.08%      0.06 95.26%       $0.02    CenturyLink to open revamped store concept in Woodbury (Video) (Minneapolis/St. Paul Business
                                                                                                                         Journal Online - Factiva, 03/29/2016)
                                                                                                                         Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 03/29/2016)
                                                                                                                         Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 03/29/2016)
3/30/2016 Wed   3,660,972   $31.87      $0.00   0.89%   0.45%   -0.32%   0.08%     0.80%      0.62 53.50%       $0.25    CenturyLink acquires netAura (MarketLine, Financial Deals Tracker - Factiva, 03/30/2016)
                                                                                                                         FAIRPOINT COMMUNICATIONS UPDATES DIRECTOR PROFILES (People in Business -
                                                                                                                         Factiva, 03/30/2016)
                                                                                                                         Trademarks; An Application for the Trademark "CYBERCENTER" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 03/30/2016)
                                                                                                                         Trademarks; Trademark Application for "QWEST HOME NETWORKING" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 03/30/2016)
                                                                                                                         *CenturyLink Acquires IT Security Services Firm NetAura >CTL (Dow Jones Institutional News -
                                                                                                                         Factiva, 03/30/2016 08:59 AM)
                                                                                                                         CenturyLink acquires IT security services firm netAura (Canada NewsWire - Factiva, 03/30/2016
                                                                                                                         08:59 AM)
                                                                                                                         CenturyLink acquires IT security services firm netAura (PR Newswire (U.S.) - Factiva, 03/30/2016
                                                                                                                         08:59 AM)
                                                                                                                         CenturyLink acquires IT security services firm netAura (PR Newswire Europe - Factiva, 03/30/2016
                                                                                                                         08:59 AM)
                                                                                                                         CENTURYLINK ACQUIRES IT SECURITY SERVICES FIRM NETAURA (Press Association
                                                                                                                         National Newswire - Factiva, 03/30/2016 08:59 AM)




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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         CenturyLink acquires IT security services firm netAura; Purchase signals continued expansion in
                                                                                                                         managed security services (PR Newswire Asia - Factiva, 03/30/2016 08:59 AM)
                                                                                                                         Press Release: CenturyLink acquires IT security services firm netAura (Dow Jones Institutional
                                                                                                                         News - Factiva, 03/30/2016 08:59 AM)
3/31/2016 Thu   6,807,671   $31.96      $0.00   0.28% -0.20%    -0.06%   -0.42%    0.70%      0.54 58.69%       $0.22    Applegate letter: Broadband contract (The Idaho Statesman - Factiva, 03/31/2016)
                                                                                                                         CenturyLink acquires netAura (MarketLine, Financial Deals Tracker - Factiva, 03/31/2016)
                                                                                                                         CenturyLink Acquires Security Services Firm netAura (M&A Navigator - Factiva, 03/31/2016)
                                                                                                                         CenturyLink announces acquisition of netAura (FinancialWire - Factiva, 03/31/2016)
                                                                                                                         CenturyLink buys security services firm (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         03/31/2016)
                                                                                                                         Huttig Appoints Chief Financial Officer (India Investment News - Factiva, 03/31/2016)
                                                                                                                         Huttig Appoints Oscar Martinez As CFO - Quick Facts (RTT News - Factiva, 03/31/2016)
                                                                                                                         Huttig names new VP and CFO (Home Channel News - Factiva, 03/31/2016)
                                                                                                                         Led by Verizon And AT&T, Telecom Tops S&P Sectors; Dividends Rule (Investor's Business Daily -
                                                                                                                         Factiva, 03/31/2016)
                                                                                                                         M&A Transaction | netAura LLC (The Deal - Factiva, 03/31/2016)
 4/1/2016 Fri   6,219,552   $32.18      $0.00   0.69%   0.63%   -0.61%   0.03%     0.66%      0.51 61.00%       $0.21    CenturyLink, Inc. CenturyLink Agrees To Sell $1.0 Billion Of Debt Securities (Investment Weekly
                                                                                                                         News - Factiva, 04/01/2016)
                                                                                                                         Huttig Building Products will appoint Oscar A. Martinez as CFO 31 March 2016 (People in
                                                                                                                         Business - Factiva, 04/01/2016)
                                                                                                                         Huttig Building Products will appoint Oscar A. Martinez as vice president 31 March 2016 (People
                                                                                                                         in Business - Factiva, 04/01/2016)
                                                                                                                         CenturyLink Criticizes FCC Privacy Proposal (ENP Newswire - Factiva, 04/01/2016)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 04/01/2016)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 04/01/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/01/2016)
 4/2/2016 Sat
 4/3/2016 Sun
 4/4/2016 Mon   5,186,826   $32.23      $0.00   0.16% -0.30%    0.90%    0.43%    -0.28%     -0.22 82.96%       -$0.09   CALIFORNIA -- Qwest seeks rehearing of decision denying its complaint against CLECs (TR's
                                                                                                                         State NewsWire - Factiva, 04/04/2016)
                                                                                                                         Huttig Building Products names new Chief Financial Officer (Kuwait News Agency (KUNA) -
                                                                                                                         Factiva, 04/04/2016)
                                                                                                                         BUZZ-Goldman heavy on tech, financials, lays out upside bets (Reuters News - Factiva, 04/04/2016
                                                                                                                         04:30 PM)
 4/5/2016 Tue   5,271,152   $32.10      $0.00 -0.40% -1.01%     0.05%    -1.24%    0.83%      0.66 51.32%       $0.27    CenturyLink, Inc. CenturyLink continues to invest in data center expansion and secure Uptime
                                                                                                                         Institute certifications across global footprint (China Weekly News - Factiva, 04/05/2016)
                                                                                                                         BRIEF-Centurylink CEO's 2015 total compensation was $10.7 mln vs $13.1 mln in 2014 - SEC
                                                                                                                         Filing (Reuters News - Factiva, 04/05/2016 04:09 PM)
 4/6/2016 Wed   3,832,591   $32.49      $0.00   1.21%   1.09%   -0.74%   0.50%     0.71%      0.56 57.72%       $0.23    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 04/06/2016)

                                                                                                                         Morning Market Summary for T, FTR, VZ, and CTL (ACCESSWIRE - Factiva, 04/06/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Trademarks; An Application for the Trademark "LIVING IN THE LOOP" Has Been Filed by
                                                                                                                         Qwest Communications International (Telecommunications Weekly - Factiva, 04/06/2016)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 04/06/2016
                                                                                                                         12:09 PM)
 4/7/2016 Thu   5,704,504   $31.87      $0.00 -1.91% -1.19%     -0.61%   -2.05%    0.14%      0.11 91.14%       $0.05    CenturyLink completes debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         04/07/2016)
                                                                                                                         NATIONAL -- Special access, RTT items tentatively slated for April 28 FCC meeting (TR's State
                                                                                                                         NewsWire - Factiva, 04/07/2016)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 04/07/2016)
                                                                                                                         SPECIAL ACCESS, RTT ITEMS TENTATIVELY SLATED FOR APRIL 28 FCC MEETING (TR
                                                                                                                         Daily - Factiva, 04/07/2016)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 04/07/2016)
                                                                                                                         CenturyLink wins spot on DISA Global Network Services contract (PR Newswire (U.S.) - Factiva,
                                                                                                                         04/07/2016 09:00 AM)
                                                                                                                         Press Release: CenturyLink wins spot on DISA Global Network Services contract (Dow Jones
                                                                                                                         Institutional News - Factiva, 04/07/2016 09:00 AM)
 4/8/2016 Fri   3,873,271   $31.88      $0.00   0.03%   0.28%   -0.11%   0.14%    -0.11%     -0.08 93.25%       -$0.03   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/08/2016)
                                                                                                                         MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 04/08/2016)
                                                                                                                         Validea Analyst Report (Eikon - Manual Entry, 04/08/2016)
 4/9/2016 Sat
4/10/2016 Sun
4/11/2016 Mon   2,921,012   $32.08      $0.00 0.63% -0.27%      -0.44%   -0.83%    1.46%      1.16 24.71%        $0.47
4/12/2016 Tue   3,529,556   $32.00      $0.00 -0.25% 0.97%       0.09%    1.15%   -1.40%     -1.12 26.69%       -$0.45   CDW UPDATES DIRECTOR PROFILES (People in Business - Factiva, 04/12/2016)
                                                                                                                         United States : CENTURYLINK becomes an authorized bidder for US DISAs pacts (Bakhtar News
                                                                                                                         Agency - Factiva, 04/12/2016)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 04/12/2016)
                                                                                                                         (PR) CenturyLink expands its cloud platform to Australia (PR Newswire (U.S.) - Factiva, 04/12/2016
                                                                                                                         08:59 PM)
                                                                                                                         CenturyLink expands its cloud platform to Australia (Canada NewsWire - Factiva, 04/12/2016 08:59
                                                                                                                         PM)
                                                                                                                         CenturyLink expands its cloud platform to Australia (PR Newswire Europe - Factiva, 04/12/2016
                                                                                                                         08:59 PM)
                                                                                                                         CENTURYLINK EXPANDS ITS CLOUD PLATFORM TO AUSTRALIA (Press Association
                                                                                                                         National Newswire - Factiva, 04/12/2016 08:59 PM)
                                                                                                                         CenturyLink expands its cloud platform to Australia; Launches CenturyLink Cloud node in
                                                                                                                         Sydney to continue international expansion (PR Newswire Asia - Factiva, 04/12/2016 08:59 PM)
                                                                                                                         Press Release: CenturyLink expands its cloud platform to Australia (Dow Jones Institutional News -
                                                                                                                         Factiva, 04/12/2016 08:59 PM)
                                                                                                                         Press Release: CenturyLink expands its cloud platform to Australia (Dow Jones Institutional News -
                                                                                                                         Factiva, 04/12/2016 08:59 PM)
4/13/2016 Wed   3,308,900   $32.19      $0.00   0.59%   1.02%   -1.70%   -0.48%    1.08%      0.85 39.51%       $0.34    CenturyLink expands its cloud platform to Australia (Emirates News Agency (WAM) - Factiva,
                                                                                                                         04/13/2016)
                                                                                                                         CenturyLink introduces CenturyLink Cloud node in Sydney, Australia (FinancialWire - Factiva,
                                                                                                                         04/13/2016)




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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         CenturyLink introduces CenturyLink Cloud node in Sydney, Australia (Worldwide Computer
                                                                                                                         Products News - Factiva, 04/13/2016)
                                                                                                                         CenturyLink launches cloud platform in Australia (SNL Financial Extra - Factiva, 04/13/2016)
                                                                                                                         Industry Notes (Warren's Washington Internet Daily - Factiva, 04/13/2016)
                                                                                                                         Trademarks; An Application for the Trademark "QWEST ARENA" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 04/13/2016)
                                                                                                                         Verizon Tops Netflix Streaming Rate Index (Warren's Consumer Electronics Daily - Factiva,
                                                                                                                         04/13/2016)
4/14/2016 Thu   3,383,582   $32.09      $0.00 -0.31% 0.03%      0.27%     0.19%   -0.50%      -0.4 69.20%       -$0.16
4/15/2016 Fri   2,956,936   $32.26      $0.00 0.53% -0.10%      0.20%    -0.03%    0.56%      0.44 65.99%        $0.18   BuySellSignals Research Analyst Report (Eikon - Manual Entry, 04/15/2016)
                                                                                                                         CenturyLink cloud platform expands to Australia (Internet Business News - Factiva, 04/15/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Utilizing a
                                                                                                                         Secured Service Provider Memory (USPTO 9307205) (Entertainment Newsweekly - Factiva,
                                                                                                                         04/15/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/15/2016)
                                                                                                                         Special Access, RTT Items Tentatively Slated for Votes at April 28 FCC Meeting
                                                                                                                         (Telecommunications Reports - Factiva, 04/15/2016)
4/16/2016 Sat                                                                                                            Since when do politicians make their own laws? (Lewiston Morning Tribune - Factiva, 04/16/2016)

                                                                                                                         Sounders announce five full-stadium matches (The News Tribune - Factiva, 04/16/2016)
4/17/2016 Sun                                                                                                            On my CenturyLink landline bill there has been a monthly charge of 25 cents for a "facility
                                                                                                                         relocation cost recovery fee" for quite some time now. What facility was relocated, and why do we
                                                                                                                         have to pay extra for this? (The Dothan Eagle - Factiva, 04/17/2016)
4/18/2016 Mon   2,990,263   $32.22      $0.00 -0.12%    0.66%   0.13%    0.80%    -0.92%     -0.73 46.67%       -$0.30   CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Utilizing
                                                                                                                         Attendee Location Information with an Event Planner (USPTO 9307037) (Journal of Engineering -
                                                                                                                         Factiva, 04/18/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for Teletypewriter (TTY) for
                                                                                                                         Communicating Pre-Stored Emergency Messages to Public Safety Answering Points (PSAPs)
                                                                                                                         (USPTO 9307081) (Journal of Engineering - Factiva, 04/18/2016)
4/19/2016 Tue   3,578,632   $32.71      $0.00   1.52%   0.31%   0.53%    0.73%     0.79%      0.62 53.39%       $0.25    D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 04/19/2016)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 04/19/2016)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 04/19/2016)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 04/19/2016)
4/20/2016 Wed   3,966,598   $32.80      $0.00   0.28%   0.08%   -0.59%   -0.53%    0.80%      0.64 52.53%       $0.26    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 04/20/2016)

                                                                                                                         Anthem channels launch on CenturyLink across the US (Telecompaper Americas - Factiva,
                                                                                                                         04/20/2016)
                                                                                                                         FCC APPROVES MERGER OF CenturyLink ILECs (TR Daily - Factiva, 04/20/2016)
                                                                                                                         NATIONAL -- FCC approves merger of CenturyLink ILECs (TR's State NewsWire - Factiva,
                                                                                                                         04/20/2016)
                                                                                                                         NEW MEXICO -- CenturyLink urges denial of Level 3's reconsideration motion (TR's State
                                                                                                                         NewsWire - Factiva, 04/20/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Telecommunication Companies; Patent Issued for Converged Voice Services (USPTO 9307090)
                                                                                                                         (Telecommunications Weekly - Factiva, 04/20/2016)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form DEF 14A, Other Definitive Proxy
                                                                                                                         Statements (Apr. 5, 2016) (Telecommunications Weekly - Factiva, 04/20/2016)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form DEFA14A, Additional Definitive
                                                                                                                         Proxy Soliciting Materials And Rule 14(A)(12) Material (Apr. 5, 2016) (Telecommunications Weekly -
                                                                                                                         Factiva, 04/20/2016)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "LONG LIVE
                                                                                                                         THE LANDLINE" Filed (Telecommunications Weekly - Factiva, 04/20/2016)
                                                                                                                         TRDaily - April 20, 2016 WHEELER: FCC PLANS TO RELEASE AUCTION INITIAL
                                                                                                                         CLEARING... (TR Daily - Factiva, 04/20/2016)
4/21/2016 Thu   4,347,968   $31.39      $0.00 -4.30% -0.52%     -2.27%   -2.62%   -1.68%     -1.33 18.52%       -$0.55   Seattle Seahawks Tickets: CapitalCityTickets.com is Slashing Their Prices on Seattle Seahawks
                                                                                                                         NFL Home Game Tickets for Their Games at CenturyLink Field with Promo Code (M2 Presswire -
                                                                                                                         Factiva, 04/21/2016)
                                                                                                                         3.5 GHz RECON ORDER JOINS SPECIAL ACCESS, RTT ITEMS ON APRIL 28 FCC AGENDA
                                                                                                                         (TR Daily - Factiva, 04/21/2016)
                                                                                                                         CENTURYLINK IN THIRD QUARTILE OF NYSE SCORECARD (People in Business - Factiva,
                                                                                                                         04/21/2016)
                                                                                                                         Construction crews remain optimistic on SD-34 reopening; CenturyLink, city tapped for closure
                                                                                                                         expenses (The Madison Daily Leader - Factiva, 04/21/2016)
                                                                                                                         FOR NEW POOL, IT'S GOING TO BE A TRIAL BY FIRE; Pool upgrades mean swimmers won't
                                                                                                                         be only ones making debuts at Trials (Omaha World-Herald - Factiva, 04/21/2016)
                                                                                                                         Jeff Dunham and crew head to CenturyLink (Omaha World-Herald - Factiva, 04/21/2016)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 04/21/2016)
                                                                                                                         NATIONAL -- 3.5 GHz recon order joins special access, RTT items on FCC agenda (TR's State
                                                                                                                         NewsWire - Factiva, 04/21/2016)
                                                                                                                         Trademarks; An Application for the Trademark "QWEST DSL PRO" Has Been Filed by Qwest
                                                                                                                         Communications International (Computer Weekly News - Factiva, 04/21/2016)
                                                                                                                         Wireline (Communications Daily - Factiva, 04/21/2016)
4/22/2016 Fri   4,160,155   $31.39      $0.00   0.00%   0.01%   0.81%    0.65%    -0.65%     -0.52 60.66%       -$0.21   SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         EMBARQ FOR APPROVAL TO DISCONTINUE BUSY LINE VERIFICATION AND BUSY
                                                                                                                         LINE INTERRUPT SERVICES FILED WITH FEDERAL COMMUNICATIONS COMMISSION
                                                                                                                         (US Fed News - Factiva, 04/22/2016)
                                                                                                                         BCPD issues traffic advisory for Carrie Underwood concert (Bossier Press-Tribune - Factiva,
                                                                                                                         04/22/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/22/2016)
                                                                                                                         Local teachers awarded funds for STEM classroom initiatives (Idaho Press-Tribune - Factiva,
                                                                                                                         04/22/2016)
                                                                                                                         MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 04/22/2016)
                                                                                                                         DJ CenturyLink Inc, Inst Holders, 1Q 2016 (CTL) (Dow Jones Institutional News - Factiva,
                                                                                                                         04/22/2016 03:30 AM)
4/23/2016 Sat
4/24/2016 Sun




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
4/25/2016 Mon   3,717,891   $31.18      $0.00 -0.67% -0.18%     0.45%    0.10%    -0.77%      -0.6 54.72%       -$0.24   SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         EMBARQ FOR APPROVAL TO DISCONTINUE BUSY LINE VERIFICATION AND BUSY
                                                                                                                         LINE INTERRUPT SERVICES FILED WITH FEDERAL COMMUNICATIONS COMMISSION
                                                                                                                         (US Fed News - Factiva, 04/25/2016)
                                                                                                                         Possible future contenders to get early look at Trials experience; Some groups bringing young non-
                                                                                                                         qualifiers to see Olympic atmosphere (Omaha World-Herald - Factiva, 04/25/2016)
                                                                                                                         TEXAS -- Carriers largely support proposed changes to state USF eligibility (TR's State NewsWire -
                                                                                                                         Factiva, 04/25/2016)
4/26/2016 Tue   3,160,336   $31.42      $0.00   0.77%   0.19%   -0.47%   -0.33%    1.10%      0.86 38.99%       $0.34    CenturyLink, Inc. CenturyLink expands its cloud platform to Australia (China Weekly News -
                                                                                                                         Factiva, 04/26/2016)
                                                                                                                         CenturyLink, Inc. CenturyLink wins spot on DISA Global Network Services contract (Information
                                                                                                                         Technology Newsweekly - Factiva, 04/26/2016)
                                                                                                                         Elementary school receives $5,000 grant from CenturyLink (Bristol Herald Courier - Factiva,
                                                                                                                         04/26/2016)
                                                                                                                         Viamedia And CenturyLink Further Expand Advertising Agreement, Adding Four Major Markets
                                                                                                                         (PR Newswire (U.S.) - Factiva, 04/26/2016 09:30 AM)
4/27/2016 Wed   4,423,518   $31.58      $0.00   0.51%   0.17%   1.81%    1.72%    -1.22%     -0.95 34.19%       -$0.38   Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Apr. 6, 2016)
                                                                                                                         (Telecommunications Weekly - Factiva, 04/27/2016)
                                                                                                                         Trademarks; An Application for the Trademark "EL CENTRO DE QWEST, DONDE LE
                                                                                                                         BRINDAMOS ATENCION EN SU IDIOMA" Has Been Filed by Qwest Communications
                                                                                                                         International (Telecommunications Weekly - Factiva, 04/27/2016)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "ELPASOTEL"
                                                                                                                         Filed (Telecommunications Weekly - Factiva, 04/27/2016)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                         PROMISE OF SERVICE" Filed (Telecommunications Weekly - Factiva, 04/27/2016)
                                                                                                                         Trademarks; Trademark Application for "ESPIRITU DE SERVICIO" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 04/27/2016)
                                                                                                                         Trademarks; Trademark Application for "USWEST" Filed by Qwest Communications
                                                                                                                         International (Telecommunications Weekly - Factiva, 04/27/2016)
                                                                                                                         CenturyLink announces availability of cloud platform in Australia (MarketLine, Company News -
                                                                                                                         Factiva, 04/27/2016 05:17 AM)
4/28/2016 Thu   3,360,991   $31.36      $0.00 -0.70% -0.92%     -0.07%   -1.25%    0.56%      0.44 66.30%       $0.18    SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         CENTURYLINK AND DISHNET WIRELINE - RESALE AGREEMENT (US Fed News - Factiva,
                                                                                                                         04/28/2016)
                                                                                                                         Event Brief of Q1 2016 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                                         Factiva, 04/28/2016)
                                                                                                                         FCC Draws Cable Industry Wrath Yet Again With Latest Regulatory Plan (Investor's Business Daily
                                                                                                                         - Factiva, 04/28/2016)
                                                                                                                         No shortage of Buffett-related books at annual Berkshire meeting. Here's what's new (Star-Herald -
                                                                                                                         Factiva, 04/28/2016)
                                                                                                                         Q1 2016 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 04/28/2016)

                                                                                                                         SHAREHOLDER SHOPPING; Again, an extra day of 'Berky' merchandise; Official events for
                                                                                                                         Berkshire Hathaway shareholders meeting (Omaha World-Herald - Factiva, 04/28/2016)
4/29/2016 Fri   5,360,069   $30.95      $0.00 -1.31% -0.51%     0.40%    -0.35%   -0.96%     -0.75 45.53%       -$0.30   2 Pell City schools receive grants CenturyLink foundation (The Daily Home - Factiva, 04/29/2016)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                         CenturyLink, FairPoint & Frontier Joint Statement on the FCC's proposal to regulate 'special
                                                                                                                         access' business data services (ENP Newswire - Factiva, 04/29/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/29/2016)
                                                                                                                         Media Notes (Communications Daily - Factiva, 04/29/2016)
                                                                                                                         New tech spot at Boys & Girls ClubNew tech spot at Boys & Girls Club (The Arizona Daily Star -
                                                                                                                         Factiva, 04/29/2016)
                                                                                                                         Sounders Saturday: Club healthy, but challenges for fans (The News Tribune - Factiva, 04/29/2016)

                                                                                                                         VIRGINIA -- CenturyLink expands 'competitive determination' of its retail services (TR's State
                                                                                                                         NewsWire - Factiva, 04/29/2016)
4/30/2016 Sat                                                                                                            Berkshire Hathaway weekend: Live streaming may have kept some at home, but thousands still
                                                                                                                         flock to Omaha (Star-Herald - Factiva, 04/30/2016)
                                                                                                                         CenturyLink updates regulators on progress (Great Falls Tribune - Factiva, 04/30/2016)
                                                                                                                         Live from the floor: A packed house; first timers speak of 'amazing' experience so far (Star-Herald -
                                                                                                                         Factiva, 04/30/2016)
                                                                                                                         Shareholder shopping: Again, an extra day of 'Berky' merchandise (Star-Herald - Factiva,
                                                                                                                         04/30/2016)
                                                                                                                         WORLD WIDE WARREN; Metal detectors greet Berkshire shareholders (Omaha World-Herald -
                                                                                                                         Factiva, 04/30/2016)
                                                                                                                         Photos: Berkshire HathawayÃ¢â‚¬â„¢s Annual Shareholders Meeting; Warren Buffett plays host
                                                                                                                         to thousands of shareholders at the CenturyLink Center in downtown Omaha, Neb. (The Wall Street
                                                                                                                         Journal Online - Factiva, 04/30/2016 02:43 PM)
 5/1/2016 Sun                                                                                                            A surprise for technology; CenturyLink awards educators with technology grants; CenturyLink
                                                                                                                         awards local teachers (The Sampson Independent - Factiva, 05/01/2016)
                                                                                                                         Forget the rain and the streaming: It's 'our adventure' (Omaha World-Herald - Factiva, 05/01/2016)

 5/2/2016 Mon   7,744,284   $31.48      $0.00   1.71%   0.78%   0.19%    0.98%     0.74%      0.58 56.35%       $0.23    Financial sponsors likely to dominate CenturyLink data center auction (The Deal - Factiva,
                                                                                                                         05/02/2016)
                                                                                                                         For the record: Business licenses for March (The Wenatchee World - Factiva, 05/02/2016)
                                                                                                                         The Economy Matters Analyst Report (Capital IQ - Manual Entry, 05/02/2016)
 5/3/2016 Tue   7,598,217   $30.58      $0.00 -2.86% -0.87%     -0.29%   -1.38%   -1.48%     -1.16 24.67%       -$0.47   CenturyLink downgraded to Market Perform from Outperform at Wells Fargo
                                                                                                                         (Theflyonthewall.com - Factiva, 05/03/2016)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/03/2016)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/03/2016)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/03/2016)
                                                                                                                         CenturyLink's Stock Gains May Be Played Out -- Market Talk (Dow Jones Institutional News -
                                                                                                                         Factiva, 05/03/2016 11:17 AM)
                                                                                                                         CenturyLink's Stock Gains May Be Played Out -- Market Talk (Dow Jones Institutional News -
                                                                                                                         Factiva, 05/03/2016 11:17 AM)
                                                                                                                         U.S. RESEARCH ROUNDUP-United Technologies, Centurylink, Kroger (Reuters News - Factiva,
                                                                                                                         05/03/2016 02:06 PM)
                                                                                                                         U.S. RESEARCH ROUNDUP-United Technologies, Centurylink, Kroger (Reuters News - Factiva,
                                                                                                                         05/03/2016 06:06 PM)




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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
5/4/2016 Wed   6,656,754   $30.96      $0.00   1.24% -0.57%   0.50%   -0.38%     1.63%      1.29 20.03%       $0.50    CenturyLink, Inc. Profit Rises 3% In Q1 (RTT News - Factiva, 05/04/2016)
                                                                                                                       Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                       Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 05/04/2016)

                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/04/2016)
                                                                                                                       CenturyLink POSTS 1.1% QUARTERLY REVENUE DECLINE (TR Daily - Factiva, 05/04/2016)
                                                                                                                       Event Brief of Q1 2016 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                       05/04/2016)
                                                                                                                       MICHIGAN -- PSC says three ISPs offering low-income customers discounted service (TR's State
                                                                                                                       NewsWire - Factiva, 05/04/2016)
                                                                                                                       Multiple schools receive grants through CenturyLink (Star-Herald - Factiva, 05/04/2016)
                                                                                                                       New technology coming to the classroom (Globe Gazette - Factiva, 05/04/2016)
                                                                                                                       Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 05/04/2016)
                                                                                                                       Q1 2016 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 05/04/2016)
                                                                                                                       Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 05/04/2016)
                                                                                                                       RBC Capital Markets Analyst Report (Eikon - Manual Entry, 05/04/2016)
                                                                                                                       Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                       for "QWEST ARENA" Filed (Telecommunications Weekly - Factiva, 05/04/2016)
                                                                                                                       Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                       for "QWEST IQ NETWORKING" Filed (Telecommunications Weekly - Factiva, 05/04/2016)
                                                                                                                       Telecommunication Companies; Trademark Application for "QWEST CONNECT" Filed by
                                                                                                                       Qwest Communications International (Telecommunications Weekly - Factiva, 05/04/2016)
                                                                                                                       Telecommunication Companies; Trademark Application for "THINK QWEST FIRST" Filed by
                                                                                                                       Qwest Communications International (Telecommunications Weekly - Factiva, 05/04/2016)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/04/2016)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/04/2016)
                                                                                                                       UBS Analyst Report (Eikon - Manual Entry, 05/04/2016)
                                                                                                                       ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 05/04/2016)
                                                                                                                       Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/04/2016)
                                                                                                                       WYOMING -- CenturyLink challenges calculation of USF funding (TR's State NewsWire - Factiva,
                                                                                                                       05/04/2016)
                                                                                                                       *CenturyLink 1Q Rev $4.4B >CTL (Dow Jones Institutional News - Factiva, 05/04/2016 04:18 PM)

                                                                                                                       CenturyLink Reports First Quarter 2016 Results (PR Newswire - Factiva, 05/04/2016 04:18 PM)
                                                                                                                       BRIEF-Centurylink reports Q1 earnings per share $0.44 (Reuters News - Factiva, 05/04/2016 06:05
                                                                                                                       PM)
                                                                                                                       CenturyLink Profit Rises on Slight Revenue Decline (Dow Jones Institutional News - Factiva,
                                                                                                                       05/04/2016 07:47 PM)
                                                                                                                       CenturyLink Profit Rises on Slight Revenue Decline (Dow Jones Institutional News - Factiva,
                                                                                                                       05/04/2016 08:02 PM)
                                                                                                                       CenturyLink Glen F. Post on Q1 2016 Results -- Earnings Call Transcript >CTL (Dow Jones
                                                                                                                       Institutional News - Factiva, 05/04/2016 08:50 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
    [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]         [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
   Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                 Events
5/5/2016 Thu   20,521,476   $28.20      $0.00 -8.91%   0.00%   -0.26%   -0.36%   -8.55%     -6.73   0.00% **     -$2.65   Barclays Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          Barclays Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          CenturyLink fielding JV, sale offers for data center business, CEO says (SNL Financial Extra -
                                                                                                                          Factiva, 05/05/2016)
                                                                                                                          CenturyLink posts USD 4.4 bln revenue in Q1 (Telecompaper Americas - Factiva, 05/05/2016)
                                                                                                                          CenturyLink reports increased 1Q earnings (The News-Star - Factiva, 05/05/2016)
                                                                                                                          CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          COMPANY SNAPSHOTS; CENTURYLINK, INC . (NYSE: CTL) - UPDATED 5 MAY 2016
                                                                                                                          (Acquisdata Global Industry SnapShot - Factiva, 05/05/2016)
                                                                                                                          Cowen and Company Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          Deutsche Bank Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          Jefferies LLC Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          JP Morgan Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          JP Morgan Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          JP Morgan Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          RBC Capital Markets Analyst Report (Eikon - Manual Entry, 05/05/2016)
                                                                                                                          UBS Analyst Report (Capital IQ - Manual Entry, 05/05/2016)
                                                                                                                          Concern About Business Services at CenturyLink -- Market Talk (Dow Jones Institutional News -
                                                                                                                          Factiva, 05/05/2016 11:22 AM)
                                                                                                                          Concern About Business Services at CenturyLink -- Market Talk (Dow Jones Institutional News -
                                                                                                                          Factiva, 05/05/2016 11:22 AM)
                                                                                                                          Opening Keynote Set for ISE EXPO 2016, Formerly OSP EXPO (Business Wire - Factiva,
                                                                                                                          05/05/2016 02:56 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
 5/6/2016 Fri   9,444,983   $28.54      $0.00   1.21%   0.33%   0.40%    0.63%     0.57%      0.45 65.53%       $0.16    Acquisdata Pty Ltd. Analyst Report (Capital IQ - Manual Entry, 05/06/2016)
                                                                                                                         Acquisdata Pty Ltd. Analyst Report (Eikon - Manual Entry, 05/06/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/06/2016)
                                                                                                                         MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 05/06/2016)
                                                                                                                         Viamedia; Viamedia And CenturyLink Further Expand Advertising Agreement, Adding Four
                                                                                                                         Major Markets (Marketing Weekly News - Factiva, 05/06/2016)
                                                                                                                         Wireline (Communications Daily - Factiva, 05/06/2016)
 5/7/2016 Sat                                                                                                            Tech Stocks Buzzer: Verizon Communications Inc . (VZ), Centurylink Inc (CTL), Intel
                                                                                                                         Corporation (INTC) (Emirates News Agency (WAM) - Factiva, 05/07/2016)
 5/8/2016 Sun                                                                                                            Luke Bryan Tickets at CenturyLink Center, INTRUST Bank Arena, and Chesapeake Energy
                                                                                                                         Arena: CapitalCityTickets.com is Lowering Their Prices on Luke Bryan Tickets for his 2016 Tour
                                                                                                                         Dates (M2 Presswire - Factiva, 05/08/2016)
 5/9/2016 Mon   6,057,075   $28.21      $0.00 -1.16%    0.08%   -0.26%   -0.26%   -0.90%      -0.7 48.31%       -$0.26   2 Pell City schools receive grants from CenturyLink foundation (The St. Clair Times - Factiva,
                                                                                                                         05/09/2016)
                                                                                                                         LOUISIANA -- Sprint ordered to pay $12.6M in access charges to CenturyLink (TR's State
                                                                                                                         NewsWire - Factiva, 05/09/2016)
                                                                                                                         State Telecom (Communications Daily - Factiva, 05/09/2016)
                                                                                                                         States (Warren's Washington Internet Daily - Factiva, 05/09/2016)
                                                                                                                         U.S. Swim Trials officials hoping final-night pageantry brings complete sellout at CenturyLink
                                                                                                                         Center (Star-Herald - Factiva, 05/09/2016)
5/10/2016 Tue   5,924,534   $28.73      $0.00   1.84%   1.25%   0.30%    1.66%     0.18%      0.14 88.61%       $0.05    CenturyLink gets positive feedback for Prism TV ads (Telecompaper Americas - Factiva, 05/10/2016)

                                                                                                                         RIVADA NETWORKS CO-CEO (TR Daily - Factiva, 05/10/2016)
                                                                                                                         TEXAS -- PUC grants CenturyLink's petition for THCUSP support (TR's State NewsWire - Factiva,
                                                                                                                         05/10/2016)
                                                                                                                         CenturyLink joins G2G Marketplace, a technology procurement center for U.S. state and local
                                                                                                                         government agencies (Canada NewsWire - Factiva, 05/10/2016 08:57 AM)
                                                                                                                         CenturyLink joins G2G Marketplace, a technology procurement center for U.S. state and local
                                                                                                                         government agencies (PR Newswire - Factiva, 05/10/2016 08:57 AM)
                                                                                                                         Press Release: CenturyLink joins G2G Marketplace, a technology procurement center for U.S.
                                                                                                                         state and local government agencies (Dow Jones Institutional News - Factiva, 05/10/2016 08:57 AM)

                                                                                                                         Press Release: CenturyLink joins G2G Marketplace, a technology procurement center for U.S.
                                                                                                                         state and local government agencies (Dow Jones Institutional News - Factiva, 05/10/2016 08:57 AM)

5/11/2016 Wed   3,903,644   $28.31      $0.00 -1.46% -0.90%     0.11%    -1.14%   -0.33%     -0.26 79.85%       -$0.09   Business briefs, May 11 (The Courier-Tribune - Factiva, 05/11/2016)
                                                                                                                         Former Qwest CFO joins spectrum-sharing startup as co-CEO (Denver Business Journal Online -
                                                                                                                         Factiva, 05/11/2016)
                                                                                                                         Former Sprint CFO joins open spectrum startup (Kansas City Business Journal Online - Factiva,
                                                                                                                         05/11/2016)
                                                                                                                         IDAHO -- PUC staff proposes use for remaining Qwest funds (TR's State NewsWire - Factiva,
                                                                                                                         05/11/2016)
                                                                                                                         Lima Middle School teacher awarded educational grant (The Lima News (Tribune Content Agency) -
                                                                                                                         Factiva, 05/11/2016)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                        Sounders-West Ham United set July 5 in Seattle (The News Tribune - Factiva, 05/11/2016)
                                                                                                                        Telecommunication Companies; Patent Issued for Network Repository Auto Sync Wireless
                                                                                                                        Handset (USPTO 9323821) (Telecommunications Weekly - Factiva, 05/11/2016)
                                                                                                                        Telephone Communications; Centurylink Investment Management Co Files SEC Form 13F-HR,
                                                                                                                        Quarterly Report Filed By Institutional Managers, Holdings (Apr. 20, 2016) (Telecommunications
                                                                                                                        Weekly - Factiva, 05/11/2016)
                                                                                                                        This county is one-sixth Seattle's size. Here's why Microsoft, Yahoo, CenturyLink are all expanding
                                                                                                                        there (Puget Sound Business Journal Online - Factiva, 05/11/2016)
                                                                                                                        WISeKey Reaches Agreement With CenturyLink on Cybersecurity Solutions (Business Wire -
                                                                                                                        Factiva, 05/11/2016 01:00 AM)
                                                                                                                        Press Release: WISeKey Reaches Agreement With CenturyLink on Cybersecurity Solutions (Dow
                                                                                                                        Jones Institutional News - Factiva, 05/11/2016 01:00 AM)
                                                                                                                        BUSINESSWIRE: WISeKey Reaches Agreement With CenturyLink on Cybersecurity (AWP
                                                                                                                        Original Press Releases - Factiva, 05/11/2016 03:00 AM)
5/12/2016 Thu   3,940,966   $28.46      $0.00   0.53% -0.01%   0.74%    0.55%    -0.02%     -0.02 98.68%       -$0.01   Just like last time, USA's Jaeger making his turn before Omaha; Surprising run to London was
                                                                                                                        sparked in Charlotte, and it's happening again (Omaha World-Herald - Factiva, 05/12/2016)
5/13/2016 Fri   4,112,858   $27.88      $0.00 -2.04% -0.84%    -0.45%   -1.56%   -0.47%     -0.37 70.95%       -$0.14   Gregory J. McCray starts twelfth year as CenturyLink Director 12 May 2016 (People in Business -
                                                                                                                        Factiva, 05/13/2016)
                                                                                                                        BeyoncÃƒÂ© brings her masterful Ã¢â‚¬ËœLemonade' stand to CenturyLink (The Seattle Times -
                                                                                                                        Factiva, 05/13/2016)
                                                                                                                        CenturyLink delivers Hybrid IT for Mindtree Singapore, Hong Kong (Emirates News Agency
                                                                                                                        (WAM) - Factiva, 05/13/2016)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for Method and Apparatus for
                                                                                                                        Communicating Data via a Cable Card (USPTO 9332217) (Entertainment Newsweekly - Factiva,
                                                                                                                        05/13/2016)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/13/2016)
                                                                                                                        Luke Bryan takes time to kick the dust up at CenturyLink Center (Kearney Hub - Factiva,
                                                                                                                        05/13/2016)
                                                                                                                        Top of the Phoenix Lists: Telephone Companies (Phoenix Business Journal Online - Factiva,
                                                                                                                        05/13/2016)
5/14/2016 Sat
5/15/2016 Sun                                                                                                           5 hot summer concerts (The Seattle Times - Factiva, 05/15/2016)
                                                                                                                        Beyonce Tickets @ CenturyLink Field in Seattle, WA: Ticket Process Offers Beyonce Tickets at
                                                                                                                        CenturyLink Field in Washington, WA For May 18, 2016 Concert. (M2 Presswire - Factiva,
                                                                                                                        05/15/2016)
5/16/2016 Mon   3,863,441   $27.82      $0.00 -0.22%   0.99%   -0.20%   0.90%    -1.11%     -0.88 38.25%       -$0.31   Beyonce Tickets @ CenturyLink Field in Seattle, WA: Ticket Process Offers Last Minute Beyonce
                                                                                                                        Tickets at CenturyLink Field in Washington, WA For May 18, 2016 Concert. (M2 Presswire -
                                                                                                                        Factiva, 05/16/2016)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Identifying E-
                                                                                                                        911 Calls and Notifying Family Members/Friends of the Caller (USPTO 9332122) (Journal of
                                                                                                                        Engineering - Factiva, 05/16/2016)
                                                                                                                        Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 05/16/2016)
                                                                                                                        Sadif Analytics Analyst Report (Eikon - Manual Entry, 05/16/2016)
                                                                                                                        WASHINGTON -- UTC approves CenturyLink's emergency communications plans (TR's State
                                                                                                                        NewsWire - Factiva, 05/16/2016)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events

                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 05/16/2016)
                                                                                                                         More than 300 projects in 33 states awarded $1.3 million in technology grants from the
                                                                                                                         CenturyLink Clarke M. Williams Foundation (PR Newswire - Factiva, 05/16/2016 09:00 AM)
                                                                                                                         Press Release: More than 300 projects in 33 states awarded $1.3 million in technology grants from
                                                                                                                         the CenturyLink Clarke M. Williams Foundation (Dow Jones Institutional News - Factiva, 05/16/2016
                                                                                                                         09:00 AM)
5/17/2016 Tue   5,193,072   $27.45      $0.00 -1.33% -0.91%      0.02%   -1.20%   -0.13%      -0.1 91.98%       -$0.04
5/18/2016 Wed   5,896,542   $26.88      $0.00 -2.08% 0.04%      -1.31%   -1.30%   -0.78%     -0.62 53.46%       -$0.21   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 05/18/2016)

                                                                                                                         ISE magazine; Opening Keynote Set for ISE EXPO 2016, Formerly OSP EXPO
                                                                                                                         (Telecommunications Weekly - Factiva, 05/18/2016)
                                                                                                                         New concerts announced for Shreveport-Bossier City (Shreveport Times - Factiva, 05/18/2016)
                                                                                                                         Trademarks; Trademark Application for "QWEST OFFICE NETWORKING" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 05/18/2016)
                                                                                                                         Valu-Trac Investments Analyst Report (Capital IQ - Manual Entry, 05/18/2016)
                                                                                                                         CenturyLink Declares Quarterly Cash Dividend (PR Newswire - Factiva, 05/18/2016 05:25 PM)
                                                                                                                         Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                         Factiva, 05/18/2016 05:25 PM)
5/19/2016 Thu   6,537,034   $26.92      $0.00   0.15% -0.37%    -0.45%   -1.01%    1.16%      0.92 35.86%       $0.31    SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         CENTURYLINK AND DISHNET WIRELINE (US Fed News - Factiva, 05/19/2016)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES ORDER REGARDING
                                                                                                                         CENTURYLINK AND DISHNET WIRELINE (US Fed News - Factiva, 05/19/2016)
                                                                                                                         G2G Marketplace announces addition of CenturyLink services (MarketLine, Company News -
                                                                                                                         Factiva, 05/19/2016 04:11 AM)
5/20/2016 Fri   4,545,375   $27.06      $0.00   0.52%   0.62%   -0.28%   0.38%     0.14%      0.11 91.02%       $0.04    BeyoncÃƒÂ© ignites Ã¢â‚¬Ëœ12th woman' at CenturyLink Field concert (The Seattle Times -
                                                                                                                         Factiva, 05/20/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/20/2016)
5/21/2016 Sat                                                                                                            CENTURYLINK INSIDERS AWARDED OPTIONS (People in Business - Factiva, 05/21/2016)
5/22/2016 Sun
5/23/2016 Mon   3,988,278   $26.91      $0.00 -0.55% -0.20%     -0.52%   -0.85%    0.30%      0.24 81.43%       $0.08    CenturyLink, Inc. CenturyLink joins G2G Marketplace, a technology procurement center for U.S.
                                                                                                                         state and local government agencies (Journal of Engineering - Factiva, 05/23/2016)
                                                                                                                         BRIEF: CenturyLink awards Greeley's Shawsheen Elementary School over $3,000 (Greeley Tribune
                                                                                                                         (Tribune Content Agency) - Factiva, 05/23/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Logging Traffic
                                                                                                                         Flow (USPTO 9338104) (Journal of Engineering - Factiva, 05/23/2016)
                                                                                                                         Swim Trials CEO says pool building is an amazing process, will take at least two weeks (Star-Herald -
                                                                                                                         Factiva, 05/23/2016)
5/24/2016 Tue   4,142,932   $27.20      $0.00   1.08%   1.37%   -0.14%   1.43%    -0.35%     -0.28 78.23%       -$0.09   Level 3 Communications Inc at JPMorgan Technology, Media and Telecom Conference - Final (CQ
                                                                                                                         FD Disclosure - Factiva, 05/24/2016)
                                                                                                                         CENTURYLINK INSIDERS AWARDED OPTIONS (People in Business - Factiva, 05/24/2016)
                                                                                                                         HARTE-HANKS UPDATES DIRECTOR PROFILES (People in Business - Factiva, 05/24/2016)
                                                                                                                         KANSAS -- KCC opens proceeding to determine CenturyLink's KUSF support (TR's State
                                                                                                                         NewsWire - Factiva, 05/24/2016)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events

                                                                                                                        Telcordia Contract's VoIP Treatment Points to Need for Further Review, Group Says
                                                                                                                        (Communications Daily - Factiva, 05/24/2016)
                                                                                                                        U.S. OLYMPIC SWIM TRIALS; Work to flow for 2 weeks in pool build (Omaha World-Herald -
                                                                                                                        Factiva, 05/24/2016)
5/25/2016 Wed   3,996,238   $27.18      $0.00 -0.07%   0.70%   -0.06%   0.69%    -0.77%     -0.61 54.33%       -$0.21   RagingWire COO (TR Daily - Factiva, 05/25/2016)
                                                                                                                        Softball all-stars play tonight at CenturyLink (Naples Daily News - Factiva, 05/25/2016)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 10-Q, Quarterly Report [Sections
                                                                                                                        13 Or 15(D)] (May. 5, 2016) (Telecommunications Weekly - Factiva, 05/25/2016)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (May. 4, 2016)
                                                                                                                        (Telecommunications Weekly - Factiva, 05/25/2016)
                                                                                                                        Telephone Communications; Qwest Corp. Files SEC Form 10-Q, Quarterly Report [Sections 13 Or
                                                                                                                        15(D)] (May. 9, 2016) (Telecommunications Weekly - Factiva, 05/25/2016)
5/26/2016 Thu   3,891,829   $26.63      $0.54 -0.04% -0.01%    0.62%    0.46%    -0.50%     -0.39 69.36%       -$0.14
5/27/2016 Fri   3,173,307   $26.81      $0.00 0.68% 0.45%      0.33%    0.73%    -0.05%     -0.04 96.85%       -$0.01   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/27/2016)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/27/2016)
5/28/2016 Sat
5/29/2016 Sun
5/30/2016 Mon                                                                                                           CenturyLink, Inc. More than 300 projects in 33 states awarded $1.3 million in technology grants
                                                                                                                        from the CenturyLink Clarke M. Williams Foundation (Journal of Engineering - Factiva, 05/30/2016)

5/31/2016 Tue   6,054,661   $27.12      $0.00   1.16% -0.09%   0.56%    0.32%     0.83%      0.68 49.51%       $0.22    NEBRASKA -- PSC says marketing complaint against CenturyLink resolved (TR's State NewsWire -
                                                                                                                        Factiva, 05/31/2016)
 6/1/2016 Wed   4,001,728   $26.90      $0.00 -0.81%   0.13%   -1.10%   -1.03%    0.22%      0.18 85.59%       $0.06    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 06/01/2016)

                                                                                                                        CenturyLink fined again for failing to answer call for help (The Rapid City Journal - Factiva,
                                                                                                                        06/01/2016)
                                                                                                                        CenturyLink fined for third time this year (Black Hills Pioneer - Factiva, 06/01/2016)
                                                                                                                        CenturyLink fined for third time this year (Capital Journal - Factiva, 06/01/2016)
                                                                                                                        CenturyLink joins U.S. Department of Energy's Better Buildings Challenge for energy efficiency
                                                                                                                        improvements in data centers (Investing.com - Factiva, 06/01/2016)
                                                                                                                        State Telecom (Communications Daily - Factiva, 06/01/2016)
                                                                                                                        VIRGINIA -- CenturyLink files for regulation as 'competitive telephone company' (TR's State
                                                                                                                        NewsWire - Factiva, 06/01/2016)
                                                                                                                        (PR) CenturyLink joins U.S. Department of Energy's Better Buildings Challenge for energy
                                                                                                                        efficiency improvements in data centers (PR Newswire - Factiva, 06/01/2016 09:00 AM)
                                                                                                                        CenturyLink joins U.S. Department of Energy's Better Buildings Challenge for energy efficiency
                                                                                                                        improvements in data centers (Canada NewsWire - Factiva, 06/01/2016 09:00 AM)
                                                                                                                        Press Release: CenturyLink joins U.S. Department of Energy's Better Buildings Challenge for
                                                                                                                        energy efficiency improvements in data centers (Dow Jones Institutional News - Factiva, 06/01/2016
                                                                                                                        09:00 AM)
                                                                                                                        Press Release: CenturyLink joins U.S. Department of Energy's Better Buildings Challenge for
                                                                                                                        energy efficiency improvements in data centers (Dow Jones Institutional News - Factiva, 06/01/2016
                                                                                                                        09:06 AM)




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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                        Qwest Expands Into Multi Media Financing and Launches Qwest Productivity Media Income Trust
                                                                                                                        (Marketwired - Factiva, 06/01/2016 01:01 PM)
6/2/2016 Thu   3,685,978   $27.12      $0.00   0.82%   0.29%   0.32%    0.57%     0.24%       0.2 84.00%       $0.07    CenturyLink Intellectual Property LLC; Patent Issued for Metadata System for Real-Time
                                                                                                                        Updates to Electronic Program Guides (USPTO 9351043) (Computer Weekly News - Factiva,
                                                                                                                        06/02/2016)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for Video Qualification Device, System, and
                                                                                                                        Method (USPTO 9350987) (Computer Weekly News - Factiva, 06/02/2016)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 06/02/2016)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 06/02/2016)
6/3/2016 Fri   4,518,663   $27.35      $0.00   0.85% -0.29%    0.77%    0.26%     0.59%      0.49 62.64%       $0.16    COMPANY SNAPSHOTS; CENTURYLINK, INC . (NYSE: CTL) - UPDATED 03 JUNE 2016
                                                                                                                        (Acquisdata Global Industry SnapShot - Factiva, 06/03/2016)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/03/2016)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 06/03/2016)
6/4/2016 Sat                                                                                                            Fans were few but passionate for Seattle's first Copa match (The Daily Herald - Factiva, 06/04/2016)

6/5/2016 Sun                                                                                                            Peru tops Haiti at CenturyLink; Seattle hosts Copa America contest (Kitsap Sun - Factiva,
                                                                                                                        06/05/2016)
6/6/2016 Mon   4,337,203   $27.15      $0.00 -0.73%    0.49%   -0.32%   0.22%    -0.96%      -0.8 42.72%       -$0.26   CenturyLink Intellectual Property LLC; Patent Issued for Network Traffic Data Scrubbing with
                                                                                                                        Services Offered via Anycasted Addresses (USPTO 9350706) (Journal of Engineering - Factiva,
                                                                                                                        06/06/2016)
                                                                                                                        CenturyLink employees, communities to participate in national food drive (PR Newswire - Factiva,
                                                                                                                        06/06/2016 08:00 AM)
                                                                                                                        Press Release: CenturyLink employees, communities to participate in national food drive (Dow
                                                                                                                        Jones Institutional News - Factiva, 06/06/2016 08:00 AM)
6/7/2016 Tue   5,174,476   $27.29      $0.00   0.52%   0.13%   1.43%    1.47%    -0.95%      -0.8 42.66%       -$0.26   Fitch Ratings Analyst Report (Capital IQ - Manual Entry, 06/07/2016)
6/8/2016 Wed   4,554,999   $27.04      $0.00 -0.92%    0.35%   -0.32%   0.06%    -0.97%     -0.84 40.01%       -$0.27   CenturyLink employees, communities participate in national food drive (Internet Business News -
                                                                                                                        Factiva, 06/08/2016)
                                                                                                                        CenturyLink employees, communities participate in national food drive (M2 EquityBites - Factiva,
                                                                                                                        06/08/2016)
                                                                                                                        Cheap 2016 Copa America Tickets @ MetLife Stadium, Levi's Stadium, NRG Stadium, Soldier
                                                                                                                        Field, Gillette Stadium, CenturyLink Field, Rose Bowl, Lincoln Financial Field & University of
                                                                                                                        Phoenix Stadium (M2 Presswire - Factiva, 06/08/2016)
                                                                                                                        Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 06/08/2016)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                        Beneficial Ownership of Securities (May. 20, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                        06/08/2016)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (May. 23,
                                                                                                                        2016) (Telecommunications Weekly - Factiva, 06/08/2016)
                                                                                                                        Trademarks; An Application for the Trademark "HOME NETWORK BACKER" Has Been Filed
                                                                                                                        by Qwest Communications International (Telecommunications Weekly - Factiva, 06/08/2016)

                                                                                                                        CenturyLink reports higher Q1 net income, provides guidance for Q2 (MarketLine News and
                                                                                                                        Comment - Factiva, 06/08/2016 11:48 AM)
                                                                                                                        F5 Networks' Fundamentals Are Broken; Chowdhry Says Sell Into Strength (Benzinga.com -
                                                                                                                        Factiva, 06/08/2016 01:07 PM)



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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

 6/9/2016 Thu   3,235,638   $27.00      $0.00 -0.15% -0.17%    0.73%    0.42%    -0.57%     -0.51 61.27%       -$0.15   Bharti Airtel; Plans To Tie Up With Centurylink For IT Services Project In India (Projects Tiger -
                                                                                                                        Factiva, 06/09/2016)
                                                                                                                        Bharti Airtel's data centre arm partners CenturyLink (Telecompaper Asia - Factiva, 06/09/2016)
                                                                                                                        Country music superstar to return to CenturyLink Center (Shreveport Times - Factiva, 06/09/2016)

                                                                                                                        IDAHO -- PUC approves disbursement of remaining Qwest funds (TR's State NewsWire - Factiva,
                                                                                                                        06/09/2016)
                                                                                                                        IOWA -- Great Lakes withdraws tariff for HVAS traffic (TR's State NewsWire - Factiva, 06/09/2016)

                                                                                                                        Telecommunication Companies; Patent Issued for Multi-User Integrated Task List (USPTO
                                                                                                                        9356790) (Computer Weekly News - Factiva, 06/09/2016)
                                                                                                                        GENBAND Application Server solution now available on CenturyLink's Networx contracts (PR
                                                                                                                        Newswire - Factiva, 06/09/2016 09:00 AM)
                                                                                                                        GENBAND Application Server solution now available on CenturyLink's Networx contracts (PR
                                                                                                                        Newswire - Factiva, 06/09/2016 09:00 AM)
                                                                                                                        Press Release: GENBAND Application Server solution now available on CenturyLink's Networx
                                                                                                                        contracts (Dow Jones Institutional News - Factiva, 06/09/2016 09:00 AM)
6/10/2016 Fri   5,564,331   $26.96      $0.00 -0.15% -0.92%    1.46%    0.21%    -0.35%     -0.31 75.34%       -$0.10   CenturyLink, Inc. - Major Products & Services (MarketLine Company Profiles - Factiva, 06/10/2016)

                                                                                                                        CenturyLink, Inc. CenturyLink joins U.S. Department of Energy's Better Buildings Challenge for
                                                                                                                        energy efficiency improvements in data centers (Energy Weekly News - Factiva, 06/10/2016)
                                                                                                                        Genband App Server Available Via CenturyLink's Federal Contracts (New Vision - Factiva,
                                                                                                                        06/10/2016)
                                                                                                                        2016 Copa America Centenario Tickets CenturyLink Field in Seattle, Washington. Find Tickets for
                                                                                                                        Argentina vs. Bolivia & the Querterfinals at CenturyLink Field in Seattle, WA. (M2 Presswire -
                                                                                                                        Factiva, 06/10/2016)
                                                                                                                        Affordable Copa America Tickets @ Levi's Stadium, Soldier Field, MetLife Stadium, NRG
                                                                                                                        Stadium, Gillette Stadium, CenturyLink Field, Rose Bowl, Lincoln Financial Field & University of
                                                                                                                        Phoenix Stadium (M2 Presswire - Factiva, 06/10/2016)
                                                                                                                        AirtelÃ¢â‚¬â„¢s data centre unit inks pact with US firm CenturyLink (The Economic Times -
                                                                                                                        Factiva, 06/10/2016)
                                                                                                                        AirtelÃ¢â‚¬â„¢s data centre unit inks pact with US firm CenturyLink (The Times of India - Factiva,
                                                                                                                        06/10/2016)
                                                                                                                        CenturyLink adds Genband application server to Networx contracts (Total Telecom Plus - Factiva,
                                                                                                                        06/10/2016)
                                                                                                                        COURT UPHOLDS TWO STATE COMMISSIONSÃ¢â‚¬â„¢ ICA ARBITRATION ORDERS (TR
                                                                                                                        Daily - Factiva, 06/10/2016)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 06/10/2016)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 06/10/2016)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/10/2016)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 06/10/2016)
                                                                                                                        OREGON -- Ninth Circuit upholds two state commission's approval of ICAs (TR's State NewsWire -
                                                                                                                        Factiva, 06/10/2016)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        United States : GENBAND Application Server solution now available on CenturyLinks Networx
                                                                                                                        contracts (National Iraqi News Agency - Factiva, 06/10/2016)
6/11/2016 Sat                                                                                                           Cheap Argentina vs. Bolivia Tickets at CenturyLink Field in Seattle (Copa America Cententario
                                                                                                                        Group D - Match 24): Ticket Offers Discounted Ticket Prices for Bolivia vs. Argentina @
                                                                                                                        CenturyLink Field (M2 Presswire - Factiva, 06/11/2016)
6/12/2016 Sun                                                                                                           Get Argentina vs. Bolivia and the Quarterfinals tickets for CenturyLink Field in Seattle,
                                                                                                                        Washington in 2016. Copa America Centenario Tickets at CenturyLink Field in Seattle, WA. (M2
                                                                                                                        Presswire - Factiva, 06/12/2016)
                                                                                                                        (PR) Nxtra Data and CenturyLink announce exclusive business partnership to deliver hosting and
                                                                                                                        managed IT services in India (PR Newswire - Factiva, 06/12/2016 02:30 AM)
                                                                                                                        Nxtra Data and CenturyLink announce exclusive business partnership to deliver hosting and
                                                                                                                        managed IT services in India (Canada NewsWire - Factiva, 06/12/2016 02:30 AM)
                                                                                                                        Nxtra Data and CenturyLink announce exclusive business partnership to deliver hosting and
                                                                                                                        managed IT services in India (PR Newswire Asia - Factiva, 06/12/2016 02:30 AM)
                                                                                                                        Nxtra Data and CenturyLink announce exclusive business partnership to deliver hosting and
                                                                                                                        managed IT services in India (PR Newswire Europe - Factiva, 06/12/2016 02:30 AM)
                                                                                                                        NXTRA DATA AND CENTURYLINK ANNOUNCE EXCLUSIVE BUSINESS PARTNERSHIP
                                                                                                                        TO DELIVER HOSTING AND MANAGED IT SERVICES IN INDIA (Press Association National
                                                                                                                        Newswire - Factiva, 06/12/2016 02:30 AM)
                                                                                                                        Press Release: Nxtra Data and CenturyLink announce exclusive business partnership to deliver
                                                                                                                        hosting and managed IT services in India (Dow Jones Institutional News - Factiva, 06/12/2016 02:30
                                                                                                                        AM)
                                                                                                                        Press Release: Nxtra Data and CenturyLink announce exclusive business partnership to deliver
                                                                                                                        hosting and managed IT services in India (Dow Jones Institutional News - Factiva, 06/12/2016 02:30
                                                                                                                        AM)
6/13/2016 Mon   5,699,862   $26.89      $0.00 -0.26% -0.78%    0.20%   -0.88%     0.62%      0.55 58.21%       $0.17    CenturyLink Intellectual Property LLC; Patent Issued for Method for Assembling Stamp for
                                                                                                                        Ground Bonding Strap (USPTO 9352374) (Journal of Engineering - Factiva, 06/13/2016)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Anonymizing a
                                                                                                                        Telephone Number (USPTO 9357059) (Journal of Engineering - Factiva, 06/13/2016)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Communicating
                                                                                                                        Emergency Information through Messaging (USPTO 9357370) (Journal of Engineering - Factiva,
                                                                                                                        06/13/2016)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Projecting
                                                                                                                        Information from a Wireless Device (USPTO 9357365) (Journal of Engineering - Factiva, 06/13/2016)

                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for System, Method and Apparatus for
                                                                                                                        Transmitting Audio Signals over a Voice Channel (USPTO 9357065) (Journal of Engineering -
                                                                                                                        Factiva, 06/13/2016)
                                                                                                                        Cheap Copa America Quarterfinals Tickets @ Levi's Stadium, Gillette Stadium, MetLife Stadium
                                                                                                                        & CenturyLink Field: Ticket Down Offers Discounted Ticket Prices on Copa America
                                                                                                                        Quarterfinals Tickets (M2 Presswire - Factiva, 06/13/2016)
                                                                                                                        Cheap USA vs. Ecuador Copa America Quarterfinals Tickets @ CenturyLink Field in Seattle:
                                                                                                                        Ticket Down Slashes Ticket Prices for USMNT vs. Ecuador Copa America Quarterfinals @
                                                                                                                        CenturyLink Field on 6/16 (M2 Presswire - Factiva, 06/13/2016)
                                                                                                                        GlobalData Analyst Report (Eikon - Manual Entry, 06/13/2016)
                                                                                                                        Joe Nacchio's insider trading gains aren't tax deductible, court rules (Denver Business Journal Online
                                                                                                                        - Factiva, 06/13/2016)



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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                   Events

                                                                                                                         Messi will play for Argentina in Copa America game at CenturyLink Field (The Daily Herald -
                                                                                                                         Factiva, 06/13/2016)
                                                                                                                         Nxtra Data and CenturyLink announce exclusive business partnership to deliver hosting and
                                                                                                                         managed IT services in India (IT Var News - Factiva, 06/13/2016)
                                                                                                                         Nxtra Data and CenturyLink announces exclusive business partnership to deliver hosting and
                                                                                                                         managed IT services in India (Telecom Tiger - Factiva, 06/13/2016)
                                                                                                                         Nxtra Data and CenturyLink partner to deliver hosting and managed IT services in India
                                                                                                                         (Dataquest - Factiva, 06/13/2016)
                                                                                                                         Nxtra Data-CenturyLink latest partnesrhip to exploit Indian managed services opportunity (The
                                                                                                                         CTO Forum - Factiva, 06/13/2016)
                                                                                                                         Ribbon cutting, open house held for new Pell City Municipal Complex (The Daily Home - Factiva,
                                                                                                                         06/13/2016)
6/14/2016 Tue   5,626,759   $26.68      $0.00 -0.78% -0.17%    0.72%    0.39%    -1.17%     -1.05 29.70%        -$0.32   CenturyLink acquires ElasticBox (MarketLine, Financial Deals Tracker - Factiva, 06/14/2016)
                                                                                                                         CenturyLink acquires ElasticBox, terms not disclosed (Theflyonthewall.com - Factiva, 06/14/2016)

                                                                                                                         CenturyLink Buys Multi-cloud Platform Startup ElasticBox (RTT News - Factiva, 06/14/2016)
                                                                                                                         ElasticBox acquired by CenturyLink (MarketLine, Financial Deals Tracker - Factiva, 06/14/2016)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 06/14/2016)
                                                                                                                         Messi will play at CenturyLink Field; Argentina meets Bolivia in Copa match (Kitsap Sun - Factiva,
                                                                                                                         06/14/2016)
                                                                                                                         Nxtra Data and CenturyLink partners to deliver hosting and managed IT services in India (Express
                                                                                                                         Computer - Factiva, 06/14/2016)
                                                                                                                         State utilities commission funds suicide hotline (The Coeur d'Alene Press - Factiva, 06/14/2016)
                                                                                                                         (PR) CenturyLink acquires multi-cloud platform startup ElasticBox (PR Newswire - Factiva,
                                                                                                                         06/14/2016 08:00 AM)
                                                                                                                         *CenturyLink Acquires Multi-cloud Platform Startup ElasticBox >CTL (Dow Jones Institutional
                                                                                                                         News - Factiva, 06/14/2016 08:00 AM)
                                                                                                                         CenturyLink acquires multi-cloud platform startup ElasticBox (Canada NewsWire - Factiva,
                                                                                                                         06/14/2016 08:00 AM)
                                                                                                                         CenturyLink acquires multi-cloud platform startup ElasticBox (PR Newswire Europe - Factiva,
                                                                                                                         06/14/2016 08:00 AM)
                                                                                                                         CENTURYLINK ACQUIRES MULTI-CLOUD PLATFORM STARTUP ELASTICBOX (Press
                                                                                                                         Association National Newswire - Factiva, 06/14/2016 08:00 AM)
                                                                                                                         CenturyLink acquires multi-cloud platform startup ElasticBox; Deal enhances CenturyLink's
                                                                                                                         ability to deliver end-to-end network, multi-cloud and hybrid IT services to business customers
                                                                                                                         globally (PR Newswire Asia - Factiva, 06/14/2016 08:00 AM)
                                                                                                                         Press Release: CenturyLink acquires multi-cloud platform startup ElasticBox (Dow Jones
                                                                                                                         Institutional News - Factiva, 06/14/2016 08:00 AM)
6/15/2016 Wed   9,091,734   $27.23      $0.00   2.06% -0.18%   -0.10%   -0.44%    2.50%      2.24   2.69% *     $0.67    ACA, CenturyLink decry net neutrality ruling (Telecompaper Americas - Factiva, 06/15/2016)
                                                                                                                         Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 06/15/2016)

                                                                                                                         CenturyLink Acquires Application Management Service Startup ElasticBox (M&A Navigator -
                                                                                                                         Factiva, 06/15/2016)



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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                        CenturyLink acquires multi-cloud application management company ElasticBox to enhance
                                                                                                                        services (Optical Networks Daily - Factiva, 06/15/2016)
                                                                                                                        CenturyLink acquires multi-cloud platform startup ElasticBox (Telecompaper Americas - Factiva,
                                                                                                                        06/15/2016)
                                                                                                                        CenturyLink announces acquisition of ElasticBox (FinancialWire - Factiva, 06/15/2016)
                                                                                                                        CenturyLink announces acquisition of ElasticBox (Worldwide Computer Products News - Factiva,
                                                                                                                        06/15/2016)
                                                                                                                        CenturyLink buys multi-cloud platform startup (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 06/15/2016)
                                                                                                                        CenturyLink, Bharti Airtel unit partner on IT in India (SNL Kagan Media & Communications Report
                                                                                                                        - Factiva, 06/15/2016)
                                                                                                                        COLLEGE WORLD SERIES/SWIM TRIALS; Tote that box, lift that wheel Ã¢â‚¬â€ party is
                                                                                                                        coming (Omaha World-Herald - Factiva, 06/15/2016)
                                                                                                                        Guide to parking during the CWS; CenturyLink Center garage lowers price to draw users; options
                                                                                                                        also offered for Olympic Swim Trials (Omaha World-Herald - Factiva, 06/15/2016)
                                                                                                                        High Copa America ticket prices could prevent sellout for USA-Ecuador match at Seattle's
                                                                                                                        CenturyLink Field (The Oregonian (Tribune Content Agency) - Factiva, 06/15/2016)
                                                                                                                        Honors (Naples Daily News - Factiva, 06/15/2016)
                                                                                                                        Local swimmers to pursue spot in Trials (The Daily Nonpareil - Factiva, 06/15/2016)
                                                                                                                        M&A Transaction | ElasticBox Inc. (The Deal - Factiva, 06/15/2016)
                                                                                                                        Sellout at Link, 200,000-plus, will topple U.S. record; Total attendance (Omaha World-Herald -
                                                                                                                        Factiva, 06/15/2016)
                                                                                                                        Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                        for "QPP" Filed (Telecommunications Weekly - Factiva, 06/15/2016)
                                                                                                                        Telecommunication Companies; Trademark Application for "QWEST PERSONAL DIGITAL
                                                                                                                        VAULT" Filed by Qwest Communications International (Telecommunications Weekly - Factiva,
                                                                                                                        06/15/2016)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                        Beneficial Ownership of Securities (May. 25, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                        06/15/2016)
                                                                                                                        United States : CenturyLink acquires multi-cloud platform startup ElasticBox (The Palestine
                                                                                                                        Chronicle - Factiva, 06/15/2016)
                                                                                                                        United States : GENBAND Application Server solution now available on CenturyLink's Networx
                                                                                                                        contracts (The Jordan Times - Factiva, 06/15/2016)
                                                                                                                        United States : Nxtra Data and CenturyLink announce exclusive business partnership to deliver
                                                                                                                        hosting and managed IT services in India (The Jordan Times - Factiva, 06/15/2016)
6/16/2016 Thu   7,071,353   $27.24      $0.00   0.04%   0.33%   0.64%   0.98%    -0.94%     -0.83 40.81%       -$0.26   CenturyLink, Inc. CenturyLink employees, communities to participate in national food drive (Food
                                                                                                                        Weekly News - Factiva, 06/16/2016)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for Network Management Layer--
                                                                                                                        Configuration Management (USPTO 9363159) (Computer Weekly News - Factiva, 06/16/2016)
                                                                                                                        CenturyLink is where it all began for many Iowans (Omaha World-Herald - Factiva, 06/16/2016)
                                                                                                                        Garth Brooks Tickets at the CenturyLink Center in Bossier City, LA are On Sale at
                                                                                                                        NashvilleTicketBrokers.com with Promo Code (M2 Presswire - Factiva, 06/16/2016)




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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                          KANSAS -- CenturyLink, Dex Media seek waiver of telephone directory requirement (TR's State
                                                                                                                          NewsWire - Factiva, 06/16/2016)
                                                                                                                          Telecommunication Companies; Patent Issued for Methods of Delivering Calls on Dual-Mode
                                                                                                                          Wireless Handsets (USPTO 9363370) (Computer Weekly News - Factiva, 06/16/2016)
                                                                                                                          Telecommunication Companies; Patent Issued for Systems for Delivering Calls on Dual-Mode
                                                                                                                          Wireless Handsets (USPTO 9363384) (Computer Weekly News - Factiva, 06/16/2016)
6/17/2016 Fri   10,587,099   $27.46      $0.00   0.81% -0.33%    0.80%    0.28%     0.53%      0.47 64.20%       $0.14    CARRIERS FILE MOTION TO COUNTER Ã¢â‚¬ËœFLAWEDÃ¢â‚¬â„¢ DATA FRAMEWORK
                                                                                                                          IN FCC BDS PROPOSAL (TR Daily - Factiva, 06/17/2016)
                                                                                                                          CenturyLink, carriers to file motion to strike 'flawed' data from FCC proposal
                                                                                                                          (Theflyonthewall.com - Factiva, 06/17/2016)
                                                                                                                          Cheap Garth Brooks Tickets @ the CenturyLink Center in Bossier City/Shreveport, LA: Ticket
                                                                                                                          Down Slashes Garth Brooks Ticket Prices in Bossier City at the CenturyLink Center (M2 Presswire -
                                                                                                                          Factiva, 06/17/2016)
                                                                                                                          Garth Brooks Tickets CenturyLink Center in Bossier City, Louisiana. Find Tickets for Garth
                                                                                                                          Brooks at CenturyLink Center on July 30, 2016 in Bossier City, LA at Ticket Process now. (M2
                                                                                                                          Presswire - Factiva, 06/17/2016)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/17/2016)
                                                                                                                          NATIONAL -- Motion seeks to counter 'flawed' data framework in FCC BDS proposal (TR's State
                                                                                                                          NewsWire - Factiva, 06/17/2016)
                                                                                                                          TRDaily - June 17, 2016 CARRIERS FILE MOTION TO COUNTER Ã¢â‚¬ËœFLAWEDÃ¢â‚¬â„¢
                                                                                                                          DATA FRAMEWORK IN FCC BDS PROPOSAL MVPD PROVIDERS PROPOSE VIDEO-APPS
                                                                                                                          BASED REGIME FCC TO CONSIDER FOREIGN OWNERSHIP, OUTAGE, EAS ITEMS AT
                                                                                                                          JUNE 24 MEETING CTIA SAYS FCC SHOULD REJECT CALLS TO ELEVATE FSS, DELAY
                                                                                                                          ACTION DAC APPROVES WEA COMMENTS, CAPTIONING RECOMMENDATION CYBER
                                                                                                                          TECH PROVIDERS POINT TO LIMITATIONS OF DATA SHARING ITAPS PUBLISHES BEST
                                                                                                                          PRACTICES FOR STATE GOVERNMENT CYBERSECURITY NTIA REPORTS PROGRESS
                                                                                                                          IN MEETING 500 MHz GOAL FORFEITURE METHODOLOGY ITEM CIRCULATED
                                                                                                                          BUREAU APPROVES NECA LOOP SUPPORT FORMULA MODIFICATIONS ECFS DOWN
                                                                                                                          THIS WEEKEND HOUSE PANEL APPROVES STATE/LOCAL CYBER BILL CWA, IBEW
                                                                                                                          MEMBERS RATIFY NEW VERIZON CONTRACTS VitalConnect RAISES $25M OF FUNDING
                                                                                                                          NENA BOARD TV One SVP TEXAS INSTRUMENTS BOARD (TR Daily - Factiva, 06/17/2016)

                                                                                                                          Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 06/17/2016)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 06/17/2016)
                                                                                                                          CenturyLink, carriers will file motion to strike flawed data analysis from FCC business data
                                                                                                                          services proposal (PR Newswire - Factiva, 06/17/2016 09:00 AM)
6/18/2016 Sat
6/19/2016 Sun
6/20/2016 Mon    4,314,380   $27.57      $0.00   0.40%   0.58%   -0.30%   0.34%     0.06%      0.05 95.67%       $0.02    CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Caller
                                                                                                                          Identification Voice Announce (USPTO 9363387) (Journal of Engineering - Factiva, 06/20/2016)
                                                                                                                          CenturyLink says FCC special access proposal includes flawed data (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 06/20/2016)
                                                                                                                          Ouachita Green recognizes volunteers at luncheon (The News-Star - Factiva, 06/20/2016)
                                                                                                                          Research Report Initiated on Select Domestic Telecom Services Equities (ACCESSWIRE - Factiva,
                                                                                                                          06/20/2016)
                                                                                                                          Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 06/20/2016)
                                                                                                                          Sadif Analytics Analyst Report (Eikon - Manual Entry, 06/20/2016)



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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                        United States : CenturyLink, carriers will file motion to strike flawed data analysis from FCC
                                                                                                                        business data services proposal (Bakhtar News Agency - Factiva, 06/20/2016)
                                                                                                                        Junk Bonds Regain Fans Amid Rich Markets (DBR High Yield - Factiva, 06/20/2016 07:06 AM)
6/21/2016 Tue   4,730,413   $28.08      $0.00   1.85%   0.28%   0.50%   0.75%     1.10%      0.97 33.29%       $0.30    CenturyLink initiated with a Hold at Evercore ISI (Theflyonthewall.com - Factiva, 06/21/2016)
                                                                                                                        Evercore ISI Analyst Report (Capital IQ - Manual Entry, 06/21/2016)
                                                                                                                        Evercore ISI Analyst Report (Eikon - Manual Entry, 06/21/2016)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 06/21/2016)
                                                                                                                        NEW MEXICO -- PRC vacates hearing in CenturyLink rate center consolidation petition (TR's
                                                                                                                        State NewsWire - Factiva, 06/21/2016)
                                                                                                                        CenturyLink joins US Energy Department's Better Buildings Challenge (MarketLine, Company
                                                                                                                        News - Factiva, 06/21/2016 04:42 AM)
                                                                                                                        Nxtra Data and CenturyLink partner for hosting and managed IT services in India (MarketLine,
                                                                                                                        Company News - Factiva, 06/21/2016 06:01 AM)
                                                                                                                        CenturyLink announces availability of GENBAND application server solutions (MarketLine,
                                                                                                                        Company News - Factiva, 06/21/2016 06:06 AM)
6/22/2016 Wed   4,703,300   $27.92      $0.00 -0.57% -0.16%     0.29%   0.01%    -0.58%     -0.51 60.99%       -$0.16   CenturyLink, Inc. GENBAND Application Server solution now available on CenturyLink's
                                                                                                                        Networx contracts (Telecommunications Weekly - Factiva, 06/22/2016)
                                                                                                                        Trademarks; An Application for the Trademark "IT'S ALL ABOUT CHOICE QWEST CHOICE
                                                                                                                        TV & ONLINE" Has Been Filed by Qwest Communications International (Telecommunications
                                                                                                                        Weekly - Factiva, 06/22/2016)
                                                                                                                        (PR) CenturyLink unveils fully managed SD-WAN service (PR Newswire - Factiva, 06/22/2016 08:58
                                                                                                                        AM)
                                                                                                                        CenturyLink unveils fully managed SD-WAN service (Canada NewsWire - Factiva, 06/22/2016 08:58
                                                                                                                        AM)
                                                                                                                        Press Release: CenturyLink unveils fully managed SD-WAN service (Dow Jones Institutional News -
                                                                                                                        Factiva, 06/22/2016 08:58 AM)
                                                                                                                        Press Release: CenturyLink unveils fully managed SD-WAN service (Dow Jones Institutional News -
                                                                                                                        Factiva, 06/22/2016 08:58 AM)
                                                                                                                        CenturyLink Schedules Second Quarter 2016 Earnings Conference Call (PR Newswire - Factiva,
                                                                                                                        06/22/2016 04:20 PM)
                                                                                                                        Press Release: CenturyLink Schedules Second Quarter 2016 Earnings Conference Call (Dow Jones
                                                                                                                        Institutional News - Factiva, 06/22/2016 04:20 PM)
6/23/2016 Thu   3,478,131   $28.52      $0.00   2.15%   1.34%   0.43%   2.04%     0.11%       0.1 92.31%       $0.03    CenturyLink offers new, fully managed SD-WAN service (FinancialWire - Factiva, 06/23/2016)
                                                                                                                        CenturyLink offers new, fully managed SD-WAN service (Worldwide Computer Products News -
                                                                                                                        Factiva, 06/23/2016)
                                                                                                                        CenturyLink starts testing SD-WAN service (Telecompaper Americas - Factiva, 06/23/2016)
                                                                                                                        CenturyLink Unveils SD-WAN Service (Emirates News Agency (WAM) - Factiva, 06/23/2016)
                                                                                                                        CenturyLinkÃ¢â‚¬â„¢s 7.8% Dividend Yield Looks Safe (Barron's Online - Factiva, 06/23/2016)
                                                                                                                        MONTANA -- CenturyLink to consolidate two ordering, billing systems (TR's State NewsWire -
                                                                                                                        Factiva, 06/23/2016)
                                                                                                                        Woman at the Helm: Meet Harte HanksÃ¢â‚¬â„¢ New CEO (San Antonio Business Journal - Factiva,
                                                                                                                        06/23/2016)




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                                                             Excess                                             Abnormal
                                                     Market Industry Predicted Abnormal                           Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                 Events
6/24/2016 Fri   7,198,691   $27.93      $0.00 -2.07% -3.59%     1.51%    -3.14%    1.07%      0.95 34.33%         $0.31    CenturyLink launches SD-WAN service offering software-based, centralised management (Optical
                                                                                                                           Networks Daily - Factiva, 06/24/2016)
                                                                                                                           CenturyLink SD-WAN system (Telecompaper Americas - Factiva, 06/24/2016)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/24/2016)
                                                                                                                           NEW MEXICO -- CenturyLink says stipulation resolves rate center consolidation (TR's State
                                                                                                                           NewsWire - Factiva, 06/24/2016)
                                                                                                                           Olympic trials a treat for Roanoke teens (The Roanoke Times - Factiva, 06/24/2016)
                                                                                                                           Prism TV Ã¢â‚¬Ëœfree-for-life' DVR, isn't (Charlotte Sun - Factiva, 06/24/2016)
6/25/2016 Sat                                                                                                              Different strokes: Lochte to start tough; Olympic great likes challenge of 400 IM, which requires
                                                                                                                           four disciplines (Omaha World-Herald - Factiva, 06/25/2016)
                                                                                                                           United States : CenturyLink Schedules Second Quarter 2016 Earnings Conference Call (Emirates
                                                                                                                           News Agency (WAM) - Factiva, 06/25/2016)
                                                                                                                           United States : CenturyLink unveils fully managed SD-WAN service (Emirates News Agency (WAM)
                                                                                                                           - Factiva, 06/25/2016)
6/26/2016 Sun
6/27/2016 Mon   7,803,316   $26.82      $0.00 -3.97% -1.81%     1.89%    -0.46%   -3.52%     -3.13   0.22% **     -$0.98   CenturyLink, Inc. CenturyLink, carriers will file motion to strike flawed data analysis from FCC
                                                                                                                           business data services proposal (Journal of Engineering - Factiva, 06/27/2016)
                                                                                                                           Brexit Tech Stock Picks Include FANG Stocks FB, AMZN, NFLX, GOOGL (Investor's Business
                                                                                                                           Daily - Factiva, 06/27/2016)
                                                                                                                           CenturyLink Introduces Managed SD-WAN Service (Emirates News Agency (WAM) - Factiva,
                                                                                                                           06/27/2016)
                                                                                                                           Nxtra Data and CenturyLink partners to deliver IT services (DQ Week - Factiva, 06/27/2016)
6/28/2016 Tue   4,788,040   $27.84      $0.00   3.80%   1.80%   -0.99%   1.31%     2.49%      2.15   3.40% *      $0.67    CenturyLink, Inc. Nxtra Data and CenturyLink announce exclusive business partnership to deliver
                                                                                                                           hosting and managed IT services in India (Journal of India - Factiva, 06/28/2016)
                                                                                                                           CenturyLink acquires networking assets from the company formerly known as Active Broadband
                                                                                                                           Networks (MarketLine, Financial Deals Tracker - Factiva, 06/28/2016)
                                                                                                                           CENTURYLINK IN THIRD QUARTILE OF NYSE SCORECARD (People in Business - Factiva,
                                                                                                                           06/28/2016)
                                                                                                                           CenturyLink to offer gigabit internet in GJ (Emirates News Agency (WAM) - Factiva, 06/28/2016)

                                                                                                                           CenturyLink's business fiber service up to 1 Gbps now available in Grand Junction (PR Newswire -
                                                                                                                           Factiva, 06/28/2016 12:39 PM)
                                                                                                                           Press Release: CenturyLink's business fiber service up to 1 Gbps now available in Grand Junction
                                                                                                                           (Dow Jones Institutional News - Factiva, 06/28/2016 12:39 PM)
6/29/2016 Wed   7,539,651   $28.45      $0.00   2.19%   1.72%   -0.17%   2.06%     0.13%      0.11 91.51%         $0.04    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 06/29/2016)

                                                                                                                           CenturyLink acquires networking assets (Theflyonthewall.com - Factiva, 06/29/2016)
                                                                                                                           CenturyLink Acquires Networking Assets from Active Broadband Networks (India Investment News
                                                                                                                           - Factiva, 06/29/2016)
                                                                                                                           Centurylink acquires networking assets from company formerly known as Active Broadband
                                                                                                                           Networks (Reuters Significant Developments - Factiva, 06/29/2016)
                                                                                                                           CenturyLink Acquires Networking Assets To Strengthen Cloud, Virtualization (RTT News - Factiva,
                                                                                                                           06/29/2016)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        CenturyLink acquires SDN assets (Telecompaper Americas - Factiva, 06/29/2016)
                                                                                                                        CenturyLink BUYS ACTIVE BROADBAND ASSETS (TR Daily - Factiva, 06/29/2016)
                                                                                                                        CenturyLink's 1Gbps available in Grand Junction (Telecompaper Americas - Factiva, 06/29/2016)
                                                                                                                        CenturyLink's business fiber service up to 1 Gbps now available in Grand Junction (Emirates News
                                                                                                                        Agency (WAM) - Factiva, 06/29/2016)
                                                                                                                        Grant allows Marana High School students to do high-tech study of local agriculture (The Explorer -
                                                                                                                        Factiva, 06/29/2016)
                                                                                                                        CenturyLink unveils SD-WAN solution (MarketLine, Company News - Factiva, 06/29/2016 03:12 AM)

                                                                                                                        CenturyLink acquires networking assets from the company formerly known as Active Broadband
                                                                                                                        Networks (PR Newswire - Factiva, 06/29/2016 07:59 AM)
                                                                                                                        CenturyLink acquires networking assets from the company formerly known as Active Broadband
                                                                                                                        Networks; Technology will help CenturyLink accelerate virtualization plans (Canada NewsWire -
                                                                                                                        Factiva, 06/29/2016 07:59 AM)
                                                                                                                        Press Release: CenturyLink acquires networking assets from the company formerly known as
                                                                                                                        Active Broadband Networks (Dow Jones Institutional News - Factiva, 06/29/2016 07:59 AM)
                                                                                                                        BRIEF-Centurylink acquires networking assets from company formerly known as Active
                                                                                                                        Broadband Networks (Reuters News - Factiva, 06/29/2016 08:16 AM)
6/30/2016 Thu   5,490,072   $29.01      $0.00   1.97%   1.36%   0.64%   2.35%    -0.38%     -0.33 74.53%       -$0.11   CenturyLink, Inc. (formerly CenturyTel, Inc.) Ã¢â‚¬â€œ Mergers & Acquisitions (M&A),
                                                                                                                        Partnerships & Alliances and Investment Report (MarketResearch.com - Factiva, 06/30/2016)
                                                                                                                        Level 3 Communications, Inc. Ã¢â‚¬â€œ Mergers & Acquisitions (M&A), Partnerships & Alliances
                                                                                                                        and Investment Report (MarketResearch.com - Factiva, 06/30/2016)
                                                                                                                        CenturyLink (CTL) Announces Acquisition of Software-Based Broadband Networking Assets
                                                                                                                        (Emirates News Agency (WAM) - Factiva, 06/30/2016)
                                                                                                                        CenturyLink acquires networking assets from erstwhile Active Broadband Networks (The Economic
                                                                                                                        Times - Factiva, 06/30/2016)
                                                                                                                        CenturyLink Buys Assets of Active Broadband (Emirates News Agency (WAM) - Factiva, 06/30/2016)

                                                                                                                        CenturyLink buys networking assets (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                        06/30/2016)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 06/30/2016)
                                                                                                                        D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 06/30/2016)
                                                                                                                        CenturyLink's Enhanced Cybersecurity Services product added to GSA IT Schedule 70 contract
                                                                                                                        (PR Newswire - Factiva, 06/30/2016 09:00 AM)
                                                                                                                        Press Release: CenturyLink's Enhanced Cybersecurity Services product added to GSA IT Schedule
                                                                                                                        70 contract (Dow Jones Institutional News - Factiva, 06/30/2016 09:00 AM)
 7/1/2016 Fri   4,016,696   $29.37      $0.00   1.24%   0.21%   0.51%   0.68%     0.56%      0.48 63.31%       $0.16    Carriers Seek to Strike BDS Data Framework (Telecommunications Reports - Factiva, 07/01/2016)

                                                                                                                        CenturyLink acquires key networking assets (The News-Star - Factiva, 07/01/2016)
                                                                                                                        COMPANY SNAPSHOTS; CENTURYLINK, INC . (NYSE: CTL) - UPDATED 01 JULY 2016
                                                                                                                        (Acquisdata Global Industry SnapShot - Factiva, 07/01/2016)
                                                                                                                        United States : CENTURYLINK acquired strategic assets of ACTIVE BROADBAND
                                                                                                                        NETWORKS (Kabulpress.org - Factiva, 07/01/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                         United States : CenturyLink acquires networking assets from the company formerly known as
                                                                                                                         Active Broadband Networks (Investing.com - Factiva, 07/01/2016)
                                                                                                                         United States : CenturyLink's business fiber service up to 1 Gbps now available in Grand Junction
                                                                                                                         (Investing.com - Factiva, 07/01/2016)
                                                                                                                         United States : CenturyLink's Enhanced Cybersecurity Services product added to GSA IT Schedule
                                                                                                                         70 contract (Investing.com - Factiva, 07/01/2016)
 7/2/2016 Sat                                                                                                            CenturyLink acquires networking assets from the company formerly known as Active Broadband
                                                                                                                         Networks (New Vision - Factiva, 07/02/2016)
                                                                                                                         United States : CenturyLink buys networking assets (The Jordan Times - Factiva, 07/02/2016)
 7/3/2016 Sun                                                                                                            Fiber upgrade on reservation hampered by council split (The Riverton Ranger - Factiva, 07/03/2016)

 7/4/2016 Mon                                                                                                            CenturyLink, Inc. CenturyLink unveils fully managed SD-WAN service (Journal of Engineering -
                                                                                                                         Factiva, 07/04/2016)
                                                                                                                         NOTES; The pool isn't staying long at CenturyLink (Omaha World-Herald - Factiva, 07/04/2016)
 7/5/2016 Tue   3,620,604   $28.93      $0.00 -1.50% -0.68%     0.48%    -0.56%   -0.94%      -0.8 42.66%       -$0.28   CenturyLink Acquires Active Broadband Networks Networking Assets (M&A Navigator - Factiva,
                                                                                                                         07/05/2016)
                                                                                                                         CenturyLink acquires networking assets (Internet Business News - Factiva, 07/05/2016)
                                                                                                                         The debate on artificial intelligence (Mint - Factiva, 07/05/2016)
                                                                                                                         CenturyLink positioned as leader in Gartner's 2016 Magic Quadrant for Managed Hybrid Cloud
                                                                                                                         Hosting, Europe (PR Newswire Europe - Factiva, 07/05/2016 10:23 AM)
                                                                                                                         CENTURYLINK POSITIONED AS LEADER IN GARTNER'S 2016 MAGIC QUADRANT FOR
                                                                                                                         MANAGED HYBRID CLOUD HOSTING, EUROPE (Press Association National Newswire - Factiva,
                                                                                                                         07/05/2016 10:23 AM)
 7/6/2016 Wed   4,360,032   $29.50      $0.00   1.97%   0.57%   0.14%    0.85%     1.12%      0.98 32.97%       $0.32    Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                         Beneficial Ownership of Securities (Jun. 15, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                         07/06/2016)
                                                                                                                         Trademarks; CenturyLink's Trademark Application for "CUETV" Filed (Telecommunications
                                                                                                                         Weekly - Factiva, 07/06/2016)
 7/7/2016 Thu   3,568,819   $29.38      $0.00 -0.41% -0.08%     -1.54%   -1.52%    1.12%      0.98 32.95%       $0.33    CenturyLink, Inc. CenturyLink's Enhanced Cybersecurity Services product added to GSA IT
                                                                                                                         Schedule 70 contract (Politics & Government Week - Factiva, 07/07/2016)
                                                                                                                         Carriers Announce New Coalition to Preserve Investment, Competition in Broadband Market (PR
                                                                                                                         Newswire - Factiva, 07/07/2016 01:17 PM)
 7/8/2016 Fri   5,100,813   $30.22      $0.00   2.86%   1.53%   -0.09%   1.99%     0.87%      0.76 44.71%       $0.26    Agencies (Warren's Washington Internet Daily - Factiva, 07/08/2016)
                                                                                                                         ILECs band together to fight FCC special access proposal (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 07/08/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/08/2016)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 07/08/2016)
                                                                                                                         Global Multi-tenant Wholesale Data Center Market to Grow 13.08% by 2020 - Key Vendors are
                                                                                                                         Digital Reality, CenturyLink & Rackspace - Research and Markets (Business Wire - Factiva,
                                                                                                                         07/08/2016 09:47 AM)
 7/9/2016 Sat
7/10/2016 Sun
7/11/2016 Mon   4,846,266   $30.33      $0.00   0.36%   0.34%   -0.29%   0.19%     0.18%      0.15 87.85%       $0.05    CenturyLink, Inc. CenturyLink acquires networking assets from the company formerly known as
                                                                                                                         Active Broadband Networks (Journal of Engineering - Factiva, 07/11/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         Comcast, Charter Broadband Clout Dims CenturyLink, Says Macquarie (Investor's Business Daily -
                                                                                                                         Factiva, 07/11/2016)
                                                                                                                         07:22 EDT CenturyLink initiated with a Neutral at MacquarieMacquarie analyst Amy...
                                                                                                                         (Theflyonthewall.com - Factiva, 07/11/2016)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Capital IQ - Manual Entry, 07/11/2016)
                                                                                                                         D.A. Davidson & Co. Analyst Report (Eikon - Manual Entry, 07/11/2016)
                                                                                                                         Macquarie Research Analyst Report (Eikon - Manual Entry, 07/11/2016)
                                                                                                                         NATIONAL -- Windstream, Sprint, others says Verizon, AT&T tariffs violate order (TR's State
                                                                                                                         NewsWire - Factiva, 07/11/2016)
                                                                                                                         Telecommunications; CenturyLink Selects Versa Networks for Key Component of New Managed
                                                                                                                         SD-WAN and Security Service (Journal of Engineering - Factiva, 07/11/2016)
                                                                                                                         WINDSTREAM, SPRINT, INCOMPAS, OTHERS SAY VERIZON, AT&T TARIFFS VIOLATE
                                                                                                                         ORDER (TR Daily - Factiva, 07/11/2016)
                                                                                                                         CenturyLink Location-Based Analytics launches at Cisco Live (Canada NewsWire - Factiva,
                                                                                                                         07/11/2016 07:27 AM)
                                                                                                                         CenturyLink Location-Based Analytics launches at Cisco Live (PR Newswire - Factiva, 07/11/2016
                                                                                                                         07:27 AM)
                                                                                                                         Press Release: CenturyLink Location-Based Analytics launches at Cisco Live (Dow Jones
                                                                                                                         Institutional News - Factiva, 07/11/2016 07:27 AM)
                                                                                                                         Press Release: CenturyLink Location-Based Analytics launches at Cisco Live (Dow Jones
                                                                                                                         Institutional News - Factiva, 07/11/2016 07:27 AM)
                                                                                                                         Benzinga's Top Initiations (Benzinga.com - Factiva, 07/11/2016 09:22 AM)
7/12/2016 Tue   5,578,485   $30.74      $0.00   1.35%   0.70%   -0.80%   0.26%     1.09%      0.96 33.86%       $0.33    AT&T, CenturyLink, USTelecom URGE D.C. CIRCUIT TO REMAND CAF ORDER (TR Daily -
                                                                                                                         Factiva, 07/12/2016)
                                                                                                                         CenturyLink launches Location-Based Analytics (FinancialWire - Factiva, 07/12/2016)
                                                                                                                         CenturyLink launches Location-Based Analytics (Worldwide Computer Products News - Factiva,
                                                                                                                         07/12/2016)
                                                                                                                         MINNESOTA -- CenturyLink files for 'competitive market regulation' under new law (TR's State
                                                                                                                         NewsWire - Factiva, 07/12/2016)
                                                                                                                         Partners Applaud Cisco, CenturyLink's Joint Location-Based Analytics IoT System (New Vision -
                                                                                                                         Factiva, 07/12/2016)
                                                                                                                         TRDaily - July 12, 2016 ALL FIVE FCC COMMISSIONERS AGREE Ã¢â‚¬ËœAPPS-
                                                                                                                         BASEDÃ¢â‚¬â„¢ NAVIGATION... (TR Daily - Factiva, 07/12/2016)
                                                                                                                         US carriers form coalition to preserve investment, competition in broadband market (M2
                                                                                                                         EquityBites - Factiva, 07/12/2016)
                                                                                                                         Wireline (Communications Daily - Factiva, 07/12/2016)
7/13/2016 Wed   3,948,821   $30.88      $0.00   0.46%   0.02%   0.76%    0.64%    -0.19%     -0.17 86.83%       -$0.06   BIOS U.S. SENATE (The Spokesman-Review - Factiva, 07/13/2016)
                                                                                                                         Business leader Don Bliss dies (Phoenix Business Journal Online - Factiva, 07/13/2016)
                                                                                                                         Cut fiber causes service outages for AT&T, CenturyLink (Emirates News Agency (WAM) - Factiva,
                                                                                                                         07/13/2016)
                                                                                                                         Cut fiber causes service outages for AT&T, CenturyLink (The Rapid City Journal - Factiva,
                                                                                                                         07/13/2016)
                                                                                                                         Wireline (Communications Daily - Factiva, 07/13/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         CenturyLink employees, communities and Foundation contribute more than $1.6 million during
                                                                                                                         national online food drive (PR Newswire - Factiva, 07/13/2016 09:00 AM)
                                                                                                                         Press Release: CenturyLink employees, communities and Foundation contribute more than $1.6
                                                                                                                         million during national online food drive (Dow Jones Institutional News - Factiva, 07/13/2016 09:00
                                                                                                                         AM)
7/14/2016 Thu   4,369,182   $31.30      $0.00   1.36%   0.53%   -0.24%   0.53%     0.83%      0.74 46.21%       $0.26    Denver Broncos and CenturyLink host 'Dinner with a Draft Pick'; AP Planner; Future News Item;
                                                                                                                         Denver Broncos (AP Planner - Factiva, 07/14/2016)
                                                                                                                         Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 07/14/2016)

                                                                                                                         CenturyLink, Cisco team up for Wi-Fi location analytics (New Vision - Factiva, 07/14/2016)
                                                                                                                         Digital Bridge acquires data center company: Reuters (PE Hub Network - Factiva, 07/14/2016)
                                                                                                                         NEBRASKA -- PSC releases final amounts of USF distributions for 2016 (TR's State NewsWire -
                                                                                                                         Factiva, 07/14/2016)
                                                                                                                         CenturyLink introduces CenturyLink Location-Based Analytics solution (MarketLine, Company
                                                                                                                         News - Factiva, 07/14/2016 06:57 AM)
                                                                                                                         Digital Bridge acquires data center company (Reuters News - Factiva, 07/14/2016 07:00 AM)
                                                                                                                         UPDATE 1-Digital Bridge acquires data center company (Reuters News - Factiva, 07/14/2016 02:39
                                                                                                                         PM)
7/15/2016 Fri   4,568,449   $31.32      $0.00   0.06% -0.09%    0.24%    0.07%    -0.01%     -0.01 99.53%       $0.00    CENTURYLINK EXEC TOUTS LA CROSSE'S GROWTH RING SPEAKS AT ANNUAL LADCO
                                                                                                                         BREAKFAST (La Crosse Tribune - Factiva, 07/15/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/15/2016)
                                                                                                                         Parties Say Verizon, AT&T Tariffs Violate Order (Telecommunications Reports - Factiva,
                                                                                                                         07/15/2016)
7/16/2016 Sat                                                                                                            CenturyLink director Harvey P. Perry sells 15 July 2016 (People in Business - Factiva, 07/16/2016)

                                                                                                                         CenturyLink spokesman calls internet outages in June a 'perfect storm'; Internet outages caused by
                                                                                                                         5 cuts (The Durango Herald - Factiva, 07/16/2016)
7/17/2016 Sun
7/18/2016 Mon   4,912,949   $30.92      $0.00 -1.28%    0.24%   -0.14%   0.21%    -1.49%     -1.34 18.17%       -$0.47   07:45 EDT CenturyLink downgraded to Underweight from Equal Weight at Morgan...
                                                                                                                         (Theflyonthewall.com - Factiva, 07/18/2016)
                                                                                                                         CenturyLink contributes USD1.6 million to online food drive (Internet Business News - Factiva,
                                                                                                                         07/18/2016)
                                                                                                                         CenturyLink wins contract to provide disaster recovery services to OCC (Theflyonthewall.com -
                                                                                                                         Factiva, 07/18/2016)
                                                                                                                         Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 07/18/2016)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 07/18/2016)
                                                                                                                         CenturyLink wins OCC disaster recovery services contract (PR Newswire - Factiva, 07/18/2016 09:00
                                                                                                                         AM)
                                                                                                                         Press Release: CenturyLink wins OCC disaster recovery services contract (Dow Jones Institutional
                                                                                                                         News - Factiva, 07/18/2016 09:00 AM)
                                                                                                                         Boeing Shifts to Microsoft's Azure Cloud Platform (Dow Jones Institutional News - Factiva,
                                                                                                                         07/18/2016 01:05 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         Boeing Shifts to Microsoft's Azure Cloud Platform (Dow Jones Institutional News - Factiva,
                                                                                                                         07/18/2016 01:20 PM)
                                                                                                                         Boeing Shifts to Microsoft's Azure Cloud Platform (Dow Jones Newswires Chinese (English) -
                                                                                                                         Factiva, 07/18/2016 01:56 PM)
                                                                                                                         Boeing Shifts to Microsoft's Azure Cloud Platform (Dow Jones Institutional News - Factiva,
                                                                                                                         07/18/2016 03:00 PM)
                                                                                                                         Boeing Shifts to Microsoft's Azure Cloud Platform (Dow Jones Institutional News - Factiva,
                                                                                                                         07/18/2016 03:15 PM)
                                                                                                                         Boeing Shifts to Microsoft's Azure Cloud Platform -- Update (Dow Jones Institutional News - Factiva,
                                                                                                                         07/18/2016 03:54 PM)
                                                                                                                         Boeing Shifts to Microsoft's Azure Cloud Platform; Airlines use aviation analytics apps to predict
                                                                                                                         maintenance needs, optimize fuel use (The Wall Street Journal Online - Factiva, 07/18/2016 03:54 PM)

                                                                                                                         Boeing Shifts to Microsoft's Azure Cloud Platform -- Update (Dow Jones Institutional News - Factiva,
                                                                                                                         07/18/2016 04:09 PM)
                                                                                                                         Telecoms Down As Traders Rotate Into Cyclical Areas - Telecoms Roundup (Dow Jones Institutional
                                                                                                                         News - Factiva, 07/18/2016 04:31 PM)
                                                                                                                         HITN-TV Expands Its Presence in the US Hispanic Market via CenturyLink Prism(R) TV (PR
                                                                                                                         Newswire - Factiva, 07/18/2016 07:30 PM)
                                                                                                                         HITN-TV Expands Its Presence in the US Hispanic Market via CenturyLink PrismÃ‚Â® TV
                                                                                                                         (Hispanic PR Wire - Factiva, 07/18/2016 07:33 PM)
7/19/2016 Tue   4,718,214   $30.49      $0.00 -1.39% -0.14%     -0.23%   -0.39%   -1.00%     -0.89 37.39%       -$0.31   CARRIERS ASK FCC FOR PEER REVIEW OF REVISED ASSESSMENT IN BDS
                                                                                                                         PROCEEDING (TR Daily - Factiva, 07/19/2016)
                                                                                                                         CenturyLink awarded USD29m ceiling contract by Office of the Comptroller of the Currency
                                                                                                                         (FinancialWire - Factiva, 07/19/2016)
                                                                                                                         CenturyLink awarded USD29m ceiling contract by Office of the Comptroller of the Currency
                                                                                                                         (Worldwide Computer Products News - Factiva, 07/19/2016)
                                                                                                                         CenturyLink wins $29M disaster recovery services deal with U.S. banking overseer (Jpost.com (The
                                                                                                                         Jerusalem Post online edition) - Factiva, 07/19/2016)
                                                                                                                         CenturyLink wins OCC Disaster Recovery Services contract (Telecompaper Americas - Factiva,
                                                                                                                         07/19/2016)
                                                                                                                         NEW MEXICO -- PRC agrees to consider ICB review separately from rulemaking (TR's State
                                                                                                                         NewsWire - Factiva, 07/19/2016)
                                                                                                                         United States : CenturyLink to provide disaster recovery services to OCC (Agency Tunis Afrique
                                                                                                                         Press - Factiva, 07/19/2016)
                                                                                                                         United States : CenturyLink wins OCC disaster recovery services contract (Khaleej Times - Factiva,
                                                                                                                         07/19/2016)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 07/19/2016)
                                                                                                                         Telecom Carriers Call for Peer Review of FCC's Business Broadband Report (PR Newswire -
                                                                                                                         Factiva, 07/19/2016 02:10 PM)
7/20/2016 Wed   4,001,603   $30.55      $0.00   0.20%   0.44%   -0.37%   0.27%    -0.07%     -0.07 94.76%       -$0.02   Aqua Coms delivers trans-Atlantic capacity to CenturyLink (Telecompaper World - Factiva,
                                                                                                                         07/20/2016)
                                                                                                                         Cowen and Company Analyst Report (Eikon - Manual Entry, 07/20/2016)
                                                                                                                         Invest in Broadband for America; Carriers Announce New Coalition to Preserve Investment,
                                                                                                                         Competition in Broadband Market (Telecommunications Weekly - Factiva, 07/20/2016)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                    Events

                                                                                                                         IOWA -- IUB rejects Wide Voice tariff filing (TR's State NewsWire - Factiva, 07/20/2016)
                                                                                                                         July 20, 2016, letters (The Rapid City Journal - Factiva, 07/20/2016)
                                                                                                                         Piershale Financial Group buys $73,751 stake in Northrop Grumman Corporation (NOC)
                                                                                                                         (Jpost.com (The Jerusalem Post online edition) - Factiva, 07/20/2016)
                                                                                                                         CenturyLink wins contract to provide disaster recovery services to OCC (MarketLine, Company
                                                                                                                         News - Factiva, 07/20/2016 01:30 AM)
                                                                                                                         Telecom Carriers Call for Peer Review of FCC's Business Broadband Report (PR Newswire -
                                                                                                                         Factiva, 07/20/2016 03:13 AM)
                                                                                                                         Press Release: CenturyLink Taps Aqua Comms for High-Capacity Connection Between New York
                                                                                                                         and London (Dow Jones Institutional News - Factiva, 07/20/2016 08:01 AM)
7/21/2016 Thu   3,611,351   $30.64      $0.00   0.29% -0.36%    -0.23%   -0.71%    1.01%       0.9 36.93%       $0.31    AFCEA D.C. CHAPTER PRESIDENT (TR Daily - Factiva, 07/21/2016)
                                                                                                                         CenturyLink activates two 100G waves on AEConnect subsea cable (Capacity Magazine - Factiva,
                                                                                                                         07/21/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for Multi-Service Provider Wireless Access
                                                                                                                         Point (USPTO 9392641) (Computer Weekly News - Factiva, 07/21/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Operating a
                                                                                                                         Virtual Broadcaster Network (USPTO 9392313) (Computer Weekly News - Factiva, 07/21/2016)
                                                                                                                         CenturyLink Taps Aqua Comms for High-Capacity Connection between New York and London
                                                                                                                         (ENP Newswire - Factiva, 07/21/2016)
                                                                                                                         CommerceÃ¢â‚¬â„¢s Kemper sells nearly $2 million worth of stock: Insider trading for July 13-20
                                                                                                                         (St. Louis Business Journal - Factiva, 07/21/2016)
7/22/2016 Fri   2,287,295   $30.90      $0.00   0.85%   0.46%   1.08%    1.44%    -0.59%     -0.53 59.81%       -$0.18   Ireland : CenturyLink Taps Aqua Comms for High-Capacity Connection Between New York and
                                                                                                                         London (New Vision - Factiva, 07/22/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/22/2016)
                                                                                                                         DJ CenturyLink Inc, Inst Holders, 2Q 2016 (CTL) (Dow Jones Institutional News - Factiva,
                                                                                                                         07/22/2016 03:25 AM)
7/23/2016 Sat
7/24/2016 Sun                                                                                                            Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 07/24/2016)
7/25/2016 Mon   3,124,337   $30.88      $0.00 -0.06% -0.30%     -0.23%   -0.63%    0.56%       0.5 61.48%       $0.17    MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 07/25/2016)
                                                                                                                         Telecom carriers call for review of FCC's broadband report (Internet Business News - Factiva,
                                                                                                                         07/25/2016)
                                                                                                                         Usage-Based Broadband Picks Up More Steam; Comcast to expand trial to biggest city yet as
                                                                                                                         CenturyLink tees up first test (Multichannel News - Factiva, 07/25/2016)
                                                                                                                         CenturyLink activates two 100G waves on AEConnect subsea cable (MarketLine, Company News -
                                                                                                                         Factiva, 07/25/2016 01:21 AM)
                                                                                                                         CenturyLink to reduce annual power consumption by approximately 22,000 MW-hours (PR
                                                                                                                         Newswire - Factiva, 07/25/2016 09:00 AM)
7/26/2016 Tue   2,496,035   $30.63      $0.00 -0.81%    0.04%   -1.50%   -1.09%    0.28%      0.25 80.38%       $0.09    CenturyLink to reduce annual power consumption (Telecompaper Americas - Factiva, 07/26/2016)

                                                                                                                         CenturyLink to reduce annual power consumption by approximately 22,000 MW-hours (ENP
                                                                                                                         Newswire - Factiva, 07/26/2016)
                                                                                                                         CenturyLink to reduce annual power consumption with help of Nokia (FinancialWire - Factiva,
                                                                                                                         07/26/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
7/27/2016 Wed   5,193,539   $30.71      $0.00   0.26% -0.12%    0.75%    0.31%    -0.05%     -0.05 96.18%       -$0.02   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 07/27/2016)

                                                                                                                         Event Brief of Q2 2016 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                                         Factiva, 07/27/2016)
                                                                                                                         JERRY MORAN (Government Press Releases by CQ Transcriptions - Factiva, 07/27/2016)
                                                                                                                         Q2 2016 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 07/27/2016)

                                                                                                                         Sen. Moran Tours CenturyLink; Sen. Jerry Moran (R-KS) News Release (Congressional Documents
                                                                                                                         and Publications - Factiva, 07/27/2016)
                                                                                                                         Telecommunication Companies; Patent Issued for IPTV Follow Me Content System and Method
                                                                                                                         (USPTO 9392330) (Telecommunications Weekly - Factiva, 07/27/2016)
                                                                                                                         Telephone Communications; Centurylink Investment Management Co Files SEC Form 13F-HR,
                                                                                                                         Quarterly Report Filed By Institutional Managers, Holdings (Jul. 7, 2016) (Telecommunications
                                                                                                                         Weekly - Factiva, 07/27/2016)
                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for
                                                                                                                         "WIRELESS@HOME" Filed (Telecommunications Weekly - Factiva, 07/27/2016)
                                                                                                                         Trademarks; Trademark Application for "LINE VOLUME ADVANTAGE" Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 07/27/2016)
                                                                                                                         CenturyLink to Participate in Analyst Conference (PR Newswire - Factiva, 07/27/2016 04:20 PM)
7/28/2016 Thu   3,467,834   $30.83      $0.00   0.39%   0.17%   -0.80%   -0.39%    0.78%      0.71 47.68%       $0.24    CenturyLink, Inc. CenturyLink wins OCC disaster recovery services contract (Politics &
                                                                                                                         Government Week - Factiva, 07/28/2016)
                                                                                                                         Wireline (Communications Daily - Factiva, 07/28/2016)
                                                                                                                         CenturyLink announces network optimization project with Nokia (MarketLine, Company News -
                                                                                                                         Factiva, 07/28/2016 02:22 AM)
7/29/2016 Fri   6,218,510   $31.44      $0.00   1.98%   0.16%   1.19%    0.92%     1.05%      0.98 33.14%       $0.33    beIN SPORTS; beIN SPORTS Now Available on CenturyLink(R) Prism(R) TV (Entertainment
                                                                                                                         Newsweekly - Factiva, 07/29/2016)
                                                                                                                         CenturyLink gives grants to help Lake teachers (Orlando Sentinel - Factiva, 07/29/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/29/2016)
                                                                                                                         MECA shoots and scores: McDermott vs. Korver; CenturyLink to host Bulls, Hawks in NBA
                                                                                                                         exhibition (Omaha World-Herald - Factiva, 07/29/2016)
                                                                                                                         NATIONAL -- Parties request en banc review in open Internet case (TR's State NewsWire - Factiva,
                                                                                                                         07/29/2016)
                                                                                                                         PARTIES REQUEST EN BANC REVIEW IN OPEN INTERNET CASE (TR Daily - Factiva,
                                                                                                                         07/29/2016)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        TRDaily - July 29, 2016 PARTIES REQUEST EN BANC REVIEW IN OPEN INTERNET CASE
                                                                                                                        SPRINT OFFERS FCC DETAILS IN SUPPORT OF SPECTRUM SWAP WITH USSC REG FEE,
                                                                                                                        RAILROAD POLICE ITEMS CIRCULATING HAC CONSENSUS PARTIES OFFER LAST-
                                                                                                                        MINUTE ADVICE AHEAD OF MEETING DEADLINE EXTENDED OF QUALCOMM, CISCO
                                                                                                                        SUBMISSIONS OF 5.9 GHz SHARING DEVICES TOWERSTREAM TO PAY $40,000 TO
                                                                                                                        SETTLE UNAUTHORIZED U-NII TRANSMISSION PROBE BUREAU DENIES SAL
                                                                                                                        SPECTRUM WAIVER BID FTC ORDER SAYS LabMD DATA SECURITY PRACTICES WERE
                                                                                                                        Ã¢â‚¬ËœUNREASONABLEÃ¢â‚¬â„¢ FirstNet SPOC MEETING HIGHLIGHTS
                                                                                                                        ENGAGEMENTS FILING DEADLINES SET IN RATE-OF-RETURN REFORM PROCEEDING
                                                                                                                        INPUT SOUGHT ON AMPLIFIER GAIN PETITION TALEND RAISING $94M IN IPO SPRINT
                                                                                                                        APPOINTMENT ZAYO CTO OOMA BOARD HUAWEI APPOINTMENT NOKIA BOARD (TR
                                                                                                                        Daily Factiva 07/29/2016)
7/30/2016 Sat                                                                                                           CenturyLink cloud strategy hinges on hybrid, midmarket (New Vision - Factiva, 07/30/2016)
                                                                                                                        Port of Clarkston gets OK to use Southway Bridge for communications link (Lewiston Morning
                                                                                                                        Tribune - Factiva, 07/30/2016)
                                                                                                                        TRAFFIC ADVISORY FOR SATURDAY GARTH BROOKS CONCERTS AT THE
                                                                                                                        CENTURYLINK CENTER (Bossier Press-Tribune - Factiva, 07/30/2016)
                                                                                                                        SUBSCRIBERS -- NEWS FROM JULY 25: Press Release: CenturyLink to reduce annual power
                                                                                                                        consumption by approximately 22,000 MW-hours (Dow Jones Institutional News - Factiva, 07/30/2016
                                                                                                                        11:19 AM)
7/31/2016 Sun                                                                                                           Very Different Expectations For CenturyLink And Frontier Communications Earnings
                                                                                                                        (Benzinga.com - Factiva, 07/31/2016 11:14 AM)
 8/1/2016 Mon   8,014,692   $31.02      $0.00 -1.34% -0.13%   -0.83%   -0.76%    -0.58%     -0.54 59.07%       -$0.18   BuySellSignals Research Analyst Report (Eikon - Manual Entry, 08/01/2016)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Remote Home
                                                                                                                        Monitoring Utilizing a VoIP Phone (USPTO 9398060) (Journal of Engineering - Factiva, 08/01/2016)

                                                                                                                        HITN; HITN-TV Expands Its Presence in the US Hispanic Market via CenturyLink Prism(R) TV
                                                                                                                        (Journal of Engineering - Factiva, 08/01/2016)
                                                                                                                        Invest in Broadband for America; Telecom Carriers Call for Peer Review of FCC's Business
                                                                                                                        Broadband Report (Journal of Engineering - Factiva, 08/01/2016)
                                                                                                                        IOWA -- ALJ says call completion rulemaking premature, calls for NOI instead (TR's State
                                                                                                                        NewsWire - Factiva, 08/01/2016)
                                                                                                                        Litter Abatement and Beautification Efforts Recognized (The News-Star - Factiva, 08/01/2016)
                                                                                                                        Petitioners Ask DC Circuit to Revisit Ruling Backing FCC on Net Neutrality, Title II
                                                                                                                        (Communications Daily - Factiva, 08/01/2016)
                                                                                                                        Petitioners Ask DC Circuit to Revisit Ruling Backing FCC on Net Neutrality, Title II (Warren's
                                                                                                                        Washington Internet Daily - Factiva, 08/01/2016)
                                                                                                                        Site Commission Treatment Key Dispute in FCC's Proposal to Raise ICS Rate Caps
                                                                                                                        (Communications Daily - Factiva, 08/01/2016)
                                                                                                                        Minnesota Vikings wide receiver Stefon Diggs signs endorsement deal with CenturyLink (PR
                                                                                                                        Newswire - Factiva, 08/01/2016 08:00 AM)
                                                                                                                        Press Release: Minnesota Vikings wide receiver Stefon Diggs signs endorsement deal with
                                                                                                                        CenturyLink (Dow Jones Institutional News - Factiva, 08/01/2016 08:00 AM)
                                                                                                                        Denver Broncos linebacker Brandon Marshall signs endorsement deal with CenturyLink (PR
                                                                                                                        Newswire - Factiva, 08/01/2016 10:00 AM)
                                                                                                                        Press Release: Denver Broncos linebacker Brandon Marshall signs endorsement deal with
                                                                                                                        CenturyLink (Dow Jones Institutional News - Factiva, 08/01/2016 10:00 AM)



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    [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                                       Press Release: Seattle Seahawks tight end Luke Willson signs endorsement deal with CenturyLink
                                                                                                                       (Dow Jones Institutional News - Factiva, 08/01/2016 11:00 AM)
                                                                                                                       Seattle Seahawks tight end Luke Willson signs endorsement deal with CenturyLink (PR Newswire -
                                                                                                                       Factiva, 08/01/2016 11:00 AM)
8/2/2016 Tue   6,678,694   $30.59      $0.00 -1.39% -0.63%    -0.15%   -0.94%   -0.45%     -0.43 66.86%       -$0.14   Black Hills Corp Names Teresa A Taylor to Board of Directors (India Energy News - Factiva,
                                                                                                                       08/02/2016)
                                                                                                                       Black Hills Names Teresa A Taylor to Board of Directors (India Energy News - Factiva, 08/02/2016)

                                                                                                                       CenturyLink enters sponsorship deals with two NFL players (Telecompaper Americas - Factiva,
                                                                                                                       08/02/2016)
                                                                                                                       FLORIDA -- Report: CenturyLink now state's largest wireline provider (TR's State NewsWire -
                                                                                                                       Factiva, 08/02/2016)
                                                                                                                       Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 08/02/2016)
                                                                                                                       Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/02/2016)
                                                                                                                       Rural Senators Express Concerns about FCC's Business Broadband Proposal (PR Newswire -
                                                                                                                       Factiva, 08/02/2016 09:00 AM)
                                                                                                                       Black Hills Corp. Names Teresa A. Taylor to Board of Directors (Nasdaq / Globenewswire - Factiva,
                                                                                                                       08/02/2016 07:35 PM)
8/3/2016 Wed   6,568,465   $30.51      $0.00 -0.26%   0.34%   -0.29%   0.26%    -0.52%      -0.5 62.10%       -$0.16   Black Hills Corp elects Teresa A. Taylor to board (FinancialWire - Factiva, 08/03/2016)
                                                                                                                       CenturyLink, Inc. Q2 Income Rises 11% (RTT News - Factiva, 08/03/2016)
                                                                                                                       16:22 EDT CenturyLink sees Q3 adjusted EPS 52c-57c, consensus 62cSees Q3...
                                                                                                                       (Theflyonthewall.com - Factiva, 08/03/2016)
                                                                                                                       Barclays Analyst Report (Capital IQ - Manual Entry, 08/03/2016)
                                                                                                                       Barclays Analyst Report (Eikon - Manual Entry, 08/03/2016)
                                                                                                                       Black Hills Corp. Names Teresa A. Taylor to Board of Directors (ENP Newswire - Factiva,
                                                                                                                       08/03/2016)
                                                                                                                       Black Hills Corp. Names Teresa A. Taylor to Board of Directors (M2 Presswire - Factiva,
                                                                                                                       08/03/2016)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/03/2016)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/03/2016)
                                                                                                                       CenturyLink POSTS SMALL REVENUE DECLINE IN QUARTER (TR Daily - Factiva, 08/03/2016)

                                                                                                                       CenturyLink sees Q3 adjusted earnings per share $0.52 to $0.57 (Reuters Significant Developments -
                                                                                                                       Factiva, 08/03/2016)
                                                                                                                       Event Brief of Q2 2016 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                       08/03/2016)
                                                                                                                       IOWA -- CenturyLink seeks to close post-merger oversight docket (TR's State NewsWire - Factiva,
                                                                                                                       08/03/2016)
                                                                                                                       Q2 2016 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 08/03/2016)
                                                                                                                       Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 08/03/2016)
                                                                                                                       RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 08/03/2016)
                                                                                                                       RBC Capital Markets Analyst Report (Eikon - Manual Entry, 08/03/2016)




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                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                       Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                       Beneficial Ownership of Securities (Jul. 15, 2016) (Telecommunications Weekly - Factiva, 08/03/2016)

                                                                                                                       Telephone Communications; Centurylink, Inc. Files SEC Form S-3D, Registration of Securities,
                                                                                                                       Dividend Or Interest Reinvestment Plans, Immediately Effective (Jul. 18, 2016)
                                                                                                                       (Telecommunications Weekly - Factiva, 08/03/2016)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/03/2016)
                                                                                                                       Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/03/2016)
                                                                                                                       TRDaily - August 3, 2016 BUREAU ANNOUNCES OVER $1 BILLION IN MODEL-BASED RoR
                                                                                                                       CAF... (TR Daily - Factiva, 08/03/2016)
                                                                                                                       UBS Analyst Report (Capital IQ - Manual Entry, 08/03/2016)
                                                                                                                       UBS Analyst Report (Eikon - Manual Entry, 08/03/2016)
                                                                                                                       ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 08/03/2016)
                                                                                                                       *CenturyLink 2Q Rev $4.4B >CTL (Dow Jones Institutional News - Factiva, 08/03/2016 04:17 PM)

                                                                                                                       CenturyLink Reports Second Quarter 2016 Results (PR Newswire - Factiva, 08/03/2016 04:17 PM)

                                                                                                                       BRIEF-CenturyLink sees Q3 adjusted earnings per share $0.52 to $0.57 (Reuters News - Factiva,
                                                                                                                       08/03/2016 05:42 PM)
                                                                                                                       CenturyLink Profit Up 37% as Costs Decline (Dow Jones Institutional News - Factiva, 08/03/2016
                                                                                                                       09:47 PM)
                                                                                                                       CenturyLink Glen F. Post on Q2 2016 Results -- Earnings Call Transcript >CTL (Dow Jones
                                                                                                                       Institutional News - Factiva, 08/03/2016 09:51 PM)
                                                                                                                       CenturyLink Profit Up 37% as Costs Decline (Dow Jones Institutional News - Factiva, 08/03/2016
                                                                                                                       10:02 PM)
8/4/2016 Thu   8,008,621   $30.25      $0.00 -0.85%   0.05%   -0.10%   -0.02%   -0.84%      -0.8 42.30%       -$0.25   Barclays Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                       Barclays Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                       BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                       CenturyLink aims at 11m broadband connections by 2017 (Capacity Magazine - Factiva, 08/04/2016)

                                                                                                                       CenturyLink aims at 11m on broadband by 2017 (Global Telecoms Business - Factiva, 08/04/2016)

                                                                                                                       CenturyLink posts net income of USD196m in Q2 2016 (FinancialWire - Factiva, 08/04/2016)
                                                                                                                       CenturyLink revenues flat, profits improve in Q2 (Telecompaper Americas - Factiva, 08/04/2016)
                                                                                                                       CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                       CFRA Equity Research Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                       Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                       COMPANY SNAPSHOTS; CENTURYLINK, INC .Ã‚Â (NYSE: CTL) - UPDATED 4 AUGUST
                                                                                                                       2016 (Acquisdata Global Industry SnapShot - Factiva, 08/04/2016)
                                                                                                                       Cowen and Company Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                       Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                       Deutsche Bank Analyst Report (Eikon - Manual Entry, 08/04/2016)




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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                 Events
                                                                                                                        Evercore ISI Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                        Evercore ISI Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                        Jefferies LLC Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                        JP Morgan Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                        JP Morgan Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        Macquarie Research Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        Minnesota Vikings wide receiver signs endorsement deal with CenturyLink (Internet Business News -
                                                                                                                        Factiva, 08/04/2016)
                                                                                                                        Minnesota Vikings wide receiver signs endorsement deal with CenturyLink (M2 EquityBites -
                                                                                                                        Factiva, 08/04/2016)
                                                                                                                        Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                        Morgan Stanley Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 08/04/2016)
                                                                                                                        Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 08/04/2016)
                                                                                                                        TheBlaze and CenturyLink Announce Multi-Year Agreement (PR Newswire - Factiva, 08/04/2016
                                                                                                                        08:09 AM)
8/5/2016 Fri   4,790,409   $29.88      $0.00 -1.22%   0.86%   -0.71%   0.61%    -1.83%      -1.8   7.41%       -$0.55   CenturyLink aims at 11m broadband connections by 2017 (New Vision - Factiva, 08/05/2016)
                                                                                                                        CenturyLinkÃ¢â‚¬â„¢s bilingual call center celebrates 32 years of service (ENP Newswire - Factiva,
                                                                                                                        08/05/2016)
                                                                                                                        Clarkston Port inks link for conduit use; Planned telecommunications lines would connect with
                                                                                                                        those of Port of Lewiston (Lewiston Morning Tribune - Factiva, 08/05/2016)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/05/2016)
                                                                                                                        RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 08/05/2016)
                                                                                                                        RBC Capital Markets Analyst Report (Eikon - Manual Entry, 08/05/2016)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 08/05/2016)
                                                                                                                        US Data Center Colocation Market Growth of 12.36% CAGR by 2020 - Analysis, Technologies &
                                                                                                                        Forecasts Report 2016-2020 - Key Vendors: CenturyLink, Equinix, IO - Research and Markets
                                                                                                                        (Business Wire - Factiva, 08/05/2016 10:34 AM)
8/6/2016 Sat                                                                                                            CenturyLink Bets on Gig, IPTV, OTT (Saudi Press Agency - Factiva, 08/06/2016)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 08/06/2016)
8/7/2016 Sun
8/8/2016 Mon   3,636,745   $30.28      $0.00   1.34% -0.08%   -0.21%   -0.28%    1.61%      1.57 11.99%        $0.48    CenturyLink, Inc. CenturyLink to reduce annual power consumption by approximately 22,000 MW-
                                                                                                                        hours (Global Warming Focus - Factiva, 08/08/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                         COLORADO -- Commission adopts 2016 budget for CHCSM (TR's State NewsWire - Factiva,
                                                                                                                         08/08/2016)
                                                                                                                         Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 08/08/2016)
                                                                                                                         Vetr Upgrades Centurylink to 3 Stars (Benzinga.com - Factiva, 08/08/2016 10:33 AM)
 8/9/2016 Tue   2,885,037   $30.15      $0.00 -0.43%    0.04%   0.23%    0.17%    -0.60%     -0.58 56.39%       -$0.18   Level 3 Communications Inc at Cowen Communications Infrastructure Summit - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 08/09/2016)
                                                                                                                         CenturyLink Technology Center of Excellence achieves Silver LEED certification (ENP Newswire -
                                                                                                                         Factiva, 08/09/2016)
                                                                                                                         Report says FCC's business broadband proposal would discourage fiber network investments (PR
                                                                                                                         Newswire - Factiva, 08/09/2016 06:00 AM)
8/10/2016 Wed   4,076,030   $30.34      $0.00   0.63% -0.25%    0.42%    -0.10%    0.73%      0.72 47.53%       $0.22    CenturyLink Inc at Oppenheimer Technology, Internet & Communications Conference - Final (CQ
                                                                                                                         FD Disclosure - Factiva, 08/10/2016)
                                                                                                                         Man dead after jump from Seattle's CenturyLink Field (SeattlePI.com - Factiva, 08/10/2016)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 08/10/2016)
                                                                                                                         Trademarks; An Application for the Trademark "IQUEST" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 08/10/2016)
                                                                                                                         Trademarks; CenturyLink's Trademark Application for "TAILORTV" Filed (Telecommunications
                                                                                                                         Weekly - Factiva, 08/10/2016)
                                                                                                                         Valu-Trac Investments Analyst Report (Capital IQ - Manual Entry, 08/10/2016)
                                                                                                                         Asia Pacific Telecom launches "IoT by Gt Smart Life" multi-network platform for the Smart
                                                                                                                         Island of Taiwan, powered by Actility ThingPark (Business Wire - Factiva, 08/10/2016 06:00 AM)
8/11/2016 Thu   3,928,280   $30.42      $0.00   0.26%   0.49%   -0.07%   0.52%    -0.26%     -0.25 80.00%       -$0.08   Moody's rates Qwest Corp. new notes Ba1 (Moody's Investors Service Press Release - Factiva,
                                                                                                                         08/11/2016)
                                                                                                                         CenturyLink unit to sell $850M in notes (SNL Financial Extra - Factiva, 08/11/2016)
                                                                                                                         Qwest files for potential notes offering size not disclosed (Reuters Significant Developments - Factiva,
                                                                                                                         08/11/2016)
                                                                                                                         BRIEF-Qwest files for potential notes offering size not disclosed (Reuters News - Factiva, 08/11/2016
                                                                                                                         09:31 AM)
                                                                                                                         *Fitch Rates Qwest Corp.'s Senior Unsecured Note Offering 'BBB-/RR2'; Outlook Stable (Dow
                                                                                                                         Jones Institutional News - Factiva, 08/11/2016 10:21 AM)
                                                                                                                         Fitch Rates Qwest Corp.'s Senior Unsecured Note Offering 'BBB-/RR2'; Outlook Stable (Reuters
                                                                                                                         News - Factiva, 08/11/2016 10:21 AM)
                                                                                                                         Fitch Rates Qwest Corp.'s Senior Unsecured Note Offering 'BBB-/RR2'; Outlook Stable (Business
                                                                                                                         Wire - Factiva, 08/11/2016 10:31 AM)
                                                                                                                         *S&PGR Rates Qwest's Sr Unsecured Notes 'BBB-' (Recovery: 1) (Dow Jones Institutional News -
                                                                                                                         Factiva, 08/11/2016 04:17 PM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 08/11/2016
                                                                                                                         05:28 PM)
                                                                                                                         Qwest Corporation Agrees To Sell Debt Securities (PR Newswire - Factiva, 08/11/2016 05:35 PM)
                                                                                                                         Press Release: Qwest Corporation Agrees To Sell Debt Securities (Dow Jones Institutional News -
                                                                                                                         Factiva, 08/11/2016 05:35 PM)
8/12/2016 Fri   3,197,912   $29.96      $0.00 -1.51% -0.07%     -0.28%   -0.28%   -1.23%     -1.21 22.69%       -$0.37   Qwest Corporation Agrees To Sell Debt Securities (ENP Newswire - Factiva, 08/12/2016)
                                                                                                                         Capitol Hill (Communications Daily - Factiva, 08/12/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                         Capitol Hill (Warren's Washington Internet Daily - Factiva, 08/12/2016)
                                                                                                                         City and CenturyLink share achievement award (The News-Star - Factiva, 08/12/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/12/2016)
                                                                                                                         QWEST TO OFFER $850M IN 6.5% NOTES (TR Daily - Factiva, 08/12/2016)
                                                                                                                         Reunited Axl Rose and Slash play tonight at CenturyLink Field (The Daily Herald - Factiva,
                                                                                                                         08/12/2016)
                                                                                                                         TRDaily - August 12, 2016 PROJECT 43, LOCATION ACCURACY IMPLEMENTATION, 911
                                                                                                                         WORKER CLASSIFICATION AMONG APCO PRIORITIES LPTV ENTITIES SEEK
                                                                                                                         REHEARING OF INCENTIVE AUCTION DEFEAT ROBOCALL STRIKE FORCE TO MEET
                                                                                                                         AUG. 19; McCASKILL SEEKS INFO FROM CARRIERS PARTIES CALL FOR ACTION TO
                                                                                                                         ADDRESS RISING NOISE FLOOR LIGADO RESPONDS TO CONCERNS ABOUT 1675-1680
                                                                                                                         MHz SHARING SUBMARINE CABLE COALITION ASKS FCC TO MODIFY NEW OUTAGE
                                                                                                                         RULES CLINTON REITERATES PLEDGE FOR UNIVERSAL BROADBAND ACCESS BY 2020
                                                                                                                         INTERNET INTERCONNECTION PERFORMANCE MEASURE ADOPTED TO ASSESS AT&T
                                                                                                                         MERGER CONDITION COMPLIANCE GROUPS ASK FCC TO SUSPEND AUCTION DURING
                                                                                                                         SHOWS NTIA PLANS BroadbandUSA WEBINARS PLEADING CYCLE SET ON AMATEUR
                                                                                                                         RADIO NPRM FirstNet ANNOUNCES DRAFT PEIS DIVISION DENIES LICENSING RECON
                                                                                                                         PETITION SNG SHOW CAUSE PETITION DENIED ORDER ON SureWest WAIVER PLEA
                                                                                                                         CIRCULATING FILING DEADLINES SET ON CAF RECON PETITIONS QWEST TO OFFER
                                                                                                                         $850M IN 6 5% NOTES (TR D il F ti 08/12/2016)
8/13/2016 Sat                                                                                                            CenturyLink wants to bring cable and faster internet to Bellingham (The Bellingham Herald -
                                                                                                                         Factiva, 08/13/2016)
8/14/2016 Sun                                                                                                            Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 08/14/2016)
8/15/2016 Mon   2,279,672   $30.02      $0.00   0.20%   0.29%   -0.53%   0.01%     0.19%      0.19 85.18%       $0.06    AKAMAI BOARD (TR Daily - Factiva, 08/15/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Providing
                                                                                                                         Broadband Notification (USPTO 9407748) (Journal of Engineering - Factiva, 08/15/2016)
                                                                                                                         CenturyLinkÃ¢â‚¬â„¢s Qwest Corporation subsidiary to sell USD850m of notes (FinancialWire -
                                                                                                                         Factiva, 08/15/2016)
                                                                                                                         Comm Daily(r) Notebook (Communications Daily - Factiva, 08/15/2016)
                                                                                                                         In Open Internet Case, Parties Seek En Banc Review of D.C. Circuit Panel's Split Decision to
                                                                                                                         Affirm Order (Telecommunications Reports - Factiva, 08/15/2016)
                                                                                                                         Qwest agrees to sell debt securities (Internet Business News - Factiva, 08/15/2016)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 08/15/2016)
8/16/2016 Tue   3,181,116   $29.42      $0.00 -2.00% -0.53%     -1.68%   -1.64%   -0.35%     -0.35 72.35%       -$0.11   CenturyLink Hits Incompas/Verizon Plan to Cut Special Access Rates as Unjustified
                                                                                                                         (Communications Daily - Factiva, 08/16/2016)
                                                                                                                         CenturyLink Hits Incompas/Verizon Plan to Cut Special Access Rates as Unjustified (Warren's
                                                                                                                         Washington Internet Daily - Factiva, 08/16/2016)
                                                                                                                         MONTANA -- CenturyLink asks to forego printed phone directories (TR's State NewsWire - Factiva,
                                                                                                                         08/16/2016)
                                                                                                                         Pelicans to face Mavericks in preseason opener Oct. 1 at the CenturyLink Center (Bossier Press-
                                                                                                                         Tribune - Factiva, 08/16/2016)
                                                                                                                         Poland: Two new tenants at Maraton office scheme in Poznan (Esmerk Eastern European News -
                                                                                                                         Factiva, 08/16/2016)
                                                                                                                         TJX and Hain Celestial stumble, G&K Services surges (Associated Press Newswires - Factiva,
                                                                                                                         08/16/2016 04:57 PM)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        TJX and Hain Celestial stumble, G&K Services surges (The Canadian Press - Factiva, 08/16/2016
                                                                                                                        04:59 PM)
8/17/2016 Wed   3,933,090   $29.25      $0.00 -0.58%   0.21%   0.03%    0.23%    -0.81%     -0.81 42.02%       -$0.24   AT&T FILES FCC COMPLAINT AGAINST GREAT LAKES (TR Daily - Factiva, 08/17/2016)
                                                                                                                        NBA; Pelicans, Mavericks to play in Bossier City (Shreveport Times - Factiva, 08/17/2016)
                                                                                                                        BIG MOVERS (The Quad-City Times - Factiva, 08/17/2016)
                                                                                                                        CenturyLink customers; experience outage (Englewood Sun - Factiva, 08/17/2016)
                                                                                                                        CenturyLink expands data centre interconnects (Telecompaper World - Factiva, 08/17/2016)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 08/17/2016)
                                                                                                                        Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 08/17/2016)
                                                                                                                        MARKET MOVERS (The Patriot Ledger - Factiva, 08/17/2016)
                                                                                                                        Phone and Internet Discounts Available to CenturyLink Customers (Pekin Daily Times - Factiva,
                                                                                                                        08/17/2016)
                                                                                                                        Timbers may get boost off bench vs. Sounders (The Columbian - Factiva, 08/17/2016)
                                                                                                                        CenturyLink opens new retail store in Roseville, US (MarketLine, Company News - Factiva,
                                                                                                                        08/17/2016 06:09 AM)
                                                                                                                        CenturyLink increases network connectivity options for global data center customers (Canada
                                                                                                                        NewsWire - Factiva, 08/17/2016 08:59 AM)
                                                                                                                        CenturyLink increases network connectivity options for global data center customers (PR Newswire
                                                                                                                        - Factiva, 08/17/2016 08:59 AM)
                                                                                                                        CenturyLink increases network connectivity options for global data center customers (PR Newswire
                                                                                                                        Europe - Factiva, 08/17/2016 08:59 AM)
                                                                                                                        CENTURYLINK INCREASES NETWORK CONNECTIVITY OPTIONS FOR GLOBAL DATA
                                                                                                                        CENTER CUSTOMERS (Press Association National Newswire - Factiva, 08/17/2016 08:59 AM)
                                                                                                                        CenturyLink increases network connectivity options for global data center customers; Expanded
                                                                                                                        Interconnection Ecosystem achieves full network diversity, delivering more connectivity across 58
                                                                                                                        data centers in North America, Europe and Asia Pacific (PR Newswire Asia - Factiva, 08/17/2016
                                                                                                                        08:59 AM)
                                                                                                                        Press Release: CenturyLink increases network connectivity options for global data center
                                                                                                                        customers (Dow Jones Institutional News - Factiva, 08/17/2016 08:59 AM)
                                                                                                                        Press Release: CenturyLink increases network connectivity options for global data center
                                                                                                                        customers (Dow Jones Institutional News - Factiva, 08/17/2016 08:59 AM)
8/18/2016 Thu   4,395,198   $29.13      $0.00 -0.41%   0.22%   -0.93%   -0.32%   -0.09%     -0.09 93.03%       -$0.03   AEP Ohio Awards Centurylink $133,547 for Energy Efficiency Program (India Energy News -
                                                                                                                        Factiva, 08/18/2016)
                                                                                                                        Dycom Digs Up Growth From AT&T, Verizon, Comcast Broadband (Investor's Business Daily -
                                                                                                                        Factiva, 08/18/2016)
                                                                                                                        Satuit Selects CenturyLink as Its Hosting Partner (Business Wire - Factiva, 08/18/2016 11:22 AM)

8/19/2016 Fri   4,681,371   $28.84      $0.00 -1.00% -0.13%    -0.75%   -0.68%   -0.32%     -0.32 74.74%       -$0.09   CenturyLink, Inc. Qwest Corporation Agrees To Sell Debt Securities (Investment Weekly News -
                                                                                                                        Factiva, 08/19/2016)
                                                                                                                        CenturyLink assists with disaster relief efforts in south Louisiana (ENP Newswire - Factiva,
                                                                                                                        08/19/2016)
                                                                                                                        CenturyLink to Add VoIP to Broadband Bundles (Emirates News Agency (WAM) - Factiva,
                                                                                                                        08/19/2016)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                         Former Idaho broadband contractors sue state (The Idaho Statesman - Factiva, 08/19/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/19/2016)
                                                                                                                         Sounders wary of Timbers, who can Ã¢â‚¬Ëœpunish you quick' (The Seattle Times - Factiva,
                                                                                                                         08/19/2016)
                                                                                                                         Black Hills announces appointment of new board member (MarketLine, Company News - Factiva,
                                                                                                                         08/19/2016 02:13 AM)
8/20/2016 Sat                                                                                                            Sounders' new coach Schmetzer no stranger to rivalry with timbers (The Columbian - Factiva,
                                                                                                                         08/20/2016)
8/21/2016 Sun                                                                                                            CenturyLink gifts will feed Thurston children, provide tech access; null (The Olympian - Factiva,
                                                                                                                         08/21/2016)
8/22/2016 Mon   4,620,062   $28.93      $0.00   0.31% -0.05%    0.01%    -0.13%    0.44%      0.46 64.86%       $0.13    Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 08/22/2016)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 08/22/2016)
                                                                                                                         Satuit selects CenturyLink as its hosting partner (Hedge Week - Factiva, 08/22/2016)
                                                                                                                         Satuit selects CenturyLink as its hosting partner (Institutional Asset Manager - Factiva, 08/22/2016)

                                                                                                                         Satuit selects CenturyLink as its hosting partner (Private Equity Wire - Factiva, 08/22/2016)
                                                                                                                         Satuit selects CenturyLink as its hosting partner (Property Funds World - Factiva, 08/22/2016)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 08/22/2016
                                                                                                                         11:23 AM)
                                                                                                                         Dempsey double brings Emerald Army cheer (thetimes.co.uk - Factiva, 08/22/2016 08:01 PM)
8/23/2016 Tue   2,737,608   $29.10      $0.00   0.59%   0.20%   -0.09%   0.13%     0.46%      0.48 63.53%       $0.13    CenturyLink unit completes debt offering (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         08/23/2016)
                                                                                                                         CenturyLink: Service restored to most clients (Great Falls Tribune - Factiva, 08/23/2016)
                                                                                                                         IDAHO -- CenturyLink sues state over defunct broadband network (TR's State NewsWire - Factiva,
                                                                                                                         08/23/2016)
                                                                                                                         CenturyLink Inc. 6.5% Notes 2056 (CTBB) Resumed Trading (Dow Jones Institutional News -
                                                                                                                         Factiva, 08/23/2016 09:31 AM)
                                                                                                                         CenturyLink Declares Quarterly Cash Dividend (PR Newswire - Factiva, 08/23/2016 04:20 PM)
                                                                                                                         Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                         Factiva, 08/23/2016 04:20 PM)
8/24/2016 Wed   3,230,286   $29.05      $0.00 -0.17% -0.52%     0.33%    -0.53%    0.36%      0.37 70.99%       $0.11    CenturyLinkÃ¢â‚¬â„¢s board declares USD0.54 quarterly cash dividend (FinancialWire - Factiva,
                                                                                                                         08/24/2016)
                                                                                                                         City-owned sites in fast lane for internet service (The Santa Fe New Mexican - Factiva, 08/24/2016)

                                                                                                                         Puyallup Food Bank celebrates recent monetary donations (The News Tribune - Factiva, 08/24/2016)

                                                                                                                         SF announces completion of broadband project; CenturyLink adds 6.5 miles of fiber optic cable for
                                                                                                                         high-speed internet (Albuquerque Journal - Factiva, 08/24/2016)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 10-Q, Quarterly Report [Sections
                                                                                                                         13 Or 15(D)] (Aug. 4, 2016) (Telecommunications Weekly - Factiva, 08/24/2016)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 10-Q, Quarterly Report [Sections 13 Or
                                                                                                                         15(D)] (Aug. 5, 2016) (Telecommunications Weekly - Factiva, 08/24/2016)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events
                                                                                                                        Trademarks; Trademark Application for "IT'S ALL ABOUT CHOICE" Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 08/24/2016)
8/25/2016 Thu   3,530,221   $29.15      $0.00   0.34% -0.13%   0.53%    0.07%     0.27%      0.28 78.08%       $0.08    CenturyLink declares quarterly cash dividend (Internet Business News - Factiva, 08/25/2016)
                                                                                                                        CenturyLink invites community to help Stuff the Truck for Students (ENP Newswire - Factiva,
                                                                                                                        08/25/2016)
                                                                                                                        CenturyLink sues Idaho for $37M over state broadband project (New Vision - Factiva, 08/25/2016)

                                                                                                                        INCOMPAS SAYS CenturyLinkÃ¢â‚¬â„¢s CLAIM OF RISING BDS COSTS IS BELIED BY
                                                                                                                        EARNINGS (TR Daily - Factiva, 08/25/2016)
                                                                                                                        Santa Fe, N.M., Ready to Launch Fiber at Public Sites (New Vision - Factiva, 08/25/2016)
                                                                                                                        CenturyLink reports higher Q2 net income, provides outlook for Q3 (MarketLine News and
                                                                                                                        Comment - Factiva, 08/25/2016 09:58 AM)
8/26/2016 Fri   4,247,567   $28.76      $0.00 -1.34% -0.16%    -0.95%   -0.83%   -0.50%     -0.52 60.40%       -$0.15   CenturyLink asks for deregulation, says Minnesotans have plenty of phone options now
                                                                                                                        (Minneapolis/St. Paul Business Journal Online - Factiva, 08/26/2016)
                                                                                                                        CenturyLink says service is restored (Great Falls Tribune - Factiva, 08/26/2016)
                                                                                                                        CenturyLink seeks less oversight // The phone carrier says it should be deregulated, but state
                                                                                                                        agencies arenÃ¢â‚¬â„¢t so sure. (Star-Tribune - Factiva, 08/26/2016)
                                                                                                                        How Amazon, Microsoft, Google Crushed Verizon, AT&T In Cloud (Investor's Business Daily -
                                                                                                                        Factiva, 08/26/2016)
                                                                                                                        Incompas Hits CenturyLink BDS Cost Claims; Others Oppose New Regulation (Communications
                                                                                                                        Daily - Factiva, 08/26/2016)
                                                                                                                        Incompas Hits CenturyLink BDS Cost Claims; Others Oppose New Regulation (Warren's
                                                                                                                        Washington Internet Daily - Factiva, 08/26/2016)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 08/26/2016)
                                                                                                                        NATIONAL -- Incompas: CenturyLink's claim of rising BDS costs is belied by earnings (TR's State
                                                                                                                        NewsWire - Factiva, 08/26/2016)
                                                                                                                        Trademarks; Trademark Application for "HOME RECEPTIONIST" Filed by Qwest
                                                                                                                        Communications International (Investment Weekly News - Factiva, 08/26/2016)
8/27/2016 Sat                                                                                                           Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 08/27/2016)

8/28/2016 Sun
8/29/2016 Mon   4,011,342   $28.75      $0.00 -0.03%   0.54%   0.46%    0.88%    -0.91%     -0.94 34.89%       -$0.26   Satuit Technologies, Inc. Satuit Selects CenturyLink as Its Hosting Partner (Journal of Engineering -
                                                                                                                        Factiva, 08/29/2016)
                                                                                                                        CenturyLink activates NY-London subsea cable system (Telecompaper Americas - Factiva,
                                                                                                                        08/29/2016)
                                                                                                                        CenturyLink activates NY-London subsea cable system (Telecompaper Europe - Factiva, 08/29/2016)

                                                                                                                        CenturyLink Goes Underwater to Support its International Broadband Traffic (ENP Newswire -
                                                                                                                        Factiva, 08/29/2016)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for Indicating Performance Information to
                                                                                                                        a User to Improve Communications (USPTO 9419869) (Journal of Engineering - Factiva, 08/29/2016)

                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Automating
                                                                                                                        Proactive Communication (USPTO 9418369) (Journal of Engineering - Factiva, 08/29/2016)



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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                         How Amazon, Microsoft, Google Crushed Verizon, AT&T In The Cloud (Investor's Business Daily -
                                                                                                                         Factiva, 08/29/2016)
                                                                                                                         Sterling Ranch picks company to run its community gigabit network (Video) (Denver Business
                                                                                                                         Journal - Factiva, 08/29/2016)
                                                                                                                         Telecommunication Companies; Patent Issued for Method and System for Providing Dynamic
                                                                                                                         Speed-Dial List (USPTO 9420095) (Journal of Engineering - Factiva, 08/29/2016)
8/30/2016 Tue   4,944,977   $28.57      $0.00 -0.63% -0.18%     -0.18%   -0.42%   -0.21%     -0.21 83.07%       -$0.06   HereÃ¢â‚¬â„¢s how much mobile phones have overtaken landlines in NM (Albuquerque Business
                                                                                                                         First - Factiva, 08/30/2016)
                                                                                                                         IOWA -- IUB agrees to close CenturyLink post-merger oversight docket (TR's State NewsWire -
                                                                                                                         Factiva, 08/30/2016)
                                                                                                                         Plans advance for D.M. artist studios (The Des Moines Register - Factiva, 08/30/2016)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 08/30/2016)
                                                                                                                         Verizon-INCOMPAS Special Access Proposal Would Cripple Investment in Broadband (PR
                                                                                                                         Newswire - Factiva, 08/30/2016 05:03 PM)
8/31/2016 Wed   4,472,605   $27.80      $0.54 -0.81% -0.22%     0.16%    -0.27%   -0.53%     -0.55 58.36%       -$0.15   Evercore ISI Analyst Report (Eikon - Manual Entry, 08/31/2016)
                                                                                                                         Live Wire: Name isn't in phone directory (The Fayetteville Observer - Factiva, 08/31/2016)
                                                                                                                         State Telecom (Communications Daily - Factiva, 08/31/2016)
                                                                                                                         Telecommunication Companies; Patent Issued for Correlating and Mapping Mobile Device
                                                                                                                         Locations on a Mobile Device (USPTO 9420453) (Telecommunications Weekly - Factiva, 08/31/2016)

                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Aug. 11,
                                                                                                                         2016) (Telecommunications Weekly - Factiva, 08/31/2016)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 424B5, Prospectus [Rule 424(B)(5)]
                                                                                                                         (Aug. 11, 2016) (Telecommunications Weekly - Factiva, 08/31/2016)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 424B5, Prospectus [Rule 424(B)(5)]
                                                                                                                         (Aug. 12, 2016) (Telecommunications Weekly - Factiva, 08/31/2016)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form FWP, Filing Under Securities Act Rules
                                                                                                                         163/433 of Free Writing Prospectuses (Aug. 11, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                         08/31/2016)
                                                                                                                         CenturyLink to Participate in Analyst Conferences (PR Newswire - Factiva, 08/31/2016 04:20 PM)

                                                                                                                         Press Release: CenturyLink to Participate in Analyst Conferences (Dow Jones Institutional News -
                                                                                                                         Factiva, 08/31/2016 04:20 PM)
 9/1/2016 Thu   4,470,163   $27.74      $0.00 -0.22%    0.00%   0.28%    0.07%    -0.29%      -0.3 76.64%       -$0.08   CenturyLink trumps Comcast, others to power gigabit fiber development in Denver (Emirates News
                                                                                                                         Agency (WAM) - Factiva, 09/01/2016)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 09/01/2016)
                                                                                                                         Sterling Ranch partners with CenturyLink for first 1 Gig community in Colorado (ENP Newswire -
                                                                                                                         Factiva, 09/01/2016)
 9/2/2016 Fri   3,048,215   $27.94      $0.00   0.72%   0.43%   0.03%    0.47%     0.25%      0.26 79.70%       $0.07    Construction to start on downtown artist studios (The Des Moines Register - Factiva, 09/02/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/02/2016)
                                                                                                                         MINNESOTA -- CenturyLink says its 'competitive regulation' petition is complete (TR's State
                                                                                                                         NewsWire - Factiva, 09/02/2016)
 9/3/2016 Sat




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]         [12]                                                    [13]
                                                            Excess                                             Abnormal
                                                    Market Industry Predicted Abnormal                           Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                  Events
9/4/2016 Sun
9/5/2016 Mon
9/6/2016 Tue   2,992,260   $28.17      $0.00   0.82%   0.30%   0.69%    0.72%     0.10%      0.11 91.30%         $0.03    Google, CenturyLink, Comcast -- fiber wars paying off for Utah consumers (The Salt Lake Tribune -
                                                                                                                          Factiva, 09/06/2016)
                                                                                                                          Google, CenturyLink, Comcast -- fiber wars paying off for Utah consumers (The Salt Lake Tribune -
                                                                                                                          Factiva, 09/06/2016)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 09/06/2016)
9/7/2016 Wed   3,210,762   $28.40      $0.00   0.82%   0.01%   0.25%    0.07%     0.75%       0.8 42.79%         $0.21    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 09/07/2016)

                                                                                                                          COLLEGE BASKETBALL; College hoops tripleheader set for December in Bossier City
                                                                                                                          (Shreveport Times - Factiva, 09/07/2016)
                                                                                                                          Men's college basketball tripleheader set for December at CenturyLink (Bossier Press-Tribune -
                                                                                                                          Factiva, 09/07/2016)
                                                                                                                          Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Aug. 22,
                                                                                                                          2016) (Telecommunications Weekly - Factiva, 09/07/2016)
                                                                                                                          Telephone Communications; Qwest Corp. Files SEC Form 8-A12B, Registration of Securities
                                                                                                                          [Section 12(B)] (Aug. 22, 2016) (Telecommunications Weekly - Factiva, 09/07/2016)
                                                                                                                          Telephone Communications; Qwest Corp. Files SEC Form CERTNYS, Certification By The New
                                                                                                                          York Stock Exchange Approving Securities For Listing (Aug. 22, 2016) (Telecommunications Weekly
                                                                                                                          - Factiva, 09/07/2016)
                                                                                                                          CenturyLink recognized for its innovative Managed Security Services offerings by two independent
                                                                                                                          research firms (PR Newswire - Factiva, 09/07/2016 09:00 AM)
9/8/2016 Thu   3,404,237   $28.35      $0.00 -0.18% -0.22%     -0.02%   -0.35%    0.18%       0.2 83.95%         $0.05    19:37 EDT Private equity consortium to bid for CenturyLink data center ops,...
                                                                                                                          (Theflyonthewall.com - Factiva, 09/08/2016)
                                                                                                                          89th annual AKSARBEN Stock Show and Rodeo to take place Sept. 22-25 (Valley News Today -
                                                                                                                          Factiva, 09/08/2016)
                                                                                                                          CenturyLink selling South Middleton office site (The Sentinel - Factiva, 09/08/2016)
                                                                                                                          New head for CenturyLinkÃ¢â‚¬â„¢s New Mexico operations (Albuquerque Business First Online -
                                                                                                                          Factiva, 09/08/2016)
                                                                                                                          EXCLUSIVE-Private equity consortium vies for CenturyLink data centers -sources (Reuters News -
                                                                                                                          Factiva, 09/08/2016 06:53 PM)
9/9/2016 Fri   7,008,383   $27.86      $0.00 -1.73% -2.45%     -1.80%   -4.44%    2.71%      3.14   0.22% **     $0.77    NIST and Navy tests suggest telecom networks could back up GPS time signals (Emirates News
                                                                                                                          Agency (WAM) - Factiva, 09/09/2016)
                                                                                                                          Barclays Analyst Report (Capital IQ - Manual Entry, 09/09/2016)
                                                                                                                          Barclays Analyst Report (Eikon - Manual Entry, 09/09/2016)
                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 09/09/2016)
                                                                                                                          CenturyLink in talks to sell data centers for $2.5B; Comcast slams FCC's set-top-box rules
                                                                                                                          proposal (SNL Financial Extra - Factiva, 09/09/2016)
                                                                                                                          Cowen and Company Analyst Report (Eikon - Manual Entry, 09/09/2016)
                                                                                                                          Four private equity players join forces to bid for CenturyLink data centres - report (SeeNews
                                                                                                                          America - Factiva, 09/09/2016)
                                                                                                                          GlobalData Analyst Report (Capital IQ - Manual Entry, 09/09/2016)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]       [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                  Events
                                                                                                                         Gymnastics Champions Take Center Stage at CenturyLink Center Oct. 8 (Omaha Star - Factiva,
                                                                                                                         09/09/2016)
                                                                                                                         Invest in Broadband for America; Verizon-INCOMPAS Special Access Proposal Would Cripple
                                                                                                                         Investment in Broadband (Investment Weekly News - Factiva, 09/09/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/09/2016)
                                                                                                                         Letter: CenturyLink makes you pay up to watch the Utes (The Salt Lake Tribune - Factiva,
                                                                                                                         09/09/2016)
                                                                                                                         Letter: CenturyLink makes you pay up to watch the Utes (The Salt Lake Tribune - Factiva,
                                                                                                                         09/09/2016)
                                                                                                                         Private equity consortium vies for CenturyLink data centers, say sources: Reuters (PE Hub Network
                                                                                                                         - Factiva, 09/09/2016)
                                                                                                                         Top Pot Doughnuts are Official Doughnut of Seattle Seahawks (India Retail News - Factiva,
                                                                                                                         09/09/2016)
                                                                                                                         Deals of the day- Mergers and acquisitions (Reuters News - Factiva, 09/09/2016 06:05 AM)
                                                                                                                         Top Pot Doughnuts Are the Official Doughnut of the Seattle Seahawks (Business Wire - Factiva,
                                                                                                                         09/09/2016 08:00 AM)
                                                                                                                         Deals of the day-Mergers and acquisitions (Reuters News - Factiva, 09/09/2016 04:01 PM)
9/10/2016 Sat                                                                                                            Can This Centurylink Inc Dividend Even Survive? (U-Wire - Factiva, 09/10/2016)
9/11/2016 Sun
9/12/2016 Mon   4,771,966   $28.04      $0.00   0.65%   1.47%   1.07%   2.31%    -1.67%     -1.87   6.40%       -$0.46   Agencies (Warren's Washington Internet Daily - Factiva, 09/12/2016)
                                                                                                                         Broncos' Brandon Marshall loses another sponsor, will continue to kneel during anthem (USA
                                                                                                                         Today Online - Factiva, 09/12/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for Virtualization Congestion Control
                                                                                                                         Framework for Modifying Execution of Applications on Virtual Machine Based on Mass
                                                                                                                         Congestion Indicator in Host Computing System (USPTO 9430259) (Journal of Engineering - Factiva,
                                                                                                                         09/12/2016)
                                                                                                                         GTCR, Charlesbank, Berkshire and Stonepeak may acquire data center business from
                                                                                                                         CenturyLink (MarketLine, Financial Deals Tracker - Factiva, 09/12/2016)
                                                                                                                         IDAHO -- PUC approves broadband tax credit for CenturyLink (TR's State NewsWire - Factiva,
                                                                                                                         09/12/2016)
                                                                                                                         InfoGPS Networks, Inc. InfoGPS Adds Telecom, IT Industry Veteran Greg McCray to Board of
                                                                                                                         Directors (Journal of Engineering - Factiva, 09/12/2016)
                                                                                                                         Macquarie Research Analyst Report (Eikon - Manual Entry, 09/12/2016)
                                                                                                                         Report: PE consortium to bid for CenturyLink data centers (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 09/12/2016)
                                                                                                                         Telco Fiber Optics Could Back Up GPS Time Synchronization, NIST Says (Warren's Consumer
                                                                                                                         Electronics Daily - Factiva, 09/12/2016)
                                                                                                                         CenturyLink completes largest deployment of G.fast technology in North America (PR Newswire -
                                                                                                                         Factiva, 09/12/2016 08:01 AM)
                                                                                                                         Press Release: CenturyLink completes largest deployment of G.fast technology in North America
                                                                                                                         (Dow Jones Institutional News - Factiva, 09/12/2016 08:01 AM)
                                                                                                                         Defiant Broncos linebacker Brandon Marshall will continue to kneel in protest during national
                                                                                                                         anthem despite losing multiple endorsements (Mail Online - Factiva, 09/12/2016 08:48 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
9/13/2016 Tue   4,497,058   $27.44      $0.00 -2.14% -1.45%   -0.97%   -2.23%     0.09%       0.1 92.44%       $0.02    Broncos' Brandon Marshall loses another business backer over anthem stance (Denver Business
                                                                                                                        Journal Online - Factiva, 09/13/2016)
                                                                                                                        CenturyLink and Calix Deliver North America's Largest G.fast Deployment; Calix AXOS G.fast
                                                                                                                        solution gives extreme gigabit-ready makeover to Platteville, Wisconsin MDUs (M2 Presswire -
                                                                                                                        Factiva, 09/13/2016)
                                                                                                                        CenturyLink claims G.fast network record (Global Telecoms Business - Factiva, 09/13/2016)
                                                                                                                        CenturyLink competes G.fast rollout (Total Telecom Plus - Factiva, 09/13/2016)
                                                                                                                        CenturyLink completes G.fast North American deployment (Internet Business News - Factiva,
                                                                                                                        09/13/2016)
                                                                                                                        CenturyLink completes G.fast North American deployment (M2 EquityBites - Factiva, 09/13/2016)

                                                                                                                        CenturyLink ends deployment of G.fast tech in Platteville (Telecompaper Americas - Factiva,
                                                                                                                        09/13/2016)
                                                                                                                        CenturyLink Still in Last Place for Movie Streaming, Says Netflix (Warren's Consumer Electronics
                                                                                                                        Daily - Factiva, 09/13/2016)
                                                                                                                        Edwards, Mayo announce $1M Century Village grant (The News-Star - Factiva, 09/13/2016)
                                                                                                                        Edwards, Monroe officials announce $1M for Century Village (Shreveport Times - Factiva,
                                                                                                                        09/13/2016)
                                                                                                                        Industry Notes (Warren's Washington Internet Daily - Factiva, 09/13/2016)
                                                                                                                        Internet (Communications Daily - Factiva, 09/13/2016)
                                                                                                                        Press Release: CenturyLink and Calix Deliver North America's Largest G.fast Deployment (Dow
                                                                                                                        Jones Institutional News - Factiva, 09/13/2016 08:25 AM)
9/14/2016 Wed   2,958,109   $27.43      $0.00 -0.04% -0.05%   -0.06%   -0.13%     0.09%       0.1 92.03%       $0.02    SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                        CENTURYLINK AND COMCAST PHONE OF SOUTH CAROLINA (US Fed News - Factiva,
                                                                                                                        09/14/2016)
                                                                                                                        CenturyLink gets private equity bid for data centres -report (Telecompaper Americas - Factiva,
                                                                                                                        09/14/2016)
                                                                                                                        CenturyLink plans fiber service in St. Johns this fall (The Oregonian (Tribune Content Agency) -
                                                                                                                        Factiva, 09/14/2016)
                                                                                                                        CenturyLink plans fiber service in St. Johns this fall (The Oregonian (Tribune Content Agency) -
                                                                                                                        Factiva, 09/14/2016)
                                                                                                                        Editorial; Century Village a game changer (The News-Star - Factiva, 09/14/2016)
                                                                                                                        Highwinds taps CenturyLink for hosting, networking services (Telecompaper World - Factiva,
                                                                                                                        09/14/2016)
                                                                                                                        KANSAS -- Staff says KCC has no jurisdiction over Dex Media (TR's State NewsWire - Factiva,
                                                                                                                        09/14/2016)
                                                                                                                        MINNESOTA -- PUC requires CenturyLink to supplement its dereg petition (TR's State NewsWire -
                                                                                                                        Factiva, 09/14/2016)
                                                                                                                        TDS Telecom Sees No Competitive Problems Yet With CenturyLink Minnesota Deregulation
                                                                                                                        (Communications Daily - Factiva, 09/14/2016)
                                                                                                                        Telephone Communications; Qwest Corp. Files SEC Form 25-NSE, Notification Filed By National
                                                                                                                        Security Exchange To Report The Removal From Listing And Registration of Matured, Redeemed
                                                                                                                        Or Retired Securities (Aug. 30, 2016) (Telecommunications Weekly - Factiva, 09/14/2016)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]         [12]                                                     [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                  Events
                                                                                                                          CenturyLink to provide 1 Gig internet speeds in northwest Douglas county (MarketLine, Company
                                                                                                                          News - Factiva, 09/14/2016 04:46 AM)
                                                                                                                          (PR) Content delivery network provider Highwinds chooses CenturyLink for Data Center Hosting
                                                                                                                          and Network Services (PR Newswire - Factiva, 09/14/2016 09:00 AM)
                                                                                                                          Content delivery network provider Highwinds chooses CenturyLink for Data Center Hosting and
                                                                                                                          Network Services (Canada NewsWire - Factiva, 09/14/2016 09:00 AM)
                                                                                                                          Press Release: Content delivery network provider Highwinds chooses CenturyLink for Data Center
                                                                                                                          Hosting and Network Services (Dow Jones Institutional News - Factiva, 09/14/2016 09:00 AM)

                                                                                                                          Press Release: Content delivery network provider Highwinds chooses CenturyLink for Data Center
                                                                                                                          Hosting and Network Services (Dow Jones Institutional News - Factiva, 09/14/2016 09:00 AM)

9/15/2016 Thu   7,598,614   $26.98      $0.00 -1.64%   1.03%   0.50%    1.39%    -3.03%     -3.38   0.10% **     -$0.83   CenturyLink Inc at Bank of America Merrill Lynch Media, Communications and Entertainment
                                                                                                                          Conference - Final (CQ FD Disclosure - Factiva, 09/15/2016)
                                                                                                                          Level 3 Communications Inc at Bank of America Merrill Lynch Media, Communications and
                                                                                                                          Entertainment Conference - Final (CQ FD Disclosure - Factiva, 09/15/2016)
                                                                                                                          CenturyLink CFO says expenses go up in Q3 (Theflyonthewall.com - Factiva, 09/15/2016)
                                                                                                                          CenturyLink completes largest deployment of G.fast technology in North America (New Vision -
                                                                                                                          Factiva, 09/15/2016)
                                                                                                                          CenturyLink delaying / Millville roundabout (The Herald Journal - Factiva, 09/15/2016)
                                                                                                                          Highwinds choses CenturyLink to provide data centre and networking services (Capacity Magazine -
                                                                                                                          Factiva, 09/15/2016)
                                                                                                                          Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 09/15/2016)
                                                                                                                          OREGON -- PUC approves CenturyLink's conversion of wholesale ordering system (TR's State
                                                                                                                          NewsWire - Factiva, 09/15/2016)
                                                                                                                          Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 09/15/2016)
9/16/2016 Fri   7,114,403   $26.89      $0.00 -0.33% -0.38%    -0.15%   -0.54%    0.20%      0.22 82.89%         $0.05    CDN provider Highwinds selects CenturyLink to optimise global content delivery platform (Optical
                                                                                                                          Networks Daily - Factiva, 09/16/2016)
                                                                                                                          CenturyLink announces terminations (Shreveport Times - Factiva, 09/16/2016)
                                                                                                                          CenturyLink extends fiber optic to St. Johns (The Oregonian - Factiva, 09/16/2016)
                                                                                                                          CenturyLink plans companywide layoffs (The News-Star - Factiva, 09/16/2016)
                                                                                                                          CenturyLink to lay off nearly 3,500 people before the end of the year (Star-Herald - Factiva,
                                                                                                                          09/16/2016)
                                                                                                                          CenturyLink will cut workforce by up to 8 percent by year's end; Not clear if any of 920 employees
                                                                                                                          in Nebraska will be affected (Omaha World-Herald - Factiva, 09/16/2016)
                                                                                                                          Comm Daily(r) Notebook (Communications Daily - Factiva, 09/16/2016)
                                                                                                                          High-speed internet slowly spreads through Silverton; Forethought.net offers new service to
                                                                                                                          mountain town (The Durango Herald - Factiva, 09/16/2016)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/16/2016)
                                                                                                                          Kneeling for the Anthem but Not Bowing to Sponsors (TheAtlantic.com - Factiva, 09/16/2016)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 09/16/2016)
9/17/2016 Sat                                                                                                             Past surviving in seattle, caps look to future appetite; Coach vows changes are coming; 'there will
                                                                                                                          be more hunger inserted' (Vancouver Sun - Factiva, 09/17/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                    Events
                                                                                                                         United States : CenturyLink completes largest deployment of G.fast technology in North America
                                                                                                                         (FARS News Agency - Factiva, 09/17/2016)
                                                                                                                         Verizon-INCOMPAS Special Access Proposal Would Cripple Investment in Broadband (PR
                                                                                                                         Newswire - Factiva, 09/17/2016 05:07 AM)
                                                                                                                         CenturyLink to Participate in Analyst Conferences (PR Newswire - Factiva, 09/17/2016 05:09 AM)

                                                                                                                         CenturyLink recognized for its innovative Managed Security Services offerings by two independent
                                                                                                                         research firms (PR Newswire - Factiva, 09/17/2016 05:21 AM)
9/18/2016 Sun                                                                                                            18:21 EDT CenturyLink to cut 3,400 jobs, Bloomberg saysCenturyLink plans to cut...
                                                                                                                         (Theflyonthewall.com - Factiva, 09/18/2016)
                                                                                                                         U.S. Credit Czar Howe Notifies CenturyLink, Law Enforcement of Child Identity Fraud and
                                                                                                                         Victimization (Business Wire - Factiva, 09/18/2016 08:12 PM)
9/19/2016 Mon   4,457,047   $27.04      $0.00   0.56%   0.00%   -0.69%   -0.39%    0.95%      1.01 31.31%       $0.26    CenturyLink Blasts Verizon Competition 'Doubletalk' on XO Deal, BDS Proposals
                                                                                                                         (Communications Daily - Factiva, 09/19/2016)
                                                                                                                         CenturyLink Blasts Verizon Competition 'Doubletalk' on XO Deal, BDS Proposals (Warren's
                                                                                                                         Washington Internet Daily - Factiva, 09/19/2016)
                                                                                                                         CenturyLink reducing workforce by 7 to 8 percent (SeattlePI.com - Factiva, 09/19/2016)
                                                                                                                         CenturyLink reducing workforce by 7 to 8 percent (The Gazette - Factiva, 09/19/2016)
                                                                                                                         CenturyLink reducing workforce by 7 to 8 percent (U-Wire - Factiva, 09/19/2016)
                                                                                                                         Citigroup Inc Analyst Report (Capital IQ - Manual Entry, 09/19/2016)
                                                                                                                         COLORADO -- CenturyLink says PSAP complaint should be dealt with in rulemaking (TR's State
                                                                                                                         NewsWire - Factiva, 09/19/2016)
                                                                                                                         SOUTH DAKOTA -- Eighth Circuit partially remands Qwest-Free Conferencing dispute (TR's
                                                                                                                         State NewsWire - Factiva, 09/19/2016)
                                                                                                                         With decline in landline phone service, CenturyLink asks for volunteers in new round of 3,000
                                                                                                                         layoffs; Growth in TV, networking can't offset decline in landlines (The Denver Post - Factiva,
                                                                                                                         09/19/2016)
                                                                                                                         CenturyLink reducing workforce by 7 to 8 percent (Associated Press Newswires - Factiva, 09/19/2016
                                                                                                                         07:09 PM)
                                                                                                                         CenturyLink reducing workforce by 7 to 8 per cent (The Canadian Press - Factiva, 09/19/2016 07:10
                                                                                                                         PM)
9/20/2016 Tue   3,345,411   $26.75      $0.00 -1.07%    0.03%   -0.19%   -0.11%   -0.96%     -1.02 30.88%       -$0.26   briefs (The Denver Post - Factiva, 09/20/2016)
                                                                                                                         CenturyLink director Michael J. Roberts awarded Phantom Stocks 19 September 2016 (People in
                                                                                                                         Business - Factiva, 09/20/2016)
                                                                                                                         CenturyLink plans thousands of job cuts this fall (The Oregonian (Tribune Content Agency) - Factiva,
                                                                                                                         09/20/2016)
                                                                                                                         CenturyLink to cut 7 percent of workforce (St. Louis Business Journal Online - Factiva, 09/20/2016)

                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 09/20/2016)
9/21/2016 Wed   4,296,810   $26.92      $0.00   0.64%   1.09%   0.57%    1.39%    -0.76%      -0.8 42.37%       -$0.20   CenturyLink Inc at Goldman Sachs Communacopia Conference - Final (CQ FD Disclosure - Factiva,
                                                                                                                         09/21/2016)
                                                                                                                         Level 3 Communications Inc at Goldman Sachs Communacopia Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 09/21/2016)




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                                                                                              Appendix C
                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]       [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                  Events
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         CENTURYLINK AND COMCAST PHONE OF SOUTH CAROLINA (US Fed News - Factiva,
                                                                                                                         09/21/2016)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES ORDER REGARDING
                                                                                                                         CENTURYLINK AND COMCAST PHONE OF SOUTH CAROLINA (US Fed News - Factiva,
                                                                                                                         09/21/2016)
                                                                                                                         Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 09/21/2016)

                                                                                                                         CenturyLink cutting 3,000 to 3,400 jobs (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         09/21/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for Distributed Outdoor Network
                                                                                                                         Apparatus and Methods (USPTO 9438344) (Telecommunications Weekly - Factiva, 09/21/2016)
                                                                                                                         CenturyLink plans 3,500 layoffs (The Oregonian - Factiva, 09/21/2016)
                                                                                                                         NEBRASKA -- PSC closes investigation into 2015 911 outage (TR's State NewsWire - Factiva,
                                                                                                                         09/21/2016)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 09/21/2016)
                                                                                                                         Cloudera and CenturyLink Expand Strategic Alliance to Deliver Big Data as a Service for
                                                                                                                         Customers (GlobeNewswire - Factiva, 09/21/2016 12:00 PM)
                                                                                                                         CenturyLink Schedules Third Quarter 2016 Earnings Conference Call (PR Newswire - Factiva,
                                                                                                                         09/21/2016 04:20 PM)
                                                                                                                         Press Release: CenturyLink Schedules Third Quarter 2016 Earnings Conference Call (Dow Jones
                                                                                                                         Institutional News - Factiva, 09/21/2016 04:20 PM)
9/22/2016 Thu   5,094,979   $27.61      $0.00   2.56%   0.65%   0.68%   0.95%     1.62%      1.71   9.03%       $0.44    Cloudera and CenturyLink Expand Strategic Alliance to Deliver Big Data as a Service for
                                                                                                                         Customers (Emirates News Agency (WAM) - Factiva, 09/22/2016)
                                                                                                                         Cloudera and CenturyLink Expand Strategic Alliance to Deliver Big Data as a Service for
                                                                                                                         Customers (ENP Newswire - Factiva, 09/22/2016)
                                                                                                                         Cloudera, CenturyLink expand strategic alliance (Telecompaper World - Factiva, 09/22/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for Optimized Distribution of Wireless
                                                                                                                         Broadband in a Building (USPTO 9445281) (Computer Weekly News - Factiva, 09/22/2016)
                                                                                                                         Letter: The Pac-12 channel blues (The Salt Lake Tribune - Factiva, 09/22/2016)
                                                                                                                         No word on local CenturyLink jobs amid 3,000 cuts (Jefferson City News-Tribune - Factiva,
                                                                                                                         09/22/2016)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 09/22/2016)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 09/22/2016)
                                                                                                                         United States : Cloudera and CenturyLink expand Strategic Alliance to Deliver Big Data as a
                                                                                                                         Service for Customers (New Vision - Factiva, 09/22/2016)
                                                                                                                         Wireline (Communications Daily - Factiva, 09/22/2016)
                                                                                                                         Frost & Sullivan Recognizes CenturyLink with Asia Pacific Hybrid IT Strategy Award for the
                                                                                                                         second consecutive year (Canada NewsWire - Factiva, 09/22/2016 08:00 PM)
                                                                                                                         Frost & Sullivan Recognizes CenturyLink with Asia Pacific Hybrid IT Strategy Award for the
                                                                                                                         second consecutive year (PR Newswire Asia - Factiva, 09/22/2016 08:00 PM)
                                                                                                                         Frost & Sullivan Recognizes CenturyLink with Asia Pacific Hybrid IT Strategy Award for the
                                                                                                                         second consecutive year (PR Newswire Europe - Factiva, 09/22/2016 08:00 PM)




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                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         FROST & SULLIVAN RECOGNIZES CENTURYLINK WITH ASIA PACIFIC HYBRID IT
                                                                                                                         STRATEGY AWARD FOR THE SECOND CONSECUTIVE YEAR (Press Association National
                                                                                                                         Newswire - Factiva, 09/22/2016 08:00 PM)
                                                                                                                         (PR) Frost & Sullivan Recognizes CenturyLink with Asia Pacific Hybrid IT Strategy Award for the
                                                                                                                         second consecutive year (PR Newswire - Factiva, 09/22/2016 08:01 PM)
                                                                                                                         Press Release: Frost & Sullivan Recognizes CenturyLink with Asia Pacific Hybrid IT Strategy
                                                                                                                         Award for the second consecutive year (Dow Jones Institutional News - Factiva, 09/22/2016 08:01 PM)

9/23/2016 Fri   3,853,878   $27.42      $0.00 -0.69% -0.57%     0.79%    -0.29%   -0.40%     -0.42 67.77%       -$0.11   CenturyLink to launch 17-channel OTT video service (Telecompaper Americas - Factiva, 09/23/2016)

                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/23/2016)
9/24/2016 Sat
9/25/2016 Sun                                                                                                            TOUGH TEST IN SEATTLE; CARROLL'S TEAM NOT AT ITS BEST, BUT 49ERS HAVE FITS
                                                                                                                         AT CENTURYLINK (San Jose Mercury News - Factiva, 09/25/2016)
9/26/2016 Mon   2,357,661   $27.31      $0.00 -0.40% -0.85%     0.04%    -0.99%    0.59%      0.61 54.13%       $0.16    CenturyLink, Inc. CenturyLink completes largest deployment of G.fast technology in North
                                                                                                                         America (Journal of Engineering - Factiva, 09/26/2016)
                                                                                                                         AKSARBEN FOUNDATION; Livestock auction raises funds for 4-H at CenturyLink Center
                                                                                                                         (Omaha World-Herald - Factiva, 09/26/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for System to Provide Real Loops for
                                                                                                                         Sidetone Measurement with Analog Telephones (USPTO 9444921) (Journal of Engineering - Factiva,
                                                                                                                         09/26/2016)
                                                                                                                         CenturyLink job cuts part of company flux (U-Wire - Factiva, 09/26/2016)
                                                                                                                         COLORADO -- PUC agrees to stay complaint filed against CenturyLink by PSAPs (TR's State
                                                                                                                         NewsWire - Factiva, 09/26/2016)
                                                                                                                         Courts (Warren's Washington Internet Daily - Factiva, 09/26/2016)
9/27/2016 Tue   2,844,859   $27.35      $0.00   0.15%   0.65%   0.27%    0.76%    -0.62%     -0.65 52.01%       -$0.17   CenturyLink Intellectual Property LLC; Patent Issued for Method and Apparatus for Providing
                                                                                                                         Power over a Data Network (USPTO 9444633) (Information Technology Newsweekly - Factiva,
                                                                                                                         09/27/2016)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 09/27/2016)
9/28/2016 Wed   2,598,215   $27.55      $0.00   0.73%   0.55%   -1.41%   -0.18%    0.91%      0.95 34.47%       $0.25    National Institute of Standards and Technology NIST; NIST and Navy tests suggest telecom
                                                                                                                         networks could back up GPS time signals (Telecommunications Weekly - Factiva, 09/28/2016)
                                                                                                                         NEBRASKA -- Workshop will consider CenturyLink's request to publish directories online (TR's
                                                                                                                         State NewsWire - Factiva, 09/28/2016)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                         Beneficial Ownership of Securities (Sept. 19, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                         09/28/2016)
                                                                                                                         Trademarks; An Application for the Trademark "REPORTPARTNER" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 09/28/2016)
9/29/2016 Thu   2,610,971   $27.52      $0.00 -0.11% -0.93%     0.43%    -0.86%    0.75%      0.78 43.41%       $0.21    NBA; Pelicans' Galloway excited to be home (Shreveport Times - Factiva, 09/29/2016)
                                                                                                                         Conventions to draw 4,300, most from outside Omaha (Omaha World-Herald - Factiva, 09/29/2016)

9/30/2016 Fri   3,363,364   $27.43      $0.00 -0.33%    0.80%   -0.83%   0.38%    -0.71%     -0.74 45.88%       -$0.20   CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Providing
                                                                                                                         Wireless Security Surveillance Services Accessible via a Telecommunications Device (USPTO
                                                                                                                         9451217) (Entertainment Newsweekly - Factiva, 09/30/2016)
                                                                                                                         Courts (Warren's Washington Internet Daily - Factiva, 09/30/2016)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 09/30/2016)
                                                                                                                        Patti Payne's Cool Pads: Global telecom exec lists Medina manse for $4.98 million (Puget Sound
                                                                                                                        Business Journal Online - Factiva, 09/30/2016)
                                                                                                                        Wireline (Communications Daily - Factiva, 09/30/2016)
10/1/2016 Sat                                                                                                           NBA; Hornsby hopes to play string music in Bossier City (The News-Star - Factiva, 10/01/2016)
                                                                                                                        NBA; Hornsby hoping to make splash in Bossier City (Shreveport Times - Factiva, 10/01/2016)
                                                                                                                        CENTURYLINK AND CALIX DEPLOY G.FAST SOLUTION. (Telephone IP News - Factiva,
                                                                                                                        10/01/2016)
                                                                                                                        Pelicans, Mavericks face off in NBA preseason opener Saturday night at CenturyLink (Bossier Press-
                                                                                                                        Tribune - Factiva, 10/01/2016)
10/2/2016 Sun
10/3/2016 Mon   3,048,400   $27.52      $0.00   0.33% -0.31%   0.32%    -0.25%    0.57%       0.6 54.75%       $0.16    A. Schulman Appoints John Richardson To Succeed Joseph Levanduski As CFO (RTT News -
                                                                                                                        Factiva, 10/03/2016)
                                                                                                                        A. Schulman names John Richardson to succeed Joseph Levanduski as CFO (Theflyonthewall.com -
                                                                                                                        Factiva, 10/03/2016)
                                                                                                                        CenturyLink to offer $1.4 million in Teachers and Technology grants (PR Newswire - Factiva,
                                                                                                                        10/03/2016 08:00 AM)
                                                                                                                        Press Release: CenturyLink to offer $1.4 million in Teachers and Technology grants (Dow Jones
                                                                                                                        Institutional News - Factiva, 10/03/2016 08:00 AM)
10/4/2016 Tue   4,342,517   $27.08      $0.00 -1.60% -0.49%    -1.31%   -1.25%   -0.35%     -0.36 71.73%       -$0.10   CenturyLink, Inc. Frost & Sullivan Recognizes CenturyLink with Asia Pacific Hybrid IT Strategy
                                                                                                                        Award for the second consecutive year (China Weekly News - Factiva, 10/04/2016)
                                                                                                                        CenturyLink to offer USD 1.4 mln in school grants (Telecompaper Americas - Factiva, 10/04/2016)

                                                                                                                        CenturyLink to offer USD1.4m in teachers, technology grants (Internet Business News - Factiva,
                                                                                                                        10/04/2016)
                                                                                                                        KANSAS -- CenturyLink, Dex Media working with staff to resolve petition (TR's State NewsWire -
                                                                                                                        Factiva, 10/04/2016)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 10/04/2016)
                                                                                                                        CenturyLink named a 'Leader' for data centre operations and management in IDC MarketScape
                                                                                                                        for Canadian market (Canada NewsWire - Factiva, 10/04/2016 09:00 AM)
                                                                                                                        CenturyLink named a 'Leader' for data centre operations and management in IDC MarketScape
                                                                                                                        for Canadian market (PR Newswire - Factiva, 10/04/2016 09:00 AM)
                                                                                                                        Press Release: CenturyLink named a 'Leader' for data centre operations and management in IDC
                                                                                                                        MarketScape for Canadian market (Dow Jones Institutional News - Factiva, 10/04/2016 09:00 AM)

10/5/2016 Wed   4,826,467   $27.03      $0.00 -0.18%   0.47%   -1.01%   -0.08%   -0.10%     -0.11 91.28%       -$0.03   National Institute of Standards and Technology NIST; NIST and Navy tests suggest telecom
                                                                                                                        networks could back up GPS time signals (Telecommunications Weekly - Factiva, 10/05/2016)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                        Beneficial Ownership of Securities (Sept. 19, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                        10/05/2016)
                                                                                                                        Trademarks; An Application for the Trademark "REPORTPARTNER" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 10/05/2016)
                                                                                                                        United States : CenturyLink named a 'Leader' for data centre operations and management in IDC
                                                                                                                        MarketScape for Canadian market (Arab News - Factiva, 10/05/2016)




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                                                                            CenturyLink, Inc. News Chronology with Daily Statistics
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                                                               Excess                                             Abnormal
                                                       Market Industry Predicted Abnormal                           Price
     Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                  Events
                                                                                                                             Telecom Services Stocks Under Review -- AT&T, Frontier Communications, Verizon
                                                                                                                             Communications, and CenturyLink (PR Newswire - Factiva, 10/05/2016 08:34 AM)
 10/6/2016 Thu    3,531,399   $26.97      $0.00 -0.22%    0.05%   -0.10%   -0.07%   -0.15%     -0.16 87.19%         -$0.04   CenturyLink Intellectual Property LLC; Patent Issued for Method and Apparatus for Securely
                                                                                                                             Transmitting Lawfully Intercepted VOIP Data (USPTO 9456009) (Computer Weekly News - Factiva,
                                                                                                                             10/06/2016)
                                                                                                                             CenturyLink marked for data centre operations, management in Canadian market (Internet
                                                                                                                             Business News - Factiva, 10/06/2016)
                                                                                                                             CenturyLink OFFERS BDS PROPOSAL (TR Daily - Factiva, 10/06/2016)
                                                                                                                             CenturyLink to offer $1.4 million in Teachers and Technology grants (Muscatine Journal - Factiva,
                                                                                                                             10/06/2016)
                                                                                                                             CenturyLink to offer $1.4 million in Teachers and Technology grants (The Quad-City Times -
                                                                                                                             Factiva, 10/06/2016)
                                                                                                                             S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 10/06/2016)
                                                                                                                             TRDaily - October 6, 2016 BROADBAND PRIVACY, CALLING CARD MARKETING
                                                                                                                             TENTATIVELY... (TR Daily - Factiva, 10/06/2016)
                                                                                                                             Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 10/06/2016)
                                                                                                                             First Data and Bypass Take the Seattle Seahawks Fan Experience to the Next Level (Business Wire -
                                                                                                                             Factiva, 10/06/2016 11:00 AM)
 10/7/2016 Fri   13,519,671   $27.76      $0.00   2.93% -0.32%    -0.32%   -0.58%    3.51%       3.7   0.03% **     $0.95    First Data and Bypass Take the Seattle Seahawks Fan Experience to the Next Level (ENP Newswire -
                                                                                                                             Factiva, 10/07/2016)
                                                                                                                             Coldplay includes CenturyLink Field in 2017 tour (The News Tribune - Factiva, 10/07/2016)
                                                                                                                             Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/07/2016)
                                                                                                                             MONTANA -- PSC seeks comment on CenturyLink petition to forego printed directories (TR's
                                                                                                                             State NewsWire - Factiva, 10/07/2016)
                                                                                                                             United States : First data and bypass take the Seattle Seahawks fan experience to the next level
                                                                                                                             (Jordan News Agency (Petra) - Factiva, 10/07/2016)
 10/8/2016 Sat                                                                                                               AT&T Enters CenturyLink Market with Competitive AT&T Broadband Wireless Service (Emirates
                                                                                                                             News Agency (WAM) - Factiva, 10/08/2016)
                                                                                                                             CenturyLink Calls Verizon Special-Access Proposal `Extreme And Arbitrary` (New Vision - Factiva,
                                                                                                                             10/08/2016)
                                                                                                                             PSC seeks more summer flood details from company (Great Falls Tribune - Factiva, 10/08/2016)
 10/9/2016 Sun
10/10/2016 Mon    3,118,235   $27.84      $0.00   0.29%   0.46%   0.15%    0.52%    -0.23%     -0.23 81.60%         -$0.06   Big Data on the cloud makes economic sense (Mint - Factiva, 10/10/2016)
                                                                                                                             CenturyLink announces gigabit service now available to 14,000 MTUs in its footprint (PR Newswire
                                                                                                                             - Factiva, 10/10/2016 08:00 AM)
                                                                                                                             Press Release: CenturyLink announces gigabit service now available to 14,000 MTUs in its
                                                                                                                             footprint (Dow Jones Institutional News - Factiva, 10/10/2016 08:00 AM)
                                                                                                                             Learn how to target a 20% return on SolarCity, or get option-trade ideas on Etsy Inc., Centurylink,
                                                                                                                             Taiwan Semiconductor Manufacturing Company Limited and Skechers or any stock you choose
                                                                                                                             (PR Newswire - Factiva, 10/10/2016 09:31 AM)
                                                                                                                             CenturyLink installs G.fast technology in Platteville, Wisconsin (MarketLine, Company News -
                                                                                                                             Factiva, 10/10/2016 03:39 PM)
                                                                                                                             Highwinds Network selects CenturyLink for optimizing CDN platform (MarketLine, Company News -
                                                                                                                             Factiva, 10/10/2016 03:39 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                       [13]
                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                    Events
10/11/2016 Tue   5,412,856   $27.64      $0.00 -0.72% -1.24%    0.66%   -1.04%     0.32%      0.32 74.67%       $0.09    BC Partners in lead to acquire CenturyLinkÃ¢â‚¬â„¢s data centers, say sources: Reuters (PE Hub
                                                                                                                         Network - Factiva, 10/11/2016)
                                                                                                                         15:37 EDT BC Partners in lead to buy CenturyLink data centers, Reuters says (Theflyonthewall.com
                                                                                                                         - Factiva, 10/11/2016)
                                                                                                                         15:54 EDT BC Partners in lead to buy CenturyLink data centers, Reuters saysBC...
                                                                                                                         (Theflyonthewall.com - Factiva, 10/11/2016)
                                                                                                                         CenturyLink announces gigabit service now available to 14,000 MTUs in its footprint (New Vision -
                                                                                                                         Factiva, 10/11/2016)
                                                                                                                         CenturyLink brings 1 Gbps to 14,000 MTUs in footprint (Telecompaper Americas - Factiva,
                                                                                                                         10/11/2016)
                                                                                                                         CenturyLink offers gigabit services to 14,000 MTUs (New Vision - Factiva, 10/11/2016)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 10/11/2016)
                                                                                                                         Son of Navy man Michael Bennett sings Adele, steals show at Seahawks' honored military unit
                                                                                                                         ceremony (The News Tribune - Factiva, 10/11/2016)
                                                                                                                         EXCLUSIVE-BC Partners in lead to acquire CenturyLink's data centers -sources (Reuters News -
                                                                                                                         Factiva, 10/11/2016 03:37 PM)
                                                                                                                         Exclusive: BC Partners in lead to acquire CenturyLink's data centers - sources (Reuters News -
                                                                                                                         Factiva, 10/11/2016 03:49 PM)
10/12/2016 Wed   2,580,380   $27.57      $0.00 -0.25%   0.12%   0.54%    0.32%    -0.57%     -0.59 55.39%       -$0.16   BC Partners emerges as lead bidder for CenturyLink data centres - report (SeeNews America -
                                                                                                                         Factiva, 10/12/2016)
                                                                                                                         100,000 businesses in 600 cities have access to CenturyLink fiber-ready services (Internet Business
                                                                                                                         News - Factiva, 10/12/2016)
                                                                                                                         19th annual WhistleStop sprints into town (The Daily Press - Factiva, 10/12/2016)
                                                                                                                         CenturyLink fibre-based gigabit service available to businesses in 14,000 MTUs in 600 cities
                                                                                                                         (Optical Networks Daily - Factiva, 10/12/2016)
                                                                                                                         Correction; Correction (Great Falls Tribune - Factiva, 10/12/2016)
                                                                                                                         DBJ Offices: Tour Level 3's office hub in Broomfield (Photos, video) (Denver Business Journal
                                                                                                                         Online - Factiva, 10/12/2016)
                                                                                                                         Lead bidder emerges for CenturyLink's data centers: Report (St. Louis Business Journal Online -
                                                                                                                         Factiva, 10/12/2016)
                                                                                                                         Trademarks; Trademark Application for "ELEVATETV" Filed by CenturyLink
                                                                                                                         (Telecommunications Weekly - Factiva, 10/12/2016)
                                                                                                                         United States : CenturyLink announces gigabit service now available to 14,000 MTUs in its
                                                                                                                         footprint (Agency Tunis Afrique Press - Factiva, 10/12/2016)
                                                                                                                         A. Schulman announces CFO transition (MarketLine, Company News - Factiva, 10/12/2016 02:45 PM)

                                                                                                                         Democrats Press the FCC to Recognize New Competitors in BDS Rulemaking (PR Newswire -
                                                                                                                         Factiva, 10/12/2016 04:14 PM)
10/13/2016 Thu   2,750,712   $27.39      $0.00 -0.65% -0.31%    0.24%   -0.24%    -0.41%     -0.43 66.94%       -$0.11   CenturyLink expands gigabit Internet to 14,000 MTUs (New Vision - Factiva, 10/13/2016)
                                                                                                                         CIC, CenturyLink partner for STEM education initiative (Bossier Press-Tribune - Factiva,
                                                                                                                         10/13/2016)
                                                                                                                         Details of flood issues offered (Great Falls Tribune - Factiva, 10/13/2016)
                                                                                                                         Dividends divide telco playing field (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         10/13/2016)



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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                          HYCKI, LARRY J. Pinconning (Bay City Times - Factiva, 10/13/2016)
                                                                                                                          Report: BC Partners eyeing CenturyLink data centers (SNL Kagan Media & Communications Report -
                                                                                                                          Factiva, 10/13/2016)
                                                                                                                          Telecommunication Companies; Patent Issued for Providing Location-Based Information to a User
                                                                                                                          of a Mobile Communication Device (USPTO 9462462) (Computer Weekly News - Factiva,
                                                                                                                          10/13/2016)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 10/13/2016)
10/14/2016 Fri   2,003,263   $27.34      $0.00 -0.18%    0.02%   -0.15%   -0.06%   -0.12%     -0.13 90.01%       -$0.03   CenturyLink Intellectual Property LLC; Patent Issued for ABR Live to VOD System and Method
                                                                                                                          (USPTO 9462307) (Entertainment Newsweekly - Factiva, 10/14/2016)
                                                                                                                          CenturyLink progress lags, angers residents (Great Falls Tribune - Factiva, 10/14/2016)
                                                                                                                          IOWA -- IUB says it won't penalize CenturyLink for service quality issues (TR's State NewsWire -
                                                                                                                          Factiva, 10/14/2016)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/14/2016)
                                                                                                                          Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                          for "MOUNTAIN BELL" Filed (Investment Weekly News - Factiva, 10/14/2016)
                                                                                                                          First Data and Bypass to provide Seattle Seahawks with commerce technology (MarketLine,
                                                                                                                          Company News - Factiva, 10/14/2016 06:39 AM)
10/15/2016 Sat
10/16/2016 Sun
10/17/2016 Mon   3,118,122   $27.37      $0.00   0.11% -0.30%    0.40%    -0.17%    0.28%      0.29 77.06%       $0.08    CenturyLink, Inc. CenturyLink to offer $1.4 million in Teachers and Technology grants (Journal of
                                                                                                                          Engineering - Factiva, 10/17/2016)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Emergency
                                                                                                                          Communications (USPTO 9460611) (Journal of Engineering - Factiva, 10/17/2016)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Managing
                                                                                                                          Messages (USPTO 9462430) (Journal of Engineering - Factiva, 10/17/2016)
                                                                                                                          CenturyLink invests in area STEM education initiative (The News-Star - Factiva, 10/17/2016)
10/18/2016 Tue   3,770,437   $27.90      $0.00   1.94%   0.62%   -0.30%   0.48%     1.46%      1.51 13.28%       $0.40    India's Tata Communications names head of global sales (SNL Kagan Media & Communications
                                                                                                                          Report - Factiva, 10/18/2016)
                                                                                                                          CenturyLink announces availability of gigabit service to 14,000 MTUs (MarketLine News and
                                                                                                                          Comment - Factiva, 10/18/2016 08:00 PM)
10/19/2016 Wed   3,274,349   $28.18      $0.00   1.00%   0.23%   0.02%    0.24%     0.76%      0.79 43.33%       $0.21    CenturyLink Inc. Debt Trading 1.4% Lower (Jpost.com (The Jerusalem Post online edition) - Factiva,
                                                                                                                          10/19/2016)
                                                                                                                          Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 10/19/2016)

                                                                                                                          BuySellSignals Research Analyst Report (Eikon - Manual Entry, 10/19/2016)
                                                                                                                          CenturyLink towers removed Crane cleared from West First Street (Duluth News-Tribune - Factiva,
                                                                                                                          10/19/2016)
                                                                                                                          Telecommunication Companies; Patent Issued for Correlating Mobile Device Locations (USPTO
                                                                                                                          9462461) (Telecommunications Weekly - Factiva, 10/19/2016)
                                                                                                                          Trademarks; An Application for the Trademark "SIMPLY GUARANTEED" Has Been Filed by
                                                                                                                          Qwest Communications International (Telecommunications Weekly - Factiva, 10/19/2016)
                                                                                                                          CenturyLink announces availability of gigabit service to 14,000 MTUs (MarketLine, Company News -
                                                                                                                          Factiva, 10/19/2016 05:16 AM)




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      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                   [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                 Events
10/20/2016 Thu   4,336,602   $27.97      $0.00 -0.75% -0.13%     -1.94%   -0.95%    0.21%      0.21 83.13%        $0.06    With data centers, AT&T is caught between a rock and a hard place (The Deal - Factiva, 10/20/2016)

10/21/2016 Fri   4,790,620   $28.21      $0.00   0.86% -0.01%    -2.36%   -0.98%    1.84%       1.9   5.96%       $0.51    CenturyLink to expand broadband in Chadron (New Vision - Factiva, 10/21/2016)
                                                                                                                           Idaho Steelheads 2016-17 home schedule (The Idaho Statesman - Factiva, 10/21/2016)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/21/2016)
                                                                                                                           Validea Analyst Report (Eikon - Manual Entry, 10/21/2016)
10/22/2016 Sat
10/23/2016 Sun                                                                                                             IFA moving into ex-CenturyLink building (The Herald Journal - Factiva, 10/23/2016)
10/24/2016 Mon   3,193,735   $28.32      $0.00   0.39%   0.48%   -1.11%   0.13%     0.26%      0.27 78.59%        $0.07    CenturyLink, Inc. CenturyLink announces gigabit service now available to 14,000 MTUs in its
                                                                                                                           footprint (Journal of Engineering - Factiva, 10/24/2016)
                                                                                                                           CenturyLink Intellectual Property LLC; Patent Issued for Multi-Access Gateway for Direct to
                                                                                                                           Residence Communication Services (USPTO 9467481) (Journal of Engineering - Factiva, 10/24/2016)

                                                                                                                           CenturyLink plans to give $25,000 to eastern North Carolina flood victims (Triad Business Journal
                                                                                                                           Online - Factiva, 10/24/2016)
                                                                                                                           Cowen and Company Analyst Report (Eikon - Manual Entry, 10/24/2016)
                                                                                                                           M&A Opportunity | AT&T Inc. - data center business (The Deal - Factiva, 10/24/2016)
                                                                                                                           PSBJ's Fastest-Growing Private Companies gather at CenturyLink Field (Photos) (Puget Sound
                                                                                                                           Business Journal Online - Factiva, 10/24/2016)
                                                                                                                           CenturyLink appoints new senior vice president of federal sales (MarketLine News and Comment -
                                                                                                                           Factiva, 10/24/2016 08:00 PM)
10/25/2016 Tue   3,390,382   $28.45      $0.00   0.46% -0.38%    -0.34%   -0.47%    0.93%      0.98 33.03%        $0.26    Verizon seeks to save Sprint from paying $12.5 million to CenturyLink (Emirates News Agency
                                                                                                                           (WAM) - Factiva, 10/25/2016)
                                                                                                                           CenturyLink SVPÃ¢â‚¬â€œFEDERAL SALES (TR Daily - Factiva, 10/25/2016)
                                                                                                                           DJ CenturyLink Inc, Inst Holders, 3Q 2016 (CTL) (Dow Jones Institutional News - Factiva,
                                                                                                                           10/25/2016 03:45 AM)
                                                                                                                           Corporate Directors From AIG, CenturyLink, Colgate-Palmolive, MasterCard, and TIAA-CREF
                                                                                                                           Become NACD Fellows in Q3 2016 (GlobeNewswire - Factiva, 10/25/2016 09:00 AM)
                                                                                                                           Erich Sanchack named CenturyLink Federal Sales SVP (PR Newswire - Factiva, 10/25/2016 09:05
                                                                                                                           AM)
                                                                                                                           Press Release: Erich Sanchack named CenturyLink Federal Sales SVP (Dow Jones Institutional
                                                                                                                           News - Factiva, 10/25/2016 09:05 AM)
10/26/2016 Wed   3,289,316   $28.25      $0.00 -0.70% -0.17%     -0.45%   -0.29%   -0.41%     -0.43 66.71%        -$0.12   CenturyLink Intellectual Property LLC; Patent Issued for Cast-In-Place Fiber Technology
                                                                                                                           (USPTO 9466966) (Telecommunications Weekly - Factiva, 10/26/2016)
                                                                                                                           CenturyLink Intellectual Property LLC; Patent Issued for Method for Presenting Additional
                                                                                                                           Information about a Telecommunication User (USPTO 9467561) (Telecommunications Weekly -
                                                                                                                           Factiva, 10/26/2016)
                                                                                                                           Trademarks; An Application for the Trademark "PACIFIC NORTHWEST BELL" Has Been
                                                                                                                           Filed by Qwest Communications International (Telecommunications Weekly - Factiva, 10/26/2016)

                                                                                                                           DJ CenturyLink Inc, Inst Holders, 3Q 2016 (CTL) (Dow Jones Institutional News - Factiva,
                                                                                                                           10/26/2016 04:08 AM)
                                                                                                                           CenturyLink to Participate in Analyst Conference (PR Newswire - Factiva, 10/26/2016 04:20 PM)




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                                                               Excess                                           Abnormal
                                                       Market Industry Predicted Abnormal                         Price
     Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value    Reaction                                                   Events
                                                                                                                           (PR) Hybrid IT services are crucial for digital transformation, CenturyLink study finds (PR
                                                                                                                           Newswire - Factiva, 10/26/2016 06:00 PM)
                                                                                                                           Hybrid IT services are crucial for digital transformation, CenturyLink study finds (Canada
                                                                                                                           NewsWire - Factiva, 10/26/2016 06:00 PM)
                                                                                                                           Press Release: Hybrid IT services are crucial for digital transformation, CenturyLink study finds
                                                                                                                           (Dow Jones Institutional News - Factiva, 10/26/2016 06:00 PM)
10/27/2016 Thu   36,625,594   $31.00      $0.00   9.73% -0.30%   1.55%    0.20%     9.54%    10.03   0.00% **     $2.69    13:07 EDT CenturyLink halted for volatility after jumping 5% to $29.73 (Theflyonthewall.com -
                                                                                                                           Factiva, 10/27/2016)
                                                                                                                           13:08 EDT CenturyLink in advanced talks to merge with L-3, WSJ reports (Theflyonthewall.com -
                                                                                                                           Factiva, 10/27/2016)
                                                                                                                           13:10 EDT Correction: CenturyLink in advanced talks to merge with Level 3, WSJ...
                                                                                                                           (Theflyonthewall.com - Factiva, 10/27/2016)
                                                                                                                           13:11 EDT CenturyLink, Level 3 jump after WSJ report of advanced merger talks
                                                                                                                           (Theflyonthewall.com - Factiva, 10/27/2016)
                                                                                                                           13:25 EDT CenturyLink, Level 3 in advanced merger talks, WSJ reportsCenturyLink...
                                                                                                                           (Theflyonthewall.com - Factiva, 10/27/2016)
                                                                                                                           Barclays Analyst Report (Capital IQ - Manual Entry, 10/27/2016)
                                                                                                                           Barclays Analyst Report (Eikon - Manual Entry, 10/27/2016)
                                                                                                                           BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 10/27/2016)
                                                                                                                           Broomfield's Level 3 and Century Link in merger talks (Daily Camera - Factiva, 10/27/2016)
                                                                                                                           CenturyLink in advanced talks to merge with Broomfield-based Level 3 Communications;
                                                                                                                           Potential deal illustrates the companies' dwindling acquisition targets after years of industry
                                                                                                                           consolidation (The Denver Post - Factiva, 10/27/2016)
                                                                                                                           CenturyLink in merger talks with Level 3: WSJ (Minneapolis/St. Paul Business Journal Online -
                                                                                                                           Factiva, 10/27/2016)
                                                                                                                           CenturyLink Intellectual Property LLC; Patent Issued for Universal near Field Self-Configuring
                                                                                                                           Femtocell (USPTO 9473959) (Computer Weekly News - Factiva, 10/27/2016)
                                                                                                                           CenturyLink is in advanced talks to merge with Level 3 Communications- CNBC, citing DJ
                                                                                                                           (Reuters Significant Developments - Factiva, 10/27/2016)
                                                                                                                           CenturyLink is reportedly close to merging with Level 3 (Puget Sound Business Journal Online -
                                                                                                                           Factiva, 10/27/2016)
                                                                                                                           CenturyLink, Level 3 reportedly close to merging (Orlando Business Journal Online - Factiva,
                                                                                                                           10/27/2016)
                                                                                                                           CenturyLink, LEVEL 3 REPORTEDLY EYE MERGER (TR Daily - Factiva, 10/27/2016)
                                                                                                                           CenturyLink, Level 3 Stocks Spike; Merger Of Equals? (Investor's Business Daily - Factiva,
                                                                                                                           10/27/2016)
                                                                                                                           CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 10/27/2016)
                                                                                                                           Colorado's Level 3, CenturyLink reportedly close to merging (Denver Business Journal Online -
                                                                                                                           Factiva, 10/27/2016)
                                                                                                                           Cowen and Company Analyst Report (Eikon - Manual Entry, 10/27/2016)
                                                                                                                           Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 10/27/2016)
                                                                                                                           Deutsche Bank Analyst Report (Eikon - Manual Entry, 10/27/2016)




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                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                           Lee County Parks and Recreation; Roy Hobbs World Series returns to Lee County (News-Press -
                                                                                                           Factiva, 10/27/2016)
                                                                                                           Macquarie Research Analyst Report (Eikon - Manual Entry, 10/27/2016)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 10/27/2016)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 10/27/2016)
                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 10/27/2016)
                                                                                                           NATIONAL -- CenturyLink, Level 3 reportedly eye merger (TR's State NewsWire - Factiva,
                                                                                                           10/27/2016)
                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 10/27/2016)
                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 10/27/2016)
                                                                                                           United States : Hybrid IT services are crucial for digital transformation, CenturyLink study finds
                                                                                                           (Khaleej Times - Factiva, 10/27/2016)
                                                                                                           UTAH -- CenturyLink seeks waiver of USF eligibility requirements (TR's State NewsWire - Factiva,
                                                                                                           10/27/2016)
                                                                                                           *Level 3 Had $16.8 Billion Market Value Thursday Afternoon, CenturyLink's Was About $15
                                                                                                           Billion (Dow Jones Institutional News - Factiva, 10/27/2016 01:06 PM)
                                                                                                           CenturyLink Inc. (CTL) Halted (Dow Jones Institutional News - Factiva, 10/27/2016 01:07 PM)
                                                                                                           CenturyLink Inc. (CTL) Ind: 29.00-31.00 Last 29.72 (Dow Jones Institutional News - Factiva,
                                                                                                           10/27/2016 01:08 PM)
                                                                                                           CenturyLink Inc. (CTL) Resumed Trading (Dow Jones Institutional News - Factiva, 10/27/2016 01:12
                                                                                                           PM)
                                                                                                           BRIEF-CenturyLink is in advanced talks to merge with Level 3 Communications- CNBC, citing DJ
                                                                                                           (Reuters News - Factiva, 10/27/2016 01:13 PM)
                                                                                                           CenturyLink in Advanced Talks to Merge With Level 3 Communications -- Update (Dow Jones
                                                                                                           Institutional News - Factiva, 10/27/2016 01:27 PM)
                                                                                                           CenturyLink in Advanced Talks to Merge With Level 3 Communications; A deal could be
                                                                                                           announced in the coming weeks, people familiar with the matter say (The Wall Street Journal Online -
                                                                                                           Factiva, 10/27/2016 01:27 PM)
                                                                                                           CenturyLink in Talks to Merge With Level 3 Communications (Dow Jones Institutional News -
                                                                                                           Factiva, 10/27/2016 01:30 PM)
                                                                                                           CenturyLink in Advanced Talks to Merge With Level 3 Communications (Dow Jones Institutional
                                                                                                           News - Factiva, 10/27/2016 01:35 PM)
                                                                                                           CenturyLink in Advanced Talks to Merge With Level 3 Communications -- Update (Dow Jones
                                                                                                           Institutional News - Factiva, 10/27/2016 01:42 PM)
                                                                                                           CenturyLink in Advanced Talks to Merge With Level 3 Communications (Dow Jones Newswires
                                                                                                           Chinese (English) - Factiva, 10/27/2016 01:45 PM)
                                                                                                           CenturyLink in Talks to Merge With Level 3 Communications (Dow Jones Institutional News -
                                                                                                           Factiva, 10/27/2016 01:45 PM)
                                                                                                           CenturyLink nears deal to merge with Level 3 -sources (Reuters News - Factiva, 10/27/2016 02:07
                                                                                                           PM)
                                                                                                           CenturyLink in advanced merger talks with Level 3 Communications; A deal could be announced
                                                                                                           in the coming weeks, people familiar with the matter say (MarketWatch - Factiva, 10/27/2016 02:44
                                                                                                           PM)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                               Excess                                          Abnormal
                                                       Market Industry Predicted Abnormal                        Price
     Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                          MW CenturyLink in advanced merger talks with Level 3 Communications (MarketWatch - Factiva,
                                                                                                                          10/27/2016 02:44 PM)
                                                                                                                          CenturyLink Would Do Well With Level 3 -- Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                                          10/27/2016 02:45 PM)
                                                                                                                          CenturyLink Would Do Well With Level 3 -- Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                                          10/27/2016 02:45 PM)
                                                                                                                          The Hot Stock: Level 3 Soars 11% to Top S&P 500 -- Barron's Blog (Dow Jones Institutional News -
                                                                                                                          Factiva, 10/27/2016 04:19 PM)
                                                                                                                          Stock market ends lower on mixed earnings, defensive sector weakness; Qualcomm to buy NXP;
                                                                                                                          CenturyLink in talks to merge with Level 3 (MarketWatch - Factiva, 10/27/2016 04:23 PM)
                                                                                                                          Deals of the day- Mergers and acquisitions (Reuters News - Factiva, 10/27/2016 04:24 PM)
                                                                                                                          CenturyLink nears deal to merge with Level 3 -sources (Reuters News - Factiva, 10/27/2016 07:23
                                                                                                                          PM)
                                                                                                                          UPDATE 2-CenturyLink nears deal to merge with Level 3 -sources (Reuters News - Factiva,
                                                                                                                          10/27/2016 07:23 PM)
10/28/2016 Fri   15,382,989   $30.39      $0.00 -1.97% -0.31%   -0.01%   -0.19%    -1.78%     -1.39 16.77%       -$0.55   JPMorgan assumes CenturyLink buys Level 3 for $61/share (Theflyonthewall.com - Factiva,
                                                                                                                          10/28/2016)
                                                                                                                          07:31 EDT Level 3 upgraded to Outperform at OppenheimerAs previously reported,...
                                                                                                                          (Theflyonthewall.com - Factiva, 10/28/2016)
                                                                                                                          07:42 EDT CenturyLink in talks to buy Level 3, Bloomberg reportsCenturyLink...
                                                                                                                          (Theflyonthewall.com - Factiva, 10/28/2016)
                                                                                                                          09:09 EDT CenturyLink deal would balance yield and growth, says UBSUBS analyst...
                                                                                                                          (Theflyonthewall.com - Factiva, 10/28/2016)
                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 10/28/2016)
                                                                                                                          CenturyLink and Level 3 in merger talks (Capacity Magazine - Factiva, 10/28/2016)
                                                                                                                          CenturyLink and Level 3 in merger talks (Global Telecoms Business - Factiva, 10/28/2016)
                                                                                                                          CenturyLink downgraded to Market Perform from Outperform at Raymond James
                                                                                                                          (Theflyonthewall.com - Factiva, 10/28/2016)
                                                                                                                          CenturyLink said to be in advanced talks to acquire Level 3 (Financial Express - Factiva, 10/28/2016)

                                                                                                                          CenturyLink, Level 3 Communications poised to sign merger agreement - report (SeeNews America
                                                                                                                          - Factiva, 10/28/2016)
                                                                                                                          CenturyLink, Level 3 Communications poised to sign merger agreement - report (SeeNews
                                                                                                                          Renewables - Factiva, 10/28/2016)
                                                                                                                          CenturyLink, Level 3 holding merger talks (Total Telecom Plus - Factiva, 10/28/2016)
                                                                                                                          CenturyLink, Level 3 in advanced merger talks - report (Telecompaper Americas - Factiva,
                                                                                                                          10/28/2016)
                                                                                                                          CenturyLink, Level 3 in merger talks; Gannett still circling tronc (SNL Financial Extra - Factiva,
                                                                                                                          10/28/2016)
                                                                                                                          CenturyLink, Level 3 In Talks to Combine (The Wall Street Journal - Factiva, 10/28/2016)
                                                                                                                          Colorado's Level 3, CenturyLink reportedly close to merging (Kansas City Business Journal Online -
                                                                                                                          Factiva, 10/28/2016)
                                                                                                                          Five things to know today, and two telecommunications giants could merge (Pittsburgh Business
                                                                                                                          Times Online - Factiva, 10/28/2016)



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                                                               Excess                                             Abnormal
                                                       Market Industry Predicted Abnormal                           Price
     Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                  Events

                                                                                                                             Glen F. Post of CenturyLink in second quartile of NYSE CEO Scorecard for past year (People in
                                                                                                                             Business - Factiva, 10/28/2016)
                                                                                                                             Gordon Haskett Analyst Report (Eikon - Manual Entry, 10/28/2016)
                                                                                                                             Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 10/28/2016)
                                                                                                                             Level 3 Considers Telecom Merger (The Wall Street Journal (Europe Edition) - Factiva, 10/28/2016)

                                                                                                                             Level 3, CenturyLink reportedly close to merging (St. Louis Business Journal Online - Factiva,
                                                                                                                             10/28/2016)
                                                                                                                             Merger could be in the works for Level 3 and CenturyLink; Communication firms with national
                                                                                                                             networks and roots here are in 'advanced' talks (Omaha World-Herald - Factiva, 10/28/2016)
                                                                                                                             Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 10/28/2016)
                                                                                                                             Raymond James & Associates Analyst Report (Capital IQ - Manual Entry, 10/28/2016)
                                                                                                                             RBC Capital Markets Analyst Report (Eikon - Manual Entry, 10/28/2016)
                                                                                                                             Report: CenturyLink merger in the works (Shreveport Times - Factiva, 10/28/2016)
                                                                                                                             Report: CenturyLink merger in the works (The News-Star - Factiva, 10/28/2016)
                                                                                                                             Report: CenturyLink stock jumps amid Level 3 merger speculation (SNL Kagan Media &
                                                                                                                             Communications Report - Factiva, 10/28/2016)
                                                                                                                             Why CenturyLink Inc Stock Just Soared 18%, and Level 3 Communications Is Up 13% (U-Wire -
                                                                                                                             Factiva, 10/28/2016)
                                                                                                                             CenturyLink, Level 3 In Talks to Combine -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                                             10/28/2016 02:33 AM)
                                                                                                                             CenturyLink, Level 3 In Talks to Combine -- WSJ (Dow Jones Institutional News - Factiva,
                                                                                                                             10/28/2016 02:48 AM)
                                                                                                                             Hot Stocks to Watch: CTL LVLT (Dow Jones Newswires Chinese (English) - Factiva, 10/28/2016
                                                                                                                             08:37 AM)
                                                                                                                             Covered Call reports for CenturyLink, Francesca's Holdings Company, Myriad Genetics,
                                                                                                                             Stamps.Com Inc. and Ultragenyx Pharmaceuticals include trade ideas that offer returns of 19% or
                                                                                                                             more! (PR Newswire - Factiva, 10/28/2016 09:31 AM)
10/29/2016 Sat                                                                                                               New Amsterdam Partners Reduces Its Stake in CenturyLink Inc (India Investment News - Factiva,
                                                                                                                             10/29/2016)
10/30/2016 Sun                                                                                                               Business Briefcase for Oct. 28, 2016 (Daily Camera - Factiva, 10/30/2016)
                                                                                                                             Game Day: Seahawks vs. Saints (The Daily Herald - Factiva, 10/30/2016)
                                                                                                                             Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 10/30/2016)
                                                                                                                             CenturyLink reports lower Q3 net income, provides Q4 guidance (MarketLine News and Comment -
                                                                                                                             Factiva, 10/30/2016 08:00 PM)
10/31/2016 Mon   71,943,608   $26.58      $0.00 -12.54% -0.01%   0.45%    0.32%    -12.86%     -9.96   0.00% **     -$3.91   CenturyLink Inc to acquire Level 3 Communications M&A Call - Final (CQ FD Disclosure - Factiva,
                                                                                                                             10/31/2016)
                                                                                                                             CenturyLink, Inc. Announces 22% Decline In Q3 Profit (RTT News - Factiva, 10/31/2016)
                                                                                                                             Moody's affirms Level 3's ratings, changes outlook to stable (Moody's Investors Service Press Release
                                                                                                                             - Factiva, 10/31/2016)
                                                                                                                             Moody's places CenturyLink's ratings on review for downgrade following Level 3 acquisition
                                                                                                                             announcement (Moody's Investors Service Press Release - Factiva, 10/31/2016)




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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                      [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                    Events
                                                                                                           06:35 EDT CenturyLink to acquire Level 3 for $26.50 per share (Theflyonthewall.com - Factiva,
                                                                                                           10/31/2016)
                                                                                                           06:38 EDT CenturyLink to acquire Level 3 for $26.50 per share or $34BCenturyLink...
                                                                                                           (Theflyonthewall.com - Factiva, 10/31/2016)
                                                                                                           06:44 EDT CenturyLink sees Q4 adj. EPS 53c-59c, consensus 64cSees Q4 operating...
                                                                                                           (Theflyonthewall.com - Factiva, 10/31/2016)
                                                                                                           08:32 EDT CenturyLink sees Q4 operating revenue lower vs. Q3 CenturyLink said it...
                                                                                                           (Theflyonthewall.com - Factiva, 10/31/2016)
                                                                                                           Biz quicks (Tulsa World - Factiva, 10/31/2016)
                                                                                                           BRIEF: Voice and 911 service cut to about 6,500 CenturyLink customers in Eastern Washington,
                                                                                                           restoration expected by 10 p.m. (The Spokesman-Review (Tribune Content Agency) - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CARRIERS RAISE QUESTIONS ABOUT PROPOSED BDS RULES (TR Daily - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CenturyLink agrees to buy Level 3 Communications in $34 billion deal: Reuters (PE Hub Network -
                                                                                                           Factiva, 10/31/2016)
                                                                                                           CenturyLink and Level 3 to merge in $34bn deal (Capacity Magazine - Factiva, 10/31/2016)
                                                                                                           CenturyLink and Level 3 to merge in $34bn deal (Global Telecoms Business - Factiva, 10/31/2016)

                                                                                                           CenturyLink buying Level 3 Communications (Video) (Denver Business Journal Online - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CenturyLink buying Level 3 Communications (Minneapolis/St. Paul Business Journal Online - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CenturyLink buying Level 3 Communications (Triangle Business Journal Online - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CenturyLink gaps down after Level 3 mergers news (Theflyonthewall.com - Factiva, 10/31/2016)
                                                                                                           CenturyLink Inks $34 Billion Deal To Buy Level 3 Communications (Forbes.com - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CenturyLink may merge with Level 3 Communications (Financial Deals Tracker - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CenturyLink pays $34bn for Level 3 in major fibre network deal (V3 - Factiva, 10/31/2016)
                                                                                                           CenturyLink Q3 earnings per share $0.28 (Reuters Significant Developments - Factiva, 10/31/2016)

                                                                                                           CenturyLink reports Q3 adjusted EPS 56c, consensus 55c (Theflyonthewall.com - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CenturyLink strikes $34B deal for Level 3 Communications (The Deal - Factiva, 10/31/2016)
                                                                                                           CenturyLink strikes USD 34bn deal for Level 3 Communications (SeeNews America - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CenturyLink to acquire Level 3 Communications for about $34 bln (Reuters Significant
                                                                                                           Developments - Factiva, 10/31/2016)
                                                                                                           CenturyLink To Acquire Level 3 Communications In $34 Bln Deal (RTT News - Factiva, 10/31/2016)

                                                                                                           CenturyLink to Acquire Level 3 for $25 Billion (Variety - Factiva, 10/31/2016)
                                                                                                           CenturyLink to acquire Level 3 for $34 billion (USA Today Online - Factiva, 10/31/2016)



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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
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                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events

                                                                                                           CenturyLink TO ACQUIRE LEVEL 3 IN $34 BILLION DEAL (TR Daily - Factiva, 10/31/2016)
                                                                                                           CenturyLink to buy Broomfield-based Level 3 Communications for $25 billion (The Denver Post -
                                                                                                           Factiva, 10/31/2016)
                                                                                                           CenturyLink to buy Broomfield-based Level 3 for $24B (Daily Camera - Factiva, 10/31/2016)
                                                                                                           CenturyLink to buy Broomfield's Level 3 for about $24 billion (The Gazette - Factiva, 10/31/2016)
                                                                                                           CenturyLink to buy Level 3 Communications in $34 bn deal (Investing.com - Factiva, 10/31/2016)
                                                                                                           CenturyLink to Buy Level 3 for $34 Billion in Cash, Stock (Financial Express - Factiva, 10/31/2016)

                                                                                                           CenturyLink To Buy Level 3 For $34 Bln; Sees Q4 EPS Below Market Estimates (RTT News -
                                                                                                           Factiva, 10/31/2016)
                                                                                                           CenturyLink to buy Level 3 for about $24B (Longview News-Journal - Factiva, 10/31/2016)
                                                                                                           CenturyLink to buy Level 3 for USD 34 billion (Telecompaper Americas - Factiva, 10/31/2016)
                                                                                                           CenturyLink to buy Level 3 for USD 34 billion (Telecompaper World - Factiva, 10/31/2016)
                                                                                                           CenturyLink to buy Level 3 in $34 billion deal (Dallas Business Journal Online - Factiva, 10/31/2016)

                                                                                                           CenturyLink to buy Level 3 in $34 billion deal (Phoenix Business Journal Online - Factiva, 10/31/2016)

                                                                                                           CenturyLink to buy Level 3 in $34 billion deal (St. Louis Business Journal Online - Factiva,
                                                                                                           10/31/2016)
                                                                                                           CenturyLink to buy Level 3; Goldman Sachs urges Apple to submit Time Warner bid (SNL
                                                                                                           Financial Extra - Factiva, 10/31/2016)
                                                                                                           CenturyLink Upgrades Network With Level 3 Buy (CFO.com - Factiva, 10/31/2016)
                                                                                                           CenturyLink will buy Level 3 in $34 billion deal (The Advocate - Factiva, 10/31/2016)
                                                                                                           CenturyLink, Level 3 confirm $34bn merger (Total Telecom Plus - Factiva, 10/31/2016)
                                                                                                           CenturyLink/Level 3 Likely Would Be OK'd, Analysts Say; 'Close Scrutiny' Expected
                                                                                                           (Communications Daily - Factiva, 10/31/2016)
                                                                                                           CenturyLink/Level 3 Likely Would Be OK'd, Analysts Say; 'Close Scrutiny' Expected (Warren's
                                                                                                           Washington Internet Daily - Factiva, 10/31/2016)
                                                                                                           CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 10/31/2016)
                                                                                                           Colorado losing major corporate headquarters as CenturyLink acquires Level 3; Combined
                                                                                                           company will have Monroe, La., HQ, but details on local employment impact are scant (The Denver
                                                                                                           Post - Factiva, 10/31/2016)
                                                                                                           Company Trend Analysis - CenturyLink/Level 3 Deal Geared To Content Distribution Trends
                                                                                                           (Corporate Financing Week - Factiva, 10/31/2016)
                                                                                                           Event Brief of CenturyLink Inc to acquire Level 3 Communications M&A Call - Final (CQ FD
                                                                                                           Disclosure - Factiva, 10/31/2016)
                                                                                                           Fitch places CenturyLink on Watch Negative after Level 3 deal (SNL Financial Extra - Factiva,
                                                                                                           10/31/2016)
                                                                                                           Gordon Haskett Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Independents share the spoils on bumper day for M&A; Lazard and Evercore alongside bulge-
                                                                                                           bracket rivals on $34bn CenturyLink/Level3 ticket, while Centerview rounds off record month with
                                                                                                           bumper GE merger (Financial News - Factiva, 10/31/2016)




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                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                           Level 3 downgraded to Market Perform from Outperform at William Blair (Theflyonthewall.com -
                                                                                                           Factiva, 10/31/2016)
                                                                                                           Local impact of CenturyLinkÃ¢â‚¬â„¢s $34 billion buy still up in the air (St. Louis Business Journal
                                                                                                           Online - Factiva, 10/31/2016)
                                                                                                           Louisiana-based CenturyLink will buy Level 3 in $34 billion deal (The Acadiana Advocate - Factiva,
                                                                                                           10/31/2016)
                                                                                                           Louisiana-based CenturyLink will buy Level 3 in $34 billion deal (The Advocate - Factiva,
                                                                                                           10/31/2016)
                                                                                                           Louisiana-based CenturyLink will buy Level 3 in $34 billion deal (The New Orleans Advocate -
                                                                                                           Factiva, 10/31/2016)
                                                                                                           M&A bulls find new target (SNL Kagan Media & Communications Report - Factiva, 10/31/2016)
                                                                                                           M&A Transaction | Level 3 Communications Inc. (The Deal - Factiva, 10/31/2016)
                                                                                                           Macquarie Research Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Moodyâ€™s Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 10/31/2016)
                                                                                                           Morgan Stanley Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 10/31/2016)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 10/31/2016)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 10/31/2016)
                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           NATIONAL -- Carriers raise questions about proposed BDS rules (TR's State NewsWire - Factiva,
                                                                                                           10/31/2016)
                                                                                                           NATIONAL -- CenturyLink to acquire Level 3 in $34 billion deal (TR's State NewsWire - Factiva,
                                                                                                           10/31/2016)
                                                                                                           Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 10/31/2016)
                                                                                                           Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 10/31/2016)
                                                                                                           SHAREHOLDER ALERT: Levi & Korsinsky, LLP Announces an Investigation Into Whether the
                                                                                                           Sale Level 3 Communications, Inc. to CenturyLink is Fair to Shareholders -- LVLT (ACCESSWIRE
                                                                                                           - Factiva, 10/31/2016)
                                                                                                           Stocks Edge Higher; Level 3, Constellation Up On Deal News (Investor's Business Daily - Factiva,
                                                                                                           10/31/2016)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           TRDaily - October 31, 2016 FCC ... (TR Daily - Factiva, 10/31/2016)
                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 10/31/2016)




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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 10/31/2016)
                                                                                                           Wall St edges up after M&A deals; Clinton email probe jitters (Investing.com - Factiva, 10/31/2016)

                                                                                                           *CENTURYLINK TO ACQUIRE LEVEL 3 COMMUNICATIONS >CTL LVLT (Dow Jones
                                                                                                           Institutional News - Factiva, 10/31/2016 06:30 AM)
                                                                                                           CENTURYLINK TO ACQUIRE LEVEL 3 COMMUNICATIONS (PR Newswire - Factiva,
                                                                                                           10/31/2016 06:30 AM)
                                                                                                           *CenturyLink 3Q Rev $4.38B >CTL (Dow Jones Institutional News - Factiva, 10/31/2016 06:32 AM)

                                                                                                           CenturyLink Reports Third Quarter 2016 Results (PR Newswire - Factiva, 10/31/2016 06:32 AM)

                                                                                                           CenturyLink agrees to buy Level 3 Communications in $34 bln deal (Reuters News - Factiva,
                                                                                                           10/31/2016 06:40 AM)
                                                                                                           Some $1B of Savings Seen in CenturyLink/Level 3 -- Market Talk (Dow Jones Institutional News -
                                                                                                           Factiva, 10/31/2016 06:50 AM)
                                                                                                           Some $1B of Savings Seen in CenturyLink/Level 3 -- Market Talk (Dow Jones Institutional News -
                                                                                                           Factiva, 10/31/2016 06:50 AM)
                                                                                                           CenturyLink CEO Will Keep the Reins -- Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 06:52 AM)
                                                                                                           CenturyLink CEO Will Keep the Reins -- Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 06:52 AM)
                                                                                                           MW Level 3's stock surges after CenturyLink buyout deal confirmed (MarketWatch - Factiva,
                                                                                                           10/31/2016 06:59 AM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion (Dow Jones Institutional News - Factiva, 10/31/2016 07:00
                                                                                                           AM)
                                                                                                           Level 3's String of Losses are CentruryLink's Gain -- Market Talk (Dow Jones Institutional News -
                                                                                                           Factiva, 10/31/2016 07:02 AM)
                                                                                                           BRIEF-CenturyLink Q3 earnings per share $0.28 (Reuters News - Factiva, 10/31/2016 07:03 AM)

                                                                                                           UPDATE 1-CenturyLink to buy Level 3 Communications for $19.43 bln (Reuters News - Factiva,
                                                                                                           10/31/2016 07:03 AM)
                                                                                                           Telecom Firm CenturyLink to Buy Level 3 for $25 Billion (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 07:10 AM)
                                                                                                           Some $1B of Savings Seen in CenturyLink/Level 3 -- Market Talk (Dow Jones Newswires Chinese
                                                                                                           (English) - Factiva, 10/31/2016 07:11 AM)
                                                                                                           BRIEF-CenturyLink to acquire Level 3 Communications for about $34 bln (Reuters News - Factiva,
                                                                                                           10/31/2016 07:13 AM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion (Dow Jones Institutional News - Factiva, 10/31/2016 07:15
                                                                                                           AM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion -- Update (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 07:21 AM)
                                                                                                           Telecom Firm CenturyLink to Buy Level 3 for $25 Billion (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 07:25 AM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion -- Update (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 07:36 AM)



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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                           CenturyLink to buy Level 3 Communications in $25 billion cash-and-stock deal; Deal values Level
                                                                                                           3 at $69.92 a share (MarketWatch - Factiva, 10/31/2016 07:37 AM)
                                                                                                           MW CenturyLink to buy Level 3 Communications in $25 billion cash-and-stock deal (MarketWatch -
                                                                                                           Factiva, 10/31/2016 07:37 AM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                           10/31/2016 07:43 AM)
                                                                                                           CenturyLink to buy Level 3 Communications in 34 bln usd deal (24 Ore Radiocor-Newswire
                                                                                                           International Edition - Factiva, 10/31/2016 07:52 AM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion -- 2nd Update (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 08:03 AM)
                                                                                                           CenturyLink to buy Level 3 Communications -2- (24 Ore Radiocor-Newswire International Edition -
                                                                                                           Factiva, 10/31/2016 08:17 AM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion -- 2nd Update (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 08:18 AM)
                                                                                                           Hot Stocks to Watch: CTL LVLT (Dow Jones Newswires Chinese (English) - Factiva, 10/31/2016
                                                                                                           08:31 AM)
                                                                                                           Tightly Wound Markets Await Fed Meeting, Jobs Numbers (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 08:38 AM)
                                                                                                           News Highlights: Top Equities Stories Of The Day (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 08:46 AM)
                                                                                                           CenturyLink buys Level 3 in big telecom tie-up (Agence France Presse - Factiva, 10/31/2016 09:00
                                                                                                           AM)
                                                                                                           CenturyLink Files Letter with FCC Detailing Dangers of Proposed BDS Order (PR Newswire -
                                                                                                           Factiva, 10/31/2016 09:00 AM)
                                                                                                           Press Release: CenturyLink Files Letter with FCC Detailing Dangers of Proposed BDS Order (Dow
                                                                                                           Jones Institutional News - Factiva, 10/31/2016 09:00 AM)
                                                                                                           News Highlights: Top Equities Stories Of The Day (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 09:01 AM)
                                                                                                           BUZZ-U.S. STOCKS ON THE MOVE-GE, Baker Hughes, CenturyLink, Level 3 (Reuters News -
                                                                                                           Factiva, 10/31/2016 09:02 AM)
                                                                                                           CenturyLink Data Centers Still Going to Go -- Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 09:04 AM)
                                                                                                           CenturyLink Data Centers Still Going to Go -- Market Talk (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 09:04 AM)
                                                                                                           CenturyLink Inc. (CTL) Ind: 27.00-30.00 Last 30.39 (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 09:23 AM)
                                                                                                           CORRECTED-UPDATE 2-CenturyLink to buy Level 3 Communications for about $24 bln (Reuters
                                                                                                           News - Factiva, 10/31/2016 09:25 AM)
                                                                                                           CenturyLink, a Network Provider, to Acquire Level 3, a Rival (NYTimes.com Feed - Factiva,
                                                                                                           10/31/2016 09:29 AM)
                                                                                                           Reuters Business News Schedule at 1330 GMT/0930 AM ET (Reuters News - Factiva, 10/31/2016
                                                                                                           09:38 AM)
                                                                                                           US stocks edge up on GE, CenturyLink deals (Agence France Presse - Factiva, 10/31/2016 09:43 AM)




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                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                           LEVEL 3 (LVLT) Alert: Johnson & Weaver, LLP Launches an Investigation into the Fairness of
                                                                                                           Price and Process in Proposed Sale of Level 3 Communications, Inc.; Are Shareholders Getting a
                                                                                                           Fair Price? (PR Newswire - Factiva, 10/31/2016 09:44 AM)
                                                                                                           ADVISORY-Ignore alert on CenturyLink's letter to the FCC (Reuters News - Factiva, 10/31/2016
                                                                                                           09:50 AM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion -- 3rd Update (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 09:58 AM)
                                                                                                           CenturyLink bonds slide on Level 3 acquisition plans (Reuters News - Factiva, 10/31/2016 10:00 AM)

                                                                                                           News Highlights: Top Equities Stories Of The Day (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 10:00 AM)
                                                                                                           News Highlights: Top Global Markets News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 10:00 AM)
                                                                                                           CenturyLink Falls on Level 3 Deal, But Dividend May Be More Secure -- Barron's Blog (Dow Jones
                                                                                                           Institutional News - Factiva, 10/31/2016 10:10 AM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion -- 3rd Update (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 10:13 AM)
                                                                                                           CORRECTED-BUZZ-CenturyLink Inc: To buy Level 3 Communications for about $24 bln
                                                                                                           (Reuters News - Factiva, 10/31/2016 10:14 AM)
                                                                                                           News Highlights: Top Equities Stories Of The Day (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 10:14 AM)
                                                                                                           News Highlights: Top Global Markets News of the Day (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 10:14 AM)
                                                                                                           BUZZ-U.S. STOCKS ON THE MOVE-CenturyLink, Lumber Liquidators, TeamHealth (Reuters
                                                                                                           News - Factiva, 10/31/2016 10:18 AM)
                                                                                                           US stocks flat on GE, CenturyLink deals (Agence France Presse - Factiva, 10/31/2016 10:18 AM)
                                                                                                           Benzinga's Volume Movers (Benzinga.com - Factiva, 10/31/2016 10:45 AM)
                                                                                                           Reuters Business News Schedule at 1500 GMT/11 AM ET (Reuters News - Factiva, 10/31/2016 11:05
                                                                                                           AM)
                                                                                                           No Dial Tone For Telecom: ETFs Inch Lower On CenturkLink-Level 3 Deal -- Barron's Blog (Dow
                                                                                                           Jones Institutional News - Factiva, 10/31/2016 11:23 AM)
                                                                                                           BUZZ-U.S. STOCKS ON THE MOVE-CenturyLink, Level 3, Lumber Liquidators, TeamHealth
                                                                                                           (Reuters News - Factiva, 10/31/2016 12:10 PM)
                                                                                                           BREAKINGVIEWS-CenturyLink dials up wrong deal numbers (Reuters News - Factiva, 10/31/2016
                                                                                                           12:14 PM)
                                                                                                           Moody's Places Centurylink's Ratings On Review For Downgrade Following Level 3 Acquisition
                                                                                                           Announcement (Dow Jones Institutional News - Factiva, 10/31/2016 12:14 PM)
                                                                                                           CenturyLink to Buy Level 3 Communications for $25 Billion; Deal gives communications
                                                                                                           companies more heft in a competitive landscape (The Wall Street Journal Online - Factiva, 10/31/2016
                                                                                                           12:27 PM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion -- 4th Update (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 12:27 PM)
                                                                                                           -BUZZ-UPDATE 1-CenturyLink falls on Level 3 deal, drags Windstream down (Reuters News -
                                                                                                           Factiva, 10/31/2016 12:32 PM)




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                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                           CenturyLink to buy Level 3 for about $24 billion (Associated Press Newswires - Factiva, 10/31/2016
                                                                                                           12:32 PM)
                                                                                                           REFILE-BUZZ-CenturyLink falls on Level 3 deal, drags Windstream down (Reuters News - Factiva,
                                                                                                           10/31/2016 12:37 PM)
                                                                                                           Level 3 Communications Inc. Shareholder Alert: Former SEC Attorney Willie Briscoe and Powers
                                                                                                           Taylor LLP Investigate Merger with CenturyLink Inc. (Business Wire - Factiva, 10/31/2016 12:38
                                                                                                           PM)
                                                                                                           CenturyLink to Buy Level 3 for $25 Billion -- 4th Update (Dow Jones Institutional News - Factiva,
                                                                                                           10/31/2016 12:42 PM)
                                                                                                           CenturyLink to buy Level 3 for about $24 billion (The Canadian Press - Factiva, 10/31/2016 12:58
                                                                                                           PM)
                                                                                                           Deal Prompts Moody's to Review CenturyLink for Downgrade -- Market Talk (Dow Jones
                                                                                                           Institutional News - Factiva, 10/31/2016 01:07 PM)
                                                                                                           Deal Prompts Moody's to Review CenturyLink for Downgrade -- Market Talk (Dow Jones
                                                                                                           Institutional News - Factiva, 10/31/2016 01:07 PM)
                                                                                                           15 Biggest Mid-Day Losers For Monday (Benzinga.com - Factiva, 10/31/2016 01:11 PM)
                                                                                                           BUZZ-U.S. STOCKS ON THE MOVE-CenturyLink, Level 3, Lumber Liquidators, TeamHealth
                                                                                                           (Reuters News - Factiva, 10/31/2016 01:49 PM)
                                                                                                           Deal Prompts Moody's to Review CenturyLink for Downgrade -- Market Talk (Dow Jones
                                                                                                           Newswires Chinese (English) - Factiva, 10/31/2016 01:57 PM)
                                                                                                           CenturyLink's CEO Glen Post on Acquisition of Level 3 Communications - Conference Call
                                                                                                           Transcript >CTL (Dow Jones Institutional News - Factiva, 10/31/2016 02:08 PM)
                                                                                                           *S&PGR Affirms CenturyLink 'BB/B' Rtgs On Level 2 Buy Plan (Dow Jones Institutional News -
                                                                                                           Factiva, 10/31/2016 02:42 PM)
                                                                                                           *Fitch Places CenturyLink's 'BB+' IDR on Negative Watch on Proposed LVLT Acquisition (Dow
                                                                                                           Jones Institutional News - Factiva, 10/31/2016 02:54 PM)
                                                                                                           Fitch Places CenturyLink's 'BB+' IDR on Negative Watch on Proposed LVLT Acquisition (Reuters
                                                                                                           News - Factiva, 10/31/2016 02:59 PM)
                                                                                                           Fitch Places CenturyLink's 'BB+' IDR on Negative Watch on Proposed LVLT Acquisition
                                                                                                           (Business Wire - Factiva, 10/31/2016 03:02 PM)
                                                                                                           *S&PGR Afms Level 3 Communications 'BB' Rtg On Acquisition (Dow Jones Institutional News -
                                                                                                           Factiva, 10/31/2016 03:07 PM)
                                                                                                           Harwood Feffer LLP Announces Investigation of Level 3 Communications, Inc. (PR Newswire -
                                                                                                           Factiva, 10/31/2016 03:36 PM)
                                                                                                           Press Release: Harwood Feffer LLP Announces Investigation of Level 3 Communications, Inc.
                                                                                                           (Dow Jones Institutional News - Factiva, 10/31/2016 03:36 PM)
                                                                                                           UPDATE 6-CenturyLink to buy Level 3 Communications for about $24 bln (Reuters News - Factiva,
                                                                                                           10/31/2016 03:47 PM)
                                                                                                           CenturyLink to buy Level 3 Communications for about $24 billion (Reuters News - Factiva,
                                                                                                           10/31/2016 03:48 PM)
                                                                                                           Deals of the day-Mergers and acquisitions (Reuters News - Factiva, 10/31/2016 04:10 PM)
                                                                                                           UPDATE 1-CenturyLink bonds slump on Level 3 acquisition plans (Reuters News - Factiva,
                                                                                                           10/31/2016 04:11 PM)
                                                                                                           US stocks dip as presidential polls tighten (Agence France Presse - Factiva, 10/31/2016 04:31 PM)




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                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]         [12]                                                     [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                  Events
                                                                                                                           LEVEL 3 INVESTOR ALERT BY THE FORMER ATTORNEY GENERAL OF LOUISIANA:
                                                                                                                           Kahn Swick & Foti, LLC Investigates Adequacy of Price and Process in Proposed Sale of Level 3
                                                                                                                           Communications, Inc. (PR Newswire - Factiva, 10/31/2016 04:53 PM)
                                                                                                                           CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 10/31/2016
                                                                                                                           05:24 PM)
                                                                                                                           Level 3 Files 8K - Other Events >LVLT (Dow Jones Institutional News - Factiva, 10/31/2016 05:27
                                                                                                                           PM)
                                                                                                                           Broadband provider hits a new level with $25bn deal (thetimes.co.uk - Factiva, 10/31/2016 08:01 PM)

                                                                                                                           Fitch Goes Negative on CenturyLink Due to Level 3 Deal -- Barron's Blog (Dow Jones Institutional
                                                                                                                           News - Factiva, 10/31/2016 10:02 PM)
11/1/2016 Tue   36,114,903   $24.97      $0.00 -6.06% -0.68%   -0.41%   -0.77%    -5.29%     -4.09   0.01% **     -$1.41   ST Telemedia portfolio company Level 3 to merge with CenturyLink in S$47b deal (The Straits
                                                                                                                           Times - Factiva, 11/01/2016)
                                                                                                                           ST Telemedia portfolio company Level 3 to merge with CenturyLink in US$34b deal (The Straits
                                                                                                                           Times - Factiva, 11/01/2016)
                                                                                                                           06:31 EDT Level 3 downgraded to Neutral from Buy at GoldmanGoldman Sachs analyst...
                                                                                                                           (Theflyonthewall.com - Factiva, 11/01/2016)
                                                                                                                           07:15 EDT Level 3 downgraded to Hold from Buy at JefferiesJefferies analyst...
                                                                                                                           (Theflyonthewall.com - Factiva, 11/01/2016)
                                                                                                                           07:19 EDT CenturyLink to benefit by acquiring Level 3, says Oppenheimer... (Theflyonthewall.com -
                                                                                                                           Factiva, 11/01/2016)
                                                                                                                           10:59 EDT CenturyLink continues its drift lower, levels to watchThe stock was...
                                                                                                                           (Theflyonthewall.com - Factiva, 11/01/2016)
                                                                                                                           Agencies (Warren's Washington Internet Daily - Factiva, 11/01/2016)
                                                                                                                           Barclays Analyst Report (Capital IQ - Manual Entry, 11/01/2016)
                                                                                                                           Barclays Analyst Report (Eikon - Manual Entry, 11/01/2016)
                                                                                                                           Blog Coverage CenturyLink Acquires Fortune 500 Level 3 Communications to Tackle Increased
                                                                                                                           Competition in the Communications Space (ACCESSWIRE - Factiva, 11/01/2016)
                                                                                                                           BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/01/2016)
                                                                                                                           Broadband provider hits a new level with $25bn deal (Emirates News Agency (WAM) - Factiva,
                                                                                                                           11/01/2016)
                                                                                                                           Broadband provider hits a new level with $25bn deal (The Times - Factiva, 11/01/2016)
                                                                                                                           Business News: Telecom Level 3 Sells for $25 Billion (The Wall Street Journal - Factiva, 11/01/2016)

                                                                                                                           CenturyLink aims to move up with Level 3; No word yet on how $34 billion acquisition will affect
                                                                                                                           either telecommunications company's workers here (Omaha World-Herald - Factiva, 11/01/2016)
                                                                                                                           CenturyLink CEO on $34B merger: Headquarters will remain in Monroe (Daily World - Factiva,
                                                                                                                           11/01/2016)
                                                                                                                           CenturyLink CEO on deal: We're staying in Monroe (The Daily Advertiser - Factiva, 11/01/2016)
                                                                                                                           CenturyLink CEO on merger: We're staying in Monroe (Alexandria Daily Town Talk - Factiva,
                                                                                                                           11/01/2016)
                                                                                                                           CenturyLink director Harvey P. Perry sells 31 October 2016 (People in Business - Factiva,
                                                                                                                           11/01/2016)
                                                                                                                           CenturyLink Merger; CEO: We're staying in Monroe (Shreveport Times - Factiva, 11/01/2016)



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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events

                                                                                                           CenturyLink Purchase of Level 3 Seen Getting FCC OK (Communications Daily - Factiva,
                                                                                                           11/01/2016)
                                                                                                           CenturyLink Purchase of Level 3 Seen Getting FCC OK (Warren's Washington Internet Daily -
                                                                                                           Factiva, 11/01/2016)
                                                                                                           CenturyLink set to acquire Level 3 Communications (The Courier-Tribune - Factiva, 11/01/2016)
                                                                                                           CenturyLink set to buy US telecom giant in a deal valued at $24bn (City AM - Factiva, 11/01/2016)

                                                                                                           CenturyLink Share Price Plunges 12.5%; US Regional Carrier CenturyLink Buys Level3
                                                                                                           (AAStocks Financial News - Factiva, 11/01/2016)
                                                                                                           CenturyLink strikes $34B deal to buy Level 3 (SNL Kagan Media & Communications Report - Factiva,
                                                                                                           11/01/2016)
                                                                                                           CenturyLink to acquire Level 3 Communications (Dion News Service - Factiva, 11/01/2016)
                                                                                                           Centurylink to acquire Level 3 for $34bn, or $66.50 per share in cash and stock (Optical Networks
                                                                                                           Daily - Factiva, 11/01/2016)
                                                                                                           CenturyLink to acquire rival Level 3 (The Daily Gazette - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Argus Leader - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Asbury Park Press - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Asheville Citizen-Times - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Clarion-Ledger - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Courier-Post - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Democrat & Chronicle - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Florida Today - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Fort Collins Coloradoan - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Green Bay Press-Gazette - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Greenville News - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Indianapolis Star - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Journal & Courier - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Lansing State Journal - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Montgomery Advertiser - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (News-Leader - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (News-Press - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Pensacola News Journal - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Poughkeepsie Journal - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Press & Sun-Bulletin, Binghamton - Factiva, 11/01/2016)

                                                                                                           CenturyLink to buy Level 3 for $34 billion (Reno Gazette-Journal - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (St. Cloud Times - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (Statesman Journal - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Arizona Republic - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Burlington Free Press - Factiva, 11/01/2016)



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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Cincinnati Enquirer - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Courier-Journal - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Daily Advertiser - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Daily Times - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Des Moines Register - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Desert Sun - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Journal News (White Plains, NY) - Factiva,
                                                                                                           11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The News Journal - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Post-Crescent - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (The Tallahassee Democrat - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34 billion (USA Today - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34B (SNL Kagan Media & Communications Report - Factiva,
                                                                                                           11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for $34B in cash, stock (Naples Daily News - Factiva, 11/01/2016)
                                                                                                           CenturyLink to buy Level 3 for about $24 billion (The Las Vegas Review-Journal - Factiva,
                                                                                                           11/01/2016)
                                                                                                           CenturyLink to buy Level 3 in $34 billion deal (Albuquerque Business First Online - Factiva,
                                                                                                           11/01/2016)
                                                                                                           CenturyLink wants to buy Level 3 Communications (German Collection - Factiva, 11/01/2016)
                                                                                                           CenturyLink, a Network Provider, to Acquire Level 3, a Rival (The New York Times - Factiva,
                                                                                                           11/01/2016)
                                                                                                           CenturyLink, Level 3 come together to challenge AT&T , Verizon , (SNL Kagan Media &
                                                                                                           Communications Report - Factiva, 11/01/2016)
                                                                                                           CenturyLink, Level 3 execs say deal a defensive play (SNL Kagan Media & Communications Report -
                                                                                                           Factiva, 11/01/2016)
                                                                                                           CenturyLink, Level 3 to Merge (The Wall Street Journal (Europe Edition) - Factiva, 11/01/2016)
                                                                                                           CenturyLink; CEO on merger: We're staying in Monroe (The News-Star - Factiva, 11/01/2016)
                                                                                                           CenturyLink's deal for Level 3 (The Seattle Times - Factiva, 11/01/2016)
                                                                                                           CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 11/01/2016)
                                                                                                           CFRA Equity Research Analyst Report (Eikon - Manual Entry, 11/01/2016)
                                                                                                           Comm Daily(r) Notebook (Communications Daily - Factiva, 11/01/2016)
                                                                                                           Consumer spending rebounds; Business briefing; CenturyLink to buy Level 3; Toyota to test car-
                                                                                                           sharing system (South Florida Sun-Sentinel - Factiva, 11/01/2016)
                                                                                                           Consumer spending rebounds; Business briefing; CenturyLink to buy Level 3; Toyota to test car-
                                                                                                           sharing system (The Allentown Morning Call - Factiva, 11/01/2016)
                                                                                                           Cowen and Company Analyst Report (Eikon - Manual Entry, 11/01/2016)
                                                                                                           D ear Mr. Berko: I bought 300 shares of CenturyLink five years ago at $46. It... (The State Journal-
                                                                                                           Register - Factiva, 11/01/2016)
                                                                                                           Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 11/01/2016)
                                                                                                           Deutsche Bank Analyst Report (Eikon - Manual Entry, 11/01/2016)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                                         Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 11/01/2016)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 11/01/2016)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 11/01/2016)
                                                                                                                         JP Morgan Analyst Report (Capital IQ - Manual Entry, 11/01/2016)
                                                                                                                         La.-based CenturyLink will buy Level 3 (The Advocate - Factiva, 11/01/2016)
                                                                                                                         Linked to Level 3; Colorado losing major corporate headquarters in CenturyLink deal (The Denver
                                                                                                                         Post - Factiva, 11/01/2016)
                                                                                                                         Morningstar Inc. Analyst Report (Eikon - Manual Entry, 11/01/2016)
                                                                                                                         Network provider CenturyLink to acquire rival Level 3 (The Times-Picayune - Factiva, 11/01/2016)

                                                                                                                         RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 11/01/2016)
                                                                                                                         RBC Capital Markets Analyst Report (Eikon - Manual Entry, 11/01/2016)
                                                                                                                         Taking stock; CenturyLink is moving in the right direction (The State Journal-Register - Factiva,
                                                                                                                         11/01/2016)
                                                                                                                         Telecom Companies Merge to Gain Heft (The Wall Street Journal (Asia Edition) - Factiva, 11/01/2016)

                                                                                                                         US CenturyLink buys Level 3 for USD 24bn (French Collection - Factiva, 11/01/2016)
                                                                                                                         US Network Operator Centurylink to Acquire Level 3 Communications for USD 34bn (M&A
                                                                                                                         Navigator - Factiva, 11/01/2016)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 11/01/2016)
                                                                                                                         Telecom Level 3 Sells for $25 Billion -- WSJ (Dow Jones Institutional News - Factiva, 11/01/2016
                                                                                                                         02:33 AM)
                                                                                                                         Telecom Level 3 Sells for $25 Billion -- WSJ (Dow Jones Institutional News - Factiva, 11/01/2016
                                                                                                                         02:48 AM)
                                                                                                                         *STT Crossing to Vote Shares in Favor of CenturyLink, Level 3 Deal (Dow Jones Institutional News -
                                                                                                                         Factiva, 11/01/2016 08:36 AM)
                                                                                                                         7 Biggest Price Target Changes For Tuesday (Benzinga.com - Factiva, 11/01/2016 09:47 AM)
                                                                                                                         CenturyLink Merger Savings Fail to Quell Worries -- Market Talk (Dow Jones Institutional News -
                                                                                                                         Factiva, 11/01/2016 10:53 AM)
                                                                                                                         CenturyLink Merger Savings Fail to Quell Worries -- Market Talk (Dow Jones Institutional News -
                                                                                                                         Factiva, 11/01/2016 10:53 AM)
                                                                                                                         Satuit Technologies Completes CenturyLink Hosting Project (Business Wire - Factiva, 11/01/2016
                                                                                                                         11:05 AM)
                                                                                                                         Daily Report: A $25 Billion Fiber Merger (NYTimes.com Feed - Factiva, 11/01/2016 11:46 AM)
11/2/2016 Wed   21,126,829   $24.18      $0.00 -3.16% -0.64%   -0.75%   -1.02%    -2.14%     -1.55 12.39%       -$0.54   Moody's puts CenturyLink on review for downgrade, affirms Level 3 following deal (SNL Kagan
                                                                                                                         Media & Communications Report - Factiva, 11/02/2016)
                                                                                                                         ST Telemedia portfolio unit in US$34b merger with major US telco (Business Times Singapore -
                                                                                                                         Factiva, 11/02/2016)
                                                                                                                         Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 11/02/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]         [12]                                                    [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                  Events
                                                                                                                           CenturyLink Inks $34 Billion Deal To Buy Level 3 Communications (Emirates News Agency (WAM)
                                                                                                                           - Factiva, 11/02/2016)
                                                                                                                           CenturyLink Upgrades Network With Level 3 Buy (New Vision - Factiva, 11/02/2016)
                                                                                                                           Daily Report: A $25 Billion Fiber Merger (The New York Times - Factiva, 11/02/2016)
                                                                                                                           Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 11/02/2016)
                                                                                                                           Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 11/02/2016)
                                                                                                                           Hybrid IT becoming the new normal for APAC enterprise (New Vision - Factiva, 11/02/2016)
                                                                                                                           JP Morgan Analyst Report (Eikon - Manual Entry, 11/02/2016)
                                                                                                                           Moodyâ€™s Analyst Report (Eikon - Manual Entry, 11/02/2016)
                                                                                                                           NEW MEXICO -- Staff says it needs more time to review CenturyLink's ICBs (TR's State NewsWire
                                                                                                                           - Factiva, 11/02/2016)
                                                                                                                           United States : CenturyLink reports third quarter 2016 results (Investing.com - Factiva, 11/02/2016)

                                                                                                                           United States : CenturyLink to acquire Level 3 Communications (Investing.com - Factiva,
                                                                                                                           11/02/2016)
                                                                                                                           Telecom CEO's Deal-Making Puts Louisiana Town at Center of Internet (Dow Jones Institutional
                                                                                                                           News - Factiva, 11/02/2016 05:47 PM)
                                                                                                                           Telecom CEO's Deal-Making Puts Louisiana Town at Center of Internet; Glen F. Post is vying to
                                                                                                                           turn Monroe-based CenturyLink into one of the world's biggest web providers (The Wall Street
                                                                                                                           Journal Online - Factiva, 11/02/2016 05:57 PM)
                                                                                                                           Telecom CEO's Deal-Making Puts Louisiana Town at Center of Internet (Dow Jones Institutional
                                                                                                                           News - Factiva, 11/02/2016 06:02 PM)
11/3/2016 Thu   30,038,531   $23.00      $0.00 -4.88% -0.41%    0.47%   -0.10%    -4.78%     -3.43   0.09% **     -$1.16   AT&T executive buys over $1 million worth of stock: Insider trading for Oct. 25-Nov. 1 (St. Louis
                                                                                                                           Business Journal - Factiva, 11/03/2016)
                                                                                                                           Business News: Deal Maker Built Up CenturyLink --- CEO Glen F. Post is vying to turn telecom
                                                                                                                           into one of the world's biggest web providers (The Wall Street Journal - Factiva, 11/03/2016)
                                                                                                                           MONTANA -- PSC seeks comment on CenturyLink's copper retirement petition (TR's State
                                                                                                                           NewsWire - Factiva, 11/03/2016)
                                                                                                                           Moodyâ€™s Analyst Report (Eikon - Manual Entry, 11/03/2016)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 11/03/2016)
                                                                                                                           OFFICE SPACE (The News-Star - Factiva, 11/03/2016)
                                                                                                                           S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 11/03/2016)
                                                                                                                           S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 11/03/2016)
                                                                                                                           Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 11/03/2016)
                                                                                                                           Deal Maker Built Up CenturyLink -- WSJ (Dow Jones Institutional News - Factiva, 11/03/2016 02:33
                                                                                                                           AM)
                                                                                                                           Deal Maker Built Up CenturyLink -- WSJ (Dow Jones Institutional News - Factiva, 11/03/2016 02:48
                                                                                                                           AM)
                                                                                                                           Press Release: Calix Honors Three Innovation Award Winners at Record-breaking Calix User
                                                                                                                           Group Conference (Dow Jones Institutional News - Factiva, 11/03/2016 08:25 AM)
                                                                                                                           Level 3 Communications Inc. Acquisition May Not Be in the Best Interests of LVLT Shareholders
                                                                                                                           (PR Newswire - Factiva, 11/03/2016 11:09 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                         Press Release: Level 3 Communications Inc. Acquisition May Not Be in the Best Interests of LVLT
                                                                                                                         Shareholders (Dow Jones Institutional News - Factiva, 11/03/2016 11:09 AM)
                                                                                                                         *S&PGR Afrms, Removed From Watch Embarq Sr Unscd 'BB' Rtg (Dow Jones Institutional News -
                                                                                                                         Factiva, 11/03/2016 01:27 PM)
                                                                                                                         CenturyLink Files 8K - Entry Into Definitive Agreement >CTL (Dow Jones Institutional News -
                                                                                                                         Factiva, 11/03/2016 04:53 PM)
                                                                                                                         Level 3 Files 8K - Entry Into Definitive Agreement >LVLT (Dow Jones Institutional News - Factiva,
                                                                                                                         11/03/2016 04:59 PM)
11/4/2016 Fri   21,633,402   $23.05      $0.00   0.22% -0.16%   0.18%   -0.07%     0.28%       0.2 84.57%       $0.07    CenturyTel SELLING DATA CENTER ASSETS IN $2.3 BILLION DEAL (TR Daily - Factiva,
                                                                                                                         11/04/2016)
                                                                                                                         Barclays Analyst Report (Capital IQ - Manual Entry, 11/04/2016)
                                                                                                                         Barclays Analyst Report (Eikon - Manual Entry, 11/04/2016)
                                                                                                                         Business News: Deal Maker Built Up CenturyLink --- CEO Glen Post is vying to turn the telecom
                                                                                                                         into one of the world's biggest web providers (The Wall Street Journal (Asia Edition) - Factiva,
                                                                                                                         11/04/2016)
                                                                                                                         CenturyLink agrees deal for data centres with consortium (SeeNews America - Factiva, 11/04/2016)

                                                                                                                         CenturyLink concludes auction for data centers (The Deal - Factiva, 11/04/2016)
                                                                                                                         CenturyLink reaches agreement to sell data centers (Reuters Significant Developments - Factiva,
                                                                                                                         11/04/2016)
                                                                                                                         CenturyLink selling data centers to help pay for Level 3 buy (Denver Business Journal Online -
                                                                                                                         Factiva, 11/04/2016)
                                                                                                                         CenturyLink sells data centre ops for USD 2.3 bln (Telecompaper Americas - Factiva, 11/04/2016)

                                                                                                                         CenturyLink sells data centre ops for USD 2.3 bln (Telecompaper World - Factiva, 11/04/2016)
                                                                                                                         CenturyLink to sell data centers to consortium (Theflyonthewall.com - Factiva, 11/04/2016)
                                                                                                                         CenturyLink to sell data centers, colocation business: Reuters (PE Hub Network - Factiva,
                                                                                                                         11/04/2016)
                                                                                                                         CenturyLink to sell Hazelwood data center to help fund $34 billion deal (St. Louis Business Journal
                                                                                                                         Online - Factiva, 11/04/2016)
                                                                                                                         CenturyLink To Sell Its Data Centers And Colocation Business (RTT News - Factiva, 11/04/2016)

                                                                                                                         Cowen and Company Analyst Report (Eikon - Manual Entry, 11/04/2016)
                                                                                                                         Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 11/04/2016)
                                                                                                                         Deutsche Bank Analyst Report (Eikon - Manual Entry, 11/04/2016)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/04/2016)
                                                                                                                         M&A Transaction | CenturyLink Inc. - data centers and colocation business (The Deal - Factiva,
                                                                                                                         11/04/2016)
                                                                                                                         Macquarie Research Analyst Report (Eikon - Manual Entry, 11/04/2016)
                                                                                                                         Media & Comm, most read (SNL Financial Extra - Factiva, 11/04/2016)
                                                                                                                         MINNESOTA - PUC: CenturyLink must file evidence of competition to be deregulated (TR's State
                                                                                                                         NewsWire - Factiva, 11/04/2016)
                                                                                                                         Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 11/04/2016)




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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                           Morgan Stanley Analyst Report (Eikon - Manual Entry, 11/04/2016)
                                                                                                           NATIONAL - CenturyTel selling data center assets in $2.3 billion deal (TR's State NewsWire -
                                                                                                           Factiva, 11/04/2016)
                                                                                                           PENNSYLVANIA - CenturyLink says customer violated wiretap law in recording call with service
                                                                                                           rep (TR's State NewsWire - Factiva, 11/04/2016)
                                                                                                           Proposal submitted for three new office buildings at I-435 and Nall in Overland Park (The Kansas
                                                                                                           City Star - Factiva, 11/04/2016)
                                                                                                           The Newest Automobiles Drive Into CenturyLink Field Event Center for the 2017-Model Seattle
                                                                                                           International Auto Show (New Vision - Factiva, 11/04/2016)
                                                                                                           The Weekly Wrap: CenturyLinK, CVC, GTCR; CenturyLink buys Level 3; CVC backs Anchor
                                                                                                           Glass; GTCR purchases Inteliquent (Mergers & Acquisitions Online - Factiva, 11/04/2016)
                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 11/04/2016)
                                                                                                           Waltham cybersecurity company acquired as part of $2.8B deal (Boston Business Journal Online -
                                                                                                           Factiva, 11/04/2016)
                                                                                                           (PR) CenturyLink reaches agreement to sell data centers and colocation business to a consortium
                                                                                                           led by BC Partners and Medina Capital and (PR Newswire - Factiva, 11/04/2016 08:30 AM)

                                                                                                           CenturyLink reaches agreement to sell data centers and colocation business to a consortium led by
                                                                                                           BC Partners and Medina Capital and (Canada NewsWire - Factiva, 11/04/2016 08:30 AM)
                                                                                                           Press Release: CenturyLink reaches agreement to sell data centers and colocation business to a
                                                                                                           consortium led by BC Partners and Medina Capital and (Dow Jones Institutional News - Factiva,
                                                                                                           11/04/2016 08:30 AM)
                                                                                                           Press Release: CenturyLink reaches agreement to sell data centers and colocation business to a
                                                                                                           consortium led by BC Partners and Medina Capital and (Dow Jones Institutional News - Factiva,
                                                                                                           11/04/2016 08:30 AM)
                                                                                                           MW CenturyLink sells data centers and colocation business to help pay for Level 3 buy
                                                                                                           (MarketWatch - Factiva, 11/04/2016 08:40 AM)
                                                                                                           BC Partners And Medina Capital Announce Joint Venture To Create Global Secure Infrastructure
                                                                                                           Platform (PR Newswire - Factiva, 11/04/2016 08:41 AM)
                                                                                                           CenturyLink to sell data centers, colocation business (Reuters News - Factiva, 11/04/2016 08:45 AM)

                                                                                                           BC Partners And Medina Capital Announce Joint Venture To Create Global Secure Infrastructure
                                                                                                           Platform (PR Newswire Europe - Factiva, 11/04/2016 08:49 AM)
                                                                                                           CenturyLink Data Centers Sell to Private Equity Newcomers -- Market Talk (Dow Jones
                                                                                                           Institutional News - Factiva, 11/04/2016 09:01 AM)
                                                                                                           CenturyLink Data Centers Sell to Private Equity Newcomers -- Market Talk (Dow Jones
                                                                                                           Institutional News - Factiva, 11/04/2016 09:01 AM)
                                                                                                           BRIEF-CenturyLink reaches agreement to sell data centers (Reuters News - Factiva, 11/04/2016
                                                                                                           09:06 AM)
                                                                                                           CenturyLink to Sell Data Centers for $2.3 Billion (Dow Jones Institutional News - Factiva, 11/04/2016
                                                                                                           09:20 AM)
                                                                                                           CenturyLink to Sell Data Centers for $2.3 Billion (Dow Jones Institutional News - Factiva, 11/04/2016
                                                                                                           09:30 AM)
                                                                                                           CenturyLink to Sell Data Centers for $2.3 Billion (Dow Jones Institutional News - Factiva, 11/04/2016
                                                                                                           09:35 AM)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events

                                                                                                                          CenturyLink to Sell Data Centers for $2.3 Billion (Dow Jones Newswires Chinese (English) - Factiva,
                                                                                                                          11/04/2016 09:44 AM)
                                                                                                                          CenturyLink to Sell Data Centers for $2.3 Billion (Dow Jones Institutional News - Factiva, 11/04/2016
                                                                                                                          09:45 AM)
                                                                                                                          CenturyLink to Sell Data Centers for $2.3 Billion (The Wall Street Journal Online - Factiva,
                                                                                                                          11/04/2016 02:00 PM)
                                                                                                                          CenturyLink Selling Data Centers to PE-Led Group for $2.3 Billion; BC Partners and Medina
                                                                                                                          Capital also said they agreed to acquire Brainspace Corp., a machine-learning and analytics
                                                                                                                          company (The Wall Street Journal Online - Factiva, 11/04/2016 02:24 PM)
                                                                                                                          UPDATE 2-CenturyLink to sell data centers, colocation business (Reuters News - Factiva, 11/04/2016
                                                                                                                          06:18 PM)
                                                                                                                          CenturyLink to sell data centers, colocation business (Reuters News - Factiva, 11/04/2016 06:19 PM)

11/5/2016 Sat                                                                                                             Business News: Level 3 Buyer Plans Asset Sale (The Wall Street Journal - Factiva, 11/05/2016)
                                                                                                                          Centurylink funds Level 3 buyout with 57 data centres sell off (New Vision - Factiva, 11/05/2016)
                                                                                                                          CenturyLink sells data centers to finance deal (The News-Star - Factiva, 11/05/2016)
                                                                                                                          CenturyLink sells data centers to finance Level 3 deal (Shreveport Times - Factiva, 11/05/2016)
                                                                                                                          CenturyLink to sell data centers, colocation business (Egypt Independent - Factiva, 11/05/2016)
                                                                                                                          CenturyLink to sell data centers, colocation business (St. Louis Post-Dispatch - Factiva, 11/05/2016)

                                                                                                                          Level 3 Buyer Plans Asset Sale -- WSJ (Dow Jones Institutional News - Factiva, 11/05/2016 02:33 AM)

                                                                                                                          Level 3 Buyer Plans Asset Sale -- WSJ (Dow Jones Institutional News - Factiva, 11/05/2016 02:48 AM)

11/6/2016 Sun                                                                                                             CenturyLink Intellectual Property LLC; Patent Issued for System, Method, and Apparatus for
                                                                                                                          Providing Digital Video Recorder Services on a Portable Wireless Device (USPTO 9479815)
                                                                                                                          (Entertainment Newsweekly - Factiva, 11/06/2016)
                                                                                                                          INSIDE TRADES (The Capital Times & Wisconsin State Journal - Factiva, 11/06/2016)
11/7/2016 Mon   21,786,932   $23.32      $0.00   1.17%   2.22%   -0.62%   2.08%    -0.90%     -0.62 53.66%       -$0.21   Centurylink Inc - plans to use net cash proceeds from divestiture to partly fund acquisition of Level
                                                                                                                          3 Communications (Reuters Significant Developments - Factiva, 11/07/2016)
                                                                                                                          CenturyLink, Inc. Erich Sanchack named CenturyLink Federal Sales SVP (Journal of Engineering -
                                                                                                                          Factiva, 11/07/2016)
                                                                                                                          Acquisdata Pty Ltd. Analyst Report (Capital IQ - Manual Entry, 11/07/2016)
                                                                                                                          Acquisdata Pty Ltd. Analyst Report (Eikon - Manual Entry, 11/07/2016)
                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 11/07/2016)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Managing
                                                                                                                          Mobile Telephones (USPTO 9479636) (Journal of Engineering - Factiva, 11/07/2016)
                                                                                                                          CenturyLink strikes deal for $2.3bn data centre sale (New Vision - Factiva, 11/07/2016)
                                                                                                                          CenturyLink to sell data centers, colocation business in $2.3B deal (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 11/07/2016)
                                                                                                                          CenturyLink-Level 3 deal could set the table for data center sales (Denver Business Journal - Factiva,
                                                                                                                          11/07/2016)
                                                                                                                          Industry Notes (Warren's Washington Internet Daily - Factiva, 11/07/2016)




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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                   Events

                                                                                                                          Level 3 Buyer Plans Asset Sale (The Wall Street Journal (Asia Edition) - Factiva, 11/07/2016)
                                                                                                                          RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 11/07/2016)
                                                                                                                          RBC Capital Markets Analyst Report (Eikon - Manual Entry, 11/07/2016)
                                                                                                                          Seahawks notebook: Graham sparkles in victory (The Daily Herald - Factiva, 11/07/2016)
                                                                                                                          States (Warren's Washington Internet Daily - Factiva, 11/07/2016)
                                                                                                                          UBS Analyst Report (Capital IQ - Manual Entry, 11/07/2016)
                                                                                                                          US M&A deals: Level 3 Communications, Baker Hughes, Team Health (SeeNews America - Factiva,
                                                                                                                          11/07/2016)
                                                                                                                          Wanda acquiring Dick Clark Productions; CenturyLink to buy Level 3 (SNL Financial Extra -
                                                                                                                          Factiva, 11/07/2016)
                                                                                                                          Wireline (Communications Daily - Factiva, 11/07/2016)
                                                                                                                          Zayo Expected To Swing To Profit; Acquisition Target? (Investor's Business Daily - Factiva,
                                                                                                                          11/07/2016)
                                                                                                                          CenturyLink, RAD, Ciena, and Ciena's Blue Planet Division Collaborate on Multi-Vendor Service
                                                                                                                          Orchestration PoC at MEF 16 (Business Wire - Factiva, 11/07/2016 09:02 AM)
                                                                                                                          CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 11/07/2016
                                                                                                                          04:31 PM)
                                                                                                                          U.S. telecom firm Windstream to buy EarthLink (Reuters News - Factiva, 11/07/2016 05:23 PM)
                                                                                                                          UPDATE 2-U.S. telecom firm Windstream to buy EarthLink (Reuters News - Factiva, 11/07/2016
                                                                                                                          05:23 PM)
                                                                                                                          BRIEF-Centurylink Inc - plans to use net cash proceeds from divestiture to partly fund acquisition
                                                                                                                          of Level 3 Communications (Reuters News - Factiva, 11/07/2016 05:38 PM)
11/8/2016 Tue   15,356,221   $24.16      $0.00   3.60%   0.43%   0.28%   0.61%     2.99%      2.06   4.20% *     $0.70    AT&T Downgraded, FCC Might Also Review Time Warner Acquisition (Investor's Business Daily -
                                                                                                                          Factiva, 11/08/2016)
                                                                                                                          BC Partners, Medina Capital and Longview to acquire data centers and colocation business from
                                                                                                                          CenturyLink (Financial Deals Tracker - Factiva, 11/08/2016)
                                                                                                                          CenturyLink, Inc. Hybrid IT services are crucial for digital transformation, CenturyLink study
                                                                                                                          finds (China Weekly News - Factiva, 11/08/2016)
                                                                                                                          Microsoft launches Teams, HPE releases new data protection: News IT leaders need to know
                                                                                                                          (Postmedia Breaking News - Factiva, 11/08/2016)
                                                                                                                          CenturyLink demos new orchestration software with partners (Telecompaper World - Factiva,
                                                                                                                          11/08/2016)
                                                                                                                          CenturyLink to buy Broomfield-based Level 3 for $24B (U-Wire - Factiva, 11/08/2016)
                                                                                                                          CenturyLink to deploy proceeds from business unit sale towards funding Level 3 purchase
                                                                                                                          (SeeNews America - Factiva, 11/08/2016)
                                                                                                                          COLORADO -- PSAPs agree to dismiss their complaint filed against CenturyLink (TR's State
                                                                                                                          NewsWire - Factiva, 11/08/2016)
                                                                                                                          NEWS BRIEFS: Technology grant applications available (The Goshen News - Factiva, 11/08/2016)

                                                                                                                          Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 11/08/2016)
                                                                                                                          Phone service restored (The Dalles Chronicle - Factiva, 11/08/2016)
                                                                                                                          Thoughts on CenturyLink (Waterloo-Cedar Falls Courier - Factiva, 11/08/2016)




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                                                               Excess                                           Abnormal
                                                       Market Industry Predicted Abnormal                         Price
     Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                           United States : CenturyLink, RAD, Ciena, and Cienas Blue Planet Division Collaborate on Multi-
                                                                                                                           Vendor Service Orchestration PoC at MEF 16 (Daily Tribune - Factiva, 11/08/2016)
                                                                                                                           Benzinga's Top Upgrades (Benzinga.com - Factiva, 11/08/2016 08:55 AM)
                                                                                                                           Buy CenturyLink Over AT&T for Its Higher Yield, Better Deal -- Barron's Blog (Dow Jones
                                                                                                                           Institutional News - Factiva, 11/08/2016 12:21 PM)
                                                                                                                           Level 3 to Present at the Wells Fargo 2016 Technology, Media and Telecom Conference (PR
                                                                                                                           Newswire - Factiva, 11/08/2016 04:30 PM)
 11/9/2016 Wed   10,430,158   $24.29      $0.00   0.54%   1.11%   0.16%    1.32%    -0.78%     -0.53 60.02%       -$0.19   Briefs: Fields, CenturyLink, WebPT (The Salt Lake Tribune - Factiva, 11/09/2016)
                                                                                                                           CenturyLink to Sell Data Centres, Colocation Business in USD 2.5bn Deal (M&A Navigator -
                                                                                                                           Factiva, 11/09/2016)
                                                                                                                           CenturyLink, RAD, and Ciena's Blue Planet Division Collaborate on Service Orchestration Demo.
                                                                                                                           (PR.com (Press Releases) - Factiva, 11/09/2016)
                                                                                                                           Report: Analyst lifts CenturyLink, downgrades AT&T (SNL Kagan Media & Communications Report
                                                                                                                           - Factiva, 11/09/2016)
                                                                                                                           United States : CenturyLink reaches agreement to sell data centers and colocation business to a
                                                                                                                           consortium led by BC Partners and Medina Capital and (New Vision - Factiva, 11/09/2016)
                                                                                                                           CenturyLink executive to keynote La Tech's fall commencement (Associated Press Newswires -
                                                                                                                           Factiva, 11/09/2016 01:24 AM)
                                                                                                                           Telecom Services Stocks Under Review -- AT&T, Frontier Communications, Verizon
                                                                                                                           Communications, and CenturyLink (PR Newswire - Factiva, 11/09/2016 05:00 AM)
11/10/2016 Thu   15,049,897   $23.81      $0.00 -1.98%    0.20%   -2.45%   -1.07%   -0.91%     -0.61 54.08%       -$0.22   CenturyLink Inc at Wells Fargo Technology, Media & Telecom Conference - Final (CQ FD
                                                                                                                           Disclosure - Factiva, 11/10/2016)
                                                                                                                           Level 3 Communications Inc at Wells Fargo Technology, Media & Telecom Conference - Final (CQ
                                                                                                                           FD Disclosure - Factiva, 11/10/2016)
                                                                                                                           CenturyLink chairman and director William A. Owens buys 09 November 2016 (People in Business -
                                                                                                                           Factiva, 11/10/2016)
                                                                                                                           CenturyLink director Martha H. Bejar buys 09 November 2016 (People in Business - Factiva,
                                                                                                                           11/10/2016)
                                                                                                                           CenturyLink directors purchase over $1 million worth of stock: Insider trading for Nov. 1-7 (St.
                                                                                                                           Louis Business Journal - Factiva, 11/10/2016)
                                                                                                                           CenturyLink exec to keynote La. Tech's fall commencement (The News-Star - Factiva, 11/10/2016)

                                                                                                                           CenturyLinkÃ¢â‚¬â„¢s customer-first strategy (ENP Newswire - Factiva, 11/10/2016)
                                                                                                                           COLORADO -- PUC agrees to dismiss dispute between PSAPs, CenturyLink (TR's State NewsWire -
                                                                                                                           Factiva, 11/10/2016)
                                                                                                                           High-speed Internet services comes to commercial buildings (Emirates News Agency (WAM) -
                                                                                                                           Factiva, 11/10/2016)
                                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 11/10/2016)
                                                                                                                           Upbeat M&A outlook questioned after US election (SNL Kagan Media & Communications Report -
                                                                                                                           Factiva, 11/10/2016)
                                                                                                                           (PR) CenturyLink recognized as a leader in Gartner's 2016 Magic Quadrant for Cloud-Enabled
                                                                                                                           Managed Hosting, Asia Pacific (PR Newswire - Factiva, 11/10/2016 07:00 PM)
                                                                                                                           CenturyLink recognized as a leader in Gartner's 2016 Magic Quadrant for Cloud-Enabled
                                                                                                                           Managed Hosting, Asia Pacific (Canada NewsWire - Factiva, 11/10/2016 07:00 PM)




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      [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                               Excess                                            Abnormal
                                                       Market Industry Predicted Abnormal                          Price
     Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                   Events
                                                                                                                            Press Release: CenturyLink recognized as a leader in Gartner's 2016 Magic Quadrant for Cloud-
                                                                                                                            Enabled Managed Hosting, Asia Pacific (Dow Jones Institutional News - Factiva, 11/10/2016 07:00
                                                                                                                            PM)
11/11/2016 Fri    9,553,943   $23.80      $0.00 -0.04% -0.14%     0.07%    -0.08%    0.04%      0.03 97.96%        $0.01    CenturyLink, Inc . CenturyLink reaches agreement to sell data centers and colocation business to a
                                                                                                                            consortium led by BC Partners and Medina Capital and (Investment Weekly News - Factiva,
                                                                                                                            11/11/2016)
                                                                                                                            CenturyLink, Inc. CenturyLink Reports Third Quarter 2016 Results (Investment Weekly News -
                                                                                                                            Factiva, 11/11/2016)
                                                                                                                            CenturyLink, Level 3 Combo Looks to SD-WAN to Build Enterprise Biz (Emirates News Agency
                                                                                                                            (WAM) - Factiva, 11/11/2016)
                                                                                                                            Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/11/2016)
                                                                                                                            United States : Level 3 announces consent solicitation with respect to certain series of notes
                                                                                                                            (Jpost.com (The Jerusalem Post online edition) - Factiva, 11/11/2016)
11/12/2016 Sat                                                                                                              CenturyLink, Level 3 to seek broader SD-WAN opportunities (Emirates News Agency (WAM) -
                                                                                                                            Factiva, 11/12/2016)
                                                                                                                            Level 3Ã¢â‚¬â€œCenturyLink Merger Looks Smart (Barron's Online - Factiva, 11/12/2016)
                                                                                                                            Will CenturyLink, Level 3 merger boost Boulder County broadband service? (Daily Camera -
                                                                                                                            Factiva, 11/12/2016)
                                                                                                                            Review & Preview Follow-Up -- A Return Visit to Earlier Stories: Level 3--CenturyLink Merger
                                                                                                                            Looks Smart (Dow Jones Institutional News - Factiva, 11/12/2016 06:00 AM)
                                                                                                                            Review & Preview Follow-Up -- A Return Visit to Earlier Stories: Level 3--CenturyLink Merger
                                                                                                                            Looks Smart -- Barron's (Dow Jones Institutional News - Factiva, 11/12/2016 06:00 AM)
11/13/2016 Sun                                                                                                              INSIDE TRADES (The Capital Times & Wisconsin State Journal - Factiva, 11/13/2016)
11/14/2016 Mon   12,285,568   $24.31      $0.00   2.14%   0.00%   -0.95%   -0.51%    2.65%      1.79   7.66%       $0.63    Satuit Technologies, Inc. Satuit Technologies Completes CenturyLink Hosting Project (Journal of
                                                                                                                            Engineering - Factiva, 11/14/2016)
                                                                                                                            CenturyLink, Infinera deliver 2.5 Tbps at Super Computing (Telecompaper Americas - Factiva,
                                                                                                                            11/14/2016)
                                                                                                                            Invest in Broadband for America; CenturyLink Files Letter with FCC Detailing Dangers of
                                                                                                                            Proposed BDS Order (Journal of Engineering - Factiva, 11/14/2016)
                                                                                                                            Level 3Ã¢â‚¬â€œCenturyLink Merger Looks Smart (Barron's - Factiva, 11/14/2016)
                                                                                                                            Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 11/14/2016)
                                                                                                                            Sadif Analytics Analyst Report (Eikon - Manual Entry, 11/14/2016)
                                                                                                                            ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 11/14/2016)
                                                                                                                            Global G.Fast Chipset Market Worth USD 4,216.3 Million by 2022 - Analysis, Technologies &
                                                                                                                            Forecasts Report 2016-2022 - Vendors: BT Group, Centurylink, Mediatek - Research and Markets
                                                                                                                            (Business Wire - Factiva, 11/14/2016 05:56 AM)
11/15/2016 Tue   12,754,196   $24.72      $0.00   1.69%   0.77%   1.55%    1.71%    -0.03%     -0.02 98.50%        -$0.01   Business News (Telecommunications Reports - Factiva, 11/15/2016)
                                                                                                                            CenturyLink and Infinera provide 2.5 Tbit/s super-channel DWDM capacity at SC16 (Optical
                                                                                                                            Networks Daily - Factiva, 11/15/2016)
                                                                                                                            CenturyLink Declares Quarterly Cash Dividend (India Investment News - Factiva, 11/15/2016)
                                                                                                                            CenturyLink executive vice president Aamir Hussain buys 14 November 2016 (People in Business -
                                                                                                                            Factiva, 11/15/2016)
                                                                                                                            CenturyLink sets regular quarterly cash dividend of $0.54per share (Reuters Significant
                                                                                                                            Developments - Factiva, 11/15/2016)



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                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
     Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                                         NEW MEXICO - PRC staff, CenturyLink come to agreement on ICB review (TR's State NewsWire -
                                                                                                                         Factiva, 11/15/2016)
                                                                                                                         IGEM ACQUIRES GLOBALGIG FROM VOIAMO (Press Association National Newswire - Factiva,
                                                                                                                         11/15/2016 08:05 AM)
                                                                                                                         CenturyLink Declares Quarterly Cash Dividend (PR Newswire - Factiva, 11/15/2016 04:20 PM)
                                                                                                                         Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                         Factiva, 11/15/2016 04:20 PM)
                                                                                                                         BRIEF-CenturyLink sets regular quarterly cash dividend of $0.54per share (Reuters News - Factiva,
                                                                                                                         11/15/2016 04:29 PM)
11/16/2016 Wed   8,711,404   $24.52      $0.00 -0.81% -0.13%    1.20%    0.57%    -1.38%     -0.92 36.01%       -$0.34   CenturyLink, Inc . Centurylink to Acquire Level 3 Communications . Centurylink to Acquire
                                                                                                                         (Telecommunications Weekly - Factiva, 11/16/2016)
                                                                                                                         Powers Taylor LLP; Level 3 Communications Inc. Shareholder Alert: Former SEC Attorney Willie
                                                                                                                         Briscoe and Powers Taylor LLP Investigate Merger with CenturyLink Inc. (Telecommunications
                                                                                                                         Weekly - Factiva, 11/16/2016)
                                                                                                                         WeissLaw Llp; Level 3 Communications Inc. Acquisition May Not Be in the Best Interests of LVLT
                                                                                                                         Shareholders (Telecommunications Weekly - Factiva, 11/16/2016)
                                                                                                                         Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 11/16/2016)

                                                                                                                         Barclays Analyst Report (Capital IQ - Manual Entry, 11/16/2016)
                                                                                                                         Barclays Analyst Report (Eikon - Manual Entry, 11/16/2016)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                         Beneficial Ownership of Securities (Oct. 31, 2016) (Telecommunications Weekly - Factiva, 11/16/2016)

                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                         Communications, Business Combinations (Oct. 31, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                         11/16/2016)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Oct. 31,
                                                                                                                         2016) (Telecommunications Weekly - Factiva, 11/16/2016)
                                                                                                                         Will CenturyLink, Level 3 merger boost Boulder County broadband service? (U-Wire - Factiva,
                                                                                                                         11/16/2016)
11/17/2016 Thu   8,752,426   $24.26      $0.00 -1.06%   0.47%   -0.06%   0.53%    -1.59%     -1.05 29.41%       -$0.39   As SendGrid opens Denver HQ, CEO talks of hiring hundreds (Denver Business Journal - Factiva,
                                                                                                                         11/17/2016)
                                                                                                                         CenturyLinkÃ¢â‚¬â„¢s board declares USD0.54 per share quarterly cash dividend (FinancialWire -
                                                                                                                         Factiva, 11/17/2016)
                                                                                                                         Earth, Wind & Fire with Chicago at CenturyLink (Omaha World-Herald - Factiva, 11/17/2016)
                                                                                                                         UMBÃ¢â‚¬â„¢s Kemper exercises options for nearly $800,000 worth of stock: Insider trading for
                                                                                                                         Nov. 8-10 (St. Louis Business Journal - Factiva, 11/17/2016)
                                                                                                                         Wireline (Communications Daily - Factiva, 11/17/2016)
                                                                                                                         ANALYSIS-Google, an Obama ally, may face policy setbacks under Trump (Reuters News - Factiva,
                                                                                                                         11/17/2016 06:21 PM)
11/18/2016 Fri   9,857,792   $24.79      $0.00   2.18% -0.22%   0.66%    0.13%     2.05%      1.36 17.63%       $0.50    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/18/2016)
                                                                                                                         CenturyLink to Participate in Analyst Conference (PR Newswire - Factiva, 11/18/2016 05:25 PM)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                      [13]
                                                               Excess                                          Abnormal
                                                       Market Industry Predicted Abnormal                        Price
     Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events
                                                                                                                          Press Release: CenturyLink to Participate in Analyst Conference (Dow Jones Institutional News -
                                                                                                                          Factiva, 11/18/2016 05:25 PM)
11/19/2016 Sat                                                                                                            Ford: Added foe for Eagles in Seattle: Noise (The Philadelphia Inquirer - Factiva, 11/19/2016)
                                                                                                                          Giddy-up to the rodeo in Bossier City (Shreveport Times - Factiva, 11/19/2016)
                                                                                                                          Seattle a tough place for Eagles to try to end road woes (The Philadelphia Inquirer - Factiva,
                                                                                                                          11/19/2016)
11/20/2016 Sun                                                                                                            Seahawks vs. Eagles Game Day (The Daily Herald - Factiva, 11/20/2016)
11/21/2016 Mon   11,041,944   $25.54      $0.00   3.03%   0.75%   0.09%   0.88%     2.14%      1.41 16.21%       $0.53    SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                          CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA,
                                                                                                                          SUMMARY PETITION OF UNITED TELEPHONE COMPANY OF THE CAROLINAS (US Fed
                                                                                                                          News - Factiva, 11/21/2016)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Establishing Pre-
                                                                                                                          Stored Emergency Messages (USPTO 9491307) (Journal of Engineering - Factiva, 11/21/2016)

                                                                                                                          RAD; CenturyLink, RAD, Ciena, and Ciena's Blue Planet Division Collaborate on Multi-Vendor
                                                                                                                          Service Orchestration PoC at MEF 16 (Journal of Engineering - Factiva, 11/21/2016)
                                                                                                                          United States : CenturyLink recognized as a leader in Gartner's 2016 Magic Quadrant for Cloud-
                                                                                                                          Enabled Managed Hosting, Asia Pacific (Iranian Students News Agency - Factiva, 11/21/2016)

                                                                                                                          WEARY TRAVELERS (South Jersey Times - Factiva, 11/21/2016)
                                                                                                                          Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 11/21/2016)
                                                                                                                          CenturyLink to Participate in Analyst Conference (PR Newswire - Factiva, 11/21/2016 04:20 PM)
                                                                                                                          Press Release: CenturyLink to Participate in Analyst Conference (Dow Jones Institutional News -
                                                                                                                          Factiva, 11/21/2016 04:20 PM)
11/22/2016 Tue   10,374,077   $25.24      $0.00 -1.17%    0.22%   2.02%   1.36%    -2.54%     -1.65 10.07%       -$0.65   Notebook (The Denver Post - Factiva, 11/22/2016)
                                                                                                                          Sounders hope to; test goalie early; MacMath to get the start for Colorado (Kitsap Sun - Factiva,
                                                                                                                          11/22/2016)
11/23/2016 Wed    8,863,134   $24.40      $0.54 -1.19%    0.08%   0.86%   0.52%    -1.70%      -1.1 27.38%       -$0.43   Airline can't collect for data outage (Arizona Daily Sun - Factiva, 11/23/2016)
                                                                                                                          Phone company doesn't owe US Airways for losses (Sierra Vista Herald - Factiva, 11/23/2016)
                                                                                                                          Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                          Beneficial Ownership of Securities (Nov. 14, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                          11/23/2016)
                                                                                                                          Telephone Communications; Centurylink, Inc. Files SEC Form SC 13D, General Statement of
                                                                                                                          Acquisition of Beneficial Ownership (Nov. 10, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                          11/23/2016)
                                                                                                                          UTAH - PSC grants CenturyLink waiver of USF rules; opens new rulemaking (TR's State NewsWire
                                                                                                                          - Factiva, 11/23/2016)
                                                                                                                          Ruling: Airline owed only hundreds of dollars for cable cut (Associated Press Newswires - Factiva,
                                                                                                                          11/23/2016 12:28 PM)
                                                                                                                          Ruling: Airline owed only hundreds of dollars for cable cut (The Canadian Press - Factiva, 11/23/2016
                                                                                                                          12:30 PM)
                                                                                                                          Louisiana Daybook (Associated Press Newswires - Factiva, 11/23/2016 05:31 PM)
11/24/2016 Thu                                                                                                            CenturyLink Intellectual Property LLC; Patent Issued for Multi-Service Provider Wireless Access
                                                                                                                          Point (USPTO 9497800) (Computer Weekly News - Factiva, 11/24/2016)




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                                                                            CenturyLink, Inc. News Chronology with Daily Statistics
      [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                               Excess                                           Abnormal
                                                       Market Industry Predicted Abnormal                         Price
     Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
11/25/2016 Fri    3,946,661   $24.66      $0.00   1.07%   0.39%   0.80%    0.79%     0.27%      0.17 86.19%       $0.07    11/25 Roundup; Celebrate the season with lights and music (Argus Leader - Factiva, 11/25/2016)
                                                                                                                           Damages limited to $586 in '09 US Airways outage (The Arizona Daily Star - Factiva, 11/25/2016)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 11/25/2016)
11/26/2016 Sat
11/27/2016 Sun
11/28/2016 Mon    7,507,284   $24.64      $0.00 -0.08% -0.51%     1.18%    0.00%    -0.09%     -0.06 95.60%       -$0.02   Jordan Morris, Sounders realize dream years in the making by reaching MLS Cup (Daily World -
                                                                                                                           Factiva, 11/28/2016)
                                                                                                                           Realizing dreams (The Seattle Times - Factiva, 11/28/2016)
                                                                                                                           Level 3 to Present at the Bank of America-Merrill Lynch 2016 Leveraged Finance Conference (PR
                                                                                                                           Newswire - Factiva, 11/28/2016 06:00 AM)
                                                                                                                           CenturyLink announces availability of fiber-ready broadband speeds up to one Gbps (MarketLine
                                                                                                                           News and Comment - Factiva, 11/28/2016 07:00 PM)
11/29/2016 Tue    8,364,012   $24.21      $0.00 -1.75%    0.16%   -0.37%   0.06%    -1.80%     -1.16 24.77%       -$0.44   CenturyLink Inc and Level 3 Communications at Bank of America Merrill Lynch America
                                                                                                                           Leveraged Finance Conference - Final (CQ FD Disclosure - Factiva, 11/29/2016)
                                                                                                                           BuySellSignals Research Analyst Report (Eikon - Manual Entry, 11/29/2016)
                                                                                                                           CenturyLink to offer $1.4 million in grants (The Sidney Daily News - Factiva, 11/29/2016)
                                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 11/29/2016)
                                                                                                                           Wireline (Communications Daily - Factiva, 11/29/2016)
11/30/2016 Wed   13,063,881   $23.52      $0.00 -2.85% -0.24%     -1.92%   -1.08%   -1.77%     -1.14 25.72%       -$0.43   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 11/30/2016)

                                                                                                                           Creighton goes on 16-0 run, tops UB (Buffalo News - Factiva, 11/30/2016)
                                                                                                                           Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                           Beneficial Ownership of Securities (Nov. 14, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                           11/30/2016)
                                                                                                                           Telephone Communications; Centurylink, Inc. Files SEC Form SC 13D, General Statement of
                                                                                                                           Acquisition of Beneficial Ownership (Nov. 10, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                           11/30/2016)
                                                                                                                           UPDATE 1-U.S. telecom network provider Zayo to buy Electric Lightwave for $1.4 bln (Reuters
                                                                                                                           News - Factiva, 11/30/2016 07:57 AM)
                                                                                                                           Zayo to buy Electric Lightwave for $1.4 billion (Reuters News - Factiva, 11/30/2016 07:59 AM)
 12/1/2016 Thu   10,562,258   $23.74      $0.00   0.94% -0.35%    0.51%    -0.11%    1.05%      0.67 50.50%       $0.25    CenturyLink announces 1 gigabit per second broadband speeds for 22,000 businesses (Emirates
                                                                                                                           News Agency (WAM) - Factiva, 12/01/2016)
                                                                                                                           CenturyLink, Level 3 Communications join forces.(NEWSLINE: LATEST INDUSTRY
                                                                                                                           DEVELOPMENTS) (Underground Construction - Factiva, 12/01/2016)
                                                                                                                           Festival of Lights brightens up Cape (News-Press - Factiva, 12/01/2016)
                                                                                                                           Piper Jaffray Analyst Report (Eikon - Manual Entry, 12/01/2016)
                                                                                                                           Rural broadband expansion suffers setbacks (Herald and News - Factiva, 12/01/2016)
                                                                                                                           S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 12/01/2016)
 12/2/2016 Fri    5,972,195   $23.92      $0.00   0.76%   0.04%   -0.37%   -0.11%    0.87%      0.55 58.01%       $0.21
 12/3/2016 Sat                                                                                                             CenturyLink expands Omaha gigabit service (Omaha World-Herald - Factiva, 12/03/2016)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/03/2016)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
12/4/2016 Sun                                                                                                            CenturyLink to finalize Uptime Institute's M&O certifications by year end 2016 (MarketLine News
                                                                                                                         and Comment - Factiva, 12/04/2016 07:00 PM)
12/5/2016 Mon   9,987,060   $24.19      $0.00   1.13%   0.59%   -0.38%   0.49%     0.64%      0.41 68.59%       $0.15    CenturyLink Inc at UBS Global Media and Communications Conference - Final (CQ FD Disclosure -
                                                                                                                         Factiva, 12/05/2016)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for System and Method for a Media
                                                                                                                         Content Reconciler (USPTO 9503496) (Journal of Engineering - Factiva, 12/05/2016)
                                                                                                                         GlobalData Analyst Report (Capital IQ - Manual Entry, 12/05/2016)
                                                                                                                         GlobalData Analyst Report (Eikon - Manual Entry, 12/05/2016)
                                                                                                                         IOWA - CenturyLink completes Access Service ordering and billing consolidation (TR's State
                                                                                                                         NewsWire - Factiva, 12/05/2016)
                                                                                                                         MINNESOTA - CenturyLink to PUC: Public Interest not relevant in proceeding at hand (TR's State
                                                                                                                         NewsWire - Factiva, 12/05/2016)
                                                                                                                         Telecommunication Companies; Patent Issued for Passive Suction Base (USPTO 9500222) (Journal
                                                                                                                         of Engineering - Factiva, 12/05/2016)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 12/05/2016)
                                                                                                                         Today, the Eli Lilly and Co. Position Held by Centurylink Investment Management Co (Jpost.com
                                                                                                                         (The Jerusalem Post online edition) - Factiva, 12/05/2016)
                                                                                                                         UBS Analyst Report (Capital IQ - Manual Entry, 12/05/2016)
                                                                                                                         UBS Analyst Report (Eikon - Manual Entry, 12/05/2016)
                                                                                                                         Which Colorado companies rank highest for LGBT-inclusive workplace policies? (Denver Business
                                                                                                                         Journal Online - Factiva, 12/05/2016)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 12/05/2016)
                                                                                                                         CenturyLink to finalize Uptime Institute M&O certifications across global data center footprint by
                                                                                                                         year end 2016 (Canada NewsWire - Factiva, 12/05/2016 09:00 AM)
                                                                                                                         CenturyLink to finalize Uptime Institute M&O certifications across global data center footprint by
                                                                                                                         year end 2016 (PR Newswire - Factiva, 12/05/2016 09:00 AM)
                                                                                                                         Press Release: CenturyLink to finalize Uptime Institute M&O certifications across global data
                                                                                                                         center footprint by year end 2016 (Dow Jones Institutional News - Factiva, 12/05/2016 09:00 AM)
                                                                                                                         Press Release: CenturyLink to finalize Uptime Institute M&O certifications across global data
                                                                                                                         center footprint by year end 2016 (Dow Jones Institutional News - Factiva, 12/05/2016 09:00 AM)
12/6/2016 Tue   6,004,319   $24.01      $0.00 -0.74%    0.34%   1.29%    1.04%    -1.78%     -1.15 25.43%       -$0.43   Blake Shelton to play Omaha's CenturyLink on March 18 (Omaha World-Herald - Factiva,
                                                                                                                         12/06/2016)
                                                                                                                         CenturyLink gets closer to deal for use of its conduit; Company awaits look at draft agreement
                                                                                                                         between it and government entities concerning Southway Bridge (Lewiston Morning Tribune -
                                                                                                                         Factiva, 12/06/2016)
                                                                                                                         CenturyLink targets Elk Point for high-speed internet (Sioux City Journal - Factiva, 12/06/2016)
                                                                                                                         United States : CenturyLink to finalize Uptime Institute M&O certifications across global data
                                                                                                                         center footprint by year end 2016 (Emirates News Agency (WAM) - Factiva, 12/06/2016)
                                                                                                                         CenturyLink recognized at Cisco Partner Summit 2016 (PR Newswire - Factiva, 12/06/2016 09:00
                                                                                                                         AM)
                                                                                                                         Equinix to Buy Some Verizon Data Centers for $3.6 Billion; Equinix said the deal includes 29 data
                                                                                                                         center buildings across 15 metro areas (The Wall Street Journal Online - Factiva, 12/06/2016 11:44
                                                                                                                         AM)




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                                                               Excess                                           Abnormal
                                                       Market Industry Predicted Abnormal                         Price
     Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
 12/7/2016 Wed    6,772,046   $24.28      $0.00   1.12%   1.34%   1.50%    2.17%    -1.05%     -0.67 50.31%       -$0.25   SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                           CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                           FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                           103-631 (US Fed News - Factiva, 12/07/2016)
                                                                                                                           Verizon to sell 29 data centers in the US and Latin America to Equinix for $3.6 bn (Domain-b -
                                                                                                                           Factiva, 12/07/2016)
                                                                                                                           Telecommunication Companies; Patent Issued for Conversation Capture (USPTO 9501802)
                                                                                                                           (Telecommunications Weekly - Factiva, 12/07/2016)
                                                                                                                           Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                           Communications, Business Combinations (Nov. 22, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                           12/07/2016)
 12/8/2016 Thu    7,191,481   $24.13      $0.00 -0.62%    0.23%   -0.39%   0.07%    -0.69%     -0.44 65.95%       -$0.17   CenturyLink Favors OTT Over IPTV, Boosts Broadband Base (New Vision - Factiva, 12/08/2016)
                                                                                                                           CenturyLink, RAD, Ciena, and CienaÃ¢â‚¬â„¢s Blue Planet Division earn Proof of Concept
                                                                                                                           Excellence Award at MEF 16 (ENP Newswire - Factiva, 12/08/2016)
                                                                                                                           NEBRASKA - PSC order clears way for online telephone number directories (TR's State NewsWire -
                                                                                                                           Factiva, 12/08/2016)
                                                                                                                           Smarsh Acquires Text Message Archiver MobileGuard, Tech M&A Steadily Strong; CenturyLink
                                                                                                                           and GTCR both purchase mobile network tech businesses (Mergers & Acquisitions Online - Factiva,
                                                                                                                           12/08/2016)
                                                                                                                           Stevie Nicks will bring 24K Gold Tour to CenturyLink Center (Shreveport Times - Factiva,
                                                                                                                           12/08/2016)
                                                                                                                           United States : CenturyLink recognized at Cisco Partner Summit 2016 (Jpost.com (The Jerusalem
                                                                                                                           Post online edition) - Factiva, 12/08/2016)
                                                                                                                           United States : CenturyLink, RAD, Ciena, and Cienas Blue Planet Division earn Proof of Concept
                                                                                                                           Excellence Award at MEF 16 (Jpost.com (The Jerusalem Post online edition) - Factiva, 12/08/2016)

 12/9/2016 Fri    7,962,690   $24.12      $0.00 -0.04%    0.59%   -0.13%   0.58%    -0.62%     -0.39 69.36%       -$0.15   Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/09/2016)
                                                                                                                           Resource Recycling files Chapter 7 (American Metal Market - Factiva, 12/09/2016)
                                                                                                                           Cable company to stop printing phone books in Nebraska (Associated Press Newswires - Factiva,
                                                                                                                           12/09/2016 03:01 PM)
12/10/2016 Sat                                                                                                             CenturyLink, RAD, Ciena, and Ciena's Blue Planet Division Earn Proof of Concept Excellence
                                                                                                                           Award at MEF 16. (PR.com (Press Releases) - Factiva, 12/10/2016)
12/11/2016 Sun
12/12/2016 Mon    7,229,393   $23.93      $0.00 -0.79% -0.11%     1.19%    0.38%    -1.17%     -0.75 45.48%       -$0.28   CenturyLink initiated with a Hold at SunTrust (Theflyonthewall.com - Factiva, 12/12/2016)
                                                                                                                           CenturyLink Intellectual Property LLC; Patent Issued for OAM Name State Event Trigger
                                                                                                                           (USPTO 9509584) (Journal of Engineering - Factiva, 12/12/2016)
                                                                                                                           CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Projection
                                                                                                                           Utilizing a Wireless Device (USPTO 9509952) (Journal of Engineering - Factiva, 12/12/2016)
                                                                                                                           Houghton project leads to legal back-and-forth (The Arizona Daily Star - Factiva, 12/12/2016)
12/13/2016 Tue   10,799,944   $24.43      $0.00   2.09%   0.67%   0.43%    0.87%     1.22%      0.78 43.75%       $0.29    Charles River expands hosting capabilities in Canada (Hedge Week - Factiva, 12/13/2016)
                                                                                                                           Charles River expands hosting capabilities in Canada (Institutional Asset Manager - Factiva,
                                                                                                                           12/13/2016)
                                                                                                                           Charles River expands hosting capabilities in Canada (Wealth Adviser - Factiva, 12/13/2016)
                                                                                                                           Charles River Expands Its ISO-Certified Hosting Capabilities in Canada with CenturyLink
                                                                                                                           (Business Wire - Factiva, 12/13/2016 09:05 AM)



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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                          CenturyLink Initiated at Hold by SunTrust Robinson Humphrey (Dow Jones Institutional News -
                                                                                                                          Factiva, 12/13/2016 10:14 AM)
12/14/2016 Wed   8,607,560   $23.87      $0.00 -2.29% -0.81%     -0.40%   -1.05%   -1.24%     -0.79 43.03%       -$0.30   SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                          CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                          FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                          103-631 (US Fed News - Factiva, 12/14/2016)
                                                                                                                          SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES ORDER REGARDING
                                                                                                                          CENTURYLINK, FRONTIER COMMUNICATIONS OF THE CAROLINAS AND DEX MEDIA
                                                                                                                          FOR FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC
                                                                                                                          REGULATION 103-631 (US Fed News - Factiva, 12/14/2016)
                                                                                                                          Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/14/2016)

                                                                                                                          CenturyLink boosts local channel play with new cloud partners (ARN (Australian Reseller News) -
                                                                                                                          Factiva, 12/14/2016)
                                                                                                                          CenturyLink, LEVEL 3 FILE MERGER APPLICATION, ARGUE DEAL BENEFITS
                                                                                                                          CUSTOMERS, COMPETITION (TR Daily - Factiva, 12/14/2016)
                                                                                                                          College basketball: First Shreveport-Bossier Holiday Classic set for Saturday at the CenturyLink
                                                                                                                          Center (Bossier Press-Tribune - Factiva, 12/14/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 12/14/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 12/14/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 12/14/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 12/14/2016)
                                                                                                                          NATIONAL - CenturyLink, Level 3 file merger application, argue deal benefits customers (TR's
                                                                                                                          State NewsWire - Factiva, 12/14/2016)
                                                                                                                          SunTrust analyst starts coverage of CenturyLink, others (SNL Kagan Media & Communications
                                                                                                                          Report - Factiva, 12/14/2016)
                                                                                                                          Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                          Communications, Business Combinations (Nov. 29, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                          12/14/2016)
                                                                                                                          TRDaily - December 14, 2016 MOST FCC MEETING ITEMS DELETED FROM AGENDA
                                                                                                                          OÃ¢â‚¬â„¢RIELLY... (TR Daily - Factiva, 12/14/2016)
                                                                                                                          CenturyLink Honored with Frost & Sullivan's 2016 North American Hosted IP Telephony and
                                                                                                                          UCaaS Growth Excellence Leadership Award (Canada NewsWire - Factiva, 12/14/2016 09:00 AM)
                                                                                                                          CenturyLink Honored with Frost & Sullivan's 2016 North American Hosted IP Telephony and
                                                                                                                          UCaaS Growth Excellence Leadership Award (PR Newswire - Factiva, 12/14/2016 09:00 AM)
                                                                                                                          Press Release: CenturyLink Honored with Frost & Sullivan's 2016 North American Hosted IP
                                                                                                                          Telephony and UCaaS Growth Excellence Leadership Award (Dow Jones Institutional News - Factiva,
                                                                                                                          12/14/2016 09:00 AM)
12/15/2016 Thu   9,779,183   $23.97      $0.00   0.42%   0.39%   0.42%    0.58%    -0.16%      -0.1 91.96%       -$0.04   A. Schulman Inc appoints Gary Phillips as chief commercial officer (FinancialWire - Factiva,
                                                                                                                          12/15/2016)
                                                                                                                          Agencies (Warren's Washington Internet Daily - Factiva, 12/15/2016)
                                                                                                                          CenturyLink director Michael J. Roberts awarded Phantom Stocks 14 December 2016 (People in
                                                                                                                          Business - Factiva, 12/15/2016)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                               Excess                                          Abnormal
                                                       Market Industry Predicted Abnormal                        Price
     Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for Command and Control of Devices and
                                                                                                                          Applications by Voice Using a Communication Base System (USPTO 9514754) (Computer Weekly
                                                                                                                          News - Factiva, 12/15/2016)
                                                                                                                          CENTURYLINK IS PRESENTING SPONSOR OF THE AMTRAK WINTER PARK EXPRESS
                                                                                                                          (US Fed News - Factiva, 12/15/2016)
                                                                                                                          MINNESOTA - DoC, OAG want CenturyLink's dereg petition referred to OAH for resolution
                                                                                                                          (TR's State NewsWire - Factiva, 12/15/2016)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 12/15/2016)
                                                                                                                          Rare Thursday game day vs. Rams: Perfect foe, situation for rebound, division title? (The News
                                                                                                                          Tribune - Factiva, 12/15/2016)
                                                                                                                          Winter Park Express ski train adds another car to meet demand from Denver Union Station; Three
                                                                                                                          cars and a locomotive will be wrapped in sponsor CenturyLink's logos (The Denver Post - Factiva,
                                                                                                                          12/15/2016)
                                                                                                                          Wireline (Communications Daily - Factiva, 12/15/2016)
                                                                                                                          CNBC's List Of 20 Beaten-Up Stocks (Benzinga.com - Factiva, 12/15/2016 12:36 PM)
12/16/2016 Fri   11,383,948   $24.17      $0.00   0.83% -0.17%    0.74%   0.16%     0.68%      0.44 66.18%       $0.16    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/16/2016)
                                                                                                                          United States : CenturyLink is Presenting Sponsor of the Amtrak Winter Park Express (Khaleej
                                                                                                                          Times - Factiva, 12/16/2016)
                                                                                                                          Centurylink, Hewlett Packard Enterprise Company, ON Semiconductor Corp, Oracle Corporation,
                                                                                                                          and AT&T and more offer option-trading opportunities that offer returns of more than 18% (PR
                                                                                                                          Newswire - Factiva, 12/16/2016 09:31 AM)
12/17/2016 Sat                                                                                                            Inaugural Holiday Classic offers up basketball feast (The News-Star - Factiva, 12/17/2016)
                                                                                                                          La. Tech, NSU, Grambling, ULM, Centenary, Millsaps ready to play in tripleheader (Shreveport
                                                                                                                          Times - Factiva, 12/17/2016)
12/18/2016 Sun                                                                                                            TerraCom Direct now connected to CenturyLink's Tier 1 fiber network (PR Newswire - Factiva,
                                                                                                                          12/18/2016 09:15 AM)
12/19/2016 Mon    5,889,633   $24.19      $0.00   0.08%   0.20%   0.98%   0.69%    -0.61%      -0.4 69.22%       -$0.15   CenturyLink outage leaves 29 customers in Tacoma and Lakewood with no internet (The News
                                                                                                                          Tribune - Factiva, 12/19/2016)
                                                                                                                          Cowen and Company Analyst Report (Eikon - Manual Entry, 12/19/2016)
                                                                                                                          M&A: The Necessary Driver for Global Growth in 2017 (The Deal - Factiva, 12/19/2016)
                                                                                                                          TerraCom Direct connects to CenturyLink's fibre network (Telecompaper Americas - Factiva,
                                                                                                                          12/19/2016)
                                                                                                                          TerraCom Direct connects to CenturyLink's Tier 1 fibre network (Capacity Magazine - Factiva,
                                                                                                                          12/19/2016)
                                                                                                                          TerraCom Direct now connected to CenturyLink`s Tier 1 fiber network (New Vision - Factiva,
                                                                                                                          12/19/2016)
                                                                                                                          TerraCom Direct now connected to CenturyLink's Tier 1 fiber network (Internet Business News -
                                                                                                                          Factiva, 12/19/2016)
                                                                                                                          TerraCom Direct now connected to CenturyLink's Tier 1 fiber network (M2 EquityBites - Factiva,
                                                                                                                          12/19/2016)
                                                                                                                          CenturyLink wins U.S. Senate contract (PR Newswire - Factiva, 12/19/2016 09:02 AM)
                                                                                                                          Press Release: CenturyLink wins U.S. Senate contract (Dow Jones Institutional News - Factiva,
                                                                                                                          12/19/2016 09:02 AM)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
      [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
     Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                          CenturyLink Includes Upbeat Estimates In Level 3 Merger Filing -- Barron's Blog (Dow Jones
                                                                                                                          Institutional News - Factiva, 12/19/2016 02:12 PM)
12/20/2016 Tue   6,605,028   $24.13      $0.00 -0.25%    0.38%   0.34%    0.50%    -0.75%     -0.49 62.36%       -$0.18   CenturyLink awarded USD11.4m US Senate contract (FinancialWire - Factiva, 12/20/2016)
                                                                                                                          CenturyLink gets multiyear VoIP contract for US Senate (SNL Kagan Media & Communications
                                                                                                                          Report - Factiva, 12/20/2016)
                                                                                                                          CenturyLink to provide US Senate with hosted VoIP platform (Telecompaper Americas - Factiva,
                                                                                                                          12/20/2016)
                                                                                                                          CenturyLink wins $11.4M contract to provide Senate with VoIP service (Emirates News Agency
                                                                                                                          (WAM) - Factiva, 12/20/2016)
                                                                                                                          COLORADO - CenturyLink, Nunn Telephone seek to rearrange exchange area boundaries (TR's
                                                                                                                          State NewsWire - Factiva, 12/20/2016)
                                                                                                                          Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 12/20/2016)
                                                                                                                          Deutsche Bank Analyst Report (Eikon - Manual Entry, 12/20/2016)
                                                                                                                          Gordon Haskett Analyst Report (Eikon - Manual Entry, 12/20/2016)
                                                                                                                          NORTH DAKOTA - CenturyLink to make $2.7M in investments to settle service quality
                                                                                                                          complaints (TR's State NewsWire - Factiva, 12/20/2016)
                                                                                                                          Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 12/20/2016)
                                                                                                                          Telecom Services Stocks Under Scanner -- AT&T, Frontier Communications, Verizon
                                                                                                                          Communications, and CenturyLink (PR Newswire - Factiva, 12/20/2016 07:50 AM)
                                                                                                                          CenturyLink to improve service in western North Dakota (Associated Press Newswires - Factiva,
                                                                                                                          12/20/2016 12:36 PM)
12/21/2016 Wed   6,241,389   $23.77      $0.00 -1.49% -0.24%     -0.16%   -0.34%   -1.15%     -0.75 45.22%       -$0.28   Biggest Deals 2016: A-B InBev, CenturyLink round out other billion-dollar deals (St. Louis Business
                                                                                                                          Journal Online - Factiva, 12/21/2016)
                                                                                                                          CenturyLink wins US Senate deal worth up to $26m (Capacity Magazine - Factiva, 12/21/2016)
                                                                                                                          CenturyLink wins USD11.4m US Senate contract (Internet Business News - Factiva, 12/21/2016)
                                                                                                                          CenturyLink wins USD11.4m US Senate contract (M2 EquityBites - Factiva, 12/21/2016)
                                                                                                                          CenturyLink/LEVEL 3 PLEADING CYCLE SET (TR Daily - Factiva, 12/21/2016)
                                                                                                                          MINNESOTA - PUC moves forward with consideration of CenturyLink dereg petition (TR's State
                                                                                                                          NewsWire - Factiva, 12/21/2016)
                                                                                                                          United States : CenturyLink wins U.S. Senate contract (Yemen Times - Factiva, 12/21/2016)
                                                                                                                          Update: CenturyLink service restored in Hope Township (Midland Daily News - Factiva, 12/21/2016)

                                                                                                                          CenturyLink to Participate in Analyst Conference (PR Newswire - Factiva, 12/21/2016 04:20 PM)
                                                                                                                          Press Release: CenturyLink to Participate in Analyst Conference (Dow Jones Institutional News -
                                                                                                                          Factiva, 12/21/2016 04:32 PM)
12/22/2016 Thu   6,008,912   $23.87      $0.00   0.42% -0.17%    1.14%    0.37%     0.05%      0.03 97.44%       $0.01    CenturyLink invests $140,000 in technology and services to community programs benefitting
                                                                                                                          underserved youth (ENP Newswire - Factiva, 12/22/2016)
                                                                                                                          CenturyLink wins USD11.4m US Senate contract (New Vision - Factiva, 12/22/2016)
                                                                                                                          COLORADO - Larimer 911 Authority alleges CenturyLink hasn't complied with required 911
                                                                                                                          updates (TR's State NewsWire - Factiva, 12/22/2016)
                                                                                                                          Sounders' MLS opener in Houston on March 4 (The Seattle Times - Factiva, 12/22/2016)
12/23/2016 Fri   6,512,200   $24.06      $0.00   0.80%   0.14%   0.02%    0.09%     0.70%      0.46 64.59%       $0.17    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/23/2016)




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                                                                            CenturyLink, Inc. News Chronology with Daily Statistics
      [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]         [12]                                                    [13]
                                                               Excess                                             Abnormal
                                                       Market Industry Predicted Abnormal                           Price
     Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value    Reaction                                                  Events
                                                                                                                             Today's holiday closures (The Arizona Republic - Factiva, 12/23/2016)
12/24/2016 Sat                                                                                                               Hawks hope to finish perfect at home for regular season (The Seattle Times - Factiva, 12/24/2016)
                                                                                                                             Holiday closings (The Arizona Republic - Factiva, 12/24/2016)
12/25/2016 Sun
12/26/2016 Mon                                                                                                               Charles River Development; Charles River Expands Its ISO-Certified Hosting Capabilities in
                                                                                                                             Canada with CenturyLink (Journal of Engineering - Factiva, 12/26/2016)
                                                                                                                             CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Automatically
                                                                                                                             Regulating Messages between Networks (USPTO 9521150) (Journal of Engineering - Factiva,
                                                                                                                             12/26/2016)
                                                                                                                             CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Set-Top Box
                                                                                                                             Call Connection (USPTO 9521465) (Journal of Engineering - Factiva, 12/26/2016)
12/27/2016 Tue    3,957,663   $24.14      $0.00 0.33% 0.23%       -0.25%    0.02%    0.31%       0.2 83.97%         $0.07
12/28/2016 Wed    5,067,166   $24.03      $0.00 -0.46% -0.82%      0.20%   -0.66%    0.20%      0.13 89.51%         $0.05    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                             Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 12/28/2016)

                                                                                                                             CenturyLink to update telephone service around Belfield (Emirates News Agency (WAM) - Factiva,
                                                                                                                             12/28/2016)
                                                                                                                             Macquarie Research Analyst Report (Eikon - Manual Entry, 12/28/2016)
12/29/2016 Thu    4,556,755   $24.03      $0.00   0.00% -0.02%    0.44%    0.16%    -0.16%     -0.11 91.42%         -$0.04   SEC Issues No-Action Letter Regarding Relief From Registration Under Advisers Act For Adviser
                                                                                                                             To Affiliated Foundation (Mondaq Business Briefing - Factiva, 12/29/2016)
12/30/2016 Fri    6,971,357   $23.78      $0.00 -1.04% -0.46%     -0.16%   -0.52%   -0.52%     -0.35 73.00%         -$0.13   BuySellSignals Research Analyst Report (Eikon - Manual Entry, 12/30/2016)
                                                                                                                             Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 12/30/2016)
12/31/2016 Sat                                                                                                               Deadline nears for tech grants for teachers (Omaha World-Herald - Factiva, 12/31/2016)
  1/1/2017 Sun                                                                                                               CenturyLink / Level 3; the work (American Lawyer - Factiva, 01/01/2017)
                                                                                                                             CenturyLink, Level 3 Say Deal Benefits Customers, Competition (Telecommunications Reports -
                                                                                                                             Factiva, 01/01/2017)
  1/2/2017 Mon                                                                                                               The Economy Matters Analyst Report (Capital IQ - Manual Entry, 01/02/2017)
  1/3/2017 Tue   17,376,398   $25.35      $0.00   6.60%   0.85%   1.26%    1.30%     5.30%      3.51   0.06% **     $1.26    AT&T, BC PARTNERS, ZAYO GET ANTITRUST CLEARANCE FOR DEALS (TR Daily -
                                                                                                                             Factiva, 01/03/2017)
                                                                                                                             Seahawks (The Seattle Times - Factiva, 01/03/2017)
                                                                                                                             06:23 EDT CenturyLink upgraded to Overweight from Neutral at JPMorganJPMorgan...
                                                                                                                             (Theflyonthewall.com - Factiva, 01/03/2017)
                                                                                                                             JP Morgan Analyst Report (Capital IQ - Manual Entry, 01/03/2017)
                                                                                                                             JP Morgan Analyst Report (Eikon - Manual Entry, 01/03/2017)
                                                                                                                             Level 3 to Present at the Citi 2017 Internet, Media & Telecommunications Conference (PR
                                                                                                                             Newswire - Factiva, 01/03/2017 06:00 AM)
                                                                                                                             CenturyLink Raised to Overweight From Neutral by JP Morgan (Dow Jones Institutional News -
                                                                                                                             Factiva, 01/03/2017 12:31 PM)
                                                                                                                             Research: Time to Buy CenturyLink Stock, But Not the Bonds -- Barron's Blog (Dow Jones
                                                                                                                             Institutional News - Factiva, 01/03/2017 01:04 PM)
                                                                                                                             BUZZ-Telecom sector soars, Verizon biggest boost (Reuters News - Factiva, 01/03/2017 01:10 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
    [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                       [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
   Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                    Events
1/4/2017 Wed   10,443,772   $25.48      $0.00   0.51%   0.60%   -0.66%   0.07%     0.44%      0.28 78.18%       $0.11    CenturyLink Inc at Citi Internet, Media & Telecommunications Conference - Final (CQ FD
                                                                                                                         Disclosure - Factiva, 01/04/2017)
                                                                                                                         JPMorgan upgrades CenturyLink over Level 3 deal (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 01/04/2017)
                                                                                                                         Level 3 Communications Inc at Citi Internet, Media & Telecommunications Conference - Final
                                                                                                                         (CQ FD Disclosure - Factiva, 01/04/2017)
                                                                                                                         CenturyLink VP (TR Daily - Factiva, 01/04/2017)
                                                                                                                         COLORADO - PUC gives CenturyLink more time to respond to Larimer 911 complaint (TR's State
                                                                                                                         NewsWire - Factiva, 01/04/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                         Communications, Business Combinations (Dec. 20, 2016) (Telecommunications Weekly - Factiva,
                                                                                                                         01/04/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form S-4, Registration of Securities,
                                                                                                                         Business Combinations (Dec. 15, 2016) (Telecommunications Weekly - Factiva, 01/04/2017)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 01/04/2017)
                                                                                                                         Trademarks; Trademark Application for "THE REAL DEAL" Filed by Qwest Communications
                                                                                                                         International (Telecommunications Weekly - Factiva, 01/04/2017)
                                                                                                                         TRDaily - January 4, 2017 DRONE DEFIBRILLATORS, REAL-TIME VIDEO SEEN AS
                                                                                                                         BENEFITS OF FirstNet BROADBAND MORE ENTITIES ASK FCC TO RECONSIDER
                                                                                                                         PRIVACY RULES PARTIES ASK FCC TO MODIFY, SCRAP RULES IN BIENNIAL REVIEW
                                                                                                                         APCO, NEW YORK CITY OPPOSE CTIAÃ¢â‚¬â„¢s WEA PETITION, BUT T-MOBILE
                                                                                                                         SUPPORTS IT AT&T, RWA DISAGREE ON MERITS OF ALASKA WIRELESS NETWORK
                                                                                                                         WAIVER ESA GRANTED EXTENSION OF ACCESSIBILITY WAIVER FCC TO INCREASE
                                                                                                                         ROUNDS IN AUCTION COMMISSION WORKING TO FIX ECFS SPRINT CITES 800 MHz
                                                                                                                         BAND PROGRESS AT&T UPDATES 5G PLANS FCC SEEKS COMMENT ON EARTH
                                                                                                                         STATION COORDINATION FTC LAUNCHES CHALLENGE TO DEVELOP HOME IoT
                                                                                                                         SECURITY TOOLS OBAMA RESUBMITS ROSENWORCEL NOMINATION HOUSE
                                                                                                                         APPROVES Ã¢â‚¬ËœMIDNIGHT RULESÃ¢â‚¬â„¢ BILL McCONNELL NIXES IDEA FOR
                                                                                                                         SPECIAL PANEL TO INVESTIGATE RUSSIAN ELECTION HACKS GROUPS PRAISE
                                                                                                                         MOBILE NOW ACT HOUSE COMMERCE GETS FOUR NEW REPUBLICANS OAK HILL
                                                                                                                         CLOSES ON OXFORD NETWORKS DEAL TRUMP STAFF APPOINTMENTS NAMIC BOARD
                                                                                                                         NATE BOARD TVB CHAIRMAN CenturyLink VP ANSI POLICY VP VIVENDI
                                                                                                                         APPOINTMENT (TR D il F i 01/04/2017)
1/5/2017 Thu    7,921,741   $25.50      $0.00   0.08% -0.08%    0.00%    -0.10%    0.18%      0.12 90.83%       $0.05    NEW MEXICO - CenturyLink says its line counts won't change post-merger (TR's State NewsWire -
                                                                                                                         Factiva, 01/05/2017)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 01/05/2017)
                                                                                                                         UTAH - PSC seeks comment on CenturyLink-Level 3 merger application (TR's State NewsWire -
                                                                                                                         Factiva, 01/05/2017)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 01/05/2017)
1/6/2017 Fri    5,736,182   $25.38      $0.00 -0.47%    0.38%   -1.91%   -0.91%    0.44%      0.28 78.37%       $0.11    Don't miss these Seattle-area concerts in 2017 (The Seattle Times - Factiva, 01/06/2017)
                                                                                                                         Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 01/06/2017)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 01/06/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/06/2017)
                                                                                                                         nfl playoffs; For Lions, 11 vs. 12 (Lansing State Journal - Factiva, 01/06/2017)
                                                                                                                         Road to Super Bowl LI Detroit at Seattle, 8:15 Saturday, NBC (ChANNEL 4 IN DETROIT); Three
                                                                                                                         for won (Detroit Free Press - Factiva, 01/06/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                         Seahawks vs. Lions Game Day (The Daily Herald - Factiva, 01/06/2017)
 1/7/2017 Sat
 1/8/2017 Sun
 1/9/2017 Mon   6,765,279   $25.23      $0.00 -0.59% -0.35%     -0.90%   -0.89%    0.30%      0.19 85.11%       $0.08    Citigroup hangs on to top spot in Q4 communications M&A adviser rankings (SNL Financial Extra -
                                                                                                                         Factiva, 01/09/2017)
                                                                                                                         09:12 EDT CenturyLink acquires SEAL Consulting, terms not disclosedCenturyLink...
                                                                                                                         (Theflyonthewall.com - Factiva, 01/09/2017)
                                                                                                                         CenturyLink acquires SEAL Consulting (Financial Deals Tracker - Factiva, 01/09/2017)
                                                                                                                         CenturyLink acquires Seal Consulting (Telecompaper Americas - Factiva, 01/09/2017)
                                                                                                                         COLORADO - CenturyLink, others express concerns about Charter's proposed changes to rules
                                                                                                                         (TR's State NewsWire - Factiva, 01/09/2017)
                                                                                                                         State Telecom (Communications Daily - Factiva, 01/09/2017)
                                                                                                                         States (Warren's Washington Internet Daily - Factiva, 01/09/2017)
                                                                                                                         U2 coming to CenturyLink Field in Seattle on 2017 summer tour (The News Tribune - Factiva,
                                                                                                                         01/09/2017)
                                                                                                                         *CenturyLink Acquires SEAL Consulting To Further Expand IT Services And Integrated
                                                                                                                         Solutions Capabilities >CTL (Dow Jones Institutional News - Factiva, 01/09/2017 09:00 AM)
                                                                                                                         CenturyLink acquires SEAL Consulting to further expand IT services and integrated solutions
                                                                                                                         capabilities (Canada NewsWire - Factiva, 01/09/2017 09:00 AM)
                                                                                                                         CenturyLink acquires SEAL Consulting to further expand IT services and integrated solutions
                                                                                                                         capabilities (PR Newswire - Factiva, 01/09/2017 09:00 AM)
                                                                                                                         Press Release: CenturyLink acquires SEAL Consulting to further expand IT services and
                                                                                                                         integrated solutions capabilities (Dow Jones Institutional News - Factiva, 01/09/2017 09:00 AM)
1/10/2017 Tue   8,274,952   $25.20      $0.00 -0.12%    0.00%   0.08%    0.04%    -0.16%      -0.1 91.84%       -$0.04   CenturyLink Acquires SEAL Consulting (Emerging Markets Business Information News - Factiva,
                                                                                                                         01/10/2017)
                                                                                                                         CenturyLink buys SAP services provider (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         01/10/2017)
                                                                                                                         NEW YORK - CenturyLink, Level 3 file for PSC approval of merger (TR's State NewsWire - Factiva,
                                                                                                                         01/10/2017)
1/11/2017 Wed   5,567,042   $25.24      $0.00   0.16%   0.29%   -0.68%   -0.17%    0.33%      0.21 83.37%       $0.08    Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 01/11/2017)

                                                                                                                         CenturyLink Acquires SAP Solutions Specialist Seal Consulting (M&A Navigator - Factiva,
                                                                                                                         01/11/2017)
                                                                                                                         CenturyLink acquires SEAL Consulting to expand IT services and SAP capabilities (Optical
                                                                                                                         Networks Daily - Factiva, 01/11/2017)
                                                                                                                         CenturyLink acquires SEAL Consulting to further expand IT services (Internet Business News -
                                                                                                                         Factiva, 01/11/2017)
                                                                                                                         CenturyLink acquires SEAL Consulting to further expand IT services (M2 EquityBites - Factiva,
                                                                                                                         01/11/2017)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for Apical Conduit and Methods of Using
                                                                                                                         Same (USPTO 9531174) (Telecommunications Weekly - Factiva, 01/11/2017)
                                                                                                                         COLORADO - CenturyLink, others express concerns about Charter's proposed changes to rules
                                                                                                                         (TR's State NewsWire - Factiva, 01/11/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                      [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                         Newforma Announces Senior Management Appointments (India Investment News - Factiva,
                                                                                                                         01/11/2017)
                                                                                                                         Swim Trials boost MECA profit in 2016, 'a great year'; Organization that oversees ballpark,
                                                                                                                         CenturyLink Center made $4.7 million (Omaha World-Herald - Factiva, 01/11/2017)
                                                                                                                         Trademarks; An Application for the Trademark "QWEST CHOICE" Has Been Filed by Qwest
                                                                                                                         Communications International (Telecommunications Weekly - Factiva, 01/11/2017)
                                                                                                                         United States : CenturyLink acquires SEAL Consulting to further expand IT services and
                                                                                                                         integrated solutions capabilities (Jpost.com (The Jerusalem Post online edition) - Factiva, 01/11/2017)

                                                                                                                         CenturyLink adds SDN and NFV services to its DREN contract (PR Newswire - Factiva, 01/11/2017
                                                                                                                         09:02 AM)
                                                                                                                         Press Release: CenturyLink adds SDN and NFV services to its DREN contract (Dow Jones
                                                                                                                         Institutional News - Factiva, 01/11/2017 09:02 AM)
1/12/2017 Thu   7,340,834   $25.18      $0.00 -0.24% -0.21%     0.79%    0.28%    -0.52%     -0.33 74.32%       -$0.13   Centurylink -refiled pre-merger notification under Hart-Scott-Rodino antitrust improvements act
                                                                                                                         of 1976 related to Level 3 acquisition (Reuters Significant Developments - Factiva, 01/12/2017)

                                                                                                                         Harlem Globetrotters to visit Bossier City (Longview News-Journal - Factiva, 01/12/2017)
                                                                                                                         NEBRASKA - PSC agrees to reconsider order allowing online telephone number directories (TR's
                                                                                                                         State NewsWire - Factiva, 01/12/2017)
                                                                                                                         Security concerns push Asian organisations to adopt managed and hybrid IT services (Watani -
                                                                                                                         Factiva, 01/12/2017)
                                                                                                                         State awards grants to improve Internet access in rural areas (Namibian Sun - Factiva, 01/12/2017)

                                                                                                                         United States : CenturyLink adds SDN and NFV services to its DREN contract (Ventures Africa -
                                                                                                                         Factiva, 01/12/2017)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 01/12/2017
                                                                                                                         04:11 PM)
                                                                                                                         BRIEF-Centurylink -refiled pre-merger notification under Hart-Scott-Rodino antitrust
                                                                                                                         improvements act of 1976 related to Level 3 acquisition (Reuters News - Factiva, 01/12/2017 04:28
                                                                                                                         PM)
                                                                                                                         CenturyLink, Level 3 File for More Merger Review Time -- Market Talk (Dow Jones Institutional
                                                                                                                         News - Factiva, 01/12/2017 04:50 PM)
                                                                                                                         CenturyLink, Level 3 File for More Merger Review Time -- Market Talk (Dow Jones Institutional
                                                                                                                         News - Factiva, 01/12/2017 04:50 PM)
                                                                                                                         Level 3 Files 8K - Other Events >LVLT (Dow Jones Institutional News - Factiva, 01/12/2017 05:02
                                                                                                                         PM)
1/13/2017 Fri   5,313,070   $25.26      $0.00   0.32%   0.18%   -0.26%   -0.01%    0.33%      0.21 83.58%       $0.08    CenturyLink Adds SDN and NFV Services To Its DREN Contract (The Herald - Factiva, 01/13/2017)

                                                                                                                         CenturyLink adds SDN, NFV services to DREN contract (Internet Business News - Factiva,
                                                                                                                         01/13/2017)
                                                                                                                         CenturyLink adds SDN, NFV to Defense Dept. contract service lineup (Kabulpress.org - Factiva,
                                                                                                                         01/13/2017)
                                                                                                                         CenturyLink refiles HSR notification for Level 3 deal (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 01/13/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         CenturyLink to implement SDN and NFV services for U.S. DoD under DREN contract (Optical
                                                                                                                         Networks Daily - Factiva, 01/13/2017)
                                                                                                                         FIRST IN THE WORLD-HERALD; Unpaving a parking lot; Urban vibrancy would spring from
                                                                                                                         concrete near the arena as cars shift to a new garage (Omaha World-Herald - Factiva, 01/13/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/13/2017)
                                                                                                                         Sounders to host title game rematch on may 6 (The Seattle Times - Factiva, 01/13/2017)
                                                                                                                         CoreSite to Speak at PTC 2017 (Business Wire - Factiva, 01/13/2017 07:00 AM)
                                                                                                                         Omaha group plans $125M downtown development (Associated Press Newswires - Factiva,
                                                                                                                         01/13/2017 02:23 PM)
1/14/2017 Sat
1/15/2017 Sun
1/16/2017 Mon                                                                                                            Q&A: New NATPE Chief JP Bommel Tunes Up Conference Programming (Variety - Factiva,
                                                                                                                         01/16/2017)
                                                                                                                         The Centurylink Inc. (Ctl) Given Average Recommendation of Hold by Brokerages (Daily News
                                                                                                                         Egypt - Factiva, 01/16/2017)
                                                                                                                         WOW! closes Kansas deal; CenturyLink buys SEAL Consulting (SNL Financial Extra - Factiva,
                                                                                                                         01/16/2017)
                                                                                                                         CenturyLink wins $1.3 million grant for broadband development grant program (MarketLine News
                                                                                                                         and Comment - Factiva, 01/16/2017 07:00 PM)
1/17/2017 Tue   7,753,882   $25.47      $0.00   0.83% -0.30%    0.58%    0.07%     0.76%      0.48 62.95%       $0.19    IOWA - CenturyLink details plans to improve service quality in state (TR's State NewsWire -
                                                                                                                         Factiva, 01/17/2017)
                                                                                                                         CenturyLink wins NASPO ValuePoint Cloud Solutions Master Agreement (MarketLine News and
                                                                                                                         Comment - Factiva, 01/17/2017 07:00 PM)
1/18/2017 Wed   5,841,822   $25.47      $0.00   0.00%   0.19%   -0.92%   -0.41%    0.41%      0.26 79.72%       $0.10    09:02 EDT CenturyLink awarded 10-year NASPO ValuePoint Cloud Solutions Master...
                                                                                                                         (Theflyonthewall.com - Factiva, 01/18/2017)
                                                                                                                         CenturyLink to sell Naspo ValuePoint products to govts (Telecompaper Americas - Factiva,
                                                                                                                         01/18/2017)
                                                                                                                         CenturyLink awarded NASPO ValuePoint Cloud Solutions Master Agreement (Canada NewsWire -
                                                                                                                         Factiva, 01/18/2017 09:00 AM)
                                                                                                                         CenturyLink awarded NASPO ValuePoint Cloud Solutions Master Agreement (PR Newswire -
                                                                                                                         Factiva, 01/18/2017 09:00 AM)
                                                                                                                         Press Release: CenturyLink awarded NASPO ValuePoint Cloud Solutions Master Agreement (Dow
                                                                                                                         Jones Institutional News - Factiva, 01/18/2017 09:00 AM)
                                                                                                                         Press Release: CenturyLink awarded NASPO ValuePoint Cloud Solutions Master Agreement (Dow
                                                                                                                         Jones Institutional News - Factiva, 01/18/2017 09:00 AM)
                                                                                                                         CenturyLink Schedules Fourth Quarter 2016 Earnings Conference Call (PR Newswire - Factiva,
                                                                                                                         01/18/2017 04:18 PM)
                                                                                                                         Press Release: CenturyLink Schedules Fourth Quarter 2016 Earnings Conference Call (Dow Jones
                                                                                                                         Institutional News - Factiva, 01/18/2017 04:18 PM)
1/19/2017 Thu   4,364,224   $25.50      $0.00   0.12% -0.36%    0.57%    0.02%     0.10%      0.06 94.97%       $0.03    CenturyLink's Acquisition of Level 3 Communications Could Be Brilliant (U-Wire - Factiva,
                                                                                                                         01/19/2017)
                                                                                                                         Check out the newest and coolest watercraft at the Seattle Boat Show (The News Tribune - Factiva,
                                                                                                                         01/19/2017)
                                                                                                                         Implosion of Johnson County office building to close Interstate 435 early Sunday (The Kansas City
                                                                                                                         Star - Factiva, 01/19/2017)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                                        Monster trucks, Batmobile coming to Shreveport-Bossier (Shreveport Times - Factiva, 01/19/2017)

                                                                                                                        Telecom upgrades its internet service here (Journal of Business-Spokane - Factiva, 01/19/2017)
                                                                                                                        CenturyLink Launches Integrated Big Data as a Service Solution to Help Companies Rapidly
                                                                                                                        Deploy and Drive Value from their Big Data Strategies (Canada NewsWire - Factiva, 01/19/2017
                                                                                                                        09:00 AM)
                                                                                                                        CenturyLink Launches Integrated Big Data as a Service Solution to Help Companies Rapidly
                                                                                                                        Deploy and Drive Value from their Big Data Strategies (PR Newswire - Factiva, 01/19/2017 09:00
                                                                                                                        AM)
                                                                                                                        Press Release: CenturyLink Launches Integrated Big Data as a Service Solution to Help Companies
                                                                                                                        Rapidly Deploy and Drive Value from their Big Data Strategies (Dow Jones Institutional News -
                                                                                                                        Factiva, 01/19/2017 09:00 AM)
                                                                                                                        Press Release: CenturyLink Launches Integrated Big Data as a Service Solution to Help Companies
                                                                                                                        Rapidly Deploy and Drive Value from their Big Data Strategies (Dow Jones Institutional News -
                                                                                                                        Factiva, 01/19/2017 09:00 AM)
1/20/2017 Fri   4,866,482   $25.56      $0.00   0.24%   0.34%   0.64%   0.69%    -0.45%     -0.29 77.46%       -$0.12   CenturyLink launches big data as a service platform (Telecompaper Americas - Factiva, 01/20/2017)

                                                                                                                        Dixon businesses, school district, agency on Day 5 of phone outage (Sauk Valley Newspapers -
                                                                                                                        Factiva, 01/20/2017)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/20/2017)
                                                                                                                        let's get revved up! (Alexandria Daily Town Talk - Factiva, 01/20/2017)
                                                                                                                        Research and Markets - Telecom Cloud Market to Reach $30.79 Billion by 2021: Key Vendors are
                                                                                                                        AT&T, BT Group, Centurylink, Deutsche Telekom & Ericsson (PR Newswire - Factiva, 01/20/2017
                                                                                                                        11:10 AM)
                                                                                                                        Outgoing FCC chair warns against overturning net neutrality (Reuters News - Factiva, 01/20/2017
                                                                                                                        11:31 AM)
                                                                                                                        Outgoing FCC chair warns against overturning net neutrality (Reuters News - Factiva, 01/20/2017
                                                                                                                        11:36 AM)
1/21/2017 Sat                                                                                                           Sunrise and CenturyLink win state broadband grant (Kabulpress.org - Factiva, 01/21/2017)
1/22/2017 Sun                                                                                                           Amazon staffers pile into CenturyLink Field for a gigantic post-holiday party (The Seattle Times -
                                                                                                                        Factiva, 01/22/2017)
                                                                                                                        Implosion brings down 10-story office building in Overland Park (The Kansas City Star - Factiva,
                                                                                                                        01/22/2017)
1/23/2017 Mon   4,439,750   $25.81      $0.00   0.98% -0.27%    0.64%   0.12%     0.85%      0.54 58.84%       $0.22    CenturyLink, Inc. CenturyLink adds SDN and NFV services to its DREN contract (Journal of
                                                                                                                        Engineering - Factiva, 01/23/2017)
                                                                                                                        2 new concerts announced at CenturyLink Arena, Hawks stadium (The Idaho Statesman - Factiva,
                                                                                                                        01/23/2017)
                                                                                                                        Blog Coverage AT&T Announced $1 Billion Loss in Q42016 as a Result of Reducing Discount Rates
                                                                                                                        for Pension Obligations (ACCESSWIRE - Factiva, 01/23/2017)
                                                                                                                        CenturyLink on the mend (Sauk Valley Newspapers - Factiva, 01/23/2017)
                                                                                                                        CenturyLink Partners Cloudera To Offer Big Data as a Service (ChannelTimes.com - Factiva,
                                                                                                                        01/23/2017)
                                                                                                                        NATIONAL - Stockholders sue Level 3 to block merger with CenturyLink (TR's State NewsWire -
                                                                                                                        Factiva, 01/23/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         Newforma; Newforma Announces Senior Management Appointments (Journal of Engineering -
                                                                                                                         Factiva, 01/23/2017)
1/24/2017 Tue   5,655,133   $25.57      $0.00 -0.93%    0.66%   -3.10%   -1.30%    0.37%      0.24 81.46%       $0.10    CenturyLink service should be back by Friday, spokesman says (Sauk Valley Newspapers - Factiva,
                                                                                                                         01/24/2017)
                                                                                                                         COLORADO - Level 3, CenturyLink seek approval of proposed merger (TR's State NewsWire -
                                                                                                                         Factiva, 01/24/2017)
1/25/2017 Wed   7,489,213   $25.69      $0.00   0.47%   0.80%   -0.77%   0.24%     0.23%      0.15 88.32%       $0.06    Boise State gymnasts host BYU on Friday at CenturyLink Arena (The Idaho Statesman - Factiva,
                                                                                                                         01/25/2017)
                                                                                                                         ABQ expands high-speed internet; Boost for community centers, and police and fire stations
                                                                                                                         (Albuquerque Journal - Factiva, 01/25/2017)
                                                                                                                         Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 01/25/2017)

                                                                                                                         CenturyLink upgraded to Hold from Underperform at Jefferies (Theflyonthewall.com - Factiva,
                                                                                                                         01/25/2017)
                                                                                                                         IOWA - IUB closes rural call completion case, terminates reporting requirements (TR's State
                                                                                                                         NewsWire - Factiva, 01/25/2017)
                                                                                                                         Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 01/25/2017)
                                                                                                                         Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 01/25/2017)
                                                                                                                         Jefferies LLC Analyst Report (Eikon - Manual Entry, 01/25/2017)
                                                                                                                         Telecommunication Companies; Patent Issued for Alert Gateway, Systems and Methods (USPTO
                                                                                                                         9542830) (Telecommunications Weekly - Factiva, 01/25/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form SC 13G/A, Statement of
                                                                                                                         Acquisition of Beneficial Ownership By Individuals (Jan. 10, 2017) (Telecommunications Weekly -
                                                                                                                         Factiva, 01/25/2017)
                                                                                                                         Wireline (Communications Daily - Factiva, 01/25/2017)
                                                                                                                         DJ CenturyLink Inc, Inst Holders, 4Q 2016 (CTL) (Dow Jones Institutional News - Factiva,
                                                                                                                         01/25/2017 03:32 AM)
1/26/2017 Thu   7,653,733   $26.06      $0.00   1.44% -0.07%    0.06%    -0.03%    1.47%      0.93 35.19%       $0.38    Good Works: Comcast awards $388K in 2016 Colorado grants (Denver Business Journal - Factiva,
                                                                                                                         01/26/2017)
                                                                                                                         INCOMPAS raises concerns about CenturyLink/Level 3 deal (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 01/26/2017)
                                                                                                                         DJ CenturyLink Inc, Inst Holders, 4Q 2016 (CTL) (Dow Jones Institutional News - Factiva,
                                                                                                                         01/26/2017 04:02 AM)
1/27/2017 Fri   4,935,059   $25.96      $0.00 -0.38% -0.08%     0.79%    0.40%    -0.79%      -0.5 61.68%       -$0.21   A SONICS COMEBACK? State leaders want to regain team, but the plan isn't clear (The
                                                                                                                         Spokesman-Review - Factiva, 01/27/2017)
                                                                                                                         CARRIERS PROPOSE PART 32 USOA OPT-OUT (TR Daily - Factiva, 01/27/2017)
                                                                                                                         Denver Better Business Bureau warns about CenturyLink advertising practices (Denver Business
                                                                                                                         Journal Online - Factiva, 01/27/2017)
                                                                                                                         'Everything is all up and live': CenturyLink restores service (Sauk Valley Newspapers - Factiva,
                                                                                                                         01/27/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 01/27/2017)
                                                                                                                         Queen + Adam Lambert will rock CenturyLink on July 8 (Omaha World-Herald - Factiva,
                                                                                                                         01/27/2017)




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     [1]           [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                         SOUTH CAROLINA --- Proposed order would grant waiver of directory publishing rules (TR's
                                                                                                                         State NewsWire - Factiva, 01/27/2017)
                                                                                                                         Validea Analyst Report (Eikon - Manual Entry, 01/27/2017)
1/28/2017 Sat
1/29/2017 Sun                                                                                                            A. Schulman names operational sales director (MarketLine News and Comment - Factiva, 01/29/2017
                                                                                                                         07:00 PM)
1/30/2017 Mon    4,880,701   $25.81      $0.00 -0.58% -0.60%    -0.05%   -0.56%   -0.02%     -0.01 98.90%       -$0.01   SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         ALLNET COMMUNICATIONS SERVICES FOR CERTIFICATE OF PUBLIC CONVENIENCE
                                                                                                                         (US Fed News - Factiva, 01/30/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         APPLICATION OF LEVEL 3 COMMUNICATIONS FOR CERTIFICATE OF PUBLIC
                                                                                                                         CONVENIENCE (US Fed News - Factiva, 01/30/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         CENTURYLINK FOR CERTIFICATE OF PUBLIC CONVENIENCE (US Fed News - Factiva,
                                                                                                                         01/30/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         EMBARK FOR CERTIFICATE OF PUBLIC CONVENIENCE (US Fed News - Factiva, 01/30/2017)

                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         FRONTIER LOCAL SERVICES FOR CERTIFICATE OF PUBLIC CONVENIENCE (US Fed
                                                                                                                         News - Factiva, 01/30/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         JOINT PETITION OF C III COMMUNICATIONS, CIII COMMUNICATIONS OPERATIONS,
                                                                                                                         BROADWING COMMUNICATIONS SERVICES AND BROADWING
                                                                                                                         TELECOMMUNICATIONS FOR TRANSFER OF CERTIFICATE OF PUBLIC CONVENIENCE
                                                                                                                         (US Fed News - Factiva, 01/30/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         PAYPHONE SERVICE PROVIDERS (US Fed News - Factiva, 01/30/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         TELCOVE OF SOUTH CAROLINA FOR CERTIFICATE OF PUBLIC CONVENIENCE (US Fed
                                                                                                                         News - Factiva, 01/30/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING TW
                                                                                                                         TELECOM OF SOUTH CAROLINA, TIME WARNER TELECOM OF SOUTH CAROLINA
                                                                                                                         FOR CERTIFICATE OF PUBLIC CONVENIENCE (US Fed News - Factiva, 01/30/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         VYNX, WILLIAMS COMMUNICATIONS FOR CERTIFICATE OF PUBLIC CONVENIENCE
                                                                                                                         (US Fed News - Factiva, 01/30/2017)
                                                                                                                         CenturyLink to retain name, brand after Level 3 merger (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 01/30/2017)
                                                                                                                         IOWA - OCA says CenturyLink's plan to improve service quality not sufficient (TR's State
                                                                                                                         NewsWire - Factiva, 01/30/2017)
1/31/2017 Tue   11,316,042   $25.86      $0.00   0.19% -0.09%   0.22%    0.05%     0.15%      0.09 92.48%       $0.04    A. Schulman adds experienced sales operations executive to further bolster global sales function;
                                                                                                                         Stacey L. Marsh to Drive Productivity, Efficiency and Effectiveness of Sales Organization (M2
                                                                                                                         Presswire - Factiva, 01/31/2017)
                                                                                                                         IOWA - IUB seeks status report on 'traffic pumping' refunds (TR's State NewsWire - Factiva,
                                                                                                                         01/31/2017)
 2/1/2017 Wed    8,832,817   $25.51      $0.00 -1.35%   0.05%   -0.77%   -0.38%   -0.97%     -0.62 53.36%       -$0.25   CenturyLink expands broadband service here (The Madison Daily Leader - Factiva, 02/01/2017)




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                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
   Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         CENTURYLINK LEVEL 3; MEDIA MADNESS (Corporate Counsel - Factiva, 02/01/2017)
                                                                                                                         Former CenturyLink exec joins Vonage (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                         02/01/2017)
                                                                                                                         Industry (Signal - Factiva, 02/01/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                         Communications, Business Combinations (Jan. 12, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                         02/01/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Jan. 12,
                                                                                                                         2017) (Telecommunications Weekly - Factiva, 02/01/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form S-4/A, Registration of Securities,
                                                                                                                         Business Combinations (Jan. 17, 2017) (Telecommunications Weekly - Factiva, 02/01/2017)

                                                                                                                         SHAREHOLDER ALERT: Monteverde & Associates PC Announces an Investigation of Level 3
                                                                                                                         Communications, Inc. - LVLT (PR Newswire - Factiva, 02/01/2017 01:43 PM)
2/2/2017 Thu    6,190,566   $25.26      $0.00 -0.98%    0.06%   -1.25%   -0.66%   -0.32%      -0.2 83.92%       -$0.08   S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 02/02/2017)
2/3/2017 Fri    5,228,391   $25.42      $0.00   0.63%   0.74%   -0.09%   0.62%     0.02%      0.01 99.19%       $0.00    Ã¢â‚¬ËœFree' security system has alarming cost (Charlotte Sun - Factiva, 02/03/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/03/2017)
2/4/2017 Sat                                                                                                             10 Highest Dividend-Yielding Stocks (U-Wire - Factiva, 02/04/2017)
                                                                                                                         CenturyLink looks for boost from newer technologies, new products (The Gazette - Factiva,
                                                                                                                         02/04/2017)
                                                                                                                         CenturyLink looks for boost from newer technologies, new products (The Gazette (Tribune Content
                                                                                                                         Agency) - Factiva, 02/04/2017)
2/5/2017 Sun
2/6/2017 Mon    6,353,023   $25.05      $0.00 -1.46% -0.21%     -0.66%   -0.56%   -0.89%     -0.57 56.74%       -$0.23   ABQ tech company lands national name on board of directors (Albuquerque Business First Online -
                                                                                                                         Factiva, 02/06/2017)
                                                                                                                         RiskSense BOARD (TR Daily - Factiva, 02/06/2017)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 02/06/2017)
                                                                                                                         CenturyLink's Bill Bradley Joins RiskSense Board (Business Wire - Factiva, 02/06/2017 09:30 AM)

2/7/2017 Tue    6,022,232   $24.88      $0.00 -0.68%    0.03%   0.05%    0.05%    -0.73%     -0.47 64.13%       -$0.18   COLORADO - Larimer 911 Authority urges PUC not to dismiss its complaint against CenturyLink
                                                                                                                         (TR's State NewsWire - Factiva, 02/07/2017)
                                                                                                                         Frontline Ventures wraps up second fund (PE Hub Network - Factiva, 02/07/2017)
                                                                                                                         Morgan Stanley Analyst Report (Eikon - Manual Entry, 02/07/2017)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 02/07/2017)
                                                                                                                         WASHINGTON - UTC slates prehearing conference on CenturyLink-Level 3 merger (TR's State
                                                                                                                         NewsWire - Factiva, 02/07/2017)
                                                                                                                         Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 02/07/2017)
2/8/2017 Wed   13,671,506   $24.43      $0.00 -1.81%    0.10%   0.31%    0.26%    -2.07%     -1.33 18.60%       -$0.52   CenturyLink, Inc. Earnings Retreat 43% In Q4 (RTT News - Factiva, 02/08/2017)
                                                                                                                         16:17 EDT Level 3 reports Q4 EPS 69c, consensus 44cReports Q3 revenue $2.03B,...
                                                                                                                         (Theflyonthewall.com - Factiva, 02/08/2017)
                                                                                                                         16:35 EDT CenturyLink reports Q4 adjusted EPS 54c, consensus 57cReports Q4...
                                                                                                                         (Theflyonthewall.com - Factiva, 02/08/2017)




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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                           16:37 EDT CenturyLink sees Q1 adjusted EPS 51c-57c, consensus 59cSees Q1...
                                                                                                           (Theflyonthewall.com - Factiva, 02/08/2017)
                                                                                                           16:38 EDT CenturyLink sees FY17 CapEx about $2.6B (Theflyonthewall.com - Factiva, 02/08/2017)

                                                                                                           Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 02/08/2017)

                                                                                                           CenturyLink Issues FY17 Outlook - Quick Facts (RTT News - Factiva, 02/08/2017)
                                                                                                           CenturyLink POSTS 4% QUARTERLY REVENUE DECLINE (TR Daily - Factiva, 02/08/2017)
                                                                                                           CenturyLink reports Q4 earnings per share $0.08 (Reuters Significant Developments - Factiva,
                                                                                                           02/08/2017)
                                                                                                           Centurylink reports Q4 earnings per share $0.08 (Reuters Significant Developments - Factiva,
                                                                                                           02/08/2017)
                                                                                                           Event Brief of Q4 2016 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                           02/08/2017)
                                                                                                           Event Brief of Q4 2016 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure -
                                                                                                           Factiva, 02/08/2017)
                                                                                                           NEBRASKA - PSC wants CenturyLink to explain why it can't test redundancy of 911 network
                                                                                                           (TR's State NewsWire - Factiva, 02/08/2017)
                                                                                                           Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 02/08/2017)
                                                                                                           Q4 2016 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 02/08/2017)
                                                                                                           Q4 2016 Level 3 Communications Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 02/08/2017)

                                                                                                           Sadif Analytics Analyst Report (Eikon - Manual Entry, 02/08/2017)
                                                                                                           Telecommunication Companies; An Application for the Trademark "KEEPING YOU IN THE
                                                                                                           LOOP" Has Been Filed by Qwest Communications International (Telecommunications Weekly -
                                                                                                           Factiva, 02/08/2017)
                                                                                                           Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                           for "GET IT IN GEAR" Filed (Telecommunications Weekly - Factiva, 02/08/2017)
                                                                                                           Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                           for "USLD SELECT" Filed (Telecommunications Weekly - Factiva, 02/08/2017)
                                                                                                           Telecommunication Companies; Trademark Application for "REFER2QWEST" Filed by Qwest
                                                                                                           Communications International (Telecommunications Weekly - Factiva, 02/08/2017)
                                                                                                           Telephone Communications; Centurylink, Inc. Files SEC Form SC 13G/A, Statement of
                                                                                                           Acquisition of Beneficial Ownership By Individuals (Jan. 23, 2017) (Telecommunications Weekly -
                                                                                                           Factiva, 02/08/2017)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 02/08/2017)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 02/08/2017)
                                                                                                           UBS Analyst Report (Eikon - Manual Entry, 02/08/2017)
                                                                                                           ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 02/08/2017)
                                                                                                           *CenturyLink 4Q EPS 8c >CTL (Dow Jones Institutional News - Factiva, 02/08/2017 04:15 PM)
                                                                                                           CenturyLink Reports Fourth Quarter And Full-Year 2016 Results (PR Newswire - Factiva,
                                                                                                           02/08/2017 04:15 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
    [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
   Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 02/08/2017
                                                                                                                        04:19 PM)
                                                                                                                        BRIEF-Centurylink reports Q4 earnings per share $0.08 (Reuters News - Factiva, 02/08/2017 04:28
                                                                                                                        PM)
                                                                                                                        Clock Ticking on CenturyLink Merger After Forecast -- Market Talk (Dow Jones Institutional News -
                                                                                                                        Factiva, 02/08/2017 04:49 PM)
                                                                                                                        Clock Ticking on CenturyLink Merger After Forecast -- Market Talk (Dow Jones Institutional News -
                                                                                                                        Factiva, 02/08/2017 04:49 PM)
                                                                                                                        BRIEF-CenturyLink reports Q4 earnings per share $0.08 (Reuters News - Factiva, 02/08/2017 04:51
                                                                                                                        PM)
                                                                                                                        CenturyLink Profit Slips as Costs Rise (Dow Jones Institutional News - Factiva, 02/08/2017 05:06 PM)

                                                                                                                        CenturyLink Profit Slips as Costs Rise (Dow Jones Institutional News - Factiva, 02/08/2017 05:21 PM)

                                                                                                                        CenturyLink wins task order to provide MTIPS to Federal Communications Commission
                                                                                                                        (MarketLine News and Comment - Factiva, 02/08/2017 07:00 PM)
                                                                                                                        CenturyLink Open to Offering Streaming Video Service (Dow Jones Institutional News - Factiva,
                                                                                                                        02/08/2017 07:16 PM)
                                                                                                                        CenturyLink Open to Offering Streaming-Video Service; CEO says internet carrier is looking at
                                                                                                                        every option amid soaring content costs (The Wall Street Journal Online - Factiva, 02/08/2017 07:16
                                                                                                                        PM)
                                                                                                                        CenturyLink Open to Offering Streaming-Video Service (Dow Jones Institutional News - Factiva,
                                                                                                                        02/08/2017 07:20 PM)
                                                                                                                        CenturyLink Open to Offering Streaming Video Service (Dow Jones Institutional News - Factiva,
                                                                                                                        02/08/2017 07:31 PM)
                                                                                                                        CenturyLink Open to Offering Streaming Video Service>CTL (Dow Jones Newswires Chinese
                                                                                                                        (English) - Factiva, 02/08/2017 08:59 PM)
                                                                                                                        CenturyLink Q4 2016 Results -- Earnings Call Transcript >CTL (Dow Jones Institutional News -
                                                                                                                        Factiva, 02/08/2017 11:07 PM)
2/9/2017 Thu   10,179,851   $24.42      $0.00 -0.04%   0.59%   0.15%    0.61%    -0.65%     -0.41 67.94%       -$0.16   Moody's rates Level 3's Term Loan Ba1; outlook remains stable (Moody's Investors Service Press
                                                                                                                        Release - Factiva, 02/09/2017)
                                                                                                                        06:10 EDT CenturyLink would consider DirecTV Now-like streaming service, WSJ...
                                                                                                                        (Theflyonthewall.com - Factiva, 02/09/2017)
                                                                                                                        09:03 EDT CenturyLink wins FCC MTIPS task order CenturyLink recently won a task...
                                                                                                                        (Theflyonthewall.com - Factiva, 02/09/2017)
                                                                                                                        Acquisdata Pty Ltd. Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                                        Acquisdata Pty Ltd. Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                                        Barclays Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                                        Barclays Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                                        BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                                        BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                                        BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                                        CenturyLink posts Q4 results at bottom of expectations (Telecompaper Americas - Factiva,
                                                                                                                        02/09/2017)



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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                           CenturyLink to launch OTT TV service in Q2 (Telecompaper Americas - Factiva, 02/09/2017)
                                                                                                           CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           CFRA Equity Research Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           Concert announcements Lady Gaga coming to Omaha Aug. 19 (The Grand Island Independent -
                                                                                                           Factiva, 02/09/2017)
                                                                                                           Cowen and Company Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           Deutsche Bank Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           Earnings down slightly for Broomfield's Level 3 Communications; Telecom company's merger with
                                                                                                           CenturyLink is on track for third quarter of 2017 (The Denver Post - Factiva, 02/09/2017)
                                                                                                           EIF supports Frontline Ventures EUR 60 million fund closing (DesignMENA.com - Factiva,
                                                                                                           02/09/2017)
                                                                                                           High school wrestling (updated): State tournament starts Friday at CenturyLink (Bossier Press-
                                                                                                           Tribune - Factiva, 02/09/2017)
                                                                                                           Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           Jefferies LLC Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           JP Morgan Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           JP Morgan Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           Level 3 focuses on profits ahead of $24 billion CenturyLink merger (Denver Business Journal Online -
                                                                                                           Factiva, 02/09/2017)
                                                                                                           Macquarie Research Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           RBC Capital Markets Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 02/09/2017)
                                                                                                           Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 02/09/2017)
                                                                                                           CenturyLink wins FCC MTIPS task order (PR Newswire - Factiva, 02/09/2017 09:02 AM)
                                                                                                           Press Release: CenturyLink wins FCC MTIPS task order (Dow Jones Institutional News - Factiva,
                                                                                                           02/09/2017 09:02 AM)
                                                                                                           CenturyLink 'Not Satisfied' with 2016 Results, Promises Better -- Barron's Blog (Dow Jones
                                                                                                           Institutional News - Factiva, 02/09/2017 09:24 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         CenturyLink Asks Investors to Keep Faith Through 2017 -- Market Talk (Dow Jones Institutional
                                                                                                                         News - Factiva, 02/09/2017 11:12 AM)
                                                                                                                         CenturyLink Asks Investors to Keep Faith Through 2017 -- Market Talk (Dow Jones Institutional
                                                                                                                         News - Factiva, 02/09/2017 11:12 AM)
                                                                                                                         Fitch Rates Level 3 Financing Secured Term Loans 'BB+/RR1'; Outlook Stable (Reuters News -
                                                                                                                         Factiva, 02/09/2017 11:12 AM)
                                                                                                                         CenturyLink Files 8K - Regulation FD >CTL (Dow Jones Institutional News - Factiva, 02/09/2017
                                                                                                                         04:47 PM)
2/10/2017 Fri   5,882,601   $24.49      $0.00   0.29%   0.36%   0.05%    0.34%    -0.06%     -0.04 97.15%       -$0.01   CenturyLink wins FCC MTIPS task order (Telecompaper World - Factiva, 02/10/2017)
                                                                                                                         CenturyLink/Level 3 Deal Faces New Objections, But Still Expected to Get Approval
                                                                                                                         (Communications Daily - Factiva, 02/10/2017)
                                                                                                                         CenturyLink/Level 3 Deal Faces New Objections, But Still Expected to Get Approval (Warren's
                                                                                                                         Washington Internet Daily - Factiva, 02/10/2017)
                                                                                                                         HIGH SCHOOL WRESTLING; Brotherly love; Parkway's Huckaby seeks wrestling double-dip,
                                                                                                                         motivated by brother's state title (Shreveport Times - Factiva, 02/10/2017)
                                                                                                                         How fiber has expanded in the towns Google Fiber forgot Ã¢â‚¬â€ Holly Springs, Wake Forest,
                                                                                                                         Apex (Triangle Business Journal Online - Factiva, 02/10/2017)
                                                                                                                         Infinera Sales, Q1 Sales Outlook Beat, Bulls See Rebound Coming (Investor's Business Daily -
                                                                                                                         Factiva, 02/10/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/10/2017)
                                                                                                                         Security (Warren's Washington Internet Daily - Factiva, 02/10/2017)
                                                                                                                         United States : CenturyLink Reports Fourth Quarter And Full-Year 2016 Results (Emirates News
                                                                                                                         Agency (WAM) - Factiva, 02/10/2017)
                                                                                                                         United States : CenturyLink wins FCC MTIPS task order (Emirates News Agency (WAM) - Factiva,
                                                                                                                         02/10/2017)
                                                                                                                         Wireline (Communications Daily - Factiva, 02/10/2017)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 02/10/2017)
                                                                                                                         WeissLaw LLP Files Class Action Lawsuit Against Level 3 Communications, Inc. (PR Newswire -
                                                                                                                         Factiva, 02/10/2017 01:33 PM)
2/11/2017 Sat                                                                                                            Area district wrestling results (The Columbus Telegram - Factiva, 02/11/2017)
2/12/2017 Sun                                                                                                            LHSAA should keep wrestling championships in Bossier City (Shreveport Times - Factiva,
                                                                                                                         02/12/2017)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 02/12/2017)
2/13/2017 Mon   6,555,986   $24.62      $0.00   0.53%   0.55%   -1.64%   -0.43%    0.96%      0.61 54.39%       $0.23    CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Secure Machine-
                                                                                                                         To-Machine Communications (USPTO 9560051) (Journal of Engineering - Factiva, 02/13/2017)

                                                                                                                         CenturyLink VP (TR Daily - Factiva, 02/13/2017)
                                                                                                                         Hall of Fame band Metallica will rock CenturyLink Field (The News Tribune - Factiva, 02/13/2017)

                                                                                                                         Indian sports app firm announces high profile CTO hire (SportzPower - Factiva, 02/13/2017)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 02/13/2017)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 02/13/2017)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        to offer consolidated Ethernet portfolio across 35-market territory (Namibian Sun - Factiva,
                                                                                                                        02/13/2017)
                                                                                                                        VIRGINIA - SCC seeks comment on Level 3-CenturyLink merger application (TR's State NewsWire
                                                                                                                        - Factiva, 02/13/2017)
                                                                                                                        Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 02/13/2017)
2/14/2017 Tue   4,962,947   $24.54      $0.00 -0.32%   0.43%   -0.38%   0.18%    -0.51%     -0.32 74.80%       -$0.13   Phoenix Suns and CenturyLink announce third 'Project Assist' recipient; AP Planner; Future News
                                                                                                                        Item; Phoenix Suns (AP Planner - Factiva, 02/14/2017)
                                                                                                                        09:06 EDT Ohio and Utah approve merger of CenturyLink and Level 3 Ohio and Utah...
                                                                                                                        (Theflyonthewall.com - Factiva, 02/14/2017)
                                                                                                                        3 Big Risks CenturyLink Investors Need to Watch (U-Wire - Factiva, 02/14/2017)
                                                                                                                        Keshaw Sinha is Sports Flashes CTO (Exchange4Media.com - Factiva, 02/14/2017)
                                                                                                                        Ohio, Utah approve merger of Centurylink and Level 3 Communications (Reuters Significant
                                                                                                                        Developments - Factiva, 02/14/2017)
                                                                                                                        Post Earnings Coverage as CenturyLink's Earnings and Operating Revenues Lagged Behind
                                                                                                                        Expectations (ACCESSWIRE - Factiva, 02/14/2017)
                                                                                                                        REGIONAL - Ohio, Utah approve CenturyLink-Level 3 merger (TR's State NewsWire - Factiva,
                                                                                                                        02/14/2017)
                                                                                                                        Sports Flashes ropes in Saregama's / Network18's Sinha as CTO (Indiantelevision.com - Factiva,
                                                                                                                        02/14/2017)
                                                                                                                        Research Reports on Telecom Services Equities -- AT&T, Frontier Communications, Verizon
                                                                                                                        Communications, and CenturyLink (PR Newswire - Factiva, 02/14/2017 07:30 AM)
                                                                                                                        Ohio and Utah are first states to approve CenturyLink - Level 3 merger (PR Newswire - Factiva,
                                                                                                                        02/14/2017 09:00 AM)
                                                                                                                        Press Release: Ohio and Utah are first states to approve CenturyLink - Level 3 merger (Dow Jones
                                                                                                                        Institutional News - Factiva, 02/14/2017 09:00 AM)
                                                                                                                        BRIEF-Ohio, Utah approve merger of Centurylink and Level 3 Communications (Reuters News -
                                                                                                                        Factiva, 02/14/2017 09:45 AM)
2/15/2017 Wed   5,599,574   $24.40      $0.00 -0.57%   0.51%   -0.06%   0.42%    -0.99%     -0.63 52.96%       -$0.24   3 states approve CenturyLink, Level 3 merger (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 02/15/2017)
                                                                                                                        Castle Placement Named Exclusive Placement Agent for $7.5 Million Equity Capital Raise for Vitel
                                                                                                                        Global. (PR.com (Press Releases) - Factiva, 02/15/2017)
                                                                                                                        CenturyLink gets first regulatory approvals for Level 3 acquisition (SeeNews America - Factiva,
                                                                                                                        02/15/2017)
                                                                                                                        Justice Department seeks CenturyLink, Level 3 merger details (Denver Business Journal Online -
                                                                                                                        Factiva, 02/15/2017)
                                                                                                                        Ohio, Utah Regulators Approve CenturyLink, Level 3 Merger (M&A Navigator - Factiva,
                                                                                                                        02/15/2017)
                                                                                                                        Soccer notebook: Sounders announce two friendlies (The Olympian - Factiva, 02/15/2017)
                                                                                                                        SunTrust Robinson Humphrey, Inc. Analyst Report (Capital IQ - Manual Entry, 02/15/2017)
                                                                                                                        SunTrust Robinson Humphrey, Inc. Analyst Report (Eikon - Manual Entry, 02/15/2017)
                                                                                                                        Telecommunication Companies; Patent Issued for Video Call Handling (USPTO 9559869)
                                                                                                                        (Telecommunications Weekly - Factiva, 02/15/2017)




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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                        Communications, Business Combinations (Jan. 27, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                        02/15/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form S-4/A, Registration of Securities,
                                                                                                                        Business Combinations (Jan. 27, 2017) (Telecommunications Weekly - Factiva, 02/15/2017)

                                                                                                                        Trademarks; An Application for the Trademark "DIGIPAC" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 02/15/2017)
                                                                                                                        Trademarks; An Application for the Trademark "USLD SELECT" Has Been Filed by Qwest
                                                                                                                        Communications International (Telecommunications Weekly - Factiva, 02/15/2017)
                                                                                                                        CenturyLink to host Cybersecurity Summit on March 8 (PR Newswire - Factiva, 02/15/2017 09:00
                                                                                                                        AM)
                                                                                                                        CenturyLink partners with Monroe City, Ouachita Parish school system and CIC for STEM
                                                                                                                        (MarketLine News and Comment - Factiva, 02/15/2017 07:00 PM)
2/16/2017 Thu   5,162,872   $24.28      $0.00 -0.49% -0.08%     0.56%   0.21%    -0.70%     -0.44 65.85%       -$0.17   Centurylink Inc entered into a memorandum of understanding for settlement of lawsuit (Reuters
                                                                                                                        Significant Developments - Factiva, 02/16/2017)
                                                                                                                        CenturyLink, Inc. CenturyLink wins FCC MTIPS task order (Politics & Government Week - Factiva,
                                                                                                                        02/16/2017)
                                                                                                                        SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES ORDER REGARDING
                                                                                                                        CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                        FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                        103-631 (US Fed News - Factiva, 02/16/2017)
                                                                                                                        Alphabet names new Access CEO, will transfer staff to Google (SNL Financial Extra - Factiva,
                                                                                                                        02/16/2017)
                                                                                                                        Better Buy: AT&T Inc. vs. CenturyLink Inc. (U-Wire - Factiva, 02/16/2017)
                                                                                                                        CenturyLink-Level 3 Tie-Up Faces Longer Antitrust Review (The Deal - Factiva, 02/16/2017)
                                                                                                                        Malin and Lakeview councils held meetings on Tuesday at their respective city halls, Malin's
                                                                                                                        council approving a water master plan and CenturyLink franchise agreement while Lakeview's
                                                                                                                        council approved community event requests. (Herald and News - Factiva, 02/16/2017)
                                                                                                                        Ohio and Utah are first states to approve CenturyLink - Level 3 merger (Internet Business News -
                                                                                                                        Factiva, 02/16/2017)
                                                                                                                        Tickets for Feb. 17 (The News Tribune - Factiva, 02/16/2017)
                                                                                                                        United States : CenturyLink to host Cybersecurity Summit on March 8 (Ghana News Agency -
                                                                                                                        Factiva, 02/16/2017)
                                                                                                                        United States : Ohio and Utah are first states to approve CenturyLink - Level 3 merger (Ghana
                                                                                                                        News Agency - Factiva, 02/16/2017)
                                                                                                                        US DOJ wants more info on CenturyLink, Level 3 merger (SNL Kagan Media & Communications
                                                                                                                        Report - Factiva, 02/16/2017)
                                                                                                                        CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 02/16/2017
                                                                                                                        04:35 PM)
                                                                                                                        BRIEF-Centurylink Inc entered into a memorandum of understanding for settlement of lawsuit
                                                                                                                        (Reuters News - Factiva, 02/16/2017 05:00 PM)
2/17/2017 Fri   5,122,976   $24.28      $0.00   0.00%   0.17%   0.81%   0.56%    -0.56%     -0.35 72.46%       -$0.14   1 Number CenturyLink Investors Should Worry About (U-Wire - Factiva, 02/17/2017)
                                                                                                                        CenturyLink, City of Monroe and local school systems partner to invest in STEM education
                                                                                                                        initiative (ENP Newswire - Factiva, 02/17/2017)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/17/2017)
                                                                                                                        Morgan Stanley Analyst Report (Eikon - Manual Entry, 02/17/2017)
                                                                                                                        Seattle Home Show features latest trends; event runs Feb. 18-26 (Auburn Reporter - Factiva,
                                                                                                                        02/17/2017)
                                                                                                                        Seattle Home Show features latest trends; event runs Feb. 18-26 (Kent Reporter - Factiva,
                                                                                                                        02/17/2017)
                                                                                                                        STEM program students get high-tech training (The News-Star - Factiva, 02/17/2017)
2/18/2017 Sat
2/19/2017 Sun
2/20/2017 Mon                                                                                                           MarketLine Analyst Report (Capital IQ - Manual Entry, 02/20/2017)
                                                                                                                        MarketLine Analyst Report (Eikon - Manual Entry, 02/20/2017)
                                                                                                                        RiskSense, Inc. CenturyLink's Bill Bradley Joins RiskSense Board (Journal of Engineering - Factiva,
                                                                                                                        02/20/2017)
                                                                                                                        (PR) CenturyLink awarded 2016 BizConnect Carrier Managed Services Partner of the Year by
                                                                                                                        Ciena (PR Newswire - Factiva, 02/20/2017 09:00 AM)
                                                                                                                        CenturyLink awarded 2016 BizConnect Carrier Managed Services Partner of the Year by Ciena
                                                                                                                        (Canada NewsWire - Factiva, 02/20/2017 09:00 AM)
                                                                                                                        Press Release: CenturyLink awarded 2016 BizConnect Carrier Managed Services Partner of the
                                                                                                                        Year by Ciena (Dow Jones Institutional News - Factiva, 02/20/2017 09:00 AM)
2/21/2017 Tue   6,846,831   $24.67      $0.00   1.61%   0.60%   0.20%   0.62%     0.98%      0.62 53.52%       $0.24    CenturyLink gets Ciena award (Internet Business News - Factiva, 02/21/2017)
                                                                                                                        CenturyLink gets Ciena award (M2 EquityBites - Factiva, 02/21/2017)
                                                                                                                        CenturyLink sets quarterly cash dividend of $0.54 per share (Reuters Significant Developments -
                                                                                                                        Factiva, 02/21/2017)
                                                                                                                        NEW YORK - DPS says 'more detailed review' of CenturyLink-Level 3 deal needed (TR's State
                                                                                                                        NewsWire - Factiva, 02/21/2017)
                                                                                                                        NEW YORK DPS SAYS Ã¢â‚¬ËœMORE DETAILED REVIEWÃ¢â‚¬â„¢ OF CENTURYLINK-
                                                                                                                        LEVEL 3 DEAL NEEDED (TR Daily - Factiva, 02/21/2017)
                                                                                                                        Zentera Systems Announces CenturyLink as First Telecom Integration for Its Cloud over IP
                                                                                                                        Platform (PR Newswire - Factiva, 02/21/2017 08:08 AM)
                                                                                                                        John DeLozier, Vice President of Channel Alliances at CenturyLink, recognized as 2017 CRN(R)
                                                                                                                        Channel Chief (PR Newswire - Factiva, 02/21/2017 09:00 AM)
                                                                                                                        John DeLozier, Vice President of Channel Alliances at CenturyLink, recognized as 2017 CRNÃ‚Â®
                                                                                                                        Channel Chief (Canada NewsWire - Factiva, 02/21/2017 09:00 AM)
                                                                                                                        Press Release: John DeLozier, Vice President of Channel Alliances at CenturyLink, recognized as
                                                                                                                        2017 CRNÃ‚Â® Channel Chief (Dow Jones Institutional News - Factiva, 02/21/2017 09:00 AM)

                                                                                                                        Press Release: Zultys and CenturyLink Announce Partnership by Certifying Interoperability of
                                                                                                                        Business Phone Systems and SIP Trunking Services (Dow Jones Institutional News - Factiva,
                                                                                                                        02/21/2017 12:00 PM)
                                                                                                                        Zultys and CenturyLink Announce Partnership by Certifying Interoperability of Business Phone
                                                                                                                        Systems and SIP Trunking Services (PR Newswire - Factiva, 02/21/2017 12:00 PM)
                                                                                                                        CenturyLink Declares Quarterly Cash Dividend (PR Newswire - Factiva, 02/21/2017 05:17 PM)
                                                                                                                        Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                        Factiva, 02/21/2017 05:17 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        BRIEF-CenturyLink sets quarterly cash dividend of $0.54 per share (Reuters News - Factiva,
                                                                                                                        02/21/2017 05:32 PM)
2/22/2017 Wed   6,431,600   $24.83      $0.00   0.65% -0.10%   0.13%   -0.04%     0.69%      0.44 66.27%       $0.17    Zentera Systems integrates with telecom industry CSPs (Internet Business News - Factiva,
                                                                                                                        02/22/2017)
                                                                                                                        Zentera Systems integrates with telecom industry CSPs (M2 EquityBites - Factiva, 02/22/2017)
                                                                                                                        Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 02/22/2017)

                                                                                                                        Babcock Ranch partners with CenturyLink (Charlotte Sun - Factiva, 02/22/2017)
                                                                                                                        Centurylink expands collaboration with VMware to accelerate enterprise cloud adoption (Reuters
                                                                                                                        Significant Developments - Factiva, 02/22/2017)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for Battery Charge Reservation for
                                                                                                                        Emergency Communications (USPTO 9565639) (Telecommunications Weekly - Factiva, 02/22/2017)

                                                                                                                        CenturyLinkÃ¢â‚¬â„¢s board declares USD0.54 quarterly cash dividend (FinancialWire - Factiva,
                                                                                                                        02/22/2017)
                                                                                                                        IOWA - Carriers support further deregulation of retail telecom market (TR's State NewsWire -
                                                                                                                        Factiva, 02/22/2017)
                                                                                                                        Northrop's services business will shrink by hundreds of millions of dollars. Here's why the company
                                                                                                                        isn't panicking. (Washington Business Journal - Factiva, 02/22/2017)
                                                                                                                        NOTICE TO THE PUBLIC OF A PETITION - CASE NO. PUR-2017-00007 (The Roanoke Times -
                                                                                                                        Factiva, 02/22/2017)
                                                                                                                        Public safety Outage shuts down Union County 911 (THE COLUMBUS DISPATCH - Factiva,
                                                                                                                        02/22/2017)
                                                                                                                        United States : CenturyLink awarded 2016 BizConnect Carrier Managed Services Partner of the
                                                                                                                        Year by Ciena (Investing.com - Factiva, 02/22/2017)
                                                                                                                        (PR) CenturyLink expands its collaboration with VMware to accelerate enterprise cloud adoption
                                                                                                                        (PR Newswire - Factiva, 02/22/2017 09:00 AM)
                                                                                                                        CenturyLink expands its collaboration with VMware to accelerate enterprise cloud adoption
                                                                                                                        (Canada NewsWire - Factiva, 02/22/2017 09:00 AM)
                                                                                                                        Press Release: CenturyLink expands its collaboration with VMware to accelerate enterprise cloud
                                                                                                                        adoption (Dow Jones Institutional News - Factiva, 02/22/2017 09:00 AM)
                                                                                                                        Press Release: CenturyLink expands its collaboration with VMware to accelerate enterprise cloud
                                                                                                                        adoption (Dow Jones Institutional News - Factiva, 02/22/2017 09:00 AM)
                                                                                                                        BRIEF-Centurylink expands collaboration with VMware to accelerate enterprise cloud adoption
                                                                                                                        (Reuters News - Factiva, 02/22/2017 09:38 AM)
                                                                                                                        Zentera Systems Announces CenturyLink as First Telecom Integration for Its Cloud over IP
                                                                                                                        Platform (PR Newswire - Factiva, 02/22/2017 04:00 PM)
                                                                                                                        CenturyLink to Participate in Analyst Conferences (PR Newswire - Factiva, 02/22/2017 04:20 PM)

                                                                                                                        Press Release: CenturyLink to Participate in Analyst Conferences (Dow Jones Institutional News -
                                                                                                                        Factiva, 02/22/2017 04:20 PM)
                                                                                                                        CenturyLink announces availability of enterprise mobility management solution (MarketLine News
                                                                                                                        and Comment - Factiva, 02/22/2017 07:00 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        CenturyLink announces resignation of board member (MarketLine News and Comment - Factiva,
                                                                                                                        02/22/2017 07:00 PM)
2/23/2017 Thu   6,597,988   $24.71      $0.00 -0.48%   0.05%   0.92%    0.53%    -1.01%     -0.64 52.46%       -$0.25   CenturyLink BOARD (TR Daily - Factiva, 02/23/2017)
                                                                                                                        CenturyLink expands collaboration on SDDC with VMware (Telecompaper World - Factiva,
                                                                                                                        02/23/2017)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for POTS Telephony over High Speed Data
                                                                                                                        Networks (USPTO 9571662) (Computer Weekly News - Factiva, 02/23/2017)
                                                                                                                        Internet outage lasts 9 hours; Contractor cuts CenturyLink fiber line (Jefferson City News-Tribune -
                                                                                                                        Factiva, 02/23/2017)
                                                                                                                        Judge OKs $1.35M Consent Judgment in Robocall Case (Broward Daily Business Review - Factiva,
                                                                                                                        02/23/2017)
                                                                                                                        Judge OKs $1.35M Consent Judgment in Robocall Case (Miami Daily Business Review - Factiva,
                                                                                                                        02/23/2017)
                                                                                                                        Judge OKs $1.35M Consent Judgment in Robocall Case (Palm Beach Daily Business Review -
                                                                                                                        Factiva, 02/23/2017)
                                                                                                                        LETTER: Utilities charging ridiculous fees (The Las Vegas Review-Journal - Factiva, 02/23/2017)
                                                                                                                        SOUTH CAROLINA --- Commission grants waiver of directory publishing rules (TR's State
                                                                                                                        NewsWire - Factiva, 02/23/2017)
                                                                                                                        Vice President of Channel Alliances at CenturyLink recognized as 2017 CRN Channel Chief
                                                                                                                        (Internet Business News - Factiva, 02/23/2017)
                                                                                                                        Zultys, CenturyLink certify interoperability of business phone systems (Internet Business News -
                                                                                                                        Factiva, 02/23/2017)
                                                                                                                        CenturyLink announces resignation of board member Gregory McCray (PR Newswire - Factiva,
                                                                                                                        02/23/2017 07:00 AM)
                                                                                                                        Press Release: CenturyLink announces resignation of board member Gregory McCray (Dow Jones
                                                                                                                        Institutional News - Factiva, 02/23/2017 07:00 AM)
                                                                                                                        (PR) CenturyLink Enterprise Mobility Management solution enables companies to more effectively
                                                                                                                        secure corporate and employee-owned mobile devices (PR Newswire - Factiva, 02/23/2017 09:00 AM)

                                                                                                                        CenturyLink Enterprise Mobility Management solution enables companies to more effectively
                                                                                                                        secure corporate and employee-owned mobile devices (Canada NewsWire - Factiva, 02/23/2017 09:00
                                                                                                                        AM)
                                                                                                                        Press Release: CenturyLink Enterprise Mobility Management solution enables companies to more
                                                                                                                        effectively secure corporate and employee-owned mobile devices (Dow Jones Institutional News -
                                                                                                                        Factiva, 02/23/2017 09:00 AM)
                                                                                                                        Press Release: CenturyLink Enterprise Mobility Management solution enables companies to more
                                                                                                                        effectively secure corporate and employee-owned mobile devices (Dow Jones Institutional News -
                                                                                                                        Factiva, 02/23/2017 09:00 AM)
                                                                                                                        CenturyLink Director Leaves Board for Google Program -- Market Talk (Dow Jones Institutional
                                                                                                                        News - Factiva, 02/23/2017 11:24 AM)
                                                                                                                        CenturyLink Director Leaves Board for Google Program -- Market Talk (Dow Jones Institutional
                                                                                                                        News - Factiva, 02/23/2017 11:24 AM)
                                                                                                                        CenturyLink Files 8K - Changes Exec Mgmt >CTL (Dow Jones Institutional News - Factiva,
                                                                                                                        02/23/2017 04:04 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                         CenturyLink announces expansion of Alliance programs (MarketLine News and Comment - Factiva,
                                                                                                                         02/23/2017 07:00 PM)
2/24/2017 Fri   6,056,642   $24.58      $0.00 -0.53%    0.17%   0.55%    0.43%    -0.96%     -0.61 54.57%       -$0.24   CenturyLink board member resigns to head Alphabet unit (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 02/24/2017)
                                                                                                                         CenturyLinkÃ¢â‚¬â„¢s board member to resign (FinancialWire - Factiva, 02/24/2017)
                                                                                                                         Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 02/24/2017)
                                                                                                                         Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 02/24/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 02/24/2017)
                                                                                                                         NEBRASKA - PSC to investigate quality, performance testing of redundant facilities (TR's State
                                                                                                                         NewsWire - Factiva, 02/24/2017)
                                                                                                                         CenturyLink Director Leaves Board for Google Program -- Market Talk (Dow Jones Newswires
                                                                                                                         Chinese (English) - Factiva, 02/24/2017 01:34 AM)
                                                                                                                         (PR) CenturyLink expands and improves programs available for Alliances and Strategic
                                                                                                                         Partnerships (PR Newswire - Factiva, 02/24/2017 09:00 AM)
                                                                                                                         CenturyLink expands and improves programs available for Alliances and Strategic Partnerships
                                                                                                                         (Canada NewsWire - Factiva, 02/24/2017 09:00 AM)
                                                                                                                         Press Release: CenturyLink expands and improves programs available for Alliances and Strategic
                                                                                                                         Partnerships (Dow Jones Institutional News - Factiva, 02/24/2017 09:00 AM)
                                                                                                                         Press Release: CenturyLink expands and improves programs available for Alliances and Strategic
                                                                                                                         Partnerships (Dow Jones Institutional News - Factiva, 02/24/2017 09:00 AM)
                                                                                                                         CellWatch, CenturyLink, CoreSite, Gordon, Mintz Levin & More at Tri-State Summit: Join 400+
                                                                                                                         Data Center Real Estate and Connectivity Executives on April 19 (PR Newswire - Factiva,
                                                                                                                         02/24/2017 01:40 PM)
2/25/2017 Sat                                                                                                            Lady Antebellum to play CenturyLink (Omaha World-Herald - Factiva, 02/25/2017)
                                                                                                                         United States : CenturyLink announces resignation of board member Gregory McCray (Jpost.com
                                                                                                                         (The Jerusalem Post online edition) - Factiva, 02/25/2017)
                                                                                                                         United States : CenturyLink Enterprise Mobility Management solution enables companies to more
                                                                                                                         effectively secure corporate and employee-owned mobile devices (Jpost.com (The Jerusalem Post
                                                                                                                         online edition) - Factiva, 02/25/2017)
                                                                                                                         United States : CenturyLink expands and improves programs available for Alliances and Strategic
                                                                                                                         Partnerships (Jpost.com (The Jerusalem Post online edition) - Factiva, 02/25/2017)
                                                                                                                         United States : CenturyLink expands its collaboration with VMware to accelerate enterprise cloud
                                                                                                                         adoption (Jpost.com (The Jerusalem Post online edition) - Factiva, 02/25/2017)
2/26/2017 Sun
2/27/2017 Mon   6,722,186   $24.61      $0.00   0.12%   0.12%   -1.29%   -0.58%    0.70%      0.44 65.89%       $0.17    CenturyLink Enhances Programs For Alliances and Strategic Partnerships (ChannelTimes.com -
                                                                                                                         Factiva, 02/27/2017)
                                                                                                                         CenturyLink expands, improves programs for alliances, strategic partnerships (Internet Business
                                                                                                                         News - Factiva, 02/27/2017)
                                                                                                                         CenturyLink expands, improves programs for alliances, strategic partnerships (M2 EquityBites -
                                                                                                                         Factiva, 02/27/2017)
                                                                                                                         Courts (Warren's Washington Internet Daily - Factiva, 02/27/2017)
                                                                                                                         IOWA - Carriers seek payment of 'traffic pumping' refunds (TR's State NewsWire - Factiva,
                                                                                                                         02/27/2017)
                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 02/27/2017)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                          Sadif Analytics Analyst Report (Eikon - Manual Entry, 02/27/2017)
                                                                                                                          Wireline (Communications Daily - Factiva, 02/27/2017)
                                                                                                                          Level 3 to Present at the Morgan Stanley Technology, Media & Telecom Conference (PR Newswire -
                                                                                                                          Factiva, 02/27/2017 08:00 AM)
                                                                                                                          CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 02/27/2017
                                                                                                                          05:08 PM)
                                                                                                                          *S&PGR Assigns 'B' CCR To Colorado Buyer Inc.; Outlook Stable (Dow Jones Institutional News -
                                                                                                                          Factiva, 02/27/2017 05:38 PM)
2/28/2017 Tue   13,031,838   $24.26      $0.00 -1.42% -0.25%     -0.30%   -0.40%   -1.02%     -0.64 52.22%       -$0.25   Argo Group International Holdings Appoints Al-Noor Ramji as Director (India Insurance News -
                                                                                                                          Factiva, 02/28/2017)
                                                                                                                          Level 3 Communications, Inc. - Strategy, SWOT and Corporate Finance Report
                                                                                                                          (MarketResearch.com - Factiva, 02/28/2017)
                                                                                                                          Moody's assigns B1 to Cyxtera (Moody's Investors Service Press Release - Factiva, 02/28/2017)
                                                                                                                          SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                          CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                          FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                          103-631 (US Fed News - Factiva, 02/28/2017)
                                                                                                                          07:56 EDT CenturyLink initiated with a Neutral at... (Theflyonthewall.com - Factiva, 02/28/2017)
                                                                                                                          MoffettNathanson LLC Analyst Report (Eikon - Manual Entry, 02/28/2017)
                                                                                                                          NEW MEXICO - PRC certifies CenturyLink, Windstream line courts, cancels hearing (TR's State
                                                                                                                          NewsWire - Factiva, 02/28/2017)
                                                                                                                          On The Fly: Top five analyst initiations (Theflyonthewall.com - Factiva, 02/28/2017)
                                                                                                                          CenturyLink Initiated at Neutral by Moffett Nathanson (Dow Jones Institutional News - Factiva,
                                                                                                                          02/28/2017 08:16 AM)
                                                                                                                          CenturyLink advances multi-cloud management strategy with launch of Cloud Application
                                                                                                                          Manager (Canada NewsWire - Factiva, 02/28/2017 09:00 AM)
                                                                                                                          CenturyLink advances multi-cloud management strategy with launch of Cloud Application
                                                                                                                          Manager (PR Newswire - Factiva, 02/28/2017 09:00 AM)
                                                                                                                          Press Release: CenturyLink advances multi-cloud management strategy with launch of Cloud
                                                                                                                          Application Manager (Dow Jones Institutional News - Factiva, 02/28/2017 09:00 AM)
                                                                                                                          Press Release: CenturyLink advances multi-cloud management strategy with launch of Cloud
                                                                                                                          Application Manager (Dow Jones Institutional News - Factiva, 02/28/2017 09:00 AM)
 3/1/2017 Wed   14,735,804   $24.04      $0.54   1.32%   1.39%   -0.41%   1.05%     0.27%      0.17 86.57%       $0.07    CenturyLink Inc and Level 3 Communications Inc at Morgan Stanley Technology , Media &
                                                                                                                          Telecom Conference - Final (CQ FD Disclosure - Factiva, 03/01/2017)
                                                                                                                          CenturyLink, Inc. Ohio and Utah are first states to approve CenturyLink - Level 3 merger (Mergers
                                                                                                                          & Acquisitions Week - Factiva, 03/01/2017)
                                                                                                                          WeissLaw Llp; WeissLaw LLP Files Class Action Lawsuit Against Level 3 Communications, Inc.
                                                                                                                          (Telecommunications Weekly - Factiva, 03/01/2017)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for Control Groups for Network Testing
                                                                                                                          (USPTO 9571363) (Information Technology Newsweekly - Factiva, 03/01/2017)
                                                                                                                          CenturyLink launches Cloud Application Manager platform (Telecompaper Americas - Factiva,
                                                                                                                          03/01/2017)
                                                                                                                          CenturyLink to appoint board directors after Level 3 deal completion (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 03/01/2017)




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    [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
   Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        NEBRASKA - CenturyLink given more time to respond to ruling about 911 network (TR's State
                                                                                                                        NewsWire - Factiva, 03/01/2017)
                                                                                                                        Phone outages hit three central Illinois counties; PEKIN (Pekin Daily Times - Factiva, 03/01/2017)

                                                                                                                        Telecommunication Companies; Patent Issued for Providing Enhanced Wireline Services (USPTO
                                                                                                                        9571637) (Telecommunications Weekly - Factiva, 03/01/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 424B3, Prospectus [Rule 424(B)(3)]
                                                                                                                        (Feb. 13, 2017) (Telecommunications Weekly - Factiva, 03/01/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                        Communications, Business Combinations (Feb. 9, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                        03/01/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Feb. 14,
                                                                                                                        2017) (Telecommunications Weekly - Factiva, 03/01/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Feb. 9, 2017)
                                                                                                                        (Telecommunications Weekly - Factiva, 03/01/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form EFFECT, Notice of Effectiveness
                                                                                                                        (Feb. 14, 2017) (Telecommunications Weekly - Factiva, 03/01/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form S-4/A, Registration of Securities,
                                                                                                                        Business Combinations (Feb. 9, 2017) (Telecommunications Weekly - Factiva, 03/01/2017)

                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form SC 13G, Statement of Acquisition
                                                                                                                        of Beneficial Ownership By Individuals (Feb. 10, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                        03/01/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form SC 13G/A, Statement of
                                                                                                                        Acquisition of Beneficial Ownership By Individuals (Feb. 10, 2017) (Telecommunications Weekly -
                                                                                                                        Factiva, 03/01/2017)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/01/2017)
                                                                                                                        Trademarks; Qwest Communications International's Trademark Application for "ACD
                                                                                                                        CONNECT" Filed (Telecommunications Weekly - Factiva, 03/01/2017)
3/2/2017 Thu   10,003,104   $23.53      $0.00 -2.12% -0.58%    0.47%    -0.33%   -1.79%     -1.12 26.30%       -$0.43   Level 3 CEO is poised for $4.2 million payout in CenturyLink merger (Denver Business Journal
                                                                                                                        Online - Factiva, 03/02/2017)
                                                                                                                        Level 3 expands SDN-enabled dynamic Ethernet services platform to Asia Pacific region (Optical
                                                                                                                        Networks Daily - Factiva, 03/02/2017)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 03/02/2017)
                                                                                                                        Tematica Research Analyst Report (Eikon - Manual Entry, 03/02/2017)
                                                                                                                        United States : CenturyLink advances multi-cloud management strategy with launch of Cloud
                                                                                                                        Application Manager (FARS News Agency - Factiva, 03/02/2017)
                                                                                                                        United States : CenturyLink and MECA bring free public Wi-Fi to CenturyLink Center Omaha
                                                                                                                        (FARS News Agency - Factiva, 03/02/2017)
3/3/2017 Fri    8,419,064   $23.48      $0.00 -0.21%   0.05%   -0.03%   -0.01%   -0.20%     -0.13 89.96%       -$0.05   Karen A. Puckett starts third year as Entergy Director 03 March 2017 (People in Business - Factiva,
                                                                                                                        03/03/2017)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/03/2017)
                                                                                                                        WASHINGTON - UTC slates hearing on CenturyLink-Level 3 merger (TR's State NewsWire -
                                                                                                                        Factiva, 03/03/2017)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
   Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
3/4/2017 Sat                                                                                                            United States : CenturyLink unveils cloud application orchestration platform (National News
                                                                                                                        Agency Lebanon - Factiva, 03/04/2017)
                                                                                                                        Weekly Recap: Top 10 Stories On Channel Times-Feb 27-Mar 3 (ChannelTimes.com - Factiva,
                                                                                                                        03/04/2017)
3/5/2017 Sun                                                                                                            10 Highest Dividend-Yielding Stocks (U-Wire - Factiva, 03/05/2017)
3/6/2017 Mon    8,175,124   $23.10      $0.00 -1.62% -0.33%    0.04%   -0.41%    -1.21%     -0.76 44.75%       -$0.28   CenturyLink, Inc. CenturyLink expands its collaboration with VMware to accelerate enterprise
                                                                                                                        cloud adoption (Journal of Engineering - Factiva, 03/06/2017)
                                                                                                                        Zentera Systems, Inc. Zentera Systems Announces CenturyLink as First Telecom Integration for
                                                                                                                        Its Cloud over IP Platform (Journal of Engineering - Factiva, 03/06/2017)
                                                                                                                        3 Reasons a CenturyLink/Level 3 Merger Is a Good Idea (U-Wire - Factiva, 03/06/2017)
                                                                                                                        COLORADO - PUC approves application to rearrange exchange area boundaries (TR's State
                                                                                                                        NewsWire - Factiva, 03/06/2017)
                                                                                                                        NATIONAL - FSF tells states to exercise 'restraint' when reviewing CenturyLink-Level 3 deal (TR's
                                                                                                                        State NewsWire - Factiva, 03/06/2017)
                                                                                                                        Press Release: Himax Technologies, Inc . to Attend Bank of America Merrill Lynch 2017 Asia
                                                                                                                        Pacific Telecom , Media & Technology Conference on March 21st -- 23rd, 2017 (Dow Jones
                                                                                                                        Institutional News - Factiva, 03/06/2017 05:00 AM)
3/7/2017 Tue   11,620,855   $22.50      $0.00 -2.60% -0.28%   -0.47%   -0.67%    -1.93%     -1.22 22.64%       -$0.45   CenturyLink Inc at Deutsche Bank Media, Internet and Telecom Conference - Final (CQ FD
                                                                                                                        Disclosure - Factiva, 03/07/2017)
                                                                                                                        SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                        CENTURYLINK, FRONTIER COMMUNICATIONS OF THE CAROLINAS AND DEX MEDIA
                                                                                                                        FOR FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC
                                                                                                                        REGULATION 103-631 (US Fed News - Factiva, 03/07/2017)
                                                                                                                        BuySellSignals Research Analyst Report (Eikon - Manual Entry, 03/07/2017)
                                                                                                                        Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 03/07/2017)
                                                                                                                        Deutsche Bank Analyst Report (Eikon - Manual Entry, 03/07/2017)
                                                                                                                        Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 03/07/2017)
                                                                                                                        WEST VIRGINIA - PSC gives consent to CenturyLink-Level 3 deal (TR's State NewsWire - Factiva,
                                                                                                                        03/07/2017)
                                                                                                                        Covered Call reports for Bank of America, Centurylink, Delta Airlines, Microsoft, Exxon Mobil,
                                                                                                                        and more! (PR Newswire - Factiva, 03/07/2017 09:31 AM)
3/8/2017 Wed    7,310,167   $22.45      $0.00 -0.22% -0.20%   -0.27%   -0.49%     0.27%      0.17 86.75%       $0.06    SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                        CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                        FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                        103-631 (US Fed News - Factiva, 03/08/2017)
                                                                                                                        Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 03/08/2017)

                                                                                                                        CenturyLink complaints climb again amid fiber rollout (The Oregonian (Tribune Content Agency) -
                                                                                                                        Factiva, 03/08/2017)
                                                                                                                        CenturyLink launches new internet ad on national TV (Telecompaper Americas - Factiva, 03/08/2017)

                                                                                                                        CenturyLink to hold a summit (Theflyonthewall.com - Factiva, 03/08/2017)
                                                                                                                        COLORADO - PUC won't dismiss 911 complaint against CenturyLink (TR's State NewsWire -
                                                                                                                        Factiva, 03/08/2017)



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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                                        Net Neutrality Won't Be Undone, Cogent CEO Says; CenturyLink Focused on Level 3 Deal
                                                                                                                        (Communications Daily - Factiva, 03/08/2017)
                                                                                                                        Net Neutrality Won't Be Undone, Cogent CEO Says; CenturyLink Focused on Level 3 Deal
                                                                                                                        (Warren's Washington Internet Daily - Factiva, 03/08/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Feb. 16,
                                                                                                                        2017) (Telecommunications Weekly - Factiva, 03/08/2017)
 3/9/2017 Thu   7,984,260   $22.73      $0.00   1.25%   0.08%   0.36%   0.20%     1.05%      0.66 51.32%       $0.24    Agencies (Warren's Washington Internet Daily - Factiva, 03/09/2017)
                                                                                                                        CenturyLink Ã¢â‚¬Ëœwill cut capexÃ¢â‚¬â„¢ after Level 3 takeover, says CFO (Capacity Magazine -
                                                                                                                        Factiva, 03/09/2017)
                                                                                                                        CenturyLink 'to cut capex by 10%' (Global Telecoms Business - Factiva, 03/09/2017)
                                                                                                                        Ed Sheeran will play CenturyLink stage (Omaha World-Herald - Factiva, 03/09/2017)
                                                                                                                        GlobalData Analyst Report (Capital IQ - Manual Entry, 03/09/2017)
                                                                                                                        GlobalData Analyst Report (Eikon - Manual Entry, 03/09/2017)
                                                                                                                        Hockey fans of all ages can hit the CenturyLink Arena ice with the Steelheads for free (The Idaho
                                                                                                                        Statesman - Factiva, 03/09/2017)
                                                                                                                        Idaho settles multimillion-dollar lawsuits over defunct school internet project (The Idaho Statesman -
                                                                                                                        Factiva, 03/09/2017)
                                                                                                                        RiskSense Secures Additional Series A Funding (Financial Deals Tracker - Factiva, 03/09/2017)
                                                                                                                        SOUTH CAROLINA - PSC slates hearing to discuss directory publishing rules (TR's State
                                                                                                                        NewsWire - Factiva, 03/09/2017)
                                                                                                                        State reaches financial settlement with Idaho Education Network vendors (Cherokee Tribune -
                                                                                                                        Factiva, 03/09/2017)
                                                                                                                        State reaches financial settlement with Idaho Education Network vendors (St. Joseph News-Press -
                                                                                                                        Factiva, 03/09/2017)
                                                                                                                        STATE REACHES FINANCIAL SETTLEMENT WITH IDAHO EDUCATION NETWORK
                                                                                                                        VENDORS (US Fed News - Factiva, 03/09/2017)
                                                                                                                        Wireline (Communications Daily - Factiva, 03/09/2017)
3/10/2017 Fri   6,382,025   $23.14      $0.00   1.80%   0.33%   0.44%   0.61%     1.20%      0.76 44.84%       $0.27    Phoenix Suns and CenturyLink announce fourth 'Project Assist' recipient; AP Planner; Future
                                                                                                                        News Item; Phoenix Suns (AP Planner - Factiva, 03/10/2017)
                                                                                                                        Amid fiber rollout, customer complaints climb (The Oregonian - Factiva, 03/10/2017)
                                                                                                                        CenturyLink complaints in Oregon (The Oregonian - Factiva, 03/10/2017)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/10/2017)
3/11/2017 Sat
3/12/2017 Sun                                                                                                           Annual Seattle Kennel Club dog show trots through CenturyLink Field (SeattlePI.com - Factiva,
                                                                                                                        03/12/2017)
                                                                                                                        End of the line for Level 3; Omaha-born company, which laid fiber-optic cable, will cease to exist
                                                                                                                        (Omaha World-Herald - Factiva, 03/12/2017)
3/13/2017 Mon   8,358,911   $23.46      $0.00   1.38%   0.07%   0.13%   0.10%     1.28%      0.81 41.90%       $0.30    CenturyLink Intellectual Property LLC; Patent Issued for Licensed and Unlicensed Spectrum Set-
                                                                                                                        Top Box (USPTO 9584856) (Journal of Engineering - Factiva, 03/13/2017)
                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Management of
                                                                                                                        Ethernet Premise Devices (USPTO 9584603) (Journal of Engineering - Factiva, 03/13/2017)




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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for System, Method, and Apparatus for
                                                                                                                          User-Initiated Provisioning of a Communication Device (USPTO 9584562) (Journal of Engineering -
                                                                                                                          Factiva, 03/13/2017)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for Virtualization Congestion Control
                                                                                                                          Framework for Modifying Execution of Applications on Virtual Machine Based on Mass
                                                                                                                          Congestion Indicator in Host Computing System (USPTO 9582305) (Journal of Engineering - Factiva,
                                                                                                                          03/13/2017)
                                                                                                                          CenturyLink Pushes for CLEC Treatment in Minnesota as Other States Eye Deregulation
                                                                                                                          (Communications Daily - Factiva, 03/13/2017)
3/14/2017 Tue    5,893,068   $23.34      $0.00 -0.51% -0.33%     -0.25%   -0.65%    0.14%      0.09 93.15%       $0.03    CenturyLink appoints new Colorado, regional execs (Denver Business Journal Online - Factiva,
                                                                                                                          03/14/2017)
                                                                                                                          CenturyLink to host special shareholder meeting (Theflyonthewall.com - Factiva, 03/14/2017)
                                                                                                                          District Of Arizona Grants CenturyLink's Spokeo Motion In FCRA Class Case (Mondaq Business
                                                                                                                          Briefing - Factiva, 03/14/2017)
                                                                                                                          Idaho settles lawsuits after failed broadband project (Idaho State Journal - Factiva, 03/14/2017)
                                                                                                                          Level 3 to host special shareholder meeting (Theflyonthewall.com - Factiva, 03/14/2017)
3/15/2017 Wed   10,642,838   $23.77      $0.00   1.84%   0.84%   0.80%    1.52%     0.32%       0.2 83.93%       $0.07    Ferris wheel, bungalows to return during CWS; MECA will consider making the ride free this year,
                                                                                                                          at a board member's suggestion (Omaha World-Herald - Factiva, 03/15/2017)
                                                                                                                          Telecommunication Companies; An Application for the Trademark "THINK GIG" Has Been Filed
                                                                                                                          by Qwest Communications International (Telecommunications Weekly - Factiva, 03/15/2017)

                                                                                                                          Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                          for "MONITORPARTNER" Filed (Telecommunications Weekly - Factiva, 03/15/2017)
                                                                                                                          Telecommunication Companies; Trademark Application for "NORTHWESTERN BELL" Filed by
                                                                                                                          Qwest Communications International (Telecommunications Weekly - Factiva, 03/15/2017)
                                                                                                                          Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                          Beneficial Ownership of Securities (Feb. 23, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                          03/15/2017)
                                                                                                                          Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                          Communications, Business Combinations (Feb. 27, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                          03/15/2017)
                                                                                                                          Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Feb. 23,
                                                                                                                          2017) (Telecommunications Weekly - Factiva, 03/15/2017)
                                                                                                                          Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Feb. 27,
                                                                                                                          2017) (Telecommunications Weekly - Factiva, 03/15/2017)
3/16/2017 Thu   10,728,969   $23.37      $0.00 -1.68% -0.16%     -0.14%   -0.34%   -1.34%     -0.85 39.62%       -$0.32   16:17 EDT CenturyLink, Level 3 shareholders approve mergerCenturyLink (CTL) and...
                                                                                                                          (Theflyonthewall.com - Factiva, 03/16/2017)
                                                                                                                          Centurylink and Level 3 shareholders approve merger (Reuters Significant Developments - Factiva,
                                                                                                                          03/16/2017)
                                                                                                                          CenturyLink, LEVEL 3 SHAREHOLDERS APPROVE MERGER AGREEMENT (TR Daily -
                                                                                                                          Factiva, 03/16/2017)
                                                                                                                          Level 3 and CenturyLink shareholders approve merger; Deal will "bring substantial operational
                                                                                                                          and service benefits to our enterprise customers." (The Denver Post - Factiva, 03/16/2017)
                                                                                                                          TRDaily - March 16, 2017 ROBOCALL-BLOCKING, CONTRABAND CELLPHONE ITEMS
                                                                                                                          TOP... (TR Daily - Factiva, 03/16/2017)




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                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                Events
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 03/16/2017)
                                                                                                                         CenturyLink and Level 3 shareholders approve merger (PR Newswire - Factiva, 03/16/2017 04:15
                                                                                                                         PM)
                                                                                                                         Press Release: CenturyLink and Level 3 shareholders approve merger (Dow Jones Institutional News
                                                                                                                         - Factiva, 03/16/2017 04:15 PM)
                                                                                                                         CenturyLink Takeover Gets Nod from Level 3 Holders -- Market Talk (Dow Jones Institutional
                                                                                                                         News - Factiva, 03/16/2017 04:51 PM)
                                                                                                                         CenturyLink Takeover Gets Nod from Level 3 Holders -- Market Talk (Dow Jones Institutional
                                                                                                                         News - Factiva, 03/16/2017 04:51 PM)
                                                                                                                         BRIEF-Centurylink and Level 3 shareholders approve merger (Reuters News - Factiva, 03/16/2017
                                                                                                                         05:11 PM)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 03/16/2017
                                                                                                                         05:11 PM)
3/17/2017 Fri   24,891,583   $23.65      $0.00   1.20% -0.13%   0.64%    0.14%     1.05%      0.67 50.41%       $0.25    Comcast, Charter Morphing Into Broadband-First Providers (Investor's Business Daily - Factiva,
                                                                                                                         03/17/2017)
                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 03/17/2017)
                                                                                                                         CenturyLink, Broomfield's Level 3 shareholders approve merger (Daily Camera - Factiva,
                                                                                                                         03/17/2017)
                                                                                                                         CenturyLink, Broomfield's Level 3 shareholders approve merger (U-Wire - Factiva, 03/17/2017)
                                                                                                                         CenturyLink, Broomfield's Level 3 shareholders approve merger (U-Wire - Factiva, 03/17/2017)
                                                                                                                         CenturyLink, Level 3 Receive Shareholder Nods for USD 34bn Merger (M&A Navigator - Factiva,
                                                                                                                         03/17/2017)
                                                                                                                         CenturyLink, Level 3 shareholders approve merger (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 03/17/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/17/2017)
                                                                                                                         Level 3 and CenturyLink shareholders OK merger (The Denver Post - Factiva, 03/17/2017)
                                                                                                                         MINNESOTA - Not all CenturyLink wire centers meet deregulation test, DoC says (TR's State
                                                                                                                         NewsWire - Factiva, 03/17/2017)
                                                                                                                         Movers & Shakers: Matt Rotter (The Gazette - Factiva, 03/17/2017)
                                                                                                                         Shareholders approve CenturyLink takeover of Level 3 (Telecompaper Americas - Factiva,
                                                                                                                         03/17/2017)
                                                                                                                         Shareholders approve CenturyLink-Level 3 merger (Capacity Magazine - Factiva, 03/17/2017)
                                                                                                                         Shareholders approve CenturyLink-Level 3 merger (Global Telecoms Business - Factiva, 03/17/2017)

                                                                                                                         Shareholders of CenturyLink, Level 3 approve merger (Denver Business Journal Online - Factiva,
                                                                                                                         03/17/2017)
                                                                                                                         Shareholders OK CenturyLink's acquisition of Level 3 (Omaha World-Herald - Factiva, 03/17/2017)

                                                                                                                         Trademarks; Qwest Communications International's Trademark Application for
                                                                                                                         "SMARTQUEST" Filed (Investment Weekly News - Factiva, 03/17/2017)
                                                                                                                         United States : CenturyLink and Level 3 shareholders approve merger (Khaleej Times - Factiva,
                                                                                                                         03/17/2017)




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                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Level 3 Files 8K - Other Events >LVLT (Dow Jones Institutional News - Factiva, 03/17/2017 04:16
                                                                                                                         PM)
3/18/2017 Sat                                                                                                            3 of the Most Undervalued Tech Stocks Today (U-Wire - Factiva, 03/18/2017)
                                                                                                                         CenturyLink, Level 3 Shareholders OK $34B Merger Deal (Cyprus Mail - Factiva, 03/18/2017)
                                                                                                                         Shareholders approve CenturyLink`s acquisition of Level 3 (Mmegi - Factiva, 03/18/2017)
                                                                                                                         United States : CenturyLink and Level 3 shareholders approve merger (Investing.com - Factiva,
                                                                                                                         03/18/2017)
3/19/2017 Sun
3/20/2017 Mon    8,138,955   $23.64      $0.00 -0.04% -0.20%    -0.22%   -0.45%    0.41%      0.26 79.59%       $0.10    EPIX and CenturyLink Reach Carriage Agreement (Business Wire - Factiva, 03/20/2017 10:30 AM)

                                                                                                                         Press Release: EPIX and CenturyLink Reach Carriage Agreement (Dow Jones Institutional News -
                                                                                                                         Factiva, 03/20/2017 10:34 AM)
3/21/2017 Tue    7,234,732   $23.36      $0.00 -1.18% -1.23%    0.29%    -1.53%    0.34%      0.22 82.70%       $0.08    Epix, CenturyLink Sign Carriage Agreement (Warren's Consumer Electronics Daily - Factiva,
                                                                                                                         03/21/2017)
                                                                                                                         CenturyLink Joins NetApp Unified Partner Program (Canada NewsWire - Factiva, 03/21/2017 09:00
                                                                                                                         AM)
                                                                                                                         CenturyLink Joins NetApp Unified Partner Program (PR Newswire - Factiva, 03/21/2017 09:00 AM)

                                                                                                                         Press Release: CenturyLink Joins NetApp Unified Partner Program (Dow Jones Institutional News -
                                                                                                                         Factiva, 03/21/2017 09:00 AM)
                                                                                                                         Press Release: CenturyLink Joins NetApp Unified Partner Program (Dow Jones Institutional News -
                                                                                                                         Factiva, 03/21/2017 09:00 AM)
3/22/2017 Wed   12,577,325   $22.81      $0.00 -2.35%   0.19%   -1.16%   -0.51%   -1.84%     -1.17 24.31%       -$0.43   05:35 EDT Frontier Communications downgraded to Sell from Neutral at... (Theflyonthewall.com -
                                                                                                                         Factiva, 03/22/2017)
                                                                                                                         Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                         Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 03/22/2017)

                                                                                                                         CenturyLink, Frontier Seek 'Nondominant' FCC Treatment of Telco BDS Offerings
                                                                                                                         (Communications Daily - Factiva, 03/22/2017)
                                                                                                                         CenturyLink, Frontier Seek 'Nondominant' FCC Treatment of Telco BDS Offerings (Warren's
                                                                                                                         Washington Internet Daily - Factiva, 03/22/2017)
                                                                                                                         Council discusses possible internet improvements options for Ames (The Tribune - Factiva,
                                                                                                                         03/22/2017)
                                                                                                                         IDAHO - PUC agrees to allow CenturyLink to discontinue filing of PAP reports (TR's State
                                                                                                                         NewsWire - Factiva, 03/22/2017)
                                                                                                                         Moodyâ€™s Analyst Report (Capital IQ - Manual Entry, 03/22/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                         Communications, Business Combinations (Mar. 2, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                         03/22/2017)
                                                                                                                         Telephone Communications; Qwest Corp. Files SEC Form 10-K, Annual Report [Section 13 And
                                                                                                                         15(D), Not S-k Item 405] (Mar. 2, 2017) (Telecommunications Weekly - Factiva, 03/22/2017)
                                                                                                                         Trademarks; An Application for the Trademark "GET QWEST. GET NIMBLE." Has Been Filed
                                                                                                                         by Qwest Communications International (Telecommunications Weekly - Factiva, 03/22/2017)
                                                                                                                         Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 03/22/2017)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        BUZZ-Goldman Sachs points to U.S. telcos 'wireline woes' (Reuters News - Factiva, 03/22/2017 11:12
                                                                                                                        AM)
                                                                                                                        Goldman Says Sell Frontier, Windstream and CenturyLink -- Barron's Blog (Dow Jones
                                                                                                                        Institutional News - Factiva, 03/22/2017 12:51 PM)
3/23/2017 Thu   6,887,351   $22.64      $0.00 -0.75% -0.10%    -0.02%   -0.22%   -0.53%     -0.33 73.91%       -$0.12   Analyst cuts Frontier on dividend payment concerns (SNL Kagan Media & Communications Report -
                                                                                                                        Factiva, 03/23/2017)
                                                                                                                        CenturyLink Boards NetAppÃ¢â‚¬â„¢s Unified Partner Program (ChannelTimes.com - Factiva,
                                                                                                                        03/23/2017)
                                                                                                                        CenturyLink deploys virtual gateway in CORD adoption (Telecompaper Americas - Factiva,
                                                                                                                        03/23/2017)
                                                                                                                        CenturyLink is first carrier to use its vBNG to deliver broadband services on the CORD platform
                                                                                                                        (ENP Newswire - Factiva, 03/23/2017)
                                                                                                                        Former Steelheads returning to Boise, including one with his old, crusty hockey gear (The Idaho
                                                                                                                        Statesman - Factiva, 03/23/2017)
                                                                                                                        State Telecom (Communications Daily - Factiva, 03/23/2017)
                                                                                                                        United States : CenturyLink is first carrier to use its vBNG to deliver broadband services on the
                                                                                                                        CORD platform (Khaleej Times - Factiva, 03/23/2017)
                                                                                                                        United States : CenturyLink Joins NetApp Unified Partner Program (Khaleej Times - Factiva,
                                                                                                                        03/23/2017)
                                                                                                                        CenturyLink Schedules First Quarter 2017 Earnings Conference Call (PR Newswire - Factiva,
                                                                                                                        03/23/2017 04:18 PM)
                                                                                                                        Press Release: CenturyLink Schedules First Quarter 2017 Earnings Conference Call (Dow Jones
                                                                                                                        Institutional News - Factiva, 03/23/2017 04:18 PM)
3/24/2017 Fri   5,890,158   $22.76      $0.00   0.53% -0.08%   0.19%    -0.08%    0.61%      0.38 70.16%       $0.14    Agencies (Warren's Washington Internet Daily - Factiva, 03/24/2017)
                                                                                                                        EQUESTRIAN WORLD CUP; Horses on way, hotels make hay; Hospitality industry has spring in
                                                                                                                        its step in normally slow season (Omaha World-Herald - Factiva, 03/24/2017)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/24/2017)
3/25/2017 Sat                                                                                                           O'Reilly recalls Trump's 'pretty good attitude' for campaign; Fox host tells thousands at
                                                                                                                        CenturyLink Center that president wasn't too concerned about losing (Omaha World-Herald -
                                                                                                                        Factiva, 03/25/2017)
3/26/2017 Sun                                                                                                           WORLD CUP FINALS; Grooming them for competition; Handlers responsible for keeping horses
                                                                                                                        happy welcome animals' arrival in Omaha (Omaha World-Herald - Factiva, 03/26/2017)
                                                                                                                        World Cup horses arrive in Omaha, settle in to CenturyLink Center after 11-hour transatlantic
                                                                                                                        flight (Cherokee Tribune - Factiva, 03/26/2017)
                                                                                                                        World Cup horses arrive in Omaha, settle in to CenturyLink Center after 11-hour transatlantic
                                                                                                                        flight (St. Joseph News-Press - Factiva, 03/26/2017)
3/27/2017 Mon   9,057,861   $22.61      $0.00 -0.66% -0.10%    -0.66%   -0.64%   -0.02%     -0.01 99.16%       $0.00    SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                        CENTURYLINK AND CENTURYLINK COMMUNICATIONS (US Fed News - Factiva,
                                                                                                                        03/27/2017)
3/28/2017 Tue   7,325,754   $22.52      $0.00 -0.40%   0.73%   -0.25%   0.76%    -1.16%     -0.73 46.46%       -$0.26   COLORADO - PUC slates prehearing in Level 3-CenturyLink merger review case (TR's State
                                                                                                                        NewsWire - Factiva, 03/28/2017)
                                                                                                                        FANS' GUIDE TO THE FEI WORLD CUP; Hoof it to horse mecca (Omaha World-Herald - Factiva,
                                                                                                                        03/28/2017)
                                                                                                                        What could gigabit speeds do for a Johnston County town? (Triangle Business Journal - Factiva,
                                                                                                                        03/28/2017)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                   Events

3/29/2017 Wed   8,208,235   $23.09      $0.00   2.53%   0.13%   -0.28%   -0.09%    2.62%      1.66   9.93%       $0.59    08:04 EDT CenturyLink resumed with an Overweight at Morgan StanleyMorgan Stanley...
                                                                                                                          (Theflyonthewall.com - Factiva, 03/29/2017)
                                                                                                                          CenturyLink deploys virtualized broadband network gateway based on CORD (National Iraqi News
                                                                                                                          Agency - Factiva, 03/29/2017)
                                                                                                                          CenturyLink telephone outage reported in Asheboro (The Courier-Tribune - Factiva, 03/29/2017)
                                                                                                                          COLORADO - Hearing on 911 complaint against CenturyLink slated for September (TR's State
                                                                                                                          NewsWire - Factiva, 03/29/2017)
                                                                                                                          Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 03/29/2017)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 03/29/2017)
                                                                                                                          Nebraska bids to host Frozen Four in Omaha (The Grand Island Independent - Factiva, 03/29/2017)

                                                                                                                          Stocks winners & losers: First Solar, Taser down; LULU drops after hours; Amazon up $18,
                                                                                                                          VRNT. Apple hit new highs (Phoenix Business Journal Online - Factiva, 03/29/2017)
                                                                                                                          Research Reports on Telecom Services Equities -- AT&T, Frontier Communications, Verizon
                                                                                                                          Communications, and CenturyLink (PR Newswire - Factiva, 03/29/2017 06:30 AM)
                                                                                                                          CenturyLink Foundation programs drive more than $7.5 million in 2016 (PR Newswire - Factiva,
                                                                                                                          03/29/2017 08:30 AM)
3/30/2017 Thu   7,466,212   $23.41      $0.00   1.39%   0.30%   0.23%    0.48%     0.90%      0.57 57.25%        $0.21    FCC to vote to reform $45 billion business data market (Futures - Factiva, 03/30/2017)
                                                                                                                          CenturyLink Foundation contributes USD 7.5 mln in 2016 (Telecompaper Americas - Factiva,
                                                                                                                          03/30/2017)
                                                                                                                          CenturyLink implements vBNG to deliver broadband services using CORD model (Optical
                                                                                                                          Networks Daily - Factiva, 03/30/2017)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for Auto Discovery and Auto Provisioning
                                                                                                                          of Set Top Boxes (USPTO 9602775) (Politics & Government Week - Factiva, 03/30/2017)

                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for Automated Data Center (USPTO
                                                                                                                          9597801) (Politics & Government Week - Factiva, 03/30/2017)
                                                                                                                          COLLEGE HOCKEY; NU bids to host Frozen Four in Omaha; School also aims to bring
                                                                                                                          volleyball, wrestling back to CenturyLink Center (Omaha World-Herald - Factiva, 03/30/2017)
                                                                                                                          Damaged fiber repaired; phone service restored (The Courier-Tribune - Factiva, 03/30/2017)
                                                                                                                          FEI WORLD CUP FINALS; Iowa native gets shot to ride close to home (Omaha World-Herald -
                                                                                                                          Factiva, 03/30/2017)
                                                                                                                          U.S. FCC to vote to reform $45 billion business data market (Reuters News - Factiva, 03/30/2017
                                                                                                                          03:36 PM)
                                                                                                                          FCC to vote to reform $45 billion business data market (Reuters News - Factiva, 03/30/2017 04:03
                                                                                                                          PM)
3/31/2017 Fri   7,533,614   $23.57      $0.00   0.68% -0.23%    -0.36%   -0.59%    1.28%       0.8 42.62%        $0.30    James E. Ousley of Identiv in top 10% of NASDAQ Chairmen Scorecard for past year (People in
                                                                                                                          Business - Factiva, 03/31/2017)
                                                                                                                          EPIX; EPIX and CenturyLink Reach Carriage Agreement (Entertainment Newsweekly - Factiva,
                                                                                                                          03/31/2017)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 03/31/2017)
                                                                                                                          States (Warren's Washington Internet Daily - Factiva, 03/31/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
    [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
   Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                         United States : CenturyLink Foundation programs drive more than $7.5 million in 2016 (Al-Bawaba
                                                                                                                         News - Factiva, 03/31/2017)
                                                                                                                         UTAH - CenturyLink seeks modification to PAP reporting requirements (TR's State NewsWire -
                                                                                                                         Factiva, 03/31/2017)
                                                                                                                         Wireline (Communications Daily - Factiva, 03/31/2017)
4/1/2017 Sat                                                                                                             CenturyLink, Inc .; Level 3 Communications, Inc . CenturyLink and Level 3 shareholders approve
                                                                                                                         merger (Investment Weekly News - Factiva, 04/01/2017)
                                                                                                                         Canaccord Likes Spiffed-Up Darden Restaurants (Barron's Online - Factiva, 04/01/2017 12:29 AM)

4/2/2017 Sun
4/3/2017 Mon    6,992,549   $23.60      $0.00   0.13% -0.16%    0.48%    0.01%     0.12%      0.08 93.96%       $0.03    Agencies (Warren's Washington Internet Daily - Factiva, 04/03/2017)
                                                                                                                         CenturyLink consolidates Denver operations as Healthgrades expands; Healthgrades will take over
                                                                                                                         85,000 square feet. (The Denver Post - Factiva, 04/03/2017)
                                                                                                                         CenturyLink to vacate 1801 California skyscraper in downtown Denver (Denver Business Journal
                                                                                                                         Online - Factiva, 04/03/2017)
                                                                                                                         Research Reports --- How Analysts Size Up Companies (Barron's - Factiva, 04/03/2017)
                                                                                                                         Wireline (Communications Daily - Factiva, 04/03/2017)
                                                                                                                         Synacor Files 8K - Entry Into Definitive Agreement >SYNC (Dow Jones Institutional News - Factiva,
                                                                                                                         04/03/2017 05:21 PM)
4/4/2017 Tue   12,820,344   $23.96      $0.00   1.53%   0.07%   0.37%    0.26%     1.26%       0.8 42.28%       $0.30    CenturyLink, Inc. (MarketResearch.com - Factiva, 04/04/2017)
                                                                                                                         Level 3 Communications, Inc (MarketResearch.com - Factiva, 04/04/2017)
                                                                                                                         CenturyLink to provide EagleForce technology to government agencies (Theflyonthewall.com -
                                                                                                                         Factiva, 04/04/2017)
                                                                                                                         DISTRICT OF COLUMBIA - PSC approves CenturyLink-Level 3 deal (TR's State NewsWire -
                                                                                                                         Factiva, 04/04/2017)
                                                                                                                         States (Warren's Washington Internet Daily - Factiva, 04/04/2017)
                                                                                                                         CenturyLink Foundation awards $1.4 million in technology grants across 34 states (PR Newswire -
                                                                                                                         Factiva, 04/04/2017 08:30 AM)
                                                                                                                         Press Release: CenturyLink Foundation awards $1.4 million in technology grants across 34 states
                                                                                                                         (Dow Jones Institutional News - Factiva, 04/04/2017 08:30 AM)
                                                                                                                         CenturyLink signs agreement with EagleForce Associates to provide government agencies with real-
                                                                                                                         time monitoring of opioid prescriptions (PR Newswire - Factiva, 04/04/2017 09:02 AM)
                                                                                                                         Press Release: CenturyLink signs agreement with EagleForce Associates to provide government
                                                                                                                         agencies with real-time monitoring of opioid prescriptions (Dow Jones Institutional News - Factiva,
                                                                                                                         04/04/2017 09:02 AM)
                                                                                                                         BRIEF-CenturyLink signs agreement to provide real-time monitoring of opioid prescriptions
                                                                                                                         (Reuters News - Factiva, 04/04/2017 09:29 AM)
4/5/2017 Wed   12,561,386   $24.21      $0.00   1.04% -0.30%    -0.24%   -0.66%    1.70%      1.09 28.00%       $0.41    CenturyLink melds Denver operations (The Denver Post - Factiva, 04/05/2017)
                                                                                                                         CenturyLink, EagleForce to Help Agencies Monitor Prescription Drug Use, Abuse (Warren's
                                                                                                                         Consumer Electronics Daily - Factiva, 04/05/2017)
                                                                                                                         MARKEY, OTHERS ASK BROADBAND PROVIDERS TO ADHERE TO RESCINDED
                                                                                                                         PRIVACY RULES (TR Daily - Factiva, 04/05/2017)
                                                                                                                         MINNESOTA - PUC to hold oral argument on CenturyLink dereg petition (TR's State NewsWire -
                                                                                                                         Factiva, 04/05/2017)



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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events

                                                                                                                         Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 04/05/2017)
                                                                                                                         Sadif Analytics Analyst Report (Eikon - Manual Entry, 04/05/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                         Communications, Business Combinations (Mar. 16, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                         04/05/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Mar. 16,
                                                                                                                         2017) (Telecommunications Weekly - Factiva, 04/05/2017)
                                                                                                                         United States : CenturyLink Foundation awards $1.4 million in technology grants across 34 states
                                                                                                                         (Yemen Times - Factiva, 04/05/2017)
                                                                                                                         United States : CenturyLink signs agreement with EagleForce Associates to provide government
                                                                                                                         agencies with real-time monitoring of opioid prescriptions (Ethiopian News Agency - ENA - Factiva,
                                                                                                                         04/05/2017)
 4/6/2017 Thu   7,640,759   $24.46      $0.00   1.03%   0.22%   -0.65%   -0.16%    1.20%      0.76 44.98%       $0.29    COLORADO - Staff sees final decision in CenturyLink-Level 3 merger in August (TR's State
                                                                                                                         NewsWire - Factiva, 04/06/2017)
                                                                                                                         IOWA - IUB accepts CenturyLink's plan to address service quality (TR's State NewsWire - Factiva,
                                                                                                                         04/06/2017)
                                                                                                                         S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 04/06/2017)
                                                                                                                         Trademarks; Trademark Application for "GET QWEST. GET NIMBLE." Filed by Qwest
                                                                                                                         Communications International (Computer Weekly News - Factiva, 04/06/2017)
                                                                                                                         Wireline (Communications Daily - Factiva, 04/06/2017)
 4/7/2017 Fri   9,662,269   $24.54      $0.00   0.33% -0.08%    0.26%    0.01%     0.32%       0.2 84.07%       $0.08    IOWA - Parties protest Wide Voice's application for operating authority (TR's State NewsWire -
                                                                                                                         Factiva, 04/07/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/07/2017)
 4/8/2017 Sat
 4/9/2017 Sun
4/10/2017 Mon   8,136,814   $24.87      $0.00   1.34%   0.07%   -0.36%   -0.16%    1.51%      0.95 34.25%       $0.37    CenturyLink, Inc. CenturyLink Foundation programs drive more than $7.5 million in 2016 (Journal
                                                                                                                         of Engineering - Factiva, 04/10/2017)
                                                                                                                         09:03 EDT CenturyLink wins $6M GSA contract CenturyLink recently won a contract...
                                                                                                                         (Theflyonthewall.com - Factiva, 04/10/2017)
                                                                                                                         CenturyLink's chairman to step down as Level 3 merger approaches (Denver Business Journal -
                                                                                                                         Factiva, 04/10/2017)
                                                                                                                         EXCLUSIVE: CenturyLink Chairman William A. Owens , a Kirkland resident, to step down (Puget
                                                                                                                         Sound Business Journal - Factiva, 04/10/2017)
                                                                                                                         Wireline (Communications Daily - Factiva, 04/10/2017)
                                                                                                                         CenturyLink wins $6 million GSA contract (PR Newswire - Factiva, 04/10/2017 09:02 AM)
                                                                                                                         Press Release: CenturyLink wins $6 million GSA contract (Dow Jones Institutional News - Factiva,
                                                                                                                         04/10/2017 09:02 AM)
4/11/2017 Tue   8,899,935   $24.90      $0.00   0.12% -0.13%    0.16%    -0.11%    0.23%      0.14 88.51%       $0.06    CenturyLink Investment Management Co Has $2,351,000 Position in Yahoo! Inc. (YHOO) (Cyprus
                                                                                                                         Mail - Factiva, 04/11/2017)
                                                                                                                         CenturyLink wins USD 6 mln contract from GSA (Telecompaper Americas - Factiva, 04/11/2017)
                                                                                                                         Omaha to potentially host Frozen Four at the CenturyLink Center - Gateway (U-Wire - Factiva,
                                                                                                                         04/11/2017)
                                                                                                                         Wireline (Communications Daily - Factiva, 04/11/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
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                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 04/11/2017)
4/12/2017 Wed   10,806,222   $25.14      $0.00   0.96% -0.37%   0.81%    -0.03%    1.00%      0.63 53.05%       $0.25    09:08 EDT CenturyLink and Level 3's merger approved by Delaware, Hawaii,...
                                                                                                                         (Theflyonthewall.com - Factiva, 04/12/2017)
                                                                                                                         Briefs: Abagnale, CenturyLink, Aspen, masks (The Salt Lake Tribune - Factiva, 04/12/2017)
                                                                                                                         CenturyLink & Level 3 Expect To Complete Merger By Sept. 30, 2017 - Quick Facts (RTT News -
                                                                                                                         Factiva, 04/12/2017)
                                                                                                                         CenturyLink Gets GSA VoIP Contract (Kabulpress.org - Factiva, 04/12/2017)
                                                                                                                         CenturyLink Intellectual Property LLC; Patent Issued for Air Distribution Units for
                                                                                                                         Telecommunication Equipment (USPTO 9609788) (Telecommunications Weekly - Factiva,
                                                                                                                         04/12/2017)
                                                                                                                         CenturyLink lands GSA Federal Acquisition Service VoIP contract (Mubasher - Factiva, 04/12/2017)

                                                                                                                         CenturyLink says Delaware, Hawaii, Maryland and District of Columbia approve company's level
                                                                                                                         3 merger (Reuters Significant Developments - Factiva, 04/12/2017)
                                                                                                                         CenturyLink wins $6 million GSA contract (Jordan News Agency (Petra) - Factiva, 04/12/2017)
                                                                                                                         MORE STATES APPROVE CenturyLink-LEVEL 3 MERGER (TR Daily - Factiva, 04/12/2017)
                                                                                                                         REGIONAL - More states approve CenturyLink-Level 3 merger (TR's State NewsWire - Factiva,
                                                                                                                         04/12/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                         Beneficial Ownership of Securities (Mar. 24, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                         04/12/2017)
                                                                                                                         Delaware, Hawaii, Maryland and D.C. approve CenturyLink - Level 3 merger (PR Newswire -
                                                                                                                         Factiva, 04/12/2017 09:02 AM)
                                                                                                                         Press Release: Delaware, Hawaii, Maryland and D.C. approve CenturyLink - Level 3 merger (Dow
                                                                                                                         Jones Institutional News - Factiva, 04/12/2017 09:02 AM)
                                                                                                                         BRIEF-CenturyLink says Delaware, Hawaii, Maryland and District of Columbia approve
                                                                                                                         company's level 3 merger (Reuters News - Factiva, 04/12/2017 09:25 AM)
4/13/2017 Thu    9,958,699   $25.12      $0.00 -0.08% -0.68%    -0.20%   -1.09%    1.01%      0.64 52.30%       $0.26    CenturyLink Offers Gigabit Service to More Than 13,000 Businesses Across Utah (Khaleej Times -
                                                                                                                         Factiva, 04/13/2017)
                                                                                                                         CenturyLink REQUESTS LIMITED STAY OF ICC TRANSITION RULES (TR Daily - Factiva,
                                                                                                                         04/13/2017)
                                                                                                                         CenturyLink wins VoIP contract potentially worth $6 million-plus (Kuwait Times - Factiva,
                                                                                                                         04/13/2017)
                                                                                                                         CenturyLink/Level 3 merger receives more state approvals (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 04/13/2017)
                                                                                                                         COLORADO - CenturyLink, Level 3 want PUC to speed up merger review (TR's State NewsWire -
                                                                                                                         Factiva, 04/13/2017)
                                                                                                                         Courts (Warren's Washington Internet Daily - Factiva, 04/13/2017)
                                                                                                                         Delaware, Hawaii, Maryland and DC Regulators Clear USD 34bn CenturyLink, Level 3 Tie-Up
                                                                                                                         (M&A Navigator - Factiva, 04/13/2017)
                                                                                                                         State Telecom (Communications Daily - Factiva, 04/13/2017)




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     [1]          [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                         Excess                                          Abnormal
                                                 Market Industry Predicted Abnormal                        Price
    Date        Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                    TR Daily - April 13, 2017 T-MOBILE, DISH, COMCAST LARGEST AUCTION WINNERS FCC
                                                                                                                    RELEASES UPDATED TVSTUDY SOFTWARE CONSENT AGENDA JOINS BDS,
                                                                                                                    BROADBAND DEPLOYMENT, OTHER ITEMS ON FCC Ã¢â‚¬ËœSUNSHINEÃ¢â‚¬â„¢
                                                                                                                    MEETING NOTICE TELECOM ENTITIES STRESS POTENTIAL OF CELLULAR
                                                                                                                    TECHNOLOGY FOR V2V APPLICATIONS SATELLITE COMPANIES PROPOSE
                                                                                                                    CONSENSUS ON USE OF BANDS RWA ASKS FCC TO BOOST MFII SPEED THRESHOLD
                                                                                                                    FOR ELIGIBILITY EFF URGES LIMITS ON ACCEPTABLE USE POLICIES FOR SCHOOL-
                                                                                                                    ISSUED DEVICES CenturyLink REQUESTS LIMITED STAY OF ICC TRANSITION RULES
                                                                                                                    U.S. REPORTS OF ELECTION INTERFERENCE SEEN AS Ã¢â‚¬ËœSLANDEROUSÃ¢â‚¬â„¢
                                                                                                                    BY RUSSIAN OFFICIAL U.S. RESPONSE TO ELECTION MEDDLING TOO SLOW, FORMER
                                                                                                                    DoJ OFFICIAL SAYS SWISS-U.S. PRIVACY SHIELD FRAMEWORK OPEN FOR
                                                                                                                    COMPANIESÃ¢â‚¬â„¢ COMPLIANCE SELF-CERTIFICATIONS AT&T ANNOUNCES
                                                                                                                    BILLIONTH BLOCKED CALL UNDER NEW ROBOCALL ANALYTICS PROGRAM FCC CGB
                                                                                                                    CHIEF (TR D il F ti 04/13/2017)
                                                                                                                    United States : Delaware, Hawaii, Maryland and D.C. approve CenturyLink - Level 3 merger
                                                                                                                    (Jpost.com (The Jerusalem Post online edition) - Factiva, 04/13/2017)
                                                                                                                    Up and coming country star to play CenturyLink Center (Shreveport Times - Factiva, 04/13/2017)
                                                                                                                    US CenturyLink wins more regulatory nods for takeover of Level 3 Communications (SeeNews
                                                                                                                    America - Factiva, 04/13/2017)
                                                                                                                    What do Tom Benson, Lamar Advertising and CenturyLink have in common? (The Advocate -
                                                                                                                    Factiva, 04/13/2017)
                                                                                                                    What do Tom Benson, Lamar Advertising and CenturyLink have in common? (The New Orleans
                                                                                                                    Advocate - Factiva, 04/13/2017)
                                                                                                                    US CenturyLink wins more regulatory nods for takeover of Level 3 Communications (SeeNews
                                                                                                                    Deals - Factiva, 04/13/2017 08:37 AM)
                                                                                                                    BRIEF-CenturyLink says CEO Glen Posttotal 2016 compensation was $13.97 mln (Reuters News -
                                                                                                                    Factiva, 04/13/2017 05:04 PM)
4/14/2017 Fri                                                                                                       CenturyLink, Inc. CenturyLink signs agreement with EagleForce Associates to provide government
                                                                                                                    agencies with real-time monitoring of opioid prescriptions (Insurance Weekly News - Factiva,
                                                                                                                    04/14/2017)
                                                                                                                    CenturyLink asks stockholders to vote against shareholder proposals (SNL Kagan Media &
                                                                                                                    Communications Report - Factiva, 04/14/2017)
                                                                                                                    CenturyLink Intellectual Property LLC; Patent Issued for Method, Apparatus and System for
                                                                                                                    Incorporating Voice Or Video Communication into a Television Or Compatible Audio Capable
                                                                                                                    Visual Display (USPTO 9615055) (Entertainment Newsweekly - Factiva, 04/14/2017)
                                                                                                                    CenturyLink Offers 1 Gbps to 13,000 Utah Businesses (Jpost.com (The Jerusalem Post online edition) -
                                                                                                                    Factiva, 04/14/2017)
                                                                                                                    CenturyLink, Level 3 Get 4 Additional State Clearances for $34B Merger Deal (Arab Times -
                                                                                                                    Factiva, 04/14/2017)
                                                                                                                    Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/14/2017)
                                                                                                                    State Telecom (Communications Daily - Factiva, 04/14/2017)
                                                                                                                    (PR) John DeLozier, vice president of CenturyLink Channel Alliances, honored by Channel
                                                                                                                    Partners magazine with 2017 Circle of Excellence award (PR Newswire - Factiva, 04/14/2017 09:00
                                                                                                                    AM)
                                                                                                                    John DeLozier, vice president of CenturyLink Channel Alliances, honored by Channel Partners
                                                                                                                    magazine with 2017 Circle of Excellence award (Canada NewsWire - Factiva, 04/14/2017 09:00 AM)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                          Press Release: John DeLozier, vice president of CenturyLink Channel Alliances, honored by
                                                                                                                          Channel Partners magazine with 2017 Circle of Excellence award (Dow Jones Institutional News -
                                                                                                                          Factiva, 04/14/2017 09:00 AM)
4/15/2017 Sat                                                                                                             CenturyLink phone services down for over a week (The Hawk Eye - Factiva, 04/15/2017)
                                                                                                                          CenturyLink, Level 3 Get 4 Additional State Clearances for Planned $34B Merger (The Ghanaian
                                                                                                                          Times - Factiva, 04/15/2017)
4/16/2017 Sun
4/17/2017 Mon    7,318,113   $25.30      $0.00   0.72%   0.86%   -0.32%   0.93%    -0.21%     -0.13 89.43%       -$0.05   CenturyLink, Inc. CenturyLink Foundation awards $1.4 million in technology grants across 34
                                                                                                                          states (Journal of Engineering - Factiva, 04/17/2017)
                                                                                                                          MINNESOTA - PUC slates vote on CenturyLink deregulation petition (TR's State NewsWire -
                                                                                                                          Factiva, 04/17/2017)
                                                                                                                          WASHINGTON - UTC revises schedule in CenturyLink-Level 3 merger case (TR's State NewsWire -
                                                                                                                          Factiva, 04/17/2017)
                                                                                                                          Wireline (Communications Daily - Factiva, 04/17/2017)
4/18/2017 Tue    7,294,946   $25.06      $0.00 -0.95% -0.29%     0.47%    -0.09%   -0.86%     -0.55 58.47%       -$0.22   Moody's rates Qwest Corp. new notes Ba1 (Moody's Investors Service Press Release - Factiva,
                                                                                                                          04/18/2017)
                                                                                                                          CenturyLink eyes APAC managed security market (Yedioth Ahronoth - Factiva, 04/18/2017)
                                                                                                                          COLORADO - CenturyLink urges PUC to maintain HCSM reserve (TR's State NewsWire - Factiva,
                                                                                                                          04/18/2017)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 04/18/2017)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 04/18/2017)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 04/18/2017)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 04/18/2017)
                                                                                                                          CenturyLink program recycles more than 12 million pounds (PR Newswire - Factiva, 04/18/2017
                                                                                                                          09:00 AM)
                                                                                                                          Press Release: CenturyLink program recycles more than 12 million pounds (Dow Jones Institutional
                                                                                                                          News - Factiva, 04/18/2017 09:00 AM)
                                                                                                                          *S&PGR Rates Qwest Corp. Sr Unsecured Notes 'BBB-' (Recov: 1) (Dow Jones Institutional News -
                                                                                                                          Factiva, 04/18/2017 11:30 AM)
                                                                                                                          *Fitch Maintains CenturyLink's 'BB+' IDR on Negative Watch; Rates Qwest Corp.'s Sr. Notes
                                                                                                                          'BBB-/RR2' (Dow Jones Institutional News - Factiva, 04/18/2017 05:58 PM)
                                                                                                                          Fitch Maintains CenturyLink's 'BB+' IDR on Negative Watch; Rates Qwest Corp.'s Sr. Notes 'BBB-
                                                                                                                          /RR2' (Reuters News - Factiva, 04/18/2017 05:58 PM)
                                                                                                                          Qwest Corporation Agrees To Sell Debt Securities (PR Newswire - Factiva, 04/18/2017 06:34 PM)
                                                                                                                          Press Release: Qwest Corporation Agrees To Sell Debt Securities (Dow Jones Institutional News -
                                                                                                                          Factiva, 04/18/2017 06:34 PM)
4/19/2017 Wed   11,207,568   $25.29      $0.00   0.92% -0.16%    -0.10%   -0.35%    1.27%      0.81 41.86%       $0.32    Qwest Corp agrees to sell debt securities (Reuters Significant Developments - Factiva, 04/19/2017)

                                                                                                                          Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 04/19/2017)

                                                                                                                          CenturyLink expands fiber gigabit services to Utah businesses (Kuwait News Agency (KUNA) -
                                                                                                                          Factiva, 04/19/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         NEBRASKA - PSC partially revises order allowing online telephone number directories (TR's State
                                                                                                                         NewsWire - Factiva, 04/19/2017)
                                                                                                                         Omaha lands 2020 volleyball final four; CenturyLink Center also to host early rounds of NCAA
                                                                                                                         basketball tourney (Omaha World-Herald - Factiva, 04/19/2017)
                                                                                                                         Wireline (Communications Daily - Factiva, 04/19/2017)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 04/19/2017
                                                                                                                         02:43 PM)
4/20/2017 Thu   8,716,160   $25.49      $0.00   0.79%   0.76%   -0.77%   0.40%     0.39%      0.25 80.18%       $0.10    12:19 EDT FCC seeks public comment on steps to ease broadband deployment...
                                                                                                                         (Theflyonthewall.com - Factiva, 04/20/2017)
                                                                                                                         Extra fee may add to CenturyLink Center ticket cost (Shreveport Times - Factiva, 04/20/2017)
                                                                                                                         IOWA - IUB to hold hearing on Wide Voice's application for operating authority (TR's State
                                                                                                                         NewsWire - Factiva, 04/20/2017)
                                                                                                                         UPDATE 2-U.S. FCC scraps most business data service regulations (Reuters News - Factiva,
                                                                                                                         04/20/2017 02:29 PM)
4/21/2017 Fri   7,432,209   $25.32      $0.00 -0.67% -0.30%     -1.35%   -1.50%    0.83%      0.53 59.69%       $0.21    CenturyLink, Inc. Delaware, Hawaii, Maryland and D.C. approve CenturyLink - Level 3 merger
                                                                                                                         (Investment Weekly News - Factiva, 04/21/2017)
                                                                                                                         Barclays Analyst Report (Capital IQ - Manual Entry, 04/21/2017)
                                                                                                                         Barclays Analyst Report (Eikon - Manual Entry, 04/21/2017)
                                                                                                                         CenturyLink Center; Extra fee may add to event ticket cost (The News-Star - Factiva, 04/21/2017)
                                                                                                                         CenturyLink gains leeway to raise rates // Regulators approved the request to become mostly
                                                                                                                         deregulated. (Star-Tribune - Factiva, 04/21/2017)
                                                                                                                         CenturyLink Gets CLEC Treatment in 104 Minnesota Exchanges (Communications Daily - Factiva,
                                                                                                                         04/21/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/21/2017)
                                                                                                                         MINNESOTA - PUC approves CenturyLink's deregulation petition (TR's State NewsWire - Factiva,
                                                                                                                         04/21/2017)
                                                                                                                         Scottsdale tech call center support company hiring 120 to keep up with growth (Phoenix Business
                                                                                                                         Journal Online - Factiva, 04/21/2017)
                                                                                                                         Telecommunication Companies; Qwest Communications International's Trademark Application
                                                                                                                         for "SWITCHNET 56" Filed (Investment Weekly News - Factiva, 04/21/2017)
                                                                                                                         Telecommunication Companies; Trademark Application for "QWEST@EASE" Filed by Qwest
                                                                                                                         Communications International (Investment Weekly News - Factiva, 04/21/2017)
4/22/2017 Sat                                                                                                            Betsy J. Bernard of Zimmer Biomet in third quartile of NYSE Director Scorecard for past year
                                                                                                                         (People in Business - Factiva, 04/22/2017)
                                                                                                                         3 Dividend Stocks That Retirees Should Avoid (U-Wire - Factiva, 04/22/2017)
4/23/2017 Sun                                                                                                            DJ CenturyLink Inc, Inst Holders, 1Q 2017 (CTL) (Dow Jones Institutional News - Factiva,
                                                                                                                         04/23/2017 03:14 AM)
4/24/2017 Mon   7,725,596   $25.45      $0.00   0.51%   1.09%   -0.77%   1.05%    -0.53%     -0.41 68.45%       -$0.14   CenturyLink, Inc. CenturyLink wins $6 million GSA contract (Journal of Engineering - Factiva,
                                                                                                                         04/24/2017)
                                                                                                                         CenturyLink simplifies broadband tier pricing in Nevada, eliminates broadband recovery fee
                                                                                                                         (Khaleej Times - Factiva, 04/24/2017)
                                                                                                                         County: CenturyLink leaving damage, mess at work sites (Muscatine Journal - Factiva, 04/24/2017)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events
                                                                                                                          INPUT SOUGHT ON CenturyLink PETITION FOR LIMITED STAY OF ICC TRANSITION
                                                                                                                          RULES (TR Daily - Factiva, 04/24/2017)
                                                                                                                          NATIONAL - Input sought on CenturyLink petition for limited stay of ICC transition rules (TR's
                                                                                                                          State NewsWire - Factiva, 04/24/2017)
                                                                                                                          TR Daily - April 24, 2017 DOYLE WANTS INFO ON PAI MEETINGS WITH INDUSTRY ON
                                                                                                                          OPEN... (TR Daily - Factiva, 04/24/2017)
                                                                                                                          Weekly Bond Price Indications - Week Ended April 20, 2017 (WSJ Pro Bankruptcy - Factiva,
                                                                                                                          04/24/2017 09:19 AM)
                                                                                                                          CenturyLink CEO delivers keynote address to NATO industry conference (PR Newswire - Factiva,
                                                                                                                          04/24/2017 10:01 AM)
                                                                                                                          Press Release: CenturyLink CEO delivers keynote address to NATO industry conference (Dow
                                                                                                                          Jones Institutional News - Factiva, 04/24/2017 10:02 AM)
4/25/2017 Tue   11,383,337   $25.93      $0.00   1.89%   0.61%   -0.72%   0.35%     1.53%      1.17 24.27%       $0.39    Paul McCartney at the CenturyLink? Buzz builds over ex-Beatle coming to Bossier City (Shreveport
                                                                                                                          Times - Factiva, 04/25/2017)
                                                                                                                          CenturyLink to expand broadband in Muscatine (Muscatine Journal - Factiva, 04/25/2017)
                                                                                                                          Security (Warren's Washington Internet Daily - Factiva, 04/25/2017)
                                                                                                                          Wireline (Communications Daily - Factiva, 04/25/2017)
4/26/2017 Wed    8,972,261   $25.87      $0.00 -0.23% -0.05%     1.29%    0.51%    -0.74%     -0.57 57.26%       -$0.19   Comcast offers Utah customers 1-Gig internet (The Salt Lake Tribune - Factiva, 04/26/2017)
                                                                                                                          Paul McCartney to perform in Bossier City (Shreveport Times - Factiva, 04/26/2017)
                                                                                                                          SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                          CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                          FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                          103-631 (US Fed News - Factiva, 04/26/2017)
                                                                                                                          Canada : CenturyLink CEO delivers keynote address to NATO industry conference (Sudan News
                                                                                                                          Agency (SUNA) - Factiva, 04/26/2017)
                                                                                                                          Telephone Communications; Centurylink Investment Management Co Files SEC Form 13F-HR,
                                                                                                                          Quarterly Report Filed By Institutional Managers, Holdings (Apr. 10, 2017) (Telecommunications
                                                                                                                          Weekly - Factiva, 04/26/2017)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 04/26/2017)
4/27/2017 Thu   12,119,332   $25.79      $0.00 -0.31%    0.07%   -1.34%   -0.64%    0.33%      0.27 79.04%       $0.08    SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                          CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS, AND DEX MEDIA FOR
                                                                                                                          FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                          103-631 (US Fed News - Factiva, 04/27/2017)
                                                                                                                          Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 04/27/2017)
                                                                                                                          Sadif Analytics Analyst Report (Eikon - Manual Entry, 04/27/2017)
                                                                                                                          CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 04/27/2017
                                                                                                                          11:15 AM)
4/28/2017 Fri   11,581,185   $25.67      $0.00 -0.47% -0.19%     -0.92%   -0.71%    0.25%       0.2 83.82%       $0.06    CenturyLink, Inc. Qwest Corporation Agrees To Sell Debt Securities (Investment Weekly News -
                                                                                                                          Factiva, 04/28/2017)
                                                                                                                          CenturyLink employees volunteer more than 1,500 hours across 12 states (ENP Newswire - Factiva,
                                                                                                                          04/28/2017)
                                                                                                                          CenturyLink EXECUTIVES (TR Daily - Factiva, 04/28/2017)
                                                                                                                          CenturyLink names new team (most from CenturyLink) to lead after Level 3 deal is done (Denver
                                                                                                                          Business Journal Online - Factiva, 04/28/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                          CenturyLink will add two Level 3 executives to senior staff after merger; Colorado's 5th-largest
                                                                                                                          company will fold into larger Louisiana-based telecom (The Denver Post - Factiva, 04/28/2017)
                                                                                                                          COLORADO - CenturyLink, Level 3 reach settlement with PUC staff over merger (TR's State
                                                                                                                          NewsWire - Factiva, 04/28/2017)
                                                                                                                          It's true: Paul McCartney is heading to Louisiana on the next leg of his 2017... (The Times-Picayune -
                                                                                                                          Factiva, 04/28/2017)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 04/28/2017)
                                                                                                                          Seahawks Draft Party presented by CenturyLink; AP Planner; Future News Item; Seattle
                                                                                                                          Seahawks (AP Planner - Factiva, 04/28/2017)
                                                                                                                          ULM commencement; CenturyLink's Moreau to deliver speech (The News-Star - Factiva,
                                                                                                                          04/28/2017)
                                                                                                                          United States : CenturyLink CEO delivers keynote address to NATO industry conference
                                                                                                                          (Investing.com - Factiva, 04/28/2017)
                                                                                                                          CenturyLink announces combined company senior leadership team (PR Newswire - Factiva,
                                                                                                                          04/28/2017 08:30 AM)
                                                                                                                          CenturyLink announces combined company senior leadership team (PR Newswire Europe - Factiva,
                                                                                                                          04/28/2017 08:30 AM)
                                                                                                                          CENTURYLINK ANNOUNCES COMBINED COMPANY SENIOR LEADERSHIP TEAM (Press
                                                                                                                          Association National Newswire - Factiva, 04/28/2017 08:30 AM)
                                                                                                                          Press Release: CenturyLink announces combined company senior leadership team (Dow Jones
                                                                                                                          Institutional News - Factiva, 04/28/2017 08:30 AM)
                                                                                                                          BRIEF-Centurylink announces combined company senior leadership team (Reuters News - Factiva,
                                                                                                                          04/28/2017 08:50 AM)
                                                                                                                          CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 04/28/2017
                                                                                                                          04:09 PM)
4/29/2017 Sat
4/30/2017 Sun
 5/1/2017 Mon   9,827,091   $25.38      $0.00 -1.13%    0.17%   -0.88%   -0.21%   -0.92%      -0.8 42.35%        -$0.24   CenturyLink names senior leadership team for combined company (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 05/01/2017)
                                                                                                                          IOWA - CenturyLink withdraws objection of Wide Voice application (TR's State NewsWire -
                                                                                                                          Factiva, 05/01/2017)
                                                                                                                          MINNESOTA - CenturyLink objects to DoC's proposed merger conditions (TR's State NewsWire -
                                                                                                                          Factiva, 05/01/2017)
                                                                                                                          Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/01/2017)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/01/2017)
                                                                                                                          Regulatory Notes (Telecommunications Reports - Factiva, 05/01/2017)
                                                                                                                          WASHINGTON - CenturyLink, Level 3, UTC staff, AG file settlement of merger issues (TR's State
                                                                                                                          NewsWire - Factiva, 05/01/2017)
                                                                                                                          Wireline (Communications Daily - Factiva, 05/01/2017)
 5/2/2017 Tue   9,168,370   $25.95      $0.00   2.25%   0.12%   -0.16%   0.06%     2.19%      1.91   5.88%       $0.55    09:16 EDT Century completes sale of data center for $1.86BCenturyLink (CTL)...
                                                                                                                          (Theflyonthewall.com - Factiva, 05/02/2017)
                                                                                                                          CenturyLink appoints leadership team, effective on closing of Level 3 acquisition (Optical Networks
                                                                                                                          Daily - Factiva, 05/02/2017)




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    [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
   Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events
                                                                                                                        COLORADO - CenturyLink largely supports proposed rule amendments (TR's State NewsWire -
                                                                                                                        Factiva, 05/02/2017)
                                                                                                                        Done deal: Medina Capital, BC Partners form Cyxtera Technologies in $2.8B transaction (The
                                                                                                                        Miami Herald - Factiva, 05/02/2017)
                                                                                                                        IOWA - IUB approves CenturyLink's proposal to issue automatic credits (TR's State NewsWire -
                                                                                                                        Factiva, 05/02/2017)
                                                                                                                        Level 3Ã¢â‚¬â„¢s Laurinda Pang to head merged CenturyLinkÃ¢â‚¬â„¢s operations outside North
                                                                                                                        America (Capacity Magazine - Factiva, 05/02/2017)
                                                                                                                        Level 3Ã¢â‚¬â„¢s Sunit Patel and Laurinda Pang take CenturyLink leadership roles (Global
                                                                                                                        Telecoms Business - Factiva, 05/02/2017)
                                                                                                                        New BC Partners-backed company to focus on data centers, cybersecurity: Reuters (PE Hub
                                                                                                                        Network - Factiva, 05/02/2017)
                                                                                                                        State Telecom (Communications Daily - Factiva, 05/02/2017)
                                                                                                                        States (Warren's Washington Internet Daily - Factiva, 05/02/2017)
                                                                                                                        United States : CenturyLink announces combined company senior leadership team (CPI Financial -
                                                                                                                        Factiva, 05/02/2017)
                                                                                                                        CenturyLink completes sale of data centers and colocation business to consortium led by BC
                                                                                                                        Partners and Medina Capital and (Canada NewsWire - Factiva, 05/02/2017 09:00 AM)
                                                                                                                        CenturyLink completes sale of data centers and colocation business to consortium led by BC
                                                                                                                        Partners and Medina Capital and (PR Newswire - Factiva, 05/02/2017 09:00 AM)
                                                                                                                        Press Release: CenturyLink completes sale of data centers and colocation business to consortium
                                                                                                                        led by BC Partners and Medina Capital and (Dow Jones Institutional News - Factiva, 05/02/2017
                                                                                                                        09:00 AM)
                                                                                                                        Press Release: CenturyLink completes sale of data centers and colocation business to consortium
                                                                                                                        led by BC Partners and Medina Capital and (Dow Jones Institutional News - Factiva, 05/02/2017
                                                                                                                        09:00 AM)
                                                                                                                        New BC Partners-backed company to focus on data centers, cybersecurity (Reuters News - Factiva,
                                                                                                                        05/02/2017 09:05 AM)
                                                                                                                        BC Partners and Medina Capital Announce Launch of Cyxtera Technologies (PR Newswire -
                                                                                                                        Factiva, 05/02/2017 09:11 AM)
                                                                                                                        BC Partners and Medina Capital Announce Launch of Cyxtera Technologies (PR Newswire Europe -
                                                                                                                        Factiva, 05/02/2017 09:22 AM)
                                                                                                                        BC PARTNERS AND MEDINA CAPITAL ANNOUNCE LAUNCH OF CYXTERA
                                                                                                                        TECHNOLOGIES (Press Association National Newswire - Factiva, 05/02/2017 09:22 AM)
                                                                                                                        New BC Partners-backed company to focus on data centers, cybersecurity (Reuters News - Factiva,
                                                                                                                        05/02/2017 10:43 AM)
5/3/2017 Wed   10,400,439   $25.42      $0.00 -2.04% -0.11%   -0.65%   -0.44%    -1.60%     -1.39 16.84%       -$0.42   CenturyLink, Inc. Earnings Decline 34% In Q1 (RTT News - Factiva, 05/03/2017)
                                                                                                                        16:25 EDT CenturyLink reports Q1 adjusted EPS 52c, consensus 54cReports Q1...
                                                                                                                        (Theflyonthewall.com - Factiva, 05/03/2017)
                                                                                                                        Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 05/03/2017)

                                                                                                                        BC forms Cyxtera from CenturyLink, cyber security ops (Telecompaper World - Factiva, 05/03/2017)

                                                                                                                        BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/03/2017)



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[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                           BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/03/2017)
                                                                                                           CenturyLink closes sale of data centers, colocation business (SNL Kagan Media & Communications
                                                                                                           Report - Factiva, 05/03/2017)
                                                                                                           CenturyLink completes sale of DCs, colocation business (Telecompaper Americas - Factiva,
                                                                                                           05/03/2017)
                                                                                                           CenturyLink completes sale of DCs, colocation business (Telecompaper World - Factiva, 05/03/2017)

                                                                                                           CenturyLink sees Q2 adjusted EPS 46c-52c, consensus 56c (Theflyonthewall.com - Factiva,
                                                                                                           05/03/2017)
                                                                                                           COLORADO - LETA challenges intervention into 911 complaint case (TR's State NewsWire -
                                                                                                           Factiva, 05/03/2017)
                                                                                                           Cyxtera launches after $2.8bn deal acquiring 57 CenturyLink data centres (Capacity Magazine -
                                                                                                           Factiva, 05/03/2017)
                                                                                                           Cyxtera launches after $2.8bn deal acquiring 57 CenturyLink data centres (Global Telecoms
                                                                                                           Business - Factiva, 05/03/2017)
                                                                                                           Event Brief of Q1 2017 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva,
                                                                                                           05/03/2017)
                                                                                                           Forbes' debut list of top U.S. public companies names 11 from Colorado (Denver Business Journal
                                                                                                           Online - Factiva, 05/03/2017)
                                                                                                           Macquarie Research Analyst Report (Eikon - Manual Entry, 05/03/2017)
                                                                                                           MINNESOTA - PUC to accept additional comments on CenturyLink-Level 3 deal (TR's State
                                                                                                           NewsWire - Factiva, 05/03/2017)
                                                                                                           MoffettNathanson LLC Analyst Report (Eikon - Manual Entry, 05/03/2017)
                                                                                                           Q1 2017 CenturyLink Inc Earnings Call - Final (CQ FD Disclosure - Factiva, 05/03/2017)
                                                                                                           Straight Path leads communications short interest decliners (SNL Financial Extra - Factiva,
                                                                                                           05/03/2017)
                                                                                                           SunTrust Robinson Humphrey, Inc. Analyst Report (Capital IQ - Manual Entry, 05/03/2017)
                                                                                                           SunTrust Robinson Humphrey, Inc. Analyst Report (Eikon - Manual Entry, 05/03/2017)
                                                                                                           Telephone Communications; Centurylink, Inc. Files SEC Form DEF 14A, Other Definitive Proxy
                                                                                                           Statements (Apr. 13, 2017) (Telecommunications Weekly - Factiva, 05/03/2017)
                                                                                                           Telephone Communications; Centurylink, Inc. Files SEC Form DEFA14A, Additional Definitive
                                                                                                           Proxy Soliciting Materials And Rule 14(A)(12) Material (Apr. 13, 2017) (Telecommunications
                                                                                                           Weekly - Factiva, 05/03/2017)
                                                                                                           Telephone Communications; Qwest Corp. Files SEC Form 424B5, Prospectus [Rule 424(B)(5)]
                                                                                                           (Apr. 18, 2017) (Telecommunications Weekly - Factiva, 05/03/2017)
                                                                                                           Telephone Communications; Qwest Corp. Files SEC Form FWP, Filing Under Securities Act Rules
                                                                                                           163/433 of Free Writing Prospectuses (Apr. 18, 2017) (Telecommunications Weekly - Factiva,
                                                                                                           05/03/2017)
                                                                                                           The great datacentre sell off (CRN - Factiva, 05/03/2017)
                                                                                                           The great datacentre sell-off (CRN - Factiva, 05/03/2017)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/03/2017)
                                                                                                           Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/03/2017)
                                                                                                           UBS Analyst Report (Capital IQ - Manual Entry, 05/03/2017)




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                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
   Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                  Events

                                                                                                                          UBS Analyst Report (Eikon - Manual Entry, 05/03/2017)
                                                                                                                          ValuEngine, Inc. Analyst Report (Eikon - Manual Entry, 05/03/2017)
                                                                                                                          Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 05/03/2017)
                                                                                                                          CenturyLink finalises sale of data centres to consortium (SeeNews Deals - Factiva, 05/03/2017 11:48
                                                                                                                          AM)
                                                                                                                          *CenturyLink 1Q Rev $4.21B >CTL (Dow Jones Institutional News - Factiva, 05/03/2017 04:18 PM)

                                                                                                                          CenturyLink Reports First Quarter 2017 Results (PR Newswire - Factiva, 05/03/2017 04:18 PM)
                                                                                                                          CenturyLink CEO Sees No Signs of Snags in Merger Approval -- Market Talk (Dow Jones
                                                                                                                          Institutional News - Factiva, 05/03/2017 05:16 PM)
                                                                                                                          CenturyLink CEO Sees No Signs of Snags in Merger Approval -- Market Talk (Dow Jones
                                                                                                                          Institutional News - Factiva, 05/03/2017 05:16 PM)
                                                                                                                          CenturyLink Q1 2017 Results -- Earnings Call Transcript >CTL (Dow Jones Institutional News -
                                                                                                                          Factiva, 05/03/2017 08:23 PM)
5/4/2017 Thu   28,643,399   $23.74      $0.00 -6.61%   0.06%   -1.05%   -0.45%   -6.16%     -5.43   0.00% **     -$1.57   BC Partners, Medina Capital Launch Cyxtera Technologies Following Close of CenturyLink Deal
                                                                                                                          (M&A Navigator - Factiva, 05/04/2017)
                                                                                                                          Barclays Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          Barclays Analyst Report (Eikon - Manual Entry, 05/04/2017)
                                                                                                                          BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          CenturyLink Closes USD 2.5bn Sale of Data Centres, Colocation Business (M&A Navigator - Factiva,
                                                                                                                          05/04/2017)
                                                                                                                          CenturyLink results slide in Q1 on costs, legacy services (Telecompaper Americas - Factiva,
                                                                                                                          05/04/2017)
                                                                                                                          CenturyLink shares plummet as Q1 revenue slips expectations (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 05/04/2017)
                                                                                                                          CenturyLink, Level 3 Execs See Few Regulatory Hurdles Ahead (The Deal - Factiva, 05/04/2017)
                                                                                                                          CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          Cowen and Company Analyst Report (Eikon - Manual Entry, 05/04/2017)
                                                                                                                          Deutsche Bank Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          Deutsche Bank Analyst Report (Eikon - Manual Entry, 05/04/2017)
                                                                                                                          Jefferies LLC Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          Jefferies LLC Analyst Report (Eikon - Manual Entry, 05/04/2017)
                                                                                                                          JP Morgan Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          JP Morgan Analyst Report (Eikon - Manual Entry, 05/04/2017)
                                                                                                                          Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 05/04/2017)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                          Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/04/2017)




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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
   Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 05/04/2017)
                                                                                                                        Oppenheimer & Co., Inc. Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                        Oppenheimer & Co., Inc. Analyst Report (Eikon - Manual Entry, 05/04/2017)
                                                                                                                        Private Equity Consortium Wraps Up Purchase of CenturyLinks Data Centers, Colocation
                                                                                                                        Business (Arab Times - Factiva, 05/04/2017)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 05/04/2017)
                                                                                                                        US Media & Comm management moves through May 3: CenturyLink, Sony Pictures (SNL
                                                                                                                        Financial Extra - Factiva, 05/04/2017)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 05/04/2017)
                                                                                                                        Technical Reports on Telecom Services - Domestic Stocks -- Frontier Communications, AT&T,
                                                                                                                        Verizon, and CenturyLink (PR Newswire - Factiva, 05/04/2017 06:05 AM)
                                                                                                                        BUZZ-CenturyLink Inc: Shares down as Q1 revenue, profit miss est (Reuters News - Factiva,
                                                                                                                        05/04/2017 10:55 AM)
                                                                                                                        CenturyLink Tanks on Earnings Miss; 'Needs Level 3 More than Ever' -- Barron's Blog (Dow Jones
                                                                                                                        Institutional News - Factiva, 05/04/2017 12:53 PM)
                                                                                                                        REFILE-BUZZ-CenturyLink, Level 3 and Frontier lead telecom declines (Reuters News - Factiva,
                                                                                                                        05/04/2017 03:02 PM)
5/5/2017 Fri   12,349,560   $23.60      $0.00 -0.59%   0.41%   1.25%    1.14%    -1.73%     -1.52 13.09%       -$0.41   BC Partners, Medina Capital and Longview Acquire Data Centers and Colocation Business from
                                                                                                                        CenturyLink (Financial Deals Tracker - Factiva, 05/05/2017)
                                                                                                                        Centurylink Inc estimates total capital expenditures of $1.9 bln (Reuters Significant Developments -
                                                                                                                        Factiva, 05/05/2017)
                                                                                                                        3 area teachers win tech grants for classrooms (Casa Grande Dispatch - Factiva, 05/05/2017)
                                                                                                                        CARRIERS SPLIT OVER CenturyLink PETITION FOR STAY OF PROVISION IN ICC
                                                                                                                        TRANSITION RULES (TR Daily - Factiva, 05/05/2017)
                                                                                                                        CFRA analyst downgrades Level 3 (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                        05/05/2017)
                                                                                                                        CFRA Equity Research Analyst Report (Eikon - Manual Entry, 05/05/2017)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/05/2017)
                                                                                                                        New US multinational data center Cyxtera Technologies will provide increased growth and security
                                                                                                                        (Business Review USA - Factiva, 05/05/2017)
                                                                                                                        SunTrust Robinson Humphrey, Inc. Analyst Report (Capital IQ - Manual Entry, 05/05/2017)
                                                                                                                        SunTrust Robinson Humphrey, Inc. Analyst Report (Eikon - Manual Entry, 05/05/2017)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
    [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]       [11]         [12]                                                    [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
   Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                  Events
                                                                                                                          TR Daily - May 5, 2017 PAI: Ã¢â‚¬ËœPRODUCTIVEÃ¢â‚¬â„¢ FIRST HUNDRED DAYS IS JUST
                                                                                                                          Ã¢â‚¬ËœA STARTÃ¢â‚¬â„¢ TO IMPROVING DIGITAL FUTURE INTERNET ASSOCIATION
                                                                                                                          STRESSES NEED FOR Ã¢â‚¬ËœLEGALLY SUSTAINABLEÃ¢â‚¬â„¢ OPEN NET RULES
                                                                                                                          OÃ¢â‚¬â„¢RIELLY ASKS CONSERVATIVE STATE LAWMAKERS TO SPEAK UP IN NET
                                                                                                                          NEUTRALITY POLICY DEBATE EXPERTS STRESS NEED TO IMPROVE RECEIVERS TO
                                                                                                                          MAXIMIZE SPECTRAL EFFICIENCY Ã¢â‚¬ËœPARENT TRAP,Ã¢â‚¬â„¢ SAFETY VALVE
                                                                                                                          SUPPORT RULES AMONG RECOMMENDATIONS FOR ELIMINATION CARRIERS SPLIT
                                                                                                                          OVER CenturyLink PETITION FOR STAY OF PROVISION IN ICC TRANSITION RULES
                                                                                                                          SEATTLE REQUIRES USER OPT-IN FOR CABLE ISPs TO SHARE INFO USTelecom, FSF
                                                                                                                          SAY BROADBAND INVESTMENT IS DOWN AS RESULT OF 2015 ORDER CDC: MAJORITY
                                                                                                                          OF U.S. HOMES HAVE ONLY CELLPHONES TRUMP SIGNS OMNIBUS APPROPRIATIONS
                                                                                                                          BILL WITNESSES NAMED FOR SENATE HEARING ON LAW ENFORCEMENT DATA
                                                                                                                          ACCESS SPRINT, i-wireless TERMINATE JOINT VENTURE PLAN THREE NEW CDT BOARD
                                                                                                                          MEMBERS USCM INFRASTRUCTURE TASK FORCE CHAIR (TR Daily - Factiva, 05/05/2017)

                                                                                                                          Validea Analyst Report (Eikon - Manual Entry, 05/05/2017)
                                                                                                                          Wireline (Communications Daily - Factiva, 05/05/2017)
                                                                                                                          Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 05/05/2017)
                                                                                                                          BRIEF-Centurylink Inc estimates total capital expenditures of $1.9 bln (Reuters News - Factiva,
                                                                                                                          05/05/2017 06:47 AM)
                                                                                                                          CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 05/05/2017
                                                                                                                          11:46 AM)
                                                                                                                          BRIEF-CenturyLink says on April 27 unit sold $575 mln of its 6.75% notes due 2057 (Reuters News -
                                                                                                                          Factiva, 05/05/2017 11:54 AM)
                                                                                                                          Weekly Bond Price Indications - Week Ended May 4, 2017 (WSJ Pro Bankruptcy - Factiva,
                                                                                                                          05/05/2017 04:34 PM)
                                                                                                                          Deal Close Announcements: May 1-5 (WSJ Pro Private Equity - Factiva, 05/05/2017 06:04 PM)
5/6/2017 Sat                                                                                                              BC Partners, Medina Capital and Longview Acquires Data Centers and Colocation Business from
                                                                                                                          CenturyLink (Financial Deals Tracker - Factiva, 05/06/2017)
                                                                                                                          Centennial teacher receives $5K grant (The Montrose Daily Press - Factiva, 05/06/2017)
                                                                                                                          Seattle and Toronto could put on a show (The Racing Post - Factiva, 05/06/2017)
5/7/2017 Sun                                                                                                              A hectic - and memorable - day for visitors to 'Berkyville' (Omaha World-Herald - Factiva,
                                                                                                                          05/07/2017)
5/8/2017 Mon   26,016,453   $24.80      $0.00   5.08%   0.01%   0.09%   0.04%     5.05%      4.42   0.00% **     $1.19    CenturyLink, Inc . CenturyLink CEO delivers keynote address to NATO industry conference
                                                                                                                          (Journal of Engineering - Factiva, 05/08/2017)
                                                                                                                          Corvex Management reports 5.5% stake in CenturyLink, expects talks (Theflyonthewall.com -
                                                                                                                          Factiva, 05/08/2017)
                                                                                                                          12:41 EDT CenturyLink higher after Corvex's Meister names as long at Sohn (Theflyonthewall.com -
                                                                                                                          Factiva, 05/08/2017)
                                                                                                                          12:41 EDT Meister: Corvex to disclose about 5.5% stake in CenturyLink later...
                                                                                                                          (Theflyonthewall.com - Factiva, 05/08/2017)
                                                                                                                          12:49 EDT Meister says Level 3 has outperformed CenturyLink Keith Meister says...
                                                                                                                          (Theflyonthewall.com - Factiva, 05/08/2017)
                                                                                                                          12:59 EDT Corvex' Meister sees 40% upside in CenturyLink, urges onboarding of...
                                                                                                                          (Theflyonthewall.com - Factiva, 05/08/2017)




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[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events
                                                                                                           CenturyLink Intellectual Property LLC; Patent Issued for Network User Usage Profiling (USPTO
                                                                                                           9635117) (Journal of Engineering - Factiva, 05/08/2017)
                                                                                                           CenturyLink up 2.5% after Keith Meister announced filing of 13-D at Sohn 2017
                                                                                                           (Theflyonthewall.com - Factiva, 05/08/2017)
                                                                                                           CenturyLink, Level 3 Shares Rise, But Will Investor Spur Changes? (Investor's Business Daily -
                                                                                                           Factiva, 05/08/2017)
                                                                                                           COLORADO - CenturyLink, Level 3 seek PUC approval of merger settlement (TR's State
                                                                                                           NewsWire - Factiva, 05/08/2017)
                                                                                                           Corvex's Meister has not communicated with other CenturyLink holders (Theflyonthewall.com -
                                                                                                           Factiva, 05/08/2017)
                                                                                                           Level 3 Communications, Inc. Global Spirits Distiller Sazerac Company Simplifies Network
                                                                                                           Visbility and Operations with Level 3 (Journal of Engineering - Factiva, 05/08/2017)
                                                                                                           Meister Outlines Vision for CenturyLink-Level 3 Leadership (The Deal - Factiva, 05/08/2017)
                                                                                                           Seattle bucks US broadband privacy rollback (SNL Kagan Media & Communications Report - Factiva,
                                                                                                           05/08/2017)
                                                                                                           Tech+ Mailbag: Don't tell unwanted emails they're unwanted, and other Tech+ answers to
                                                                                                           questions (The Denver Post - Factiva, 05/08/2017)
                                                                                                           Verizon sells unit to IBM; CenturyLink closes assets sale (SNL Financial Extra - Factiva, 05/08/2017)

                                                                                                           What a billboard means for your Internet privacy (Phoenix Business Journal Online - Factiva,
                                                                                                           05/08/2017)
                                                                                                           Wireline (Communications Daily - Factiva, 05/08/2017)
                                                                                                           Aamir Hussain, Global Cable and Telecom Executive, Nominated to Espial Board of Directors
                                                                                                           (Business Wire - Factiva, 05/08/2017 08:15 AM)
                                                                                                           Press Release: Aamir Hussain, Global Cable and Telecom Executive, Nominated to Espial Board of
                                                                                                           Directors (Dow Jones Institutional News - Factiva, 05/08/2017 08:15 AM)
                                                                                                           SOHN Spotlight: Buy CenturyLink, Corvex's Meister Says -- Barron's Blog (Dow Jones Institutional
                                                                                                           News - Factiva, 05/08/2017 12:45 PM)
                                                                                                           *Activist Corvex Builds 5.5% Stake in CenturyLink -- Sohn Conference (Dow Jones Institutional
                                                                                                           News - Factiva, 05/08/2017 12:49 PM)
                                                                                                           Corvex's Meister says fund owns 5.5 pct of CenturyLink (Reuters News - Factiva, 05/08/2017 12:51
                                                                                                           PM)
                                                                                                           MW CenturyLink gains as Keith Meister sees Level 3 merger as game changer (MarketWatch -
                                                                                                           Factiva, 05/08/2017 01:00 PM)
                                                                                                           Meister Pitches CenturyLink But Wants Level 3 Boss -- Market Talk (Dow Jones Institutional News -
                                                                                                           Factiva, 05/08/2017 01:03 PM)
                                                                                                           Meister Pitches CenturyLink But Wants Level 3 Boss -- Market Talk (Dow Jones Institutional News -
                                                                                                           Factiva, 05/08/2017 01:03 PM)
                                                                                                           SOHN Spotlight: Buy CenturyLink?!?! Oh Yeah, Corvex's Meister Says -- Barron's Blog (Dow
                                                                                                           Jones Institutional News - Factiva, 05/08/2017 01:19 PM)
                                                                                                           UPDATE 1-Corvex's Meister reveals 5.5 pct stake in CenturyLink (Reuters News - Factiva,
                                                                                                           05/08/2017 01:29 PM)
                                                                                                           Corvex Builds Stake in CenturyLink (Dow Jones Institutional News - Factiva, 05/08/2017 01:34 PM)




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                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                   Events
                                                                                                                          Corvex Builds Stake in CenturyLink (Dow Jones Institutional News - Factiva, 05/08/2017 01:40 PM)

                                                                                                                          Corvex Builds Stake in CenturyLink (Dow Jones Institutional News - Factiva, 05/08/2017 01:49 PM)

                                                                                                                          Corvex Builds Stake in CenturyLink (Dow Jones Newswires Chinese (English) - Factiva, 05/08/2017
                                                                                                                          01:49 PM)
                                                                                                                          Corvex Builds Stake in CenturyLink -- Update (Dow Jones Institutional News - Factiva, 05/08/2017
                                                                                                                          02:35 PM)
                                                                                                                          Corvex Builds Stake in CenturyLink; Corvex wants Level 3 CEO Storey to get executive role in new
                                                                                                                          CenturyLink (The Wall Street Journal Online - Factiva, 05/08/2017 02:35 PM)
                                                                                                                          Corvex Builds Stake in CenturyLink; Corvex wants Level 3 CEO Storey to get executive role in new
                                                                                                                          CenturyLink (WSJ Pro Bankruptcy - Factiva, 05/08/2017 02:35 PM)
                                                                                                                          Corvex Builds Stake in CenturyLink -- Update (Dow Jones Institutional News - Factiva, 05/08/2017
                                                                                                                          02:50 PM)
                                                                                                                          Property, merger bets dominate picks at Sohn conference (Reuters News - Factiva, 05/08/2017 03:04
                                                                                                                          PM)
                                                                                                                          Meister vs Shorts Sellers: Who Is Right About CenturyLink? -- Barron's Blog (Dow Jones
                                                                                                                          Institutional News - Factiva, 05/08/2017 03:58 PM)
                                                                                                                          *Corvex Management Discloses 5.5% Stake in CenturyLink Inc. (Dow Jones Institutional News -
                                                                                                                          Factiva, 05/08/2017 05:38 PM)
                                                                                                                          Corvex Management Discloses 5.5% Stake in CenturyLink Inc. (Dow Jones Newswires Chinese
                                                                                                                          (English) - Factiva, 05/08/2017 05:40 PM)
                                                                                                                          UPDATE 1-Property, merger bets dominate bullish Sohn conference (Reuters News - Factiva,
                                                                                                                          05/08/2017 06:06 PM)
 5/9/2017 Tue   10,142,206   $25.03      $0.00   0.93% -0.10%    -0.58%   -0.35%    1.28%      1.04 30.17%       $0.32    BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 05/09/2017)
                                                                                                                          CALIFORNIA - Consumer groups protest CenturyLink-Level 3 deal (TR's State NewsWire - Factiva,
                                                                                                                          05/09/2017)
                                                                                                                          CenturyLink, Level 3 Shares Rise, But Will Investor Spur Changes? (Investor's Business Daily -
                                                                                                                          Factiva, 05/09/2017)
                                                                                                                          COLORADO - PUC allows BRETSA to intervene in 911 complaint case (TR's State NewsWire -
                                                                                                                          Factiva, 05/09/2017)
                                                                                                                          Gordon Haskett Analyst Report (Eikon - Manual Entry, 05/09/2017)
                                                                                                                          Public Interest Groups Protest CenturyLink/Level 3 in California (Communications Daily - Factiva,
                                                                                                                          05/09/2017)
                                                                                                                          Public Interest Groups Protest CenturyLink/Level 3 in California (Warren's Washington Internet
                                                                                                                          Daily - Factiva, 05/09/2017)
                                                                                                                          Scottsbluff receives three technology grants (Star-Herald - Factiva, 05/09/2017)
                                                                                                                          Hot Stocks to Watch: CTL LVLT (Dow Jones Newswires Chinese (English) - Factiva, 05/09/2017
                                                                                                                          08:27 AM)
                                                                                                                          Property, merger bets dominate picks at Sohn conference (Reuters News - Factiva, 05/09/2017 11:10
                                                                                                                          AM)
5/10/2017 Wed    7,954,707   $25.11      $0.00   0.32%   0.15%   0.16%    0.28%     0.04%      0.03 97.42%       $0.01    Broadband battle with CenturyLink at Colorado Legislature over telecom funds for rural internet
                                                                                                                          (Denver Business Journal - Factiva, 05/10/2017)




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     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]       [11]        [12]                                                     [13]
                                                             Excess                                            Abnormal
                                                     Market Industry Predicted Abnormal                          Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                   Events
                                                                                                                          Global Cable, Telecom executive nominated to Espial board (Internet Business News - Factiva,
                                                                                                                          05/10/2017)
                                                                                                                          Global Cable, Telecom executive nominated to Espial board (M2 EquityBites - Factiva, 05/10/2017)
                                                                                                                          Investor suggests roles for CenturyLink/Level 3 CEOs after deal closing (SNL Kagan Media &
                                                                                                                          Communications Report - Factiva, 05/10/2017)
                                                                                                                          See who could be in mix for University of Phoenix Stadium naming rights (Phoenix Business Journal -
                                                                                                                          Factiva, 05/10/2017)
                                                                                                                          SHS receives $5,000 grant from CenturyLink (Ma'an News Agency - Factiva, 05/10/2017)
                                                                                                                          Zayo names president of sales (SNL Kagan Media & Communications Report - Factiva, 05/10/2017)

5/11/2017 Thu   8,698,798   $24.44      $0.00 -2.67% -0.18%     -0.36%   -0.39%   -2.28%     -1.87   6.35%       -$0.57   SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                          CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                          FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                          103-631 (US Fed News - Factiva, 05/11/2017)
                                                                                                                          Acquisdata Pty Ltd. Analyst Report (Capital IQ - Manual Entry, 05/11/2017)
                                                                                                                          Acquisdata Pty Ltd. Analyst Report (Eikon - Manual Entry, 05/11/2017)
                                                                                                                          CenturyLink offers gigabit service to 47,000 Arizona businesses (Phoenix Business Journal Online -
                                                                                                                          Factiva, 05/11/2017)
                                                                                                                          Good Works: Sword & Plough wins FedEx small business grant contest (Denver Business Journal -
                                                                                                                          Factiva, 05/11/2017)
                                                                                                                          Is the S&P 500's Highest-Yielding Dividend Stock Safe? (Kiplinger.com - Factiva, 05/11/2017)
                                                                                                                          Legislature dismantles Colorado Energy Office, passes major spending bill on final day (Photos)
                                                                                                                          (Denver Business Journal Online - Factiva, 05/11/2017)
                                                                                                                          NEBRASKA - PSC considering ending ported USF support for CLECs (TR's State NewsWire -
                                                                                                                          Factiva, 05/11/2017)
                                                                                                                          RBC Capital Markets Analyst Report (Capital IQ - Manual Entry, 05/11/2017)
                                                                                                                          RBC Capital Markets Analyst Report (Eikon - Manual Entry, 05/11/2017)
                                                                                                                          United States : CenturyLink offers gigabit service to nearly 47,000 Arizona businesses (Emirates
                                                                                                                          News Agency (WAM) - Factiva, 05/11/2017)
5/12/2017 Fri   8,659,596   $24.63      $0.00   0.78% -0.15%    0.05%    -0.16%    0.94%      0.77 44.55%        $0.23    SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                          CENTURYLINK, FRONTIER COMMUNICATIONS THE CAROLINAS AND DEX MEDIA FOR
                                                                                                                          FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                          103-631 (US Fed News - Factiva, 05/12/2017)
                                                                                                                          13 reasons why you, too, should see U2 in Seattle (The Seattle Times - Factiva, 05/12/2017)
                                                                                                                          CenturyLink offers gigabit service to nearly 47,000 Arizona businesses (ENP Newswire - Factiva,
                                                                                                                          05/12/2017)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/12/2017)
5/13/2017 Sat
5/14/2017 Sun
5/15/2017 Mon   6,936,757   $24.81      $0.00   0.73%   0.49%   -0.56%   0.40%     0.33%      0.27 78.61%        $0.08    Medina Capital; Bc Partners; BC Partners and Medina Capital Announce Launch of Cyxtera
                                                                                                                          Technologies (Journal of Engineering - Factiva, 05/15/2017)
                                                                                                                          Moody's rates CenturyLink's new credit facility Ba3; all ratings remain on review for downgrade
                                                                                                                          (Moody's Investors Service Press Release - Factiva, 05/15/2017)




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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                           Seahawks reach deal to extend CenturyLink Field naming rights through 2033 (Puget Sound
                                                                                                           Business Journal - Factiva, 05/15/2017)
                                                                                                           Seahawks, CenturyLink extend stadium and event center naming rights deal (Reuters Significant
                                                                                                           Developments - Factiva, 05/15/2017)
                                                                                                           07:45 EDT CenturyLink downgraded to Underperform from Market Perform at Raymond...
                                                                                                           (Theflyonthewall.com - Factiva, 05/15/2017)
                                                                                                           13:01 EDT CenturyLink, Seahawks extend stadium, event center naming rights...
                                                                                                           (Theflyonthewall.com - Factiva, 05/15/2017)
                                                                                                           BLOG: THE BAUMINATOR; CenturyLink Pushes OTT TV Launch to Early 3rd Quarter
                                                                                                           (Broadcasting & Cable - Factiva, 05/15/2017)
                                                                                                           BLOG: THE BAUMINATOR; CenturyLink Pushes OTT TV Launch to Early 3rd Quarter
                                                                                                           (Multichannel News - Factiva, 05/15/2017)
                                                                                                           Local schools earn grants from CenturyLink Foundation (News-Press - Factiva, 05/15/2017)
                                                                                                           Moodyâ€™s Analyst Report (Capital IQ - Manual Entry, 05/15/2017)
                                                                                                           S&P Global Ratings Analyst Report (Capital IQ - Manual Entry, 05/15/2017)
                                                                                                           S&P places Level 3 unit's senior unsecured rating at CreditWatch Positive (SNL Financial Extra -
                                                                                                           Factiva, 05/15/2017)
                                                                                                           Sadif Analytics Analyst Report (Capital IQ - Manual Entry, 05/15/2017)
                                                                                                           Sadif Analytics Analyst Report (Eikon - Manual Entry, 05/15/2017)
                                                                                                           U2's 'Joshua Tree Tour' brings famed album, more hits to Seattle's CenturyLink Field (The
                                                                                                           Spokesman-Review (Tribune Content Agency) - Factiva, 05/15/2017)
                                                                                                           UTAH - PSC allows CenturyLink to modify PAP reporting requirements (TR's State NewsWire -
                                                                                                           Factiva, 05/15/2017)
                                                                                                           CenturyLink announces new integrated managed solution with automation and management for
                                                                                                           SAP(R) applications (PR Newswire - Factiva, 05/15/2017 09:00 AM)
                                                                                                           CenturyLink announces new integrated managed solution with automation and management for
                                                                                                           SAPÃ‚Â® applications (Canada NewsWire - Factiva, 05/15/2017 09:00 AM)
                                                                                                           Press Release: CenturyLink announces new integrated managed solution with automation and
                                                                                                           management for SAPÃ‚Â® applications (Dow Jones Institutional News - Factiva, 05/15/2017 09:00
                                                                                                           AM)
                                                                                                           Morning Movers: Tesla Tanks, Starbucks Gains, CenturyLink Drops -- Barron's Blog (Dow Jones
                                                                                                           Institutional News - Factiva, 05/15/2017 09:22 AM)
                                                                                                           *Fitch Maintains CenturyLink's 'BB+' IDR on Negative Watch; Rates Secured Credit Facility
                                                                                                           'BB+/RR1' (Dow Jones Institutional News - Factiva, 05/15/2017 11:36 AM)
                                                                                                           Fitch Maintains CenturyLink's 'BB+' IDR on Negative Watch; Rates Secured Credit Facility
                                                                                                           'BB+/RR1' (Reuters News - Factiva, 05/15/2017 11:36 AM)
                                                                                                           Seahawks and CenturyLink Extend Stadium and Event Center Naming Rights Deal (Canada
                                                                                                           NewsWire - Factiva, 05/15/2017 01:00 PM)
                                                                                                           (PR) Seahawks and CenturyLink Extend Stadium and Event Center Naming Rights Deal (PR
                                                                                                           Newswire - Factiva, 05/15/2017 01:00 PM)
                                                                                                           Press Release: Seahawks and CenturyLink Extend Stadium and Event Center Naming Rights Deal
                                                                                                           (Dow Jones Institutional News - Factiva, 05/15/2017 01:00 PM)
                                                                                                           Press Release: Seahawks and CenturyLink Extend Stadium and Event Center Naming Rights Deal
                                                                                                           (Dow Jones Institutional News - Factiva, 05/15/2017 01:00 PM)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                    Events
                                                                                                                        BRIEF-Seahawks, CenturyLink extend stadium and event center naming rights deal (Reuters News -
                                                                                                                        Factiva, 05/15/2017 01:07 PM)
                                                                                                                        CenturyLink and Level 3 Cut to Underperform -- Barron's Blog (Dow Jones Institutional News -
                                                                                                                        Factiva, 05/15/2017 01:23 PM)
                                                                                                                        Seahawks to keep CenturyLink Field name through 2033 season (Associated Press Newswires -
                                                                                                                        Factiva, 05/15/2017 03:11 PM)
                                                                                                                        BC-FBN--Seahawks-Naming Rights (Associated Press Newswires - Factiva, 05/15/2017 03:11 PM)

                                                                                                                        Seahawks to keep CenturyLink Field name through 2033 season (The Canadian Press - Factiva,
                                                                                                                        05/15/2017 03:13 PM)
                                                                                                                        CenturyLink to Participate in Analyst Conference (PR Newswire - Factiva, 05/15/2017 04:20 PM)
                                                                                                                        Press Release: CenturyLink to Participate in Analyst Conference (Dow Jones Institutional News -
                                                                                                                        Factiva, 05/15/2017 04:20 PM)
                                                                                                                        *S&PGR Rates CenturyLink $8.445B Sr Scd Facility 'BBB-' (Rcv 1) (Dow Jones Institutional News -
                                                                                                                        Factiva, 05/15/2017 04:40 PM)
                                                                                                                        Moody's Rates Centurylink's New Credit Facility Ba3; All Ratings Remain On Review For
                                                                                                                        Downgrade (Dow Jones Institutional News - Factiva, 05/15/2017 07:06 PM)
5/16/2017 Tue   8,663,935   $24.77      $0.00 -0.16% -0.05%   -0.56%   -0.32%     0.16%      0.13 89.42%       $0.04    Seahawks, CenturyLink extend naming rights deal (Telecompaper Americas - Factiva, 05/16/2017)

                                                                                                                        Analyst cuts Level 3, CenturyLink on negative trends ahead of merger (SNL Kagan Media &
                                                                                                                        Communications Report - Factiva, 05/16/2017)
                                                                                                                        Businesses Select Cisco UCS as Top Choice for SAP HANA Deployments (ENP Newswire - Factiva,
                                                                                                                        05/16/2017)
                                                                                                                        CenturyLink launches SAP managed service with Cisco, NetApp (Kuwait News Agency (KUNA) -
                                                                                                                        Factiva, 05/16/2017)
                                                                                                                        CenturyLink, Valley Proteins and Mohawk Industries Join Legions of Enterprise IT Organizations
                                                                                                                        Hosting SAP on Cisco UCS (ENP Newswire - Factiva, 05/16/2017)
                                                                                                                        CenturyLink-Level 3 deal faces opposition in California (Denver Business Journal Online - Factiva,
                                                                                                                        05/16/2017)
                                                                                                                        MID MISSOURI; JC customers back online after CenturyLink outage (Jefferson City News-Tribune
                                                                                                                        - Factiva, 05/16/2017)
                                                                                                                        U2 concert: political, passionate, larger than life (The Seattle Times - Factiva, 05/16/2017)
                                                                                                                        U2's 'Joshua Tree Tour' brings famed album, more hits to Seattle's CenturyLink Field (The
                                                                                                                        Spokesman-Review (Tribune Content Agency) - Factiva, 05/16/2017)
                                                                                                                        United States : Seahawks and CenturyLink Extend Stadium and Event Center Naming Rights Deal
                                                                                                                        (DT News - Factiva, 05/16/2017)
                                                                                                                        VIRGINIA - SCC approves Level 3-CenturyLink proposed merger (TR's State NewsWire - Factiva,
                                                                                                                        05/16/2017)
                                                                                                                        While Denver Broncos wait for a stadium name, CenturyLink re-ups in Seattle (Denver Business
                                                                                                                        Journal - Factiva, 05/16/2017)
5/17/2017 Wed   9,125,637   $24.55      $0.00 -0.89% -1.79%   -0.61%   -2.59%     1.70%      1.43 15.54%       $0.42    CenturyLink, Inc . CenturyLink completes sale of data centers and colocation business to
                                                                                                                        consortium led by BC Partners and Medina Capital and (Telecommunications Weekly - Factiva,
                                                                                                                        05/17/2017)
                                                                                                                        Greenberg Traurig Advised on New Cybersecurity Venture Led by Tech Pioneer Manny Medina
                                                                                                                        (Broward Daily Business Review - Factiva, 05/17/2017)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events

                                                                                                                        Greenberg Traurig Advised on New Cybersecurity Venture Led by Tech Pioneer Manny Medina
                                                                                                                        (Miami Daily Business Review - Factiva, 05/17/2017)
                                                                                                                        Greenberg Traurig Advised on New Cybersecurity Venture Led by Tech Pioneer Manny Medina
                                                                                                                        (Palm Beach Daily Business Review - Factiva, 05/17/2017)
                                                                                                                        Liberty Interactive subsidiary to pay semiannual interest on debentures (SNL Kagan Media &
                                                                                                                        Communications Report - Factiva, 05/17/2017)
                                                                                                                        Aksarben Rodeo won't be back this year (Independent Tribune - Factiva, 05/17/2017)
                                                                                                                        Aksarben Rodeo won't be back this year (The McDowell News - Factiva, 05/17/2017)
                                                                                                                        Moodyâ€™s Analyst Report (Capital IQ - Manual Entry, 05/17/2017)
                                                                                                                        NEWPORT Ã¢â‚¬â€ Jefferson's North Elementary School was been awarded a $3,036 grant... (The
                                                                                                                        Monroe News - Factiva, 05/17/2017)
                                                                                                                        Post Earnings Coverage as CenturyLink Missed Market Estimates (ACCESSWIRE - Factiva,
                                                                                                                        05/17/2017)
                                                                                                                        States (Warren's Washington Internet Daily - Factiva, 05/17/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                        Communications, Business Combinations (Apr. 28, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                        05/17/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Apr. 27,
                                                                                                                        2017) (Telecommunications Weekly - Factiva, 05/17/2017)
                                                                                                                        Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Apr. 28,
                                                                                                                        2017) (Telecommunications Weekly - Factiva, 05/17/2017)
                                                                                                                        Telephone Communications; Qwest Corp. Files SEC Form 8-A12B, Registration of Securities
                                                                                                                        [Section 12(B)] (Apr. 27, 2017) (Telecommunications Weekly - Factiva, 05/17/2017)
                                                                                                                        Ticket prices for some local concerts could increase soon (Shreveport Times - Factiva, 05/17/2017)

5/18/2017 Thu   7,472,561   $24.59      $0.00   0.16%   0.37%   0.96%   0.97%    -0.81%     -0.68 49.48%       -$0.20   Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                        Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 05/18/2017)

                                                                                                                        COLORADO - PUC vacates hearing in CenturyLink-Level 3 merger case (TR's State NewsWire -
                                                                                                                        Factiva, 05/18/2017)
                                                                                                                        Corvex's Meister Turns the Tables on CenturyLink in Level 3 Merger (The Deal - Factiva,
                                                                                                                        05/18/2017)
                                                                                                                        Decision follows one to move Stock Show, held in Omaha since 1928, to G.I. (The Grand Island
                                                                                                                        Independent - Factiva, 05/18/2017)
                                                                                                                        FIRST IN THE WORLD-HERALD; Aksarben Rodeo won't be back this year; Decision follows one
                                                                                                                        to move Stock Show, held in Omaha since 1928, to Grand Island (Omaha World-Herald - Factiva,
                                                                                                                        05/18/2017)
                                                                                                                        For first time since 1946, Aksarben won't hold rodeo in Omaha this year (Cherokee Tribune -
                                                                                                                        Factiva, 05/18/2017)
                                                                                                                        For first time since 1946, Aksarben won't hold rodeo in Omaha this year (Mesabi Daily News -
                                                                                                                        Factiva, 05/18/2017)
                                                                                                                        For first time since 1946, Aksarben won't hold rodeo in Omaha this year (St. Joseph News-Press -
                                                                                                                        Factiva, 05/18/2017)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                          For first time since 1946, Aksarben won't hold rodeo in Omaha this year (Star-Herald - Factiva,
                                                                                                                          05/18/2017)
                                                                                                                          For first time since 1946, Aksarben won't hold rodeo in Omaha this year (The Anniston Star -
                                                                                                                          Factiva, 05/18/2017)
                                                                                                                          For first time since 1946, Aksarben won't hold rodeo in Omaha this year (The Caledonian-Record -
                                                                                                                          Factiva, 05/18/2017)
                                                                                                                          For first time since 1946, Aksarben won't hold rodeo in Omaha this year (The Daily Home - Factiva,
                                                                                                                          05/18/2017)
                                                                                                                          For first time since 1946, Aksarben won't hold rodeo in Omaha this year (The Hibbing Daily Tribune
                                                                                                                          - Factiva, 05/18/2017)
                                                                                                                          For first time since 1946, Aksarben won't hold rodeo in Omaha this year (Williston Daily Herald -
                                                                                                                          Factiva, 05/18/2017)
                                                                                                                          Jo Peterson Recognized as One of CRNs 2017 Women of the Channel (Mmegi - Factiva, 05/18/2017)

                                                                                                                          Level 3 to Present at the J.P. Morgan 45th Annual Technology, Media and Telecom Conference (PR
                                                                                                                          Newswire - Factiva, 05/18/2017 08:00 AM)
5/19/2017 Fri   10,497,668   $24.87      $0.00   1.14%   0.68%   0.41%    1.06%     0.08%      0.07 94.56%       $0.02    Five things that happened as you considered running for mayor (Puget Sound Business Journal -
                                                                                                                          Factiva, 05/19/2017)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/19/2017)
                                                                                                                          OREGON -CenturyLink ordered to submit plan to improve service quality (TR's State NewsWire -
                                                                                                                          Factiva, 05/19/2017)
                                                                                                                          (PR) CRN recognizes three CenturyLink Alliances professionals on its prestigious 2017 Women of
                                                                                                                          the Channel list (PR Newswire - Factiva, 05/19/2017 09:00 AM)
                                                                                                                          CRN recognizes three CenturyLink Alliances professionals on its prestigious 2017 Women of the
                                                                                                                          Channel list (Canada NewsWire - Factiva, 05/19/2017 09:00 AM)
                                                                                                                          Press Release: CRN recognizes three CenturyLink Alliances professionals on its prestigious 2017
                                                                                                                          Women of the Channel list (Dow Jones Institutional News - Factiva, 05/19/2017 09:00 AM)
                                                                                                                          Weekly Bond Price Indications - Week Ended May 19, 2017 (WSJ Pro Bankruptcy - Factiva,
                                                                                                                          05/19/2017 05:54 PM)
                                                                                                                          CenturyLink announces pricing and allocation of $6.0 billion Term Loan B Facility (PR Newswire -
                                                                                                                          Factiva, 05/19/2017 06:33 PM)
                                                                                                                          Press Release: CenturyLink announces pricing and allocation of $6.0 billion Term Loan B Facility
                                                                                                                          (Dow Jones Institutional News - Factiva, 05/19/2017 06:33 PM)
                                                                                                                          BRIEF-CenturyLink announces pricing of $6 bln term loan B facility (Reuters News - Factiva,
                                                                                                                          05/19/2017 07:50 PM)
5/20/2017 Sat
5/21/2017 Sun                                                                                                             Dana Filip-Crandall starts fourth year as First Interstate Bancsystem Director 21 May 2017 (People
                                                                                                                          in Business - Factiva, 05/21/2017)
5/22/2017 Mon    7,275,321   $24.95      $0.00   0.32%   0.52%   -0.25%   0.52%    -0.20%     -0.17 86.31%       -$0.05   CenturyLink Inc and Level 3 Communications at JPMorgan Tech, Media and Telecom Conference -
                                                                                                                          Final (Bloomberg Government Disclosure - Factiva, 05/22/2017)
                                                                                                                          CenturyLink announces pricing and allocation of $6.0 billion Term Loan B Facility (Kuwait Times -
                                                                                                                          Factiva, 05/22/2017)
                                                                                                                          CenturyLink ups term loan facility B to USD 6 bln (Telecompaper Americas - Factiva, 05/22/2017)

                                                                                                                          CenturyLink ups term loan facility B to USD 6 bln (Telecompaper World - Factiva, 05/22/2017)



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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                         IOWA - Wide Voice seeks more time to file testimony (TR's State NewsWire - Factiva, 05/22/2017)

                                                                                                                         Piper Jaffray Analyst Report (Eikon - Manual Entry, 05/22/2017)
                                                                                                                         Thomson Reuters StreetEvents Analyst Report (Eikon - Manual Entry, 05/22/2017)
                                                                                                                         TIMELINE-S&P Telecommunications index dwindles to four companies (Reuters News - Factiva,
                                                                                                                         05/22/2017 03:12 PM)
5/23/2017 Tue   7,264,082   $25.19      $0.00   0.96%   0.19%   -0.02%   0.25%     0.71%      0.61 54.45%       $0.18    CenturyLink one step closer to completing Level 3 deal (SNL Kagan Media & Communications
                                                                                                                         Report - Factiva, 05/23/2017)
                                                                                                                         CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 05/23/2017
                                                                                                                         06:00 AM)
                                                                                                                         Only half of global enterprises have a formal strategy for digital transformation and face
                                                                                                                         increasing disruption as a result, according to CenturyLink study conducted by 451 Research
                                                                                                                         (Canada NewsWire - Factiva, 05/23/2017 12:08 PM)
                                                                                                                         (PR) Only half of global enterprises have a formal strategy for digital transformation and face
                                                                                                                         increasing disruption as a result, according to CenturyLink study conducted by 451 Research (PR
                                                                                                                         Newswire - Factiva, 05/23/2017 12:09 PM)
                                                                                                                         Press Release: Only half of global enterprises have a formal strategy for digital transformation and
                                                                                                                         face increasing disruption as a result, according to CenturyLink study conducted by 451 Research
                                                                                                                         (Dow Jones Institutional News - Factiva, 05/23/2017 12:09 PM)
5/24/2017 Wed   5,120,307   $24.96      $0.00 -0.91%    0.25%   -0.80%   -0.05%   -0.86%     -0.74 46.00%       -$0.22   SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                         FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                         103-631 (US Fed News - Factiva, 05/24/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                         CENTURYLINK, FRONTIER COMMUNICATIONS OF THE CAROLINAS AND DEX MEDIA
                                                                                                                         FOR FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC
                                                                                                                         REGULATION 103-631 (US Fed News - Factiva, 05/24/2017)
                                                                                                                         SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES ORDER REGARDING
                                                                                                                         CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                         FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                         103-631 (US Fed News - Factiva, 05/24/2017)
                                                                                                                         IOWA - Wide Voice given more time to file testimony (TR's State NewsWire - Factiva, 05/24/2017)

                                                                                                                         La. Tech, CenturyLink partner for regional robotics event (The News-Star - Factiva, 05/24/2017)
                                                                                                                         Major local venues increase and adjust security measures (Omaha World-Herald - Factiva,
                                                                                                                         05/24/2017)
                                                                                                                         MINKABU THE INOFONOID, Inc. Analyst Report (Eikon - Manual Entry, 05/24/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 10-Q, Quarterly Report [Sections
                                                                                                                         13 Or 15(D)] (May. 5, 2017) (Telecommunications Weekly - Factiva, 05/24/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (May. 5, 2017)
                                                                                                                         (Telecommunications Weekly - Factiva, 05/24/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form SC 13D, General Statement of
                                                                                                                         Acquisition of Beneficial Ownership (May. 8, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                         05/24/2017)
                                                                                                                         TEXAS - PUC staff, CenturyLink submit settlement to resolve service quality issues (TR's State
                                                                                                                         NewsWire - Factiva, 05/24/2017)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                                        Insight Venture Partners Acquires Resolve Systems; Resolve Systems provides incident response
                                                                                                                        and automation products for security, IT and network operations (WSJ Pro Private Equity - Factiva,
                                                                                                                        05/24/2017 07:30 AM)
                                                                                                                        CenturyLink Declares Quarterly Cash Dividend (PR Newswire - Factiva, 05/24/2017 05:25 PM)
                                                                                                                        Press Release: CenturyLink Declares Quarterly Cash Dividend (Dow Jones Institutional News -
                                                                                                                        Factiva, 05/24/2017 05:25 PM)
5/25/2017 Thu   5,796,190   $24.93      $0.00 -0.12%   0.46%   0.08%    0.63%    -0.75%     -0.65 51.45%       -$0.19   United States : Only half of global enterprises have a formal strategy for digital transformation and
                                                                                                                        face increasing disruption as a result, according to CenturyLink study conducted by 451 Research
                                                                                                                        (PANAPRESS - Pan African News Agency - Factiva, 05/25/2017)
5/26/2017 Fri   4,897,035   $24.80      $0.00 -0.52%   0.04%   -0.20%   0.02%    -0.54%     -0.47 64.17%       -$0.13   BuySellSignals Research Analyst Report (Eikon - Manual Entry, 05/26/2017)
                                                                                                                        Chair of CenturyLink board announces retirement (The News-Star - Factiva, 05/26/2017)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 05/26/2017)
                                                                                                                        Rural Telcos, CenturyLink Urge FCC Not to Overhaul Jurisdictional Separations Rules
                                                                                                                        (Communications Daily - Factiva, 05/26/2017)
                                                                                                                        Rural Telcos, CenturyLink Urge FCC Not to Overhaul Jurisdictional Separations Rules (Warren's
                                                                                                                        Washington Internet Daily - Factiva, 05/26/2017)
                                                                                                                        World Internet Protocol Television (IPTV) CDN Market 2014-2022: Key Players are Broadcom
                                                                                                                        Corporation, CenturyLink, Orange, Akamai Technologies, Alcatel-Lucent, AT&T & Ericsson -
                                                                                                                        Research and Markets (Business Wire - Factiva, 05/26/2017 08:24 AM)
                                                                                                                        Weekly Bond Price Indications - Week Ended May 25, 2017 (WSJ Pro Bankruptcy - Factiva,
                                                                                                                        05/26/2017 04:34 PM)
5/27/2017 Sat                                                                                                           CenturyLink director Laurie A. Siegel awarded shares 27 May 2017 (People in Business - Factiva,
                                                                                                                        05/27/2017)
                                                                                                                        CenturyLink director Martha H. Bejar awarded shares 27 May 2017 (People in Business - Factiva,
                                                                                                                        05/27/2017)
                                                                                                                        CenturyLink director Virginia Boulet awarded shares 27 May 2017 (People in Business - Factiva,
                                                                                                                        05/27/2017)
5/28/2017 Sun
5/29/2017 Mon                                                                                                           CenturyLink, Inc. CenturyLink announces new integrated managed solution with automation and
                                                                                                                        management for SAP(R) applications (Journal of Engineering - Factiva, 05/29/2017)
                                                                                                                        ABQ schools get $32K to give teachers tech support; CenturyLink program to help 8 awardees
                                                                                                                        (Albuquerque Journal - Factiva, 05/29/2017)
5/30/2017 Tue   7,544,912   $24.98      $0.00   0.73% -0.11%   1.50%    0.64%     0.09%      0.08 93.92%       $0.02    09:01 EDT CenturyLink, Level 3 merger approved by Minnesota, VirginiaThe states...
                                                                                                                        (Theflyonthewall.com - Factiva, 05/30/2017)
                                                                                                                        MINNESOTA - PUC approves CenturyLink-Level 3 deal (TR's State NewsWire - Factiva,
                                                                                                                        05/30/2017)
                                                                                                                        Minnesota, Virginia Regulators Clear USD 34bn CenturyLink, Level 3 Tie-Up (M&A Navigator -
                                                                                                                        Factiva, 05/30/2017)
                                                                                                                        MORE STATES APPROVE CenturyLink-LEVEL 3 DEAL (TR Daily - Factiva, 05/30/2017)
                                                                                                                        More states give OK to Level 3-CenturyLink deal (Denver Business Journal Online - Factiva,
                                                                                                                        05/30/2017)
                                                                                                                        Minnesota and Virginia approve CenturyLink - Level 3 merge (PR Newswire - Factiva, 05/30/2017
                                                                                                                        09:00 AM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]     [10]       [11]         [12]                                                     [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                   Events
                                                                                                                           Press Release: Minnesota and Virginia approve CenturyLink - Level 3 merge (Dow Jones
                                                                                                                           Institutional News - Factiva, 05/30/2017 09:00 AM)
                                                                                                                           Minnesota and Virginia approve CenturyLink - Level 3 merger (PR Newswire - Factiva, 05/30/2017
                                                                                                                           09:31 AM)
5/31/2017 Wed   11,658,968   $24.95      $0.00 -0.12% -0.03%     0.41%   0.20%    -0.32%     -0.28 77.77%         -$0.08   Comcast rolls out 1 gigabit internet across Colorado (Denver Business Journal Online - Factiva,
                                                                                                                           05/31/2017)
                                                                                                                           Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 05/31/2017)

                                                                                                                           Level 3/CenturyLink merger gets approval from 2 more states (SNL Kagan Media &
                                                                                                                           Communications Report - Factiva, 05/31/2017)
                                                                                                                           States (Warren's Washington Internet Daily - Factiva, 05/31/2017)
                                                                                                                           United States : Minnesota and Virginia approve CenturyLink - Level 3 merger (Khaleej Times -
                                                                                                                           Factiva, 05/31/2017)
                                                                                                                           CenturyLink, Level 3 merger gets more regulatory clearances (SeeNews Deals - Factiva, 05/31/2017
                                                                                                                           11:08 AM)
 6/1/2017 Thu   20,750,437   $25.87      $0.54   5.85%   0.77%   0.02%   0.96%     4.89%      4.31   0.00% **     $1.22    Jeff Storey , Level 3 President & CEO, To Become CenturyLink President & CEO (CE
                                                                                                                           NoticiasFinancieras - Factiva, 06/01/2017)
                                                                                                                           Jeff Storey , Level 3 President & CEO, To Become CenturyLink President & CEO (RTT News -
                                                                                                                           Factiva, 06/01/2017)
                                                                                                                           Rackspace c-suite shakeup continues with new executives (San Antonio Business Journal Online -
                                                                                                                           Factiva, 06/01/2017)
                                                                                                                           Rackspace executive shakeup continues with two C-suite departures (Austin Business Journal Online -
                                                                                                                           Factiva, 06/01/2017)
                                                                                                                           SOUTH CAROLINA PUBLIC SERVICE COMMISSION ISSUES MATTER REGARDING
                                                                                                                           CENTURYLINK, FRONTIER COMMUNICATIONS OF CAROLINAS AND DEX MEDIA FOR
                                                                                                                           FULL OR PARTIAL WAIVER FROM DIRECTORY REQUIREMENTS OF SC REGULATION
                                                                                                                           103-631 (US Fed News - Factiva, 06/01/2017)
                                                                                                                           Barclays Analyst Report (Capital IQ - Manual Entry, 06/01/2017)
                                                                                                                           Barclays Analyst Report (Eikon - Manual Entry, 06/01/2017)
                                                                                                                           BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 06/01/2017)
                                                                                                                           Broomfield's Level 3 CEO Jeff Storey to head up CenturyLink (Daily Camera - Factiva, 06/01/2017)

                                                                                                                           Broomfield's Level 3 CEO Jeff Storey to head up CenturyLink (U-Wire - Factiva, 06/01/2017)
                                                                                                                           CenturyLink Adopts Succession Backed by Corvex's Meister (The Deal - Factiva, 06/01/2017)
                                                                                                                           CenturyLink and Level 3 announce post-acquisition CEO succession plan (Theflyonthewall.com -
                                                                                                                           Factiva, 06/01/2017)
                                                                                                                           CenturyLink CEO SUCCESSION PLAN (TR Daily - Factiva, 06/01/2017)
                                                                                                                           CenturyLink says Glen Post III will remain CEO until Jan. 1, 2019 (Reuters Significant
                                                                                                                           Developments - Factiva, 06/01/2017)
                                                                                                                           CenturyLink stockholders reject 2 shareholder proposals (SNL Kagan Media & Communications
                                                                                                                           Report - Factiva, 06/01/2017)
                                                                                                                           Cowen and Company Analyst Report (Eikon - Manual Entry, 06/01/2017)
                                                                                                                           Gordon Haskett Analyst Report (Eikon - Manual Entry, 06/01/2017)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                            Excess                                           Abnormal
                                                    Market Industry Predicted Abnormal                         Price
   Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                        Level 3 CEO to become CenturyLink CEO in 2019 (Denver Business Journal Online - Factiva,
                                                                                                                        06/01/2017)
                                                                                                                        Level 3's CEO in line to become CenturyLink's next CEO; Jeff Storey to take over as
                                                                                                                        CenturyLink's CEO in 2019 (The Denver Post - Factiva, 06/01/2017)
                                                                                                                        Macquarie Research Analyst Report (Eikon - Manual Entry, 06/01/2017)
                                                                                                                        Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 06/01/2017)
                                                                                                                        Morgan Stanley Analyst Report (Eikon - Manual Entry, 06/01/2017)
                                                                                                                        Outstanding Voices: CenturyLink's outreach expert lauds Seattle's LGBTQ pioneers (Video) (Puget
                                                                                                                        Sound Business Journal - Factiva, 06/01/2017)
                                                                                                                        S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 06/01/2017)
                                                                                                                        Storey to join CenturyLink as president, COO (Telecompaper World - Factiva, 06/01/2017)
                                                                                                                        TR Daily - June 1, 2017 FCC... (TR Daily - Factiva, 06/01/2017)
                                                                                                                        WBK OF COUNSEL (TR Daily - Factiva, 06/01/2017)
                                                                                                                        Wells Fargo Securities, LLC Analyst Report (Eikon - Manual Entry, 06/01/2017)
                                                                                                                        CenturyLink announces CEO succession plan (PR Newswire - Factiva, 06/01/2017 08:00 AM)
                                                                                                                        Press Release: CenturyLink announces CEO succession plan (Dow Jones Institutional News - Factiva,
                                                                                                                        06/01/2017 08:00 AM)
                                                                                                                        BRIEF-CenturyLink says Glen Post III will remain CEO until Jan. 1, 2019 (Reuters News - Factiva,
                                                                                                                        06/01/2017 08:15 AM)
                                                                                                                        CenturyLink Sticks To Storey -- Market Talk (Dow Jones Institutional News - Factiva, 06/01/2017
                                                                                                                        08:25 AM)
                                                                                                                        CenturyLink Sticks To Storey -- Market Talk (Dow Jones Institutional News - Factiva, 06/01/2017
                                                                                                                        08:25 AM)
                                                                                                                        Former CenturyLink Vice President Melissa Newman Joins Wilkinson Barker Knauer (Business
                                                                                                                        Wire - Factiva, 06/01/2017 08:30 AM)
                                                                                                                        BUZZ-U.S. STOCKS ON THE MOVE-Signet, CenturyLink, Express, Minerva, casino stocks
                                                                                                                        (Reuters News - Factiva, 06/01/2017 11:55 AM)
                                                                                                                        BUZZ-CenturyLink Inc: CEO Post to remain in his role till Jan 2019 (Reuters News - Factiva,
                                                                                                                        06/01/2017 11:59 AM)
                                                                                                                        BUZZ-U.S. STOCKS ON THE MOVE-Signet, automakers, Goodyear, Express, Dollar General
                                                                                                                        (Reuters News - Factiva, 06/01/2017 02:05 PM)
                                                                                                                        CenturyLink Files 8K - Changes Exec Mgmt >CTL (Dow Jones Institutional News - Factiva,
                                                                                                                        06/01/2017 05:22 PM)
                                                                                                                        CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 06/01/2017
                                                                                                                        05:22 PM)
6/2/2017 Fri   9,154,104   $25.87      $0.00   0.00%   0.37%   -0.27%   0.46%    -0.46%     -0.38 70.80%       -$0.12   Rackspace shakeup continues; COO exits, CenturyLink exec joins team (San Antonio Express-News -
                                                                                                                        Factiva, 06/02/2017)
                                                                                                                        CenturyLink CEO Post sets 2019 for retirement (The News-Star - Factiva, 06/02/2017)
                                                                                                                        CenturyLink outlines CEO succession plan (SNL Kagan Media & Communications Report - Factiva,
                                                                                                                        06/02/2017)
                                                                                                                        Communications Personals (Communications Daily - Factiva, 06/02/2017)




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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events
                                                                                                                       IOWA - Wide Voice withdraws application for operating authority (TR's State NewsWire - Factiva,
                                                                                                                       06/02/2017)
                                                                                                                       Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/02/2017)
                                                                                                                       Level 3 Ceo next to lead CenturyLink (The Denver Post - Factiva, 06/02/2017)
                                                                                                                       SOUTH DAKOTA - PUC allows Telrite to withdraw ETC application (TR's State NewsWire -
                                                                                                                       Factiva, 06/02/2017)
                                                                                                                       United States : CenturyLink announces CEO succession plan (DT News - Factiva, 06/02/2017)
                                                                                                                       CenturyLink fined $123K for communications outage (Associated Press Newswires - Factiva,
                                                                                                                       06/02/2017 12:28 PM)
6/3/2017 Sat                                                                                                           Business Briefcase for June 2, 2017 (Daily Camera - Factiva, 06/03/2017)
                                                                                                                       Level 3s Jeff Storey to Succeed Glen Post as CenturyLink CEO in 2019 (The Herald - Factiva,
                                                                                                                       06/03/2017)
6/4/2017 Sun                                                                                                           CenturyLink president is retiring (U-Wire - Factiva, 06/04/2017)
                                                                                                                       Editorials; Fundraisers shouldn't stop traffic (Statesman Journal - Factiva, 06/04/2017)
6/5/2017 Mon   7,532,570   $25.85      $0.00 -0.08% -0.12%    -0.06%   -0.10%    0.03%      0.02 98.23%       $0.01    CenturyLink announces Leverl 3's Jeff Storey as president and COO, to become CEO in '19
                                                                                                                       (Optical Networks Daily - Factiva, 06/05/2017)
                                                                                                                       CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Monitoring a
                                                                                                                       Connection of an End-User Device to a Network (USPTO 9660761) (Journal of Engineering - Factiva,
                                                                                                                       06/05/2017)
                                                                                                                       Telecommunications; Marana Police Department First to Implement Managed 9-1-1 Service
                                                                                                                       Solution (Journal of Engineering - Factiva, 06/05/2017)
                                                                                                                       Server General Announces a Key Management Service for MySQL Customers (GlobeNewswire -
                                                                                                                       Factiva, 06/05/2017 11:19 AM)
6/6/2017 Tue   8,653,785   $25.84      $0.00 -0.04% -0.28%    0.15%    -0.20%    0.16%      0.14 89.19%       $0.04    13Details: Behind the Wins at CenturyLink, Exxon and More (The Deal - Factiva, 06/06/2017)
                                                                                                                       Food bank getting boost from CenturyLink (Citrus County Chronicle - Factiva, 06/06/2017)
                                                                                                                       I placed my Amazon order with one click. Here's what happened next. (The Idaho Statesman -
                                                                                                                       Factiva, 06/06/2017)
                                                                                                                       Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 06/06/2017)
                                                                                                                       US M&A Deals: PPG, Linde, CenturyLink (SeeNews Deals - Factiva, 06/06/2017 06:26 AM)
                                                                                                                       (PR) CenturyLink Wins HPE 2017 Global Service Provider of the Year (PR Newswire - Factiva,
                                                                                                                       06/06/2017 09:00 AM)
                                                                                                                       CenturyLink Wins HPE 2017 Global Service Provider of the Year (Canada NewsWire - Factiva,
                                                                                                                       06/06/2017 09:00 AM)
                                                                                                                       Press Release: CenturyLink Wins HPE 2017 Global Service Provider of the Year (Dow Jones
                                                                                                                       Institutional News - Factiva, 06/06/2017 09:00 AM)
6/7/2017 Wed   6,632,403   $25.79      $0.00 -0.19%   0.18%   -0.03%   0.35%    -0.54%     -0.45 65.21%       -$0.14   Briefcase: CenturyLink receives Xcel Energy Achievement Award (Denver Business Journal -
                                                                                                                       Factiva, 06/07/2017)
                                                                                                                       CenturyLink Wins HPE 2017 Global Service Provider of the Year (ChannelTimes.com - Factiva,
                                                                                                                       06/07/2017)
                                                                                                                       GlobalData Analyst Report (Capital IQ - Manual Entry, 06/07/2017)
                                                                                                                       GlobalData Analyst Report (Eikon - Manual Entry, 06/07/2017)
                                                                                                                       IOWA - IUB allows Wide Voice to withdraw application for operating authority (TR's State
                                                                                                                       NewsWire - Factiva, 06/07/2017)



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     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                     [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                          Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (May. 23,
                                                                                                                          2017) (Telecommunications Weekly - Factiva, 06/07/2017)
                                                                                                                          TEXAS - Proposed order approves CenturyLink service quality settlement (TR's State NewsWire -
                                                                                                                          Factiva, 06/07/2017)
                                                                                                                          United States : CenturyLink Wins HPE 2017 Global Service Provider of the Year (CPI Financial -
                                                                                                                          Factiva, 06/07/2017)
                                                                                                                          WASHINGTON - CenturyLink to pay $123,210 for 2016 service outage (TR's State NewsWire -
                                                                                                                          Factiva, 06/07/2017)
                                                                                                                          Xavier teacher wins 'Teachers and Technology' grant (North Scottsdale Independent - Factiva,
                                                                                                                          06/07/2017)
 6/8/2017 Thu    7,032,499   $25.98      $0.00   0.74%   0.03%   -0.59%   -0.20%    0.94%      0.78 43.42%       $0.24    CenturyLink doubling investment in Seahawks stadium naming rights (SeattlePI.com - Factiva,
                                                                                                                          06/08/2017)
                                                                                                                          CENTURYLINK OFFERS SUBSTANTIAL INCREASE TO KEEP NAMING RIGHTS (The
                                                                                                                          Spokesman-Review - Factiva, 06/08/2017)
                                                                                                                          CenturyLink will pay more to keep name on stadium (The Spokesman-Review (Tribune Content
                                                                                                                          Agency) - Factiva, 06/08/2017)
                                                                                                                          CFRA Equity Research Analyst Report (Eikon - Manual Entry, 06/08/2017)
                                                                                                                          Food bank to benefit from virtual food drive (The Dothan Eagle - Factiva, 06/08/2017)
                                                                                                                          Money will help fund Garehime teacher's circuitry program (The Las Vegas Review-Journal -
                                                                                                                          Factiva, 06/08/2017)
                                                                                                                          US Media & Comm management moves through June 7: CenturyLink, TEGNA (SNL Financial
                                                                                                                          Extra - Factiva, 06/08/2017)
 6/9/2017 Fri   10,329,524   $26.11      $0.00   0.50% -0.08%    0.94%    0.56%    -0.06%     -0.05 95.76%       -$0.02   CenturyLink, Inc. Minnesota and Virginia approve CenturyLink - Level 3 merge (Investment
                                                                                                                          Weekly News - Factiva, 06/09/2017)
                                                                                                                          FCC PAUSES Ã¢â‚¬ËœSHOT-CLOCKÃ¢â‚¬â„¢ IN REVIEW OF CenturyLinkÃ¢â‚¬â€œLEVEL
                                                                                                                          3 MERGER (TR Daily - Factiva, 06/09/2017)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for Auto-Summarizing Video Content
                                                                                                                          System and Method (USPTO 9667937) (Entertainment Newsweekly - Factiva, 06/09/2017)
                                                                                                                          Food drive, CenturyLink promotion to benefit Durango Food Bank (The Durango Herald - Factiva,
                                                                                                                          06/09/2017)
                                                                                                                          Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/09/2017)
                                                                                                                          NATIONAL - FCC pauses 'shot-clock' in review of CenturyLink-Level 3 merger (TR's State
                                                                                                                          NewsWire - Factiva, 06/09/2017)
                                                                                                                          Weekly Bond Price Indications - Week Ended June 8, 2017 (WSJ Pro Bankruptcy - Factiva,
                                                                                                                          06/09/2017 04:34 PM)
6/10/2017 Sat                                                                                                             CENTURYLINK UPDATES DIRECTOR PROFILES (People in Business - Factiva, 06/10/2017)
6/11/2017 Sun                                                                                                             CenturyLink to add local call center jobs (Jefferson City News-Tribune - Factiva, 06/11/2017)
6/12/2017 Mon   10,001,215   $26.60      $0.00   1.88% -0.09%    0.97%    0.58%     1.30%      1.09 27.93%       $0.34    U.S. Supreme Court wonÃ¢â‚¬â„¢t hear ex-Qwest CEO NacchioÃ¢â‚¬â„¢s appeal on taxes (Denver
                                                                                                                          Business Journal Online - Factiva, 06/12/2017)
                                                                                                                          CenturyLink adds jobs in Missouri (Kansas City Business Journal Online - Factiva, 06/12/2017)
                                                                                                                          CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Collapsing
                                                                                                                          Search Results (USPTO 9665640) (Journal of Engineering - Factiva, 06/12/2017)




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                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat    p-Value   Reaction                                                  Events
                                                                                                                           ThreatConnect Partners with CenturyLink for Managed Security Services (Business Wire - Factiva,
                                                                                                                           06/12/2017 09:15 AM)
                                                                                                                           High court won't hear appeal from former Qwest CEO (Associated Press Newswires - Factiva,
                                                                                                                           06/12/2017 09:42 AM)
                                                                                                                           CenturyLink announces availability of CenturyLink Managed Enterprise with Cisco Meraki
                                                                                                                           (MarketLine News and Comment - Factiva, 06/12/2017 08:00 PM)
6/13/2017 Tue   10,276,780   $27.24      $0.00   2.41%   0.48%   -1.40%   -0.06%    2.46%      2.05   4.28% *     $0.66    IN BRIEF (The Times Reporter - Factiva, 06/13/2017)
                                                                                                                           Breakfast Technical Briefing on Telecom Services Stocks -- Frontier Communications, AT&T,
                                                                                                                           Verizon Communications, and CenturyLink (PR Newswire - Factiva, 06/13/2017 06:10 AM)
                                                                                                                           CenturyLink launches CenturyLink(R) Managed Enterprise with Cisco Meraki (PR Newswire -
                                                                                                                           Factiva, 06/13/2017 09:00 AM)
                                                                                                                           CenturyLink launches CenturyLinkÃ‚Â® Managed Enterprise with Cisco Meraki; Cloud-based
                                                                                                                           solution delivers simplified network management through a single administrative dashboard
                                                                                                                           (Canada NewsWire - Factiva, 06/13/2017 09:00 AM)
                                                                                                                           Press Release: CenturyLink launches CenturyLink(R) Managed Enterprise with Cisco Meraki
                                                                                                                           (Dow Jones Institutional News - Factiva, 06/13/2017 09:00 AM)
                                                                                                                           Press Release: CenturyLink launches CenturyLinkÃ‚Â® Managed Enterprise with Cisco Meraki
                                                                                                                           (Dow Jones Institutional News - Factiva, 06/13/2017 09:00 AM)
                                                                                                                           CenturyLink offers 1Gbps service to 32,827 small to large business customers (MarketLine News and
                                                                                                                           Comment - Factiva, 06/13/2017 08:00 PM)
6/14/2017 Wed   10,311,725   $27.31      $0.00   0.26% -0.09%    0.34%    0.23%     0.03%      0.03 97.97%        $0.01    PENNSYLVANIA PUC APPROVES CenturyLink-LEVEL 3 DEAL (TR Daily - Factiva, 06/14/2017)

                                                                                                                           Wilkinson Barker Knauer, LLP; Former CenturyLink Vice President Melissa Newman Joins
                                                                                                                           Wilkinson Barker Knauer (Telecommunications Weekly - Factiva, 06/14/2017)
                                                                                                                           Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 06/14/2017)

                                                                                                                           CenturyLink launches Managed Enterprise with Cisco Meraki (Telecompaper World - Factiva,
                                                                                                                           06/14/2017)
                                                                                                                           Court vacates FCC caps on in-state inmate calls (SNL Kagan Media & Communications Report -
                                                                                                                           Factiva, 06/14/2017)
                                                                                                                           Friday deadline for virtual food drive (The Dothan Eagle - Factiva, 06/14/2017)
                                                                                                                           PENNSYLVANIA - PUC approves CenturyLink-Level 3 deal (TR's State NewsWire - Factiva,
                                                                                                                           06/14/2017)
                                                                                                                           Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                           Beneficial Ownership of Securities (May. 26, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                           06/14/2017)
                                                                                                                           ThreatConnect Partners with CenturyLink for Managed Security Services (Yedioth Ahronoth -
                                                                                                                           Factiva, 06/14/2017)
                                                                                                                           Trademarks; An Application for the Trademark "EASY TALK" Has Been Filed by CenturyLink
                                                                                                                           (Telecommunications Weekly - Factiva, 06/14/2017)
                                                                                                                           Trademarks; Qwest Communications International's Trademark Application for "QWEST
                                                                                                                           BUSINESS REFERRAL PROGRAM CONNECT. REWARD. REPEAT." Filed
                                                                                                                           (Telecommunications Weekly - Factiva, 06/14/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]         [12]                                                     [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                   Events
                                                                                                                           Trademarks; Trademark Application for "CENTURYLINK" Filed by CenturyLink
                                                                                                                           (Telecommunications Weekly - Factiva, 06/14/2017)
                                                                                                                           United States : CenturyLink launches CenturyLink Managed Enterprise with Cisco Meraki (The
                                                                                                                           Palestine Chronicle - Factiva, 06/14/2017)
                                                                                                                           Vermilion Technical Research Analyst Report (Eikon - Manual Entry, 06/14/2017)
                                                                                                                           Wright Investors Service Inc. Analyst Report (Eikon - Manual Entry, 06/14/2017)
6/15/2017 Thu   11,894,006   $26.95      $0.00 -1.32% -0.21%    0.22%    0.01%    -1.33%     -1.09 27.62%         -$0.36   CALIFORNIA - CenturyLink, Level 3 urge PUC to approve merger (TR's State NewsWire - Factiva,
                                                                                                                           06/15/2017)
                                                                                                                           Stadium Authority approves deal that doubles cost of naming rights for CenturyLink Field (Puget
                                                                                                                           Sound Business Journal - Factiva, 06/15/2017)
6/16/2017 Fri   43,059,324   $25.72      $0.00 -4.56%   0.03%   0.07%    0.25%    -4.82%     -3.96   0.01% **     -$1.30   14:13 EDT CenturyLink accused by employee of Wells Fargo-like scheme, Bloomberg...
                                                                                                                           (Theflyonthewall.com - Factiva, 06/16/2017)
                                                                                                                           14:28 EDT CenturyLink drops 6% after lawsuit accuses of Well Fargo-like scheme
                                                                                                                           (Theflyonthewall.com - Factiva, 06/16/2017)
                                                                                                                           14:31 EDT Level 3 follows CenturyLink lower, drops 4% to $61.53 (Theflyonthewall.com - Factiva,
                                                                                                                           06/16/2017)
                                                                                                                           14:32 EDT Technical View: CenturyLink trades sharply lowerThe shares have spiked...
                                                                                                                           (Theflyonthewall.com - Factiva, 06/16/2017)
                                                                                                                           14:38 EDT CenturyLink, Level 3 slide after report of whistleblower lawsuitShares...
                                                                                                                           (Theflyonthewall.com - Factiva, 06/16/2017)
                                                                                                                           14:38 EDT Technical View: Level 3 trades down with CenturyLinkThe stock was last...
                                                                                                                           (Theflyonthewall.com - Factiva, 06/16/2017)
                                                                                                                           CenturyLink launches Managed Enterprise with Cisco Meraki service (Optical Networks Daily -
                                                                                                                           Factiva, 06/16/2017)
                                                                                                                           CenturyLink whistleblower alleges fraudulent billings scheme, Bloomberg says
                                                                                                                           (Theflyonthewall.com - Factiva, 06/16/2017)
                                                                                                                           CFRA Equity Research Analyst Report (Capital IQ - Manual Entry, 06/16/2017)
                                                                                                                           CFRA Equity Research Analyst Report (Eikon - Manual Entry, 06/16/2017)
                                                                                                                           COLORADO - ALJ recommends approval of CenturyLink-Level 3 deal (TR's State NewsWire -
                                                                                                                           Factiva, 06/16/2017)
                                                                                                                           Global Session Initiation Protocol Trunking Market to Grow at a CAGR of 18%, 2017-2021 with
                                                                                                                           AT&T, CenturyLink, Verizon & XO Communications Dominating (iCrowdNewswire - Factiva,
                                                                                                                           06/16/2017)
                                                                                                                           Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/16/2017)
                                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 06/16/2017)
                                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 06/16/2017)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 06/16/2017)
                                                                                                                           Morningstar Inc. Analyst Report (Eikon - Manual Entry, 06/16/2017)
                                                                                                                           State Telecom (Communications Daily - Factiva, 06/16/2017)
                                                                                                                           States (Warren's Washington Internet Daily - Factiva, 06/16/2017)
                                                                                                                           Leveraged Syndicated Loans - Week Ended June 15, 2017 (WSJ Pro Bankruptcy - Factiva, 06/16/2017
                                                                                                                           11:46 AM)




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                                        CASE 0:18-cv-00296-MJD-JFD                              Doc. 191-3                Filed 01/21/20                  Page 528 of 691


                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]        [12]                                                      [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value   Reaction                                                    Events
                                                                                                                          BUZZ-CenturyLink, Level 3 tumble on whistleblower report (Reuters News - Factiva, 06/16/2017
                                                                                                                          03:08 PM)
                                                                                                                          CenturyLink's ex-employee alleges fraudulent sales practice - BBG (Reuters News - Factiva,
                                                                                                                          06/16/2017 03:48 PM)
                                                                                                                          CenturyLink Shares Fall as Hit with Lawsuit, Downgrade -- Barron's Blog (Dow Jones Institutional
                                                                                                                          News - Factiva, 06/16/2017 04:27 PM)
                                                                                                                          UPDATE 2-CenturyLink's ex-employee alleges fraudulent sales practice - BBG (Reuters News -
                                                                                                                          Factiva, 06/16/2017 04:44 PM)
6/17/2017 Sat                                                                                                             Briefs (The Denver Post - Factiva, 06/17/2017)
                                                                                                                          Suit accuses CenturyLink of Wells Fargo -like scam (The News-Star - Factiva, 06/17/2017)
6/18/2017 Sun                                                                                                             Fired CenturyLink worker files lawsuit alleging fraud (The Arizona Republic - Factiva, 06/18/2017)

6/19/2017 Mon   18,616,638   $25.36      $0.00 -1.40%   0.84%   -0.76%   0.91%    -2.31%     -1.89   6.12%       -$0.59   15:50 EDT CenturyLink whistleblower suit impact likely limited, says Morgan...
                                                                                                                          (Theflyonthewall.com - Factiva, 06/19/2017)
                                                                                                                          ALASKA - RCA approves CenturyLink-Level 3 merger (TR's State NewsWire - Factiva, 06/19/2017)

                                                                                                                          ALASKA COMMISSION APPROVES CenturyLink-Level 3 MERGER (TR Daily - Factiva,
                                                                                                                          06/19/2017)
                                                                                                                          CenturyLink accused of unethical sales techniques; Level 3 shares dragged down (Denver Business
                                                                                                                          Journal Online - Factiva, 06/19/2017)
                                                                                                                          CenturyLink faces class-action lawsuit seeking up to $12 billion (Insurance Information Institute
                                                                                                                          Database - Factiva, 06/19/2017)
                                                                                                                          Ex-Employee Claims CenturyLink Adding Toll Services to Customer without Consent (AAStocks
                                                                                                                          Financial News - Factiva, 06/19/2017)
                                                                                                                          Extreme heat: Record high temps could mean record energy use (Phoenix Business Journal Online -
                                                                                                                          Factiva, 06/19/2017)
                                                                                                                          Gabelli & Company, Inc. Analyst Report (Capital IQ - Manual Entry, 06/19/2017)
                                                                                                                          Gabelli & Company, Inc. Analyst Report (Eikon - Manual Entry, 06/19/2017)
                                                                                                                          Mobile kingpins, regulator among big VAT defaulters (The Financial Express (Bangladesh) - Factiva,
                                                                                                                          06/19/2017)
                                                                                                                          Morgan Stanley Analyst Report (Capital IQ - Manual Entry, 06/19/2017)
                                                                                                                          Morgan Stanley Analyst Report (Eikon - Manual Entry, 06/19/2017)
                                                                                                                          EQUITY ALERT: Rosen Law Firm Announces Investigation of Securities Claims Against
                                                                                                                          CenturyLink, Inc . - CTL (Business Wire - Factiva, 06/19/2017 11:41 AM)
                                                                                                                          SHAREHOLDER ALERT: Bronstein, Gewirtz & Grossman, LLC Announces Investigation of
                                                                                                                          CenturyLink, Inc . (CTL) (PR Newswire - Factiva, 06/19/2017 12:25 PM)
                                                                                                                          Glancy Prongay & Murray LLP Commences Investigation on Behalf of CenturyLink, Inc.
                                                                                                                          Investors (Business Wire - Factiva, 06/19/2017 12:50 PM)
                                                                                                                          SHAREHOLDER ALERT: Levi & Korsinsky, LLP Reminds Investors of the Commencement of an
                                                                                                                          Investigation Involving Possible Securities Fraud Violations by the Board of Directors of
                                                                                                                          CenturyLink, Inc . (Business Wire - Factiva, 06/19/2017 01:20 PM)
                                                                                                                          CENTURYLINK INVESTOR ALERT: Faruqi & Faruqi , LLP Encourages Investors Who
                                                                                                                          Suffered Losses Exceeding $100,000 Investing In CenturyLink, Inc . To Contact The Firm (PR
                                                                                                                          Newswire - Factiva, 06/19/2017 01:43 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                         SHAREHOLDER ALERT: Goldberg Law PC Announces an Investigation of CenturyLink, Inc .
                                                                                                                         (Business Wire - Factiva, 06/19/2017 01:43 PM)
                                                                                                                         IMPORTANT INVESTOR ALERT: Lundin Law PC Announces an Investigation of CenturyLink,
                                                                                                                         Inc . and Advises Investors with Losses to Contact the Firm (Business Wire - Factiva, 06/19/2017
                                                                                                                         02:47 PM)
                                                                                                                         SHAREHOLDER ALERT: Pomerantz Law Firm Investigates Claims On Behalf of Investors of
                                                                                                                         CenturyLink, Inc . - CTL (PR Newswire - Factiva, 06/19/2017 02:54 PM)
                                                                                                                         IMPORTANT SHAREHOLDER ALERT: Khang & Khang LLP Announces an Investigation of
                                                                                                                         CenturyLink, Inc . and Encourages Investors with Losses to Contact the Firm (Business Wire -
                                                                                                                         Factiva, 06/19/2017 04:16 PM)
6/20/2017 Tue   21,075,049   $24.70      $0.00 -2.60% -0.67%   -0.55%   -1.08%    -1.52%     -1.24 21.66%       -$0.39   11:05 EDT CenturyLink down nearly 3% in morning tradingContacts tell The Fly...
                                                                                                                         (Theflyonthewall.com - Factiva, 06/20/2017)
                                                                                                                         CenturyLink director Michael J. Roberts awarded Phantom Stocks 19 June 2017 (People in
                                                                                                                         Business - Factiva, 06/20/2017)
                                                                                                                         CenturyLink expands business gigabit broadband footprint in Minnesota (Kabulpress.org - Factiva,
                                                                                                                         06/20/2017)
                                                                                                                         CenturyLink hit with $12bn class action suit (Global Telecoms Business - Factiva, 06/20/2017)
                                                                                                                         Centurylink says Centurylink Escrow LLC entered into a credit agreement (Reuters Significant
                                                                                                                         Developments - Factiva, 06/20/2017)
                                                                                                                         NEW YORK - PSC approves CenturyLink-Level 3 deal (TR's State NewsWire - Factiva, 06/20/2017)

                                                                                                                         NEW YORK REGULATORS APPROVE CenturyLink-Level 3 DEAL (TR Daily - Factiva,
                                                                                                                         06/20/2017)
                                                                                                                         Portland woman sues CenturyLink, alleging overbilling, hidden fees (The Oregonian (Tribune
                                                                                                                         Content Agency) - Factiva, 06/20/2017)
                                                                                                                         CenturyLink wins VMware Cloud Provider 2016 Global Partner Innovation Award (PR Newswire -
                                                                                                                         Factiva, 06/20/2017 09:00 AM)
                                                                                                                         CenturyLink wins VMware Cloud Provider 2016 Global Partner Innovation Award; Partners
                                                                                                                         awarded for extraordinary performance and notable achievements (Canada NewsWire - Factiva,
                                                                                                                         06/20/2017 09:00 AM)
                                                                                                                         Press Release: CenturyLink wins VMware Cloud Provider 2016 Global Partner Innovation Award
                                                                                                                         (Dow Jones Institutional News - Factiva, 06/20/2017 09:00 AM)
                                                                                                                         INVESTOR ALERT: Law Offices of Howard G. Smith Commences Investigation on Behalf of
                                                                                                                         CenturyLink, Inc. Investors (Business Wire - Factiva, 06/20/2017 02:14 PM)
                                                                                                                         CTL Investors Alert: Hagens Berman Alerts Investors in CenturyLink, Inc . to Investigation into
                                                                                                                         Possible Securities Law Violations (PR Newswire - Factiva, 06/20/2017 04:00 PM)
                                                                                                                         Press Release: CTL Investors Alert: Hagens Berman Alerts Investors in CenturyLink, Inc . to
                                                                                                                         Investigation into Possible Securities Law Violations (Dow Jones Institutional News - Factiva,
                                                                                                                         06/20/2017 04:00 PM)
                                                                                                                         INVESTOR ALERT: Goldberg Law PC Announces an Investigation of CenturyLink, Inc .
                                                                                                                         (Business Wire - Factiva, 06/20/2017 04:08 PM)
                                                                                                                         CenturyLink Files 8K - Direct Or Off-Balance Sheet Financial Obligation >CTL (Dow Jones
                                                                                                                         Institutional News - Factiva, 06/20/2017 04:38 PM)
                                                                                                                         CenturyLink Files 8K - Entry Into Definitive Agreement >CTL (Dow Jones Institutional News -
                                                                                                                         Factiva, 06/20/2017 04:38 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                     [13]
                                                              Excess                                          Abnormal
                                                      Market Industry Predicted Abnormal                        Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                   Events
                                                                                                                         BRIEF-Centurylink says Centurylink Escrow LLC entered into a credit agreement (Reuters News -
                                                                                                                         Factiva, 06/20/2017 05:16 PM)
                                                                                                                         Bragar Eagel & Squire, P.C. Is Investigating CenturyLink, Inc. (CTL) on Behalf of Stockholders
                                                                                                                         and Encourages Investors to Contact the Firm (Business Wire - Factiva, 06/20/2017 05:30 PM)

                                                                                                                         IMPORTANT SHAREHOLDER ALERT: Lundin Law PC Announces an Investigation of
                                                                                                                         CenturyLink, Inc . and Advises Investors with Losses to Contact the Firm (Business Wire - Factiva,
                                                                                                                         06/20/2017 06:29 PM)
6/21/2017 Wed   14,707,254   $24.44      $0.00 -1.05% -0.05%   -1.19%   -0.61%    -0.44%     -0.36 72.26%       -$0.11   Class-action suit alleges overbilling, hidden fees (The Oregonian - Factiva, 06/21/2017)
                                                                                                                         Gordon Haskett Analyst Report (Eikon - Manual Entry, 06/21/2017)
                                                                                                                         TELECOM EXECUTIVES TO MEET AT WHITE HOUSE (TR Daily - Factiva, 06/21/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                         Beneficial Ownership of Securities (Jun. 5, 2017) (Telecommunications Weekly - Factiva, 06/21/2017)

                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                                         Communications, Business Combinations (Jun. 1, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                         06/21/2017)
                                                                                                                         Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Jun. 1, 2017)
                                                                                                                         (Telecommunications Weekly - Factiva, 06/21/2017)
                                                                                                                         UBS Analyst Report (Capital IQ - Manual Entry, 06/21/2017)
                                                                                                                         UBS Analyst Report (Eikon - Manual Entry, 06/21/2017)
                                                                                                                         United States : CenturyLink wins VMware Cloud Provider 2016 Global Partner Innovation Award
                                                                                                                         (Daily Tribune - Factiva, 06/21/2017)
                                                                                                                         Wireline (Communications Daily - Factiva, 06/21/2017)
                                                                                                                         BUZZ-U.S. STOCKS ON THE MOVE-Red Hat, J C Penney, CenturyLink, Adobe and gold stocks
                                                                                                                         (Reuters News - Factiva, 06/21/2017 07:28 AM)
                                                                                                                         CenturyLink Falls for Fourth Day in a Row as Legal Threats Mount -- Barron's Blog (Dow Jones
                                                                                                                         Institutional News - Factiva, 06/21/2017 12:22 PM)
                                                                                                                         CenturyLink Schedules Second Quarter 2017 Earnings Conference Call (PR Newswire - Factiva,
                                                                                                                         06/21/2017 04:18 PM)
                                                                                                                         Press Release: CenturyLink Schedules Second Quarter 2017 Earnings Conference Call (Dow Jones
                                                                                                                         Institutional News - Factiva, 06/21/2017 04:18 PM)
                                                                                                                         Pomerantz Law Firm Announces the Filing of a Class Action against CenturyLink, Inc . and
                                                                                                                         Certain Officers -- CTL (GlobeNewswire - Factiva, 06/21/2017 05:36 PM)
                                                                                                                         Glancy Prongay & Murray Announces the Filing of a Securities Class Action on Behalf of
                                                                                                                         CenturyLink, Inc. Investors and Encourages Investors to Contact the Firm (Business Wire - Factiva,
                                                                                                                         06/21/2017 07:00 PM)
                                                                                                                         CenturyLink announces new organizational structure (MarketLine News and Comment - Factiva,
                                                                                                                         06/21/2017 08:00 PM)
                                                                                                                         INVESTOR ALERT: Goldberg Law PC Announces the Filing of a Securities Class Action Lawsuit
                                                                                                                         against CenturyLink, Inc . (Business Wire - Factiva, 06/21/2017 08:44 PM)
6/22/2017 Thu   10,092,164   $24.35      $0.00 -0.37% -0.04%   -0.02%    0.07%    -0.43%     -0.35 72.58%       -$0.11   Pomerantz Law Firm Announces the Filing of a Class Action against CenturyLink, Inc . and
                                                                                                                         Certain Officers Ã¢â‚¬â€œ CTL (iCrowdNewswire - Factiva, 06/22/2017)
                                                                                                                         BofA Merrill Lynch Analyst Report (Capital IQ - Manual Entry, 06/22/2017)




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[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                           CenturyLink announces additional executive leadership appointments (Reuters Significant
                                                                                                           Developments - Factiva, 06/22/2017)
                                                                                                           CenturyLink Announces Executive Leadership Appointments - Quick Facts (CE NoticiasFinancieras -
                                                                                                           Factiva, 06/22/2017)
                                                                                                           CenturyLink Announces Executive Leadership Appointments - Quick Facts (RTT News - Factiva,
                                                                                                           06/22/2017)
                                                                                                           CenturyLink Intellectual Property LLC; Patent Issued for Multi-Antenna Distribution of Wireless
                                                                                                           Broadband in a Building (USPTO 9681308) (Computer Weekly News - Factiva, 06/22/2017)

                                                                                                           Video appears to show onetime CenturyLink diversity chief giving anti-gay sermon (The Oregonian
                                                                                                           (Tribune Content Agency) - Factiva, 06/22/2017)
                                                                                                           Zayo's top salesman jumps back to Level 3 after only one month (Denver Business Journal Online -
                                                                                                           Factiva, 06/22/2017)
                                                                                                           CenturyLink announces additional executive leadership appointments (PR Newswire - Factiva,
                                                                                                           06/22/2017 08:30 AM)
                                                                                                           Press Release: CenturyLink announces additional executive leadership appointments (Dow Jones
                                                                                                           Institutional News - Factiva, 06/22/2017 08:30 AM)
                                                                                                           BRIEF-CenturyLink announces additional executive leadership appointments (Reuters News -
                                                                                                           Factiva, 06/22/2017 08:46 AM)
                                                                                                           CenturyLink keeps Cisco Live always-on (PR Newswire - Factiva, 06/22/2017 09:00 AM)
                                                                                                           CenturyLink keeps Cisco Live always-on; CenturyLink proudly supports the Cisco Live Network
                                                                                                           Operations Center, which delivers one of the largest total transport capacities for a trade show
                                                                                                           (Canada NewsWire - Factiva, 06/22/2017 09:00 AM)
                                                                                                           Press Release: CenturyLink keeps Cisco Live always-on (Dow Jones Institutional News - Factiva,
                                                                                                           06/22/2017 09:00 AM)
                                                                                                           CENTURYLINK INVESTOR ALERT: Faruqi & Faruqi , LLP Encourages Investors Who
                                                                                                           Suffered Losses Exceeding $100,000 Investing In CenturyLink, Inc . To Contact The Firm (Business
                                                                                                           Wire - Factiva, 06/22/2017 12:36 PM)
                                                                                                           SHAREHOLDER ALERT: Bronstein, Gewirtz & Grossman, LLC Notifies Investors of Class
                                                                                                           Action Against CenturyLink, Inc . (CTL) & Lead Plaintiff Deadline: August 21, 2017 (PR Newswire -
                                                                                                           Factiva, 06/22/2017 02:14 PM)
                                                                                                           Press Release: Shareholder Class Action Filed Against CenturyLink, Inc . - CTL (Dow Jones
                                                                                                           Institutional News - Factiva, 06/22/2017 02:29 PM)
                                                                                                           Shareholder Class Action Filed Against CenturyLink, Inc . - CTL (PR Newswire - Factiva,
                                                                                                           06/22/2017 02:29 PM)
                                                                                                           CTL Investor Alert: Hagens Berman Alerts Investors in CenturyLink, Inc . to Securities Class
                                                                                                           Action and August 21, 2017 Lead Plaintiff Deadline (GlobeNewswire - Factiva, 06/22/2017 04:00 PM)

                                                                                                           CenturyLink Files 8K - Other Events >CTL (Dow Jones Institutional News - Factiva, 06/22/2017
                                                                                                           04:03 PM)
                                                                                                           IMPORTANT SHAREHOLDER ALERT: Lundin Law PC Announces Securities Class Action
                                                                                                           Lawsuit against CenturyLink, Inc. and Encourages Investors with Losses to Contact the Firm
                                                                                                           (Business Wire - Factiva, 06/22/2017 04:09 PM)
                                                                                                           INVESTOR ALERT: Levi & Korsinsky, LLP Reminds Investors of the Commencement of an
                                                                                                           Investigation Involving Possible Securities Fraud Violations by the Board of Directors of
                                                                                                           CenturyLink, Inc . (Business Wire - Factiva, 06/22/2017 05:18 PM)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Bragar Eagel & Squire, P.C. Announces That a Class Action Lawsuit Has Been Filed Against
                                                                                                                         CenturyLink, Inc. (CTL) and Encourages Investors to Contact the Firm (Business Wire - Factiva,
                                                                                                                         06/22/2017 05:30 PM)
                                                                                                                         EQUITY ALERT: Rosen Law Firm Announces Filing of Securities Class Action Lawsuit Against
                                                                                                                         CenturyLink, Inc . -- CTL (Business Wire - Factiva, 06/22/2017 08:27 PM)
6/23/2017 Fri   6,331,618   $24.41      $0.00   0.25%   0.16%   -0.27%   0.22%     0.03%      0.02 98.03%       $0.01    CenturyLink announces post-merger structure (SNL Kagan Media & Communications Report -
                                                                                                                         Factiva, 06/23/2017)
                                                                                                                         CenturyLink makes new appointments to leadership team (Global Telecoms Business - Factiva,
                                                                                                                         06/23/2017)
                                                                                                                         CenturyLink names new members to management team (Telecompaper Americas - Factiva,
                                                                                                                         06/23/2017)
                                                                                                                         CenturyLink reveals newest appointments to leadership team (Capacity Magazine - Factiva,
                                                                                                                         06/23/2017)
                                                                                                                         Communications Personals (Communications Daily - Factiva, 06/23/2017)
                                                                                                                         CTL Investor Alert: Hagens Berman Alerts Investors in CenturyLink, Inc . to Securities Class
                                                                                                                         Action and August 21, 2017 Lead Plaintiff Deadline (iCrowdNewswire - Factiva, 06/23/2017)
                                                                                                                         Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/23/2017)
                                                                                                                         United States : CenturyLink announces additional executive leadership appointments (Arab News -
                                                                                                                         Factiva, 06/23/2017)
                                                                                                                         United States : CenturyLink keeps Cisco Live always-on (Daily Tribune - Factiva, 06/23/2017)
                                                                                                                         Global Session Initiation Protocol Trunking Market to Grow at a CAGR of 18%, 2017-2021 with
                                                                                                                         AT&T, CenturyLink, Verizon & XO Communications Dominating - Research and Markets
                                                                                                                         (Business Wire - Factiva, 06/23/2017 05:25 AM)
                                                                                                                         CENTURYLINK LEAD PLAINTIFF DEADLINE ALERT: Faruqi & Faruqi , LLP Encourages
                                                                                                                         Investors Who Suffered Losses Exceeding $100,000 in CenturyLink, Inc . to Contact the Firm
                                                                                                                         (Business Wire - Factiva, 06/23/2017 10:53 AM)
                                                                                                                         Leveraged Syndicated Loans - Week Ended June 22, 2017 (WSJ Pro Bankruptcy - Factiva, 06/23/2017
                                                                                                                         10:55 AM)
                                                                                                                         IMPORTANT INVESTOR ALERT: Khang & Khang LLP Announces Securities Class Action
                                                                                                                         Lawsuit against CenturyLink, Inc . and Encourages Investors with Losses to Contact the Firm
                                                                                                                         (Business Wire - Factiva, 06/23/2017 12:16 PM)
                                                                                                                         The Law Offices of Howard G. Smith Announces the Filing of a Securities Class Action on Behalf of
                                                                                                                         CenturyLink, Inc. Investors and Encourages Investors to Contact the Firm (Business Wire - Factiva,
                                                                                                                         06/23/2017 12:59 PM)
                                                                                                                         SHAREHOLDER ALERT: Goldberg Law PC Announces the Filing of a Securities Class Action
                                                                                                                         Lawsuit against CenturyLink, Inc . (Business Wire - Factiva, 06/23/2017 01:53 PM)
                                                                                                                         CTL SHAREHOLDER ALERT: The Law Offices of Vincent Wong Notifies Investors of an
                                                                                                                         Investigation Concerning Possible Securities Violations by CenturyLink, Inc . (Business Wire -
                                                                                                                         Factiva, 06/23/2017 02:11 PM)
                                                                                                                         MW UPDATE: The biggest difference between baseball and football fans? We asked a beer vendor
                                                                                                                         (MarketWatch - Factiva, 06/23/2017 03:22 PM)
                                                                                                                         The biggest difference between baseball and football fans? We asked a beer vendor; Kevin Zelko
                                                                                                                         sells beer at Safeco Field and CenturyLink Field in Seattle. HereÃ¢â‚¬â„¢s what heÃ¢â‚¬â„¢s
                                                                                                                         learned. (MarketWatch - Factiva, 06/23/2017 03:22 PM)
                                                                                                                         Weekly Bond Price Indications - Week Ended June 22, 2017 (WSJ Pro Bankruptcy - Factiva,
                                                                                                                         06/23/2017 04:47 PM)



                                                                                                                                                                                                                        p. 364 of 374
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                                                                                               Appendix C
                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
    Date        Volume      Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                  Events

                                                                                                                         IMPORTANT INVESTOR ALERT: Lundin Law PC Announces Securities Class Action Lawsuit
                                                                                                                         against CenturyLink, Inc. and Encourages Investors with Losses to Contact the Firm (Business Wire
                                                                                                                         - Factiva, 06/23/2017 05:47 PM)
                                                                                                                         Gainey McKenna & Egleston Announces A Class Action Lawsuit Has Been Filed Against
                                                                                                                         CenturyLink, Inc . (CTL) (GlobeNewswire - Factiva, 06/23/2017 08:02 PM)
6/24/2017 Sat                                                                                                            Level 3 Vet Edward Morche to Serve as CenturyLink Federal Unit President After Merger
                                                                                                                         (Namibian Sun - Factiva, 06/24/2017)
                                                                                                                         IMPORTANT SHAREHOLDER ALERT: Khang & Khang LLP Announces Securities Class
                                                                                                                         Action Lawsuit against CenturyLink, Inc . and Encourages Investors with Losses to Contact the
                                                                                                                         Firm (Business Wire - Factiva, 06/24/2017 12:02 AM)
6/25/2017 Sun                                                                                                            CenturyLink offering faster internet& (The Daily Advance - Factiva, 06/25/2017)
                                                                                                                         SHAREHOLDER ALERT: Kessler Topaz Meltzer & Check, LLP Announces Class Action Lawsuit
                                                                                                                         Filed Against CenturyLink, Inc . (Business Wire - Factiva, 06/25/2017 08:00 AM)
6/26/2017 Mon   6,548,463   $24.55      $0.00   0.57%   0.03%   0.60%    0.55%     0.02%      0.02 98.57%       $0.01    Moody's says CenturyLink's class-action lawsuit is probably limited, but potentially credit negative
                                                                                                                         (Moody's Investors Service Press Release - Factiva, 06/26/2017)
                                                                                                                         Barclays Analyst Report (Capital IQ - Manual Entry, 06/26/2017)
                                                                                                                         Barclays Analyst Report (Eikon - Manual Entry, 06/26/2017)
                                                                                                                         CenturyLink details organisation, appoints further executives effective on Level 3 acquisition
                                                                                                                         (Optical Networks Daily - Factiva, 06/26/2017)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 06/26/2017)
                                                                                                                         Moodyâ€™s Analyst Report (Eikon - Manual Entry, 06/26/2017)
                                                                                                                         TRUMP TO NOMINATE DAVIDSON TO BE COMMERCE GC (TR Daily - Factiva, 06/26/2017)
                                                                                                                         IMPORTANT SHAREHOLDER ALERT: Lundin Law PC Announces a Securities Class Action
                                                                                                                         Lawsuit against CenturyLink, Inc. and Encourages Investors with Losses to Contact the Firm (PR
                                                                                                                         Newswire - Factiva, 06/26/2017 10:36 AM)
                                                                                                                         CTL INVESTOR ALERT: The Law Offices of Vincent Wong Reminds Investors of an
                                                                                                                         Investigation Concerning Possible Securities Violations by CenturyLink, Inc . (Business Wire -
                                                                                                                         Factiva, 06/26/2017 12:42 PM)
                                                                                                                         Investor Update: The Law Offices of Howard G. Smith Announces An Expanded Class Period in
                                                                                                                         the Securities Class Action Lawsuit Pending Against CenturyLink, Inc. (Business Wire - Factiva,
                                                                                                                         06/26/2017 01:47 PM)
                                                                                                                         IMPORTANT INVESTOR ALERT: Khang & Khang LLP Announces a Securities Class Action
                                                                                                                         Lawsuit against CenturyLink, Inc . and Encourages Investors with Losses to Contact the Firm (PR
                                                                                                                         Newswire - Factiva, 06/26/2017 03:01 PM)
                                                                                                                         Press Release: IMPORTANT INVESTOR ALERT: Khang & Khang LLP Announces a Securities
                                                                                                                         Class Action Lawsuit against CenturyLink, Inc . and Encourages Investors with Losses to Contact
                                                                                                                         the Firm (Dow Jones Institutional News - Factiva, 06/26/2017 03:01 PM)
                                                                                                                         SHAREHOLDER ALERT: Brower Piven Notifies Investors of Class Action Lawsuit And
                                                                                                                         Encourages Those Who Have Losses In Excess Of $100,000 From Investment In CenturyLink, Inc.
                                                                                                                         (NYSE: CTL) To Contact Brower Piven Before The Lead Plaintiff Deadline (GlobeNewswire -
                                                                                                                         Factiva, 06/26/2017 04:52 PM)
                                                                                                                         Moody's Says Centurylink's Class-action Lawsuit Is Probably Limited, But Potentially Credit
                                                                                                                         Negative (Dow Jones Institutional News - Factiva, 06/26/2017 06:19 PM)
6/27/2017 Tue   7,425,723   $24.56      $0.00   0.04% -0.81%    -0.88%   -1.31%    1.35%      1.17 24.40%       $0.33    Are you a CenturyLink customer? This lawsuit says the company may have defrauded you (The
                                                                                                                         Idaho Statesman - Factiva, 06/27/2017)




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                                                                           CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                   [13]
                                                              Excess                                           Abnormal
                                                      Market Industry Predicted Abnormal                         Price
    Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                          CenturyLink employees, communities and Foundation contribute more than $1.9 million during
                                                                                                                          national food drive (PR Newswire - Factiva, 06/27/2017 09:00 AM)
                                                                                                                          SHAREHOLDER ALERT: Bronstein, Gewirtz & Grossman, LLC Notifies Investors of Class
                                                                                                                          Action Against CenturyLink, Inc . (CTL) & Lead Plaintiff Deadline: August 21, 2017
                                                                                                                          (GlobeNewswire - Factiva, 06/27/2017 10:10 AM)
                                                                                                                          The Klein Law Firm Notifies Investors of an Investigation Concerning Possible Violations of
                                                                                                                          Federal Securities Laws by CenturyLink, Inc . (Business Wire - Factiva, 06/27/2017 12:31 PM)
                                                                                                                          IMPORTANT EQUITY ALERT: Khang & Khang LLP Announces Securities Class Action
                                                                                                                          Lawsuit against CenturyLink, Inc . and Encourages Investors with Losses to Contact the Firm
                                                                                                                          (GlobeNewswire - Factiva, 06/27/2017 03:02 PM)
6/28/2017 Wed   10,785,646   $24.86      $0.00   1.22%   0.90%   -0.19%   1.11%     0.11%      0.09 92.65%       $0.03    CenturyLink, Inc. CenturyLink launches CenturyLink(R) Managed Enterprise with Cisco Meraki
                                                                                                                          (Telecommunications Weekly - Factiva, 06/28/2017)
                                                                                                                          11:54 EDT Level 3, CenturyLink reported to reach deal with California consumer...
                                                                                                                          (Theflyonthewall.com - Factiva, 06/28/2017)
                                                                                                                          Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                          Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 06/28/2017)

                                                                                                                          IMPORTANT EQUITY ALERT: Khang & Khang LLP Announces Securities Class Action
                                                                                                                          Lawsuit against CenturyLink, Inc . and Encourages Investors with Losses to Contact the Firm
                                                                                                                          (iCrowdNewswire - Factiva, 06/28/2017)
                                                                                                                          IMPORTANT EQUITY ALERT: Lundin Law PC Announces Securities Class Action Lawsuit
                                                                                                                          against CenturyLink, Inc. and Encourages Investors with Losses to Contact the Firm
                                                                                                                          (iCrowdNewswire - Factiva, 06/28/2017)
                                                                                                                          INVESTOR ALERT: Lundin Law PC Announces Securities Class Action Lawsuit against
                                                                                                                          CenturyLink, Inc. and Encourages Investors with Losses to Contact the Firm (ACCESSWIRE -
                                                                                                                          Factiva, 06/28/2017)
                                                                                                                          Lawsuit claims CenturyLink hit customers with extra charges, multiple accounts (Phoenix Business
                                                                                                                          Journal Online - Factiva, 06/28/2017)
                                                                                                                          LOUISIANA - Fifth Circuit affirms lower court's order requiring Sprint to pay over $12 million in
                                                                                                                          access charges to CenturyLink (TR's State NewsWire - Factiva, 06/28/2017)
                                                                                                                          SHAREHOLDER ALERT: Bronstein, Gewirtz & Grossman, LLC Notifies Investors of Class
                                                                                                                          Action Against CenturyLink, Inc . (CTL) & Lead Plaintiff Deadline: August 21, 2017
                                                                                                                          (iCrowdNewswire - Factiva, 06/28/2017)
                                                                                                                          SHAREHOLDER ALERT: Class Action Lawsuit Filed Against CenturyLink, Inc . - CTL
                                                                                                                          (ACCESSWIRE - Factiva, 06/28/2017)
                                                                                                                          SHAREHOLDER ALERT: Pomerantz Law Firm Reminds Shareholders with Losses on their
                                                                                                                          Investment in CenturyLink, Inc . of Class Action Lawsuit and Upcoming Deadline - CTL
                                                                                                                          (ACCESSWIRE - Factiva, 06/28/2017)
                                                                                                                          US Media & Comm management moves through June 28: CenturyLink, Turner, Pandora (SNL
                                                                                                                          Financial Extra - Factiva, 06/28/2017)
                                                                                                                          The Klein Law Firm Reminds Investors of an Investigation Concerning Possible Violations of
                                                                                                                          Federal Securities Laws by CenturyLink, Inc . (Business Wire - Factiva, 06/28/2017 12:35 PM)
6/29/2017 Thu    8,324,969   $24.18      $0.00 -2.74% -0.86%     -0.32%   -1.05%   -1.69%     -1.45 14.92%       -$0.42   Barclays Analyst Report (Capital IQ - Manual Entry, 06/29/2017)
                                                                                                                          Barclays Analyst Report (Eikon - Manual Entry, 06/29/2017)




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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                        SHAREHOLDER ALERT: Khang & Khang LLP Announces Securities Class Action Lawsuit
                                                                                                                        against CenturyLink, Inc . and Encourages Investors with Losses to Contact the Firm
                                                                                                                        (ACCESSWIRE - Factiva, 06/29/2017)
                                                                                                                        CTL INVESTORS ALERT: Lieff Cabraser Announces Securities Class Action Against
                                                                                                                        CenturyLink, Inc. (Business Wire - Factiva, 06/29/2017 09:00 AM)
                                                                                                                        SHAREHOLDER ALERT: Levi & Korsinsky, LLP Notifies Shareholders It Has Filed a Class
                                                                                                                        Action to Recover Losses Suffered by Investors in CenturyLink, Inc. and Lead Plaintiff Deadline is
                                                                                                                        Set for August 18, 2017 -- CTL (Business Wire - Factiva, 06/29/2017 10:41 AM)
                                                                                                                        CenturyLink: 'Reset in Expectations Seems in Order,' Says Barclays -- Barron's Blog (Dow Jones
                                                                                                                        Institutional News - Factiva, 06/29/2017 03:56 PM)
                                                                                                                        CENTURYLINK LEAD PLAINTIFF DEADLINE ALERT: Faruqi & Faruqi , LLP Encourages
                                                                                                                        Investors Who Suffered Losses Exceeding $100,000 In CenturyLink, Inc . To Contact The Firm (PR
                                                                                                                        Newswire - Factiva, 06/29/2017 04:50 PM)
                                                                                                                        IMPORTANT CENTURYLINK, INC. INVESTOR ALERT: Wolf Haldenstein Adler Freeman &
                                                                                                                        Herz LLP announces that a securities class action lawsuit has been filed in the United States
                                                                                                                        District Court for the Southern District of New York against CenturyLink, Inc . (GlobeNewswire -
                                                                                                                        Factiva, 06/29/2017 04:53 PM)
6/30/2017 Fri   8,531,499   $23.88      $0.00 -1.24%   0.16%   0.26%    0.42%    -1.66%     -1.42 15.81%       -$0.40   CenturyLink Bows Beta of OTT TV Service (The Palestine Chronicle - Factiva, 06/30/2017)
                                                                                                                        CETF tells Bloomberg no agreement reached with CenturyLink (Theflyonthewall.com - Factiva,
                                                                                                                        06/30/2017)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 06/30/2017)
                                                                                                                        SHAREHOLDER ALERT: Lundin Law PC Announces Securities Class Action Lawsuit against
                                                                                                                        CenturyLink, Inc. and Encourages Investors with Losses to Contact the Firm (ACCESSWIRE -
                                                                                                                        Factiva, 06/30/2017)
                                                                                                                        Skinny Bundles Boom: Charter, CenturyLink Latest to Target Cord Cutters With Streaming
                                                                                                                        Services (Variety - Factiva, 06/30/2017)
                                                                                                                        Tie-up trend: Why so many Colorado companies are merging (Denver Business Journal - Factiva,
                                                                                                                        06/30/2017)
                                                                                                                        Leveraged Syndicated Loans - Week Ended June 29, 2017 (WSJ Pro Bankruptcy - Factiva, 06/30/2017
                                                                                                                        01:42 PM)
                                                                                                                        INVESTOR ALERT: Levi & Korsinsky, LLP Reminds Shareholders It Has Filed a Class Action to
                                                                                                                        Recover Losses Suffered by Investors in CenturyLink, Inc. and Lead Plaintiff Deadline is Set for
                                                                                                                        August 18, 2017 (Business Wire - Factiva, 06/30/2017 02:11 PM)
                                                                                                                        SHAREHOLDER ALERT: Pomerantz Law Firm Reminds Shareholders with Losses on their
                                                                                                                        Investment in CenturyLink, Inc . of Class Action Lawsuit and Upcoming Deadline - CTL (PR
                                                                                                                        Newswire - Factiva, 06/30/2017 03:20 PM)
                                                                                                                        CTL Investor Update: Hagens Berman Alerts Investors in CenturyLink, Inc . to Expanded Class
                                                                                                                        Period in Securities Class Action and Reminds Them of August 21, 2017 Lead Plaintiff Deadline
                                                                                                                        (GlobeNewswire - Factiva, 06/30/2017 04:00 PM)
                                                                                                                        CTL LOSS NOTICE: Rosen Law Firm Reminds CenturyLink, Inc. Investors of Important
                                                                                                                        Deadline in Class Action (Business Wire - Factiva, 06/30/2017 05:22 PM)
 7/1/2017 Sat                                                                                                           Stacey W. Goff starts ninth year as CenturyLink Executive Vice President 01 July 2017 (People in
                                                                                                                        Business - Factiva, 07/01/2017)
                                                                                                                        WWE 'Monday Night Raw' at CenturyLink Center Sept. 4 (Omaha World-Herald - Factiva,
                                                                                                                        07/01/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
    [1]           [2]        [3]       [4]      [5]     [6]    [7]      [8]       [9]      [10]      [11]        [12]                                                    [13]
                                                             Excess                                           Abnormal
                                                     Market Industry Predicted Abnormal                         Price
   Date        Volume       Price    Dividend Return Return Return Return       Return     t-stat   p-Value   Reaction                                                 Events
                                                                                                                         Glen F. Post starts ninth year as CenturyLink CEO 01 July 2017 (People in Business - Factiva,
                                                                                                                         07/01/2017)
                                                                                                                         The cable companies are trying to court you, cord-cutters (San Diego Union-Tribune - Factiva,
                                                                                                                         07/01/2017)
7/2/2017 Sun
7/3/2017 Mon    5,541,467   $23.97      $0.00   0.38%   0.24%   0.73%    0.71%    -0.33%     -0.28 77.87%       -$0.08   CenturyLink Intellectual Property LLC; Patent Issued for System and Method for Advanced
                                                                                                                         Adaptive Pseudowire (USPTO 9686033) (Journal of Engineering - Factiva, 07/03/2017)
                                                                                                                         CenturyLink unveils beta version of new OTT service (Telecompaper Americas - Factiva, 07/03/2017)

                                                                                                                         INVESTOR ALERT: Khang & Khang LLP Announces Securities Class Action Lawsuit against
                                                                                                                         CenturyLink, Inc . and Encourages Investors with Losses to Contact the Firm (ACCESSWIRE -
                                                                                                                         Factiva, 07/03/2017)
                                                                                                                         The week in OTT: Charter testing skinny bundle; CenturyLink debuts OTT service (SNL Financial
                                                                                                                         Extra - Factiva, 07/03/2017)
                                                                                                                         Tower in Rocky Mount will stand (The Roanoke Times - Factiva, 07/03/2017)
                                                                                                                         Lifshitz & Miller LLP Announces Investigation of Aaron's, Inc., Axiom Holdings, Inc., Booz Allen
                                                                                                                         Hamilton Holding Corporation, CenturyLink, Inc., Endologix, Inc., Sky Solar Holdings, Ltd. and
                                                                                                                         Rightside Group, Ltd. (PR Newswire - Factiva, 07/03/2017 03:00 PM)
                                                                                                                         Press Release: Lifshitz & Miller LLP Announces Investigation of Aaron's, Inc., Axiom Holdings,
                                                                                                                         Inc., Booz Allen Hamilton Holding Corporation, CenturyLink, Inc., Endologix, Inc., Sky Solar
                                                                                                                         Holdings, Ltd. and Rightside Group, Ltd. (Dow Jones Institutional News - Factiva, 07/03/2017 03:00
                                                                                                                         PM)
                                                                                                                         CenturyLink becomes authorized premium supplier for SAP HANA(R) Enterprise Cloud in Asia
                                                                                                                         Pacific (PR Newswire - Factiva, 07/03/2017 09:00 PM)
                                                                                                                         CenturyLink becomes authorized premium supplier for SAP HANAÃ‚Â® Enterprise Cloud in Asia
                                                                                                                         Pacific (Canada NewsWire - Factiva, 07/03/2017 09:00 PM)
                                                                                                                         Press Release: CenturyLink becomes authorized premium supplier for SAP HANA(R) Enterprise
                                                                                                                         Cloud in Asia Pacific (Dow Jones Institutional News - Factiva, 07/03/2017 09:00 PM)
                                                                                                                         Press Release: CenturyLink becomes authorized premium supplier for SAP HANAÃ‚Â®
                                                                                                                         Enterprise Cloud in Asia Pacific (Dow Jones Institutional News - Factiva, 07/03/2017 09:00 PM)
7/4/2017 Tue                                                                                                             CenturyLink becomes authorized premium supplier for SAP HANAÃ‚Â® Enterprise Cloud in Asia
                                                                                                                         Pacific (iCrowdNewswire - Factiva, 07/04/2017)
                                                                                                                         SHAREHOLDER ALERT: Pomerantz Law Firm Reminds Shareholders with Losses on their
                                                                                                                         Investment in CenturyLink, Inc . of Class Action Lawsuit and Upcoming Deadline - CTL
                                                                                                                         (ACCESSWIRE - Factiva, 07/04/2017)
                                                                                                                         United States : CenturyLink becomes authorized premium supplier for SAP HANA Enterprise
                                                                                                                         Cloud in Asia Pacific (PANAPRESS - Pan African News Agency - Factiva, 07/04/2017)
                                                                                                                         Zacks Investment Research Inc. Analyst Report (Capital IQ - Manual Entry, 07/04/2017)
                                                                                                                         CenturyLink adds EagleForce's predictive analytics technology to GSA IT Schedule 70 contract
                                                                                                                         (MarketLine News and Comment - Factiva, 07/04/2017 08:00 PM)
7/5/2017 Wed   10,607,772   $23.74      $0.00 -0.96%    0.16%   -0.46%   0.10%    -1.06%      -0.9 37.22%       -$0.25   Kessler Topaz Meltzer & Check, LLP Reminds CenturyLink, Inc. Shareholders of Important
                                                                                                                         Deadline in Class Action Lawsuit (ACCESSWIRE - Factiva, 07/05/2017)
                                                                                                                         CenturyLink adds EagleForce opioid analytics to GSA IT schedule 70 contract
                                                                                                                         (Theflyonthewall.com - Factiva, 07/05/2017)
                                                                                                                         Cowen and Company Analyst Report (Eikon - Manual Entry, 07/05/2017)




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                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
    [1]          [2]        [3]       [4]      [5]    [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                            Excess                                          Abnormal
                                                    Market Industry Predicted Abnormal                        Price
   Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events
                                                                                                                       EQUITY ALERT: Lundin Law PC Announces Securities Class Action Lawsuit against
                                                                                                                       CenturyLink, Inc. and Encourages Investors with Losses to Contact the Firm (ACCESSWIRE -
                                                                                                                       Factiva, 07/05/2017)
                                                                                                                       Telephone Communications; Centurylink, Inc. Files SEC Form 4, Statement of Changes in
                                                                                                                       Beneficial Ownership of Securities (Jun. 19, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                       07/05/2017)
                                                                                                                       Telephone Communications; Centurylink, Inc. Files SEC Form SC 13D/A, General Statement of
                                                                                                                       Acquisition of Beneficial Ownership (Jun. 16, 2017) (Telecommunications Weekly - Factiva,
                                                                                                                       07/05/2017)
                                                                                                                       TEXAS - PUC approves CenturyLink service quality settlement (TR's State NewsWire - Factiva,
                                                                                                                       07/05/2017)
                                                                                                                       Kang's Take: Private Equity's Advantage In the Data Center Sector (WSJ Pro Private Equity -
                                                                                                                       Factiva, 07/05/2017 07:30 AM)
                                                                                                                       CenturyLink adds EagleForce opioid analytics to GSA IT Schedule 70 contract (PR Newswire -
                                                                                                                       Factiva, 07/05/2017 09:02 AM)
                                                                                                                       Press Release: CenturyLink adds EagleForce opioid analytics to GSA IT Schedule 70 contract (Dow
                                                                                                                       Jones Institutional News - Factiva, 07/05/2017 09:02 AM)
                                                                                                                       CenturyLink: Will New Execs Care as Much About High Dividend? -- Barron's Blog (Dow Jones
                                                                                                                       Institutional News - Factiva, 07/05/2017 11:22 AM)
                                                                                                                       CTL SHAREHOLDER ALERT: The Law Offices of Vincent Wong Reminds Investors of a Class
                                                                                                                       Action Involving CenturyLink, Inc. and a Lead Plaintiff Deadline of August 18, 2017 (Business Wire
                                                                                                                       - Factiva, 07/05/2017 11:56 AM)
                                                                                                                       CenturyLink's senior vice president named to Executive Leadership Council (MarketLine News and
                                                                                                                       Comment - Factiva, 07/05/2017 08:00 PM)
7/6/2017 Thu   8,895,865   $23.90      $0.00   0.67% -0.90%   -0.53%   -1.28%    1.96%      1.65 10.12%       $0.47    AT&T, VERIZON, OTHERS OPPOSE PLEAS TO SUSPEND ACCESS TARIFFS (TR Daily -
                                                                                                                       Factiva, 07/06/2017)
                                                                                                                       CenturyLink class-action lawsuit adds Arizona customers (Phoenix Business Journal Online - Factiva,
                                                                                                                       07/06/2017)
                                                                                                                       CenturyLink; CenturyLink employees, communities and Foundation contribute more than $1.9
                                                                                                                       million during national food drive (Food Weekly News - Factiva, 07/06/2017)
                                                                                                                       EQUITY ALERT: Khang & Khang LLP Announces Securities Class Action Lawsuit against
                                                                                                                       CenturyLink, Inc . and Encourages Investors with Losses to Contact the Firm (ACCESSWIRE -
                                                                                                                       Factiva, 07/06/2017)
                                                                                                                       MID MISSOURI (Jefferson City News-Tribune - Factiva, 07/06/2017)
                                                                                                                       S&P Global Compustat Analyst Report (Capital IQ - Manual Entry, 07/06/2017)
                                                                                                                       Telecommunication Companies; Patent Issued for Converged Voice Mail Services (USPTO
                                                                                                                       9692906) (Computer Weekly News - Factiva, 07/06/2017)
                                                                                                                       United States : CenturyLink adds EagleForce opioid analytics to GSA IT Schedule 70 contract
                                                                                                                       (Arab News - Factiva, 07/06/2017)
                                                                                                                       CenturyLink Senior Vice President Vernon Irvin named to Executive Leadership Council (PR
                                                                                                                       Newswire - Factiva, 07/06/2017 09:00 AM)
                                                                                                                       Press Release: CenturyLink Senior Vice President Vernon Irvin named to Executive Leadership
                                                                                                                       Council (Dow Jones Institutional News - Factiva, 07/06/2017 09:00 AM)
                                                                                                                       CTL INVESTOR ALERT: The Law Offices of Vincent Wong Reminds Investors of a Class Action
                                                                                                                       Involving CenturyLink, Inc. and a Lead Plaintiff Deadline of August 18, 2017 (Business Wire -
                                                                                                                       Factiva, 07/06/2017 01:55 PM)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
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                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

 7/7/2017 Fri   7,861,457   $23.60      $0.00 -1.26%   0.64%   -0.77%   0.52%    -1.78%     -1.49 14.01%       -$0.43   CenturyLink, Inc. (CTL) and Symantec Corporation (SYMC) Ponder to Gains Active Momentum
                                                                                                                        (Yedioth Ahronoth - Factiva, 07/07/2017)
                                                                                                                        Abraham announces $1.5 million grant to develop area near CenturyLink, IBM; Rep. Ralph
                                                                                                                        Abraham (R-LA) News Release (Congressional Documents and Publications - Factiva, 07/07/2017)

                                                                                                                        FCC URGES D.C. CIRCUIT TO REMAND BDS TARIFF INVESTIGATION ORDER (TR Daily -
                                                                                                                        Factiva, 07/07/2017)
                                                                                                                        IMPORTANT INVESTOR ALERT: Lundin Law PC Announces Securities Class Action Lawsuit
                                                                                                                        against CenturyLink, Inc. and Reminds Investors with Losses to Contact the Firm (ACCESSWIRE -
                                                                                                                        Factiva, 07/07/2017)
                                                                                                                        Jefferson Research & Management Analyst Report (Capital IQ - Manual Entry, 07/07/2017)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 07/07/2017)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 07/07/2017)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 07/07/2017)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 07/07/2017)
                                                                                                                        NATIONAL - FCC urges D.C. Circuit to remand BDS tariff investigation order (TR's State
                                                                                                                        NewsWire - Factiva, 07/07/2017)
                                                                                                                        The List: Largest Triad Telecommunications Providers (Triad Business Journal Online - Factiva,
                                                                                                                        07/07/2017)
                                                                                                                        United States : CenturyLink Senior Vice President Vernon Irvin named to Executive Leadership
                                                                                                                        Council (Daily Tribune - Factiva, 07/07/2017)
                                                                                                                        Wireline (Communications Daily - Factiva, 07/07/2017)
                                                                                                                        The Klein Law Firm Notifies Investors of Commencement of a Class Action Filed on Behalf of
                                                                                                                        CenturyLink, Inc. Shareholders and a Lead Plaintiff Deadline of August 18, 2017 (Business Wire -
                                                                                                                        Factiva, 07/07/2017 10:18 AM)
                                                                                                                        Leveraged Syndicated Loans - Week Ended July 6, 2017 (WSJ Pro Bankruptcy - Factiva, 07/07/2017
                                                                                                                        11:12 AM)
                                                                                                                        SHAREHOLDER ALERT: Pomerantz Law Firm Reminds Shareholders with Losses on their
                                                                                                                        Investment in CenturyLink, Inc . of Class Action Lawsuit and Upcoming Deadline -- CTL
                                                                                                                        (GlobeNewswire - Factiva, 07/07/2017 07:34 PM)
                                                                                                                        INVESTOR ALERT: Brower Piven Encourages Shareholders Who Have Losses in Excess of
                                                                                                                        $100,000 from Investment in CenturyLink, Inc. to Contact Brower Piven before the Lead Plaintiff
                                                                                                                        Deadline in Class Action Lawsuit (Business Wire - Factiva, 07/07/2017 11:20 PM)
 7/8/2017 Sat                                                                                                           Rochholz 50th (Muscatine Journal - Factiva, 07/08/2017)
                                                                                                                        Rochholz 50th (The Quad-City Times - Factiva, 07/08/2017)
 7/9/2017 Sun                                                                                                           Hey cord-cutters, here come the cable companies (The Salina Journal - Factiva, 07/09/2017)
7/10/2017 Mon   4,660,831   $23.47      $0.00 -0.55%   0.09%   -0.57%   -0.06%   -0.49%     -0.41 68.42%       -$0.12   09:05 EDT Four additional states approve CenturyLink's acquisition of Level 3...
                                                                                                                        (Theflyonthewall.com - Factiva, 07/10/2017)
                                                                                                                        CenturyLink becomes supplier for Sap Hana Enterprise Cloud in Asia Pacific (Internet Business
                                                                                                                        News - Factiva, 07/10/2017)
                                                                                                                        CenturyLink becomes supplier for Sap Hana Enterprise Cloud in Asia Pacific (M2 EquityBites -
                                                                                                                        Factiva, 07/10/2017)
                                                                                                                        CenturyLink deal with Level 3 gets more state approvals (Telecompaper Americas - Factiva,
                                                                                                                        07/10/2017)



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                                                                         CenturyLink, Inc. News Chronology with Daily Statistics
     [1]          [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                    [13]
                                                             Excess                                          Abnormal
                                                     Market Industry Predicted Abnormal                        Price
    Date        Volume      Price    Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                  Events

                                                                                                                        CenturyLink Intellectual Property LLC; Patent Issued for Proximity Security Tokens (USPTO
                                                                                                                        9693234) (Journal of Engineering - Factiva, 07/10/2017)
                                                                                                                        CenturyLink padded profits, Ariz. suit claims (The Arizona Daily Star - Factiva, 07/10/2017)
                                                                                                                        COLO. LATEST STATE TO APPROVE CenturyLink-LEVEL 3 DEAL (TR Daily - Factiva,
                                                                                                                        07/10/2017)
                                                                                                                        Colorado approves Level 3's purchase by CenturyLink (U-Wire - Factiva, 07/10/2017)
                                                                                                                        Colorado approves Level 3's purchase by CenturyLink; State's Public Utilities Commission said its
                                                                                                                        analysis into the looming telecom merger won't impact retail consumers. (The Denver Post - Factiva,
                                                                                                                        07/10/2017)
                                                                                                                        For Pay TV, Thin Is In; CenturyLink, Charter latest to try out skinny bundles tailored to cord-
                                                                                                                        cutters (Multichannel News - Factiva, 07/10/2017)
                                                                                                                        Four additional states approve CenturyLink-Level 3 acquisition (Reuters Significant Developments -
                                                                                                                        Factiva, 07/10/2017)
                                                                                                                        IMPORTANT SHAREHOLDER ALERT: Khang & Khang LLP Announces Securities Class
                                                                                                                        Action Lawsuit against CenturyLink, Inc . and Reminds Investors with Losses to Contact the Firm
                                                                                                                        (ACCESSWIRE - Factiva, 07/10/2017)
                                                                                                                        Level 3-CenturyLink merger inches closer to completion; Colorado gives its OK (Denver Business
                                                                                                                        Journal Online - Factiva, 07/10/2017)
                                                                                                                        Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 07/10/2017)
                                                                                                                        Morningstar Inc. Analyst Report (Eikon - Manual Entry, 07/10/2017)
                                                                                                                        NATIONAL - Colorado, other states approve CenturyLink-Level 3 deal (TR's State NewsWire -
                                                                                                                        Factiva, 07/10/2017)
                                                                                                                        NO ACTION TAKEN ON ACCESS CHARGE TARIFF TRANSMITTAL PETITIONS (TR Daily -
                                                                                                                        Factiva, 07/10/2017)
                                                                                                                        SHAREHOLDER ALERT: Pomerantz Law Firm Reminds Shareholders with Losses on their
                                                                                                                        Investment in CenturyLink, Inc . of Class Action Lawsuit and Upcoming Deadline Ã¢â‚¬â€œ CTL
                                                                                                                        (iCrowdNewswire - Factiva, 07/10/2017)
                                                                                                                        United States : U.S. Department of Commerce Invests $1.5 Million to Make Critical Roadway
                                                                                                                        Improvements Needed to Boost Business and Job Growth in Monroe (Egypt Independent - Factiva,
                                                                                                                        07/10/2017)
                                                                                                                        Four additional states approve CenturyLink - Level 3 acquisition (PR Newswire - Factiva,
                                                                                                                        07/10/2017 09:00 AM)
                                                                                                                        Press Release: Four additional states approve CenturyLink - Level 3 acquisition (Dow Jones
                                                                                                                        Institutional News - Factiva, 07/10/2017 09:00 AM)
                                                                                                                        BRIEF-Four additional states approve CenturyLink-Level 3 acquisition (Reuters News - Factiva,
                                                                                                                        07/10/2017 09:39 AM)
                                                                                                                        The Klein Law Firm Reminds Investors of a Class Action Filed on Behalf of CenturyLink, Inc.
                                                                                                                        Shareholders and a Lead Plaintiff Deadline of August 18, 2017 (CTL) (Business Wire - Factiva,
                                                                                                                        07/10/2017 03:20 PM)
                                                                                                                        CENTURYLINK LEAD PLAINTIFF DEADLINE ALERT: Faruqi & Faruqi , LLP Encourages
                                                                                                                        Investors Who Suffered Losses Exceeding $100,000 In CenturyLink, Inc . To Contact The Firm
                                                                                                                        (GlobeNewswire - Factiva, 07/10/2017 04:09 PM)
7/11/2017 Tue   6,023,054   $23.25      $0.00 -0.94% -0.08%   -0.63%   -0.28%    -0.65%     -0.54 58.92%       -$0.15   Alaska, Colorado, New York and Pennsylvania Regulators Clear USD 34bn CenturyLink, Level 3
                                                                                                                        Tie-Up (M&A Navigator - Factiva, 07/11/2017)




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                                                                          CenturyLink, Inc. News Chronology with Daily Statistics
     [1]           [2]        [3]       [4]     [5]     [6]     [7]      [8]       [9]     [10]       [11]         [12]                                                     [13]
                                                              Excess                                            Abnormal
                                                      Market Industry Predicted Abnormal                          Price
    Date        Volume       Price    Dividend Return Return Return Return       Return    t-stat    p-Value    Reaction                                                   Events
                                                                                                                           Analysis Governor's veto gives pump station the shaft; River Styx project would've replaced
                                                                                                                           rusting pipes in flood control structure (The News-Star - Factiva, 07/11/2017)
                                                                                                                           CenturyLink wins VoIP call payment dispute with Sprint (Telecompaper Americas - Factiva,
                                                                                                                           07/11/2017)
                                                                                                                           CenturyLink/Level 3 deal receives approval from 4 more states (SNL Kagan Media &
                                                                                                                           Communications Report - Factiva, 07/11/2017)
                                                                                                                           Colo. approves Level 3's purchase by CenturyLink (The Denver Post - Factiva, 07/11/2017)
                                                                                                                           Corporate News Blog - US Court of Appeals Rules in Favor of CenturyLink in VoIP Call Dispute
                                                                                                                           Case; Orders Sprint to Pay $13.7 Million (ACCESSWIRE - Factiva, 07/11/2017)
                                                                                                                           OREGON - PUC dismisses North County-CenturyLink dispute (TR's State NewsWire - Factiva,
                                                                                                                           07/11/2017)
                                                                                                                           PARTIES ASK SUPREME COURT FOR MORE TIME TO FILE FOR REVIEW OF OPEN
                                                                                                                           INTERNET ORDER (TR Daily - Factiva, 07/11/2017)
                                                                                                                           SHAREHOLDER ALERT: Pomerantz Law Firm Reminds Shareholders with Losses on their
                                                                                                                           Investment in CenturyLink, Inc . of Class Action Lawsuit and Upcoming Deadline - CTL
                                                                                                                           (ACCESSWIRE - Factiva, 07/11/2017)
                                                                                                                           State Telecom (Communications Daily - Factiva, 07/11/2017)
                                                                                                                           States (Warren's Washington Internet Daily - Factiva, 07/11/2017)
                                                                                                                           United States : Four additional states approve CenturyLink - Level 3 acquisition (Qatar Tribune -
                                                                                                                           Factiva, 07/11/2017)
                                                                                                                           United States : U.S. court asks Sprint to pay $13.7M to CenturyLink (Banker Africa - Factiva,
                                                                                                                           07/11/2017)
                                                                                                                           With government funding, CenturyLink adds broadband service to more rural Colorado
                                                                                                                           communities; In exchange for $26 million a year, telecom builds broadband service to rural
                                                                                                                           Colorado (The Denver Post - Factiva, 07/11/2017)
                                                                                                                           Wood River CenturyLink residents: no service currently (The Grand Island Independent - Factiva,
                                                                                                                           07/11/2017)
                                                                                                                           Centurylink's takeover of Level 3 cleared by 4 more US states (SeeNews Deals - Factiva, 07/11/2017
                                                                                                                           07:06 AM)
                                                                                                                           SHAREHOLDER ALERT: Levi & Korsinsky, LLP Reminds Shareholders It Has Filed a Class
                                                                                                                           Action to Recover Losses Suffered by Investors in CenturyLink, Inc. and Lead Plaintiff Deadline is
                                                                                                                           Set for August 18, 2017 -- CTL (GlobeNewswire - Factiva, 07/11/2017 10:55 AM)
7/12/2017 Wed   14,884,782   $22.50      $0.00 -3.23%   0.74%   0.10%    0.96%    -4.19%     -3.46   0.08% **     -$0.97   12:15 EDT Minnesota AG files suit against CenturyLink over billing practices (Theflyonthewall.com
                                                                                                                           - Factiva, 07/12/2017)
                                                                                                                           12:20 EDT Minnesota Attorney General sues CenturyLink over billing... (Theflyonthewall.com -
                                                                                                                           Factiva, 07/12/2017)
                                                                                                                           Agentur fÃƒÂ¼r Unternehmensnachrichten GmbH, mutual fund holdings - Centurylink Inc. (AfU
                                                                                                                           Company Information: Mutual Fund Holdings Ã¢â‚¬â€œ USA Blue Chips - Factiva, 07/12/2017)

                                                                                                                           CenturyLink adds service to rural areas (The Denver Post - Factiva, 07/12/2017)
                                                                                                                           CenturyLink faces Minnesota AG's fraud case, beyond $12 billion class- action suit (USA Today
                                                                                                                           Online - Factiva, 07/12/2017)
                                                                                                                           CenturyLink's cloud service picked by OpenSystems to power security services (Capacity Magazine -
                                                                                                                           Factiva, 07/12/2017)
                                                                                                                           Four additional states approve CenturyLink (Internet Business News - Factiva, 07/12/2017)



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                                                            CenturyLink, Inc. News Chronology with Daily Statistics
[1]      [2]     [3]      [4]     [5]     [6]     [7]      [8]       [9]     [10]      [11]        [12]                                                   [13]
                                                Excess                                          Abnormal
                                        Market Industry Predicted Abnormal                        Price
Date   Volume   Price   Dividend Return Return Return Return       Return    t-stat   p-Value   Reaction                                                 Events

                                                                                                           Four additional states approve CenturyLink (M2 EquityBites - Factiva, 07/12/2017)
                                                                                                           IMPORTANT EQUITY ALERT: Lundin Law PC Announces Securities Class Action Lawsuit
                                                                                                           against CenturyLink, Inc. and Reminds Investors with Losses to Contact the Firm (ACCESSWIRE -
                                                                                                           Factiva, 07/12/2017)
                                                                                                           IMPORTANT SHAREHOLDER ALERT: Lundin Law PC Announces Securities Class Action
                                                                                                           Lawsuit against CenturyLink, Inc. and Reminds Investors with Losses to Contact the Firm
                                                                                                           (iCrowdNewswire - Factiva, 07/12/2017)
                                                                                                           Jays will face tough road in nonconference play (Omaha World-Herald - Factiva, 07/12/2017)
                                                                                                           Louisiana-based CenturyLink sued by Minnesota's attorney general over alleged deceptive billing
                                                                                                           practices (The Acadiana Advocate - Factiva, 07/12/2017)
                                                                                                           Louisiana-based CenturyLink sued by Minnesota's attorney general over alleged deceptive billing
                                                                                                           practices (The Advocate - Factiva, 07/12/2017)
                                                                                                           Louisiana-based CenturyLink sued by Minnesota's attorney general over alleged deceptive billing
                                                                                                           practices (The New Orleans Advocate - Factiva, 07/12/2017)
                                                                                                           Minnesota AG files suit against CenturyLink (Mesabi Daily News - Factiva, 07/12/2017)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 07/12/2017)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 07/12/2017)
                                                                                                           Morningstar Inc. Analyst Report (Capital IQ - Manual Entry, 07/12/2017)
                                                                                                           SHAREHOLDER ALERT: Levi & Korsinsky, LLP Reminds Shareholders It Has Filed a Class
                                                                                                           Action to Recover Losses Suffered by Investors in CenturyLink, Inc. and Lead Plaintiff Deadline is
                                                                                                           Set for August 18, 2017 Ã¢â‚¬â€œ CTL (iCrowdNewswire - Factiva, 07/12/2017)
                                                                                                           Telephone Communications; Centurylink, Inc. Files SEC Form 425, Prospectuses And
                                                                                                           Communications, Business Combinations (Jun. 22, 2017) (Telecommunications Weekly - Factiva,
                                                                                                           07/12/2017)
                                                                                                           Telephone Communications; Centurylink, Inc. Files SEC Form 8-K, Current Report (Jun. 22,
                                                                                                           2017) (Telecommunications Weekly - Factiva, 07/12/2017)
                                                                                                           United States : CenturyLinks acquisition of Level 3 Communications gets new regulatory clearance
                                                                                                           (Sudan News Agency (SUNA) - Factiva, 07/12/2017)
                                                                                                           IMPORTANT INVESTOR ALERT: Khang & Khang LLP Announces Securities Class Action
                                                                                                           Lawsuit against CenturyLink, Inc . and Reminds Investors with Losses to Contact the Firm
                                                                                                           (GlobeNewswire - Factiva, 07/12/2017 10:49 AM)
                                                                                                           Kessler Topaz Meltzer & Check, LLP - Important Deadline Reminder for CenturyLink, Inc .
                                                                                                           Shareholders (GlobeNewswire - Factiva, 07/12/2017 11:11 AM)
                                                                                                           CTL SHAREHOLDER ALERT: The Law Offices of Vincent Wong Notifies Investors of a Class
                                                                                                           Action Involving CenturyLink, Inc. and a Lead Plaintiff Deadline of August 18, 2017
                                                                                                           (GlobeNewswire - Factiva, 07/12/2017 12:24 PM)
                                                                                                           Minnesota attorney general sues CenturyLink on billing practices (Reuters News - Factiva,
                                                                                                           07/12/2017 12:52 PM)
                                                                                                           Broadband Providers Tell Supreme Court FCC Lacked Authority For Net Neutrality Rules
                                                                                                           (MediaPost.com - Factiva, 07/12/2017 01:00 PM)
                                                                                                           Broadband Providers Tell Supreme Court FCC Lacked Authority For Net Neutrality Rules
                                                                                                           (MediaPost.com - Factiva, 07/12/2017 01:00 PM)
                                                                                                           State Lawsuit Puts Kink in CenturyLink Deal -- Market Talk (Dow Jones Institutional News -
                                                                                                           Factiva, 07/12/2017 01:12 PM)




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                                                                                        CenturyLink, Inc. News Chronology with Daily Statistics
       [1]             [2]         [3]       [4]        [5]      [6][7]      [8]       [9]                    [10]       [11]         [12]                                                        [13]
                                                                  Excess                                                           Abnormal
                                                          Market Industry Predicted Abnormal                                         Price
      Date           Volume      Price    Dividend Return Return Return Return       Return                  t-stat    p-Value     Reaction                                                     Events
                                                                                                                                               State Lawsuit Puts Kink in CenturyLink Deal -- Market Talk (Dow Jones Institutional News -
                                                                                                                                               Factiva, 07/12/2017 01:12 PM)
                                                                                                                                               Minnesota AG sues CenturyLink for high internet bills (Associated Press Newswires - Factiva,
                                                                                                                                               07/12/2017 04:13 PM)
                                                                                                                                               UPDATE 2-Minnesota sues CenturyLink alleging it overcharges customers (Reuters News - Factiva,
                                                                                                                                               07/12/2017 05:54 PM)
                                                                                                                                               Minnesota sues CenturyLink alleging it overcharges customers (Reuters News - Factiva, 07/12/2017
                                                                                                                                               06:02 PM)
                                                                                                                                               Minnesota Sues CenturyLink Over Billing Complaints (Dow Jones Institutional News - Factiva,
                                                                                                                                               07/12/2017 06:32 PM)
                                                                                                                                               Minnesota Sues CenturyLink Over Billing Complaints -- Update (Dow Jones Institutional News -
                                                                                                                                               Factiva, 07/12/2017 07:01 PM)
                                                                                                                                               Minnesota Sues CenturyLink Over Billing Complaints; State says investigation prompted by
                                                                                                                                               misquoted prices for television or internet service (The Wall Street Journal Online - Factiva,
                                                                                                                                               07/12/2017 07:01 PM)
                                                                                                                                               Minnesota Sues CenturyLink Over Billing Complaints -- Update (Dow Jones Newswires Chinese
                                                                                                                                               (English) - Factiva, 07/12/2017 08:24 PM)


Notes:
[1] to [11] See Appendix E.
[12] = [9] * [3] on prior trading day.
[13] For the CenturyLink chronology, I compiled lists of SEC filings, analyst reports, and news articles. I compiled the list of all of CenturyLink’s SEC filings from March 1, 2013 to July 12, 2017 from the SEC website. The list of analyst reports is
based on reports available from the Thomson Eikon and Capital IQ electronic databases. While some other reports may exist, this is a reasonably comprehensive list of the analyst reports issued concerning CenturyLink. For news articles contained in
the chronology, I searched Factiva. For Factiva, I searched all sources for the company code for “CenturyLink Inc.” To eliminate duplicate stories in Factiva, a news story was considered a duplicate and eliminated if it had exactly the same date,
timestamp, headline, news source, and lead paragraph as another news story.




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                                           Appendix D

        A. Regression Specification Used in the Event Study

        1.    For event study analysis, I use generally-accepted econometric methods and
specify a regression model that includes certain explanatory variables – i.e., the variables
that explain the outside influences on the variation in the daily returns to CenturyLink
common stock. I use a widely-used market model that includes as explanatory variables
the general market returns and the returns to an industry index. This specification can be
written as:

                               Rt =  + 1(Rmt) + 2(INDUSTRYt) + et.1

        2.    In this equation, Rt is daily percentage return of CenturyLink common stock,
Rmt is a proxy for the daily market return (represented by the S&P 500 Total Return Index
with Bloomberg identifier “SPTR”) and INDUSTRYt is a proxy for the daily industry
return (represented by the S&P Composite 1500 Telecommunication Services Total Return
Index with Bloomberg identifier “SPTRSC50”).2,3                The parameter  represents the


1
    This equation is a time-series where the variables are measured at comparable times. In this
    case, the time interval is at the daily close of trading.
2
    The industry index is measured net of market. To net the market return, I regress the industry
    return on the market return and use the obtained residual return (i.e., the industry return netting
    out market effects) as the industry return in my market models for CenturyLink. I also
    estimated market models during the Class Period using the market index of SPTR and the
    following industry indexes: S&P 500 Communication Services Sector Total Return Index, S&P
    500 Diversified Telecom Services Industry GICS Level 3 Total Return Index (I use the non-
    total return version of this index before the data for total return index become available on
    6/27/2013), S&P Composite 1500 Telecommunication Services (Sector) Total Return Index
    (the “SPTRSC50”), S&P Supercomposite Diversified Telecom Services Industry GICS Level
    3 Total Return Index (use non-total return version of this index before the data for total return
    index become available on 11/15/2013), and S&P Supercomposite Alternative Carriers Sub
    Industry Total Return Index. I selected the SPTRSC50 as the industry index for CenturyLink’s
    market model because it has the best fit.
3
    At the start and end of the Class Period, the S&P Composite 1500 Telecommunication Services
    Total Return Index had 17 and 14 members, respectively. CenturyLink was a member of this
    index during the Class Period. I removed the impact of CenturyLink’s daily stock price
    movements from the changes in the daily value of the industry index. I removed CenturyLink’s
    daily return based on its daily index weight (source: Bloomberg), where the daily industry
    return on date t is equal to: Return of the SPTRSC50 on date t minus the product of
    CenturyLink’s weight on date t-1 times CenturyLink’s daily return on date t, all divided by one


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intercept coefficient or constant term, while the coefficients represent the empirical
relationship between movements of CenturyLink common stock prices and the movements
of the market and industry indexes. The et term represents an estimation error for each date.
Data from a period immediately prior to each date when the firm-specific abnormal return
is to be examined is generally used as the Control (or estimation) Period to estimate the
parameters or coefficients of the regression, as it is here with the use of rolling regressions
(described below).4

        3.    For each trading day of the Class Period, I use a rolling period of 120 trading
days before each date, to estimate a separate set of parameters or coefficients (namely ,
1, and 2) used to calculate the abnormal return and the standard error for that
date. Therefore, I have run 1,100 separate market model regressions using 1,100 Control
Periods, with each Control Period ending on the trading date immediately prior to the date
for which I calculate the abnormal return.5

        4.    In addition to the two explanatory variables, for the 1,100 regressions I
include “dummy variables”6 to account and adjust for atypical variation in the daily returns
to the common stock that results from the disclosures during the Control Period of
significant firm-specific information. I use a dummy variable on 21 dates.7 The 21 dates



    minus CenturyLink’s weight on date t-1. The daily index weight is obtained for the S&P
    Supercomposite Communication Services Sector Index (Bloomberg identifier “S15TELS”),
    which is the non-total return version of the industry index.
4
    “There are essentially four choices for the estimation period: before the event window, during
    the window, after the window, and around the window. The majority of events studies use an
    estimation period before the event.” Glenn V. Henderson, Jr., Problems and Solutions in
    Conducting Event Studies, 57 J. of Risk and Ins., 282-306, 291 (June 1990).
5
    I run an addition regression for February 28, 2013, the trading day prior to the start of the Class
    Period in order to obtain an abnormal return used in the analysis of autocorrelation.
6
    A dummy variable is an additional explanatory variable that takes on the value of 1 on the date
    indicated and 0 for all other dates. In econometric time-series analysis, dummy variables are
    often used to indicate a non-recurring event that is unique, unusual or anomalous, such as a
    specific earnings announcement.
7
    The impact dates for the 21 earnings-related or corrective disclosure dates are: 11/8/2012,
    2/14/2013, 5/9/2013, 8/8/2013, 11/7/2013, 2/13/2014, 5/8/2014, 8/7/2014, 11/6/2014,
    2/12/2015, 5/6/2015, 8/6/2015, 11/5/2015, 2/11/2016, 5/5/2016, 8/4/2016, 10/31/2016,
    2/9/2017, 5/4/2017, 6/16/2017, and 6/19/2017.

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are the corrective disclosure dates alleged in the Complaint and days on which the
Company announced earnings results. These are dates on which CenturyLink’s stock price
might be affected by disclosures of unexpected firm-specific material information. For
each disclosure, I determined whether the disclosure was after the market closed and, if so,
the following trading day was used as the price impact date.8

        5.    I include a dummy variable when there is a release of important CenturyLink-
specific information, because should that single date have a large abnormal return caused
not by chance, but by CenturyLink’s disclosure of material, unanticipated firm-specific
information, this could possibly change the mix of information in the market that is
important to investors. The use of dummy, indicator, control, or intervention variables, as
well as simply excluding anomalous dates or periods, is a widely used and generally
accepted econometric technique employed in the academic finance literature.9              For
example, Professor Carol Alexander states that “one might consider creating a dummy
[variable] to model the timing of important news announcements… [or] whenever the data
period covers … a temporary shift due to an extreme market movement.”10 Prof. Alexander
adds, “If dummies are omitted there will be residual problems that lead to inefficient




8
     I obtained the time stamps and determined the impact date for the releases. Sources: PR
     Newswire and Appendix C. For corrective disclosures, the pleaded dates of the stock price
     impact are used.
9
     For example, see Nihat Aktas, Eric de Bodt, & Jean-Gabriel Cousin, Event Studies with a
     Contaminated Estimation Period, 13 J. Corp. Fin., 129-145, 129 (2007); Ekkehart Boehmer,
     Jim Musumeci, & Annette B. Poulsen, Event-study Methodology under Conditions of Event-
     Induced Variance, 30 J. Fin. Econ., 253-272, 254 (1991); G. E. P. Box & G. C. Tiao,
     Intervention Analysis with Applications to Economic and Environmental Problems, 70 J. Am.
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10
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     Sons 2001). Carol Alexander is a Professor of Finance at the University of Sussex and
     Managing Editor of the Journal of Banking and Finance.

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parameter estimates on the real explanatory variables.”11 It is also consistent with methods
courts have relied upon to certify securities classes.12

         6.    Using the specifications of the market model above, including the dummy
variables, and a rolling period of 120 trading days prior to each date, I estimate a set of
parameters for each trading day of the Class Period. For the 1,100 regressions I ran over
the Class Period, the coefficients explaining the variation in the returns of CenturyLink
common stock range from 0.44 to 1.48 for 1 and range from 0.24 to 1.22 for . The 1,100
adjusted R-squared measures range from 18.1% to 91.6%. The average adjusted R-squared
measure is approximately 55.7%.            The results for each regression are provided in
Appendix E.

         B. Estimating CenturyLink-Specific Price Movements

         7.    The second step of the event study methodology uses the estimated
coefficients from the 1,100 regressions, namely 1,100 measures of , 1, and 2, and
multiplies them by the actual observed daily return measures for their respective
explanatory variables on the date immediately following the end of each Control Period.


11
     Id. at 441. Without accounting for these dates, atypical price movements would then be used
     for the subsequent 120 days to estimate 120 sets of regression parameters, 120 predicted
     returns, and thus 120 abnormal returns and 120 standard errors. Therefore, if there is a large
     abnormal return caused by the release of material, unanticipated firm-specific important
     information, which is obviously not a random event, its influence on the CenturyLink common
     stock price movement must be accounted for. If it is not accounted for via a dummy variable,
     this non-random influence might contaminate the estimation process during the Control Period
     and induce a distortion or bias in the parameter estimates, predicted returns, and thus the
     abnormal returns and standard errors for all 120 subsequent days. Using dummy variables to
     control for the price impact of potentially important non-random or atypical informational
     disclosures in each of the 1,100 different regression Control Periods, results in regression
     model coefficients that more precisely reflect the normal or typical return relationship between
     CenturyLink and the market and industry indexes, and thus improves the efficiency of the
     estimated parameters, predicted returns and abnormal returns.
12
     For example, see In re Groupon, Inc. Sec. Litig., 2015 WL 1043321, at *7: “Dr. Feinstein
     explained that dummy variables are widely used during a control period to extract atypical
     days. Consistent with other experts, he used dummy variables to control for potentially
     abnormal returns related to earnings announcements. Accordingly, he used dummy variables
     during the control period for all earnings-related trading dates, including the event days. He
     also used a dummy variable for May 14, 2012, because it was not only an unusual trading day,
     but also because it was contemporaneously described as atypical by the news media.” (citations
     omitted).

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On each day during the Class Period, the products of these multiplications are summed to
calculate the predicted daily return. On each of the 1,100 days of the Class Period, the
portion of CenturyLink’s stock price movement or the “firm-specific effect” is calculated
as the abnormal return (also referred to as the excess return or residual). The abnormal
return is calculated by subtracting the predicted daily return from the actual daily return.
This subtraction yields the portion of the daily return (i.e., the firm-specific portion of the
return) that is not predicted or explained by market- and industry-wide influences.

        C. Determining Whether CenturyLink-Specific Price Movements Are Outside the
           Bounds of What Would Be Expected by Chance

        8.    In the third step of the event study, I determine whether the abnormal return
on each date is outside the bounds of what would be expected by chance. I do this by
presenting empirical evidence showing whether or not the 1,100 firm-specific abnormal
returns are what economists call statistically significantly different from zero (hereinafter
referred to as “significant returns”).

        9.    A statistical test called the t-test is employed to assess the statistical
significance of CenturyLink’s abnormal return for each date. The t-test is based on a
t-statistic, which is calculated by taking the estimated abnormal return and dividing it by
the standard error of the regression. The standard error represents the typical or normal
volatility of the unexplained or residual price movements of the common stock. This
statistical test is used to determine whether the abnormal return is outside the bounds of
what would be expected from random volatility alone; or, in other words, whether it is
significantly different from zero with a specified degree of certainty. I use the scientifically
accepted level of certainty and declare statistical significance at a 95% level. This means
that when CenturyLink’s abnormal return is statistically significant, I can conclude that the
CenturyLink abnormal return is outside the bounds of what would be expected by chance,
with at least 95% confidence.

        10.   Finally, in the typical event study performed in the context of class
certification, there is an examination of the relationship between the abnormal returns, the
statistical significance of those abnormal returns and unexpected news related to the subject
company. I present such an analysis in my Report.


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                                                          Appendix E
                                              CenturyLink, Inc. Common Stock Data
 [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                    Excess        Coefficient
                                            Market Industry                   Excess Predicted Abnormal   Root
Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
 3/1/13 6,545,795    $34.89 $0.00     0.63% 0.23% 0.18%      0.00    0.60       0.49   0.22%     0.42%     0.01        0.56     57.96%
 3/4/13 5,474,546    $35.11 $0.00     0.63% 0.46% 0.39%      0.00    0.60       0.50   0.47%     0.16%     0.01        0.22     82.81%
 3/5/13 5,383,057    $35.23 $0.00     0.34% 0.96% 0.36%      0.00    0.62       0.49   0.77%    -0.43%     0.01       -0.57     56.92%
 3/6/13 6,010,606    $35.60 $0.00     1.05% 0.14% -0.76%     0.00    0.62       0.48  -0.28%     1.33%     0.01        1.77      7.98%
 3/7/13 7,543,741    $34.53 $0.54    -1.49% 0.19% 0.17%      0.00    0.62       0.46   0.21%    -1.70%     0.01       -2.24      2.72% *
 3/8/13 6,309,524    $34.39 $0.00    -0.41% 0.46% 0.49%      0.00    0.61       0.45   0.49%    -0.90%     0.01       -1.17     24.60%
3/11/13 7,968,952    $34.43 $0.00     0.12% 0.33% -0.47%     0.00    0.61       0.44  -0.01%     0.13%     0.01        0.17     86.61%
3/12/13 5,299,420    $34.57 $0.00     0.41% -0.24% 0.72%     0.00    0.62       0.44   0.15%     0.25%     0.01        0.33     74.54%
3/13/13 3,320,152    $34.72 $0.00     0.43% 0.17% -0.57%     0.00    0.62       0.41  -0.13%     0.57%     0.01        0.73     46.42%
3/14/13 4,360,604    $34.75 $0.00     0.09% 0.56% 0.40%      0.00    0.62       0.42   0.52%    -0.43%     0.01       -0.56     57.48%
3/15/13 8,856,862    $34.37 $0.00    -1.09% -0.16% -0.94%    0.00    0.62       0.41  -0.49%    -0.60%     0.01       -0.79     43.39%
3/18/13 5,225,833    $34.20 $0.00    -0.49% -0.55% 0.51%     0.00    0.62       0.44  -0.11%    -0.38%     0.01       -0.50     62.02%
3/19/13 4,380,525    $34.25 $0.00     0.15% -0.24% 0.43%     0.00    0.62       0.43   0.03%     0.11%     0.01        0.15     88.49%
3/20/13 10,043,379   $34.58 $0.00     0.96% 0.67% -0.59%     0.00    0.62       0.45   0.16%     0.81%     0.01        1.06     28.96%
3/21/13 5,477,392    $34.49 $0.00    -0.26% -0.83% 0.62%     0.00    0.63       0.43  -0.24%    -0.02%     0.01       -0.02     98.10%
3/22/13 6,278,765    $35.03 $0.00     1.57% 0.72% 0.20%      0.00    0.63       0.43   0.55%     1.02%     0.01        1.33     18.49%
3/25/13 4,910,880    $34.99 $0.00    -0.11% -0.33% 0.13%     0.00    0.63       0.45  -0.12%     0.01%     0.01        0.01     99.22%
3/26/13 4,088,242    $35.20 $0.00     0.60% 0.81% 0.20%      0.00    0.65       0.43   0.66%    -0.06%     0.01       -0.07     94.06%
3/27/13 3,570,542    $35.12 $0.00    -0.23% -0.05% -0.56%    0.00    0.64       0.43  -0.23%     0.00%     0.01        0.00     99.87%
3/28/13 4,865,173    $35.13 $0.00     0.03% 0.41% 0.14%      0.00    0.66       0.41   0.39%    -0.37%     0.01       -0.54     59.35%
 4/1/13 4,201,694    $34.86 $0.00    -0.77% -0.44% 1.15%     0.00    0.65       0.41   0.24%    -1.01%     0.01       -1.49     14.01%
 4/2/13 5,338,554    $35.18 $0.00     0.92% 0.52% 0.38%      0.00    0.67       0.37   0.53%     0.38%     0.01        0.56     57.79%
 4/3/13 6,475,866    $35.06 $0.00    -0.34% -1.04% -0.15%    0.00    0.68       0.38  -0.70%     0.36%     0.01        0.53     59.78%
 4/4/13 6,688,770    $36.02 $0.00     2.74% 0.41% 0.97%      0.00    0.67       0.38   0.71%     2.03%     0.01        3.00      0.34% **
 4/5/13 4,075,107    $36.11 $0.00     0.25% -0.43% 0.72%     0.00    0.68       0.43   0.10%     0.15%     0.01        0.22     82.68%
 4/8/13 3,033,848    $36.16 $0.00     0.14% 0.66% 0.06%      0.00    0.68       0.43   0.56%    -0.42%     0.01       -0.59     55.34%
 4/9/13 3,452,652    $36.35 $0.00     0.53% 0.35% -0.04%     0.00    0.69       0.43   0.29%     0.23%     0.01        0.33     74.02%
4/10/13 5,814,105    $36.95 $0.00     1.65% 1.23% 0.24%      0.00    0.69       0.42   1.02%     0.63%     0.01        0.90     36.90%
4/11/13 4,436,164    $37.26 $0.00     0.84% 0.36% 0.74%      0.00    0.70       0.42   0.65%     0.19%     0.01        0.28     78.37%
4/12/13 4,297,917    $37.22 $0.00    -0.11% -0.28% 0.50%     0.00    0.71       0.40   0.09%    -0.19%     0.01       -0.28     78.23%
4/15/13 5,090,312    $36.69 $0.00    -1.42% -2.30% 1.01%     0.00    0.72       0.39  -1.17%    -0.26%     0.01       -0.37     71.15%
4/16/13 7,114,122    $37.16 $0.00     1.28% 1.43% -0.89%     0.00    0.73       0.38   0.78%     0.50%     0.01        0.72     47.54%
4/17/13 3,996,064    $36.76 $0.00    -1.08% -1.43% -0.08%    0.00    0.73       0.38  -0.99%    -0.08%     0.01       -0.12     90.41%
4/18/13 3,669,660    $36.85 $0.00     0.24% -0.67% 1.54%     0.00    0.75       0.39   0.18%     0.06%     0.01        0.09     92.71%
4/19/13 4,072,343    $37.17 $0.00     0.87% 0.89% 1.12%      0.00    0.74       0.38   1.18%    -0.31%     0.01       -0.45     65.54%
4/22/13 3,975,632    $37.35 $0.00     0.48% 0.47% 0.20%      0.00    0.75       0.37   0.51%    -0.03%     0.01       -0.04     96.64%
4/23/13 4,056,604    $37.89 $0.00     1.45% 1.04% -0.20%     0.00    0.75       0.37   0.79%     0.66%     0.01        0.97     33.42%
4/24/13 14,627,256   $37.10 $0.00    -2.08% 0.01% -2.93%     0.00    0.76       0.37  -0.98%    -1.11%     0.01       -1.62     10.77%
4/25/13 5,142,827    $37.53 $0.00     1.16% 0.41% 1.43%      0.00    0.76       0.44   1.01%     0.15%     0.01        0.22     82.79%
4/26/13 3,907,301    $37.15 $0.00    -1.01% -0.18% -0.04%    0.00    0.76       0.44  -0.08%    -0.94%     0.01       -1.37     17.35%
4/29/13 3,681,299    $37.45 $0.00     0.81% 0.72% -0.21%     0.00    0.77       0.45   0.54%     0.27%     0.01        0.39     69.63%
4/30/13 3,936,668    $37.57 $0.00     0.32% 0.25% 0.30%      0.00    0.78       0.45   0.41%    -0.09%     0.01       -0.13     89.94%
 5/1/13 3,768,244    $37.19 $0.00    -1.01% -0.93% -0.29%    0.00    0.78       0.45  -0.78%    -0.23%     0.01       -0.34     73.34%
 5/2/13 4,073,012    $37.04 $0.00    -0.40% 0.95% -0.48%     0.00    0.79       0.45   0.60%    -1.01%     0.01       -1.47     14.49%
 5/3/13 4,638,878    $37.14 $0.00     0.27% 1.06% -0.82%     0.00    0.80       0.48   0.51%    -0.24%     0.01       -0.36     72.32%
 5/6/13 3,274,569    $37.05 $0.00    -0.24% 0.19% -0.86%     0.00    0.79       0.48  -0.21%    -0.03%     0.01       -0.05     96.14%
 5/7/13 4,654,524    $37.06 $0.00     0.03% 0.53% 0.88%      0.00    0.79       0.49   0.92%    -0.89%     0.01       -1.33     18.53%
 5/8/13 7,440,484    $37.30 $0.00     0.65% 0.46% 0.50%      0.00    0.79       0.48   0.66%    -0.01%     0.01       -0.02     98.54%
 5/9/13 8,874,180    $37.24 $0.00    -0.16% -0.32% -0.76%    0.00    0.79       0.48  -0.56%     0.40%     0.01        0.59     55.60%
5/10/13 4,113,664    $37.62 $0.00     1.02% 0.43% -0.06%     0.00    0.77       0.48   0.38%     0.64%     0.01        0.95     34.20%
5/13/13 3,094,749    $37.68 $0.00     0.16% 0.01% -0.86%     0.00    0.77       0.47  -0.31%     0.47%     0.01        0.69     49.02%
5/14/13 3,954,905    $37.74 $0.00     0.16% 1.04% 0.25%      0.00    0.77       0.45   1.00%    -0.84%     0.01       -1.25     21.31%
5/15/13 4,935,656    $37.85 $0.00     0.29% 0.54% 0.35%      0.00    0.79       0.47   0.68%    -0.39%     0.01       -0.59     55.86%
5/16/13 5,488,264    $37.45 $0.00    -1.06% -0.50% -0.22%    0.00    0.79       0.47  -0.41%    -0.64%     0.01       -0.96     33.96%
5/17/13 5,211,826    $37.67 $0.00     0.59% 1.03% -0.43%     0.00    0.80       0.48   0.70%    -0.11%     0.01       -0.17     86.38%
5/20/13 3,629,909    $37.63 $0.00    -0.11% -0.07% -0.77%    0.00    0.79       0.48  -0.34%     0.24%     0.01        0.36     72.25%
5/21/13 5,313,643    $37.23 $0.00    -1.06% 0.18% -0.77%     0.00    0.79       0.48  -0.15%    -0.91%     0.01       -1.37     17.20%
5/22/13 5,604,768    $37.02 $0.00    -0.56% -0.82% -0.65%    0.00    0.80       0.50  -0.91%     0.35%     0.01        0.52     60.17%
5/23/13 13,496,713   $37.43 $0.00     1.11% -0.28% 0.67%     0.00    0.80       0.50   0.18%     0.92%     0.01        1.40     16.57%
5/24/13 11,070,804   $37.27 $0.00    -0.43% -0.05% -0.24%    0.00    0.80       0.51  -0.08%    -0.35%     0.01       -0.52     60.54%
5/28/13 13,091,869   $37.07 $0.00    -0.54% 0.64% -1.71%     0.00    0.80       0.51  -0.29%    -0.25%     0.01       -0.37     71.35%
5/29/13 8,728,778    $36.17 $0.00    -2.43% -0.69% -0.97%    0.00    0.81       0.52  -0.99%    -1.44%     0.01       -2.18      3.16% *




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                                                          Appendix E
                                              CenturyLink, Inc. Common Stock Data
 [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                    Excess        Coefficient
                                            Market Industry                   Excess Predicted Abnormal   Root
Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
5/30/13 6,585,577    $35.23 $0.54    -1.11% 0.38% -1.07%     0.00    0.83       0.55  -0.23%    -0.88%     0.01       -1.31     19.21%
5/31/13 12,839,955   $34.15 $0.00    -3.07% -1.43% -0.30%    0.00    0.83       0.57  -1.31%    -1.76%     0.01       -2.65      0.92% **
 6/3/13 6,059,090    $34.47 $0.00     0.94% 0.60% -0.24%     0.00    0.87       0.58   0.42%     0.52%     0.01        0.76     44.73%
 6/4/13 6,115,357    $34.76 $0.00     0.84% -0.55% 1.29%     0.00    0.88       0.58   0.31%     0.53%     0.01        0.78     43.75%
 6/5/13 7,853,308    $34.93 $0.00     0.49% -1.35% -0.13%    0.00    0.87       0.60  -1.22%     1.71%     0.01        2.50      1.38% *
 6/6/13 5,079,912    $35.50 $0.00     1.63% 0.86% 1.64%      0.00    0.83       0.59   1.74%    -0.10%     0.01       -0.15     88.12%
 6/7/13 5,187,098    $35.43 $0.00    -0.20% 1.28% -1.23%     0.00    0.83       0.57   0.41%    -0.61%     0.01       -0.88     38.25%
6/10/13 3,194,525    $35.62 $0.00     0.54% -0.03% 0.89%     0.00    0.82       0.59   0.55%    -0.01%     0.01       -0.02     98.77%
6/11/13 9,925,177    $35.49 $0.00    -0.36% -1.01% 0.22%     0.00    0.83       0.59  -0.67%     0.31%     0.01        0.44     65.87%
6/12/13 4,738,218    $35.39 $0.00    -0.28% -0.81% 0.11%     0.00    0.82       0.60  -0.56%     0.28%     0.01        0.41     68.54%
6/13/13 3,302,196    $35.93 $0.00     1.53% 1.49% 0.65%      0.00    0.80       0.61   1.62%    -0.10%     0.01       -0.14     88.96%
6/14/13 4,272,929    $36.04 $0.00     0.31% -0.59% 0.24%     0.00    0.79       0.61  -0.29%     0.60%     0.01        0.87     38.54%
6/17/13 3,642,002    $35.99 $0.00    -0.14% 0.76% -1.12%     0.00    0.79       0.62  -0.05%    -0.09%     0.01       -0.13     89.56%
6/18/13 2,884,387    $36.24 $0.00     0.69% 0.78% 0.81%      0.00    0.79       0.62   1.16%    -0.47%     0.01       -0.69     49.27%
6/19/13 4,798,351    $35.33 $0.00    -2.51% -1.38% -1.76%    0.00    0.78       0.61  -2.12%    -0.40%     0.01       -0.58     56.39%
6/20/13 6,233,174    $34.13 $0.00    -3.40% -2.49% -0.55%    0.00    0.79       0.62  -2.26%    -1.13%     0.01       -1.66      9.99%
6/21/13 8,513,623    $34.18 $0.00     0.15% 0.27% 0.44%      0.00    0.83       0.63   0.53%    -0.39%     0.01       -0.56     57.74%
6/24/13 5,296,647    $33.99 $0.00    -0.56% -1.21% 0.26%     0.00    0.83       0.63  -0.81%     0.26%     0.01        0.37     70.95%
6/25/13 5,657,303    $34.96 $0.00     2.85% 0.96% 1.32%      0.00    0.82       0.63   1.65%     1.20%     0.01        1.74      8.53%
6/26/13 3,820,848    $34.85 $0.00    -0.31% 0.98% 0.12%      0.00    0.85       0.66   0.95%    -1.27%     0.01       -1.81      7.22%
6/27/13 3,755,633    $35.27 $0.00     1.21% 0.63% 0.52%      0.00    0.83       0.66   0.90%     0.30%     0.01        0.43     66.67%
6/28/13 4,649,488    $35.35 $0.00     0.23% -0.43% -0.42%    0.00    0.83       0.66  -0.60%     0.82%     0.01        1.17     24.51%
 7/1/13 2,583,345    $35.15 $0.00    -0.57% 0.55% -0.46%     0.00    0.83       0.66   0.21%    -0.77%     0.01       -1.09     27.70%
 7/2/13 4,076,082    $35.24 $0.00     0.26% -0.03% 0.58%     0.00    0.83       0.67   0.40%    -0.14%     0.01       -0.20     84.05%
 7/3/13 1,778,305    $35.27 $0.00     0.09% 0.08% 0.44%      0.00    0.83       0.67   0.40%    -0.31%     0.01       -0.44     66.01%
 7/5/13 1,952,476    $35.44 $0.00     0.48% 1.02% -0.17%     0.00    0.83       0.67   0.76%    -0.28%     0.01       -0.40     69.22%
 7/8/13 2,876,758    $35.35 $0.00    -0.25% 0.56% 0.21%      0.00    0.82       0.67   0.62%    -0.88%     0.01       -1.24     21.82%
 7/9/13 2,869,190    $35.39 $0.00     0.11% 0.72% -0.64%     0.00    0.82       0.67   0.18%    -0.07%     0.01       -0.10     92.11%
7/10/13 3,012,272    $35.46 $0.00     0.20% 0.02% -0.45%     0.00    0.82       0.67  -0.26%     0.46%     0.01        0.65     52.01%
7/11/13 2,819,280    $36.01 $0.00     1.55% 1.37% 0.47%      0.00    0.82       0.67   1.45%     0.10%     0.01        0.14     88.65%
7/12/13 3,255,564    $36.24 $0.00     0.64% 0.31% -0.83%     0.00    0.82       0.67  -0.28%     0.92%     0.01        1.29     20.08%
7/15/13 3,642,826    $36.24 $0.00     0.00% 0.14% -0.73%     0.00    0.82       0.66  -0.33%     0.33%     0.01        0.46     64.31%
7/16/13 3,790,946    $36.27 $0.00     0.08% -0.37% 0.94%     0.00    0.82       0.65   0.34%    -0.26%     0.01       -0.36     72.07%
7/17/13 3,505,092    $36.11 $0.00    -0.44% 0.29% 0.33%      0.00    0.82       0.65   0.48%    -0.92%     0.01       -1.28     20.24%
7/18/13 4,903,620    $35.81 $0.00    -0.83% 0.51% -1.20%     0.00    0.82       0.64  -0.32%    -0.51%     0.01       -0.71     47.91%
7/19/13 3,644,991    $35.98 $0.00     0.47% 0.16% 0.03%      0.00    0.82       0.65   0.18%     0.29%     0.01        0.41     68.58%
7/22/13 3,532,214    $35.92 $0.00    -0.17% 0.21% -0.17%     0.00    0.82       0.65   0.09%    -0.26%     0.01       -0.35     72.52%
7/23/13 13,298,269   $35.94 $0.00     0.06% -0.19% 0.52%     0.00    0.82       0.65   0.21%    -0.15%     0.01       -0.21     83.18%
7/24/13 2,944,325    $35.87 $0.00    -0.19% -0.38% -0.32%    0.00    0.82       0.65  -0.49%     0.29%     0.01        0.41     68.42%
7/25/13 3,214,116    $35.83 $0.00    -0.11% 0.26% -0.07%     0.00    0.81       0.65   0.20%    -0.31%     0.01       -0.43     66.78%
7/26/13 2,757,887    $36.03 $0.00     0.56% 0.08% 0.36%      0.00    0.81       0.65   0.33%     0.23%     0.01        0.31     75.38%
7/29/13 2,519,767    $36.15 $0.00     0.33% -0.37% 0.96%     0.00    0.81       0.65   0.35%    -0.02%     0.01       -0.03     97.85%
7/30/13 4,545,076    $35.72 $0.00    -1.19% 0.04% -1.49%     0.00    0.83       0.64  -0.87%    -0.32%     0.01       -0.45     65.34%
7/31/13 4,625,270    $35.85 $0.00     0.36% 0.00% -1.04%     0.00    0.84       0.64  -0.63%     0.99%     0.01        1.40     16.46%
 8/1/13 3,251,816    $36.32 $0.00     1.31% 1.26% 0.23%      0.00    0.84       0.63   1.24%     0.07%     0.01        0.10     91.92%
 8/2/13 3,140,465    $36.11 $0.00    -0.58% 0.17% 0.15%      0.00    0.84       0.63   0.27%    -0.85%     0.01       -1.20     23.32%
 8/5/13 3,583,586    $36.09 $0.00    -0.06% -0.14% 0.12%     0.00    0.84       0.63  -0.02%    -0.04%     0.01       -0.05     96.01%
 8/6/13 3,197,999    $36.18 $0.00     0.25% -0.57% -0.03%    0.00    0.84       0.63  -0.48%     0.73%     0.01        1.02     30.77%
 8/7/13 4,624,033    $36.39 $0.00     0.58% -0.35% 0.17%     0.00    0.83       0.63  -0.15%     0.73%     0.01        1.03     30.56%
 8/8/13 16,527,825   $34.36 $0.00    -5.58% 0.41% -0.99%     0.00    0.83       0.63  -0.25%    -5.33%     0.01       -7.46      0.00% **
 8/9/13 8,025,526    $33.89 $0.00    -1.37% -0.34% -0.69%    0.00    0.83       0.62  -0.70%    -0.67%     0.01       -0.98     33.06%
8/12/13 4,550,973    $34.08 $0.00     0.56% -0.11% 0.45%     0.00    0.81       0.63   0.18%     0.38%     0.01        0.59     55.72%
8/13/13 4,346,033    $33.88 $0.00    -0.59% 0.30% -0.86%     0.00    0.81       0.63  -0.31%    -0.27%     0.01       -0.43     66.92%
8/14/13 4,280,600    $33.73 $0.00    -0.44% -0.50% 0.20%     0.00    0.82       0.63  -0.31%    -0.14%     0.01       -0.22     82.92%
8/15/13 4,304,927    $33.47 $0.00    -0.77% -1.41% 0.06%     0.00    0.82       0.63  -1.15%     0.38%     0.01        0.59     55.33%
8/16/13 5,853,782    $32.92 $0.00    -1.64% -0.33% -0.75%    0.00    0.80       0.63  -0.75%    -0.89%     0.01       -1.41     16.01%
8/19/13 4,647,503    $32.56 $0.00    -1.09% -0.58% -0.37%    0.00    0.81       0.64  -0.73%    -0.36%     0.01       -0.57     56.70%
8/20/13 3,407,718    $32.58 $0.00     0.06% 0.39% 0.27%      0.00    0.81       0.65   0.46%    -0.40%     0.01       -0.63     52.74%
8/21/13 4,057,167    $32.32 $0.00    -0.80% -0.57% -0.76%    0.00    0.81       0.64  -0.98%     0.18%     0.01        0.29     77.18%
8/22/13 22,122,025   $32.58 $0.00     0.80% 0.86% -0.23%     0.00    0.81       0.64   0.51%     0.29%     0.01        0.46     64.67%
8/23/13 15,350,867   $33.30 $0.00     2.21% 0.41% 1.09%      0.00    0.81       0.64   1.00%     1.21%     0.01        1.91      5.80%
8/26/13 3,356,395    $33.14 $0.00    -0.48% -0.40% -1.01%    0.00    0.82       0.66  -1.02%     0.53%     0.01        0.83     40.61%




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                                                           Appendix E
                                               CenturyLink, Inc. Common Stock Data
  [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                     Excess        Coefficient
                                             Market Industry                   Excess Predicted Abnormal   Root
 Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
 8/27/13 3,796,417    $32.94 $0.00    -0.60% -1.59% 0.91%     0.00    0.82       0.67  -0.71%     0.11%     0.01        0.18     85.97%
 8/28/13 2,789,114    $32.71 $0.00    -0.70% 0.29% -0.68%     0.00    0.82       0.68  -0.23%    -0.47%     0.01       -0.78     43.99%
 8/29/13 4,556,286    $33.10 $0.00     1.19% 0.21% 1.03%      0.00    0.82       0.69   0.89%     0.31%     0.01        0.51     61.10%
 8/30/13 5,665,680    $33.12 $0.00     0.06% -0.31% 0.03%     0.00    0.83       0.70  -0.23%     0.29%     0.01        0.49     62.78%
  9/3/13 7,474,313    $32.91 $0.00    -0.63% 0.42% -2.13%     0.00    0.82       0.70  -1.14%     0.50%     0.01        0.84     40.49%
  9/4/13 7,055,655    $32.50 $0.54     0.40% 0.83% 0.84%      0.00    0.83       0.69   1.27%    -0.87%     0.01       -1.45     14.88%
  9/5/13 3,960,555    $32.13 $0.00    -1.14% 0.12% -0.85%     0.00    0.82       0.68  -0.48%    -0.66%     0.01       -1.10     27.56%
  9/6/13 6,892,358    $31.90 $0.00    -0.72% 0.02% -0.05%     0.00    0.82       0.68  -0.03%    -0.69%     0.01       -1.14     25.51%
  9/9/13 5,716,016    $32.02 $0.00     0.38% 1.01% -0.44%     0.00    0.82       0.69   0.51%    -0.13%     0.01       -0.22     82.50%
 9/10/13 14,418,742   $32.62 $0.00     1.87% 0.74% 0.60%      0.00    0.81       0.69   1.00%     0.87%     0.01        1.44     15.40%
 9/11/13 3,411,141    $32.59 $0.00    -0.09% 0.32% -0.16%     0.00    0.81       0.70   0.14%    -0.23%     0.01       -0.38     70.25%
 9/12/13 3,685,639    $32.38 $0.00    -0.64% -0.31% 1.31%     0.00    0.81       0.70   0.66%    -1.30%     0.01       -2.15      3.40% *
 9/13/13 2,966,766    $32.34 $0.00    -0.12% 0.27% 0.01%      0.00    0.81       0.67   0.20%    -0.32%     0.01       -0.52     60.22%
 9/16/13 3,519,170    $32.27 $0.00    -0.22% 0.57% 0.44%      0.00    0.81       0.67   0.73%    -0.94%     0.01       -1.54     12.67%
 9/17/13 2,456,657    $32.43 $0.00     0.50% 0.42% 0.24%      0.00    0.81       0.67   0.47%     0.03%     0.01        0.05     96.25%
 9/18/13 5,094,935    $32.55 $0.00     0.37% 1.22% -0.38%     0.00    0.81       0.67   0.69%    -0.32%     0.01       -0.52     60.37%
 9/19/13 3,666,097    $32.71 $0.00     0.49% -0.17% -0.20%    0.00    0.80       0.67  -0.31%     0.80%     0.01        1.29     20.01%
 9/20/13 5,997,935    $32.28 $0.00    -1.31% -0.72% -0.87%    0.00    0.79       0.69  -1.20%    -0.12%     0.01       -0.19     84.78%
 9/23/13 3,655,468    $32.24 $0.00    -0.12% -0.47% 0.41%     0.00    0.79       0.69  -0.11%    -0.01%     0.01       -0.02     98.40%
 9/24/13 3,905,540    $32.17 $0.00    -0.22% -0.25% -0.58%    0.00    0.80       0.69  -0.63%     0.42%     0.01        0.68     49.71%
 9/25/13 3,563,460    $32.00 $0.00    -0.53% -0.27% -0.03%    0.00    0.79       0.66  -0.28%    -0.25%     0.01       -0.42     67.40%
 9/26/13 2,496,826    $32.11 $0.00     0.34% 0.37% 0.73%      0.00    0.79       0.66   0.73%    -0.39%     0.01       -0.66     51.21%
 9/27/13 3,471,455    $31.78 $0.00    -1.03% -0.40% -0.67%    0.00    0.80       0.66  -0.81%    -0.22%     0.01       -0.37     71.11%
 9/30/13 5,619,988    $31.38 $0.00    -1.26% -0.60% -0.12%    0.00    0.80       0.66  -0.61%    -0.65%     0.01       -1.11     27.03%
 10/1/13 5,556,554    $31.76 $0.00     1.21% 0.81% 0.09%      0.00    0.79       0.66   0.64%     0.57%     0.01        0.97     33.20%
 10/2/13 4,283,450    $31.61 $0.00    -0.47% -0.05% -0.32%    0.00    0.80       0.66  -0.31%    -0.16%     0.01       -0.28     78.11%
 10/3/13 4,214,069    $31.19 $0.00    -1.33% -0.90% 0.25%     0.00    0.80       0.66  -0.61%    -0.72%     0.01       -1.21     22.90%
 10/4/13 3,263,308    $31.20 $0.00     0.03% 0.71% -0.26%     0.00    0.80       0.66   0.34%    -0.30%     0.01       -0.51     60.99%
 10/7/13 3,576,159    $31.41 $0.00     0.67% -0.85% 1.18%     0.00    0.78       0.67   0.06%     0.62%     0.01        1.04     30.04%
 10/8/13 4,449,659    $31.28 $0.00    -0.41% -1.20% -0.55%    0.00    0.77       0.68  -1.37%     0.96%     0.01        1.61     11.04%
 10/9/13 7,853,078    $32.19 $0.00     2.91% 0.07% 1.09%      0.00    0.75       0.68   0.74%     2.17%     0.01        3.62      0.04% **
10/10/13 8,815,816    $33.34 $0.00     3.57% 2.20% -0.17%     0.00    0.75       0.73   1.51%     2.06%     0.01        3.28      0.14% **
10/11/13 4,051,609    $33.22 $0.00    -0.36% 0.63% -0.03%     0.00    0.82       0.72   0.48%    -0.84%     0.01       -1.28     20.34%
10/14/13 4,474,771    $32.68 $0.00    -1.63% 0.41% -0.86%     0.00    0.81       0.72  -0.32%    -1.30%     0.01       -1.98      4.98% *
10/15/13 3,875,693    $32.53 $0.00    -0.46% -0.71% -0.24%    0.00    0.80       0.74  -0.78%     0.32%     0.01        0.48     63.28%
10/16/13 3,559,743    $32.92 $0.00     1.20% 1.39% 0.81%      0.00    0.79       0.75   1.68%    -0.48%     0.01       -0.72     47.33%
10/17/13 3,572,553    $33.25 $0.00     1.00% 0.68% 1.50%      0.00    0.78       0.74   1.61%    -0.61%     0.01       -0.92     36.21%
10/18/13 3,695,018    $33.01 $0.00    -0.72% 0.66% 0.66%      0.00    0.77       0.73   0.95%    -1.67%     0.01       -2.51      1.35% *
10/21/13 3,656,342    $32.99 $0.00    -0.06% 0.01% 1.21%      0.00    0.76       0.71   0.81%    -0.88%     0.01       -1.28     20.33%
10/22/13 3,628,492    $33.42 $0.00     1.30% 0.57% 0.10%      0.00    0.76       0.69   0.45%     0.86%     0.01        1.25     21.52%
10/23/13 3,397,083    $33.39 $0.00    -0.09% -0.47% 0.06%     0.00    0.78       0.69  -0.37%     0.28%     0.01        0.41     68.56%
10/24/13 3,284,482    $33.22 $0.00    -0.51% 0.33% -1.18%     0.00    0.78       0.69  -0.60%     0.09%     0.01        0.13     89.30%
10/25/13 3,589,224    $33.27 $0.00     0.15% 0.44% 0.74%      0.00    0.77       0.69   0.81%    -0.66%     0.01       -0.95     34.30%
10/28/13 3,844,839    $33.52 $0.00     0.75% 0.13% 0.36%      0.00    0.78       0.70   0.31%     0.44%     0.01        0.64     52.32%
10/29/13 4,926,083    $33.81 $0.00     0.87% 0.56% 1.07%      0.00    0.78       0.70   1.14%    -0.28%     0.01       -0.40     68.72%
10/30/13 2,943,781    $33.53 $0.00    -0.83% -0.48% -0.16%    0.00    0.78       0.69  -0.52%    -0.30%     0.01       -0.44     65.73%
10/31/13 4,128,752    $33.86 $0.00     0.98% -0.38% 0.13%     0.00    0.77       0.69  -0.25%     1.24%     0.01        1.81      7.27%
 11/1/13 3,978,389    $33.58 $0.00    -0.83% 0.29% -0.25%     0.00    0.76       0.71   0.00%    -0.83%     0.01       -1.21     23.03%
 11/4/13 3,476,054    $33.76 $0.00     0.54% 0.36% 0.54%      0.00    0.77       0.71   0.62%    -0.08%     0.01       -0.12     90.51%
 11/5/13 5,697,242    $33.38 $0.00    -1.13% -0.27% -1.72%    0.00    0.78       0.72  -1.49%     0.36%     0.01        0.53     60.06%
 11/6/13 4,634,868    $33.89 $0.00     1.53% 0.48% 0.58%      0.00    0.77       0.71   0.74%     0.79%     0.01        1.15     25.40%
 11/7/13 13,537,330   $31.81 $0.00    -6.14% -1.30% -0.71%    0.00    0.77       0.71  -1.54%    -4.59%     0.01       -6.65      0.00% **
 11/8/13 10,077,843   $31.33 $0.00    -1.51% 1.34% -0.86%     0.00    0.77       0.72   0.38%    -1.89%     0.01       -2.73      0.72% **
11/11/13 3,244,043    $31.51 $0.00     0.57% 0.07% -0.40%     0.00    0.73       0.74  -0.29%     0.86%     0.01        1.21     22.93%
11/12/13 5,193,576    $31.43 $0.00    -0.25% -0.23% 0.51%     0.00    0.74       0.74   0.16%    -0.41%     0.01       -0.58     56.27%
11/13/13 4,161,553    $31.48 $0.00     0.16% 0.84% -0.74%     0.00    0.75       0.73   0.04%     0.12%     0.01        0.17     86.28%
11/14/13 4,252,132    $31.84 $0.00     1.14% 0.50% 0.08%      0.00    0.75       0.72   0.38%     0.76%     0.01        1.07     28.51%
11/15/13 3,779,806    $32.10 $0.00     0.82% 0.42% 0.20%      0.00    0.75       0.73   0.42%     0.40%     0.01        0.56     57.76%
11/18/13 4,607,338    $32.19 $0.00     0.28% -0.36% 0.86%     0.00    0.74       0.72   0.32%    -0.04%     0.01       -0.05     96.01%
11/19/13 4,567,618    $32.01 $0.00    -0.56% -0.19% 0.26%     0.00    0.75       0.71   0.01%    -0.57%     0.01       -0.81     41.76%
11/20/13 5,437,589    $31.80 $0.00    -0.66% -0.36% -0.61%    0.00    0.70       0.70  -0.69%     0.04%     0.01        0.05     95.93%
11/21/13 5,369,796    $31.08 $0.54    -0.57% 0.82% -0.72%     0.00    0.70       0.70   0.05%    -0.61%     0.01       -0.90     37.04%




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                                                           Appendix E
                                               CenturyLink, Inc. Common Stock Data
  [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                     Excess        Coefficient
                                             Market Industry                   Excess Predicted Abnormal   Root
 Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
11/22/13 4,877,614    $30.67 $0.00    -1.32% 0.51% -0.35%     0.00    0.69       0.70   0.08%    -1.40%     0.01       -2.05      4.29% *
11/25/13 5,265,951    $30.70 $0.00     0.10% -0.12% -0.20%    0.00    0.72       0.71  -0.29%     0.38%     0.01        0.56     57.48%
11/26/13 6,665,553    $30.68 $0.00    -0.07% 0.03% -0.02%     0.00    0.72       0.71  -0.05%    -0.02%     0.01       -0.02     98.23%
11/27/13 4,176,527    $30.72 $0.00     0.13% 0.27% -0.09%     0.00    0.73       0.71   0.08%     0.05%     0.01        0.07     94.44%
11/29/13 2,340,625    $30.70 $0.00    -0.07% -0.07% -0.50%    0.00    0.73       0.71  -0.46%     0.39%     0.01        0.57     56.81%
 12/2/13 5,119,533    $30.30 $0.00    -1.30% -0.27% -0.65%    0.00    0.73       0.70  -0.70%    -0.60%     0.01       -0.89     37.80%
 12/3/13 5,753,197    $30.37 $0.00     0.23% -0.31% 0.44%     0.00    0.74       0.71   0.02%     0.21%     0.01        0.30     76.12%
 12/4/13 6,800,435    $30.84 $0.00     1.55% -0.10% -0.33%    0.00    0.74       0.71  -0.37%     1.92%     0.01        2.80      0.60% **
 12/5/13 5,890,680    $30.65 $0.00    -0.62% -0.43% -0.61%    0.00    0.74       0.70  -0.79%     0.17%     0.01        0.25     80.55%
 12/6/13 5,759,019    $31.07 $0.00     1.37% 1.13% 0.23%      0.00    0.74       0.70   0.95%     0.42%     0.01        0.60     55.19%
 12/9/13 5,799,462    $31.52 $0.00     1.45% 0.19% 0.15%      0.00    0.75       0.70   0.20%     1.24%     0.01        1.77      7.99%
12/10/13 6,332,872    $31.51 $0.00    -0.03% -0.32% -0.63%    0.00    0.75       0.70  -0.71%     0.68%     0.01        0.95     34.53%
12/11/13 7,108,730    $30.71 $0.00    -2.54% -1.12% -0.47%    0.00    0.67       0.68  -1.08%    -1.46%     0.01       -2.06      4.13% *
12/12/13 5,381,300    $30.76 $0.00     0.16% -0.35% -0.12%    0.00    0.71       0.70  -0.35%     0.51%     0.01        0.72     47.50%
12/13/13 6,050,410    $30.73 $0.00    -0.10% -0.01% -0.26%    0.00    0.71       0.70  -0.20%     0.10%     0.01        0.14     88.55%
12/16/13 5,267,531    $30.95 $0.00     0.72% 0.63% 0.22%      0.00    0.69       0.66   0.56%     0.15%     0.01        0.22     82.82%
12/17/13 6,368,693    $31.44 $0.00     1.58% -0.31% -0.70%    0.00    0.71       0.67  -0.70%     2.28%     0.01        3.25      0.15% **
12/18/13 7,107,339    $31.84 $0.00     1.27% 1.67% 0.46%      0.00    0.68       0.63   1.43%    -0.16%     0.01       -0.22     82.46%
12/19/13 13,236,801   $31.36 $0.00    -1.51% -0.04% 0.18%     0.00    0.69       0.64   0.08%    -1.58%     0.01       -2.17      3.17% *
12/20/13 9,155,762    $31.04 $0.00    -1.02% 0.48% -0.87%     0.00    0.70       0.62  -0.22%    -0.80%     0.01       -1.08     28.26%
12/23/13 5,691,073    $31.36 $0.00     1.03% 0.55% 0.68%      0.00    0.69       0.64   0.79%     0.24%     0.01        0.32     75.11%
12/24/13 2,965,928    $31.69 $0.00     1.05% 0.30% 0.55%      0.00    0.70       0.64   0.55%     0.50%     0.01        0.68     50.07%
12/26/13 3,547,160    $31.85 $0.00     0.50% 0.47% 0.18%      0.00    0.70       0.65   0.44%     0.07%     0.01        0.09     92.81%
12/27/13 3,690,852    $32.01 $0.00     0.50% -0.01% 0.06%     0.00    0.71       0.65   0.02%     0.48%     0.01        0.65     51.81%
12/30/13 4,185,689    $31.96 $0.00    -0.16% -0.01% 0.05%     0.00    0.71       0.65   0.02%    -0.18%     0.01       -0.24     80.86%
12/31/13 5,122,758    $31.85 $0.00    -0.34% 0.40% -0.33%     0.00    0.71       0.66   0.06%    -0.41%     0.01       -0.55     58.51%
  1/2/14 4,446,283    $31.65 $0.00    -0.63% -0.87% 0.01%     0.00    0.70       0.66  -0.61%    -0.02%     0.01       -0.02     98.22%
  1/3/14 2,137,339    $31.60 $0.00    -0.16% -0.03% -0.63%    0.00    0.69       0.67  -0.46%     0.30%     0.01        0.41     68.21%
  1/6/14 2,925,125    $31.67 $0.00     0.22% -0.25% 0.65%     0.00    0.69       0.68   0.25%    -0.03%     0.01       -0.04     96.95%
  1/7/14 5,040,813    $31.41 $0.00    -0.82% 0.61% 0.23%      0.00    0.69       0.68   0.56%    -1.38%     0.01       -1.87      6.36%
  1/8/14 4,356,803    $31.24 $0.00    -0.54% 0.01% -0.62%     0.00    0.67       0.68  -0.43%    -0.11%     0.01       -0.15     88.41%
  1/9/14 4,052,169    $30.79 $0.00    -1.44% 0.03% -1.88%     0.00    0.68       0.67  -1.26%    -0.18%     0.01       -0.24     80.85%
 1/10/14 3,666,234    $31.02 $0.00     0.75% 0.23% 0.21%      0.00    0.68       0.68   0.28%     0.47%     0.01        0.63     52.93%
 1/13/14 4,951,794    $30.87 $0.00    -0.48% -1.25% -0.27%    0.00    0.68       0.68  -1.04%     0.56%     0.01        0.75     45.26%
 1/14/14 5,584,896    $30.69 $0.00    -0.58% 1.08% -0.23%     0.00    0.66       0.68   0.55%    -1.13%     0.01       -1.52     13.25%
 1/15/14 11,731,354   $30.53 $0.00    -0.52% 0.52% 1.22%      0.00    0.64       0.69   1.15%    -1.67%     0.01       -2.23      2.78% *
 1/16/14 4,404,416    $30.33 $0.00    -0.66% -0.13% 0.55%     0.00    0.63       0.65   0.24%    -0.90%     0.01       -1.17     24.42%
 1/17/14 6,213,716    $30.00 $0.00    -1.09% -0.39% -0.22%    0.00    0.63       0.64  -0.43%    -0.66%     0.01       -0.85     39.52%
 1/21/14 6,060,770    $29.85 $0.00    -0.50% 0.28% -0.88%     0.00    0.64       0.64  -0.43%    -0.07%     0.01       -0.09     93.16%
 1/22/14 4,476,142    $29.50 $0.00    -1.17% 0.07% -0.72%     0.00    0.64       0.63  -0.46%    -0.71%     0.01       -0.92     35.73%
 1/23/14 6,166,990    $29.45 $0.00    -0.17% -0.89% 1.65%     0.00    0.64       0.66   0.47%    -0.64%     0.01       -0.83     40.73%
 1/24/14 6,080,409    $29.15 $0.00    -1.02% -2.09% 0.43%     0.00    0.64       0.64  -1.14%     0.12%     0.01        0.15     87.79%
 1/27/14 7,468,250    $29.08 $0.00    -0.24% -0.48% 0.46%     0.00    0.64       0.65  -0.08%    -0.17%     0.01       -0.22     83.00%
 1/28/14 6,378,807    $28.95 $0.00    -0.45% 0.61% -0.37%     0.00    0.64       0.64   0.09%    -0.53%     0.01       -0.70     48.78%
 1/29/14 7,570,471    $28.59 $0.00    -1.24% -1.01% 0.25%     0.00    0.64       0.65  -0.56%    -0.68%     0.01       -0.89     37.66%
 1/30/14 7,070,543    $29.16 $0.00     1.99% 1.13% -0.63%     0.00    0.66       0.64   0.26%     1.73%     0.01        2.27      2.52% *
 1/31/14 6,519,118    $28.86 $0.00    -1.03% -0.65% 0.64%     0.00    0.70       0.62  -0.14%    -0.89%     0.01       -1.15     25.38%
  2/3/14 6,612,993    $28.13 $0.00    -2.53% -2.28% -2.18%    0.00    0.71       0.60  -3.01%     0.48%     0.01        0.62     53.96%
  2/4/14 5,374,941    $28.09 $0.00    -0.14% 0.77% 0.66%      0.00    0.69       0.58   0.83%    -0.98%     0.01       -1.25     21.30%
  2/5/14 4,115,641    $28.27 $0.00     0.64% -0.17% -0.57%    0.00    0.68       0.57  -0.53%     1.17%     0.01        1.50     13.74%
  2/6/14 8,104,686    $28.30 $0.00     0.11% 1.30% -0.81%     0.00    0.68       0.56   0.35%    -0.24%     0.01       -0.30     76.15%
  2/7/14 4,059,261    $28.79 $0.00     1.73% 1.33% -0.21%     0.00    0.68       0.56   0.70%     1.03%     0.01        1.30     19.47%
 2/10/14 4,284,328    $28.93 $0.00     0.49% 0.16% 0.28%      0.00    0.69       0.55   0.19%     0.29%     0.01        0.37     71.29%
 2/11/14 8,416,882    $29.73 $0.00     2.77% 1.11% 0.43%      0.00    0.69       0.55   0.94%     1.83%     0.01        2.31      2.28% *
 2/12/14 8,307,185    $30.19 $0.00     1.55% 0.02% 0.17%      0.00    0.72       0.56   0.06%     1.48%     0.01        1.83      6.97%
 2/13/14 12,193,083   $30.77 $0.00     1.92% 0.59% 0.57%      0.00    0.72       0.57   0.71%     1.21%     0.01        1.47     14.31%
 2/14/14 6,944,649    $30.65 $0.00    -0.39% 0.49% -1.39%     0.00    0.71       0.57  -0.48%     0.09%     0.01        0.11     91.48%
 2/18/14 5,995,099    $30.95 $0.00     0.98% 0.13% -1.06%     0.00    0.71       0.54  -0.52%     1.50%     0.01        1.85      6.73%
 2/19/14 4,886,465    $30.90 $0.00    -0.16% -0.65% 0.94%     0.00    0.71       0.52  -0.01%    -0.15%     0.01       -0.18     85.67%
 2/20/14 3,587,917    $31.12 $0.00     0.71% 0.62% 1.60%      0.00    0.72       0.52   1.23%    -0.52%     0.01       -0.63     53.16%
 2/21/14 6,094,501    $31.09 $0.00    -0.10% -0.18% -1.25%    0.00    0.72       0.50  -0.79%     0.70%     0.01        0.84     40.00%
 2/24/14 4,717,215    $31.19 $0.00     0.32% 0.62% -1.78%     0.00    0.71       0.47  -0.44%     0.76%     0.01        0.92     35.86%




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                                                          Appendix E
                                              CenturyLink, Inc. Common Stock Data
 [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                    Excess        Coefficient
                                            Market Industry                   Excess Predicted Abnormal   Root
Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
2/25/14 5,218,198    $31.14 $0.00    -0.16% -0.13% -0.16%    0.00    0.72       0.45  -0.21%     0.05%     0.01        0.06     95.29%
2/26/14 5,624,604    $30.80 $0.00    -1.09% 0.02% -0.31%     0.00    0.72       0.45  -0.17%    -0.93%     0.01       -1.12     26.62%
2/27/14 6,072,859    $31.08 $0.00     0.91% 0.51% 1.33%      0.00    0.73       0.47   0.95%    -0.04%     0.01       -0.05     96.15%
2/28/14 5,197,792    $31.26 $0.00     0.58% 0.28% -0.46%     0.00    0.73       0.45  -0.04%     0.62%     0.01        0.75     45.39%
 3/3/14 5,041,610    $31.11 $0.00    -0.48% -0.73% 0.15%     0.00    0.73       0.45  -0.50%     0.02%     0.01        0.02     98.18%
 3/4/14 4,637,747    $31.53 $0.00     1.35% 1.53% 0.10%      0.00    0.74       0.45   1.14%     0.21%     0.01        0.25     80.42%
 3/5/14 10,214,777   $31.86 $0.00     1.05% 0.01% -0.60%     0.00    0.73       0.44  -0.29%     1.33%     0.01        1.62     10.73%
 3/6/14 6,461,975    $31.19 $0.54    -0.41% 0.19% 0.29%      0.00    0.73       0.43   0.24%    -0.65%     0.01       -0.78     43.73%
 3/7/14 4,463,090    $31.32 $0.00     0.42% 0.06% -0.09%     0.00    0.72       0.44  -0.01%     0.43%     0.01        0.52     60.63%
3/10/14 4,681,172    $30.83 $0.00    -1.56% -0.04% -0.19%    0.00    0.72       0.44  -0.12%    -1.44%     0.01       -1.74      8.42%
3/11/14 4,331,872    $30.69 $0.00    -0.45% -0.50% -0.36%    0.00    0.73       0.45  -0.55%     0.10%     0.01        0.11     90.96%
3/12/14 3,206,400    $30.68 $0.00    -0.03% 0.06% -0.23%     0.00    0.73       0.45  -0.08%     0.05%     0.01        0.05     95.71%
3/13/14 3,516,550    $30.49 $0.00    -0.62% -1.16% 0.42%     0.00    0.74       0.45  -0.68%     0.06%     0.01        0.07     94.66%
3/14/14 4,715,718    $30.62 $0.00     0.43% -0.28% 0.49%     0.00    0.74       0.45   0.00%     0.43%     0.01        0.52     60.63%
3/17/14 3,353,245    $30.84 $0.00     0.72% 0.96% 0.27%      0.00    0.73       0.45   0.81%    -0.09%     0.01       -0.11     91.19%
3/18/14 4,314,222    $31.40 $0.00     1.82% 0.72% 0.14%      0.00    0.73       0.45   0.58%     1.24%     0.01        1.49     13.98%
3/19/14 5,326,396    $31.25 $0.00    -0.48% -0.61% 0.01%     0.00    0.74       0.46  -0.46%    -0.02%     0.01       -0.03     97.96%
3/20/14 5,199,373    $31.37 $0.00     0.38% 0.61% 2.13%      0.00    0.74       0.46   1.42%    -1.03%     0.01       -1.23     22.02%
3/21/14 10,315,935   $31.34 $0.00    -0.10% -0.29% 0.20%     0.00    0.74       0.42  -0.14%     0.05%     0.01        0.05     95.75%
3/24/14 5,063,542    $31.54 $0.00     0.64% -0.49% 0.65%     0.00    0.73       0.42  -0.09%     0.73%     0.01        0.86     38.89%
3/25/14 4,344,756    $31.91 $0.00     1.17% 0.45% 0.25%      0.00    0.72       0.43   0.44%     0.74%     0.01        0.87     38.44%
3/26/14 7,412,896    $32.29 $0.00     1.19% -0.70% 0.11%     0.00    0.71       0.43  -0.44%     1.63%     0.01        1.93      5.57%
3/27/14 5,043,274    $32.59 $0.00     0.93% -0.17% 1.30%     0.00    0.69       0.43   0.47%     0.46%     0.01        0.53     59.51%
3/28/14 4,094,012    $32.68 $0.00     0.28% 0.47% -0.36%     0.00    0.67       0.45   0.19%     0.08%     0.01        0.10     92.37%
3/31/14 5,962,182    $32.84 $0.00     0.49% 0.80% -0.31%     0.00    0.68       0.44   0.45%     0.04%     0.01        0.05     95.94%
 4/1/14 6,720,547    $33.08 $0.00     0.73% 0.71% -0.18%     0.00    0.69       0.43   0.45%     0.28%     0.01        0.33     74.27%
 4/2/14 4,334,427    $33.18 $0.00     0.30% 0.30% 0.27%      0.00    0.71       0.43   0.36%    -0.06%     0.01       -0.07     94.45%
 4/3/14 5,926,083    $33.49 $0.00     0.93% -0.11% 0.71%     0.00    0.71       0.39   0.21%     0.73%     0.01        0.89     37.57%
 4/4/14 5,022,768    $33.69 $0.00     0.60% -1.25% 0.60%     0.00    0.62       0.41  -0.52%     1.12%     0.01        1.41     16.23%
 4/7/14 4,694,698    $33.54 $0.00    -0.45% -1.07% 0.70%     0.00    0.60       0.42  -0.33%    -0.12%     0.01       -0.15     88.12%
 4/8/14 4,382,875    $33.94 $0.00     1.19% 0.41% 0.72%      0.00    0.61       0.40   0.58%     0.62%     0.01        0.78     43.53%
 4/9/14 7,824,025    $33.80 $0.00    -0.41% 1.10% -1.43%     0.00    0.62       0.40   0.15%    -0.56%     0.01       -0.71     48.03%
4/10/14 5,103,068    $33.43 $0.00    -1.09% -2.09% 1.11%     0.00    0.61       0.42  -0.77%    -0.33%     0.01       -0.42     67.74%
4/11/14 4,443,069    $33.35 $0.00    -0.24% -0.94% 0.27%     0.00    0.62       0.41  -0.44%     0.20%     0.01        0.25     80.33%
4/14/14 5,027,993    $33.88 $0.00     1.59% 0.82% -0.05%     0.00    0.63       0.43   0.55%     1.04%     0.01        1.34     18.45%
4/15/14 5,488,825    $34.05 $0.00     0.50% 0.68% -0.35%     0.00    0.65       0.44   0.34%     0.16%     0.01        0.20     84.06%
4/16/14 4,915,918    $34.74 $0.00     2.03% 1.05% 0.13%      0.00    0.64       0.44   0.79%     1.24%     0.01        1.59     11.48%
4/17/14 4,831,992    $34.43 $0.00    -0.89% 0.14% 0.37%      0.00    0.66       0.45   0.32%    -1.22%     0.01       -1.54     12.52%
4/21/14 2,181,744    $34.49 $0.00     0.17% 0.38% 0.20%      0.00    0.66       0.43   0.40%    -0.22%     0.01       -0.28     78.14%
4/22/14 3,171,599    $34.45 $0.00    -0.12% 0.41% 0.00%      0.00    0.67       0.44   0.33%    -0.45%     0.01       -0.56     57.34%
4/23/14 5,545,716    $34.61 $0.00     0.46% -0.21% -2.07%    0.00    0.66       0.44  -0.99%     1.45%     0.01        1.83      7.03%
4/24/14 4,216,363    $34.63 $0.00     0.06% 0.17% -1.88%     0.00    0.65       0.39  -0.55%     0.61%     0.01        0.76     45.03%
4/25/14 3,758,085    $34.76 $0.00     0.38% -0.81% 0.11%     0.00    0.65       0.37  -0.41%     0.79%     0.01        0.98     33.13%
4/28/14 4,895,210    $34.64 $0.00    -0.35% 0.33% 1.28%      0.00    0.64       0.37   0.76%    -1.10%     0.01       -1.37     17.20%
4/29/14 3,407,922    $34.80 $0.00     0.46% 0.48% 0.35%      0.00    0.64       0.34   0.50%    -0.03%     0.01       -0.04     96.69%
4/30/14 3,440,614    $34.91 $0.00     0.32% 0.30% 0.19%      0.00    0.64       0.34   0.33%    -0.01%     0.01       -0.02     98.73%
 5/1/14 2,702,517    $34.96 $0.00     0.14% -0.01% 0.41%     0.00    0.64       0.33   0.20%    -0.06%     0.01       -0.07     94.21%
 5/2/14 3,654,508    $34.83 $0.00    -0.37% -0.14% 0.05%     0.00    0.63       0.32  -0.01%    -0.36%     0.01       -0.46     64.77%
 5/5/14 3,302,088    $34.84 $0.00     0.03% 0.19% 0.35%      0.00    0.63       0.32   0.30%    -0.27%     0.01       -0.34     73.74%
 5/6/14 4,692,085    $34.46 $0.00    -1.09% -0.90% 0.30%     0.00    0.68       0.29  -0.45%    -0.64%     0.01       -0.84     40.38%
 5/7/14 6,623,396    $34.65 $0.00     0.55% 0.60% 0.58%      0.00    0.69       0.29   0.65%    -0.10%     0.01       -0.13     90.00%
 5/8/14 21,617,627   $36.86 $0.00     6.38% -0.11% 1.28%     0.00    0.69       0.30   0.36%     6.01%     0.01        7.84      0.00% **
 5/9/14 7,794,610    $36.56 $0.00    -0.81% 0.17% 0.03%      0.00    0.69       0.29   0.19%    -1.01%     0.01       -1.31     19.39%
5/12/14 5,464,724    $36.74 $0.00     0.49% 0.97% -0.79%     0.00    0.68       0.29   0.48%     0.01%     0.01        0.01     99.18%
5/13/14 6,557,744    $36.97 $0.00     0.63% 0.07% -0.82%     0.00    0.68       0.29  -0.14%     0.77%     0.01        1.00     32.13%
5/14/14 7,681,031    $37.66 $0.00     1.87% -0.45% 0.70%     0.00    0.68       0.28  -0.06%     1.93%     0.01        2.49      1.44% *
5/15/14 8,250,336    $37.83 $0.00     0.45% -0.92% 0.74%     0.00    0.66       0.30  -0.31%     0.76%     0.01        0.96     33.80%
5/16/14 4,521,544    $38.18 $0.00     0.93% 0.38% 1.20%      0.00    0.65       0.30   0.69%     0.23%     0.01        0.29     77.22%
5/19/14 7,759,823    $37.97 $0.00    -0.55% 0.39% -0.59%     0.00    0.66       0.30   0.18%    -0.73%     0.01       -0.92     35.88%
5/20/14 5,862,582    $37.58 $0.00    -1.03% -0.65% -1.26%    0.00    0.67       0.30  -0.71%    -0.32%     0.01       -0.41     68.23%
5/21/14 5,438,413    $37.17 $0.00    -1.09% 0.83% -0.40%     0.00    0.68       0.30   0.53%    -1.63%     0.01       -2.09      3.91% *
5/22/14 5,594,294    $37.15 $0.00    -0.05% 0.25% 0.36%      0.00    0.65       0.31   0.36%    -0.42%     0.01       -0.53     60.04%




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                                                          Appendix E
                                              CenturyLink, Inc. Common Stock Data
 [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                    Excess        Coefficient
                                            Market Industry                   Excess Predicted Abnormal   Root
Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
5/23/14 3,384,959    $37.28 $0.00     0.35% 0.43% -0.02%     0.00    0.65       0.31   0.36%    -0.01%     0.01       -0.01     99.39%
5/27/14 3,685,572    $37.32 $0.00     0.11% 0.60% -0.65%     0.00    0.65       0.31   0.27%    -0.16%     0.01       -0.21     83.62%
5/28/14 4,083,051    $37.80 $0.00     1.29% -0.10% 0.44%     0.00    0.65       0.30   0.16%     1.12%     0.01        1.42     15.70%
5/29/14 4,049,970    $37.68 $0.00    -0.32% 0.55% -0.33%     0.00    0.64       0.31   0.35%    -0.67%     0.01       -0.84     40.25%
5/30/14 3,946,026    $37.67 $0.00    -0.03% 0.19% 0.24%      0.00    0.64       0.32   0.27%    -0.30%     0.01       -0.38     70.20%
 6/2/14 2,658,269    $37.62 $0.00    -0.13% 0.08% -0.05%     0.00    0.64       0.32   0.12%    -0.25%     0.01       -0.32     75.17%
 6/3/14 4,630,207    $38.03 $0.00     1.09% -0.03% -1.02%    0.00    0.63       0.31  -0.27%     1.36%     0.01        1.74      8.53%
 6/4/14 3,978,489    $38.03 $0.00     0.00% 0.21% -0.44%     0.00    0.63       0.29   0.08%    -0.08%     0.01       -0.10     92.27%
 6/5/14 5,007,248    $37.18 $0.54    -0.82% 0.66% -0.22%     0.00    0.63       0.29   0.42%    -1.23%     0.01       -1.58     11.78%
 6/6/14 3,785,554    $36.91 $0.00    -0.73% 0.48% -0.29%     0.00    0.58       0.28   0.27%    -1.00%     0.01       -1.29     19.92%
 6/9/14 3,488,328    $36.87 $0.00    -0.11% 0.10% 0.09%      0.00    0.57       0.29   0.15%    -0.26%     0.01       -0.33     73.87%
6/10/14 3,444,107    $36.93 $0.00     0.16% -0.02% -0.11%    0.00    0.57       0.29   0.02%     0.14%     0.01        0.18     85.79%
6/11/14 3,854,123    $36.43 $0.00    -1.35% -0.34% -0.14%    0.00    0.57       0.28  -0.17%    -1.18%     0.01       -1.52     13.11%
6/12/14 2,960,166    $36.39 $0.00    -0.11% -0.68% 0.16%     0.00    0.59       0.31  -0.32%     0.21%     0.01        0.27     78.75%
6/13/14 3,458,077    $36.95 $0.00     1.54% 0.32% 0.38%      0.00    0.59       0.31   0.34%     1.20%     0.01        1.56     12.13%
6/16/14 2,710,018    $37.06 $0.00     0.30% 0.08% 0.14%      0.00    0.59       0.32   0.16%     0.14%     0.01        0.19     85.33%
6/17/14 3,192,739    $36.62 $0.00    -1.19% 0.22% -0.14%     0.00    0.60       0.31   0.16%    -1.35%     0.01       -1.80      7.53%
6/18/14 2,257,863    $36.93 $0.00     0.85% 0.77% 0.04%      0.00    0.59       0.30   0.53%     0.32%     0.01        0.42     67.83%
6/19/14 2,700,975    $37.29 $0.00     0.97% 0.14% 0.16%      0.00    0.59       0.30   0.19%     0.79%     0.01        1.04     30.20%
6/20/14 5,038,562    $36.70 $0.00    -1.58% 0.17% -0.14%     0.00    0.59       0.30   0.12%    -1.70%     0.01       -2.23      2.76% *
6/23/14 2,348,210    $36.73 $0.00     0.08% -0.01% 0.36%     0.00    0.59       0.30   0.15%    -0.06%     0.01       -0.08     93.42%
6/24/14 2,644,880    $36.36 $0.00    -1.01% -0.63% -0.18%    0.00    0.59       0.30  -0.38%    -0.62%     0.01       -0.80     42.55%
6/25/14 3,883,852    $36.15 $0.00    -0.58% 0.49% -0.20%     0.00    0.60       0.30   0.28%    -0.86%     0.01       -1.10     27.42%
6/26/14 2,913,857    $36.16 $0.00     0.03% -0.10% -0.12%    0.00    0.59       0.30  -0.06%     0.09%     0.01        0.11     91.28%
6/27/14 4,245,253    $35.78 $0.00    -1.05% 0.20% 0.21%      0.00    0.59       0.30   0.22%    -1.27%     0.01       -1.62     10.78%
6/30/14 2,820,478    $36.20 $0.00     1.17% -0.03% -0.37%    0.00    0.59       0.30  -0.10%     1.27%     0.01        1.61     11.01%
 7/1/14 2,351,079    $36.32 $0.00     0.33% 0.69% 0.16%      0.00    0.60       0.30   0.51%    -0.17%     0.01       -0.22     82.58%
 7/2/14 4,105,462    $35.94 $0.00    -1.05% 0.07% 0.48%      0.00    0.60       0.29   0.24%    -1.28%     0.01       -1.62     10.77%
 7/3/14 2,071,595    $36.08 $0.00     0.39% 0.55% -0.06%     0.00    0.59       0.25   0.36%     0.03%     0.01        0.04     96.84%
 7/7/14 2,077,144    $36.12 $0.00     0.11% -0.39% 0.51%     0.00    0.59       0.25  -0.06%     0.17%     0.01        0.21     83.37%
 7/8/14 3,767,060    $36.50 $0.00     1.05% -0.68% -0.03%    0.00    0.60       0.25  -0.37%     1.42%     0.01        1.79      7.61%
 7/9/14 4,921,591    $36.59 $0.00     0.25% 0.47% -0.02%     0.00    0.60       0.25   0.34%    -0.10%     0.01       -0.12     90.48%
7/10/14 3,474,103    $36.78 $0.00     0.52% -0.41% 1.09%     0.00    0.61       0.27   0.12%     0.40%     0.01        0.51     61.10%
7/11/14 1,672,723    $36.77 $0.00    -0.03% 0.16% 0.68%      0.00    0.61       0.29   0.38%    -0.40%     0.01       -0.51     60.86%
7/14/14 2,284,000    $36.89 $0.00     0.33% 0.48% 0.04%      0.00    0.60       0.28   0.39%    -0.06%     0.01       -0.08     93.55%
7/15/14 4,163,555    $36.99 $0.00     0.27% -0.19% 0.78%     0.00    0.60       0.27   0.19%     0.08%     0.01        0.11     91.54%
7/16/14 4,220,308    $37.12 $0.00     0.35% 0.43% 0.29%      0.00    0.60       0.26   0.44%    -0.08%     0.01       -0.11     91.30%
7/17/14 1,906,272    $36.72 $0.00    -1.08% -1.17% -0.40%    0.00    0.59       0.26  -0.69%    -0.38%     0.01       -0.50     62.04%
7/18/14 2,058,629    $36.95 $0.00     0.63% 1.03% -0.04%     0.00    0.60       0.26   0.71%    -0.08%     0.01       -0.11     91.35%
7/21/14 3,000,413    $37.02 $0.00     0.19% -0.23% -0.18%    0.00    0.60       0.27  -0.08%     0.27%     0.01        0.35     72.50%
7/22/14 2,846,177    $37.31 $0.00     0.78% 0.50% -0.03%     0.00    0.61       0.26   0.41%     0.38%     0.01        0.49     62.62%
7/23/14 3,176,761    $37.57 $0.00     0.70% 0.18% -0.27%     0.00    0.59       0.26   0.16%     0.54%     0.01        0.70     48.25%
7/24/14 2,263,214    $37.68 $0.00     0.29% 0.05% -0.29%     0.00    0.56       0.27   0.07%     0.23%     0.01        0.30     76.65%
7/25/14 2,122,589    $37.58 $0.00    -0.27% -0.48% 0.58%     0.00    0.55       0.28   0.03%    -0.29%     0.01       -0.39     69.62%
7/28/14 3,858,663    $37.71 $0.00     0.35% 0.03% 0.44%      0.00    0.50       0.24   0.26%     0.09%     0.01        0.12     90.72%
7/29/14 51,803,366   $39.90 $0.00     5.81% -0.45% 2.32%     0.00    0.51       0.25   0.50%     5.31%     0.01        7.14      0.00% **
7/30/14 8,045,896    $39.77 $0.00    -0.33% 0.02% -0.60%     0.00    0.50       0.47  -0.10%    -0.23%     0.01       -0.26     79.38%
7/31/14 8,057,352    $39.24 $0.00    -1.33% -1.99% -0.93%    0.00    0.51       0.47  -1.28%    -0.05%     0.01       -0.06     95.02%
 8/1/14 4,679,242    $39.06 $0.00    -0.46% -0.29% -0.75%    0.00    0.48       0.47  -0.33%    -0.13%     0.01       -0.15     88.06%
 8/4/14 3,985,921    $39.46 $0.00     1.02% 0.72% 0.05%      0.00    0.48       0.47   0.54%     0.49%     0.01        0.56     57.55%
 8/5/14 3,797,639    $39.29 $0.00    -0.43% -0.96% -0.18%    0.00    0.44       0.46  -0.35%    -0.08%     0.01       -0.09     92.70%
 8/6/14 3,467,618    $38.77 $0.00    -1.32% 0.03% -1.31%     0.00    0.45       0.45  -0.44%    -0.88%     0.01       -1.05     29.76%
 8/7/14 4,882,082    $38.95 $0.00     0.46% -0.53% -0.70%    0.00    0.45       0.47  -0.44%     0.90%     0.01        1.07     28.88%
 8/8/14 5,045,437    $39.86 $0.00     2.34% 1.16% -0.40%     0.00    0.45       0.47   0.46%     1.87%     0.01        2.20      2.95% *
8/11/14 5,237,163    $40.27 $0.00     1.03% 0.29% -0.16%     0.00    0.50       0.49   0.20%     0.82%     0.01        0.96     33.84%
8/12/14 5,161,187    $40.77 $0.00     1.24% -0.16% 0.52%     0.00    0.49       0.49   0.33%     0.92%     0.01        1.06     28.93%
8/13/14 5,806,201    $40.47 $0.00    -0.74% 0.70% -0.30%     0.00    0.50       0.52   0.35%    -1.09%     0.01       -1.26     21.06%
8/14/14 3,504,532    $40.51 $0.00     0.10% 0.44% 0.08%      0.00    0.49       0.53   0.40%    -0.30%     0.01       -0.35     72.71%
8/15/14 3,481,143    $40.40 $0.00    -0.27% 0.01% -0.39%     0.00    0.48       0.56  -0.08%    -0.19%     0.01       -0.22     82.74%
8/18/14 2,704,021    $40.42 $0.00     0.05% 0.86% -0.67%     0.00    0.48       0.57   0.17%    -0.12%     0.01       -0.13     89.32%
8/19/14 2,027,596    $40.66 $0.00     0.59% 0.52% -0.65%     0.00    0.48       0.56   0.03%     0.57%     0.01        0.66     50.93%
8/20/14 3,056,329    $40.79 $0.00     0.32% 0.25% 0.03%      0.00    0.48       0.56   0.29%     0.03%     0.01        0.04     97.18%




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                                                            Appendix E
                                                CenturyLink, Inc. Common Stock Data
  [1]        [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                      Excess        Coefficient
                                              Market Industry                   Excess Predicted Abnormal   Root
 Date      Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
 8/21/14   3,367,515   $40.91 $0.00     0.29% 0.30% 0.00%      0.00    0.48       0.56   0.29%     0.00%     0.01        0.00     99.64%
 8/22/14   1,860,889   $40.80 $0.00    -0.27% -0.19% -0.24%    0.00    0.48       0.56  -0.07%    -0.20%     0.01       -0.23     82.03%
 8/25/14   3,472,700   $41.27 $0.00     1.15% 0.48% 0.25%      0.00    0.46       0.56   0.50%     0.65%     0.01        0.76     45.08%
 8/26/14   2,574,155   $41.14 $0.00    -0.31% 0.11% 0.02%      0.00    0.47       0.58   0.20%    -0.52%     0.01       -0.61     54.63%
 8/27/14   2,306,702   $40.76 $0.54     0.39% 0.03% 0.56%      0.00    0.48       0.59   0.48%    -0.09%     0.01       -0.11     91.55%
 8/28/14   2,738,159   $40.86 $0.00     0.25% -0.16% 0.08%     0.00    0.48       0.59   0.11%     0.13%     0.01        0.16     87.50%
 8/29/14   2,500,622   $40.99 $0.00     0.32% 0.34% 0.51%      0.00    0.47       0.58   0.61%    -0.29%     0.01       -0.35     73.06%
  9/2/14   3,422,613   $40.86 $0.00    -0.32% -0.05% -0.19%    0.00    0.47       0.57   0.02%    -0.34%     0.01       -0.40     68.64%
  9/3/14   2,855,259   $41.02 $0.00     0.39% -0.06% 0.32%     0.00    0.47       0.58   0.30%     0.09%     0.01        0.11     91.53%
  9/4/14   3,624,736   $41.06 $0.00     0.10% -0.15% -0.09%    0.00    0.45       0.58   0.03%     0.06%     0.01        0.08     93.92%
  9/5/14   3,061,319   $41.47 $0.00     1.00% 0.51% 0.21%      0.00    0.45       0.58   0.50%     0.50%     0.01        0.59     55.32%
  9/8/14   7,919,078   $40.58 $0.00    -2.15% -0.29% -0.32%    0.00    0.46       0.58  -0.16%    -1.98%     0.01       -2.37      1.95% *
  9/9/14   6,052,736   $39.99 $0.00    -1.45% -0.65% -0.67%    0.00    0.46       0.59  -0.57%    -0.89%     0.01       -1.04     29.82%
 9/10/14   3,905,173   $39.69 $0.00    -0.75% 0.37% -0.44%     0.00    0.47       0.61   0.04%    -0.79%     0.01       -0.92     35.80%
 9/11/14   5,115,581   $40.38 $0.00     1.74% 0.12% 0.46%      0.00    0.50       0.68   0.50%     1.24%     0.01        1.47     14.56%
 9/12/14   5,540,258   $39.54 $0.00    -2.08% -0.59% -0.70%    0.00    0.50       0.70  -0.65%    -1.43%     0.01       -1.68      9.64%
 9/15/14   3,200,475   $39.64 $0.00     0.25% -0.07% 0.41%     0.00    0.53       0.72   0.38%    -0.13%     0.01       -0.15     88.21%
 9/16/14   4,007,351   $39.60 $0.00    -0.10% 0.75% 0.31%      0.00    0.53       0.72   0.73%    -0.83%     0.01       -0.97     33.48%
 9/17/14   4,773,923   $40.35 $0.00     1.89% 0.13% 0.29%      0.00    0.54       0.71   0.37%     1.52%     0.01        1.78      7.74%
 9/18/14   2,372,517   $40.52 $0.00     0.42% 0.50% 0.38%      0.00    0.54       0.72   0.65%    -0.23%     0.01       -0.26     79.20%
 9/19/14   3,482,965   $40.75 $0.00     0.57% -0.05% 1.09%     0.00    0.54       0.72   0.86%    -0.30%     0.01       -0.34     73.31%
 9/22/14   2,778,036   $40.79 $0.00     0.10% -0.80% 0.38%     0.00    0.53       0.71  -0.05%     0.15%     0.01        0.18     86.12%
 9/23/14   2,646,435   $40.46 $0.00    -0.81% -0.57% -0.21%    0.00    0.52       0.71  -0.35%    -0.46%     0.01       -0.54     59.34%
 9/24/14   3,452,837   $40.44 $0.00    -0.05% 0.79% -0.19%     0.00    0.53       0.72   0.37%    -0.42%     0.01       -0.49     62.54%
 9/25/14   2,857,294   $39.91 $0.00    -1.31% -1.62% 0.15%     0.00    0.53       0.71  -0.66%    -0.65%     0.01       -0.75     45.25%
 9/26/14   2,785,176   $40.31 $0.00     1.00% 0.88% -0.16%     0.00    0.58       0.71   0.46%     0.54%     0.01        0.62     53.53%
 9/29/14   3,763,075   $40.40 $0.00     0.22% -0.25% 0.11%     0.00    0.58       0.71   0.02%     0.21%     0.01        0.24     81.05%
 9/30/14   3,303,817   $40.89 $0.00     1.21% -0.27% 0.47%     0.00    0.57       0.71   0.26%     0.95%     0.01        1.10     27.22%
 10/1/14   2,943,935   $40.42 $0.00    -1.15% -1.32% -0.11%    0.00    0.57       0.71  -0.74%    -0.41%     0.01       -0.48     63.55%
 10/2/14   2,542,464   $40.76 $0.00     0.84% 0.01% -0.12%     0.00    0.54       0.74   0.01%     0.83%     0.01        0.96     33.98%
 10/3/14   2,497,727   $41.00 $0.00     0.59% 1.12% 0.23%      0.00    0.53       0.73   0.87%    -0.28%     0.01       -0.32     74.79%
 10/6/14   3,092,155   $40.68 $0.00    -0.78% -0.15% 0.58%     0.00    0.50       0.73   0.44%    -1.22%     0.01       -1.41     16.02%
 10/7/14   2,993,803   $40.08 $0.00    -1.47% -1.51% 0.38%     0.00    0.51       0.72  -0.41%    -1.06%     0.01       -1.22     22.53%
 10/8/14   3,066,336   $40.82 $0.00     1.85% 1.78% -0.04%     0.00    0.51       0.70   0.95%     0.90%     0.01        1.04     30.26%
 10/9/14   3,002,769   $39.73 $0.00    -2.67% -2.06% -0.38%    0.00    0.56       0.72  -1.34%    -1.33%     0.01       -1.54     12.63%
10/10/14   3,339,596   $39.13 $0.00    -1.51% -1.13% 0.15%     0.00    0.62       0.73  -0.53%    -0.98%     0.01       -1.13     26.24%
10/13/14   4,048,675   $38.41 $0.00    -1.84% -1.65% -0.08%    0.00    0.65       0.73  -1.07%    -0.77%     0.01       -0.88     37.96%
10/14/14   3,825,142   $38.83 $0.00     1.09% 0.16% -0.11%     0.00    0.69       0.86   0.04%     1.05%     0.01        1.23     22.07%
10/15/14   4,023,846   $38.61 $0.00    -0.57% -0.80% 0.32%     0.00    0.69       0.94  -0.22%    -0.34%     0.01       -0.41     68.46%
10/16/14   4,020,397   $38.30 $0.00    -0.80% 0.02% -0.48%     0.00    0.71       0.94  -0.42%    -0.38%     0.01       -0.45     65.01%
10/17/14   3,894,947   $38.86 $0.00     1.46% 1.29% 0.17%      0.00    0.72       1.02   1.13%     0.33%     0.01        0.40     69.03%
10/20/14   2,033,907   $39.28 $0.00     1.08% 0.92% 0.13%      0.00    0.73       1.03   0.83%     0.25%     0.01        0.30     76.54%
10/21/14   2,490,502   $39.70 $0.00     1.07% 1.96% -0.58%     0.00    0.74       1.03   0.88%     0.19%     0.01        0.23     82.14%
10/22/14   2,118,129   $40.09 $0.00     0.98% -0.72% -0.07%    0.00    0.74       1.03  -0.57%     1.56%     0.01        1.88      6.21%
10/23/14   2,035,652   $39.94 $0.00    -0.37% 1.23% -1.93%     0.00    0.72       1.03  -1.04%     0.67%     0.01        0.79     42.84%
10/24/14   2,660,126   $39.93 $0.00    -0.03% 0.71% 0.38%      0.00    0.73       1.00   0.96%    -0.99%     0.01       -1.18     24.12%
10/27/14   2,150,164   $40.40 $0.00     1.18% -0.15% 1.14%     0.00    0.71       0.99   1.08%     0.09%     0.01        0.11     91.05%
10/28/14   1,930,936   $41.03 $0.00     1.56% 1.19% 0.17%      0.00    0.71       1.00   1.09%     0.47%     0.01        0.56     57.96%
10/29/14   1,918,300   $40.99 $0.00    -0.10% -0.13% 0.05%     0.00    0.72       1.00   0.03%    -0.13%     0.01       -0.16     87.67%
10/30/14   1,933,926   $41.49 $0.00     1.22% 0.63% -0.18%     0.00    0.73       1.01   0.35%     0.87%     0.01        1.04     29.85%
10/31/14   3,770,735   $41.48 $0.00    -0.02% 1.17% 0.07%      0.00    0.73       1.01   1.01%    -1.03%     0.01       -1.24     21.90%
 11/3/14   2,222,062   $41.81 $0.00     0.80% -0.01% 0.16%     0.00    0.71       1.04   0.22%     0.58%     0.01        0.70     48.80%
 11/4/14   1,894,544   $41.63 $0.00    -0.43% -0.28% 0.04%     0.00    0.72       1.02  -0.11%    -0.33%     0.01       -0.40     69.22%
 11/5/14   2,699,032   $41.65 $0.00     0.05% 0.60% -0.20%     0.00    0.73       1.01   0.28%    -0.24%     0.01       -0.29     77.33%
 11/6/14   8,155,493   $39.00 $0.00    -6.36% 0.41% -0.79%     0.00    0.73       1.03  -0.46%    -5.90%     0.01       -7.21      0.00% **
 11/7/14   6,073,176   $39.43 $0.00     1.10% 0.05% 0.78%      0.00    0.73       1.03   0.90%     0.20%     0.01        0.25     80.38%
11/10/14   3,590,710   $39.84 $0.00     1.04% 0.32% -0.03%     0.00    0.74       1.07   0.25%     0.79%     0.01        0.96     33.75%
11/11/14   2,487,437   $39.97 $0.00     0.33% 0.07% -0.15%     0.00    0.76       1.05  -0.04%     0.37%     0.01        0.45     65.19%
11/12/14   3,113,603   $40.50 $0.00     1.33% -0.04% 0.77%     0.00    0.77       1.06   0.86%     0.47%     0.01        0.58     56.25%
11/13/14   2,607,747   $40.92 $0.00     1.04% 0.06% 0.67%      0.00    0.77       1.07   0.84%     0.20%     0.01        0.24     80.76%
11/14/14   2,203,142   $40.79 $0.00    -0.32% 0.04% 0.69%      0.00    0.76       1.08   0.84%    -1.16%     0.01       -1.43     15.50%
11/17/14   2,548,045   $40.95 $0.00     0.39% 0.08% -0.25%     0.00    0.76       1.04  -0.14%     0.53%     0.01        0.66     51.36%




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                                                           Appendix E
                                               CenturyLink, Inc. Common Stock Data
  [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                     Excess        Coefficient
                                             Market Industry                   Excess Predicted Abnormal   Root
 Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
11/18/14 2,211,575    $41.09 $0.00     0.34% 0.53% -0.59%     0.00    0.77       1.03  -0.13%     0.47%     0.01        0.58     56.19%
11/19/14 2,649,839    $41.12 $0.00     0.07% -0.14% -1.02%    0.00    0.77       1.03  -1.08%     1.16%     0.01        1.42     15.90%
11/20/14 2,756,297    $40.50 $0.54    -0.19% 0.20% -0.52%     0.00    0.77       0.99  -0.26%     0.07%     0.01        0.08     93.36%
11/21/14 3,902,001    $40.47 $0.00    -0.07% 0.54% -0.23%     0.00    0.77       1.05   0.24%    -0.32%     0.01       -0.40     69.03%
11/24/14 2,767,932    $40.28 $0.00    -0.47% 0.29% -1.60%     0.00    0.77       1.06  -1.40%     0.94%     0.01        1.17     24.41%
11/25/14 4,870,020    $39.69 $0.00    -1.46% -0.10% -0.01%    0.00    0.78       1.01   0.00%    -1.46%     0.01       -1.84      6.86%
11/26/14 2,565,847    $40.57 $0.00     2.22% 0.30% 0.98%      0.00    0.80       1.00   1.31%     0.91%     0.01        1.14     25.81%
11/28/14 1,337,844    $40.77 $0.00     0.49% -0.25% 1.06%     0.00    0.80       1.03   0.98%    -0.49%     0.01       -0.61     54.50%
 12/1/14 3,648,241    $41.10 $0.00     0.81% -0.68% -0.60%    0.00    0.80       1.02  -1.07%     1.88%     0.01        2.32      2.19% *
 12/2/14 4,086,908    $40.72 $0.00    -0.92% 0.64% -2.25%     0.00    0.77       0.97  -1.59%     0.66%     0.01        0.81     41.97%
 12/3/14 4,758,746    $40.06 $0.00    -1.62% 0.40% -1.01%     0.00    0.77       0.94  -0.52%    -1.11%     0.01       -1.35     18.09%
 12/4/14 3,527,638    $40.05 $0.00    -0.02% -0.11% -0.09%    0.00    0.77       0.96  -0.07%     0.05%     0.01        0.06     95.43%
 12/5/14 3,106,620    $39.68 $0.00    -0.92% 0.17% -0.23%     0.00    0.77       0.96   0.01%    -0.94%     0.01       -1.14     25.79%
 12/8/14 2,721,614    $39.77 $0.00     0.23% -0.71% 0.55%     0.00    0.77       0.96   0.08%     0.14%     0.01        0.18     86.01%
 12/9/14 3,224,288    $39.10 $0.00    -1.68% -0.02% -3.19%    0.00    0.76       0.96  -2.97%     1.29%     0.01        1.57     11.95%
12/10/14 2,901,101    $38.40 $0.00    -1.79% -1.63% -0.31%    0.00    0.75       0.88  -1.39%    -0.40%     0.01       -0.48     63.04%
12/11/14 2,042,830    $38.80 $0.00     1.04% 0.48% 0.26%      0.00    0.77       0.88   0.72%     0.33%     0.01        0.40     68.87%
12/12/14 3,533,777    $37.58 $0.00    -3.14% -1.62% -0.70%    0.00    0.77       0.88  -1.74%    -1.40%     0.01       -1.73      8.57%
12/15/14 3,685,440    $37.78 $0.00     0.53% -0.63% 0.39%     0.00    0.81       0.90  -0.04%     0.58%     0.01        0.70     48.28%
12/16/14 3,856,590    $37.89 $0.00     0.29% -0.85% 0.62%     0.00    0.81       0.90   0.00%     0.29%     0.01        0.35     72.43%
12/17/14 2,894,587    $38.69 $0.00     2.11% 2.04% 0.48%      0.00    0.80       0.90   2.20%    -0.09%     0.01       -0.11     91.01%
12/18/14 3,127,366    $39.48 $0.00     2.04% 2.42% 0.22%      0.00    0.80       0.91   2.29%    -0.25%     0.01       -0.31     75.85%
12/19/14 4,133,051    $39.70 $0.00     0.56% 0.46% -0.29%     0.00    0.80       0.92   0.23%     0.33%     0.01        0.42     67.87%
12/22/14 2,419,168    $40.19 $0.00     1.23% 0.40% 0.76%      0.00    0.80       0.92   1.15%     0.09%     0.01        0.11     91.43%
12/23/14 1,615,878    $40.23 $0.00     0.10% 0.18% 0.29%      0.00    0.81       0.94   0.56%    -0.46%     0.01       -0.60     55.13%
12/24/14    887,602   $40.18 $0.00    -0.12% -0.01% -0.05%    0.00    0.81       0.93   0.09%    -0.22%     0.01       -0.28     78.20%
12/26/14 1,377,826    $40.48 $0.00     0.75% 0.33% 0.31%      0.00    0.81       0.93   0.71%     0.04%     0.01        0.05     96.10%
12/29/14 2,047,890    $40.53 $0.00     0.12% 0.10% -0.44%     0.00    0.82       0.94  -0.19%     0.32%     0.01        0.41     68.06%
12/30/14 1,870,680    $40.09 $0.00    -1.09% -0.48% 0.00%     0.00    0.82       0.93  -0.26%    -0.83%     0.01       -1.08     28.12%
12/31/14 1,695,636    $39.58 $0.00    -1.27% -1.03% -0.53%    0.00    0.83       0.94  -1.21%    -0.06%     0.01       -0.08     93.95%
  1/2/15 2,203,929    $39.59 $0.00     0.03% -0.02% 0.58%     0.00    0.83       0.95   0.68%    -0.65%     0.01       -0.86     39.43%
  1/5/15 3,036,874    $38.75 $0.00    -2.12% -1.82% 0.25%     0.00    0.83       0.95  -1.14%    -0.98%     0.01       -1.29     20.13%
  1/6/15 4,186,158    $38.27 $0.00    -1.24% -0.89% 1.01%     0.00    0.86       0.95   0.33%    -1.57%     0.01       -2.04      4.41% *
  1/7/15 3,642,759    $38.47 $0.00     0.52% 1.19% -1.04%     0.00    0.88       0.92   0.21%     0.31%     0.01        0.40     68.84%
  1/8/15 2,882,255    $38.86 $0.00     1.01% 1.79% 0.38%      0.00    0.88       0.92   2.05%    -1.04%     0.01       -1.33     18.75%
  1/9/15 2,180,248    $38.40 $0.00    -1.18% -0.84% -0.05%    0.00    0.86       0.91  -0.65%    -0.53%     0.01       -0.67     50.17%
 1/12/15 2,586,849    $38.65 $0.00     0.65% -0.81% 1.12%     0.00    0.87       0.91   0.42%     0.23%     0.01        0.29     76.98%
 1/13/15 3,282,626    $38.60 $0.00    -0.13% -0.25% 0.33%     0.00    0.87       0.91   0.20%    -0.33%     0.01       -0.41     68.05%
 1/14/15 2,607,390    $38.31 $0.00    -0.75% -0.58% 0.00%     0.00    0.87       0.91  -0.40%    -0.35%     0.01       -0.44     65.91%
 1/15/15 3,149,255    $38.30 $0.00    -0.03% -0.92% 0.61%     0.00    0.87       0.92  -0.15%     0.12%     0.01        0.15     87.97%
 1/16/15 4,558,435    $38.40 $0.00     0.26% 1.34% 0.84%      0.00    0.87       0.92   2.04%    -1.78%     0.01       -2.26      2.55% *
 1/20/15 2,498,302    $38.74 $0.00     0.89% 0.16% 0.30%      0.00    0.84       0.90   0.49%     0.39%     0.01        0.49     62.33%
 1/21/15 3,483,161    $38.63 $0.00    -0.28% 0.49% -0.11%     0.00    0.85       0.71   0.39%    -0.67%     0.01       -0.96     33.90%
 1/22/15 3,538,262    $39.37 $0.00     1.92% 1.53% -1.67%     0.00    0.85       0.71   0.16%     1.76%     0.01        2.51      1.34% *
 1/23/15 2,984,939    $39.24 $0.00    -0.33% -0.55% -0.85%    0.00    0.91       0.68  -1.03%     0.70%     0.01        0.98     32.93%
 1/26/15 2,556,616    $39.00 $0.00    -0.61% 0.26% -0.57%     0.00    0.90       0.67  -0.10%    -0.51%     0.01       -0.71     47.76%
 1/27/15 3,018,176    $38.79 $0.00    -0.54% -1.34% -0.25%    0.00    0.90       0.67  -1.33%     0.79%     0.01        1.10     27.21%
 1/28/15 2,758,673    $38.35 $0.00    -1.13% -1.34% 0.36%     0.00    0.89       0.67  -0.90%    -0.23%     0.01       -0.32     74.95%
 1/29/15 5,231,057    $37.50 $0.00    -2.22% 0.96% -0.19%     0.00    0.89       0.66   0.78%    -3.00%     0.01       -4.19      0.01% **
 1/30/15 7,269,765    $37.17 $0.00    -0.88% -1.30% 0.34%     0.00    0.86       0.66  -0.87%    -0.01%     0.01       -0.02     98.63%
  2/2/15 4,684,915    $38.22 $0.00     2.82% 1.30% 1.55%      0.00    0.84       0.67   2.14%     0.68%     0.01        0.91     36.25%
  2/3/15 5,637,870    $39.59 $0.00     3.58% 1.45% 1.14%      0.00    0.85       0.69   2.03%     1.55%     0.01        2.08      3.97% *
  2/4/15 3,856,682    $39.41 $0.00    -0.45% -0.39% 0.38%     0.00    0.88       0.72  -0.05%    -0.41%     0.01       -0.54     59.23%
  2/5/15 5,445,432    $38.43 $0.00    -2.49% 1.05% -0.28%     0.00    0.89       0.71   0.75%    -3.24%     0.01       -4.33      0.00% **
  2/6/15 3,626,682    $38.56 $0.00     0.34% -0.32% 2.13%     0.00    0.85       0.73   1.27%    -0.94%     0.01       -1.16     24.71%
  2/9/15 11,608,076   $39.67 $0.00     2.88% -0.42% -0.13%    0.00    0.85       0.69  -0.46%     3.34%     0.01        4.13      0.01% **
 2/10/15 5,651,826    $40.18 $0.00     1.29% 1.07% 0.06%      0.00    0.84       0.68   0.96%     0.32%     0.01        0.38     70.82%
 2/11/15 5,111,313    $40.52 $0.00     0.85% 0.03% -0.26%     0.00    0.84       0.69  -0.13%     0.98%     0.01        1.13     25.96%
 2/12/15 12,709,861   $39.29 $0.00    -3.04% 0.99% -0.62%     0.00    0.84       0.68   0.43%    -3.46%     0.01       -3.99      0.01% **
 2/13/15 4,680,862    $39.46 $0.00     0.43% 0.42% -0.44%     0.00    0.84       0.68   0.08%     0.36%     0.01        0.41     68.35%
 2/17/15 4,018,714    $39.23 $0.00    -0.58% 0.18% -0.19%     0.00    0.84       0.68   0.05%    -0.63%     0.01       -0.72     47.13%
 2/18/15 10,148,625   $37.51 $0.00    -4.38% -0.03% -0.57%    0.00    0.84       0.68  -0.39%    -3.99%     0.01       -4.57      0.00% **




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                                                           Appendix E
                                               CenturyLink, Inc. Common Stock Data
 [1]        [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                     Excess        Coefficient
                                             Market Industry                   Excess Predicted Abnormal   Root
Date      Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
2/19/15   4,837,612   $37.59 $0.00     0.21% -0.09% -0.49%    0.00    0.84       0.72  -0.44%     0.66%     0.01        0.69     48.89%
2/20/15   6,748,371   $37.02 $0.00    -1.52% 0.63% -0.25%     0.00    0.84       0.71   0.34%    -1.85%     0.01       -1.95      5.35%
2/23/15   4,678,707   $36.63 $0.00    -1.05% -0.03% -0.51%    0.00    0.83       0.72  -0.42%    -0.64%     0.01       -0.66     51.04%
2/24/15   3,960,731   $37.06 $0.00     1.17% 0.28% 0.40%      0.00    0.83       0.73   0.50%     0.68%     0.01        0.70     48.50%
2/25/15   3,045,561   $37.30 $0.00     0.65% -0.06% 0.23%     0.00    0.83       0.73   0.10%     0.55%     0.01        0.57     57.31%
2/26/15   4,527,963   $37.40 $0.00     0.27% -0.13% 0.56%     0.00    0.83       0.73   0.28%    -0.02%     0.01       -0.02     98.63%
2/27/15   4,971,031   $37.86 $0.00     1.23% -0.29% 0.39%     0.00    0.83       0.74   0.02%     1.21%     0.01        1.25     21.45%
 3/2/15   4,453,160   $37.63 $0.00    -0.61% 0.62% -0.27%     0.00    0.83       0.74   0.30%    -0.90%     0.01       -0.93     35.52%
 3/3/15   3,602,311   $37.68 $0.00     0.13% -0.45% 0.15%     0.00    0.81       0.74  -0.27%     0.40%     0.01        0.42     67.82%
 3/4/15   6,490,233   $36.25 $0.54    -2.36% -0.42% -0.75%    0.00    0.81       0.73  -0.89%    -1.48%     0.01       -1.53     12.89%
 3/5/15   4,595,649   $36.13 $0.00    -0.33% 0.12% -0.15%     0.00    0.82       0.75  -0.01%    -0.32%     0.01       -0.33     74.55%
 3/6/15   3,920,300   $35.42 $0.00    -1.97% -1.40% -0.48%    0.00    0.82       0.74  -1.52%    -0.44%     0.01       -0.46     64.76%
 3/9/15   3,639,731   $35.23 $0.00    -0.54% 0.40% -0.52%     0.00    0.82       0.73  -0.06%    -0.48%     0.01       -0.50     62.14%
3/10/15   3,482,898   $35.13 $0.00    -0.28% -1.69% -0.42%    0.00    0.82       0.73  -1.70%     1.42%     0.01        1.48     14.24%
3/11/15   3,019,831   $35.29 $0.00     0.46% -0.18% 0.13%     0.00    0.80       0.72  -0.04%     0.50%     0.01        0.51     60.77%
3/12/15   4,003,351   $35.21 $0.00    -0.23% 1.29% 1.03%      0.00    0.79       0.72   1.75%    -1.97%     0.01       -2.06      4.13% *
3/13/15   7,162,632   $34.42 $0.00    -2.24% -0.61% -0.03%    0.00    0.77       0.68  -0.50%    -1.74%     0.01       -1.79      7.66%
3/16/15   5,760,632   $34.50 $0.00     0.23% 1.36% -0.02%     0.00    0.78       0.69   1.01%    -0.77%     0.01       -0.78     43.47%
3/17/15   6,148,021   $35.13 $0.00     1.83% -0.33% -0.26%    0.00    0.77       0.68  -0.48%     2.31%     0.01        2.34      2.12% *
3/18/15   7,454,842   $35.12 $0.00    -0.03% 1.22% 0.84%      0.00    0.76       0.67   1.46%    -1.49%     0.01       -1.48     14.28%
3/19/15   3,239,140   $34.86 $0.00    -0.74% -0.49% -0.49%    0.00    0.74       0.65  -0.71%    -0.03%     0.01       -0.03     97.72%
3/20/15   9,318,013   $35.30 $0.00     1.26% 0.90% -0.20%     0.00    0.74       0.65   0.51%     0.75%     0.01        0.74     46.11%
3/23/15   5,637,183   $35.32 $0.00     0.06% -0.17% 0.29%     0.00    0.74       0.65   0.03%     0.03%     0.01        0.03     97.81%
3/24/15   3,342,190   $35.19 $0.00    -0.37% -0.61% -0.11%    0.00    0.75       0.65  -0.56%     0.19%     0.01        0.19     85.22%
3/25/15   2,830,852   $34.64 $0.00    -1.56% -1.45% -0.44%    0.00    0.75       0.64  -1.41%    -0.15%     0.01       -0.15     88.03%
3/26/15   4,242,063   $34.56 $0.00    -0.23% -0.24% 0.12%     0.00    0.75       0.64  -0.14%    -0.09%     0.01       -0.09     93.10%
3/27/15   3,463,433   $34.10 $0.00    -1.33% 0.26% -0.10%     0.00    0.75       0.64   0.08%    -1.41%     0.01       -1.40     16.54%
3/30/15   4,788,006   $34.06 $0.00    -0.12% 1.23% 0.09%      0.00    0.75       0.64   0.92%    -1.04%     0.01       -1.02     30.90%
3/31/15   6,882,939   $34.55 $0.00     1.44% -0.87% -0.45%    0.00    0.74       0.65  -0.99%     2.43%     0.01        2.38      1.88% *
 4/1/15   8,262,141   $35.50 $0.00     2.75% -0.38% 1.06%     0.00    0.70       0.64   0.37%     2.38%     0.01        2.28      2.44% *
 4/2/15   3,660,458   $35.43 $0.00    -0.20% 0.36% 0.73%      0.00    0.68       0.68   0.72%    -0.92%     0.01       -0.86     38.94%
 4/6/15   3,339,699   $35.38 $0.00    -0.14% 0.66% 0.00%      0.00    0.65       0.66   0.41%    -0.55%     0.01       -0.52     60.29%
 4/7/15   2,367,259   $35.41 $0.00     0.08% -0.20% -0.46%    0.00    0.63       0.66  -0.45%     0.53%     0.01        0.50     61.79%
 4/8/15   3,214,111   $35.50 $0.00     0.25% 0.31% 0.18%      0.00    0.62       0.66   0.31%    -0.05%     0.01       -0.05     96.07%
 4/9/15   2,593,883   $35.87 $0.00     1.04% 0.45% -0.38%     0.00    0.62       0.66   0.02%     1.03%     0.01        0.97     33.22%
4/10/15   2,779,706   $35.82 $0.00    -0.14% 0.52% -0.01%     0.00    0.62       0.66   0.32%    -0.46%     0.01       -0.43     66.77%
4/13/15   1,819,545   $35.58 $0.00    -0.67% -0.45% 0.20%     0.00    0.61       0.65  -0.14%    -0.53%     0.01       -0.50     61.92%
4/14/15   2,081,951   $35.68 $0.00     0.28% 0.16% -0.22%     0.00    0.61       0.65  -0.05%     0.33%     0.01        0.31     75.39%
4/15/15   4,197,279   $36.19 $0.00     1.43% 0.51% 0.13%      0.00    0.60       0.65   0.39%     1.04%     0.01        0.98     32.69%
4/16/15   4,617,211   $35.28 $0.00    -2.51% -0.08% -0.25%    0.00    0.60       0.65  -0.21%    -2.31%     0.01       -2.17      3.18% *
4/17/15   3,851,620   $34.68 $0.00    -1.70% -1.13% -0.05%    0.00    0.62       0.66  -0.77%    -0.93%     0.01       -0.87     38.80%
4/20/15   2,640,006   $35.22 $0.00     1.56% 0.93% 0.50%      0.00    0.64       0.67   0.88%     0.68%     0.01        0.63     52.87%
4/21/15   5,934,759   $36.30 $0.00     3.07% -0.15% -0.23%    0.00    0.65       0.68  -0.28%     3.35%     0.01        3.11      0.23% **
4/22/15   3,602,493   $36.27 $0.00    -0.08% 0.51% 0.35%      0.00    0.64       0.65   0.55%    -0.63%     0.01       -0.56     57.40%
4/23/15   3,093,413   $36.66 $0.00     1.08% 0.25% 2.06%      0.00    0.63       0.65   1.47%    -0.39%     0.01       -0.35     72.55%
4/24/15   2,542,099   $36.41 $0.00    -0.68% 0.23% -0.49%     0.00    0.63       0.63  -0.19%    -0.49%     0.01       -0.44     66.04%
4/27/15   3,908,251   $36.29 $0.00    -0.33% -0.41% 0.31%     0.00    0.62       0.64  -0.09%    -0.24%     0.01       -0.21     83.25%
4/28/15   3,517,736   $36.78 $0.00     1.35% 0.29% 1.38%      0.00    0.63       0.64   1.04%     0.31%     0.01        0.28     77.93%
4/29/15   2,965,257   $36.31 $0.00    -1.28% -0.37% 0.13%     0.00    0.63       0.65  -0.18%    -1.10%     0.01       -0.99     32.67%
4/30/15   4,176,729   $35.96 $0.00    -0.96% -1.01% 0.42%     0.00    0.64       0.64  -0.41%    -0.55%     0.01       -0.49     62.31%
 5/1/15   2,471,710   $36.14 $0.00     0.50% 1.09% -0.99%     0.00    0.65       0.64   0.03%     0.47%     0.01        0.42     67.41%
 5/4/15   2,613,384   $36.02 $0.00    -0.33% 0.29% 0.13%      0.00    0.65       0.63   0.24%    -0.57%     0.01       -0.51     61.01%
 5/5/15   3,976,129   $35.51 $0.00    -1.42% -1.17% -0.75%    0.00    0.65       0.62  -1.28%    -0.14%     0.01       -0.12     90.36%
 5/6/15   9,386,969   $34.53 $0.00    -2.76% -0.41% -0.81%    0.00    0.65       0.62  -0.83%    -1.93%     0.01       -1.74      8.48%
 5/7/15   3,863,268   $34.65 $0.00     0.35% 0.40% -0.22%     0.00    0.65       0.63   0.06%     0.29%     0.01        0.26     79.69%
 5/8/15   3,481,238   $34.95 $0.00     0.87% 1.35% 0.00%      0.00    0.65       0.61   0.81%     0.05%     0.01        0.05     96.15%
5/11/15   4,344,684   $34.40 $0.00    -1.57% -0.49% -0.27%    0.00    0.65       0.61  -0.55%    -1.02%     0.01       -0.92     36.02%
5/12/15   4,783,766   $35.00 $0.00     1.74% -0.29% 0.17%     0.00    0.66       0.62  -0.16%     1.90%     0.01        1.71      8.96%
5/13/15   5,368,066   $34.35 $0.00    -1.86% -0.01% 0.31%     0.00    0.65       0.63   0.12%    -1.98%     0.01       -1.76      8.09%
5/14/15   2,715,694   $34.34 $0.00    -0.03% 1.09% -0.18%     0.00    0.65       0.62   0.51%    -0.54%     0.01       -0.48     63.41%
5/15/15   2,711,912   $34.50 $0.00     0.47% 0.09% 0.11%      0.00    0.65       0.64   0.03%     0.44%     0.01        0.38     70.25%
5/18/15   2,817,213   $34.40 $0.00    -0.29% 0.31% 0.36%      0.00    0.65       0.64   0.33%    -0.62%     0.01       -0.55     58.40%




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                                                          Appendix E
                                              CenturyLink, Inc. Common Stock Data
 [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                    Excess        Coefficient
                                            Market Industry                   Excess Predicted Abnormal   Root
Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
5/19/15 5,358,563    $33.96 $0.00    -1.28% -0.04% -0.77%    0.00    0.64       0.63  -0.61%    -0.67%     0.01       -0.59     55.89%
5/20/15 4,611,412    $34.36 $0.00     1.18% -0.08% 0.50%     0.00    0.64       0.66   0.17%     1.01%     0.01        0.88     37.81%
5/21/15 4,288,353    $34.25 $0.00    -0.32% 0.25% 0.62%      0.00    0.64       0.66   0.48%    -0.80%     0.01       -0.70     48.28%
5/22/15 4,925,861    $33.95 $0.00    -0.88% -0.22% -0.63%    0.00    0.63       0.63  -0.64%    -0.23%     0.01       -0.21     83.69%
5/26/15 4,141,901    $33.60 $0.00    -1.03% -1.03% 0.38%     0.00    0.63       0.63  -0.52%    -0.52%     0.01       -0.46     64.96%
5/27/15 3,260,169    $33.94 $0.00     1.01% 0.93% 0.09%      0.00    0.66       0.65   0.54%     0.47%     0.01        0.42     67.53%
5/28/15 3,972,262    $34.06 $0.00     0.35% -0.11% -0.19%    0.00    0.66       0.66  -0.32%     0.68%     0.01        0.60     54.71%
5/29/15 5,441,963    $33.24 $0.54    -0.82% -0.63% 0.00%     0.00    0.66       0.63  -0.53%    -0.29%     0.01       -0.26     79.39%
 6/1/15 4,816,788    $32.87 $0.00    -1.11% 0.22% -0.63%     0.00    0.67       0.63  -0.37%    -0.74%     0.01       -0.66     50.88%
 6/2/15 4,601,140    $32.96 $0.00     0.27% -0.10% 0.07%     0.00    0.67       0.64  -0.14%     0.41%     0.01        0.37     71.50%
 6/3/15 4,347,221    $32.99 $0.00     0.09% 0.23% 0.74%      0.00    0.67       0.63   0.51%    -0.42%     0.01       -0.37     70.91%
 6/4/15 4,776,906    $32.83 $0.00    -0.48% -0.86% -0.25%    0.00    0.67       0.66  -0.87%     0.38%     0.01        0.34     73.24%
 6/5/15 3,876,891    $32.18 $0.00    -1.98% -0.14% -1.69%    0.00    0.66       0.66  -1.32%    -0.66%     0.01       -0.59     55.70%
 6/8/15 3,782,990    $32.22 $0.00     0.12% -0.63% 0.69%     0.00    0.65       0.68  -0.07%     0.20%     0.01        0.18     86.12%
 6/9/15 3,086,660    $32.07 $0.00    -0.47% 0.04% -0.24%     0.00    0.62       0.66  -0.24%    -0.22%     0.01       -0.20     84.23%
6/10/15 3,191,806    $32.26 $0.00     0.59% 1.21% -0.28%     0.00    0.62       0.66   0.45%     0.14%     0.01        0.13     90.01%
6/11/15 3,713,250    $32.73 $0.00     1.46% 0.20% 0.38%      0.00    0.63       0.65   0.25%     1.21%     0.01        1.09     27.64%
6/12/15 3,084,436    $32.56 $0.00    -0.52% -0.69% -0.40%    0.00    0.62       0.65  -0.81%     0.29%     0.01        0.26     79.21%
6/15/15 2,984,948    $32.37 $0.00    -0.58% -0.46% -0.31%    0.00    0.60       0.65  -0.60%     0.01%     0.01        0.01     99.03%
6/16/15 3,404,984    $32.22 $0.00    -0.46% 0.57% 0.45%      0.00    0.59       0.65   0.51%    -0.97%     0.01       -0.88     38.23%
6/17/15 3,219,182    $32.21 $0.00    -0.03% 0.20% -0.11%     0.00    0.58       0.63  -0.09%     0.06%     0.01        0.06     95.42%
6/18/15 3,734,092    $32.36 $0.00     0.47% 1.00% 0.19%      0.00    0.58       0.63   0.56%    -0.10%     0.01       -0.09     92.91%
6/19/15 4,133,694    $32.46 $0.00     0.31% -0.53% -0.01%    0.00    0.58       0.63  -0.45%     0.76%     0.01        0.69     49.34%
6/22/15 3,486,763    $32.65 $0.00     0.59% 0.61% -0.21%     0.00    0.57       0.63   0.08%     0.50%     0.01        0.45     65.07%
6/23/15 5,070,518    $32.55 $0.00    -0.31% 0.07% 1.37%      0.00    0.58       0.63   0.77%    -1.08%     0.01       -0.97     33.22%
6/24/15 11,369,663   $31.88 $0.00    -2.06% -0.73% -0.23%    0.00    0.57       0.60  -0.69%    -1.37%     0.01       -1.23     22.21%
6/25/15 16,783,618   $29.92 $0.00    -6.15% -0.29% 0.87%     0.00    0.58       0.61   0.21%    -6.36%     0.01       -5.68      0.00% **
6/26/15 15,536,278   $29.99 $0.00     0.23% -0.02% 0.05%     0.00    0.62       0.49  -0.18%     0.42%     0.01        0.33     74.08%
6/29/15 6,761,620    $29.53 $0.00    -1.53% -2.08% -0.05%    0.00    0.59       0.49  -1.44%    -0.10%     0.01       -0.08     93.82%
6/30/15 5,479,010    $29.38 $0.00    -0.51% 0.27% -0.60%     0.00    0.58       0.52  -0.33%    -0.18%     0.01       -0.14     88.68%
 7/1/15 4,763,077    $29.57 $0.00     0.65% 0.72% 0.02%      0.00    0.57       0.54   0.23%     0.41%     0.01        0.33     74.36%
 7/2/15 3,657,952    $29.61 $0.00     0.14% -0.03% 0.35%     0.00    0.57       0.54  -0.01%     0.15%     0.01        0.12     90.71%
 7/6/15 4,921,684    $29.45 $0.00    -0.54% -0.38% -0.09%    0.00    0.56       0.54  -0.44%    -0.10%     0.01       -0.08     93.59%
 7/7/15 4,530,105    $29.88 $0.00     1.46% 0.61% 0.02%      0.00    0.58       0.52   0.18%     1.28%     0.01        1.02     31.04%
 7/8/15 6,600,843    $29.49 $0.00    -1.31% -1.64% 0.22%     0.00    0.59       0.51  -1.02%    -0.29%     0.01       -0.23     81.95%
 7/9/15 4,324,932    $29.49 $0.00     0.00% 0.23% -1.00%     0.00    0.59       0.51  -0.55%     0.55%     0.01        0.43     66.49%
7/10/15 3,685,707    $29.76 $0.00     0.92% 1.23% 0.41%      0.00    0.60       0.49   0.78%     0.14%     0.01        0.11     91.36%
7/13/15 3,926,853    $30.00 $0.00     0.81% 1.12% -0.16%     0.00    0.62       0.51   0.45%     0.36%     0.01        0.29     77.60%
7/14/15 4,625,674    $29.98 $0.00    -0.07% 0.45% 0.26%      0.00    0.62       0.50   0.24%    -0.31%     0.01       -0.25     80.63%
7/15/15 5,574,729    $29.67 $0.00    -1.03% -0.07% -0.60%    0.00    0.63       0.50  -0.51%    -0.53%     0.01       -0.42     67.57%
7/16/15 5,894,343    $30.49 $0.00     2.76% 0.80% 0.67%      0.00    0.57       0.60   0.67%     2.09%     0.01        1.69      9.45%
7/17/15 9,012,500    $30.94 $0.00     1.48% 0.11% -0.48%     0.00    0.59       0.65  -0.42%     1.90%     0.01        1.51     13.35%
7/20/15 5,489,999    $30.50 $0.00    -1.42% 0.08% 0.36%      0.00    0.60       0.62   0.11%    -1.54%     0.01       -1.21     22.80%
7/21/15 4,644,316    $29.72 $0.00    -2.56% -0.42% -1.38%    0.00    0.61       0.61  -1.27%    -1.29%     0.01       -1.01     31.47%
7/22/15 4,721,124    $29.19 $0.00    -1.78% -0.23% -0.83%    0.00    0.61       0.65  -0.87%    -0.92%     0.01       -0.72     47.55%
7/23/15 5,870,222    $28.96 $0.00    -0.79% -0.56% -0.15%    0.00    0.65       0.65  -0.64%    -0.15%     0.01       -0.12     90.60%
7/24/15 6,520,639    $28.03 $0.00    -3.21% -1.07% 0.75%     0.00    0.65       0.65  -0.39%    -2.83%     0.01       -2.24      2.68% *
7/27/15 5,833,184    $28.12 $0.00     0.32% -0.58% 0.22%     0.00    0.69       0.55  -0.49%     0.81%     0.01        0.63     52.84%
7/28/15 4,480,178    $28.22 $0.00     0.36% 1.24% -0.72%     0.00    0.63       0.50   0.21%     0.15%     0.01        0.12     90.74%
7/29/15 6,479,041    $28.16 $0.00    -0.21% 0.74% 0.51%      0.00    0.64       0.49   0.51%    -0.72%     0.01       -0.57     56.86%
7/30/15 5,565,390    $28.16 $0.00     0.00% 0.01% 0.29%      0.00    0.68       0.46  -0.06%     0.06%     0.01        0.05     96.34%
7/31/15 6,924,981    $28.60 $0.00     1.56% -0.23% 0.30%     0.00    0.68       0.47  -0.21%     1.77%     0.01        1.43     15.61%
 8/3/15 6,371,921    $28.90 $0.00     1.05% -0.28% 0.38%     0.00    0.69       0.50  -0.21%     1.26%     0.01        1.04     29.94%
 8/4/15 5,086,260    $28.43 $0.00    -1.63% -0.22% -0.27%    0.00    0.67       0.52  -0.49%    -1.13%     0.01       -0.93     35.23%
 8/5/15 5,688,886    $28.56 $0.00     0.46% 0.35% -0.28%     0.00    0.68       0.53  -0.14%     0.60%     0.01        0.49     62.24%
 8/6/15 13,508,550   $27.93 $0.00    -2.21% -0.75% -0.05%    0.00    0.68       0.53  -0.76%    -1.45%     0.01       -1.20     23.25%
 8/7/15 7,704,879    $27.65 $0.00    -1.00% -0.28% -0.11%    0.00    0.67       0.54  -0.47%    -0.53%     0.01       -0.44     66.41%
8/10/15 5,873,043    $28.76 $0.00     4.01% 1.28% 0.90%      0.00    0.68       0.54   1.13%     2.89%     0.01        2.38      1.88% *
8/11/15 4,552,756    $28.24 $0.00    -1.81% -0.94% 0.80%     0.00    0.74       0.53  -0.44%    -1.37%     0.01       -1.15     25.13%
8/12/15 5,320,177    $28.53 $0.00     1.03% 0.12% -0.78%     0.00    0.77       0.51  -0.49%     1.52%     0.01        1.28     20.43%
8/13/15 5,846,258    $27.97 $0.00    -1.96% -0.11% -0.40%    0.00    0.79       0.46  -0.43%    -1.53%     0.01       -1.29     20.08%
8/14/15 3,816,293    $28.27 $0.00     1.07% 0.39% 0.03%      0.00    0.79       0.47   0.16%     0.92%     0.01        0.77     44.46%




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                                                           Appendix E
                                               CenturyLink, Inc. Common Stock Data
  [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                     Excess        Coefficient
                                             Market Industry                   Excess Predicted Abnormal   Root
 Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
 8/17/15 3,293,200    $28.42 $0.00     0.53% 0.54% 0.05%      0.00    0.80       0.46   0.28%     0.25%     0.01        0.21     83.59%
 8/18/15 4,753,409    $28.12 $0.00    -1.06% -0.24% 0.21%     0.00    0.80       0.45  -0.28%    -0.78%     0.01       -0.65     51.50%
 8/19/15 3,766,344    $28.37 $0.00     0.89% -0.82% 0.53%     0.00    0.81       0.44  -0.61%     1.50%     0.01        1.25     21.23%
 8/20/15 3,760,743    $27.71 $0.00    -2.33% -2.11% 0.14%     0.00    0.79       0.45  -1.79%    -0.54%     0.01       -0.45     65.30%
 8/21/15 5,755,065    $27.11 $0.00    -2.17% -3.17% 0.48%     0.00    0.82       0.44  -2.57%     0.40%     0.01        0.34     73.74%
 8/24/15 10,127,938   $25.86 $0.00    -4.61% -3.94% -0.37%    0.00    0.81       0.44  -3.52%    -1.09%     0.01       -0.92     36.16%
 8/25/15 7,079,980    $25.17 $0.00    -2.67% -1.35% -1.30%    0.00    0.85       0.41  -1.86%    -0.81%     0.01       -0.68     49.69%
 8/26/15 8,906,206    $26.37 $0.00     4.77% 3.91% 0.55%      0.00    0.86       0.44   3.43%     1.34%     0.01        1.13     26.24%
 8/27/15 7,642,378    $26.74 $0.00     1.40% 2.44% 0.65%      0.00    0.91       0.44   2.34%    -0.93%     0.01       -0.78     43.75%
 8/28/15 4,785,218    $27.04 $0.00     1.12% 0.07% -0.34%     0.00    0.89       0.42  -0.25%     1.37%     0.01        1.14     25.61%
 8/31/15 5,508,933    $27.04 $0.00     0.00% -0.83% 0.33%     0.00    0.91       0.42  -0.79%     0.79%     0.01        0.66     51.26%
  9/1/15 6,195,489    $25.90 $0.00    -4.22% -2.95% -0.53%    0.00    0.91       0.43  -3.08%    -1.14%     0.01       -0.95     34.44%
  9/2/15 10,175,406   $27.00 $0.00     4.25% 1.85% 0.17%      0.00    0.95       0.48   1.68%     2.56%     0.01        2.16      3.32% *
  9/3/15 5,027,407    $26.77 $0.54     1.15% 0.12% 0.76%      0.00    0.99       0.48   0.36%     0.79%     0.01        0.66     51.26%
  9/4/15 5,944,914    $26.18 $0.00    -2.20% -1.52% -0.64%    0.00    1.00       0.49  -1.95%    -0.25%     0.01       -0.21     83.48%
  9/8/15 9,591,788    $26.96 $0.00     2.98% 2.52% 0.34%      0.00    1.01       0.51   2.58%     0.40%     0.01        0.34     73.38%
  9/9/15 5,811,184    $26.97 $0.00     0.04% -1.38% -0.10%    0.00    1.03       0.55  -1.60%     1.63%     0.01        1.39     16.67%
 9/10/15 7,831,290    $26.78 $0.00    -0.70% 0.54% -0.33%     0.00    1.01       0.55   0.26%    -0.96%     0.01       -0.81     41.86%
 9/11/15 6,059,335    $26.28 $0.00    -1.87% 0.48% -0.14%     0.00    1.00       0.56   0.28%    -2.15%     0.01       -1.81      7.22%
 9/14/15 3,701,220    $26.07 $0.00    -0.80% -0.40% -0.09%    0.00    0.99       0.58  -0.59%    -0.21%     0.01       -0.17     86.17%
 9/15/15 5,446,677    $26.47 $0.00     1.53% 1.28% 0.40%      0.00    0.99       0.58   1.36%     0.17%     0.01        0.14     88.55%
 9/16/15 4,934,663    $26.13 $0.00    -1.28% 0.87% -0.72%     0.00    1.00       0.58   0.31%    -1.59%     0.01       -1.33     18.66%
 9/17/15 5,639,564    $26.04 $0.00    -0.34% -0.24% -0.92%    0.00    0.98       0.62  -0.96%     0.62%     0.01        0.51     61.00%
 9/18/15 8,333,746    $25.63 $0.00    -1.57% -1.62% 0.08%     0.00    0.99       0.60  -1.69%     0.12%     0.01        0.10     92.20%
 9/21/15 4,148,755    $25.88 $0.00     0.98% 0.46% -0.05%     0.00    1.00       0.60   0.29%     0.68%     0.01        0.57     57.02%
 9/22/15 5,241,863    $25.38 $0.00    -1.93% -1.23% -0.12%    0.00    1.02       0.62  -1.48%    -0.46%     0.01       -0.39     69.76%
 9/23/15 4,049,395    $25.15 $0.00    -0.91% -0.20% -0.45%    0.00    1.04       0.54  -0.63%    -0.28%     0.01       -0.25     80.68%
 9/24/15 6,792,079    $25.02 $0.00    -0.52% -0.34% 0.17%     0.00    1.04       0.56  -0.42%    -0.09%     0.01       -0.08     93.50%
 9/25/15 5,740,636    $25.36 $0.00     1.36% -0.05% 0.54%     0.00    1.04       0.56   0.09%     1.27%     0.01        1.11     26.82%
 9/28/15 6,898,404    $24.61 $0.00    -2.96% -2.54% 0.32%     0.00    1.04       0.59  -2.61%    -0.35%     0.01       -0.30     76.40%
 9/29/15 5,279,938    $24.69 $0.00     0.33% 0.13% -0.06%     0.00    1.05       0.59  -0.06%     0.39%     0.01        0.34     73.50%
 9/30/15 5,522,854    $25.12 $0.00     1.74% 1.91% -0.32%     0.00    1.04       0.60   1.63%     0.11%     0.01        0.09     92.56%
 10/1/15 4,458,221    $24.60 $0.00    -2.07% 0.20% -0.83%     0.00    1.05       0.59  -0.44%    -1.63%     0.01       -1.42     15.76%
 10/2/15 4,971,312    $24.65 $0.00     0.20% 1.44% -0.84%     0.00    1.04       0.63   0.79%    -0.59%     0.01       -0.51     61.08%
 10/5/15 4,026,633    $25.64 $0.00     4.02% 1.83% 1.40%      0.00    1.03       0.65   2.62%     1.39%     0.01        1.21     22.96%
 10/6/15 5,358,222    $25.62 $0.00    -0.08% -0.36% 0.09%     0.00    1.05       0.69  -0.50%     0.42%     0.01        0.36     71.89%
 10/7/15 3,938,851    $26.06 $0.00     1.72% 0.84% 0.33%      0.00    1.05       0.68   0.95%     0.77%     0.01        0.68     50.06%
 10/8/15 3,675,315    $26.51 $0.00     1.73% 0.88% 0.30%      0.00    1.05       0.69   0.98%     0.75%     0.01        0.66     51.30%
 10/9/15 5,020,656    $25.72 $0.00    -2.98% 0.08% -0.57%     0.00    1.05       0.69  -0.46%    -2.52%     0.01       -2.20      2.97% *
10/12/15 3,541,776    $25.86 $0.00     0.54% 0.13% 0.32%      0.00    1.05       0.75   0.17%     0.37%     0.01        0.33     74.12%
10/13/15 3,339,504    $25.78 $0.00    -0.31% -0.67% 0.41%     0.00    1.05       0.75  -0.59%     0.28%     0.01        0.25     80.08%
10/14/15 3,472,320    $26.18 $0.00     1.55% -0.47% 0.02%     0.00    1.05       0.79  -0.66%     2.21%     0.01        1.98      5.04%
10/15/15 4,160,844    $26.98 $0.00     3.06% 1.49% 0.23%      0.00    1.04       0.79   1.57%     1.49%     0.01        1.31     19.16%
10/16/15 4,096,342    $26.81 $0.00    -0.63% 0.46% 0.23%      0.00    1.06       0.79   0.51%    -1.14%     0.01       -1.00     31.94%
10/19/15 4,432,493    $26.92 $0.00     0.41% 0.03% -0.27%     0.00    1.05       0.78  -0.34%     0.75%     0.01        0.66     51.21%
10/20/15 2,694,768    $27.25 $0.00     1.23% -0.14% 0.93%     0.00    1.05       0.78   0.43%     0.79%     0.01        0.69     49.02%
10/21/15 3,069,854    $27.20 $0.00    -0.18% -0.57% -0.27%    0.00    1.05       0.80  -0.96%     0.78%     0.01        0.67     50.13%
10/22/15 4,140,675    $27.91 $0.00     2.61% 1.67% 0.58%      0.00    1.04       0.81   2.07%     0.54%     0.01        0.47     64.12%
10/23/15 3,547,696    $28.02 $0.00     0.39% 1.10% -0.73%     0.00    1.05       0.82   0.43%    -0.04%     0.01       -0.03     97.48%
10/26/15 4,220,261    $28.32 $0.00     1.07% -0.19% 0.17%     0.00    1.05       0.83  -0.19%     1.26%     0.01        1.10     27.47%
10/27/15 3,632,853    $27.64 $0.00    -2.40% -0.26% -0.78%    0.00    1.05       0.84  -1.05%    -1.36%     0.01       -1.18     24.12%
10/28/15 3,089,091    $28.12 $0.00     1.74% 1.19% 0.19%      0.00    1.05       0.87   1.28%     0.45%     0.01        0.39     69.58%
10/29/15 3,035,016    $28.08 $0.00    -0.14% -0.03% 0.03%     0.00    1.06       0.87  -0.14%     0.00%     0.01        0.00     99.70%
10/30/15 3,720,764    $28.21 $0.00     0.46% -0.48% 0.78%     0.00    1.06       0.87   0.04%     0.42%     0.01        0.36     71.80%
 11/2/15 4,808,394    $28.41 $0.00     0.71% 1.19% -0.59%     0.00    1.06       0.86   0.61%     0.10%     0.01        0.09     93.04%
 11/3/15 4,474,698    $28.49 $0.00     0.28% 0.27% -0.61%     0.00    1.06       0.88  -0.36%     0.65%     0.01        0.57     56.72%
 11/4/15 6,207,471    $28.02 $0.00    -1.65% -0.32% -0.32%    0.00    1.07       0.86  -0.72%    -0.93%     0.01       -0.82     41.20%
 11/5/15 7,444,523    $28.71 $0.00     2.46% -0.09% -0.13%    0.00    1.07       0.87  -0.33%     2.79%     0.01        2.48      1.45% *
 11/6/15 5,289,408    $28.57 $0.00    -0.49% -0.02% -0.65%    0.00    1.07       0.88  -0.70%     0.22%     0.01        0.19     84.89%
 11/9/15 4,413,995    $28.81 $0.00     0.84% -0.96% -0.25%    0.00    1.07       0.86  -1.35%     2.19%     0.01        1.94      5.45%
11/10/15 3,269,265    $28.60 $0.00    -0.73% 0.18% -0.40%     0.00    1.06       0.84  -0.24%    -0.49%     0.01       -0.43     66.97%
11/11/15 3,853,388    $28.43 $0.00    -0.59% -0.32% 0.59%     0.00    1.06       0.86   0.08%    -0.68%     0.01       -0.59     55.35%




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                                                           Appendix E
                                               CenturyLink, Inc. Common Stock Data
  [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                     Excess        Coefficient
                                             Market Industry                   Excess Predicted Abnormal   Root
 Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
11/12/15 3,658,788    $28.00 $0.00    -1.51% -1.38% 0.08%     0.00    1.06       0.85  -1.49%    -0.02%     0.01       -0.02     98.56%
11/13/15 4,480,416    $27.70 $0.00    -1.07% -1.12% -0.46%    0.00    1.06       0.85  -1.67%     0.60%     0.01        0.52     60.08%
11/16/15 3,367,070    $28.48 $0.00     2.82% 1.51% 1.05%      0.00    1.05       0.85   2.39%     0.42%     0.01        0.37     71.18%
11/17/15 4,105,958    $28.13 $0.00    -1.23% -0.11% 0.47%     0.00    1.06       0.86   0.19%    -1.42%     0.01       -1.24     21.59%
11/18/15 3,789,396    $28.49 $0.00     1.28% 1.62% -0.30%     0.00    1.06       0.84   1.37%    -0.09%     0.01       -0.07     94.05%
11/19/15 3,828,402    $28.47 $0.00    -0.07% -0.11% 0.59%     0.00    1.06       0.83   0.28%    -0.35%     0.01       -0.31     75.98%
11/20/15 5,796,100    $27.23 $0.54    -2.46% 0.40% -0.56%     0.00    1.06       0.82  -0.14%    -2.32%     0.01       -2.02      4.54% *
11/23/15 4,148,986    $27.31 $0.00     0.29% -0.12% -0.59%    0.00    1.05       0.87  -0.76%     1.05%     0.01        0.90     36.79%
11/24/15 3,570,348    $27.23 $0.00    -0.29% 0.12% 0.03%      0.00    1.06       0.86   0.04%    -0.33%     0.01       -0.29     77.53%
11/25/15 2,970,836    $26.98 $0.00    -0.92% 0.00% -0.17%     0.00    1.06       0.85  -0.26%    -0.66%     0.01       -0.57     57.28%
11/27/15 1,631,430    $27.06 $0.00     0.30% 0.08% 0.46%      0.00    1.06       0.84   0.35%    -0.05%     0.01       -0.04     96.43%
11/30/15 4,595,274    $26.93 $0.00    -0.48% -0.46% 0.69%     0.00    1.06       0.84  -0.03%    -0.45%     0.01       -0.39     70.04%
 12/1/15 5,543,083    $27.03 $0.00     0.37% 1.08% -0.28%     0.00    1.07       0.83   0.79%    -0.42%     0.01       -0.36     71.84%
 12/2/15 4,266,607    $26.47 $0.00    -2.07% -1.08% -0.29%    0.00    1.06       0.82  -1.52%    -0.56%     0.01       -0.48     63.46%
 12/3/15 6,509,011    $26.46 $0.00    -0.04% -1.43% -0.09%    0.00    1.07       0.83  -1.75%     1.72%     0.01        1.47     14.31%
 12/4/15 5,513,408    $26.71 $0.00     0.94% 2.05% 1.31%      0.00    1.05       0.83   3.12%    -2.17%     0.01       -1.85      6.71%
 12/7/15 5,394,426    $27.13 $0.00     1.57% -0.69% 1.00%     0.00    1.03       0.77  -0.08%     1.65%     0.01        1.39     16.60%
 12/8/15 6,476,982    $26.54 $0.00    -2.17% -0.64% -0.42%    0.00    1.02       0.82  -1.13%    -1.05%     0.01       -0.88     38.30%
 12/9/15 5,283,927    $26.38 $0.00    -0.60% -0.77% -0.26%    0.00    1.03       0.84  -1.14%     0.54%     0.01        0.45     65.55%
12/10/15 5,108,870    $25.99 $0.00    -1.48% 0.24% -0.02%     0.00    1.03       0.83   0.09%    -1.57%     0.01       -1.31     19.21%
12/11/15 5,951,692    $24.91 $0.00    -4.16% -1.93% -0.13%    0.00    1.03       0.84  -2.24%    -1.92%     0.01       -1.60     11.34%
12/14/15 6,389,968    $24.38 $0.00    -2.13% 0.48% 0.84%      0.00    1.05       0.90   1.10%    -3.23%     0.01       -2.67      0.87% **
12/15/15 7,013,139    $25.34 $0.00     3.94% 1.06% -0.24%     0.00    1.04       0.81   0.73%     3.21%     0.01        2.58      1.11% *
12/16/15 6,804,045    $26.12 $0.00     3.08% 1.46% 1.04%      0.00    1.04       0.96   2.42%     0.66%     0.01        0.59     55.90%
12/17/15 4,374,411    $25.40 $0.00    -2.76% -1.49% 0.06%     0.00    1.04       0.98  -1.58%    -1.18%     0.01       -1.04     29.83%
12/18/15 8,752,339    $25.11 $0.00    -1.14% -1.78% -0.07%    0.00    1.06       0.97  -2.07%     0.93%     0.01        0.82     41.25%
12/21/15 5,599,663    $25.16 $0.00     0.20% 0.79% 0.62%      0.00    1.05       0.97   1.33%    -1.13%     0.01       -1.00     31.80%
12/22/15 5,261,592    $25.18 $0.00     0.08% 0.89% 0.37%      0.00    1.05       0.95   1.18%    -1.10%     0.01       -0.97     33.34%
12/23/15 4,069,073    $26.02 $0.00     3.34% 1.25% 0.48%      0.00    1.04       0.94   1.65%     1.69%     0.01        1.48     14.10%
12/24/15 1,582,890    $25.87 $0.00    -0.58% -0.16% -0.27%    0.00    1.06       0.96  -0.53%    -0.05%     0.01       -0.04     96.59%
12/28/15 3,228,909    $25.84 $0.00    -0.12% -0.22% 0.31%     0.00    1.05       0.96  -0.04%    -0.07%     0.01       -0.06     94.97%
12/29/15 3,457,660    $25.88 $0.00     0.15% 1.08% 0.00%      0.00    1.06       0.95   1.03%    -0.88%     0.01       -0.76     44.61%
12/30/15 2,772,415    $25.38 $0.00    -1.93% -0.71% -0.28%    0.00    1.05       0.99  -1.14%    -0.79%     0.01       -0.69     49.40%
12/31/15 3,276,651    $25.16 $0.00    -0.87% -0.94% -0.35%    0.00    1.05       1.00  -1.47%     0.60%     0.01        0.52     60.17%
  1/4/16 4,938,951    $25.11 $0.00    -0.20% -1.51% 0.45%     0.00    1.05       0.99  -1.26%     1.06%     0.01        0.92     35.71%
  1/5/16 4,283,455    $24.99 $0.00    -0.48% 0.20% 0.92%      0.00    1.04       1.01   1.03%    -1.51%     0.01       -1.31     19.31%
  1/6/16 4,083,396    $24.72 $0.00    -1.08% -1.28% 0.36%     0.00    1.04       0.97  -1.10%     0.02%     0.01        0.02     98.49%
  1/7/16 4,902,768    $24.22 $0.00    -2.02% -2.37% 0.34%     0.00    1.04       0.95  -2.27%     0.25%     0.01        0.21     83.14%
  1/8/16 4,337,629    $23.97 $0.00    -1.03% -1.08% 0.29%     0.00    1.03       0.98  -0.98%    -0.06%     0.01       -0.05     96.08%
 1/11/16 4,971,370    $24.12 $0.00     0.63% 0.09% 0.75%      0.00    1.03       1.00   0.71%    -0.08%     0.01       -0.07     94.33%
 1/12/16 6,017,563    $23.40 $0.00    -2.99% 0.78% -0.83%     0.00    1.03       0.97  -0.13%    -2.86%     0.01       -2.54      1.24% *
 1/13/16 6,916,639    $23.02 $0.00    -1.62% -2.49% 0.48%     0.00    1.01       1.04  -2.16%     0.54%     0.01        0.47     64.04%
 1/14/16 7,178,695    $23.89 $0.00     3.78% 1.67% 0.58%      0.00    1.00       1.05   2.14%     1.64%     0.01        1.42     15.84%
 1/15/16 6,894,063    $23.29 $0.00    -2.51% -2.16% 0.40%     0.00    1.00       1.13  -1.81%    -0.70%     0.01       -0.62     53.89%
 1/19/16 4,501,110    $23.22 $0.00    -0.30% 0.05% 1.20%      0.00    1.01       1.12   1.27%    -1.57%     0.01       -1.38     17.00%
 1/20/16 8,295,865    $22.24 $0.00    -4.22% -1.15% -0.73%    0.00    1.01       1.07  -2.09%    -2.14%     0.01       -1.87      6.44%
 1/21/16 10,569,765   $22.62 $0.00     1.71% 0.52% 2.02%      0.00    1.03       1.13   2.68%    -0.97%     0.01       -0.84     40.30%
 1/22/16 6,316,063    $23.80 $0.00     5.22% 2.03% 0.96%      0.00    1.03       1.08   2.97%     2.24%     0.01        1.94      5.47%
 1/25/16 7,626,686    $23.76 $0.00    -0.17% -1.56% 0.76%     0.00    1.05       1.11  -0.95%     0.78%     0.01        0.67     50.57%
 1/26/16 5,288,742    $24.56 $0.00     3.37% 1.41% 0.94%      0.00    1.05       1.12   2.38%     0.99%     0.01        0.85     39.81%
 1/27/16 6,426,987    $24.63 $0.00     0.29% -1.08% 1.56%     0.00    1.05       1.13   0.49%    -0.21%     0.01       -0.18     85.92%
 1/28/16 4,887,040    $24.82 $0.00     0.77% 0.56% -0.33%     0.00    1.05       1.13   0.08%     0.69%     0.01        0.60     55.21%
 1/29/16 4,860,059    $25.42 $0.00     2.42% 2.48% 0.11%      0.00    1.05       1.12   2.60%    -0.19%     0.01       -0.16     87.30%
  2/1/16 4,773,288    $25.90 $0.00     1.89% -0.04% 0.92%     0.00    1.05       1.12   0.85%     1.03%     0.01        0.89     37.36%
  2/2/16 4,314,759    $25.21 $0.00    -2.66% -1.87% 0.19%     0.00    1.04       1.11  -1.87%    -0.80%     0.01       -0.69     48.93%
  2/3/16 4,881,086    $26.08 $0.00     3.45% 0.53% 1.25%      0.00    1.04       1.13   1.84%     1.61%     0.01        1.41     16.10%
  2/4/16 5,722,189    $26.54 $0.00     1.76% 0.17% -0.28%     0.00    1.03       1.22  -0.31%     2.08%     0.01        1.83      7.03%
  2/5/16 8,633,755    $26.61 $0.00     0.26% -1.84% 1.98%     0.00    1.04       1.18   0.31%    -0.04%     0.01       -0.04     96.90%
  2/8/16 9,290,128    $25.63 $0.00    -3.68% -1.41% 0.66%     0.00    1.04       1.18  -0.79%    -2.89%     0.01       -2.52      1.30% *
  2/9/16 10,292,095   $24.81 $0.00    -3.20% -0.05% -1.02%    0.00    1.06       1.14  -1.36%    -1.84%     0.01       -1.57     11.97%
 2/10/16 7,047,261    $24.59 $0.00    -0.89% 0.02% -0.40%     0.00    1.06       1.19  -0.61%    -0.28%     0.01       -0.23     81.58%
 2/11/16 15,041,048   $27.29 $0.00   10.98% -1.21% 0.06%      0.00    1.06       1.18  -1.38%    12.36%     0.01      10.49       0.00% **




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                                                          Appendix E
                                              CenturyLink, Inc. Common Stock Data
 [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                    Excess        Coefficient
                                            Market Industry                   Excess Predicted Abnormal   Root
Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
2/12/16 10,674,957   $28.61 $0.00     4.84% 1.96% -0.22%     0.00    1.06       1.19   1.65%     3.18%     0.01        2.69      0.82% **
2/16/16 5,918,759    $28.92 $0.00     1.08% 1.69% -0.67%     0.00    1.11       1.14   0.97%     0.12%     0.01        0.10     92.34%
2/17/16 7,100,608    $29.73 $0.00     2.80% 1.66% -0.91%     0.00    1.12       1.14   0.67%     2.13%     0.01        1.75      8.26%
2/18/16 8,243,833    $30.32 $0.00     1.98% -0.46% 1.32%     0.00    1.14       1.10   0.82%     1.17%     0.01        0.95     34.41%
2/19/16 6,510,894    $29.73 $0.00    -1.95% 0.01% -0.68%     0.00    1.14       1.14  -0.87%    -1.08%     0.01       -0.87     38.56%
2/22/16 5,476,039    $29.99 $0.00     0.87% 1.45% -0.28%     0.00    1.17       1.18   1.25%    -0.37%     0.01       -0.31     76.08%
2/23/16 6,814,060    $29.25 $0.00    -2.47% -1.24% 0.41%     0.00    1.17       1.19  -1.09%    -1.38%     0.01       -1.13     25.88%
2/24/16 7,120,802    $30.01 $0.00     2.60% 0.45% 0.48%      0.00    1.18       1.18   0.96%     1.64%     0.01        1.35     18.11%
2/25/16 4,701,352    $30.41 $0.00     1.33% 1.16% -0.16%     0.00    1.19       1.20   1.05%     0.29%     0.01        0.23     81.69%
2/26/16 4,829,897    $30.17 $0.00    -0.79% -0.18% -0.17%    0.00    1.16       1.19  -0.55%    -0.24%     0.01       -0.19     84.71%
2/29/16 6,387,755    $30.59 $0.00     1.39% -0.80% 0.05%     0.00    1.16       1.19  -1.02%     2.42%     0.01        1.99      4.94% *
 3/1/16 6,917,669    $31.12 $0.00     1.73% 2.39% -0.28%     0.00    1.16       1.19   2.29%    -0.56%     0.01       -0.45     65.34%
 3/2/16 6,450,364    $31.15 $0.54     1.83% 0.43% 0.81%      0.00    1.15       1.20   1.33%     0.51%     0.01        0.41     68.36%
 3/3/16 5,372,360    $31.37 $0.00     0.71% 0.36% 0.01%      0.00    1.17       1.22   0.28%     0.42%     0.01        0.35     73.04%
 3/4/16 6,292,744    $31.59 $0.00     0.70% 0.33% -0.41%     0.00    1.17       1.21  -0.25%     0.95%     0.01        0.78     43.80%
 3/7/16 5,096,593    $31.77 $0.00     0.57% 0.10% 0.63%      0.00    1.18       1.19   0.75%    -0.18%     0.01       -0.15     88.36%
 3/8/16 5,550,512    $31.51 $0.00    -0.82% -1.11% 0.81%     0.00    1.18       1.18  -0.46%    -0.36%     0.01       -0.30     76.45%
 3/9/16 4,207,328    $31.53 $0.00     0.06% 0.52% -0.64%     0.00    1.19       1.18  -0.25%     0.31%     0.01        0.26     79.79%
3/10/16 6,562,117    $31.71 $0.00     0.57% 0.02% 0.42%      0.00    1.20       1.15   0.42%     0.15%     0.01        0.12     90.09%
3/11/16 4,128,254    $31.87 $0.00     0.50% 1.67% -0.76%     0.00    1.20       1.18   1.00%    -0.50%     0.01       -0.41     67.99%
3/14/16 3,527,400    $31.95 $0.00     0.25% -0.12% 0.02%     0.00    1.20       1.19  -0.23%     0.48%     0.01        0.40     68.97%
3/15/16 5,593,898    $31.32 $0.00    -1.97% -0.18% 0.38%     0.00    1.20       1.19   0.12%    -2.09%     0.01       -1.75      8.36%
3/16/16 5,314,404    $32.17 $0.00     2.71% 0.57% 0.53%      0.00    1.20       1.18   1.18%     1.54%     0.01        1.27     20.78%
3/17/16 7,928,385    $31.30 $0.00    -2.70% 0.66% 0.39%      0.00    1.20       1.19   1.14%    -3.85%     0.01       -3.15      0.21% **
3/18/16 7,913,671    $31.70 $0.00     1.28% 0.44% -1.30%     0.00    1.18       1.17  -1.15%     2.42%     0.01        1.90      5.95%
3/21/16 3,569,607    $31.70 $0.00     0.00% 0.10% 0.53%      0.00    1.19       1.09   0.57%    -0.57%     0.01       -0.44     65.77%
3/22/16 4,077,925    $31.62 $0.00    -0.25% -0.07% -0.49%    0.00    1.18       1.08  -0.75%     0.49%     0.01        0.38     70.32%
3/23/16 5,105,004    $31.02 $0.00    -1.90% -0.64% 0.00%     0.00    1.18       1.08  -0.88%    -1.02%     0.01       -0.79     43.07%
3/24/16 5,416,762    $31.16 $0.00     0.45% -0.04% 1.06%     0.00    1.19       1.08   0.98%    -0.52%     0.01       -0.40     68.65%
3/28/16 3,158,558    $31.08 $0.00    -0.26% 0.06% 0.10%      0.00    1.19       1.05   0.06%    -0.31%     0.01       -0.24     80.88%
3/29/16 3,393,052    $31.59 $0.00     1.64% 0.90% 0.58%      0.00    1.19       1.04   1.56%     0.08%     0.01        0.06     95.26%
3/30/16 3,660,972    $31.87 $0.00     0.89% 0.45% -0.32%     0.00    1.19       1.02   0.08%     0.80%     0.01        0.62     53.50%
3/31/16 6,807,671    $31.96 $0.00     0.28% -0.20% -0.06%    0.00    1.19       1.02  -0.42%     0.70%     0.01        0.54     58.69%
 4/1/16 6,219,552    $32.18 $0.00     0.69% 0.63% -0.61%     0.00    1.19       1.01   0.03%     0.66%     0.01        0.51     61.00%
 4/4/16 5,186,826    $32.23 $0.00     0.16% -0.30% 0.90%     0.00    1.19       1.00   0.43%    -0.28%     0.01       -0.22     82.96%
 4/5/16 5,271,152    $32.10 $0.00    -0.40% -1.01% 0.05%     0.00    1.18       0.96  -1.24%     0.83%     0.01        0.66     51.32%
 4/6/16 3,832,591    $32.49 $0.00     1.21% 1.09% -0.74%     0.00    1.18       0.95   0.50%     0.71%     0.01        0.56     57.72%
 4/7/16 5,704,504    $31.87 $0.00    -1.91% -1.19% -0.61%    0.00    1.18       0.94  -2.05%     0.14%     0.01        0.11     91.14%
 4/8/16 3,873,271    $31.88 $0.00     0.03% 0.28% -0.11%     0.00    1.19       0.94   0.14%    -0.11%     0.01       -0.08     93.25%
4/11/16 2,921,012    $32.08 $0.00     0.63% -0.27% -0.44%    0.00    1.18       0.94  -0.83%     1.46%     0.01        1.16     24.71%
4/12/16 3,529,556    $32.00 $0.00    -0.25% 0.97% 0.09%      0.00    1.18       0.93   1.15%    -1.40%     0.01       -1.12     26.69%
4/13/16 3,308,900    $32.19 $0.00     0.59% 1.02% -1.70%     0.00    1.17       0.93  -0.48%     1.08%     0.01        0.85     39.51%
4/14/16 3,383,582    $32.09 $0.00    -0.31% 0.03% 0.27%      0.00    1.17       0.88   0.19%    -0.50%     0.01       -0.40     69.20%
4/15/16 2,956,936    $32.26 $0.00     0.53% -0.10% 0.20%     0.00    1.18       0.89  -0.03%     0.56%     0.01        0.44     65.99%
4/18/16 2,990,263    $32.22 $0.00    -0.12% 0.66% 0.13%      0.00    1.17       0.89   0.80%    -0.92%     0.01       -0.73     46.67%
4/19/16 3,578,632    $32.71 $0.00     1.52% 0.31% 0.53%      0.00    1.17       0.89   0.73%     0.79%     0.01        0.62     53.39%
4/20/16 3,966,598    $32.80 $0.00     0.28% 0.08% -0.59%     0.00    1.18       0.89  -0.53%     0.80%     0.01        0.64     52.53%
4/21/16 4,347,968    $31.39 $0.00    -4.30% -0.52% -2.27%    0.00    1.17       0.85  -2.62%    -1.68%     0.01       -1.33     18.52%
4/22/16 4,160,155    $31.39 $0.00     0.00% 0.01% 0.81%      0.00    1.18       0.93   0.65%    -0.65%     0.01       -0.52     60.66%
4/25/16 3,717,891    $31.18 $0.00    -0.67% -0.18% 0.45%     0.00    1.18       0.92   0.10%    -0.77%     0.01       -0.60     54.72%
4/26/16 3,160,336    $31.42 $0.00     0.77% 0.19% -0.47%     0.00    1.18       0.91  -0.33%     1.10%     0.01        0.86     38.99%
4/27/16 4,423,518    $31.58 $0.00     0.51% 0.17% 1.81%      0.00    1.18       0.90   1.72%    -1.22%     0.01       -0.95     34.19%
4/28/16 3,360,991    $31.36 $0.00    -0.70% -0.92% -0.07%    0.00    1.18       0.87  -1.25%     0.56%     0.01        0.44     66.30%
4/29/16 5,360,069    $30.95 $0.00    -1.31% -0.51% 0.40%     0.00    1.17       0.86  -0.35%    -0.96%     0.01       -0.75     45.53%
 5/2/16 7,744,284    $31.48 $0.00     1.71% 0.78% 0.19%      0.00    1.17       0.86   0.98%     0.74%     0.01        0.58     56.35%
 5/3/16 7,598,217    $30.58 $0.00    -2.86% -0.87% -0.29%    0.00    1.18       0.86  -1.38%    -1.48%     0.01       -1.16     24.67%
 5/4/16 6,656,754    $30.96 $0.00     1.24% -0.57% 0.50%     0.00    1.21       0.89  -0.38%     1.63%     0.01        1.29     20.03%
 5/5/16 20,521,476   $28.20 $0.00    -8.91% 0.00% -0.26%     0.00    1.20       0.90  -0.36%    -8.55%     0.01       -6.73      0.00% **
 5/6/16 9,444,983    $28.54 $0.00     1.21% 0.33% 0.40%      0.00    1.20       0.90   0.63%     0.57%     0.01        0.45     65.53%
 5/9/16 6,057,075    $28.21 $0.00    -1.16% 0.08% -0.26%     0.00    1.20       0.90  -0.26%    -0.90%     0.01       -0.70     48.31%
5/10/16 5,924,534    $28.73 $0.00     1.84% 1.25% 0.30%      0.00    1.21       0.92   1.66%     0.18%     0.01        0.14     88.61%
5/11/16 3,903,644    $28.31 $0.00    -1.46% -0.90% 0.11%     0.00    1.21       0.92  -1.14%    -0.33%     0.01       -0.26     79.85%




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                                                          Appendix E
                                              CenturyLink, Inc. Common Stock Data
 [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                    Excess        Coefficient
                                            Market Industry                   Excess Predicted Abnormal   Root
Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
5/12/16 3,940,966    $28.46 $0.00     0.53% -0.01% 0.74%     0.00    1.21       0.93   0.55%    -0.02%     0.01       -0.02     98.68%
5/13/16 4,112,858    $27.88 $0.00    -2.04% -0.84% -0.45%    0.00    1.22       0.92  -1.56%    -0.47%     0.01       -0.37     70.95%
5/16/16 3,863,441    $27.82 $0.00    -0.22% 0.99% -0.20%     0.00    1.22       0.93   0.90%    -1.11%     0.01       -0.88     38.25%
5/17/16 5,193,072    $27.45 $0.00    -1.33% -0.91% 0.02%     0.00    1.22       0.91  -1.20%    -0.13%     0.01       -0.10     91.98%
5/18/16 5,896,542    $26.88 $0.00    -2.08% 0.04% -1.31%     0.00    1.22       0.93  -1.30%    -0.78%     0.01       -0.62     53.46%
5/19/16 6,537,034    $26.92 $0.00     0.15% -0.37% -0.45%    0.00    1.22       0.95  -1.01%     1.16%     0.01        0.92     35.86%
5/20/16 4,545,375    $27.06 $0.00     0.52% 0.62% -0.28%     0.00    1.22       0.93   0.38%     0.14%     0.01        0.11     91.02%
5/23/16 3,988,278    $26.91 $0.00    -0.55% -0.20% -0.52%    0.00    1.22       0.93  -0.85%     0.30%     0.01        0.24     81.43%
5/24/16 4,142,932    $27.20 $0.00     1.08% 1.37% -0.14%     0.00    1.22       0.93   1.43%    -0.35%     0.01       -0.28     78.23%
5/25/16 3,996,238    $27.18 $0.00    -0.07% 0.70% -0.06%     0.00    1.22       0.93   0.69%    -0.77%     0.01       -0.61     54.33%
5/26/16 3,891,829    $26.63 $0.54    -0.04% -0.01% 0.62%     0.00    1.21       0.93   0.46%    -0.50%     0.01       -0.39     69.36%
5/27/16 3,173,307    $26.81 $0.00     0.68% 0.45% 0.33%      0.00    1.23       0.93   0.73%    -0.05%     0.01       -0.04     96.85%
5/31/16 6,054,661    $27.12 $0.00     1.16% -0.09% 0.56%     0.00    1.28       1.00   0.32%     0.83%     0.01        0.68     49.51%
 6/1/16 4,001,728    $26.90 $0.00    -0.81% 0.13% -1.10%     0.00    1.29       0.98  -1.03%     0.22%     0.01        0.18     85.59%
 6/2/16 3,685,978    $27.12 $0.00     0.82% 0.29% 0.32%      0.00    1.29       0.97   0.57%     0.24%     0.01        0.20     84.00%
 6/3/16 4,518,663    $27.35 $0.00     0.85% -0.29% 0.77%     0.00    1.29       0.97   0.26%     0.59%     0.01        0.49     62.64%
 6/6/16 4,337,203    $27.15 $0.00    -0.73% 0.49% -0.32%     0.00    1.29       0.98   0.22%    -0.96%     0.01       -0.80     42.72%
 6/7/16 5,174,476    $27.29 $0.00     0.52% 0.13% 1.43%      0.00    1.26       0.97   1.47%    -0.95%     0.01       -0.80     42.66%
 6/8/16 4,554,999    $27.04 $0.00    -0.92% 0.35% -0.32%     0.00    1.28       1.00   0.06%    -0.97%     0.01       -0.84     40.01%
 6/9/16 3,235,638    $27.00 $0.00    -0.15% -0.17% 0.73%     0.00    1.25       1.02   0.42%    -0.57%     0.01       -0.51     61.27%
6/10/16 5,564,331    $26.96 $0.00    -0.15% -0.92% 1.46%     0.00    1.25       1.00   0.21%    -0.35%     0.01       -0.31     75.34%
6/13/16 5,699,862    $26.89 $0.00    -0.26% -0.78% 0.20%     0.00    1.24       0.99  -0.88%     0.62%     0.01        0.55     58.21%
6/14/16 5,626,759    $26.68 $0.00    -0.78% -0.17% 0.72%     0.00    1.26       1.00   0.39%    -1.17%     0.01       -1.05     29.70%
6/15/16 9,091,734    $27.23 $0.00     2.06% -0.18% -0.10%    0.00    1.27       1.00  -0.44%     2.50%     0.01        2.24      2.69% *
6/16/16 7,071,353    $27.24 $0.00     0.04% 0.33% 0.64%      0.00    1.27       1.00   0.98%    -0.94%     0.01       -0.83     40.81%
6/17/16 10,587,099   $27.46 $0.00     0.81% -0.33% 0.80%     0.00    1.25       0.98   0.28%     0.53%     0.01        0.47     64.20%
6/20/16 4,314,380    $27.57 $0.00     0.40% 0.58% -0.30%     0.00    1.25       0.99   0.34%     0.06%     0.01        0.05     95.67%
6/21/16 4,730,413    $28.08 $0.00     1.85% 0.28% 0.50%      0.00    1.25       0.99   0.75%     1.10%     0.01        0.97     33.29%
6/22/16 4,703,300    $27.92 $0.00    -0.57% -0.16% 0.29%     0.00    1.27       0.99   0.01%    -0.58%     0.01       -0.51     60.99%
6/23/16 3,478,131    $28.52 $0.00     2.15% 1.34% 0.43%      0.00    1.26       0.99   2.04%     0.11%     0.01        0.10     92.31%
6/24/16 7,198,691    $27.93 $0.00    -2.07% -3.59% 1.51%     0.00    1.27       0.99  -3.14%     1.07%     0.01        0.95     34.33%
6/27/16 7,803,316    $26.82 $0.00    -3.97% -1.81% 1.89%     0.00    1.26       1.01  -0.46%    -3.52%     0.01       -3.13      0.22% **
6/28/16 4,788,040    $27.84 $0.00     3.80% 1.80% -0.99%     0.00    1.30       0.95   1.31%     2.49%     0.01        2.15      3.40% *
6/29/16 7,539,651    $28.45 $0.00     2.19% 1.72% -0.17%     0.00    1.34       0.92   2.06%     0.13%     0.01        0.11     91.51%
6/30/16 5,490,072    $29.01 $0.00     1.97% 1.36% 0.64%      0.00    1.36       0.92   2.35%    -0.38%     0.01       -0.33     74.53%
 7/1/16 4,016,696    $29.37 $0.00     1.24% 0.21% 0.51%      0.00    1.36       0.92   0.68%     0.56%     0.01        0.48     63.31%
 7/5/16 3,620,604    $28.93 $0.00    -1.50% -0.68% 0.48%     0.00    1.36       0.92  -0.56%    -0.94%     0.01       -0.80     42.66%
 7/6/16 4,360,032    $29.50 $0.00     1.97% 0.57% 0.14%      0.00    1.37       0.87   0.85%     1.12%     0.01        0.98     32.97%
 7/7/16 3,568,819    $29.38 $0.00    -0.41% -0.08% -1.54%    0.00    1.41       0.88  -1.52%     1.12%     0.01        0.98     32.95%
 7/8/16 5,100,813    $30.22 $0.00     2.86% 1.53% -0.09%     0.00    1.39       0.84   1.99%     0.87%     0.01        0.76     44.71%
7/11/16 4,846,266    $30.33 $0.00     0.36% 0.34% -0.29%     0.00    1.40       0.84   0.19%     0.18%     0.01        0.15     87.85%
7/12/16 5,578,485    $30.74 $0.00     1.35% 0.70% -0.80%     0.00    1.41       0.86   0.26%     1.09%     0.01        0.96     33.86%
7/13/16 3,948,821    $30.88 $0.00     0.46% 0.02% 0.76%      0.00    1.38       0.81   0.64%    -0.19%     0.01       -0.17     86.83%
7/14/16 4,369,182    $31.30 $0.00     1.36% 0.53% -0.24%     0.00    1.38       0.83   0.53%     0.83%     0.01        0.74     46.21%
7/15/16 4,568,449    $31.32 $0.00     0.06% -0.09% 0.24%     0.00    1.34       0.79   0.07%    -0.01%     0.01       -0.01     99.53%
7/18/16 4,912,949    $30.92 $0.00    -1.28% 0.24% -0.14%     0.00    1.37       0.78   0.21%    -1.49%     0.01       -1.34     18.17%
7/19/16 4,718,214    $30.49 $0.00    -1.39% -0.14% -0.23%    0.00    1.35       0.77  -0.39%    -1.00%     0.01       -0.89     37.39%
7/20/16 4,001,603    $30.55 $0.00     0.20% 0.44% -0.37%     0.00    1.36       0.77   0.27%    -0.07%     0.01       -0.07     94.76%
7/21/16 3,611,351    $30.64 $0.00     0.29% -0.36% -0.23%    0.00    1.36       0.77  -0.71%     1.01%     0.01        0.90     36.93%
7/22/16 2,287,295    $30.90 $0.00     0.85% 0.46% 1.08%      0.00    1.38       0.77   1.44%    -0.59%     0.01       -0.53     59.81%
7/25/16 3,124,337    $30.88 $0.00    -0.06% -0.30% -0.23%    0.00    1.37       0.74  -0.63%     0.56%     0.01        0.50     61.48%
7/26/16 2,496,035    $30.63 $0.00    -0.81% 0.04% -1.50%     0.00    1.37       0.74  -1.09%     0.28%     0.01        0.25     80.38%
7/27/16 5,193,539    $30.71 $0.00     0.26% -0.12% 0.75%     0.00    1.34       0.68   0.31%    -0.05%     0.01       -0.05     96.18%
7/28/16 3,467,834    $30.83 $0.00     0.39% 0.17% -0.80%     0.00    1.34       0.69  -0.39%     0.78%     0.01        0.71     47.68%
7/29/16 6,218,510    $31.44 $0.00     1.98% 0.16% 1.19%      0.00    1.36       0.64   0.92%     1.05%     0.01        0.98     33.14%
 8/1/16 8,014,692    $31.02 $0.00    -1.34% -0.13% -0.83%    0.00    1.33       0.67  -0.76%    -0.58%     0.01       -0.54     59.07%
 8/2/16 6,678,694    $30.59 $0.00    -1.39% -0.63% -0.15%    0.00    1.31       0.63  -0.94%    -0.45%     0.01       -0.43     66.86%
 8/3/16 6,568,465    $30.51 $0.00    -0.26% 0.34% -0.29%     0.00    1.32       0.63   0.26%    -0.52%     0.01       -0.50     62.10%
 8/4/16 8,008,621    $30.25 $0.00    -0.85% 0.05% -0.10%     0.00    1.32       0.63  -0.02%    -0.84%     0.01       -0.80     42.30%
 8/5/16 4,790,409    $29.88 $0.00    -1.22% 0.86% -0.71%     0.00    1.26       0.62   0.61%    -1.83%     0.01       -1.80      7.41%
 8/8/16 3,636,745    $30.28 $0.00     1.34% -0.08% -0.21%    0.00    1.25       0.64  -0.28%     1.61%     0.01        1.57     11.99%
 8/9/16 2,885,037    $30.15 $0.00    -0.43% 0.04% 0.23%      0.00    1.22       0.64   0.17%    -0.60%     0.01       -0.58     56.39%




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                                                           Appendix E
                                               CenturyLink, Inc. Common Stock Data
  [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]      [12]    [13]       [14]         [15]
                                                     Excess        Coefficient
                                             Market Industry                   Excess Predicted Abnormal   Root
 Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return        Return   MSE     t-statistic    p-Value
 8/10/16 4,076,030    $30.34 $0.00     0.63% -0.25% 0.42%     0.00    1.23       0.61  -0.10%      0.73%    0.01        0.72     47.53%
 8/11/16 3,928,280    $30.42 $0.00     0.26% 0.49% -0.07%     0.00    1.22       0.59   0.52%     -0.26%    0.01       -0.25     80.00%
 8/12/16 3,197,912    $29.96 $0.00    -1.51% -0.07% -0.28%    0.00    1.23       0.59  -0.28%     -1.23%    0.01       -1.21     22.69%
 8/15/16 2,279,672    $30.02 $0.00     0.20% 0.29% -0.53%     0.00    1.21       0.60   0.01%      0.19%    0.01        0.19     85.18%
 8/16/16 3,181,116    $29.42 $0.00    -2.00% -0.53% -1.68%    0.00    1.20       0.58  -1.64%     -0.35%    0.01       -0.35     72.35%
 8/17/16 3,933,090    $29.25 $0.00    -0.58% 0.21% 0.03%      0.00    1.20       0.59   0.23%     -0.81%    0.01       -0.81     42.02%
 8/18/16 4,395,198    $29.13 $0.00    -0.41% 0.22% -0.93%     0.00    1.20       0.59  -0.32%     -0.09%    0.01       -0.09     93.03%
 8/19/16 4,681,371    $28.84 $0.00    -1.00% -0.13% -0.75%    0.00    1.23       0.60  -0.68%     -0.32%    0.01       -0.32     74.74%
 8/22/16 4,620,062    $28.93 $0.00     0.31% -0.05% 0.01%     0.00    1.27       0.60  -0.13%      0.44%    0.01        0.46     64.86%
 8/23/16 2,737,608    $29.10 $0.00     0.59% 0.20% -0.09%     0.00    1.26       0.59   0.13%      0.46%    0.01        0.48     63.53%
 8/24/16 3,230,286    $29.05 $0.00    -0.17% -0.52% 0.33%     0.00    1.26       0.59  -0.53%      0.36%    0.01        0.37     70.99%
 8/25/16 3,530,221    $29.15 $0.00     0.34% -0.13% 0.53%     0.00    1.26       0.59   0.07%      0.27%    0.01        0.28     78.08%
 8/26/16 4,247,567    $28.76 $0.00    -1.34% -0.16% -0.95%    0.00    1.26       0.60  -0.83%     -0.50%    0.01       -0.52     60.40%
 8/29/16 4,011,342    $28.75 $0.00    -0.03% 0.54% 0.46%      0.00    1.27       0.60   0.88%     -0.91%    0.01       -0.94     34.89%
 8/30/16 4,944,977    $28.57 $0.00    -0.63% -0.18% -0.18%    0.00    1.26       0.59  -0.42%     -0.21%    0.01       -0.21     83.07%
 8/31/16 4,472,605    $27.80 $0.54    -0.81% -0.22% 0.16%     0.00    1.26       0.59  -0.27%     -0.53%    0.01       -0.55     58.36%
  9/1/16 4,470,163    $27.74 $0.00    -0.22% 0.00% 0.28%      0.00    1.29       0.58   0.07%     -0.29%    0.01       -0.30     76.64%
  9/2/16 3,048,215    $27.94 $0.00     0.72% 0.43% 0.03%      0.00    1.29       0.58   0.47%      0.25%    0.01        0.26     79.70%
  9/6/16 2,992,260    $28.17 $0.00     0.82% 0.30% 0.69%      0.00    1.29       0.59   0.72%      0.10%    0.01        0.11     91.30%
  9/7/16 3,210,762    $28.40 $0.00     0.82% 0.01% 0.25%      0.00    1.27       0.57   0.07%      0.75%    0.01        0.80     42.79%
  9/8/16 3,404,237    $28.35 $0.00    -0.18% -0.22% -0.02%    0.00    1.31       0.61  -0.35%      0.18%    0.01        0.20     83.95%
  9/9/16 7,008,383    $27.86 $0.00    -1.73% -2.45% -1.80%    0.00    1.31       0.65  -4.44%      2.71%    0.01        3.14      0.22% **
 9/12/16 4,771,966    $28.04 $0.00     0.65% 1.47% 1.07%      0.00    1.19       0.55   2.31%     -1.67%    0.01       -1.87      6.40%
 9/13/16 4,497,058    $27.44 $0.00    -2.14% -1.45% -0.97%    0.00    1.15       0.52  -2.23%      0.09%    0.01        0.10     92.44%
 9/14/16 2,958,109    $27.43 $0.00    -0.04% -0.05% -0.06%    0.00    1.14       0.52  -0.13%      0.09%    0.01        0.10     92.03%
 9/15/16 7,598,614    $26.98 $0.00    -1.64% 1.03% 0.50%      0.00    1.14       0.52   1.39%     -3.03%    0.01       -3.38      0.10% **
 9/16/16 7,114,403    $26.89 $0.00    -0.33% -0.38% -0.15%    0.00    1.09       0.49  -0.54%      0.20%    0.01        0.22     82.89%
 9/19/16 4,457,047    $27.04 $0.00     0.56% 0.00% -0.69%     0.00    1.08       0.49  -0.39%      0.95%    0.01        1.01     31.31%
 9/20/16 3,345,411    $26.75 $0.00    -1.07% 0.03% -0.19%     0.00    1.08       0.48  -0.11%     -0.96%    0.01       -1.02     30.88%
 9/21/16 4,296,810    $26.92 $0.00     0.64% 1.09% 0.57%      0.00    1.08       0.48   1.39%     -0.76%    0.01       -0.80     42.37%
 9/22/16 5,094,979    $27.61 $0.00     2.56% 0.65% 0.68%      0.00    1.07       0.48   0.95%      1.62%    0.01        1.71      9.03%
 9/23/16 3,853,878    $27.42 $0.00    -0.69% -0.57% 0.79%     0.00    1.08       0.50  -0.29%     -0.40%    0.01       -0.42     67.77%
 9/26/16 2,357,661    $27.31 $0.00    -0.40% -0.85% 0.04%     0.00    1.10       0.49  -0.99%      0.59%    0.01        0.61     54.13%
 9/27/16 2,844,859    $27.35 $0.00     0.15% 0.65% 0.27%      0.00    1.08       0.50   0.76%     -0.62%    0.01       -0.65     52.01%
 9/28/16 2,598,215    $27.55 $0.00     0.73% 0.55% -1.41%     0.00    1.07       0.49  -0.18%      0.91%    0.01        0.95     34.47%
 9/29/16 2,610,971    $27.52 $0.00    -0.11% -0.93% 0.43%     0.00    1.08       0.47  -0.86%      0.75%    0.01        0.78     43.41%
 9/30/16 3,363,364    $27.43 $0.00    -0.33% 0.80% -0.83%     0.00    1.07       0.48   0.38%     -0.71%    0.01       -0.74     45.88%
 10/3/16 3,048,400    $27.52 $0.00     0.33% -0.31% 0.32%     0.00    1.08       0.50  -0.25%      0.57%    0.01        0.60     54.75%
 10/4/16 4,342,517    $27.08 $0.00    -1.60% -0.49% -1.31%    0.00    1.08       0.51  -1.25%     -0.35%    0.01       -0.36     71.73%
 10/5/16 4,826,467    $27.03 $0.00    -0.18% 0.47% -1.01%     0.00    1.08       0.52  -0.08%     -0.10%    0.01       -0.11     91.28%
 10/6/16 3,531,399    $26.97 $0.00    -0.22% 0.05% -0.10%     0.00    1.08       0.52  -0.07%     -0.15%    0.01       -0.16     87.19%
 10/7/16 13,519,671   $27.76 $0.00     2.93% -0.32% -0.32%    0.00    1.09       0.52  -0.58%      3.51%    0.01        3.70      0.03% **
10/10/16 3,118,235    $27.84 $0.00     0.29% 0.46% 0.15%      0.00    1.06       0.49   0.52%     -0.23%    0.01       -0.23     81.60%
10/11/16 5,412,856    $27.64 $0.00    -0.72% -1.24% 0.66%     0.00    1.06       0.50  -1.04%      0.32%    0.01        0.32     74.67%
10/12/16 2,580,380    $27.57 $0.00    -0.25% 0.12% 0.54%      0.00    1.03       0.40   0.32%     -0.57%    0.01       -0.59     55.39%
10/13/16 2,750,712    $27.39 $0.00    -0.65% -0.31% 0.24%     0.00    1.02       0.40  -0.24%     -0.41%    0.01       -0.43     66.94%
10/14/16 2,003,263    $27.34 $0.00    -0.18% 0.02% -0.15%     0.00    1.03       0.40  -0.06%     -0.12%    0.01       -0.13     90.01%
10/17/16 3,118,122    $27.37 $0.00     0.11% -0.30% 0.40%     0.00    1.02       0.41  -0.17%      0.28%    0.01        0.29     77.06%
10/18/16 3,770,437    $27.90 $0.00     1.94% 0.62% -0.30%     0.00    1.02       0.42   0.48%      1.46%    0.01        1.51     13.28%
10/19/16 3,274,349    $28.18 $0.00     1.00% 0.23% 0.02%      0.00    1.04       0.42   0.24%      0.76%    0.01        0.79     43.33%
10/20/16 4,336,602    $27.97 $0.00    -0.75% -0.13% -1.94%    0.00    1.04       0.42  -0.95%      0.21%    0.01        0.21     83.13%
10/21/16 4,790,620    $28.21 $0.00     0.86% -0.01% -2.36%    0.00    1.03       0.41  -0.98%      1.84%    0.01        1.90      5.96%
10/24/16 3,193,735    $28.32 $0.00     0.39% 0.48% -1.11%     0.00    0.99       0.33   0.13%      0.26%    0.01        0.27     78.59%
10/25/16 3,390,382    $28.45 $0.00     0.46% -0.38% -0.34%    0.00    1.01       0.32  -0.47%      0.93%    0.01        0.98     33.03%
10/26/16 3,289,316    $28.25 $0.00    -0.70% -0.17% -0.45%    0.00    1.00       0.31  -0.29%     -0.41%    0.01       -0.43     66.71%
10/27/16 36,625,594   $31.00 $0.00     9.73% -0.30% 1.55%     0.00    1.00       0.31   0.20%      9.54%    0.01      10.03       0.00% **
10/28/16 15,382,989   $30.39 $0.00    -1.97% -0.31% -0.01%    0.00    0.97       0.53  -0.19%     -1.78%    0.01       -1.39     16.77%
10/31/16 71,943,608   $26.58 $0.00 -12.54% -0.01% 0.45%       0.00    0.97       0.53   0.32%    -12.86%    0.01       -9.96      0.00% **
 11/1/16 36,114,903   $24.97 $0.00    -6.06% -0.68% -0.41%    0.00    0.96       0.53  -0.77%     -5.29%    0.01       -4.09      0.01% **
 11/2/16 21,126,829   $24.18 $0.00    -3.16% -0.64% -0.75%    0.00    1.02       0.56  -1.02%     -2.14%    0.01       -1.55     12.39%
 11/3/16 30,038,531   $23.00 $0.00    -4.88% -0.41% 0.47%     0.00    1.03       0.58  -0.10%     -4.78%    0.01       -3.43      0.09% **
 11/4/16 21,633,402   $23.05 $0.00     0.22% -0.16% 0.18%     0.00    1.08       0.54  -0.07%      0.28%    0.01        0.20     84.57%




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                                                           Appendix E
                                               CenturyLink, Inc. Common Stock Data
  [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                     Excess        Coefficient
                                             Market Industry                   Excess Predicted Abnormal   Root
 Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
 11/7/16 21,786,932   $23.32 $0.00     1.17% 2.22% -0.62%     0.00    1.08       0.54   2.08%    -0.90%     0.01       -0.62     53.66%
 11/8/16 15,356,221   $24.16 $0.00     3.60% 0.43% 0.28%      0.00    1.04       0.52   0.61%     2.99%     0.01        2.06      4.20% *
 11/9/16 10,430,158   $24.29 $0.00     0.54% 1.11% 0.16%      0.00    1.07       0.54   1.32%    -0.78%     0.01       -0.53     60.02%
11/10/16 15,049,897   $23.81 $0.00    -1.98% 0.20% -2.45%     0.00    1.06       0.54  -1.07%    -0.91%     0.01       -0.61     54.08%
11/11/16 9,553,943    $23.80 $0.00    -0.04% -0.14% 0.07%     0.00    1.06       0.57  -0.08%     0.04%     0.01        0.03     97.96%
11/14/16 12,285,568   $24.31 $0.00     2.14% 0.00% -0.95%     0.00    1.06       0.57  -0.51%     2.65%     0.01        1.79      7.66%
11/15/16 12,754,196   $24.72 $0.00     1.69% 0.77% 1.55%      0.00    1.07       0.54   1.71%    -0.03%     0.02       -0.02     98.50%
11/16/16 8,711,404    $24.52 $0.00    -0.81% -0.13% 1.20%     0.00    1.07       0.54   0.57%    -1.38%     0.02       -0.92     36.01%
11/17/16 8,752,426    $24.26 $0.00    -1.06% 0.47% -0.06%     0.00    1.07       0.52   0.53%    -1.59%     0.02       -1.05     29.41%
11/18/16 9,857,792    $24.79 $0.00     2.18% -0.22% 0.66%     0.00    1.06       0.51   0.13%     2.05%     0.02        1.36     17.63%
11/21/16 11,041,944   $25.54 $0.00     3.03% 0.75% 0.09%      0.00    1.05       0.52   0.88%     2.14%     0.02        1.41     16.21%
11/22/16 10,374,077   $25.24 $0.00    -1.17% 0.22% 2.02%      0.00    1.07       0.53   1.36%    -2.54%     0.02       -1.65     10.07%
11/23/16 8,863,134    $24.40 $0.54    -1.19% 0.08% 0.86%      0.00    1.06       0.45   0.52%    -1.70%     0.02       -1.10     27.38%
11/25/16 3,946,661    $24.66 $0.00     1.07% 0.39% 0.80%      0.00    1.07       0.43   0.79%     0.27%     0.02        0.17     86.19%
11/28/16 7,507,284    $24.64 $0.00    -0.08% -0.51% 1.18%     0.00    1.07       0.44   0.00%    -0.09%     0.02       -0.06     95.60%
11/29/16 8,364,012    $24.21 $0.00    -1.75% 0.16% -0.37%     0.00    1.08       0.43   0.06%    -1.80%     0.02       -1.16     24.77%
11/30/16 13,063,881   $23.52 $0.00    -2.85% -0.24% -1.92%    0.00    1.07       0.44  -1.08%    -1.77%     0.02       -1.14     25.72%
 12/1/16 10,562,258   $23.74 $0.00     0.94% -0.35% 0.51%     0.00    1.09       0.48  -0.11%     1.05%     0.02        0.67     50.50%
 12/2/16 5,972,195    $23.92 $0.00     0.76% 0.04% -0.37%     0.00    1.09       0.49  -0.11%     0.87%     0.02        0.55     58.01%
 12/5/16 9,987,060    $24.19 $0.00     1.13% 0.59% -0.38%     0.00    1.08       0.49   0.49%     0.64%     0.02        0.41     68.59%
 12/6/16 6,004,319    $24.01 $0.00    -0.74% 0.34% 1.29%      0.00    1.10       0.49   1.04%    -1.78%     0.02       -1.15     25.43%
 12/7/16 6,772,046    $24.28 $0.00     1.12% 1.34% 1.50%      0.00    1.09       0.47   2.17%    -1.05%     0.02       -0.67     50.31%
 12/8/16 7,191,481    $24.13 $0.00    -0.62% 0.23% -0.39%     0.00    1.07       0.44   0.07%    -0.69%     0.02       -0.44     65.95%
 12/9/16 7,962,690    $24.12 $0.00    -0.04% 0.59% -0.13%     0.00    1.07       0.44   0.58%    -0.62%     0.02       -0.39     69.36%
12/12/16 7,229,393    $23.93 $0.00    -0.79% -0.11% 1.19%     0.00    1.06       0.43   0.38%    -1.17%     0.02       -0.75     45.48%
12/13/16 10,799,944   $24.43 $0.00     2.09% 0.67% 0.43%      0.00    1.07       0.42   0.87%     1.22%     0.02        0.78     43.75%
12/14/16 8,607,560    $23.87 $0.00    -2.29% -0.81% -0.40%    0.00    1.07       0.42  -1.05%    -1.24%     0.02       -0.79     43.03%
12/15/16 9,779,183    $23.97 $0.00     0.42% 0.39% 0.42%      0.00    1.17       0.40   0.58%    -0.16%     0.02       -0.10     91.96%
12/16/16 11,383,948   $24.17 $0.00     0.83% -0.17% 0.74%     0.00    1.06       0.48   0.16%     0.68%     0.02        0.44     66.18%
12/19/16 5,889,633    $24.19 $0.00     0.08% 0.20% 0.98%      0.00    0.95       0.53   0.69%    -0.61%     0.02       -0.40     69.22%
12/20/16 6,605,028    $24.13 $0.00    -0.25% 0.38% 0.34%      0.00    0.92       0.52   0.50%    -0.75%     0.02       -0.49     62.36%
12/21/16 6,241,389    $23.77 $0.00    -1.49% -0.24% -0.16%    0.00    0.91       0.52  -0.34%    -1.15%     0.02       -0.75     45.22%
12/22/16 6,008,912    $23.87 $0.00     0.42% -0.17% 1.14%     0.00    0.92       0.51   0.37%     0.05%     0.02        0.03     97.44%
12/23/16 6,512,200    $24.06 $0.00     0.80% 0.14% 0.02%      0.00    0.89       0.52   0.09%     0.70%     0.02        0.46     64.59%
12/27/16 3,957,663    $24.14 $0.00     0.33% 0.23% -0.25%     0.00    0.88       0.52   0.02%     0.31%     0.02        0.20     83.97%
12/28/16 5,067,166    $24.03 $0.00    -0.46% -0.82% 0.20%     0.00    0.88       0.53  -0.66%     0.20%     0.02        0.13     89.51%
12/29/16 4,556,755    $24.03 $0.00     0.00% -0.02% 0.44%     0.00    0.81       0.54   0.16%    -0.16%     0.02       -0.11     91.42%
12/30/16 6,971,357    $23.78 $0.00    -1.04% -0.46% -0.16%    0.00    0.81       0.54  -0.52%    -0.52%     0.02       -0.35     73.00%
  1/3/17 17,376,398   $25.35 $0.00     6.60% 0.85% 1.26%      0.00    0.79       0.56   1.30%     5.30%     0.02        3.51      0.06% **
  1/4/17 10,443,772   $25.48 $0.00     0.51% 0.60% -0.66%     0.00    0.88       0.63   0.07%     0.44%     0.02        0.28     78.18%
  1/5/17 7,921,741    $25.50 $0.00     0.08% -0.08% 0.00%     0.00    0.87       0.63  -0.10%     0.18%     0.02        0.12     90.83%
  1/6/17 5,736,182    $25.38 $0.00    -0.47% 0.38% -1.91%     0.00    0.87       0.63  -0.91%     0.44%     0.02        0.28     78.37%
  1/9/17 6,765,279    $25.23 $0.00    -0.59% -0.35% -0.90%    0.00    0.88       0.62  -0.89%     0.30%     0.02        0.19     85.11%
 1/10/17 8,274,952    $25.20 $0.00    -0.12% 0.00% 0.08%      0.00    0.88       0.61   0.04%    -0.16%     0.02       -0.10     91.84%
 1/11/17 5,567,042    $25.24 $0.00     0.16% 0.29% -0.68%     0.00    0.88       0.61  -0.17%     0.33%     0.02        0.21     83.37%
 1/12/17 7,340,834    $25.18 $0.00    -0.24% -0.21% 0.79%     0.00    0.89       0.61   0.28%    -0.52%     0.02       -0.33     74.32%
 1/13/17 5,313,070    $25.26 $0.00     0.32% 0.18% -0.26%     0.00    0.89       0.61  -0.01%     0.33%     0.02        0.21     83.58%
 1/17/17 7,753,882    $25.47 $0.00     0.83% -0.30% 0.58%     0.00    0.90       0.61   0.07%     0.76%     0.02        0.48     62.95%
 1/18/17 5,841,822    $25.47 $0.00     0.00% 0.19% -0.92%     0.00    0.89       0.62  -0.41%     0.41%     0.02        0.26     79.72%
 1/19/17 4,364,224    $25.50 $0.00     0.12% -0.36% 0.57%     0.00    0.89       0.61   0.02%     0.10%     0.02        0.06     94.97%
 1/20/17 4,866,482    $25.56 $0.00     0.24% 0.34% 0.64%      0.00    0.89       0.62   0.69%    -0.45%     0.02       -0.29     77.46%
 1/23/17 4,439,750    $25.81 $0.00     0.98% -0.27% 0.64%     0.00    0.88       0.60   0.12%     0.85%     0.02        0.54     58.84%
 1/24/17 5,655,133    $25.57 $0.00    -0.93% 0.66% -3.10%     0.00    0.87       0.60  -1.30%     0.37%     0.02        0.24     81.46%
 1/25/17 7,489,213    $25.69 $0.00     0.47% 0.80% -0.77%     0.00    0.87       0.59   0.24%     0.23%     0.02        0.15     88.32%
 1/26/17 7,653,733    $26.06 $0.00     1.44% -0.07% 0.06%     0.00    0.88       0.58  -0.03%     1.47%     0.02        0.93     35.19%
 1/27/17 4,935,059    $25.96 $0.00    -0.38% -0.08% 0.79%     0.00    0.87       0.59   0.40%    -0.79%     0.02       -0.50     61.68%
 1/30/17 4,880,701    $25.81 $0.00    -0.58% -0.60% -0.05%    0.00    0.91       0.56  -0.56%    -0.02%     0.02       -0.01     98.90%
 1/31/17 11,316,042   $25.86 $0.00     0.19% -0.09% 0.22%     0.00    0.91       0.57   0.05%     0.15%     0.02        0.09     92.48%
  2/1/17 8,832,817    $25.51 $0.00    -1.35% 0.05% -0.77%     0.00    0.91       0.57  -0.38%    -0.97%     0.02       -0.62     53.36%
  2/2/17 6,190,566    $25.26 $0.00    -0.98% 0.06% -1.25%     0.00    0.92       0.57  -0.66%    -0.32%     0.02       -0.20     83.92%
  2/3/17 5,228,391    $25.42 $0.00     0.63% 0.74% -0.09%     0.00    0.92       0.58   0.62%     0.02%     0.02        0.01     99.19%
  2/6/17 6,353,023    $25.05 $0.00    -1.46% -0.21% -0.66%    0.00    0.91       0.57  -0.56%    -0.89%     0.02       -0.57     56.74%




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                                                          Appendix E
                                              CenturyLink, Inc. Common Stock Data
 [1]       [2]        [3]    [4]      [5]    [6]      [7]   [8]       [9]      [10]     [11]     [12]     [13]       [14]         [15]
                                                    Excess        Coefficient
                                            Market Industry                   Excess Predicted Abnormal   Root
Date     Volume      Price Dividend Return Return Return Intercept Market Industry Return       Return    MSE     t-statistic    p-Value
 2/7/17 6,022,232    $24.88 $0.00    -0.68% 0.03% 0.05%      0.00    0.92       0.58   0.05%    -0.73%     0.02       -0.47     64.13%
 2/8/17 13,671,506   $24.43 $0.00    -1.81% 0.10% 0.31%      0.00    0.91       0.57   0.26%    -2.07%     0.02       -1.33     18.60%
 2/9/17 10,179,851   $24.42 $0.00    -0.04% 0.59% 0.15%      0.00    0.91       0.56   0.61%    -0.65%     0.02       -0.41     67.94%
2/10/17 5,882,601    $24.49 $0.00     0.29% 0.36% 0.05%      0.00    0.91       0.56   0.34%    -0.06%     0.02       -0.04     97.15%
2/13/17 6,555,986    $24.62 $0.00     0.53% 0.55% -1.64%     0.00    0.91       0.56  -0.43%     0.96%     0.02        0.61     54.39%
2/14/17 4,962,947    $24.54 $0.00    -0.32% 0.43% -0.38%     0.00    0.93       0.54   0.18%    -0.51%     0.02       -0.32     74.80%
2/15/17 5,599,574    $24.40 $0.00    -0.57% 0.51% -0.06%     0.00    0.92       0.54   0.42%    -0.99%     0.02       -0.63     52.96%
2/16/17 5,162,872    $24.28 $0.00    -0.49% -0.08% 0.56%     0.00    0.91       0.54   0.21%    -0.70%     0.02       -0.44     65.85%
2/17/17 5,122,976    $24.28 $0.00     0.00% 0.17% 0.81%      0.00    0.92       0.54   0.56%    -0.56%     0.02       -0.35     72.46%
2/21/17 6,846,831    $24.67 $0.00     1.61% 0.60% 0.20%      0.00    0.91       0.53   0.62%     0.98%     0.02        0.62     53.52%
2/22/17 6,431,600    $24.83 $0.00     0.65% -0.10% 0.13%     0.00    0.93       0.53  -0.04%     0.69%     0.02        0.44     66.27%
2/23/17 6,597,988    $24.71 $0.00    -0.48% 0.05% 0.92%      0.00    0.93       0.53   0.53%    -1.01%     0.02       -0.64     52.46%
2/24/17 6,056,642    $24.58 $0.00    -0.53% 0.17% 0.55%      0.00    0.92       0.52   0.43%    -0.96%     0.02       -0.61     54.57%
2/27/17 6,722,186    $24.61 $0.00     0.12% 0.12% -1.29%     0.00    0.92       0.52  -0.58%     0.70%     0.02        0.44     65.89%
2/28/17 13,031,838   $24.26 $0.00    -1.42% -0.25% -0.30%    0.00    0.92       0.51  -0.40%    -1.02%     0.02       -0.64     52.22%
 3/1/17 14,735,804   $24.04 $0.54     1.32% 1.39% -0.41%     0.00    0.93       0.51   1.05%     0.27%     0.02        0.17     86.57%
 3/2/17 10,003,104   $23.53 $0.00    -2.12% -0.58% 0.47%     0.00    0.94       0.51  -0.33%    -1.79%     0.02       -1.12     26.30%
 3/3/17 8,419,064    $23.48 $0.00    -0.21% 0.05% -0.03%     0.00    0.97       0.49  -0.01%    -0.20%     0.02       -0.13     89.96%
 3/6/17 8,175,124    $23.10 $0.00    -1.62% -0.33% 0.04%     0.00    1.08       0.53  -0.41%    -1.21%     0.02       -0.76     44.75%
 3/7/17 11,620,855   $22.50 $0.00    -2.60% -0.28% -0.47%    0.00    1.16       0.55  -0.67%    -1.93%     0.02       -1.22     22.64%
 3/8/17 7,310,167    $22.45 $0.00    -0.22% -0.20% -0.27%    0.00    1.19       0.56  -0.49%     0.27%     0.02        0.17     86.75%
 3/9/17 7,984,260    $22.73 $0.00     1.25% 0.08% 0.36%      0.00    1.19       0.56   0.20%     1.05%     0.02        0.66     51.32%
3/10/17 6,382,025    $23.14 $0.00     1.80% 0.33% 0.44%      0.00    1.29       0.59   0.61%     1.20%     0.02        0.76     44.84%
3/13/17 8,358,911    $23.46 $0.00     1.38% 0.07% 0.13%      0.00    1.30       0.59   0.10%     1.28%     0.02        0.81     41.90%
3/14/17 5,893,068    $23.34 $0.00    -0.51% -0.33% -0.25%    0.00    1.31       0.60  -0.65%     0.14%     0.02        0.09     93.15%
3/15/17 10,642,838   $23.77 $0.00     1.84% 0.84% 0.80%      0.00    1.30       0.60   1.52%     0.32%     0.02        0.20     83.93%
3/16/17 10,728,969   $23.37 $0.00    -1.68% -0.16% -0.14%    0.00    1.35       0.61  -0.34%    -1.34%     0.02       -0.85     39.62%
3/17/17 24,891,583   $23.65 $0.00     1.20% -0.13% 0.64%     0.00    1.33       0.60   0.14%     1.05%     0.02        0.67     50.41%
3/20/17 8,138,955    $23.64 $0.00    -0.04% -0.20% -0.22%    0.00    1.32       0.62  -0.45%     0.41%     0.02        0.26     79.59%
3/21/17 7,234,732    $23.36 $0.00    -1.18% -1.23% 0.29%     0.00    1.34       0.62  -1.53%     0.34%     0.02        0.22     82.70%
3/22/17 12,577,325   $22.81 $0.00    -2.35% 0.19% -1.16%     0.00    1.34       0.62  -0.51%    -1.84%     0.02       -1.17     24.31%
3/23/17 6,887,351    $22.64 $0.00    -0.75% -0.10% -0.02%    0.00    1.32       0.66  -0.22%    -0.53%     0.02       -0.33     73.91%
3/24/17 5,890,158    $22.76 $0.00     0.53% -0.08% 0.19%     0.00    1.36       0.65  -0.08%     0.61%     0.02        0.38     70.16%
3/27/17 9,057,861    $22.61 $0.00    -0.66% -0.10% -0.66%    0.00    1.37       0.65  -0.64%    -0.02%     0.02       -0.01     99.16%
3/28/17 7,325,754    $22.52 $0.00    -0.40% 0.73% -0.25%     0.00    1.38       0.65   0.76%    -1.16%     0.02       -0.73     46.46%
3/29/17 8,208,235    $23.09 $0.00     2.53% 0.13% -0.28%     0.00    1.35       0.65  -0.09%     2.62%     0.02        1.66      9.93%
3/30/17 7,466,212    $23.41 $0.00     1.39% 0.30% 0.23%      0.00    1.36       0.64   0.48%     0.90%     0.02        0.57     57.25%
3/31/17 7,533,614    $23.57 $0.00     0.68% -0.23% -0.36%    0.00    1.37       0.64  -0.59%     1.28%     0.02        0.80     42.62%
 4/3/17 6,992,549    $23.60 $0.00     0.13% -0.16% 0.48%     0.00    1.41       0.65   0.01%     0.12%     0.02        0.08     93.96%
 4/4/17 12,820,344   $23.96 $0.00     1.53% 0.07% 0.37%      0.00    1.41       0.65   0.26%     1.26%     0.02        0.80     42.28%
 4/5/17 12,561,386   $24.21 $0.00     1.04% -0.30% -0.24%    0.00    1.44       0.65  -0.66%     1.70%     0.02        1.09     28.00%
 4/6/17 7,640,759    $24.46 $0.00     1.03% 0.22% -0.65%     0.00    1.42       0.65  -0.16%     1.20%     0.02        0.76     44.98%
 4/7/17 9,662,269    $24.54 $0.00     0.33% -0.08% 0.26%     0.00    1.42       0.65   0.01%     0.32%     0.02        0.20     84.07%
4/10/17 8,136,814    $24.87 $0.00     1.34% 0.07% -0.36%     0.00    1.42       0.65  -0.16%     1.51%     0.02        0.95     34.25%
4/11/17 8,899,935    $24.90 $0.00     0.12% -0.13% 0.16%     0.00    1.42       0.64  -0.11%     0.23%     0.02        0.14     88.51%
4/12/17 10,806,222   $25.14 $0.00     0.96% -0.37% 0.81%     0.00    1.39       0.64  -0.03%     1.00%     0.02        0.63     53.05%
4/13/17 9,958,699    $25.12 $0.00    -0.08% -0.68% -0.20%    0.00    1.37       0.65  -1.09%     1.01%     0.02        0.64     52.30%
4/17/17 7,318,113    $25.30 $0.00     0.72% 0.86% -0.32%     0.00    1.35       0.67   0.93%    -0.21%     0.02       -0.13     89.43%
4/18/17 7,294,946    $25.06 $0.00    -0.95% -0.29% 0.47%     0.00    1.36       0.75  -0.09%    -0.86%     0.02       -0.55     58.47%
4/19/17 11,207,568   $25.29 $0.00     0.92% -0.16% -0.10%    0.00    1.37       0.75  -0.35%     1.27%     0.02        0.81     41.86%
4/20/17 8,716,160    $25.49 $0.00     0.79% 0.76% -0.77%     0.00    1.38       0.76   0.40%     0.39%     0.02        0.25     80.18%
4/21/17 7,432,209    $25.32 $0.00    -0.67% -0.30% -1.35%    0.00    1.39       0.75  -1.50%     0.83%     0.02        0.53     59.69%
4/24/17 7,725,596    $25.45 $0.00     0.51% 1.09% -0.77%     0.00    1.48       0.55   1.05%    -0.53%     0.01       -0.41     68.45%
4/25/17 11,383,337   $25.93 $0.00     1.89% 0.61% -0.72%     0.00    1.44       0.55   0.35%     1.53%     0.01        1.17     24.27%
4/26/17 8,972,261    $25.87 $0.00    -0.23% -0.05% 1.29%     0.00    1.47       0.54   0.51%    -0.74%     0.01       -0.57     57.26%
4/27/17 12,119,332   $25.79 $0.00    -0.31% 0.07% -1.34%     0.00    1.33       0.49  -0.64%     0.33%     0.01        0.27     79.04%
4/28/17 11,581,185   $25.67 $0.00    -0.47% -0.19% -0.92%    0.00    1.28       0.46  -0.71%     0.25%     0.01        0.20     83.82%
 5/1/17 9,827,091    $25.38 $0.00    -1.13% 0.17% -0.88%     0.00    1.19       0.48  -0.21%    -0.92%     0.01       -0.80     42.35%
 5/2/17 9,168,370    $25.95 $0.00     2.25% 0.12% -0.16%     0.00    1.19       0.49   0.06%     2.19%     0.01        1.91      5.88%
 5/3/17 10,400,439   $25.42 $0.00    -2.04% -0.11% -0.65%    0.00    1.30       0.49  -0.44%    -1.60%     0.01       -1.39     16.84%
 5/4/17 28,643,399   $23.74 $0.00    -6.61% 0.06% -1.05%     0.00    1.27       0.49  -0.45%    -6.16%     0.01       -5.43      0.00% **
 5/5/17 12,349,560   $23.60 $0.00    -0.59% 0.41% 1.25%      0.00    1.32       0.49   1.14%    -1.73%     0.01       -1.52     13.09%




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                                                                     Appendix E
                                                         CenturyLink, Inc. Common Stock Data
   [1]         [2]        [3]       [4]       [5]       [6]
                                                          [7]   [8]       [9]      [10]     [11]     [12]                            [13]       [14]         [15]
                                                        Excess        Coefficient
                                                Market Industry                   Excess Predicted Abnormal                         Root
  Date     Volume        Price Dividend Return Return Return Intercept Market Industry Return       Return                          MSE      t-statistic    p-Value
   5/8/17 26,016,453     $24.80 $0.00     5.08% 0.01% 0.09%      0.00    1.29       0.43   0.04%     5.05%                           0.01         4.42      0.00% **
   5/9/17 10,142,206     $25.03 $0.00     0.93% -0.10% -0.58%    0.00    1.28       0.43  -0.35%     1.28%                           0.01         1.04     30.17%
  5/10/17 7,954,707      $25.11 $0.00     0.32% 0.15% 0.16%      0.00    1.28       0.45   0.28%     0.04%                           0.01         0.03     97.42%
  5/11/17 8,698,798      $24.44 $0.00    -2.67% -0.18% -0.36%    0.00    1.28       0.45  -0.39%    -2.28%                           0.01        -1.87      6.35%
  5/12/17 8,659,596      $24.63 $0.00     0.78% -0.15% 0.05%     0.00    1.30       0.49  -0.16%     0.94%                           0.01         0.77     44.55%
  5/15/17 6,936,757      $24.81 $0.00     0.73% 0.49% -0.56%     0.00    1.32       0.49   0.40%     0.33%                           0.01         0.27     78.61%
  5/16/17 8,663,935      $24.77 $0.00    -0.16% -0.05% -0.56%    0.00    1.36       0.47  -0.32%     0.16%                           0.01         0.13     89.42%
  5/17/17 9,125,637      $24.55 $0.00    -0.89% -1.79% -0.61%    0.00    1.29       0.46  -2.59%     1.70%                           0.01         1.43     15.54%
  5/18/17 7,472,561      $24.59 $0.00     0.16% 0.37% 0.96%      0.00    1.18       0.52   0.97%    -0.81%                           0.01        -0.68     49.48%
  5/19/17 10,497,668     $24.87 $0.00     1.14% 0.68% 0.41%      0.00    1.17       0.53   1.06%     0.08%                           0.01         0.07     94.56%
  5/22/17 7,275,321      $24.95 $0.00     0.32% 0.52% -0.25%     0.00    1.17       0.53   0.52%    -0.20%                           0.01        -0.17     86.31%
  5/23/17 7,264,082      $25.19 $0.00     0.96% 0.19% -0.02%     0.00    1.17       0.53   0.25%     0.71%                           0.01         0.61     54.45%
  5/24/17 5,120,307      $24.96 $0.00    -0.91% 0.25% -0.80%     0.00    1.17       0.52  -0.05%    -0.86%                           0.01        -0.74     46.00%
  5/25/17 5,796,190      $24.93 $0.00    -0.12% 0.46% 0.08%      0.00    1.14       0.48   0.63%    -0.75%                           0.01        -0.65     51.45%
  5/26/17 4,897,035      $24.80 $0.00    -0.52% 0.04% -0.20%     0.00    1.15       0.47   0.02%    -0.54%                           0.01        -0.47     64.17%
  5/30/17 7,544,912      $24.98 $0.00     0.73% -0.11% 1.50%     0.00    1.15       0.48   0.64%     0.09%                           0.01         0.08     93.92%
  5/31/17 11,658,968     $24.95 $0.00    -0.12% -0.03% 0.41%     0.00    1.14       0.48   0.20%    -0.32%                           0.01        -0.28     77.77%
   6/1/17 20,750,437     $25.87 $0.54     5.85% 0.77% 0.02%      0.00    1.16       0.52   0.96%     4.89%                           0.01         4.31      0.00% **
   6/2/17 9,154,104      $25.87 $0.00     0.00% 0.37% -0.27%     0.00    1.39       0.58   0.46%    -0.46%                           0.01        -0.38     70.80%
   6/5/17 7,532,570      $25.85 $0.00    -0.08% -0.12% -0.06%    0.00    1.39       0.57  -0.10%     0.03%                           0.01         0.02     98.23%
   6/6/17 8,653,785      $25.84 $0.00    -0.04% -0.28% 0.15%     0.00    1.41       0.57  -0.20%     0.16%                           0.01         0.14     89.19%
   6/7/17 6,632,403      $25.79 $0.00    -0.19% 0.18% -0.03%     0.00    1.41       0.61   0.35%    -0.54%                           0.01        -0.45     65.21%
   6/8/17 7,032,499      $25.98 $0.00     0.74% 0.03% -0.59%     0.00    1.38       0.60  -0.20%     0.94%                           0.01         0.78     43.42%
   6/9/17 10,329,524     $26.11 $0.00     0.50% -0.08% 0.94%     0.00    1.33       0.58   0.56%    -0.06%                           0.01        -0.05     95.76%
  6/12/17 10,001,215     $26.60 $0.00     1.88% -0.09% 0.97%     0.00    1.34       0.58   0.58%     1.30%                           0.01         1.09     27.93%
  6/13/17 10,276,780     $27.24 $0.00     2.41% 0.48% -1.40%     0.00    1.34       0.60  -0.06%     2.46%                           0.01         2.05      4.28% *
  6/14/17 10,311,725     $27.31 $0.00     0.26% -0.09% 0.34%     0.00    1.38       0.56   0.23%     0.03%                           0.01         0.03     97.97%
  6/15/17 11,894,006     $26.95 $0.00    -1.32% -0.21% 0.22%     0.00    1.40       0.58   0.01%    -1.33%                           0.01        -1.09     27.62%
  6/16/17 43,059,324     $25.72 $0.00    -4.56% 0.03% 0.07%      0.00    1.40       0.57   0.25%    -4.82%                           0.01        -3.96      0.01% **
  6/19/17 18,616,638     $25.36 $0.00    -1.40% 0.84% -0.76%     0.00    1.40       0.57   0.91%    -2.31%                           0.01        -1.89      6.12%
  6/20/17 21,075,049     $24.70 $0.00    -2.60% -0.67% -0.55%    0.00    1.40       0.57  -1.08%    -1.52%                           0.01        -1.24     21.66%
  6/21/17 14,707,254     $24.44 $0.00    -1.05% -0.05% -1.19%    0.00    1.45       0.59  -0.61%    -0.44%                           0.01        -0.36     72.26%
  6/22/17 10,092,164     $24.35 $0.00    -0.37% -0.04% -0.02%    0.00    1.47       0.59   0.07%    -0.43%                           0.01        -0.35     72.58%
  6/23/17 6,331,618      $24.41 $0.00     0.25% 0.16% -0.27%     0.00    1.48       0.60   0.22%     0.03%                           0.01         0.02     98.03%
  6/26/17 6,548,463      $24.55 $0.00     0.57% 0.03% 0.60%      0.00    1.46       0.59   0.55%     0.02%                           0.01         0.02     98.57%
  6/27/17 7,425,723      $24.56 $0.00     0.04% -0.81% -0.88%    0.00    1.26       0.46  -1.31%     1.35%                           0.01         1.17     24.40%
  6/28/17 10,785,646     $24.86 $0.00     1.22% 0.90% -0.19%     0.00    1.19       0.44   1.11%     0.11%                           0.01         0.09     92.65%
  6/29/17 8,324,969      $24.18 $0.00    -2.74% -0.86% -0.32%    0.00    1.20       0.44  -1.05%    -1.69%                           0.01        -1.45     14.92%
  6/30/17 8,531,499      $23.88 $0.00    -1.24% 0.16% 0.26%      0.00    1.27       0.44   0.42%    -1.66%                           0.01        -1.42     15.81%
   7/3/17 5,541,467      $23.97 $0.00     0.38% 0.24% 0.73%      0.00    1.26       0.43   0.71%    -0.33%                           0.01        -0.28     77.87%
   7/5/17 10,607,772     $23.74 $0.00    -0.96% 0.16% -0.46%     0.00    1.26       0.43   0.10%    -1.06%                           0.01        -0.90     37.22%
   7/6/17 8,895,865      $23.90 $0.00     0.67% -0.90% -0.53%    0.00    1.26       0.44  -1.28%     1.96%                           0.01         1.65     10.12%
   7/7/17 7,861,457      $23.60 $0.00    -1.26% 0.64% -0.77%     0.00    1.17       0.42   0.52%    -1.78%                           0.01        -1.49     14.01%
  7/10/17 4,660,831      $23.47 $0.00    -0.55% 0.09% -0.57%     0.00    1.13       0.44  -0.06%    -0.49%                           0.01        -0.41     68.42%
  7/11/17 6,023,054      $23.25 $0.00    -0.94% -0.08% -0.63%    0.00    1.14       0.44  -0.28%    -0.65%                           0.01        -0.54     58.92%
  7/12/17 14,884,782     $22.50 $0.00    -3.23% 0.74% 0.10%      0.00    1.14       0.44   0.96%    -4.19%                           0.01        -3.46      0.08% **

Notes:
[1] Trading day.
[2] Reported composite U.S. volume. Source: Bloomberg.
[3] Reported composite U.S. price. Source: Bloomberg.
[4] Dividend on ex-date. Source: Bloomberg.
[5] = {([3] + [4]) / [3] on previous trading day} - 1.
[6] Daily return for the S&P 500 Total Return Index. Source: Bloomberg.
[7] Daily industry return is the daily return for the S&P Composite 1500 Telecommunication Services Total Return Index (after removing CenturyLink's daily return
    based on its daily index weight from the index return). The Excess INDUSTRYt returns are used to account for industry-wide effects in the market model, after
    removing the effect of market returns. The formula for removing the effect of market returns from the industry return is {industry return – (intercept + beta *
    market return)}. The intercept (-0.0001) and beta (0.6775) are estimated by regressing daily industry returns on market returns over the period 9/4/2012 to
    7/12/2017.
[8] Intercept from a market model regression estimated over the prior 120 trading days.
[9] Coefficient for the market return from a market model regression estimated over the prior 120 trading days.
[10] Coefficient for the excess industry return from a market model regression estimated over the prior 120 trading days.




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                                                                      Appendix E
                                                          CenturyLink, Inc. Common Stock Data
   [1]         [2]        [3]       [4]        [5]      [6]           [7]        [8]         [9]       [10]       [11]       [12]         [13]     [14]     [15]
                                                                    Excess              Coefficient
                                                         Market Industry                             Excess Predicted Abnormal            Root
   Date       Volume      Price Dividend Return Return Return Intercept Market Industry Return                             Return        MSE t-statistic   p-Value
[11] = [8] + {[9] x [6]} + {[10] x [7]}.
[12] = [5] - [11].
[13] Root MSE of a market model estimated over the prior 120 trading days.
[14] = [12] / [13].
[15] Two-tailed p-value associated with the t-statistic in [14]. ** denotes p-value is less than or equal to 1% and * denotes p-value is less than
   or equal to 5%.




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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
     2/25/2013 Mon    9,308,552               ---                ---            ---
     2/26/2013 Tue    9,930,902               ---                ---            ---
     2/27/2013 Wed    8,644,229               ---                ---            ---
     2/28/2013 Thu    8,638,320               ---                ---            ---
      3/1/2013 Fri    6,545,795       43,067,798        625,822,780          6.9%
      3/4/2013 Mon    5,474,546               ---                ---            ---
      3/5/2013 Tue    5,383,057               ---                ---            ---
      3/6/2013 Wed    6,010,606               ---                ---            ---
      3/7/2013 Thu    7,543,741               ---                ---            ---
      3/8/2013 Fri    6,309,524       30,721,474        625,822,780          4.9%
     3/11/2013 Mon    7,968,952               ---                ---            ---
     3/12/2013 Tue    5,299,420               ---                ---            ---
     3/13/2013 Wed    3,320,152               ---                ---            ---
     3/14/2013 Thu    4,360,604               ---                ---            ---
     3/15/2013 Fri    8,856,862       29,805,990        625,822,780          4.8%
     3/18/2013 Mon    5,225,833               ---                ---            ---
     3/19/2013 Tue    4,380,525               ---                ---            ---
     3/20/2013 Wed   10,043,379               ---                ---            ---
     3/21/2013 Thu    5,477,392               ---                ---            ---
     3/22/2013 Fri    6,278,765       31,405,894        625,822,780          5.0%
     3/25/2013 Mon    4,910,880               ---                ---            ---
     3/26/2013 Tue    4,088,242               ---                ---            ---
     3/27/2013 Wed    3,570,542               ---                ---            ---
     3/28/2013 Thu    4,865,173       17,434,837        625,822,780          2.8%
      4/1/2013 Mon    4,201,694               ---                ---            ---
      4/2/2013 Tue    5,338,554               ---                ---            ---
      4/3/2013 Wed    6,475,866               ---                ---            ---
      4/4/2013 Thu    6,688,770               ---                ---            ---
      4/5/2013 Fri    4,075,107       26,779,991        615,564,000          4.4%
      4/8/2013 Mon    3,033,848               ---                ---            ---
      4/9/2013 Tue    3,452,652               ---                ---            ---
     4/10/2013 Wed    5,814,105               ---                ---            ---
     4/11/2013 Thu    4,436,164               ---                ---            ---
     4/12/2013 Fri    4,297,917       21,034,686        615,564,000          3.4%
     4/15/2013 Mon    5,090,312               ---                ---            ---
     4/16/2013 Tue    7,114,122               ---                ---            ---
     4/17/2013 Wed    3,996,064               ---                ---            ---
     4/18/2013 Thu    3,669,660               ---                ---            ---
     4/19/2013 Fri    4,072,343       23,942,501        615,564,000          3.9%
     4/22/2013 Mon    3,975,632               ---                ---            ---
     4/23/2013 Tue    4,056,604               ---                ---            ---
     4/24/2013 Wed   14,627,256               ---                ---            ---
     4/25/2013 Thu    5,142,827               ---                ---            ---
     4/26/2013 Fri    3,907,301       31,709,620        615,564,000          5.2%
     4/29/2013 Mon    3,681,299               ---                ---            ---
     4/30/2013 Tue    3,936,668               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
      5/1/2013 Wed    3,768,244               ---                ---            ---
      5/2/2013 Thu    4,073,012               ---                ---            ---
      5/3/2013 Fri    4,638,878       20,098,101        609,046,043          3.3%
      5/6/2013 Mon    3,274,569               ---                ---            ---
      5/7/2013 Tue    4,654,524               ---                ---            ---
      5/8/2013 Wed    7,440,484               ---                ---            ---
      5/9/2013 Thu    8,874,180               ---                ---            ---
     5/10/2013 Fri    4,113,664       28,357,421        609,046,043          4.7%
     5/13/2013 Mon    3,094,749               ---                ---            ---
     5/14/2013 Tue    3,954,905               ---                ---            ---
     5/15/2013 Wed    4,935,656               ---                ---            ---
     5/16/2013 Thu    5,488,264               ---                ---            ---
     5/17/2013 Fri    5,211,826       22,685,400        609,046,043          3.7%
     5/20/2013 Mon    3,629,909               ---                ---            ---
     5/21/2013 Tue    5,313,643               ---                ---            ---
     5/22/2013 Wed    5,604,768               ---                ---            ---
     5/23/2013 Thu   13,496,713               ---                ---            ---
     5/24/2013 Fri   11,070,804       39,115,837        609,046,043          6.4%
     5/28/2013 Tue   13,091,869               ---                ---            ---
     5/29/2013 Wed    8,728,778               ---                ---            ---
     5/30/2013 Thu    6,585,577               ---                ---            ---
     5/31/2013 Fri   12,839,955       41,246,179        609,046,043          6.8%
      6/3/2013 Mon    6,059,090               ---                ---            ---
      6/4/2013 Tue    6,115,357               ---                ---            ---
      6/5/2013 Wed    7,853,308               ---                ---            ---
      6/6/2013 Thu    5,079,912               ---                ---            ---
      6/7/2013 Fri    5,187,098       30,294,765        609,046,043          5.0%
     6/10/2013 Mon    3,194,525               ---                ---            ---
     6/11/2013 Tue    9,925,177               ---                ---            ---
     6/12/2013 Wed    4,738,218               ---                ---            ---
     6/13/2013 Thu    3,302,196               ---                ---            ---
     6/14/2013 Fri    4,272,929       25,433,045        609,046,043          4.2%
     6/17/2013 Mon    3,642,002               ---                ---            ---
     6/18/2013 Tue    2,884,387               ---                ---            ---
     6/19/2013 Wed    4,798,351               ---                ---            ---
     6/20/2013 Thu    6,233,174               ---                ---            ---
     6/21/2013 Fri    8,513,623       26,071,537        609,046,043          4.3%
     6/24/2013 Mon    5,296,647               ---                ---            ---
     6/25/2013 Tue    5,657,303               ---                ---            ---
     6/26/2013 Wed    3,820,848               ---                ---            ---
     6/27/2013 Thu    3,755,633               ---                ---            ---
     6/28/2013 Fri    4,649,488       23,179,919        609,046,043          3.8%
      7/1/2013 Mon    2,583,345               ---                ---            ---
      7/2/2013 Tue    4,076,082               ---                ---            ---
      7/3/2013 Wed    1,778,305               ---                ---            ---
      7/5/2013 Fri    1,952,476       10,390,208        604,209,000          1.7%


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
      7/8/2013 Mon    2,876,758               ---                ---            ---
      7/9/2013 Tue    2,869,190               ---                ---            ---
     7/10/2013 Wed    3,012,272               ---                ---            ---
     7/11/2013 Thu    2,819,280               ---                ---            ---
     7/12/2013 Fri    3,255,564       14,833,064        604,209,000          2.5%
     7/15/2013 Mon    3,642,826               ---                ---            ---
     7/16/2013 Tue    3,790,946               ---                ---            ---
     7/17/2013 Wed    3,505,092               ---                ---            ---
     7/18/2013 Thu    4,903,620               ---                ---            ---
     7/19/2013 Fri    3,644,991       19,487,475        604,209,000          3.2%
     7/22/2013 Mon    3,532,214               ---                ---            ---
     7/23/2013 Tue   13,298,269               ---                ---            ---
     7/24/2013 Wed    2,944,325               ---                ---            ---
     7/25/2013 Thu    3,214,116               ---                ---            ---
     7/26/2013 Fri    2,757,887       25,746,811        604,209,000          4.3%
     7/29/2013 Mon    2,519,767               ---                ---            ---
     7/30/2013 Tue    4,545,076               ---                ---            ---
     7/31/2013 Wed    4,625,270               ---                ---            ---
      8/1/2013 Thu    3,251,816               ---                ---            ---
      8/2/2013 Fri    3,140,465       18,082,394        600,675,937          3.0%
      8/5/2013 Mon    3,583,586               ---                ---            ---
      8/6/2013 Tue    3,197,999               ---                ---            ---
      8/7/2013 Wed    4,624,033               ---                ---            ---
      8/8/2013 Thu   16,527,825               ---                ---            ---
      8/9/2013 Fri    8,025,526       35,958,969        600,675,937          6.0%
     8/12/2013 Mon    4,550,973               ---                ---            ---
     8/13/2013 Tue    4,346,033               ---                ---            ---
     8/14/2013 Wed    4,280,600               ---                ---            ---
     8/15/2013 Thu    4,304,927               ---                ---            ---
     8/16/2013 Fri    5,853,782       23,336,315        600,675,937          3.9%
     8/19/2013 Mon    4,647,503               ---                ---            ---
     8/20/2013 Tue    3,407,718               ---                ---            ---
     8/21/2013 Wed    4,057,167               ---                ---            ---
     8/22/2013 Thu   22,122,025               ---                ---            ---
     8/23/2013 Fri   15,350,867       49,585,280        600,675,937          8.3%
     8/26/2013 Mon    3,356,395               ---                ---            ---
     8/27/2013 Tue    3,796,417               ---                ---            ---
     8/28/2013 Wed    2,789,114               ---                ---            ---
     8/29/2013 Thu    4,556,286               ---                ---            ---
     8/30/2013 Fri    5,665,680       20,163,892        600,675,937          3.4%
      9/3/2013 Tue    7,474,313               ---                ---            ---
      9/4/2013 Wed    7,055,655               ---                ---            ---
      9/5/2013 Thu    3,960,555               ---                ---            ---
      9/6/2013 Fri    6,892,358       25,382,881        600,675,937          4.2%
      9/9/2013 Mon    5,716,016               ---                ---            ---
     9/10/2013 Tue   14,418,742               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
     9/11/2013 Wed    3,411,141               ---                ---            ---
     9/12/2013 Thu    3,685,639               ---                ---            ---
     9/13/2013 Fri    2,966,766       30,198,304        600,675,937          5.0%
     9/16/2013 Mon    3,519,170               ---                ---            ---
     9/17/2013 Tue    2,456,657               ---                ---            ---
     9/18/2013 Wed    5,094,935               ---                ---            ---
     9/19/2013 Thu    3,666,097               ---                ---            ---
     9/20/2013 Fri    5,997,935       20,734,794        600,675,937          3.5%
     9/23/2013 Mon    3,655,468               ---                ---            ---
     9/24/2013 Tue    3,905,540               ---                ---            ---
     9/25/2013 Wed    3,563,460               ---                ---            ---
     9/26/2013 Thu    2,496,826               ---                ---            ---
     9/27/2013 Fri    3,471,455       17,092,749        600,675,937          2.8%
     9/30/2013 Mon    5,619,988               ---                ---            ---
     10/1/2013 Tue    5,556,554               ---                ---            ---
     10/2/2013 Wed    4,283,450               ---                ---            ---
     10/3/2013 Thu    4,214,069               ---                ---            ---
     10/4/2013 Fri    3,263,308       22,937,369        593,497,000          3.9%
     10/7/2013 Mon    3,576,159               ---                ---            ---
     10/8/2013 Tue    4,449,659               ---                ---            ---
     10/9/2013 Wed    7,853,078               ---                ---            ---
    10/10/2013 Thu    8,815,816               ---                ---            ---
    10/11/2013 Fri    4,051,609       28,746,321        593,497,000          4.8%
    10/14/2013 Mon    4,474,771               ---                ---            ---
    10/15/2013 Tue    3,875,693               ---                ---            ---
    10/16/2013 Wed    3,559,743               ---                ---            ---
    10/17/2013 Thu    3,572,553               ---                ---            ---
    10/18/2013 Fri    3,695,018       19,177,778        593,497,000          3.2%
    10/21/2013 Mon    3,656,342               ---                ---            ---
    10/22/2013 Tue    3,628,492               ---                ---            ---
    10/23/2013 Wed    3,397,083               ---                ---            ---
    10/24/2013 Thu    3,284,482               ---                ---            ---
    10/25/2013 Fri    3,589,224       17,555,623        593,497,000          3.0%
    10/28/2013 Mon    3,844,839               ---                ---            ---
    10/29/2013 Tue    4,926,083               ---                ---            ---
    10/30/2013 Wed    2,943,781               ---                ---            ---
    10/31/2013 Thu    4,128,752               ---                ---            ---
     11/1/2013 Fri    3,978,389       19,821,844        591,070,797          3.4%
     11/4/2013 Mon    3,476,054               ---                ---            ---
     11/5/2013 Tue    5,697,242               ---                ---            ---
     11/6/2013 Wed    4,634,868               ---                ---            ---
     11/7/2013 Thu   13,537,330               ---                ---            ---
     11/8/2013 Fri   10,077,843       37,423,337        591,070,797          6.3%
    11/11/2013 Mon    3,244,043               ---                ---            ---
    11/12/2013 Tue    5,193,576               ---                ---            ---
    11/13/2013 Wed    4,161,553               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
    11/14/2013 Thu    4,252,132               ---                ---            ---
    11/15/2013 Fri    3,779,806       20,631,110        591,070,797          3.5%
    11/18/2013 Mon    4,607,338               ---                ---            ---
    11/19/2013 Tue    4,567,618               ---                ---            ---
    11/20/2013 Wed    5,437,589               ---                ---            ---
    11/21/2013 Thu    5,369,796               ---                ---            ---
    11/22/2013 Fri    4,877,614       24,859,955        591,070,797          4.2%
    11/25/2013 Mon    5,265,951               ---                ---            ---
    11/26/2013 Tue    6,665,553               ---                ---            ---
    11/27/2013 Wed    4,176,527               ---                ---            ---
    11/29/2013 Fri    2,340,625       18,448,656        591,070,797          3.1%
     12/2/2013 Mon    5,119,533               ---                ---            ---
     12/3/2013 Tue    5,753,197               ---                ---            ---
     12/4/2013 Wed    6,800,435               ---                ---            ---
     12/5/2013 Thu    5,890,680               ---                ---            ---
     12/6/2013 Fri    5,759,019       29,322,864        591,070,797          5.0%
     12/9/2013 Mon    5,799,462               ---                ---            ---
    12/10/2013 Tue    6,332,872               ---                ---            ---
    12/11/2013 Wed    7,108,730               ---                ---            ---
    12/12/2013 Thu    5,381,300               ---                ---            ---
    12/13/2013 Fri    6,050,410       30,672,774        591,070,797          5.2%
    12/16/2013 Mon    5,267,531               ---                ---            ---
    12/17/2013 Tue    6,368,693               ---                ---            ---
    12/18/2013 Wed    7,107,339               ---                ---            ---
    12/19/2013 Thu   13,236,801               ---                ---            ---
    12/20/2013 Fri    9,155,762       41,136,126        591,070,797          7.0%
    12/23/2013 Mon    5,691,073               ---                ---            ---
    12/24/2013 Tue    2,965,928               ---                ---            ---
    12/26/2013 Thu    3,547,160               ---                ---            ---
    12/27/2013 Fri    3,690,852       15,895,013        591,070,797          2.7%
    12/30/2013 Mon    4,185,689               ---                ---            ---
    12/31/2013 Tue    5,122,758               ---                ---            ---
      1/2/2014 Thu    4,446,283               ---                ---            ---
      1/3/2014 Fri    2,137,339       15,892,069        583,637,000          2.7%
      1/6/2014 Mon    2,925,125               ---                ---            ---
      1/7/2014 Tue    5,040,813               ---                ---            ---
      1/8/2014 Wed    4,356,803               ---                ---            ---
      1/9/2014 Thu    4,052,169               ---                ---            ---
     1/10/2014 Fri    3,666,234       20,041,144        583,637,000          3.4%
     1/13/2014 Mon    4,951,794               ---                ---            ---
     1/14/2014 Tue    5,584,896               ---                ---            ---
     1/15/2014 Wed   11,731,354               ---                ---            ---
     1/16/2014 Thu    4,404,416               ---                ---            ---
     1/17/2014 Fri    6,213,716       32,886,176        583,637,000          5.6%
     1/21/2014 Tue    6,060,770               ---                ---            ---
     1/22/2014 Wed    4,476,142               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
     1/23/2014 Thu    6,166,990               ---                ---            ---
     1/24/2014 Fri    6,080,409       22,784,311        583,637,000          3.9%
     1/27/2014 Mon    7,468,250               ---                ---            ---
     1/28/2014 Tue    6,378,807               ---                ---            ---
     1/29/2014 Wed    7,570,471               ---                ---            ---
     1/30/2014 Thu    7,070,543               ---                ---            ---
     1/31/2014 Fri    6,519,118       35,007,189        583,637,000          6.0%
      2/3/2014 Mon    6,612,993               ---                ---            ---
      2/4/2014 Tue    5,374,941               ---                ---            ---
      2/5/2014 Wed    4,115,641               ---                ---            ---
      2/6/2014 Thu    8,104,686               ---                ---            ---
      2/7/2014 Fri    4,059,261       28,267,522        583,637,000          4.8%
     2/10/2014 Mon    4,284,328               ---                ---            ---
     2/11/2014 Tue    8,416,882               ---                ---            ---
     2/12/2014 Wed    8,307,185               ---                ---            ---
     2/13/2014 Thu   12,193,083               ---                ---            ---
     2/14/2014 Fri    6,944,649       40,146,127        583,637,000          6.9%
     2/18/2014 Tue    5,995,099               ---                ---            ---
     2/19/2014 Wed    4,886,465               ---                ---            ---
     2/20/2014 Thu    3,587,917               ---                ---            ---
     2/21/2014 Fri    6,094,501       20,563,982        577,955,329          3.6%
     2/24/2014 Mon    4,717,215               ---                ---            ---
     2/25/2014 Tue    5,218,198               ---                ---            ---
     2/26/2014 Wed    5,624,604               ---                ---            ---
     2/27/2014 Thu    6,072,859               ---                ---            ---
     2/28/2014 Fri    5,197,792       26,830,668        577,955,329          4.6%
      3/3/2014 Mon    5,041,610               ---                ---            ---
      3/4/2014 Tue    4,637,747               ---                ---            ---
      3/5/2014 Wed   10,214,777               ---                ---            ---
      3/6/2014 Thu    6,461,975               ---                ---            ---
      3/7/2014 Fri    4,463,090       30,819,199        577,955,329          5.3%
     3/10/2014 Mon    4,681,172               ---                ---            ---
     3/11/2014 Tue    4,331,872               ---                ---            ---
     3/12/2014 Wed    3,206,400               ---                ---            ---
     3/13/2014 Thu    3,516,550               ---                ---            ---
     3/14/2014 Fri    4,715,718       20,451,712        577,955,329          3.5%
     3/17/2014 Mon    3,353,245               ---                ---            ---
     3/18/2014 Tue    4,314,222               ---                ---            ---
     3/19/2014 Wed    5,326,396               ---                ---            ---
     3/20/2014 Thu    5,199,373               ---                ---            ---
     3/21/2014 Fri   10,315,935       28,509,171        577,955,329          4.9%
     3/24/2014 Mon    5,063,542               ---                ---            ---
     3/25/2014 Tue    4,344,756               ---                ---            ---
     3/26/2014 Wed    7,412,896               ---                ---            ---
     3/27/2014 Thu    5,043,274               ---                ---            ---
     3/28/2014 Fri    4,094,012       25,958,480        577,955,329          4.5%


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
     3/31/2014 Mon    5,962,182               ---                ---            ---
      4/1/2014 Tue    6,720,547               ---                ---            ---
      4/2/2014 Wed    4,334,427               ---                ---            ---
      4/3/2014 Thu    5,926,083               ---                ---            ---
      4/4/2014 Fri    5,022,768       27,966,007        575,113,000          4.9%
      4/7/2014 Mon    4,694,698               ---                ---            ---
      4/8/2014 Tue    4,382,875               ---                ---            ---
      4/9/2014 Wed    7,824,025               ---                ---            ---
     4/10/2014 Thu    5,103,068               ---                ---            ---
     4/11/2014 Fri    4,443,069       26,447,735        575,113,000          4.6%
     4/14/2014 Mon    5,027,993               ---                ---            ---
     4/15/2014 Tue    5,488,825               ---                ---            ---
     4/16/2014 Wed    4,915,918               ---                ---            ---
     4/17/2014 Thu    4,831,992       20,264,728        575,113,000          3.5%
     4/21/2014 Mon    2,181,744               ---                ---            ---
     4/22/2014 Tue    3,171,599               ---                ---            ---
     4/23/2014 Wed    5,545,716               ---                ---            ---
     4/24/2014 Thu    4,216,363               ---                ---            ---
     4/25/2014 Fri    3,758,085       18,873,507        575,113,000          3.3%
     4/28/2014 Mon    4,895,210               ---                ---            ---
     4/29/2014 Tue    3,407,922               ---                ---            ---
     4/30/2014 Wed    3,440,614               ---                ---            ---
      5/1/2014 Thu    2,702,517               ---                ---            ---
      5/2/2014 Fri    3,654,508       18,100,771        572,747,122          3.2%
      5/5/2014 Mon    3,302,088               ---                ---            ---
      5/6/2014 Tue    4,692,085               ---                ---            ---
      5/7/2014 Wed    6,623,396               ---                ---            ---
      5/8/2014 Thu   21,617,627               ---                ---            ---
      5/9/2014 Fri    7,794,610       44,029,806        572,747,122          7.7%
     5/12/2014 Mon    5,464,724               ---                ---            ---
     5/13/2014 Tue    6,557,744               ---                ---            ---
     5/14/2014 Wed    7,681,031               ---                ---            ---
     5/15/2014 Thu    8,250,336               ---                ---            ---
     5/16/2014 Fri    4,521,544       32,475,379        572,747,122          5.7%
     5/19/2014 Mon    7,759,823               ---                ---            ---
     5/20/2014 Tue    5,862,582               ---                ---            ---
     5/21/2014 Wed    5,438,413               ---                ---            ---
     5/22/2014 Thu    5,594,294               ---                ---            ---
     5/23/2014 Fri    3,384,959       28,040,071        572,747,122          4.9%
     5/27/2014 Tue    3,685,572               ---                ---            ---
     5/28/2014 Wed    4,083,051               ---                ---            ---
     5/29/2014 Thu    4,049,970               ---                ---            ---
     5/30/2014 Fri    3,946,026       15,764,619        572,747,122          2.8%
      6/2/2014 Mon    2,658,269               ---                ---            ---
      6/3/2014 Tue    4,630,207               ---                ---            ---
      6/4/2014 Wed    3,978,489               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
      6/5/2014 Thu    5,007,248               ---                ---            ---
      6/6/2014 Fri    3,785,554       20,059,767        572,747,122          3.5%
      6/9/2014 Mon    3,488,328               ---                ---            ---
     6/10/2014 Tue    3,444,107               ---                ---            ---
     6/11/2014 Wed    3,854,123               ---                ---            ---
     6/12/2014 Thu    2,960,166               ---                ---            ---
     6/13/2014 Fri    3,458,077       17,204,801        572,747,122          3.0%
     6/16/2014 Mon    2,710,018               ---                ---            ---
     6/17/2014 Tue    3,192,739               ---                ---            ---
     6/18/2014 Wed    2,257,863               ---                ---            ---
     6/19/2014 Thu    2,700,975               ---                ---            ---
     6/20/2014 Fri    5,038,562       15,900,157        572,747,122          2.8%
     6/23/2014 Mon    2,348,210               ---                ---            ---
     6/24/2014 Tue    2,644,880               ---                ---            ---
     6/25/2014 Wed    3,883,852               ---                ---            ---
     6/26/2014 Thu    2,913,857               ---                ---            ---
     6/27/2014 Fri    4,245,253       16,036,052        572,747,122          2.8%
     6/30/2014 Mon    2,820,478               ---                ---            ---
      7/1/2014 Tue    2,351,079               ---                ---            ---
      7/2/2014 Wed    4,105,462               ---                ---            ---
      7/3/2014 Thu    2,071,595       11,348,614        571,344,000          2.0%
      7/7/2014 Mon    2,077,144               ---                ---            ---
      7/8/2014 Tue    3,767,060               ---                ---            ---
      7/9/2014 Wed    4,921,591               ---                ---            ---
     7/10/2014 Thu    3,474,103               ---                ---            ---
     7/11/2014 Fri    1,672,723       15,912,621        571,344,000          2.8%
     7/14/2014 Mon    2,284,000               ---                ---            ---
     7/15/2014 Tue    4,163,555               ---                ---            ---
     7/16/2014 Wed    4,220,308               ---                ---            ---
     7/17/2014 Thu    1,906,272               ---                ---            ---
     7/18/2014 Fri    2,058,629       14,632,764        571,344,000          2.6%
     7/21/2014 Mon    3,000,413               ---                ---            ---
     7/22/2014 Tue    2,846,177               ---                ---            ---
     7/23/2014 Wed    3,176,761               ---                ---            ---
     7/24/2014 Thu    2,263,214               ---                ---            ---
     7/25/2014 Fri    2,122,589       13,409,154        571,344,000          2.3%
     7/28/2014 Mon    3,858,663               ---                ---            ---
     7/29/2014 Tue   51,803,366               ---                ---            ---
     7/30/2014 Wed    8,045,896               ---                ---            ---
     7/31/2014 Thu    8,057,352               ---                ---            ---
      8/1/2014 Fri    4,679,242       76,444,519        570,164,804         13.4%
      8/4/2014 Mon    3,985,921               ---                ---            ---
      8/5/2014 Tue    3,797,639               ---                ---            ---
      8/6/2014 Wed    3,467,618               ---                ---            ---
      8/7/2014 Thu    4,882,082               ---                ---            ---
      8/8/2014 Fri    5,045,437       21,178,697        570,164,804          3.7%


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]              [3]                [4]              [5]
                      Daily          Weekly              Shares            Weekly
         Date        Volume          Volume            Outstanding        Turnover
     8/11/2014 Mon   5,237,163               ---                ---            ---
     8/12/2014 Tue   5,161,187               ---                ---            ---
     8/13/2014 Wed   5,806,201               ---                ---            ---
     8/14/2014 Thu   3,504,532               ---                ---            ---
     8/15/2014 Fri   3,481,143       23,190,226        570,164,804          4.1%
     8/18/2014 Mon   2,704,021               ---                ---            ---
     8/19/2014 Tue   2,027,596               ---                ---            ---
     8/20/2014 Wed   3,056,329               ---                ---            ---
     8/21/2014 Thu   3,367,515               ---                ---            ---
     8/22/2014 Fri   1,860,889       13,016,350        570,164,804          2.3%
     8/25/2014 Mon   3,472,700               ---                ---            ---
     8/26/2014 Tue   2,574,155               ---                ---            ---
     8/27/2014 Wed   2,306,702               ---                ---            ---
     8/28/2014 Thu   2,738,159               ---                ---            ---
     8/29/2014 Fri   2,500,622       13,592,338        570,164,804          2.4%
      9/2/2014 Tue   3,422,613               ---                ---            ---
      9/3/2014 Wed   2,855,259               ---                ---            ---
      9/4/2014 Thu   3,624,736               ---                ---            ---
      9/5/2014 Fri   3,061,319       12,963,927        570,164,804          2.3%
      9/8/2014 Mon   7,919,078               ---                ---            ---
      9/9/2014 Tue   6,052,736               ---                ---            ---
     9/10/2014 Wed   3,905,173               ---                ---            ---
     9/11/2014 Thu   5,115,581               ---                ---            ---
     9/12/2014 Fri   5,540,258       28,532,826        570,164,804          5.0%
     9/15/2014 Mon   3,200,475               ---                ---            ---
     9/16/2014 Tue   4,007,351               ---                ---            ---
     9/17/2014 Wed   4,773,923               ---                ---            ---
     9/18/2014 Thu   2,372,517               ---                ---            ---
     9/19/2014 Fri   3,482,965       17,837,231        570,164,804          3.1%
     9/22/2014 Mon   2,778,036               ---                ---            ---
     9/23/2014 Tue   2,646,435               ---                ---            ---
     9/24/2014 Wed   3,452,837               ---                ---            ---
     9/25/2014 Thu   2,857,294               ---                ---            ---
     9/26/2014 Fri   2,785,176       14,519,778        570,164,804          2.5%
     9/29/2014 Mon   3,763,075               ---                ---            ---
     9/30/2014 Tue   3,303,817               ---                ---            ---
     10/1/2014 Wed   2,943,935               ---                ---            ---
     10/2/2014 Thu   2,542,464               ---                ---            ---
     10/3/2014 Fri   2,497,727       15,051,018        570,678,000          2.6%
     10/6/2014 Mon   3,092,155               ---                ---            ---
     10/7/2014 Tue   2,993,803               ---                ---            ---
     10/8/2014 Wed   3,066,336               ---                ---            ---
     10/9/2014 Thu   3,002,769               ---                ---            ---
    10/10/2014 Fri   3,339,596       15,494,659        570,678,000          2.7%
    10/13/2014 Mon   4,048,675               ---                ---            ---
    10/14/2014 Tue   3,825,142               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]              [3]                [4]              [5]
                      Daily          Weekly              Shares            Weekly
         Date        Volume          Volume            Outstanding        Turnover
    10/15/2014 Wed   4,023,846               ---                ---            ---
    10/16/2014 Thu   4,020,397               ---                ---            ---
    10/17/2014 Fri   3,894,947       19,813,007        570,678,000          3.5%
    10/20/2014 Mon   2,033,907               ---                ---            ---
    10/21/2014 Tue   2,490,502               ---                ---            ---
    10/22/2014 Wed   2,118,129               ---                ---            ---
    10/23/2014 Thu   2,035,652               ---                ---            ---
    10/24/2014 Fri   2,660,126       11,338,316        570,678,000          2.0%
    10/27/2014 Mon   2,150,164               ---                ---            ---
    10/28/2014 Tue   1,930,936               ---                ---            ---
    10/29/2014 Wed   1,918,300               ---                ---            ---
    10/30/2014 Thu   1,933,926               ---                ---            ---
    10/31/2014 Fri   3,770,735       11,704,061        570,705,291          2.1%
     11/3/2014 Mon   2,222,062               ---                ---            ---
     11/4/2014 Tue   1,894,544               ---                ---            ---
     11/5/2014 Wed   2,699,032               ---                ---            ---
     11/6/2014 Thu   8,155,493               ---                ---            ---
     11/7/2014 Fri   6,073,176       21,044,307        570,705,291          3.7%
    11/10/2014 Mon   3,590,710               ---                ---            ---
    11/11/2014 Tue   2,487,437               ---                ---            ---
    11/12/2014 Wed   3,113,603               ---                ---            ---
    11/13/2014 Thu   2,607,747               ---                ---            ---
    11/14/2014 Fri   2,203,142       14,002,639        570,705,291          2.5%
    11/17/2014 Mon   2,548,045               ---                ---            ---
    11/18/2014 Tue   2,211,575               ---                ---            ---
    11/19/2014 Wed   2,649,839               ---                ---            ---
    11/20/2014 Thu   2,756,297               ---                ---            ---
    11/21/2014 Fri   3,902,001       14,067,757        570,705,291          2.5%
    11/24/2014 Mon   2,767,932               ---                ---            ---
    11/25/2014 Tue   4,870,020               ---                ---            ---
    11/26/2014 Wed   2,565,847               ---                ---            ---
    11/28/2014 Fri   1,337,844       11,541,643        570,705,291          2.0%
     12/1/2014 Mon   3,648,241               ---                ---            ---
     12/2/2014 Tue   4,086,908               ---                ---            ---
     12/3/2014 Wed   4,758,746               ---                ---            ---
     12/4/2014 Thu   3,527,638               ---                ---            ---
     12/5/2014 Fri   3,106,620       19,128,153        570,705,291          3.4%
     12/8/2014 Mon   2,721,614               ---                ---            ---
     12/9/2014 Tue   3,224,288               ---                ---            ---
    12/10/2014 Wed   2,901,101               ---                ---            ---
    12/11/2014 Thu   2,042,830               ---                ---            ---
    12/12/2014 Fri   3,533,777       14,423,610        570,705,291          2.5%
    12/15/2014 Mon   3,685,440               ---                ---            ---
    12/16/2014 Tue   3,856,590               ---                ---            ---
    12/17/2014 Wed   2,894,587               ---                ---            ---
    12/18/2014 Thu   3,127,366               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
    12/19/2014 Fri    4,133,051       17,697,034        570,705,291          3.1%
    12/22/2014 Mon    2,419,168               ---                ---            ---
    12/23/2014 Tue    1,615,878               ---                ---            ---
    12/24/2014 Wed      887,602               ---                ---            ---
    12/26/2014 Fri    1,377,826        6,300,474        570,705,291          1.1%
    12/29/2014 Mon    2,047,890               ---                ---            ---
    12/30/2014 Tue    1,870,680               ---                ---            ---
    12/31/2014 Wed    1,695,636               ---                ---            ---
      1/2/2015 Fri    2,203,929        7,818,135        568,517,000          1.4%
      1/5/2015 Mon    3,036,874               ---                ---            ---
      1/6/2015 Tue    4,186,158               ---                ---            ---
      1/7/2015 Wed    3,642,759               ---                ---            ---
      1/8/2015 Thu    2,882,255               ---                ---            ---
      1/9/2015 Fri    2,180,248       15,928,294        568,517,000          2.8%
     1/12/2015 Mon    2,586,849               ---                ---            ---
     1/13/2015 Tue    3,282,626               ---                ---            ---
     1/14/2015 Wed    2,607,390               ---                ---            ---
     1/15/2015 Thu    3,149,255               ---                ---            ---
     1/16/2015 Fri    4,558,435       16,184,555        568,517,000          2.8%
     1/20/2015 Tue    2,498,302               ---                ---            ---
     1/21/2015 Wed    3,483,161               ---                ---            ---
     1/22/2015 Thu    3,538,262               ---                ---            ---
     1/23/2015 Fri    2,984,939       12,504,664        568,517,000          2.2%
     1/26/2015 Mon    2,556,616               ---                ---            ---
     1/27/2015 Tue    3,018,176               ---                ---            ---
     1/28/2015 Wed    2,758,673               ---                ---            ---
     1/29/2015 Thu    5,231,057               ---                ---            ---
     1/30/2015 Fri    7,269,765       20,834,287        568,517,000          3.7%
      2/2/2015 Mon    4,684,915               ---                ---            ---
      2/3/2015 Tue    5,637,870               ---                ---            ---
      2/4/2015 Wed    3,856,682               ---                ---            ---
      2/5/2015 Thu    5,445,432               ---                ---            ---
      2/6/2015 Fri    3,626,682       23,251,581        568,517,000          4.1%
      2/9/2015 Mon   11,608,076               ---                ---            ---
     2/10/2015 Tue    5,651,826               ---                ---            ---
     2/11/2015 Wed    5,111,313               ---                ---            ---
     2/12/2015 Thu   12,709,861               ---                ---            ---
     2/13/2015 Fri    4,680,862       39,761,938        568,517,000          7.0%
     2/17/2015 Tue    4,018,714               ---                ---            ---
     2/18/2015 Wed   10,148,625               ---                ---            ---
     2/19/2015 Thu    4,837,612               ---                ---            ---
     2/20/2015 Fri    6,748,371       25,753,322        566,483,129          4.5%
     2/23/2015 Mon    4,678,707               ---                ---            ---
     2/24/2015 Tue    3,960,731               ---                ---            ---
     2/25/2015 Wed    3,045,561               ---                ---            ---
     2/26/2015 Thu    4,527,963               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]              [3]                [4]              [5]
                      Daily          Weekly              Shares            Weekly
         Date        Volume          Volume            Outstanding        Turnover
     2/27/2015 Fri   4,971,031       21,183,993        566,483,129          3.7%
      3/2/2015 Mon   4,453,160               ---                ---            ---
      3/3/2015 Tue   3,602,311               ---                ---            ---
      3/4/2015 Wed   6,490,233               ---                ---            ---
      3/5/2015 Thu   4,595,649               ---                ---            ---
      3/6/2015 Fri   3,920,300       23,061,653        566,483,129          4.1%
      3/9/2015 Mon   3,639,731               ---                ---            ---
     3/10/2015 Tue   3,482,898               ---                ---            ---
     3/11/2015 Wed   3,019,831               ---                ---            ---
     3/12/2015 Thu   4,003,351               ---                ---            ---
     3/13/2015 Fri   7,162,632       21,308,443        566,483,129          3.8%
     3/16/2015 Mon   5,760,632               ---                ---            ---
     3/17/2015 Tue   6,148,021               ---                ---            ---
     3/18/2015 Wed   7,454,842               ---                ---            ---
     3/19/2015 Thu   3,239,140               ---                ---            ---
     3/20/2015 Fri   9,318,013       31,920,648        566,483,129          5.6%
     3/23/2015 Mon   5,637,183               ---                ---            ---
     3/24/2015 Tue   3,342,190               ---                ---            ---
     3/25/2015 Wed   2,830,852               ---                ---            ---
     3/26/2015 Thu   4,242,063               ---                ---            ---
     3/27/2015 Fri   3,463,433       19,515,721        566,483,129          3.4%
     3/30/2015 Mon   4,788,006               ---                ---            ---
     3/31/2015 Tue   6,882,939               ---                ---            ---
      4/1/2015 Wed   8,262,141               ---                ---            ---
      4/2/2015 Thu   3,660,458       23,593,544        565,530,000          4.2%
      4/6/2015 Mon   3,339,699               ---                ---            ---
      4/7/2015 Tue   2,367,259               ---                ---            ---
      4/8/2015 Wed   3,214,111               ---                ---            ---
      4/9/2015 Thu   2,593,883               ---                ---            ---
     4/10/2015 Fri   2,779,706       14,294,658        565,530,000          2.5%
     4/13/2015 Mon   1,819,545               ---                ---            ---
     4/14/2015 Tue   2,081,951               ---                ---            ---
     4/15/2015 Wed   4,197,279               ---                ---            ---
     4/16/2015 Thu   4,617,211               ---                ---            ---
     4/17/2015 Fri   3,851,620       16,567,606        565,530,000          2.9%
     4/20/2015 Mon   2,640,006               ---                ---            ---
     4/21/2015 Tue   5,934,759               ---                ---            ---
     4/22/2015 Wed   3,602,493               ---                ---            ---
     4/23/2015 Thu   3,093,413               ---                ---            ---
     4/24/2015 Fri   2,542,099       17,812,770        565,530,000          3.1%
     4/27/2015 Mon   3,908,251               ---                ---            ---
     4/28/2015 Tue   3,517,736               ---                ---            ---
     4/29/2015 Wed   2,965,257               ---                ---            ---
     4/30/2015 Thu   4,176,729               ---                ---            ---
      5/1/2015 Fri   2,471,710       17,039,683        563,749,179          3.0%
      5/4/2015 Mon   2,613,384               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
      5/5/2015 Tue    3,976,129               ---                ---            ---
      5/6/2015 Wed    9,386,969               ---                ---            ---
      5/7/2015 Thu    3,863,268               ---                ---            ---
      5/8/2015 Fri    3,481,238       23,320,988        563,749,179          4.1%
     5/11/2015 Mon    4,344,684               ---                ---            ---
     5/12/2015 Tue    4,783,766               ---                ---            ---
     5/13/2015 Wed    5,368,066               ---                ---            ---
     5/14/2015 Thu    2,715,694               ---                ---            ---
     5/15/2015 Fri    2,711,912       19,924,122        563,749,179          3.5%
     5/18/2015 Mon    2,817,213               ---                ---            ---
     5/19/2015 Tue    5,358,563               ---                ---            ---
     5/20/2015 Wed    4,611,412               ---                ---            ---
     5/21/2015 Thu    4,288,353               ---                ---            ---
     5/22/2015 Fri    4,925,861       22,001,402        563,749,179          3.9%
     5/26/2015 Tue    4,141,901               ---                ---            ---
     5/27/2015 Wed    3,260,169               ---                ---            ---
     5/28/2015 Thu    3,972,262               ---                ---            ---
     5/29/2015 Fri    5,441,963       16,816,295        563,749,179          3.0%
      6/1/2015 Mon    4,816,788               ---                ---            ---
      6/2/2015 Tue    4,601,140               ---                ---            ---
      6/3/2015 Wed    4,347,221               ---                ---            ---
      6/4/2015 Thu    4,776,906               ---                ---            ---
      6/5/2015 Fri    3,876,891       22,418,946        563,749,179          4.0%
      6/8/2015 Mon    3,782,990               ---                ---            ---
      6/9/2015 Tue    3,086,660               ---                ---            ---
     6/10/2015 Wed    3,191,806               ---                ---            ---
     6/11/2015 Thu    3,713,250               ---                ---            ---
     6/12/2015 Fri    3,084,436       16,859,142        563,749,179          3.0%
     6/15/2015 Mon    2,984,948               ---                ---            ---
     6/16/2015 Tue    3,404,984               ---                ---            ---
     6/17/2015 Wed    3,219,182               ---                ---            ---
     6/18/2015 Thu    3,734,092               ---                ---            ---
     6/19/2015 Fri    4,133,694       17,476,900        563,749,179          3.1%
     6/22/2015 Mon    3,486,763               ---                ---            ---
     6/23/2015 Tue    5,070,518               ---                ---            ---
     6/24/2015 Wed   11,369,663               ---                ---            ---
     6/25/2015 Thu   16,783,618               ---                ---            ---
     6/26/2015 Fri   15,536,278       52,246,840        563,749,179          9.3%
     6/29/2015 Mon    6,761,620               ---                ---            ---
     6/30/2015 Tue    5,479,010               ---                ---            ---
      7/1/2015 Wed    4,763,077               ---                ---            ---
      7/2/2015 Thu    3,657,952       20,661,659        562,999,000          3.7%
      7/6/2015 Mon    4,921,684               ---                ---            ---
      7/7/2015 Tue    4,530,105               ---                ---            ---
      7/8/2015 Wed    6,600,843               ---                ---            ---
      7/9/2015 Thu    4,324,932               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
     7/10/2015 Fri    3,685,707       24,063,271        562,999,000          4.3%
     7/13/2015 Mon    3,926,853               ---                ---            ---
     7/14/2015 Tue    4,625,674               ---                ---            ---
     7/15/2015 Wed    5,574,729               ---                ---            ---
     7/16/2015 Thu    5,894,343               ---                ---            ---
     7/17/2015 Fri    9,012,500       29,034,099        562,999,000          5.2%
     7/20/2015 Mon    5,489,999               ---                ---            ---
     7/21/2015 Tue    4,644,316               ---                ---            ---
     7/22/2015 Wed    4,721,124               ---                ---            ---
     7/23/2015 Thu    5,870,222               ---                ---            ---
     7/24/2015 Fri    6,520,639       27,246,300        562,999,000          4.8%
     7/27/2015 Mon    5,833,184               ---                ---            ---
     7/28/2015 Tue    4,480,178               ---                ---            ---
     7/29/2015 Wed    6,479,041               ---                ---            ---
     7/30/2015 Thu    5,565,390               ---                ---            ---
     7/31/2015 Fri    6,924,981       29,282,774        562,985,838          5.2%
      8/3/2015 Mon    6,371,921               ---                ---            ---
      8/4/2015 Tue    5,086,260               ---                ---            ---
      8/5/2015 Wed    5,688,886               ---                ---            ---
      8/6/2015 Thu   13,508,550               ---                ---            ---
      8/7/2015 Fri    7,704,879       38,360,496        562,985,838          6.8%
     8/10/2015 Mon    5,873,043               ---                ---            ---
     8/11/2015 Tue    4,552,756               ---                ---            ---
     8/12/2015 Wed    5,320,177               ---                ---            ---
     8/13/2015 Thu    5,846,258               ---                ---            ---
     8/14/2015 Fri    3,816,293       25,408,527        562,985,838          4.5%
     8/17/2015 Mon    3,293,200               ---                ---            ---
     8/18/2015 Tue    4,753,409               ---                ---            ---
     8/19/2015 Wed    3,766,344               ---                ---            ---
     8/20/2015 Thu    3,760,743               ---                ---            ---
     8/21/2015 Fri    5,755,065       21,328,761        562,985,838          3.8%
     8/24/2015 Mon   10,127,938               ---                ---            ---
     8/25/2015 Tue    7,079,980               ---                ---            ---
     8/26/2015 Wed    8,906,206               ---                ---            ---
     8/27/2015 Thu    7,642,378               ---                ---            ---
     8/28/2015 Fri    4,785,218       38,541,720        562,985,838          6.8%
     8/31/2015 Mon    5,508,933               ---                ---            ---
      9/1/2015 Tue    6,195,489               ---                ---            ---
      9/2/2015 Wed   10,175,406               ---                ---            ---
      9/3/2015 Thu    5,027,407               ---                ---            ---
      9/4/2015 Fri    5,944,914       32,852,149        562,985,838          5.8%
      9/8/2015 Tue    9,591,788               ---                ---            ---
      9/9/2015 Wed    5,811,184               ---                ---            ---
     9/10/2015 Thu    7,831,290               ---                ---            ---
     9/11/2015 Fri    6,059,335       29,293,597        562,985,838          5.2%
     9/14/2015 Mon    3,701,220               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]              [3]                [4]              [5]
                      Daily          Weekly              Shares            Weekly
         Date        Volume          Volume            Outstanding        Turnover
     9/15/2015 Tue   5,446,677               ---                ---            ---
     9/16/2015 Wed   4,934,663               ---                ---            ---
     9/17/2015 Thu   5,639,564               ---                ---            ---
     9/18/2015 Fri   8,333,746       28,055,870        562,985,838          5.0%
     9/21/2015 Mon   4,148,755               ---                ---            ---
     9/22/2015 Tue   5,241,863               ---                ---            ---
     9/23/2015 Wed   4,049,395               ---                ---            ---
     9/24/2015 Thu   6,792,079               ---                ---            ---
     9/25/2015 Fri   5,740,636       25,972,728        562,985,838          4.6%
     9/28/2015 Mon   6,898,404               ---                ---            ---
     9/29/2015 Tue   5,279,938               ---                ---            ---
     9/30/2015 Wed   5,522,854               ---                ---            ---
     10/1/2015 Thu   4,458,221               ---                ---            ---
     10/2/2015 Fri   4,971,312       27,130,729        554,090,000          4.9%
     10/5/2015 Mon   4,026,633               ---                ---            ---
     10/6/2015 Tue   5,358,222               ---                ---            ---
     10/7/2015 Wed   3,938,851               ---                ---            ---
     10/8/2015 Thu   3,675,315               ---                ---            ---
     10/9/2015 Fri   5,020,656       22,019,677        554,090,000          4.0%
    10/12/2015 Mon   3,541,776               ---                ---            ---
    10/13/2015 Tue   3,339,504               ---                ---            ---
    10/14/2015 Wed   3,472,320               ---                ---            ---
    10/15/2015 Thu   4,160,844               ---                ---            ---
    10/16/2015 Fri   4,096,342       18,610,786        554,090,000          3.4%
    10/19/2015 Mon   4,432,493               ---                ---            ---
    10/20/2015 Tue   2,694,768               ---                ---            ---
    10/21/2015 Wed   3,069,854               ---                ---            ---
    10/22/2015 Thu   4,140,675               ---                ---            ---
    10/23/2015 Fri   3,547,696       17,885,486        554,090,000          3.2%
    10/26/2015 Mon   4,220,261               ---                ---            ---
    10/27/2015 Tue   3,632,853               ---                ---            ---
    10/28/2015 Wed   3,089,091               ---                ---            ---
    10/29/2015 Thu   3,035,016               ---                ---            ---
    10/30/2015 Fri   3,720,764       17,697,985        549,004,205          3.2%
     11/2/2015 Mon   4,808,394               ---                ---            ---
     11/3/2015 Tue   4,474,698               ---                ---            ---
     11/4/2015 Wed   6,207,471               ---                ---            ---
     11/5/2015 Thu   7,444,523               ---                ---            ---
     11/6/2015 Fri   5,289,408       28,224,494        549,004,205          5.1%
     11/9/2015 Mon   4,413,995               ---                ---            ---
    11/10/2015 Tue   3,269,265               ---                ---            ---
    11/11/2015 Wed   3,853,388               ---                ---            ---
    11/12/2015 Thu   3,658,788               ---                ---            ---
    11/13/2015 Fri   4,480,416       19,675,852        549,004,205          3.6%
    11/16/2015 Mon   3,367,070               ---                ---            ---
    11/17/2015 Tue   4,105,958               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
    11/18/2015 Wed    3,789,396               ---                ---            ---
    11/19/2015 Thu    3,828,402               ---                ---            ---
    11/20/2015 Fri    5,796,100       20,886,926        549,004,205          3.8%
    11/23/2015 Mon    4,148,986               ---                ---            ---
    11/24/2015 Tue    3,570,348               ---                ---            ---
    11/25/2015 Wed    2,970,836               ---                ---            ---
    11/27/2015 Fri    1,631,430       12,321,600        549,004,205          2.2%
    11/30/2015 Mon    4,595,274               ---                ---            ---
     12/1/2015 Tue    5,543,083               ---                ---            ---
     12/2/2015 Wed    4,266,607               ---                ---            ---
     12/3/2015 Thu    6,509,011               ---                ---            ---
     12/4/2015 Fri    5,513,408       26,427,383        549,004,205          4.8%
     12/7/2015 Mon    5,394,426               ---                ---            ---
     12/8/2015 Tue    6,476,982               ---                ---            ---
     12/9/2015 Wed    5,283,927               ---                ---            ---
    12/10/2015 Thu    5,108,870               ---                ---            ---
    12/11/2015 Fri    5,951,692       28,215,897        549,004,205          5.1%
    12/14/2015 Mon    6,389,968               ---                ---            ---
    12/15/2015 Tue    7,013,139               ---                ---            ---
    12/16/2015 Wed    6,804,045               ---                ---            ---
    12/17/2015 Thu    4,374,411               ---                ---            ---
    12/18/2015 Fri    8,752,339       33,333,902        549,004,205          6.1%
    12/21/2015 Mon    5,599,663               ---                ---            ---
    12/22/2015 Tue    5,261,592               ---                ---            ---
    12/23/2015 Wed    4,069,073               ---                ---            ---
    12/24/2015 Thu    1,582,890       16,513,218        549,004,205          3.0%
    12/28/2015 Mon    3,228,909               ---                ---            ---
    12/29/2015 Tue    3,457,660               ---                ---            ---
    12/30/2015 Wed    2,772,415               ---                ---            ---
    12/31/2015 Thu    3,276,651       12,735,635        543,800,000          2.3%
      1/4/2016 Mon    4,938,951               ---                ---            ---
      1/5/2016 Tue    4,283,455               ---                ---            ---
      1/6/2016 Wed    4,083,396               ---                ---            ---
      1/7/2016 Thu    4,902,768               ---                ---            ---
      1/8/2016 Fri    4,337,629       22,546,199        543,800,000          4.1%
     1/11/2016 Mon    4,971,370               ---                ---            ---
     1/12/2016 Tue    6,017,563               ---                ---            ---
     1/13/2016 Wed    6,916,639               ---                ---            ---
     1/14/2016 Thu    7,178,695               ---                ---            ---
     1/15/2016 Fri    6,894,063       31,978,330        543,800,000          5.9%
     1/19/2016 Tue    4,501,110               ---                ---            ---
     1/20/2016 Wed    8,295,865               ---                ---            ---
     1/21/2016 Thu   10,569,765               ---                ---            ---
     1/22/2016 Fri    6,316,063       29,682,803        543,800,000          5.5%
     1/25/2016 Mon    7,626,686               ---                ---            ---
     1/26/2016 Tue    5,288,742               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
     1/27/2016 Wed    6,426,987               ---                ---            ---
     1/28/2016 Thu    4,887,040               ---                ---            ---
     1/29/2016 Fri    4,860,059       29,089,514        543,800,000          5.3%
      2/1/2016 Mon    4,773,288               ---                ---            ---
      2/2/2016 Tue    4,314,759               ---                ---            ---
      2/3/2016 Wed    4,881,086               ---                ---            ---
      2/4/2016 Thu    5,722,189               ---                ---            ---
      2/5/2016 Fri    8,633,755       28,325,077        543,800,000          5.2%
      2/8/2016 Mon    9,290,128               ---                ---            ---
      2/9/2016 Tue   10,292,095               ---                ---            ---
     2/10/2016 Wed    7,047,261               ---                ---            ---
     2/11/2016 Thu   15,041,048               ---                ---            ---
     2/12/2016 Fri   10,674,957       52,345,489        543,800,000          9.6%
     2/16/2016 Tue    5,918,759               ---                ---            ---
     2/17/2016 Wed    7,100,608               ---                ---            ---
     2/18/2016 Thu    8,243,833               ---                ---            ---
     2/19/2016 Fri    6,510,894       27,774,094        543,852,862          5.1%
     2/22/2016 Mon    5,476,039               ---                ---            ---
     2/23/2016 Tue    6,814,060               ---                ---            ---
     2/24/2016 Wed    7,120,802               ---                ---            ---
     2/25/2016 Thu    4,701,352               ---                ---            ---
     2/26/2016 Fri    4,829,897       28,942,150        543,852,862          5.3%
     2/29/2016 Mon    6,387,755               ---                ---            ---
      3/1/2016 Tue    6,917,669               ---                ---            ---
      3/2/2016 Wed    6,450,364               ---                ---            ---
      3/3/2016 Thu    5,372,360               ---                ---            ---
      3/4/2016 Fri    6,292,744       31,420,892        543,852,862          5.8%
      3/7/2016 Mon    5,096,593               ---                ---            ---
      3/8/2016 Tue    5,550,512               ---                ---            ---
      3/9/2016 Wed    4,207,328               ---                ---            ---
     3/10/2016 Thu    6,562,117               ---                ---            ---
     3/11/2016 Fri    4,128,254       25,544,804        543,852,862          4.7%
     3/14/2016 Mon    3,527,400               ---                ---            ---
     3/15/2016 Tue    5,593,898               ---                ---            ---
     3/16/2016 Wed    5,314,404               ---                ---            ---
     3/17/2016 Thu    7,928,385               ---                ---            ---
     3/18/2016 Fri    7,913,671       30,277,758        543,852,862          5.6%
     3/21/2016 Mon    3,569,607               ---                ---            ---
     3/22/2016 Tue    4,077,925               ---                ---            ---
     3/23/2016 Wed    5,105,004               ---                ---            ---
     3/24/2016 Thu    5,416,762       18,169,298        543,852,862          3.3%
     3/28/2016 Mon    3,158,558               ---                ---            ---
     3/29/2016 Tue    3,393,052               ---                ---            ---
     3/30/2016 Wed    3,660,972               ---                ---            ---
     3/31/2016 Thu    6,807,671               ---                ---            ---
      4/1/2016 Fri    6,219,552       23,239,805        546,164,000          4.3%


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
      4/4/2016 Mon    5,186,826               ---                ---            ---
      4/5/2016 Tue    5,271,152               ---                ---            ---
      4/6/2016 Wed    3,832,591               ---                ---            ---
      4/7/2016 Thu    5,704,504               ---                ---            ---
      4/8/2016 Fri    3,873,271       23,868,344        546,164,000          4.4%
     4/11/2016 Mon    2,921,012               ---                ---            ---
     4/12/2016 Tue    3,529,556               ---                ---            ---
     4/13/2016 Wed    3,308,900               ---                ---            ---
     4/14/2016 Thu    3,383,582               ---                ---            ---
     4/15/2016 Fri    2,956,936       16,099,986        546,164,000          2.9%
     4/18/2016 Mon    2,990,263               ---                ---            ---
     4/19/2016 Tue    3,578,632               ---                ---            ---
     4/20/2016 Wed    3,966,598               ---                ---            ---
     4/21/2016 Thu    4,347,968               ---                ---            ---
     4/22/2016 Fri    4,160,155       19,043,616        546,164,000          3.5%
     4/25/2016 Mon    3,717,891               ---                ---            ---
     4/26/2016 Tue    3,160,336               ---                ---            ---
     4/27/2016 Wed    4,423,518               ---                ---            ---
     4/28/2016 Thu    3,360,991               ---                ---            ---
     4/29/2016 Fri    5,360,069       20,022,805        546,051,961          3.7%
      5/2/2016 Mon    7,744,284               ---                ---            ---
      5/3/2016 Tue    7,598,217               ---                ---            ---
      5/4/2016 Wed    6,656,754               ---                ---            ---
      5/5/2016 Thu   20,521,476               ---                ---            ---
      5/6/2016 Fri    9,444,983       51,965,714        546,051,961          9.5%
      5/9/2016 Mon    6,057,075               ---                ---            ---
     5/10/2016 Tue    5,924,534               ---                ---            ---
     5/11/2016 Wed    3,903,644               ---                ---            ---
     5/12/2016 Thu    3,940,966               ---                ---            ---
     5/13/2016 Fri    4,112,858       23,939,077        546,051,961          4.4%
     5/16/2016 Mon    3,863,441               ---                ---            ---
     5/17/2016 Tue    5,193,072               ---                ---            ---
     5/18/2016 Wed    5,896,542               ---                ---            ---
     5/19/2016 Thu    6,537,034               ---                ---            ---
     5/20/2016 Fri    4,545,375       26,035,464        546,051,961          4.8%
     5/23/2016 Mon    3,988,278               ---                ---            ---
     5/24/2016 Tue    4,142,932               ---                ---            ---
     5/25/2016 Wed    3,996,238               ---                ---            ---
     5/26/2016 Thu    3,891,829               ---                ---            ---
     5/27/2016 Fri    3,173,307       19,192,584        546,051,961          3.5%
     5/31/2016 Tue    6,054,661               ---                ---            ---
      6/1/2016 Wed    4,001,728               ---                ---            ---
      6/2/2016 Thu    3,685,978               ---                ---            ---
      6/3/2016 Fri    4,518,663       18,261,030        546,051,961          3.3%
      6/6/2016 Mon    4,337,203               ---                ---            ---
      6/7/2016 Tue    5,174,476               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
      6/8/2016 Wed    4,554,999               ---                ---            ---
      6/9/2016 Thu    3,235,638               ---                ---            ---
     6/10/2016 Fri    5,564,331       22,866,647        546,051,961          4.2%
     6/13/2016 Mon    5,699,862               ---                ---            ---
     6/14/2016 Tue    5,626,759               ---                ---            ---
     6/15/2016 Wed    9,091,734               ---                ---            ---
     6/16/2016 Thu    7,071,353               ---                ---            ---
     6/17/2016 Fri   10,587,099       38,076,807        546,051,961          7.0%
     6/20/2016 Mon    4,314,380               ---                ---            ---
     6/21/2016 Tue    4,730,413               ---                ---            ---
     6/22/2016 Wed    4,703,300               ---                ---            ---
     6/23/2016 Thu    3,478,131               ---                ---            ---
     6/24/2016 Fri    7,198,691       24,424,915        546,051,961          4.5%
     6/27/2016 Mon    7,803,316               ---                ---            ---
     6/28/2016 Tue    4,788,040               ---                ---            ---
     6/29/2016 Wed    7,539,651               ---                ---            ---
     6/30/2016 Thu    5,490,072               ---                ---            ---
      7/1/2016 Fri    4,016,696       29,637,775        545,924,000          5.4%
      7/5/2016 Tue    3,620,604               ---                ---            ---
      7/6/2016 Wed    4,360,032               ---                ---            ---
      7/7/2016 Thu    3,568,819               ---                ---            ---
      7/8/2016 Fri    5,100,813       16,650,268        545,924,000          3.0%
     7/11/2016 Mon    4,846,266               ---                ---            ---
     7/12/2016 Tue    5,578,485               ---                ---            ---
     7/13/2016 Wed    3,948,821               ---                ---            ---
     7/14/2016 Thu    4,369,182               ---                ---            ---
     7/15/2016 Fri    4,568,449       23,311,203        545,924,000          4.3%
     7/18/2016 Mon    4,912,949               ---                ---            ---
     7/19/2016 Tue    4,718,214               ---                ---            ---
     7/20/2016 Wed    4,001,603               ---                ---            ---
     7/21/2016 Thu    3,611,351               ---                ---            ---
     7/22/2016 Fri    2,287,295       19,531,412        545,924,000          3.6%
     7/25/2016 Mon    3,124,337               ---                ---            ---
     7/26/2016 Tue    2,496,035               ---                ---            ---
     7/27/2016 Wed    5,193,539               ---                ---            ---
     7/28/2016 Thu    3,467,834               ---                ---            ---
     7/29/2016 Fri    6,218,510       20,500,255        545,969,547          3.8%
      8/1/2016 Mon    8,014,692               ---                ---            ---
      8/2/2016 Tue    6,678,694               ---                ---            ---
      8/3/2016 Wed    6,568,465               ---                ---            ---
      8/4/2016 Thu    8,008,621               ---                ---            ---
      8/5/2016 Fri    4,790,409       34,060,881        545,969,547          6.2%
      8/8/2016 Mon    3,636,745               ---                ---            ---
      8/9/2016 Tue    2,885,037               ---                ---            ---
     8/10/2016 Wed    4,076,030               ---                ---            ---
     8/11/2016 Thu    3,928,280               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
     8/12/2016 Fri    3,197,912       17,724,004        545,969,547          3.2%
     8/15/2016 Mon    2,279,672               ---                ---            ---
     8/16/2016 Tue    3,181,116               ---                ---            ---
     8/17/2016 Wed    3,933,090               ---                ---            ---
     8/18/2016 Thu    4,395,198               ---                ---            ---
     8/19/2016 Fri    4,681,371       18,470,447        545,969,547          3.4%
     8/22/2016 Mon    4,620,062               ---                ---            ---
     8/23/2016 Tue    2,737,608               ---                ---            ---
     8/24/2016 Wed    3,230,286               ---                ---            ---
     8/25/2016 Thu    3,530,221               ---                ---            ---
     8/26/2016 Fri    4,247,567       18,365,744        545,969,547          3.4%
     8/29/2016 Mon    4,011,342               ---                ---            ---
     8/30/2016 Tue    4,944,977               ---                ---            ---
     8/31/2016 Wed    4,472,605               ---                ---            ---
      9/1/2016 Thu    4,470,163               ---                ---            ---
      9/2/2016 Fri    3,048,215       20,947,302        545,969,547          3.8%
      9/6/2016 Tue    2,992,260               ---                ---            ---
      9/7/2016 Wed    3,210,762               ---                ---            ---
      9/8/2016 Thu    3,404,237               ---                ---            ---
      9/9/2016 Fri    7,008,383       16,615,642        545,969,547          3.0%
     9/12/2016 Mon    4,771,966               ---                ---            ---
     9/13/2016 Tue    4,497,058               ---                ---            ---
     9/14/2016 Wed    2,958,109               ---                ---            ---
     9/15/2016 Thu    7,598,614               ---                ---            ---
     9/16/2016 Fri    7,114,403       26,940,150        545,969,547          4.9%
     9/19/2016 Mon    4,457,047               ---                ---            ---
     9/20/2016 Tue    3,345,411               ---                ---            ---
     9/21/2016 Wed    4,296,810               ---                ---            ---
     9/22/2016 Thu    5,094,979               ---                ---            ---
     9/23/2016 Fri    3,853,878       21,048,125        545,969,547          3.9%
     9/26/2016 Mon    2,357,661               ---                ---            ---
     9/27/2016 Tue    2,844,859               ---                ---            ---
     9/28/2016 Wed    2,598,215               ---                ---            ---
     9/29/2016 Thu    2,610,971               ---                ---            ---
     9/30/2016 Fri    3,363,364       13,775,070        546,690,000          2.5%
     10/3/2016 Mon    3,048,400               ---                ---            ---
     10/4/2016 Tue    4,342,517               ---                ---            ---
     10/5/2016 Wed    4,826,467               ---                ---            ---
     10/6/2016 Thu    3,531,399               ---                ---            ---
     10/7/2016 Fri   13,519,671       29,268,454        546,690,000          5.4%
    10/10/2016 Mon    3,118,235               ---                ---            ---
    10/11/2016 Tue    5,412,856               ---                ---            ---
    10/12/2016 Wed    2,580,380               ---                ---            ---
    10/13/2016 Thu    2,750,712               ---                ---            ---
    10/14/2016 Fri    2,003,263       15,865,446        546,690,000          2.9%
    10/17/2016 Mon    3,118,122               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
    10/18/2016 Tue    3,770,437               ---                ---            ---
    10/19/2016 Wed    3,274,349               ---                ---            ---
    10/20/2016 Thu    4,336,602               ---                ---            ---
    10/21/2016 Fri    4,790,620       19,290,130        546,690,000          3.5%
    10/24/2016 Mon    3,193,735               ---                ---            ---
    10/25/2016 Tue    3,390,382               ---                ---            ---
    10/26/2016 Wed    3,289,316               ---                ---            ---
    10/27/2016 Thu   36,625,594               ---                ---            ---
    10/28/2016 Fri   15,382,989       61,882,016        546,690,239         11.3%
    10/31/2016 Mon   71,943,608               ---                ---            ---
     11/1/2016 Tue   36,114,903               ---                ---            ---
     11/2/2016 Wed   21,126,829               ---                ---            ---
     11/3/2016 Thu   30,038,531               ---                ---            ---
     11/4/2016 Fri   21,633,402      180,857,273        546,690,239         33.1%
     11/7/2016 Mon   21,786,932               ---                ---            ---
     11/8/2016 Tue   15,356,221               ---                ---            ---
     11/9/2016 Wed   10,430,158               ---                ---            ---
    11/10/2016 Thu   15,049,897               ---                ---            ---
    11/11/2016 Fri    9,553,943       72,177,151        546,690,239         13.2%
    11/14/2016 Mon   12,285,568               ---                ---            ---
    11/15/2016 Tue   12,754,196               ---                ---            ---
    11/16/2016 Wed    8,711,404               ---                ---            ---
    11/17/2016 Thu    8,752,426               ---                ---            ---
    11/18/2016 Fri    9,857,792       52,361,386        546,690,239          9.6%
    11/21/2016 Mon   11,041,944               ---                ---            ---
    11/22/2016 Tue   10,374,077               ---                ---            ---
    11/23/2016 Wed    8,863,134               ---                ---            ---
    11/25/2016 Fri    3,946,661       34,225,816        546,690,239          6.3%
    11/28/2016 Mon    7,507,284               ---                ---            ---
    11/29/2016 Tue    8,364,012               ---                ---            ---
    11/30/2016 Wed   13,063,881               ---                ---            ---
     12/1/2016 Thu   10,562,258               ---                ---            ---
     12/2/2016 Fri    5,972,195       45,469,630        546,690,239          8.3%
     12/5/2016 Mon    9,987,060               ---                ---            ---
     12/6/2016 Tue    6,004,319               ---                ---            ---
     12/7/2016 Wed    6,772,046               ---                ---            ---
     12/8/2016 Thu    7,191,481               ---                ---            ---
     12/9/2016 Fri    7,962,690       37,917,596        546,690,239          6.9%
    12/12/2016 Mon    7,229,393               ---                ---            ---
    12/13/2016 Tue   10,799,944               ---                ---            ---
    12/14/2016 Wed    8,607,560               ---                ---            ---
    12/15/2016 Thu    9,779,183               ---                ---            ---
    12/16/2016 Fri   11,383,948       47,800,028        546,690,239          8.7%
    12/19/2016 Mon    5,889,633               ---                ---            ---
    12/20/2016 Tue    6,605,028               ---                ---            ---
    12/21/2016 Wed    6,241,389               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
    12/22/2016 Thu    6,008,912               ---                ---            ---
    12/23/2016 Fri    6,512,200       31,257,162        546,690,239          5.7%
    12/27/2016 Tue    3,957,663               ---                ---            ---
    12/28/2016 Wed    5,067,166               ---                ---            ---
    12/29/2016 Thu    4,556,755               ---                ---            ---
    12/30/2016 Fri    6,971,357       20,552,941        546,690,239          3.8%
      1/3/2017 Tue   17,376,398               ---                ---            ---
      1/4/2017 Wed   10,443,772               ---                ---            ---
      1/5/2017 Thu    7,921,741               ---                ---            ---
      1/6/2017 Fri    5,736,182       41,478,093        546,545,000          7.6%
      1/9/2017 Mon    6,765,279               ---                ---            ---
     1/10/2017 Tue    8,274,952               ---                ---            ---
     1/11/2017 Wed    5,567,042               ---                ---            ---
     1/12/2017 Thu    7,340,834               ---                ---            ---
     1/13/2017 Fri    5,313,070       33,261,177        546,545,000          6.1%
     1/17/2017 Tue    7,753,882               ---                ---            ---
     1/18/2017 Wed    5,841,822               ---                ---            ---
     1/19/2017 Thu    4,364,224               ---                ---            ---
     1/20/2017 Fri    4,866,482       22,826,410        546,545,000          4.2%
     1/23/2017 Mon    4,439,750               ---                ---            ---
     1/24/2017 Tue    5,655,133               ---                ---            ---
     1/25/2017 Wed    7,489,213               ---                ---            ---
     1/26/2017 Thu    7,653,733               ---                ---            ---
     1/27/2017 Fri    4,935,059       30,172,888        546,545,000          5.5%
     1/30/2017 Mon    4,880,701               ---                ---            ---
     1/31/2017 Tue   11,316,042               ---                ---            ---
      2/1/2017 Wed    8,832,817               ---                ---            ---
      2/2/2017 Thu    6,190,566               ---                ---            ---
      2/3/2017 Fri    5,228,391       36,448,517        546,545,000          6.7%
      2/6/2017 Mon    6,353,023               ---                ---            ---
      2/7/2017 Tue    6,022,232               ---                ---            ---
      2/8/2017 Wed   13,671,506               ---                ---            ---
      2/9/2017 Thu   10,179,851               ---                ---            ---
     2/10/2017 Fri    5,882,601       42,109,213        546,545,000          7.7%
     2/13/2017 Mon    6,555,986               ---                ---            ---
     2/14/2017 Tue    4,962,947               ---                ---            ---
     2/15/2017 Wed    5,599,574               ---                ---            ---
     2/16/2017 Thu    5,162,872               ---                ---            ---
     2/17/2017 Fri    5,122,976       27,404,355        546,575,404          5.0%
     2/21/2017 Tue    6,846,831               ---                ---            ---
     2/22/2017 Wed    6,431,600               ---                ---            ---
     2/23/2017 Thu    6,597,988               ---                ---            ---
     2/24/2017 Fri    6,056,642       25,933,061        546,575,404          4.7%
     2/27/2017 Mon    6,722,186               ---                ---            ---
     2/28/2017 Tue   13,031,838               ---                ---            ---
      3/1/2017 Wed   14,735,804               ---                ---            ---


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
      3/2/2017 Thu   10,003,104               ---                ---            ---
      3/3/2017 Fri    8,419,064       52,911,996        546,575,404          9.7%
      3/6/2017 Mon    8,175,124               ---                ---            ---
      3/7/2017 Tue   11,620,855               ---                ---            ---
      3/8/2017 Wed    7,310,167               ---                ---            ---
      3/9/2017 Thu    7,984,260               ---                ---            ---
     3/10/2017 Fri    6,382,025       41,472,431        546,575,404          7.6%
     3/13/2017 Mon    8,358,911               ---                ---            ---
     3/14/2017 Tue    5,893,068               ---                ---            ---
     3/15/2017 Wed   10,642,838               ---                ---            ---
     3/16/2017 Thu   10,728,969               ---                ---            ---
     3/17/2017 Fri   24,891,583       60,515,369        546,575,404         11.1%
     3/20/2017 Mon    8,138,955               ---                ---            ---
     3/21/2017 Tue    7,234,732               ---                ---            ---
     3/22/2017 Wed   12,577,325               ---                ---            ---
     3/23/2017 Thu    6,887,351               ---                ---            ---
     3/24/2017 Fri    5,890,158       40,728,521        546,575,404          7.5%
     3/27/2017 Mon    9,057,861               ---                ---            ---
     3/28/2017 Tue    7,325,754               ---                ---            ---
     3/29/2017 Wed    8,208,235               ---                ---            ---
     3/30/2017 Thu    7,466,212               ---                ---            ---
     3/31/2017 Fri    7,533,614       39,591,676        548,845,000          7.2%
      4/3/2017 Mon    6,992,549               ---                ---            ---
      4/4/2017 Tue   12,820,344               ---                ---            ---
      4/5/2017 Wed   12,561,386               ---                ---            ---
      4/6/2017 Thu    7,640,759               ---                ---            ---
      4/7/2017 Fri    9,662,269       49,677,307        548,845,000          9.1%
     4/10/2017 Mon    8,136,814               ---                ---            ---
     4/11/2017 Tue    8,899,935               ---                ---            ---
     4/12/2017 Wed   10,806,222               ---                ---            ---
     4/13/2017 Thu    9,958,699       37,801,670        548,845,000          6.9%
     4/17/2017 Mon    7,318,113               ---                ---            ---
     4/18/2017 Tue    7,294,946               ---                ---            ---
     4/19/2017 Wed   11,207,568               ---                ---            ---
     4/20/2017 Thu    8,716,160               ---                ---            ---
     4/21/2017 Fri    7,432,209       41,968,996        548,845,000          7.6%
     4/24/2017 Mon    7,725,596               ---                ---            ---
     4/25/2017 Tue   11,383,337               ---                ---            ---
     4/26/2017 Wed    8,972,261               ---                ---            ---
     4/27/2017 Thu   12,119,332               ---                ---            ---
     4/28/2017 Fri   11,581,185       51,781,711        548,812,063          9.4%
      5/1/2017 Mon    9,827,091               ---                ---            ---
      5/2/2017 Tue    9,168,370               ---                ---            ---
      5/3/2017 Wed   10,400,439               ---                ---            ---
      5/4/2017 Thu   28,643,399               ---                ---            ---
      5/5/2017 Fri   12,349,560       70,388,859        548,812,063         12.8%


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                               Appendix F
   Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
         [1]           [2]               [3]                [4]              [5]
                      Daily           Weekly              Shares            Weekly
         Date        Volume           Volume            Outstanding        Turnover
      5/8/2017 Mon   26,016,453               ---                ---            ---
      5/9/2017 Tue   10,142,206               ---                ---            ---
     5/10/2017 Wed    7,954,707               ---                ---            ---
     5/11/2017 Thu    8,698,798               ---                ---            ---
     5/12/2017 Fri    8,659,596       61,471,760        548,812,063         11.2%
     5/15/2017 Mon    6,936,757               ---                ---            ---
     5/16/2017 Tue    8,663,935               ---                ---            ---
     5/17/2017 Wed    9,125,637               ---                ---            ---
     5/18/2017 Thu    7,472,561               ---                ---            ---
     5/19/2017 Fri   10,497,668       42,696,558        548,812,063          7.8%
     5/22/2017 Mon    7,275,321               ---                ---            ---
     5/23/2017 Tue    7,264,082               ---                ---            ---
     5/24/2017 Wed    5,120,307               ---                ---            ---
     5/25/2017 Thu    5,796,190               ---                ---            ---
     5/26/2017 Fri    4,897,035       30,352,935        548,812,063          5.5%
     5/30/2017 Tue    7,544,912               ---                ---            ---
     5/31/2017 Wed   11,658,968               ---                ---            ---
      6/1/2017 Thu   20,750,437               ---                ---            ---
      6/2/2017 Fri    9,154,104       49,108,421        548,812,063          8.9%
      6/5/2017 Mon    7,532,570               ---                ---            ---
      6/6/2017 Tue    8,653,785               ---                ---            ---
      6/7/2017 Wed    6,632,403               ---                ---            ---
      6/8/2017 Thu    7,032,499               ---                ---            ---
      6/9/2017 Fri   10,329,524       40,180,781        548,812,063          7.3%
     6/12/2017 Mon   10,001,215               ---                ---            ---
     6/13/2017 Tue   10,276,780               ---                ---            ---
     6/14/2017 Wed   10,311,725               ---                ---            ---
     6/15/2017 Thu   11,894,006               ---                ---            ---
     6/16/2017 Fri   43,059,324       85,543,050        548,812,063         15.6%
     6/19/2017 Mon   18,616,638               ---                ---            ---
     6/20/2017 Tue   21,075,049               ---                ---            ---
     6/21/2017 Wed   14,707,254               ---                ---            ---
     6/22/2017 Thu   10,092,164               ---                ---            ---
     6/23/2017 Fri    6,331,618       70,822,723        548,812,063         12.9%
     6/26/2017 Mon    6,548,463               ---                ---            ---
     6/27/2017 Tue    7,425,723               ---                ---            ---
     6/28/2017 Wed   10,785,646               ---                ---            ---
     6/29/2017 Thu    8,324,969               ---                ---            ---
     6/30/2017 Fri    8,531,499       41,616,300        549,743,000          7.6%
      7/3/2017 Mon    5,541,467               ---                ---            ---
      7/5/2017 Wed   10,607,772               ---                ---            ---
      7/6/2017 Thu    8,895,865               ---                ---            ---
      7/7/2017 Fri    7,861,457       32,906,561        549,743,000          6.0%
     7/10/2017 Mon    4,660,831               ---                ---            ---
     7/11/2017 Tue    6,023,054               ---                ---            ---
     7/12/2017 Wed   14,884,782               ---                ---            ---


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                                 Appendix F
     Weekly Trading Volume and Turnover of CenturyLink, Inc. Common Stock
            [1]                  [2]                  [3]                  [4]                 [5]
                               Daily               Weekly               Shares                Weekly
           Date               Volume               Volume             Outstanding            Turnover
       7/13/2017 Thu          9,033,474                    ---                 ---                ---
       7/14/2017 Fri          6,757,823            41,359,964         549,743,000              7.5%

Notes:
[1] Trading date.
[2] Reported composite U.S. volume. Source: Bloomberg.
[3] Volume over entire week of trading.
[4] Last available shares outstanding as of the end of each week. Source: SEC filings.
[5] Weekly turnover = [3] / [4].




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                                   Appendix G
                   Weekly Analyst Coverage of CenturyLink, Inc.

             [1]                    [2]                          [3]
                          Bloomberg Total Analyst   Number of Analysts in Thomson
              Date           Recommendations          Reuters I/B/E/S Consensus
          3/1/2013 Fri              20                              18
          3/8/2013 Fri              20                              17
         3/15/2013 Fri              20                              18
         3/22/2013 Fri              20                              18
         3/28/2013 Thu              20                              18
          4/5/2013 Fri              20                              18
         4/12/2013 Fri              21                              20
         4/19/2013 Fri              21                              20
         4/26/2013 Fri              21                              21
          5/3/2013 Fri              21                              21
         5/10/2013 Fri              21                              21
         5/17/2013 Fri              21                              21
         5/24/2013 Fri              21                              19
         5/31/2013 Fri              22                              20
          6/7/2013 Fri              22                              21
         6/14/2013 Fri              22                              21
         6/21/2013 Fri              22                              21
         6/28/2013 Fri              22                              21
          7/5/2013 Fri              22                              21
         7/12/2013 Fri              22                              21
         7/19/2013 Fri              22                              21
         7/26/2013 Fri              22                              21
          8/2/2013 Fri              22                              20
          8/9/2013 Fri              22                              20
         8/16/2013 Fri              22                              18
         8/23/2013 Fri              22                              19
         8/30/2013 Fri              22                              20
          9/6/2013 Fri              22                              20
         9/13/2013 Fri              22                              20
         9/20/2013 Fri              22                              20
         9/27/2013 Fri              22                              20
         10/4/2013 Fri              22                              21
        10/11/2013 Fri              22                              21
        10/18/2013 Fri              22                              21
        10/25/2013 Fri              22                              21
         11/1/2013 Fri              22                              22
         11/8/2013 Fri              22                              22
        11/15/2013 Fri              21                              20
        11/22/2013 Fri              21                              20
        11/29/2013 Fri              21                              20
         12/6/2013 Fri              20                              20
        12/13/2013 Fri              20                              20
        12/20/2013 Fri              20                              21
        12/27/2013 Fri              20                              21
          1/3/2014 Fri              20                              21


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                                   Appendix G
                   Weekly Analyst Coverage of CenturyLink, Inc.

             [1]                    [2]                          [3]
                          Bloomberg Total Analyst   Number of Analysts in Thomson
              Date           Recommendations          Reuters I/B/E/S Consensus
         1/10/2014 Fri              20                              21
         1/17/2014 Fri              20                              20
         1/24/2014 Fri              20                              20
         1/31/2014 Fri              20                              20
          2/7/2014 Fri              20                              20
         2/14/2014 Fri              20                              19
         2/21/2014 Fri              19                              18
         2/28/2014 Fri              18                              15
          3/7/2014 Fri              18                              16
         3/14/2014 Fri              19                              16
         3/21/2014 Fri              18                              15
         3/28/2014 Fri              18                              15
          4/4/2014 Fri              18                              15
         4/11/2014 Fri              18                              15
         4/17/2014 Thu              18                              15
         4/25/2014 Fri              18                              15
          5/2/2014 Fri              18                              15
          5/9/2014 Fri              18                              14
         5/16/2014 Fri              18                              12
         5/23/2014 Fri              19                              14
         5/30/2014 Fri              19                              14
          6/6/2014 Fri              19                              14
         6/13/2014 Fri              19                              14
         6/20/2014 Fri              19                              14
         6/27/2014 Fri              19                              14
          7/3/2014 Thu              19                              14
         7/11/2014 Fri              19                              14
         7/18/2014 Fri              19                              14
         7/25/2014 Fri              19                              14
          8/1/2014 Fri              19                              14
          8/8/2014 Fri              18                              14
         8/15/2014 Fri              18                              14
         8/22/2014 Fri              18                              13
         8/29/2014 Fri              18                              14
          9/5/2014 Fri              19                              15
         9/12/2014 Fri              19                              15
         9/19/2014 Fri              19                              16
         9/26/2014 Fri              19                              16
         10/3/2014 Fri              19                              16
        10/10/2014 Fri              19                              16
        10/17/2014 Fri              20                              16
        10/24/2014 Fri              20                              16
        10/31/2014 Fri              20                              16
         11/7/2014 Fri              20                              16
        11/14/2014 Fri              20                              15


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                                   Appendix G
                   Weekly Analyst Coverage of CenturyLink, Inc.

             [1]                    [2]                          [3]
                          Bloomberg Total Analyst   Number of Analysts in Thomson
              Date           Recommendations          Reuters I/B/E/S Consensus
        11/21/2014 Fri              20                              15
        11/28/2014 Fri              20                              15
         12/5/2014 Fri              20                              15
        12/12/2014 Fri              20                              16
        12/19/2014 Fri              20                              16
        12/26/2014 Fri              20                              16
          1/2/2015 Fri              19                              16
          1/9/2015 Fri              19                              16
         1/16/2015 Fri              19                              16
         1/23/2015 Fri              19                              16
         1/30/2015 Fri              19                              16
          2/6/2015 Fri              19                              16
         2/13/2015 Fri              19                              17
         2/20/2015 Fri              19                              14
         2/27/2015 Fri              19                              14
          3/6/2015 Fri              19                              15
         3/13/2015 Fri              19                              15
         3/20/2015 Fri              19                              16
         3/27/2015 Fri              19                              17
          4/2/2015 Thu              19                              17
         4/10/2015 Fri              19                              17
         4/17/2015 Fri              18                              17
         4/24/2015 Fri              18                              16
          5/1/2015 Fri              17                              16
          5/8/2015 Fri              17                              15
         5/15/2015 Fri              17                              15
         5/22/2015 Fri              17                              15
         5/29/2015 Fri              17                              15
          6/5/2015 Fri              17                              16
         6/12/2015 Fri              17                              16
         6/19/2015 Fri              17                              16
         6/26/2015 Fri              17                              16
          7/2/2015 Thu              17                              16
         7/10/2015 Fri              17                              16
         7/17/2015 Fri              17                              16
         7/24/2015 Fri              17                              16
         7/31/2015 Fri              17                              16
          8/7/2015 Fri              17                              16
         8/14/2015 Fri              17                              14
         8/21/2015 Fri              17                              14
         8/28/2015 Fri              17                              15
          9/4/2015 Fri              17                              15
         9/11/2015 Fri              17                              15
         9/18/2015 Fri              18                              17
         9/25/2015 Fri              19                              18


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                                   Appendix G
                   Weekly Analyst Coverage of CenturyLink, Inc.

             [1]                    [2]                          [3]
                          Bloomberg Total Analyst   Number of Analysts in Thomson
              Date           Recommendations          Reuters I/B/E/S Consensus
         10/2/2015 Fri              19                              18
         10/9/2015 Fri              19                              18
        10/16/2015 Fri              20                              19
        10/23/2015 Fri              20                              19
        10/30/2015 Fri              20                              19
         11/6/2015 Fri              20                              18
        11/13/2015 Fri              19                              15
        11/20/2015 Fri              19                              15
        11/27/2015 Fri              19                              15
         12/4/2015 Fri              19                              16
        12/11/2015 Fri              19                              17
        12/18/2015 Fri              19                              18
        12/24/2015 Thu              19                              18
        12/31/2015 Thu              19                              18
          1/8/2016 Fri              19                              18
         1/15/2016 Fri              19                              17
         1/22/2016 Fri              19                              17
         1/29/2016 Fri              19                              17
          2/5/2016 Fri              19                              17
         2/12/2016 Fri              19                              18
         2/19/2016 Fri              19                              15
         2/26/2016 Fri              20                              17
          3/4/2016 Fri              19                              16
         3/11/2016 Fri              19                              16
         3/18/2016 Fri              19                              16
         3/24/2016 Thu              19                              16
          4/1/2016 Fri              19                              17
          4/8/2016 Fri              19                              17
         4/15/2016 Fri              19                              17
         4/22/2016 Fri              19                              17
         4/29/2016 Fri              19                              17
          5/6/2016 Fri              19                              16
         5/13/2016 Fri              19                              14
         5/20/2016 Fri              19                              14
         5/27/2016 Fri              19                              14
          6/3/2016 Fri              19                              14
         6/10/2016 Fri              19                              14
         6/17/2016 Fri              19                              14
         6/24/2016 Fri              20                              16
          7/1/2016 Fri              20                              16
          7/8/2016 Fri              20                              16
         7/15/2016 Fri              20                              16
         7/22/2016 Fri              19                              16
         7/29/2016 Fri              19                              16
          8/5/2016 Fri              19                              14


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                                   Appendix G
                   Weekly Analyst Coverage of CenturyLink, Inc.

             [1]                    [2]                          [3]
                          Bloomberg Total Analyst   Number of Analysts in Thomson
              Date           Recommendations          Reuters I/B/E/S Consensus
         8/12/2016 Fri              18                              14
         8/19/2016 Fri              18                              15
         8/26/2016 Fri              18                              15
          9/2/2016 Fri              17                              14
          9/9/2016 Fri              17                              14
         9/16/2016 Fri              17                              14
         9/23/2016 Fri              17                              14
         9/30/2016 Fri              17                              14
         10/7/2016 Fri              17                              14
        10/14/2016 Fri              17                              14
        10/21/2016 Fri              17                              14
        10/28/2016 Fri              17                              14
         11/4/2016 Fri              15                              14
        11/11/2016 Fri              16                              13
        11/18/2016 Fri              16                              12
        11/25/2016 Fri              16                              12
         12/2/2016 Fri              16                              12
         12/9/2016 Fri              16                              12
        12/16/2016 Fri              17                              14
        12/23/2016 Fri              17                              14
        12/30/2016 Fri              17                              14
          1/6/2017 Fri              17                              14
         1/13/2017 Fri              17                              14
         1/20/2017 Fri              17                              14
         1/27/2017 Fri              17                              14
          2/3/2017 Fri              17                              14
         2/10/2017 Fri              17                              17
         2/17/2017 Fri              17                              16
         2/24/2017 Fri              17                              16
          3/3/2017 Fri              18                              17
         3/10/2017 Fri              18                              17
         3/17/2017 Fri              18                              17
         3/24/2017 Fri              18                              17
         3/31/2017 Fri              19                              17
          4/7/2017 Fri              19                              17
         4/13/2017 Thu              19                              18
         4/21/2017 Fri              19                              18
         4/28/2017 Fri              19                              18
          5/5/2017 Fri              19                              17
         5/12/2017 Fri              19                              14
         5/19/2017 Fri              19                              15
         5/26/2017 Fri              19                              15
          6/2/2017 Fri              19                              15
          6/9/2017 Fri              19                              15
         6/16/2017 Fri              19                              16


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                                     Appendix G
                     Weekly Analyst Coverage of CenturyLink, Inc.

               [1]                      [2]                              [3]
                             Bloomberg Total Analyst     Number of Analysts in Thomson
               Date             Recommendations            Reuters I/B/E/S Consensus
          6/23/2017    Fri             19                                17
          6/30/2017    Fri             19                                17
           7/7/2017    Fri             19                                16

     Notes:
     [1] Last trading day of a week during the Class Period.
     [2] Most recent available Bloomberg total analyst recommendations. Bloomberg defines
         "total analyst recommendations" as the total number of analysts making
         recommendations for the security. Source: Bloomberg.
     [3] Number of analysts in Thomson Reuters I/B/E/S consensus EPS estimates for current
         fiscal year. Source: S&P Capital IQ.




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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 3/1/2013                        $0.01                                  0.03%
 3/4/2013                        $0.01                                  0.03%
 3/5/2013                        $0.01                                  0.03%
 3/6/2013                        $0.01                                  0.03%
 3/7/2013                        $0.01                                  0.03%
 3/8/2013                        $0.01                                  0.03%
3/11/2013                        $0.01                                  0.03%
3/12/2013                        $0.01                                  0.03%
3/13/2013                        $0.01                                  0.03%
3/14/2013                        $0.01                                  0.03%
3/15/2013                            --                                      --
3/18/2013                        $0.02                                  0.06%
3/19/2013                        $0.01                                  0.03%
3/20/2013                        $0.01                                  0.03%
3/21/2013                        $0.01                                  0.03%
3/22/2013                        $0.01                                  0.03%
3/25/2013                            --                                      --
3/26/2013                        $0.01                                  0.03%
3/27/2013                        $0.01                                  0.03%
3/28/2013                        $0.01                                  0.03%
 4/1/2013                            --                                      --
 4/2/2013                        $0.01                                  0.03%
 4/3/2013                        $0.01                                  0.03%
 4/4/2013                            --                                      --
 4/5/2013                        $0.01                                  0.03%
 4/8/2013                        $0.01                                  0.03%
 4/9/2013                        $0.01                                  0.03%
4/10/2013                        $0.01                                  0.03%
4/11/2013                        $0.01                                  0.03%
4/12/2013                        $0.02                                  0.05%
4/15/2013                        $0.01                                  0.03%
4/16/2013                        $0.01                                  0.03%
4/17/2013                        $0.01                                  0.03%
4/18/2013                        $0.01                                  0.03%
4/19/2013                        $0.01                                  0.03%
4/22/2013                        $0.01                                  0.03%
4/23/2013                        $0.01                                  0.03%
4/24/2013                        $0.01                                  0.03%
4/25/2013                        $0.01                                  0.03%
4/26/2013                            --                                      --
4/29/2013                        $0.01                                  0.03%
4/30/2013                        $0.01                                  0.03%
 5/1/2013                        $0.01                                  0.03%
 5/2/2013                        $0.01                                  0.03%
 5/3/2013                        $0.01                                  0.03%
 5/6/2013                        $0.01                                  0.03%
 5/7/2013                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 5/8/2013                        $0.01                                  0.03%
 5/9/2013                            --                                      --
5/10/2013                        $0.02                                  0.05%
5/13/2013                        $0.01                                  0.03%
5/14/2013                        $0.01                                  0.03%
5/15/2013                        $0.01                                  0.03%
5/16/2013                        $0.01                                  0.03%
5/17/2013                        $0.01                                  0.03%
5/20/2013                        $0.01                                  0.03%
5/21/2013                            --                                      --
5/22/2013                        $0.01                                  0.03%
5/23/2013                        $0.01                                  0.03%
5/24/2013                        $0.02                                  0.05%
5/28/2013                        $0.01                                  0.03%
5/29/2013                        $0.01                                  0.03%
5/30/2013                        $0.02                                  0.06%
5/31/2013                        $0.01                                  0.03%
 6/3/2013                        $0.01                                  0.03%
 6/4/2013                        $0.01                                  0.03%
 6/5/2013                        $0.01                                  0.03%
 6/6/2013                        $0.01                                  0.03%
 6/7/2013                        $0.01                                  0.03%
6/10/2013                        $0.01                                  0.03%
6/11/2013                        $0.01                                  0.03%
6/12/2013                        $0.01                                  0.03%
6/13/2013                        $0.01                                  0.03%
6/14/2013                        $0.01                                  0.03%
6/17/2013                        $0.01                                  0.03%
6/18/2013                        $0.01                                  0.03%
6/19/2013                        $0.01                                  0.03%
6/20/2013                        $0.01                                  0.03%
6/21/2013                        $0.01                                  0.03%
6/24/2013                        $0.01                                  0.03%
6/25/2013                        $0.01                                  0.03%
6/26/2013                        $0.01                                  0.03%
6/27/2013                        $0.01                                  0.03%
6/28/2013                        $0.01                                  0.03%
 7/1/2013                        $0.01                                  0.03%
 7/2/2013                        $0.01                                  0.03%
 7/3/2013                        $0.01                                  0.03%
 7/5/2013                        $0.02                                  0.06%
 7/8/2013                        $0.01                                  0.03%
 7/9/2013                        $0.01                                  0.03%
7/10/2013                        $0.01                                  0.03%
7/11/2013                        $0.01                                  0.03%
7/12/2013                        $0.01                                  0.03%
7/15/2013                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
7/16/2013                        $0.01                                  0.03%
7/17/2013                        $0.01                                  0.03%
7/18/2013                        $0.01                                  0.03%
7/19/2013                        $0.01                                  0.03%
7/22/2013                        $0.01                                  0.03%
7/23/2013                        $0.01                                  0.03%
7/24/2013                        $0.01                                  0.03%
7/25/2013                        $0.01                                  0.03%
7/26/2013                        $0.01                                  0.03%
7/29/2013                        $0.01                                  0.03%
7/30/2013                        $0.01                                  0.03%
7/31/2013                        $0.01                                  0.03%
 8/1/2013                        $0.02                                  0.06%
 8/2/2013                        $0.01                                  0.03%
 8/5/2013                        $0.01                                  0.03%
 8/6/2013                        $0.01                                  0.03%
 8/7/2013                        $0.01                                  0.03%
 8/8/2013                        $0.01                                  0.03%
 8/9/2013                        $0.01                                  0.03%
8/12/2013                        $0.01                                  0.03%
8/13/2013                        $0.01                                  0.03%
8/14/2013                        $0.01                                  0.03%
8/15/2013                        $0.01                                  0.03%
8/16/2013                        $0.01                                  0.03%
8/19/2013                            --                                      --
8/20/2013                        $0.01                                  0.03%
8/21/2013                        $0.01                                  0.03%
8/22/2013                        $0.01                                  0.03%
8/23/2013                        $0.01                                  0.03%
8/26/2013                        $0.01                                  0.03%
8/27/2013                        $0.01                                  0.03%
8/28/2013                        $0.01                                  0.03%
8/29/2013                        $0.01                                  0.03%
8/30/2013                        $0.01                                  0.03%
 9/3/2013                        $0.01                                  0.03%
 9/4/2013                        $0.01                                  0.03%
 9/5/2013                        $0.01                                  0.03%
 9/6/2013                        $0.01                                  0.03%
 9/9/2013                        $0.01                                  0.03%
9/10/2013                        $0.01                                  0.03%
9/11/2013                        $0.01                                  0.03%
9/12/2013                        $0.01                                  0.03%
9/13/2013                        $0.01                                  0.03%
9/16/2013                        $0.01                                  0.03%
9/17/2013                        $0.01                                  0.03%
9/18/2013                        $0.01                                  0.03%
9/19/2013                        $0.02                                  0.06%


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                                   Appendix H
             Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
   [1]                              [2]                                     [3]
  Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 9/20/2013                        $0.01                                  0.03%
 9/23/2013                        $0.01                                  0.03%
 9/24/2013                        $0.01                                  0.03%
 9/25/2013                        $0.01                                  0.03%
 9/26/2013                        $0.01                                  0.03%
 9/27/2013                        $0.01                                  0.03%
 9/30/2013                        $0.01                                  0.03%
 10/1/2013                        $0.01                                  0.03%
 10/2/2013                        $0.01                                  0.03%
 10/3/2013                        $0.01                                  0.03%
 10/4/2013                        $0.01                                  0.03%
 10/7/2013                        $0.01                                  0.03%
 10/8/2013                        $0.01                                  0.03%
 10/9/2013                        $0.01                                  0.03%
10/10/2013                        $0.01                                  0.03%
10/11/2013                        $0.01                                  0.03%
10/14/2013                        $0.01                                  0.03%
10/15/2013                        $0.01                                  0.03%
10/16/2013                        $0.01                                  0.03%
10/17/2013                        $0.01                                  0.03%
10/18/2013                        $0.01                                  0.03%
10/21/2013                        $0.01                                  0.03%
10/22/2013                        $0.01                                  0.03%
10/23/2013                        $0.01                                  0.03%
10/24/2013                        $0.01                                  0.03%
10/25/2013                        $0.01                                  0.03%
10/28/2013                        $0.01                                  0.03%
10/29/2013                        $0.01                                  0.03%
10/30/2013                        $0.01                                  0.03%
10/31/2013                        $0.01                                  0.03%
 11/1/2013                        $0.01                                  0.03%
 11/4/2013                        $0.01                                  0.03%
 11/5/2013                        $0.01                                  0.03%
 11/6/2013                        $0.01                                  0.03%
 11/7/2013                        $0.01                                  0.03%
 11/8/2013                        $0.01                                  0.03%
11/11/2013                        $0.01                                  0.03%
11/12/2013                        $0.01                                  0.03%
11/13/2013                        $0.01                                  0.03%
11/14/2013                        $0.01                                  0.03%
11/15/2013                        $0.01                                  0.03%
11/18/2013                        $0.01                                  0.03%
11/19/2013                        $0.01                                  0.03%
11/20/2013                        $0.01                                  0.03%
11/21/2013                        $0.01                                  0.03%
11/22/2013                        $0.01                                  0.03%
11/25/2013                        $0.01                                  0.03%


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                                   Appendix H
             Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
   [1]                              [2]                                     [3]
  Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
11/26/2013                        $0.02                                  0.07%
11/27/2013                        $0.01                                  0.03%
11/29/2013                        $0.01                                  0.03%
 12/2/2013                        $0.01                                  0.03%
 12/3/2013                        $0.01                                  0.03%
 12/4/2013                        $0.01                                  0.03%
 12/5/2013                        $0.01                                  0.03%
 12/6/2013                        $0.01                                  0.03%
 12/9/2013                        $0.01                                  0.03%
12/10/2013                            --                                      --
12/11/2013                        $0.01                                  0.03%
12/12/2013                        $0.01                                  0.03%
12/13/2013                        $0.01                                  0.03%
12/16/2013                        $0.01                                  0.03%
12/17/2013                        $0.01                                  0.03%
12/18/2013                        $0.01                                  0.03%
12/19/2013                        $0.01                                  0.03%
12/20/2013                        $0.01                                  0.03%
12/23/2013                        $0.01                                  0.03%
12/24/2013                        $0.02                                  0.06%
12/26/2013                        $0.01                                  0.03%
12/27/2013                        $0.01                                  0.03%
12/30/2013                        $0.01                                  0.03%
12/31/2013                        $0.01                                  0.03%
  1/2/2014                        $0.01                                  0.03%
  1/3/2014                        $0.01                                  0.03%
  1/6/2014                        $0.01                                  0.03%
  1/7/2014                        $0.01                                  0.03%
  1/8/2014                        $0.01                                  0.03%
  1/9/2014                        $0.01                                  0.03%
 1/10/2014                        $0.01                                  0.03%
 1/13/2014                        $0.01                                  0.03%
 1/14/2014                        $0.01                                  0.03%
 1/15/2014                        $0.01                                  0.03%
 1/16/2014                        $0.01                                  0.03%
 1/17/2014                        $0.01                                  0.03%
 1/21/2014                        $0.01                                  0.03%
 1/22/2014                        $0.01                                  0.03%
 1/23/2014                        $0.01                                  0.03%
 1/24/2014                        $0.01                                  0.03%
 1/27/2014                        $0.01                                  0.03%
 1/28/2014                        $0.01                                  0.03%
 1/29/2014                        $0.01                                  0.03%
 1/30/2014                        $0.01                                  0.03%
 1/31/2014                        $0.01                                  0.03%
  2/3/2014                        $0.01                                  0.04%
  2/4/2014                        $0.01                                  0.04%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 2/5/2014                        $0.01                                  0.04%
 2/6/2014                        $0.01                                  0.04%
 2/7/2014                        $0.01                                  0.03%
2/10/2014                        $0.01                                  0.03%
2/11/2014                        $0.01                                  0.03%
2/12/2014                            --                                      --
2/13/2014                            --                                      --
2/14/2014                        $0.01                                  0.03%
2/18/2014                        $0.01                                  0.03%
2/19/2014                        $0.01                                  0.03%
2/20/2014                        $0.01                                  0.03%
2/21/2014                        $0.01                                  0.03%
2/24/2014                        $0.01                                  0.03%
2/25/2014                        $0.01                                  0.03%
2/26/2014                        $0.01                                  0.03%
2/27/2014                        $0.01                                  0.03%
2/28/2014                        $0.01                                  0.03%
 3/3/2014                        $0.01                                  0.03%
 3/4/2014                        $0.01                                  0.03%
 3/5/2014                        $0.01                                  0.03%
 3/6/2014                        $0.01                                  0.03%
 3/7/2014                        $0.01                                  0.03%
3/10/2014                        $0.01                                  0.03%
3/11/2014                        $0.01                                  0.03%
3/12/2014                        $0.01                                  0.03%
3/13/2014                        $0.01                                  0.03%
3/14/2014                        $0.01                                  0.03%
3/17/2014                        $0.01                                  0.03%
3/18/2014                        $0.01                                  0.03%
3/19/2014                        $0.01                                  0.03%
3/20/2014                        $0.01                                  0.03%
3/21/2014                        $0.01                                  0.03%
3/24/2014                        $0.01                                  0.03%
3/25/2014                        $0.01                                  0.03%
3/26/2014                            --                                      --
3/27/2014                        $0.01                                  0.03%
3/28/2014                        $0.01                                  0.03%
3/31/2014                        $0.01                                  0.03%
 4/1/2014                        $0.01                                  0.03%
 4/2/2014                        $0.01                                  0.03%
 4/3/2014                        $0.01                                  0.03%
 4/4/2014                        $0.02                                  0.06%
 4/7/2014                        $0.01                                  0.03%
 4/8/2014                        $0.01                                  0.03%
 4/9/2014                        $0.01                                  0.03%
4/10/2014                        $0.01                                  0.03%
4/11/2014                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
4/14/2014                        $0.01                                  0.03%
4/15/2014                        $0.01                                  0.03%
4/16/2014                        $0.01                                  0.03%
4/17/2014                        $0.01                                  0.03%
4/21/2014                        $0.01                                  0.03%
4/22/2014                        $0.01                                  0.03%
4/23/2014                        $0.01                                  0.03%
4/24/2014                        $0.01                                  0.03%
4/25/2014                        $0.01                                  0.03%
4/28/2014                        $0.01                                  0.03%
4/29/2014                        $0.01                                  0.03%
4/30/2014                        $0.01                                  0.03%
 5/1/2014                        $0.01                                  0.03%
 5/2/2014                        $0.01                                  0.03%
 5/5/2014                        $0.84                                  2.44%
 5/6/2014                        $0.01                                  0.03%
 5/7/2014                        $0.42                                  1.22%
 5/8/2014                        $0.01                                  0.03%
 5/9/2014                        $0.01                                  0.03%
5/12/2014                        $0.01                                  0.03%
5/13/2014                        $0.01                                  0.03%
5/14/2014                        $0.01                                  0.03%
5/15/2014                        $0.06                                  0.16%
5/16/2014                        $0.01                                  0.03%
5/19/2014                        $0.01                                  0.03%
5/20/2014                        $0.01                                  0.03%
5/21/2014                        $0.01                                  0.03%
5/22/2014                        $0.01                                  0.03%
5/23/2014                        $0.12                                  0.32%
5/27/2014                        $0.01                                  0.03%
5/28/2014                        $0.01                                  0.03%
5/29/2014                        $0.01                                  0.03%
5/30/2014                        $0.01                                  0.03%
 6/2/2014                        $0.01                                  0.03%
 6/3/2014                        $0.01                                  0.03%
 6/4/2014                        $0.01                                  0.03%
 6/5/2014                        $0.01                                  0.03%
 6/6/2014                        $0.01                                  0.03%
 6/9/2014                        $0.01                                  0.03%
6/10/2014                        $0.01                                  0.03%
6/11/2014                        $0.01                                  0.03%
6/12/2014                        $0.01                                  0.03%
6/13/2014                        $0.01                                  0.03%
6/16/2014                        $0.01                                  0.03%
6/17/2014                        $0.01                                  0.03%
6/18/2014                        $0.01                                  0.03%
6/19/2014                        $0.08                                  0.21%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
6/20/2014                        $0.01                                  0.03%
6/23/2014                        $0.01                                  0.03%
6/24/2014                        $0.09                                  0.25%
6/25/2014                        $0.01                                  0.03%
6/26/2014                        $0.01                                  0.03%
6/27/2014                        $0.09                                  0.25%
6/30/2014                        $0.01                                  0.03%
 7/1/2014                        $0.01                                  0.03%
 7/2/2014                        $0.01                                  0.03%
 7/3/2014                        $0.01                                  0.03%
 7/7/2014                        $0.09                                  0.25%
 7/8/2014                        $0.13                                  0.36%
 7/9/2014                        $0.01                                  0.03%
7/10/2014                        $0.01                                  0.03%
7/11/2014                        $0.01                                  0.03%
7/14/2014                        $0.10                                  0.27%
7/15/2014                        $0.07                                  0.19%
7/16/2014                        $0.01                                  0.03%
7/17/2014                        $0.01                                  0.03%
7/18/2014                        $0.01                                  0.03%
7/21/2014                        $0.01                                  0.03%
7/22/2014                        $0.01                                  0.03%
7/23/2014                        $0.01                                  0.03%
7/24/2014                        $0.01                                  0.03%
7/25/2014                        $0.01                                  0.03%
7/28/2014                        $0.01                                  0.03%
7/29/2014                            --                                      --
7/30/2014                        $0.01                                  0.03%
7/31/2014                        $0.01                                  0.03%
 8/1/2014                        $0.01                                  0.03%
 8/4/2014                        $0.01                                  0.03%
 8/5/2014                        $0.01                                  0.03%
 8/6/2014                        $0.01                                  0.03%
 8/7/2014                            --                                      --
 8/8/2014                            --                                      --
8/11/2014                        $0.01                                  0.02%
8/12/2014                        $0.01                                  0.02%
8/13/2014                        $0.01                                  0.02%
8/14/2014                        $0.01                                  0.02%
8/15/2014                            --                                      --
8/18/2014                        $0.01                                  0.02%
8/19/2014                        $0.01                                  0.02%
8/20/2014                        $0.01                                  0.02%
8/21/2014                        $0.01                                  0.02%
8/22/2014                        $0.01                                  0.02%
8/25/2014                        $0.01                                  0.02%
8/26/2014                        $0.01                                  0.02%


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                                   Appendix H
             Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
   [1]                              [2]                                     [3]
  Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 8/27/2014                        $0.01                                  0.02%
 8/28/2014                        $0.01                                  0.02%
 8/29/2014                        $0.01                                  0.02%
  9/2/2014                        $0.01                                  0.02%
  9/3/2014                        $0.01                                  0.02%
  9/4/2014                        $0.01                                  0.02%
  9/5/2014                        $0.01                                  0.02%
  9/8/2014                        $0.01                                  0.02%
  9/9/2014                        $0.01                                  0.03%
 9/10/2014                        $0.11                                  0.28%
 9/11/2014                        $0.01                                  0.02%
 9/12/2014                            --                                      --
 9/15/2014                        $0.01                                  0.03%
 9/16/2014                            --                                      --
 9/17/2014                        $0.01                                  0.02%
 9/18/2014                        $0.08                                  0.20%
 9/19/2014                        $0.14                                  0.34%
 9/22/2014                        $0.11                                  0.27%
 9/23/2014                        $0.09                                  0.22%
 9/24/2014                        $0.01                                  0.02%
 9/25/2014                        $0.17                                  0.43%
 9/26/2014                        $0.01                                  0.02%
 9/29/2014                        $0.01                                  0.02%
 9/30/2014                            --                                      --
 10/1/2014                        $0.01                                  0.02%
 10/2/2014                            --                                      --
 10/3/2014                        $0.01                                  0.02%
 10/6/2014                        $0.09                                  0.22%
 10/7/2014                        $0.01                                  0.02%
 10/8/2014                        $0.01                                  0.02%
 10/9/2014                        $0.12                                  0.30%
10/10/2014                        $0.01                                  0.03%
10/13/2014                        $0.01                                  0.03%
10/14/2014                        $0.01                                  0.03%
10/15/2014                            --                                      --
10/16/2014                        $0.01                                  0.03%
10/17/2014                        $0.01                                  0.03%
10/20/2014                        $0.01                                  0.03%
10/21/2014                        $0.01                                  0.03%
10/22/2014                        $0.01                                  0.02%
10/23/2014                        $0.01                                  0.03%
10/24/2014                        $0.01                                  0.03%
10/27/2014                        $0.01                                  0.02%
10/28/2014                        $0.01                                  0.02%
10/29/2014                        $0.01                                  0.02%
10/30/2014                        $0.01                                  0.02%
10/31/2014                        $0.01                                  0.02%


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                                   Appendix H
             Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
   [1]                              [2]                                     [3]
  Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 11/3/2014                        $0.01                                  0.02%
 11/4/2014                        $0.01                                  0.02%
 11/5/2014                        $0.01                                  0.02%
 11/6/2014                        $0.01                                  0.03%
 11/7/2014                        $0.01                                  0.03%
11/10/2014                        $0.01                                  0.03%
11/11/2014                        $0.01                                  0.03%
11/12/2014                        $0.01                                  0.02%
11/13/2014                        $0.01                                  0.02%
11/14/2014                        $0.01                                  0.02%
11/17/2014                        $0.01                                  0.02%
11/18/2014                        $0.01                                  0.02%
11/19/2014                            --                                      --
11/20/2014                        $0.01                                  0.02%
11/21/2014                        $0.02                                  0.05%
11/24/2014                        $0.01                                  0.02%
11/25/2014                        $0.01                                  0.03%
11/26/2014                        $0.01                                  0.02%
11/28/2014                        $0.01                                  0.02%
 12/1/2014                        $0.01                                  0.02%
 12/2/2014                        $0.01                                  0.02%
 12/3/2014                        $0.02                                  0.05%
 12/4/2014                        $0.01                                  0.02%
 12/5/2014                        $0.01                                  0.03%
 12/8/2014                        $0.02                                  0.05%
 12/9/2014                        $0.01                                  0.03%
12/10/2014                        $0.01                                  0.03%
12/11/2014                        $0.01                                  0.03%
12/12/2014                        $0.01                                  0.03%
12/15/2014                        $0.02                                  0.05%
12/16/2014                        $0.01                                  0.03%
12/17/2014                        $0.02                                  0.05%
12/18/2014                        $0.02                                  0.05%
12/19/2014                        $0.01                                  0.03%
12/22/2014                        $0.01                                  0.02%
12/23/2014                        $0.01                                  0.02%
12/24/2014                        $0.01                                  0.02%
12/26/2014                        $0.01                                  0.02%
12/29/2014                        $0.01                                  0.02%
12/30/2014                        $0.01                                  0.02%
12/31/2014                        $0.01                                  0.03%
  1/2/2015                        $0.01                                  0.03%
  1/5/2015                        $0.02                                  0.05%
  1/6/2015                        $0.01                                  0.03%
  1/7/2015                        $0.01                                  0.03%
  1/8/2015                        $0.01                                  0.03%
  1/9/2015                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
1/12/2015                        $0.01                                  0.03%
1/13/2015                        $0.01                                  0.03%
1/14/2015                        $0.01                                  0.03%
1/15/2015                        $0.01                                  0.03%
1/16/2015                        $0.01                                  0.03%
1/20/2015                        $0.01                                  0.03%
1/21/2015                        $0.01                                  0.03%
1/22/2015                        $0.01                                  0.03%
1/23/2015                        $0.01                                  0.03%
1/26/2015                        $0.01                                  0.03%
1/27/2015                        $0.01                                  0.03%
1/28/2015                        $0.01                                  0.03%
1/29/2015                        $0.01                                  0.03%
1/30/2015                        $0.01                                  0.03%
 2/2/2015                        $0.01                                  0.03%
 2/3/2015                        $0.01                                  0.03%
 2/4/2015                        $0.01                                  0.03%
 2/5/2015                        $0.01                                  0.03%
 2/6/2015                        $0.01                                  0.03%
 2/9/2015                        $0.01                                  0.03%
2/10/2015                        $0.01                                  0.02%
2/11/2015                        $0.01                                  0.02%
2/12/2015                        $0.01                                  0.03%
2/13/2015                        $0.01                                  0.03%
2/17/2015                        $0.01                                  0.03%
2/18/2015                        $0.01                                  0.03%
2/19/2015                        $0.01                                  0.03%
2/20/2015                            --                                      --
2/23/2015                        $0.01                                  0.03%
2/24/2015                        $0.01                                  0.03%
2/25/2015                        $0.01                                  0.03%
2/26/2015                        $0.01                                  0.03%
2/27/2015                        $0.01                                  0.03%
 3/2/2015                        $0.01                                  0.03%
 3/3/2015                        $0.01                                  0.03%
 3/4/2015                        $0.02                                  0.06%
 3/5/2015                        $0.01                                  0.03%
 3/6/2015                        $0.01                                  0.03%
 3/9/2015                        $0.01                                  0.03%
3/10/2015                        $0.01                                  0.03%
3/11/2015                        $0.01                                  0.03%
3/12/2015                        $0.01                                  0.03%
3/13/2015                        $0.02                                  0.06%
3/16/2015                        $0.01                                  0.03%
3/17/2015                        $0.01                                  0.03%
3/18/2015                        $0.01                                  0.03%
3/19/2015                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
3/20/2015                        $0.01                                  0.03%
3/23/2015                        $0.01                                  0.03%
3/24/2015                        $0.01                                  0.03%
3/25/2015                        $0.01                                  0.03%
3/26/2015                        $0.01                                  0.03%
3/27/2015                        $0.01                                  0.03%
3/30/2015                        $0.01                                  0.03%
3/31/2015                            --                                      --
 4/1/2015                            --                                      --
 4/2/2015                        $0.01                                  0.03%
 4/6/2015                        $0.01                                  0.03%
 4/7/2015                        $0.01                                  0.03%
 4/8/2015                        $0.01                                  0.03%
 4/9/2015                        $0.01                                  0.03%
4/10/2015                        $0.01                                  0.03%
4/13/2015                        $0.01                                  0.03%
4/14/2015                        $0.01                                  0.03%
4/15/2015                        $0.01                                  0.03%
4/16/2015                        $0.01                                  0.03%
4/17/2015                        $0.01                                  0.03%
4/20/2015                        $0.01                                  0.03%
4/21/2015                        $0.01                                  0.03%
4/22/2015                        $0.01                                  0.03%
4/23/2015                        $0.01                                  0.03%
4/24/2015                        $0.01                                  0.03%
4/27/2015                        $0.01                                  0.03%
4/28/2015                        $0.01                                  0.03%
4/29/2015                        $0.01                                  0.03%
4/30/2015                        $0.01                                  0.03%
 5/1/2015                        $0.01                                  0.03%
 5/4/2015                        $0.01                                  0.03%
 5/5/2015                            --                                      --
 5/6/2015                            --                                      --
 5/7/2015                        $0.02                                  0.06%
 5/8/2015                        $0.01                                  0.03%
5/11/2015                        $0.01                                  0.03%
5/12/2015                        $0.01                                  0.03%
5/13/2015                        $0.01                                  0.03%
5/14/2015                        $0.01                                  0.03%
5/15/2015                        $0.01                                  0.03%
5/18/2015                        $0.02                                  0.06%
5/19/2015                        $0.01                                  0.03%
5/20/2015                        $0.01                                  0.03%
5/21/2015                        $0.01                                  0.03%
5/22/2015                        $0.01                                  0.03%
5/26/2015                            --                                      --
5/27/2015                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
5/28/2015                        $0.01                                  0.03%
5/29/2015                        $0.01                                  0.03%
 6/1/2015                        $0.01                                  0.03%
 6/2/2015                        $0.01                                  0.03%
 6/3/2015                            --                                      --
 6/4/2015                            --                                      --
 6/5/2015                        $0.01                                  0.03%
 6/8/2015                        $0.01                                  0.03%
 6/9/2015                        $0.01                                  0.03%
6/10/2015                        $0.01                                  0.03%
6/11/2015                        $0.01                                  0.03%
6/12/2015                        $0.01                                  0.03%
6/15/2015                        $0.01                                  0.03%
6/16/2015                        $0.01                                  0.03%
6/17/2015                        $0.01                                  0.03%
6/18/2015                        $0.01                                  0.03%
6/19/2015                        $0.01                                  0.03%
6/22/2015                        $0.01                                  0.03%
6/23/2015                        $0.01                                  0.03%
6/24/2015                        $0.01                                  0.03%
6/25/2015                        $0.01                                  0.03%
6/26/2015                        $0.01                                  0.03%
6/29/2015                        $0.01                                  0.03%
6/30/2015                        $0.01                                  0.03%
 7/1/2015                        $0.01                                  0.03%
 7/2/2015                        $0.01                                  0.03%
 7/6/2015                        $0.01                                  0.03%
 7/7/2015                        $0.01                                  0.03%
 7/8/2015                        $0.01                                  0.03%
 7/9/2015                        $0.01                                  0.03%
7/10/2015                        $0.01                                  0.03%
7/13/2015                        $0.01                                  0.03%
7/14/2015                        $0.01                                  0.03%
7/15/2015                        $0.01                                  0.03%
7/16/2015                        $0.01                                  0.03%
7/17/2015                        $0.01                                  0.03%
7/20/2015                        $0.01                                  0.03%
7/21/2015                        $0.01                                  0.03%
7/22/2015                        $0.01                                  0.03%
7/23/2015                        $0.01                                  0.03%
7/24/2015                        $0.01                                  0.04%
7/27/2015                        $0.01                                  0.04%
7/28/2015                        $0.01                                  0.04%
7/29/2015                        $0.01                                  0.04%
7/30/2015                        $0.01                                  0.04%
7/31/2015                        $0.01                                  0.03%
 8/3/2015                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 8/4/2015                        $0.01                                  0.04%
 8/5/2015                        $0.01                                  0.04%
 8/6/2015                        $0.01                                  0.04%
 8/7/2015                        $0.01                                  0.04%
8/10/2015                        $0.01                                  0.03%
8/11/2015                        $0.01                                  0.04%
8/12/2015                        $0.01                                  0.04%
8/13/2015                        $0.01                                  0.04%
8/14/2015                        $0.01                                  0.04%
8/17/2015                        $0.01                                  0.04%
8/18/2015                        $0.01                                  0.04%
8/19/2015                        $0.01                                  0.04%
8/20/2015                        $0.01                                  0.04%
8/21/2015                        $0.01                                  0.04%
8/24/2015                            --                                      --
8/25/2015                        $0.01                                  0.04%
8/26/2015                        $0.01                                  0.04%
8/27/2015                        $0.01                                  0.04%
8/28/2015                        $0.01                                  0.04%
8/31/2015                        $0.01                                  0.04%
 9/1/2015                            --                                      --
 9/2/2015                        $0.01                                  0.04%
 9/3/2015                        $0.01                                  0.04%
 9/4/2015                        $0.01                                  0.04%
 9/8/2015                        $0.01                                  0.04%
 9/9/2015                        $0.01                                  0.04%
9/10/2015                        $0.01                                  0.04%
9/11/2015                        $0.01                                  0.04%
9/14/2015                        $0.01                                  0.04%
9/15/2015                        $0.01                                  0.04%
9/16/2015                        $0.01                                  0.04%
9/17/2015                        $0.01                                  0.04%
9/18/2015                        $0.01                                  0.04%
9/21/2015                        $0.01                                  0.04%
9/22/2015                        $0.01                                  0.04%
9/23/2015                        $0.01                                  0.04%
9/24/2015                        $0.01                                  0.04%
9/25/2015                        $0.01                                  0.04%
9/28/2015                        $0.01                                  0.04%
9/29/2015                        $0.01                                  0.04%
9/30/2015                        $0.01                                  0.04%
10/1/2015                        $0.01                                  0.04%
10/2/2015                        $0.01                                  0.04%
10/5/2015                        $0.01                                  0.04%
10/6/2015                        $0.01                                  0.04%
10/7/2015                        $0.01                                  0.04%
10/8/2015                        $0.01                                  0.04%


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                                   Appendix H
             Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
   [1]                              [2]                                     [3]
  Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 10/9/2015                        $0.01                                  0.04%
10/12/2015                        $0.01                                  0.04%
10/13/2015                        $0.01                                  0.04%
10/14/2015                        $0.01                                  0.04%
10/15/2015                        $0.01                                  0.04%
10/16/2015                        $0.01                                  0.04%
10/19/2015                        $0.01                                  0.04%
10/20/2015                        $0.01                                  0.04%
10/21/2015                        $0.01                                  0.04%
10/22/2015                        $0.01                                  0.04%
10/23/2015                        $0.01                                  0.04%
10/26/2015                        $0.01                                  0.04%
10/27/2015                        $0.01                                  0.04%
10/28/2015                        $0.01                                  0.04%
10/29/2015                        $0.01                                  0.04%
10/30/2015                        $0.01                                  0.04%
 11/2/2015                        $0.01                                  0.04%
 11/3/2015                        $0.01                                  0.04%
 11/4/2015                        $0.01                                  0.04%
 11/5/2015                        $0.01                                  0.03%
 11/6/2015                        $0.01                                  0.03%
 11/9/2015                        $0.01                                  0.03%
11/10/2015                        $0.01                                  0.03%
11/11/2015                        $0.01                                  0.04%
11/12/2015                        $0.01                                  0.04%
11/13/2015                        $0.01                                  0.04%
11/16/2015                        $0.01                                  0.04%
11/17/2015                        $0.01                                  0.04%
11/18/2015                        $0.01                                  0.04%
11/19/2015                        $0.01                                  0.04%
11/20/2015                        $0.01                                  0.04%
11/23/2015                        $0.01                                  0.04%
11/24/2015                        $0.01                                  0.04%
11/25/2015                        $0.01                                  0.04%
11/27/2015                        $0.01                                  0.04%
11/30/2015                        $0.01                                  0.04%
 12/1/2015                        $0.01                                  0.04%
 12/2/2015                        $0.01                                  0.04%
 12/3/2015                        $0.01                                  0.04%
 12/4/2015                        $0.01                                  0.04%
 12/7/2015                        $0.01                                  0.04%
 12/8/2015                        $0.01                                  0.04%
 12/9/2015                        $0.01                                  0.04%
12/10/2015                        $0.01                                  0.04%
12/11/2015                        $0.01                                  0.04%
12/14/2015                        $0.01                                  0.04%
12/15/2015                        $0.01                                  0.04%


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                                   Appendix H
             Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
   [1]                              [2]                                     [3]
  Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
12/16/2015                        $0.01                                  0.04%
12/17/2015                        $0.01                                  0.04%
12/18/2015                        $0.01                                  0.04%
12/21/2015                        $0.01                                  0.04%
12/22/2015                        $0.01                                  0.04%
12/23/2015                        $0.01                                  0.04%
12/24/2015                        $0.01                                  0.04%
12/28/2015                        $0.01                                  0.04%
12/29/2015                        $0.01                                  0.04%
12/30/2015                        $0.01                                  0.04%
12/31/2015                        $0.01                                  0.04%
  1/4/2016                        $0.01                                  0.04%
  1/5/2016                        $0.01                                  0.04%
  1/6/2016                        $0.01                                  0.04%
  1/7/2016                        $0.01                                  0.04%
  1/8/2016                        $0.01                                  0.04%
 1/11/2016                        $0.01                                  0.04%
 1/12/2016                        $0.01                                  0.04%
 1/13/2016                        $0.01                                  0.04%
 1/14/2016                        $0.01                                  0.04%
 1/15/2016                        $0.01                                  0.04%
 1/19/2016                        $0.01                                  0.04%
 1/20/2016                        $0.01                                  0.04%
 1/21/2016                        $0.01                                  0.04%
 1/22/2016                        $0.01                                  0.04%
 1/25/2016                        $0.01                                  0.04%
 1/26/2016                        $0.01                                  0.04%
 1/27/2016                        $0.01                                  0.04%
 1/28/2016                        $0.01                                  0.04%
 1/29/2016                        $0.01                                  0.04%
  2/1/2016                        $0.01                                  0.04%
  2/2/2016                        $0.01                                  0.04%
  2/3/2016                        $0.01                                  0.04%
  2/4/2016                        $0.01                                  0.04%
  2/5/2016                        $0.01                                  0.04%
  2/8/2016                        $0.01                                  0.04%
  2/9/2016                        $0.01                                  0.04%
 2/10/2016                        $0.01                                  0.04%
 2/11/2016                        $0.01                                  0.04%
 2/12/2016                        $0.01                                  0.03%
 2/16/2016                        $0.01                                  0.03%
 2/17/2016                        $0.01                                  0.03%
 2/18/2016                        $0.01                                  0.03%
 2/19/2016                        $0.01                                  0.03%
 2/22/2016                        $0.01                                  0.03%
 2/23/2016                        $0.01                                  0.03%
 2/24/2016                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
2/25/2016                        $0.01                                  0.03%
2/26/2016                        $0.01                                  0.03%
2/29/2016                        $0.01                                  0.03%
 3/1/2016                        $0.01                                  0.03%
 3/2/2016                        $0.01                                  0.03%
 3/3/2016                        $0.01                                  0.03%
 3/4/2016                        $0.01                                  0.03%
 3/7/2016                        $0.01                                  0.03%
 3/8/2016                        $0.01                                  0.03%
 3/9/2016                        $0.01                                  0.03%
3/10/2016                        $0.01                                  0.03%
3/11/2016                        $0.01                                  0.03%
3/14/2016                        $0.01                                  0.03%
3/15/2016                        $0.01                                  0.03%
3/16/2016                        $0.01                                  0.03%
3/17/2016                        $0.01                                  0.03%
3/18/2016                        $0.01                                  0.03%
3/21/2016                        $0.01                                  0.03%
3/22/2016                        $0.01                                  0.03%
3/23/2016                        $0.01                                  0.03%
3/24/2016                        $0.01                                  0.03%
3/28/2016                        $0.01                                  0.03%
3/29/2016                        $0.01                                  0.03%
3/30/2016                        $0.01                                  0.03%
3/31/2016                        $0.01                                  0.03%
 4/1/2016                        $0.01                                  0.03%
 4/4/2016                        $0.01                                  0.03%
 4/5/2016                        $0.01                                  0.03%
 4/6/2016                        $0.01                                  0.03%
 4/7/2016                        $0.01                                  0.03%
 4/8/2016                        $0.01                                  0.03%
4/11/2016                        $0.01                                  0.03%
4/12/2016                        $0.01                                  0.03%
4/13/2016                        $0.01                                  0.03%
4/14/2016                        $0.01                                  0.03%
4/15/2016                        $0.01                                  0.03%
4/18/2016                        $0.01                                  0.03%
4/19/2016                        $0.01                                  0.03%
4/20/2016                        $0.01                                  0.03%
4/21/2016                        $0.01                                  0.03%
4/22/2016                        $0.01                                  0.03%
4/25/2016                        $0.01                                  0.03%
4/26/2016                        $0.01                                  0.03%
4/27/2016                        $0.01                                  0.03%
4/28/2016                        $0.01                                  0.03%
4/29/2016                        $0.01                                  0.03%
 5/2/2016                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 5/3/2016                        $0.01                                  0.03%
 5/4/2016                        $0.01                                  0.03%
 5/5/2016                        $0.01                                  0.04%
 5/6/2016                        $0.01                                  0.04%
 5/9/2016                        $0.01                                  0.04%
5/10/2016                        $0.01                                  0.03%
5/11/2016                        $0.01                                  0.04%
5/12/2016                        $0.01                                  0.04%
5/13/2016                        $0.01                                  0.04%
5/16/2016                        $0.01                                  0.04%
5/17/2016                        $0.01                                  0.04%
5/18/2016                        $0.01                                  0.04%
5/19/2016                        $0.01                                  0.04%
5/20/2016                        $0.01                                  0.04%
5/23/2016                        $0.01                                  0.04%
5/24/2016                        $0.01                                  0.04%
5/25/2016                        $0.01                                  0.04%
5/26/2016                        $0.01                                  0.04%
5/27/2016                        $0.01                                  0.04%
5/31/2016                        $0.01                                  0.04%
 6/1/2016                        $0.01                                  0.04%
 6/2/2016                        $0.01                                  0.04%
 6/3/2016                        $0.01                                  0.04%
 6/6/2016                        $0.01                                  0.04%
 6/7/2016                        $0.01                                  0.04%
 6/8/2016                        $0.01                                  0.04%
 6/9/2016                        $0.01                                  0.04%
6/10/2016                        $0.01                                  0.04%
6/13/2016                        $0.01                                  0.04%
6/14/2016                        $0.01                                  0.04%
6/15/2016                        $0.01                                  0.04%
6/16/2016                        $0.01                                  0.04%
6/17/2016                        $0.01                                  0.04%
6/20/2016                        $0.01                                  0.04%
6/21/2016                        $0.01                                  0.04%
6/22/2016                        $0.01                                  0.04%
6/23/2016                        $0.01                                  0.04%
6/24/2016                        $0.01                                  0.04%
6/27/2016                        $0.01                                  0.04%
6/28/2016                        $0.01                                  0.04%
6/29/2016                        $0.01                                  0.04%
6/30/2016                        $0.01                                  0.03%
 7/1/2016                        $0.02                                  0.07%
 7/5/2016                        $0.01                                  0.03%
 7/6/2016                        $0.01                                  0.03%
 7/7/2016                        $0.01                                  0.03%
 7/8/2016                        $0.01                                  0.03%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
7/11/2016                        $0.01                                  0.03%
7/12/2016                        $0.01                                  0.03%
7/13/2016                        $0.01                                  0.03%
7/14/2016                        $0.01                                  0.03%
7/15/2016                        $0.01                                  0.03%
7/18/2016                        $0.01                                  0.03%
7/19/2016                        $0.01                                  0.03%
7/20/2016                        $0.01                                  0.03%
7/21/2016                        $0.01                                  0.03%
7/22/2016                        $0.01                                  0.03%
7/25/2016                        $0.01                                  0.03%
7/26/2016                        $0.01                                  0.03%
7/27/2016                        $0.01                                  0.03%
7/28/2016                        $0.01                                  0.03%
7/29/2016                        $0.01                                  0.03%
 8/1/2016                        $0.01                                  0.03%
 8/2/2016                        $0.01                                  0.03%
 8/3/2016                        $0.01                                  0.03%
 8/4/2016                        $0.01                                  0.03%
 8/5/2016                        $0.01                                  0.03%
 8/8/2016                        $0.01                                  0.03%
 8/9/2016                        $0.01                                  0.03%
8/10/2016                        $0.01                                  0.03%
8/11/2016                        $0.01                                  0.03%
8/12/2016                        $0.01                                  0.03%
8/15/2016                        $0.01                                  0.03%
8/16/2016                        $0.01                                  0.03%
8/17/2016                        $0.01                                  0.03%
8/18/2016                        $0.01                                  0.03%
8/19/2016                        $0.01                                  0.03%
8/22/2016                        $0.01                                  0.03%
8/23/2016                        $0.01                                  0.03%
8/24/2016                        $0.01                                  0.03%
8/25/2016                        $0.01                                  0.03%
8/26/2016                        $0.01                                  0.03%
8/29/2016                        $0.01                                  0.03%
8/30/2016                        $0.01                                  0.04%
8/31/2016                        $0.01                                  0.04%
 9/1/2016                        $0.01                                  0.04%
 9/2/2016                        $0.01                                  0.04%
 9/6/2016                        $0.01                                  0.04%
 9/7/2016                        $0.01                                  0.04%
 9/8/2016                        $0.01                                  0.04%
 9/9/2016                        $0.01                                  0.04%
9/12/2016                        $0.01                                  0.04%
9/13/2016                        $0.01                                  0.04%
9/14/2016                        $0.01                                  0.04%


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                                   Appendix H
             Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
   [1]                              [2]                                     [3]
  Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 9/15/2016                        $0.01                                  0.04%
 9/16/2016                        $0.01                                  0.04%
 9/19/2016                        $0.01                                  0.04%
 9/20/2016                        $0.01                                  0.04%
 9/21/2016                        $0.01                                  0.04%
 9/22/2016                        $0.01                                  0.04%
 9/23/2016                        $0.01                                  0.04%
 9/26/2016                        $0.01                                  0.04%
 9/27/2016                        $0.01                                  0.04%
 9/28/2016                        $0.01                                  0.04%
 9/29/2016                        $0.01                                  0.04%
 9/30/2016                        $0.01                                  0.04%
 10/3/2016                        $0.01                                  0.04%
 10/4/2016                        $0.01                                  0.04%
 10/5/2016                        $0.01                                  0.04%
 10/6/2016                        $0.01                                  0.04%
 10/7/2016                        $0.01                                  0.04%
10/10/2016                        $0.01                                  0.04%
10/11/2016                        $0.01                                  0.04%
10/12/2016                        $0.01                                  0.04%
10/13/2016                        $0.01                                  0.04%
10/14/2016                        $0.01                                  0.04%
10/17/2016                        $0.01                                  0.04%
10/18/2016                        $0.01                                  0.04%
10/19/2016                        $0.01                                  0.04%
10/20/2016                        $0.01                                  0.04%
10/21/2016                        $0.01                                  0.04%
10/24/2016                        $0.01                                  0.04%
10/25/2016                        $0.01                                  0.04%
10/26/2016                        $0.01                                  0.04%
10/27/2016                        $0.01                                  0.03%
10/28/2016                        $0.01                                  0.03%
10/31/2016                        $0.01                                  0.04%
 11/1/2016                        $0.01                                  0.04%
 11/2/2016                        $0.01                                  0.04%
 11/3/2016                        $0.01                                  0.04%
 11/4/2016                        $0.01                                  0.04%
 11/7/2016                        $0.01                                  0.04%
 11/8/2016                        $0.01                                  0.04%
 11/9/2016                        $0.01                                  0.04%
11/10/2016                        $0.01                                  0.04%
11/11/2016                        $0.01                                  0.04%
11/14/2016                        $0.01                                  0.04%
11/15/2016                        $0.01                                  0.04%
11/16/2016                        $0.01                                  0.04%
11/17/2016                        $0.01                                  0.04%
11/18/2016                        $0.01                                  0.04%


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                                   Appendix H
             Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
   [1]                              [2]                                     [3]
  Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
11/21/2016                        $0.01                                  0.04%
11/22/2016                        $0.01                                  0.04%
11/23/2016                        $0.01                                  0.04%
11/25/2016                        $0.02                                  0.08%
11/28/2016                        $0.01                                  0.04%
11/29/2016                        $0.01                                  0.04%
11/30/2016                        $0.01                                  0.04%
 12/1/2016                        $0.01                                  0.04%
 12/2/2016                        $0.01                                  0.04%
 12/5/2016                        $0.01                                  0.04%
 12/6/2016                        $0.01                                  0.04%
 12/7/2016                        $0.01                                  0.04%
 12/8/2016                        $0.01                                  0.04%
 12/9/2016                        $0.01                                  0.04%
12/12/2016                        $0.01                                  0.04%
12/13/2016                        $0.01                                  0.04%
12/14/2016                        $0.01                                  0.04%
12/15/2016                        $0.01                                  0.04%
12/16/2016                        $0.01                                  0.04%
12/19/2016                        $0.01                                  0.04%
12/20/2016                        $0.01                                  0.04%
12/21/2016                        $0.01                                  0.04%
12/22/2016                        $0.01                                  0.04%
12/23/2016                        $0.01                                  0.04%
12/27/2016                        $0.01                                  0.04%
12/28/2016                        $0.01                                  0.04%
12/29/2016                        $0.01                                  0.04%
12/30/2016                        $0.01                                  0.04%
  1/3/2017                        $0.01                                  0.04%
  1/4/2017                        $0.01                                  0.04%
  1/5/2017                        $0.01                                  0.04%
  1/6/2017                        $0.01                                  0.04%
  1/9/2017                        $0.01                                  0.04%
 1/10/2017                        $0.01                                  0.04%
 1/11/2017                        $0.01                                  0.04%
 1/12/2017                        $0.01                                  0.04%
 1/13/2017                        $0.01                                  0.04%
 1/17/2017                        $0.01                                  0.04%
 1/18/2017                        $0.01                                  0.04%
 1/19/2017                        $0.01                                  0.04%
 1/20/2017                        $0.01                                  0.04%
 1/23/2017                        $0.01                                  0.04%
 1/24/2017                        $0.01                                  0.04%
 1/25/2017                        $0.01                                  0.04%
 1/26/2017                        $0.01                                  0.04%
 1/27/2017                        $0.01                                  0.04%
 1/30/2017                        $0.01                                  0.04%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
1/31/2017                        $0.01                                  0.04%
 2/1/2017                        $0.01                                  0.04%
 2/2/2017                        $0.01                                  0.04%
 2/3/2017                        $0.01                                  0.04%
 2/6/2017                        $0.01                                  0.04%
 2/7/2017                        $0.01                                  0.04%
 2/8/2017                        $0.01                                  0.04%
 2/9/2017                        $0.01                                  0.04%
2/10/2017                        $0.01                                  0.04%
2/13/2017                        $0.01                                  0.04%
2/14/2017                        $0.01                                  0.04%
2/15/2017                        $0.01                                  0.04%
2/16/2017                        $0.01                                  0.04%
2/17/2017                        $0.01                                  0.04%
2/21/2017                        $0.01                                  0.04%
2/22/2017                        $0.01                                  0.04%
2/23/2017                        $0.01                                  0.04%
2/24/2017                        $0.01                                  0.04%
2/27/2017                        $0.01                                  0.04%
2/28/2017                        $0.01                                  0.04%
 3/1/2017                        $0.01                                  0.04%
 3/2/2017                        $0.01                                  0.04%
 3/3/2017                        $0.01                                  0.04%
 3/6/2017                        $0.01                                  0.04%
 3/7/2017                        $0.01                                  0.04%
 3/8/2017                        $0.01                                  0.04%
 3/9/2017                        $0.01                                  0.04%
3/10/2017                        $0.01                                  0.04%
3/13/2017                        $0.01                                  0.04%
3/14/2017                        $0.01                                  0.04%
3/15/2017                        $0.01                                  0.04%
3/16/2017                        $0.01                                  0.04%
3/17/2017                        $0.01                                  0.04%
3/20/2017                        $0.01                                  0.04%
3/21/2017                        $0.01                                  0.04%
3/22/2017                        $0.01                                  0.04%
3/23/2017                        $0.01                                  0.04%
3/24/2017                        $0.01                                  0.04%
3/27/2017                        $0.01                                  0.04%
3/28/2017                        $0.01                                  0.04%
3/29/2017                        $0.01                                  0.04%
3/30/2017                        $0.01                                  0.04%
3/31/2017                        $0.01                                  0.04%
 4/3/2017                        $0.01                                  0.04%
 4/4/2017                        $0.01                                  0.04%
 4/5/2017                        $0.01                                  0.04%
 4/6/2017                        $0.01                                  0.04%


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                                  Appendix H
            Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
  [1]                              [2]                                     [3]
 Date                  Closing Bid-Ask Spread ($)             Closing Bid-Ask Spread (%)
 4/7/2017                        $0.01                                  0.04%
4/10/2017                        $0.01                                  0.04%
4/11/2017                        $0.01                                  0.04%
4/12/2017                        $0.01                                  0.04%
4/13/2017                        $0.01                                  0.04%
4/17/2017                        $0.01                                  0.04%
4/18/2017                        $0.01                                  0.04%
4/19/2017                        $0.01                                  0.04%
4/20/2017                        $0.01                                  0.04%
4/21/2017                        $0.01                                  0.04%
4/24/2017                        $0.01                                  0.04%
4/25/2017                        $0.01                                  0.04%
4/26/2017                        $0.01                                  0.04%
4/27/2017                        $0.01                                  0.04%
4/28/2017                        $0.01                                  0.04%
 5/1/2017                        $0.01                                  0.04%
 5/2/2017                        $0.01                                  0.04%
 5/3/2017                        $0.01                                  0.04%
 5/4/2017                        $0.01                                  0.04%
 5/5/2017                        $0.01                                  0.04%
 5/8/2017                        $0.01                                  0.04%
 5/9/2017                        $0.01                                  0.04%
5/10/2017                        $0.01                                  0.04%
5/11/2017                        $0.01                                  0.04%
5/12/2017                        $0.01                                  0.04%
5/15/2017                        $0.01                                  0.04%
5/16/2017                        $0.01                                  0.04%
5/17/2017                        $0.01                                  0.04%
5/18/2017                        $0.01                                  0.04%
5/19/2017                        $0.01                                  0.04%
5/22/2017                        $0.01                                  0.04%
5/23/2017                        $0.01                                  0.04%
5/24/2017                        $0.01                                  0.04%
5/25/2017                        $0.01                                  0.04%
5/26/2017                        $0.01                                  0.04%
5/30/2017                        $0.01                                  0.04%
5/31/2017                        $0.01                                  0.04%
 6/1/2017                        $0.01                                  0.04%
 6/2/2017                        $0.01                                  0.04%
 6/5/2017                        $0.01                                  0.04%
 6/6/2017                        $0.01                                  0.04%
 6/7/2017                        $0.01                                  0.04%
 6/8/2017                        $0.01                                  0.04%
 6/9/2017                        $0.01                                  0.04%
6/12/2017                        $0.01                                  0.04%
6/13/2017                        $0.01                                  0.04%
6/14/2017                        $0.01                                  0.04%


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                                               Appendix H
                         Daily Bid-Ask Spread in CenturyLink, Inc. Common Stock
         [1]                                         [2]                                              [3]
        Date                             Closing Bid-Ask Spread ($)                      Closing Bid-Ask Spread (%)
       6/15/2017                                   $0.01                                           0.04%
       6/16/2017                                   $0.01                                           0.04%
       6/19/2017                                   $0.01                                           0.04%
       6/20/2017                                   $0.01                                           0.04%
       6/21/2017                                   $0.01                                           0.04%
       6/22/2017                                   $0.01                                           0.04%
       6/23/2017                                   $0.01                                           0.04%
       6/26/2017                                   $0.01                                           0.04%
       6/27/2017                                   $0.01                                           0.04%
       6/28/2017                                   $0.01                                           0.04%
       6/29/2017                                   $0.01                                           0.04%
       6/30/2017                                   $0.01                                           0.04%
        7/3/2017                                   $0.01                                           0.04%
        7/5/2017                                   $0.01                                           0.04%
        7/6/2017                                   $0.01                                           0.04%
        7/7/2017                                   $0.01                                           0.04%
       7/10/2017                                   $0.01                                           0.04%
       7/11/2017                                   $0.01                                           0.04%
       7/12/2017                                   $0.01                                           0.04%

Notes:
The percent bid-ask spread was calculated as (i) the closing ask quote less the closing bid quote divided by (ii) the average of
the bid and ask quotes.
Source:
Bloomberg.




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                                      Appendix I
              Methodology Employed to Use TRACE Data for Event Studies,
     Calculations of Average Weekly Turnover and Estimates of the Bid-Ask Spreads


        1.     The Trade Reporting and Compliance Engine, better known as TRACE, is an

over-the-counter real-time price dissemination service for the fixed income (i.e., bond)

market owned and operated by the Financial Industry Regulatory Authority (“FINRA”). I

relied upon TRACE transaction data for several analyses of the 7.6% Note, including event

studies, calculations of average weekly turnover, determination of the number of brokers and

market makers, and estimates of the bid-ask spreads.1

        2.     Staff, at my direction, imported, closely examined, and evaluated the original

TRACE records as described below. Staff then organized the TRACE files to limit the

dataset to include only those trade records that are relevant in determining whether the 7.6%

Note traded in an open, developed and efficient market.

        3.     To determine which records would be included in the various analyses, I relied

upon a TRACE Excel file2 with data field definitions and prior experience working with

similar TRACE data provided by FINRA.

        4.     The TRACE data contains a field or variable called “Market Indicator.” I

included in the analyses only trades with the code “S1,” signifying “Trade was executed in

the secondary market.”


1
    The datasets I relied upon in my analyses are Microsoft Excel files produced in response to a
    subpoena issued by the Lead Plaintiff’s Counsel. The Excel files are titled “CA Trades Jul012012
    through Dec312012 (DIVER).xlsx” and “CA Trades Jan012013 through Sep272019 (DIVER).xlsx.”
    The Excel files contain data for the period July 2012 through September 2019.
2
    The file with data field definitions I relied upon is a Microsoft Excel file produced in response to a
    subpoena issued by the Lead Plaintiffs’ Counsel titled “Trade Data Fields and Definitions for CA
    Bonds (DIVER-CA Trade Details) May172019.xlsx.”


                                                     I-1
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        5.      The TRACE data includes a field or variable called “Status” that indicates the

status of entered transactions. Records have the following Status codes:

           1) T = Newly Reported Trade;

           2) Y = Reversal (Historical Trade Cancels);

           3) X = Cancelled;

           4) C = Correction (cancelled portion); and

           5) R = Correction (new trade portion).3

        6.      I only included records with Status codes of “Newly Reported Trade” and

“Correction (new trade portion)” (i.e., observations where Status = “T” or Status = “R”) and

also removed the original records that I was able to match to a Correction (cancelled portion,

Status = “C”), Cancelled trade (Status = “X”), or Reversal (Historical Trade Cancels, Status

= “Y”).4

        7.      To identify publicly reported trades, I exclude any trades where the Contra

Party was not designated to be a Customer (Contra Side MPID code “C”) and the Buy/Sell

indicator was a buy (code “B”).5         Unless otherwise indicated, I include only publicly-




3
    There are different status codes for “NYSE” trades, but the records in the data are for “MPP” trades.
4
    I used the following algorithm to identify original records (status code equal to “T” or “R”) that
    match to records with Status codes of C, X, or Y (“C/X/Y”). Original records were identified by
    matching the variable “First System Control ID” from a C/X/Y record to the “System Control ID”
    variable for the original record and also matching the variables “Execution Dt” and “Report Side
    MPID”. I applied this algorithm to transactions occurring between July 1, 2012 and December 31,
    2017. For these 74,073 transactions, 2.0% (1,506 transactions) had Status codes of C, X, or Y, which
    I matched to 1,462 original transactions after removing duplicates, yielding 71,105 transactions.
5
    This effectively removes broker-to-broker trades reported by the buy side of the transaction. Out of
    the 71,105 overall transactions, 19,433 fit this criterion. Of these 19,433 observations, 95
    observations have a Media Report Indicator of “Y” for public dissemination, with all 95 having a
    Contra Side MP code of “A” (denoting “Affiliate”).


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reported trades in my analysis. For the date of the trade, I use the variable “Execution Dt.”

For time of the trade, I use the variable “Execution Tm.”

       8.     In addition, unless otherwise specified, I include only days on which the stock

market was open for trading and I also exclude any additional dates that are “Recommended

Full Close” by SIFMA (the Securities Industry and Financial Markets Association).6

       Calculation of daily volume and dollar amount traded series

       9.     I calculated daily volume by summing the volume for all records on a given

day (subject to the conditions listed above). In other words, I summed up the “Entered

Volume” for each transaction record on that day. In addition, I calculated the daily dollar

amount traded by summing up the dollar amount (or market value) of each transaction record

on that day. The market value of each trade is equal to the “Entered Volume” multiplied by

“Entered Pr” and divided by 100. “Entered Pr” is the price per $100 in face value of the

Note, while “Entered Volume” is equal to the total face value of the Notes traded (with each

Note having a face value of $1,000 per bond).

       Calculation of daily volume-weighted average price (“VWAP”) series

       10.    Each day I calculated a volume-weighted average price (VWAP) by using all

records for that specific day subject to the restrictions listed above and an additional

restriction that the trade take place between 9:30 am and 4:00 pm (matching the standard

trading hours of the US stock market). For Price, I used “Entered Pr,” which was then

weighted by the “Entered Volume.”


6
    The addition “Recommended Full Close Dates” are 10/8/2012, 11/12/2012, 10/14/2013, 11/11/2013,
    10/13/2014, 11/11/2014, 10/12/2015, 11/11/2015, 10/10/2016, 11/11/2016 and 10/9/2017
    (https://www.sifma.org/wp-content/uploads/2017/06/misc-us-historical-holiday-market-
    recommendations-sifma.pdf; https://www.sifma.org/about/.; last visited August 26, 2019).


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        Determination of unique brokers

        11.    To determine the list of brokers trading each Note, I extracted each unique

broker name from the variable “Report Side MPID.”7                  I created this list without any

restriction as to whether the trade was publicly reported or the date of the trade.

        Calculation of daily bid-ask spread series

        12.    Because I do not have access to bid or ask quotation data, but only trade data, I

created proxies for the market makers’ bid-ask spreads based on actual purchase and sale

prices.8 For this analysis, I restricted the trades to only those within the stock market trading

hours of 9:30 am to 4:00 pm.

        13.    I created two subsets of records. For the first subset of records, I gathered all

purchases and sales made by customers (non-brokers), which are all the records where the

variable “Contra Side MPID” is identified with a code = “C”. I used this subset to create two

proxies: one “ask proxy” based on each customer purchase record (which represents a market

maker sale at the market maker ask price); and one “bid proxy” based on each customer sale

record (which represents a market maker buy at the market maker bid price). For each

record with a customer buy (sale),9 I found whether there are any corresponding sale (buy)

records that are within 15 minutes of the record of interest. I required that all matched

7
    Trades that are not publicly reported are generally between two brokers, who both report the trade.
    The sell-side report is then publicly disseminated.
8
    It is my understanding of the TRACE data that the prices include mark-ups that substitute for fees
    and/or commissions. For common stock transactions, fees and/or commissions are separate from the
    bid-ask spreads. Thus, to the extent that fees and/or commissions are included in the transaction
    prices, a bid-ask spread that includes only customer transactions would be wider than a spread that is
    associated with market making activities.
9
    Using the variable “Buy/Sell,” a customer buy is identified in the database with an “S,” while a
    customer sale is identified with a “B”. These codes are opposite to the customer action because they
    are based on the reporting broker’s side of the trade – i.e., when a customer buys, the broker sells and
    thus the broker reports the activity as an “S” transaction.


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records create a positive spread (i.e., because the customer purchases from a market maker,

the customer buys (sells) at the market maker’s ask (bid) price that is greater than the

customer sale (purchase) or market maker bid (ask) price).

         14.    I then volume-weighted the matched customer sale (buy) records to determine

the market makers’ bid (ask) price proxy for use in calculating a bid-ask spread for the buy

(sale) record. Once I determined the spread (measured in percentage terms)10 for each buy

(sale) record, for each date I then calculated a volume-weighted bid-ask spread (using as

weight the volume for each buy (sale) transaction on that specific day).

         15.    The second subset of records is based on gathering all purchases and sales

made by brokers (i.e., transactions between customers and broker, and between two brokers).

For this analysis, I used broker trades within the stock market trading hours of 9:30 am to

4:00 pm, including those that were not publicly reported. As before, I created two proxies:

one based on each broker purchase or bid record; and one based on each broker sale or ask

record. For these proxies, I matched each buy (sale) transaction by a specific broker (based

on the variable “Report Side MPID”) to any sale (buy) transactions by the same broker

within 15 minutes of the record of interest. I required that all matched records create a

positive spread (i.e., an ask price greater than a bid price). I then volume-weighted the

matched sale (buy) records to determine the ask (bid) price for use in calculating a bid-ask

spread for the buy (sale) record. Once I determined the spread (measured in percentage




10
     The percentage spread is equal to ask price less the bid price, then divided by the average of the bid
     and ask prices.


                                                     I-5
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terms)11 for each buy (sale) record, I then volume-weighted these spreads to obtain a volume

weighted average daily bid-ask spread.




11
     The percentage spread is equal to ask price less the bid price, then divided by the average of the bid
     and ask prices.


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                                                             Appendix J
                                                      Credit Rating Definitions

                                                                  Moody's
                                                               Issuer Ratings

Foreign Currency: Moody's Foreign Currency Issuer Ratings are opinions of the ability of entities to honor senior unsecured financial
obligations and contracts denominated in foreign currency. These ratings are subject to Moody's Foreign Currency Country Ceilings.
Issuer Ratings are unlike our long term debt ratings in that they are assigned to issuers rather than specific debt issues. Specific debt
issues of the issuer may be rated differently, and are considered unrated unless individually rated by Moody's. Unless specified,
obligations guaranteed by the issuer are considered unrated and are not covered by the issuer rating.


Domestic Currency: Moody's Domestic Currency Issuer Ratings are opinions of the ability of entities to honor senior unsecured financial
obligations and contracts denominated in their domestic currency.


Derivative Product Companies: Issuer ratings that are assigned to derivative product companies are opinions of the financial capacity of
an obligor to honor its senior obligations under financial contracts, given appropriate documentation and authorizations.


Aaa Counterparties rated Aaa offer exceptional financial security and have the smallest degree of risk. While the financial strength of
these entities may change, such changes as can be visualized are most unlikely to impair the entities' strong position.

Aa Counterparties rated Aa offer excellent financial security but are rated lower than Aaa counterparties because long-term risks appear
somewhat larger. The margins of protection may not be as large as with Aaa counterparties, or fluctuations of protective elements may be
of greater amplitude.

A Counterparties rated A offer good financial security. However, elements may be present that suggest a susceptibility to impairment at
some time in the future.


Baa Counterparties rated Baa offer adequate financial security. However, certain protective elements may be lacking or may be
characteristically unreliable over any great length of time.


Ba Counterparties rated Ba offer questionable financial security. Often the ability of these entities to meet counterparty obligations may
be uncertain and thereby not well safeguarded in the future.

B  Counterparties rated B offer poor financial security. Assurance of punctual payment of obligations over any long period of time is
small.

Caa Counterparties rated Caa offer very poor financial security. Such counterparties may be in default, or there may be present elements
of danger with regard to financial capacity.

Ca Counterparties rated Ca offer extremely poor financial security. Such counterparties are often in default on their obligations.

C   Counterparties rated C are the lowest rated class of counterparties, are usually in default on their obligations, and potential recovery
values are low.

WR Withdrawn


Moody's applies numerical modifiers 1, 2, and 3 in each generic rating category from Aa to Caa. The modifier 1 indicates that the
counterparty is in the higher end of its letter-rating category; the modifier 2 indicates a mid-range ranking; and the modifier 3 indicates
that the counterparty is in the lower end of the letter-rating category.




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                                                            Appendix J
                                                     Credit Rating Definitions
                                                     Moody's Investors Service
                                                     Long-Term Debt Ratings

Aaa Highest quality with minimal risk.


Aa High quality, subject to very low default risk.


A   Upper-medium grade, subject to low credit risk.

Baa Medium-grade, moderate credit risk, may have speculative characteristics.


Ba Substantial credit risk, have speculative characteristics.


B   High credit risk, considered speculative.

Caa Very high credit risk, poor standing.


Ca Highly speculative. Likely in or very near default with some prospect of recovery of principal and interest.


C   Lowest rated class of bonds. Typically in default with little prospect for recovery of principal or interest.

WR Withdrawn


NR An unrated issuer, obligation, and/or program.


Ratings from Aaa to Baa3 are investment grade ratings. Ratings from Ba1 to C are non-investment grade ratings.

Moody's long-term obligation ratings are opinions of the relative credit risk of fixed-income obligations with an original maturity of one
year or more. They address the possibility that a financial obligation will not be honored as promised. Such ratings reflect both the
likelihood of default and any financial loss suffered in the event of default.

Moody's applies numerical modifiers 1, 2, and 3 in each generic rating classification from Aa through Caa. The modifier 1 indicates that the
obligation ranks in the higher end of its generic rating category; the modifier 2 indicates a mid-range ranking; and the modifier 3 indicates
a ranking in the lower end of that generic rating category.




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                                                                Appendix J
                                                         Credit Rating Definitions
                                                                 Fitch
                                                   International Long-Term Credit
AAA Highest credit quality. 'AAA' ratings denote the lowest expectation of credit risk. They are assigned only in case of exceptionally
strong capacity for timely payment of financial commitments. This capacity is highly unlikely to be adversely affected by foreseeable
events.

AA Very high credit quality. 'AA' ratings denote a very low expectation of credit risk. They indicate very strong capacity for timely
payment of financial commitments. This capacity is not significantly vulnerable to foreseeable events.

A   High credit quality. 'A' ratings denote a low expectation of credit risk. The capacity for timely payment of financial commitments is
considered strong. This capacity may, nevertheless, be more vulnerable to changes in circumstances or in economic conditions than is the
case for higher ratings.

BBB Good credit quality. 'BBB' ratings indicate that there is currently a low expectation of credit risk. The capacity for timely payment
of financial commitments is considered adequate, but adverse changes in circumstances and in economic conditions are more likely to
impair this capacity. This is the lowest investment-grade category.


Speculative Grade

BB Speculative. 'BB' ratings indicate that there is a possibility of credit risk developing, particularly as the result of adverse economic
change over time; however, business or financial alternatives may be available to allow financial commitments to be met. Securities rated
in this category are not investment grade.
B  Highly speculative. 'B' ratings indicate that significant credit risk is present, but a limited margin of safety remains. Financial
commitments are currently being met; however, capacity for continued payment is contingent upon a sustained, favorable business and
economic environment.
CCC, CC, C High default risk. Default is a real possibility. Capacity for meeting financial commitments is solely reliant upon sustained
favorable business or economic developments. A 'CC' rating indicates that default of some kind appears probable. 'C' ratings signal
imminent default.

RD An entity that has failed to make due payments (within the applicable grace period) on some but not all material financial obligations, but
continues to honor other classes of obligations.


D An issuer that in Fitch Ratings' opinion has entered into bankruptcy filings, administration, receivership, liquidation or other formal winding-up
procedure, or which has otherwise ceased business.


WD Rating has been removed and the issue is no longer rated by Fitch.


PIF Trache has reached maturity, regardless of whether it was amortized or called early. Used for structured finance transactions. As the issue no
longer exists, it is no longer rated.


NR Not rated.


"+" or "-"  may be appended to a rating to denote relative status within major rating categories. Such suffixes are not added to the
'AAA' long-term rating category or to categories below 'CCC'.

Rating Watch and Rating Outlook Ratings are placed on Rating Watch or Rating Outlook to indicate that there is a reasonable likelihood of a
rating change as well as the likely direction of such change. Rating Watch is typically resolved over a relatively shorter period (12 months), than
Rating Outlook (beyond 1 to 2 years).

Indicators are designated as "Positive", indicating a potential upgrade, "Negative", for a potential downgrade, or "Evolving", if ratings are
raised, lowered, or maintained.




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                                                                 Appendix J
                                                          Credit Rating Definitions
                                                            Standard & Poor's
                                                          Long-Term Issue Ratings
AAA Highest rating assigned by S&P. The obligor's capacity to meet its financial commitment on the obligation is EXTREMELY
STRONG.

AA Differs from the highest rated obligations only in small degree. The obligor's capacity to meet its financial commitment on the
obligation is VERY STRONG.

A Somewhat more susceptible to the adverse effects of changes in circumstances and economic conditions that obligations in higher
rated categories. However, the obligor's capacity to meet its financial commitment on the obligation is still STRONG.


BBB ADEQUATE protection parameters. However, adverse economic conditions or changing circumstances are more likely to lead to a
weakened capacity of the obligor to meet its financial commitment on the obligation.

Obligors rated 'BB', 'B', 'CCC', and 'CC' and 'C' are regarded as having significant speculative characteristics. 'BB' indicates the least
degree of speculation and 'C' the highest. While such obligations will likely have some quality and protective characteristics, these may be
outweighed by large uncertainties or major exposures to adverse conditions.

BB LESS VULNERABLE to non payment that other speculative issues. However, it faces major ongoing uncertainties or exposure to
adverse business, financial, or economic conditions which could lead to the obligor's inadequate capacity to meet its financial
commitment on the obligation

B   MORE VULNERABLE to nonpayment than obligations rated 'BB,' but the obligor currently has the capacity to meet its financial
commitment on the obligation. Adverse business, financial, or economic conditions will likely impair the obligor's capacity or willingness
to meet its financial commitment on the obligation

CCC CURRENTLY VULNERABLE to nonpayment, and it dependent upon favorable business, financial, and economic conditions for
the obligor to meet its financial commitment on the obligation. In the event of adverse business, financial, or economic conditions, the
obligor is not likely to have the capacity to meet its financial commitment on the obligation.


CC Highly vulnerable to nonpayment. The 'CC' rating is used when a default has not yet occurred, but S&P expects default to be a
virtual certainty, regardless of the anticipated time to default.


C Highly vulnerable to nonpayment, and the obligation is expected to have lower relative seniority or lower ultimate recovery compared
to obligations that are rated higher.


C Withdrawn.


D In default or in breach of an imputed promise. For non-hybrid capital instruments, the 'D' rating category is used when payments on an obligation
are not made on the date due, unless S&P believes that such payments will be made within 5 business days in the absence of a stated grace period or
within the earlier of the stated grace period or 30 calendar days. The 'D' rating also wille be used upon the filing of a bankruptcy petition or the taking
of similar action and where default on an obligation is a virtual certainty (e.g., due to automatic stay provisions). An obligation's rating is lowered
to'D' if it is subject to a distressed exchange offer.

NR No rating has been requested, or that there is insufficient information on which to base a rating, or that S&P does not rate a particular obligation
as a matter of policy.

Plus (+) or minus (-): The ratings from 'AA' to 'CCC' may be modified by the addition of a plus or minus sign to show relative standing within the
major rating categories.

Public Information Ratings Ratings with a 'pi' subscript are based on an analysis of an issuer's published financial information, as well as
additional information in the public domain. They do not, however, reflect indepth meetings with an issuer's management and are therefore based on
less comprehensive information than ratings without a 'pi' subscript. Ratings with a 'pi' subscript are reviewed annually based on a new year's
financial statements, but may be reviewed on an interim basis if a major event occurs that may affect the issuer's credit quality. Outlooks are not
provided for ratings with a 'pi' subscript, nor are they subject to potential CreditWatch listings. Ratings with a 'pi' subscript generally are not
modified with '+' or '-' designations. However, such designations may be assigned when the issuer's credit rating is constrained by sovereign risk or
the credit quality of a parent company or affiliated group.




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                                                            Appendix J
                                                     Credit Rating Definitions
                                                           Standard & Poor's
                                                              CreditWatch

CreditWatch highlights the potential direction of a short- or long-term rating. It focuses on identifiable events and short-term trends that
cause ratings to be placed under special surveillance by S&P analytical staff. These may include mergers, recapitalizations, voter
referendums, regulatory action, or anticipated operating developments. Ratings appear on CreditWatch when such an event or a deviation
from an expected trend occurs and additional information is necessary to evaluate the current rating. A listing, however, does not mean a
rating change is inevitable, and whenever possible, a range of alternative ratings will be shown. CreditWatch is not intended to include all
ratings under review, and rating changes may occur without the ratings having first appeared on CreditWatch. The "positive" designation
means that a rating may be raised; negative means a rating may be lowered; and "developing" means that a rating may be raised, lowered,
or affirmed.

Source: Bloomberg as of October 2016.




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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]           [3]             [4]             [5]
                      Daily        Weekly          Notes           Weekly
       Date          Volume        Volume        Outstanding      Turnover

   2/25/2013 Mon    12,758,000            ---             ---           ---
   2/26/2013 Tue    23,851,000            ---             ---           ---
   2/27/2013 Wed    86,904,000            ---             ---           ---
   2/28/2013 Thu    27,148,000            ---             ---           ---
    3/1/2013 Fri    23,414,000   174,075,000     800,000,000        21.8%
    3/4/2013 Mon     3,738,000            ---             ---           ---
    3/5/2013 Tue    31,927,000            ---             ---           ---
    3/6/2013 Wed     7,177,000            ---             ---           ---
    3/7/2013 Thu     3,895,000            ---             ---           ---
    3/8/2013 Fri    18,857,000    65,594,000     800,000,000         8.2%
   3/11/2013 Mon     3,034,000            ---             ---           ---
   3/12/2013 Tue     2,720,000            ---             ---           ---
   3/13/2013 Wed     7,630,000            ---             ---           ---
   3/14/2013 Thu    16,806,000            ---             ---           ---
   3/15/2013 Fri     6,190,000    36,380,000     800,000,000         4.5%
   3/18/2013 Mon     3,600,000            ---             ---           ---
   3/19/2013 Tue     4,856,000            ---             ---           ---
   3/20/2013 Wed     2,754,000            ---             ---           ---
   3/21/2013 Thu     2,258,000            ---             ---           ---
   3/22/2013 Fri     3,428,000    16,896,000     800,000,000         2.1%
   3/25/2013 Mon     6,524,000            ---             ---           ---
   3/26/2013 Tue     2,443,000            ---             ---           ---
   3/27/2013 Wed     7,104,000            ---             ---           ---
   3/28/2013 Thu     7,376,000    23,447,000     800,000,000         2.9%
    4/1/2013 Mon     6,532,000            ---             ---           ---
    4/2/2013 Tue    12,673,000            ---             ---           ---
    4/3/2013 Wed    29,012,000            ---             ---           ---
    4/4/2013 Thu    35,600,000            ---             ---           ---
    4/5/2013 Fri    30,575,000   114,392,000     800,000,000        14.3%
    4/8/2013 Mon    12,053,000            ---             ---           ---
    4/9/2013 Tue     8,198,000            ---             ---           ---
   4/10/2013 Wed    12,044,000            ---             ---           ---
   4/11/2013 Thu    19,917,000            ---             ---           ---
   4/12/2013 Fri     2,140,000    54,352,000     800,000,000         6.8%
   4/15/2013 Mon    10,156,000            ---             ---           ---
   4/16/2013 Tue     5,494,000            ---             ---           ---
   4/17/2013 Wed     2,237,000            ---             ---           ---
   4/18/2013 Thu    20,152,000            ---             ---           ---
   4/19/2013 Fri     8,224,000    46,263,000     800,000,000         5.8%
   4/22/2013 Mon    10,566,000            ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]           [3]             [4]             [5]
                      Daily        Weekly          Notes           Weekly
       Date          Volume        Volume        Outstanding      Turnover

   4/23/2013 Tue     3,240,000            ---             ---           ---
   4/24/2013 Wed    29,963,000            ---             ---           ---
   4/25/2013 Thu    26,589,000            ---             ---           ---
   4/26/2013 Fri    13,480,000    83,838,000     800,000,000        10.5%
   4/29/2013 Mon    16,677,000            ---             ---           ---
   4/30/2013 Tue    26,946,000            ---             ---           ---
    5/1/2013 Wed    11,550,000            ---             ---           ---
    5/2/2013 Thu    54,185,000            ---             ---           ---
    5/3/2013 Fri     1,755,000   111,113,000     800,000,000        13.9%
    5/6/2013 Mon     7,410,000            ---             ---           ---
    5/7/2013 Tue     3,992,000            ---             ---           ---
    5/8/2013 Wed     3,841,000            ---             ---           ---
    5/9/2013 Thu    24,907,000            ---             ---           ---
   5/10/2013 Fri    15,237,000    55,387,000     800,000,000         6.9%
   5/13/2013 Mon     3,370,000            ---             ---           ---
   5/14/2013 Tue     4,800,000            ---             ---           ---
   5/15/2013 Wed     2,552,000            ---             ---           ---
   5/16/2013 Thu     2,963,000            ---             ---           ---
   5/17/2013 Fri     2,869,000    16,554,000     800,000,000         2.1%
   5/20/2013 Mon     1,058,000            ---             ---           ---
   5/21/2013 Tue     3,816,000            ---             ---           ---
   5/22/2013 Wed     6,871,000            ---             ---           ---
   5/23/2013 Thu    13,164,000            ---             ---           ---
   5/24/2013 Fri       841,000    25,750,000     800,000,000         3.2%
   5/28/2013 Tue     1,347,000            ---             ---           ---
   5/29/2013 Wed     2,795,000            ---             ---           ---
   5/30/2013 Thu     1,895,000            ---             ---           ---
   5/31/2013 Fri     3,682,000     9,719,000     800,000,000         1.2%
    6/3/2013 Mon     1,363,000            ---             ---           ---
    6/4/2013 Tue    14,219,000            ---             ---           ---
    6/5/2013 Wed     9,306,000            ---             ---           ---
    6/6/2013 Thu     9,393,000            ---             ---           ---
    6/7/2013 Fri     2,691,000    36,972,000     800,000,000         4.6%
   6/10/2013 Mon     2,316,000            ---             ---           ---
   6/11/2013 Tue     2,075,000            ---             ---           ---
   6/12/2013 Wed     1,796,000            ---             ---           ---
   6/13/2013 Thu     3,159,000            ---             ---           ---
   6/14/2013 Fri     2,237,000    11,583,000     800,000,000         1.4%
   6/17/2013 Mon     1,216,000            ---             ---           ---
   6/18/2013 Tue     1,491,000            ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   6/19/2013 Wed     2,225,000           ---             ---           ---
   6/20/2013 Thu     5,452,000           ---             ---           ---
   6/21/2013 Fri     3,777,000   14,161,000     800,000,000         1.8%
   6/24/2013 Mon     1,109,000           ---             ---           ---
   6/25/2013 Tue     2,367,000           ---             ---           ---
   6/26/2013 Wed     8,296,000           ---             ---           ---
   6/27/2013 Thu     2,934,000           ---             ---           ---
   6/28/2013 Fri       878,000   15,584,000     800,000,000         1.9%
    7/1/2013 Mon     4,309,000           ---             ---           ---
    7/2/2013 Tue     1,083,000           ---             ---           ---
    7/3/2013 Wed       739,000           ---             ---           ---
    7/5/2013 Fri       354,000    6,485,000     800,000,000         0.8%
    7/8/2013 Mon     6,484,000           ---             ---           ---
    7/9/2013 Tue    11,001,000           ---             ---           ---
   7/10/2013 Wed     1,962,000           ---             ---           ---
   7/11/2013 Thu     4,204,000           ---             ---           ---
   7/12/2013 Fri     2,028,000   25,679,000     800,000,000         3.2%
   7/15/2013 Mon     5,729,000           ---             ---           ---
   7/16/2013 Tue    11,314,500           ---             ---           ---
   7/17/2013 Wed     4,244,000           ---             ---           ---
   7/18/2013 Thu     4,938,000           ---             ---           ---
   7/19/2013 Fri     7,812,000   34,037,500     800,000,000         4.3%
   7/22/2013 Mon     1,444,000           ---             ---           ---
   7/23/2013 Tue     2,979,000           ---             ---           ---
   7/24/2013 Wed     2,565,000           ---             ---           ---
   7/25/2013 Thu     3,131,000           ---             ---           ---
   7/26/2013 Fri     3,288,000   13,407,000     800,000,000         1.7%
   7/29/2013 Mon       472,000           ---             ---           ---
   7/30/2013 Tue       996,000           ---             ---           ---
   7/31/2013 Wed       680,000           ---             ---           ---
    8/1/2013 Thu     3,957,000           ---             ---           ---
    8/2/2013 Fri     4,307,000   10,412,000     800,000,000         1.3%
    8/5/2013 Mon       252,000           ---             ---           ---
    8/6/2013 Tue     1,067,000           ---             ---           ---
    8/7/2013 Wed       743,000           ---             ---           ---
    8/8/2013 Thu       770,000           ---             ---           ---
    8/9/2013 Fri     1,474,000    4,306,000     800,000,000         0.5%
   8/12/2013 Mon       839,000           ---             ---           ---
   8/13/2013 Tue       916,000           ---             ---           ---
   8/14/2013 Wed     2,782,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   8/15/2013 Thu     3,059,000           ---             ---           ---
   8/16/2013 Fri     2,002,000    9,598,000     800,000,000         1.2%
   8/19/2013 Mon       603,000           ---             ---           ---
   8/20/2013 Tue     2,919,000           ---             ---           ---
   8/21/2013 Wed     1,307,000           ---             ---           ---
   8/22/2013 Thu       585,000           ---             ---           ---
   8/23/2013 Fri     1,041,000    6,455,000     800,000,000         0.8%
   8/26/2013 Mon     1,971,000           ---             ---           ---
   8/27/2013 Tue     3,221,000           ---             ---           ---
   8/28/2013 Wed     1,629,000           ---             ---           ---
   8/29/2013 Thu     2,921,000           ---             ---           ---
   8/30/2013 Fri     1,100,000   10,842,000     800,000,000         1.4%
    9/3/2013 Tue     1,494,000           ---             ---           ---
    9/4/2013 Wed     2,181,000           ---             ---           ---
    9/5/2013 Thu       484,000           ---             ---           ---
    9/6/2013 Fri       497,000    4,656,000     800,000,000         0.6%
    9/9/2013 Mon     3,507,000           ---             ---           ---
   9/10/2013 Tue     2,151,000           ---             ---           ---
   9/11/2013 Wed     1,004,000           ---             ---           ---
   9/12/2013 Thu     6,569,000           ---             ---           ---
   9/13/2013 Fri       679,000   13,910,000     800,000,000         1.7%
   9/16/2013 Mon     2,907,000           ---             ---           ---
   9/17/2013 Tue       968,000           ---             ---           ---
   9/18/2013 Wed     3,834,000           ---             ---           ---
   9/19/2013 Thu    21,689,000           ---             ---           ---
   9/20/2013 Fri       355,000   29,753,000     800,000,000         3.7%
   9/23/2013 Mon       569,000           ---             ---           ---
   9/24/2013 Tue     1,054,000           ---             ---           ---
   9/25/2013 Wed     3,424,000           ---             ---           ---
   9/26/2013 Thu     1,086,000           ---             ---           ---
   9/27/2013 Fri       819,000    6,952,000     800,000,000         0.9%
   9/30/2013 Mon     1,015,000           ---             ---           ---
   10/1/2013 Tue     3,965,000           ---             ---           ---
   10/2/2013 Wed     1,513,000           ---             ---           ---
   10/3/2013 Thu     1,813,000           ---             ---           ---
   10/4/2013 Fri     1,739,000   10,045,000     800,000,000         1.3%
   10/7/2013 Mon     1,952,000           ---             ---           ---
   10/8/2013 Tue       529,000           ---             ---           ---
   10/9/2013 Wed       928,000           ---             ---           ---
  10/10/2013 Thu       964,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

  10/11/2013 Fri     3,183,000    7,556,000     800,000,000         0.9%
  10/15/2013 Tue       751,000           ---             ---           ---
  10/16/2013 Wed     3,445,000           ---             ---           ---
  10/17/2013 Thu     3,323,000           ---             ---           ---
  10/18/2013 Fri       747,000    8,266,000     800,000,000         1.0%
  10/21/2013 Mon     2,037,000           ---             ---           ---
  10/22/2013 Tue     3,661,000           ---             ---           ---
  10/23/2013 Wed       658,000           ---             ---           ---
  10/24/2013 Thu     2,739,000           ---             ---           ---
  10/25/2013 Fri       728,000    9,823,000     800,000,000         1.2%
  10/28/2013 Mon     1,125,000           ---             ---           ---
  10/29/2013 Tue     7,708,000           ---             ---           ---
  10/30/2013 Wed       922,000           ---             ---           ---
  10/31/2013 Thu     2,188,000           ---             ---           ---
   11/1/2013 Fri     5,034,000   16,977,000     800,000,000         2.1%
   11/4/2013 Mon     1,975,000           ---             ---           ---
   11/5/2013 Tue       897,000           ---             ---           ---
   11/6/2013 Wed       823,000           ---             ---           ---
   11/7/2013 Thu     4,933,000           ---             ---           ---
   11/8/2013 Fri     2,639,000   11,267,000     800,000,000         1.4%
  11/12/2013 Tue     3,692,000           ---             ---           ---
  11/13/2013 Wed     1,440,000           ---             ---           ---
  11/14/2013 Thu    19,113,000           ---             ---           ---
  11/15/2013 Fri     3,854,000   28,099,000     800,000,000         3.5%
  11/18/2013 Mon    17,233,000           ---             ---           ---
  11/19/2013 Tue     3,218,000           ---             ---           ---
  11/20/2013 Wed       942,000           ---             ---           ---
  11/21/2013 Thu     4,077,000           ---             ---           ---
  11/22/2013 Fri     3,134,000   28,604,000     800,000,000         3.6%
  11/25/2013 Mon     2,312,000           ---             ---           ---
  11/26/2013 Tue     8,442,000           ---             ---           ---
  11/27/2013 Wed     1,576,000           ---             ---           ---
  11/29/2013 Fri       725,000   13,055,000     800,000,000         1.6%
   12/2/2013 Mon    13,729,000           ---             ---           ---
   12/3/2013 Tue     2,286,000           ---             ---           ---
   12/4/2013 Wed     1,532,000           ---             ---           ---
   12/5/2013 Thu     2,924,000           ---             ---           ---
   12/6/2013 Fri     1,496,000   21,967,000     800,000,000         2.7%
   12/9/2013 Mon     1,346,000           ---             ---           ---
  12/10/2013 Tue     4,967,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

  12/11/2013 Wed     4,360,000           ---             ---           ---
  12/12/2013 Thu     3,864,000           ---             ---           ---
  12/13/2013 Fri     8,070,000   22,607,000     800,000,000         2.8%
  12/16/2013 Mon     4,133,000           ---             ---           ---
  12/17/2013 Tue     3,887,000           ---             ---           ---
  12/18/2013 Wed     2,721,000           ---             ---           ---
  12/19/2013 Thu       702,000           ---             ---           ---
  12/20/2013 Fri     2,100,000   13,543,000     800,000,000         1.7%
  12/23/2013 Mon     1,777,000           ---             ---           ---
  12/24/2013 Tue       212,000           ---             ---           ---
  12/26/2013 Thu     1,620,000           ---             ---           ---
  12/27/2013 Fri     1,432,000    5,041,000     800,000,000         0.6%
  12/30/2013 Mon       838,000           ---             ---           ---
  12/31/2013 Tue       453,000           ---             ---           ---
    1/2/2014 Thu     1,470,000           ---             ---           ---
    1/3/2014 Fri       377,000    3,138,000     800,000,000         0.4%
    1/6/2014 Mon    23,778,000           ---             ---           ---
    1/7/2014 Tue     4,481,000           ---             ---           ---
    1/8/2014 Wed       556,000           ---             ---           ---
    1/9/2014 Thu    10,231,000           ---             ---           ---
   1/10/2014 Fri     1,497,000   40,543,000     800,000,000         5.1%
   1/13/2014 Mon     1,879,000           ---             ---           ---
   1/14/2014 Tue     3,037,000           ---             ---           ---
   1/15/2014 Wed     2,688,000           ---             ---           ---
   1/16/2014 Thu     1,611,000           ---             ---           ---
   1/17/2014 Fri     4,386,000   13,601,000     800,000,000         1.7%
   1/21/2014 Tue     1,528,000           ---             ---           ---
   1/22/2014 Wed     1,914,000           ---             ---           ---
   1/23/2014 Thu     1,986,000           ---             ---           ---
   1/24/2014 Fri     2,074,000    7,502,000     800,000,000         0.9%
   1/27/2014 Mon       560,000           ---             ---           ---
   1/28/2014 Tue     1,011,000           ---             ---           ---
   1/29/2014 Wed       303,000           ---             ---           ---
   1/30/2014 Thu     5,274,000           ---             ---           ---
   1/31/2014 Fri     2,610,000    9,758,000     800,000,000         1.2%
    2/3/2014 Mon       368,000           ---             ---           ---
    2/4/2014 Tue     1,102,000           ---             ---           ---
    2/5/2014 Wed       279,000           ---             ---           ---
    2/6/2014 Thu     1,465,000           ---             ---           ---
    2/7/2014 Fri     4,057,000    7,271,000     800,000,000         0.9%



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   2/10/2014 Mon     2,372,000           ---             ---           ---
   2/11/2014 Tue    33,925,000           ---             ---           ---
   2/12/2014 Wed     1,871,000           ---             ---           ---
   2/13/2014 Thu     6,941,000           ---             ---           ---
   2/14/2014 Fri     1,464,000   46,573,000     800,000,000         5.8%
   2/18/2014 Tue    21,520,000           ---             ---           ---
   2/19/2014 Wed     1,962,000           ---             ---           ---
   2/20/2014 Thu     3,664,000           ---             ---           ---
   2/21/2014 Fri     2,238,000   29,384,000     800,000,000         3.7%
   2/24/2014 Mon     5,046,000           ---             ---           ---
   2/25/2014 Tue     4,839,000           ---             ---           ---
   2/26/2014 Wed     1,530,000           ---             ---           ---
   2/27/2014 Thu     3,011,000           ---             ---           ---
   2/28/2014 Fri     2,385,000   16,811,000     800,000,000         2.1%
    3/3/2014 Mon    16,278,000           ---             ---           ---
    3/4/2014 Tue     4,740,000           ---             ---           ---
    3/5/2014 Wed    10,017,000           ---             ---           ---
    3/6/2014 Thu    13,830,000           ---             ---           ---
    3/7/2014 Fri     4,291,000   49,156,000     800,000,000         6.1%
   3/10/2014 Mon     1,080,000           ---             ---           ---
   3/11/2014 Tue     2,549,000           ---             ---           ---
   3/12/2014 Wed     2,488,000           ---             ---           ---
   3/13/2014 Thu     5,549,000           ---             ---           ---
   3/14/2014 Fri     1,835,000   13,501,000     800,000,000         1.7%
   3/17/2014 Mon     1,666,000           ---             ---           ---
   3/18/2014 Tue     2,392,000           ---             ---           ---
   3/19/2014 Wed     4,745,000           ---             ---           ---
   3/20/2014 Thu     2,021,750           ---             ---           ---
   3/21/2014 Fri       713,000   11,537,750     800,000,000         1.4%
   3/24/2014 Mon     2,344,000           ---             ---           ---
   3/25/2014 Tue       906,000           ---             ---           ---
   3/26/2014 Wed     1,831,000           ---             ---           ---
   3/27/2014 Thu     6,904,000           ---             ---           ---
   3/28/2014 Fri     4,011,000   15,996,000     800,000,000         2.0%
   3/31/2014 Mon     3,110,000           ---             ---           ---
    4/1/2014 Tue     1,594,000           ---             ---           ---
    4/2/2014 Wed     8,924,000           ---             ---           ---
    4/3/2014 Thu     9,306,000           ---             ---           ---
    4/4/2014 Fri     1,689,000   24,623,000     800,000,000         3.1%
    4/7/2014 Mon     2,448,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

    4/8/2014 Tue     3,212,000           ---             ---           ---
    4/9/2014 Wed     3,377,000           ---             ---           ---
   4/10/2014 Thu     4,258,000           ---             ---           ---
   4/11/2014 Fri     4,280,000   17,575,000     800,000,000         2.2%
   4/14/2014 Mon     6,078,000           ---             ---           ---
   4/15/2014 Tue     2,488,000           ---             ---           ---
   4/16/2014 Wed     2,553,000           ---             ---           ---
   4/17/2014 Thu       627,000   11,746,000     800,000,000         1.5%
   4/21/2014 Mon     2,284,000           ---             ---           ---
   4/22/2014 Tue     2,727,000           ---             ---           ---
   4/23/2014 Wed     2,075,000           ---             ---           ---
   4/24/2014 Thu     3,776,000           ---             ---           ---
   4/25/2014 Fri       775,000   11,637,000     800,000,000         1.5%
   4/28/2014 Mon    18,379,000           ---             ---           ---
   4/29/2014 Tue     2,014,000           ---             ---           ---
   4/30/2014 Wed    11,450,000           ---             ---           ---
    5/1/2014 Thu     6,474,000           ---             ---           ---
    5/2/2014 Fri     2,289,000   40,606,000     800,000,000         5.1%
    5/5/2014 Mon     4,062,000           ---             ---           ---
    5/6/2014 Tue     5,019,000           ---             ---           ---
    5/7/2014 Wed     7,309,000           ---             ---           ---
    5/8/2014 Thu     2,834,000           ---             ---           ---
    5/9/2014 Fri     2,965,000   22,189,000     800,000,000         2.8%
   5/12/2014 Mon     3,429,000           ---             ---           ---
   5/13/2014 Tue     5,010,000           ---             ---           ---
   5/14/2014 Wed     1,632,000           ---             ---           ---
   5/15/2014 Thu     4,187,000           ---             ---           ---
   5/16/2014 Fri     1,262,000   15,520,000     800,000,000         1.9%
   5/19/2014 Mon     5,604,000           ---             ---           ---
   5/20/2014 Tue     3,502,000           ---             ---           ---
   5/21/2014 Wed     2,458,000           ---             ---           ---
   5/22/2014 Thu    17,118,000           ---             ---           ---
   5/23/2014 Fri     1,172,000   29,854,000     800,000,000         3.7%
   5/27/2014 Tue       790,000           ---             ---           ---
   5/28/2014 Wed     4,590,000           ---             ---           ---
   5/29/2014 Thu     6,731,000           ---             ---           ---
   5/30/2014 Fri     2,246,000   14,357,000     800,000,000         1.8%
    6/2/2014 Mon     5,076,000           ---             ---           ---
    6/3/2014 Tue    16,024,000           ---             ---           ---
    6/4/2014 Wed     1,237,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

    6/5/2014 Thu     4,539,000           ---             ---           ---
    6/6/2014 Fri     6,459,000   33,335,000     800,000,000         4.2%
    6/9/2014 Mon     3,782,000           ---             ---           ---
   6/10/2014 Tue     2,136,000           ---             ---           ---
   6/11/2014 Wed     1,236,000           ---             ---           ---
   6/12/2014 Thu     1,736,000           ---             ---           ---
   6/13/2014 Fri     1,799,000   10,689,000     800,000,000         1.3%
   6/16/2014 Mon     2,357,000           ---             ---           ---
   6/17/2014 Tue     2,042,000           ---             ---           ---
   6/18/2014 Wed       400,000           ---             ---           ---
   6/19/2014 Thu     2,709,000           ---             ---           ---
   6/20/2014 Fri     7,040,000   14,548,000     800,000,000         1.8%
   6/23/2014 Mon     4,495,000           ---             ---           ---
   6/24/2014 Tue       582,000           ---             ---           ---
   6/25/2014 Wed     7,048,000           ---             ---           ---
   6/26/2014 Thu    32,628,000           ---             ---           ---
   6/27/2014 Fri    28,964,000   73,717,000     800,000,000         9.2%
   6/30/2014 Mon     1,014,000           ---             ---           ---
    7/1/2014 Tue       528,000           ---             ---           ---
    7/2/2014 Wed     3,215,000           ---             ---           ---
    7/3/2014 Thu       691,000    5,448,000     800,000,000         0.7%
    7/7/2014 Mon     1,512,000           ---             ---           ---
    7/8/2014 Tue     1,105,000           ---             ---           ---
    7/9/2014 Wed     1,514,000           ---             ---           ---
   7/10/2014 Thu     3,511,000           ---             ---           ---
   7/11/2014 Fri       852,000    8,494,000     800,000,000         1.1%
   7/14/2014 Mon     2,124,000           ---             ---           ---
   7/15/2014 Tue     4,410,000           ---             ---           ---
   7/16/2014 Wed       994,000           ---             ---           ---
   7/17/2014 Thu     3,692,000           ---             ---           ---
   7/18/2014 Fri     2,643,000   13,863,000     800,000,000         1.7%
   7/21/2014 Mon     4,338,000           ---             ---           ---
   7/22/2014 Tue     1,540,000           ---             ---           ---
   7/23/2014 Wed     1,089,000           ---             ---           ---
   7/24/2014 Thu     1,111,000           ---             ---           ---
   7/25/2014 Fri     3,281,000   11,359,000     800,000,000         1.4%
   7/28/2014 Mon     1,849,000           ---             ---           ---
   7/29/2014 Tue    18,644,000           ---             ---           ---
   7/30/2014 Wed     2,511,000           ---             ---           ---
   7/31/2014 Thu     1,388,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

    8/1/2014 Fri     3,651,000   28,043,000     800,000,000         3.5%
    8/4/2014 Mon     1,723,000           ---             ---           ---
    8/5/2014 Tue     3,541,000           ---             ---           ---
    8/6/2014 Wed     1,979,000           ---             ---           ---
    8/7/2014 Thu       793,000           ---             ---           ---
    8/8/2014 Fri       923,000    8,959,000     800,000,000         1.1%
   8/11/2014 Mon       643,000           ---             ---           ---
   8/12/2014 Tue     2,326,000           ---             ---           ---
   8/13/2014 Wed     3,197,000           ---             ---           ---
   8/14/2014 Thu     8,143,000           ---             ---           ---
   8/15/2014 Fri     6,980,000   21,289,000     800,000,000         2.7%
   8/18/2014 Mon     2,091,000           ---             ---           ---
   8/19/2014 Tue     4,892,000           ---             ---           ---
   8/20/2014 Wed     8,173,000           ---             ---           ---
   8/21/2014 Thu     7,306,000           ---             ---           ---
   8/22/2014 Fri     3,803,000   26,265,000     800,000,000         3.3%
   8/25/2014 Mon     2,578,000           ---             ---           ---
   8/26/2014 Tue     4,394,000           ---             ---           ---
   8/27/2014 Wed    11,007,000           ---             ---           ---
   8/28/2014 Thu     2,228,000           ---             ---           ---
   8/29/2014 Fri       895,000   21,102,000     800,000,000         2.6%
    9/2/2014 Tue     5,570,000           ---             ---           ---
    9/3/2014 Wed       758,000           ---             ---           ---
    9/4/2014 Thu     1,496,000           ---             ---           ---
    9/5/2014 Fri       273,000    8,097,000     800,000,000         1.0%
    9/8/2014 Mon       542,000           ---             ---           ---
    9/9/2014 Tue     3,634,000           ---             ---           ---
   9/10/2014 Wed     2,563,000           ---             ---           ---
   9/11/2014 Thu       462,000           ---             ---           ---
   9/12/2014 Fri     7,167,000   14,368,000     800,000,000         1.8%
   9/15/2014 Mon       356,000           ---             ---           ---
   9/16/2014 Tue     8,137,000           ---             ---           ---
   9/17/2014 Wed     1,243,000           ---             ---           ---
   9/18/2014 Thu    25,976,000           ---             ---           ---
   9/19/2014 Fri     1,116,000   36,828,000     800,000,000         4.6%
   9/22/2014 Mon       379,000           ---             ---           ---
   9/23/2014 Tue     1,339,000           ---             ---           ---
   9/24/2014 Wed     1,062,000           ---             ---           ---
   9/25/2014 Thu     1,255,000           ---             ---           ---
   9/26/2014 Fri       326,000    4,361,000     800,000,000         0.5%



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   9/29/2014 Mon     1,093,000           ---             ---           ---
   9/30/2014 Tue     6,189,000           ---             ---           ---
   10/1/2014 Wed     6,003,000           ---             ---           ---
   10/2/2014 Thu     1,758,000           ---             ---           ---
   10/3/2014 Fri       712,000   15,755,000     800,000,000         2.0%
   10/6/2014 Mon     1,100,000           ---             ---           ---
   10/7/2014 Tue     1,549,000           ---             ---           ---
   10/8/2014 Wed     1,050,000           ---             ---           ---
   10/9/2014 Thu       786,000           ---             ---           ---
  10/10/2014 Fri       736,000    5,221,000     800,000,000         0.7%
  10/14/2014 Tue     4,637,000           ---             ---           ---
  10/15/2014 Wed       345,000           ---             ---           ---
  10/16/2014 Thu       404,000           ---             ---           ---
  10/17/2014 Fri       538,000    5,924,000     800,000,000         0.7%
  10/20/2014 Mon       621,000           ---             ---           ---
  10/21/2014 Tue       853,000           ---             ---           ---
  10/22/2014 Wed     1,071,000           ---             ---           ---
  10/23/2014 Thu    12,372,000           ---             ---           ---
  10/24/2014 Fri    10,208,000   25,125,000     800,000,000         3.1%
  10/27/2014 Mon     1,244,000           ---             ---           ---
  10/28/2014 Tue       586,000           ---             ---           ---
  10/29/2014 Wed     5,769,000           ---             ---           ---
  10/30/2014 Thu     3,226,000           ---             ---           ---
  10/31/2014 Fri       630,000   11,455,000     800,000,000         1.4%
   11/3/2014 Mon       407,000           ---             ---           ---
   11/4/2014 Tue     1,316,000           ---             ---           ---
   11/5/2014 Wed     2,434,000           ---             ---           ---
   11/6/2014 Thu     1,766,000           ---             ---           ---
   11/7/2014 Fri     3,110,000    9,033,000     800,000,000         1.1%
  11/10/2014 Mon     1,251,000           ---             ---           ---
  11/12/2014 Wed     1,382,000           ---             ---           ---
  11/13/2014 Thu       735,000           ---             ---           ---
  11/14/2014 Fri     1,885,000    5,253,000     800,000,000         0.7%
  11/17/2014 Mon     1,047,000           ---             ---           ---
  11/18/2014 Tue       907,000           ---             ---           ---
  11/19/2014 Wed     2,195,000           ---             ---           ---
  11/20/2014 Thu       401,000           ---             ---           ---
  11/21/2014 Fri       177,000    4,727,000     800,000,000         0.6%
  11/24/2014 Mon       364,000           ---             ---           ---
  11/25/2014 Tue       723,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

  11/26/2014 Wed       485,000           ---             ---           ---
  11/28/2014 Fri         8,000    1,580,000     800,000,000         0.2%
   12/1/2014 Mon     2,738,000           ---             ---           ---
   12/2/2014 Tue       390,000           ---             ---           ---
   12/3/2014 Wed       295,000           ---             ---           ---
   12/4/2014 Thu       590,000           ---             ---           ---
   12/5/2014 Fri       159,000    4,172,000     800,000,000         0.5%
   12/8/2014 Mon       585,000           ---             ---           ---
   12/9/2014 Tue     1,422,000           ---             ---           ---
  12/10/2014 Wed     4,252,000           ---             ---           ---
  12/11/2014 Thu     2,821,000           ---             ---           ---
  12/12/2014 Fri       859,000    9,939,000     800,000,000         1.2%
  12/15/2014 Mon     1,053,000           ---             ---           ---
  12/16/2014 Tue     3,570,000           ---             ---           ---
  12/17/2014 Wed       592,000           ---             ---           ---
  12/18/2014 Thu     1,550,000           ---             ---           ---
  12/19/2014 Fri     3,859,000   10,624,000     800,000,000         1.3%
  12/22/2014 Mon       928,000           ---             ---           ---
  12/23/2014 Tue       737,000           ---             ---           ---
  12/24/2014 Wed       826,000           ---             ---           ---
  12/26/2014 Fri       440,000    2,931,000     800,000,000         0.4%
  12/29/2014 Mon       872,000           ---             ---           ---
  12/30/2014 Tue       176,000           ---             ---           ---
  12/31/2014 Wed       104,000           ---             ---           ---
    1/2/2015 Fri       204,000    1,356,000     800,000,000         0.2%
    1/5/2015 Mon       488,000           ---             ---           ---
    1/6/2015 Tue     4,026,000           ---             ---           ---
    1/7/2015 Wed       270,000           ---             ---           ---
    1/8/2015 Thu     3,068,000           ---             ---           ---
    1/9/2015 Fri     5,820,000   13,672,000     800,000,000         1.7%
   1/12/2015 Mon       695,000           ---             ---           ---
   1/13/2015 Tue     1,538,000           ---             ---           ---
   1/14/2015 Wed    13,702,000           ---             ---           ---
   1/15/2015 Thu     5,353,000           ---             ---           ---
   1/16/2015 Fri       581,000   21,869,000     800,000,000         2.7%
   1/20/2015 Tue       919,000           ---             ---           ---
   1/21/2015 Wed     2,008,000           ---             ---           ---
   1/22/2015 Thu       323,000           ---             ---           ---
   1/23/2015 Fri    16,678,000   19,928,000     800,000,000         2.5%
   1/26/2015 Mon       758,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   1/27/2015 Tue     1,704,000           ---             ---           ---
   1/28/2015 Wed     7,948,000           ---             ---           ---
   1/29/2015 Thu    30,512,000           ---             ---           ---
   1/30/2015 Fri    13,600,000   54,522,000     800,000,000         6.8%
    2/2/2015 Mon    14,855,000           ---             ---           ---
    2/3/2015 Tue     1,408,000           ---             ---           ---
    2/4/2015 Wed       810,000           ---             ---           ---
    2/5/2015 Thu     2,077,000           ---             ---           ---
    2/6/2015 Fri     1,272,000   20,422,000     800,000,000         2.6%
    2/9/2015 Mon     2,943,000           ---             ---           ---
   2/10/2015 Tue     3,324,000           ---             ---           ---
   2/11/2015 Wed    10,941,000           ---             ---           ---
   2/12/2015 Thu     3,072,000           ---             ---           ---
   2/13/2015 Fri     1,340,000   21,620,000     800,000,000         2.7%
   2/17/2015 Tue    42,324,000           ---             ---           ---
   2/18/2015 Wed     1,446,000           ---             ---           ---
   2/19/2015 Thu       700,000           ---             ---           ---
   2/20/2015 Fri    21,992,000   66,462,000     800,000,000         8.3%
   2/23/2015 Mon     4,829,000           ---             ---           ---
   2/24/2015 Tue     9,388,000           ---             ---           ---
   2/25/2015 Wed     1,935,000           ---             ---           ---
   2/26/2015 Thu     1,217,000           ---             ---           ---
   2/27/2015 Fri     2,297,000   19,666,000     800,000,000         2.5%
    3/2/2015 Mon    10,243,000           ---             ---           ---
    3/3/2015 Tue     2,399,000           ---             ---           ---
    3/4/2015 Wed    14,666,000           ---             ---           ---
    3/5/2015 Thu     1,227,000           ---             ---           ---
    3/6/2015 Fri     6,064,000   34,599,000     800,000,000         4.3%
    3/9/2015 Mon       599,000           ---             ---           ---
   3/10/2015 Tue     5,072,000           ---             ---           ---
   3/11/2015 Wed     2,219,000           ---             ---           ---
   3/12/2015 Thu       691,000           ---             ---           ---
   3/13/2015 Fri     5,018,000   13,599,000     800,000,000         1.7%
   3/16/2015 Mon     3,780,000           ---             ---           ---
   3/17/2015 Tue       334,000           ---             ---           ---
   3/18/2015 Wed       894,000           ---             ---           ---
   3/19/2015 Thu     2,669,000           ---             ---           ---
   3/20/2015 Fri     2,736,000   10,413,000     800,000,000         1.3%
   3/23/2015 Mon     5,295,000           ---             ---           ---
   3/24/2015 Tue       564,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   3/25/2015 Wed     2,575,000           ---             ---           ---
   3/26/2015 Thu     6,245,000           ---             ---           ---
   3/27/2015 Fri     3,080,000   17,759,000     800,000,000         2.2%
   3/30/2015 Mon     3,794,000           ---             ---           ---
   3/31/2015 Tue     6,967,000           ---             ---           ---
    4/1/2015 Wed    10,849,000           ---             ---           ---
    4/2/2015 Thu       155,000   21,765,000     800,000,000         2.7%
    4/6/2015 Mon       975,000           ---             ---           ---
    4/7/2015 Tue       825,000           ---             ---           ---
    4/8/2015 Wed     4,761,000           ---             ---           ---
    4/9/2015 Thu     1,202,000           ---             ---           ---
   4/10/2015 Fri     2,908,000   10,671,000     800,000,000         1.3%
   4/13/2015 Mon       278,000           ---             ---           ---
   4/14/2015 Tue       448,000           ---             ---           ---
   4/15/2015 Wed     4,007,000           ---             ---           ---
   4/16/2015 Thu       478,000           ---             ---           ---
   4/17/2015 Fri       959,000    6,170,000     800,000,000         0.8%
   4/20/2015 Mon     2,614,000           ---             ---           ---
   4/21/2015 Tue       160,000           ---             ---           ---
   4/22/2015 Wed     6,145,000           ---             ---           ---
   4/23/2015 Thu       657,000           ---             ---           ---
   4/24/2015 Fri     4,732,000   14,308,000     800,000,000         1.8%
   4/27/2015 Mon       621,000           ---             ---           ---
   4/28/2015 Tue     1,871,000           ---             ---           ---
   4/29/2015 Wed       471,000           ---             ---           ---
   4/30/2015 Thu     5,461,000           ---             ---           ---
    5/1/2015 Fri     1,312,000    9,736,000     800,000,000         1.2%
    5/4/2015 Mon     2,790,000           ---             ---           ---
    5/5/2015 Tue       708,000           ---             ---           ---
    5/6/2015 Wed       820,000           ---             ---           ---
    5/7/2015 Thu     2,132,000           ---             ---           ---
    5/8/2015 Fri       573,000    7,023,000     800,000,000         0.9%
   5/11/2015 Mon     1,838,000           ---             ---           ---
   5/12/2015 Tue     1,147,000           ---             ---           ---
   5/13/2015 Wed    11,748,000           ---             ---           ---
   5/14/2015 Thu     1,029,000           ---             ---           ---
   5/15/2015 Fri       496,000   16,258,000     800,000,000         2.0%
   5/18/2015 Mon       672,000           ---             ---           ---
   5/19/2015 Tue     1,426,000           ---             ---           ---
   5/20/2015 Wed     6,460,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   5/21/2015 Thu       923,000           ---             ---           ---
   5/22/2015 Fri       236,000    9,717,000     800,000,000         1.2%
   5/26/2015 Tue       578,000           ---             ---           ---
   5/27/2015 Wed     5,910,000           ---             ---           ---
   5/28/2015 Thu       963,000           ---             ---           ---
   5/29/2015 Fri     4,618,000   12,069,000     800,000,000         1.5%
    6/1/2015 Mon     1,893,000           ---             ---           ---
    6/2/2015 Tue       843,000           ---             ---           ---
    6/3/2015 Wed     1,448,000           ---             ---           ---
    6/4/2015 Thu       392,000           ---             ---           ---
    6/5/2015 Fri     1,007,000    5,583,000     800,000,000         0.7%
    6/8/2015 Mon     1,825,000           ---             ---           ---
    6/9/2015 Tue       755,000           ---             ---           ---
   6/10/2015 Wed     7,337,000           ---             ---           ---
   6/11/2015 Thu     6,126,000           ---             ---           ---
   6/12/2015 Fri        90,000   16,133,000     800,000,000         2.0%
   6/15/2015 Mon       558,000           ---             ---           ---
   6/16/2015 Tue     4,995,000           ---             ---           ---
   6/17/2015 Wed    26,109,000           ---             ---           ---
   6/18/2015 Thu    14,361,000           ---             ---           ---
   6/19/2015 Fri     1,051,000   47,074,000     800,000,000         5.9%
   6/22/2015 Mon     4,460,000           ---             ---           ---
   6/23/2015 Tue       730,000           ---             ---           ---
   6/24/2015 Wed     1,339,000           ---             ---           ---
   6/25/2015 Thu     3,414,000           ---             ---           ---
   6/26/2015 Fri     2,559,000   12,502,000     800,000,000         1.6%
   6/29/2015 Mon     1,594,000           ---             ---           ---
   6/30/2015 Tue     3,456,000           ---             ---           ---
    7/1/2015 Wed     1,265,000           ---             ---           ---
    7/2/2015 Thu       330,000    6,645,000     800,000,000         0.8%
    7/6/2015 Mon    10,302,000           ---             ---           ---
    7/7/2015 Tue     2,461,000           ---             ---           ---
    7/8/2015 Wed       155,000           ---             ---           ---
    7/9/2015 Thu     2,316,000           ---             ---           ---
   7/10/2015 Fri     2,700,000   17,934,000     800,000,000         2.2%
   7/13/2015 Mon       370,000           ---             ---           ---
   7/14/2015 Tue       615,000           ---             ---           ---
   7/15/2015 Wed       967,000           ---             ---           ---
   7/16/2015 Thu     2,028,000           ---             ---           ---
   7/17/2015 Fri       775,000    4,755,000     800,000,000         0.6%



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   7/20/2015 Mon     4,972,000           ---             ---           ---
   7/21/2015 Tue       739,000           ---             ---           ---
   7/22/2015 Wed       912,000           ---             ---           ---
   7/23/2015 Thu     1,084,000           ---             ---           ---
   7/24/2015 Fri     1,063,000    8,770,000     800,000,000         1.1%
   7/27/2015 Mon       463,000           ---             ---           ---
   7/28/2015 Tue     4,301,000           ---             ---           ---
   7/29/2015 Wed     6,199,000           ---             ---           ---
   7/30/2015 Thu     1,058,000           ---             ---           ---
   7/31/2015 Fri       969,000   12,990,000     800,000,000         1.6%
    8/3/2015 Mon       156,000           ---             ---           ---
    8/4/2015 Tue     2,686,000           ---             ---           ---
    8/5/2015 Wed     2,288,000           ---             ---           ---
    8/6/2015 Thu       966,000           ---             ---           ---
    8/7/2015 Fri       331,000    6,427,000     800,000,000         0.8%
   8/10/2015 Mon       919,000           ---             ---           ---
   8/11/2015 Tue     2,105,000           ---             ---           ---
   8/12/2015 Wed     7,651,000           ---             ---           ---
   8/13/2015 Thu     1,139,000           ---             ---           ---
   8/14/2015 Fri       647,000   12,461,000     800,000,000         1.6%
   8/17/2015 Mon     4,859,000           ---             ---           ---
   8/18/2015 Tue     5,787,000           ---             ---           ---
   8/19/2015 Wed       717,000           ---             ---           ---
   8/20/2015 Thu     1,286,000           ---             ---           ---
   8/21/2015 Fri     5,390,000   18,039,000     800,000,000         2.3%
   8/24/2015 Mon     2,546,000           ---             ---           ---
   8/25/2015 Tue     6,873,000           ---             ---           ---
   8/26/2015 Wed     2,510,000           ---             ---           ---
   8/27/2015 Thu    17,902,000           ---             ---           ---
   8/28/2015 Fri     4,768,000   34,599,000     800,000,000         4.3%
   8/31/2015 Mon       475,000           ---             ---           ---
    9/1/2015 Tue       456,000           ---             ---           ---
    9/2/2015 Wed     2,935,000           ---             ---           ---
    9/3/2015 Thu       265,000           ---             ---           ---
    9/4/2015 Fri       205,000    4,336,000     800,000,000         0.5%
    9/8/2015 Tue       525,000           ---             ---           ---
    9/9/2015 Wed       873,000           ---             ---           ---
   9/10/2015 Thu       717,000           ---             ---           ---
   9/11/2015 Fri     1,380,000    3,495,000     800,000,000         0.4%
   9/14/2015 Mon     3,739,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   9/15/2015 Tue     1,585,000           ---             ---           ---
   9/16/2015 Wed     4,432,000           ---             ---           ---
   9/17/2015 Thu     2,984,000           ---             ---           ---
   9/18/2015 Fri       490,000   13,230,000     800,000,000         1.7%
   9/21/2015 Mon     2,996,000           ---             ---           ---
   9/22/2015 Tue       700,000           ---             ---           ---
   9/23/2015 Wed       427,000           ---             ---           ---
   9/24/2015 Thu       733,000           ---             ---           ---
   9/25/2015 Fri       463,000    5,319,000     800,000,000         0.7%
   9/28/2015 Mon     1,352,000           ---             ---           ---
   9/29/2015 Tue     3,203,000           ---             ---           ---
   9/30/2015 Wed     1,841,000           ---             ---           ---
   10/1/2015 Thu     1,111,000           ---             ---           ---
   10/2/2015 Fri     1,261,000    8,768,000     800,000,000         1.1%
   10/5/2015 Mon     2,011,000           ---             ---           ---
   10/6/2015 Tue       178,000           ---             ---           ---
   10/7/2015 Wed       775,000           ---             ---           ---
   10/8/2015 Thu     7,908,000           ---             ---           ---
   10/9/2015 Fri     8,056,000   18,928,000     800,000,000         2.4%
  10/13/2015 Tue     3,780,000           ---             ---           ---
  10/14/2015 Wed     3,370,000           ---             ---           ---
  10/15/2015 Thu     2,781,000           ---             ---           ---
  10/16/2015 Fri     6,884,000   16,815,000     800,000,000         2.1%
  10/19/2015 Mon       192,000           ---             ---           ---
  10/20/2015 Tue       535,000           ---             ---           ---
  10/21/2015 Wed     2,362,000           ---             ---           ---
  10/22/2015 Thu     1,159,000           ---             ---           ---
  10/23/2015 Fri     6,827,000   11,075,000     800,000,000         1.4%
  10/26/2015 Mon     1,531,000           ---             ---           ---
  10/27/2015 Tue       286,000           ---             ---           ---
  10/28/2015 Wed       668,000           ---             ---           ---
  10/29/2015 Thu       339,000           ---             ---           ---
  10/30/2015 Fri       328,000    3,152,000     800,000,000         0.4%
   11/2/2015 Mon       922,000           ---             ---           ---
   11/3/2015 Tue       805,000           ---             ---           ---
   11/4/2015 Wed     1,059,000           ---             ---           ---
   11/5/2015 Thu       608,000           ---             ---           ---
   11/6/2015 Fri        30,000    3,424,000     800,000,000         0.4%
   11/9/2015 Mon       795,000           ---             ---           ---
  11/10/2015 Tue     2,329,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

  11/12/2015 Thu     1,470,000           ---             ---           ---
  11/13/2015 Fri     2,311,000    6,905,000     800,000,000         0.9%
  11/16/2015 Mon       458,000           ---             ---           ---
  11/17/2015 Tue     2,561,000           ---             ---           ---
  11/18/2015 Wed     2,220,000           ---             ---           ---
  11/19/2015 Thu     5,255,000           ---             ---           ---
  11/20/2015 Fri       151,000   10,645,000     800,000,000         1.3%
  11/23/2015 Mon       509,000           ---             ---           ---
  11/24/2015 Tue       601,000           ---             ---           ---
  11/25/2015 Wed       292,000           ---             ---           ---
  11/27/2015 Fri        53,000    1,455,000     800,000,000         0.2%
  11/30/2015 Mon     2,267,000           ---             ---           ---
   12/1/2015 Tue     2,907,000           ---             ---           ---
   12/2/2015 Wed     1,072,000           ---             ---           ---
   12/3/2015 Thu     1,075,000           ---             ---           ---
   12/4/2015 Fri     1,400,000    8,721,000     800,000,000         1.1%
   12/7/2015 Mon       885,000           ---             ---           ---
   12/8/2015 Tue    27,955,000           ---             ---           ---
   12/9/2015 Wed     1,199,000           ---             ---           ---
  12/10/2015 Thu     3,880,000           ---             ---           ---
  12/11/2015 Fri    33,028,000   66,947,000     800,000,000         8.4%
  12/14/2015 Mon       971,000           ---             ---           ---
  12/15/2015 Tue     1,516,000           ---             ---           ---
  12/16/2015 Wed     6,156,000           ---             ---           ---
  12/17/2015 Thu     1,313,000           ---             ---           ---
  12/18/2015 Fri       254,000   10,210,000     800,000,000         1.3%
  12/21/2015 Mon     1,993,000           ---             ---           ---
  12/22/2015 Tue     1,234,000           ---             ---           ---
  12/23/2015 Wed    12,936,000           ---             ---           ---
  12/24/2015 Thu       105,000   16,268,000     800,000,000         2.0%
  12/28/2015 Mon       643,000           ---             ---           ---
  12/29/2015 Tue     1,119,000           ---             ---           ---
  12/30/2015 Wed       534,000           ---             ---           ---
  12/31/2015 Thu       202,000    2,498,000     800,000,000         0.3%
    1/4/2016 Mon       915,000           ---             ---           ---
    1/5/2016 Tue     2,120,000           ---             ---           ---
    1/6/2016 Wed     2,378,000           ---             ---           ---
    1/7/2016 Thu     2,931,000           ---             ---           ---
    1/8/2016 Fri     1,117,000    9,461,000     800,000,000         1.2%
   1/11/2016 Mon     6,410,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   1/12/2016 Tue    11,456,000           ---             ---           ---
   1/13/2016 Wed     2,295,000           ---             ---           ---
   1/14/2016 Thu     3,182,000           ---             ---           ---
   1/15/2016 Fri       970,000   24,313,000     800,000,000         3.0%
   1/19/2016 Tue     2,593,000           ---             ---           ---
   1/20/2016 Wed       720,000           ---             ---           ---
   1/21/2016 Thu    10,882,000           ---             ---           ---
   1/22/2016 Fri       773,000   14,968,000     800,000,000         1.9%
   1/25/2016 Mon       425,000           ---             ---           ---
   1/26/2016 Tue       254,000           ---             ---           ---
   1/27/2016 Wed    11,440,000           ---             ---           ---
   1/28/2016 Thu       448,000           ---             ---           ---
   1/29/2016 Fri       403,000   12,970,000     800,000,000         1.6%
    2/1/2016 Mon       377,000           ---             ---           ---
    2/2/2016 Tue     3,148,000           ---             ---           ---
    2/3/2016 Wed       676,000           ---             ---           ---
    2/4/2016 Thu       751,000           ---             ---           ---
    2/5/2016 Fri       256,000    5,208,000     800,000,000         0.7%
    2/8/2016 Mon       610,000           ---             ---           ---
    2/9/2016 Tue       963,000           ---             ---           ---
   2/10/2016 Wed       588,000           ---             ---           ---
   2/11/2016 Thu     2,315,000           ---             ---           ---
   2/12/2016 Fri       961,000    5,437,000     800,000,000         0.7%
   2/16/2016 Tue     1,673,000           ---             ---           ---
   2/17/2016 Wed    11,095,000           ---             ---           ---
   2/18/2016 Thu     7,116,000           ---             ---           ---
   2/19/2016 Fri     5,535,000   25,419,000     800,000,000         3.2%
   2/22/2016 Mon     2,527,000           ---             ---           ---
   2/23/2016 Tue     6,095,000           ---             ---           ---
   2/24/2016 Wed     1,263,000           ---             ---           ---
   2/25/2016 Thu       880,000           ---             ---           ---
   2/26/2016 Fri     2,138,000   12,903,000     800,000,000         1.6%
   2/29/2016 Mon       443,000           ---             ---           ---
    3/1/2016 Tue     2,465,000           ---             ---           ---
    3/2/2016 Wed       490,000           ---             ---           ---
    3/3/2016 Thu    11,227,000           ---             ---           ---
    3/4/2016 Fri     5,907,000   20,532,000     800,000,000         2.6%
    3/7/2016 Mon     1,284,000           ---             ---           ---
    3/8/2016 Tue       519,000           ---             ---           ---
    3/9/2016 Wed     1,200,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   3/10/2016 Thu       635,000           ---             ---           ---
   3/11/2016 Fri     2,695,000    6,333,000     800,000,000         0.8%
   3/14/2016 Mon       809,000           ---             ---           ---
   3/15/2016 Tue       996,000           ---             ---           ---
   3/16/2016 Wed     1,931,000           ---             ---           ---
   3/17/2016 Thu     2,225,000           ---             ---           ---
   3/18/2016 Fri     1,291,000    7,252,000     800,000,000         0.9%
   3/21/2016 Mon     5,814,000           ---             ---           ---
   3/22/2016 Tue     1,721,000           ---             ---           ---
   3/23/2016 Wed       588,000           ---             ---           ---
   3/24/2016 Thu       126,000    8,249,000     800,000,000         1.0%
   3/28/2016 Mon     1,214,000           ---             ---           ---
   3/29/2016 Tue     3,214,000           ---             ---           ---
   3/30/2016 Wed    16,539,000           ---             ---           ---
   3/31/2016 Thu     2,538,000           ---             ---           ---
    4/1/2016 Fri       162,000   23,667,000     800,000,000         3.0%
    4/4/2016 Mon       531,000           ---             ---           ---
    4/5/2016 Tue       366,000           ---             ---           ---
    4/6/2016 Wed       296,000           ---             ---           ---
    4/7/2016 Thu       376,000           ---             ---           ---
    4/8/2016 Fri       107,000    1,676,000     800,000,000         0.2%
   4/11/2016 Mon       324,000           ---             ---           ---
   4/12/2016 Tue       396,000           ---             ---           ---
   4/13/2016 Wed     1,292,000           ---             ---           ---
   4/14/2016 Thu       205,000           ---             ---           ---
   4/15/2016 Fri       290,000    2,507,000     800,000,000         0.3%
   4/18/2016 Mon     1,588,000           ---             ---           ---
   4/19/2016 Tue       665,000           ---             ---           ---
   4/20/2016 Wed     1,047,000           ---             ---           ---
   4/21/2016 Thu     7,537,000           ---             ---           ---
   4/22/2016 Fri     1,653,000   12,490,000     800,000,000         1.6%
   4/25/2016 Mon       487,000           ---             ---           ---
   4/26/2016 Tue       863,000           ---             ---           ---
   4/27/2016 Wed       645,000           ---             ---           ---
   4/28/2016 Thu       310,000           ---             ---           ---
   4/29/2016 Fri       816,000    3,121,000     800,000,000         0.4%
    5/2/2016 Mon       451,000           ---             ---           ---
    5/3/2016 Tue     1,641,000           ---             ---           ---
    5/4/2016 Wed       876,000           ---             ---           ---
    5/5/2016 Thu     1,542,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

    5/6/2016 Fri     1,298,000    5,808,000     800,000,000         0.7%
    5/9/2016 Mon       755,000           ---             ---           ---
   5/10/2016 Tue     4,640,000           ---             ---           ---
   5/11/2016 Wed    11,543,000           ---             ---           ---
   5/12/2016 Thu     1,694,000           ---             ---           ---
   5/13/2016 Fri       416,000   19,048,000     800,000,000         2.4%
   5/16/2016 Mon       767,000           ---             ---           ---
   5/17/2016 Tue       418,000           ---             ---           ---
   5/18/2016 Wed       722,000           ---             ---           ---
   5/19/2016 Thu     7,798,000           ---             ---           ---
   5/20/2016 Fri       537,000   10,242,000     800,000,000         1.3%
   5/23/2016 Mon     2,665,000           ---             ---           ---
   5/24/2016 Tue    15,341,000           ---             ---           ---
   5/25/2016 Wed       536,000           ---             ---           ---
   5/26/2016 Thu       202,000           ---             ---           ---
   5/27/2016 Fri       527,000   19,271,000     800,000,000         2.4%
   5/31/2016 Tue     2,918,000           ---             ---           ---
    6/1/2016 Wed       230,000           ---             ---           ---
    6/2/2016 Thu       958,000           ---             ---           ---
    6/3/2016 Fri     1,969,000    6,075,000     800,000,000         0.8%
    6/6/2016 Mon       731,000           ---             ---           ---
    6/7/2016 Tue     1,465,000           ---             ---           ---
    6/8/2016 Wed    11,734,000           ---             ---           ---
    6/9/2016 Thu       638,000           ---             ---           ---
   6/10/2016 Fri       295,000   14,863,000     800,000,000         1.9%
   6/13/2016 Mon     4,285,000           ---             ---           ---
   6/14/2016 Tue     4,934,000           ---             ---           ---
   6/15/2016 Wed       821,000           ---             ---           ---
   6/16/2016 Thu     3,766,000           ---             ---           ---
   6/17/2016 Fri       604,000   14,410,000     800,000,000         1.8%
   6/20/2016 Mon     2,634,000           ---             ---           ---
   6/21/2016 Tue     5,897,000           ---             ---           ---
   6/22/2016 Wed       709,000           ---             ---           ---
   6/23/2016 Thu       942,000           ---             ---           ---
   6/24/2016 Fri     4,768,000   14,950,000     800,000,000         1.9%
   6/27/2016 Mon     1,377,000           ---             ---           ---
   6/28/2016 Tue     4,299,000           ---             ---           ---
   6/29/2016 Wed       277,000           ---             ---           ---
   6/30/2016 Thu     3,579,000           ---             ---           ---
    7/1/2016 Fri       392,000    9,924,000     800,000,000         1.2%



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

    7/5/2016 Tue     1,543,000           ---             ---           ---
    7/6/2016 Wed       269,000           ---             ---           ---
    7/7/2016 Thu       521,000           ---             ---           ---
    7/8/2016 Fri       750,000    3,083,000     800,000,000         0.4%
   7/11/2016 Mon     2,098,000           ---             ---           ---
   7/12/2016 Tue     5,650,000           ---             ---           ---
   7/13/2016 Wed       288,000           ---             ---           ---
   7/14/2016 Thu     3,318,000           ---             ---           ---
   7/15/2016 Fri     7,301,000   18,655,000     800,000,000         2.3%
   7/18/2016 Mon     8,549,000           ---             ---           ---
   7/19/2016 Tue     7,117,000           ---             ---           ---
   7/20/2016 Wed     2,070,000           ---             ---           ---
   7/21/2016 Thu       952,000           ---             ---           ---
   7/22/2016 Fri       704,000   19,392,000     800,000,000         2.4%
   7/25/2016 Mon     1,363,000           ---             ---           ---
   7/26/2016 Tue     1,486,000           ---             ---           ---
   7/27/2016 Wed       565,000           ---             ---           ---
   7/28/2016 Thu     1,691,000           ---             ---           ---
   7/29/2016 Fri     1,027,000    6,132,000     800,000,000         0.8%
    8/1/2016 Mon       780,000           ---             ---           ---
    8/2/2016 Tue     2,703,000           ---             ---           ---
    8/3/2016 Wed       883,000           ---             ---           ---
    8/4/2016 Thu     2,692,000           ---             ---           ---
    8/5/2016 Fri     8,337,000   15,395,000     800,000,000         1.9%
    8/8/2016 Mon     5,075,000           ---             ---           ---
    8/9/2016 Tue     1,335,000           ---             ---           ---
   8/10/2016 Wed     1,246,000           ---             ---           ---
   8/11/2016 Thu     6,366,000           ---             ---           ---
   8/12/2016 Fri     4,095,000   18,117,000     800,000,000         2.3%
   8/15/2016 Mon     2,709,000           ---             ---           ---
   8/16/2016 Tue     7,377,000           ---             ---           ---
   8/17/2016 Wed     4,725,000           ---             ---           ---
   8/18/2016 Thu    21,446,000           ---             ---           ---
   8/19/2016 Fri     2,091,000   38,348,000     800,000,000         4.8%
   8/22/2016 Mon     5,335,000           ---             ---           ---
   8/23/2016 Tue     1,716,000           ---             ---           ---
   8/24/2016 Wed     5,558,000           ---             ---           ---
   8/25/2016 Thu       974,000           ---             ---           ---
   8/26/2016 Fri     3,833,000   17,416,000     800,000,000         2.2%
   8/29/2016 Mon     1,593,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   8/30/2016 Tue     3,428,000           ---             ---           ---
   8/31/2016 Wed     1,910,000           ---             ---           ---
    9/1/2016 Thu     1,641,000           ---             ---           ---
    9/2/2016 Fri     1,003,000    9,575,000     800,000,000         1.2%
    9/6/2016 Tue     4,718,000           ---             ---           ---
    9/7/2016 Wed     2,425,000           ---             ---           ---
    9/8/2016 Thu    13,508,000           ---             ---           ---
    9/9/2016 Fri     3,676,000   24,327,000     800,000,000         3.0%
   9/12/2016 Mon     8,499,000           ---             ---           ---
   9/13/2016 Tue       807,000           ---             ---           ---
   9/14/2016 Wed     5,141,000           ---             ---           ---
   9/15/2016 Thu     2,772,000           ---             ---           ---
   9/16/2016 Fri     1,022,000   18,241,000     800,000,000         2.3%
   9/19/2016 Mon     1,286,000           ---             ---           ---
   9/20/2016 Tue       933,000           ---             ---           ---
   9/21/2016 Wed     2,594,000           ---             ---           ---
   9/22/2016 Thu       909,000           ---             ---           ---
   9/23/2016 Fri     1,618,000    7,340,000     800,000,000         0.9%
   9/26/2016 Mon     3,522,000           ---             ---           ---
   9/27/2016 Tue     3,407,000           ---             ---           ---
   9/28/2016 Wed     3,135,000           ---             ---           ---
   9/29/2016 Thu     2,671,000           ---             ---           ---
   9/30/2016 Fri     2,213,000   14,948,000     800,000,000         1.9%
   10/3/2016 Mon     1,016,000           ---             ---           ---
   10/4/2016 Tue     9,007,000           ---             ---           ---
   10/5/2016 Wed     4,113,000           ---             ---           ---
   10/6/2016 Thu     8,386,000           ---             ---           ---
   10/7/2016 Fri     1,003,000   23,525,000     800,000,000         2.9%
  10/11/2016 Tue     4,915,000           ---             ---           ---
  10/12/2016 Wed       689,000           ---             ---           ---
  10/13/2016 Thu       459,000           ---             ---           ---
  10/14/2016 Fri     3,559,000    9,622,000     800,000,000         1.2%
  10/17/2016 Mon     1,955,000           ---             ---           ---
  10/18/2016 Tue       521,000           ---             ---           ---
  10/19/2016 Wed     1,466,000           ---             ---           ---
  10/20/2016 Thu       834,000           ---             ---           ---
  10/21/2016 Fri       963,000    5,739,000     800,000,000         0.7%
  10/24/2016 Mon     3,674,000           ---             ---           ---
  10/25/2016 Tue     1,244,000           ---             ---           ---
  10/26/2016 Wed       863,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]           [3]             [4]             [5]
                      Daily        Weekly          Notes           Weekly
       Date          Volume        Volume        Outstanding      Turnover

  10/27/2016 Thu    89,331,000            ---             ---           ---
  10/28/2016 Fri    36,426,000   131,538,000     800,000,000        16.4%
  10/31/2016 Mon     9,815,000            ---             ---           ---
   11/1/2016 Tue     9,969,000            ---             ---           ---
   11/2/2016 Wed    16,187,000            ---             ---           ---
   11/3/2016 Thu    12,055,000            ---             ---           ---
   11/4/2016 Fri     3,591,000    51,617,000     800,000,000         6.5%
   11/7/2016 Mon     6,789,000            ---             ---           ---
   11/8/2016 Tue     3,926,000            ---             ---           ---
   11/9/2016 Wed     2,439,000            ---             ---           ---
  11/10/2016 Thu    10,405,000    23,559,000     800,000,000         2.9%
  11/14/2016 Mon     3,663,000            ---             ---           ---
  11/15/2016 Tue    26,193,000            ---             ---           ---
  11/16/2016 Wed       707,000            ---             ---           ---
  11/17/2016 Thu     3,814,000            ---             ---           ---
  11/18/2016 Fri     4,848,000    39,225,000     800,000,000         4.9%
  11/21/2016 Mon     1,037,000            ---             ---           ---
  11/22/2016 Tue     2,608,000            ---             ---           ---
  11/23/2016 Wed     5,041,000            ---             ---           ---
  11/25/2016 Fri       181,000     8,867,000     800,000,000         1.1%
  11/28/2016 Mon     1,416,000            ---             ---           ---
  11/29/2016 Tue     5,679,000            ---             ---           ---
  11/30/2016 Wed     1,182,000            ---             ---           ---
   12/1/2016 Thu     1,873,000            ---             ---           ---
   12/2/2016 Fri     1,029,000    11,179,000     800,000,000         1.4%
   12/5/2016 Mon     5,008,000            ---             ---           ---
   12/6/2016 Tue     3,266,000            ---             ---           ---
   12/7/2016 Wed    10,683,000            ---             ---           ---
   12/8/2016 Thu     7,693,000            ---             ---           ---
   12/9/2016 Fri       580,000    27,230,000     800,000,000         3.4%
  12/12/2016 Mon    10,690,000            ---             ---           ---
  12/13/2016 Tue     7,283,000            ---             ---           ---
  12/14/2016 Wed    22,881,000            ---             ---           ---
  12/15/2016 Thu    22,878,000            ---             ---           ---
  12/16/2016 Fri     1,395,000    65,127,000     800,000,000         8.1%
  12/19/2016 Mon     5,466,000            ---             ---           ---
  12/20/2016 Tue    12,836,000            ---             ---           ---
  12/21/2016 Wed     2,253,000            ---             ---           ---
  12/22/2016 Thu     5,439,000            ---             ---           ---
  12/23/2016 Fri       276,000    26,270,000     800,000,000         3.3%



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

  12/27/2016 Tue     5,405,000           ---             ---           ---
  12/28/2016 Wed     2,841,000           ---             ---           ---
  12/29/2016 Thu     1,489,000           ---             ---           ---
  12/30/2016 Fri       908,000   10,643,000     800,000,000         1.3%
    1/3/2017 Tue     3,614,000           ---             ---           ---
    1/4/2017 Wed     9,400,000           ---             ---           ---
    1/5/2017 Thu     4,844,000           ---             ---           ---
    1/6/2017 Fri    11,928,000   29,786,000     800,000,000         3.7%
    1/9/2017 Mon     2,782,000           ---             ---           ---
   1/10/2017 Tue     3,251,000           ---             ---           ---
   1/11/2017 Wed     2,890,000           ---             ---           ---
   1/12/2017 Thu       972,000           ---             ---           ---
   1/13/2017 Fri     7,856,000   17,751,000     800,000,000         2.2%
   1/17/2017 Tue     1,908,000           ---             ---           ---
   1/18/2017 Wed     1,948,000           ---             ---           ---
   1/19/2017 Thu     1,211,000           ---             ---           ---
   1/20/2017 Fri     1,213,000    6,280,000     800,000,000         0.8%
   1/23/2017 Mon     1,252,000           ---             ---           ---
   1/24/2017 Tue     4,303,000           ---             ---           ---
   1/25/2017 Wed     2,147,000           ---             ---           ---
   1/26/2017 Thu     1,666,000           ---             ---           ---
   1/27/2017 Fri    16,013,000   25,381,000     800,000,000         3.2%
   1/30/2017 Mon    11,615,000           ---             ---           ---
   1/31/2017 Tue     1,912,000           ---             ---           ---
    2/1/2017 Wed     1,838,000           ---             ---           ---
    2/2/2017 Thu     1,713,000           ---             ---           ---
    2/3/2017 Fri     2,261,000   19,339,000     800,000,000         2.4%
    2/6/2017 Mon     2,013,000           ---             ---           ---
    2/7/2017 Tue     8,575,000           ---             ---           ---
    2/8/2017 Wed    13,521,000           ---             ---           ---
    2/9/2017 Thu     4,923,000           ---             ---           ---
   2/10/2017 Fri    10,909,000   39,941,000     800,000,000         5.0%
   2/13/2017 Mon     1,554,000           ---             ---           ---
   2/14/2017 Tue     2,200,000           ---             ---           ---
   2/15/2017 Wed     2,399,000           ---             ---           ---
   2/16/2017 Thu       909,000           ---             ---           ---
   2/17/2017 Fri     1,673,000    8,735,000     800,000,000         1.1%
   2/21/2017 Tue     4,859,000           ---             ---           ---
   2/22/2017 Wed     1,976,000           ---             ---           ---
   2/23/2017 Thu     2,670,000           ---             ---           ---



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   2/24/2017 Fri       742,000   10,247,000     800,000,000         1.3%
   2/27/2017 Mon       728,000           ---             ---           ---
   2/28/2017 Tue     6,928,000           ---             ---           ---
    3/1/2017 Wed    11,551,000           ---             ---           ---
    3/2/2017 Thu     2,051,000           ---             ---           ---
    3/3/2017 Fri       268,000   21,526,000     800,000,000         2.7%
    3/6/2017 Mon     1,371,000           ---             ---           ---
    3/7/2017 Tue     6,114,000           ---             ---           ---
    3/8/2017 Wed     3,977,000           ---             ---           ---
    3/9/2017 Thu     3,443,000           ---             ---           ---
   3/10/2017 Fri       612,000   15,517,000     800,000,000         1.9%
   3/13/2017 Mon     8,414,000           ---             ---           ---
   3/14/2017 Tue     1,574,000           ---             ---           ---
   3/15/2017 Wed    13,804,000           ---             ---           ---
   3/16/2017 Thu       302,000           ---             ---           ---
   3/17/2017 Fri     1,504,000   25,598,000     800,000,000         3.2%
   3/20/2017 Mon     1,401,000           ---             ---           ---
   3/21/2017 Tue    13,365,000           ---             ---           ---
   3/22/2017 Wed     7,486,000           ---             ---           ---
   3/23/2017 Thu     2,519,000           ---             ---           ---
   3/24/2017 Fri     2,867,000   27,638,000     800,000,000         3.5%
   3/27/2017 Mon     3,064,000           ---             ---           ---
   3/28/2017 Tue     3,444,000           ---             ---           ---
   3/29/2017 Wed    10,279,000           ---             ---           ---
   3/30/2017 Thu     7,645,000           ---             ---           ---
   3/31/2017 Fri     7,534,000   31,966,000     800,000,000         4.0%
    4/3/2017 Mon       615,000           ---             ---           ---
    4/4/2017 Tue     1,638,000           ---             ---           ---
    4/5/2017 Wed     4,382,000           ---             ---           ---
    4/6/2017 Thu    10,181,000           ---             ---           ---
    4/7/2017 Fri     1,177,000   17,993,000     800,000,000         2.2%
   4/10/2017 Mon     1,330,000           ---             ---           ---
   4/11/2017 Tue     1,136,000           ---             ---           ---
   4/12/2017 Wed     1,075,000           ---             ---           ---
   4/13/2017 Thu     1,965,000    5,506,000     800,000,000         0.7%
   4/17/2017 Mon     2,118,000           ---             ---           ---
   4/18/2017 Tue     4,004,000           ---             ---           ---
   4/19/2017 Wed     1,619,000           ---             ---           ---
   4/20/2017 Thu       951,000           ---             ---           ---
   4/21/2017 Fri     4,379,000   13,071,000     800,000,000         1.6%



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                                 Appendix K
              Weekly Trading Volume and Turnover of the 7.6% Note

        [1]            [2]          [3]             [4]             [5]
                      Daily       Weekly          Notes           Weekly
       Date          Volume       Volume        Outstanding      Turnover

   4/24/2017 Mon     2,818,000           ---             ---           ---
   4/25/2017 Tue    23,365,000           ---             ---           ---
   4/26/2017 Wed    10,026,000           ---             ---           ---
   4/27/2017 Thu     3,175,000           ---             ---           ---
   4/28/2017 Fri     6,512,000   45,896,000     800,000,000         5.7%
    5/1/2017 Mon     4,644,000           ---             ---           ---
    5/2/2017 Tue    12,648,000           ---             ---           ---
    5/3/2017 Wed     3,966,000           ---             ---           ---
    5/4/2017 Thu     2,249,000           ---             ---           ---
    5/5/2017 Fri     2,354,000   25,861,000     800,000,000         3.2%
    5/8/2017 Mon     2,816,000           ---             ---           ---
    5/9/2017 Tue     4,310,000           ---             ---           ---
   5/10/2017 Wed     7,935,000           ---             ---           ---
   5/11/2017 Thu     5,030,000           ---             ---           ---
   5/12/2017 Fri     2,760,000   22,851,000     800,000,000         2.9%
   5/15/2017 Mon     9,239,000           ---             ---           ---
   5/16/2017 Tue     1,557,000           ---             ---           ---
   5/17/2017 Wed     2,841,000           ---             ---           ---
   5/18/2017 Thu     1,706,000           ---             ---           ---
   5/19/2017 Fri     4,664,000   20,007,000     800,000,000         2.5%
   5/22/2017 Mon       985,000           ---             ---           ---
   5/23/2017 Tue    16,089,000           ---             ---           ---
   5/24/2017 Wed     1,010,000           ---             ---           ---
   5/25/2017 Thu     2,578,000           ---             ---           ---
   5/26/2017 Fri       808,000   21,470,000     800,000,000         2.7%
   5/30/2017 Tue     3,832,000           ---             ---           ---
   5/31/2017 Wed     9,005,000           ---             ---           ---
    6/1/2017 Thu     7,750,000           ---             ---           ---
    6/2/2017 Fri     7,253,000   27,840,000     800,000,000         3.5%
    6/5/2017 Mon     9,128,000           ---             ---           ---
    6/6/2017 Tue     6,793,000           ---             ---           ---
    6/7/2017 Wed     2,227,000           ---             ---           ---
    6/8/2017 Thu    12,074,000           ---             ---           ---
    6/9/2017 Fri     1,441,000   31,663,000     800,000,000         4.0%
   6/12/2017 Mon     3,666,000           ---             ---           ---
   6/13/2017 Tue     9,467,000           ---             ---           ---
   6/14/2017 Wed    13,048,000           ---             ---           ---
   6/15/2017 Thu    12,189,000           ---             ---           ---
   6/16/2017 Fri     5,551,000   43,921,000     800,000,000         5.5%
   6/19/2017 Mon     4,220,000           ---             ---           ---



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                                   Appendix K
                Weekly Trading Volume and Turnover of the 7.6% Note

          [1]               [2]               [3]                [4]                   [5]
                           Daily            Weekly             Notes                 Weekly
         Date             Volume            Volume           Outstanding            Turnover

   6/20/2017 Tue          3,329,000               ---                  ---               ---
   6/21/2017 Wed          5,215,000               ---                  ---               ---
   6/22/2017 Thu          7,117,000               ---                  ---               ---
   6/23/2017 Fri          1,689,000       21,570,000          800,000,000             2.7%
   6/26/2017 Mon          1,757,000               ---                  ---               ---
   6/27/2017 Tue         16,115,000               ---                  ---               ---
   6/28/2017 Wed          5,194,000               ---                  ---               ---
   6/29/2017 Thu          2,607,000               ---                  ---               ---
   6/30/2017 Fri          2,096,000       27,769,000          800,000,000             3.5%
    7/3/2017 Mon            141,000               ---                  ---               ---
    7/5/2017 Wed         11,587,000               ---                  ---               ---
    7/6/2017 Thu          1,115,000               ---                  ---               ---
    7/7/2017 Fri          1,851,000       14,694,000          800,000,000             1.8%
   7/10/2017 Mon          1,491,000               ---                  ---               ---
   7/11/2017 Tue          3,923,000               ---                  ---               ---
   7/12/2017 Wed          4,400,000               ---                  ---               ---
   7/13/2017 Thu          2,219,000               ---                  ---               ---
   7/14/2017 Fri            571,000       12,604,000          800,000,000             1.6%
  Notes:
  [1] Date on which the US stock market was open, less SIFMA recommended full close dates.
  [2] Reported volume (in par value). See Appendix I for metholodogy to compute the reported
  volume. Source: FINRA TRACE Data.
  [3] Volume over entire week of trading.
  [4] Notes outstanding (in par value). Source: Bloomberg.
  [5] Weekly turnover = [3] / [4].




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

[1]         [2]         [3]      [4]       [5]        [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]       [14]     [15]     [16]      [17]       [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
2/28/13   27,148,000    98.78
 3/1/13   23,414,000    98.46    -0.32%     0.23%      0.18%    -0.38%      0.56%    0.00      0.07       0.07        1.17      1.22      0.15%   -0.47%      0.01    -0.47    64.04%
 3/4/13    3,738,000    98.88     0.42%     0.46%      0.39%     0.60%     -0.63%    0.00      0.07       0.06        1.16      1.20     -0.13%    0.55%      0.01     0.55    58.66%
 3/5/13   31,927,000    98.82    -0.07%     0.96%      0.36%     0.38%     -0.37%    0.00      0.05       0.07        1.14      1.16     -0.04%   -0.03%      0.01    -0.03    97.62%
 3/6/13    7,177,000    99.67     0.87%     0.14%     -0.76%     0.83%     -0.78%    0.00      0.04       0.10        1.14      1.15     -0.12%    0.99%      0.01     0.99    32.58%
 3/7/13    3,895,000    99.20    -0.48%     0.19%      0.17%     0.78%     -0.88%    0.00      0.04       0.07        1.20      1.20     -0.20%   -0.27%      0.01    -0.27    78.56%
 3/8/13   18,857,000    98.30    -0.90%     0.46%      0.49%     0.64%     -0.70%    0.00      0.03       0.08        1.19      1.21     -0.15%   -0.76%      0.01    -0.75    45.18%
3/11/13    3,034,000    98.90     0.61%     0.33%     -0.47%     0.43%     -0.26%    0.00      0.01       0.13        0.89      0.94     -0.03%    0.65%      0.01     0.67    50.28%
3/12/13    2,720,000    98.63    -0.27%    -0.24%      0.72%    -0.48%      0.76%    0.00     -0.03       0.18        1.01      1.05      0.34%   -0.62%      0.01    -0.66    50.96%
3/13/13    7,630,000    97.70    -0.94%     0.17%     -0.57%     0.13%     -0.08%    0.00     -0.03       0.16        0.97      1.00     -0.16%   -0.78%      0.01    -0.84    40.29%
3/14/13   16,806,000    97.30    -0.41%     0.56%      0.40%     0.28%     -0.34%    0.00     -0.04       0.18        0.96      0.99     -0.13%   -0.28%      0.01    -0.30    76.32%
3/15/13    6,190,000    97.14    -0.16%    -0.16%     -0.94%    -0.38%      0.46%    0.00     -0.08       0.18        0.91      0.91     -0.21%    0.04%      0.01     0.05    96.31%
3/18/13    3,600,000    97.26     0.11%    -0.55%      0.51%    -0.39%      0.53%    0.00     -0.04       0.25        0.67      0.78      0.20%   -0.08%      0.01    -0.09    92.71%
3/19/13    4,856,000    97.53     0.29%    -0.24%      0.43%    -0.79%      0.92%    0.00     -0.04       0.25        0.67      0.77      0.18%    0.10%      0.01     0.11    90.99%
3/20/13    2,754,000    97.18    -0.37%     0.67%     -0.59%     1.09%     -1.21%    0.00     -0.04       0.25        0.80      0.90     -0.52%    0.15%      0.01     0.16    87.10%
3/21/13    2,258,000    97.94     0.79%    -0.83%      0.62%    -1.06%      1.14%    0.00     -0.04       0.25        0.80      0.90      0.26%    0.53%      0.01     0.58    56.57%
3/22/13    3,428,000    97.31    -0.65%     0.72%      0.20%     0.27%     -0.28%    0.00     -0.04       0.28        0.69      0.82     -0.10%   -0.55%      0.01    -0.60    54.68%
3/25/13    6,524,000    97.12    -0.19%    -0.33%      0.13%    -0.01%     -0.02%    0.00     -0.05       0.27        0.70      0.83     -0.07%   -0.12%      0.01    -0.13    89.46%
3/26/13    2,443,000    97.52     0.41%     0.81%      0.20%    -0.11%      0.10%    0.00     -0.04       0.28        0.71      0.85     -0.05%    0.46%      0.01     0.51    60.81%
3/27/13    7,104,000    97.64     0.12%    -0.05%     -0.56%    -1.04%      0.91%    0.00     -0.04       0.29        0.69      0.86     -0.17%    0.29%      0.01     0.33    74.36%
3/28/13    7,376,000    97.42    -0.23%     0.41%      0.14%     0.32%     -0.28%    0.00     -0.04       0.28        0.69      0.86     -0.07%   -0.16%      0.01    -0.17    86.20%
 4/1/13    6,532,000    97.35    -0.07%    -0.44%      1.15%    -0.33%      0.46%    0.00     -0.05       0.30        0.68      0.87      0.47%   -0.53%      0.01    -0.60    54.91%
 4/2/13   12,673,000    97.54     0.20%     0.52%      0.38%     0.40%     -0.40%    0.00     -0.05       0.29        0.66      0.85     -0.08%    0.27%      0.01     0.31    76.03%
 4/3/13   29,012,000    97.23    -0.32%    -1.04%     -0.15%    -0.70%      0.85%    0.00     -0.03       0.28        0.64      0.84      0.19%   -0.52%      0.01    -0.59    55.75%
 4/4/13   35,600,000    97.78     0.57%     0.41%      0.97%    -0.77%      1.05%    0.00     -0.02       0.28        0.61      0.81      0.58%   -0.01%      0.01    -0.02    98.71%
 4/5/13   30,575,000    96.89    -0.91%    -0.43%      0.72%    -1.66%      1.85%    0.00     -0.03       0.28        0.60      0.81      0.64%   -1.55%      0.01    -1.77     7.88%
 4/8/13   12,053,000    97.55     0.68%     0.66%      0.06%     0.51%     -0.68%    0.00     -0.05       0.24        0.63      0.79     -0.32%    1.00%      0.01     1.14    25.53%
 4/9/13    8,198,000    98.51     0.99%     0.35%     -0.04%     0.44%     -0.35%    0.00     -0.02       0.24        0.58      0.77     -0.12%    1.11%      0.01     1.26    20.96%
4/10/13   12,044,000    99.13     0.62%     1.23%      0.24%     1.22%     -1.13%    0.00     -0.05       0.20        0.68      0.86     -0.22%    0.84%      0.01     0.97    33.43%
4/11/13   19,917,000    99.35     0.23%     0.36%      0.74%     0.11%      0.17%    0.00     -0.04       0.20        0.70      0.86      0.29%   -0.06%      0.01    -0.07    94.38%
4/12/13    2,140,000   100.76     1.42%    -0.28%      0.50%    -1.01%      1.31%    0.00     -0.05       0.24        0.61      0.75      0.42%    0.99%      0.01     1.15    25.06%
4/15/13   10,156,000   100.10    -0.65%    -2.30%      1.01%    -0.97%      1.02%    0.00     -0.04       0.22        0.65      0.83      0.46%   -1.11%      0.01    -1.29    20.00%
4/16/13    5,494,000   100.53     0.43%     1.43%     -0.89%     0.84%     -0.88%    0.00      0.00       0.20        0.70      0.88     -0.46%    0.88%      0.01     1.02    30.96%
4/17/13    2,237,000   101.28     0.74%    -1.43%     -0.08%    -0.54%      0.56%    0.00      0.02       0.15        0.76      0.91     -0.01%    0.76%      0.01     0.88    38.06%
4/18/13   20,152,000   100.37    -0.90%    -0.67%      1.54%    -0.42%      0.32%    0.00      0.03       0.14        0.54      0.76      0.15%   -1.05%      0.01    -1.22    22.37%
4/19/13    8,224,000   100.05    -0.31%     0.89%      1.12%     0.43%     -0.42%    0.00      0.03       0.12        0.71      0.90      0.02%   -0.33%      0.01    -0.39    70.07%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

[1]         [2]         [3]      [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
4/22/13   10,566,000   100.46     0.41%     0.47%      0.20%    -0.09%      0.16%    0.00      0.00       0.08        0.80      1.01    0.04%     0.37%     0.01      0.43     66.57%
4/23/13    3,240,000   100.79     0.32%     1.04%     -0.20%     0.77%     -0.45%    0.00      0.01       0.08        0.80      1.01    0.10%     0.22%     0.01      0.26     79.40%
4/24/13   29,963,000   101.18     0.39%     0.01%     -2.93%     0.17%      0.18%    0.00      0.01       0.08        0.83      1.04    0.03%     0.37%     0.01      0.44     66.43%
4/25/13   26,589,000   101.76     0.57%     0.41%      1.43%     0.32%     -0.09%    0.00      0.01       0.06        0.88      1.07    0.22%     0.35%     0.01      0.42     67.59%
4/26/13   13,480,000   101.61    -0.14%    -0.18%     -0.04%    -0.31%      0.71%    0.00      0.01       0.06        0.87      1.06    0.43%    -0.58%     0.01     -0.68     49.79%
4/29/13   16,677,000   102.64     1.01%     0.72%     -0.21%     0.46%     -0.35%    0.00      0.00       0.06        0.81      0.99   -0.04%     1.05%     0.01      1.24     21.90%
4/30/13   26,946,000   103.36     0.70%     0.25%      0.30%     0.32%      0.00%    0.00      0.01       0.05        0.83      1.02    0.25%     0.45%     0.01      0.53     59.52%
 5/1/13   11,550,000   103.65     0.29%    -0.93%     -0.29%    -0.51%      0.82%    0.00      0.01       0.05        0.88      1.07    0.36%    -0.07%     0.01     -0.09     93.22%
 5/2/13   54,185,000   103.53    -0.12%     0.95%     -0.48%    -0.10%      0.10%    0.00      0.01       0.05        0.87      1.06   -0.04%    -0.07%     0.01     -0.09     93.14%
 5/3/13    1,755,000   104.09     0.54%     1.06%     -0.82%     2.32%     -2.22%    0.00      0.00       0.06        0.88      1.06   -0.40%     0.94%     0.01      1.10     27.25%
 5/6/13    7,410,000   104.10     0.01%     0.19%     -0.86%     0.65%     -0.37%    0.00     -0.01       0.03        0.95      1.07    0.17%    -0.16%     0.01     -0.19     85.19%
 5/7/13    3,992,000   104.62     0.50%     0.53%      0.88%     0.67%     -0.36%    0.00     -0.01       0.04        0.94      1.06    0.24%     0.25%     0.01      0.30     76.66%
 5/8/13    3,841,000   104.68     0.06%     0.46%      0.50%    -0.02%      0.16%    0.00     -0.01       0.04        0.96      1.08    0.14%    -0.08%     0.01     -0.10     92.39%
 5/9/13   24,907,000   105.52     0.80%    -0.32%     -0.76%     0.07%     -0.08%    0.00     -0.01       0.04        0.99      1.10   -0.08%     0.88%     0.01      1.04     30.12%
5/10/13   15,237,000   105.22    -0.28%     0.43%     -0.06%     1.23%     -1.39%    0.00     -0.01       0.02        1.09      1.18   -0.37%     0.08%     0.01      0.10     92.16%
5/13/13    3,370,000   104.79    -0.41%     0.01%     -0.86%     0.59%     -0.67%    0.00      0.04       0.01        1.13      1.26   -0.26%    -0.16%     0.01     -0.19     85.24%
5/14/13    4,800,000   104.32    -0.44%     1.04%      0.25%     0.94%     -0.99%    0.00      0.04      -0.02        1.02      1.15   -0.19%    -0.25%     0.01     -0.31     75.91%
5/15/13    2,552,000   103.97    -0.34%     0.54%      0.35%    -0.63%      0.59%    0.00      0.03       0.00        1.10      1.22   -0.01%    -0.33%     0.01     -0.40     69.04%
5/16/13    2,963,000   104.04     0.07%    -0.50%     -0.22%    -0.82%      0.96%    0.00      0.05       0.01        1.09      1.21    0.19%    -0.12%     0.01     -0.15     87.98%
5/17/13    2,869,000   103.82    -0.21%     1.03%     -0.43%     1.07%     -1.18%    0.00      0.05       0.01        1.10      1.23   -0.29%     0.08%     0.01      0.10     92.28%
5/20/13    1,058,000   104.35     0.52%    -0.07%     -0.77%     0.24%     -0.19%    0.00      0.05       0.00        1.07      1.20   -0.05%     0.57%     0.01      0.70     48.56%
5/21/13    3,816,000   103.70    -0.62%     0.18%     -0.77%    -0.64%      0.76%    0.00      0.02       0.00        1.03      1.13    0.14%    -0.76%     0.01     -0.94     35.08%
5/22/13    6,871,000   103.13    -0.55%    -0.82%     -0.65%     1.50%     -1.46%    0.00     -0.02       0.00        1.08      1.15   -0.10%    -0.45%     0.01     -0.56     57.75%
5/23/13   13,164,000   101.97    -1.13%    -0.28%      0.67%    -0.79%      0.45%    0.00      0.00       0.01        1.05      1.15   -0.37%    -0.76%     0.01     -0.94     34.81%
5/24/13      841,000   102.30     0.32%    -0.05%     -0.24%    -0.38%      0.30%    0.00     -0.01      -0.01        1.12      1.20   -0.15%     0.47%     0.01      0.59     55.69%
5/28/13    1,347,000   102.49     0.19%     0.64%     -1.71%     2.33%     -2.47%    0.00     -0.02      -0.01        1.07      1.15   -0.40%     0.59%     0.01      0.75     45.67%
5/29/13    2,795,000   102.39    -0.10%    -0.69%     -0.97%    -1.28%      0.85%    0.00     -0.04      -0.02        1.08      1.13   -0.44%     0.35%     0.01      0.44     66.16%
5/30/13    1,895,000   100.55    -1.80%     0.38%     -1.07%     0.00%     -0.06%    0.00     -0.04      -0.01        0.96      1.02   -0.12%    -1.68%     0.01     -2.14      3.48% *
5/31/13    3,682,000   100.18    -0.37%    -1.43%     -0.30%     0.12%     -0.31%    0.00     -0.06       0.02        1.08      1.11   -0.20%    -0.17%     0.01     -0.22     82.83%
 6/3/13    1,363,000    99.91    -0.27%     0.60%     -0.24%    -0.47%      0.23%    0.00     -0.05       0.02        1.09      1.13   -0.36%     0.09%     0.01      0.11     91.14%
 6/4/13   14,219,000    98.44    -1.47%    -0.55%      1.29%     0.52%     -0.77%    0.00     -0.04       0.02        1.09      1.13   -0.32%    -1.14%     0.01     -1.43     15.41%
 6/5/13    9,306,000    96.99    -1.47%    -1.35%     -0.13%    -1.64%      1.14%    0.00     -0.02       0.01        1.16      1.22   -0.60%    -0.88%     0.01     -1.11     26.97%
 6/6/13    9,393,000    97.69     0.72%     0.86%      1.64%    -0.10%     -0.05%    0.00      0.00       0.01        1.30      1.33   -0.29%     1.01%     0.01      1.27     20.67%
 6/7/13    2,691,000   100.09     2.46%     1.28%     -1.23%     1.66%     -1.52%    0.00      0.00       0.06        1.27      1.29   -0.03%     2.49%     0.01      3.14      0.21% **
6/10/13    2,316,000    99.07    -1.03%    -0.03%      0.89%     0.54%     -0.59%    0.00     -0.01       0.02        1.39      1.36   -0.11%    -0.91%     0.01     -1.12     26.65%
6/11/13    2,075,000    98.23    -0.84%    -1.01%      0.22%    -1.45%      0.88%    0.00      0.01       0.01        1.38      1.35   -0.89%     0.05%     0.01      0.06     95.02%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
6/12/13    1,796,000   98.70     0.47%    -0.81%      0.11%     0.63%     -0.91%    0.00      0.01       0.00        1.35      1.32   -0.44%     0.92%     0.01      1.12     26.48%
6/13/13    3,159,000   98.57    -0.13%     1.49%      0.65%    -1.06%      1.01%    0.00     -0.02       0.01        1.32      1.26   -0.22%     0.09%     0.01      0.11     90.89%
6/14/13    2,237,000   98.84     0.27%    -0.59%      0.24%     0.04%      0.16%    0.00      0.01       0.02        1.24      1.19    0.17%     0.11%     0.01      0.13     89.65%
6/17/13    1,216,000   99.53     0.69%     0.76%     -1.12%     0.85%     -0.75%    0.00      0.00       0.02        1.24      1.19    0.06%     0.64%     0.01      0.78     43.48%
6/18/13    1,491,000   99.63     0.11%     0.78%      0.81%    -0.35%      0.16%    0.00      0.02       0.03        1.35      1.28   -0.33%     0.44%     0.01      0.55     58.57%
6/19/13    2,225,000   98.90    -0.73%    -1.38%     -1.76%     1.14%     -1.27%    0.00      0.01       0.04        1.30      1.22   -0.23%    -0.50%     0.01     -0.65     51.70%
6/20/13    5,452,000   96.84    -2.08%    -2.49%     -0.55%    -0.14%     -1.69%    0.00      0.03       0.05        1.31      1.24   -2.49%     0.41%     0.01      0.52     60.29%
6/21/13    3,777,000   97.12     0.29%     0.27%      0.44%     0.73%     -1.20%    0.00      0.03       0.05        1.19      1.13   -0.54%     0.83%     0.01      1.07     28.55%
6/24/13    1,109,000   94.68    -2.52%    -1.21%      0.26%    -1.31%      0.63%    0.00      0.05       0.07        1.12      1.04   -0.96%    -1.55%     0.01     -2.04      4.32% *
6/25/13    2,367,000   94.38    -0.31%     0.96%      1.32%     0.87%     -1.32%    0.00      0.10       0.07        1.23      1.10   -0.32%     0.01%     0.01      0.01     99.15%
6/26/13    8,296,000   94.56     0.19%     0.98%      0.12%    -0.38%      0.87%    0.00      0.12       0.09        1.26      1.11    0.52%    -0.33%     0.01     -0.44     66.32%
6/27/13    2,934,000   96.15     1.67%     0.63%      0.52%    -0.44%      0.74%    0.00      0.09       0.10        1.31      1.13    0.26%     1.41%     0.01      1.91      5.87%
6/28/13      878,000   96.62     0.49%    -0.43%     -0.42%    -0.28%      0.57%    0.00      0.11       0.11        1.33      1.17    0.11%     0.38%     0.01      0.51     61.40%
 7/1/13    4,309,000   95.56    -1.09%     0.55%     -0.46%    -0.18%      0.32%    0.00      0.11       0.10        1.31      1.16    0.06%    -1.15%     0.01     -1.54     12.68%
 7/2/13    1,083,000   96.26     0.74%    -0.03%      0.58%     0.03%      0.03%    0.00      0.09       0.07        1.35      1.19    0.04%     0.70%     0.01      0.94     35.04%
 7/3/13      739,000   95.83    -0.45%     0.08%      0.44%     0.04%     -0.31%    0.00      0.07       0.06        1.56      1.38   -0.39%    -0.06%     0.01     -0.09     93.07%
 7/5/13      354,000   94.16    -1.74%     1.02%     -0.17%     3.12%     -3.52%    0.00      0.07       0.06        1.56      1.38    0.01%    -1.76%     0.01     -2.49      1.41% *
 7/8/13    6,484,000   95.56     1.48%     0.56%      0.21%    -1.26%      1.25%    0.00      0.09       0.06        1.53      1.42   -0.16%     1.65%     0.01      2.32      2.21% *
 7/9/13   11,001,000   94.56    -1.05%     0.72%     -0.64%     0.38%     -0.21%    0.00      0.12       0.04        1.45      1.39    0.26%    -1.30%     0.01     -1.80      7.45%
7/10/13    1,962,000   95.54     1.05%     0.02%     -0.45%     0.02%      0.01%    0.00      0.11       0.08        1.44      1.37   -0.05%     1.10%     0.01      1.51     13.51%
7/11/13    4,204,000   96.25     0.74%     1.37%      0.47%     0.22%      0.35%    0.00      0.12       0.03        1.41      1.36    0.90%    -0.16%     0.01     -0.22     82.77%
7/12/13    2,028,000   97.07     0.85%     0.31%     -0.83%    -0.02%      0.08%    0.00      0.11       0.02        1.39      1.36    0.04%     0.81%     0.01      1.13     26.15%
7/15/13    5,729,000   96.17    -0.93%     0.14%     -0.73%    -0.35%      0.52%    0.00      0.12       0.01        1.40      1.38    0.19%    -1.11%     0.01     -1.55     12.48%
7/16/13   11,314,500   97.03     0.89%    -0.37%      0.94%     0.08%      0.11%    0.00      0.11       0.03        1.39      1.35    0.17%     0.72%     0.01      0.99     32.34%
7/17/13    4,244,000   97.58     0.56%     0.29%      0.33%    -0.02%      0.17%    0.00      0.10       0.04        1.42      1.38    0.20%     0.36%     0.01      0.50     62.11%
7/18/13    4,938,000   97.93     0.36%     0.51%     -1.20%     1.00%     -0.86%    0.00      0.10       0.04        1.42      1.38    0.20%     0.16%     0.01      0.22     82.86%
7/19/13    7,812,000   98.40     0.48%     0.16%      0.03%    -0.83%      1.15%    0.00      0.10       0.03        1.42      1.38    0.39%     0.10%     0.01      0.13     89.36%
7/22/13    1,444,000   98.72     0.33%     0.21%     -0.17%    -0.19%      0.21%    0.00      0.10       0.04        1.43      1.39    0.00%     0.33%     0.01      0.46     64.83%
7/23/13    2,979,000   98.11    -0.62%    -0.19%      0.52%     0.51%     -0.47%    0.00      0.09       0.01        1.46      1.43    0.03%    -0.65%     0.01     -0.93     35.63%
7/24/13    2,565,000   96.61    -1.53%    -0.38%     -0.32%     0.79%     -1.11%    0.00      0.10       0.01        1.45      1.43   -0.51%    -1.01%     0.01     -1.43     15.55%
7/25/13    3,131,000   95.98    -0.65%     0.26%     -0.07%    -0.37%      0.10%    0.00      0.11       0.01        1.47      1.46   -0.42%    -0.23%     0.01     -0.32     74.69%
7/26/13    3,288,000   95.90    -0.08%     0.08%      0.36%    -0.28%      0.29%    0.00      0.10       0.00        1.48      1.47   -0.05%    -0.03%     0.01     -0.05     96.41%
7/29/13      472,000   95.96     0.06%    -0.37%      0.96%     0.76%     -0.82%    0.00      0.11       0.00        1.48      1.47   -0.19%     0.25%     0.01      0.35     72.49%
7/30/13      996,000   95.97     0.00%     0.04%     -1.49%     0.14%     -0.15%    0.00      0.13      -0.01        1.46      1.44   -0.06%     0.06%     0.01      0.09     93.01%
7/31/13      680,000   94.80    -1.21%     0.00%     -1.04%    -0.90%      0.68%    0.00      0.12      -0.01        1.46      1.43   -0.40%    -0.82%     0.01     -1.18     24.03%
 8/1/13    3,957,000   94.30    -0.54%     1.26%      0.23%     1.70%     -1.95%    0.00      0.11       0.00        1.49      1.44   -0.21%    -0.32%     0.01     -0.47     63.74%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 8/2/13    4,307,000   94.55     0.27%     0.17%      0.15%    -1.03%      1.21%    0.00      0.12      -0.01        1.46      1.44    0.19%     0.08%     0.01      0.12     90.24%
 8/5/13      252,000   93.83    -0.76%    -0.14%      0.12%     0.57%     -0.64%    0.00      0.13      -0.01        1.46      1.43   -0.17%    -0.60%     0.01     -0.88     37.98%
 8/6/13    1,067,000   93.10    -0.78%    -0.57%     -0.03%    -0.04%     -0.01%    0.00      0.14       0.00        1.40      1.39   -0.21%    -0.57%     0.01     -0.86     39.27%
 8/7/13      743,000   93.07    -0.03%    -0.35%      0.17%    -0.74%      0.72%    0.00      0.15       0.00        1.39      1.38   -0.15%     0.12%     0.01      0.18     85.71%
 8/8/13      770,000   93.45     0.41%     0.41%     -0.99%    -0.20%      0.24%    0.00      0.15       0.00        1.38      1.38    0.06%     0.35%     0.01      0.53     59.76%
 8/9/13    1,474,000   91.59    -2.00%    -0.34%     -0.69%    -0.18%      0.17%    0.00      0.15       0.00        1.38      1.38   -0.12%    -1.87%     0.01     -2.84      0.54% **
8/12/13      839,000   91.86     0.30%    -0.11%      0.45%     0.76%     -0.82%    0.00      0.15       0.02        1.40      1.39   -0.18%     0.48%     0.01      0.71     48.19%
8/13/13      916,000   90.77    -1.19%     0.30%     -0.86%     1.05%     -1.26%    0.00      0.15       0.03        1.40      1.38   -0.33%    -0.86%     0.01     -1.26     21.06%
8/14/13    2,782,000   90.61    -0.17%    -0.50%      0.20%     0.03%      0.05%    0.00      0.15       0.03        1.40      1.40   -0.04%    -0.13%     0.01     -0.19     85.08%
8/15/13    3,059,000   89.79    -0.90%    -1.41%      0.06%     0.65%     -0.97%    0.00      0.15       0.03        1.41      1.40   -0.74%    -0.16%     0.01     -0.24     81.00%
8/16/13    2,002,000   89.64    -0.17%    -0.33%     -0.75%     0.35%     -0.56%    0.00      0.17       0.03        1.37      1.37   -0.46%     0.29%     0.01      0.42     67.60%
8/19/13      603,000   88.71    -1.04%    -0.58%     -0.37%     0.59%     -0.85%    0.00      0.17       0.02        1.38      1.37   -0.55%    -0.48%     0.01     -0.70     48.33%
8/20/13    2,919,000   89.18     0.53%     0.39%      0.27%    -0.82%      0.81%    0.00      0.20       0.02        1.36      1.36   -0.02%     0.55%     0.01      0.81     41.78%
8/21/13    1,307,000   87.93    -1.40%    -0.57%     -0.76%     0.78%     -1.17%    0.00      0.21       0.02        1.34      1.35   -0.76%    -0.64%     0.01     -0.95     34.53%
8/22/13      585,000   88.91     1.12%     0.86%     -0.23%    -0.98%      0.84%    0.00      0.21       0.03        1.36      1.38   -0.09%     1.21%     0.01      1.78      7.78%
8/23/13    1,041,000   88.23    -0.77%     0.41%      1.09%    -1.00%      1.26%    0.00      0.25       0.01        1.27      1.33    0.43%    -1.19%     0.01     -1.74      8.47%
8/26/13    1,971,000   89.52     1.46%    -0.40%     -1.01%    -0.39%      0.45%    0.00      0.24       0.00        1.26      1.31   -0.10%     1.55%     0.01      2.23      2.74% *
8/27/13    3,221,000   90.20     0.76%    -1.59%      0.91%    -1.10%      1.23%    0.00      0.23      -0.02        1.26      1.32   -0.24%     1.00%     0.01      1.42     15.75%
8/28/13    1,629,000   90.76     0.62%     0.29%     -0.68%     0.58%     -0.68%    0.00      0.20      -0.01        1.30      1.35   -0.19%     0.81%     0.01      1.13     25.93%
8/29/13    2,921,000   90.75    -0.01%     0.21%      1.03%    -0.14%      0.31%    0.00      0.21       0.00        1.29      1.34    0.20%    -0.21%     0.01     -0.30     76.76%
8/30/13    1,100,000   91.17     0.46%    -0.31%      0.03%    -0.21%      0.20%    0.00      0.21      -0.01        1.27      1.33   -0.14%     0.60%     0.01      0.85     39.82%
 9/3/13    1,494,000   90.55    -0.69%     0.42%     -2.13%     1.30%     -1.54%    0.00      0.20       0.00        1.30      1.35   -0.37%    -0.32%     0.01     -0.45     65.26%
 9/4/13    2,181,000   90.08    -0.51%     0.83%      0.84%    -0.01%     -0.01%    0.00      0.20       0.00        1.31      1.37    0.09%    -0.60%     0.01     -0.86     39.31%
 9/5/13      484,000   90.55     0.52%     0.12%     -0.85%     1.18%     -1.49%    0.00      0.20       0.00        1.32      1.37   -0.52%     1.04%     0.01      1.47     14.43%
 9/6/13      497,000   90.14    -0.45%     0.02%     -0.05%    -0.32%      0.35%    0.00      0.20      -0.01        1.30      1.35    0.02%    -0.46%     0.01     -0.65     51.72%
 9/9/13    3,507,000   90.12    -0.03%     1.01%     -0.44%    -0.08%      0.20%    0.00      0.20      -0.01        1.30      1.34    0.33%    -0.36%     0.01     -0.50     61.69%
9/10/13    2,151,000   90.10    -0.02%     0.74%      0.60%     0.51%     -0.70%    0.00      0.19      -0.01        1.30      1.34   -0.20%     0.18%     0.01      0.25     80.20%
9/11/13    1,004,000   90.34     0.26%     0.32%     -0.16%    -0.58%      0.70%    0.00      0.19      -0.01        1.30      1.33    0.19%     0.07%     0.01      0.11     91.65%
9/12/13    6,569,000   91.05     0.79%    -0.31%      1.31%     0.11%      0.01%    0.00      0.21      -0.02        1.28      1.31    0.00%     0.79%     0.01      1.11     26.88%
9/13/13      679,000   90.44    -0.67%     0.27%      0.01%    -0.28%      0.31%    0.00      0.20       0.00        1.30      1.33    0.04%    -0.71%     0.01     -1.00     31.75%
9/16/13    2,907,000   91.62     1.31%     0.57%      0.44%     0.59%     -0.50%    0.00      0.20       0.00        1.31      1.33    0.17%     1.13%     0.01      1.59     11.47%
9/17/13      968,000   91.25    -0.41%     0.42%      0.24%    -0.53%      0.64%    0.00      0.20       0.01        1.33      1.34    0.20%    -0.60%     0.01     -0.84     40.26%
9/18/13    3,834,000   91.12    -0.14%     1.22%     -0.38%    -0.99%      1.40%    0.00      0.19       0.02        1.35      1.35    0.71%    -0.85%     0.01     -1.18     23.92%
9/19/13   21,689,000   92.39     1.40%    -0.17%     -0.20%     1.22%     -0.81%    0.00      0.17       0.03        1.36      1.33    0.47%     0.92%     0.01      1.28     20.48%
9/20/13      355,000   94.01     1.75%    -0.72%     -0.87%    -0.49%      0.63%    0.00      0.15       0.03        1.44      1.39   -0.02%     1.78%     0.01      2.43      1.65% *
9/23/13      569,000   92.57    -1.54%    -0.47%      0.41%    -0.64%      0.58%    0.00      0.13       0.01        1.48      1.45   -0.19%    -1.34%     0.01     -1.80      7.47%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

 [1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date       Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 9/24/13    1,054,000   92.45    -0.13%    -0.25%     -0.58%    -0.91%      0.93%    0.00      0.13       0.00        1.50      1.46   -0.09%    -0.03%     0.01     -0.04     96.73%
 9/25/13    3,424,000   90.87    -1.71%    -0.27%     -0.03%    -0.10%     -0.03%    0.00      0.13       0.00        1.50      1.46   -0.26%    -1.45%     0.01     -1.91      5.82%
 9/26/13    1,086,000   91.83     1.06%     0.37%      0.73%     0.21%     -0.39%    0.00      0.13       0.00        1.52      1.49   -0.25%     1.31%     0.01      1.72      8.84%
 9/27/13      819,000   90.60    -1.34%    -0.40%     -0.67%    -0.16%      0.16%    0.00      0.13       0.02        1.51      1.48   -0.10%    -1.23%     0.01     -1.60     11.18%
 9/30/13    1,015,000   89.99    -0.67%    -0.60%     -0.12%     0.02%     -0.01%    0.00      0.14       0.03        1.49      1.46   -0.12%    -0.55%     0.01     -0.71     47.70%
 10/1/13    3,965,000   89.47    -0.58%     0.81%      0.09%     0.34%     -0.49%    0.00      0.14       0.02        1.47      1.45   -0.16%    -0.42%     0.01     -0.54     59.15%
 10/2/13    1,513,000   90.64     1.30%    -0.05%     -0.32%    -0.23%      0.31%    0.00      0.13       0.03        1.49      1.47    0.03%     1.27%     0.01      1.64     10.40%
 10/3/13    1,813,000   91.23     0.65%    -0.90%      0.25%     0.22%     -0.07%    0.00      0.14       0.01        1.47      1.44    0.04%     0.62%     0.01      0.79     42.84%
 10/4/13    1,739,000   91.24     0.02%     0.71%     -0.26%     0.23%     -0.20%    0.00      0.11       0.02        1.52      1.48    0.07%    -0.05%     0.01     -0.07     94.72%
 10/7/13    1,952,000   91.28     0.04%    -0.85%      1.18%    -0.11%      0.41%    0.00      0.10       0.03        1.53      1.49    0.34%    -0.30%     0.01     -0.38     70.44%
 10/8/13      529,000   90.74    -0.59%    -1.20%     -0.55%    -0.04%      0.04%    0.00      0.13       0.02        1.48      1.45   -0.25%    -0.34%     0.01     -0.44     65.74%
 10/9/13      928,000   91.06     0.35%     0.07%      1.09%     0.57%     -0.76%    0.00      0.13       0.04        1.47      1.44   -0.26%     0.62%     0.01      0.80     42.48%
10/10/13      964,000   92.09     1.13%     2.20%     -0.17%     0.04%      0.04%    0.00      0.14       0.06        1.47      1.43    0.34%     0.79%     0.01      1.03     30.63%
10/11/13    3,183,000   90.91    -1.28%     0.63%     -0.03%     0.25%     -0.16%    0.00      0.17       0.06        1.44      1.40    0.18%    -1.46%     0.01     -1.89      6.16%
10/15/13      751,000   92.63     1.88%    -0.30%     -1.10%     0.75%     -0.66%    0.00      0.16       0.05        1.44      1.40   -0.03%     1.91%     0.01      2.44      1.64% *
10/16/13    3,445,000   91.64    -1.06%     1.39%      0.81%    -0.70%      1.07%    0.00      0.14       0.03        1.50      1.45    0.66%    -1.72%     0.01     -2.14      3.45% *
10/17/13    3,323,000   93.49     2.02%     0.68%      1.50%    -0.41%      1.05%    0.00      0.10       0.01        1.48      1.41    0.89%     1.13%     0.01      1.38     17.12%
10/18/13      747,000   94.50     1.08%     0.66%      0.66%     0.15%      0.24%    0.00      0.09       0.03        1.59      1.52    0.63%     0.45%     0.01      0.54     59.03%
10/21/13    2,037,000   94.43    -0.07%     0.01%      1.21%     0.54%     -0.48%    0.00      0.09       0.04        1.60      1.53    0.13%    -0.19%     0.01     -0.24     81.30%
10/22/13    3,661,000   93.98    -0.47%     0.57%      0.10%    -0.67%      1.02%    0.00      0.09       0.04        1.58      1.52    0.49%    -0.96%     0.01     -1.17     24.51%
10/23/13      658,000   93.87    -0.12%    -0.47%      0.06%    -0.11%      0.21%    0.00      0.09       0.04        1.56      1.48    0.04%    -0.16%     0.01     -0.20     84.54%
10/24/13    2,739,000   94.23     0.38%     0.33%     -1.18%     0.41%     -0.26%    0.00      0.09       0.04        1.55      1.48    0.17%     0.21%     0.01      0.25     80.46%
10/25/13      728,000   94.16    -0.07%     0.44%      0.74%     0.01%      0.17%    0.00      0.09       0.04        1.55      1.48    0.26%    -0.32%     0.01     -0.39     69.70%
10/28/13    1,125,000   94.16    -0.01%     0.13%      0.36%     0.46%     -0.32%    0.00      0.09       0.03        1.56      1.49    0.19%    -0.20%     0.01     -0.24     80.98%
10/29/13    7,708,000   93.88    -0.29%     0.56%      1.07%    -0.12%      0.15%    0.00      0.09       0.03        1.56      1.49    0.04%    -0.33%     0.01     -0.40     69.09%
10/30/13      922,000   93.89     0.01%    -0.48%     -0.16%     0.47%     -0.45%    0.00      0.09       0.02        1.56      1.49   -0.06%     0.08%     0.01      0.09     92.60%
10/31/13    2,188,000   93.30    -0.64%    -0.38%      0.13%     0.05%      0.08%    0.00      0.08       0.02        1.56      1.49    0.11%    -0.74%     0.01     -0.90     36.98%
 11/1/13    5,034,000   94.31     1.08%     0.29%     -0.25%     0.68%     -0.88%    0.00      0.09       0.02        1.54      1.47   -0.30%     1.38%     0.01      1.67      9.69%
 11/4/13    1,975,000   92.71    -1.69%     0.36%      0.54%     0.01%      0.01%    0.00      0.10       0.01        1.52      1.44    0.01%    -1.70%     0.01     -2.03      4.44% *
 11/5/13      897,000   93.19     0.51%    -0.27%     -1.72%     1.03%     -1.24%    0.00      0.10       0.00        1.52      1.43   -0.33%     0.84%     0.01      0.99     32.45%
 11/6/13      823,000   93.50     0.34%     0.48%      0.58%    -0.22%     -0.05%    0.00      0.10      -0.02        1.52      1.43   -0.44%     0.78%     0.01      0.91     36.32%
 11/7/13    4,933,000   92.60    -0.96%    -1.30%     -0.71%    -0.81%      1.10%    0.00      0.11      -0.01        1.48      1.39    0.13%    -1.09%     0.01     -1.27     20.49%
 11/8/13    2,639,000   91.62    -1.07%     1.34%     -0.86%     1.63%     -2.26%    0.00      0.12      -0.01        1.47      1.38   -0.62%    -0.45%     0.01     -0.52     60.26%
11/12/13    3,692,000   91.25    -0.40%    -0.16%      0.11%     0.18%     -0.20%    0.00      0.11       0.00        1.50      1.41   -0.09%    -0.31%     0.01     -0.36     71.83%
11/13/13    1,440,000   90.25    -1.10%     0.84%     -0.74%    -0.75%      0.67%    0.00      0.11      -0.01        1.49      1.42   -0.13%    -0.96%     0.01     -1.12     26.38%
11/14/13   19,113,000   90.68     0.48%     0.50%      0.08%    -0.26%      0.52%    0.00      0.08       0.00        1.57      1.47    0.34%     0.14%     0.01      0.17     86.80%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

 [1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date       Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
11/15/13    3,854,000   90.79     0.12%     0.42%      0.20%     0.09%     -0.08%    0.00      0.08       0.00        1.55      1.45    0.01%     0.11%     0.01      0.13     89.96%
11/18/13   17,233,000   90.30    -0.53%    -0.36%      0.86%    -0.28%      0.60%    0.00      0.08       0.01        1.56      1.46    0.36%    -0.89%     0.01     -1.04     29.96%
11/19/13    3,218,000   90.60     0.33%    -0.19%      0.26%     0.72%     -0.72%    0.00      0.09       0.00        1.51      1.41   -0.02%     0.35%     0.01      0.41     68.24%
11/20/13      942,000   91.12     0.57%    -0.36%     -0.61%     1.36%     -1.71%    0.00      0.09       0.02        1.58      1.46   -0.46%     1.03%     0.01      1.20     23.27%
11/21/13    4,077,000   90.79    -0.36%     0.82%     -0.72%    -0.44%      0.37%    0.00      0.10      -0.02        1.56      1.43   -0.12%    -0.24%     0.01     -0.28     77.62%
11/22/13    3,134,000   90.70    -0.10%     0.51%     -0.35%    -0.66%      0.91%    0.00      0.09      -0.01        1.57      1.43    0.27%    -0.37%     0.01     -0.43     66.53%
11/25/13    2,312,000   91.98     1.42%    -0.12%     -0.20%    -0.03%      0.15%    0.00      0.09      -0.01        1.57      1.43    0.10%     1.32%     0.01      1.55     12.42%
11/26/13    8,442,000   90.67    -1.43%     0.03%     -0.02%    -0.02%      0.30%    0.00      0.07       0.01        1.60      1.44    0.36%    -1.79%     0.01     -2.10      3.76% *
11/27/13    1,576,000   90.30    -0.40%     0.27%     -0.09%     0.40%     -0.21%    0.00      0.07       0.02        1.49      1.35    0.28%    -0.68%     0.01     -0.78     43.54%
11/29/13      725,000   90.53     0.26%    -0.07%     -0.50%     0.11%     -0.02%    0.00      0.06      -0.01        1.51      1.37    0.07%     0.19%     0.01      0.21     83.08%
 12/2/13   13,729,000   90.75     0.24%    -0.27%     -0.65%     0.64%     -0.65%    0.00      0.02       0.03        1.41      1.33   -0.05%     0.30%     0.01      0.35     72.44%
 12/3/13    2,286,000   92.21     1.61%    -0.31%      0.44%     0.02%      0.19%    0.00      0.01       0.04        1.43      1.33    0.23%     1.38%     0.01      1.64     10.37%
 12/4/13    1,532,000   90.26    -2.12%    -0.10%     -0.33%     0.73%     -0.94%    0.00      0.00       0.05        1.49      1.38   -0.29%    -1.83%     0.01     -2.16      3.31% *
 12/5/13    2,924,000   89.72    -0.60%    -0.43%     -0.61%     0.16%     -0.24%    0.00      0.02       0.05        1.51      1.42   -0.22%    -0.39%     0.01     -0.45     65.35%
 12/6/13    1,496,000   90.07     0.39%     1.13%      0.23%    -0.32%      0.46%    0.00      0.02       0.05        1.51      1.42    0.12%     0.27%     0.01      0.32     75.24%
 12/9/13    1,346,000   90.86     0.88%     0.19%      0.15%     0.02%      0.23%    0.00      0.02       0.05        1.50      1.42    0.29%     0.59%     0.01      0.68     49.80%
12/10/13    4,967,000   90.51    -0.38%    -0.32%     -0.63%    -0.13%      0.54%    0.00      0.01       0.07        1.50      1.42    0.45%    -0.83%     0.01     -0.96     33.96%
12/11/13    4,360,000   90.67     0.17%    -1.12%     -0.47%     0.62%     -0.75%    0.00      0.02       0.07        1.47      1.39   -0.27%     0.44%     0.01      0.51     61.30%
12/12/13    3,864,000   90.33    -0.37%    -0.35%     -0.12%     0.03%     -0.13%    0.00     -0.01       0.06        1.52      1.42   -0.23%    -0.14%     0.01     -0.16     87.41%
12/13/13    8,070,000   90.01    -0.36%    -0.01%     -0.26%    -0.29%      0.34%    0.00      0.02       0.05        1.77      1.64   -0.07%    -0.29%     0.01     -0.34     73.80%
12/16/13    4,133,000   90.23     0.25%     0.63%      0.22%     0.35%     -0.31%    0.00      0.01       0.03        1.87      1.74    0.04%     0.21%     0.01      0.25     80.28%
12/17/13    3,887,000   90.28     0.05%    -0.31%     -0.70%    -0.36%      0.45%    0.00     -0.01       0.05        1.57      1.50   -0.01%     0.06%     0.01      0.07     94.77%
12/18/13    2,721,000   89.83    -0.49%     1.67%      0.46%     0.58%     -0.67%    0.00     -0.02       0.04        1.62      1.55   -0.19%    -0.30%     0.01     -0.36     72.32%
12/19/13      702,000   90.17     0.38%    -0.04%      0.18%     0.18%     -0.06%    0.00     -0.02       0.03        1.68      1.61    0.11%     0.27%     0.01      0.32     75.31%
12/20/13    2,100,000   90.12    -0.05%     0.48%     -0.87%    -0.94%      1.39%    0.00     -0.04       0.02        1.64      1.56    0.51%    -0.57%     0.01     -0.68     49.99%
12/23/13    1,777,000   89.81    -0.35%     0.55%      0.68%     0.53%     -0.47%    0.00     -0.04       0.04        1.58      1.50    0.04%    -0.39%     0.01     -0.46     64.64%
12/24/13      212,000   88.96    -0.94%     0.30%      0.55%     0.67%     -0.80%    0.00     -0.03       0.02        1.59      1.52   -0.24%    -0.70%     0.01     -0.84     40.41%
12/26/13    1,620,000   89.92     1.08%     0.47%      0.18%     0.36%     -0.43%    0.00     -0.03       0.00        1.61      1.55   -0.20%     1.28%     0.01      1.54     12.71%
12/27/13    1,432,000   88.88    -1.16%    -0.01%      0.06%     0.18%     -0.21%    0.00     -0.02       0.01        1.59      1.52   -0.13%    -1.03%     0.01     -1.22     22.42%
12/30/13      838,000   89.68     0.90%    -0.01%      0.05%    -0.33%      0.54%    0.00      0.01       0.01        1.69      1.53    0.15%     0.75%     0.01      0.89     37.51%
12/31/13      453,000   89.35    -0.36%     0.40%     -0.33%     0.98%     -1.05%    0.00     -0.02       0.01        1.94      1.70   -0.01%    -0.35%     0.01     -0.43     66.88%
  1/2/14    1,470,000   90.49     1.27%    -0.87%      0.01%    -0.58%      0.75%    0.00      0.00      -0.01        2.02      1.77    0.04%     1.24%     0.01      1.52     13.08%
  1/3/14      377,000   90.25    -0.26%    -0.03%     -0.63%     0.24%     -0.07%    0.00     -0.03       0.00        2.02      1.78    0.25%    -0.51%     0.01     -0.63     52.98%
  1/6/14   23,778,000   89.17    -1.20%    -0.25%      0.65%    -0.10%      0.41%    0.00     -0.02       0.00        2.01      1.78    0.41%    -1.61%     0.01     -1.98      5.07%
  1/7/14    4,481,000   89.13    -0.04%     0.61%      0.23%     0.03%      0.27%    0.00     -0.01       0.00        1.88      1.66    0.35%    -0.39%     0.01     -0.47     63.67%
  1/8/14      556,000   89.83     0.79%     0.01%     -0.62%     0.22%     -0.18%    0.00     -0.01      -0.02        1.87      1.67   -0.01%     0.79%     0.01      0.97     33.49%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 1/9/14   10,231,000   89.85     0.02%     0.03%     -1.88%    -0.06%      0.24%    0.00     -0.01      -0.04        1.86      1.66    0.23%    -0.21%     0.01     -0.25     80.02%
1/10/14    1,497,000   89.83    -0.02%     0.23%      0.21%    -1.01%      1.34%    0.00     -0.01      -0.03        1.84      1.64    0.19%    -0.20%     0.01     -0.25     80.44%
1/13/14    1,879,000   90.40     0.63%    -1.25%     -0.27%    -0.16%      0.45%    0.00     -0.01      -0.03        1.83      1.63    0.34%     0.29%     0.01      0.35     72.63%
1/14/14    3,037,000   91.78     1.53%     1.08%     -0.23%     0.38%     -0.45%    0.00     -0.02      -0.03        1.85      1.64   -0.18%     1.71%     0.01      2.08      3.98% *
1/15/14    2,688,000   90.76    -1.11%     0.52%      1.22%     0.43%     -0.36%    0.00      0.02      -0.04        1.84      1.62    0.05%    -1.16%     0.01     -1.39     16.77%
1/16/14    1,611,000   90.04    -0.79%    -0.13%      0.55%    -0.63%      0.80%    0.00      0.01      -0.06        1.84      1.63   -0.03%    -0.77%     0.01     -0.91     36.36%
1/17/14    4,386,000   90.90     0.95%    -0.39%     -0.22%    -0.19%      0.34%    0.00      0.00      -0.06        1.79      1.56    0.08%     0.87%     0.01      1.04     29.93%
1/21/14    1,528,000   90.66    -0.27%     0.28%     -0.88%     0.16%      0.00%    0.00     -0.01      -0.07        1.81      1.58    0.23%    -0.50%     0.01     -0.59     55.63%
1/22/14    1,914,000   90.94     0.32%     0.07%     -0.72%     0.39%     -0.28%    0.00     -0.01      -0.06        1.79      1.56    0.18%     0.14%     0.01      0.16     86.94%
1/23/14    1,986,000   90.05    -0.98%    -0.89%      1.65%    -1.14%      1.30%    0.00     -0.01      -0.07        1.79      1.56   -0.24%    -0.75%     0.01     -0.89     37.68%
1/24/14    2,074,000   90.03    -0.02%    -2.09%      0.43%    -1.09%      0.78%    0.00      0.01      -0.09        1.85      1.60   -0.95%     0.93%     0.01      1.11     27.04%
1/27/14      560,000   89.80    -0.26%    -0.48%      0.46%     0.43%     -0.49%    0.00     -0.02      -0.09        1.58      1.40   -0.15%    -0.11%     0.01     -0.13     89.60%
1/28/14    1,011,000   89.50    -0.33%     0.61%     -0.37%     0.24%     -0.16%    0.00     -0.01      -0.09        1.58      1.39    0.08%    -0.41%     0.01     -0.49     62.63%
1/29/14      303,000   89.84     0.37%    -1.01%      0.25%    -0.92%      0.91%    0.00     -0.02      -0.08        1.59      1.39   -0.32%     0.69%     0.01      0.82     41.55%
1/30/14    5,274,000   89.99     0.17%     1.13%     -0.63%     0.40%     -0.31%    0.00     -0.04      -0.08        1.53      1.34    0.11%     0.06%     0.01      0.07     94.34%
1/31/14    2,610,000   89.49    -0.55%    -0.65%      0.64%    -0.59%      0.56%    0.00     -0.04      -0.08        1.51      1.33   -0.26%    -0.29%     0.01     -0.34     73.39%
 2/3/14      368,000   89.60     0.12%    -2.28%     -2.18%    -0.89%      1.11%    0.00     -0.04      -0.08        1.55      1.36    0.27%    -0.16%     0.01     -0.18     85.41%
 2/4/14    1,102,000   89.58    -0.02%     0.77%      0.66%     0.93%     -1.11%    0.00     -0.03      -0.07        1.55      1.35   -0.23%     0.21%     0.01      0.25     80.59%
 2/5/14      279,000   90.06     0.54%    -0.17%     -0.57%     0.62%     -0.73%    0.00     -0.04      -0.09        1.49      1.30   -0.06%     0.60%     0.01      0.73     46.88%
 2/6/14    1,465,000   89.23    -0.93%     1.30%     -0.81%     0.46%     -0.32%    0.00     -0.04      -0.10        1.48      1.30    0.23%    -1.16%     0.01     -1.41     16.16%
 2/7/14    4,057,000   90.41     1.33%     1.33%     -0.21%     0.47%     -0.13%    0.00     -0.06      -0.09        1.42      1.22    0.38%     0.95%     0.01      1.16     24.84%
2/10/14    2,372,000   90.79     0.41%     0.16%      0.28%    -0.11%      0.39%    0.00     -0.04      -0.10        1.52      1.31    0.24%     0.17%     0.01      0.21     83.55%
2/11/14   33,925,000   90.17    -0.68%     1.11%      0.43%     0.79%     -0.59%    0.00     -0.06      -0.09        1.50      1.28    0.26%    -0.94%     0.01     -1.15     25.39%
2/12/14    1,871,000   91.29     1.25%     0.02%      0.17%     0.59%     -0.55%    0.00     -0.07      -0.10        1.42      1.22    0.09%     1.15%     0.01      1.39     16.60%
2/13/14    6,941,000   90.52    -0.84%     0.59%      0.57%    -0.40%      0.61%    0.00     -0.09      -0.09        1.42      1.19    0.01%    -0.85%     0.01     -1.02     30.82%
2/14/14    1,464,000   91.55     1.14%     0.49%     -1.39%     0.15%     -0.04%    0.00     -0.10      -0.09        1.51      1.25    0.21%     0.93%     0.01      1.12     26.67%
2/18/14   21,520,000   90.90    -0.70%     0.13%     -1.06%     0.05%      0.30%    0.00     -0.11      -0.12        1.43      1.16    0.52%    -1.22%     0.01     -1.48     14.22%
2/19/14    1,962,000   91.76     0.94%    -0.65%      0.94%     0.74%     -0.59%    0.00     -0.15      -0.09        1.61      1.26    0.39%     0.55%     0.01      0.67     50.12%
2/20/14    3,664,000   92.03     0.30%     0.62%      1.60%     0.20%     -0.17%    0.00     -0.16      -0.07        1.65      1.29   -0.14%     0.44%     0.01      0.53     59.40%
2/21/14    2,238,000   93.09     1.15%    -0.18%     -1.25%    -0.22%      0.44%    0.00     -0.15      -0.03        1.69      1.31    0.20%     0.95%     0.01      1.18     24.17%
2/24/14    5,046,000   93.37     0.30%     0.62%     -1.78%     0.37%     -0.05%    0.00     -0.13      -0.06        1.76      1.36    0.55%    -0.25%     0.01     -0.31     75.87%
2/25/14    4,839,000   94.12     0.80%    -0.13%     -0.16%    -0.21%      0.62%    0.00     -0.13      -0.05        1.75      1.36    0.42%     0.38%     0.01      0.47     63.59%
2/26/14    1,530,000   94.56     0.47%     0.02%     -0.31%    -0.31%      0.58%    0.00     -0.13      -0.05        1.79      1.39    0.19%     0.28%     0.01      0.34     73.32%
2/27/14    3,011,000   94.91     0.37%     0.51%      1.33%    -0.25%      0.52%    0.00     -0.13      -0.06        1.83      1.43    0.06%     0.31%     0.01      0.38     70.16%
2/28/14    2,385,000   94.96     0.05%     0.28%     -0.46%     0.09%      0.15%    0.00     -0.12      -0.08        1.82      1.40    0.30%    -0.25%     0.01     -0.32     75.15%
 3/3/14   16,278,000   94.58    -0.39%    -0.73%      0.15%    -0.38%      0.45%    0.00     -0.12      -0.07        1.80      1.38   -0.06%    -0.33%     0.01     -0.41     68.22%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 3/4/14    4,740,000   94.99     0.43%     1.53%      0.10%     1.37%     -1.55%    0.00     -0.11      -0.07        1.83      1.42    0.03%     0.40%     0.01      0.49     62.17%
 3/5/14   10,017,000   95.17     0.19%     0.01%     -0.60%     0.07%      0.01%    0.00     -0.11      -0.07        1.81      1.40    0.10%     0.09%     0.01      0.11     90.88%
 3/6/14   13,830,000   95.24     0.08%     0.19%      0.29%     0.58%     -0.68%    0.00     -0.11      -0.07        1.81      1.40   -0.02%     0.10%     0.01      0.12     90.51%
 3/7/14    4,291,000   95.29     0.05%     0.06%     -0.09%     0.30%     -0.50%    0.00     -0.11      -0.07        1.82      1.41   -0.25%     0.30%     0.01      0.37     70.90%
3/10/14    1,080,000   94.92    -0.39%    -0.04%     -0.19%    -0.12%     -0.02%    0.00     -0.11      -0.07        1.82      1.40   -0.31%    -0.08%     0.01     -0.10     92.26%
3/11/14    2,549,000   95.03     0.11%    -0.50%     -0.36%    -0.17%      0.25%    0.00     -0.10      -0.08        1.81      1.39    0.03%     0.08%     0.01      0.10     91.70%
3/12/14    2,488,000   95.23     0.22%     0.06%     -0.23%    -0.56%      0.55%    0.00     -0.10      -0.09        1.79      1.38   -0.32%     0.53%     0.01      0.67     50.34%
3/13/14    5,549,000   94.96    -0.28%    -1.16%      0.42%    -1.13%      1.36%    0.00     -0.10      -0.10        1.70      1.32   -0.12%    -0.17%     0.01     -0.21     83.32%
3/14/14    1,835,000   95.04     0.08%    -0.28%      0.49%     0.06%     -0.15%    0.00     -0.10      -0.10        1.69      1.32   -0.19%     0.26%     0.01      0.33     73.95%
3/17/14    1,666,000   94.56    -0.50%     0.96%      0.27%     0.39%     -0.44%    0.00     -0.09      -0.10        1.68      1.31   -0.11%    -0.39%     0.01     -0.49     62.28%
3/18/14    2,392,000   95.33     0.81%     0.72%      0.14%     0.02%      0.26%    0.00     -0.09      -0.10        1.58      1.24    0.21%     0.60%     0.01      0.76     44.72%
3/19/14    4,745,000   95.47     0.15%    -0.61%      0.01%     0.70%     -0.77%    0.00     -0.07      -0.07        1.64      1.28    0.11%     0.04%     0.01      0.05     96.12%
3/20/14    2,021,750   96.04     0.59%     0.61%      2.13%     0.13%     -0.13%    0.00     -0.07      -0.07        1.51      1.19   -0.21%     0.81%     0.01      1.05     29.48%
3/21/14      713,000   95.65    -0.40%    -0.29%      0.20%    -0.65%      0.92%    0.00     -0.07      -0.04        1.51      1.18    0.06%    -0.46%     0.01     -0.60     55.09%
3/24/14    2,344,000   95.06    -0.62%    -0.49%      0.65%    -0.56%      0.70%    0.00     -0.07      -0.04        1.38      1.07   -0.06%    -0.55%     0.01     -0.73     46.63%
3/25/14      906,000   95.36     0.32%     0.45%      0.25%     0.51%     -0.53%    0.00     -0.07      -0.06        1.51      1.18    0.03%     0.29%     0.01      0.38     70.47%
3/26/14    1,831,000   96.04     0.71%    -0.70%      0.11%    -0.69%      0.81%    0.00     -0.08      -0.07        1.45      1.13   -0.08%     0.79%     0.01      1.06     28.95%
3/27/14    6,904,000   96.18     0.14%    -0.17%      1.30%    -0.07%      0.20%    0.00     -0.09      -0.07        1.40      1.10    0.01%     0.14%     0.01      0.19     85.28%
3/28/14    4,011,000   95.32    -0.89%     0.47%     -0.36%     0.26%     -0.35%    0.00     -0.09      -0.07        1.37      1.07   -0.07%    -0.83%     0.01     -1.12     26.72%
3/31/14    3,110,000   95.21    -0.11%     0.80%     -0.31%     0.31%     -0.16%    0.00     -0.10      -0.06        1.47      1.14    0.16%    -0.27%     0.01     -0.37     71.06%
 4/1/14    1,594,000   96.38     1.22%     0.71%     -0.18%     0.77%     -0.77%    0.00     -0.09      -0.06        1.43      1.12    0.14%     1.09%     0.01      1.48     14.21%
 4/2/14    8,924,000   95.44    -0.98%     0.30%      0.27%     0.65%     -0.68%    0.00     -0.09      -0.06        1.46      1.13    0.10%    -1.07%     0.01     -1.45     14.98%
 4/3/14    9,306,000   95.90     0.48%    -0.11%      0.71%    -0.20%      0.31%    0.00     -0.09      -0.06        1.47      1.15   -0.02%     0.51%     0.01      0.68     49.86%
 4/4/14    1,689,000   95.60    -0.31%    -1.25%      0.60%    -0.46%      0.75%    0.00     -0.11      -0.06        1.46      1.14    0.25%    -0.56%     0.01     -0.74     45.81%
 4/7/14    2,448,000   96.07     0.50%    -1.07%      0.70%    -0.23%      0.44%    0.00     -0.09      -0.07        1.44      1.13    0.15%     0.34%     0.01      0.46     64.71%
 4/8/14    3,212,000   95.87    -0.22%     0.41%      0.72%    -0.24%      0.29%    0.00     -0.16      -0.06        1.57      1.21   -0.20%    -0.02%     0.01     -0.03     98.00%
 4/9/14    3,377,000   96.24     0.39%     1.10%     -1.43%     0.63%     -0.52%    0.00     -0.15      -0.06        1.57      1.21    0.23%     0.16%     0.01      0.22     82.63%
4/10/14    4,258,000   96.89     0.67%    -2.09%      1.11%    -0.60%      0.89%    0.00     -0.12      -0.04        1.45      1.14    0.28%     0.39%     0.01      0.55     58.38%
4/11/14    4,280,000   97.10     0.22%    -0.94%      0.27%    -0.59%      0.63%    0.00     -0.10      -0.03        1.46      1.18   -0.08%     0.30%     0.01      0.43     66.83%
4/14/14    6,078,000   96.88    -0.23%     0.82%     -0.05%     0.26%     -0.17%    0.00     -0.12      -0.07        1.18      0.92    0.01%    -0.24%     0.01     -0.35     72.42%
4/15/14    2,488,000   97.17     0.29%     0.68%     -0.35%    -0.36%      0.45%    0.00     -0.13      -0.08        1.06      0.82   -0.11%     0.41%     0.01      0.60     55.30%
4/16/14    2,553,000   97.19     0.02%     1.05%      0.13%    -0.10%      0.23%    0.00     -0.13      -0.08        1.04      0.81   -0.10%     0.12%     0.01      0.17     86.26%
4/17/14      627,000   97.32     0.13%     0.14%      0.37%     1.17%     -1.27%    0.00     -0.11      -0.08        1.04      0.83    0.10%     0.04%     0.01      0.06     95.43%
4/21/14    2,284,000   97.34     0.03%     0.38%      0.20%     0.06%      0.00%    0.00     -0.12      -0.08        1.05      0.83   -0.02%     0.04%     0.01      0.06     94.84%
4/22/14    2,727,000   98.20     0.88%     0.41%      0.00%    -0.27%      0.45%    0.00     -0.12      -0.08        1.04      0.82    0.02%     0.86%     0.01      1.26     20.98%
4/23/14    2,075,000   98.29     0.09%    -0.21%     -2.07%     0.05%      0.22%    0.00     -0.11      -0.07        1.04      0.84    0.39%    -0.31%     0.01     -0.45     65.63%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

[1]         [2]         [3]      [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
4/24/14    3,776,000    98.50     0.21%     0.17%     -1.88%    -0.24%      0.44%    0.00     -0.10      -0.06        1.03      0.83    0.20%     0.01%     0.01      0.02     98.65%
4/25/14      775,000    98.37    -0.13%    -0.81%      0.11%     0.00%      0.12%    0.00     -0.10      -0.06        1.03      0.82    0.16%    -0.29%     0.01     -0.42     67.25%
4/28/14   18,379,000    98.28    -0.08%     0.33%      1.28%     0.72%     -0.70%    0.00     -0.10      -0.06        1.02      0.82    0.03%    -0.12%     0.01     -0.17     86.54%
4/29/14    2,014,000    98.08    -0.21%     0.48%      0.35%     0.11%     -0.03%    0.00     -0.11      -0.06        1.04      0.83    0.00%    -0.21%     0.01     -0.30     76.27%
4/30/14   11,450,000    98.27     0.19%     0.30%      0.19%    -0.28%      0.47%    0.00     -0.11      -0.06        1.11      0.91    0.04%     0.15%     0.01      0.22     82.32%
 5/1/14    6,474,000    98.34     0.07%    -0.01%      0.41%    -0.56%      0.76%    0.00     -0.09      -0.05        1.06      0.87    0.04%     0.02%     0.01      0.04     97.01%
 5/2/14    2,289,000    99.05     0.73%    -0.14%      0.05%    -0.54%      0.77%    0.00     -0.09      -0.03        1.07      0.90    0.11%     0.62%     0.01      0.94     34.70%
 5/5/14    4,062,000    98.99    -0.06%     0.19%      0.35%     0.78%     -0.70%    0.00     -0.10      -0.04        1.22      1.03    0.18%    -0.25%     0.01     -0.37     70.86%
 5/6/14    5,019,000    99.23     0.24%    -0.90%      0.30%    -0.10%      0.36%    0.00     -0.10      -0.04        1.20      1.01    0.29%    -0.05%     0.01     -0.07     94.31%
 5/7/14    7,309,000    99.34     0.11%     0.60%      0.58%     0.27%     -0.30%    0.00     -0.08      -0.05        1.05      0.86   -0.07%     0.18%     0.01      0.27     78.85%
 5/8/14    2,834,000    99.83     0.50%    -0.11%      1.28%     0.67%     -0.47%    0.00     -0.09      -0.05        1.03      0.84    0.24%     0.26%     0.01      0.39     69.54%
 5/9/14    2,965,000    99.79    -0.04%     0.17%      0.03%     0.29%     -0.22%    0.00     -0.05      -0.06        0.81      0.69    0.10%    -0.14%     0.01     -0.21     83.29%
5/12/14    3,429,000   100.00     0.22%     0.97%     -0.79%     0.60%     -0.52%    0.00     -0.06      -0.07        0.80      0.67    0.14%     0.07%     0.01      0.11     91.00%
5/13/14    5,010,000   100.29     0.29%     0.07%     -0.82%    -0.59%      0.85%    0.00     -0.06      -0.07        0.80      0.68    0.16%     0.12%     0.01      0.19     85.20%
5/14/14    1,632,000   100.49     0.20%    -0.45%      0.70%    -0.82%      1.13%    0.00     -0.06      -0.06        0.89      0.75    0.13%     0.07%     0.01      0.10     91.88%
5/15/14    4,187,000    99.86    -0.62%    -0.92%      0.74%    -0.62%      0.80%    0.00     -0.06      -0.06        0.88      0.75    0.09%    -0.72%     0.01     -1.11     26.82%
5/16/14    1,262,000   100.50     0.64%     0.38%      1.20%     0.35%     -0.36%    0.00     -0.04      -0.06        0.91      0.81   -0.06%     0.70%     0.01      1.08     28.20%
5/19/14    5,604,000    99.92    -0.58%     0.39%     -0.59%     0.69%     -0.65%    0.00     -0.02      -0.05        0.84      0.75    0.13%    -0.71%     0.01     -1.09     27.68%
5/20/14    3,502,000    99.70    -0.22%    -0.65%     -1.26%     0.08%      0.00%    0.00     -0.01      -0.04        0.81      0.74    0.14%    -0.35%     0.01     -0.54     58.84%
5/21/14    2,458,000    99.60    -0.10%     0.83%     -0.40%     0.31%     -0.46%    0.00      0.00      -0.03        0.80      0.74   -0.09%    -0.01%     0.01     -0.02     98.31%
5/22/14   17,118,000    99.56    -0.03%     0.25%      0.36%     0.19%     -0.27%    0.00     -0.01      -0.03        0.97      0.89   -0.07%     0.04%     0.01      0.06     95.10%
5/23/14    1,172,000    99.20    -0.36%     0.43%     -0.02%    -0.48%      0.55%    0.00     -0.01      -0.03        1.03      0.93    0.00%    -0.36%     0.01     -0.59     55.84%
5/27/14      790,000    99.87     0.67%     0.60%     -0.65%    -0.31%      0.54%    0.00     -0.02      -0.03        1.07      0.96    0.18%     0.49%     0.01      0.80     42.54%
5/28/14    4,590,000    99.97     0.09%    -0.10%      0.44%    -0.71%      1.07%    0.00     -0.01      -0.03        1.06      0.97    0.25%    -0.15%     0.01     -0.25     80.29%
5/29/14    6,731,000   100.53     0.57%     0.55%     -0.33%     0.69%     -0.51%    0.00      0.01      -0.04        0.92      0.85    0.21%     0.36%     0.01      0.59     55.64%
5/30/14    2,246,000   100.85     0.31%     0.19%      0.24%     0.20%     -0.04%    0.00     -0.02      -0.06        0.78      0.67    0.14%     0.17%     0.01      0.30     76.15%
 6/2/14    5,076,000   100.89     0.04%     0.08%     -0.05%     0.65%     -0.68%    0.00     -0.03      -0.07        0.74      0.62    0.10%    -0.06%     0.01     -0.10     92.13%
 6/3/14   16,024,000   101.12     0.23%    -0.03%     -1.02%     1.10%     -1.16%    0.00     -0.04      -0.07        0.76      0.63    0.21%     0.02%     0.01      0.03     97.90%
 6/4/14    1,237,000   100.70    -0.41%     0.21%     -0.44%     0.14%     -0.02%    0.00     -0.04      -0.07        0.70      0.58    0.14%    -0.55%     0.01     -0.98     33.03%
 6/5/14    4,539,000   100.97     0.27%     0.66%     -0.22%     0.01%      0.08%    0.00     -0.05      -0.07        0.82      0.68    0.07%     0.20%     0.01      0.35     72.51%
 6/6/14    6,459,000   102.17     1.19%     0.48%     -0.29%     0.29%      0.07%    0.00     -0.04      -0.07        0.81      0.68    0.31%     0.88%     0.01      1.55     12.29%
 6/9/14    3,782,000   102.06    -0.11%     0.10%      0.09%     0.41%     -0.12%    0.00     -0.05      -0.07        0.92      0.77    0.30%    -0.42%     0.01     -0.73     46.56%
6/10/14    2,136,000   101.90    -0.15%    -0.02%     -0.11%     0.68%     -0.66%    0.00     -0.04      -0.08        0.82      0.69    0.15%    -0.30%     0.01     -0.53     59.77%
6/11/14    1,236,000   101.88    -0.02%    -0.34%     -0.14%    -0.17%      0.20%    0.00     -0.04      -0.08        0.81      0.69    0.06%    -0.08%     0.01     -0.14     88.62%
6/12/14    1,736,000   101.87     0.00%    -0.68%      0.16%    -0.74%      0.89%    0.00     -0.03      -0.08        0.81      0.69    0.05%    -0.06%     0.01     -0.10     91.71%
6/13/14    1,799,000   102.26     0.38%     0.32%      0.38%     0.09%     -0.07%    0.00     -0.02      -0.08        0.77      0.65    0.03%     0.36%     0.01      0.63     53.28%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

[1]         [2]         [3]      [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
6/16/14    2,357,000   101.80    -0.45%     0.08%      0.14%    -0.28%      0.27%    0.00     -0.01      -0.08        0.74      0.63    0.00%    -0.45%     0.01     -0.78     43.43%
6/17/14    2,042,000   102.13     0.32%     0.22%     -0.14%     0.67%     -0.75%    0.00     -0.01      -0.08        0.80      0.70    0.06%     0.26%     0.01      0.46     64.59%
6/18/14      400,000   101.59    -0.53%     0.77%      0.04%    -0.63%      0.69%    0.00     -0.01      -0.07        0.81      0.69    0.00%    -0.52%     0.01     -0.92     35.74%
6/19/14    2,709,000   101.86     0.26%     0.14%      0.16%     1.14%     -1.06%    0.00     -0.03      -0.07        0.83      0.67    0.26%     0.00%     0.01      0.00     99.72%
6/20/14    7,040,000   101.62    -0.23%     0.17%     -0.14%    -0.34%      0.51%    0.00     -0.04      -0.07        0.91      0.75    0.10%    -0.33%     0.01     -0.60     54.71%
6/23/14    4,495,000   101.63     0.01%    -0.01%      0.36%     0.42%     -0.38%    0.00     -0.04      -0.07        0.84      0.67    0.12%    -0.11%     0.01     -0.20     84.52%
6/24/14      582,000   102.01     0.37%    -0.63%     -0.18%    -0.79%      0.91%    0.00     -0.05      -0.07        0.82      0.65    0.02%     0.36%     0.01      0.66     51.10%
6/25/14    7,048,000   101.16    -0.83%     0.49%     -0.20%    -0.26%      0.31%    0.00     -0.05      -0.07        0.79      0.61    0.02%    -0.85%     0.01     -1.59     11.57%
6/26/14   32,628,000   100.80    -0.36%    -0.10%     -0.12%    -0.35%      0.37%    0.00     -0.05      -0.07        0.87      0.65   -0.02%    -0.34%     0.01     -0.65     51.93%
6/27/14   28,964,000   100.65    -0.15%     0.20%      0.21%     0.18%     -0.16%    0.00     -0.06      -0.07        0.92      0.70    0.05%    -0.20%     0.01     -0.39     70.07%
6/30/14    1,014,000   100.45    -0.20%    -0.03%     -0.37%     0.01%      0.09%    0.00     -0.07      -0.05        1.12      0.87    0.13%    -0.33%     0.01     -0.63     52.68%
 7/1/14      528,000   100.60     0.15%     0.69%      0.16%     0.59%     -0.60%    0.00     -0.06      -0.05        1.15      0.90    0.10%     0.05%     0.01      0.10     92.30%
 7/2/14    3,215,000   100.13    -0.46%     0.07%      0.48%     0.88%     -1.02%    0.00     -0.06      -0.04        1.16      0.92    0.08%    -0.54%     0.01     -1.06     29.29%
 7/3/14      691,000   101.29     1.16%     0.55%     -0.06%     0.10%     -0.14%    0.00     -0.05      -0.05        1.18      0.95   -0.04%     1.20%     0.01      2.35      2.07% *
 7/7/14    1,512,000   101.06    -0.23%    -0.39%      0.51%    -0.38%      0.58%    0.00     -0.04      -0.05        1.07      0.86    0.10%    -0.33%     0.01     -0.62     53.38%
 7/8/14    1,105,000   100.24    -0.80%    -0.68%     -0.03%    -0.95%      1.04%    0.00     -0.02      -0.06        1.01      0.81   -0.09%    -0.72%     0.01     -1.37     17.41%
 7/9/14    1,514,000   100.27     0.03%     0.47%     -0.02%     0.02%     -0.03%    0.00     -0.06      -0.04        1.24      0.98   -0.05%     0.08%     0.01      0.16     87.17%
7/10/14    3,511,000    99.83    -0.44%    -0.41%      1.09%    -0.19%      0.03%    0.00     -0.05      -0.02        1.28      1.02   -0.22%    -0.21%     0.00     -0.43     66.50%
7/11/14      852,000   101.59     1.76%     0.16%      0.68%    -0.49%      0.55%    0.00     -0.04      -0.01        1.30      1.06   -0.08%     1.84%     0.00      3.76      0.03% **
7/14/14    2,124,000    99.90    -1.67%     0.48%      0.04%     0.62%     -0.58%    0.00     -0.01       0.01        1.17      0.98    0.17%    -1.84%     0.01     -3.58      0.05% **
7/15/14    4,410,000    99.26    -0.64%    -0.19%      0.78%    -0.10%      0.07%    0.00     -0.01       0.00        1.14      0.97   -0.05%    -0.59%     0.01     -1.09     27.70%
7/16/14      994,000    99.70     0.44%     0.43%      0.29%    -0.46%      0.46%    0.00     -0.01      -0.01        1.16      1.00   -0.10%     0.54%     0.01      1.00     32.00%
7/17/14    3,692,000   100.08     0.38%    -1.17%     -0.40%    -1.14%      1.19%    0.00      0.00       0.02        1.09      0.98   -0.10%     0.48%     0.01      0.90     37.05%
7/18/14    2,643,000    99.03    -1.04%     1.03%     -0.04%     0.16%     -0.39%    0.00      0.01       0.02        1.15      1.04   -0.21%    -0.84%     0.01     -1.56     12.07%
7/21/14    4,338,000    98.73    -0.31%    -0.23%     -0.18%    -0.56%      0.48%    0.00     -0.01       0.02        1.31      1.17   -0.20%    -0.11%     0.01     -0.21     83.75%
7/22/14    1,540,000    98.99     0.27%     0.50%     -0.03%    -0.03%      0.13%    0.00     -0.01       0.02        1.33      1.18    0.09%     0.18%     0.01      0.34     73.80%
7/23/14    1,089,000    99.40     0.42%     0.18%     -0.27%     0.33%     -0.21%    0.00      0.00       0.02        1.40      1.24    0.16%     0.26%     0.01      0.48     63.18%
7/24/14    1,111,000    99.37    -0.03%     0.05%     -0.29%     0.57%     -0.55%    0.00      0.00       0.02        1.41      1.25    0.09%    -0.12%     0.01     -0.23     81.77%
7/25/14    3,281,000    99.21    -0.16%    -0.48%      0.58%    -0.84%      0.89%    0.00      0.00       0.03        1.37      1.21   -0.08%    -0.08%     0.01     -0.15     88.20%
7/28/14    1,849,000    99.98     0.77%     0.03%      0.44%     0.25%     -0.24%    0.00      0.00       0.03        1.38      1.22    0.05%     0.73%     0.01      1.36     17.71%
7/29/14   18,644,000   101.28     1.30%    -0.45%      2.32%    -0.22%      0.45%    0.00      0.00       0.03        1.37      1.21    0.31%     0.99%     0.01      1.83      6.92%
7/30/14    2,511,000   100.86    -0.41%     0.02%     -0.60%     1.16%     -1.41%    0.00      0.01       0.09        1.53      1.37   -0.25%    -0.16%     0.01     -0.30     76.29%
7/31/14    1,388,000    99.37    -1.48%    -1.99%     -0.93%    -0.47%     -0.08%    0.00      0.05       0.08        1.60      1.44   -1.07%    -0.41%     0.01     -0.76     44.89%
 8/1/14    3,651,000    99.01    -0.36%    -0.29%     -0.75%    -0.91%      0.58%    0.00      0.05       0.09        1.62      1.47   -0.75%     0.39%     0.01      0.74     45.84%
 8/4/14    1,723,000    99.34     0.32%     0.72%      0.05%     0.14%     -0.10%    0.00      0.05       0.08        1.52      1.39    0.08%     0.25%     0.01      0.46     64.34%
 8/5/14    3,541,000    99.90     0.57%    -0.96%     -0.18%     0.04%      0.10%    0.00      0.08       0.09        1.62      1.47    0.08%     0.50%     0.01      0.95     34.33%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

[1]         [2]         [3]      [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 8/6/14    1,979,000    99.60    -0.30%     0.03%     -1.31%    -0.35%      0.16%    0.00      0.07       0.09        1.60      1.47   -0.47%     0.17%     0.01      0.34     73.69%
 8/7/14      793,000   100.00     0.40%    -0.53%     -0.70%    -0.50%      0.70%    0.00      0.07       0.08        1.58      1.45    0.10%     0.31%     0.01      0.60     54.80%
 8/8/14      923,000   100.37     0.36%     1.16%     -0.40%     0.11%     -0.11%    0.00      0.06       0.11        1.56      1.43    0.00%     0.36%     0.01      0.71     47.76%
8/11/14      643,000    99.88    -0.48%     0.29%     -0.16%     1.05%     -0.21%    0.00      0.07       0.09        1.69      1.55    1.42%    -1.90%     0.00     -3.87      0.02% **
8/12/14    2,326,000   100.60     0.72%    -0.16%      0.52%     0.53%     -0.53%    0.00      0.12       0.08        1.03      1.02    0.01%     0.71%     0.01      1.40     16.36%
8/13/14    3,197,000   100.26    -0.34%     0.70%     -0.30%    -0.29%      0.57%    0.00      0.11       0.09        1.04      1.02    0.31%    -0.65%     0.01     -1.26     21.05%
8/14/14    8,143,000   101.90     1.64%     0.44%      0.08%    -0.41%      0.78%    0.00      0.10       0.12        0.97      0.93    0.36%     1.28%     0.01      2.53      1.29% *
8/15/14    6,980,000   102.21     0.31%     0.01%     -0.39%    -0.76%      1.08%    0.00      0.12       0.13        1.04      1.02    0.24%     0.06%     0.01      0.12     90.14%
8/18/14    2,091,000   102.00    -0.21%     0.86%     -0.67%     1.20%     -1.06%    0.00      0.13       0.13        0.99      0.98    0.16%    -0.36%     0.01     -0.70     48.55%
8/19/14    4,892,000   101.95    -0.05%     0.52%     -0.65%     0.37%     -0.24%    0.00      0.12       0.13        0.94      0.94    0.07%    -0.13%     0.01     -0.24     80.94%
8/20/14    8,173,000   102.24     0.28%     0.25%      0.03%     0.21%     -0.13%    0.00      0.13       0.14        0.94      0.94    0.08%     0.20%     0.01      0.39     70.07%
8/21/14    7,306,000   102.36     0.12%     0.30%      0.00%    -0.42%      0.50%    0.00      0.13       0.14        0.95      0.95    0.09%     0.03%     0.01      0.05     95.88%
8/22/14    3,803,000   102.27    -0.09%    -0.19%     -0.24%    -0.33%      0.48%    0.00      0.12       0.14        0.95      0.95    0.07%    -0.16%     0.01     -0.30     76.12%
8/25/14    2,578,000   103.23     0.94%     0.48%      0.25%    -0.24%      0.36%    0.00      0.11       0.14        0.96      0.98    0.18%     0.75%     0.01      1.46     14.73%
8/26/14    4,394,000   101.68    -1.50%     0.11%      0.02%     0.59%     -0.48%    0.00      0.12       0.14        0.96      0.98    0.09%    -1.58%     0.01     -3.04      0.30% **
8/27/14   11,007,000   102.39     0.70%     0.03%      0.56%    -0.76%      0.99%    0.00      0.14       0.14        0.89      0.95    0.31%     0.39%     0.01      0.72     47.42%
8/28/14    2,228,000   102.25    -0.13%    -0.16%      0.08%    -0.20%      0.46%    0.00      0.14       0.15        0.92      0.99    0.22%    -0.36%     0.01     -0.66     50.93%
8/29/14      895,000   102.20    -0.05%     0.34%      0.51%     0.06%     -0.06%    0.00      0.14       0.15        0.88      0.96    0.08%    -0.13%     0.01     -0.24     81.43%
 9/2/14    5,570,000   101.94    -0.25%    -0.05%     -0.19%     1.36%     -1.59%    0.00      0.15       0.15        0.89      0.96   -0.40%     0.14%     0.01      0.27     78.99%
 9/3/14      758,000   102.76     0.81%    -0.06%      0.32%    -0.53%      0.56%    0.00      0.14       0.15        0.90      0.96    0.05%     0.76%     0.01      1.40     16.46%
 9/4/14    1,496,000   101.26    -1.46%    -0.15%     -0.09%     0.98%     -1.08%    0.00      0.13       0.15        0.87      0.95   -0.24%    -1.22%     0.01     -2.25      2.65% *
 9/5/14      273,000   101.22    -0.04%     0.51%      0.21%     0.13%     -0.24%    0.00      0.16       0.15        0.88      1.00   -0.07%     0.02%     0.01      0.04     96.72%
 9/8/14      542,000   100.74    -0.47%    -0.29%     -0.32%     0.00%     -0.02%    0.00      0.17       0.16        0.85      0.98   -0.16%    -0.31%     0.01     -0.55     58.14%
 9/9/14    3,634,000    99.98    -0.75%    -0.65%     -0.67%    -0.01%     -0.12%    0.00      0.17       0.16        0.83      0.96   -0.38%    -0.37%     0.01     -0.67     50.45%
9/10/14    2,563,000    98.00    -1.98%     0.37%     -0.44%     0.21%     -0.61%    0.00      0.19       0.16        0.85      0.99   -0.49%    -1.49%     0.01     -2.70      0.79% **
9/11/14      462,000   100.15     2.19%     0.12%      0.46%    -0.06%     -0.11%    0.00      0.17       0.16        1.09      1.22   -0.20%     2.39%     0.01      4.21      0.01% **
9/12/14    7,167,000    99.13    -1.02%    -0.59%     -0.70%     0.72%     -1.13%    0.00      0.18       0.19        0.90      1.06   -0.85%    -0.17%     0.01     -0.29     77.38%
9/15/14      356,000    98.46    -0.67%    -0.07%      0.41%    -0.03%      0.05%    0.00      0.18       0.20        0.91      1.09    0.05%    -0.72%     0.01     -1.20     23.33%
9/16/14    8,137,000    98.24    -0.22%     0.75%      0.31%     0.00%     -0.22%    0.00      0.18       0.19        0.93      1.10   -0.11%    -0.12%     0.01     -0.19     84.61%
9/17/14    1,243,000    99.08     0.85%     0.13%      0.29%     0.34%     -0.19%    0.00      0.19       0.19        0.95      1.11    0.13%     0.73%     0.01      1.21     22.83%
9/18/14   25,976,000    99.68     0.60%     0.50%      0.38%    -0.31%      0.37%    0.00      0.18       0.20        0.98      1.13    0.24%     0.36%     0.01      0.60     54.74%
9/19/14    1,116,000    99.54    -0.14%    -0.05%      1.09%    -0.80%      0.99%    0.00      0.20       0.20        0.94      1.10    0.50%    -0.64%     0.01     -1.06     29.07%
9/22/14      379,000    98.46    -1.08%    -0.80%      0.38%     0.13%     -0.09%    0.00      0.20       0.19        0.95      1.10   -0.11%    -0.98%     0.01     -1.62     10.77%
9/23/14    1,339,000   100.93     2.50%    -0.57%     -0.21%    -0.77%      0.68%    0.00      0.21       0.18        0.92      1.10   -0.19%     2.69%     0.01      4.50      0.00% **
9/24/14    1,062,000    99.79    -1.12%     0.79%     -0.19%     0.32%     -0.50%    0.00      0.19       0.17        0.72      0.95   -0.16%    -0.97%     0.01     -1.51     13.49%
9/25/14    1,255,000    99.78    -0.02%    -1.62%      0.15%    -1.19%      1.09%    0.00      0.17       0.17        0.78      1.01   -0.11%     0.09%     0.01      0.14     88.50%




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                                                                                     Appendix L
                                                                              CenturyLink 7.6% Note Data

 [1]         [2]         [3]      [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                       Coefficient
                                                      Excess    Credit    Treasury                                   Credit
                                           Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date       Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 9/26/14      326,000    99.58    -0.20%     0.88%     -0.16%     0.02%     -0.11%    0.00      0.15       0.17        0.82      1.04   -0.04%    -0.16%     0.01     -0.25     80.25%
 9/29/14    1,093,000    98.69    -0.89%    -0.25%      0.11%    -1.12%      0.79%    0.00      0.15       0.17        0.81      1.04   -0.14%    -0.75%     0.01     -1.16     24.98%
 9/30/14    6,189,000    99.82     1.15%    -0.27%      0.47%     0.53%     -0.49%    0.00      0.15       0.17        0.92      1.12   -0.07%     1.22%     0.01      1.89      6.20%
 10/1/14    6,003,000    99.17    -0.65%    -1.32%     -0.11%    -1.39%      1.76%    0.00      0.12       0.21        0.93      1.11    0.44%    -1.09%     0.01     -1.66      9.89%
 10/2/14    1,758,000    99.34     0.17%     0.01%     -0.12%     0.78%     -0.83%    0.00      0.18       0.21        0.83      1.00   -0.25%     0.42%     0.01      0.63     52.68%
 10/3/14      712,000    99.55     0.22%     1.12%      0.23%    -0.13%      0.31%    0.00      0.18       0.20        0.84      0.99    0.39%    -0.18%     0.01     -0.27     79.01%
 10/6/14    1,100,000   100.50     0.95%    -0.15%      0.58%     0.29%     -0.09%    0.00      0.18       0.20        0.84      0.99    0.20%     0.75%     0.01      1.14     25.69%
 10/7/14    1,549,000    99.76    -0.74%    -1.51%      0.38%    -1.24%      1.34%    0.00      0.17       0.22        0.89      1.02    0.06%    -0.79%     0.01     -1.20     23.34%
 10/8/14    1,050,000   100.12     0.36%     1.78%     -0.04%    -0.02%     -0.19%    0.00      0.21       0.21        0.89      1.02    0.09%     0.26%     0.01      0.39     69.54%
 10/9/14      786,000    99.35    -0.76%    -2.06%     -0.38%    -0.09%      0.14%    0.00      0.22       0.21        0.86      1.00   -0.53%    -0.23%     0.01     -0.35     72.70%
10/10/14      736,000    99.62     0.26%    -1.13%      0.15%    -0.85%      0.65%    0.00      0.24       0.21        0.85      1.00   -0.36%     0.62%     0.01      0.93     35.19%
10/14/14    4,637,000    98.13    -1.49%    -1.49%     -0.19%    -0.81%      0.97%    0.00      0.22       0.21        0.79      0.94   -0.14%    -1.35%     0.01     -2.02      4.54% *
10/15/14      345,000    98.44     0.31%    -0.80%      0.32%    -0.86%      0.66%    0.00      0.26       0.25        0.72      0.87   -0.24%     0.55%     0.01      0.81     41.86%
10/16/14      404,000    98.27    -0.18%     0.02%     -0.48%     0.24%     -0.34%    0.00      0.25       0.29        0.65      0.79   -0.30%     0.12%     0.01      0.18     85.63%
10/17/14      538,000    99.75     1.51%     1.29%      0.17%     1.10%     -0.55%    0.00      0.25       0.29        0.65      0.79    0.60%     0.91%     0.01      1.35     18.11%
10/20/14      621,000    99.95     0.20%     0.92%      0.13%     0.13%      0.05%    0.00      0.26       0.31        0.78      0.89    0.37%    -0.17%     0.01     -0.25     80.43%
10/21/14      853,000   100.27     0.32%     1.96%     -0.58%     0.64%     -0.41%    0.00      0.26       0.31        0.77      0.89    0.43%    -0.11%     0.01     -0.16     87.52%
10/22/14    1,071,000   101.63     1.35%    -0.72%     -0.07%     0.11%      0.00%    0.00      0.26       0.32        0.77      0.88   -0.18%     1.53%     0.01      2.25      2.62% *
10/23/14   12,372,000   100.48    -1.12%     1.23%     -1.93%     0.93%     -0.86%    0.00      0.23       0.31        0.83      0.93   -0.37%    -0.75%     0.01     -1.09     27.84%
10/24/14   10,208,000   101.15     0.66%     0.71%      0.38%     0.14%     -0.01%    0.00      0.22       0.36        0.79      0.89    0.36%     0.31%     0.01      0.44     66.04%
10/27/14    1,244,000   100.42    -0.72%    -0.15%      1.14%     0.06%      0.07%    0.00      0.22       0.36        0.80      0.89    0.46%    -1.18%     0.01     -1.70      9.27%
10/28/14      586,000   100.78     0.35%     1.19%      0.17%     0.55%     -0.53%    0.00      0.23       0.32        0.77      0.87    0.25%     0.10%     0.01      0.15     88.27%
10/29/14    5,769,000   100.70    -0.08%    -0.13%      0.05%    -0.13%      0.25%    0.00      0.24       0.33        0.76      0.87    0.06%    -0.14%     0.01     -0.19     84.78%
10/30/14    3,226,000   101.20     0.50%     0.63%     -0.18%    -0.19%      0.02%    0.00      0.24       0.33        0.76      0.86   -0.08%     0.58%     0.01      0.83     40.77%
10/31/14      630,000   101.23     0.02%     1.17%      0.07%     0.57%     -0.34%    0.00      0.25       0.32        0.72      0.83    0.39%    -0.37%     0.01     -0.52     60.07%
 11/3/14      407,000   100.88    -0.35%    -0.01%      0.16%     0.06%      0.09%    0.00      0.24       0.33        0.70      0.82    0.11%    -0.46%     0.01     -0.66     51.30%
 11/4/14    1,316,000   101.37     0.48%    -0.28%      0.04%    -0.35%      0.28%    0.00      0.24       0.34        0.68      0.79   -0.12%     0.61%     0.01      0.86     38.89%
 11/5/14    2,434,000   102.18     0.80%     0.60%     -0.20%     0.11%     -0.17%    0.00      0.23       0.34        0.67      0.78   -0.03%     0.83%     0.01      1.18     24.04%
 11/6/14    1,766,000   101.97    -0.21%     0.41%     -0.79%     0.67%     -0.76%    0.00      0.23       0.35        0.67      0.79   -0.36%     0.15%     0.01      0.21     83.12%
 11/7/14    3,110,000   101.45    -0.51%     0.05%      0.78%    -1.11%      1.27%    0.00      0.23       0.34        0.67      0.80    0.52%    -1.03%     0.01     -1.46     14.75%
11/10/14    1,251,000   102.35     0.89%     0.32%     -0.03%     1.05%     -1.05%    0.00      0.22       0.32        0.70      0.79   -0.07%     0.96%     0.01      1.35     18.12%
11/12/14    1,382,000   101.60    -0.73%     0.03%      0.62%     0.14%     -0.19%    0.00      0.22       0.34        0.70      0.76    0.14%    -0.87%     0.01     -1.22     22.64%
11/13/14      735,000   102.46     0.84%     0.06%      0.67%    -0.56%      0.58%    0.00      0.22       0.32        0.72      0.79    0.25%     0.59%     0.01      0.82     41.32%
11/14/14    1,885,000   102.09    -0.35%     0.04%      0.69%    -0.32%      0.30%    0.00      0.22       0.33        0.70      0.78    0.21%    -0.57%     0.01     -0.78     43.46%
11/17/14    1,047,000   100.94    -1.13%     0.08%     -0.25%     0.09%     -0.24%    0.00      0.23       0.32        0.71      0.79   -0.22%    -0.91%     0.01     -1.26     21.01%
11/18/14      907,000   100.15    -0.78%     0.53%     -0.59%    -0.62%      0.40%    0.00      0.22       0.34        0.73      0.80   -0.26%    -0.52%     0.01     -0.71     47.72%




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                                                                                     Appendix L
                                                                              CenturyLink 7.6% Note Data

 [1]         [2]         [3]      [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                       Coefficient
                                                      Excess    Credit    Treasury                                   Credit
                                           Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date       Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
11/19/14    2,195,000   100.08    -0.07%    -0.14%     -1.02%     0.41%     -0.67%    0.00      0.21       0.35        0.79      0.86   -0.69%     0.61%     0.01      0.84     40.07%
11/20/14      401,000   100.56     0.48%     0.20%     -0.52%    -0.36%      0.38%    0.00      0.20       0.34        0.74      0.80   -0.15%     0.63%     0.01      0.86     38.92%
11/21/14      177,000   101.04     0.47%     0.54%     -0.23%    -0.36%      0.59%    0.00      0.21       0.33        0.73      0.81    0.21%     0.27%     0.01      0.37     71.42%
11/24/14      364,000   100.17    -0.86%     0.29%     -1.60%     0.28%     -0.07%    0.00      0.21       0.32        0.74      0.82   -0.34%    -0.52%     0.01     -0.71     48.17%
11/25/14      723,000   100.50     0.33%    -0.10%     -0.01%    -0.78%      0.95%    0.00      0.23       0.37        0.68      0.79    0.14%     0.19%     0.01      0.25     79.95%
11/26/14      485,000   100.07    -0.43%     0.30%      0.98%     0.18%      0.07%    0.00      0.23       0.36        0.69      0.80    0.56%    -0.99%     0.01     -1.35     17.87%
 12/1/14    2,738,000   100.34     0.27%    -0.93%      0.46%     0.02%     -0.05%    0.00      0.22       0.34        0.65      0.77   -0.13%     0.40%     0.01      0.55     58.59%
 12/2/14      390,000   100.50     0.16%     0.64%     -2.25%     0.44%     -0.78%    0.00      0.21       0.36        0.56      0.68   -1.01%     1.17%     0.01      1.61     11.11%
 12/3/14      295,000    99.98    -0.51%     0.40%     -1.01%    -0.38%      0.48%    0.00      0.22       0.30        0.52      0.63   -0.15%    -0.36%     0.01     -0.50     62.06%
 12/4/14      590,000    99.85    -0.13%    -0.11%     -0.09%    -0.56%      0.78%    0.00      0.22       0.31        0.51      0.62    0.10%    -0.23%     0.01     -0.31     75.99%
 12/5/14      159,000    99.24    -0.61%     0.17%     -0.23%     0.50%     -0.56%    0.00      0.22       0.31        0.50      0.61   -0.17%    -0.44%     0.01     -0.59     55.36%
 12/8/14      585,000    99.31     0.07%    -0.71%      0.55%    -0.88%      0.99%    0.00      0.22       0.31        0.51      0.62    0.12%    -0.05%     0.01     -0.07     94.65%
 12/9/14    1,422,000    99.08    -0.23%    -0.02%     -3.19%    -0.74%      0.56%    0.00      0.22       0.31        0.51      0.62   -1.07%     0.83%     0.01      1.13     26.06%
12/10/14    4,252,000    97.60    -1.50%    -1.63%     -0.31%    -0.87%      0.61%    0.00      0.22       0.25        0.49      0.62   -0.53%    -0.97%     0.01     -1.31     19.22%
12/11/14    2,821,000    97.36    -0.24%     0.48%      0.26%    -0.52%      0.36%    0.00      0.25       0.26        0.54      0.68    0.08%    -0.33%     0.01     -0.44     65.85%
12/12/14      859,000    95.92    -1.48%    -1.62%     -0.70%    -1.25%      1.18%    0.00      0.26       0.25        0.54      0.70   -0.51%    -0.97%     0.01     -1.31     19.29%
12/15/14    1,053,000    94.75    -1.22%    -0.63%      0.39%    -0.08%     -0.16%    0.00      0.29       0.27        0.53      0.68   -0.30%    -0.91%     0.01     -1.23     22.10%
12/16/14    3,570,000    95.30     0.58%    -0.85%      0.62%    -1.43%      0.92%    0.00      0.30       0.26        0.59      0.75   -0.32%     0.90%     0.01      1.20     23.18%
12/17/14      592,000    94.91    -0.41%     2.04%      0.48%     0.74%     -0.63%    0.00      0.30       0.27        0.45      0.64    0.60%    -1.01%     0.01     -1.35     18.02%
12/18/14    1,550,000    97.20     2.42%     2.42%      0.22%     1.97%     -1.53%    0.00      0.27       0.26        0.45      0.64    0.55%     1.87%     0.01      2.47      1.49% *
12/19/14    3,859,000    98.82     1.67%     0.46%     -0.29%    -0.72%      1.02%    0.00      0.31       0.27        0.60      0.75    0.33%     1.34%     0.01      1.74      8.44%
12/22/14      928,000    98.34    -0.49%     0.40%      0.76%     0.16%      0.17%    0.00      0.33       0.25        0.66      0.83    0.51%    -1.01%     0.01     -1.30     19.70%
12/23/14      737,000    98.89     0.56%     0.18%      0.29%     1.46%     -1.72%    0.00      0.33       0.24        0.60      0.78   -0.40%     0.96%     0.01      1.23     22.29%
12/24/14      826,000    99.02     0.13%    -0.01%     -0.05%    -0.37%      0.43%    0.00      0.32       0.25        0.58      0.72    0.03%     0.10%     0.01      0.13     89.52%
12/26/14      440,000    99.16     0.14%     0.33%      0.31%    -0.01%      0.08%    0.00      0.32       0.25        0.58      0.72    0.19%    -0.05%     0.01     -0.07     94.72%
12/29/14      872,000    99.10    -0.05%     0.10%     -0.44%    -0.61%      0.72%    0.00      0.32       0.26        0.58      0.71    0.04%    -0.09%     0.01     -0.12     90.73%
12/30/14      176,000   100.72     1.63%    -0.48%      0.00%    -0.03%      0.24%    0.00      0.31       0.26        0.60      0.73   -0.05%     1.68%     0.01      2.15      3.37% *
12/31/14      104,000    98.66    -2.05%    -1.03%     -0.53%    -0.11%      0.12%    0.00      0.28       0.25        0.71      0.83   -0.44%    -1.61%     0.01     -2.02      4.54% *
  1/2/15      204,000    98.95     0.29%    -0.02%      0.58%    -0.84%      1.05%    0.00      0.31       0.27        0.66      0.81    0.40%    -0.11%     0.01     -0.14     89.25%
  1/5/15      488,000    99.22     0.28%    -1.82%      0.25%    -1.22%      1.46%    0.00      0.31       0.27        0.66      0.81   -0.17%     0.45%     0.01      0.55     58.05%
  1/6/15    4,026,000    98.71    -0.52%    -0.89%      1.01%    -1.51%      1.62%    0.00      0.30       0.28        0.67      0.81    0.29%    -0.81%     0.01     -1.01     31.70%
  1/7/15      270,000    97.65    -1.07%     1.19%     -1.04%     0.57%     -0.47%    0.00      0.29       0.25        0.70      0.81    0.05%    -1.12%     0.01     -1.41     16.25%
  1/8/15    3,068,000    99.16     1.55%     1.79%      0.38%     1.18%     -1.15%    0.00      0.27       0.27        0.70      0.79    0.46%     1.08%     0.01      1.38     17.07%
  1/9/15    5,820,000    99.44     0.27%    -0.84%     -0.05%    -0.89%      1.17%    0.00      0.29       0.30        0.67      0.74   -0.02%     0.29%     0.01      0.37     71.03%
 1/12/15      695,000    99.99     0.55%    -0.81%      1.12%    -0.25%      0.50%    0.00      0.28       0.30        0.69      0.76    0.28%     0.27%     0.01      0.35     72.90%
 1/13/15    1,538,000    98.71    -1.28%    -0.25%      0.33%     0.16%     -0.11%    0.00      0.29       0.31        0.70      0.75    0.03%    -1.31%     0.01     -1.66      9.92%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

[1]         [2]         [3]      [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
1/14/15   13,702,000    99.19     0.49%    -0.58%      0.00%    -0.61%      0.59%    0.00      0.32       0.31        0.60      0.67   -0.19%     0.67%     0.01      0.85     39.45%
1/15/15    5,353,000    99.27     0.08%    -0.92%      0.61%    -1.46%      1.68%    0.00      0.32       0.31        0.58      0.66    0.14%    -0.06%     0.01     -0.08     93.97%
1/16/15      581,000    98.43    -0.85%     1.34%      0.84%     1.32%     -1.47%    0.00      0.32       0.31        0.58      0.66    0.46%    -1.31%     0.01     -1.65     10.08%
1/20/15      919,000    98.91     0.49%     0.16%      0.30%    -1.06%      1.16%    0.00      0.30       0.28        0.63      0.74    0.28%     0.22%     0.01      0.27     78.54%
1/21/15    2,008,000    98.97     0.06%     0.49%     -0.11%     1.41%     -1.45%    0.00      0.31       0.28        0.62      0.74   -0.12%     0.18%     0.01      0.23     82.10%
1/22/15      323,000    99.58     0.61%     1.53%     -1.67%    -0.13%      0.27%    0.00      0.31       0.28        0.62      0.73    0.07%     0.54%     0.01      0.67     50.29%
1/23/15   16,678,000    99.39    -0.19%    -0.55%     -0.85%    -0.64%      1.04%    0.00      0.32       0.26        0.62      0.76   -0.05%    -0.14%     0.01     -0.18     85.78%
1/26/15      758,000    99.60     0.21%     0.26%     -0.57%     0.48%     -0.43%    0.00      0.33       0.23        0.60      0.74   -0.13%     0.34%     0.01      0.43     67.05%
1/27/15    1,704,000   100.95     1.36%    -1.34%     -0.25%     0.18%     -0.12%    0.00      0.33       0.23        0.61      0.74   -0.53%     1.90%     0.01      2.38      1.89% *
1/28/15    7,948,000   100.92    -0.03%    -1.34%      0.36%    -1.01%      1.72%    0.00      0.27       0.22        0.67      0.76    0.32%    -0.36%     0.01     -0.44     66.34%
1/29/15   30,512,000   100.97     0.04%     0.96%     -0.19%     0.43%     -0.46%    0.00      0.27       0.22        0.63      0.72    0.13%    -0.09%     0.01     -0.11     91.45%
1/30/15   13,600,000   101.58     0.61%    -1.30%      0.34%    -1.04%      1.48%    0.00      0.27       0.22        0.63      0.72    0.10%     0.51%     0.01      0.62     53.49%
 2/2/15   14,855,000   101.50    -0.08%     1.30%      1.55%     0.70%     -0.58%    0.00      0.28       0.22        0.64      0.74    0.68%    -0.76%     0.01     -0.93     35.25%
 2/3/15    1,408,000   102.36     0.84%     1.45%      1.14%     1.69%     -2.06%    0.00      0.27       0.20        0.64      0.75    0.12%     0.73%     0.01      0.89     37.46%
 2/4/15      810,000   101.05    -1.28%    -0.39%      0.38%    -0.23%      0.60%    0.00      0.27       0.22        0.60      0.69    0.22%    -1.50%     0.01     -1.85      6.76%
 2/5/15    2,077,000   101.69     0.63%     1.05%     -0.28%     1.58%     -1.31%    0.00      0.28       0.21        0.52      0.61    0.20%     0.43%     0.01      0.52     60.13%
 2/6/15    1,272,000   102.31     0.61%    -0.32%      2.13%     1.27%     -1.56%    0.00      0.26       0.20        0.75      0.80    0.02%     0.59%     0.01      0.72     47.47%
 2/9/15    2,943,000   102.57     0.25%    -0.42%     -0.13%     0.60%     -0.44%    0.00      0.26       0.22        0.72      0.76   -0.08%     0.33%     0.01      0.41     68.43%
2/10/15    3,324,000   102.96     0.39%     1.07%      0.06%     0.16%     -0.32%    0.00      0.26       0.21        0.76      0.80    0.13%     0.26%     0.01      0.32     75.26%
2/11/15   10,941,000   102.82    -0.14%     0.03%     -0.26%     0.16%     -0.18%    0.00      0.25       0.21        0.69      0.72   -0.10%    -0.04%     0.01     -0.05     95.68%
2/12/15    3,072,000   102.64    -0.17%     0.99%     -0.62%    -0.07%      0.11%    0.00      0.25       0.22        0.68      0.71    0.11%    -0.28%     0.01     -0.35     72.91%
2/13/15    1,340,000   102.02    -0.61%     0.42%     -0.44%     0.94%     -1.01%    0.00      0.25       0.21        0.70      0.72   -0.09%    -0.51%     0.01     -0.63     52.83%
2/17/15   42,324,000   102.35     0.33%     0.18%     -0.19%     1.06%     -1.36%    0.00      0.25       0.21        0.70      0.73   -0.28%     0.61%     0.01      0.75     45.64%
2/18/15    1,446,000   102.10    -0.25%    -0.03%     -0.57%     0.05%      0.38%    0.00      0.25       0.21        0.67      0.69    0.14%    -0.38%     0.01     -0.47     64.10%
2/19/15      700,000   103.24     1.11%    -0.09%     -0.49%     0.24%     -0.42%    0.00      0.25       0.22        0.64      0.66   -0.29%     1.40%     0.01      1.71      8.92%
2/20/15   21,992,000   103.10    -0.13%     0.63%     -0.25%    -0.19%      0.29%    0.00      0.24       0.21        0.60      0.61    0.14%    -0.28%     0.01     -0.33     74.00%
2/23/15    4,829,000   102.84    -0.25%    -0.03%     -0.51%    -0.52%      0.91%    0.00      0.23       0.21        0.60      0.60    0.10%    -0.35%     0.01     -0.42     67.51%
2/24/15    9,388,000   102.90     0.06%     0.28%      0.40%    -0.68%      1.09%    0.00      0.22       0.21        0.64      0.61    0.36%    -0.30%     0.01     -0.37     70.85%
2/25/15    1,935,000   102.78    -0.12%    -0.06%      0.23%    -0.05%      0.30%    0.00      0.21       0.20        0.62      0.59    0.16%    -0.28%     0.01     -0.34     73.12%
2/26/15    1,217,000   103.96     1.15%    -0.13%      0.56%     1.03%     -1.00%    0.00      0.21       0.20        0.62      0.59    0.12%     1.03%     0.01      1.27     20.67%
2/27/15    2,297,000   102.90    -1.02%    -0.29%      0.39%    -0.64%      0.71%    0.00      0.20       0.21        0.66      0.59    0.02%    -1.03%     0.01     -1.26     20.90%
 3/2/15   10,243,000   103.90     0.97%     0.62%     -0.27%     1.32%     -1.52%    0.00      0.19       0.20        0.67      0.59    0.03%     0.94%     0.01      1.14     25.57%
 3/3/15    2,399,000   103.03    -0.83%    -0.45%      0.15%     0.46%     -0.56%    0.00      0.18       0.20        0.68      0.57   -0.07%    -0.76%     0.01     -0.92     35.80%
 3/4/15   14,666,000   102.87    -0.16%    -0.42%     -0.75%     0.13%     -0.05%    0.00      0.17       0.19        0.71      0.57   -0.16%     0.00%     0.01      0.00     99.91%
 3/5/15    1,227,000   103.25     0.37%     0.12%     -0.15%     0.17%     -0.19%    0.00      0.17       0.19        0.70      0.57    0.00%     0.38%     0.01      0.46     64.41%
 3/6/15    6,064,000   101.67    -1.53%    -1.40%     -0.48%     1.35%     -1.87%    0.00      0.17       0.19        0.70      0.56   -0.43%    -1.11%     0.01     -1.36     17.70%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

[1]         [2]         [3]      [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 3/9/15      599,000   101.52    -0.15%     0.40%     -0.52%    -0.67%      0.83%    0.00      0.20       0.19        0.72      0.62    0.01%    -0.15%     0.01     -0.19     85.20%
3/10/15    5,072,000   100.14    -1.36%    -1.69%     -0.42%    -1.15%      1.17%    0.00      0.21       0.19        0.57      0.48   -0.52%    -0.83%     0.01     -1.04     30.09%
3/11/15    2,219,000   100.46     0.32%    -0.18%      0.13%    -0.58%      0.63%    0.00      0.22       0.17        0.69      0.59   -0.07%     0.38%     0.01      0.49     62.46%
3/12/15      691,000   101.43     0.96%     1.29%      1.03%     0.28%     -0.19%    0.00      0.21       0.16        0.66      0.54    0.50%     0.46%     0.01      0.59     55.93%
3/13/15    5,018,000   100.04    -1.36%    -0.61%     -0.03%    -0.22%      0.05%    0.00      0.21       0.18        0.64      0.53   -0.24%    -1.12%     0.01     -1.44     15.27%
3/16/15    3,780,000   100.84     0.79%     1.36%     -0.02%    -0.69%      0.82%    0.00      0.23       0.18        0.66      0.56    0.29%     0.50%     0.01      0.64     52.44%
3/17/15      334,000   100.83     0.00%    -0.33%     -0.26%    -0.62%      0.63%    0.00      0.24       0.18        0.62      0.54   -0.18%     0.18%     0.01      0.23     82.04%
3/18/15      894,000   101.28     0.45%     1.22%      0.84%    -1.20%      1.49%    0.00      0.24       0.18        0.63      0.54    0.47%    -0.02%     0.01     -0.03     97.57%
3/19/15    2,669,000   101.84     0.55%    -0.49%     -0.49%     0.46%     -0.31%    0.00      0.24       0.18        0.63      0.54   -0.09%     0.64%     0.01      0.82     41.18%
3/20/15    2,736,000   101.01    -0.82%     0.90%     -0.20%    -0.16%      0.43%    0.00      0.22       0.18        0.68      0.57    0.31%    -1.12%     0.01     -1.45     15.09%
3/23/15    5,295,000   101.14     0.13%    -0.17%      0.29%     0.17%     -0.16%    0.00      0.21       0.19        0.78      0.63    0.02%     0.11%     0.01      0.14     88.56%
3/24/15      564,000   100.62    -0.52%    -0.61%     -0.11%    -0.68%      0.81%    0.00      0.22       0.19        0.72      0.57   -0.19%    -0.32%     0.01     -0.44     65.73%
3/25/15    2,575,000   101.96     1.33%    -1.45%     -0.44%     0.58%     -0.70%    0.00      0.22       0.19        0.74      0.59   -0.41%     1.74%     0.01      2.39      1.83% *
3/26/15    6,245,000   101.67    -0.28%    -0.24%      0.12%     0.76%     -1.17%    0.00      0.18       0.18        0.76      0.57   -0.11%    -0.17%     0.01     -0.23     81.62%
3/27/15    3,080,000   101.82     0.15%     0.26%     -0.10%    -0.20%      0.69%    0.00      0.19       0.18        0.71      0.53    0.26%    -0.10%     0.01     -0.14     88.82%
3/30/15    3,794,000   102.79     0.95%     1.23%      0.09%     0.10%     -0.14%    0.00      0.20       0.17        0.68      0.51    0.25%     0.70%     0.01      0.94     34.73%
3/31/15    6,967,000   102.69    -0.10%    -0.87%     -0.45%    -0.13%      0.16%    0.00      0.21       0.17        0.67      0.51   -0.26%     0.16%     0.01      0.22     82.55%
 4/1/15   10,849,000   103.20     0.49%    -0.38%      1.06%    -0.92%      1.25%    0.00      0.21       0.17        0.67      0.51    0.14%     0.36%     0.01      0.48     63.01%
 4/2/15      155,000   103.29     0.09%     0.36%      0.73%     0.93%     -1.09%    0.00      0.21       0.18        0.68      0.53    0.26%    -0.17%     0.01     -0.23     81.74%
 4/6/15      975,000   103.73     0.42%     0.66%      0.00%     0.25%     -0.34%    0.00      0.21       0.17        0.64      0.50    0.12%     0.30%     0.01      0.41     68.51%
 4/7/15      825,000   102.68    -1.01%    -0.20%     -0.46%    -0.11%      0.60%    0.00      0.21       0.17        0.63      0.50    0.11%    -1.12%     0.01     -1.52     13.03%
 4/8/15    4,761,000   103.19     0.50%     0.31%      0.18%     0.43%     -0.18%    0.00      0.22       0.18        0.52      0.40    0.25%     0.24%     0.01      0.33     74.29%
 4/9/15    1,202,000   102.95    -0.24%     0.45%     -0.38%     0.80%     -1.05%    0.00      0.21       0.18        0.55      0.42    0.03%    -0.27%     0.01     -0.36     71.74%
4/10/15    2,908,000   102.75    -0.19%     0.52%     -0.01%    -0.27%      0.31%    0.00      0.21       0.18        0.61      0.47    0.08%    -0.27%     0.01     -0.36     71.60%
4/13/15      278,000   103.13     0.37%    -0.45%      0.20%     0.10%      0.06%    0.00      0.19       0.17        0.64      0.50    0.04%     0.33%     0.01      0.45     65.31%
4/14/15      448,000   101.99    -1.11%     0.16%     -0.22%    -0.40%      0.52%    0.00      0.19       0.17        0.71      0.55   -0.01%    -1.09%     0.01     -1.50     13.76%
4/15/15    4,007,000   102.81     0.80%     0.51%      0.13%     0.10%      0.02%    0.00      0.18       0.17        0.71      0.55    0.19%     0.61%     0.01      0.83     40.77%
4/16/15      478,000   102.72    -0.09%    -0.08%     -0.25%     0.76%     -0.56%    0.00      0.18       0.17        0.60      0.46    0.13%    -0.22%     0.01     -0.30     76.38%
4/17/15      959,000   103.46     0.73%    -1.13%     -0.05%    -0.77%      0.90%    0.00      0.19       0.18        0.59      0.45   -0.28%     1.00%     0.01      1.36     17.65%
4/20/15    2,614,000   102.22    -1.20%     0.93%      0.50%     0.59%     -0.77%    0.00      0.18       0.17        0.60      0.47    0.24%    -1.44%     0.01     -1.94      5.48%
4/21/15      160,000   103.01     0.77%    -0.15%     -0.23%     0.25%     -0.28%    0.00      0.18       0.16        0.62      0.50   -0.08%     0.84%     0.01      1.13     25.96%
4/22/15    6,145,000   101.69    -1.28%     0.51%      0.35%     1.20%     -1.38%    0.00      0.19       0.12        0.67      0.53    0.20%    -1.47%     0.01     -2.00      4.83% *
4/23/15      657,000   101.21    -0.47%     0.25%      2.06%    -0.07%      0.13%    0.00      0.19       0.10        0.68      0.56    0.25%    -0.72%     0.01     -0.97     33.60%
4/24/15    4,732,000   101.13    -0.08%     0.23%     -0.49%    -0.62%      0.78%    0.00      0.18       0.09        0.71      0.59   -0.02%    -0.06%     0.01     -0.08     93.52%
4/27/15      621,000   102.08     0.94%    -0.41%      0.31%     0.11%     -0.08%    0.00      0.18       0.09        0.71      0.59   -0.05%     0.99%     0.01      1.32     18.85%
4/28/15    1,871,000   100.81    -1.24%     0.29%      1.38%     1.21%     -1.49%    0.00      0.17       0.10        0.72      0.59    0.16%    -1.40%     0.01     -1.86      6.58%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

[1]         [2]         [3]      [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume        Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
4/29/15      471,000   101.32     0.50%    -0.37%      0.13%     0.41%     -0.78%    0.00      0.17       0.07        0.81      0.69   -0.30%     0.80%     0.01      1.05     29.74%
4/30/15    5,461,000   100.65    -0.66%    -1.01%      0.42%    -0.35%      0.20%    0.00      0.17       0.07        0.77      0.65   -0.31%    -0.35%     0.01     -0.46     64.57%
 5/1/15    1,312,000   100.74     0.09%     1.09%     -0.99%     1.20%     -1.45%    0.00      0.17       0.07        0.80      0.67    0.07%     0.02%     0.01      0.03     97.57%
 5/4/15    2,790,000   100.25    -0.49%     0.29%      0.13%     0.67%     -0.77%    0.00      0.17       0.07        0.82      0.69    0.04%    -0.53%     0.01     -0.69     48.96%
 5/5/15      708,000   100.93     0.67%    -1.17%     -0.75%     0.40%     -0.54%    0.00      0.16       0.07        0.85      0.72   -0.34%     1.01%     0.01      1.33     18.58%
 5/6/15      820,000    99.26    -1.66%    -0.41%     -0.81%     0.73%     -1.23%    0.00      0.14       0.06        0.86      0.71   -0.39%    -1.27%     0.01     -1.66      9.88%
 5/7/15    2,132,000    99.19    -0.07%     0.40%     -0.22%    -1.16%      1.27%    0.00      0.14       0.06        0.84      0.70   -0.08%     0.01%     0.01      0.01     99.36%
 5/8/15      573,000    99.71     0.53%     1.35%      0.00%     0.01%      0.16%    0.00      0.15       0.07        0.82      0.69    0.28%     0.25%     0.01      0.33     74.51%
5/11/15    1,838,000    99.49    -0.22%    -0.49%     -0.27%     1.73%     -2.22%    0.00      0.15       0.07        0.80      0.68   -0.25%     0.03%     0.01      0.04     97.16%
5/12/15    1,147,000    98.99    -0.50%    -0.29%      0.17%    -0.82%      0.46%    0.00      0.15       0.06        0.84      0.70   -0.44%    -0.06%     0.01     -0.08     93.62%
5/13/15   11,748,000    99.73     0.74%    -0.01%      0.31%     1.00%     -1.11%    0.00      0.15       0.07        0.83      0.70    0.03%     0.71%     0.01      0.94     34.79%
5/14/15    1,029,000    99.79     0.06%     1.09%     -0.18%    -0.56%      0.64%    0.00      0.15       0.07        0.80      0.66    0.10%    -0.04%     0.01     -0.05     95.70%
5/15/15      496,000    99.32    -0.46%     0.09%      0.11%    -1.17%      1.69%    0.00      0.15       0.06        0.75      0.62    0.17%    -0.63%     0.01     -0.85     39.84%
5/18/15      672,000    99.86     0.54%     0.31%      0.36%     1.30%     -1.65%    0.00      0.15       0.06        0.72      0.59    0.01%     0.53%     0.01      0.70     48.56%
5/19/15    1,426,000    98.43    -1.43%    -0.04%     -0.77%     0.68%     -0.74%    0.00      0.15       0.07        0.72      0.57   -0.01%    -1.42%     0.01     -1.89      6.14%
5/20/15    6,460,000    97.41    -1.04%    -0.08%      0.50%    -0.63%      0.45%    0.00      0.15       0.09        0.69      0.56   -0.19%    -0.85%     0.01     -1.12     26.70%
5/21/15      923,000    97.94     0.55%     0.25%      0.62%    -0.64%      0.92%    0.00      0.15       0.06        0.81      0.65    0.11%     0.43%     0.01      0.57     57.10%
5/22/15      236,000    98.77     0.84%    -0.22%     -0.63%    -0.04%      0.05%    0.00      0.15       0.06        0.82      0.66   -0.11%     0.95%     0.01      1.25     21.43%
5/26/15      578,000    97.48    -1.30%    -1.03%      0.38%    -1.07%      1.44%    0.00      0.14       0.06        0.85      0.69   -0.08%    -1.23%     0.01     -1.61     11.04%
5/27/15    5,910,000    97.11    -0.38%     0.93%      0.09%    -0.31%      0.47%    0.00      0.17       0.05        0.80      0.64    0.17%    -0.55%     0.01     -0.71     47.74%
5/28/15      963,000    97.86     0.78%    -0.11%     -0.19%     0.37%     -0.33%    0.00      0.15       0.06        0.84      0.66    0.02%     0.76%     0.01      0.98     32.79%
5/29/15    4,618,000    97.56    -0.31%    -0.63%      0.00%    -0.12%      0.13%    0.00      0.15       0.05        0.85      0.67   -0.15%    -0.16%     0.01     -0.20     83.85%
 6/1/15    1,893,000    98.34     0.80%     0.22%     -0.63%     0.52%     -0.86%    0.00      0.15       0.05        0.85      0.67   -0.17%     0.97%     0.01      1.26     21.17%
 6/2/15      843,000    97.97    -0.38%    -0.10%      0.07%     1.03%     -1.27%    0.00      0.16       0.03        0.78      0.61    0.00%    -0.38%     0.01     -0.48     62.88%
 6/3/15    1,448,000    96.51    -1.49%     0.23%      0.74%     1.13%     -1.43%    0.00      0.16       0.03        0.79      0.62    0.05%    -1.54%     0.01     -1.99      4.91% *
 6/4/15      392,000    96.82     0.32%    -0.86%     -0.25%    -0.97%      0.99%    0.00      0.17       0.02        0.84      0.68   -0.34%     0.66%     0.01      0.84     40.55%
 6/5/15    1,007,000    96.32    -0.52%    -0.14%     -1.69%     0.63%     -1.15%    0.00      0.15       0.00        0.74      0.60   -0.28%    -0.25%     0.01     -0.32     75.16%
 6/8/15    1,825,000    95.44    -0.91%    -0.63%      0.69%    -0.08%      0.04%    0.00      0.15       0.01        0.75      0.61   -0.14%    -0.77%     0.01     -0.98     33.15%
 6/9/15      755,000    95.08    -0.37%     0.04%     -0.24%     0.39%     -0.80%    0.00      0.14      -0.01        0.69      0.57   -0.20%    -0.17%     0.01     -0.22     82.40%
6/10/15    7,337,000    94.74    -0.36%     1.21%     -0.28%     0.42%     -0.70%    0.00      0.14       0.00        0.65      0.54    0.06%    -0.42%     0.01     -0.54     59.14%
6/11/15    6,126,000    94.23    -0.54%     0.20%      0.38%    -1.58%      1.98%    0.00      0.12      -0.02        0.95      0.77    0.01%    -0.55%     0.01     -0.71     48.04%
6/12/15       90,000    95.45     1.30%    -0.69%     -0.40%     0.15%     -0.14%    0.00      0.14      -0.02        0.98      0.78   -0.09%     1.39%     0.01      1.81      7.32%
6/15/15      558,000    94.44    -1.07%    -0.46%     -0.31%    -0.42%      0.24%    0.00      0.09      -0.03        0.68      0.55   -0.21%    -0.86%     0.01     -1.12     26.58%
6/16/15    4,995,000    93.30    -1.20%     0.57%      0.45%    -0.83%      0.72%    0.00      0.07      -0.01        0.74      0.57   -0.21%    -0.99%     0.01     -1.31     19.18%
6/17/15   26,109,000    93.18    -0.13%     0.20%     -0.11%     0.70%     -0.77%    0.00      0.06      -0.01        0.91      0.70    0.05%    -0.18%     0.01     -0.24     81.05%
6/18/15   14,361,000    93.25     0.07%     1.00%      0.19%     0.47%     -0.51%    0.00      0.06      -0.01        0.90      0.71    0.06%     0.01%     0.01      0.02     98.52%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
6/19/15    1,051,000   93.78     0.57%    -0.53%     -0.01%    -1.13%      1.37%    0.00      0.06      -0.01        0.91      0.71   -0.15%     0.73%     0.01      0.96     33.89%
6/22/15    4,460,000   93.46    -0.34%     0.61%     -0.21%     1.56%     -1.79%    0.00      0.06      -0.01        0.89      0.71    0.11%    -0.45%     0.01     -0.60     55.19%
6/23/15      730,000   94.28     0.88%     0.07%      1.37%     0.30%     -0.59%    0.00      0.06      -0.01        0.88      0.71   -0.22%     1.10%     0.01      1.45     14.95%
6/24/15    1,339,000   94.56     0.30%    -0.73%     -0.23%    -0.63%      0.77%    0.00      0.07       0.03        0.72      0.56   -0.14%     0.44%     0.01      0.59     55.93%
6/25/15    3,414,000   93.28    -1.36%    -0.29%      0.87%     0.47%     -0.50%    0.00      0.04       0.00        0.71      0.56    0.00%    -1.36%     0.01     -1.86      6.58%
6/26/15    2,559,000   91.79    -1.60%    -0.02%      0.05%     0.71%     -1.04%    0.00      0.05      -0.03        0.69      0.54   -0.13%    -1.47%     0.01     -1.99      4.94% *
6/29/15    1,594,000   91.75    -0.04%    -2.08%     -0.05%    -2.13%      2.26%    0.00      0.07      -0.03        0.76      0.62   -0.44%     0.40%     0.01      0.53     59.45%
6/30/15    3,456,000   92.00     0.27%     0.27%     -0.60%     0.33%     -0.37%    0.00      0.06      -0.03        0.71      0.58   -0.01%     0.28%     0.01      0.37     71.19%
 7/1/15    1,265,000   91.37    -0.68%     0.72%      0.02%     1.15%     -1.23%    0.00      0.08      -0.07        0.77      0.63    0.12%    -0.79%     0.01     -1.07     28.72%
 7/2/15      330,000   91.83     0.51%    -0.03%      0.35%    -0.31%      0.30%    0.00      0.04      -0.07        0.67      0.56   -0.13%     0.63%     0.01      0.86     39.18%
 7/6/15   10,302,000   92.00     0.18%    -0.38%     -0.09%    -1.63%      1.76%    0.00      0.05      -0.07        0.64      0.54   -0.17%     0.35%     0.01      0.48     63.10%
 7/7/15    2,461,000   91.33    -0.73%     0.61%      0.02%    -0.69%      0.74%    0.00      0.06      -0.09        0.58      0.49   -0.06%    -0.67%     0.01     -0.91     36.35%
 7/8/15      155,000   91.24    -0.10%    -1.64%      0.22%    -0.99%      0.98%    0.00      0.04      -0.08        0.64      0.53   -0.25%     0.16%     0.01      0.22     82.88%
 7/9/15    2,316,000   91.90     0.72%     0.23%     -1.00%     1.90%     -2.28%    0.00      0.04      -0.08        0.66      0.55    0.02%     0.70%     0.01      0.96     33.87%
7/10/15    2,700,000   91.00    -0.97%     1.23%      0.41%     0.88%     -1.09%    0.00      0.04      -0.10        0.68      0.54   -0.05%    -0.92%     0.01     -1.27     20.79%
7/13/15      370,000   91.22     0.24%     1.12%     -0.16%     0.83%     -0.71%    0.00      0.04      -0.09        0.72      0.58    0.18%     0.06%     0.01      0.08     93.49%
7/14/15      615,000   91.66     0.48%     0.45%      0.26%    -0.60%      0.64%    0.00      0.03      -0.09        0.76      0.60   -0.15%     0.63%     0.01      0.87     38.45%
7/15/15      967,000   91.85     0.20%    -0.07%     -0.60%    -0.73%      0.98%    0.00      0.04      -0.09        0.74      0.59    0.02%     0.18%     0.01      0.24     80.69%
7/16/15    2,028,000   92.24     0.43%     0.80%      0.67%    -0.44%      0.54%    0.00      0.03      -0.07        0.75      0.59   -0.10%     0.53%     0.01      0.73     46.78%
7/17/15      775,000   92.83     0.65%     0.11%     -0.48%    -0.50%      0.45%    0.00      0.03      -0.07        0.76      0.61   -0.12%     0.77%     0.01      1.06     29.27%
7/20/15    4,972,000   91.37    -1.57%     0.08%      0.36%     0.07%     -0.17%    0.00      0.04      -0.08        0.71      0.57   -0.13%    -1.45%     0.01     -1.98      5.04%
7/21/15      739,000   91.32    -0.06%    -0.42%     -1.38%    -0.55%      0.52%    0.00      0.08      -0.09        0.69      0.57   -0.07%     0.01%     0.01      0.01     99.27%
7/22/15      912,000   89.74    -1.73%    -0.23%     -0.83%    -0.53%      0.38%    0.00      0.07      -0.09        0.71      0.58   -0.17%    -1.56%     0.01     -2.13      3.55% *
7/23/15    1,084,000   90.47     0.81%    -0.56%     -0.15%    -0.94%      1.13%    0.00      0.07      -0.06        0.83      0.67   -0.14%     0.95%     0.01      1.27     20.65%
7/24/15    1,063,000   89.20    -1.40%    -1.07%      0.75%     0.00%      0.06%    0.00      0.08      -0.07        0.77      0.63   -0.19%    -1.22%     0.01     -1.63     10.65%
7/27/15      463,000   88.73    -0.53%    -0.58%      0.22%    -0.63%      0.46%    0.00      0.11      -0.09        0.73      0.60   -0.37%    -0.16%     0.01     -0.21     83.34%
7/28/15    4,301,000   88.59    -0.15%     1.24%     -0.72%     0.41%     -0.50%    0.00      0.09      -0.12        0.77      0.65    0.09%    -0.24%     0.01     -0.32     74.99%
7/29/15    6,199,000   89.64     1.18%     0.74%      0.51%     0.56%     -0.48%    0.00      0.07      -0.10        0.92      0.78    0.05%     1.13%     0.01      1.53     12.86%
7/30/15    1,058,000   90.54     1.01%     0.01%      0.29%    -0.64%      0.82%    0.00      0.08      -0.08        0.94      0.79   -0.07%     1.07%     0.01      1.43     15.44%
7/31/15      969,000   89.79    -0.83%    -0.23%      0.30%    -0.44%      0.61%    0.00      0.10      -0.14        0.95      0.83   -0.06%    -0.77%     0.01     -1.03     30.52%
 8/3/15      156,000   89.82     0.03%    -0.28%      0.38%    -0.57%      0.89%    0.00      0.10      -0.15        0.91      0.79    0.01%     0.02%     0.01      0.03     97.89%
 8/4/15    2,686,000   89.68    -0.15%    -0.22%     -0.27%     0.57%     -0.68%    0.00      0.09      -0.14        0.94      0.82   -0.10%    -0.05%     0.01     -0.07     94.76%
 8/5/15    2,288,000   90.21     0.58%     0.35%     -0.28%     0.55%     -0.71%    0.00      0.09      -0.15        0.94      0.82   -0.09%     0.67%     0.01      0.90     37.25%
 8/6/15      966,000   87.31    -3.21%    -0.75%     -0.05%    -0.98%      0.93%    0.00      0.10      -0.15        0.93      0.80   -0.32%    -2.89%     0.01     -3.86      0.02% **
 8/7/15      331,000   85.31    -2.29%    -0.28%     -0.11%    -1.20%      1.25%    0.00      0.10      -0.16        0.96      0.82   -0.22%    -2.08%     0.01     -2.77      0.65% **
8/10/15      919,000   84.24    -1.25%     1.28%      0.90%     0.80%     -1.29%    0.00      0.09      -0.15        1.11      0.93   -0.43%    -0.83%     0.01     -1.07     28.76%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
8/11/15    2,105,000   84.42     0.22%    -0.94%      0.80%    -1.23%      1.36%    0.00      0.07      -0.18        1.33      1.11   -0.44%     0.67%     0.01      0.86     39.17%
8/12/15    7,651,000   84.02    -0.48%     0.12%     -0.78%     0.37%     -0.48%    0.00      0.06      -0.15        1.35      1.14   -0.04%    -0.45%     0.01     -0.59     55.95%
8/13/15    1,139,000   84.62     0.72%    -0.11%     -0.40%     0.17%     -0.24%    0.00      0.06      -0.14        1.35      1.15   -0.11%     0.83%     0.01      1.08     28.02%
8/14/15      647,000   85.21     0.69%     0.39%      0.03%    -0.08%      0.15%    0.00      0.06      -0.16        1.41      1.20   -0.01%     0.70%     0.01      0.92     36.15%
8/17/15    4,859,000   85.23     0.02%     0.54%      0.05%    -0.28%      0.38%    0.00      0.07      -0.16        1.43      1.22    0.00%     0.03%     0.01      0.04     97.11%
8/18/15    5,787,000   85.43     0.23%    -0.24%      0.21%     0.25%     -0.59%    0.00      0.06      -0.16        1.46      1.25   -0.51%     0.74%     0.01      0.96     34.09%
8/19/15      717,000   84.86    -0.67%    -0.82%      0.53%    -0.71%      0.69%    0.00      0.08      -0.17        1.27      1.10   -0.39%    -0.27%     0.01     -0.35     72.40%
8/20/15    1,286,000   85.60     0.87%    -2.11%      0.14%    -1.23%      1.11%    0.00      0.08      -0.17        1.27      1.10   -0.62%     1.49%     0.01      1.95      5.42%
8/21/15    5,390,000   84.49    -1.30%    -3.17%      0.48%    -0.36%      0.27%    0.00      0.03      -0.15        1.13      1.00   -0.40%    -0.89%     0.01     -1.16     24.76%
8/24/15    2,546,000   81.60    -3.41%    -3.94%     -0.37%    -0.32%     -0.15%    0.00      0.07      -0.17        1.11      1.00   -0.81%    -2.61%     0.01     -3.38      0.10% **
8/25/15    6,873,000   83.95     2.88%    -1.35%     -1.30%     1.07%     -1.21%    0.00      0.18      -0.17        1.30      1.18   -0.17%     3.04%     0.01      3.80      0.02% **
8/26/15    2,510,000   83.87    -0.09%     3.91%      0.55%     1.78%     -2.11%    0.00      0.12      -0.26        1.56      1.35    0.18%    -0.27%     0.01     -0.32     74.87%
8/27/15   17,902,000   85.08     1.44%     2.44%      0.65%    -0.10%      0.18%    0.00      0.09      -0.26        1.55      1.32    0.05%     1.39%     0.01      1.65     10.10%
8/28/15    4,768,000   84.65    -0.51%     0.07%     -0.34%    -0.05%      0.14%    0.00      0.13      -0.26        1.51      1.30    0.15%    -0.66%     0.01     -0.78     43.66%
8/31/15      475,000   85.60     1.12%    -0.83%      0.33%     0.97%     -0.85%    0.00      0.12      -0.26        1.44      1.26    0.10%     1.03%     0.01      1.21     22.76%
 9/1/15      456,000   84.66    -1.09%    -2.95%     -0.53%    -0.76%      0.71%    0.00      0.10      -0.25        1.60      1.37   -0.44%    -0.65%     0.01     -0.77     44.49%
 9/2/15    2,935,000   84.65    -0.01%     1.85%      0.17%     0.53%     -0.62%    0.00      0.10      -0.27        1.57      1.35    0.09%    -0.10%     0.01     -0.11     91.05%
 9/3/15      265,000   87.31     3.14%     0.12%      0.76%    -0.05%      0.30%    0.00      0.10      -0.27        1.52      1.31    0.07%     3.07%     0.01      3.65      0.04% **
 9/4/15      205,000   86.12    -1.36%    -1.52%     -0.64%    -0.60%      0.87%    0.00      0.07      -0.20        1.81      1.53    0.23%    -1.59%     0.01     -1.80      7.45%
 9/8/15      525,000   86.11    -0.01%     2.52%      0.34%     0.99%     -1.14%    0.00      0.10      -0.17        1.68      1.42    0.17%    -0.18%     0.01     -0.20     84.42%
 9/9/15      873,000   87.47     1.57%    -1.38%     -0.10%     0.40%     -0.07%    0.00      0.08      -0.18        1.70      1.42    0.43%     1.14%     0.01      1.27     20.66%
9/10/15      717,000   86.70    -0.88%     0.54%     -0.33%     0.27%     -0.34%    0.00      0.06      -0.18        1.86      1.55    0.02%    -0.90%     0.01     -1.00     31.86%
9/11/15    1,380,000   87.11     0.48%     0.48%     -0.14%    -0.44%      0.56%    0.00      0.07      -0.18        1.95      1.64    0.07%     0.41%     0.01      0.46     64.86%
9/14/15    3,739,000   86.42    -0.79%    -0.40%     -0.09%    -0.11%      0.07%    0.00      0.07      -0.19        1.95      1.64   -0.16%    -0.63%     0.01     -0.71     48.17%
9/15/15    1,585,000   85.81    -0.71%     1.28%      0.40%     1.39%     -1.85%    0.00      0.07      -0.19        1.96      1.66   -0.37%    -0.34%     0.01     -0.38     70.59%
9/16/15    4,432,000   83.67    -2.49%     0.87%     -0.72%     0.02%     -0.27%    0.00      0.09      -0.18        1.93      1.65   -0.24%    -2.24%     0.01     -2.52      1.31% *
9/17/15    2,984,000   83.19    -0.58%    -0.24%     -0.92%    -1.11%      1.24%    0.00      0.07      -0.13        2.13      1.81   -0.08%    -0.49%     0.01     -0.54     58.94%
9/18/15      490,000   83.13    -0.07%    -1.62%      0.08%    -1.10%      1.25%    0.00      0.06      -0.12        2.24      1.90   -0.28%     0.21%     0.01      0.23     82.18%
9/21/15    2,996,000   83.17     0.04%     0.46%     -0.05%     1.02%     -1.34%    0.00      0.05      -0.12        2.25      1.91   -0.29%     0.34%     0.01      0.37     71.25%
9/22/15      700,000   82.59    -0.69%    -1.23%     -0.12%    -1.46%      1.26%    0.00      0.05      -0.12        2.25      1.90   -0.99%     0.30%     0.01      0.33     74.43%
9/23/15      427,000   82.38    -0.26%    -0.20%     -0.45%    -0.10%     -0.01%    0.00      0.05      -0.13        2.18      1.85   -0.26%     0.00%     0.01      0.01     99.59%
9/24/15      733,000   79.78    -3.15%    -0.34%      0.17%    -0.73%      0.53%    0.00      0.05      -0.14        2.18      1.84   -0.75%    -2.41%     0.01     -2.65      0.91% **
9/25/15      463,000   78.70    -1.36%    -0.05%      0.54%     0.05%     -0.55%    0.00      0.04      -0.15        2.43      2.04   -1.17%    -0.19%     0.01     -0.20     83.93%
9/28/15    1,352,000   75.68    -3.84%    -2.54%      0.32%    -2.24%      1.30%    0.00      0.03      -0.18        2.78      2.35   -3.38%    -0.46%     0.01     -0.51     61.41%
9/29/15    3,203,000   75.41    -0.35%     0.13%     -0.06%    -0.77%      0.35%    0.00      0.03      -0.19        2.93      2.46   -1.43%     1.08%     0.01      1.18     23.93%
9/30/15    1,841,000   76.48     1.42%     1.91%     -0.32%     0.26%     -0.07%    0.00      0.04      -0.19        2.80      2.36    0.66%     0.76%     0.01      0.83     41.01%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

 [1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date       Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 10/1/15    1,111,000   76.30    -0.23%     0.20%     -0.83%    -0.22%      0.11%    0.00      0.06      -0.20        2.83      2.39   -0.23%    -0.01%     0.01     -0.01     99.39%
 10/2/15    1,261,000   75.04    -1.65%     1.44%     -0.84%    -0.55%      0.48%    0.00      0.06      -0.20        2.82      2.39   -0.18%    -1.46%     0.01     -1.59     11.54%
 10/5/15    2,011,000   78.48     4.57%     1.83%      1.40%     1.00%     -1.09%    0.00      0.03      -0.17        2.92      2.46    0.01%     4.57%     0.01      4.94      0.00% **
 10/6/15      178,000   79.35     1.11%    -0.36%      0.09%    -0.08%      0.44%    0.00      0.07      -0.02        2.95      2.46    0.80%     0.31%     0.01      0.30     76.12%
 10/7/15      775,000   81.26     2.41%     0.84%      0.33%     0.92%     -0.36%    0.00      0.06      -0.03        3.08      2.56    1.96%     0.45%     0.01      0.45     65.28%
 10/8/15    7,908,000   81.47     0.25%     0.88%      0.30%     0.55%     -0.65%    0.00      0.06      -0.02        3.12      2.59    0.11%     0.14%     0.01      0.14     88.85%
 10/9/15    8,056,000   82.53     1.30%     0.08%     -0.57%    -0.08%      0.34%    0.00      0.07      -0.01        3.11      2.57    0.63%     0.67%     0.01      0.67     50.34%
10/13/15    3,780,000   82.40    -0.16%    -0.55%      0.73%    -0.57%      0.65%    0.00      0.07      -0.02        3.13      2.60   -0.14%    -0.02%     0.01     -0.02     98.19%
10/14/15    3,370,000   82.60     0.25%    -0.47%      0.02%    -0.96%      0.99%    0.00      0.07       0.00        3.16      2.60   -0.45%     0.70%     0.01      0.71     48.12%
10/15/15    2,781,000   81.69    -1.10%     1.49%      0.23%     0.33%     -0.46%    0.00      0.07       0.04        3.16      2.61    0.00%    -1.10%     0.01     -1.12     26.71%
10/16/15    6,884,000   82.03     0.42%     0.46%      0.23%     0.51%     -0.26%    0.00      0.05       0.03        3.19      2.63    1.01%    -0.58%     0.01     -0.59     55.79%
10/19/15      192,000   82.70     0.81%     0.03%     -0.27%     0.07%      0.02%    0.00      0.06       0.02        3.12      2.58    0.28%     0.53%     0.01      0.53     59.76%
10/20/15      535,000   82.87     0.21%    -0.14%      0.93%     0.68%     -0.61%    0.00      0.05       0.07        3.14      2.57    0.64%    -0.43%     0.01     -0.44     66.32%
10/21/15    2,362,000   85.27     2.90%    -0.57%     -0.27%    -0.46%      0.87%    0.00      0.06       0.05        3.17      2.61    0.79%     2.11%     0.01      2.15      3.38% *
10/22/15    1,159,000   86.10     0.97%     1.67%      0.58%     0.14%     -0.01%    0.00      0.05       0.03        3.33      2.77    0.60%     0.37%     0.01      0.37     71.58%
10/23/15    6,827,000   86.64     0.63%     1.10%     -0.73%     0.95%     -0.75%    0.00      0.05       0.04        3.34      2.78    1.17%    -0.54%     0.01     -0.54     59.21%
10/26/15    1,531,000   86.83     0.22%    -0.19%      0.17%    -0.29%      0.51%    0.00      0.05       0.05        3.31      2.75    0.50%    -0.28%     0.01     -0.28     77.78%
10/27/15      286,000   87.32     0.57%    -0.26%     -0.78%    -0.11%      0.17%    0.00      0.06       0.07        3.29      2.73    0.09%     0.48%     0.01      0.48     63.15%
10/28/15      668,000   87.65     0.37%     1.19%      0.19%     0.11%     -0.33%    0.00      0.06       0.06        3.29      2.74   -0.42%     0.79%     0.01      0.79     42.85%
10/29/15      339,000   87.06    -0.67%    -0.03%      0.03%     1.14%     -1.35%    0.00      0.07       0.06        3.26      2.71    0.10%    -0.78%     0.01     -0.78     43.62%
10/30/15      328,000   87.79     0.85%    -0.48%      0.78%    -0.62%      0.66%    0.00      0.07       0.06        3.25      2.72   -0.16%     1.01%     0.01      1.01     31.32%
 11/2/15      922,000   86.61    -1.35%     1.19%     -0.59%     0.53%     -0.35%    0.00      0.07       0.08        3.26      2.73    0.86%    -2.20%     0.01     -2.20      2.99% *
 11/3/15      805,000   86.41    -0.23%     0.27%     -0.61%     1.03%     -0.83%    0.00      0.05       0.12        3.23      2.71    1.05%    -1.28%     0.01     -1.26     21.05%
 11/4/15    1,059,000   85.52    -1.03%    -0.32%     -0.32%     0.26%      0.02%    0.00      0.06       0.14        3.12      2.63    0.79%    -1.82%     0.01     -1.77      7.92%
 11/5/15      608,000   85.69     0.20%    -0.09%     -0.13%    -0.12%     -0.25%    0.00      0.08       0.15        2.99      2.53   -1.04%     1.24%     0.01      1.20     23.40%
 11/6/15       30,000   83.13    -2.99%    -0.02%     -0.65%     0.97%     -1.43%    0.00      0.08       0.15        3.07      2.62   -0.87%    -2.12%     0.01     -2.04      4.35% *
 11/9/15      795,000   83.26     0.15%    -0.96%     -0.25%     0.06%     -0.35%    0.00      0.10       0.17        3.17      2.77   -0.93%     1.08%     0.01      1.03     30.60%
11/10/15    2,329,000   83.49     0.28%     0.18%     -0.40%    -0.31%     -0.06%    0.00      0.08       0.14        3.17      2.74   -1.17%     1.45%     0.01      1.39     16.87%
11/12/15    1,470,000   81.40    -2.50%    -1.70%      0.67%    -0.68%      0.38%    0.00      0.09       0.13        3.05      2.65   -1.15%    -1.35%     0.01     -1.28     20.31%
11/13/15    2,311,000   80.46    -1.16%    -1.12%     -0.46%    -0.63%      0.49%    0.00      0.11       0.10        3.12      2.71   -0.80%    -0.36%     0.01     -0.34     73.64%
11/16/15      458,000   79.57    -1.11%     1.51%      1.05%     0.09%     -0.15%    0.00      0.11       0.12        3.12      2.70    0.16%    -1.27%     0.01     -1.20     23.36%
11/17/15    2,561,000   81.35     2.25%    -0.11%      0.47%    -0.12%      0.17%    0.00      0.09       0.10        3.23      2.82    0.13%     2.12%     0.01      2.02      4.63% *
11/18/15    2,220,000   81.49     0.16%     1.62%     -0.30%    -0.23%      0.21%    0.00      0.09       0.13        3.28      2.88   -0.01%     0.17%     0.01      0.16     87.44%
11/19/15    5,255,000   81.12    -0.46%    -0.11%      0.59%    -0.47%      0.51%    0.00      0.10       0.13        3.26      2.86    0.03%    -0.49%     0.01     -0.46     64.84%
11/20/15      151,000   80.96    -0.19%     0.40%     -0.56%    -0.11%     -0.18%    0.00      0.09       0.12        3.26      2.86   -0.88%     0.70%     0.01      0.65     51.61%
11/23/15      509,000   79.98    -1.21%    -0.12%     -0.59%    -0.65%      0.49%    0.00      0.10       0.14        3.28      2.90   -0.80%    -0.42%     0.01     -0.39     69.38%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

 [1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date       Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
11/24/15      601,000   79.90    -0.10%     0.12%      0.03%    -0.02%     -0.15%    0.00      0.09       0.15        3.30      2.91   -0.49%     0.39%     0.01      0.37     71.48%
11/25/15      292,000   79.81    -0.11%     0.00%     -0.17%    -0.37%      0.20%    0.00      0.09       0.18        3.28      2.86   -0.65%     0.54%     0.01      0.51     60.88%
11/27/15       53,000   79.41    -0.51%     0.08%      0.46%     0.13%     -0.10%    0.00      0.09       0.18        3.27      2.85    0.26%    -0.77%     0.01     -0.73     46.43%
11/30/15    2,267,000   79.80     0.49%    -0.46%      0.69%    -0.25%      0.43%    0.00      0.09       0.22        3.33      2.91    0.53%    -0.03%     0.01     -0.03     97.61%
 12/1/15    2,907,000   80.13     0.42%     1.08%     -0.28%    -0.90%      1.22%    0.00      0.08       0.24        3.33      2.91    0.60%    -0.18%     0.01     -0.17     86.29%
 12/2/15    1,072,000   80.27     0.18%    -1.08%     -0.29%     0.16%     -0.11%    0.00      0.08       0.24        3.37      2.95    0.06%     0.12%     0.01      0.11     91.00%
 12/3/15    1,075,000   79.23    -1.30%    -1.43%     -0.09%     1.72%     -2.34%    0.00      0.08       0.25        3.38      2.96   -1.23%    -0.07%     0.01     -0.07     94.80%
 12/4/15    1,400,000   78.43    -1.01%     2.05%      1.31%    -0.86%      0.74%    0.00      0.09       0.26        3.42      3.03   -0.18%    -0.83%     0.01     -0.80     42.64%
 12/7/15      885,000   78.06    -0.47%    -0.69%      1.00%    -1.18%      0.85%    0.00      0.08       0.25        3.44      3.04   -1.29%     0.82%     0.01      0.79     43.02%
 12/8/15   27,955,000   76.09    -2.52%    -0.64%     -0.42%    -0.92%      0.13%    0.00      0.08       0.26        3.37      2.99   -2.89%     0.37%     0.01      0.36     72.27%
 12/9/15    1,199,000   76.02    -0.09%    -0.77%     -0.26%     0.30%     -0.26%    0.00      0.09       0.27        3.29      2.93    0.11%    -0.20%     0.01     -0.20     84.40%
12/10/15    3,880,000   75.71    -0.42%     0.24%     -0.02%    -0.05%      0.14%    0.00      0.09       0.27        3.29      2.92    0.26%    -0.68%     0.01     -0.66     51.32%
12/11/15   33,028,000   75.50    -0.27%    -1.93%     -0.13%    -1.95%      1.57%    0.00      0.09       0.27        3.28      2.91   -2.04%     1.77%     0.01      1.71      9.01%
12/14/15      971,000   74.33    -1.55%     0.48%      0.84%     0.23%     -1.18%    0.00      0.09       0.26        3.13      2.80   -2.34%     0.79%     0.01      0.75     45.22%
12/15/15    1,516,000   73.55    -1.06%     1.06%     -0.24%     0.79%     -0.59%    0.00      0.09       0.27        3.04      2.70    0.86%    -1.91%     0.01     -1.82      7.10%
12/16/15    6,156,000   75.82     3.09%     1.46%      1.04%     0.29%     -0.35%    0.00      0.09       0.24        2.97      2.67    0.29%     2.80%     0.01      2.65      0.93% **
12/17/15    1,313,000   76.51     0.92%    -1.49%      0.06%    -1.03%      1.23%    0.00      0.11       0.31        2.96      2.66    0.07%     0.85%     0.01      0.78     43.68%
12/18/15      254,000   76.94     0.57%    -1.78%     -0.07%    -0.56%      0.12%    0.00      0.09       0.37        3.03      2.71   -1.53%     2.09%     0.01      1.94      5.49%
12/21/15    1,993,000   76.17    -1.01%     0.79%      0.62%    -0.31%      0.14%    0.00      0.06       0.37        2.92      2.58   -0.21%    -0.79%     0.01     -0.73     46.87%
12/22/15    1,234,000   76.59     0.55%     0.89%      0.37%     0.73%     -0.84%    0.00      0.06       0.36        2.94      2.58    0.21%     0.34%     0.01      0.31     75.36%
12/23/15   12,936,000   76.26    -0.43%     1.25%      0.48%     0.74%     -0.53%    0.00      0.06       0.37        2.94      2.58    1.10%    -1.54%     0.01     -1.40     16.28%
12/24/15      105,000   78.07     2.37%    -0.16%     -0.27%    -0.16%      0.36%    0.00      0.05       0.35        2.89      2.53    0.39%     1.98%     0.01      1.80      7.40%
12/28/15      643,000   75.86    -2.83%    -0.22%      0.31%    -0.22%      0.37%    0.00      0.05       0.33        2.95      2.59    0.45%    -3.28%     0.01     -2.95      0.39% **
12/29/15    1,119,000   76.74     1.16%     1.08%      0.00%     1.48%     -1.53%    0.00      0.06       0.30        2.86      2.49    0.49%     0.67%     0.01      0.58     56.12%
12/30/15      534,000   75.90    -1.09%    -0.71%     -0.28%     0.07%      0.02%    0.00      0.06       0.30        2.87      2.49    0.17%    -1.26%     0.01     -1.09     27.65%
12/31/15      202,000   76.66     1.00%    -0.94%     -0.35%    -0.20%      0.29%    0.00      0.08       0.30        2.83      2.46   -0.01%     1.00%     0.01      0.87     38.85%
  1/4/16      915,000   75.98    -0.89%    -1.51%      0.45%    -0.68%      0.49%    0.00      0.08       0.33        2.87      2.54   -0.66%    -0.23%     0.01     -0.20     84.53%
  1/5/16    2,120,000   76.43     0.59%     0.20%      0.92%     0.28%     -0.20%    0.00      0.08       0.34        2.86      2.52    0.63%    -0.04%     0.01     -0.03     97.25%
  1/6/16    2,378,000   76.66     0.30%    -1.28%      0.36%    -0.88%      1.03%    0.00      0.08       0.33        2.87      2.52    0.12%     0.18%     0.01      0.16     87.50%
  1/7/16    2,931,000   76.11    -0.71%    -2.37%      0.34%    -0.47%      0.19%    0.00      0.08       0.33        2.88      2.53   -0.94%     0.22%     0.01      0.19     84.62%
  1/8/16    1,117,000   76.68     0.74%    -1.08%      0.29%    -0.31%      0.32%    0.00      0.08       0.34        2.87      2.52   -0.05%     0.79%     0.01      0.68     49.56%
 1/11/16    6,410,000   76.05    -0.82%     0.09%      0.75%     0.75%     -0.89%    0.00      0.07       0.34        2.88      2.53    0.19%    -1.00%     0.01     -0.87     38.64%
 1/12/16   11,456,000   76.29     0.31%     0.78%     -0.83%    -1.30%      1.46%    0.00      0.07       0.34        2.89      2.54   -0.27%     0.59%     0.01      0.51     61.20%
 1/13/16    2,295,000   76.11    -0.24%    -2.49%      0.48%    -0.19%      0.01%    0.00      0.08       0.34        2.88      2.54   -0.51%     0.27%     0.01      0.24     81.28%
 1/14/16    3,182,000   75.70    -0.54%     1.67%      0.58%    -0.75%     -0.07%    0.00      0.07       0.37        2.89      2.55   -1.98%     1.45%     0.01      1.26     20.93%
 1/15/16      970,000   74.55    -1.52%    -2.16%      0.40%    -1.37%      1.10%    0.00      0.10       0.36        2.70      2.40   -1.10%    -0.42%     0.01     -0.37     71.56%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
1/19/16    2,593,000   74.20    -0.47%     0.05%      1.20%     0.15%     -0.25%    0.00      0.10       0.35        2.70      2.38    0.27%    -0.75%     0.01     -0.65     51.74%
1/20/16      720,000   73.96    -0.32%    -1.15%     -0.73%    -1.66%      1.18%    0.00      0.09       0.37        2.74      2.42   -2.04%     1.72%     0.01      1.51     13.37%
1/21/16   10,882,000   74.15     0.26%     0.52%      2.02%     0.82%     -0.91%    0.00      0.09       0.33        2.62      2.33    0.79%    -0.53%     0.01     -0.46     64.41%
1/22/16      773,000   74.98     1.11%     2.03%      0.96%     0.72%     -0.21%    0.00      0.10       0.30        2.61      2.33    1.90%    -0.79%     0.01     -0.69     49.18%
1/25/16      425,000   74.94    -0.06%    -1.56%      0.76%    -0.88%      0.69%    0.00      0.09       0.28        2.54      2.27   -0.58%     0.52%     0.01      0.45     65.24%
1/26/16      254,000   73.34    -2.12%     1.41%      0.94%    -0.26%      0.06%    0.00      0.09       0.28        2.52      2.25   -0.09%    -2.03%     0.01     -1.77      8.02%
1/27/16   11,440,000   75.50     2.94%    -1.08%      1.56%     0.19%     -0.21%    0.00      0.06       0.25        2.60      2.32    0.34%     2.60%     0.01      2.24      2.70% *
1/28/16      448,000   75.62     0.16%     0.56%     -0.33%    -0.05%      0.23%    0.00      0.03       0.36        2.70      2.39    0.36%    -0.21%     0.01     -0.17     86.15%
1/29/16      403,000   75.52    -0.13%     2.48%      0.11%    -0.21%      0.70%    0.00      0.03       0.36        2.69      2.38    1.26%    -1.39%     0.01     -1.18     24.15%
 2/1/16      377,000   77.30     2.35%    -0.04%      0.92%     0.22%     -0.24%    0.00      0.01       0.38        2.65      2.32    0.37%     1.97%     0.01      1.66      9.88%
 2/2/16    3,148,000   75.87    -1.85%    -1.87%      0.19%    -1.97%      1.73%    0.00      0.00       0.41        2.67      2.34   -1.11%    -0.74%     0.01     -0.62     53.85%
 2/3/16      676,000   75.92     0.07%     0.53%      1.25%     0.65%     -0.97%    0.00      0.01       0.40        2.69      2.38   -0.01%     0.08%     0.01      0.07     94.73%
 2/4/16      751,000   76.87     1.25%     0.17%     -0.28%    -0.53%      0.70%    0.00      0.02       0.41        2.66      2.33    0.16%     1.09%     0.01      0.93     35.68%
 2/5/16      256,000   76.86    -0.01%    -1.84%      1.98%     0.00%      0.14%    0.00      0.02       0.41        2.67      2.36    1.15%    -1.16%     0.01     -0.98     32.83%
 2/8/16      610,000   76.31    -0.72%    -1.41%      0.66%    -2.10%      1.47%    0.00      0.04       0.35        2.62      2.32   -1.87%     1.15%     0.01      0.96     33.67%
 2/9/16      963,000   74.29    -2.64%    -0.05%     -1.02%    -0.94%      0.42%    0.00      0.04       0.38        2.53      2.27   -1.77%    -0.87%     0.01     -0.73     46.71%
2/10/16      588,000   75.54     1.68%     0.02%     -0.40%    -0.73%      1.05%    0.00      0.04       0.40        2.58      2.30    0.41%     1.27%     0.01      1.06     28.93%
2/11/16    2,315,000   74.36    -1.56%    -1.21%      0.06%    -0.83%      0.07%    0.00      0.04       0.39        2.62      2.36   -1.99%     0.43%     0.01      0.36     72.06%
2/12/16      961,000   74.30    -0.08%     1.96%     -0.22%     1.30%     -1.31%    0.00      0.04       0.39        2.64      2.39    0.34%    -0.42%     0.01     -0.35     72.62%
2/16/16    1,673,000   76.03     2.33%     1.69%     -0.67%     0.99%     -0.57%    0.00      0.04       0.40        2.64      2.40    1.10%     1.23%     0.01      1.03     30.72%
2/17/16   11,095,000   76.49     0.60%     1.66%     -0.91%     0.88%     -0.82%    0.00      0.06       0.38        2.70      2.43    0.17%     0.43%     0.01      0.36     71.90%
2/18/16    7,116,000   77.38     1.17%    -0.46%      1.32%    -0.49%      1.27%    0.00      0.04       0.38        2.73      2.45    2.32%    -1.15%     0.01     -0.97     33.62%
2/19/16    5,535,000   77.36    -0.02%     0.01%     -0.68%    -0.25%      0.04%    0.00     -0.01       0.33        2.61      2.28   -0.71%     0.69%     0.01      0.58     56.16%
2/22/16    2,527,000   78.08     0.93%     1.45%     -0.28%     0.23%     -0.02%    0.00      0.05       0.42        2.54      2.32    0.53%     0.40%     0.01      0.35     72.46%
2/23/16    6,095,000   78.30     0.28%    -1.24%      0.41%    -0.28%      0.38%    0.00      0.05       0.42        2.54      2.32    0.30%    -0.02%     0.01     -0.02     98.44%
2/24/16    1,263,000   78.24    -0.08%     0.45%      0.48%     0.06%     -0.39%    0.00      0.04       0.41        2.55      2.31   -0.51%     0.42%     0.01      0.37     71.12%
2/25/16      880,000   79.40     1.48%     1.16%     -0.16%     0.15%      0.19%    0.00      0.04       0.40        2.55      2.31    0.85%     0.64%     0.01      0.56     57.49%
2/26/16    2,138,000   81.44     2.57%    -0.18%     -0.17%     1.17%     -0.81%    0.00      0.05       0.40        2.55      2.32    1.06%     1.51%     0.01      1.33     18.49%
2/29/16      443,000   81.37    -0.09%    -0.80%      0.05%     0.21%      0.27%    0.00      0.02       0.38        2.64      2.37    1.28%    -1.36%     0.01     -1.19     23.57%
 3/1/16    2,465,000   83.27     2.33%     2.39%     -0.28%     3.00%     -1.46%    0.00      0.04       0.38        2.56      2.30    4.35%    -2.02%     0.01     -1.76      8.19%
 3/2/16      490,000   83.04    -0.28%     0.43%      0.81%     0.04%      0.27%    0.00      0.04       0.36        2.26      2.05    0.97%    -1.25%     0.01     -1.09     27.62%
 3/3/16   11,227,000   83.83     0.95%     0.36%      0.01%     0.30%      0.41%    0.00      0.02       0.32        2.28      2.06    1.58%    -0.63%     0.01     -0.55     58.22%
 3/4/16    5,907,000   84.45     0.75%     0.33%     -0.41%     1.76%     -0.68%    0.00      0.02       0.32        2.24      2.03    2.46%    -1.71%     0.01     -1.50     13.56%
 3/7/16    1,284,000   84.41    -0.04%     0.10%      0.63%     0.65%     -0.12%    0.00      0.06       0.34        2.06      1.89    1.30%    -1.35%     0.01     -1.18     24.10%
 3/8/16      519,000   83.95    -0.54%    -1.11%      0.81%    -0.95%      1.14%    0.00      0.07       0.32        2.00      1.84    0.36%    -0.90%     0.01     -0.78     43.52%
 3/9/16    1,200,000   87.16     3.82%     0.52%     -0.64%     0.23%     -0.51%    0.00      0.07       0.30        1.98      1.81   -0.66%     4.48%     0.01      3.89      0.02% **




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
3/10/16      635,000   84.78    -2.73%     0.02%      0.42%     1.05%     -0.58%    0.00      0.08       0.23        1.89      1.68    1.11%    -3.84%     0.01     -3.15      0.21% **
3/11/16    2,695,000   85.48     0.82%     1.67%     -0.76%     1.80%     -0.97%    0.00      0.11       0.21        1.73      1.56    1.61%    -0.79%     0.01     -0.62     53.75%
3/14/16      809,000   84.96    -0.61%    -0.12%      0.02%     0.21%      0.38%    0.00      0.12       0.18        1.64      1.48    0.91%    -1.52%     0.01     -1.21     22.96%
3/15/16      996,000   85.18     0.26%    -0.18%      0.38%     0.08%     -0.02%    0.00      0.13       0.18        1.58      1.43    0.13%     0.13%     0.01      0.10     91.70%
3/16/16    1,931,000   83.23    -2.29%     0.57%      0.53%    -0.31%      0.32%    0.00      0.13       0.18        1.58      1.43    0.13%    -2.42%     0.01     -1.91      5.83%
3/17/16    2,225,000   83.10    -0.15%     0.66%      0.39%     0.46%      0.56%    0.00      0.12       0.16        1.60      1.43    1.66%    -1.81%     0.01     -1.40     16.30%
3/18/16    1,291,000   83.47     0.44%     0.44%     -1.30%     0.97%      0.08%    0.00      0.12       0.14        1.49      1.31    1.39%    -0.94%     0.01     -0.73     46.78%
3/21/16    5,814,000   83.34    -0.15%     0.10%      0.53%     0.73%     -0.78%    0.00      0.12       0.17        1.44      1.26    0.13%    -0.28%     0.01     -0.22     82.77%
3/22/16    1,721,000   83.01    -0.40%    -0.07%     -0.49%     0.13%     -0.06%    0.00      0.13       0.16        1.40      1.25    0.00%    -0.39%     0.01     -0.31     75.73%
3/23/16      588,000   83.35     0.41%    -0.64%      0.00%    -0.98%      1.01%    0.00      0.13       0.17        1.37      1.22   -0.21%     0.62%     0.01      0.49     62.59%
3/24/16      126,000   83.49     0.16%    -0.04%      1.06%    -0.31%     -0.30%    0.00      0.11       0.17        1.27      1.15   -0.56%     0.72%     0.01      0.57     56.90%
3/28/16    1,214,000   82.15    -1.61%     0.06%      0.10%    -0.17%      0.28%    0.00      0.11       0.18        1.25      1.13    0.14%    -1.75%     0.01     -1.39     16.70%
3/29/16    3,214,000   83.40     1.53%     0.90%      0.58%    -1.24%      0.91%    0.00      0.09       0.19        1.25      1.11   -0.35%     1.88%     0.01      1.49     14.02%
3/30/16   16,539,000   82.63    -0.93%     0.45%     -0.32%     1.20%     -0.85%    0.00      0.12       0.21        1.19      1.10    0.48%    -1.41%     0.01     -1.10     27.19%
3/31/16    2,538,000   82.84     0.25%    -0.20%     -0.06%    -0.36%      0.70%    0.00      0.15       0.19        1.12      1.08    0.32%    -0.07%     0.01     -0.05     95.68%
 4/1/16      162,000   84.14     1.57%     0.63%     -0.61%    -0.21%      0.18%    0.00      0.10       0.07        1.17      1.17   -0.03%     1.59%     0.01      1.32     19.08%
 4/4/16      531,000   83.79    -0.42%    -0.30%      0.90%     0.08%      0.09%    0.00      0.11       0.04        1.13      1.14    0.20%    -0.62%     0.01     -0.51     61.43%
 4/5/16      366,000   83.07    -0.86%    -1.01%      0.05%    -1.01%      0.88%    0.00      0.11       0.02        1.07      1.09   -0.23%    -0.63%     0.01     -0.52     60.57%
 4/6/16      296,000   82.58    -0.59%     1.09%     -0.74%     0.92%     -0.64%    0.00      0.11       0.02        1.07      1.10    0.37%    -0.96%     0.01     -0.80     42.78%
 4/7/16      376,000   83.18     0.73%    -1.19%     -0.61%    -1.02%      1.11%    0.00      0.11       0.06        1.06      1.08   -0.09%     0.81%     0.01      0.67     50.20%
 4/8/16      107,000   83.92     0.89%     0.28%     -0.11%     0.74%     -0.57%    0.00      0.10       0.04        1.06      1.10    0.14%     0.75%     0.01      0.62     53.85%
4/11/16      324,000   83.08    -0.99%    -0.27%     -0.44%     0.55%     -0.21%    0.00      0.10       0.04        1.07      1.09    0.28%    -1.28%     0.01     -1.05     29.49%
4/12/16      396,000   83.51     0.51%     0.97%      0.09%     0.86%     -0.57%    0.00      0.13       0.06        1.02      1.05    0.37%     0.14%     0.01      0.11     91.16%
4/13/16    1,292,000   84.73     1.47%     1.02%     -1.70%     0.80%      0.26%    0.00      0.13       0.06        1.02      1.05    1.09%     0.37%     0.01      0.31     75.90%
4/14/16      205,000   83.64    -1.29%     0.03%      0.27%     0.72%     -0.35%    0.00      0.13       0.05        1.04      1.07    0.35%    -1.64%     0.01     -1.36     17.78%
4/15/16      290,000   84.22     0.69%    -0.10%      0.20%    -0.15%      0.63%    0.00      0.14       0.04        1.00      1.05    0.46%     0.23%     0.01      0.19     84.81%
4/18/16    1,588,000   83.46    -0.90%     0.66%      0.13%     0.21%     -0.39%    0.00      0.15       0.06        0.95      0.98   -0.15%    -0.75%     0.01     -0.63     53.00%
4/19/16      665,000   84.06     0.72%     0.31%      0.53%     1.10%     -0.16%    0.00      0.13       0.05        0.97      0.99    0.89%    -0.17%     0.01     -0.15     88.43%
4/20/16    1,047,000   84.36     0.35%     0.08%     -0.59%     1.70%     -0.99%    0.00      0.13       0.06        0.96      0.99    0.55%    -0.20%     0.01     -0.17     86.88%
4/21/16    7,537,000   84.70     0.40%    -0.52%     -2.27%     0.93%     -0.49%    0.00      0.13       0.06        0.95      0.98    0.11%     0.29%     0.01      0.24     80.91%
4/22/16    1,653,000   86.15     1.71%     0.01%      0.81%     0.37%     -0.35%    0.00      0.13       0.06        0.96      0.99   -0.04%     1.75%     0.01      1.46     14.67%
4/25/16      487,000   85.94    -0.24%    -0.18%      0.45%     0.30%     -0.39%    0.00      0.12       0.08        0.98      0.99   -0.16%    -0.08%     0.01     -0.07     94.67%
4/26/16      863,000   85.94    -0.01%     0.19%     -0.47%     0.44%     -0.34%    0.00      0.12       0.08        0.97      0.98    0.00%    -0.01%     0.01     -0.01     99.56%
4/27/16      645,000   86.78     0.98%     0.17%      1.81%    -0.51%      0.90%    0.00      0.12       0.07        0.97      0.96    0.44%     0.54%     0.01      0.45     65.14%
4/28/16      310,000   87.16     0.44%    -0.92%     -0.07%     0.10%      0.34%    0.00      0.14       0.07        0.97      0.98    0.22%     0.22%     0.01      0.18     85.71%
4/29/16      816,000   86.82    -0.39%    -0.51%      0.40%    -0.06%      0.14%    0.00      0.14       0.06        0.98      0.98   -0.02%    -0.37%     0.01     -0.31     75.90%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 5/2/16      451,000   87.66     0.97%     0.78%      0.19%     0.81%     -0.79%    0.00      0.13       0.05        0.99      0.99    0.08%     0.89%     0.01      0.75     45.65%
 5/3/16    1,641,000   86.37    -1.47%    -0.87%     -0.29%    -1.53%      1.19%    0.00      0.13       0.06        0.98      0.97   -0.53%    -0.94%     0.01     -0.79     42.88%
 5/4/16      876,000   86.48     0.12%    -0.57%      0.50%    -0.79%      0.48%    0.00      0.12       0.02        0.93      0.82   -0.42%     0.54%     0.01      0.47     64.15%
 5/5/16    1,542,000   84.77    -1.98%     0.00%     -0.26%    -0.74%      0.51%    0.00      0.13       0.03        0.92      0.83   -0.28%    -1.70%     0.01     -1.46     14.83%
 5/6/16    1,298,000   84.69    -0.08%     0.33%      0.40%    -0.15%     -0.30%    0.00      0.12       0.04        0.94      0.85   -0.37%     0.29%     0.01      0.25     80.67%
 5/9/16      755,000   83.43    -1.49%     0.08%     -0.26%    -0.59%      0.36%    0.00      0.10       0.05        0.92      0.82   -0.25%    -1.23%     0.01     -1.07     28.69%
5/10/16    4,640,000   83.99     0.66%     1.25%      0.30%     0.30%     -0.13%    0.00      0.09       0.05        0.94      0.83    0.29%     0.37%     0.01      0.32     74.84%
5/11/16   11,543,000   83.51    -0.56%    -0.90%      0.11%    -0.13%      0.49%    0.00      0.11       0.08        0.92      0.82    0.19%    -0.75%     0.01     -0.65     51.49%
5/12/16    1,694,000   83.19    -0.39%    -0.01%      0.74%     0.36%     -0.33%    0.00      0.12       0.06        0.90      0.80    0.08%    -0.47%     0.01     -0.42     67.70%
5/13/16      416,000   83.11    -0.10%    -0.84%     -0.45%    -0.82%      0.73%    0.00      0.12       0.06        0.90      0.80   -0.31%     0.21%     0.01      0.19     85.33%
5/16/16      767,000   83.20     0.11%     0.99%     -0.20%     0.81%     -0.78%    0.00      0.12       0.06        0.90      0.81    0.19%    -0.08%     0.01     -0.07     94.52%
5/17/16      418,000   84.80     1.93%    -0.91%      0.02%     0.39%     -0.01%    0.00      0.12       0.06        0.91      0.81    0.22%     1.71%     0.01      1.51     13.37%
5/18/16      722,000   84.12    -0.81%     0.04%     -1.31%     0.85%     -1.10%    0.00      0.10       0.04        0.93      0.83   -0.18%    -0.63%     0.01     -0.55     58.07%
5/19/16    7,798,000   82.55    -1.87%    -0.37%     -0.45%    -0.70%      0.29%    0.00      0.10       0.06        0.94      0.86   -0.49%    -1.38%     0.01     -1.21     22.94%
5/20/16      537,000   82.81     0.32%     0.62%     -0.28%    -0.01%      0.18%    0.00      0.10       0.08        0.99      0.89    0.16%     0.16%     0.01      0.14     89.28%
5/23/16    2,665,000   82.31    -0.61%    -0.20%     -0.52%    -0.10%      0.10%    0.00      0.10       0.08        0.99      0.89   -0.10%    -0.51%     0.01     -0.45     65.70%
5/24/16   15,341,000   82.41     0.12%     1.37%     -0.14%     0.42%     -0.36%    0.00      0.10       0.09        0.99      0.89    0.19%    -0.07%     0.01     -0.06     95.27%
5/25/16      536,000   82.53     0.15%     0.70%     -0.06%     0.46%     -0.33%    0.00      0.10       0.09        0.99      0.89    0.20%    -0.04%     0.01     -0.04     97.03%
5/26/16      202,000   84.40     2.26%    -0.01%      0.62%    -0.11%      0.37%    0.00      0.10       0.09        0.98      0.89    0.25%     2.02%     0.01      1.75      8.22%
5/27/16      527,000   82.64    -2.08%     0.45%      0.33%     0.07%     -0.09%    0.00      0.08       0.10        0.99      0.85    0.06%    -2.14%     0.01     -1.84      6.83%
5/31/16    2,918,000   82.46    -0.22%    -0.09%      0.56%     0.05%      0.09%    0.00      0.11       0.12        0.98      0.89    0.16%    -0.38%     0.01     -0.33     74.42%
 6/1/16      230,000   82.11    -0.43%     0.13%     -1.10%    -0.83%      0.53%    0.00      0.11       0.12        0.98      0.88   -0.49%     0.06%     0.01      0.05     96.15%
 6/2/16      958,000   82.20     0.11%     0.29%      0.32%    -0.55%      0.64%    0.00      0.11       0.09        0.89      0.79    0.08%     0.03%     0.01      0.02     98.15%
 6/3/16    1,969,000   81.55    -0.79%    -0.29%      0.77%    -0.95%      1.24%    0.00      0.11       0.09        0.89      0.79    0.17%    -0.96%     0.01     -0.83     40.95%
 6/6/16      731,000   82.30     0.92%     0.49%     -0.32%     0.98%     -0.72%    0.00      0.10       0.08        0.88      0.75    0.34%     0.58%     0.01      0.50     62.03%
 6/7/16    1,465,000   81.82    -0.58%     0.13%      1.43%     0.19%      0.28%    0.00      0.10       0.08        0.89      0.75    0.50%    -1.08%     0.01     -0.92     35.70%
 6/8/16   11,734,000   82.60     0.95%     0.35%     -0.32%     0.00%      0.50%    0.00      0.10       0.06        0.79      0.62    0.34%     0.61%     0.01      0.52     60.07%
 6/9/16      638,000   82.90     0.36%    -0.17%      0.73%    -0.19%      0.35%    0.00      0.11       0.05        0.80      0.62    0.12%     0.24%     0.01      0.21     83.50%
6/10/16      295,000   82.28    -0.75%    -0.92%      1.46%    -0.66%      0.60%    0.00      0.06       0.00        0.85      0.67   -0.20%    -0.54%     0.01     -0.48     63.16%
6/13/16    4,285,000   81.67    -0.75%    -0.78%      0.20%    -0.52%      0.40%    0.00      0.08       0.00        0.84      0.63   -0.24%    -0.51%     0.01     -0.45     65.36%
6/14/16    4,934,000   81.58    -0.11%    -0.17%      0.72%    -0.55%      0.03%    0.00      0.10       0.01        0.87      0.68   -0.49%     0.38%     0.01      0.34     73.62%
6/15/16      821,000   82.01     0.54%    -0.18%     -0.10%    -0.25%      0.38%    0.00      0.12       0.02        0.84      0.66    0.01%     0.53%     0.01      0.47     63.91%
6/16/16    3,766,000   81.38    -0.77%     0.33%      0.64%    -0.13%      0.13%    0.00      0.12       0.01        0.84      0.67    0.02%    -0.79%     0.01     -0.71     48.16%
6/17/16      604,000   81.37    -0.01%    -0.33%      0.80%     0.43%     -0.34%    0.00      0.12       0.01        0.85      0.67    0.10%    -0.11%     0.01     -0.10     92.05%
6/20/16    2,634,000   83.64     2.79%     0.58%     -0.30%     1.73%     -1.23%    0.00      0.12       0.03        0.84      0.65    0.70%     2.09%     0.01      1.90      5.94%
6/21/16    5,897,000   84.19     0.65%     0.28%      0.50%     0.25%     -0.31%    0.00      0.11       0.03        0.89      0.66    0.08%     0.57%     0.01      0.53     59.97%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
6/22/16      709,000   84.74     0.66%    -0.16%      0.29%     0.14%      0.16%    0.00      0.11       0.03        0.90      0.68    0.23%     0.43%     0.01      0.39     69.47%
6/23/16      942,000   84.62    -0.15%     1.34%      0.43%     1.19%     -1.00%    0.00      0.09       0.02        0.90      0.68    0.55%    -0.69%     0.01     -0.64     52.10%
6/24/16    4,768,000   83.12    -1.78%    -3.59%      1.51%    -3.32%      2.64%    0.00      0.10       0.03        0.91      0.70   -1.48%    -0.30%     0.01     -0.28     78.03%
6/27/16    1,377,000   82.77    -0.42%    -1.81%      1.89%    -2.27%      2.21%    0.00      0.10       0.02        0.91      0.69   -0.66%     0.24%     0.01      0.22     82.38%
6/28/16    4,299,000   83.61     1.01%     1.80%     -0.99%     0.25%     -0.22%    0.00      0.10       0.02        0.91      0.70    0.24%     0.78%     0.01      0.73     46.91%
6/29/16      277,000   84.16     0.66%     1.72%     -0.17%     1.31%     -0.74%    0.00      0.12       0.01        0.89      0.68    0.87%    -0.20%     0.01     -0.19     84.94%
6/30/16    3,579,000   84.93     0.91%     1.36%      0.64%    -0.12%      0.49%    0.00      0.11       0.01        0.88      0.67    0.39%     0.52%     0.01      0.48     63.07%
 7/1/16      392,000   86.60     1.97%     0.21%      0.51%    -0.42%      0.93%    0.00      0.13       0.02        0.88      0.69    0.32%     1.65%     0.01      1.54     12.67%
 7/5/16    1,543,000   86.44    -0.19%    -0.68%      0.48%    -0.71%      1.11%    0.00      0.14       0.04        0.91      0.73    0.11%    -0.29%     0.01     -0.27     78.61%
 7/6/16      269,000   85.70    -0.86%     0.57%      0.14%    -0.27%      0.18%    0.00      0.13       0.04        0.91      0.71   -0.02%    -0.84%     0.01     -0.78     43.82%
 7/7/16      521,000   86.19     0.57%    -0.08%     -1.54%     0.25%      0.07%    0.00      0.13       0.04        0.92      0.72    0.21%     0.36%     0.01      0.33     74.17%
 7/8/16      750,000   86.75     0.65%     1.53%     -0.09%    -0.07%      0.50%    0.00      0.13       0.04        0.92      0.72    0.51%     0.15%     0.01      0.14     89.25%
7/11/16    2,098,000   87.97     1.40%     0.34%     -0.29%     1.24%     -0.73%    0.00      0.12       0.03        0.91      0.72    0.65%     0.75%     0.01      0.69     49.07%
7/12/16    5,650,000   89.06     1.24%     0.70%     -0.80%     1.93%     -1.32%    0.00      0.11       0.04        0.92      0.71    0.92%     0.32%     0.01      0.29     77.05%
7/13/16      288,000   89.12     0.08%     0.02%      0.76%    -0.41%      0.74%    0.00      0.11       0.05        0.95      0.72    0.21%    -0.13%     0.01     -0.12     90.26%
7/14/16    3,318,000   89.06    -0.08%     0.53%     -0.24%     1.44%     -1.29%    0.00      0.11       0.05        0.94      0.71    0.52%    -0.60%     0.01     -0.55     58.06%
7/15/16    7,301,000   89.97     1.03%    -0.09%      0.24%     0.18%     -0.19%    0.00      0.11       0.04        0.95      0.73    0.06%     0.97%     0.01      0.90     37.19%
7/18/16    8,549,000   89.13    -0.93%     0.24%     -0.14%     0.69%     -0.58%    0.00      0.11       0.04        0.94      0.71    0.28%    -1.21%     0.01     -1.11     26.75%
7/19/16    7,117,000   90.37     1.39%    -0.14%     -0.23%    -0.42%      0.45%    0.00      0.18       0.09        0.87      0.69   -0.07%     1.46%     0.01      1.36     17.53%
7/20/16    2,070,000   90.08    -0.32%     0.44%     -0.37%     0.75%     -0.57%    0.00      0.24      -0.01        0.85      0.76    0.33%    -0.65%     0.01     -0.62     53.39%
7/21/16      952,000   91.30     1.35%    -0.36%     -0.23%     0.08%      0.18%    0.00      0.24       0.00        0.85      0.77    0.13%     1.22%     0.01      1.18     24.23%
7/22/16      704,000   90.00    -1.42%     0.46%      1.08%     0.01%      0.14%    0.00      0.29      -0.01        0.86      0.83    0.26%    -1.68%     0.01     -1.61     11.00%
7/25/16    1,363,000   90.51     0.57%    -0.30%     -0.23%     0.13%     -0.12%    0.00      0.28      -0.08        0.89      0.89   -0.07%     0.64%     0.01      0.62     53.59%
7/26/16    1,486,000   90.68     0.19%     0.04%     -1.50%    -0.07%      0.03%    0.00      0.25      -0.10        0.87      0.89    0.13%     0.06%     0.01      0.06     95.36%
7/27/16      565,000   90.42    -0.29%    -0.12%      0.75%    -1.04%      1.21%    0.00      0.25      -0.11        0.88      0.91    0.08%    -0.37%     0.01     -0.36     71.98%
7/28/16    1,691,000   89.35    -1.18%     0.17%     -0.80%     0.26%     -0.31%    0.00      0.24      -0.10        0.89      0.88    0.07%    -1.26%     0.01     -1.23     21.99%
7/29/16    1,027,000   90.81     1.64%     0.16%      1.19%    -0.75%      0.76%    0.00      0.27      -0.10        0.90      0.92   -0.08%     1.72%     0.01      1.68      9.52%
 8/1/16      780,000   90.74    -0.08%    -0.13%     -0.83%     0.94%     -1.29%    0.00      0.29      -0.07        0.89      0.93   -0.38%     0.29%     0.01      0.28     77.73%
 8/2/16    2,703,000   91.32     0.64%    -0.63%     -0.15%     0.24%     -0.57%    0.00      0.30      -0.14        0.76      0.83   -0.45%     1.09%     0.01      1.07     28.59%
 8/3/16      883,000   90.40    -1.00%     0.34%     -0.29%    -0.17%      0.15%    0.00      0.27      -0.11        0.72      0.73    0.14%    -1.14%     0.01     -1.13     26.10%
 8/4/16    2,692,000   89.93    -0.52%     0.05%     -0.10%    -0.15%      0.70%    0.00      0.26      -0.10        0.74      0.74    0.45%    -0.96%     0.01     -0.95     34.30%
 8/5/16    8,337,000   90.36     0.47%     0.86%     -0.71%     1.20%     -1.09%    0.00      0.28      -0.10        0.72      0.71    0.43%     0.04%     0.01      0.04     96.73%
 8/8/16    5,075,000   90.75     0.43%    -0.08%     -0.21%     0.37%      0.03%    0.00      0.24      -0.09        0.72      0.70    0.31%     0.12%     0.01      0.12     90.35%
 8/9/16    1,335,000   90.88     0.14%     0.04%      0.23%    -0.39%      0.76%    0.00      0.24      -0.09        0.72      0.70    0.26%    -0.12%     0.01     -0.12     90.69%
8/10/16    1,246,000   91.23     0.39%    -0.25%      0.42%    -0.25%      0.51%    0.00      0.24      -0.10        0.68      0.63    0.07%     0.32%     0.01      0.32     75.31%
8/11/16    6,366,000   91.54     0.34%     0.49%     -0.07%     0.80%     -0.85%    0.00      0.24      -0.10        0.68      0.64    0.14%     0.20%     0.01      0.20     84.52%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
8/12/16    4,095,000   92.42     0.96%    -0.07%     -0.28%    -0.51%      0.69%    0.00      0.23      -0.10        0.68      0.63    0.12%     0.85%     0.01      0.84     40.01%
8/15/16    2,709,000   92.81     0.42%     0.29%     -0.53%     0.99%     -0.91%    0.00      0.25      -0.11        0.67      0.65    0.23%     0.19%     0.01      0.19     85.30%
8/16/16    7,377,000   93.10     0.31%    -0.53%     -1.68%     0.43%     -0.31%    0.00      0.25      -0.11        0.67      0.64    0.17%     0.14%     0.01      0.13     89.30%
8/17/16    4,725,000   92.83    -0.29%     0.21%      0.03%    -0.46%      0.59%    0.00      0.22      -0.11        0.68      0.63    0.12%    -0.41%     0.01     -0.41     68.60%
8/18/16   21,446,000   91.84    -1.07%     0.22%     -0.93%     0.15%      0.03%    0.00      0.27      -0.12        0.63      0.64    0.29%    -1.36%     0.01     -1.39     16.73%
8/19/16    2,091,000   92.47     0.69%    -0.13%     -0.75%     0.60%     -0.55%    0.00      0.26      -0.09        0.65      0.64    0.06%     0.62%     0.01      0.63     52.75%
8/22/16    5,335,000   92.29    -0.20%    -0.05%      0.01%    -0.55%      0.81%    0.00      0.24      -0.11        0.58      0.57    0.13%    -0.33%     0.01     -0.33     74.04%
8/23/16    1,716,000   92.38     0.11%     0.20%     -0.09%     0.06%      0.17%    0.00      0.24      -0.10        0.58      0.57    0.19%    -0.08%     0.01     -0.08     93.26%
8/24/16    5,558,000   91.70    -0.75%    -0.52%      0.33%     0.35%     -0.31%    0.00      0.24      -0.10        0.56      0.54   -0.13%    -0.62%     0.01     -0.63     53.10%
8/25/16      974,000   91.03    -0.72%    -0.13%      0.53%     0.31%     -0.34%    0.00      0.25      -0.11        0.56      0.55   -0.11%    -0.61%     0.01     -0.62     53.56%
8/26/16    3,833,000   91.10     0.07%    -0.16%     -0.95%     0.63%     -0.65%    0.00      0.25      -0.11        0.57      0.58    0.04%     0.04%     0.01      0.04     97.04%
8/29/16    1,593,000   91.76     0.73%     0.54%      0.46%    -0.86%      1.13%    0.00      0.25      -0.11        0.58      0.58    0.24%     0.49%     0.01      0.49     62.24%
8/30/16    3,428,000   91.97     0.23%    -0.18%     -0.18%     0.20%     -0.27%    0.00      0.21      -0.06        0.78      0.80   -0.15%     0.38%     0.01      0.42     67.87%
8/31/16    1,910,000   91.93    -0.05%    -0.22%      0.16%     0.00%      0.04%    0.00      0.16      -0.01        0.90      0.84   -0.05%     0.00%     0.01      0.00     99.65%
 9/1/16    1,641,000   91.59    -0.37%     0.00%      0.28%    -0.07%      0.04%    0.00      0.16      -0.01        0.91      0.85   -0.08%    -0.29%     0.01     -0.33     73.95%
 9/2/16    1,003,000   91.06    -0.57%     0.43%      0.03%     0.67%     -0.77%    0.00      0.15      -0.01        0.97      0.91   -0.04%    -0.54%     0.01     -0.62     53.51%
 9/6/16    4,718,000   91.82     0.83%     0.30%      0.69%    -0.69%      0.98%    0.00      0.15      -0.02        0.98      0.93    0.21%     0.62%     0.01      0.72     47.17%
 9/7/16    2,425,000   91.81    -0.01%     0.01%      0.25%     0.36%     -0.13%    0.00      0.21       0.00        0.93      0.93    0.19%    -0.20%     0.01     -0.24     81.40%
 9/8/16   13,508,000   91.66    -0.17%    -0.22%     -0.02%     0.98%     -1.24%    0.00      0.22       0.01        1.04      1.05   -0.37%     0.20%     0.01      0.24     81.28%
 9/9/16    3,676,000   90.76    -0.98%    -2.45%     -1.80%     1.10%     -1.48%    0.00      0.21       0.00        1.10      1.11   -0.98%     0.00%     0.01     -0.01     99.59%
9/12/16    8,499,000   90.33    -0.48%     1.47%      1.07%    -0.35%      0.16%    0.00      0.21       0.00        1.10      1.11    0.06%    -0.53%     0.01     -0.65     51.92%
9/13/16      807,000   89.35    -1.08%    -1.45%     -0.97%     0.88%     -1.13%    0.00      0.19      -0.01        1.13      1.13   -0.60%    -0.48%     0.01     -0.59     55.92%
9/14/16    5,141,000   89.56     0.24%    -0.05%     -0.06%    -0.28%      0.27%    0.00      0.21       0.00        1.14      1.15   -0.07%     0.31%     0.01      0.37     71.07%
9/15/16    2,772,000   88.32    -1.39%     1.03%      0.50%    -0.03%     -0.18%    0.00      0.20      -0.03        1.21      1.23   -0.13%    -1.26%     0.01     -1.53     12.76%
9/16/16    1,022,000   88.55     0.25%    -0.38%     -0.15%    -0.31%      0.20%    0.00      0.18      -0.04        1.27      1.30   -0.26%     0.52%     0.01      0.64     52.48%
9/19/16    1,286,000   88.97     0.48%     0.00%     -0.69%     0.27%     -0.20%    0.00      0.12      -0.03        1.40      1.38    0.04%     0.44%     0.01      0.55     58.04%
9/20/16      933,000   88.47    -0.57%     0.03%     -0.19%    -0.22%      0.34%    0.00      0.11      -0.03        1.44      1.40    0.09%    -0.66%     0.01     -0.84     40.32%
9/21/16    2,594,000   88.26    -0.23%     1.09%      0.57%    -0.64%      0.82%    0.00      0.11      -0.03        1.45      1.40    0.24%    -0.47%     0.01     -0.60     55.29%
9/22/16      909,000   89.26     1.13%     0.65%      0.68%     0.01%      0.58%    0.00      0.07       0.00        1.52      1.42    0.78%     0.35%     0.01      0.45     65.30%
9/23/16    1,618,000   88.98    -0.31%    -0.57%      0.79%     0.20%     -0.17%    0.00      0.06       0.01        1.54      1.45   -0.06%    -0.25%     0.01     -0.33     74.26%
9/26/16    3,522,000   89.39     0.46%    -0.85%      0.04%    -0.40%      0.44%    0.00      0.06       0.01        1.53      1.45   -0.12%     0.58%     0.01      0.75     45.28%
9/27/16    3,407,000   87.57    -2.04%     0.65%      0.27%    -0.64%      0.67%    0.00      0.07      -0.01        1.54      1.45   -0.06%    -1.98%     0.01     -2.58      1.10% *
9/28/16    3,135,000   88.23     0.76%     0.55%     -1.41%     0.21%     -0.17%    0.00      0.04       0.02        1.59      1.44   -0.04%     0.80%     0.01      1.03     30.69%
9/29/16    2,671,000   88.37     0.15%    -0.93%      0.43%     0.02%      0.22%    0.00      0.06       0.00        1.56      1.44    0.19%    -0.04%     0.01     -0.05     95.88%
9/30/16    2,213,000   88.03    -0.38%     0.80%     -0.83%     0.66%     -0.68%    0.00      0.04      -0.01        1.61      1.48    0.00%    -0.38%     0.01     -0.49     62.37%
10/3/16    1,016,000   88.68     0.74%    -0.31%      0.32%     0.47%     -0.36%    0.00      0.04      -0.01        1.62      1.49    0.11%     0.63%     0.01      0.81     41.94%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

 [1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date       Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 10/4/16    9,007,000   88.04    -0.73%    -0.49%     -1.31%     1.23%     -1.08%    0.00      0.03      -0.01        1.65      1.51    0.29%    -1.02%     0.01     -1.31     19.25%
 10/5/16    4,113,000   88.20     0.18%     0.47%     -1.01%     0.25%     -0.27%    0.00      0.03       0.03        1.70      1.55   -0.10%     0.28%     0.01      0.37     71.10%
 10/6/16    8,386,000   87.60    -0.68%     0.05%     -0.10%     0.67%     -0.56%    0.00      0.03       0.02        1.69      1.54    0.17%    -0.86%     0.01     -1.12     26.43%
 10/7/16    1,003,000   87.67     0.08%    -0.32%     -0.32%    -0.03%      0.07%    0.00      0.05       0.02        1.66      1.52   -0.07%     0.15%     0.01      0.19     84.65%
10/11/16    4,915,000   87.73     0.07%    -0.79%      0.80%     0.83%     -0.75%    0.00      0.03       0.03        1.76      1.61    0.15%    -0.08%     0.01     -0.10     92.03%
10/12/16      689,000   87.95     0.25%     0.12%      0.54%    -0.05%      0.06%    0.00      0.02       0.03        1.86      1.69   -0.07%     0.32%     0.01      0.42     67.30%
10/13/16      459,000   89.05     1.25%    -0.31%      0.24%    -0.44%      0.33%    0.00      0.01       0.02        1.89      1.72   -0.36%     1.61%     0.01      2.14      3.46% *
10/14/16    3,559,000   88.33    -0.81%     0.02%     -0.15%     1.16%     -1.23%    0.00      0.02      -0.02        1.85      1.72   -0.07%    -0.73%     0.01     -0.98     33.14%
10/17/16    1,955,000   88.22    -0.13%    -0.30%      0.40%    -0.31%      0.58%    0.00      0.02      -0.03        1.86      1.76    0.33%    -0.46%     0.01     -0.61     54.46%
10/18/16      521,000   88.91     0.79%     0.62%     -0.30%    -0.13%      0.30%    0.00      0.02      -0.03        1.85      1.74    0.21%     0.58%     0.01      0.76     44.62%
10/19/16    1,466,000   88.81    -0.11%     0.23%      0.02%     0.16%     -0.03%    0.00      0.03      -0.05        1.83      1.73    0.15%    -0.26%     0.01     -0.34     73.34%
10/20/16      834,000   89.07     0.29%    -0.13%     -1.94%     0.17%      0.01%    0.00      0.03      -0.06        1.84      1.74    0.34%    -0.05%     0.01     -0.06     94.89%
10/21/16      963,000   89.43     0.40%    -0.01%     -2.36%    -0.23%      0.32%    0.00      0.02      -0.05        1.85      1.74    0.16%     0.24%     0.01      0.32     75.22%
10/24/16    3,674,000   88.96    -0.52%     0.48%     -1.11%     0.70%     -0.51%    0.00      0.01      -0.07        1.87      1.79    0.37%    -0.89%     0.01     -1.18     23.87%
10/25/16    1,244,000   89.61     0.74%    -0.38%     -0.34%    -0.11%      0.30%    0.00      0.01      -0.07        1.81      1.75    0.24%     0.49%     0.01      0.65     51.54%
10/26/16      863,000   89.06    -0.61%    -0.17%     -0.45%     0.37%     -0.64%    0.00      0.00      -0.08        1.88      1.82   -0.54%    -0.08%     0.01     -0.10     92.02%
10/27/16   89,331,000   94.97     6.63%    -0.30%      1.55%     1.19%     -1.12%    0.00      0.00      -0.08        1.89      1.82   -0.03%     6.66%     0.01      8.92      0.00% **
10/28/16   36,426,000   95.06     0.09%    -0.31%     -0.01%     0.09%     -0.01%    0.00     -0.10       0.17        2.10      1.76    0.13%    -0.03%     0.01     -0.04     97.12%
10/31/16    9,815,000   91.81    -3.41%    -0.01%      0.45%    -0.74%      0.52%    0.00     -0.09       0.17        2.04      1.71   -0.61%    -2.80%     0.01     -2.97      0.36% **
 11/1/16    9,969,000   88.14    -4.00%    -0.68%     -0.41%    -0.31%     -0.01%    0.00     -0.10       0.16        2.05      1.72   -0.71%    -3.29%     0.01     -3.48      0.07% **
 11/2/16   16,187,000   86.84    -1.47%    -0.64%     -0.75%    -0.65%      0.22%    0.00     -0.12       0.18        2.34      2.00   -1.26%    -0.21%     0.01     -0.22     82.96%
 11/3/16   12,055,000   87.35     0.58%    -0.41%      0.47%     0.15%     -0.46%    0.00     -0.12       0.19        2.35      2.00   -0.52%     1.11%     0.01      1.12     26.37%
 11/4/16    3,591,000   88.30     1.09%    -0.16%      0.18%    -0.71%      0.62%    0.00     -0.12       0.22        2.30      1.92   -0.46%     1.56%     0.01      1.57     11.86%
 11/7/16    6,789,000   88.38     0.09%     2.22%     -0.62%     0.96%     -0.69%    0.00     -0.11       0.22        2.25      1.89    0.39%    -0.31%     0.01     -0.31     75.98%
 11/8/16    3,926,000   88.81     0.48%     0.43%      0.28%     0.24%     -0.26%    0.00     -0.09       0.22        2.16      1.81   -0.01%     0.50%     0.01      0.50     61.72%
 11/9/16    2,439,000   88.15    -0.75%     1.11%      0.16%     2.32%     -3.36%    0.00     -0.09       0.22        2.13      1.78   -1.17%     0.42%     0.01      0.43     67.14%
11/10/16   10,405,000   86.92    -1.39%     0.20%     -2.45%     1.03%     -1.53%    0.00     -0.07       0.22        2.00      1.65   -1.05%    -0.34%     0.01     -0.34     73.54%
11/14/16    3,663,000   84.97    -2.24%    -0.14%     -0.89%    -0.05%     -1.17%    0.00     -0.08       0.23        2.03      1.67   -2.31%     0.07%     0.01      0.07     94.40%
11/15/16   26,193,000   86.08     1.30%     0.77%      1.55%    -0.45%      0.66%    0.00     -0.08       0.22        2.01      1.66    0.43%     0.87%     0.01      0.87     38.49%
11/16/16      707,000   86.13     0.07%    -0.13%      1.20%    -0.32%      0.43%    0.00     -0.06       0.24        2.01      1.66    0.32%    -0.25%     0.01     -0.25     80.42%
11/17/16    3,814,000   85.09    -1.21%     0.47%     -0.06%     1.35%     -1.41%    0.00     -0.06       0.24        2.01      1.66    0.30%    -1.50%     0.01     -1.51     13.39%
11/18/16    4,848,000   84.56    -0.63%    -0.22%      0.66%    -0.16%     -0.25%    0.00     -0.06       0.21        1.96      1.65   -0.63%     0.00%     0.01      0.00     99.70%
11/21/16    1,037,000   84.39    -0.21%     0.75%      0.09%    -0.45%      0.49%    0.00     -0.04       0.22        1.92      1.62   -0.14%    -0.07%     0.01     -0.07     94.23%
11/22/16    2,608,000   84.71     0.39%     0.22%      2.02%     0.38%     -0.14%    0.00     -0.04       0.23        1.93      1.62    0.90%    -0.52%     0.01     -0.53     59.66%
11/23/16    5,041,000   85.53     0.97%     0.08%      0.86%     0.49%     -0.31%    0.00     -0.05       0.22        1.96      1.64    0.57%     0.40%     0.01      0.41     68.32%
11/25/16      181,000   84.13    -1.64%     0.39%      0.80%    -0.12%      0.14%    0.00     -0.05       0.23        1.97      1.65    0.11%    -1.75%     0.01     -1.80      7.43%




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                                                                                    Appendix L
                                                                             CenturyLink 7.6% Note Data

 [1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                      Coefficient
                                                     Excess    Credit    Treasury                                   Credit
                                          Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date       Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
11/28/16    1,416,000   85.26     1.35%    -0.51%      1.18%    -0.43%      0.47%    0.00     -0.07       0.22        2.01      1.70    0.16%     1.19%     0.01      1.21     22.82%
11/29/16    5,679,000   85.02    -0.28%     0.16%     -0.37%    -0.30%      0.26%    0.00     -0.08       0.23        2.01      1.69   -0.30%     0.02%     0.01      0.03     97.99%
11/30/16    1,182,000   85.69     0.79%    -0.24%     -1.92%     1.27%     -1.33%    0.00     -0.09       0.27        2.10      1.77   -0.23%     1.01%     0.01      1.04     29.93%
 12/1/16    1,873,000   85.10    -0.69%    -0.35%      0.51%     1.20%     -1.18%    0.00     -0.10       0.25        2.10      1.76    0.57%    -1.25%     0.01     -1.28     20.19%
 12/2/16    1,029,000   84.80    -0.36%     0.04%     -0.37%    -0.87%      0.80%    0.00     -0.08       0.23        2.06      1.76   -0.53%     0.17%     0.01      0.17     86.24%
 12/5/16    5,008,000   85.14     0.40%     0.59%     -0.38%     0.52%      0.02%    0.00     -0.09       0.24        2.06      1.75    0.91%    -0.51%     0.01     -0.52     60.37%
 12/6/16    3,266,000   84.92    -0.26%     0.34%      1.29%     0.40%     -0.16%    0.00     -0.10       0.25        2.02      1.72    0.80%    -1.06%     0.01     -1.08     28.08%
 12/7/16   10,683,000   85.16     0.28%     1.34%      1.50%     0.01%      0.70%    0.00     -0.10       0.22        2.06      1.76    1.39%    -1.11%     0.01     -1.13     26.00%
 12/8/16    7,693,000   85.87     0.84%     0.23%     -0.39%     1.43%     -1.25%    0.00     -0.12       0.20        2.00      1.70    0.57%     0.26%     0.01      0.26     79.16%
 12/9/16      580,000   86.63     0.89%     0.59%     -0.13%     0.84%     -0.79%    0.00     -0.11       0.21        2.00      1.69    0.20%     0.69%     0.01      0.70     48.36%
12/12/16   10,690,000   86.03    -0.69%    -0.11%      1.19%     0.27%      0.11%    0.00     -0.12       0.22        2.00      1.69    0.95%    -1.64%     0.01     -1.66      9.89%
12/13/16    7,283,000   86.69     0.77%     0.67%      0.43%    -0.11%      0.28%    0.00     -0.08       0.19        1.80      1.55    0.20%     0.57%     0.01      0.58     56.59%
12/14/16   22,881,000   86.75     0.06%    -0.81%     -0.40%     1.07%     -0.95%    0.00     -0.08       0.18        1.81      1.56    0.37%    -0.31%     0.01     -0.31     75.67%
12/15/16   22,878,000   85.51    -1.42%     0.39%      0.42%    -0.74%      0.31%    0.00     -0.07       0.18        1.79      1.55   -0.86%    -0.57%     0.01     -0.58     56.52%
12/16/16    1,395,000   85.94     0.50%    -0.17%      0.74%     0.06%     -0.28%    0.00     -0.07       0.19        1.84      1.58   -0.24%     0.74%     0.01      0.76     45.13%
12/19/16    5,466,000   86.01     0.07%     0.20%      0.98%    -0.77%      0.82%    0.00     -0.09       0.20        1.78      1.54    0.02%     0.05%     0.01      0.05     96.12%
12/20/16   12,836,000   85.93    -0.09%     0.38%      0.34%     0.09%     -0.33%    0.00     -0.10       0.20        1.77      1.54   -0.37%     0.27%     0.01      0.28     78.18%
12/21/16    2,253,000   86.28     0.41%    -0.24%     -0.16%    -0.29%      0.44%    0.00     -0.16       0.23        1.80      1.55    0.12%     0.29%     0.01      0.29     77.04%
12/22/16    5,439,000   86.05    -0.27%    -0.17%      1.14%     0.34%     -0.26%    0.00     -0.16       0.23        1.81      1.56    0.46%    -0.72%     0.01     -0.74     45.99%
12/23/16      276,000   86.47     0.50%     0.14%      0.02%    -0.09%      0.13%    0.00     -0.16       0.22        1.80      1.55   -0.03%     0.53%     0.01      0.54     59.00%
12/27/16    5,405,000   87.00     0.61%     0.23%     -0.25%     0.44%     -0.33%    0.00     -0.16       0.21        1.74      1.49    0.12%     0.49%     0.01      0.51     61.25%
12/28/16    2,841,000   88.06     1.22%    -0.82%      0.20%    -0.45%      0.67%    0.00     -0.18       0.21        1.77      1.53    0.37%     0.85%     0.01      0.87     38.37%
12/29/16    1,489,000   87.94    -0.14%    -0.02%      0.44%    -0.10%      0.25%    0.00     -0.19       0.21        1.76      1.54    0.27%    -0.42%     0.01     -0.43     66.89%
12/30/16      908,000   88.74     0.92%    -0.46%     -0.16%    -0.23%      0.31%    0.00     -0.19       0.22        1.75      1.52    0.08%     0.84%     0.01      0.86     39.09%
  1/3/17    3,614,000   88.19    -0.62%     0.85%      1.26%     0.02%      0.20%    0.00     -0.21       0.22        1.74      1.51    0.41%    -1.03%     0.01     -1.06     29.15%
  1/4/17    9,400,000   88.60     0.46%     0.60%     -0.66%     0.22%      0.26%    0.00     -0.23       0.21        1.68      1.47    0.44%     0.02%     0.01      0.02     98.28%
  1/5/17    4,844,000   89.34     0.84%    -0.08%      0.00%    -0.99%      1.48%    0.00     -0.23       0.21        1.64      1.44    0.50%     0.33%     0.01      0.34     73.26%
  1/6/17   11,928,000   89.42     0.09%     0.38%     -1.91%     1.01%     -0.89%    0.00     -0.24       0.21        1.66      1.48   -0.16%     0.25%     0.01      0.26     79.69%
  1/9/17    2,782,000   90.23     0.90%    -0.35%     -0.90%    -0.31%      0.81%    0.00     -0.23       0.21        1.69      1.49    0.55%     0.35%     0.01      0.36     72.03%
 1/10/17    3,251,000   89.60    -0.69%     0.00%      0.08%     0.40%     -0.17%    0.00     -0.23       0.20        1.71      1.52    0.41%    -1.10%     0.01     -1.13     25.91%
 1/11/17    2,890,000   89.58    -0.02%     0.29%     -0.68%    -0.20%      0.15%    0.00     -0.22       0.19        1.70      1.50   -0.33%     0.31%     0.01      0.32     74.90%
 1/12/17      972,000   90.25     0.74%    -0.21%      0.79%     0.29%     -0.13%    0.00     -0.21       0.20        1.72      1.51    0.45%     0.30%     0.01      0.31     75.78%
 1/13/17    7,856,000   88.05    -2.43%     0.18%     -0.26%     0.39%     -0.45%    0.00     -0.21       0.20        1.75      1.52   -0.15%    -2.29%     0.01     -2.38      1.89% *
 1/17/17    1,908,000   89.79     1.97%    -0.30%      0.58%    -0.67%      0.90%    0.00     -0.21       0.21        1.74      1.52    0.32%     1.66%     0.01      1.69      9.41%
 1/18/17    1,948,000   90.24     0.50%     0.19%     -0.92%     1.14%     -1.30%    0.00     -0.22       0.24        1.75      1.55   -0.31%     0.81%     0.01      0.83     40.95%
 1/19/17    1,211,000   90.08    -0.17%    -0.36%      0.57%     0.34%     -0.51%    0.00     -0.21       0.23        1.76      1.54   -0.01%    -0.16%     0.01     -0.17     86.71%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
1/20/17    1,213,000   89.93    -0.17%     0.34%      0.64%     0.13%     -0.10%    0.00     -0.21       0.24        1.77      1.55    0.12%    -0.29%     0.01     -0.30     76.69%
1/23/17    1,252,000   89.72    -0.23%    -0.27%      0.64%    -0.75%      1.01%    0.00     -0.21       0.24        1.76      1.55    0.41%    -0.64%     0.01     -0.65     51.47%
1/24/17    4,303,000   90.30     0.64%     0.66%     -3.10%     1.03%     -0.95%    0.00     -0.20       0.23        1.75      1.53   -0.55%     1.19%     0.01      1.22     22.60%
1/25/17    2,147,000   90.94     0.71%     0.80%     -0.77%     0.93%     -0.80%    0.00     -0.18       0.17        1.85      1.59    0.11%     0.60%     0.01      0.62     53.75%
1/26/17    1,666,000   92.55     1.77%    -0.07%      0.06%     0.01%      0.16%    0.00     -0.17       0.17        1.88      1.62    0.24%     1.53%     0.01      1.58     11.75%
1/27/17   16,013,000   92.43    -0.13%    -0.08%      0.79%    -0.13%      0.34%    0.00     -0.16       0.17        1.95      1.69    0.42%    -0.55%     0.01     -0.56     57.32%
1/30/17   11,615,000   91.92    -0.55%    -0.60%     -0.05%     0.19%     -0.24%    0.00     -0.15       0.16        1.92      1.67   -0.02%    -0.53%     0.01     -0.55     58.47%
1/31/17    1,912,000   91.94     0.03%    -0.09%      0.22%    -0.31%      0.33%    0.00     -0.14       0.16        1.92      1.68   -0.06%     0.09%     0.01      0.09     92.81%
 2/1/17    1,838,000   91.63    -0.33%     0.05%     -0.77%     0.24%     -0.08%    0.00     -0.15       0.16        1.91      1.67    0.14%    -0.48%     0.01     -0.49     62.44%
 2/2/17    1,713,000   92.11     0.52%     0.06%     -1.25%     0.10%     -0.11%    0.00     -0.15       0.16        1.92      1.68   -0.27%     0.80%     0.01      0.82     41.42%
 2/3/17    2,261,000   92.29     0.19%     0.74%     -0.09%     0.13%     -0.01%    0.00     -0.15       0.15        1.92      1.69    0.05%     0.14%     0.01      0.15     88.22%
 2/6/17    2,013,000   91.86    -0.46%    -0.21%     -0.66%    -0.36%      0.74%    0.00     -0.14       0.15        1.92      1.69    0.43%    -0.89%     0.01     -0.92     36.10%
 2/7/17    8,575,000   92.62     0.82%     0.03%      0.05%    -0.36%      0.43%    0.00     -0.14       0.16        1.89      1.65   -0.01%     0.84%     0.01      0.86     39.34%
 2/8/17   13,521,000   92.17    -0.48%     0.10%      0.31%    -0.92%      1.00%    0.00     -0.14       0.16        1.88      1.64   -0.12%    -0.36%     0.01     -0.37     71.36%
 2/9/17    4,923,000   91.56    -0.66%     0.59%      0.15%     0.63%     -0.88%    0.00     -0.14       0.16        1.89      1.64   -0.37%    -0.29%     0.01     -0.29     77.07%
2/10/17   10,909,000   91.22    -0.38%     0.36%      0.05%     0.56%     -0.18%    0.00     -0.14       0.17        1.88      1.63    0.63%    -1.01%     0.01     -1.03     30.43%
2/13/17    1,554,000   91.20    -0.01%     0.55%     -1.64%     0.60%     -0.46%    0.00     -0.14       0.17        1.81      1.59   -0.07%     0.05%     0.01      0.05     95.73%
2/14/17    2,200,000   91.47     0.29%     0.43%     -0.38%     0.48%     -0.45%    0.00     -0.13       0.15        1.83      1.61   -0.01%     0.30%     0.01      0.31     75.80%
2/15/17    2,399,000   91.43    -0.04%     0.51%     -0.06%     0.35%     -0.40%    0.00     -0.13       0.15        1.82      1.61   -0.14%     0.09%     0.01      0.09     92.52%
2/16/17      909,000   91.72     0.32%    -0.08%      0.56%    -0.35%      0.48%    0.00     -0.13       0.15        1.83      1.62    0.16%     0.16%     0.01      0.17     86.91%
2/17/17    1,673,000   91.44    -0.31%     0.17%      0.81%    -0.38%      0.40%    0.00     -0.13       0.15        1.83      1.62    0.01%    -0.32%     0.01     -0.33     74.34%
2/21/17    4,859,000   91.65     0.23%     0.60%      0.20%     0.30%     -0.22%    0.00     -0.15       0.16        1.85      1.63    0.10%     0.14%     0.01      0.14     88.75%
2/22/17    1,976,000   91.94     0.31%    -0.10%      0.13%    -0.12%      0.14%    0.00     -0.15       0.16        1.85      1.62    0.01%     0.30%     0.01      0.31     75.74%
2/23/17    2,670,000   92.04     0.11%     0.05%      0.92%    -0.28%      0.38%    0.00     -0.15       0.17        1.84      1.62    0.20%    -0.09%     0.01     -0.09     92.66%
2/24/17      742,000   92.04     0.00%     0.17%      0.55%    -0.69%      0.87%    0.00     -0.16       0.17        1.85      1.61    0.14%    -0.14%     0.01     -0.15     88.42%
2/27/17      728,000   92.12     0.09%     0.12%     -1.29%     0.47%     -0.43%    0.00     -0.15       0.17        1.86      1.62   -0.12%     0.20%     0.01      0.21     83.35%
2/28/17    6,928,000   91.68    -0.48%    -0.25%     -0.30%     0.50%     -0.25%    0.00     -0.15       0.16        1.86      1.62    0.46%    -0.93%     0.01     -0.96     33.67%
 3/1/17   11,551,000   92.37     0.75%     1.39%     -0.41%     1.08%     -1.05%    0.00     -0.14       0.17        1.81      1.58   -0.03%     0.78%     0.01      0.80     42.37%
 3/2/17    2,051,000   92.16    -0.23%    -0.58%      0.47%     0.36%     -0.24%    0.00     -0.12       0.17        1.82      1.57    0.39%    -0.62%     0.01     -0.63     52.81%
 3/3/17      268,000   91.92    -0.25%     0.05%     -0.03%    -0.30%      0.11%    0.00     -0.11       0.16        1.80      1.55   -0.44%     0.19%     0.01      0.20     84.55%
 3/6/17    1,371,000   92.30     0.41%    -0.33%      0.04%     0.27%     -0.36%    0.00     -0.11       0.16        1.80      1.55   -0.09%     0.50%     0.01      0.51     60.92%
 3/7/17    6,114,000   90.77    -1.66%    -0.28%     -0.47%     0.09%     -0.28%    0.00     -0.11       0.16        1.80      1.55   -0.35%    -1.30%     0.01     -1.34     18.30%
 3/8/17    3,977,000   90.33    -0.49%    -0.20%     -0.27%     0.02%     -0.55%    0.00     -0.15       0.16        1.84      1.57   -0.89%     0.40%     0.01      0.41     68.10%
 3/9/17    3,443,000   89.01    -1.46%     0.08%      0.36%     0.05%     -0.75%    0.00     -0.15       0.16        1.81      1.54   -1.06%    -0.40%     0.01     -0.41     68.22%
3/10/17      612,000   89.04     0.04%     0.33%      0.44%    -0.08%      0.20%    0.00     -0.21       0.15        1.86      1.56    0.11%    -0.08%     0.01     -0.08     93.66%
3/13/17    8,414,000   88.86    -0.21%     0.07%      0.13%     0.37%     -0.69%    0.00     -0.21       0.15        1.87      1.57   -0.43%     0.22%     0.01      0.22     82.48%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
3/14/17    1,574,000   88.36    -0.56%    -0.33%     -0.25%    -1.08%      0.56%    0.00     -0.17       0.16        1.81      1.52   -1.13%     0.57%     0.01      0.58     56.15%
3/15/17   13,804,000   89.12     0.87%     0.84%      0.80%    -0.53%      1.20%    0.00     -0.17       0.16        1.77      1.49    0.78%     0.08%     0.01      0.09     93.19%
3/16/17      302,000   90.64     1.71%    -0.16%     -0.14%     0.97%     -0.60%    0.00     -0.16       0.16        1.76      1.49    0.77%     0.93%     0.01      0.96     33.88%
3/17/17    1,504,000   90.10    -0.60%    -0.13%      0.64%    -0.61%      0.68%    0.00     -0.18       0.16        1.83      1.53    0.02%    -0.61%     0.01     -0.63     52.94%
3/20/17    1,401,000   90.14     0.04%    -0.20%     -0.22%    -0.46%      0.51%    0.00     -0.17       0.16        1.83      1.53   -0.09%     0.13%     0.01      0.13     89.77%
3/21/17   13,365,000   89.21    -1.03%    -1.23%      0.29%    -0.65%      0.67%    0.00     -0.18       0.15        1.82      1.52    0.06%    -1.08%     0.01     -1.11     26.86%
3/22/17    7,486,000   88.91    -0.34%     0.19%     -1.16%    -0.50%      0.30%    0.00     -0.15       0.16        1.83      1.52   -0.71%     0.37%     0.01      0.38     70.83%
3/23/17    2,519,000   88.55    -0.41%    -0.10%     -0.02%     0.15%     -0.14%    0.00     -0.13       0.16        1.81      1.50    0.04%    -0.45%     0.01     -0.46     64.51%
3/24/17    2,867,000   88.95     0.45%    -0.08%      0.19%    -0.02%      0.21%    0.00     -0.08       0.16        1.75      1.48    0.28%     0.17%     0.01      0.18     85.94%
3/27/17    3,064,000   88.61    -0.38%    -0.10%     -0.66%    -0.52%      0.40%    0.00     -0.09       0.17        1.75      1.48   -0.46%     0.08%     0.01      0.08     93.53%
3/28/17    3,444,000   88.43    -0.20%     0.73%     -0.25%     0.74%     -0.61%    0.00     -0.11       0.18        1.77      1.49    0.24%    -0.44%     0.01     -0.46     64.71%
3/29/17   10,279,000   88.32    -0.13%     0.13%     -0.28%    -0.15%      0.58%    0.00     -0.11       0.17        1.76      1.49    0.49%    -0.62%     0.01     -0.65     51.95%
3/30/17    7,645,000   88.18    -0.16%     0.30%      0.23%     1.13%     -0.67%    0.00     -0.10       0.18        1.72      1.45    0.94%    -1.10%     0.01     -1.15     25.24%
3/31/17    7,534,000   88.60     0.49%    -0.23%     -0.36%    -0.31%      0.40%    0.00     -0.13       0.16        1.71      1.44   -0.01%     0.49%     0.01      0.51     61.06%
 4/3/17      615,000   88.93     0.37%    -0.16%      0.48%    -0.77%      0.95%    0.00     -0.14       0.16        1.71      1.44    0.11%     0.26%     0.01      0.28     78.33%
 4/4/17    1,638,000   89.26     0.36%     0.07%      0.37%     0.80%     -0.67%    0.00     -0.15       0.16        1.74      1.46    0.44%    -0.07%     0.01     -0.08     93.96%
 4/5/17    4,382,000   88.81    -0.50%    -0.30%     -0.24%    -0.11%      0.25%    0.00     -0.15       0.16        1.73      1.46    0.15%    -0.65%     0.01     -0.68     49.56%
 4/6/17   10,181,000   88.77    -0.05%     0.22%     -0.65%     0.18%     -0.08%    0.00     -0.16       0.17        1.75      1.45    0.03%    -0.07%     0.01     -0.07     94.08%
 4/7/17    1,177,000   89.05     0.32%    -0.08%      0.26%     0.35%     -0.32%    0.00     -0.17       0.17        1.75      1.45    0.17%     0.15%     0.01      0.16     87.35%
4/10/17    1,330,000   89.39     0.38%     0.07%     -0.36%    -0.15%      0.28%    0.00     -0.15       0.17        1.79      1.48    0.03%     0.35%     0.01      0.37     70.95%
4/11/17    1,136,000   89.08    -0.35%    -0.13%      0.16%    -0.78%      0.90%    0.00     -0.17       0.17        1.81      1.48   -0.07%    -0.27%     0.01     -0.29     77.15%
4/12/17    1,075,000   89.20     0.13%    -0.37%      0.81%    -0.81%      0.66%    0.00     -0.17       0.17        1.83      1.49   -0.32%     0.45%     0.01      0.48     63.11%
4/13/17    1,965,000   89.07    -0.14%    -0.68%     -0.20%     0.10%     -0.10%    0.00     -0.20       0.18        1.82      1.47    0.10%    -0.24%     0.01     -0.26     79.83%
4/17/17    2,118,000   89.39     0.37%     0.86%     -0.32%     0.17%     -0.21%    0.00     -0.19       0.18        1.82      1.47   -0.26%     0.63%     0.01      0.67     50.66%
4/18/17    4,004,000   90.11     0.80%    -0.29%      0.47%    -1.08%      1.15%    0.00     -0.16       0.18        1.79      1.45   -0.16%     0.97%     0.01      1.03     30.73%
4/19/17    1,619,000   90.73     0.68%    -0.16%     -0.10%     0.61%     -0.55%    0.00     -0.16       0.22        1.76      1.43    0.26%     0.42%     0.01      0.44     65.76%
4/20/17      951,000   91.07     0.38%     0.76%     -0.77%     0.11%     -0.13%    0.00     -0.17       0.21        1.79      1.45   -0.29%     0.67%     0.01      0.71     47.83%
4/21/17    4,379,000   92.31     1.36%    -0.30%     -1.35%     0.41%     -0.24%    0.00     -0.14       0.20        1.77      1.43    0.12%     1.24%     0.01      1.32     18.97%
4/24/17    2,818,000   92.98     0.72%     1.09%     -0.77%     0.54%     -0.44%    0.00     -0.17       0.18        1.81      1.46    0.01%     0.71%     0.01      0.75     45.56%
4/25/17   23,365,000   92.39    -0.62%     0.61%     -0.72%     0.98%     -0.88%    0.00      0.04      -0.02        1.52      1.46    0.20%    -0.83%     0.01     -1.10     27.46%
4/26/17   10,026,000   92.73     0.36%    -0.05%      1.29%    -0.19%      0.43%    0.00      0.03      -0.01        1.50      1.45    0.26%     0.10%     0.01      0.14     89.27%
4/27/17    3,175,000   93.18     0.49%     0.07%     -1.34%     0.26%     -0.05%    0.00      0.03      -0.01        1.50      1.45    0.28%     0.20%     0.01      0.27     78.66%
4/28/17    6,512,000   93.82     0.69%    -0.19%     -0.92%     0.11%      0.20%    0.00     -0.05      -0.03        1.37      1.34    0.44%     0.25%     0.01      0.36     71.64%
 5/1/17    4,644,000   93.92     0.10%     0.17%     -0.88%     0.77%     -0.65%    0.00     -0.07      -0.05        1.32      1.30    0.21%    -0.11%     0.01     -0.16     87.60%
 5/2/17   12,648,000   93.83    -0.09%     0.12%     -0.16%    -0.50%      0.55%    0.00     -0.05      -0.06        1.35      1.34    0.07%    -0.16%     0.01     -0.24     80.84%
 5/3/17    3,966,000   93.73    -0.11%    -0.11%     -0.65%     0.35%     -0.24%    0.00     -0.05      -0.06        1.40      1.37    0.19%    -0.30%     0.01     -0.46     64.82%




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                                                                                   Appendix L
                                                                            CenturyLink 7.6% Note Data

[1]         [2]         [3]     [4]        [5]       [6]       [7]        [8]       [9]      [10]       [11]        [12]      [13]      [14]     [15]      [16]      [17]        [18]
                                                                                                     Coefficient
                                                    Excess    Credit    Treasury                                   Credit
                                         Market    Industry   Minus       Note                        Excess       Minus    Treasury Predicted Abnormal
Date      Volume       Price   Return    Return     Return    T Note     Return Intercept   Market   Industry      T Note     Note    Return    Return Root MSE t-statistic    p-Value
 5/4/17    2,249,000   93.09    -0.69%     0.06%     -1.05%     0.09%     -0.55%    0.00     -0.03      -0.06        1.39      1.37   -0.59%    -0.10%     0.01     -0.15     87.89%
 5/5/17    2,354,000   92.30    -0.84%     0.41%      1.25%    -0.16%      0.12%    0.00     -0.04      -0.06        1.40      1.37   -0.18%    -0.66%     0.01     -1.01     31.67%
 5/8/17    2,816,000   92.53     0.25%     0.01%      0.09%     0.49%     -0.50%    0.00     -0.08      -0.09        1.50      1.53   -0.09%     0.34%     0.01      0.52     60.49%
 5/9/17    4,310,000   92.45    -0.09%    -0.10%     -0.58%     0.22%     -0.10%    0.00     -0.08      -0.11        1.46      1.46    0.22%    -0.31%     0.01     -0.48     63.07%
5/10/17    7,935,000   92.19    -0.28%     0.15%      0.16%     0.25%     -0.21%    0.00     -0.07      -0.11        1.32      1.33    0.01%    -0.29%     0.01     -0.44     66.04%
5/11/17    5,030,000   92.30     0.12%    -0.18%     -0.36%    -0.02%      0.17%    0.00     -0.12      -0.14        1.33      1.32    0.25%    -0.13%     0.01     -0.20     84.00%
5/12/17    2,760,000   92.47     0.19%    -0.15%      0.05%    -0.49%      0.56%    0.00     -0.12      -0.14        1.32      1.32    0.07%     0.12%     0.01      0.19     84.83%
5/15/17    9,239,000   92.80     0.36%     0.49%     -0.56%     0.46%     -0.23%    0.00     -0.11      -0.13        1.32      1.27    0.31%     0.05%     0.01      0.07     94.27%
5/16/17    1,557,000   94.07     1.37%    -0.05%     -0.56%     0.08%      0.24%    0.00     -0.11      -0.13        1.32      1.27    0.47%     0.90%     0.01      1.43     15.68%
5/17/17    2,841,000   93.40    -0.71%    -1.79%     -0.61%    -1.33%      1.31%    0.00     -0.11      -0.14        1.36      1.32    0.18%    -0.89%     0.01     -1.40     16.29%
5/18/17    1,706,000   93.54     0.14%     0.37%      0.96%    -0.27%      0.21%    0.00     -0.05      -0.14        1.36      1.30   -0.26%     0.41%     0.01      0.64     52.29%
5/19/17    4,664,000   94.08     0.58%     0.68%      0.41%     0.16%      0.12%    0.00     -0.03      -0.15        1.31      1.28    0.26%     0.32%     0.01      0.51     61.13%
5/22/17      985,000   93.62    -0.49%     0.52%     -0.25%     0.34%     -0.22%    0.00      0.00      -0.13        1.28      1.25    0.19%    -0.68%     0.01     -1.10     27.41%
5/23/17   16,089,000   94.63     1.08%     0.19%     -0.02%     0.58%     -0.39%    0.00      0.02      -0.16        1.29      1.26    0.23%     0.85%     0.01      1.41     16.15%
5/24/17    1,010,000   94.39    -0.25%     0.25%     -0.80%    -0.30%      0.36%    0.00      0.02      -0.15        1.30      1.27    0.17%    -0.43%     0.01     -0.70     48.61%
5/25/17    2,578,000   94.59     0.21%     0.46%      0.08%     0.04%      0.01%    0.00      0.03      -0.13        1.31      1.28    0.03%     0.18%     0.01      0.30     76.61%
5/26/17      808,000   94.75     0.17%     0.04%     -0.20%    -0.11%      0.05%    0.00      0.01      -0.12        1.33      1.27   -0.08%     0.26%     0.01      0.42     67.42%
5/30/17    3,832,000   94.47    -0.29%    -0.11%      1.50%    -0.30%      0.56%    0.00      0.01      -0.12        1.30      1.25    0.10%    -0.40%     0.01     -0.66     51.01%
5/31/17    9,005,000   94.55     0.09%    -0.03%      0.41%    -0.33%      0.25%    0.00      0.02      -0.13        1.32      1.27   -0.19%     0.28%     0.01      0.47     64.16%
 6/1/17    7,750,000   95.20     0.69%     0.77%      0.02%     0.11%     -0.05%    0.00      0.02      -0.12        1.33      1.27    0.07%     0.62%     0.01      1.02     30.89%
 6/2/17    7,253,000   96.34     1.19%     0.37%     -0.27%    -0.63%      0.87%    0.00      0.07      -0.11        1.37      1.32    0.33%     0.86%     0.01      1.43     15.64%
 6/5/17    9,128,000   97.15     0.84%    -0.12%     -0.06%     0.47%     -0.39%    0.00      0.10      -0.12        1.34      1.35    0.08%     0.77%     0.01      1.26     20.92%
 6/6/17    6,793,000   96.94    -0.22%    -0.28%      0.15%    -0.40%      0.41%    0.00      0.08      -0.12        1.34      1.36   -0.03%    -0.18%     0.01     -0.30     76.41%
 6/7/17    2,227,000   97.31     0.38%     0.18%     -0.03%     0.31%     -0.36%    0.00      0.06      -0.09        1.44      1.42   -0.06%     0.44%     0.01      0.73     46.60%
 6/8/17   12,074,000   97.24    -0.07%     0.03%     -0.59%     0.26%     -0.23%    0.00      0.05      -0.10        1.43      1.40    0.10%    -0.17%     0.01     -0.28     78.25%
 6/9/17    1,441,000   97.89     0.66%    -0.08%      0.94%     0.06%     -0.08%    0.00      0.04      -0.09        1.44      1.40   -0.12%     0.79%     0.01      1.31     19.24%
6/12/17    3,666,000   97.21    -0.69%    -0.09%      0.97%     0.23%     -0.18%    0.00      0.07      -0.08        1.31      1.29    0.01%    -0.70%     0.01     -1.17     24.63%
6/13/17    9,467,000   97.88     0.68%     0.48%     -1.40%     0.06%      0.01%    0.00      0.09      -0.11        1.34      1.36    0.28%     0.40%     0.01      0.68     49.97%
6/14/17   13,048,000   97.98     0.11%    -0.09%      0.34%    -1.12%      1.40%    0.00      0.09      -0.12        1.33      1.35    0.36%    -0.25%     0.01     -0.41     68.23%
6/15/17   12,189,000   97.83    -0.16%    -0.21%      0.22%     0.14%     -0.32%    0.00      0.08      -0.12        1.35      1.36   -0.30%     0.14%     0.01      0.23     81.87%
6/16/17    5,551,000   98.11     0.29%     0.03%      0.07%    -0.21%      0.22%    0.00      0.08      -0.12        1.35      1.35    0.01%     0.28%     0.01      0.47     63.83%
6/19/17    4,220,000   95.74    -2.42%     0.84%     -0.76%     0.28%     -0.22%    0.00      0.08      -0.11        1.35      1.35    0.23%    -2.65%     0.01     -4.42      0.00% **
6/20/17    3,329,000   93.14    -2.71%    -0.67%     -0.55%    -0.84%      0.66%    0.00      0.08      -0.11        1.36      1.36   -0.25%    -2.46%     0.01     -4.10      0.01% **
6/21/17    5,215,000   93.45     0.33%    -0.05%     -1.19%    -0.28%      0.07%    0.00      0.12      -0.07        1.54      1.48   -0.28%     0.62%     0.01      0.96     33.94%
6/22/17    7,117,000   93.25    -0.22%    -0.04%     -0.02%    -0.21%      0.18%    0.00      0.18      -0.09        1.44      1.39   -0.11%    -0.11%     0.01     -0.17     86.45%
6/23/17    1,689,000   93.38     0.14%     0.16%     -0.27%     0.04%     -0.02%    0.00      0.17      -0.09        1.45      1.40    0.02%     0.12%     0.01      0.19     85.24%




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                                                                                                   Appendix L
                                                                                            CenturyLink 7.6% Note Data

    [1]          [2]          [3]         [4]        [5]         [6]          [7]         [8]         [9]         [10]       [11]        [12]        [13]         [14]        [15]         [16]        [17]          [18]
                                                                                                                          Coefficient
                                                               Excess      Credit      Treasury                                         Credit
                                                  Market      Industry     Minus         Note                               Excess      Minus      Treasury Predicted Abnormal
   Date       Volume         Price     Return     Return       Return      T Note       Return Intercept        Market     Industry     T Note       Note    Return    Return Root MSE t-statistic                p-Value
   6/26/17     1,757,000     94.96        1.69%     0.03%         0.60%      -0.09%        0.25%       0.00        0.20       -0.08        1.43       1.38    0.12%     1.57%     0.01      2.50                  1.37% *
   6/27/17    16,115,000     94.31       -0.68%    -0.81%        -0.88%       1.02%       -0.95%       0.00        0.25       -0.03        1.48       1.43   -0.05%    -0.63%     0.01     -0.99                 32.59%
   6/28/17     5,194,000     93.89       -0.44%     0.90%        -0.19%       0.51%       -0.44%       0.00        0.30       -0.04        1.47       1.45    0.35%    -0.79%     0.01     -1.24                 21.77%
   6/29/17     2,607,000     93.84       -0.06%    -0.86%        -0.32%       0.45%       -0.47%       0.00        0.27       -0.04        1.46       1.44   -0.27%     0.21%     0.01      0.32                 74.65%
   6/30/17     2,096,000     93.55       -0.30%     0.16%         0.26%       0.26%       -0.34%       0.00        0.25       -0.04        1.47       1.44   -0.12%    -0.19%     0.01     -0.29                 77.02%
    7/3/17       141,000     94.02        0.50%     0.24%         0.73%       0.57%       -0.54%       0.00        0.26       -0.04        1.45       1.41    0.06%     0.44%     0.01      0.68                 49.96%
    7/5/17    11,587,000     93.55       -0.50%     0.16%        -0.46%      -0.28%        0.34%       0.00        0.25       -0.02        1.51       1.45    0.10%    -0.59%     0.01     -0.93                 35.56%
    7/6/17     1,115,000     93.02       -0.57%    -0.90%        -0.53%       0.50%       -0.82%       0.00        0.24       -0.02        1.52       1.45   -0.67%     0.11%     0.01      0.17                 86.80%
    7/7/17     1,851,000     92.74       -0.30%     0.64%        -0.77%       0.10%       -0.41%       0.00        0.25       -0.03        1.48       1.42   -0.29%    -0.01%     0.01     -0.02                 98.78%
   7/10/17     1,491,000     92.75        0.02%     0.09%        -0.57%      -0.02%        0.12%       0.00        0.26       -0.03        1.43       1.34    0.15%    -0.14%     0.01     -0.23                 81.61%
   7/11/17     3,923,000     92.65       -0.11%    -0.08%        -0.63%       0.09%        0.02%       0.00        0.28       -0.04        1.37       1.25    0.13%    -0.24%     0.01     -0.42                 67.53%
   7/12/17     4,400,000     92.47       -0.19%     0.74%         0.10%      -0.30%        0.63%       0.00        0.28       -0.03        1.38       1.27    0.56%    -0.75%     0.01     -1.32                 18.87%
   7/13/17     2,219,000     91.50       -1.05%     0.19%        -0.74%       0.58%       -0.52%       0.00        0.28       -0.03        1.38       1.27    0.17%    -1.22%     0.01     -2.16                  3.30% *

Notes:
[1] Dates on which the bond traded during stock trading hours.
[2] Reported volume (in par value). See Appendix I for metholodogy to compute the reported volume. Source: FINRA TRACE Data.
[3] Calculated as the Volume Weighted Average Price (VWAP) between 9:30 am and 4:00 pm. See Appendix I for methodology to compute the VWAP. Source: FINRA TRACE Data.
[4] = {[3] / [3] on previous trading day} - 1.
[5] Daily return for the S&P 500 Total Return Index. If the bond does not trade on certain dates, multi-day returns are computed based on days on which the bond trades. Source: Bloomberg.
[6] Daily industry return is the daily return for the S&P Composite 1500 Telecommunication Services Total Return Index (after removing CenturyLink's daily return based on its daily index weight from the index return).
The excess industry returns are used to account for industry-wide effects in the market model, after removing the effect of market returns. The formula for removing the effect of market returns from the industry return is
{industry return – (intercept + beta * market return)}. The intercept (-0.0001) and beta (0.6775) are estimated by regressing daily industry returns on market returns over the period 9/4/2012 to 7/12/2017. If the bond does
not trade on certain dates, multi-day returns are computed based on days on which the bond trades. See Exhibit XII.
[7] Daily return for the ICE BofAML 15+ Year BB Cash Pay High Yield Index (Bloomberg ticker “J8A1”) minus the daily return for the Treasury Note discussed in [8]. If the bond does not trade on certain dates, multi-
day returns are computed based on days on which the bond trades. Source: Bloomberg.
[8] Daily return for a Treasury Note due August 15, 2039 (Bloomberg ticker: “912810QC5”). If the bond does not trade on certain dates, multi-day returns are computed based on days on which the bond trades. Source:
Bloomberg.
[9] Intercept from a market model regression estimated over the prior 120 trading days.
[10] Coefficient for the market return from a market model regression estimated over the prior 120 trading days.
[11] Coefficient for the excess industry return from a market model regression estimated over the prior 120 trading days.
[12] Coefficient for the return on the ICE BofAML 15+ Year BB Cash Pay High Yield Index minus the return for the Treasury Note from a market model regression estimated over the prior 120 trading days.
[13] Coefficient for the return on the Treasury Note from a market model regression estimated over the prior 120 trading days.
[14] = [9] + {[10] x [5]} + {[11] x [6]} + {[12] x [7]} + {[13] x [8]}.
[15] = [4] - [14].
[16] Root MSE of a market model estimated over the prior 120 trading days.
[17] = [15] / [16].
[18] Two-tail p-value associated with the t-statistics in [17]. ** denotes p-value less than or equal to 1% and * denotes p-value less than or equal to 5%.



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